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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
Plaintiffs,
         v.                                      5:21-cv-844-XR

GREGORY W. ABBOTT, et al.,
Defendants.
OCA-GREATER HOUSTON, et al.,
Plaintiffs,
         v.                                      1:21-CV-0780-XR

JANE NELSON, et al.,
Defendants.


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   Dated: May 26, 2023                      /s/ Zachary Dolling

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                              CERTIFICATE OF SERVICE

       On May 26, 2023, I filed the foregoing using the CM/ECF system of the Western District
of Texas, which will send notification of this filing to counsel of record.

                                                  /s/ Zachary Dolling




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                  Exhibit 1




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      Report on Identification Number Requirements for Mail Balloting under SB 1


                           La Unión del Pueblo Entero v. Texas


              United States District Court for the Western District of Texas




___________________
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February 28, 2022




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I.       Abstract

      1. In Senate Bill 1 (“SB 1”), Texas imposes new identification verification rules when

         registered voters choose to cast ballots by mail. As I will demonstrate, more than 1 in

         7 Texans can submit a ballot application – as well as a ballot itself – in perfect

         accordance with the state’s instructions under SB 1, and yet Texas election officials

         must still reject the voters’ forms. Officials must reject the voters’ forms because

         Texas’s voter registration database does not contain the information necessary for

         election officials to accurately confirm the identity of millions of Texans who possess

         proper identification numbers. SB 1 delays and/or prevents citizens from casting

         ballots who follow the state’s instructions and are eligible to vote by mail.

II.      Summary of Inquiry

      2. For Texas voters who understand the mail ballot instructions and correctly fill out the

         state’s mail ballot forms in accordance with the rules set forth by SB 1, how many of

         them could have their forms rejected due to the state’s inability to confirm the voters’

         identification numbers? I answer this question by merging personal information

         contained in Texas’s voter registration database with information contained in

         Texas’s Department of Public Safety (DPS) records. Through comparing records of

         identification numbers, including driver’s licenses and other DPS ID Numbers as well

         as social security numbers, I have found that over 2.6 million Texans can accurately

         and completely fill out government forms in accordance with SB 1 and with the

         forms’ instructions, and their forms would still be rejected by Texas election officials.

         Included in this number are hundreds of thousands of senior citizens (65 and older),




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             disabled veterans, homebound citizens, and overseas citizens (including some at

             military addresses), populations that are most likely to make use of mail balloting.

         3. According to SB 1, a registered voter applying for a mail ballot must now include

             “the number of the applicant’s driver’s license, election identification certificate, or

             personal identification card issued by the Department of Public Safety” (“DPS ID

             Number”). If a registrant “has not been issued” a DPS ID Number, then he or she

             must include in his/her mail ballot application “the last four digits of the applicant’s

             social security number” (“SSN4”). When submitting a completed ballot by mail,

             registrants must again provide a DPS ID Number or, if they do not have a DPS ID

             Number, their SSN4.

         4. When Texas election officials receive a mail ballot application, or when they receive

             a completed mail ballot, the officials must compare the DPS ID Number or SSN4

             listed by the registrant with the official records in the voter registration database. The

             Texas voter registration database, also known as Texas Election Administration

             Management system (“TEAM”), lists a DPS ID Number and/or an SSN4 for most

             voters. If the voter does not provide an identification number that is listed on TEAM,

             “the clerk shall reject the application.” 1

         5. I have determined three main reasons why correctly filled-out forms that are required

             by Texas under SB 1 would be rejected by election officials:



1
  Note that election officials do not confirm mail ballot applicants’ DPS ID Numbers by looking up those numbers
on a DPS database. According to the state’s guidelines, election officials are to “check the voter’s application for
ballot by mail and the carrier envelope to be sure that the number of the voter’s driver’s license, election
identification certificate, or personal identification card issued by the DPS is included and is associated with the
voter’s registration record (my emphasis).” In other words, if a voter has a valid DPS ID but it happens not to be
associated with the registration record in TEAM, election officials must reject the voter’s mail ballot forms. See:
“Early Voting Ballot Board & Signature Verification Committee, Handbook for Election Judges and Clerks 2022,”
Office of the Texas Secretary of State, page 14.


                                                                                                                       3
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             a. Reason #1: Millions of Texans have multiple DPS ID Numbers. Many have both

                 a personal identification number and a driver’s license number. Some have

                 multiple driver’s license numbers. According to SB 1 requirements, voters may

                 list on their mail ballot applications any of their DPS ID Numbers, including

                 expired ones. However, the TEAM voter registration database shows only one

                 DPS ID Number for each voter. If the voter uses a DPS ID Number on his or her

                 mail ballot application but it is not the same number listed in TEAM, SB 1

                 requires election officials to reject the application.

             b. Reason #2: Hundreds of thousands of Texans are listed in TEAM without a DPS

                 ID Number at all. These voters tend to be older. Almost half are over 65 and may,

                 by law, request an absentee ballot without offering any reason. As I show below,

                 the majority of these individuals do, in fact, have DPS ID Numbers. If they

                 submit a mail ballot application or mail ballot with their DPS ID Number listed,

                 as they are instructed to do by Texas’s updated application form, SB 1 requires

                 clerks to reject their materials.

             c. Reason #3: Tens of thousands of Texans are listed in TEAM with SSN4s and DPS

                 ID Numbers that have typographical errors in them. (As Texas is one of only

                 eight states that has not adopted online voter registration, Texas may have more

                 citizens registering to vote using paper forms than is typical elsewhere in the

                 country, which can lead to transcription errors when the information is entered

                 into a computer system. 2) When voters who are listed with typographical errors in

                 their ID numbers submit a mail ballot form with their proper SSN4 or DPS ID


2
 National Conference of State Legislatures, “Online Voter Registration,” July 26, 2021,
https://www.ncsl.org/research/elections-and-campaigns/electronic-or-online-voter-registration.aspx.


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                  Number, SB 1 requires election officials to reject these forms on account of

                  inaccurate record-keeping in Texas government records.

         6. These are not the only reasons that Texas election officials will reject mail ballots and

             ballot applications as a result of SB 1’s identification requirements for absentee

             balloting. There are other reasons that are beyond the scope of this analysis but could

             cause additional Texans to have mail ballot forms rejected by state election officials.

             For instance, applicants might accidentally include a typographical error when

             writing down their DPS ID Number or their SSN4 on their mail ballot forms. A

             separate analysis would be required to estimate how many mail ballot forms might be

             rejected for this reason. Applicants might also have lost, misplaced, or surrendered

             their license or other DPS ID card and therefore cannot complete the mail application

             form required by SB 1. A separate analysis would be required to estimate how many

             forms might be rejected for this reason. 3 Setting aside these other possibilities, the

             three reasons stated above affect over 2.6 million Texans, according to my analysis.

             These Texans possess an identification number required by SB 1 and can properly fill

             out mail ballot application forms and, nevertheless, SB 1 will require election

             officials to reject their forms.

         7. SB 1 essentially asks 1 in 7 registered voters to be lucky in order to cast a mail ballot

             without their application or ballot being rejected: the voters must guess correctly

             which one of several possible identification numbers are listed on TEAM, and they




3
  There is a field on the DPS database related to “card status” that could possibly be used to count the number of
individuals who have DPS ID Numbers but they do not have access to their ID cards, for instance because they
surrendered the cards. If license status information was made available to me, I could provide a supplementary
analysis of these records.


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          must hope that TEAM records do not contain typographical errors on their individual

          records.

III.      Background and Qualifications

       8. I am a tenured associate professor of political science at Tufts University in Medford,

          Massachusetts. I joined the faculty at Tufts in July 2017. Prior to that, I was an

          assistant professor and a resident fellow of the Institution for Social and Policy

          Studies at Yale University in New Haven, Connecticut. I joined the faculty at Yale in

          2011. I received my PhD in government from Harvard University in 2011.

       9. In addition to my appointment in the Department of Political Science, I currently have

          two other affiliations. I serve as an Associate Professor of Civic Studies at the Tisch

          College for Civic Life, also at Tufts University. And, during the 2022 calendar year, I

          have an affiliation as an Emerson Collective Fellow in the Emerson Collective’s

          Democracy Cohort. Through the Emerson Collective, I am engaging in research on

          the civic role of business leaders.

       10. My scholarly research focuses on U.S. elections, on topics such as voter behavior,

          civic engagement, election administration, and political campaigns. My

          methodological focus is on using individual-level data such as voter registration

          records to study politics. Publications that specifically include analysis of individual-

          level voter registration data include, among others, Hacking the Electorate

          (Cambridge University Press, 2015); “ADGN: An Algorithm for Record Linkage

          Using Address, Date of Birth, Gender, and Name” (Statistics and Public Policy,

          2017); “The Primacy of Race in the Geography of Income-Based Voting” (American

          Journal of Political Science, 2016); Validation: What Big Data Reveal about Survey




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    Misreporting and the Real Electorate” (Political Analysis, 2012); and “The Politics of

    130,000 Religious Leaders (Journal for the Scientific Study of Religion, 2021).

 11. I have been deposed as an expert witness five times, in Judicial Watch v. King, Fish

    v. Kobach, Stringer v. Pablos, U.S. v. City of Eastpointe, and Holmes v. Moore. The

    first three of these cases were focused on compliance with the National Voter

    Registration Act in Indiana, Kansas, and Texas, respectively. U.S. v. Eastpointe

    focused on compliance with the Voting Rights Act. Holmes v. Moore was a case in

    North Carolina state court involving a voter identification law. I have also served as

    an expert consultant in Texas v. Holder and Veasey v. Perry, two cases involving a

    voter identification law in the State of Texas.

 12. In four of the above cases, my work as an expert required me to develop and

    implement methods to link individual records between voter registration databases

    and other databases (namely, driver’s license databases). I use a similar methodology

    in this report. It is also the methodology that is the focus of the peer-reviewed work I

    published in “ADGN: An Algorithm for Record Linkage Using Address, Date of

    Birth, Gender, and Name.”

 13. I have filed declarations in other cases in which I was not deposed. These include,

    among others, Vote Forward v. DeJoy, a 2020 case involving the U.S. Post Office

    and mail voting, as well as Kelly v. Verizon, a class action case for which voter

    registration data was used to evaluate the domicile of class members.

 14. I have served as an expert both for defendants (e.g. Judicial Watch v. King, Kelly v.

    Verizon) as well as for plaintiffs (e.g. Fish v. Kobach, U.S. v. City of Eastpointe).

 15. I am compensated for my work at a rate of $350 per hour.




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          16. A copy of my current CV is attached as Exhibit A to this Report.

    IV.      Analysis Plan and Summary Statistics

    A. Overview

          17. The analysis here requires me to look up registered voters in the Department of

             Safety’s database of ID holders. For each registrant, I seek answers to four simple

             questions:

                       i. Does the registrant have a DPS ID Number?

                      ii. Does the registrant have more than one DPS ID number?

                     iii. Does the DPS ID Number(s) listed for a voter in the DPS database match

                           the DPS ID Number listed for that voter in the TEAM database?

                      iv. Does the SSN4 listed in the DPS database match the SSN4 listed for that

                           voter in the TEAM database?

          18. The first of these questions is relevant because some registrants are not listed in

             TEAM with any DPS ID Number. If these individuals possess a DPS ID number, they

             are required by SB 1 to list it on their mail ballot application. If these registrants list

             their DPS ID Number, SB 1 requires election officials to reject their forms as the

             number is not recorded on the TEAM database. 4




4
  The Texas Secretary of State has issued guidance to election officials that if registrants (even those possessing DPS
ID Numbers) list their SSN4 when applying for a mail ballot, then their ballots and ballot applications should not be
rejected (Texas Secretary of State, “FAQs on Applications for Ballots by Mail (ABBMs),” January 28, 2022, page
8.). However, Texas’s handbook (see footnote 1) offers conflicting guidance, which is consistent with the law and
with the application form instructions, that registrants with a DPS ID Number must list that number. On the mail
application form itself, a registrant is not asked to list their SSN4 if they possess a DPS ID Number. The registrant
would have no obvious way of knowing of alternative guidance, as it is inconsistent with SB 1’s text and the text of
the mail ballot application form. In addition, the state has allocated no funds with the passage of SB 1 to pay for any
kind of educational advertisement that indicates the Secretary’s interpretation of the law. For the lack of allocation
of funds for public education, see: Jerry McGinty, Legislative Budget Board, “Fiscal Note 87th Legislature 2nd
Called Session 2021,” August 30, 2021.


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 19. The second question is relevant because registrants with more than one DPS ID

    Number can list one of their Numbers that happens not to be the one recorded in the

    TEAM database. If registrants list a number but not one listed on the TEAM file, their

    forms are rejected.

 20. The third and fourth questions are relevant because typographical errors in the

    recording of SSN4s and DPS ID Numbers mean that registrants can fill out their

    correct DPS ID Number or SSN4 but their forms will be rejected because the correct

    number is not the same as the number listed on the TEAM file.

 21. While the analysis that follows is simple in principle, it is somewhat complex in the

    details. The main reason for the complexity is that “looking up” a voter in the DPS

    database is not as straightforward as it sounds. Suppose, for instance, that I look up

    each registrant by their social security number. I could do so, and then compare the

    DPS ID Number for that voter listed in TEAM with the DPS ID Number(s) for that

    voter listed in the DPS records. I do perform such an analysis. However, the work is

    not complete. If voters are listed in TEAM with typos in their social security

    numbers, then they would not match to their DPS record on the basis of the social

    security number. Similarly, if voters are listed in TEAM with no social security

    number at all, then they would not match to their DPS record either. Consequently,

    simply linking the TEAM database and the DPS database on the basis of a social

    security number does not provide critical information such as the number of people

    with erroneous social security numbers listed on TEAM. Thus, I need to use

    additional strategies to look up registrants in the DPS database.




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        22. Before proceeding with the analysis, I will summarize key features of the two

            databases upon which this analysis relies: the DPS file of ID holders and the TEAM

            file of registered voters. Then, I will explain the methodology I use to link the two

            files together. Finally, I will conduct the analysis and explain the results. In the

            results, I will be attentive to several subpopulations of interest, including registrants

            who are aged 65 years or older, registrants with overseas mailing addresses, and

            registrants whose DPS records suggest they are disabled or homebound.

    B. Data Used in Analysis

                 Department of Public Safety Data

        23. As transmitted to me, the DPS database of driver’s license holders and other ID

            holders was divided into 10 separate files. According to the file labels, the files were

            extracted from Texas’s DPS system on January 7, 2022. I combined the ten files into

            one file.

        24. In total, the DPS file contains 36,227,819 records. In nearly all cases, each row is

            associated with a unique DPS ID Number. 5 For each of these numbers, the row shows

            information such as the name, address, and social security number of the associated

            individual. Many Texans are listed on more than one row with different DPS ID

            Numbers. This is evidenced by data on nine-digit social security numbers (SSN9)

            contained in the DPS database. Of the 36.2 million DPS records, 94.98% are listed

            with an SSN9. The other 5 percent are missing an SSN9. Of those with an SSN9

            listed, 24,569,348 (71.40%) have a unique SSN9 within the database. The remaining




5
 Out of the 36.2 million rows, there are 140 rows that show a duplicate DPS ID Number. All other rows show
unique DPS ID Numbers.


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    records (9,841,121) represent individuals who are listed with two more or more

    different DPS ID Numbers to their name.

 25. From the data provided to me by the state, I cannot determine all the circumstances

    under which individuals have multiple DPS ID Numbers. Primarily, it appears to be

    the result of individuals who possess both a driver’s license number and a personal

    identification number. But there are tens of thousands of individuals who have

    multiple driver’s license numbers or multiple personal identification numbers. Texans

    with multiple DPS ID Numbers may have numbers that are expired as well as ones

    that are unexpired. However, according to SB 1, a registered voter applying for a mail

    ballot or submitting a mail ballot may use current or expired DPS ID Numbers.

 26. The DPS database shows other evidence of individuals possibly possessing multiple

    DPS ID Numbers in addition to the fact that individuals appear on multiple rows. In

    about ten percent of rows in the DPS file (specifically, in 3,440,039 rows), there is a

    field populated with data that is called “AKA DL/ID Number.” This field appears to

    list additional identification numbers associated with a person on the file. However,

    many of these numbers appear different in format to Texas’s DPS ID Numbers, such

    as that they include letters in addition to numbers. Because I am not certain of the

    meaning of the AKA DL/ID Number field, I make the conservative assumption that

    these numbers are not DPS ID Numbers that Texans could use in submitting a mail

    ballot application or mail ballot.

 27. Table 1 shows the rate at which key fields in DPS are missing data. As is clear, zero

    records – or at least less than 0.01% of records – are missing names, birthdates,




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             gender (male or female), or zip code. A small number of records are missing a street

             address number. And, as noted above, 5.02% of DPS records are missing an SSN9.

         TABLE 1: Rate of Missing Information in DPS


                                   Missing SSN                             5.02%
                                   Missing unique SSN9                       21.6
                                   Missing First Name                        0.00
                                   Missing Last Name                         0.00
                                   Missing Birthdate                         0.00
                                   Missing M/F Gender                        0.00
                                   Missing Street Number                     0.04
                                   Missing Zip Code                          0.00
                                   TOTAL IN DATABASE                   36,227,819



                  Voter Registration Data

         28. On January 27, 2022, I received a copy of Texas voter registration records (TEAM).

             According to the file labels, the files were extracted by Texas on January 24, 2022.

             Each of 254 counties had records contained in separate files. On each row of each

             county file, an individual registered voter is listed with personal information (e.g.

             name, birthdate, address) and information about the person’s election participation.

             On each row, the individual voter is also associated with a Voter Unique Identifier

             number, or “VUID.”

         29. For individuals who have recently cast ballots, the database extract that was produced

             by the state shows multiple records per person (one row per election in which each

             person is recorded as casting a ballot). For individuals who have not recently cast

             ballots (or not ever cast ballots), the database extract shows one row per person. 6


6
  Earlier in January, I received an initial production of the TEAM voter file that only contained records of
individuals who had cast ballots in recent elections. It excluded registrants who had not cast ballots in recent
elections. The January 24, 2022 production addressed this limitation by including non-voting registrants.


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 30. In order to conduct the analysis in this report, I need to create a version of the TEAM

    file in which each individual who Texas considers a registered voter is listed once. By

    doing so, I am able to report on the total number of registrants whose mail ballot

    forms could be rejected due to SB 1’s identification number requirements. Since the

    version of TEAM transmitted to me has many individuals listed on more than one

    row, I take the following steps to de-duplicate the database.

 31. First, for the individuals who have cast a ballot in one or more elections, I preserve

    the record of their most recent election. I preserve the most recent election because

    this record is presumed to be most up-to-date. I also preserve records of registrants

    who are listed as having not cast ballots in recent elections.

 32. In total, across all 254 counties, this sums to 18,656,786 records. I create a file with

    fields from TEAM relevant to my analysis, including name, address, birthdate,

    gender, and identification number fields, plus a few other fields such as whether the

    individual has a non-US mailing address.

 33. Of these 18,656,786 records, 822,166 are duplicative on all the fields I retained. That

    is, the same individual with all the same identifiers is listed on multiple rows within

    the county TEAM files. I remove these duplicates. This leaves 17,834,620 records.

 34. I next remove six records that have no VUID listed. My methodology requires the

    database to have a unique identifier associated with each person. As the VUID

    identifier is available for all but six records, I utilize it as a unique identifier, which is

    why I remove the 6 records without a VUID.

 35. Although VUID is called a “unique identifier”, the VUID listed on the TEAM files

    (even after the de-duplication procedures above) is only unique for 91.06% of




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             records. Duplicates appear to represent individuals who are listed under different

             residential addresses or different mailing addresses but are the same person and have

             a common VUID. As an extreme example, consider the case of one individual who is

             listed five times on TEAM. In all five records, she has the same VUID, the same

             birthdate, driver’s license number, social security number, and date of registration. In

             one county, she appears twice but on one of these two records she has a mailing

             address listed while on the other one she does not. This individual is also listed at

             three other addresses in three other counties.

        36. In order to work with a version of the TEAM database in which each registrant is

             represented once on the file, I remove records that are duplicative on VUID. For

             instance, in the case of the individual mentioned above whose VUID appears five

             times, I retain one of her five records. If any of the duplicate records on VUID differ

             such that one record contains a social security number while another does not, I retain

             the record that contains a social security number. 7 This de-duplication removes

             808,560 additional records, leaving the statewide file with 17,026,054 records. My

             analysis is based on this database of 17,026,054 records.

        37. While Texas did not supply me with a file in which each person it considers to be a

             registered voter is listed once, the state does report statistics about the total number of

             registrants in its records, both statewide and by county. Are the state’s published

             numbers comparable to the data I am using? According to its report from January

             2022 (the month in which I was supplied with a version of the TEAM file), Texas




7
 I retain the record containing a social security number to enable me to link the TEAM record to the DPS database
using the social security number for as many records as possible, per the methodology described below.


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             reports 17,119,632 registered voters. 8 In the records supplied to me, after de-

             duplication, there are 17,026,054.

        38. While the two files are close in the overall number of records, I checked, county by

             county, to determine if any counties showed substantially different numbers of

             registrants between the published numbers and the ones from the database supplied to

             me. In Figure 1, I count registered voters by county, and compare the number listed

             on the Secretary’s website with the numbers in the file sent to me. In the left panel, I

             show all 254 counties. In the right panel, I zoom in on the 246 counties in which

             fewer than 50,000 individuals are registered. Both panels indicate that no county is an

             outlier. That is, there is no county where the number of registrants according to the

             Secretary’s website differs meaningfully from the number in the data provided to me.

             The differences between the two are likely attributable to the fact that registration

             databases are dynamic, with additions and removals occurring frequently. The

             snapshot of the voter file provided to me is slightly different in the number of records

             from the snapshot used by Texas in publishing its January 2022 statistics, but the

             databases appear to be comparable. I have no reason to believe that the differences

             between versions of the TEAM database would systematically impact the analysis

             that follows or bear on any of the conclusions I draw.




8
 Texas Secretary of State, “January 2022 Voter Registration Figures,”
https://www.sos.state.tx.us/elections/historical/jan2022.shtml.


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 FIGURE 1: Comparisons of Counts of Registered Voters by County in TEAM data

 supplied to me (after de-duplication procedures) with TEAM data published by

 Texas




 TABLE 2: Rates of Missing Information in TEAM


                     Missing SSN                       2.34%
                     Missing Unique SSN9                 6.64
                     Missing First Name                  0.00
                     Missing Last Name                   0.00
                     Missing Birthdate                   0.05
                     Missing M/F Gender                  3.68
                     Missing Street Number               0.07
                     Missing Zip Code                    0.05
                     TOTAL IN DATABASE             17,026,054



 39. Table 2 shows the rate at which key fields in TEAM are missing data. As is clear,

    zero records – or at least less than 0.01% of records – are missing names. A small

    number – less than a tenth of a percent – are missing birthdates, street numbers, or zip

    codes. Whereas the DPS data treats gender as a binary field, with only M or F listed,



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            the TEAM file has other gender designations. Most significantly, 623,052 individuals

            are listed with gender code of U. For the purpose of linking databases using the

            gender field, I treat those not M or F as missing on gender.

    C. Data Quality Checks in TEAM Voter Records

        40. I performed a series of additional diagnostics on the TEAM file, examining the

            quality of the key fields.

        41. Birthdates. On TEAM, 4,066 individuals have invalid birthdates. These are either

            missing completely or have dates such as “01-01-0001”. Another 5,235 individuals

            have birthdates indicating they were born before 1912, suggesting they are over 110

            years old. Of these, most (4,824) have birthdates listed before October 1, 1906. That

            date, according to AARP, is the birthdate of the oldest American as of January 2022. 9

            That is, TEAM lists almost five thousand registered voters with birthdates older than

            the oldest American. Many of these individuals are listed with birthdates such as

            January 1, 1900 and January 1, 1901.

        42. Social Security Number. The social security number (SSN) field in TEAM is missing

            completely for 398,140 individuals. For 436,948 additional individuals, a four-digit

            SSN is listed rather than a nine-digit SSN. 10

        43. While 16,190,957 (95.10%) have a nine-digit SSN listed on TEAM, some of these

            numbers are invalid. For instance, SSNs cannot start with three zeroes (000-XX-

            XXXX), nor can they end with four zeroes (XXX-XX-0000). They cannot start with a

            9 (9XX-XX-XXXX), nor start with a 666 (666-XX-XXXX), nor can they have two



9
  Karen Skiba, “Oldest American Credits Long Life to Avoiding Worry,” AARP, May 20, 2021. This individual
died in late January 2022.
10
   Nine individuals are listed with five-digit or six-digit social security numbers, which are invalid.


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             zeroes in the middle (XXX-00-XXXX). 11 All of these instances appear in the TEAM

             file and affect 183 records. Another 181 records share an SSN listed as XXX-XX-XXXX.

             Seven records share the SSN of XXX-XX-XXXX.

        44. Much more common than invalid SSN9s are duplicative SSN9s. Several hundred

             thousand records on TEAM share an SSN9 with another record. In most of these

             cases, these are multiple records of the same individual who has multiple rows with

             different VUIDs. In other cases, however, different people (with different names and

             dates of birth) are listed with a common SSN9. There are 15,835 records who share a

             9-digit SSN with another registrant in Texas, according to TEAM, but have a

             different last name, first name, and date of birth from that other listed registrant.

        45. Altogether, 15,895,752 individuals of the 16,190,957 listed with an SSN9 have a

             unique nine-digit SSN. That is, SSN9 is not unique for 1.82% of individuals who are

             listed with an SSN9. Thus, while a 9-digit SSN is, in principle, a unique identifier,

             that isn’t quite the case in TEAM records. A variety of circumstances can result in

             duplicate SSN9s, including individuals assigned incorrect SSN9s, such as 111-11-

             1111, and typos such that a person ends up being listed with the SSN9 of another

             person who has a similar SSN9.

        46. Driver’s License/ID card. Of all the records in TEAM, 537,270 (3.16%) are not listed

             with a DPS ID Number. Of these, 102,074 are also not listed with an SSN4 or SSN9.

             Apart from TEAM records missing a DPS ID Number altogether, other records have

             ID numbers listed that are not valid. For instance, 3,610 have a nine-digit DPS ID

             Number even though the DPS ID is officially an 8-digit number. Forty-seven


11
  Social Security Administration, “Social Security is Changing the Way SSNs are Issued,”
https://www.ssa.gov/kc/SSAFactSheet--IssuingSSNs.pdf.


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       individuals share an DPS ID Number of 11111111 and thirty individuals share the

       number 99999999.

       TABLE 3: Summary of Field Completeness in TEAM


    TOTAL Records in TEAM analysis                  17,026,054
    Records with unique SSN9                        15,895,752               93.36%
    Records with SSN4                               16,627,905                 97.66
    Records with DPS ID Number                      16,488,784                 96.84
    Records lacking SSN4 and DPS ID No.                102,074                   0.6


 47. Table 3 summarizes information about the SSN and DPS ID Number information

       contained in TEAM. In Table 3, records for SSN4 and DPS ID Number include those

       that are invalid. For instance, the 47 individuals listed with DPS ID numbers as

       11111111 are included in the totals. If such a person possesses a DPS ID Number that

       is not 1111111 and includes that number on a mail ballot application, election

       officials would reject the application as it does not match the 11111111 that is listed

       on TEAM.



 TABLE 4: Terminology Review


TEAM database        Database of registered voters (Texas Election Administration
                     Management system)
DPS database         Database of Department of Public Safety ID card holder (e.g.
                     driver's licenses)
DPS ID Number        An 8-digit DPS identification number (e.g. driver's license
                     number)
SSN9                 Complete, nine-digit social security number
SSN4                 The last four digits of a social security number


 48. Address and Gender. While most TEAM records list standard residential addresses,

       9,130 registrants are listed without a zip code and 11,621 records do not have a street



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             address number. Gender is either missing or defined as unknown or other than male

             and female for 627,115 records.

          49. Before proceeding with the next stage of the report, Table 4 reviews and summarizes

             a few key abbreviations of terms used up until this point in my report.



     V.      Methodology for Linking Records between TEAM and DPS

          50. As stated above, the methodology of this analysis is to look up each registered voter

             in the DPS database and determine if the registered voter has one (or more) DPS ID

             Numbers listed, and to see if there are typos or other inconsistencies between the DPS

             ID Numbers and SSN4s listed on TEAM versus those listed on the DPS Database.

          51. I will adapt a methodology I developed and published in Ansolabehere and Hersh

             (2017). 12 I will illustrate this methodology through an example of a fictitious

             registered voter. I will call this person John Smith and assign him the fake social

             security number of XXX-XX-XXXX and the fake birthdate of July 4, 1976. The fictitious

             John Smith is a male who lives at 655 E Cesar E. Chavez Blvd, San Antonio TX

             78205. This is the address of the United States Courthouse. It is a real address. But,

             again, our fake illustrative person, John Smith, does not actually live there.

          52. Suppose John Smith has a unique social security number listed on TEAM database.

             That is, his SSN9 is listed in registration records and no one else on TEAM is listed

             with that SSN9. He would be one of 93.36% of registered voters with a unique SSN9

             on the TEAM file. The first step of my analysis is to merge the TEAM file with the

             DPS file for these 93.36% of TEAM records on the basis of their SSN9s.


12
  Stephen Ansolabehere and Eitan Hersh, “ADGN: An Algorithm for Record Linkage Using Address, Date of
Birth, Gender and Name,” Statistics and Public Policy, 4:1, 2017.


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   TABLE 5: Illustration of Linking TEAM and DPS based on SSN9


TEAM Database                                   DPS Database
Name       SSN9        DPS ID No.               Name       SSN9                DPS ID No.
John Smith XXX-XX-XXXX (missing)                John Smith XXX-XX-XXXX           11223344


   53. In the scenario depicted in Table 5, John Smith does not have a DPS ID Number

      listed on the TEAM file (similar to more than half a million Texans). When I search

      for his SSN9 on the DPS file, however, I find his record and learn that he does, in

      fact, have a DPS ID Number. If Smith were to include only this DPS ID Number on

      his mail ballot application (as the mail ballot application form instructs him to do), his

      application would be rejected by election officials since that DPS ID Number does

      not appear in TEAM.

   54. After linking TEAM and DPS based on SSN9s, I calculate the key statistics, such as

      the number of individuals who, like Smith, do not have a DPS ID Number listed in

      TEAM but do have one listed in DPS.

   55. For two reasons, I also must match TEAM and DPS based on identifiers other than

      SSN9. For one, 6.5% of registrants in Texas are not listed in TEAM with a unique

      SSN9. For another, suppose there are inaccuracies in how SSN9 is stored. Maybe,

      when John Smith registered to vote, an election official entered Smith’s social

      security number with a typo, noting it as XXX-XX-XXXX instead of XXX-XX-XXXX. In this

      scenario, John Smith would not match to his DPS record based on the SSN9, since

      the SSN9 is recorded incorrectly. Additionally, if Smith were to submit a mail ballot

      application using the last four digits of his social security number as his identification,

      his application would be rejected. He would write “6789” as his SSN4, but the TEAM

      record would show “6782”.


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 56. Therefore, in addition to linking TEAM and DPS based on SSN9s, I also link the

    databases on combinations of personal information. The first combination I will use is

    first name + last name + date of birth. I use the following procedure. Observing that

    birthdate in TEAM is stored MM-DD-YYYY while in DPS it is stored as YYYY-

    MM-DD, I reconfigure the TEAM birthdate information to match DPS. Next,

    following my past research (Ansolabehere and Hersh, 2017), I prepare the first name

    and last name fields. Sometimes, names are stored differently in different databases.

    For instance, names with dashes, apostrophes, or spaces are sometimes stored with

    punctuation or spaces and other times not. Names with suffixes, such as Jr. or III, are

    sometimes stored with the suffix as part of the surname and other times not. I process

    the first and last names in TEAM by removing punctuation, spaces, and suffixes. I

    then combine the three fields into a field I will refer to as “ND” for name + date of

    birth.

 57. Thus, the fictitious John Smith would have an ND value of “JOHNSMITH1976-07-

    04.” I create this field in the TEAM file and I create an equivalent field in the DPS

    file. I then merge the files together on the basis of this ND field, just as I had done

    using SSN9. I can then compare how John Smith’s SSN4 and DPS ID Number appear

    on the TEAM file with how these numbers appear on the DPS file.

 58. Is ND a unique identifier similar to SSN9? Excluding the records of individuals who

    are missing birthdate information in TEAM, ND uniquely identifies 98.62% of

    individuals in TEAM. The remaining 1.38% are duplicative. Note that the rate of

    duplicates on ND is less than the rate of duplicates on SSN9 in TEAM (1.82%),




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    which was discussed above. In addition, because name and birthdate are rarely

    missing, the identifier is available for 17,021,992 (99.98%) of the records.

 59. There are several reasons why an individual might not have a unique ND identifier in

    a small number of cases. Similar to non-unique SSN9s, there are some individuals in

    TEAM who are listed multiple times, with different VUIDs, or perhaps at different

    addresses. The de-duplication processes described earlier in this report would not

    have accounted for individuals listed with different VUIDs. These individuals would

    nevertheless show up as duplicates on ND and SSN9. In addition, just as there are

    rare cases on TEAM where different individuals (with different names and birthdates)

    share an SSN9, there are a small number of individuals who are different people but

    share a value on ND. In the case of SSN9, the duplicate is due to an error, as no two

    individuals are supposed to share an SSN9. With the ND identifier, there are a small

    number of individuals who do share a first name, last name, and exact date of birth

    with another registrant.

 60. How common is it for two different people to share a value on ND? Consider

    individuals who have unique SSN9s on TEAM (N=15,895,752). Because they are

    unique on SSN9, they are not likely to include instances of individuals who are listed

    on TEAM more than once with different VUIDs. Of those with a unique SSN9,

    99.64% (15,838,711) also have a unique ND value. Thus, the remaining 0.36% may

    have a non-unique ND because they share a name and date of birth with another

    registrant.

 61. I guard against linking two different people who share a common ND by only

    attempting to link records if the value of ND is unique on the TEAM file. In other




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    words, for the 1.38% of records that are not unique on TEAM based on their ND

    (either because they contain erroneous information, identify individuals who are

    listed multiple times in TEAM, or identify multiple individuals who have the same

    name and birthdate), I do not attempt to link them to the DPS database using ND.

    Furthermore, in an analysis described below, I will be able to estimate whether

    individuals who are listed in TEAM are a false-positive match to different individuals

    with the same names and birthdates who are listed in DPS.

 62. In addition to linking TEAM and DPS based on SSN9 and based on the combination

    of name and birthdate, I perform one additional linkage between the files, based on

    address, gender, and date of birth. Why is this additional linkage necessary? While

    the Name + Date of Birth combination is available for nearly all registrants in TEAM

    and exhibits a higher rate of uniqueness than SSN9, it does have a drawback in

    linking individuals between two databases. Namely, it is stored less consistently than

    SSN9. Surnames often change when people marry. First names are sometimes

    recorded with nicknames. The fictitious John Smith may have registered to vote using

    his nickname, Johnny Smith. Or, maybe John Smith took on a hyphenated surname

    when he got married. As such, he is listed as John Smith in the DPS records but John

    Smith-Jones on TEAM. Name inconsistencies across databases mean that a person

    with a unique name and date of birth on TEAM might fail to match to his or her

    record on DPS.

 63. Accordingly, I also link records between TEAM and DPS with an alternative

    identifier that excludes name information. I match individuals based on a combination

    of address, date of birth, and gender. Following procedures discussed in Ansolabehere




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    and Hersh (2017), I extract two pieces of information from addresses, the street

    number and the five-digit zip code. I then combine them. Our fictitious character John

    Smith lives at 655 E Cesar E. Chavez Blvd, San Antonio TX 78205. From this

    address, I would extract 65578205 (the 655 from the street number, the 78205 from

    the zip code). By extracting just these numbers, I avoid possible inconsistencies in

    how addresses are stored in different databases. In one database, Smith’s address

    might be listed as “E Cesar E Chavez Blvd” whereas in another database it could be

    listed as “East Cesar Chavez Boulevard”. Due to inconsistences in naming

    conventions of streets, I focus just on the street number and zip code.

 64. I combine the address information with the date of birth and gender (represented by

    “M” or “F”) of registrants. I call this combination ADG, for address + date of birth +

    gender. For instance. John Smith’s ADG combination would be 655782051976-07-

    04M. If the individual does not have residential address information listed but does

    have mailing address information listed, I use the mailing address (and PO boxes,

    when street addresses are not present) in place of the residential address.

 65. The ADG identifier can be constructed for all registrants who have a gender,

    birthdate, and address listed. This amounts to 16,398,349 individuals (96.31% of

    TEAM). Of these, the ADG identifier is unique for 99.29% of them. This compares to

    98.62% for ND and 98.18% for SSN. Among individuals who are unique on SSN,

    99.52% are also unique on ADG.

 66. As with the other identifiers, there are rare circumstances where two different

    individuals share the same ADG identifier. For instance, two twins of the same

    gender who are registered at the same address would be two different people with a




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    matching ADG. As with the other identifiers, I only seek to link records based on

    ADG for individuals who are unique on ADG in the TEAM file. Thus, in the case of

    same-gender, same-address twins, I would not seek to link them to DPS based on

    ADG. However, assuming they are uniquely identified by either their SSN or DN,

    they would be linked to the DPS file in those ways.

 67. Just as the ND combination will not match individuals if there is a discrepancy in the

    name or date of birth field, the ADG combination will not match individuals if there

    is a discrepancy in the address, gender, or date of birth fields. The most likely

    scenario of a non-match on ADG is when an individual has an old residential address

    listed on one database and a new residential address listed on another database. If a

    person has two different addresses listed on TEAM and DPS, then the person’s

    records will not match on ADG. However, assuming the individual has a unique

    SSN9 listed OR has his/her name and birthdate listed consistently across databases,

    then the person on TEAM would match to his/her record on DPS. Out of all

    17,026,054 registered voters, I can attempt to link all but 39,549 (0.23%) records to

    DPS. These 0.23% of records are not unique on the TEAM file on any of SSN9, ND,

    or ADG.

 68. Table 6 summarizes the names of the fields used to match across databases. On the

    DPS file, I create a parallel set of fields: SSN9, ND, and ADG. The major difference

    between preparing the TEAM file and the DPS file is that the DPS file has multiple

    rows of individuals who have more than one DPS ID Number. Thus, the linkage

    fields are meant to uniquely identify individual people on DPS but they are not meant

    to uniquely identify individual records. When linking records between TEAM and




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        DPS, I thus perform 1-to-many merges. This means that for each TEAM record that is

        unique on SSN9, I find one or more records on DPS that match that SSN9. For each

        TEAM record that is unique on ND, I find one or more records on DPS that match

        that ND. And for each TEAM record that is unique on ADG, I find one or more

        records on DPS that match that ADG.



     TABLE 6: Summary of Fields Used in Linking TEAM Database to DPS Database


Field Name   Explanation                                “John Smith” example
SSN9         9-digit social security number             “XXX-XX-XXXX”
ND           First name + Last name + Date of birth     “JOHNSMITH1977-07-04”
ADG          Address + Date of birth + Gender           “655782051976-07-04M”



     69. In creating these linkage combinations, some questions may arise. First, if a record in

        TEAM links to a record on DPS based on ND or ADG, how confident ought we be

        that the person with these name, birthdate, address, and gender attributes on TEAM is

        the same person with these attributes on DPS? Below, I will validate the accuracy of

        the linkage technique by comparing social security numbers of those who match on

        ND or ADG. I will show that a person who matches on ND or ADG almost always

        matches on SSN9 as well. And when the person does not have matching SSN9s, it is

        far more likely to be due to a typographical error in SSN9 rather than a false positive

        match on ND or ADG.

     70. The second question that arises is why use the particular combinations here (ND and

        ADG) rather than other possible combinations. Indeed, in prior court cases and

        published work, I utilized alternative algorithms. For instance, in Fish v. Kobach, I

        utilized ND, ADN (address, date of birth, and name), and AD (address and date of


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    birth). In Hersh and Ansolabehere (2017), which relates to expert testimony of Dr.

    Ansolabehere in Veasey v. Perry, we used several additional combinations, such as

    gender, date of birth, and name (GDN).

 71. The exact set of linking combinations depends on the features of the data and the

    research question in any particular case. The methodology can be adapted based on

    what is needed. For instance, in Veasey v. Perry, a nine-digit social security number

    was only available for half of registered voters in Texas (Ansolabehere and Hersh,

    2017). In the present case, SSN9 is available for over 90% of registrants. As such,

    one need to rely less on combinations of other identifiers. In the current data, because

    gender is missing for about 4% of records but name and birthdate are missing for less

    than 0.01% of records, it is advantageous to link based on name and birthdate (ND)

    without adding gender to that combination. Because first names are typically

    distinctive by gender, gender only aids in generating unique identifiers in rare cases

    when two individuals with the exact same name and birthdate are of different

    genders.

 72. The combinations used here, ND and ADG, are advantageous because they uniquely

    identify almost every registered voter and together, they are able to do so without

    using the name field (in the case of ADG) and the address field (in the case of ND).

    Due to residential moves, nick-names, and married names, these two fields can be

    stored inconsistently across databases. Successive attempts at matching based on

    SSN9, ND, and ADG allow for matches to individuals who are missing data or have

    inconsistent records on SSN9, name, address, and gender.




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 73. Finally, as the analysis below demonstrates, the three linkages used here identify

    almost all (98.7%) of registrants on the DPS database who have a DPS ID Number

    listed on TEAM. Additional attempts to link the databases based on different

    combinations of address, gender, date of birth, and name would only serve to find a

    few more DPS ID holders and identify a few more instances of problems associated

    with SB 1’s identification number requirements.



 Subpopulations

 74. In addition to preparing the DPS database and TEAM databases as described above, I

    prepare the data files so I can observe rates of problematic SSN4s and DPS ID

    Numbers for specific subpopulations of registered voters.

    a. Over 65: I create a file that notes every registered voter listed as born before 1957

        and after 1906. This represents the over-65 population (excluding those with

        implausibly old birthdates).

    b. Recent Voters: I create a file that notes every registered voter who cast a ballot in

        the November 2020 election. Why these voters? I sought to determine whether

        problems with the ID verification requirement are just concentrated among

        registrants who have obsolete records or who have not recently cast ballots. If that

        were the case, maybe the problems identified would not be seen as acute.

        However, problems affecting records of individuals who just recently voted

        suggests the identification verification requirement impacts actively engaged

        voters.




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         c. Overseas Voters: I create a file that notes every registered voter who has a non-

             US mailing address. These could include some members of the armed forces,

             military families, and other overseas citizens who would be particularly likely to

             cast ballots by mail.

         d. Homebound/Disabled Veteran: In the DPS database, individuals are flagged if

             they have a status as a disabled veteran or a homebound person. I perform a

             separate link between TEAM records and the DPS records of those who have a

             disabled veteran flag or homebound flag using the same methodology as used for

             the general population.



VI.      Linkage Part I: TEAM Records with missing DPS ID Numbers

      75. I divide the analysis into two parts. First, I examine individuals whose TEAM records

         do not show any DPS ID Number. Second, I examine individuals whose TEAM

         records do show a DPS ID Number.

      76. Out of 17,026,054 records in TEAM, 537,270 do not have a DPS ID Number listed in

         the voter registration records. If any of these individuals actually has a DPS ID

         Number, they are instructed by the mail ballot application forms to include that DPS

         ID Number. But SB 1 requires that these forms – the application and the ballot itself –

         to be rejected because the DPS ID Number is not listed on TEAM.

      77. Registrants who do not have a DPS ID Number recorded on TEAM are different from

         those who do have a DPS ID Number recorded on TEAM. Namely, they are older.

         The median age for a registrant without a DPS ID Number on TEAM is 58. The

         median age for a registrant with a DPS ID Number on TEAM is 48. Whereas 24% of




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    individuals with a DPS ID Number on TEAM are 65 or older, that rate is nearly

    double (42%) for individuals without a DPS ID Number. Age 65 and older is relevant

    as all voters 65 and older may request an absentee ballot under Texas law.

    TABLE 7: TEAM records by Presence/Absence of Unique SSN9 and DPS ID

    Number


                                    Unique SSN9
                                    Present    Absent TOTAL
               DPS ID   Present     15,745,864 742,920 16,488,784
               Number   Absent       149,888   387,382  537,270


 78. I link the 537,270 individuals who do not have DPS ID Numbers recorded in TEAM

    to the DPS database using the SSN, ND, and ADG techniques described above.

 79. I first link by SSN9. Of the 537,270 individuals without a DPS ID Number, 149,888

    have a unique SSN9 listed (as noted in Table 7). Of those, 83.93% match to the DPS

    database by their SSN9. A total of 76.18% of the records match to a single DPS ID

    Number, and 7.75% link to multiple DPS ID Numbers.

 80. I next link these individuals based on ND. As noted in Table 7, most individuals who

    lack DPS ID Numbers on TEAM also lack an SSN9. However, nearly all of the

    records have a unique ND combination. Of the 537,270 lacking a DPS ID Number on

    TEAM, 517,283 (96.28%) have a unique ND. Of those who have a unique ND,

    33.86% match to a single DPS record and 5.46% match to multiple DPS records.

 81. I next link these individuals based on ADG. Of 537,270 records lacking a DPS ID

    Number on TEAM, 478,632 (89.09%) have a unique ADG. Of those with a unique

    ADG, 36.82% match to a single DPS record and 4.54% match to multiple DPS

    records.



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    TABLE 8: Results of Linking TEAM to DPS Records for TEAM Records without a

    DPS ID Number listed


         No Match to DPS      Single Match to DPS       Multiple Match to DPS        Attempted
                                                                                     to Match
SSN9          16.07%                  76.18%                      7.75%                149,888
ND             60.68                   33.86                       5.46                517,283
ADG            58.63                   36.82                       4.54                478,632
Any            47.97                   45.64                       6.39                531,251


    82. Table 8 summarizes the analysis of records that do not have a DPS ID Number listed

          on the TEAM voter file. Each of the first three rows summarizes a linkage between

          TEAM and DPS based on SSN9, ND, and ADG, respectively. For instance, the first

          row shows that I attempted to match 149,888 records in TEAM based on SSN9. This

          reflects the number of TEAM records with a unique SSN9. Of those, 16.07% did not

          match to DPS. The others did match.

       83. The bottom row of Table 8 provides the overall summary for the TEAM records

          lacking a DPS ID Number. Of the 537,270 total records lacking a DPS ID Number, I

          attempted to link 531,251 (98.88%) to the DPS database. (The other 1.12% did not

          have a unique or complete value for SSN9, ND, or ADG). Of the 531,251 individuals

          I attempted to find on DPS, a majority (52.03%) matched to a DPS record. That

          amounts to 276,405 registered voters. These individuals possess a DPS ID Number

          and therefore are instructed by Texas’s mail ballot forms to list their DPS ID Number

          on their mail ballot application. However, SB 1 requires that their ballot application,

          and their ballot, to be rejected because the number is not listed on TEAM.

    84. Subpopulations: Of the 276,405 individual who match to DPS and have a DPS ID

          Number even though no such number is listed on TEAM,



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            •   155,583 are over age 65

            •   95,892 voted in the 2020 election

            •   59,567 are over 65 AND voted in the 2020 election

            •   374 have non-US mailing addresses

            •   781 individuals matched to DPS records indicating homebound status or

                disabled veteran status.

 These numbers clearly show that many active voters who are eligible to vote by mail

 under Texas law are listed in TEAM without DPS ID Numbers but do in fact possess

 DPS ID Numbers.

 A. Validation of Methodology

 85. There are obvious reasons why an individual who matches on SSN9 would fail to

    match on ND or ADG. If there is a nickname used in one database, if a surname has

    changed, if gender is not recorded as male or female, or if an address has changed,

    this would cause individuals who match on SSN9 not to match on one or more of the

    other combinations. However, individuals who match on ND or ADG but DO NOT

    match on SSN9 present a puzzle. Do these individuals fail to match on SSN9 because

    ND or ADG are causing false positive matches between two different people? Or do

    these individuals fail to match on SSN9 because the SSN9 information is recorded in

    error on either TEAM or DPS?

 TABLE 9: Rates of Mismatches on SSN9 for Records that Matched on ND or ADG


        If matched on…       SSN9 Match       SSN9 No Match           N
        ND                      97.63              2.37             83,504
        ADG                     97.66              2.34             98,547



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 86. In Table 9, I show how often records that match on ND or ADG do not match on

    SSN9. It is rare. For instance, the first row assesses those who have SSN9 present on

    both TEAM and DPS and who matched on ND. Of these 83,504 individual records,

    97.63% also matched on SSN. As the table shows, on both ND and ADG, just over 2

    percent of individuals have mismatched SSN9s.

 87. In these 2 percent of cases with mismatched SSN9s, I conduct a further analysis. This

    analysis demonstrates conclusively that individuals who match on ND or ADG but

    not on SSN9 fail to match because of typos in SSN9 rather than because these linkage

    strategies generate false-positive matches.

 88. The further analysis I conduct uses a measurement tool known as Levenshtein

    distance. The Levenshtein distance is simply the number of characters in a string that

    would need to change in order for two strings to match each other. For instance,

    consider these two strings of numbers. String #1 is: XXX-XX-XXXX. String #2 is: 123-

    45-6788. The Levenshtein distance between these two strings is 1, since only one

    character would need to change for these two strings to be identical. Now consider

    the Levenshtein distance between String #1 (XXX-XX-XXXX) and a new string, String

    #3. String #3 is XXX-XX-XXXX. The Levenshtein distance between String #1 and String

    #3 is 8, because 8 of the 9 numbers in String #1 (all the numbers except the 5) would

    need to change for XXX-XX-XXXX to equal XXX-XX-XXXX.

 89. Now consider the registrants in TEAM who match to individuals in DPS based on

    their ND or ADG, but they do not have matching SSN9s. If these represent false-

    positive matches (i.e. two different people who share traits such as name, address,

    birthdate, and gender), then their social security numbers should be entirely different




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    from one another. If their social security numbers are entirely different from one

    another, then the Levenshtein distance should be high (i.e. most or all of the numbers

    in the SSN9 would need to change for these two random people to have matching

    SSN9s). However, consider another possibility, which is that the person who matches

    on ND or ADG but not on SSN9 is one individual with one SSN9, but there is an

    error in how this person’s SSN9 is recorded either on TEAM or on DPS. The

    recording error in a Texas database would be the reason the records do not match

    based on an SSN9. If there is a typographical error on one or two of the digits, then

    the Levenshstein distance would be low (i.e. just one or two of the digits would need

    to change for these two SSN9s to match).

    TABLE 10: Levenshtein Distance Measures between SSN9 on DPS and SSN9 on

    TEAM for records that match on ND or ADG but Do Not Match on SSN9


                                        ND    ADG
                               1      65.49% 66.07%
                               2       18.47  18.98
                               3        2.57   2.61
                               4        1.87   1.95
                               5        1.56   1.61
                               6        2.62   2.65
                               7        3.18   2.52
                               8        2.98   2.69
                               9        1.26   0.91
                               N       1,982  2,302


 90. For each record that matches on ND or ADG but does not match on SSN9, I compare

    the SSN9 as it is recorded in TEAM and the SSN9 as it is recorded in DPS. In Table

    10, I record the distribution of Levenshtein distances. As is shown, for approximately

    85% of these cases, the Levenshtein distance is 1 or 2, which signals that the SSN9s



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       as recorded in TEAM and DPS are identical but for one or two digits. Table 10

       provides conclusive evidence that in the rare cases in which records match on DN or

       AGD but not on SSN9, it is overwhelmingly because there are typos in the recording

       of SSN9s.

   B. Typographical Errors in SSN4

   91. The above analysis is not only useful in validating the linkage technique used here. It

       also signals an issue with SB 1. Namely, some typos in SSN9 happen to be in the last

       four digits of the social security number. A registered voter who applies for a mail

       ballot and records their SSN4 correctly on the application will have their application

       rejected if there is a typo in SSN4. Among registrants who lack a DPS ID Number

       recorded on TEAM but who match to a record in DPS based on ND or ADG, I

       compare the SSN4 as recorded on the two databases. I find that 3,726 individuals who

       appear on both databases have discrepancies in their SSN4s. If the DPS records of

       SSN are correct, then these 3,726 cases result from inaccuracies on TEAM. They

       would result in election officials rejected mail ballot forms from citizens who include

       their correct SSN4 on the forms.



VII.   Linkage Part II: TEAM Records Listed with DPS ID Numbers

   92. I now turn to the analysis of the 16,488,784 records in which a DPS ID Number is

       listed in the TEAM databases. As noted above, in Table 7, 95.5% of these records

       have a unique SSN9 associated with them. I first link these records to DPS by

       matching on SSN9. Of 15,745,864 records with a unique SSN9 on TEAM, 99.66%




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          match to a record in DPS. However, 15.60% of the records match to more than one

          DPS ID Number.

       93. Next, I link records based on the ND combination. The ND combination is unique for

          16,269,349 individuals who have a DPS ID Number listed on TEAM. Of these,

          97.39% match to a record in DPS. However, 15.20% match to more than one DPS ID

          Number.

       94. Next, I link records based on the ADG combination. The ADG combination is unique

          for 15,803,406 individuals who have a DPS ID Number listed on TEAM. Of these,

          79.32% match to a record in DPS. However, 9.84% match to more than one DPS ID

          Number. Notice, fewer individuals on TEAM match to records on DPS based on the

          ADG indicator compared to the ND indicator. This is attributable to residential

          address differences between individuals listed on TEAM and those same individuals

          listed on DPS.

TABLE 11: Results of Linking TEAM to DPS Records for TEAM Records with a DPS ID

Number listed


           No Match to DPS      Single Match to DPS      Multiple Match to DPS      Attempted
                                                                                     to Match
SSN9            0.34%                  84.06%                     15.60%            15,745,864
ND               2.61                   82.19                      15.20            16,269,349
ADG             20.68                   69.48                       9.84            15,803,406
Any              1.30                   85.25                      13.45            16,455,254


       95. Table 11 summarizes the analysis of records missing a DPS ID Number on the voter

          file. Consider the bottom row. Of the 16,488,784 records in TEAM listed with a DPS

          ID Number, I attempted to link 16,455,264 (99.80%) of them to the DPS database.

          The remaining 0.20% did not have a unique or complete record on SSN, ND, and


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    ADG. Of these 16,455,254 records, 98.70% (that is, all but 1.30%) matched to a

    record in DPS. However, 13.45% of these 16.5 million people are listed more than

    once on DPS, with multiple ID numbers. These 13.45% of records sum up to

    2,213,676 records. That is, for 2.2 million Texas registered voters who have a DPS ID

    Number listed, they may put a correct DPS ID Number on their mail ballot

    application form but nevertheless have their application (or their ballot) rejected

    because the DPS ID Number they write down, while correct, happens not to be the

    DPS ID Number recorded on the TEAM file.

 96. The 2.2 million figure may be a significant underestimate. Recall that on about 10%

    of rows in the DPS file, ID holders are listed not just with one DPS ID Number but

    they have alternative ID numbers stored as “AKA DL/ID Numbers.” Of the

    14,027,371 TEAM records that linked to a single DPS ID Number, 1,412,213 of them

    linked to a record that listed alternative ID numbers in the “AKA DL/ID Number”

    field. If these ID Numbers are current or expired Texas ID Numbers such as driver’s

    license numbers, a registrant who uses these alternative numbers when submitting a

    mail ballot application or mail ballot would also have his or her forms rejected.

    However, as stated earlier, it is unclear from the information Texas has provided thus

    far whether the “AKA DL/ID Number” field includes any DPS ID Number or some

    DPS ID Numbers combined with ID numbers from other states or other kinds of

    numbers altogether. Accordingly, I will focus here on registered voters who have

    multiple DPS ID Numbers exclusive of the AKA DL/ID Numbers.

 97. Subpopulations: Of the 2,213,676 individuals who match to multiple DPS ID

    Numbers,




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              •   189,699 are over age 65

              •   1,105,194 voted in the 2020 election

              •   114,129 are over 65 AND voted in the 2020 election

              •   277 have non-US mailing addresses

              •   5,308 individuals matched to DPS records indicating homebound status or

                  disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with a DPS ID Number but possess multiple DPS ID

   Numbers. If they list a DPS ID Number other than the one that happens to be recorded in

   TEAM, SB 1 requires their mail ballot forms to be rejected.

   A. Validation of Methodology

   98. As in the analysis regarding individuals not listed with DPS ID Numbers, I now

      conduct the same validation exercise for those who do have DPS ID Numbers listed.

      Namely, I investigate the records that matched between TEAM and DPS based on

      ND and/or ADG, but did not match across databases on SSN9.

TABLE 12 Rates of Mismatches on SSN9 for Records that Matched on ND or ADG


                                             SSN9
        If matched             Match                No Match             N
        on…
        ND                     99.81                  0.19          15,420,951
        ADG                    99.78                  0.22          12,100,999


   99. In Table 12, I restrict the analysis to those who have an SSN9 recorded both in the

      TEAM file and the DPS file. The rows indicate the percent that matched on SSN9. As




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    Table 11 shows, if an individual record linked based on ND or ADG, the record also

    links based on SSN9 in 99.8% of cases. But even in these 0.2% of cases, why do

    individuals link on name, address, date of birth, and gender, but not on SSN9?



 TABLE 13: Levenshtein Distance Measures between SSN9 on DPS and SSN9 on

 TEAM for records that match on ND or ADG but Do Not Match on SSN9


                                         ND        ADG
                              1        70.06%     70.51%
                              2         19.24      19.30
                              3          2.36       2.32
                              4          1.56       1.56
                              5          0.71       0.70
                              6          1.27       1.19
                              7          1.85       1.65
                              8          1.99       1.86
                              9          0.94       0.91
                              N        29,982     26,520


 100.   As Table 13 shows, in 90% of cases in which a record links based on ND or ADG

    but not SSN9, the SSN9 listed in TEAM and the SSN9 listed in DPS are off by just

    one or two digits. This is indicative that typos in one or two positions in an SSN9 are

    the cause of most the mismatches.

 B. Typographical Errors in SSN4

 101.   Looking just at the last 4 digits of social security numbers, I calculate the number

    of individuals in TEAM who match to records in DPS based on ND and ADG, but

    whose TEAM records show a different SSN4 than is shown on DPS. There are

    40,718 individuals who appear on DPS with different SSN4s than shown on TEAM.

    If the DPS database is correct and these individuals mark down their correct SSN4 on



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    a mail ballot application, then their application will be rejected because of incorrectly

    recorded data in TEAM.

 102.   Subpopulations: Of the 40,718 individuals whose SSN4s listed on TEAM do not

    match the SSN4s listed in the DPS database

            •   15,544 are over age 65

            •   28,880 voted in the 2020 election

            •   12,015 are over 65 AND voted in the 2020 election

            •    25 have non-US mailing addresses

            •   98 individuals matched to DPS records indicating homebound status or

                disabled veteran status.

 These numbers clearly show that many active voters who are eligible to vote by mail

 under Texas law are listed in TEAM with an SSN4 that is inconsistent with the SSN4

 listed in the DPS database.

 C. Typographical Errors in DPS ID Numbers

 103.   Just as there are discrepancies between the SSNs listed in TEAM and the

    corresponding SSNs listed in DPS, there are also discrepancies in DPS ID Numbers.

    However, they are more complicated to tabulate. For each of the three linkages

    (SSN9, ND, and ADG), I calculate the rate of mismatches on DPS ID between the

    two databases. As Table 14 shows, in over 99% of cases, the DPS ID Number listed

    on TEAM matches one of the DPS ID Numbers listed in the DPS database. (In this

    analysis, for registrants who match to multiple DPS ID Numbers, I count them in the

    “match” column if one of the DPS ID Numbers listed in DPS matches the DPS ID

    Number listed in TEAM.)


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 TABLE 14 Rates of Mismatches on DPS ID Number for Records that Matched on

 SSN9, ND, or ADG


   If matched on…       DPS ID Match          DPS ID No Match         N
   SSN9                      99.59                  0.41          15,692,006
   ND                        99.56                  0.44          15,844,010
   ADG                       99.24                  0.76          12,536,045


 104.   Table 15 calculates Levenshtein distances between the DPS ID Numbers recorded

    on TEAM and the DPS ID Numbers recorded on DPS. The table makes the

    calculation for the less than 1% of individuals who have mismatched DPS ID

    Numbers. For individuals on TEAM whose records match to multiple DPS ID

    Numbers, the table reflects the DPS ID Number on the DPS database that is closest

    (i.e. has the lowest Levenshstein distance).




 TABLE 15: Levenshtein Distance Measures between DPS ID Number on DPS and

 DPS ID Number on TEAM for records that match on SSN9, ND, or ADG


                                  SSN9    ND     ADG
                              1   25.36% 26.05% 15.71%
                              2      6.94   7.22   4.51
                              3      1.25   1.33   1.13
                              4      2.20   2.22   2.47
                              5      8.58   8.35   9.93
                              6     22.54  21.64  25.92
                              7     24.89  24.70  29.76
                              8      8.24   8.49  10.57
                              N    64,346 68,959 94,870




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 105.   As Table 15 shows, about 20-33% of mismatched DPS ID Numbers are off by

    just one or two digits. The majority of those with mismatched DPS ID Numbers show

    entirely different DPS ID Numbers. For example, consider the 64,346 individuals

    (Table 15, Column 1) who have a DPS ID Number and SSN9 listed on TEAM. They

    were matched to DPS records based on their SSN9. However, a comparison between

    the DPS ID Number listed in TEAM and the DPS ID Number listed in the DPS

    database show mismatching DPS ID Numbers. While a third of these are just off by

    one or two digits (suggesting typographical errors), most are showing completely

    different DPS ID Numbers.

 106.   Why does this occur? In some of the cases where the DPS ID Numbers are

    completely different, it is because these individuals in TEAM have a typo in their

    social security numbers rather than their DPS ID Numbers. When they match to a

    record in the DPS ID database based on their SSN9, they are actually matching to a

    different person (i.e. they match to the person who has the social security number that

    is incorrectly recorded for them). In other cases, these registrants may be matching to

    the right record in DPS, but the DPS database shows an entirely different DPS ID

    Number than is shown in TEAM.

 107.   In order to provide an estimate of the number of registrants who have a DPS ID

    Number listed in TEAM that is different than the DPS ID Number listed in DPS, I

    cannot count all the results in Table 15. Some of these individuals might have an

    accurate DPS ID Number but they have an inaccurate SSN9, so if they just use their

    DPS ID Number when submitting a mail ballot application, their application would

    not be rejected.




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 108.   Thus, I will use conservative estimate of faulty DPS ID Numbers. I use the lowest

    Levenshtein distance of any of three linkages (SSN9, ND, ADG). An example will

    help explain this. Suppose John Smith has a typo in his SSN9 as it is listed in TEAM.

    His SSN9 is XXX-XX-XXXX, but it is listed in TEAM as XXX-XX-XXXX. When I link his

    record to DPS, his links to another person’s records. She is Jane Doe, and her SSN9 is

    XXX-XX-XXXX. Now, when I compare the DPS ID Number on John Smith’s TEAM

    record to the DPS ID Number on the record he matches to (Jane Doe’s record), the

    DPS ID Numbers are completely different. They might have a Levenshtein distance

    of 6, 7, or 8.

 109.   However, I also link John Smith to his DPS record based on his ND and ADG

    combinations. In those linkages, Smith links to his actual record in DPS. If there are

    no typos or other discrepancies in how his DPS ID Number is stored, he would have a

    Levenshtein distance of zero, and I would not treat this as a problematic record with

    respect to the DPS ID Number. (I would, of course, treat it as a problematic record

    with respect to the faulty SSN9). However, suppose that Smith also has a typo or

    other discrepancy in his DPS ID Number. On TEAM, his DPS ID Number would

    read 11223345, but on the DPS database his DPS ID Number would read 11223344.

    The comparison between these numbers would generate a Levenshtein distance of 1.

 110.   For each person in TEAM, I thus calculate the Levenhstein distance between their

    DPS ID Number listed in TEAM and the closest DPS ID Number they link to in the

    DPS database. By this conservative estimation method, I calculate that 68,190

    individuals do not have a DPS ID Number in TEAM that matches any DPS ID

    Number in DPS.




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   111.   Subpopulations: Of the 68,190 individuals on TEAM who match to DPS on

      SSN9, ND, and ADG, but do not have DPS ID Numbers that correspond to the DPS

      database,

              •    17,270 are over age 65

              •    34,187 voted in the 2020 election

              •    11,690 are over 65 AND voted in the 2020 election

              •    18 have non-US mailing addresses

              •    370 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

VIII. Summary of Results

   112.   To comply with the identification verification requirements in SB 1, registered

      voters who have a DPS ID are instructed to record their ID number on a mail ballot

      application and again when submitting a mail ballot. If they do not have an ID

      number, they must record their SSN4.

      a. 276,405 registered voters are not listed in TEAM with a DPS ID, but they do have

          a DPS ID. These individuals are instructed to list their DPS ID, but when they do

          so, their ballot or ballot application will be rejected.

              i.   Of these, 155,583 are over 65 years old, 59,567 of whom voted as

                   recently as the 2020 general election.

             ii. Of these, 1,155 have overseas addresses or are listed as disabled veterans

                   or as homebound citizens.

      b. 2,213,676 individuals who are listed on TEAM with an associated DPS ID have

          more than one DPS ID Number. If they happen to write down a DPS ID number



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             that is correct but is not the DPS ID number recorded in TEAM, their ballot or

             ballot application will be rejected.

                 i. Of these, 189,699 are over 65 years old, 114,129 of whom voted as

                    recently as the 2020 general election.

                ii. Of these, 5,585 have overseas addresses or are listed as disabled veterans

                    or as homebound citizens.

         c. 44,444 individuals have SSN4s listed in their TEAM records that do not match

             the SSN4s listed in the DPS database.

         d. At least 68,190 individuals who are listed on TEAM registration records with a

             DPS ID Number do not show the same DPS ID Number listed in the DPS

             database.

      113.   Altogether, over 2.6 million registered voters in Texas (out of 17 million) are at

         risk of having a mail ballot or mail ballot application rejected due to identification

         number requirements in SB 1. These numbers do not include individuals who have

         misplaced or surrendered their IDs or who mis-enter information on a mail ballot

         form. These 2.6 million individuals can correctly fill out their forms, but their

         applications and ballots would be rejected nonetheless.

IX.      Conclusion

      114.   The identification number requirements of SB 1 require election officials to reject

         mail ballots and mail ballot applications from a large number of voters due to

         limitations and errors in the state’s record-keeping practices rather than due to any

         limitations or oversights on the part of eligible voters. Texas’s databases are simply

         not well-suited to SB 1’s demands. The law demands that those who have a DPS ID




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          list the ID number on mail ballot applications. Yet, many of these ID numbers are not

          stored by Texas on its voter registration records. The law demands that some

          registrants include social security number information. But the state database has tens

          of thousands of typos in its recording of Texans’ social security numbers. The

          database has even more typos in its recording of Texans’ DPS ID Numbers. The law

          demands that voters list one of their DPS ID numbers when applying for a mail ballot,

          but millions of voters have more than one DPS ID number, and election official are

          only able to validate one of them.

      115.   The disconnect between the quality and completeness of Texas’s records versus

          the demands of SB 1 results in election officials delaying and/or preventing citizens

          from casting ballots who follow all the rules and are eligible to vote by mail. As I

          have shown, over 2.6 million Texans can follow all the rules and instructions set forth

          by SB 1 when applying for, or submitting, an absentee ballot, and they still face a

          substantial risk that their applications and ballots will be rejected. Those affected

          include Texans living overseas, disabled veterans and homebound citizens living at

          home, plus over 350,000 senior citizens.

      I declare under penalty of perjury under the laws of the United States that the forgoing is
      true and correct to the best of my knowledge.


DATED this 28th Day of February, 2022.




      ________________________
      Eitan Hersh



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                                                      E ITAN H ERSH



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Employment
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   Assistant Professor, Political Science
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Education
Ph.D. in Political Science, Harvard University (2011)
M.A. in Political Science, Harvard University (2010)
B.A. in Philosophy, Tufts University, summa cum laude (2005)


Books
Eitan Hersh. The Golden Rulers: Business, Wealth, and Civic Leadership in America. Current book project, in development.
Eitan Hersh. 2020. Politics is for Power: How to Move Beyond Political Hobbyism, Take Action, and Make Real Change. New York:
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Teaching
“Information, Technology, and Political Power”
“U.S. Elections: Rules, Strategies, Outcomes”
“Advanced Seminar on U.S. National Elections”
“The Flow of Power: Civic Journalism”


Awards & Fellowships
Emerson Collective Fellowship, 2022
Grant for Antisemitism study, Klarman Family Foundation and One8 Foundation, 2020
Best Book in Information, Technology, and Politics, APSA, 2016
Pi Sigma Alpha award for best paper presented at MPSA, 2013
MPSA Emerging Scholar award, 2013



Referee Service
American Journal of Political Science American Political Science Review, American Politics Research, American Sociological Review,
British Journal of Political Science, Economics and Politics Election Law Journal, Electoral Studies, Journal of Elections, Public
Opinion and Parties Journal of Experimental Political Science, International Journal of Public Opinion Research, Journal of Politics,
Journal of Urban Affairs Legislative Studies Quarterly, Political Analysis, Political Behavior, Political Psychology, Political Research
Quarterly, Political Science Research and Methods, Politics and Governance, Proceedings of the National Academy of Sciences, PS:
Political Science and Politics, Public Opinion Quarterly, Research and Politics, Review of Economics and Statistics, State Politics and
Policy Quarterly.


Invited Talks
    I have given presentations at annual meetings of the American Political Science Association, Midwest Political Science Associa-
tion, and Society for Political Methodology.
    I have given invited talks at Boston University, BYU, Columbia, Chicago, Dartmouth, Harvard, Harvard Kennedy School, Harvard
Medical School, McGill, MIT, NYU, UCLA, University of Massachusetts-Amherst, Michigan, UNC, UPenn Annenberg School,
Princeton, Stanford, Stanford Law School, Washington University-St. Louis, Yale, and Yale Law School.



Consulting & Service
Editorial Board, Election Law Journal, 2020-
Academic Advisor, Free Expression Survey, Knight Foundation, 2021-2022.
Academic Advisor, Antisemitism Survey, Anti-Defamation League, 2021-2022.
Member, Brookline, MA, Select Board’s Taskforce to Reimagine Policing, 2020-2021
Academic Advisor, 100 Million: Nonvoter Study, Knight Foundation, 2019-2020.
Witness, United States Senate Committee on the Judiciary, May 16 2018
(Facebook/Cambridge Analytica scandal)
Commissioner, Commission on Youth Voting and Civic Knowledge, CIRCLE, 2012-14
Statistical Consultant, Texas v. Holder (Voter ID case)
Statistical Consultant, Veasey v. Perry (Voter ID case)
Expert, Judicial Watch, et al v. King, et al, Indiana Voter Registration Case
Expert, Fish v. Kobach, Kansas Voter Registration Case
Expert, Stringer, et al v. Pablos, Texas Voter Registration Case
Expert, United States v. Eastpointe, MI, Voting Rights Act case
Expert, Collins v. Adams, Kentucky Voter ID case
Expert, LULAC of Iowa v. Iowa Secretay of State, Absentee ballot case
Expert, Vote Forward v. DeJoy US Post Office mail ballot case
Expert, Holmes v. Moore North Carolina Voter ID case

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                   Exhibit 2




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                                     Supplement to
      Report on Identification Number Requirements for Mail Balloting under SB 1


                                  United States v. Texas


              United States District Court for the Western District of Texas




___________________
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May 4, 2022




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   I.      Abstract

1. Since I filed my expert report on February 28, 2022, I have received updated Department

   of Public Safety (DPS) data and updated voter registration (TEAM) data from the State of

   Texas. I have also received a rebuttal to my report written by Dr. Mark Hoekstra. Finally,

   I have received voter history information from the March 1, 2022 Texas primary, the first

   election that was administered under the identification verification rules set forth by

   Senate Bill 1 (SB 1).

2. In this supplemental report, I re-run the main analysis conducted in my February report

   with the updated DPS and TEAM data. Then, I respond to the main points raised by Dr.

   Hoekstra. Lastly, I conduct a new analysis of data from the March 1 primary.

3. My key findings are as follows:

        a. In spite of the passage of several months of time that might have allowed

           databases to be updated and identification issues to be resolved, my updated

           analysis finds that over 1 in 7 Texas registered voters can submit a mail ballot

           application and/or a mail ballot in perfect accordance with SB 1 and yet election

           officials must reject the voters’ forms.

                      -    Tens of thousands of registered voters are listed with typos in the

                           DPS ID numbers and/or Social Security Numbers on the databases

                           maintained by election officials.

                      -    Hundreds of thousands of individuals who have valid DPS IDs are

                           not listed in election records with these ID numbers.

                      -    Over two million individuals have multiple DPS IDs, while only

                           one of the numbers is listed by election officials.




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            Altogether, over 2.7 million out of 17.3 million registered voters could fill out a

            mail ballot form correctly and have it rejected due to one or more of these

            circumstances. This population includes many Texans over 65-years-old, Texans

            who are homebound and disabled veterans, and active-duty members of the

            military and their families.

         b. Following this update to my analysis, I address critical flaws in the rebuttal report

            of Dr. Hoekstra. I explain how Dr. Hoekstra’s framework for analyzing the effects

            of SB 1 (i.e., estimating the typical number of voters who will be burdened in any

            given election) is inappropriate. Using data from the March 2022 primary

            election, I also show how Dr. Hoekstra’s analysis is wrong even on his own terms

            of evaluation. Whereas Dr. Hoekstra argues that “the likely burden on

            the…registered voters who will either have to cure their ballot or vote in person as

            a result of SB 1 is likely minimal, and quite possibly zero,” I find that the vast

            majority of Texans whose mail ballots were rejected due to SB 1 in March 2022

            did not end up voting at all, either by mail or in person.




   II.      Updated analysis using new versions of DPS and TEAM databases

A. Databases

4. DPS. The updated DPS database I received is dated March 13, 2022. The database

   contains 36,417,304 records, an increase of 189,485 (0.5%) records from the January

   2022 version of the file I analyzed in my main report. As in the version previously

   analyzed, the March version of the data has complete or nearly complete records in all

   fields of interest (e.g., name, date of birth, address, gender) except that 5% of records are


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        not populated with Social Security Numbers, which was also the case in the January data.

        Table 1 below updates Table 1 of my main report with the new data.

    5. The March update to the DPS database contains an additional field that was not

        previously made available to me: “Card Status.” The status field is populated with a

        variety of codes. Of relevance here is a code named “Voluntary Surrender,” which may

        indicate that the ID holder does not possess a physical identification card with that ID

        number listed on it. Without a physical identification card, it may be difficult for a person

        to access their ID number and write it on a government form.

        TABLE 1: Rate of Missing Information in DPS


                                 Missing SSN                            4.98%
                                 Missing unique SSN9                     28.65
                                 Missing First Name                       0.00
                                 Missing Last Name                        0.00
                                 Missing Birthdate                        0.00
                                 Missing M/F Gender                       0.00
                                 Missing Street Number                    0.03
                                 Missing Zip Code                         0.00
                                 TOTAL IN DATABASE                  36,417,304


    6. TEAM. The updated version of TEAM records is dated April 21, 2022. 1 In the TEAM

        data, each county’s records are stored in a different file. Registered voters can be listed

        on many lines within a county file. For instance, Texas counts 29,128 registered voters in

        Anderson County as of March 2022. 2 In the April TEAM export I received, there are


1
  At the time that I received the March DPS data, I also received an updated version of the TEAM data. That export
was dated April 5, 2022. Upon inspection, that export from TEAM excluded several million registered voters. I
alerted counsel to this problem, and I was soon supplied with a new export, dated April 13, 2022. Upon inspection,
this second export of TEAM again excluded several million registered voters. I alerted counsel again and received
the April 21 export on April 25. I do not expect the difference in time between when the DPS export was executed
and when the corrected TEAM export was executed affects any of the substantive findings or conclusions in this
report.
2
  https://www.sos.state.tx.us/elections/historical/march2022.shtml


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   261,644 rows of registrants in Anderson County. Different rows show different

   interactions that registrants have had with the election system. For each county file, I

   processed the data so that each person, represented by their Voter Unique Identification

   Number (VUID), is listed one time. Specifically, I observed the dates labeled

   “ballot_last_updated” and retained the most recent date for each registrant. I also retained

   registrants who had no date listed in this field. If there were registrants with multiple

   records but only one of the records listed a Social Security Number (SSN) or DPS ID

   Number, I retained the record with those identifiers. I retained the fields of interest (e.g.,

   name, address, date of birth, and so forth) and combined the 254 county files into a single

   file. I then identified individuals who had records in multiple county files. I kept only one

   record for each of these individuals, again ensuring to retain a record with an SSN or

   DPS ID if only one of the records contained these identifiers.

7. After the de-duplication process, the April TEAM file consists of 17,330,189 records. I

   sought to confirm that this number is close to the state’s official reporting. According to

   the Secretary of State’s website, as of March 2022, there were 17,183,996 registered

   Texas voters. Given the typical fluctuation in registration numbers and the fact that the

   April 21 records were pulled several weeks after the publicly reported numbers were

   calculated, a difference of less than 1% suggests the data I have been given by the state is

   consistent with the state’s publicly reported information.

B. Data Quality Checks in the TEAM Voter Records

8. I performed the same set of data quality checks as described in my initial report. Tables 2

   and 3 offer summary statistics on key fields of interest. There are slightly fewer records

   listed with Social Security Numbers and slightly more records listed with DPS ID




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   Numbers. Specifically, whereas 2.34% of records in TEAM were missing an SSN in the

   January data, 2.52% of records are missing an SSN in the April data. Whereas 3.16% of

   records in TEAM were missing a DPS ID Number in the January data, 2.85% of records

   are missing a DPS ID Number in the April data.

9. The numbers are all similar to the January data, with the exception of the address fields.

   Whereas less than 1% of records in the January file were missing values for street

   number and zipcode, over 20% of the records in the April file are missing this

   information. The absence of address information is concentrated in registration records

   that also have a blank “ballot_last_updated” field.

10. The difference in the address fields may be attributable to the fact that state supplied me

   with a different format of the database in April than in January. Ultimately, it is not clear

   to me why the state’s April records show so many voters with missing address

   information. However, as my methodology uses information other than address

   information (e.g., name and birthdate, SSN), I can proceed to update the analysis from

   my prior report with the March and April data. And, indeed, the overall results are very

   similar in this supplementary report as in my initial report.

   TABLE 2: Rates of Missing Information in TEAM


                         Missing SSN                         2.52%
                         Missing Unique SSN9                   6.25
                         Missing First Name                    0.00
                         Missing Last Name                     0.00
                         Missing Birthdate                     0.07
                         Missing M/F Gender                    3.73
                         Missing Street Number                22.57
                         Missing Zip Code                     22.56
                         TOTAL IN DATABASE               17,330,189




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         TABLE 3: Summary of Field Completeness in TEAM


        TOTAL Records in TEAM analysis                 17,330,189
        Records with unique SSN9                       16,246,791               93.75%
        Records with SSN4                              16,893,085                 97.48
        Records with DPS ID Number                     16,836,041                 97.15
        Records lacking SSN4 and DPS ID No.               105,536                  0.61



  C. Methodology

  11. The methodology employed is the same as in my initial report. See Paragraphs 50-73 in

     that report for a detailed explanation. My goal is to look up each registered voter in the

     DPS database and determine if the registered voter has one (or more) DPS ID Numbers

     listed, and to see if there are typos or other inconsistencies between the DPS ID Numbers

     and SSN4s listed on TEAM versus those listed on the DPS Database. I create three

     linkage fields to connect the TEAM and DPS databases together. The first field is the

     nine-digit Social Security Number (SSN9). The second field is the combination of name

     (First and Last) and date of birth. I call this linkage field “ND” for Name + Date of Birth.

     The third field, a combination of Address (Street Number and Zipcode) + Date of Birth +

     Gender, I call “ADG”. Table 4 (a replica of Table 6 from my previous report) illustrates

     the three linking fields with an example of a fictional registered voter named John Smith.

     TABLE 4: Summary of Fields Used in Linking TEAM Database to DPS Database


Field Name    Explanation                                 “John Smith” example
SSN9          9-digit social security number              “XXX-XX-XXXX”
ND            First name + Last name + Date of birth      “JOHNSMITH1977-07-04”
ADG           Address + Date of birth + Gender            “655782051976-07-04M”


  12. As in the main report, in addition to calculating statistics for the whole population of

     registered voters, I also look at several subpopulations. In the prior report, I observed a.)


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   registered voters over age 65, b.) 2020 general election voters, c.) voters with overseas

   mailing addresses, and d.) individuals marked in the DPS database as homebound or

   disabled veterans. In this report, I again investigate registrants over 65, registrants who

   voted in 2020, and registrants who have homebound/disabled veteran statuses. Instead of

   looking at voters with overseas mailing addresses (a population that may contain

   members of the armed forces and military families), I investigate registrants who are

   listed with specific codes in TEAM signaling that they have applied for Federal Post Card

   Application (FPCA) registration forms, which are voter registration forms used by

   members of the military, their families, and Americans who are residing overseas. I refer

   to these as FPCA voters. Finally, I also investigate the subpopulation of registrants who

   match to DPS records indicating that their licenses have been “voluntarily surrendered.”

D. Linkage Part I: TEAM Records with missing DPS ID Numbers

13. I divide the analysis into two parts. First, I examine individuals whose TEAM records do

   not show any DPS ID Number. Second, I examine individuals whose TEAM records do

   show a DPS ID Number.

14. Out of 17,330,189 records in TEAM, 494,148 do not have a DPS ID Number listed in the

   voter registration records. If any of these individuals actually has a DPS ID Number, they

   are instructed by the mail ballot application forms to include that DPS ID Number (and

   only that identification number). But SB 1 requires that these forms – the application and

   the ballot carrier envelope – to be rejected because the DPS ID Number is not listed

   within registration records.




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       TABLE 5: TEAM records by Presence/Absence of Unique SSN9 and DPS ID

       Number


                                      Unique SSN9
                                      Present    Absent TOTAL
                DPS ID     Present    16,144,007 692,034 16,836,041
                Number     Absent      102,784   391,364  494,148


15. I link the 494,148 individuals who do not have DPS ID Numbers recorded in TEAM to

   the DPS database using the SSN, ND, and ADG linkage fields that are described in

   Paragraph 11 above.

16. I first link by SSN9. Of the 494,148 individuals without a DPS ID Number, 102,784 have

   a unique SSN9 listed (as noted in Table 5). Of those, 73.33% match to the DPS database

   by their SSN9. A total of 66.76% of the records match to a single DPS ID Number, and

   6.56% link to multiple DPS ID Numbers.

17. I next link these individuals based on ND. As noted in Table 5, most individuals who lack

   DPS ID Numbers on TEAM also lack an SSN9. However, nearly all of the records have a

   unique ND combination. Of the 494,148 lacking a DPS ID Number on TEAM, 482,787

   (97.7%) have a unique ND. Of those who have a unique ND, 25.81% match to a single

   DPS record and 4.58% match to multiple DPS records.

18. I next link these individuals based on ADG. Of 498,148 records lacking a DPS ID

   Number on TEAM, 231,002 (46.74%) have a unique ADG. Recall that many more

   records in the April TEAM data are missing address information than in the January data.

   ADG is the only linking field that makes use of address information. Of those with a

   unique ADG, 38.98% match to a single DPS record and 3.85% match to multiple DPS

   records.



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    TABLE 6: Results of Linking TEAM to DPS Records for TEAM Records without a

    DPS ID Number listed


         No Match to DPS       Single Match to DPS        Multiple Match to DPS        Attempted
                                                                                       to Match
SSN9           26.67%                  66.76%                       6.56%                102,784
ND              69.61                   25.81                        4.58                482,787
ADG             57.16                   38.98                        3.85                231,002
Any             57.00                   37.39                        5.58                486,421


 19. Table 6 summarizes the analysis of records that do not have a DPS ID Number listed on

    the TEAM voter file. Each of the first three rows summarizes a linkage between TEAM

    and DPS based on SSN9, ND, and ADG, respectively. For instance, the first row shows

    that I attempted to match 102,784 records in TEAM based on SSN9. This reflects the

    number of TEAM records without a DPS ID Number that include a unique SSN9. Of

    those, 26.67% did not match to DPS. The others did match.

 20. The bottom row of Table 6 provides the overall summary for the TEAM records lacking

    a DPS ID Number. Of the 494,148 total records lacking a DPS ID Number, I attempted to

    link 486,421 (97.65%) to the DPS database. (The other 2.35% did not have a unique or

       complete value for SSN9, ND, or ADG). Of the individuals I attempted to find on DPS,

       43% matched to a DPS record. That amounts to 209,137 registered voters. These

       individuals possess a DPS ID Number and therefore are instructed by Texas’s mail ballot

       forms to list their DPS ID Number (and only their DPS ID Number) on their mail ballot

       application. However, if they follow those instructions and list only that DPS ID Number,

       SB 1 requires their ballot applications, and their ballots, to be rejected because the

       number is not listed on TEAM.




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21. Subpopulations: Of the 209,137 individuals who match to DPS and have a DPS ID

   Number even though no such number is listed on TEAM,

               •   83,622 are over age 65

               •   66,001 voted in the 2020 election

               •   32,252 are over 65 AND voted in the 2020 election

               •   1,574 have FPCA statuses

               •   378 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM without DPS ID Numbers but do in fact possess DPS ID

   Numbers.

22. Typos in Social Security Number. Among registrants who lack a DPS ID Number

   recorded on TEAM but who match to a record in DPS based on ND or ADG, I compare

   the SSN4 as recorded on the two databases. I find that 3,015 individuals who appear on

   both databases have discrepancies in their SSN4s. If the DPS records of SSN are correct,

   then these 3,015 cases result from inaccuracies on TEAM. They would cause election

   officials to reject mail ballot forms from citizens who include their correct SSN4 on the

   forms.

E. Linkage Part II: TEAM Records Listed with DPS ID Numbers

23. I now turn to the analysis of the 16,836,041 records in which a DPS ID Number is listed

   in the TEAM databases. As noted above in Table 5, 95.9% of these records have a unique

   SSN9 associated with them. I first link these records to DPS by matching on SSN9. Of




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       16,144,007 records with a unique SSN9 on TEAM, 99.53% match to a record in DPS.

       However, 16.03% of the records match to more than one DPS ID Number.

  24. Next, I link records based on the ND combination, as described in Paragraph 11 above.

       The ND combination is unique for 16,669,651 individuals who have a DPS ID Number

       listed on TEAM. Of these, 97.36% match to a record in DPS. However, 15.61% match to

       more than one DPS ID Number.

  25. Next, I link records based on the ADG combination, as described in Paragraph 11 above.

       The ADG combination is unique for 12,662,154 individuals who have a DPS ID Number

       listed on TEAM. Of these, 80.74% match to a record in DPS. However, 7.91% match to

       more than one DPS ID Number.

       TABLE 7: Results of Linking TEAM to DPS Records for TEAM Records with a

       DPS ID Number listed


           No Match to DPS      Single Match to DPS      Multiple Match to DPS       Attempted
                                                                                      to Match
SSN9             0.47%                  83.49%                    16.03%             16,144,007
ND                2.64                   81.75                     15.61             16,669,651
ADG              19.26                   72.83                      7.91             12,662,154
Any               1.17                   84.57                     14.25             16,787,046


  26. Table 7 summarizes the analysis of records with a DPS ID Number on the voter file.

       Consider the bottom row. Of the 16,836,041 records in TEAM listed with a DPS ID

       Number, I attempted to link 16,787,046 (99.70%) of them to the DPS database. The

       remaining 0.30% did not have a unique or complete record on SSN, ND, and ADG. Of

       these 16,787,046 records, 98.83% matched to a record in DPS. However, many of them

       are listed more than once on DPS, with multiple ID numbers. These 14.25% of records

       sum up to 2,392,733 records. That is, for 2.4 million Texas registered voters who have a



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   DPS ID Number listed, they may put a correct DPS ID Number on their mail ballot

   application form but nevertheless have their application (or their ballot envelope) rejected

   because the DPS ID Number they write down, while correct, happens not to be the DPS

   ID Number recorded on the TEAM file.

27. The 2.4 million figure may be an underestimate. Many DPS ID holders are listed not just

   with one DPS ID Number but they have alternative ID numbers stored as “AKA DL/ID

   Numbers.” Of the TEAM records that linked to a single DPS ID Number, 1,421,849 of

   them linked to a record that listed alternative ID numbers in the “AKA DL/ID Number”

   field. During her April 20, 2022 deposition, Sheri Gibson, chief of the Texas DPS

   driver’s license division, explained that these AKA DL/ID numbers are identification

   numbers associated with the ID holder that are either erroneous or originate from a prior

   version of the state’s license system. If registrants use these alternative identification

   numbers when submitting a mail ballot application or mail ballot, they will also have

   their forms rejected because the AKA DL/ID Numbers are not the identification numbers

   on the voter registration records that are associated with these registrants. However, if

   these ID Numbers are considered by DPS to be erroneous or otherwise invalid (i.e., not

   just “expired,” which does not impact validity for SB 1 purposes), the implications for SB

   1 are unclear to me. Accordingly, in order to perform a conservative analysis, I focus here

   on registered voters who have multiple DPS ID Numbers exclusive of the AKA DL/ID

   Numbers.

28. Subpopulations: Of the 2,392,733 individuals who match to multiple DPS ID Numbers,

               •   166,035 are over age 65

               •   1,060,944 voted in the 2020 election




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               •   82,575 are over 65 AND voted in the 2020 election

               •   1,344 have FPCA status

               •   4,134 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with a DPS ID Number but possess multiple DPS ID

   Numbers. If they list a DPS ID Number other than the one that happens to be recorded in

   TEAM, SB 1 requires their mail ballot forms to be rejected.

29. Typos in Social Security Number. Looking just at the last 4 digits of social security

   numbers, I calculate the number of individuals in TEAM who match to records in DPS

   based on ND and ADG, but whose TEAM records show a different SSN4 than is shown

   on DPS. There are 41,900 individuals who appear on DPS with different SSN4s than

   shown on TEAM. If the DPS database is correct and these individuals mark down their

   correct SSN4 on a mail ballot application, then their application will be rejected because

   of incorrectly recorded data in TEAM.

       a. Subpopulations: Of the 41,900 individuals whose SSN4s listed on TEAM do not

           match the SSN4s listed in the DPS database

               •   14,991 are over age 65

               •   27,247 voted in the 2020 election

               •   10,121 are over 65 AND voted in the 2020 election

               •   101 have FPCA status

               •   88 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.


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   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with an SSN4 that is inconsistent with the SSN4 listed in

   the DPS database.

30. Typos in DPS ID Numbers. Just as there are discrepancies between the SSNs listed in

   TEAM and the corresponding SSNs listed in DPS, there are also discrepancies in DPS ID

   Numbers. Using the methodology for calculating these discrepancies that was explained

   in my previous report, I calculate that 74,897 individuals do not have a DPS ID Number

   in TEAM that matches any DPS ID Number in DPS.

       a. Subpopulations: Of the 74,897 individuals on TEAM who match to DPS on

           SSN9, ND, and ADG, but do not have DPS ID Numbers that correspond to the

           DPS database,

               •   15,835 are over age 65

               •   31,781 voted in the 2020 election

               •   9,475 are over 65 AND voted in the 2020 election

               •   83 have FPCA status

              •    342 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

31. Voluntary surrender: Out of 36.4 million DPS records, 2,881,780 have a designation of

   “voluntary surrender.” I isolated a subset of the DPS records to just the ones listed with

   the “voluntary surrender” status and I matched the TEAM records based on SSN, ND,

   and ADG to these DPS records. I find that 1,704,499 current registered voters match to a

   “voluntary surrender” ID Number.




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32. Most of these 1.7 million registrants seem to have other DPS IDs that are not

   surrendered. After matching the TEAM records to surrendered DPS IDs, I checked to see

   if the DPS ID number listed on the voter file matches to the surrendered ID Number

   listed in DPS. In 1,487,008 cases (87.24%), the current registered voter has a different ID

   number listed than the surrendered ID.

33. The other 217,491 do not have a different DPS ID Number. For the 217,491 registered

   voters who match to a DPS ID record for which the TEAM database shows the same DPS

   ID Number as a surrendered license, these Texans might be at risk of not being able to

   provide the ID Number that election officials have on file.

34. However, DPS’s Sheri Gipson explained in her deposition that the “voluntary surrender”

   status designation is not a reliable indicator of whether a person is in physical possession

   of the card that lists the associated identification number. In some cases – but not in all

   cases – Texans who have “voluntary surrender” status may have physically surrendered

   the card during a surrender transaction. They also may or may not have disposed of the

   card once it was no longer valid. Therefore, I cannot confidently use this designation in

   counts of individuals who may be affected by SB 1. Instead, I treat all DPS ID Numbers

   associated with registered voters to be valid numbers for the purpose of identification

   verification under SB 1. However, if hundreds of thousands of individuals have a DPS ID

   Number listed on TEAM records that is associated with a license that they potentially

   cannot access because it has been physically surrendered or discarded, this likely

   increases the problems associated with SB 1.




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F. Summary of Results from Updated Analysis

35. To comply with the identification verification requirements in SB 1, registered voters

   who have a DPS ID are instructed to record their ID number on a mail ballot application

   and again when submitting a mail ballot. If they do not have an ID number, they must

   record their SSN4. The analysis from the updated TEAM and DPS files show the

   following:

       a. 209,137 registered voters are not listed in TEAM with a DPS ID, but they do have

           a DPS ID. These individuals are instructed to list only their DPS ID, but if they do

           so, their ballot or ballot application will be rejected.

                i. Of these, 83,662 are over 65 years old, 32,252 of whom voted as recently

                   as the 2020 general election.

                ii. Of these, 1,952 have FPCA status or are listed as disabled veterans or as

                   homebound citizens.

       b. 2,392,733 individuals who are listed on TEAM with an associated DPS ID have

           more than one DPS ID Number. If they happen to write down a DPS ID number

           that is correct but is not the DPS ID number recorded in TEAM, their ballot or

           ballot application will be rejected.

                i. Of these, 166,035 are over 65 years old, 82,575 of whom voted as recently

                   as the 2020 general election.

                ii. Of these, 5,478 have FPCA status or are listed as disabled veterans or as

                   homebound citizens.

       c. 44,915 individuals have SSN4s listed in their TEAM records that do not match

           the SSN4s listed in the DPS database.




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          d. At least 74,897 individuals who are listed on TEAM registration records with a

             DPS ID Number do not show the same DPS ID Number listed in the DPS

             database.

36. Altogether, over 2.7 million registered voters in Texas (out of 17.3 million) are at risk of

   having a mail ballot or mail ballot application rejected due to identification number

   requirements in SB 1. These numbers do not include individuals who have misplaced or

   surrendered their IDs or who mis-enter information on a mail ballot form. These 2.7

   million individuals can correctly fill out their forms, but their applications and ballots

   would be rejected nonetheless.



   III.      Response to Dr. Hoekstra

37. Dr. Mark Hoekstra’s rebuttal report of March 29, 2022 does not challenge my database

   matching technique or the numbers derived from this technique. Rather, he challenges the

   interpretation of these numbers and the application of the technique to the questions

   raised in this case. Unfortunately, Dr. Hoekstra’s interpretations and assumptions suffer

   from a number of serious flaws. I will address four key problems in his analysis.

             A. Measuring Burdens

38. Dr. Hoekstra approaches this case by asking whether SB 1 makes absentee voting

   substantially burdensome such that it affects the overall rate of voting in Texas elections.

   I do not believe this is the right question. Texas law grants certain voters the right to vote

   by mail. As I have shown, citizens who are fully qualified by Texas law to vote by mail

   will have their applications and mail ballots rejected because the state’s records do not

   actually allow officials to verify voters’ personal identification in the way SB 1 requires.




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         The fact that so many Texans, including elderly and disabled citizens and members of the

         military, can fully comply with the law but will nevertheless have ballots rejected seems

         problematic. Whether Texans who are denied the ability to vote by mail can learn about

         the rejection and make other arrangements in time to vote in person on Election Day, thus

         “curing” the problem, is worth considering, and I address it below. But the fact that SB 1

         requires the rejection of mail ballot materials is a problem, even if voters still manage to

         find a way to vote.

    39. However, even if one believes, as Dr. Hoekstra asserts, that the main question here is

         about whether SB 1 will affect turnout rates, Dr. Hoekstra’s analysis is flawed because it

         relies on evidence that is irrelevant to the issues surrounding SB 1. All of Dr. Hoekstra’s

         tables and figures are copied-and-pasted from an article about mail voting and turnout

         rates that was published in 2021 in Science Advances. 3 That article, written by Professor

         Andrew Hall and his students, is first-rate. I assign it to my own students in my course on

         elections. One of its main findings is that 64-year-olds and 65-year-olds in Texas voted at

         the same rate (but using different voting methods) in years prior to the adoption of SB 1.

         The article does not deal with the question of what happens when new burdens, such as

         identification verification requirements, are introduced to voters.

    40. Dr. Hoekstra views the comparison between 64-year-olds and 65-year-olds as a test for

         how burdens on mail voters in general affect overall turnout. For 64-year-olds, Dr.

         Hoekstra views the burden as high. After all, in Texas, a 64-year-old needs an excuse,

         such as they are out of town or sick, in order to cast a ballot by mail. But 65-year-olds

         can choose to vote absentee by mail without a specific reason, so their burden to vote by


3
 Dr. Hoekstra incorrectly identifies the journal in which this article is published. The article “How did absentee
voting affect the 2020 U.S. election?” was published in Science Advances, not Science.


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   mail is low. Dr. Hoekstra reasons that if 64-year-olds and 65-year-olds have the same

   turnout rates in 2020, as Dr. Hall’s research shows, then burdens on mail voters in

   general do not affect turnout. As Dr. Hoekstra puts it, “it is implausible to believe that the

   much more moderate limitations on absentee voting enacted by SB1 would reduce

   turnout.”

41. To understand why Dr. Hoekstra’s reasoning is flawed, just consider how easy it is for a

   Texan to anticipate if they will be at least 65 years old on Election Day. In contrast,

   consider how difficult it is for a Texan to anticipate if they will have a problem voting by

   mail due to SB 1. They would have to think: “Do election officials have my DPS ID

   Number on record? Is my DPS ID recorded with a typo in state records? I have more

   than one DPS ID, which one do officials have on record? Do officials have my Social

   Security Number on record? Is there a typo in that record?”

42. The contrast in how easy it is to answer the question of how old one is compared to the

   difficulty in answering the questions about SB 1 protocols illustrates why Dr. Hoekstra’s

   comparison of the burdens of SB 1 relative to the burdens of mail balloting prior to SB 1

   is inapt. Baked into the similarity in overall turnout between 64-year-olds and 65-year-

   olds in 2020 (and earlier years) is an awareness on the part of each age group whether

   they qualified to vote by mail. If they did not qualify by age, they knew they would have

   to vote in person or offer a valid excuse. They could plan accordingly. But with SB 1, it

   is likely that many registrants do not know if their identification information matches

   information held by election authorities. They won’t know whether they will get caught

   up in delays and ballot rejections until they are in the midst of the process of trying to

   vote by mail. They won’t know how quickly, or how close to Election Day, it will be




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   before they are advised by election officials of a problem with their materials. And, as I’ll

   show below, by that point it is often too late for the voter to be able to correct the

   problem.

43. In analogizing the burdens on mail voting before SB 1 to those created by SB 1, Dr.

   Hoekstra misjudges the issues involved in this case. The burdens of SB 1, particularly the

   burdens created by faulty and incomplete state records that lead to uncertainty on the part

   of a voter of how and whether they can comply with SB 1, are categorically different than

   the burdens of mail voting related to simple and clear rules such as age-based eligibility.

           B. Dr. Hoekstra’s Mischaracterization of a “Simulation”

44. Dr. Hoekstra repeatedly refers to my analysis as a “simulation,” which is a

   mischaracterization of the research. In Dr. Hoekstra’s strawman interpretation, he

   supposes that I am “simulating” an election held under SB 1 and then estimating that 1 in

   7 voters will be affected in that election. This number is preposterous, argues Dr.

   Hoekstra, because it requires “rather extreme assumptions,” such as that everyone in

   Texas attempts to vote by mail, “a set of potential absentee voters that is vastly larger

   than anything seen in Texas history.” I agree it would be preposterous to assume every

   Texas voter would attempt to vote by mail in a single election, but I do not make that

   assumption in my research.

45. My analysis is not a “simulation” of how many voters are likely to be affected by SB 1 in

   any given election. Rather, the analysis shows how many Texans could run into trouble if

   an election was approaching and they wanted or needed to cast a ballot by mail. In the

   first paragraph of my report, I explain that 1 in 7 Texans “can submit a ballot application




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   – as well as a ballot itself – in perfect accordance with the state’s instructions under SB 1,

   and yet Texas election officials must still reject the voters’ forms.”

46. In rebutting an argument that I never made, Dr. Hoekstra’s report misses the mark.

   Consider the voters under 65 in Texas. Some may get sick. Some may become disabled.

   Some may expect a baby to come within a few weeks of Election Day. Some may get

   called out of town for work or for a family obligation. Some may be members of the

   military who are called overseas. If we were to “simulate” how many Texans would fall

   into these categories in any specific election, the number would likely be modest. But in

   any given election cycle, it is impossible to anticipate which specific Texans are going to

   be sick or out of town, or become disabled, or expectant of a baby, or called overseas. So,

   the question I answered in my report is how many Texans, should they suddenly fall into

   these categories and therefore become eligible to vote by mail, might have their mail

   ballot materials rejected.

47. To offer an analogy, suppose a hospital in Texas has medical records for 17 million

   citizens. But for 2.6 million of these people, the records are incomplete or incorrect. If

   one of these 2.6 million Texans comes into the hospital to receive treatment, they could

   face a delay in care or, worse, they could be denied medical care altogether. How big of a

   problem are the faulty medical records? Well, since only a small fraction of the public

   will come sick to the hospital in any one year, an analyst could treat the record-keeping

   issues as a small problem. Dr. Hoekstra’s reasoning is akin to the view that few people

   use the hospital each year, so the faulty records are not a serious problem. Plus, in his line

   of reasoning, sick patients could always try to find another hospital. My read of the

   situation is different. Since any one of these 2.6 million people could come to this




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   hospital in any year, the fact that the hospital’s records are incomplete or incorrect for so

   many people creates a broad risk to the public.

           C. Mail Voters Including DPS IDs and SSNs in SB 1 Forms

48. Dr. Hoekstra’s report advances an argument that a narrowly-distributed set of guidelines

   to voters should be taken more seriously than the plain text of SB 1 and SB 1’s

   implementation materials.

49. Texas’s mail ballot application states clearly the circumstances under which voters

   should list the last four digits of their social security number (SSN4) on the form: voters

   are instructed to list their social security number only if they do not have a driver’s

   license number or other DPS identification number. The ballot application states, “If you

   do not have a Texas Driver’s License, Texas Personal Identification Number or a

   Texas Election Identification Number, give the last 4 digits of your Social Security

   Number.” This exact same language is printed on the carrier envelope used for

   submitting a mail ballot. The language in the text of SB 1 is similar: “…if the applicant

   has not been issued a number described by Paragraph (A) [a DPS ID number], the

   last four digits of the applicant’s social security number.”

50. In my original report (footnote 4), I explain that the Texas Secretary of State has issued

   guidance that encourages voters to include both a DPS identification number and an

   SSN4 on these documents, if they have both. However, because that guidance is not

   conveyed in SB 1, on the carrier envelopes that most Texans must use, or on the mail

   ballot applications issued by the Secretary of State, my analysis does not presume that

   voters will follow the Secretary’s guidance.




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      51. Dr. Hoekstra considers this a “serious flaw” in my analysis. On multiple occasions in his

           rebuttal report, he draws attention to a February 16, 2022 press release and video message

           in which Secretary of State John Scott recommends that voters write down on mail ballot

           forms both their SSN4 and their DPS ID Number. Dr. Hoekstra writes, “A more credible

           analysis would assess the extent to which voters who could encounter a problem write

           down both numbers, as recommended by the Secretary of State.”

      52. The text of Secretary’s Scott press release summarizes the language of the mail ballot

           materials and the text of SB 1. 4 A voter must record their DPS ID Number, “OR if you

           have not been issued one of the above numbers, the last 4 digits of your Social

           Security Number.” Further down on the webpage, however, and in contrast to the

           language just quoted, the press release continues, “You may put both numbers in the

           spaces provided on your ABBM and Carrier Envelope.”

      53. The Secretary’s website directs readers to a YouTube video statement by the Secretary of

           State. On the video, the Secretary articulates his recommendation that registrants include

           both the SSN4 and DPS ID on the mail ballot forms, even though both are not required.

      54. The Secretary’s message was released approximately two weeks before the March 1,

           2022 election. In an election season involving 15 million nonvoters and 3 million voters

           (including over 150,000 mail voters), the Secretary’s video message has been viewed a

           total of 676 times, as of April 27, 2022. That View Count includes three views by me,

           and probably dozens, if not hundreds, of views by other experts such as Dr. Hoekstra, by

           lawyers, and by government officials. In short, it appears that few ordinary Texas voters

           have viewed Secretary of State Scott’s message.



4
    https://www.sos.state.tx.us/about/newsreleases/2022/021622.shtml


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55. On the one hand, then, we have the text of SB 1 and the text of the standard mail ballot

   request form and the text of the carrier envelope, all of which say that voters should

   include an SSN4 only if they do not have a DPS ID number. On the other hand, we have

   press statements that few have seen but that suggest voters should include both a DPS ID

   and SSN4 when submitting mail ballot forms. Given the differences in the distribution

   rates for the differing interpretations of SB 1, I think it is appropriate to assume voters

   will follow the instructions on the forms that they must fill out rather than the advice of

   Secretary Scott.

   D. Can Voters Correct Problems Caused by SB 1?

56. Dr. Hoekstra’s next argument is that mail voters whose materials are rejected due to SB 1

   can cure the problem and successfully vote either by mail or in person. For this reason, he

   expects SB 1 would not have a measurable impact on voting rates. Dr. Hoekstra performs

   no test of this claim. Rather, he supports the claim through the argument, discussed

   above, that the burdens imposed by SB 1 are smaller than the burdens imposed on 64-

   year-olds prior to 2021. Since 64-year-olds and 65-year-olds voted at the same rates in

   2020, Dr. Hoekstra thinks burdens from SB 1 are “implausible.”

57. As I will now show, through an analysis of voter data from Texas’s March 1 election, Dr.

   Hoekstra’s speculation is clearly wrong. The majority of Texas registrants whose mail

   ballots were rejected by the state failed to have a ballot counted. In addition to this

   evidence, I will also provide data to help explain why voters are unable to vote after their

   ballots are rejected. As is true across the country, mail voters in Texas tend to cast ballots

   at the end of the election season, sending in their ballot very close to the receipt deadline.

   Correcting an error requires knowing about an error, and many voters may not submit


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         mail ballot forms with enough time to learn about an error, particularly if they are not

         immediately responsive to telephone calls from unfamiliar numbers or emails from

         unfamiliar senders. A voter who submits a ballot application near the deadline may not

         learn that the application was rejected due to SB 1 compliance until it is too late to

         correct it. The next section describes the data and analysis of the March 1 election that

         advances these claims.



         IV.      March 1, 2022 Election Analysis

    58. The April voter file export contains voter history data from the March 1, 2022 primary

         election, the first election held under SB 1. I restrict my attention here to records with the

         election date listed as “03-01-2022.” Across the counties, 3,164,179 TEAM records have

         information related to the March 3, 2022 election. Not all of these records appear to be

         records of successful voters. Some represent individuals whose ballots were rejected or

         who sought a mail ballot application but never submitted the ballot.

    59. The database export shows no record of individuals whose mail ballot applications were

         rejected due to SB 1 compliance issues. 5 However, according to the database, 31,107

         records are listed with a code for a reason that their ballots for the March 1 primary were

         rejected. More than 4 in 5 of these (specifically, 25,429 of them, or 82%) are listed with a

         designation related to the SB 1 law. The designation is for ballots that have “Incorrect or

         Missing SSN/ TDL #.” These numbers align fairly closely with Election Director Keith



5
  I would have analyzed rejected applications if they had been made available to me in the TEAM export. In
deposition, Mr. Keith Ingram, director of Texas’s Election Division, testified that fields used to track acceptance and
rejection of mail ballot applications were included in the export. An Excel spreadsheet labeled STATE057755
shows a code of “IS” under a field of “mail in request reject reason” to indicate “Incorrect or Missing SSN / TDL #.”
However, while the April TEAM database export does use this code for rejected ballots, it shows no such code for
rejected mail ballot applications.


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   Ingram’s April 7, 2022 disclosure indicating a total of 24,636 rejected ballots statewide.

   Mr. Ingram’s report seems to include records of all rejected mail ballots, though, not

   specifically those associated with incorrect/missing identification numbers. Part of the

   discrepancy is attributable to the fact that there are some individuals who have multiple

   rows in the database indicating that ballots were rejected more than one time.

60. A key question is how many of the individuals who had their ballots rejected were then

   able to vote in person or vote by mail following a correction. Dr. Hoekstra asserts that

   voters can easily substitute in-person voting for mail voting, and because of this, there

   really is no meaningful burden. Dr. Hoekstra concludes his rebuttal report by saying that

   “the likely burden on the…registered voters who will either have to cure their ballot or

   vote in person as a result of SB 1 is likely minimal, and quite possibly zero.”

61. As I show just below, Dr. Hoekstra’s assessment is incorrect. But first, it is worth

   showcasing that there are instances that are consistent with Dr. Hoekstra’s theories. There

   are voters whose records indicate that they applied for and received mail ballots in early

   February. But then they seemed to hit a snag. The voter file lists that their ballots were

   rejected, with a code of “IS”, indicating missing or incorrect information in the SSN or

   DPS ID fields. Fortunately, on other rows in the voter file, the record shows that these

   same voters, whose mail ballots were rejected, ended up casting ballots in-person on

   March 1.

62. The scenario I just outlined seems to be the kind of story that Dr. Hoekstra has in mind,

   namely, a voter hit a problem with SB 1 compliance but was then able to vote in person.

   However, these cases represent the minority of impacted voters. Out of 25,429

   individuals who had mail ballots rejected on account of missing/incomplete identification




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   numbers, only 6,509 (25.60%) have records indicating that they cast an accepted mail

   ballot or voted in person. The remaining 18,920 (74.40%) are recorded as not having cast

   a vote. That is, 3 out of 4 Texans who had their mail ballot rejected due to SB 1

   requirements did not go on to successfully cast a ballot in the election.

63. Dr. Hoekstra did not just argue that few Texans would be affected by SB 1. He argued

   specifically (paragraph 30) that, conditional on a registrant having to cure their ballot

   due to SB 1, there would be little or no consequence for turnout. However, as just shown

   with the state’s data, among qualified Texans who went through the trouble of applying

   for and submitting a mail ballot and then had their mail ballot rejected due to SB 1, 3 out

   of 4 of them ended up not having any ballot counted in the March 1 primary at all.

   The Timing of Mail Ballots

64. If mail applicants and mail voters have materials rejected, they are supposed to be

   notified by phone and/or email. But if they are not immediately responsive and/or they

   submit forms right before the deadline, then it might not be possible for them to cure the

   problems presented by SB 1. It turns out that many mail voters submit forms very close

   to the deadline.

65. Consider the calendar for the March 1 state primary in Texas. Texans could send

   applications for a mail ballot as early as January 1, 2022. Applications had to be received

   by election officials no later than February 18. In the TEAM records, 260,275 registrant

   records are listed as submitting an absentee ballot application. Figure 1 shows the dates

   on which those applications were received.




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   FIGURE 1




Note: “Jan 1” includes a handful of records that are listed as submitted prior to Jan 1. “LATE”
combines all dates after February 18.


   66. As Figure 1 shows, out of the 49-day period in which registrants could submit a ballot

       application, almost no applications were received for the first third of the timespan. Then,

       starting on January 18, weekdays saw a consistent stream of applications, up until (and,

       actually, after) the February 18 deadline. In fact, of all the applications that were received

       before the deadline, 1 in 5 were received in the last week (February 12-February 18).

       Another 9,973 applications were received after the deadline.




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FIGURE 2




Note: “Feb 1” includes a handful of records that are listed as submitted prior to Feb 1. “LATE”
combines all dates after March 3.


   67. Figure 2 shows the pattern of dates in which the ballots themselves were received. These

       data include 196,831 records and include ballots that were received late or were

       otherwise marked invalid. Here, the pattern looks different than in Figure 1 in that the

       bars rise as Election Day approaches. As the election date gets closer, there are, on

       average, more ballots each day. In fact, the last week of eligibility (from February 25

       until March 3) shows 39% of ballots received by election officials. Over 11% of ballots




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         submitted on time were received on a single date, February 28, the day before Election

         Day.

    68. These patterns suggest that voters may have difficulty addressing problems in mail

         balloting due to SB 1. Given that 1 in 5 Texans who submit applications on time do so in

         the last week of eligibility, and given that 2 in 5 Texans who submit ballots on time do so

         in the last week of the election season means that many voters may not learn that they

         must address problems caused by SB 1 until it is too late. 6 This concern is particularly

         salient given that three-quarters of individuals whose mail ballots were rejected due to SB

         1 did not go on to vote by any method.



         V.       Summary of Findings

    69. In this report, I have updated my analysis of TEAM and DPS data using more recent

         exports from the State of Texas. The results of this new analysis are consistent with the

         analysis of my prior report: many Texans can submit mail ballot forms correctly and yet

         their forms will be rejected due to deficiencies in state records.

    70. Furthermore, I have addressed the major points raised by Dr. Hoekstra. Unlike other

         requirements on mail voters in Texas (e.g., the requirement to have an excuse to vote by

         mail if under age 65), SB 1 requires eligible voters to know detailed information about

         state record-keeping in order to vote by mail without risk of being rejected due to no fault

         of their own. While rejected voters can, in theory, cure errors by not voting by mail, and



6
  According to Texas statute, Section 87.0271(c), in the days right before an election, election officials may try to
notify voters by phone or email and instruct them in how to cure a problem, such as coming in person to vote at the
early voting clerk’s office. Furthermore, voters may be able to cure some SB 1 problems by providing identification
verification during a grace period following an election. However, it is not clear the extent to which officials are able
to make contact with registrants whose ballots/applications are rejected to SB 1. Clearly, the March election data
shows that most voters with ballots rejected due to SB 1 did not end up voting.


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      instead voting in person, the March 1 election data confirms that three-quarters of

      rejected voters did not successfully vote in the election after their ballots were rejected

      due to SB1.




      I declare under penalty of perjury under the laws of the United States that the forgoing is
      true and correct to the best of my knowledge.


DATED this 4th Day of May, 2022.




      ________________________
      Eitan Hersh




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                   Exhibit 3




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                                  Second Supplement to
      Report on Identification Number Requirements for Mail Balloting under SB 1


                                  United States v. Texas


              United States District Court for the Western District of Texas




___________________
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February 3, 2023


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I.        Abstract

1. This report contains three analyses. First, using new data supplied to me in January 2023,

      I calculate the number of registered voters in Texas whose registration records indicate

      that they could have a mail ballot application or carrier envelope rejected on account of

      identification verification requirements imposed by Senate Bill 1 (“SB 1”). My analysis

      shows similar results as in two prior expert reports that I have filed in this case. I find that

      1 in 7 Texans can accurately and completely fill out a mail ballot application and the

      application could still be rejected on account of SB 1’s verification procedures.

2. Second, I conduct an analysis of rejected mail ballots during the first federal election held

      since the passage of SB 1, the November 2022 election. Among other findings, I show

      that the overwhelming majority (more than 80%) of rejected mail ballots were rejected on

      account of SB 1 identification rules.

3.    Third, I analyze the behavior in the November election of individuals who I have flagged

      as having records that could lead to mail ballot rejections. Those deemed at risk have a

      significantly lower rate of successfully voting by mail than the general population.



II.       Replication of Previous Analyses and Meta-Analysis

4. In a February 28, 2022 report (“Initial Report”), I described a methodology for evaluating

      the number of Texans who were particularly vulnerable to having a mail ballot

      application rejected on account of identification verification rules in SB 1. For several

      reasons, a registered voter could fill out a mail ballot application (or mail ballot carrier

      envelope) correctly but the materials would be rejected by election officials:




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          a. Many Texans have multiple identification numbers because they have

              multiple Department of Public Safety IDs (“DPS IDs”). But Texas only stores

              up to one DPS ID Number on its list of registered voters (the Texas Election

              Administration System, or “TEAM”). If a registrant lists a correct DPS ID

              number on mail ballot materials but not the number that happens to be listed

              in TEAM, the voter’s mail ballot or mail ballot application will be rejected.

          b. Some Texans are listed on TEAM without a DPS ID Number. Many of these

              individuals do in fact have DPS IDs. They are instructed by the language in

              the mail ballot application and on the carrier envelope to list only their DPS

              ID when filling out mail ballot forms. However, because their DPS ID

              Number is absent from TEAM, their materials will be rejected.

          c. Administrative records are not perfect. Tens of thousands of Texans are listed

              on TEAM with typos in their Social Security numbers (“SSN”) and/or their

              DPS ID numbers. When a registered voter fills out a mail ballot application

              (or ballot carrier envelope) correctly, the material will be rejected on account

              of these administrative typos.

5. In my Initial Report, I established a methodology for linking TEAM records to DPS

   records in order to count the number of individuals who might have their materials

   rejected. In addition to explaining the methodology, I was able to test the validity of the

   methodology. I reported that 1 in 7 registered voters in Texas could have their mail ballot

   materials rejected on account of SB 1 even if they followed instructions correctly. I

   concluded that “Texas’s databases are simply not well-suited to SB 1’s demands”

   (Paragraph 114). On account of incomplete records as well as typos and other




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   inconsistencies across state databases, the law can prevent citizens from voting. I

   conducted subgroup analyses to show that the affected population includes many senior

   citizens, Texans living overseas, disabled veterans and homebound citizens, all of whom

   rely on mail voting more than the general population.

6. In a May 4, 2022 supplemental report (“First Supplemental Report”), in addition to some

   new analyses, I replicated the analysis described above with updated DPS and TEAM

   records. Whereas DPS and TEAM data in the Initial Report were produced in January

   2022, data in the First Supplemental Report were produced by the State in March and

   April 2022. The results were substantively the same.

7. In January of 2023, I received yet another update to DPS and TEAM records. The DPS

   records were drawn in December of 2022, and the TEAM records were compiled in early

   January 2023.

8. In Appendix A to this report, I describe the details of this additional replication with the

   new data from December 2022/January 2023. In Table A, here, I provide the top-line

   summary statistics from that analysis and place the results in context, alongside results

   from the Initial Report and First Supplemental Report.




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 TABLE A: Summary of Results from Three Analyses of DPS and TEAM Records


                                   Initial Report       First Suppl.         Second Suppl.
                                                          Report                Report
                                 February 2022           May 2022            January 2023
No DPS ID in TEAM;
                                      276,405              209,137                189,095
Possesses DPS ID
One DPS ID in TEAM;
                                     2,213,676            2,392,733               2,394,435
Possesses Multiple DPS IDs
Typo/Inconsistent SSN4 in
                                      44,444               44,915                  44,353
DPS vs TEAM
Typo/Inconsistent DPS ID
                                      68,190               74,897                  62,461
in DPS vs TEAM
Total Issues                        2,602,715             2,721,682             2,690,344
Total TEAM Records                  17,026,054           17,330,189            17,451,752
Issues/Total (Percent)                15.3%                 15.7%                 15.4%


9. As the first line of data in Table A shows, the results indicate a decline in the number of

    individuals who are listed in TEAM without a DPS ID Number but who do in fact

    possess a DPS ID Number. The number went from 276,000 when I first ran the analysis a

    year ago to 209,000 a few months later, to 189,000 in the current analysis.

10. During the same period, the number of Texas registered voters who are listed in DPS

    with more than one DPS ID number has increased from 2,214,000 to 2,393,000 to

    2,394,000. As noted in the Initial Report, according to SB 1, a voter may use a current or

    expired ID in filling out mail ballot materials, but TEAM only stores zero or one ID

    number per registered voter.

11. The number of typos or other data errors in the storage of Social Security numbers

    (specifically in the last four digits of the Social Security numbers (“SSN4”)) is nearly

    exactly the same across the three analyses. The number of typos or errors in DPS ID

    numbers went from 68,000 to 75,000 and then down to 62,000. The last rows of Table A

    summarize the total number of issues and divides these by the total number of TEAM



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       records. The analysis was performed three times over the course of twelve months with

       three different snapshots of Texas administrative data. The results are consistent, with 15-

       16% of records affected by issues that might lead to ballot materials being rejected on

       account of SB 1 requirements, even with voters dutifully following mail ballot

       instructions.



III.      Analysis of November 2022 Federal Election

12. In this section, I analyze mail ballot data from the November 2022 federal election. First,

       I measure the consistency between statistics reported by Texas and the January 3, 2023

       data transmitted to me regarding participation in the November election. Then, I report

       three key findings.

          a. I estimate that the initial mail ballot rejection rate in Texas at 4.1%. This is higher

              than the final rejection rate of 2.7% that Texas has reported.

          b. I estimate that over 80% of rejected mail ballots are rejected on SB 1 grounds. I

              count 5 Federal Post Card Application (“FPCA”) voters—military and overseas

              voters—whose ballots were rejected on SB 1 grounds.

          c. I estimate that more than 50% of individuals who are flagged for having a mail

              ballot rejected due to SB 1 did not end up voting in the November election, either

              by mail or in person.




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    13. According to the website of the Texas Secretary of State, in the November 2022 election,

         7,775,713 votes were cast in person and 359,526 ballots were cast by mail. 1 2 The count

         of 359,526 mail ballots submitted is higher than 345,697, which is the count provided by

         state officials to the media. 3 It is also higher than 345,679, which is the count disclosed

         by Texas in court documentation in January 2023. 4

    14. In the January 2023 TEAM database I received, there are 8,178,445 voter history records

         associated with the November 8, 2022 election. However, about 70,000 of these records

         are instances of registrants who are listed on more than one line of the TEAM database,

         for instance a line representing that they requested a mail ballot but another line

         representing that they actually voted in person.

    15. In order to gauge turnout as it is represented in the TEAM records, I retain only the most

         recent voter history record for each registrant, by selecting the date listed as most recently



1
  See “November 08, 2022 GENERAL ELECTION Cumulative Totals Thru Close of Business November 08, 2022”
https://earlyvoting.texas-election.com/Elections/getElectionEVDates.do. The counts as reported by Texas here are
dynamic and are regularly updated. The counts listed reflect numbers as of January 30, 2022. The mail ballots in this
tabulation come from county numbers and appear to reflect ballots submitted rather than ballots officially counted.
This is evidenced by the fact that the state website records ballots submitted as early as October 2, 2022, a date prior
to when signature verification committees began to meet and review mail ballots. For information on the timeline
for reviewing ballots, see: “Early Voting Ballot Board & Signature Verification Committee, Handbook for Election
Judges and Clerks 2022,” Texas Secretary of State Elections Division. See Page 9: “A [signature verification]
committee may not begin operating before the 20th day before election day.”
https://www.sos.state.tx.us/elections/forms/ballot-board-handbook.pdf.
2
 Note that there is more than one way to tabulate voter turnout. For instance, elsewhere on its website, the Texas
Secretary of State’s office refers to ballots counted in the gubernatorial election (the highest office on the ballot in
2022) as its voter turnout. See Texas Secretary of State, “Turnout and Voter Registration Figures (1970-current),”
https://www.sos.texas.gov/elections/historical/70-92.shtml. For matching turnout statistic in gubernatorial election,
see Texas Secretary of State, “Official Canvas Report,” Page 8, https://results.texas-
election.com/static/data/Reports/47009/OfficialCanvassReport.pdf?v=1673559121148.
3
 Ashley Lopez, “Despite Mail Voting Changes, Ballot Rejections Remain Relatively Low in 2022 Midterms,” NPR,
January 13, 2023.
4
 See “State Defendants’ Supplemental Objections and Responses to the United States’ Second Set of
Interrogatories,” Page 13, United States v. Texas, January 19, 2023.



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         updated. After this procedure, all in-person ballots cast (election day ballots and early

         ballots, including provisional ballots) yield a tally of 7,775,194. This number is nearly

         identical to the count of 7,775,713 in-person ballots received according on the State’s

         website as referenced above. Since the website is continuously updated but the voter file I

         received is static and dated January 3rd, it is expected that the number counted on the

         website would be slightly higher than tabulated based on the static voter file. Note that

         some of these ballots (5,901 of them) have a code indicating that they were ultimately

         rejected. Nearly all the others (7,768,874) have a code indicating that they were accepted.

         The remaining 419 records have neither an accepted nor rejected code. 5

    16. 378,487 other records have a code associated with a mail ballot. Nearly all of these have

         one of the following “ballot status” codes:

         TABLE B: Ballot Status Codes of Mail Ballot Records in November 2022 Election


                        CODE Definition                                            Count
                        AB     Absentee ballot received                              1,492
                        AC     Absentee ballot cancelled by voter                   16,420
                        AM     Absentee ballot mailed                               29,719
                        AV     Absentee ballot accepted                            322,423
                        AX     Absentee ballot rejected                              8,366
                        RB     Absentee ballot returned by PO                           20
                        (No Code)                                                       47



    17. Of these records, the total ballots submitted are those with codes AB (Absentee ballot

         received), AV (absentee ballot accepted), and AX (absentee ballot rejected). These sum



5
  The method of voting is defined by a field in the database called “ballot type.” The rejected/accepted status comes
from a different field, called “ballot status”. For in-person ballot types, 7,768,874 have a code of “A” (accepted);
5,901 have a code of “R” (rejected); and 419 have no code.



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        to 332,281. 6 The other codes reflect ballots that either never reached the voter (returned

        by Post Office) or were received by the voter but the voter never mailed back the ballot

        or else cancelled the request.

    18. This number (332,281) is lower than the other counts mentioned above, both in public

        reports (345,697 ballots received) and in the State’s count on its website (359,526 ballots

        received). One possible explanation for the discrepancy is if those sources include in their

        counts ballots that were cancelled by voters. Adding in these 16,420 records would bring

        the voter file count up to 348,701. However, based on the codes and definitions made

        available to me, I will count ballots submitted as only those that have the codes of AB,

        AV, or AX.

    19. According to the January 2023 data, there are 18,187 records listed with a reason that a

        ballot was rejected. Of these, 13,638 were mail ballot rejections. About 40% of records

        that indicate a reason for a mail ballot being rejected have a status code that indicates the

        ballot was accepted. Presumably, these are cases in which a ballot was initially rejected

        but eventually cured and accepted. Of all the mail ballot rejections, 11,430 (83.8%) have

        a code indicating that identification verification was the reason for the rejection. 7 With

        13,638 rejections and 332,281 mail ballots submitted, the rejection rate is estimated as

        4.1%. This number is higher than the publicly reported rate of 2.7%. 8



6
 If one calculates this number without removing the duplicate voters listed in TEAM, as described above, the total
count of submitted ballots would nevertheless be quite similar: 332,885.
7
  These codes are: IS, ISR, EVBIS, EVBISR, EVCIS, EVCISR, and ISF. The first two of these codes are identified
in Defendant’s disclosed document STATE057755. The remaining codes are identified by county disclosed
documents, such as Dallas County document, MS016221.
8
  According to NPR, 9,348 of 345,697 mail ballots were rejected. These numbers are based on “NPR inquiries with
state officials.” Ashley Lopez, “Despite mail voting changes, ballot rejections remain relatively low in 2022
midterms,” NPR, January 13, 2023


                                                                                                                     9
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    20. Among those with rejected ballots include 5 individuals who use Federal Post Card

         Applications, which are voter registration forms used by members of the military, their

         families, and American citizens who are residing overseas.

    21. Of the 11,430 records indicating voters who were rejected on SB 1 grounds, less than half

         of them (44.4%) are associated with a registrant whose record also shows that they were

         able to vote either by mail or in person. Most (55.6%) failed to vote successfully

         following their ballot being rejected.

    22. If one calculates the rate of rejected ballots as those that appear as uncured in the TEAM

         file, the rejection rate would be lower than 4.1%. For example, of all 13,638 records

         listed with a reason that a mail ballot was rejected, 8,306 show no indication that the

         registrant successfully voted, whether by curing the mail ballot or cancelling the mail

         ballot and voting in person. If we divide 8,306 by the sum of 8,306 and 322,423 (the

         number of successful mail votes), then the uncured/uncanceled rejection rate would be

         2.5%, which is close to the rejection rate of 2.7% reported by the State. Such a

         calculation does not take into account those voters who, in order to resolve a rejection

         attributable to SB 1, needed to vote in person rather than by mail.

    23. The analysis above suggests a mail ballot rejection rate of 4.1% and an

         uncured/uncanceled rejection rate of 2.5%. However, estimates of rejection rates must be

         observed with caution, as some cured ballots may have had their codes in TEAM

         overridden once they were cured. According to Kristi Hart, the State’s Director of

         Election Administration and Voter Registration, TEAM records that are rejected but

         eventually cured would have the rejection flag overridden. 9 At the same time, in some


9
 Deposition transcript of Kristi Hart, Director of Election Administration and Voter Registration, Office of Texas
Secretary of State, Pages 133-135, United States v. Texas, June 30, 2022.


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           cases registrants have multiple records on TEAM, one indicating a rejection and one an

           accepted form. Thus, from the TEAM data alone, it is not possible to offer a definitive

           account of the number of ballots rejected and cured. The numbers reported here reflect

           what can be discerned with the available data.

     24. In comparison to the March 2022 primary, which was the first election held under SB 1

           rules, two facts are apparent. First, the rejection rate reported in the March 1, 2022 state

           primary was higher than in November; 12% of ballots were reportedly rejected in

           March. 10 Second, a smaller share of voters who cast ballots did so by mail in November

           2022 (4.4% according to the State’s reporting) compared to the share in March 2022

           (5.6%). 11



     IV.       Relationship between Records Flagged and Mail Voting in 2022 Election

     25. The first part of the analysis in this report showed that 15% of Texas registered voters

           could have a problem voting by mail on account of SB 1. The second part of the analysis

           showed that some 4% of mail voters had ballots rejected on account of SB 1

           identification rules. Here, I will briefly put these two analyses in context of one another.

     26. As I noted in my First Supplemental Report, a useful analogy to the problems identified

           here is that of a hospital that has poor record-keeping practices. Suppose the hospital had

           incorrect records for 15% of the population. In any one year, few people go to the

           hospital, so it isn’t the case that 15% of the total public will be mistreated by the hospital

           on account of poor record-keeping. But when those in that 15% “at-risk” population



10
   Robert Garrett, “Rejection of Texans’ Mail Ballots Decline Markedly from the Big Surge in March Primary”,
Dallas Morning News, Dec 23, 2022.
11
   https://earlyvoting.texas-election.com/Elections/getElectionDetails.do.


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         suddenly need to visit the hospital, they may be inconvenienced or harmed on account of

         the record-keeping. The analogy is helpful because it clarifies that while there is a large

         pool of citizens at risk of having a problem, most will not be confronted with that

         problem in any one election year.

     27. Consider the 2.7 million records of registrants whose data demonstrate a possible barrier

         to meeting SB 1 requirements. I merge these with the records of individuals who

         requested a mail ballot in November 2022. Of all the 2.7 million registrants with record

         issues, 28,437 requested a mail ballot. It is not surprising that only a small percent of

         these 2.7 million voters requested a mail ballot, as only about 2% of all registered voters

         in Texas voted by mail in the November election. 12 Among those 28,437 registrants who

         tried to cast a mail ballot, 6,380—or 22.44%—never cast a successful mail ballot. These

         registrants include those rejected due to SB 1 and those rejected for reasons other than SB

         1, as well as those who never returned their ballot or returned their ballot late. In

         comparison, among those registrants who are not in the “at risk” pool of the 2.7 million

         voters, only 16.17% of them who began the mail voting process never cast a successful

         mail ballot (a statistically significant six percentage-point difference, p < .0001). Again,

         this baseline of 16.17% includes those whose mail ballot applications or ballots are

         rejected for reasons unrelated to SB1 as well as individuals who do not end up returning a

         mail ballot at all or returning it late. The fact that the subpopulation of 2.7 million has a




12
  According to Texas, in November 2022, there were approximately 346,000 mail voters and 17,672,000
registrants, so 2% of all registrants cast a mail ballot. This figure represents the percentage of all registered voters
who cast mail ballots in November 2022, rather than the percentage of voters who cast ballots in the November
2022 election who did so by mail, as discussed in Paragraph 24. For mail ballot estimates, see above. For
registration counts, see: https://www.sos.texas.gov/elections/historical/70-92.shtml.


                                                                                                                       12
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     much higher rate of non-voting by mail conditional on requesting a ballot is likely to be

     related to SB 1 requirements.

V.      Conclusion

28. In this analysis, I have replicated my main analysis for the second time. The analysis

     shows (as it has shown twice before) that about 15% of registration records in Texas

     could have an issue with the SB 1 identification verification rule if the registrant was to

     apply to vote by mail. Second, I have shown that while only 2% of registrants voted by

     mail in the 2022 general election, more than 11,000 ballots were rejected on account of

     SB 1 identification issues. Most of the individuals who submitted those rejected ballots

     did not successfully vote, either by mail or in-person. Third, I have shown that “at-risk”

     registrants who tried to cast a ballot by mail in the 2022 general election were

     significantly less likely to successfully vote by mail than individuals who are not in the

     pool of the 2.7 million “at-risk” registrants.



     I declare under penalty of perjury under the laws of the United States that the forgoing is
     true and correct to the best of my knowledge.


     DATED this 3rd Day of February, 2023.




     ________________________
     Eitan Hersh




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   APPENDIX A: REPLICATION OF ANALYSIS USING DEC 2022/JAN 2023

          VERSIONS OF DATA


A. Databases

1. DPS. The updated DPS database I received is dated December 17, 2022. The database

   contains 37,377,423 records, an increase of almost a million records from the 36,417,304

   records identified in the March 2022 data I analyzed in my prior supplemental report. As

   in the versions previously analyzed, the December 2022 version of the data has complete

   or nearly complete records in all fields of interest (e.g., name, date of birth, address,

   gender) except that 5% of records are not populated with Social Security numbers, which

   was also the case in the prior versions. Table 1 below updates Table 1 of my Initial

   Report with the new data.

2. The percent of DPS records with missing SSNs has declined from 5.02% in the Initial

   Report to 4.98% in the First Supplemental Report, to 4.85% here. The percent of records

   missing a unique SSN9 (i.e., the number of SSNs associated with more than one DPS ID

   Number) has increased from 21.6% to 27.5% here (the First Supplementary Report had

   this rate even higher, at 28.7%).

   TABLE 1: Rate of Missing Information in DPS


                         Missing SSN                        4.85%
                         Missing unique SSN9                 27.49
                         Missing First Name                   0.00
                         Missing Last Name                    0.00
                         Missing Birthdate                    0.00
                         Missing M/F Gender                   0.00
                         Missing Street Number                0.03
                         Missing ZIP Code                     0.00
                         TOTAL IN DATABASE              37,377,423



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       3. TEAM. The updated version of TEAM records is dated January 3, 2023. The TEAM data

           was transmitted to me as a single data file. (In prior transmissions, the data had been

           stored by county in separate files). Registered voters can be listed on many lines within

           the file. For instance, Texas counts 28,868 registered voters in Anderson County as of

           January 2023. 13 In the January 2023 TEAM export I received, there are 57,459 rows of

           registrants in Anderson County. Different rows show different interactions that

           registrants have had with the election system. I processed the data so that each person,

           represented by their Voter Unique Identification Number (VUID), is listed one time.

           Specifically, I observed the dates labeled “ballot_last_updated” and retained the most

           recent date for each registrant. I also retained registrants who had no date listed in this

           field.

       4. After the de-duplication process, the January 2023 TEAM file consists of 17,451,752

           records. I sought to confirm that this number is close to the State’s official reporting.

           According to the Secretary of State’s website, as of January 2023, there were 17,450,474

           registered Texas voters. Given the typical fluctuation in registration numbers, a

           difference of less than 0.01% suggests the data I have been given by the State is

           consistent with the State’s publicly reported information.



       B. Data Quality Checks in the TEAM Voter Records

       5. I performed the same set of data quality checks as described in my prior reports. Tables 2

           and 3 offer summary statistics on key fields of interest. In the updated data, 2.27% of

           records are missing SSN (compared 2.52% in March 2022 and 2.34% in January 2022).



13
     https://www.sos.state.tx.us/elections/historical/jan2023.shtml


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   In the January 2023 data, 2.62% are missing a DPS ID Number (compared to 2.85% in

   April 2022 and 3.16% in January 2022).

6. The numbers are all similar to those in my previous reports, with one exception. In the

   January 2023 data as well as the January 2022 data, less than 1% of records are missing

   street number and ZIP code. In the March 2022 data, over 20% of the records were

   missing this information.



   TABLE 2: Rates of Missing Information in TEAM


                        Missing SSN                       2.27%
                        Missing Unique SSN9                 5.86
                        Missing First Name                  0.00
                        Missing Last Name                   0.00
                        Missing Birthdate                   0.01
                        Missing M/F Gender                  3.65
                        Missing Street Number               0.07
                        Missing ZIP Code                    0.03
                        TOTAL IN DATABASE             17,451,752



       TABLE 3: Summary of Field Completeness in TEAM


      TOTAL Records in TEAM analysis                17,451,752
      Records with unique SSN9                      16,428,895               94.14%
      Records with SSN4                             17,056,442                 97.73
      Records with DPS ID Number                    16,994,311                 97.38
      Records lacking SSN4 and DPS ID No.               93,208                  0.53




C. Methodology

7. The methodology employed is the same as in my Initial Report. See Paragraphs 50-73 in

   that report for a detailed explanation. My goal is to look up each registered voter in the



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     DPS database and determine if the registered voter has one (or more) DPS ID Numbers

     listed, and to see if there are typos or other inconsistencies between the DPS ID Numbers

     and SSN4s listed on TEAM versus those listed on the DPS Database. I create three

     linkage fields to connect the TEAM and DPS databases together. The first field is the

     nine-digit Social Security number (SSN9). The second field is the combination of name

     (First and Last) and date of birth. I call this linkage field “ND” for Name + Date of Birth.

     The third field, a combination of Address (Street Number and ZIP code) + Date of Birth

     + Gender, I call “ADG”. Table 4 (a replica of Table 6 from my Initial Report) illustrates

     the three linking fields with an example of a fictional registered voter named John Smith.

     TABLE 4: Summary of Fields Used in Linking TEAM Database to DPS Database


Field Name    Explanation                                 “John Smith” example
SSN9          9-digit Social Security number              “XXX-XX-XXXX”
ND            First name + Last name + Date of birth      “JOHNSMITH1976-07-04”
ADG           Address + Date of birth + Gender            “655782051976-07-04M”


  8. As in the prior reports, in addition to calculating statistics for the whole population of

     registered voters, I also look at several subpopulations, including registrants over 65,

     registrants who voted in 2020, registrants who have homebound/disabled veteran

     statuses, and registrants who are listed with specific codes in TEAM signaling that they

     have applied using Federal Post Card Application (FPCA) registration forms, which are

     voter registration forms used by members of the military, their families, and Americans

     who are residing overseas. I refer to these as FPCA voters. In the April report, I did a

     separate analysis of “voluntary surrender” designations in DPS records, but I concluded,

     based on disclosures from Texas, that these designations did not contain sufficient

     information to determine if the citizen holding a surrendered card would or would not be



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   able to use the ID card for the purposes of mail voting. Accordingly, I do not repeat the

   analysis of surrendered licenses here.

D. Linkage Part I: TEAM Records with missing DPS ID Numbers

9. I divide the analysis into two parts. First, I examine individuals whose TEAM records do

   not show any DPS ID Number. Second, I examine individuals whose TEAM records do

   show a DPS ID Number.

10. Out of 17,451,752 records in TEAM, 457,441 do not have a DPS ID Number listed in the

   voter registration records. If any of these individuals actually has a DPS ID Number, they

   are instructed by the mail ballot forms to include that DPS ID Number (and only that

   identification number). But SB 1 requires these forms—the application and the ballot

   carrier envelope—to be rejected because the DPS ID Number is not listed within

   registration records.

       TABLE 5: TEAM records by Presence/Absence of Unique SSN9 and DPS ID

       Number


                                       Unique SSN9
                                       Present    Absent TOTAL
                DPS ID     Present     16,340,755 653,556 16,994,311
                Number     Absent        88,140   369,301  457,441


11. I link the 457,441 individuals who do not have DPS ID Numbers recorded in TEAM to

   the DPS database using the SSN, ND, and ADG linkage fields.

12. I first link by SSN9. Of the 457,441 individuals without a DPS ID Number in TEAM,

   88,140 have a unique SSN9 listed (as noted in Table 5). Of those, 71.42% match to the

   DPS database by their SSN9. A total of 64.81% of the records match to a single DPS ID

   Number, and 6.61% link to multiple DPS ID Numbers.



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 13. I next link these individuals based on ND. As noted in Table 5, most individuals who lack

    DPS ID Numbers on TEAM also lack an SSN9. However, nearly all of the records have a

    unique ND combination. Of the 457,441 lacking a DPS ID Number on TEAM, 449,224

    (98.2%) have a unique ND. Of those who have a unique ND, 23.72% match to a single

    DPS record and 4.22% match to multiple DPS records.

 14. I next link these individuals based on ADG. Of 457,441 records lacking a DPS ID

    Number on TEAM, 401,073 (87.68%) have a unique ADG. Of those with a unique ADG,

    26.81% match to a single DPS record and 3.48% match to multiple DPS records.

    TABLE 6: Results of Linking TEAM to DPS Records for TEAM Records without a

    DPS ID Number listed


       No Match to DPS      Single Match to DPS      Multiple Match to DPS       Attempted
                                                                                 to Match
SSN9        28.58%                 64.81%                     6.61%                 88,140
ND           72.06                  23.72                      4.22                449,224
ADG          69.70                  26.81                      3.48                401,073
Any          58.36                  36.25                      5.39                454,073


 15. Table 6 summarizes the analysis of records that do not have a DPS ID Number listed on

    the TEAM voter file. Each of the first three rows summarizes a linkage between TEAM

    and DPS based on SSN9, ND, and ADG, respectively. For instance, the first row shows

    that I attempted to match 88,140 records in TEAM based on SSN9. This reflects the

    number of TEAM records without a DPS ID Number that include a unique SSN9. Of

    those, 28.58% did not match to DPS. The others did match.

 16. The bottom row of Table 6 provides the overall summary for the TEAM records lacking

    a DPS ID Number. Of the 457,441 total records lacking a DPS ID Number, I attempted to

    link 454,073 (99.26%) to the DPS database. (The other 0.74% did not have a unique or



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   complete value for SSN9, ND, or ADG). Of the individuals I attempted to find on DPS,

   42% matched to a DPS record. That amounts to 189,095 registered voters. These

   individuals possess a DPS ID Number and therefore are instructed by Texas’s mail ballot

   forms to list their DPS ID Number (and only their DPS ID Number) on their mail ballot

   forms. However, if they follow those instructions and list only that DPS ID Number, SB

   1 requires their ballot applications, and their ballots, to be rejected because the number is

   not listed on TEAM.

17. Subpopulations: Of the 189,095 individuals who match to DPS and have a DPS ID

   Number even though no such number is listed on TEAM,

               •   74,982 are over age 65

               •   52,157 voted in the 2020 election

               •   28,152 are over 65 AND voted in the 2020 election

               •   1,475 have FPCA statuses

               •   391 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM without DPS ID Numbers but do in fact possess DPS ID

   Numbers.

18. Typos in Social Security Number. Among registrants who lack a DPS ID Number

   recorded on TEAM but who match to a record in DPS based on ND or ADG, I compare

   the SSN4 as recorded on the two databases. I find that 3,431 individuals who appear on

   both databases have discrepancies in their SSN4s. If the DPS records of SSN are correct,

   then these 3,431 cases result from inaccuracies on TEAM. They would cause election


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         officials to reject mail ballot forms from citizens who include their correct SSN4 on the

         forms. A voter may include an SSN4 on ballot materials as a precautionary measure

         based on supplemental instructions from election administrators. 14



     E. Linkage Part II: TEAM Records Listed with DPS ID Numbers

     19. I now turn to the analysis of the 16,994,311 records in which a DPS ID Number is listed

         in the TEAM databases. As noted above in Table 5, 96.2% of these records have a unique

         SSN9 associated with them. I first link these records to DPS by matching on SSN9. Of

         16,340,755 records with a unique SSN9 on TEAM, 99.71% match to a record in DPS.

         However, 16.34% of the records match to more than one DPS ID Number.

     20. Next, I link records based on the ND combination, as described in Paragraph 11 above.

         The ND combination is unique for 16,869,025 individuals who have a DPS ID Number

         listed on TEAM. Of these, 97.66% match to a record in DPS. However, 15.89% match to

         more than one DPS ID Number.

     21. Next, I link records based on the ADG combination. The ADG combination is unique for

         16,316,427 individuals who have a DPS ID Number listed on TEAM. Of these, 85.19%

         match to a record in DPS. However, 11.01% match to more than one DPS ID Number.

         TABLE 7: Results of Linking TEAM to DPS Records for TEAM Records with a

         DPS ID Number listed


              No Match to DPS           Single Match to DPS            Multiple Match to DPS            Attempted
                                                                                                         to Match
SSN9                 0.29%                        83.36%                         16.34%                 16,340,755
ND                    2.34                         81.76                          15.89                 16,869,025
ADG                  14.81                         74.19                          11.01                 16,316,427

14
  See discussion of the State’s instructions in my Initial Report, Footnote 4, and in First Supplemental Report,
Paragraphs 50-55.


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Any               0.82                     85.07                      14.10              16,980,669


  22. Table 7 summarizes the analysis of records with a DPS ID Number on the voter file.

       Consider the bottom row. Of the 16,994,311 records in TEAM listed with a DPS ID

       Number, I attempted to link 16,980,669 (99.92%) of them to the DPS database. The

       remaining 0.08% did not have a unique or complete record on SSN, ND, and ADG. Of

       these 16,980,669 records, 99.18% matched to a record in DPS. However, many of them

       are listed more than once on DPS, with multiple ID numbers. These 14.10% of records

       sum up to 2,394,435 records. That is, for 2.4 million Texas registered voters who have a

       DPS ID Number listed, they may put a correct DPS ID Number on their mail ballot

       application form but nevertheless have their application (or their ballot envelope) rejected

       because the DPS ID Number they write down, while correct, happens not to be the DPS

       ID Number recorded on the TEAM file.

  23. The 2.4 million figure may be an underestimate. Many DPS ID holders are listed not just

       with one DPS ID Number but they have alternative ID numbers stored as “AKA DL/ID

       Numbers.” Of the TEAM records that linked to a single DPS ID Number, 1,407,010

       of them linked to a record that listed alternative ID numbers in the “AKA DL/ID

       Number” field. During her April 20, 2022 deposition, Sheri Gibson, chief of the Texas

       DPS driver’s license division, explained that these AKA DL/ID numbers are

       identification numbers associated with the ID holder that are either erroneous or originate

       from a prior version of the State’s license system. If registrants use these alternative

       identification numbers when submitting a mail ballot application or mail ballot, they will

       also have their forms rejected because the AKA DL/ID Numbers are not the

       identification numbers on the voter registration records that are associated with these


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   registrants. Because some AKA ID Numbers are considered by DPS to be erroneous or

   otherwise invalid (i.e., not just “expired,” which does not impact validity for SB 1

   purposes), in order to perform a conservative analysis, I focus here on registered voters

   who have multiple DPS ID Numbers exclusive of the AKA DL/ID Numbers.

24. Subpopulations: Of the 2,394,435 individuals who match to multiple DPS ID Numbers,

               •   174,880 are over age 65

               •   1,073,661 voted in the 2020 election

               •   91,469 are over 65 AND voted in the 2020 election

               •   1,325 have FPCA status

               •   5,279 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with a DPS ID Number but possess multiple DPS ID

   Numbers. If they list a DPS ID Number other than the one that happens to be recorded in

   TEAM, SB 1 requires their mail ballot forms to be rejected.

25. Typos in Social Security Number. Looking just at the last 4 digits of Social Security

   numbers, I calculate the number of individuals in TEAM who match to records in DPS

   based on ND and ADG, but whose TEAM records show a different SSN4 than is shown

   on DPS. There are 40,922 individuals who appear on DPS with different SSN4s than

   shown on TEAM. If the DPS database is correct and these individuals mark down their

   correct SSN4 on a mail ballot application, then their application will be rejected because

   of incorrectly recorded data in TEAM.




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       a. Subpopulations: Of the 40,922 individuals whose SSN4s listed on TEAM do not

          match the SSN4s listed in the DPS database

               •   14,945 are over age 65

               •   25,795 voted in the 2020 election

               •   10,294 are over 65 AND voted in the 2020 election

               •   100 have FPCA status

               •   110 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with an SSN4 that is inconsistent with the SSN4 listed in

   the DPS database.

26. Typos in DPS ID Numbers. Just as there are discrepancies between the SSNs listed in

   TEAM and the corresponding SSNs listed in DPS, there are also discrepancies in DPS ID

   Numbers. Using the methodology for calculating these discrepancies that was explained

   in my Initial Report, I calculate that 62,461 individuals have a DPS ID Number in TEAM

   that does not match any DPS ID Number in the DPS database.

       a. Subpopulations: Of the 62,461 individuals on TEAM who match to DPS on

          SSN9, ND, and ADG, but have DPS ID Numbers that do not correspond to the

          DPS database,

               •   14,602 are over age 65

               •   27,441 voted in the 2020 election

               •   9,006 are over 65 AND voted in the 2020 election

               •   75 have FPCA status


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                •   359 individuals matched to DPS records indicating homebound status or

                    disabled veteran status.

F. Summary of Results from Updated Analysis

27. To comply with the identification verification requirements in SB 1, registered voters

   who have a DPS ID are instructed to record their ID number on a mail ballot application

   and again when submitting a mail ballot. If they do not have an ID number, they must

   record their SSN4. The analysis from the updated TEAM and DPS files show the

   following:

       a. 189,095 registered voters are not listed in TEAM with a DPS ID, but they do have

           a DPS ID. Official forms instruct these individuals to list only their DPS ID, but if

           they do so, their ballot or ballot application will be rejected.

                i. Of these, 74,982 are over 65 years old, 28,152 of whom voted in the most

                    recent presidential election.

                ii. Of these, 1,475 have FPCA status or are listed as disabled veterans or as

                    homebound citizens.

       b. 2,394,435 individuals who are listed on TEAM with an associated DPS ID have

           more than one DPS ID Number. If they happen to write down a DPS ID number

           that is correct but is not the DPS ID number recorded in TEAM, their ballot or

           ballot application will be rejected.

                i. Of these, 174,880 are over 65 years old, 91,469 of whom voted in the most

                    recent presidential election.

                ii. Of these, 5,279 have FPCA status or are listed as disabled veterans or as

                    homebound citizens.




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       c. 44,353 individuals have SSN4s listed in their TEAM records that do not match

           the SSN4s listed in the DPS database.

       d. At least 62,461 individuals who are listed on TEAM registration records with a

           DPS ID Number do not show the same DPS ID Number listed in the DPS

           database.

28. Altogether, 2.7 million registered voters in Texas (out of 17.5 million) are at an increased

   risk of having a mail ballot or mail ballot application rejected due to identification

   number requirements in SB 1. These numbers do not include individuals who have

   misplaced or surrendered their IDs or who mis-enter information on a mail ballot form.

   These 2.7 million individuals can correctly fill out their forms, but their applications and

   ballots would be rejected nonetheless.




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                   Exhibit 4




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                                   ADDENDUM TO
                                  Second Supplement to
      Report on Identification Number Requirements for Mail Balloting under SB 1


                                  United States v. Texas


              United States District Court for the Western District of Texas




___________________
Eitan Hersh
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May 8, 2023




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I.       Summary

1. In Part IV of my February 3, 2023 report (“Second Supplemental”), I compared the successful

     mail voting rates in the November 2022 election of individuals whose records I had deemed “at

     risk” for a ballot being rejected on account of the identification requirements in SB 1 with the

     successful mail voting rates of those not deemed “at risk.” I found that at-risk voters successfully

     voted by mail at a significantly lower rate than other voters. In his March 3, 2023 rebuttal report,

     the State’s witness, Dr. Mark Hoekstra, raised questions about this analysis. He suggested that my

     analysis had not accounted for the possibility that voters in the at-risk pool a.) could have been

     rejected for reasons unrelated to SB 1, b.) simply substituted voting in-person for voting by-mail,

     and c.) exhibit different voting rates from other voters for reasons that are correlated with being in

     the at-risk pool but have nothing to do with SB 1 compliance (See Hoekstra at Paragraph 21).

2. Following my review of Dr. Hoekstra’s report but before my April 20, 2023 deposition, I

     conducted additional, informal analyses to answer questions raised by Dr. Hoekstra, such as

     checking whether “at-risk” voters did indeed substitute in-person voting for mail voting. During

     the deposition, the counsel for the State asked if I had done analysis since writing my last report. I

     disclosed I had done an analysis related to Dr. Hoekstra’s comments, though I had not formally

     written up computer code nor written up my notes. At my deposition, the State’s counsel asked

     that I share an updated analysis.

3. Responsive to the State’s counsel’s request, I went back to the database and conducted the

     updated analysis that I report on here. I am also providing updated programming code to

     accompany this addendum. In short, the updated analysis shows that voters in the “at-risk” pool

     who applied for a mail ballot (successfully or unsuccessfully) were significantly less likely to

     successfully vote (either by mail or in person) in the November 2022 election. This finding

     cannot be explained by substitution of in-person voting for voting by mail. The finding also

     cannot be explained by key demographic or geographic factors (e.g., age, county of residence).

     Registered voters in the at-risk population who apply for a mail ballot are more than twice as


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          likely as other voters to have a record in the TEAM database indicating that their ballot was

          rejected due to SB 1. This evidence is consistent with the view that the 2.7 million Texans for

          whom identification numbers are incorrectly or incompletely recorded in TEAM are significantly

          more likely than other voters to have ballots rejected and to fail to successfully vote because of

          SB 1.

    II.       Analysis

    4. I start the analysis with the 8,178,445 TEAM records that indicated any kind of interaction with

          election officials related to the November 8, 2022 election (See Paragraph 14 of Second

          Supplemental Report). Of these records, 422,605 have an “application status” code, which

          indicates that the registrant requested a mail ballot, and 390,012 have a “ballot type” code, which

          indicates that the registrant successfully requested a mail ballot.1 TEAM does show some records

          of individuals with an “application status” code who do not have a “ballot type” code. TEAM

          also shows some records of individuals who have a “ballot type” code but not an “application

          status” code. I perform analyses of voter turnout here separately among those who have an

          indicator that they requested a ballot and among those who have an indicator they were sent a

          mail ballot. The results are substantively the same either way.

    5. While there are 8,178,445 records in TEAM associated with the November 2022 election, tens of

          thousands of individuals are listed multiple times. For instance, a person might have one record

          indicating she had a mail ballot rejected and then a separate record indicating that she had a mail

          ballot accepted. In this analysis, I create a file where each person is listed once, and I record for

          that person whether she has any records in TEAM at all indicating she a.) requested a ballot, b.)

          received a ballot, c.) voted by mail, and d.) voted at all.




1
  In the Second Supplemental analysis, I focused on individuals who successfully requested a mail ballot. These are
records that have a ballot type designation as “AB” in TEAM. However, as an alternative, one can base this analysis
on the application status field so as to include individuals who tried, but failed, to receive a mail ballot. The
decision, one way or the other, does not affect any of the core results, as I will show here.


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             Of 393,324 individuals who requested a ballot, 81.9% successfully voted by mail and

              89.9% voted by any method (mail or in person).

             Of 386,478 individuals who were sent a ballot, 83.4% successfully voted by mail and

              89.8% voted by any method (mail or in person).

  6. Next, I merge this data in with the records of the 2.7 million individuals who I deem “at risk”

      (See Section II and Appendix A of Second Supplemental for information about how I defined the

      “at risk” population). These are individuals who either have no DPS ID Number listed in TEAM

      but do possess a DPS ID Number, have multiple DPS ID Numbers but only one of them listed in

      TEAM, or have typos in their DPS ID Numbers or their Social Security Numbers listed in

      TEAM. Among those who either requested a mail ballot or were sent a mail ballot, I measure

      whether the rate of a successful vote differs depending on whether someone is in the “at-risk”

      pool or not.


  TABLE 1


Individuals who applied for Mail Ballot

                    Successful Mail Vote              Successful Vote Any Method       Observations
Not "At Risk"              82.4%                                 90.6%                      364,267
  "At Risk"                75.9%                                 82.2%                       29,057
DIFFERENCE                 6.5 pp                                8.4 pp
 Note: “pp” means percentage points. It is the difference between the two numbers above it.


  Individuals who were sent a Mail Ballot


                 Successful Mail Vote               Successful Vote Any Method       Observations
Not "At Risk"              83.8%                               90.4%                      358,041
  "At Risk"                77.6%                               81.9%                       28,437
DIFFERENCE                 6.2 pp                              8.5 pp
  Note: “pp” means percentage points. It is the difference between the two numbers above it.




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7. As Table 1 shows, regardless of whether one measures the voting rates among those who

    requested ballots or were sent ballots, Texas registrants in the at-risk pool who attempted to vote

    by mail are over 6 percentage points less likely to successfully vote by mail and 8.5 percentage

    points less like to successfully vote at all, compared to those not in the at-risk pool. All the

    differences in this table are highly statistically significant (p < .0001). Note that the version of

    this analysis from my Second Supplemental Report is the 6.2 percentage point difference in mail

    voting among those who were sent a mail ballot (bottom left of Table 1). Table 1 here shows

    three additional comparisons, finding a consistent, large difference in participation rates among

    those in the at-risk pool and those not in the at-risk pool.

8. Dr. Hoekstra raised the possibility that the individuals who are in the “at-risk” pool are different

    from those not in the “at-risk” pool in ways that are correlated with voter turnout but have

    nothing to do with identification numbers. Dr. Hoekstra performed no analysis on this point, and

    his critique is undermined by the fact that the analysis here is conditioned on individuals

    requesting a ballot. However, responsive to Dr. Hoekstra’s critique, I analyzed the data with two

    key control variables, age and county.

9. As noted in my February 28, 2022 report, at Paragraph 77, registrants without a DPS ID on

    TEAM tend to be older than other registrants. Suppose that, conditional on requesting a ballot, the

    at-risk pool has a higher share of older voters and that those older voters are more likely to not

    successfully vote. A regression analysis that controls for age is responsive to a challenge of this

    sort.

10. In a regression framework, I also control for county variation using county fixed-effects.

    Including county fixed-effects accommodates a concern that what is explaining the lower rates of

    successful voting in the at-risk pool is related to specific counties that have disproportionate share

    of the at-risk pool and disproportionate share of individuals who try, but fail, to vote after

    requesting an absentee ballot.




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    11. Table 2 shows the regression results from an ordinary least squares regression model.2 The first

         row is comparable to the percentages in Table 1. For example, in the second column, the -.084

         figure means that, controlling for age and county, those in the at-risk pool are 8.4 percentage

         points less likely to successfully vote (by mail or in person) conditional on applying for a mail

         ballot. That number, 8.4, is the same as listed in Table 1. This means that adding the control

         variables does not affect the relationship between “at risk” and participation. The same pattern is

         true across all four estimates. Note that I also ran this regression model and included gender as an

         additional control variable. Including gender also has no bearing on the significant relationship

         between being in the at-risk population and successfully voting.

         TABLE 2


                                  Applied for Ballot                 Sent Ballot
                            Mail Vote         Any Vote      Mail Vote        Any Vote
        "At Risk"           -.067 (.002)      -.084 (.002)  -.063 (.002)     -.089 (.002)
        Age (in 10s)        .019 (.0004)      .018 (.0003)  .017 (.0004)     -.018 (.0003)
        Constant            .686 (.003)       .776 (.003)   .714 (.003)      .770 (.003)
        N                   393,229           393,229       386,387          386,387
        NOTE: Each column represents an output from an OLS regression analysis measuring the
        relationship between “at-risk” and voting while controlling for age and for county of residence.
        Standard errors are reported in parentheses.

    12. Another comment offered by Dr. Hoekstra is that some individuals who did not end up voting by

         mail successfully may have not voted for reasons unrelated to identification issues that are

         concentrated in the “at-risk” pool. I observed individuals who requested a mail ballot but then

         asked to cancel the mail ballot (“ballot type” code “AC”). I re-ran the analysis excluding these

         individuals. The results are the same.




2
  Multivariate ordinary least squares (OLS) regression is a common way to measure the relationship between two
variables while controlling for other factors. In this case, OLS allows me to measure the relationship between being
in the at-risk population and voting successfully, while controlling for age and county of residence. If the
relationship between being at-risk and voting successfully is significant even when the other factors are included in
the model, this means that the differences in turnout rates between at-risk and non at-risk voters are not attributable
to those other factors.


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13. A final piece of evidence that confirms that identification issues are at the heart of differences

       between the at-risk pool and the non at-risk pool comes from the ballot codes in TEAM indicating

       a ballot was rejected on account of ID issues. As noted in my Second Supplemental report

       (Paragraph 19), over 11,000 records show a rejection code related to identification issues. Are

       those rejection codes concentrated in the at-risk population? Yes.

              2.8% of Texas registrants who were sent a ballot and are not in the at-risk pool had their

               ballot rejected due to SB 1 identification requirements.

              6.4% of Texas registrants who were sent a ballot and are in the at-risk pool had their

               ballot rejected due to SB 1 identification requirements.


       This rate for the at-risk registrants is more than double the rate of those not in the at-risk pool, and

       the difference is, again, statistically significant at the p <.0001 level.


III.       Conclusion

14. As requested by the State’s counsel at my deposition, this addendum summarizes the additional

       analysis I conducted following my review of Dr. Hoekstra’s March 3, 2022 report. The main new

       analysis I performed responded to the question of whether at-risk voters were less likely to vote at

       all in the November 2022 election or just less likely to vote by mail. I have found that the at-risk

       voters are significantly less likely than the non-at-risk voters to vote and to vote by mail. This

       finding is robust when controlling for age and county, and when setting aside individuals who

       requested their mail ballots to be cancelled. I further show that those in the at-risk pool are more

       than twice as likely as other voters to have ballots rejected specifically on account of SB 1

       identification requirements. The findings strengthen the conclusions of my previous report that

       individuals for whom TEAM incorrectly or incompletely records identification numbers are

       significantly less likely to vote on account of identification requirements of SB 1.




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 I declare under penalty of perjury under the laws of the United States that the forgoing is
 true and correct to the best of my knowledge.

 DATED this 8th Day of May, 2023.




 Eitan Hersh




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                   Exhibit 5




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                            Tammy Patrick




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INTRODUCTION AND SUMMARY OF CONCLUSIONS
  1. I am a longtime election administrator and election administration advisor and instructor. I was
     engaged by the United States of America to provide my opinion on two aspects of Texas’ new
     election law, SB1. First, I was asked to analyze the oath that individuals providing assistance to a
     voter must swear under penalty of perjury and to evaluate whether it is consistent with sound
     principles for election assistance and election administration. Second, I was asked to evaluate
     whether the provisions of SB1 requiring voters applying for a mail ballot or voting by mail to
     provide a number from a Texas identification document if the voter has been issued one, and a
     partial social security number if they have not, in order for their application or ballot to be
     accepted, are consistent with sound election administration principles.

  2. With respect to the voter assistance oath under SB1, it is my opinion based on my knowledge
     and years of experience in election administration that the substantive limitations of the oath
     are not consistent with sound election assistance practices and principles. The oath does not
     allow for assistance that is comprehensive or responsive to voters’ needs, and may prevent
     timely and equitable assistance for some voters. It also places a burden on election
     administrators to interfere with the assistance relationship between an assistor and voter,
     rather than to support ballot access and ensure voters receive the assistance they need.

  3. With respect to the vote-by-mail provisions of SB1, it is my opinion that rejecting mail ballot
     applications or mail ballots based exclusively on a mismatch between an identification card
     number or partial social security number provided on ballot materials and voter records
     maintained by the state is not sound election administration practice, nor is it justified by any
     hypothetical interest in ballot security. This all-or-nothing approach to reverifying the identity
     of mail voters will cause ballot rejections despite officials’ ability to positively identify the voter
     who sent the materials, and will not meaningfully make elections more secure. Evidence of the
     rejection rates from Texas’ implementation of these provisions so far shows rejection rates far
     beyond what would be considered reasonable in a well-run election and demonstrates that the
     identification number requirement does not adequately protect access to voting.

CONTENTS
  4. This Report proceeds in six sections. Section 1 describes my experience, expertise, and
     qualifications as they relate to the opinions expressed in this report. Sections 2 and 3 pertain to
     voter assistance. In Section 2, I lay out the principles of voter assistance applicable to my
     opinion in this case, and in Section 3, I apply those principles to the voter assistance oath
     provision of SB1. Sections 4 and 5 pertain to voting by mail. In Section 4, I provide background
     information and principles underlying sound administration of voting by mail. In Section 5, I
     apply those principles to the identification document number requirements of SB1. Section 6
     summarizes my conclusions.

REQUIRED DISCLOSURES
  5. Over the past 4 years, I have not testified as an expert at trial or deposition.


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  6. Over the past 10 years, I have authored the publications listed in Appendix A.

  7. I am being compensated for my time at the rate of $250.00 per hour. My compensation is not
     dependent on my opinions and findings in this case.

SECTION 1: EXPERTISE
  8. For almost twenty years, I have served as an election administrator and expert on election
     administration. I provide a comprehensive curriculum vitae at Appendix B and will draw upon
     specific examples that have given me experience relevant to the questions the United States has
     asked me to opine on throughout this Report, as well as to contextualize my election
     administration experience as it relates to voter assistance and voting by mail. Below, I highlight
     some of my most pertinent experience.

  9. From 2003-2014, I was the Federal Compliance Officer for the Maricopa County Elections
     Department in Arizona. During my tenure in Maricopa County, I developed and formalized an
     award-winning Voter Assistance Program with comprehensive protocols establishing the proper
     staffing levels at the polls and ensuring the proficiency of workers to aid voters and their
     assistants, training of workers in proper assistance practices, and communicating with the voting
     community about their rights and the services available to them at the polls. When constructing
     the program, it was critical to create something that contemplated all of the challenges in
     identifying vulnerabilities in the system and establishing mitigations prior to any voters being
     negatively impacted or receiving subpar service. As such, I not only trained pollworkers, field
     trouble-shooters, and observers, but I also established a monthly meeting of a Community
     Network consisting of city and town clerks, tribal leaders, political party representatives, and
     members of the various voter advocacy communities.

  10. In 2013, I was appointed a Commissioner on the Presidential Commission on Election
      Administration (PCEA) by then-President Barack Obama. This bipartisan effort spent six months
      holding hearings around the country to look into specific items laid out in the Executive Order
      establishing the Commission, including voter assistance, language access, and vote by mail
      administration. In public hearings, stakeholder meetings, and research and reports submitted to
      the Commission as testimony, we heard about the challenges that some voters were still facing
      in exercising their right to vote.

  11. The Commission produced our report “The American Voting Experience” in January of 2014.
      The report was well received by election officials, legislators, and voter advocates as containing
      practical, bipartisan solutions to some of the challenges facing our elections. The report is still
      used authoritatively today.

  12. From 2014 to 2017, I served as a Senior Fellow at the Bipartisan Policy Center advising their
      Elections Team on the implementation of the Presidential Commission on Election
      Administration's recommendations. We convened workshops of large jurisdictions, published




                                                                                                            3

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        reports on the “New Reality of Voting by Mail” 1 and election day command centers, 2 and
        established a voter wait time research agenda in collaboration with MIT that, for the first time in
        the United States, measured the impact of election administration on the voting experience. 3
        During those three years I testified in numerous state legislatures, presented at dozens of
        conferences, and spoke to thousands of election administrators on how to improve election
        administration and policy.

    13. Since 2017 I have been Senior Advisor to the Election Team at the Democracy Fund, an
        independent, nonpartisan foundation working towards a more equitable election system. In
        that role, I have dedicated my time and expertise to the continued advancement of the field of
        election administration by conducting webinars, speaking, and teaching. I have taught at the
        University of Minnesota’s Humphrey School of Public Policy since 2017 and have lectured at
        Harvard, American University, MIT, and Arizona State University. I am also a frequent speaker at
        the Election Sciences, Reform, and Administration (ESRA) Conferences. Due to my expertise in
        voter assistance, language access, and voting by mail, I have testified in the United States Senate
        and House of Representatives and numerous state legislatures. I often speak or hold webinars
        for civic engagement groups, am a frequent guest on NPR and PBS News Hour, and serve as a
        source for many of our largest newspapers and publications.

SECTION 2: VOTER ASSISTANCE
    14. In this Section, I provide an overview of the principles by which election administrators ensure
        voters are able to receive meaningful assistance at the polls in casting a ballot. The information
        in this section is derived from my experience as an election administrator and my research and
        work supporting election administration and sound election management.

    15. At the highest level, the assistance that voters receive from assistors of their choice is an
        integral part of the administration of any elections program. If that connective tissue is
        jeopardized, if voters are unable to get effective assistance from their person of choice, it
        influences the administration of the entire program.

    16. I have lectured and advised jurisdictions across the country on the implementation of effective
        assistance programs. Prior to the Census Bureau’s 2011 Voting Rights Act Section 203
        determinations, I worked with Weld County, Colorado and Fairfax County, Virginia. I helped
        develop pollworker and staff training materials for Sonoma County, California when they
        launched their language program in 2016. And I established the voter assistance program in
        Maricopa County, Arizona when I was an election administrator there.




1
  Bipartisan Policy Center. The New Realities of Voting by Mail | Bipartisan Policy Center (June 29,
2016).
2
  Bipartisan Policy Center. Election Day Commander Centers: An Invaluable Tool in Election
Administration | Bipartisan Policy Center (January 22, 2016).
3
  Bipartisan Policy Center. Improving The Voter Experience | Bipartisan Policy Center (April 27, 2018).

                                                                                                          4

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17. When I am reviewing a voter assistance program, there are a handful of primary principles that I
    have developed to gauge its efficacy, based on my years of experience and study. These
    principles have been informed by years of work with voter advocacy groups such as the National
    Disabilities Rights Network and the Arizona Center for Disability Law, and the hearings of the
    Presidential Commission on Election Administration. They are:
    1. Is the availability of assistance services widely disseminated to voters who may need them?
    2. Is the assistance unbiased/non-leading?
    3. Is the fulfillment of assistance requests timely and equitable?
    4. Is the assistance offered in a comprehensive manner for all voting options and methods?
    5. Is the assistance responsive to the voter’s needs and does it fulfill the voter’s wishes?
    6. Is the voter’s autonomy and humanity maintained in all decision points?
    7. Are election officials provided with the proper tools and training commensurate with the
        import of the task at hand?
    8. Are the program’s policies, materials, and procedures created in a vacuum, or are voters
        and the applicable community’s experts engaged?

18. The foundation of any voter assistance program hinges upon its ability to serve the voting
    public, so that they are able to successfully navigate the process, and to ensure that the votes
    cast fully reflect the voter’s wishes. For example, the first thing that I did in Maricopa County
    when establishing the County’s voter assistance program was to create a mission statement that
    would be the guiding star and serve as a reminder of the importance of the job: “Maricopa
    County Elections Department’s Assistance Program strives to ensure equal access to the
    electoral process for all its citizens and to provide the assistance some voters may require based
    on physical or mental abilities, mobility concerns, or language skill sets.” Setting the proper
    expectation for voters of what services are available, and training staff and pollworkers to have
    the tools necessary to engage with the voting public—including supporting those who are
    assisting voters—are all part of any robust plan.

19. An effective assistance program provides eligible voters unencumbered access to assistance at
    all points of the process. As such, voters should be able to obtain assistance that is responsive
    to their individual needs. Physical, cognitive, and language barriers to completing the act of
    voting should not be determinative of voters’ ability to successfully participate. Voting is not a
    literacy test, it is not a cognitive test, it is not a test of linguistic skills, and it is not a test of
    physical strength, dexterity, or acumen. Voting is the act and process of making one’s voice
    heard in the selection of government representatives and ballot measures, and that act may not
    only benefit from assistance for some to participate but be reliant upon it.

20. There are many voters who rely on the aid of another in casting their ballot. In my experience,
    voters often bring someone with them when they know beforehand that they will need some
    help. Whether it be a family member, attendant, care-provider, or friend, voters often have
    those who aid them in other facets of their life assist them at the polls. These individuals
    commonly are very familiar with the voter’s needs. Assistors provide voters with the assistance
    needed to effectively cast a ballot successfully reflecting each voter’s intention.



                                                                                                            5

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    21. Assistance from an assistor of one’s choice can take on even further heightened importance in
        places where poll staffing is stretched thin. For decades, we have witnessed a migration of in-
        person voting away from precinct-based polling locations offered for a few hours on a single
        Election Day. In most states, voters now have options across a voting period and can choose a
        voting location, due to the growth of voting centers. While both of these administrative polices
        are recommended in order to provide voters options in where and when to vote, it can provide
        managerial challenges in staffing, particularly in identifying where language assistance may be
        necessary. This situation creates an even greater need to support voters when they bring along
        their own aid.

    22. The need for voters to have access to assistors of their own choice will only increase in the
        coming years. According to the National Center for Education Statistics, Texas is rated in the
        bottom 25% of the states in adult literacy, with Texas counties filling all but two spots on the list
        of the Bottom 10 Counties. 4 Literacy concerns are aggravated with the elevated language that is
        used in voting materials and on the ballot itself. 5 When you add in the growing need of an aging
        population—the Census Bureau projects that the 65-and-older population is estimated to nearly
        double from 49 million in 2016 to 95 million in 2060 6—and the systemic underfunding of
        election offices, 7 the need for voters to have access to assistance from their person of choice
        has the potential to only increase in the years to come. An election is the largest civic effort
        done on the national scale. Thousands of election administrators train tens of thousands of
        permanent staff as well as hundreds of thousands of temporary workers on the intricacies of the
        election process, as dictated by state and federal law. This is a particularly difficult task,
        especially given that more than a third of our election offices are part-time duties and only the
        very largest offices have more than a handful of full-time employees, as demonstrated by the
        Democracy Fund survey found at Appendix C.

SECTION 3: ANALYSIS OF THE ASSISTOR’S OATH REQUIRED BY SB1
    23. Based on my review of SB1, I conclude that the changes to the assistor’s oath contained in SB1
        are inconsistent with the principles of sound voter assistance laid out above. The attestation
        that the assistor will confine their assistance to reading the ballot, directing the voter to read
        the ballot, marking the ballot, or directing the voter to mark the ballot appears to prevent
        assistors from providing meaningful and often necessary forms of assistance such as answering
        a voter’s questions. The administration of the oath creates challenges for the management of
        the polling location due to the potential impact on efficient voter processing, increased

4
  “Summary of Estimates”. National Center for Education Statistics. (2020) State and Counties with the
Highest and Lowest Levels of Adult Literacy and Numeracy Skills (ed.gov).
5
  Literacy concerns are particularly problematic given that most ballots use language that ranks far
higher than that on the Flesch-Kincaid Grade Level as noted in analysis by Ballotpedia for 2019 and 2021
https://ballotpedia.org/Ballot_measure_readability_scores,_2019 and
https://ballotpedia.org/Ballot_measure_readability_scores,_2021.
6
  Vespa, Jonathan, Lauren Medina, and David M. Armstrong. “Demographic Turning Points for the
United States: Population Projections for 2020 to 2060”. Page 2. (Revised February 2020).
7
  DeBonis, Mike and Amy Gardner. “Election experts sound alarms as costs escalate and funding
dwindles” Washington Post. (February 16, 2022).

                                                                                                             6

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        demands on pollworkers when they are already difficult to obtain in sufficient numbers and are
        stretched thin at the polls with other responsibilities, and the enforcement of the statute is
        unfeasible and without guidance.

    24. A thoughtful voter assistance program structure can maintain the integrity and legitimacy of the
        electoral process without infringing on a voter’s ability to obtain assistance should they require
        it; without the creation of a complex system for voters, assistants, and pollworkers to navigate;
        without introducing the threat of criminal penalties for offering common sense aid to voters.
        Comparing SB1 with the principles of voter assistance laid forth above, one can see that the
        structures in place in Texas after the passage of SB1 violate several of those principles, most
        notably the fulfillment of assistance being timely and equitable as well as responsive to the
        voter’s needs.

    25. Principle 3: Is the fulfillment of assistance requests timely and equitable?
        SB1 is likely to cause significant delays in providing assistance given the restrictions on assistors
        from answering clarifying questions. The bureaucratic hurdle of an expanded oath will impede
        voters with disabilities, voters with limited English proficiency, and voters who may be both,
        from having the same voting experience and treatment other voters receive. To my knowledge
        there is no research that would support the notion that the limitations in the revised oath would
        improve or maintain the quality of voter assistance or further secure the voting process. What
        we do know is that there will be demonstrable delays for it will add considerable time to the
        processing of voters. We know from queuing theory that the addition of even the shortest
        interval can accumulate and cause what is often referred to as the “elbow of death”—a point in
        which the line cannot be processed under existing resources in a timely manner and the wait
        time only continues to grow. 8 This understanding of the implications of even the slightest
        change in voter-processing policy was exemplified at the 2018 Election Assistance Commission’s
        Election Data Summit by Ms. Michelle White, General Registrar of Voters from Prince William
        County, Virginia.

    26. Principle 5: Is the assistance responsive to the voter needs?
        SB1’s assistor oath creates a situation unresponsive to voters’ needs due to the prevention of
        assistants from answering voters’ questions and sets the stage for voters’ needs to go unmet.
        Clarifying questions can take a number of forms beyond what is listed in the voting instructions.

8
 During the PCEA hearings we heard from MIT Professor Charles Stewart III on the implications in
queuing theory of Little’s Law which illustrates how wait times escalate once the volume of voters
entering the line exceeds the processing capacity. Starting in the 2014 election cycle MIT, the Bipartisan
Policy Center, and numerous academics embarked on a rigorous data-collection effort to better
understand polling location wait times. One such study, from the 2018 election, is the report
“Improving The Voter Experience: Reducing Polling Place Wait Times by Measuring Lines and Managing
Polling Place Resources” https://bipartisanpolicy.org/download/?file=/wp-
content/uploads/2019/03/Improving-The-Voter-Experience-Reducing-Polling-Place-Wait-Times-by-
Measuring-Lines-and-Managing-Polling-Place-Resources.pdf . There are now numerous tools available to
demonstrate the impact when just a few additional seconds are introduced in the system.

                                                                                                           7

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        Although those instructions may demonstrate how to mark the ballot or how many to vote for
        in a given race, voters often have other questions, for example around the consequences of
        voting for more (or fewer) candidates than allowed or what happens if they make a mistake
        marking the ballot or have an errant mark, among other potential questions. The answers to
        these questions can be determinant in the successfully casting of a ballot. If a voter asks their
        assistor the question “is there more to vote on the back of the ballot?” or “it says vote for no
        more than 3, so I can just vote for 2?” it appears an assistor answering those questions would be
        in violation of the oath, and it is unclear how this would be administered or who would make
        the judgment calls about what forms of assistance are not permitted, creating administrative
        problems. Enforcement also has potential voter privacy implications with an impact not only on
        that voter, but the entire processing flow in the polling location while pollworkers get bogged
        down with the process. Based on my experience there will be down-stream ramifications with
        impacts on call centers and hotlines due to increased calls asking for clarification, thus further
        delaying voter aid. The Texas Secretary of State’s Handbook for Election Judges and Clerks
        leaves many questions around the implementation and administration of the oath as to how it is
        to be carried out at the polls as well as the enforcement of the new criminal penalties. 9

    27. We know from the recently published instructions from the Secretary of State that observers
        are not allowed to observe assistance provided by an assistor of choice who is not an election
        official, but they are if the voter gets assistance from the pollworkers. 10 The voter is put into a
        position where they have to decide between getting assistance from someone of their choice
        (but who cannot answer their questions) or subject themselves to outside observation in casting
        their ballot, abdicate their right to privacy in voting, and have pollworkers help them. Voters
        may not be aware of this consequence when making their determination. Nothing in the
        Election Judge Manual advises pollworkers to disclose this to voters; nor is it a required posting
        in Section 6 on Posting Notices (pages 9-11), so the voters may not be aware of the subjection to
        observation in casting their ballot by someone who is not a state or county official until they are
        actively voting.

    28. In my opinion the changes to the oath violate these basic principles of voting assistance in the
        prevention of meaningful assistance and have substantive issues with implementation and
        enforcement. The enforcement of this statute is untenable and complicates the provision of
        assistance to voters that will satisfy their needs

SECTION 4: VOTE BY MAIL ADMINISTRATION
    29. In this Section, I provide background and contextual information for my evaluation of the vote-
        by-mail provisions of SB1.




9
  Indeed, the Texas Secretary of State’s Handbook for Election Judges and Clerk’s manual states “An
inspector may not observe the preparation of the ballot of a voter not being assisted by an election
officer [34.002(b)]” page 18 (Section D4), and again on page 48 (Section D, 4g) in reference to both
inspectors and pollwatchers.
10
   Texas Secretary of State’s Election Judges manual, pages 17 (section 6l) and 48 (section 4g).

                                                                                                           8

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     30. Americans have been voting by mail since the Civil War. Every state has some portion of
         citizens who vote using this method of voting; the proportion is directly related to the
         onerousness of the application process in that state. Voters’ ability to successfully navigate the
         process and submit a ballot that is ultimately counted depends on return options and
         acceptance protocols. For years, tens of millions of American voters have had their ballots
         handed to them by a United States Postal worker, not a pollworker. According to the Vote at
         Home Institute, with the expansion of states moving to all vote by mail elections and the
         number of voters on permanent early voting lists, one in three voters will have their ballots
         mailed out to them automatically in the 2022 midterm elections. This is in stark contrast with
         the handful of states that still require voters to provide an excuse to receive their ballot by mail.

     31. As with all things related to election administration, each step in the vote-by-mail process builds
         upon the one preceding it. Vote by Mail can be defined in four main stages 11:
              1. Application options and requirements
              2. Voter identification and authentication
              3. Ballot return
              4. Processing and verification
         These principles apply to every state, no matter how many voters they have voting by mail. If
         we look at what is most prevalent across the country and compare that to the new regime
         under SB1, we quickly see that the new construct is an outlier, creates unnecessary barriers, and
         will continue to be detrimental to eligible Texans attempting to access the franchise.

Application Options and Requirements

     32. Access to the application process does not imply a lack of security of the process. States can,
         and must, have election policies that are both open and secure; these are not mutually
         exclusive. Administering an election in a global pandemic demonstrated the need for voters to
         know all of their options in voting and what the requirements are for their participation. We
         saw record engagement in the 2020 election cycle not just due to an expansion of options for
         voters, but in many states due to official messaging around the process that set accurate
         expectations for what was necessary to successfully navigate requirements. Many states have
         adopted voter-centric policies to govern their administration of absentee and vote by mail
         voting by establishing reasons to accept an application, or doing away with the application
         process entirely, rather than to use it as an opportunity to reject the request.

Voter Identification and Authentication of the Application

     33. When processing a ballot application an election administrator must identify that the correct
         record is being worked and that the application is authentic. The information being used is most
         often simply to inform that the correct record is being reviewed. Whether a voter is requesting
         a ballot on an application for a specific election, or for a given calendar year, the information
         that they provide in its totality validates their identity. The voter validation process should be


11
  These four stages are based upon the comprehensive “America’s Election Model: Architecture of
American Elections” NIST-EAC Interoperability Election Modeling Working Group Revision: 0.2 (June
11,2019) https://pages.nist.gov/ElectionModeling/ElectionProcessModel.pdf.

                                                                                                             9

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         inclusive of reviewing a combination of pieces of information available to an election
         administrator or pollworker which may include: first/middle/last name, date of birth, mother’s
         maiden name, county of birth, driver’s license or non-operating identification number, last four
         of social security number, tribal identification number, handwriting sample (such as the
         completion of previous forms and requests)—the cumulative review of all fields on a voter
         registration form or ballot application informs voter identity. Not all states require a written
         application to be completed, or even a written request. Online and telephonic applications
         allow additional access points to voters and can utilize other identification elements such as
         personal knowledge of the voter (i.e. knowing the voter’s voice) that can substantiate the
         voter’s identity.

     34. Signature verification is the most common method of voter authentication and is sufficient for
         authentication of a ballot request. A signature or identifying mark is something that voters
         inherently have the ability to provide without it having to be provided to them, or have a path to
         be assisted in providing from someone of their choice. A voter will not misstate their own
         signature. That is not to say that signatures are static. Forensic training tells us that signatures
         mature around the age of 25 and begin to degrade as a person ages, typically in their 70s or 80s.
         Temporary situations also arise that can cause a signature to vary: normal writing hand in a cast,
         so voter is using their other hand, an uneven writing surface, etc. Most signature rejections on
         applications and ballot affidavits are from eligible voters who either omitted their signature or
         had a situation arise that prevented them from signing as they usually do. A signature is the
         typical means for a voter to certify the accuracy of the rest of the information they put on an
         application or carrier envelope. By contrast, the rejection or acceptance of an application
         hinging on the provision of a single data point that must be obtained by a government agency
         and can be subject to clerical error, transcription, and misinterpretation is problematic and
         contrary to sound election administration principles.

     35. Voter authentication is an important part of maintaining the integrity of an election system, but
         it does not outweigh the need to ensure that eligible voters are able to engage. As mentioned
         previously, in my experience I have seen that authentication can, and should, contemplate the
         totality of information from the voter—various data fields and even various forms and
         documents. The prerequisite of a single data point as cause for rejection is problematic if other
         authentication elements are present (such as the signature). It is standard protocol for election
         officials to augment voter applications with corrected or omitted information after reaching out
         to the voter. 12 Indeed, this is as much a security measure as it is good customer service and
         proper use of public funds. If someone had a request for a ballot made on their behalf without
         their knowledge, this voter authentication process of following up with the voter is the perfect




12
  Because this process is best understood by the general public, the NIST Working Group on
Interoperability agreed that it should be one of six processes that plain-language slides were created for
from the NIST “America’s Election Model” report. The resulting slide deck is available publicly on
electionline.org. The “Receive and Process Ballot Packets” https://electionline.org/resources/fig-48-
receive-and-process-ballot-packages/.

                                                                                                          10

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         way to find that out. Clarifying information with the voter enhances the security of the system
         by hearing directly from the voter why the signature was missing or mismatched.

SECTION 5: VOTE BY MAIL ADMINISTRATION UNDER SB1
     36. The creation of a single point of failure for applicants who are unable to, or who do not, provide
         the same number that is on the voter’s registration record, is a clear construction of a barrier in
         the process. A December 20, 2021 news article in the Texas Tribune reported that there were
         702,257 records that only had one of the necessary numbers on file and 106,911 that didn’t
         have either of the required numbers. 13 A voter’s signature is sufficient for other facets of
         engagement with the government, but not for requesting, or returning, a ballot. A voter’s
         signature is sufficient for signing candidate nomination petitions—without the additional listing
         of one of the sanctioned numbers required under SB1, but not to request a ballot in order to
         vote for that candidate. We are already seeing the results of this overly prescriptive and limited
         acceptance policy in the increase in application and ballot rejections. Throughout the lead-up to
         the 2020 Primary Election there have been news reports of substantial increases in the rejection
         rates of both applications for ballots as well as the voted ballots, based not on the voters’
         ineligibility to vote, but due to being rejected based on the single point of data required under
         the new requirements post-SB1 implementation.

     37. There are sound oversight practices in vote by mail administration that are comprehensive and
         do not result in mass rejections of applications. Quality control of the authentication process as
         well as the verification of signatures is critical. Administrative supervision that includes
         capturing contemporaneous data on staff at each step of the process to know if there are
         “acceptors” (those who say every application or signature is fine) or “rejecters” (those who are
         overly strict in their interpretation and statistically reject a higher rate than they should), along
         with a tiered oversight of the process ensures that it isn’t a single person’s interpretation that
         prevents a voter from obtaining a ballot or having their ballot be rejected/accepted. Voter
         registration and election management systems that archive and retain clipped images of all
         forms and applications as well as signatures from registers, rosters, petitions, and ballot
         affidavits improve the reviewer’s ability to identify anomalous entries and flag potential issues
         without denying an eligible voter their vote. These administrative policies are commonplace
         across the country and have kept the vote by mail process secure without locking voters out,
         without inordinately high rejection rates of applications and ballots based on a single point of
         failure.

SECTION 6: CONCLUSION
     38. The American voter has diverse needs that require a comprehensive menu of solutions. There
         are two paths. The first path is what the best programs have done—they provide training and
         tools so that workers are prepared to assist voters and their aids, they cover all the service
         channels and educate the public on their available options, practices and policies are
         transparent and known. The second path does not follow these workable and protective

13
  Alexa Ura, “Hundreds of mail-in ballot applications are being rejected under Texas’ new voting rules”,
Texas Tribune (January 12. 2022).

                                                                                                            11

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        principles. This is the path that legislation such as SB1 takes with its creation of bureaucratic
        hurdles and the resulting obstacles for voters.

    39. In my opinion, the expansion of the assistor oath does not provide a security benefit to justify
        the resulting interference with on access to adequate assistance. Similarly, the vote by mail
        ballot application requirements are onerous and unnecessary to identify the qualifications of,
        and authenticate, an eligible voter.

    40. It bears repeating that across both provisions, SB1 erects unnecessary barriers for Texas voters
        needing assistance at the polls and for those wishing to cast absentee ballots. The oath
        requirement preventing assistors from answering voter’s questions violates basic principles of
        voting assistance and has substantive issues with implementation and enforcement, and the
        vote by mail identifying number requirement results in the rejection of applications and ballots
        by qualified voters.



I declare under penalty of perjury that the foregoing is true and correct.

Date: February 28, 2022.

Signed: _Tammy Patrick ______

        Tammy Patrick

Executed in: St. Mary’s County, Maryland




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APPENDIX A: Disclosure of Publications
   •    2022
           o    Co-authored with Lindsay Daniels, Journal of Election Administration Research and
                Practice, (estimated publication in March 2022)
            o   Co-authored with Becky Stewart, “Now Live: Democracy Fund’s Language Access for
                Voters Summit Landing Page” electionlineWeekly (February 17th, 2022)
                https://electionline.org/electionline-weekly/
   •    2021
           o    “Additional Thoughts from Panelists on Election Reform Issues”, Conference Report The
                Carter-Baker Commission: 16 Years Later” (October, 2021)
            o   “Language Access for Voters” electionlineWeekly (September 16, 2021)
                https://electionline.org/electionline-weekly/2021/09-16/
   •    2020
           o   “Every Election Has a Story to Tell, Story of 2020 Still Being Written, but Some Chapters
               are Done” electionlineWeekly (November 19, 2020)
               https://electionline.org/electionline-weekly/2020/11-19/
           o “New Post Master General Issues Directive” electionlineWeekly (July 30, 2020)
               https://electionline.org/electionline-weekly/2020/07-30/#tab-2
           o “Election Day Command Centers: A National Snapshot” electionlineWeekly (March 12,
               2020) https://electionline.org/electionline-weekly/2020/03-12/
           o Co-authored with David Levine. “Here’s Why the U.S. Can Handle Voter Intimidation”,
               The Fulcrum, (October 30, 2020) https://thefulcrum.us/election-dissection/report-
               voter-intimidation
   •    2019 -2021
           o Jennifer Morrell. “Knowing It’s Right” series on post-election audits including “Part One:
               Practical Guide to Risk Limiting Audits” introduction, Democracy Fund
               https://democracyfund.org/idea/knowing-its-right-limiting-the-risk-of-certifying-
               elections/
   •    2019
           o Co-authored with Katy Owens-Hubler. “Building Terminology in the Field” Chapter 6 in
               The Future of Election Administration https://www.springerprofessional.de/en/the-
               future-of-election-administration/16853420
           o “Tammy’s Blog: Incoming! Voter Registration Application Data” electionlineWeekly
               (December 5, 2019) https://electionline.org/electionline-weekly/2019/12-05/#tab-2
           o “Disaster Narrowly Averted: U.S. to Remain in the Universal Postal Union”
               electionlineWeekly (September 26, 2019) https://electionline.org/electionline-
               weekly/2019/09-26/
           o “Leave No Voter Behind: Implications of the U.S. Withdrawal from the Universal Postal
               Union” electionlineWeekly (August 1, 2019) https://electionline.org/electionline-
               weekly/2019/08-01/
           o “Knowing It’s Right, Limiting the Risk of Certifying the Wrong Winner”
               electionlineWeekly (May 23, 2019) https://electionline.org/electionline-
               weekly/2019/05-23/
   •    2018
           o “Reflections on Election: Communication, Collaboration, and Commitment”
               electionlineWeekly (November 29, 2018) https://electionline.org/electionline-
               weekly/2018/11-29/

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        o   “Tammy’s Blog: ADA Compliance at the Polls: What Everyone Needs to Know about
            Accessible Elections and Voters’ Rights” electionlineWeekly (November 1, 2018)
            https://electionline.org/electionline-weekly/2018/11-01/#tab-2
        o   “Tammy’s Blog: My 2018 Summer Vacation” electionlineWeekly (October 11, 2018)
            https://electionline.org/electionline-weekly/2018/10-11/#tab-2
        o   “An Opportunity to Make Every Vote Count” Governing Magazine (August 7, 2018)
        o   “Increasing Trust in Elections: Democracy Fund’s Election Validation Project”
            electionlineWeekly (May 31, 2018) https://electionline.org/electionline-
            weekly/2018/05-31/
        o    “National Postal Forum 2018: Who? What? Where? When? & Why?”
            electionlineWeekly (May 17, 2018) https://electionline.org/electionline-
            weekly/2018/05-17/
        o   Co-Authored with Stacey Scholl. “Electionline.org Joins Democracy Fund”
            electionlineWeekly (January 4, 2018) https://electionline.org/electionline-
            weekly/2018/01-04/
•    2017
        o   “You’ve Got Mail! Electionmail: Be Part of the Solution” electionlineWeekly (February 9,
            2017) https://electionline.org/electionline-weekly/2017/02-09/
        o   “In Focus this Week Exit Interview: Helen Purcell” electionlineWeekly (January 26, 2017)
            https://electionline.org/electionline-weekly/2017/01-26/
•    2016
        o   “The New Realities in Election Mail” by the Bipartisan Policy Center
            https://bipartisanpolicy.org/report/voting-by-mail/
•    2015
        o   Council of State Governments Policy Working Group. “Recommendations from the CSG
            Overseas Voting Initiative Policy Working Group” Council of State Governments,
            https://ovi.csg.org/wp-content/uploads/2019/08/CSG-OVI-Recommendations-Report-
            Updated.pdf
        o   “Clarion Call: Voter Registration Modernization” in Council of State Government’s 2015
            Book of the States.
        o    “First Person Singular: Tammy Patrick, Traveling the Country, Listening to Election Folks
            and Some Music” electionlineWeekly (June 4, 2015)
•    2014
        o   Presidential Commission on Election Administration, “American Voting Experience:
            Report and Recommendations of the Presidential Commission on Election
            Administration” (January 22, 2014)
            https://web.mit.edu/supportthevoter/www/files/2014/01/Amer-Voting-Exper-final-
            draft-01-09-14-508.pdf
•    2013
        o   “U.S. Elections Face a Crossroads on Rights and Technology” Forbes online (November
            10, 2013) https://techonomy.com/u-s-elections-face-crossroads-rights-technology/
•    2012
        o   “Administrative Burden: Perspective of a Western County” in the Public Administration
            Review journal of the American Society of Public Administrators (Volume 72, Number 5)
            https://onlinelibrary.wiley.com/doi/10.1111/j.1540-6210.2012.02619.x




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APPENDIX B: Tammy Patrick CV
Education:
   • 1991 Purdue University, Bachelor’s Degree in American Studies
   • 2007 Auburn University, Certified Election Registration Administrator (CERA)

Election Experience-Employment
    • 2017+ Senior Advisor to the Election team at the Democracy Fund
    • 2016+ University of Minnesota Adjunct Professor, Humphrey School of Public Policy
    • 2014-2017 Democracy Project Fellow with the Bipartisan Policy Center
    • 2003-2014 Federal Compliance Officer for Maricopa County Elections Department
            o Responsible for the Election Department’s Voting Rights Act Section 5 submissions.
            o Oversaw voting assistance and materials in Braille, ASL, Spanish, and Tohono O’odham
                and organized the 2007 Native American Voter Outreach Summit.

Election Experience—Awards & Recognition
    • 2013 Commissioner on the Presidential Commission on Election Administration, appointed by
        President Barack Obama
    • 2016 USPS creation of ballot-specific Service Type IDs to improve the visibility of ballots in the
        mail stream
    • 2016 National Association County Recorders Election Officials and Clerks Best Practices Award,
        “Disaster Recovery Plan”
    • 2008 Arizona Disability Advocacy Coalition ADA Liberty Patriot Award
    • 2008 National Association of Counties Achievement Award, “Maricopa County’s Voter
        Assistance Website”
    • 2007 Harvard Kennedy School of Government’s Ash Institute Top 50 Innovations in Government,
        “Election Reporting System”
    • 2007 Harvard Kennedy School of Government’s Ash Institute Top 50 Innovations in Government
        Bright Ideas Award, “Election Reporting System”
    • 2007 Election Center’s Professional Practice Award, “Election Reporting System”
    • 2007 National Association of Counties Achievement Award, “Election Reporting System”
    • 2006 National Association of Counties Best in Category Award in the County Administration and
        Management Category, “Voter Language Assistance Proficiency Assurance Program”
    • 2006 National Association of Counties Achievement Award, “Voter Assistance and Boardworker
        Enhancement Training Program”
    • 2005 National Association of Counties Achievement Award, “Voter Assistance and Boardworker
        Enhancement Training Program”

Election Experience-Boards & Working Groups
    • 2021+ Haas Jr. Foundation Working Group on Language Access
    • 2021+ Microsoft Working Group on Vote by Mail Security
    • 2020 Virginia Commonwealth Task Force on 2020 Elections
    • 2019+ Protect Democracy National Task Force on Electoral Crisis
    • 2019+ National Vote at Home Circle of Advisors
    • 2019+ University of Minnesota Humphrey School of Public Administration: Election program
        steering committee
    • 2019+ State of Michigan Election Modernization Advisory Committee

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    •    2017+ State of California Task Force on Voter Choice Act
    •    2017+ Election Center Security Task Force Member
    •    2017+ Center for Civic Design Board of Advisors
    •    2017+ National States Geographic Information Council Circle of Advisors
    •    2017+ Advisory Board for the MIT Election Data and Science Lab
    •    2016+ State of Washington Postal Task Force
    •    2016+ EAC Standards Board Postal Committee Advisor, 2016-present
    •    2015+ National Voter Registration Day Steering Committee
    •    2014+ Center for Technology in Civic Life Board of Directors, 2014-present
    •    2014-2018 Council of State Governments Policy Working Group
    •    2012+ IEEE/EAC/NIST Working Group on common data formats & interoperability
    •    2010+ United States Postal Service Mailers Technical Advisory Committee
    •    2010+ Election Center Postal Committee
    •    2010-2018 Pew Advisory Board for the creation of the Elections Performance Index
    •    2007-2009 Election Assistance Commission’s working group on Language Assistance for
         Unwritten Languages
    •    2006-2009 Election Center’s National Task Force on Education and Training
    •    2005+ Election Center Legislative Committee

Election Experience-Testimony & Legislation
    • 2022 City of Philadelphia, testimony on Resolution #210657 for expansion of language access
        requirements
    • 2021 United States Senate, written testimony on John Lewis Voting Rights Act Reauthorization
    • 2020 United States House of Representatives, Homeland Security Committee testified in hearing
        on absentee/voting by mail/electionmail
    • 2020 United States House of Representatives, House Administration Committee written
        testimony on absentee/voting by mail/electionmail
    • 2016-2019 United States Department of Justice, Civil Rights Division subject matter expert
        report on voter accessibility and then settlement implementation support to jurisdiction
    • 2015 United States Senate, Senate Rules Committee hearing on voter registration
    • 2010 National Conference of Commissioners on Uniform State Law’s Uniform Military and
        Overseas Voters Act active observer and contributor
    • 2008-2017 Testified in state legislatures on online voter registration (Florida, Ohio, Rhode Island,
        Wisconsin); consolidation of election dates (Kansas); professionalization of election
        administration (Connecticut), expansion of voting options and vote by mail administration
        (California)
    • 2007 United States House of Representatives, Administration Elections Subcommittee, hearing
        on election audits

Election Experience-Publication
    • 2022
            o Co-authored with Lindsay Daniels, Journal of Election Administration Research and
                Practice, (estimated publication in March 2022)
            o Co-authored with Becky Stewart, “Now Live: Democracy Fund’s Language Access for
                Voters Summit Landing Page” electionlineWeekly (February 17th, 2022)
                https://electionline.org/electionline-weekly/
    • 2021

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         o   “Additional Thoughts from Panelists on Election Reform Issues”, Conference Report The
             Carter-Baker Commission: 16 Years Later” (October, 2021)
         o   “Language Access for Voters” electionlineWeekly (September 16, 2021)
             https://electionline.org/electionline-weekly/2021/09-16/
•    2020
        o   “Every Election Has a Story to Tell, Story of 2020 Still Being Written, but Some Chapters
            are Done” electionlineWeekly (November 19, 2020)
            https://electionline.org/electionline-weekly/2020/11-19/
        o “New Post Master General Issues Directive” electionlineWeekly (July 30, 2020)
            https://electionline.org/electionline-weekly/2020/07-30/#tab-2
        o “Election Day Command Centers: A National Snapshot” electionlineWeekly (March 12,
            2020) https://electionline.org/electionline-weekly/2020/03-12/
        o Co-authored with David Levine. “Here’s Why the U.S. Can Handle Voter Intimidation”,
            The Fulcrum, (October 30, 2020) https://thefulcrum.us/election-dissection/report-
            voter-intimidation
•    2019 -2021
        o Jennifer Morrell. “Knowing It’s Right” series on post-election audits including “Part One:
            Practical Guide to Risk Limiting Audits” introduction, Democracy Fund
            https://democracyfund.org/idea/knowing-its-right-limiting-the-risk-of-certifying-
            elections/
•    2019
        o Co-authored with Katy Owens-Hubler. “Building Terminology in the Field” Chapter 6 in
            The Future of Election Administration https://www.springerprofessional.de/en/the-
            future-of-election-administration/16853420
        o “Tammy’s Blog: Incoming! Voter Registration Application Data” electionlineWeekly
            (December 5, 2019) https://electionline.org/electionline-weekly/2019/12-05/#tab-2
        o “Disaster Narrowly Averted: U.S. to Remain in the Universal Postal Union”
            electionlineWeekly (September 26, 2019) https://electionline.org/electionline-
            weekly/2019/09-26/
        o “Leave No Voter Behind: Implications of the U.S. Withdrawal from the Universal Postal
            Union” electionlineWeekly (August 1, 2019) https://electionline.org/electionline-
            weekly/2019/08-01/
        o “Knowing It’s Right, Limiting the Risk of Certifying the Wrong Winner”
            electionlineWeekly (May 23, 2019) https://electionline.org/electionline-
            weekly/2019/05-23/
•    2018
        o “Reflections on Election: Communication, Collaboration, and Commitment”
            electionlineWeekly (November 29, 2018) https://electionline.org/electionline-
            weekly/2018/11-29/
        o “Tammy’s Blog: ADA Compliance at the Polls: What Everyone Needs to Know about
            Accessible Elections and Voters’ Rights” electionlineWeekly (November 1, 2018)
            https://electionline.org/electionline-weekly/2018/11-01/#tab-2
        o “Tammy’s Blog: My 2018 Summer Vacation” electionlineWeekly (October 11, 2018)
            https://electionline.org/electionline-weekly/2018/10-11/#tab-2
        o “An Opportunity to Make Every Vote Count” Governing Magazine (August 7, 2018)
        o “Increasing Trust in Elections: Democracy Fund’s Election Validation Project”
            electionlineWeekly (May 31, 2018) https://electionline.org/electionline-
            weekly/2018/05-31/

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           o   “National Postal Forum 2018: Who? What? Where? When? & Why?”
               electionlineWeekly (May 17, 2018) https://electionline.org/electionline-
               weekly/2018/05-17/
           o   Co-Authored with Stacey Scholl. “Electionline.org Joins Democracy Fund”
               electionlineWeekly (January 4, 2018) https://electionline.org/electionline-
               weekly/2018/01-04/
   •    2017
           o   “You’ve Got Mail! Electionmail: Be Part of the Solution” electionlineWeekly (February 9,
               2017) https://electionline.org/electionline-weekly/2017/02-09/
           o   “In Focus this Week Exit Interview: Helen Purcell” electionlineWeekly (January 26, 2017)
               https://electionline.org/electionline-weekly/2017/01-26/
   •    2016
           o   “The New Realities in Election Mail” by the Bipartisan Policy Center
               https://bipartisanpolicy.org/report/voting-by-mail/
   •    2015
           o   Council of State Governments Policy Working Group. “Recommendations from the CSG
               Overseas Voting Initiative Policy Working Group” Council of State Governments,
               https://ovi.csg.org/wp-content/uploads/2019/08/CSG-OVI-Recommendations-Report-
               Updated.pdf
           o   “Clarion Call: Voter Registration Modernization” in Council of State Government’s 2015
               Book of the States.
           o    “First Person Singular: Tammy Patrick, Traveling the Country, Listening to Election Folks
               and Some Music” electionlineWeekly (June 4, 2015)
   •    2014
           o   Presidential Commission on Election Administration, “American Voting Experience:
               Report and Recommendations of the Presidential Commission on Election
               Administration” (January 22, 2014)
               https://web.mit.edu/supportthevoter/www/files/2014/01/Amer-Voting-Exper-final-
               draft-01-09-14-508.pdf
   •    2013
           o   “U.S. Elections Face a Crossroads on Rights and Technology” Forbes online (November
               10, 2013) https://techonomy.com/u-s-elections-face-crossroads-rights-technology/
   •    2012
           o   “Administrative Burden: Perspective of a Western County” in the Public Administration
               Review journal of the American Society of Public Administrators (Volume 72, Number 5)
               https://onlinelibrary.wiley.com/doi/10.1111/j.1540-6210.2012.02619.x

Election Experience-Communications & Presentations Highlights
    • Print News: Washington Post, New York Times, Los Angeles Times, Chicago Tribune, Boston
        Herald, USA Today, Huffington Post, Politico, Mother Jones, Wall Street Journal, the Guardian,
        AP, Reuters, Bloomberg News
    • Magazines: TIME, Atlantic, People, Forbes, New Yorker
    • Television: ABC, BBC, CBS This Morning & CBS Evening News, CNN, NBC, MSNBC, NY1, PBS News
        Hour (election expert for the 2020 Presidential Election), Univision, Al Jazeera
    • Radio: NPR
    • 2021 “Electoral Reforms and Democracy” panelist, Global Forum on Democracy



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•    2021 “Securing Democracy Through Election” panelist, Department of Homeland Security CISA
     Cybersecurity Summit
•    2020 International Foundation for Electoral Systems
•    2019 Carter Center
•    2016 “Delivering Democracy” webinar presented at the National Postal Forum and Ms. Patrick
     became the only non-postal employee to present to their operational leadership team
•    2011 “UOCAVA Voter Trend Analysis and Risk Assessment” presented to the Technical
     Guidelines Development Committee at the National Institute of Science and Technology
•    2010+ Speaker, panelist, discussant, keynote at national conferences for Election Center,
     National Association of State Elections Directors, National Association of Secretaries of State,
     National Conference of State Legislatures, International Association of Government Officials,
     United States Election Assistance Commission, National Postal Forum




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APPENDIX C:
2019 Democracy Fund/Reed College Survey of Local Election Officials Figure 6 highlights the important
role that voter education, assistance, and services play in the hearts and minds of election officials:




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APPENDIX D:
2020 Democracy Fund/Reed College Survey of Local Election Officials highlights the staffing inequities
across jurisdiction sizes. Small jurisdictions, often those that are rural, are disproportionately impacted
by not having any full-time staff in the majority of offices. Voters in these areas need to rely on self-
identified assistance.




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APPENDIX E:
2020 Democracy Fund/Reed College Survey of Local Election Officials documented the challenges that
election officials were experiencing in securing bilingual pollworkers, a situation that only further
highlights the impact restrictions on voter-chosen assistants can have on their ability to participate.




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                   Exhibit 6




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                            Texas Primary Supplement to Report
                              Voting Assistance & Vote by Mail
                         La Union del Pueblo Entero et al. v. State of Texas et al.
                                            Tammy Patrick



1. On February 28, 2022, I submitted a report entitled “Voting Assistance & Vote By Mail” in
connection with the case La Unión del Pueblo Entero et al. v. State of Texas et al., which I will refer to
here as the “Original Report.” This report supplements and extends the Original Report based on facts
and data related to voting by mail from Texas’ March 1, 2022, primary election, the first statewide
election conducted under the provisions of SB1.1

Introduction & Summary of Conclusions

2. The implementation of SB1 has caused rejection rates of both applications for ballots by mail as
well as ballot carrier envelopes to exceed normal rejection rates. This supplement applies data and
individual accounts from the March 2022 primary election in Texas to the analysis of my Original
Report. What I have observed tends to support the claim that SB1 creates unnecessary barriers to
eligible Texas voters to participate in the franchise.

3.    Issues anticipated in the Original Report with voters being able to comply with the new
requirements under SB1 in applying for an absentee ballot and completing a ballot carrier envelope
manifested in rejection numbers exceeding both the national trends as well as Texas’ historical trends.
News outlets have chronicled these issues since early this year. During the March 17, 2022, United
States House of Representatives Committee on House Administration Subcommittee on Elections
hearing “Voting in America: Ensuring Free and Fair Access to the Ballot in Texas,” Travis County Judge
Andy Brown testified that the numeric match requirement “created the largest ballot related
challenges that Travis County faced in preparation for the March 1st primary”.2

4. Counties across Texas appear to have faced similar challenges in implementing SB1 and in
educating their voters of the new requirements.

Analysis

5. Mail voting rates in the 2022 primaries were lower than in Texas’ 2018 primary election, a
comparable midterm election, as well as the more recent 2020 primary election as demonstrated by
Figure 1 and Figure 2 from Professor Charles Stewart and the MIT Election Data and Science Lab:3


1
  My required disclosures are located at paragraphs 5‐7 and Appendix A of my Original Report.
2
  Brown, Andy. “Statement of Andy Brown, Travis County Judge, Travis County Texas”. Page 4. United States
House of Representatives Committee on House Administration Subcommittee on Elections Hearing. (March 17,
2022)
3
  Professor Charles Stewart, III. MIT Election Data and Science Lab (MEDSL). Tweet thread on March 18, 2022.
https://twitter.com/cstewartiii/status/1498796363399589890
                                                      1

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Figure 4.
                County                                    Vote by mail rejection rate in
                                                          2022 Texas Primary
                Bexar12                                   22% (approximately 4,000 ballots)
                Collin13                                  13.7% (828 ballots)
                Dallas14                                  6.5% (694 ballots)
                El Paso15                                 16% (725 ballots)
                Harris16                                  19% (6,919 ballots)
                Hays17                                    8.2% (208 ballots)
                Hidalgo18                                 19.4% (526 ballots)
                Travis19                                  8% (approximately 900 ballots)
                Williamson20                              11.5% (521 ballots)

Of those ballots that were rejected, reporting shows that the vast majority of them were rejected as a
direct result of SB1:
Figure 521.
             County                Percentage of rejected mail ballots thrown out for
                                   failing to satisfy Texas Senate Bill 1’s new vote by
                                   mail identification requirement
              Dallas                   98%
              El Paso                  94%
              Harris                   99.6%
              Hays                     99.5%
              Williamson               73%

8.      Often when legislation affecting election administration is passed, it is left to state and local
election officials to figure out how to implement the new law. SB1, with its immediate
implementation deadline, did not allow sufficient time or provide sufficient resources to address


12
   Alexa Ura and Mandi Cai. “At Least 18,000 Texas Mail‐in Votes Were Rejected in the First Election Under New
GOP Voting Rules.” Texas Tribune. (March 11, 2022) https://www.hppr.org/hppr‐news/2022‐03‐15/at‐least‐18‐
000‐texas‐mail‐in‐votes‐were‐rejected‐in‐the‐first‐election‐under‐new‐gop‐voting‐rules
13
   Matt Shuham and Kate Riga,” It’s Official: Texas Republicans’ New Voting Law Disenfranchised Thousands Of
Otherwise Eligible Voters”, Talking Points Memo (Mar. 10, 2022), https://talkingpointsmemo.com/news/texas‐
voting‐law‐sb1‐primary‐election
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   Alexa Ura and Mandi Cai. “At Least 18,000 Texas Mail‐in Votes Were Rejected in the First Election Under New
GOP Voting Rules.” Texas Tribune. (March 11, 2022) https://www.texastribune.org/2022/04/06/texas‐mail‐in‐
ballot‐rejection‐voting/
15
   Id.
16
   Id.
17
   Id.
18
   Id.
19
   Lopez, Ashley.” It's official: Texas’ new voting law led to higher rejection rates for mail‐in ballots in Central
Texas”, KUT.org (Mar. 10, 2022), https://www.kut.org/politics/2022‐03‐10/its‐official‐texas‐new‐voting‐law‐led‐
to‐higher‐rejection‐rates‐for‐mail‐in‐ballots‐in‐central‐texas .
20
   Alexa Ura and Mandi Cai. “At Least 18,000 Texas Mail‐in Votes Were Rejected in the First Election Under New
GOP Voting Rules.” Texas Tribune. (March 11, 2022) https://www.hppr.org/hppr‐news/2022‐03‐15/at‐least‐18‐
000‐texas‐mail‐in‐votes‐were‐rejected‐in‐the‐first‐election‐under‐new‐gop‐voting‐rules
21
   Id.
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foreseeable implementation issues, and it appears those issues may not be solvable for all voters. In
particular, thousands of Texans do not have the newly required ID numbers in their records and did
not have adequate time to remedy that conflict: “More than 700,000 voters lacked one of those ID
numbers on their voter records as of December 20 and another 106,911 didn’t have either number.”22
It is easy to see why “county election officials blamed high rejection rates in the primary on confusion
over new identification requirements for absentee voting and rushed implementation.”23 I have read
the report prepared by Dr. Eitan Hersh in connection with this lawsuit, and based on that report, it
appears many voters will continue to have problems in future elections due to the omissions and
errors in the database that continue to exist, of which many voters who attempt to vote by mail in the
future will not be aware until they attempt to vote, and would result in their ballots being reject even
if they provide accurate information. I also am not aware of any new or revised forms of any type or
educational materials prepared for Texas’ May 7th municipal elections or May 24th runoff elections,24
no press releases regarding the lessons learned or plans for improvement prior to the May elections25,
no publicly available new webinars26, or any news advisories27 that attempt to remedy the issues seen
in the March primary. Given the prevalence of issues laid out by Dr. Hersh in his report, and the
number of voters he identifies with insufficient records, it is unreasonable to believe that election
officials will be able to expeditiously remedy those insufficiencies and mitigate the negative impact of
SB1. Many eligible voters will be unable to vote in future elections despite their best efforts.

9.       Like the Texas electorate itself, the profile of the voters who experienced the rejection of their
ballots is diverse. The MIT Election Data and Science Lab used the most populated counties’ websites
to analyze the impact of SB1 on the party primaries. Reporting at the county level varies, with some
counties separating each party election as a separate entity, while other county data combines the
parties into a single statistic for the primary election.28

10.      The final numbers from the Texas Secretary of State reflect that of the 24,636 rejected mail
ballots there were 14,281 belonging to voters attempting to vote in the Democratic primary (12.9%
rejection rate in that election) and 10,355 were voters in the Republican primary (for an 11.8% rate in
that primary).29 However, there are numerous examples of counties across the state where that
overall impact trended the opposite direction from the statewide result or varied depending on the
focus of overall numbers versus percentage of rejections in the specific party primary. One such
example is from Smith County, where a higher percentage of the Republican ballots were rejected—
9.6% compared to 8.4% of ballots rejected in the Democratic primary although the numbers were




22
   Id.
23
   Mekelburg, Madlin. “Voting Advocates Warn Congress of ‘Dire’ November Election Under New Texas Election
Law”. Austin American‐Statesman. (March 18, 2022.) https://www.yahoo.com/entertainment/voting‐advocates‐
warn‐congress‐dire‐142420545.html
24
   https://www.sos.state.tx.us/elections/forms/pol‐sub/index.shtml#chapter‐5
25
   https://www.sos.state.tx.us/about/newsreleases/
26
   (https://www.sos.state.tx.us/elections/laws/education‐resources.shtml
27
   https://www.sos.state.tx.us/elections/laws/election‐division‐advisories.shtml
28
   Professor Charles Stewart, iii. MIT Election Data and Science Lab (MEDSL). Tweet thread on March 18, 2022.
https://twitter.com/cstewartiii/status/1504898894978641922
29
   Ura, Alexa. “More than 12% of mail‐in ballots were rejected in Texas under new GOP voting rules, final tally
shows”. Texas Tribune. (April 6, 2022) https://www.texastribune.org/2022/04/06/texas‐mail‐in‐ballot‐rejection‐
voting/
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to 8%34‐‐after hiring additional staff and making more than 1200 phone calls, the voters that they
were able to reach and engage with the curing process were all found to be eligible voters. There were
948 voters they were either unable to reach or who did not correct the error or omission on their
paperwork and their ballots were rejected.35 It is important to note that in the similarly situated 2018
primary Travis County rejected only 156 ballots, or a rate of only 1.79%.36 Williamson County election
administrator Chris Davis said that he and his staff were able to aid many voters in rectifying their
issues, but some just didn’t have enough time and others “didn’t have a chance, either because there
wasn’t enough time or because they had given up,” he said. “We encountered some folks who had
given up and said, ‘Forget it, I have too many other things going on in my life.’”37

Supplemental Conclusion

13.      The first election conducted under SB1, the March 2022 primary, showed that SB1 led to
substantial increases in the rate of rejection of mail ballot materials without any apparent connection
or support for the underlying purpose for the law. It is purported that these requirements are
necessary to secure the elections process, yet I am not aware of any news reporting, nor any
indication from an election official of the new requirements identifying ballots cast by voters who
were confirmed to be not eligible to vote. Restated, the rise in rejection rates for applications as well
as the carrier envelopes are not reflective of any real or perceived rate of ineligible voters attempting
to vote or attempting fraud. In fact, I have been unable to find any evidence of the new requirements
identifying a ballot cast by a voter who was not eligible to vote. Nowhere in the public record has
there been documentation that these new barriers made it “harder to cheat”—just harder for eligible
voter to vote successfully.


I declare under penalty of perjury that the foregoing is true and correct.

Date: April 29, 2022.

Signed: Tammy Patrick

        Tammy Patrick

Executed in: St. Mary’s County, Maryland




34
   Brown, Andy. “Statement of Andy Brown, Travis County Judge, Travis County Texas”. Page 4. United States
House of Representatives Committee on House Administration Subcommittee on Elections Hearing. (March 17,
2022)
35
   Id.
36
   Id.
37
   Id.
                                                     7

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                   Exhibit 7




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              Texas 2022 General Election Supplement to Report
                      Voting Assistance & Vote by Mail
            La Union del Pueblo Entero et al. v. State of Texas et al.
                               Tammy Patrick

1. On February 28, 2022, I submitted a report entitled “Voting Assistance & Vote By Mail” in
connection with the case La Unión del Pueblo Entero et al. v. State of Texas et al., which I will refer to
here as the “Original Report.”

2. On April 29, 2022, I submitted a supplemental report extending the Original Report based on facts
and data related to voting by mail from Texas’s March 1, 2022, primary election, the first statewide
election conducted under the provisions of SB1, which I will refer to as the “First Supplemental Report.”

3. This report supplements and extends the Original Report and the First Supplemental Report based on
facts and data related to voting by mail from Texas’s November 8, 2022, general election.

4. This report also supplements Section One of the Original Report regarding my employment and
election experience. As of December 1, 2022, I serve as the Chief Executive Officer of Programs for the
National Association of Election Officials, commonly referred to as the Election Center. The Election
Center was established as the first national training and certification organization of election
professionals in 1992.1


Introduction & Summary of Conclusions
5. Since implementation of SB1, rejection rates of both the applications for ballots by mail (ABBMs) as
well as ballot carrier envelopes have continued to exceed the rejection rates historically seen in Texas
and nationwide. This supplemental report documents that although rejection rates have diminished
from the increase experienced in the initial elections of 2022, Texas reports that it is still rejecting mail
ballots at a rate of 2.7%2—almost three times the national average (1%3)—and more than the state’s



1
  Election Center ‐ About Us. https://www.electioncenter.org/about‐us.php.
2
  Lopez, Ashley. “Despite mail voting changes, ballot rejection rates remail relatively low in 2022 midterms.” NPR.
(January 13, 2023). https://www.npr.org/2023/01/13/1148799521/mail‐ballot‐rejection‐rates‐state‐tally
3
  United States Election Assistance Commission EAVs Survey data from 2020, Election 2020 at Page 36 (page 46 of
PDF): https://www.eac.gov/sites/default/files/document_library/files/2020_EAVS_Report_Final_508c.pdf
United States Election Assistance Commission EAVs Survey data from 2018, 2018 at Page 30 (page 39 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2018_EAVS_Report.pdf
United States Election Assistance Commission EAVs Survey data from 2016,2016 at Page 25 (Page 31 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2016_EAVS_Comprehensive_Report.pdf




                                             OCA-APPX-0160
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average prior to SB1 passage.4 What I have observed supports the conclusion that SB1 creates
unnecessary barriers to eligible Texas voters to participate in the franchise.

6. Issues anticipated in the Original Report and in the First Supplemental Report with voters being able
to comply with the new requirements under SB1 in applying for an absentee ballot and completing a
ballot carrier envelope manifested in the general election, with rejection numbers exceeding both the
national trends as well as Texas’s historical trends.

7. Following the rise of rejection rates in the primary election, local election officials went to great
lengths to reduce the rejection rates, often at a substantial cost in time and resources—they hired
additional staff dedicated to answering voter calls and questions around the requirements,5 printed and
mailed additional voter instructions,6 and experienced what will be an ongoing expense given that new
Texas voters become eligible to vote by mail every day. Given the combined fact of an aging population
resulting in Texas voters who will encounter these new requirements for the first time in every election
cycle moving forward and the historic under‐funding of election offices,7 this level of effort is untenable.

8. Midterm voters are traditionally high‐efficacy voters,8 those with the propensity to have voting
experience and understanding of policies and procedures necessary to successfully engage with the
franchise as compared with presidential general election voters. Even within this voting cohort the
impact of SB1 was substantial.




4
  “In 2020, Texas had a 0.8% mail ballot rejection rate; in 2018 it was 1.7%.” Lopez, Ashley. “Despite mail voting
changes, ballot rejection rates remail relatively low in 2022 midterms.” NPR. (January 13, 2023).
https://www.npr.org/2023/01/13/1148799521/mail‐ballot‐rejection‐rates‐state‐tally
5
  Worthy, Ariel. “Fewer Harris County mail‐in ballots are being rejected compared to March Primaries.” Houston
Public Media. (November 4, 2022).
https://www.houstonpublicmedia.org/articles/news/politics/elections/2022/11/04/436774/fewer‐harris‐county‐
mail‐in‐ballots‐are‐being‐rejected‐compared‐to‐march‐primaries/
6
  Taylor Goldenstein. “10,000 mail ballots rejected in large Texas counties as new ID requirement is phased in.”
Houston Chronicle. (November 11, 2022). https://www.houstonchronicle.com/politics/election/2022/article/New‐
Texas‐law‐leads‐to‐10‐000‐rejected‐mail‐17577757.php and Cheng, Yilun. “Harris County leaders remind voters of
state ID requirements for casting mail ballots.” Houston Chronicle. (October 3, 2022)
https://www.houstonchronicle.com/news/houston‐texas/article/Harris‐County‐leaders‐remind‐voters‐of‐state‐ID‐
17484190.php
7
  Stewart, Charles III. “The Cost of Conducting Elections” (May 2022)https://www.commonsenseamerican.org/wp‐
content/uploads/2022/05/TheCostofConductingElections‐2022.pdf.
8
  Sometimes referred to as “core” voters: “One of the most commonly understood patterns in electoral turnout is
the fact that turnout in presidential elections tends to be much higher than for midterm elections. Traditional
analyses of these differential patterns in turnout have focused on the notion of “surge and decline” and “core and
peripheral” voters (Campbell 1960).” The paper looks at the impact of knowledge on a voter’s participation in the
franchise and finds that “core voting and persistent non‐voting appear to be strongly driven by both age and
knowledge.” Stephen Ansolabehere and Brian Schaffner. “Beyond the Core and Periphery: A New Look at Voter
Participation Across Elections.” (November 30, 2015).
https://cces.gov.harvard.edu/files/cces/files/ansolabehere_schaffner_core_periphery.pdf




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Analysis

Overall Rejection Rates

9. Texas reported that the State rejected mail ballots at a rate of 2.7%—almost three times the national
average (1%), and more than the state’s average prior to SB1 passage (1.7% in the comparable midterm
election of 2018).9 Because the national average rejection rate of vote by mail ballots hovers around
1%, when a state or jurisdiction’s rate exceeds that it can spur additional review and analysis. Even
rejection rates below the national average can sometimes lead to performance audits of ballot
rejections. The Washington State Legislature mandated a performance audit of ballot rejection rates
even though they historically fall below the 1% rejection threshold.10


Curing and Use of the Ballot Tracking Portal

10. In the State Defendants’ Supplemental Interrogatory Responses, it is stated that hundreds of
thousands of Texas voters submitted ABBMs since the new requirements. The numbers of submittals in
each of the statewide elections in 2022 is as follows:11




9
  United States Election Assistance Commission EAVs Survey data from 2020, Election 2020 at Page 36 (page 46 of
PDF): https://www.eac.gov/sites/default/files/document_library/files/2020_EAVS_Report_Final_508c.pdf
United States Election Assistance Commission EAVs Survey data from 2018, 2018 at Page 30 (page 39 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2018_EAVS_Report.pdf
United States Election Assistance Commission EAVs Survey data from 2016,2016 at Page 25 (Page 31 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2016_EAVS_Comprehensive_Report.pdf
10
   McCarthy, Pat, Office of the Washington State Auditor. “Performance Audit Report Highlights: Evaluating
Washington’s Ballot Rejection Rates.” (February, 2022). https://sao.wa.gov/wp‐
content/uploads/Tabs/PerformanceAudit/PA_Evaluating_WA_Rejected_Ballots_2‐pager.pdf
11
   Defendants’ Supplemental Interrogatory Responses dated January 19, 2023 at Page 12.




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                 ABBMs Submitted 2022 Elections
 500000

 400000

 300000

 200000

 100000

          0
                March Primary May Election                          May Prim              Nov General
                                                                     Runoff

11.Texas offers a “Ballot by Mail Tracker” (referred to after this as the “Tracker”) on the Texas Secretary
of State’s “My Voter Portal” at votetexas.gov12 in an attempt allow voters the opportunity to remedy
issues with their ABBM. Some voters whose ABBMs were at first rejected were successful in either
having their ABBM accepted, or they had it cancelled so that they could then go and vote in person.13
Unfortunately, the data I have seen does not distinguish how many voters fall into each of the two
categories of voters—there isn’t a distinction made, so we cannot know how many voters were able to
successfully fulfill their requests and vote by mail as they originally intended or how many had to cancel
their ABBM and vote in their secondary choice for mode of voting, in person. This lack of clarity limits
the ability to determine the portal’s success rate of allowing originally rejected voters to obtain a mail
ballot.

12. What we do know from the data is that there were hundreds of voters who used the Tracker during
the 2022 election cycle and were unsuccessful in navigating the new requirements. 267 voters, more
than 1 in 4 voters (28% of the 946 voters who used the Tracker in all 2022 elections through the
November general), were unsuccessful in remedying the issues with their ABBM.14

13. The overall use of the tracker for rejected ABBMs was relatively low. Even if ABBM rejection in the
November General Election only matched the 2.7% reported ballot rejection rate15 then fewer than one


12
   https://www.votetexas.gov/voting‐by‐mail/track‐my‐ballot.html
13
   Ibid. Page 11.
14
   Ibid Page 12.
15
   This is a conservative estimate because voters must successfully navigate SB 1 requirements for an ABBM first
before they receive a ballot.




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in twenty voters who had an ABBM rejected used the tracker. Fewer than one in twenty‐five voters used
the tracker successfully to cure or cancel an ABBM.16




14. Across the elections conducted in 2022, almost a thousand voters—963—who used17 the Tracker in
an attempt to cure their ballot deficiencies were unable to do so.18 Beyond that, it was widely reported
that more than 10,000 ballots were rejected in the midterm alone.19 To date, I have not seen any
analysis as to why those voters did not attempt to cure their ballots through the use of the Tracker or
other methods (for instance, an analysis of the number of page hits on the tracker, number of login
attempts, number of successful logins but then incomplete or abandoned efforts, etc.), or why the
number of voters who attempted to use the tracker (6,24720) was considerably less than the overall
number of rejected ballots.

Election Officials' Education Efforts

15. Elevated rejection rates lingered because voters in Texas had continued challenges with satisfying
the requirements of SB1 in the submission of their absentee ballots despite substantial reported efforts

16
   Ibid Page 12.
17
   The term “used” is reflective of that utilized in the “State Defendants’ Supplemental Objections and Responses
to the United States’ Second Set of Interrogatories.” It is unclear if this means every log‐in or further attempt to
use after a log‐in attempt.
18
   Ibid pages 13‐14.
19
   Taylor Goldenstein. “10,000 mail ballots rejected in large Texas counties as new ID requirement is phased in.”
Houston Chronicle. (November 11, 2022). https://www.houstonchronicle.com/politics/election/2022/article/New‐
Texas‐law‐leads‐to‐10‐000‐rejected‐mail‐17577757.php
20
   “State Defendants’ Supplemental Objections and Responses to the United States’ Second Set of Interrogatories”.
Pages 13‐14.




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by county election officials. Measures taken by these election officials resulted in the somewhat
decreased rejection rates. Some hired additional staff. According to Leah Shah with the Harris County
Election Administrator’s Office, they increased their “mail ballot team by 20 people dedicated to only
reaching out to voters who are voting by mail, that are needing assistance, that have questions about
the process,” Shah said. “And of course, reaching back out to the voters if they require corrections.”21
Some counties, such as Bexar County, included special inserts to explain the new process,22 as did Travis
County.23 Dallas County invested money in publicity campaigns that they attribute as a key factor in the
reduction in rejections: “The Dallas County Commissioners Court spent north of $42 million in the last
five years to ramp up staffing, equipment and advertising for elections. Daniel and Noble said this was
money well spent, because the rejection rate of mail‐in ballots was lower—something they attribute to
public campaigns on the issue.”24 The price tag that comes with implementation of new laws and
educating the electorate can be large,25 yet election officials are rarely provided sufficient funding to
adequately complete the task.26 It was reported that the Legislature actually reduced the voter
education budget from $4 million previously to $3.5 million for the current two‐year budget cycle.27
Additional funding is necessary to cover the additional activities required by SB1 to properly serve Texas
voters.



21
   Worthy, Ariel. “Fewer Harris County mail‐in ballots are being rejected compared to March Primaries.” Houston
Public Media. (November 4, 2022).
https://www.houstonpublicmedia.org/articles/news/politics/elections/2022/11/04/436774/fewer‐harris‐county‐
mail‐in‐ballots‐are‐being‐rejected‐compared‐to‐march‐primaries/
22
   Taylor Goldenstein. “10,000 mail ballots rejected in large Texas counties as new ID requirement is phased in.”
Houston Chronicle. (November 11, 2022). https://www.houstonchronicle.com/politics/election/2022/article/New‐
Texas‐law‐leads‐to‐10‐000‐rejected‐mail‐17577757.php
23
   Cheng, Yilun. “Harris County leaders remind voters of state ID requirements for casting mail ballots.” Houston
Chronicle. (October 3, 2022) https://www.houstonchronicle.com/news/houston‐texas/article/Harris‐County‐
leaders‐remind‐voters‐of‐state‐ID‐17484190.php
24
   Peterson, Josephine. “Dallas elections chief says it went well, amid state law changes and public anxiety.” The
Dallas Morning News. (November 21, 2022) https://www.dallasnews.com/news/politics/2022/11/20/dallas‐
elections‐chief‐says‐it‐went‐well‐amid‐state‐law‐changes‐public‐anxiety/
25
   One example from New Jersey: “According to the counties’ summation, both laws caused the county clerks to
spend an additional $2.8 million in printing, postage, labor and other costs on the 2018 general and 2019 primary
and general elections.” And “Neither of the new vote‐by‐mail laws included a funding mechanism to address the
costs incurred by the county boards of elections,” the NJAC continued, giving as one example the close to $63,000
in additional labor, supplies and contracted costs.” O’Dea, Colleen. “Changes in Vote‐by‐Mail Ruled Null and Void,
Unfunded Mandates.” NJ Spotlight News. (November 19, 2019).
26
   Stewart, Charles III. “The Cost of Conducting Elections” (May 2022)
https://www.commonsenseamerican.org/wp‐content/uploads/2022/05/TheCostofConductingElections‐2022.pdf
Zachary Mohr, PhD; Martha Kropf, PhD; JoEllen Pope, MPA CPA; Mary Jo Shephard, PhD; and Madison Esterle,
MPA. “Election Administration Spending in Local Election Jurisdictions: Results from a Nationwide Data Collection
Project”. Paper for the 2018 Election Sciences, Reform, and Administration (ESRA) conference University of
Wisconsin‐Madison on July 26‐27, 2018. https://esra.wisc.edu/wp‐content/uploads/sites/1556/2020/11/mohr.pdf
27
   Mizan, Nusaiba. “Texas has less to spend on voter outreach as election approaches under new rules.” Austin
American‐Statesman. (September 21, 2022)
https://www.statesman.com/story/news/politics/state/2022/09/21/texas‐election‐2022‐voter‐education‐
campaign‐has‐less‐money‐spend/69506679007/




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Supplemental Conclusion on the General Election

16. Although the rates of rejection have declined, due to substantial efforts by county election officials—
there are still thousands of eligible Texas voters who are unable to successfully submit ABBMs and/or
have their voted ballots accepted for counting.

17. Texas rejection rates are still some of the highest in the nation, exceeding the traditional benchmark
of 1% and their pre‐SB1 midterm rate of 1.7%.28

18. These findings and concerns are echoed by election officials in other states who are seeing the
introduction of bills in their states similar to SB1.29

I declare under penalty of perjury that the foregoing is true and correct.

Date: February 10, 2023

Signed: Tammy Patrick

Tammy Patrick

Executed in: St. Mary’s County, Maryland




28
   United States Election Assistance Commission EAVs Survey data from 2018, 2018 at Page 30 (page 39 of PDF):
https://www.eac.gov/sites/default/files/eac_assets/1/6/2018_EAVS_Report.pdf
29
   Lopez, Ashley. “Local election officials in Florida call for scrapping new ID rules for mail voting.” NPR. (January 27,
2023). Florida election officials want to scrap mail ballot ID requirements : NPR




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                   Exhibit 8




                         OCA-APPX-0167
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4/26/2022
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                                                                   Page 1                                                          Page 3
 1              UNITED STATES DISTRICT COURT                                 1           A P P E A R A N C E S Continued
                WESTERN DISTRICT OF TEXAS
 2               SAN ANTONIO DIVISION                                        2
 3 LA UNION DEL PUEBLO ENTERO )                                              3   Ms. Eliza Sweren-Becker, LUPE
   et al.,           )                                                           VOTING RIGHTS & ELECTIONS PROGRAM
 4     Plaintiffs,    )                                                      4   Brennan Center for Justice at NYU School of Law
                   ) Civil Action No. SA-21-cv-                                  Telephone: (646) 925-8765
 5 v.               )      00844-XR                                          5   email: eliza.sweren-becker@nyu.edu
                   ) (Consolidated Cases)
 6 STATE OF TEXAS, et al., )                                                 6   Mr. Graham W. White, LULAC
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                                                                                 Washington, D.C. 20002
 8                                                                           8   Telephone: (202) 968-4490
 9                                                                           9
                                                                                 email: gwhite@elias.law
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11                   KEITH INGRAM                                           11   120 Broadway, Suite 1750
                    APRIL 26, 2022                                               New York, New York, 10271
12                    Volume 1                                              12   Telephone: (646) 925-8754
                                                                                 email: patrick.berry@nyu.edu
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                          `
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                                                                                 ATTORNEY GENERAL KEN PAXTON OFFICE
16              ORAL DEPOSITION OF KEITH INGRAM produced                    16   SPECIAL COUNSEL SPECIAL LITIGATION UNIT
17 as a witness at the instance of Plaintiff, and duly
                                                                                 P.O. Box 12548
                                                                            17   Austin, Texas 78711
18 sworn, was taken in the above-styled and numbered cause
                                                                                 Telephone: (512) 936-0677
                                                                            18   Fax: (512) 457-4410
19 on the 26th day of April, 2022 from 9:18 a.m. to 2:19                    19
                                                                                 email: jeff.white@oag.texas.gov
20 p.m. before Nancy Newhouse, a Certified Shorthand
                                                                                 Ms. Kathleen T. Hunker, OAG
                                                                            20   ATTORNEY GENERAL KEN PAXTON OFFICE
21 Reporter in and for the State of Texas, reported by oral
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22 shorthand, located at Price Daniel Sr. State Office
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                                                                                 Fax: (512) 457-4410
                                                                            23   email: kathleen.hunker@oag.texas.gov
24 pursuant to the Federal Rules of Civil Procedure, and the                24
25 provisions stated on the record or attached hereto.                      25
                                                                   Page 2                                                          Page 4
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 2                                                                           2
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 7                                                                           7 Mr. Adam Bitter, SOS
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17 email: jennifer.yun@usdoj.gov                                            17 Telephone: (208) 387-4291
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     Registration Education Project, Mexican American Bar                        Ms. Lisa Cubriel, Bexar County
19 Association of Texas, Texas Hispanics Organized for                      19 ASSISTANT DISTRICT ATTORNEY CIVIL DIVISION
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20   Institute, Fiel Houston, Inc.                                          20 San Antonio, Texas 78205
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23   Fax: (212) 859-4000                                                    23
     email: jason.kanterman@friedfrank.com
24                                                                          24
25                                                                          25

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4/26/2022                                             National Court Reporters Inc. 888.800.9656
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5:21-cv-844 (XR)                                                    Entero v Texas                                         Keith Ingram 2 (5 - 8)
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                                                      NATIONAL COURT REPORTERS INC 888.800.9656
                                                                                                                                                2 (5 - 8)
                                                                          Page 5                                                                           Page 7
 1            A P P E A R A N C E S Continued                                       1              PLAINTIFF EXHIBITS Continued
 2                                                                                  2 NO. DESCRIPTION                                PAGE
 3 Mr. Anthony J. Nelson, Travis County Rebecca Guerrero                            3 7      Carrier Envelope for Early Voting Ballot Bate
     and José Garza                                                                          Nos. STATE03217 through STATE032019 (3-pgs)              59
 4 ASSISTANT COUNTY ATTORNEY, TRAVIS COUNTY ATTORNEY'S                              4
     OFFICE                                                                             8     Official Election Signature Sheet for an FPCA
 5 314 West 11th Street, Suite 500                                                  5        Voter Bate Nos. STATE040053 and STATE040053
   Austin, Texas 78767                                                                       (2-pgs)                                62
 6 Telephone: (512) 854-4801                                                        6
   email: tony.nelson@traviscountytx.gov                                                9     Notice of Rejected Application for Ballot By
 7                                                                                  7        Mail Bate Nos. STATE031645 and STATE031646
   Ms. Leigh Tognetti                                                                        (2-pgs)                               64
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   100 East Cano, Courthouse Annex III, 1st Floor                                       10    Notice of Rejected Application for Ballot By
 9 Edinburg, Texas 78539                                                            9        Mail Bate Nos. STATE031643 and STATE031644
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10 Fax: (956) 292-7619                                                             10
   email: leigh.tognetti@da.co.hidalgo.tx                                               11    Texas Secretary of State FAQs on Applications
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13 Austin, Texas 78760                                                             13        Election Officials from Keith Ingram dated
   Telephone: (832) 767-3650                                                                 January 28, 2022 regarding New Law: Senate
14 email: zachary@texascivilrightsproject.com                                      14        Bill - Opportunity to Correct Defects on
                                                                                             Application for Ballot by Mail and Carrier
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 1 pending question, to answer any pending question before               1     A.   I did not.
 2 you take a break, all right?                                          2     Q.   Okay. Did you meet with attorneys from the
 3     A.   That's fine.                                                 3 Texas Attorney General's Office in the course of
 4     Q.   Thank you. So next, just some background                     4 preparing --
 5 question.                                                             5     A.   I did.
 6             You are currently employed by the Texas                   6     Q.   -- without revealing the content of any
 7 Secretary of State?                                                   7 conversations?
 8     A.   I am.                                                        8     A.   Sure.
 9     Q.   What's your cur -- or how long have you been                 9     Q.   I'm going to show you what we'll mark as
10 employed there?                                                      10 Exhibit 1.
11     A.   Ten years and a few months.                                 11              (Plaintiff's Exhibit No. 1 was marked for
12     Q.   And what's your current job title?                          12 identification.)
13     A.   I'm the director of the Elections Division.                 13     Q.   (BY MR. STEWART) Are you familiar with this
14     Q.   What's your -- what are your responsibilities               14 document?
15 in that role?                                                        15     A.   Yes.
16     A.   Well, to manage the division. That helps the                16     Q.   And do you recognize this as the United
17 secretary fulfill his responsibility as chief election               17 States' notice for this 30(b)(6) deposition today?
18 officer for the State of Texas.                                      18     A.   Yes.
19     Q.   And how long have you held that role?                       19     Q.   Turning quickly to Page A-2 document -- of
20     A.   Ten years and four months.                                  20 this document, are these topics you prepared to testify
21     Q.   So your entire time with the Secretary of                   21 on today?
22 State?                                                               22     A.   It is.
23     A.   That's right.                                               23     Q.   Is there any topic on this list, 1 through I
24     Q.   Thank you. And then you are here on behalf of               24 believe it's 7, and all subparts, that you are not
25 the Texas Secretary of State, how did you prepare to                 25 prepared to testify on today?
                                                              Page 14                                                                Page 16
 1 testify in this deposition?                                           1     A.   Well, there's eight and I --
 2             MR. JEFFREY WHITE: I'll just instruct                     2     Q.   Eight.
 3 the witness if -- not to get into any communications you              3     A.   -- I'm ready on all eight.
 4 may have had with counsel, but otherwise, you can answer              4     Q.   Great, thank you. All right.
 5 that question.                                                        5              All right. I'm going to turn, then, to
 6             THE WITNESS: Sure.                                        6 the first of these topics.
 7     A.   So I reviewed the 30(b)(6) Depo Notice for                   7              Are you familiar with the Texas Election
 8 both the Department of Justice and the private                        8 Administration Management database?
 9 Plaintiffs, and I had a small visit with my voter                     9     A.   I am.
10 registration manager.                                                10     Q.   If I refer to that as the TEAM database, can
11     Q.   (BY MR. STEWART) And who is that?                           11 we -- we're agreed that it refers to that database?
12     A.   Kristi Hart.                                                12     A.   Sure, but TEAM is more than a database.
13             I also reviewed some documents. I                        13     Q.   What else is TEAM?
14 reviewed the documents that are related to the fields                14     A.   It's an election management system.
15 that are in the TEAM database, and then there was a                  15     Q.   If I use the shorthand TEAM, will you
16 document from DPS that showed all of the interactions                16 understand I'm referring to the database portion of it
17 they had with us, the data they provided to us.                      17 when the question is related to the database?
18     Q.   Thank you. Has that document been produced,                 18     A.   Well, yeah, we'll have to see in context
19 do you know?                                                         19 whether I can under -- agree to that or not, but ...
20     A.   I think so, yes.                                            20     Q.   Okay. Yeah, that's fine. If there's any
21     Q.   Approximately how much time did you spend                   21 portion where it's unclear, you can just ask for
22 preparing?                                                           22 clarification.
23     A.   Couple, three hours.                                        23     A.   Sure.
24     Q.   Did you speak with Secretary Scott in the                   24     Q.   So I think you started on this, but generally
25 course of preparing?                                                 25 what is the TEAM database?

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 1    A.    So TEAM is, first of all, it is the                          1     Q.   (BY MR. STEWART) Cleaning that up a second,
 2 Java-compliant electronic database of voters in Texas,                2 so what's the difference between counties that use TEAM
 3 so that's -- that's its main function, but it also has                3 directly and counties that use an offline system?
 4 within it candidate management portions, candidate                    4             MR. JEFFREY WHITE: Objection, form.
 5 filing, and also has an election night reporting                      5     A.   So the online counties are the counties that
 6 function, as well as the ability to canvas the election               6 use TEAM for their election management, they use it for
 7 returns within the TEAM system and advance the                        7 the voter registration, and, whenever they get a voter
 8 candidates through from filing, to primary, to primary                8 registration application, they will enter it directly
 9 runoff, to general election.                                          9 into TEAM and it's in TEAM in realtime.
10     Q.   And are you familiar with the fields that were              10            Offline counties, they will have their
11 included in the TEAM database production in this case?               11 own voter registration system, and, when they enter a
12    A.    Yes.                                                        12 voter registration application, then that will batch
13     Q.   How did you become familiar with those fields?              13 process with our system overnight to capture that new
14    A.    I reviewed the documentation provided by our                14 registration.
15 Kristi Hart.                                                         15     Q.   (BY MR. STEWART) And when you say batch
16     Q.   Are there any fields used to administer the                 16 process, what does that mean?
17 mail-in ballot provisions of SB 1 that weren't included              17     A.   It means that we get information from the
18 in the TEAM database production in this case?                        18 counties, and we give information to the counties about
19              MR. JEFFREY WHITE: Objection, form.                     19 anything that we've got with regard to their voters, so
20    A.    I'm not sure I understand the question.                     20 that processing occurs overnight. It's an automatic
21     Q.   (BY MR. STEWART) Are there any fields that                  21 process.
22 track the acceptance or rejection of either absentee                 22     Q.   So how many offline counties are there?
23 ballot by mail applications or carrier envelopes that                23     A.   I'm not sure at the exact time. I believe
24 were not included in the TEAM database production in                 24 there's 38, currently.
25 this case?                                                           25     Q.   And do they tend to be larger or smaller, or
                                                              Page 18                                                                Page 20
 1    A.    No.                                                          1 have any specific characteristics?
 2              MR. JEFFREY WHITE: Objection, form.                      2             MR. JEFFREY WHITE: Objection, form.
 3    A.    You -- you should have all of those.                         3     A.   Generally, it's the larger counties in Texas
 4     Q.   (BY MR. STEWART) Okay. Do a field -- does a                  4 by population.
 5 field or fields exist in the TEAM database to track the               5     Q.   (BY MR. STEWART) Okay. And then can the TEAM
 6 acceptance or rejection of applications for absentee                  6 database be used to track acceptance or rejection of
 7 ballots by mail?                                                      7 ballot carrier envelopes by mail?
 8    A.    There are -- I mean, there's functions in the                8     A.   Yes.
 9 TEAM database to track that activity.                                 9     Q.   I'm going to show you what's tagged
10     Q.   And what are those functions?                               10 "State087299", this will be Exhibit 2.
11    A.    The -- you just enter application received,                 11             (Plaintiff's Exhibit No. 2 was marked for
12 and the TEAM system will record application received.                12 identification.)
13     Q.   Does it record whether an application is                    13             MR. STEWART: Sorry, Jeff.
14 accepted or rejected?                                                14     Q.   (BY MR. STEWART) Are you familiar with this
15    A.    It does.                                                    15 email?
16     Q.   Does it record the reason for that acceptance               16     A.   I am.
17 or rejection?                                                        17     Q.   And what does this email show?
18    A.    It does.                                                    18     A.   It shows the total number of ballots cast in
19     Q.   Who enters that information?                                19 the Republican and Democratic primary on March 1st, as
20    A.    County election officials.                                  20 well as the total number of mail ballots and mail
21     Q.   And that is uploaded to the central TEAM                    21 ballots rejected in each of those primaries.
22 database from the offline counties?                                  22     Q.   Is this based on information in TEAM?
23              MR. JEFFREY WHITE: Objection, form.                     23     A.   It is.
24    A.    Well, some of them, and some of them use TEAM               24     Q.   Is this information accurate, to the best of
25 directly for the management of mail ballots.                         25 your knowledge?

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 1 March 2020 primary, the opportunity to cure mail                       1            MR. STEWART: It was produced with
 2 ballots. So now then we've got interim statuses as well                2 State057754. I actually don't believe it was attached
 3 as a final status. So the information is in the TEAM                   3 to an email but, you know, I'm happy to check on that.
 4 system, but some of these are transient, they are not                  4     A.   Now, ballot status A, I don't know what that
 5 permanent statuses.                                                    5 means.
 6     Q.   I understand. Just --                                         6     Q.   (BY MR. STEWART) Okay. And then you wouldn't
 7     A.   Permanent statuses would be over in the Voter                 7 know what -- or do you know what AV means?
 8 History Code.                                                          8     A.   AB I do know, yes.
 9     Q.   Sorry for talking over you. Understood.                       9     Q.   A -- sorry, A-V, as in Victor.
10             Just to be clear, though, this is                         10     A.   AV means absentee ballot accepted.
11 definitionally information that's maintained in TEAM?                 11     Q.   Okay. Thank you.
12     A.   No.                                                          12            All right. So you've talked a little bit
13     Q.   It's not in the TEAM database?                               13 about the imports from -- from DPS, what are the
14     A.   I didn't say that. I just said what I meant.                 14 circumstances where as the Secretary of State receives
15 Some of these things are in the TEAM database, but                    15 information from the Department of Public Safety,
16 they're transitory in nature. So when you say                         16 related to voter registrations?
17 maintained, they are not maintained after the election,               17     A.   Well, we get a daily change file, so anything
18 they are there in the TEAM system when they need to be 18 that happened at DPS that day comes to us in a -- in a
19 there for the voter and for the early voting clerk, but               19 batch process, and we farm that data out to the counties
20 they don't stay there.                                                20 overnight, so that's the -- the main one that we get on
21     Q.   I see. So information can be changed to                      21 a daily basis.
22 reflect the most current status?                                      22            We also, on a daily basis, get something
23     A.   Exactly.                                                     23 that's related to the non-citizen process, so it's
24     Q.   Understood, thank you. And then --                           24 non-citizens who previously have been at DPS as a no on
25             MR. STEWART: This was 3, right?                           25 citizenship --
                                                               Page 38                                                               Page 40
 1            COURT REPORTER: 4.                                          1     Q.   Uh-huh.
 2            MR. STEWART: 4? Okay.                                       2     A.   -- and they change to a yes, so we get that
 3     Q.   (BY MR. STEWART) Returning to 3 real quickly,                 3 information in a separate file on a daily basis.
 4 there is a -- under the column headings on the second                  4             On a weekly basis, we get information
 5 page, there is a Ballot_Status column heading?                         5 from DPS about folks who went to the Department of
 6     A.   Uh-huh.                                                       6 Public Safety last week and said I'm not a citizen, but
 7     Q.   Do you know -- if the ballot status shows an                  7 did prove lawful presence with a document, so we get
 8 entry that just says the letter "A", what does that                    8 those every week.
 9 mean?                                                                  9             Then, of course, we get the -- the felony
10            MR. JEFFREY WHITE: So Michael, I'll just                   10 file from DPS about every week, sometimes 10 days, but
11 -- part of our agreement for this was that we were going              11 we get a list of persons who have been convicted of a
12 to do some of this data at, like, the 30,000-foot level,              12 felony. And then we get information from DPS about --
13 so to the extent we're getting down to particular codes               13 we get a jury file in -- in the summer, and we get a
14 and particular fields, that seems to be beyond what the               14 monthly file that we use with ERIC. I'm trying to think
15 agreement was on the scope of the level we're getting                 15 what else. We get a monthly file for ERIC, get a yearly
16 into on these database fields, so I just want to make                 16 file for the jury that we use for the HB 2512 process.
17 that clear for the record.                                            17     Q.   Let me show you what we'll mark as 5 and 6.
18            MR. STEWART: I mean, I do. And for the                     18             MR. STEWART: This is an email, an
19 record, one of our notice topics was the definition and               19 attachment. We'll mark them separately.
20 -- and information within the fields, and so we are just              20             MR. JEFFREY WHITE: So I just want to
21 trying to get at, you know, what this actually means                  21 note that this one is designated ultra-sensitive.
22 when we see information in the database.                              22             MR. STEWART: Oh, sorry. You know, why
23            MR. JEFFREY WHITE: And then as far as                      23 don't then we save it. We'll do it before a break so
24 Exhibit 3, I don't see a Bates number on this. Do you                 24 that we can --
25 have information on where this one came from?                         25             MR. JEFFREY WHITE: So if we've got to

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 1 databases?                                                             1 the first name, middle name, last name, date of birth
 2     A.   Yes. We match the databases together to                       2 and residence address.
 3 compare voters to drivers.                                             3       Q.   And so in December 20, 2024 (sic), information
 4     Q.   And -- and as -- was an -- excuse me,                         4 without a driver's license and the SSN was brought in?
 5 withdrawn.                                                             5               MR. JEFFREY WHITE: Objection, form.
 6             In the December 20, 2021 import, did a                     6               MR. STEWART: I'll withdraw that.
 7 full-nine SSN need to match in order to import a                       7       Q.   (BY MR. STEWART) In the December 20, 2021
 8 driver's license number?                                               8 import from DPS, information that matched on neither the
 9     A.   Not necessarily.                                              9 driver's license, nor the social security number was
10     Q.   What are the circumstances where it did not                  10 brought in to the TEAM database?
11 need to match?                                                        11       A.   I believe so. It wasn't a huge number, but it
12     A.   Well, if we -- if we got the driver's license                12 was some.
13 number and we had a last four, then we could get the                  13       Q.   Was that same process used for prior jury
14 full-nine. Do you understand? We went both ways.                      14 wheel imports?
15     Q.   What do you mean by both ways?                               15       A.   No.
16     A.   We went from DL to social, as well as social                 16       Q.   No.
17 to DL. So if you've got a first name, a last name, a                  17               What was the criteria in prior jury wheel
18 date of birth and the last four of social that's the                  18 imports?
19 same as a driver, then you can import that social                     19       A.   The -- the -- in prior jury wheel imports,
20 security number, or you can import the driver's license               20 what we were look -- looking for is full-nines of
21 number.                                                               21 social, so what we were doing was matching DL and last
22     Q.   And that, you said, sorry, that's with the                   22 four to get the full-nine.
23 last -- when the last four of the social match?                       23       Q.   So in prior jury wheel imports, both driver's
24     A.   Sure.                                                        24 license and last four had to match in order to bring in
25     Q.   All right. So if the last four of the social                 25 the full-nine?
                                                               Page 46                                                                  Page 48
 1 matched, you could import the full-nine social and the                 1       A.   No, sir.
 2 driver's license?                                                      2       Q.   Okay. So what did have to match to bring in
 3     A.   Sure.                                                         3 the full-nine?
 4     Q.   If a driver --                                                4       A.   Name, last name, first name, last name, former
 5     A.   If you've got a name and date of birth match                  5 last name, date of birth, DL would be able to get you
 6 as well.                                                               6 the full nine. Name, last name, former last name, date
 7     Q.   Okay. And with the name and date -- with a                    7 of birth, last four would be able to get you the
 8 name and date of birth match, if the full-nine social                  8 full-nine, and if you had the DL, then you could get the
 9 matches, or the last four matches, you can bring in a                  9 full-nine.
10 driver's license?                                                     10       Q.   If you had name, last name, former last name,
11     A.   Sure.                                                        11 date of birth and the SSN -- or excuse me, the social
12     Q.   And with a name and date of birth match, if                  12 security number, could you bring in a driver's license?
13 the driver's license matches, you can bring in the                    13       A.   We didn't do that before this time.
14 full-nine social?                                                     14       Q.   I see. You didn't import driver's licenses
15     A.   Sure.                                                        15 before December 20th?
16     Q.   Were there any circumstances where neither the               16       A.   That's right, because DL is not as important
17 -- anything in the social field, nor the driver's                     17 in our matching criteria as -- as full-nine of social
18 license matched and you brought in information?                       18 is.
19     A.   Well, there, that's where we have to do --                   19       Q.   And why is that?
20 that's where we have to do something, because we had a                20       A.   Because we don't use it for matching anything
21 certain number of voters in the TEAM system that didn't               21 except for the 2512 process. The -- the -- the matching
22 have either number. Right?                                            22 that we do on a daily basis for felons, or dead people,
23     Q.   Uh-huh.                                                      23 or mentally-incompetent or whatever, is name, last name
24     A.   So if you've got -- you've got to compare                    24 and then social, and the more full-nines we've got, the
25 those to a driver, then we look for the names, right,                 25 more strong matches we can make. Because a strong match

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 1 under our TAC rule is first name, last name, former last                    1 you familiar with this section?
 2 name, date of birth and full-nine.                                          2     A.   Yes.
 3     Q.   Understood. And so just to clarify, is the 25                      3     Q.   Are these the -- are these the provisions
 4 -- 2512 process the only process in which you use                           4 amended by SB 1 with respect to identification number,
 5 driver's license as a matching criteria?                                    5 social security number or a statement that an applicant
 6     A.   To get socials, yes, I believe so. I -- I can                      6 has neither information on an application for a ballot
 7 check with my voter registration manager, but I don't                       7 by mail?
 8 think we use it for anything else. I know that ERIC                         8            MR. JEFFREY WHITE: Objection, form.
 9 uses it. I mean, that's the reason why we give the                          9     A.   This section was amended by SB 1, yes.
10 driver's license file to ERIC, but I don't know how ERIC                   10     Q.   (BY MR. STEWART) Has the Secretary of State
11 uses it. They've got their own --                                          11 published any interpretive guidance for Section 84.002
12     Q.   And so --                                                         12 since S -- since the SB 1 amendments?
13     A.   -- black box.                                                     13     A.   Any interpretive guidance?
14     Q.   -- but there you mean the driver's license                        14     Q.   Yes. Any information that can be used to
15 number?                                                                    15 interpret this statutory provision?
16     A.   What?                                                             16     A.   Yes.
17     Q.   You said you know ERIC uses it, and by it you                     17     Q.   What information has the Secretary of State
18 mean the driver's license number?                                          18 published?
19     A.   That's right.                                                     19     A.   Well, we did an advisory, I did a legislative
20     Q.   All right. So with respect to that export                         20 summary, we changed the form.
21 from DPS to TEAM that occurred on or around December 20,                   21     Q.   And by the form, what -- which form do you
22 2021, how was that information then communicated to what                   22 mean?
23 we described previously as offline counties?                               23     A.   The application for ballot by mail.
24     A.   It was -- it was communicated through the CDW.                    24     Q.   Okay. All right. Looking at Section 84.002
25     Q.   And what, I'm sorry, what is the CDW?                             25 1-a(B) it says, "if the applicant has not been issued a
                                                                    Page 50                                                                Page 52
 1     A.    The County Data Warehouse.                                        1 number described by Paragraph (A), the last four digits
 2     Q.    Were there any issues with that communication?                    2 of the applicant's social security number", did I read
 3     A.    I don't believe so, no. We also communicated                      3 that correctly?
 4 it, I did a webinar and we did the mass email, I                            4     A.   That's right.
 5 believe, maybe an advisory.                                                 5     Q.   How do you interpret the language "if the
 6              MR. STEWART: How long have we been on                          6 applicant has not been issued a number described by
 7 the record?                                                                 7 Paragraph (A)"?
 8              COURT REPORTER: Forty-one minutes.                             8     A.   Well, the way it looks is that they have
 9              MR. STEWART: Okay. Thank you.                                  9 created a hierarchy with driver's license first, last
10     Q.    (BY MR. STEWART) All right. Other than the                       10 four second, but that's not the way in practice that
11 ones you've described here right now, are there any                        11 this works. Either number will work, and we suggest to
12 other exchanges we haven't discussed that bring                            12 the voters that they use both numbers so that they
13 information into voter registration records from DPS?                      13 increase their odds of success.
14     A.    I can't think of any.                                            14     Q.   And when you say that's not the way in
15     Q.    Let me -- all right.                                             15 practice that it works, is that an interpretation that
16              MR. STEWART: I believe we're on, it's 5?                      16 the Secretary of State's Office has published?
17              COURT REPORTER: 5, yes.                                       17     A.   That's right.
18     Q.    (BY MR. STEWART) All right. I'm going to                         18     Q.   And --
19 show you what's been marked as Exhibit 5 which is --                       19     A.   That's the way we've taught it in several
20 I'll represent to you this is Chapter 84 of the Texas                      20 Webexes, that's the way it is in the advisory, that's
21 Election Code.                                                             21 the way it is in mass emails that we've sent out.
22              (Plaintiff's Exhibit No. 5 was marked for                     22     Q.   Uh-huh.
23 identification.)                                                           23     A.   That's the way it is in questions we've
24     Q.    (BY MR. STEWART) On Page 2 I want to turn                        24 answered, that's the way it is in town halls when we've
25 your attention to what begins Section 8 -- 84.002, are                     25 talked about it.

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 1    Q.   And how did you arrive at that interpretation?              1      Q.   Thank you, but my question is, do they need to
 2    A.   It's the most voter-friendly.                               2 consider Section 84.002 when doing so?
 3    Q.   Was there any point where you interpreted it                3      A.   They need to make sure that a number supplied
 4 to establish a hierarchy?                                           4 by the voter matches a number in the voter's record.
 5    A.   No.                                                         5             MR. STEWART: I'll object as
 6    Q.   So from the initial implementation of SB 1,                 6 nonresponsive.
 7 you interpreted it to establish a hierarchy?                        7      A.   That --
 8    A.   From before SB 1 was signed into law.                       8      Q.   (BY MR. STEWART) Do they --
 9    Q.   And so how do you interpret the phrase "not                 9      A.   I answered your question, you just don't like
10 been issued"?                                                      10 the answer.
11    A.   Same way you do.                                           11             MR. STEWART: I'll object as
12    Q.   Which is -- how do I do it?                                12 nonresponsive to that as well.
13    A.   By what it means. It means if you don't have               13      Q.   (BY MR. STEWART) Do they need to consider
14 a DL, use your social. That clearly cannot be the way              14 Section 84.002, yes or no, when doing so?
15 the way this law works, and it's not.                              15             MR. JEFFREY WHITE: Objection, form.
16    Q.   And when you say it's clearly not how this law             16      A.   They need to follow the instructions of the
17 works, what is that based on?                                      17 legislature, and make sure that the number provided by
18    A.   Our interpretation.                                        18 the voter matches a number in the voter's record.
19    Q.   I'm sorry?                                                 19             MR. STEWART: All right. I'll object as
20    A.   Because the way that it's supposed to work, if             20 nonresponsive.
21 you look at -- if you look at Chapter 86, what you're              21      Q.   (BY MR. STEWART) Do you interpret Section
22 supposed to do when you look at these numbers is see if 22 86.002 as similar language in the same way, with respect
23 there's -- if it matches a number in the voter's record.           23 to carrier envelopes?
24 There's no hierarchy for the Signature Verification                24             MR. JEFFREY WHITE: Objection, form.
25 Committee or the Ballot Board, there's no hierarchy.               25      A.   Exactly. And that's why we have told the
                                                            Page 54                                                                 Page 56
 1 They don't look for a driver's license first. The --                1 voter you can use either number or both, and we
 2 the only places that there's -- there is a hierarchy is             2 recommend using both.
 3 in this. But the people who actually review the number,             3      Q.   (BY MR. STEWART) All right. Let me -- you
 4 to make sure it matches a voter, are not told to use a              4 mentioned some implementation documents that went to
 5 hierarchy.                                                          5 counties.
 6    Q.   Sorry, which provision of the law are you                   6             MR. STEWART: I think we're on, I believe
 7 describing there?                                                   7 --
 8    A.   The ones about the Signature Verification                   8             COURT REPORTER: 6.
 9 Committee and the Early Voting Ballot Board, and how                9             MR. STEWART: -- 6, thank you.
10 they are supposed to work with this information.                   10             That's for you.
11    Q.   So you're saying this provision of the law                 11      Q.   (BY MR. STEWART) So I'll show you what we've
12 does not apply to the Signature Verification Committee             12 marked as Exhibit 6.
13 or Early Voting Ballot Board?                                      13             (Plaintiff's Exhibit No. 6 was marked for
14    A.   I'm saying --                                              14 identification.)
15            MR. JEFFREY WHITE: Object --                            15      Q.   (BY MR. STEWART) Is this the application for
16    A.   -- they're told to look to see if the number               16 a ballot by mail that the Secretary of State's Office
17 matches a number in the voter's record with --                     17 distributed to counties?
18    Q.   (BY MR. STEWART) Told by whom?                             18      A.   It is the revised application for a ballot by
19    A.   The legislature.                                           19 mail that we have promulgated, yes.
20    Q.   And you're saying the Signature Verification               20      Q.   And sorry, you said this form was prepared by
21 Committee or Early Voting Ballot Board does not need to            21 the Secretary of State's Office?
22 consider Section 84.002 when doing so?                             22      A.   It was.
23    A.   They need to make sure that there's a number               23      Q.   Can counties modify this form?
24 on the application that matches a number in the voter's            24      A.   So you don't need to have a particular form in
25 record.                                                            25 order to apply for a ballot by mail, you can just have a

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 1 handwritten document, but it needs to contain the                      1 a Texas personal ID number or --
 2 elements of 84.002. We suggest if a county is going to          A. The --
                                                                          2
 3 modify this form, number one, that it doesn't say               Q. -- a Texas election identification --
                                                                          3
 4 promulgated by the Secretary of State on it, and number 4               MR. JEFFREY WHITE: Objection --
 5 two, that they run it by us first, just to make sure      5     Q. (BY MR. STEWART) -- certificate?
 6 they're not missing anything important. We suggest the 6                MR. JEFFREY WHITE: -- form.
 7 same thing for candidates and campaigns.                  7     A. The form tracks the law, yes. That's what
 8     Q. Got it. Are they required to run it by you,        8 it's supposed to do.
 9 or is that a suggestion?                                  9     Q. (BY MR. STEWART) So the form is faithful to
10             MR. JEFFREY WHITE: Objection, form.          10 the language of the law?
11     A. For -- for this particular form it's a            11             MR. JEFFREY WHITE: Objection, form.
12 suggestion, a very strong suggestion, because what you 12       A. The form tracks the law, which is what a good
13 end up with is something like what Harris County did on 13 form does.
14 the carrier envelope or on the application, where they   14     Q. (BY MR. STEWART) I'll show you Exhibit 7.
15 left off important information and confused voters in    15             (Plaintiff's Exhibit No. 7 was marked for
16 the process.                                             16 identification.)
17     Q. (BY MR. STEWART) Sorry, is it -- and then         17     Q. (BY MR. STEWART) Do you recognize this
18 with the carrier envelope, is that required to be run by 18 document?
19 you if there are any alterations by counties?            19     A. Yes.
20             MR. JEFFREY WHITE: Objection, form.          20     Q. What is this document?
21     A. Yes, absolutely. That one's got to be run by      21     A. It's a PDF, I believe, of a revised carrier
22 us.                                                      22 envelope.
23     Q. (BY MR. STEWART) Yeah. And who at the             23     Q. Is this accurate with respect to the contents
24 Secretary of State is authorized to grant that approval  24 of the revised carrier envelope?
25 for counties to change the form -- the carrier envelope  25             MR. JEFFREY WHITE: Objection, form.
                                                               Page 58                                                                 Page 60
 1 form?                                                                  1    A.   Without looking at every word, I believe so,
 2            MR. JEFFREY WHITE: Objection, form.                         2 yes, sir.
 3     A.   Our lawyers.                                                  3    Q.   (BY MR. STEWART) And you said counties need
 4     Q.   (BY MR. STEWART) And so then I'll direct your                 4 approval to modify this form, correct?
 5 attention to the box, top half of the page, right side                 5    A.   Yes.
 6 in a black background and white letters.                               6    Q.   Did any counties request that modification
 7            It says, "You must provide one of the                       7 this -- in the March -- for the March 2020 primary
 8 following numbers", and then underneath it there is a                  8 election?
 9 box with space for entering ID numbers or an SSN-four or               9    A.   Yes.
10 a checkbox, is that correct?                                          10    Q.   Do you recall which counties did so?
11     A.   That's correct.                                              11    A.   I believe Tarrant and Dallas both had a little
12     Q.   Is this the section that implements the SB 1                 12 different situation with regard to the number under the
13 mail-in ballot provisions with respect to the                         13 flap and the shorter cutaway flap.
14 application ballot by mail?                                           14    Q.   Were there any counties that requested to
15     A.   Yes.                                                         15 modify for which the Secretary of State denied approval?
16     Q.   And does this track the language of SB 1?                    16    A.   I don't think so.
17     A.   It does.                                                     17    Q.   Were there any counties that requested to
18     Q.   And this has the if you do not have a Texas                  18 modify for which the Secretary of State suggested
19 driver's license, Texas personal ID number or Texas                   19 further modifications based on the proposed county's
20 election identification certificate number, give the                  20 modifications?
21 last four digits of your social security number,                      21             MR. JEFFREY WHITE: Objection, form.
22 correct?                                                              22    A.   Yes. We have -- we have suggested further
23     A.   That's correct.                                              23 changes.
24     Q.   And so your direction to voters was to provide               24    Q.   (BY MR. STEWART) Looking at what is Page --
25 that only if they did not have a Texas driver's license,              25 the third page of this PDF, and in the box about halfway

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 1 down the page beginning, black background white letters,               1             MR. JEFFREY WHITE: Objection, form.
 2 "Required Information", and then "you must provide one                 2    A.     The balloting materials are mailed by
 3 of the following numbers and it must be associated with                3 counties.
 4 your voter registration record", is this the area used                 4     Q.    (BY MR. STEWART) By county.
 5 to implement the SB 1 language with respect to ballot                  5             Was the purpose of this form to implement
 6 carrier envelopes?                                                     6 SB 1, specifically?
 7     A.   Yes.                                                          7    A.     Well, the original purpose of the signature
 8             MR. JEFFREY WHITE: Objection, form.                        8 verification -- a signature sheet, is to assist those
 9     Q.   (BY MR. STEWART) And does this have the if                    9 voters who don't know how to do the origami to put
10 you do not have a Texas driver's license, or a personal               10 together a carrier envelope. So this can be used in
11 identification card or a Texas election identification                11 lieu of a carrier envelope, and it's specifically
12 certificate number, give the last four digits of your                 12 allowed by a statute for FPCA voters. So the original
13 social security number language?                                      13 purpose of a signature sheet is to replace a carrier
14     A.   It does.                                                     14 envelope for voters who don't want to create a carrier
15     Q.   Is it the same in Spanish?                                   15 envelope from materials that have been emailed to them.
16     A.   It is.                                                       16     Q.    So this form predated SB 1?
17     Q.   And does that track the language of SB 1?                    17    A.     This form predates SB 1.
18     A.   It does.                                                     18     Q.    But it was modified to reflect SB 1 before the
19     Q.   Are there currently any plans to modify this                 19 March 2020 primary?
20 form for future elections?                                            20    A.     That's correct.
21     A.   Yes.                                                         21             MR. JEFFREY WHITE: Objection, form.
22     Q.   What are those plans?                                        22     Q.    (BY MR. STEWART) Marked as -- it was modified
23     A.   We have revised it. We are getting final                     23 to reflect SB 1 before the March 2022 primary, correct?
24 approvals now, but it's got a red box around this, these              24    A.     That's correct.
25 three, to draw attention to it.                                       25     Q.    And is the language implementing SB 1 the box
                                                               Page 62                                                                 Page 64
 1     Q.   Uh-huh. Will that still track the language of                 1 about a little less than halfway down the page that
 2 SB 1?                                                                  2 begins "Required Information"?
 3     A.   Yes.                                                          3     A.    That's correct.
 4     Q.   Are there any plans to modify the application                 4     Q.    And that's similarly to the carrier envelope
 5 for a ballot by mail for the -- for future elections?                  5 and the ballot by mail application, has the if you do
 6     A.   No.                                                           6 not have a Texas driver's license language, correct?
 7     Q.   Show you one more.                                            7     A.    That's correct.
 8             MR. STEWART: I believe we're at 8?                         8              MR. JEFFREY WHITE: Objection, form.
 9             COURT REPORTER: Uh-huh.                                    9     Q.    (BY MR. STEWART) And that tracks SB 1?
10     Q.   (BY MR. STEWART) Are you familiar with this                  10     A.    It does.
11 document?                                                             11     Q.    Are there any plans to modify this form in the
12             (Plaintiff's Exhibit No. 8 was marked for                 12 future?
13 identification.)                                                      13     A.    We do not.
14     A.   I am.                                                        14              MR. STEWART: This is No. 9. Give that
15     Q.   (BY MR. STEWART) What is this document?                      15 to Jeff, I'll get the marked version.
16     A.   This is a signature sheet that a federal                     16              (Plaintiff's Exhibit No. 9 was marked for
17 postcard application voter is supposed to use when they 17 identification.)
18 send back their mail ballots.                                         18     Q.    (BY MR. STEWART) All right. I'll show you
19     Q.   Is this prepared by the Secretary of State?                  19 what's been marked as Exhibit 9, do you recognize this
20     A.   It is.                                                       20 form?
21     Q.   Is this mailed to FPCA voters by -- and sorry,               21     A.    Yes.
22 if I say FPCA, federal postcard applicant -- is this                  22     Q.    What is this form?
23 mailed to FPCA voters by counties or by the Secretary of              23     A.    It's the Notice of Rejected ABBM.
24 State's Office?                                                       24     Q.    Did this form predate SB 1?
25     A.   It's --                                                      25     A.    Yes.

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 1            And this I'm looking at you'll see where                   1       Q.   (BY MR. STEWART) Does the application go to
 2 the early voting clerk has placed a checkmark next to                 2 the Signature Ver -- excuse me, Signature Verification
 3 the reason in bold, and then are those the -- these are               3 Committee or Ballot Board?
 4 the two reasons why this form could be used?                          4       A.   No. It goes to the early voting clerk.
 5            MR. JEFFREY WHITE: Objection, form.                        5       Q.   And what does the early voting clerk do with
 6     A.   (No verbal response.)                                        6 it?
 7     Q.   (BY MR. STEWART) Underneath that?                            7       A.   The same thing, they look to see whether the
 8     A.   Yes.                                                         8 number provided by the voter matches a number in the
 9     Q.   And this directs that a voter must give his or               9 voter's record.
10 her Texas driver's license number, Texas personal                    10       Q.   So is a different individual making the
11 identification card number, election identification                  11 determine whether the numerical requirement is met,
12 certificate number or the last four digits of his or her             12 based on whether it's on the initial application or the
13 social security number on an application for ballot by               13 cure?
14 mail, correct?                                                       14              MR. JEFFREY WHITE: Objection, form.
15     A.   If they want to use the ballot tracker, yes.                15       A.   Not exactly.
16     Q.   I'm going to direct, sir, not just for the                  16       Q.   (BY MR. STEWART) What do you mean by not
17 ballot tracker but up top it says, "Your application for             17 exactly?
18 a ballot by mail has been received and reviewed, but is              18       A.   Well, there's -- there's two kinds of cures,
19 defective for the reason checked below. New Texas law                19 there's the 86.0011, whenever the early voting clerk
20 requires that a voter must give his or her Texas                     20 notices a defect, especially -- they have to do it on
21 driver's license number, Texas personal identification               21 applications, but if they notice a defect on the carrier
22 card number, election identification certificate number              22 envelope, then they can notify the voter and have the
23 or the last four digits of his or her social security                23 voter correct the problem before it ever goes to the
24 number on an application for ballot by mail", correct?               24 Signature Verification Committee or the Ballot Board.
25     A.   That's correct.                                             25 And the Signature Verification Committee and Ballot
                                                              Page 70                                                       Page 72
 1     Q.   And this does not create a hierarchy between                 1 Board also have a cure process, but the 86.011 (sic)
 2 driver's license number, personal identification card                 2 process predates SB 1.
 3 number, election identification certificate number and                3       Q.   If the early voting clerk does not indicate to
 4 last four digits social security number, correct?                     4 the voter that there is a problem, does the Early Voting
 5     A.   That's correct.                                              5 Ballot Board or Signature Verification Committee still
 6     Q.   Does that differ from the application for                    6 check the identification number requirement?
 7 ballot by mail itself?                                                7              MR. JEFFREY WHITE: Objection, form.
 8            MR. JEFFREY WHITE: Objection, form.                        8       A.   Yes. They do so whether the early voting
 9     A.   Well, I -- I know what you're getting at, and                9 clerk does or not. It's their job.
10 obviously the forms follow the law, because the forms                10              MR. STEWART: What time -- what record
11 have to follow the law, and the -- the voter is directed             11 time are we at?
12 in the first instance to provide DL, and if no DL then               12              COURT REPORTER: One hour, six minutes.
13 social, and that's what the form says. Here we're in                 13       Q.   (BY MR. STEWART) Do you want a break, or
14 Signature Verification land and Ballot Board land, and               14 you're good to go?
15 there's no hierarchy.                                                15       A.   I'm fine.
16     Q.   (BY MR. STEWART) What distinction are you                   16       Q.   I'll show you what we'll mark as --
17 making between the initial application and Signature                 17              MR. STEWART: I believe this is 11?
18 Verification land or Ballot Board land?                              18       Q.   (BY MR. STEWART) -- No. 11.
19            MR. JEFFREY WHITE: Objection, form.                       19              (Plaintiff's Exhibit No. 11 was marked
20     A.   Like I said before, there's nothing in the                  20 for identification.)
21 directions to the Signature Verification Committee or to             21       Q.   (BY MR. STEWART) Do you recognize this
22 the Ballot Board that suggests that they have to follow              22 document?
23 a hierarchy. They are told to look at the number                     23       A.   It looks like a slide presentation from Webex.
24 provided by the voter, and see if it matches a number in             24       Q.   Did you give a presentation on or around
25 the voter's record, that's all they're told to do.                   25 January 28, 2022 to county officials?

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 1 says, "Note: As a reminder", and continues.                           1 applicant's application for voter registration" mean to
 2              When you refer to a reminder, what is                    2 the Secretary of State's Office?
 3 that a reminder of?                                                   3      A.   It means on their application for voter
 4              MR. JEFFREY WHITE: Objection, form.                      4 registration.
 5     A.    A reminder of the law.                                      5      Q.   So the information on the bail car -- or
 6     Q.    (BY MR. STEWART) And who is that reminder to?               6 excuse me, ballot carrier envelope must match their
 7     A.    The early voting clerk.                                     7 voter registration application?
 8     Q.    And when were they initially apprised of the                8      A.   No, sir. That's not what this says. It says
 9 law?                                                                  9 --
10              MR. JEFFREY WHITE: Objection, form.                     10      Q.   What does it say?
11     A.    Well, in this document.                                    11      A.   It says it has to identify the same voter
12     Q.    (BY MR. STEWART) I'm just trying to get if                 12 identified on the VR application.
13 it's a reminder, what was the initial indication they                13      Q.   Okay. And it says, "If the information
14 received of the law?                                                 14 required under Section 84.002(a)(1-a)", what is Section
15     A.    Well, that doesn't mean that there was another             15 84.002(a)(1-a)?
16 communication.                                                       16      A.   That's the requirement that the driver's
17     Q.    Okay.                                                      17 license or last four of social be included on the ABBM.
18     A.    This is just hey, look at this.                            18      Q.   Does that language in 84.002(a)(1-a) reflect
19     Q.    And this scenario does not reflect a hierarchy             19 the hierarchy?
20 between the driver's license number and the social                   20             MR. JEFFREY WHITE: Objection, form.
21 security number, correct?                                            21      A.   It does.
22     A.    It absolutely does not, that's correct,                    22      Q.   (BY MR. STEWART) And so it's the Secretary of
23 because neither does 86.001(f).                                      23 State's interpretation that that hierarchy was not
24     Q.    I'm sorry, who came up with that                           24 imported by this reference to 84.002(a)(1-a)?
25 interpretation of 86.001(f)?                                         25      A.   That's right.
                                                              Page 82                                                                Page 84
 1     A.    It's not an interpretation, it's what it says.              1      Q.   How did you arrive at that interpretation?
 2 Give me the Election Code, I'll look it up and show you.              2      A.   Because it's not what it says. It says that
 3     Q.    So there are provisions of the Election Code                3 the information included that's required by that section
 4 that do not go interpreted by the Secretary of State's                4 has to identify the same voter.
 5 Office?                                                               5      Q.   And the information required by that section
 6              MR. JEFFREY WHITE: Objection, form.                      6 refers to 84.002(a)(1-a), right?
 7     A.    It's not an interpretation, it's what the text              7      A.   That's right.
 8 says. The text says if a number matches some -- a                     8      Q.   And (a)(1-a)(B) says, "if the applicant has
 9 number in the record, then you accept the application.                9 not been issued a number described by Paragraph (A),
10     Q.    (BY MR. STEWART) So we'll mark, this is, I                 10 correct?
11 believe 13?                                                          11             MR. JEFFREY WHITE: Objection, form.
12              (Plaintiff's Exhibit No. 13 was marked                  12      A.   86.001(f) does not import that hierarchy, it
13 for identification.)                                                 13 says does the information identify the same voter?
14              MR. STEWART: Sorry.                                     14 That's the end of the hunt for the early voting clerk
15              MR. JEFFREY WHITE: Thanks.                              15 whenever they're reviewing an ABBM.
16     Q.    (BY MR. STEWART) Is this Section 86 of the                 16      Q.   (BY MR. STEWART) Does 86.001(f) refer to
17 Election Code?                                                       17 84.002(a)(1-a)?
18     A.    It is.                                                     18      A.   Sure.
19     Q.    Could you read Section 86.001(f) for me?                   19      Q.   And you're saying that reference does not
20     A.    "If the information required under                         20 include if the applicant has not been issued a number
21 84.002(a)(1-a) included on the application does not                  21 described by Paragraph A language?
22 identify the same voter identified on the applicant's                22      A.   If they wanted it to have a hierarchy, they
23 application for voter registration under Section                     23 could have put the hierarchy here. They did not.
24 13.002(c)(8), the clerk shall reject the application".               24      Q.   They could not do that by referring to the
25     Q.    What does the phrase "identified on the                    25 other statutory provision?

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 1 registration record", in parens, "and thus verify the                    1     Q.   If the voter has numbers in the DPS record --
 2 identity of the voter, the clerk must accept the ABBM                    2 or excuse -- let me withdraw that.
 3 and send a ballot to the voter".                                         3            If the voter has a driver's license
 4              Is that still the current interpretation?                   4 number in the DPS database, but it's not reflected in
 5     A.   Sure.                                                           5 the TEAM database, and has a social security number in
 6     Q.     Yeah. And so when there is an affirmatively                   6 the DPS database, but it's not reflected in the TEAM
 7 incorrect number on an ABBM, it is still accepted as                     7 database, will their ballot be accepted if they check
 8 long as that other number is correct?                                    8 that box under this scenario?
 9     A.   If the number matches and can identify the                      9            MR. JEFFREY WHITE: Objection, form.
10 same voter as the application for voter registration                    10     A.   We don't check the DLs database whenever we're
11 then yes.                                                               11 looking at ABBMS, we look at TEAM.
12     Q.     What's the statutory basis for that                          12     Q.   And by DLs you mean DPS?
13 interpretation?                                                         13     A.   That's right.
14     A.   86.001(f).                                                     14     Q.   Okay.
15     Q.     Who arrived at that interpretation?                          15            MR. STEWART: We are on -- sorry, getting
16     A.   Our office.                                                    16 another paper here --
17     Q.     Did Secretary of Scott -- did Secretary Scott                17            COURT REPORTER: 14.
18 review that interpretation?                                             18            MR. STEWART: -- 14.
19     A.   I don't know if he reviewed that or not, but                   19     Q.   (BY MR. STEWART) All right. I'll show you
20 he's certainly been telling everybody he can to put both                20 what we're marking as Document 14.
21 numbers on the -- on the forms.                                         21            (Plaintiff's Exhibit No. 14 was marked
22     Q.     So he -- just so I heard you correct, you said               22 for identification.)
23 he's been telling everyone he can to put both numbers on                23     Q.   (BY MR. STEWART) Do you recognize this
24 the form?                                                               24 document?
25     A.   That you can and you should.                                   25     A.   I do.
                                                                 Page 90                                                               Page 92
 1     Q.     I see. But you don't know whether he reviewed                 1     Q. What is this document?
 2 this interpretation, specifically, about --                              2     A. This is the global rejection of an application
 3     A.   He had -- he had the opportunity to review it.                  3 for ballot by mail.
 4 I didn't hear anything from him specifically about any                   4     Q. And in what circumstances is this sent?
 5 of this.                                                                 5     A. For any of the ordinary rejection reasons.
 6     Q.     And by had the opportunity, was this document                 6     Q. Uh-huh. And then I'll show you -- and by
 7 sent to him before it was issued?                                        7 ordinary rejection reasons, what do you mean?
 8     A.   It was sent to everybody, yes.                                  8     A. You know, the -- any of them. I mean, there -
 9     Q.     Scenario 8, "Voter indicates on the ABBM that                 9 - there's a list here of 17, do you want me to read
10 they have not been issued any of the required personal                  10 them?
11 identification numbers. If the voter's voter                            11     Q. No. You don't need to do that.
12 registration record does not contain any of these                       12             MR. STEWART: And then this is? Sorry.
13 numbers, the early voting clerk must accept the ABBM and                13             COURT REPORTER: 15.
14 send a ballot to the voter", is that still the current                  14             MR. STEWART: 15.
15 guidance?                                                               15     Q. (BY MR. STEWART) I'll show you what's been
16     A.   That is.                                                       16 marked as No. 15.
17     Q.     Is any check run to see whether the voter is                 17             (Plaintiff's Exhibit No. 15 was marked
18 correct, that they have not been issued those personal                  18 for identification.)
19 identification numbers?                                                 19     Q. (BY MR. STEWART) Do you recognize this
20     A.   That's what this provides. They -- the voter                   20 document?
21 indicates that they don't have any of these numbers,                    21     A. I do.
22 there's not any of these numbers in the record, that's                  22     Q. What is this document?
23 the check.                                                              23     A. It's called a Notice of Carrier Defect.
24     Q.     And is that checked against TEAM?                            24     Q. And what is the purpose of this document?
25     A.   It's checked against TEAM.                                     25     A. This is to help the voter with -- do the --

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 1 help the early voting clerk and the voter do the 86.011               1     A.   That's right, because --
 2 (sic) process that we talked about before.                            2     Q.   And what's --
 3     Q.    Was this prepared by the Secretary of State's               3     A.   -- they're for a different purpose in front of
 4 Office?                                                               4 a different audience.
 5    A.     It was.                                                     5     Q.   I'm sorry, what do you mean by a different
 6     Q.    And is this used by county officials?                       6 purpose?
 7    A.     Yes.                                                        7     A.   Well, the first one is the one that's
 8     Q.    Can county officials request to amend this                  8 initially used by the voters, all the rest of these are
 9 document?                                                             9 used by the Signature Verification Committee --
10    A.     Yes.                                                       10 Committee or Ballot Board.
11     Q.    Did any request to amend the document for the              11     Q.   Sorry, this document is not used by voters?
12 March 2022 primary?                                                  12     A.   No. It's used by a voter to -- to correct an
13    A.     No.                                                        13 issue in front of the Signature Verification Committee
14     Q.    And then if you turn to the second page of                 14 or the Ballot Board.
15 this document, what is this form?                                    15     Q.   Are voters providing different information
16    A.     It's corrective action form.                               16 with this document?
17     Q.    And what is the purpose of the corrective                  17     A.   No.
18 action form?                                                         18     Q.   So they are being used, directed with
19    A.     To correct the ap -- the problems with the                 19 different language to provide the same information?
20 carrier envelope.                                                    20               MR. JEFFREY WHITE: Objection, form.
21     Q.    Uh-huh. And is this provided to a voter to                 21     A.   No. We're at a different stage of the
22 return to correct those problems?                                    22 process.
23    A.     That's correct.                                            23     Q.   (BY MR. STEWART) Is this information required
24     Q.    Okay. And was this approved by the Secretary               24 for the voter's ballot to be accepted?
25 of State's Office?                                                   25     A.   Yes.
                                                              Page 94                                                                Page 96
 1    A.     Yes.                                                        1     Q.   And so when you say different stage of the
 2     Q.    Are counties able to amend this document?                   2 process, what are you referring to?
 3    A.     No.                                                         3     A.   I'm referring to the fact that we're in front
 4     Q.    Turning to what is Box 4 it says, "Missing or               4 of the Signature Verification Committee or the Ballot
 5 incorrect personal identification numbers or social                   5 Board, we are not in the voter's house about to send it
 6 security number."                                                     6 off.
 7             This box does not create a hierarchy                      7     Q.   Sorry, so you're saying that the hierarchy to
 8 between the driver's license or personal identification               8 provide driver's license or ID card, and then social
 9 card number and the last four digits of social security               9 security number only if that's not listed, applies only
10 number, right?                                                       10 when the voter is filling out the form, but not when
11    A.     That's correct.                                            11 it's being reviewed by county officials?
12             MR. JEFFREY WHITE: Objection, form.                      12               MR. JEFFREY WHITE: Objection, form.
13     Q.    (BY MR. STEWART) Does that track the language              13     A.   The law is different in that case, we've
14 of 86.002?                                                           14 already discussed this.
15             MR. JEFFREY WHITE: Objection, form.                      15     Q.   (BY MR. STEWART) And was that interpretation
16    A.     Do you mean 84.002?                                        16 discussed with Secretary Scott?
17     Q.    (BY MR. STEWART) Well, this is for the                     17     A.   We talked about all of this stuff.
18 carrier envelope, correct?                                           18     Q.   Was that interpretation directed by Secretary
19    A.     Oh. No. It does not, but this is not a part                19 Scott?
20 of the carrier envelope application or any of those                  20     A.   We talked about all of this stuff.
21 processes, this is at the Signature Verification                     21     Q.   What do you mean by we've talked about all
22 Committee.                                                           22 this stuff?
23     Q.    So the Secretary of State's position is that               23     A.   We've talked about all of these things.
24 the carrier envelope needs to track the language of the              24     Q.   Who is the we?
25 law, but other documents for this requirement do not?                25     A.   Me, Christina, Adam, our communications

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 1 director Sam Taylor, the secretary, the deputy                        1     A.   She is the election administrator in Bexar
 2 secretary.                                                            2 County.
 3     Q.   So the secretary was part of those                           3     Q.   Uh-huh. If you could take a second to review
 4 conversations?                                                        4 the first email in this chain, dated Friday, January 21,
 5     A.   Absolutely.                                                  5 2022 at 10:31 a.m., what do you understand Ms. Callanen
 6     Q.   How frequently was the secretary involved in                 6 to be asking?
 7 those conversations?                                                  7     A.   Well, I don't have the attachments, but what
 8     A.   Not often.                                                   8 appears to have happened is that someone sent in an
 9     Q.   About how -- about how many times?                           9 application for ballot by mail with a copy of their
10     A.   When we were about ready to release product.                10 driver's license.
11     Q.   So he would review the product after -- or                  11     Q.   And it appears that otherwise the application
12 excuse me, at about the time it was ready to be                      12 for ballot by mail, identification number or social
13 released?                                                            13 security number portions were not filled out, correct?
14     A.   That's right.                                               14     A.   Looks like it.
15     Q.   Did he suggest any changes to the product?                  15     Q.   And what was your response to Ms. Callanen
16             MR. JEFFREY WHITE: Objection --                          16 when she asked what to do with that --
17     A.   No, sir.                                                    17     A.   That the DL --
18             MR. JEFFREY WHITE: -- to the extent                      18     Q.   -- application?
19 you're -- this gets into the deliberative process while              19     A.   -- copy could supplement the ABBM, and that
20 they're debating policies before they're finalized. I                20 they could use that DL copy to update the voter
21 am going to instruct him that he is not to disclose the              21 registration record with that driver's license number
22 content of discussions that would have gone into                     22 and accept that application.
23 deliberation regarding the final form. But if it's                   23     Q.   So the guidance was that if TEAM did not
24 regarding what the final form is, then he can speak to               24 reflect a driver's license number, but the voter sent a
25 that.                                                                25 copy of their driver's license, that copy could be used
                                                              Page 98                                                                 Page 100
 1             MR. STEWART: Well, let me just probe                      1 to both update TEAM, and then accept the application for
 2 that for a second.                                                    2 ballot by mail?
 3     Q.   (BY MR. STEWART) Was the purpose of these                    3            MR. JEFFREY WHITE: Objection, form.
 4 conversations with the secretary to develop policy?                   4     A.   That's correct.
 5     A.   Not really.                                                  5     Q.   (BY MR. STEWART) Is that the official
 6     Q.   Okay. So did Secretary Scott direct any                      6 interpretation of the Secretary of State's Office?
 7 changes to those forms?                                               7     A.   Sure.
 8     A.   He did not.                                                  8     Q.   Are you aware of any other circumstances where
 9             MR. STEWART: We are at 17?                                9 that happened?
10             COURT REPORTER: 16.                                      10     A.   Not this, precisely, but we have had 84.014
11             MR. STEWART: 16, excuse me.                              11 get discussed quite a bit by county election officials.
12     Q.   (BY MR. STEWART) I'm sorry.                                 12     Q.   And what is 84.014?
13     A.   I can get it.                                               13     A.   It says that your -- you can use information
14     Q.   Okay. I thought I was getting better.                       14 on an application for ballot by mail to update a voter
15             MR. JEFFREY WHITE: We'll get a smaller                   15 registration record.
16 table next time.                                                     16     Q.   And what were those discussions?
17     Q.   (BY MR. STEWART) So I'll show you what's been               17     A.   They wanted to know can you use the
18 marked as Document 16, it is Bates stamped "State052241"             18 application that's got a number that you don't have in
19 on the bottom.                                                       19 the file to update the record, and the answer to that is
20             (Plaintiff's Exhibit No. 16 was marked                   20 no. And the reason why you could here is because they
21 for identification.)                                                 21 sent in a copy of the driver's license.
22     Q.   (BY MR. STEWART) This appears to be an email                22     Q.   Why is the answer generally no?
23 between you and Jacque Callanen, is that correct?                    23     A.   Because then it tautology and SB 1 would be
24     A.   That's correct.                                             24 ineffective.
25     Q.   Who is Ms. Callanen?                                        25     Q.   And why is that?

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 1             CHANGES AND SIGNATURE                                        1              UNITED STATES DISTRICT COURT
                                                                                           WESTERN DISTRICT OF TEXAS
 2                                                                          2                SAN ANTONIO DIVISION
     WITNESS NAME: KEITH INGRAM
 3                                                                          3 LA UNION DEL PUEBLO ENTERO )
     DATE OF DEPOSITION: 04/26/2022                                           et al.,           )
 4                                                                          4     Plaintiffs,    )
                                                                                              )
 5 PAGE LINE    CHANGE                REASON                                5 v.               ) Civil Action No. SA-21-CV-
                                                                                              )      00844-XR
 6 _______________________________________________________                  6 GREGORY W. ABBOTT, et al., ) (Consolidated Cases)
                                                                                  Defendants.      )
 7 ________________________________________________________                 7
 8 ________________________________________________________                 8
 9 ________________________________________________________                 9
10 ________________________________________________________                10              REPORTER'S CERTIFICATION
                                                                                           DEPOSITION OF KEITH INGRAM
11 ________________________________________________________                11                 APRIL 26, 2022
12 ________________________________________________________                12
13 ________________________________________________________                13
14   ________________________________________________________              14          I, Nancy Newhouse, Certified Shorthand Reporter
15 ________________________________________________________                15 in and for the State of Texas, hereby certify to the
16 ________________________________________________________                16 following:
17 ________________________________________________________                17      That the witness, KEITH INGRAM , was duly sworn by
18 ________________________________________________________                18 the officer and that the transcript of the oral
19 ________________________________________________________                19 deposition is a true record of the testimony given by the
20   ________________________________________________________              20 witness;
21 ________________________________________________________                21          That the deposition transcript was submitted on
22 ________________________________________________________                22 _________________ to the witness or to the attorney for
23 ________________________________________________________                23 the witness for examination, signature and return to me
24 ________________________________________________________                24 by ______________.
25 ________________________________________________________                25
                                                                Page 218                                                                  Page 220
 1             I, KEITH INGRAM , have read the foregoing                    1         That the amount of time used by each party at
 2 deposition and hereby affix my signature that same is                    2 the deposition is as follows:
 3 true and correct, except as noted above.                                 3     Mr. Michael E Stewart     - 02:20
                                                                                  Mr. Richard Dellheim     - 00:00
 4                                                                          4     Mr. Dan Freeman          - 00:00
                                                                                  Ms. Jennifer J. Yun    - 00:00
 5                ____________________________________                      5     Mr. Jason S. Kanterman - 02:41
                                                                                  Ms. Eliza Sweren-Becker - 00:00
 6                KEITH INGRAM                                              6     Mr. Graham W. White         - 00:00
                                                                                  Mr. Patrick Berry     - 00:00
 7                                                                          7     Mr. Jeffery White      - 00:00
                                                                                  Ms. Kathleen T. Hunker - 00:00
 8                                                                          8     Mr. Aaron Barnes        - 00:00
                                                                                  Mr. Adam Bitter        - 00:00
 9 THE STATE OF TEXAS             )                                         9     Mr. David Louk         - 00:00
                                                                                  Ms. Wendy Olson          - 00:00
10 COUNTY OF ___________________ )                                         10     Ms. Lisa Cubriel      - 00:00
                                                                                  Mr. Anthony Nelson        - 00:00
11         Before me, ___________________________, on this                 11     Ms. Leigh Tognetti      - 00:00
                                                                                  Ms. Lia Sifuentes      - 00:00
12 day personally appeared KEITH INGRAM , known to me (or                  12     Mr. Zachary David Dolling - 00:00
13 proved to me under oath or through ____________________)                13
14 (description of identity card or other document) to be                  14          That pursuant to information given to the
15 the person whose name is subscribed to the foregoing                    15 deposition officer at the time said testimony was taken,
16 instrument and acknowledged to me that they executed the                16 the following includes all parties of record:
17 same for the purposes and consideration therein                         17 Mr. Michael E. Stewart, Attorney for Plaintiff DOJ
                                                                                UNITED STATES
18 expressed.                                                              18 950 Pennsylvania Avenue, Northwest
                                                                                Washington, DC 20530
19         Given under my hand and seal of office this                     19
                                                                                Mr. Richard Dellheim, Attorney for Plaintiff DOJ
20 ______day of _______________, __________.                               20 UNITED STATES
                                                                                950 Pennsylvania Avenue, Northwest
21                                                                         21 Washington, DC 20530
22                __________________________________                       22 Mr. Dan Freeman, via Zoom, Attorney for Plaintiff
                                                                                Attorney for Plaintiff DOJ
23                NOTARY PUBLIC IN AND FOR                                 23 TRIAL ATTORNEY VOTING SECTION, CIVIL RIGHTS DIVISION
                  THE STATE OF ______________                                   950 Pennsylvania Avenue, NW
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 2                                                                           2
 3 Mr. Jennifer J. Yun, via Zoom, Attorney for Plaintiff                     3 Mr. Zachary David Dolling, via Zoom, Attorney for
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 7 American Bar Association of Texas, Texas Hispanics                        7 DISABILITY RIGHTS TEXAS
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10                                                                          10
   Ms. Eliza Sweren-Becker, via Zoom, Attorney for
11 Plaintiff LUPE VOTING RIGHTS & ELECTIONS PROGRAM                         11         I further certify that I am neither counsel
   Brennan Center for Justice at NYU School of Law
12                                                                          12 for, related to, nor employed by any of the parties or
   Mr. Graham W. White, via Zoom, Attorney for Plaintiff
13 LULAC                                                                    13 attorneys in the action in which this proceeding was
   LAW OFFICES OF ELIAS LAW GROUP, LLP
14 10 G Street NE, Suite 600                                                14 taken, and further that I am not financially or otherwise
   Washington, D.C. 20002
15                                                                          15 interested in the outcome of the action.
   Mr. Patrick Berry via Zoom Attorney for Plaintiff
16 COUNSEL, DEMOCRACY PROGRAM                                               16         Certified to by me this 3rd day of May, 2022.
   Brennan Center for Justice
17 120 Broadway, Suite 1750                                                 17
   New York, New York, 10271
18 Mr. Jeffery White, Attorney for Defendant OAG                            18            __________________________________
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24                                                                          24
25                                                                          25
                                                                 Page 222
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 2
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25

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                            In The Matter Of

                   La Union Del Pueblo Entero, et al.,

                                  Plaintiffs

                                      v

                          State Of Texas, et al.,

                                Defendants


                                   CASE

                                5:21-cv-844

                                    Date

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  1             IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
  2                  SAN ANTONIO DIVISION
  3    LA UNION DEL PUEBLO         §
       ENTERO, ET AL.,         §
  4         Plaintiffs,   § Civil Action No.
                        § 5:21-cv-844 (XR)
  5    VS.                § (Consolidated Cases)
                        §
  6    STATE OF TEXAS, ET AL.,    §
            Defendants.      §
  7    ******************************************************
  8                   ORAL DEPOSITION OF
                    BRIAN KEITH INGRAM, J.D.
  9               CORPORATE REPRESENTATIVE FOR THE
                  TEXAS SECRETARY OF STATE OFFICE
 10                    MAY 6, 2022
                     VOLUME 2 OF 2 VOLUMES
 11
       ******************************************************
 12

 13               ORAL DEPOSITION OF BRIAN KEITH INGRAM,
 14    J.D., CORPORATE REPRESENTATIVE FOR THE TEXAS SECRETARY
 15    OF STATE OFFICE, produced as a witness at the instance
 16    of the Mi Familia Vota Plaintiffs, and duly sworn, was
 17    taken in the above-styled and numbered cause on the 6th
 18    day of May 2022, from 9:01 a.m. to 12:58 p.m., before
 19    Caroline Chapman, CSR in and for the State of Texas,
 20    reported by Computerized Stenotype Machine,
 21    Computer-Assisted Transcription, held at the Price
 22    Daniel Sr State Office Building, 209 West 14th Street,
 23    Austin, Texas, and via web-based conference pursuant to
 24    the Federal Rules of Civil Procedure.
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  1       Q.   And below it is an email from Kristi Hart to
  2    yourself and Mr. Bitter from earlier that same day; is
  3    that right?
  4       A.   Agreed.
  5       Q.   Who is Ms. Hart?
  6       A.   She is our team -- team manager.
  7       Q.   And it says, "As you know, we ran a comparative
  8    process over the weekend. We did run queries prior to
  9    and following the process. That information is listed
 10    below." Do you see that?
 11       A.   I do.
 12       Q.   Can you explain, essentially, what this table
 13    means? So "query," I take it, is like questions or a
 14    search run across a database; is that right?
 15       A.   That's right.
 16       Q.   And what does "before" mean?
 17       A.   Before we did the HB 2512 matching process.
 18       Q.   All right. And then, just for the record,
 19    describe what that process involves?
 20       A.   The HB 2512 process allows us to get
 21    information from the driver's license record to
 22    supplement voter registration records and use it for
 23    voter registration purposes.
 24       Q.   All right. And so once this is done, for
 25    example, on the top one -- and we are talking about --

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  1    __________________________________________________
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  5    __________________________________________________
  6               I, BRIAN KEITH INGRAM, J.D., have read the
  7    foregoing deposition and hereby affix my signature that
  8    same is true and correct, except as noted above.
  9
                      ____________________________
 10                   BRIAN KEITH INGRAM, J.D.
 11    STATE OF TEXAS        )
 12    COUNTY OF TRAVIS )
 13               Before me,______________________, on this
 14    the day personally appeared BRIAN KEITH INGRAM, J.D.
 15    known to me to be the person whose name is subscribed to
 16    the foregoing instrument and acknowledge to me that they
 17    executed the same for the purposes and consideration
 18    therein expressed.
 19               Given under my hand and seal of office
 20    this ___ day of _____________________, 2022.
 21

 22

 23                   __________________________
                      NOTARY PUBLIC IN AND FOR
 24                   THE STATE OF______________
 25

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  1             IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
  2                  SAN ANTONIO DIVISION
  3    LA UNION DEL PUEBLO         §
       ENTERO, ET AL.,         §
  4         Plaintiffs,   § Civil Action No.
                        § 5:21-cv-844 (XR)
  5    VS.                § (Consolidated Cases)
                        §
  6    STATE OF TEXAS, ET AL.,    §
            Defendants.      §
  7    **************************************************
  8               REPORTER'S CERTIFICATION
             ORAL DEPOSITION OF BRIAN KEITH INGRAM, J.D.
  9            CORPORATE REPRESENTATIVE FOR THE
                TEXAS SECRETARY OF STATE OFFICE
 10                  MAY 6, 2022
 11    ****************************************************
 12               I, CAROLINE CHAPMAN, Certified Shorthand
 13    Reporter in and for the State of Texas, hereby certify
 14    to the following:
 15               That the witness, BRIAN KEITH INGRAM,
 16    J.D., was duly sworn by the officer and that the
 17    transcript of the oral deposition is a true record of
 18    the testimony given by the witness;
 19               That the deposition transcript was
 20    submitted on May ____, 2022 to the witness or to the
 21    attorney for the witness for examination, signature, and
 22    return to me within 20 days;
 23               That the amount of time used by each party
 24    at the deposition is as follows:
 25               Ms. Wendy J. Olson - Two hours and

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  1    thirty-seven minutes.
  2               Ms. Hunker - Eleven minutes.
  3               That pursuant to information given to the
  4    deposition officer at the time said testimony was taken,
  5    the appearance page includes all parties of record.
  6               I further certify that I am neither
  7    counsel for, related to, nor employed by any of the
  8    parties or attorneys in the action in which this
  9    proceeding was taken, and further that I am not
 10    financially or otherwise interested in the outcome of
 11    the action.
 12               Certified to by me on 16th day of May,
 13    2022.
 14

 15                   ______________________________
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 16                   Expiration Date: 03/31/2023
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                 Exhibit 10




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                                                                                   ·


·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION
· · ·LA UNION DEL PUEBLO ENTERO,· · )
·3· ·et al.,· · · · · · · · · · · · )
· · · · · · · · · · · Plaintiffs,· ·)
·4· · · · vs.· · · · · · · · · · · ·)Civil Action No.
· · ·STATE OF TEXAS, et al.,· · · · )5:21-cv-844(XR)
·5· · · · · · · · · · Defendants.· ·)(Consolidated Cases)

·6
· · · · · · · · · · · ------------------------
·7· · · · · · · · · · · · ·ORAL DEPOSITION OF
· · · · · · · · · · · · · ·KEITH INGRAM
·8· · · · · · · · · · · · ·March 28, 2023
· · · · · · · · · · · · · · · ·Volume l
·9· · · · · · · · · · -------------------------

10

11· · · · ORAL 30(b)(6) DEPOSITION OF KEITH INGRAM, Volume

12· ·1, produced as a witness at the instance of the

13· ·Plaintiff, and duly sworn, was taken in the

14· ·above-styled and numbered cause on March 28, 2023, from

15· ·4:22 p.m. to 7:22 p.m., before Dana Shapiro, CSR, in

16· ·and for the State of Illinois, reported by machine

17· ·shorthand, at 209 W. 14th Street, Austin, Texas 78701,

18· ·pursuant to the Federal Rules of Civil Procedure and

19· ·any provisions stated on the record or attached

20· ·hereto.

21

22

23

24

25




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·1· · · · · · · · · · A P P E A R A N C E S

·2

·3· ·FOR PLAINTIFFS OCA/REVUP TEXAS (via ZOOM):

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· · ·Houston, Texas 77004
·6· ·713-974-7691
· · ·lromano@disabilityrightstx.org
·7· · · · -and-
· · ·MS. COURTNEY LUTHER
·8· ·DISABILITY RIGHTS TEXAS
· · ·2222 West Braker Lane
·9· ·Austin, Texas 78758
· · ·512-454-4816
10· ·cluther@disabilityrightstx.org

11· ·FOR INTERVENOR-DEFENDANTS HARRIS COUNTY REPUBLICAN
· · ·PARTY, DALLAS COUNTY REPUBLICAN PARTY, REPUBLICAN
12· ·NATIONAL COMMITTEE, NATIONAL REPUBLICAN SENATORIAL
· · ·COMMITTEE AND NATIONAL REPUBLICAN CONGRESSIONAL
13· ·COMMITTEE (appeared via ZOOM):

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· · ·Washington, D.C. 20001
16· ·202-879-3939
· · ·skenny@jonesday.com
17
· · ·FOR PLAINTIFFS HOUSTON AREA URBAN LEAGUE; DELTA SIGMA
18· ·THETA SORORITY, INC.; THE ARC OF TEXAS; AND JEFFREY
· · ·LAMAR CLEMMONS (appeared via ZOOM):
19
· · ·MR. KATHRYN SADASIVAN
20· ·MR. VICTOR GENECIN
· · ·MS. URUJ SHEIKH
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22· ·New York, New York 10006
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· · ·vgenecing@naacpldf.org
24· ·usheikh@naaacpldf.org

25




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·1· · · · A P P E A R A N C E S (continued):

·2· ·FOR PLAINTIFFS LA UNION DEL PUEBLO ENTERO SOUTHWEST
· · ·VOTER REGISTRATION EDUCATION PROJECT:
·3
· · ·MS. NINA PERALES
·4· ·MS. JULIA R. LONGORIA(via ZOOM)
· · ·MS. FATIMA L. MENENDEZ(via ZOOM)
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·6· ·San Antonio, Texas 78205
· · ·210-224-5476
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· · ·jlongoria@maldef.org
·8· ·fmenendez@maldef.org
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13
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14· ·ALLIANCE FOR RETIRED AMERICANS, TEXAS AFT (appeared via
· · ·ZOOM):
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· · ·MS. MARISA O'GARA
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17· ·Washington, D.C. 20001
· · ·202-968-4490
18· ·mogara@elias.law

19· ·FOR THE UNITED STATES:

20· ·MR. JUSTIN BENNETT(appeared via ZOOM)
· · ·MR. RICHARD A. DELLHEIM
21· ·MR. MICHAEL E. STEWART
· · ·U.S. DEPARTMENT OF JUSTICE
22· ·CIVIL RIGHTS DIVISION
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23· ·Washington, D.C. 20530
· · ·800-253-3931
24· ·Justin.Bennett@usdoj.gov
· · ·Richard.Dellheim@usdoj.gov
25· ·Michael.Stewart3@usdoj.gov
· · · · · · · · ·-and-




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·1· · · · · · · ·A P P E A R A N C E S (continued):

·2· ·MR. DANIEL J. FREEMAN
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·3· ·CIVIL RIGHTS DIVISION
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· · ·Washington, D.C. 20530
·5· ·202-305-4355
· · ·Daniel.Freeman@usdoj.gov
·6
· · ·FOR DEFENDANTS THE STATE OF TEXAS, GREG ABBOTT, IN HIS
·7· ·OFFICIAL CAPACITY AS GOVERNOR OF TEXAS, JANE NELSON, IN
· · ·HER OFFICIAL CAPACITY OF THE TEXAS SECRETARY OF STATE,
·8· ·WARREN K. PAXTON, IN HIS OFFICIAL CAPACITY AS THE TEXAS
· · ·ATTORNEY GENERAL:
·9
· · ·MS. KATHLEEN HUNKER
10· ·MR. ETHAN SZUMANSKI
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11· ·P.O. Box 12548
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12· ·512-463-2100
· · ·kathleen.hunker@oag.texas.gov
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18· ·abitter@sos.texas.gov

19· ·FOR DEFENDANT LISA WISE, IN HER OFFICIAL CAPACITY AS
· · ·THE EL PASO COUNTY ELECTIONS ADMINISTRATOR (via ZOOM):
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21· ·COOLEY LLP
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22· ·355 South Grand Avenue, Suite 900
· · ·Los Angeles, California 90071-1560
23· ·213-561-3227
· · ·ghabell@cooley.com
24
· · ·FOR DEFENDANTS BEXAR COUNTY ELECTIONS ADMINISTRATOR,
25· ·JACQUELYN CALLANEN AND BEXAR COUNTY DISTRICT ATTORNEY
· · ·JOE D. GONZALES (via ZOOM):




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·1· · · · · · · ·A P P E A R A N C E S (continued):

·2· ·MS. LISA V. CUBRIEL
· · ·ASSISTANT DISTRICT ATTORNEY-CIVIL SECTION
·3· ·BEXAR COUNTY DISTRICT ATTORNEY'S OFFICE
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·5· ·210-335-2142
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· · ·FOR PLAINTIFF MI FAMILIA VOTA (via ZOOM):
·7
· · ·MS. COURTNEY HOSTETLER
·8· ·FREE SPEECH FOR PEOPLE
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·9· ·Newton, Massachusetts 02459
· · ·617-249-3015
10· ·chostetler@freespeechforpeople.org

11· ·FOR DEFENDANTS CLIFFORD TATUM, IN HIS OFFICIAL CAPACITY
· · ·AS HARRIS COUNTY ELECTIONS ADMINISTRATOR (via ZOOM):
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13· ·SENIOR ASSISTANT COUNTY ATTORNEY
· · ·OFFICE OF THE HARRIS COUNTY ATTORNEY
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15· ·713-274-5101
· · ·Sameer.Birring@harriscountytx.gov
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· · ·FOR DEFENDANT HIDALGO COUNTY ELECTIONS ADMINISTRATOR
17· ·DELIA GARZA (via ZOOM):

18· ·MS. LEIGH ANN TOGNETTI
· · ·ASSISTANT DISTRICT ATTORNEY
19· ·100 East Cano, First Floor
· · ·Hidalgo County Courthouse Annex III
20· ·Edinburg, Texas 78539
· · ·956-292-7609
21· ·leigh.tognetti@da.co.hidalgo.tx.us

22
· · ·ALSO PRESENT (via ZOOM):
23· ·MS. MORGAN HUMPHREY
· · ·MS. SAMANTHA KOBOR
24

25




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·1· ·determined or not?
·2· · · · ·A.· · ·Well, Kristi Hart would be the one to ask
·3· ·the detailed information like that.
·4· · · · ·Q.· · ·When --
·5· · · · ·A.· · ·Don't tell her I used her name.· I will get
·6· ·killed.
·7· · · · ·Q.· · ·During your prior deposition today when
·8· ·Mr. Freeman was asking questions, you spoke about the
·9· ·ballot tracker at votetexas.gov, correct?
10· · · · ·MS. HUNKER:· Objection, form.
11· ·BY THE WITNESS:
12· · · · ·A.· · ·So the ballot by mail tracker I don't think
13· ·is -- I mean I know it's not at votetexas.gov.· You can
14· ·get to it from there and you can get to it from SOS
15· ·website, but it's hosted actually by our third party
16· ·vendor who does TEAM for us.
17· ·BY MR. STEWART:
18· · · · ·Q.· · ·Understood.· Can that tracker be used to
19· ·cancel an ABBM?
20· · · · ·A.· · ·No.
21· · · · ·Q.· · ·No.· It can be used to correct information,
22· ·right?
23· · · · ·A.· · ·Well, it can be used to correct a defective
24· ·number so if somebody transposed digits, whenever they
25· ·send in their application for ballot by mail that can




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·1· ·be corrected in the tracker.
·2· · · · ·Q.· · ·Is there anything else that can be
·3· ·corrected in the tracker?
·4· · · · ·A.· · ·If they left off the information but TEAM
·5· ·has it, they can do that in the tracker as well.
·6· · · · ·Q.· · ·How can a voter cancel ABBM?
·7· · · · ·A.· · ·So cancellation is not one of those things
·8· ·I want to talk about off the top of my head.· Do you
·9· ·want me to go up election code and talk about the
10· ·different ways of cancelling?
11· · · · ·Q.· · ·If you could tell me where in the election
12· ·code it is.
13· · · · ·A.· · ·Chapter 84.
14· · · · ·Q.· · ·The law I guess -- withdraw that.
15· · · · · · · · What is in chapter 84 details all of the
16· ·ways by which an ABBM canceled?
17· · · · ·A.· · ·That's correct.· You know, generally a
18· ·voter can do it by surrendering their mail ballot in
19· ·person at the polling place and voting in person or go
20· ·to voting clerk office and fill out a cancellation form
21· ·and then go vote in person.
22· · · · ·Q.· · ·Would you say those are the two most common
23· ·ways it's done?
24· · · · ·A.· · ·That's generally what it is and there is
25· ·other permeations of those two that get very




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                                                                                 YVer1f
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·1· · · · ·Q.· · ·She says that Tarrant's reply was that the
·2· ·voter had to come to their office to fix the issue,
·3· ·correct?
·4· · · · ·A.· · ·That's what she says.
·5· · · · ·Q.· · ·Would advice be correct, to the best of
·6· ·your knowledge?
·7· · · · ·A.· · ·Well, it kind of depends what issue they
·8· ·were telling her that she needed to correct.· If she
·9· ·needed to correct the number in the voter registration
10· ·record obviously she could do that with a voter
11· ·registration application and she doesn't need to come
12· ·in person.· If she's trying to fix the problem with the
13· ·application for ballot by mail then probably she needs
14· ·to show up in person or fill out a new application with
15· ·the transposed digits.
16· · · · ·Q.· · ·I see.· So if the problem were with the
17· ·ABBM, would she be able to correct that in the portal?
18· · · · ·A.· · ·If the problem was that the original number
19· ·was transposed, the only way to fix it in the portal
20· ·was to create the transposed numbers are correct.
21· · · · ·Q.· · ·The portal can't be used to change what's
22· ·in TEAM, it only be used to change what's on the ABBM?
23· · · · ·A.· · ·That's correct.
24· · · · ·Q.· · ·So how would she fix the issue -- if it is
25· ·correct that the issue in TEAM, what ways could she be




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                                                                                 YVer1f
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·1· ·directed to fix that?
·2· · · · ·A.· · ·I think the only way you can fix that to
·3· ·fill out a new voter registration application with the
·4· ·correct number.
·5· · · · ·Q.· · ·So if TEAM then is the source of
·6· ·transposition, it would be correct from Tarrant that
·7· ·she would need to go into the office to correct that?
·8· · · · ·MS. HUNKER:· Objection, form.
·9· ·BY THE WITNESS:
10· · · · ·A.· · ·You don't need to fill out a voter
11· ·registration application in person.
12· ·BY MR. STEWART:
13· · · · ·Q.· · ·That's something she also could have done
14· ·remotely, correct?
15· · · · ·A.· · ·That's correct.
16· · · · ·Q.· · ·If it's correct in fact that the numbers
17· ·are transposed in TEAM, she would not be able to enter
18· ·the portal entering the correct number, right?
19· · · · ·A.· · ·That's correct.· She would have to enter
20· ·the transposed number and agree it's the correct number
21· ·for her mail bound application to be accepted.
22· · · · ·Q.· · ·Got it.· I want to turn to -- I think last
23· ·year when we spoke we discussed the HB2512 process; do
24· ·you recall?
25· · · · ·A.· · ·I do.




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                                                                                 YVer1f
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·1· · · · ·Q.· · ·That's the process for present purposes by
·2· ·which driver's license, ID number or SSN data is
·3· ·imported from DPS database into team, correct?
·4· · · · ·A.· · ·That's correct.
·5· · · · ·Q.· · ·Was the HB2512 process run at any point in
·6· ·2022 following the primary election?
·7· · · · ·A.· · ·No.
·8· · · · ·Q.· · ·Was it --
·9· · · · ·A.· · ·It was in December.
10· · · · ·Q.· · ·In December following the general election?
11· · · · ·A.· · ·Not before the general.
12· · · · ·Q.· · ·Not before the general, but in 2022
13· ·following -- let me withdraw that.· It was not run
14· ·between the primary and the general, correct?
15· · · · ·A.· · ·That's correct.
16· · · · ·Q.· · ·It was run following the general before the
17· ·end of the year?
18· · · · ·A.· · ·I agree.
19· · · · ·Q.· · ·Has it been run again since then?
20· · · · ·A.· · ·No, sir.
21· · · · ·Q.· · ·Is that a regular annual process is that
22· ·why it was run in December?
23· · · · ·A.· · ·It has historically been run in December,
24· ·not every December, but obviously the last two.
25· · · · ·Q.· · ·I'm going to hand you what will be SOS 5. I




                             OCA-APPX-0215
                                                                                 YVer1f
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·1· ·will state I don't know why this document presented
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·3· ·state 137751.· Just to put that on the record.
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·5· · · · · · · · · · · ·marked Deposition Exhibit No. 5,
·6· · · · · · · · · · · ·for identification, as of 3/28/23.)
·7· · · · ·MS. HUNKER:· Thank you.
·8· ·BY MR. STEWART:
·9· · · · ·Q.· · ·Do you recognize this document, Mr. Ingram?
10· · · · ·A.· · ·I do.
11· · · · ·Q.· · ·What is this?
12· · · · ·A.· · ·This is the result of the comparison
13· ·process from December of '22.
14· · · · ·Q.· · ·That's the same HB2512 process we were just
15· ·discussing?
16· · · · ·A.· · ·That's correct.
17· · · · ·Q.· · ·So the initial numbers, would they reflect
18· ·the state of the database following the 2021 process?
19· · · · ·A.· · ·Plus whatever changes were made in the
20· ·course of the 2022.
21· · · · ·Q.· · ·So they wouldn't reflect any changes from a
22· ·systemic process, but they could represent -- reflect
23· ·what I will call ad hoc changes to individual records?
24· · · · ·MS. HUNKER:· Objection, form.
25· ·BY THE WITNESS:




                             OCA-APPX-0216
                                                                                 YVer1f
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 217 of 2308
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·1· · · · ·A.· · ·Agree with that.
·2· · · · ·Q.· · ·That number moved by less than 2,000,
·3· ·correct?
·4· · · · ·A.· · ·It looks like about 1,300 maybe.
·5· · · · ·Q.· · ·Why do you think the movement in that was
·6· ·smaller than in the other categories?
·7· · · · ·A.· · ·Because it's the hardest category to do
·8· ·anything with.
·9· · · · ·Q.· · ·Have you discussed any way to capture more,
10· ·improve the HP2512 process for that category of voters
11· ·in the future?
12· · · · ·A.· · ·No.
13· · · · ·Q.· · ·Just a couple quick questions.· After the
14· ·HP2512 process is run, how are those changes filtered
15· ·out to off-line counties?
16· · · · ·A.· · ·They are supposed to sync their data with
17· ·ours on a monthly basis.
18· · · · ·Q.· · ·That occurs monthly?
19· · · · ·A.· · ·It does or it's supposed to.
20· · · · ·Q.· · ·Is that a two-way sync?· So, for example,
21· ·if something gets changed in the county's off-line
22· ·database more recently than the information in TEAM,
23· ·should that be then filtering into TEAM as well?
24· · · · ·A.· · ·So there is two different things that you
25· ·might be confusing here.· Any changes in voter




                             OCA-APPX-0217
                                                                                 YVer1f
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·1· ·registration record that the county gets from the voter
·2· ·is supposed to be reported nightly.· So that's what we
·3· ·call our batch process.· That's not the same as syncing
·4· ·the data.· Syncing the data means we want to make sure
·5· ·everything we have got in our system is captured in
·6· ·off-line system so the databases are identical, right.
·7· ·So the goal is to have zero differences in the sync
·8· ·file.· This kind of change in the SOS file is what we
·9· ·are trying to sync to the voters.· Then of course there
10· ·are other kinds of changes the county makes with regard
11· ·to pre-syncing in particular that aren't reflected in
12· ·an individual voter change that we would get in a batch
13· ·process.· We want to sync those up as well.· So those
14· ·are the two things that we are syncing is making sure
15· ·that everything from our database is in theirs and
16· ·making sure all of their precinct lines they may have
17· ·re-drawn are in ours.
18· · · · ·Q.· · ·Taking those two processes separately
19· ·because I assume -- do those processes run at the same
20· ·time?
21· · · · ·A.· · ·Yes.
22· · · · ·Q.· · ·They do?
23· · · · ·A.· · ·The sync is simultaneous.
24· · · · ·Q.· · ·So the sync is referring to information
25· ·from TEAM filtering down to the counties?




                             OCA-APPX-0218
                                                                                 YVer1f
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·1· · · · ·A.· · ·That's right.
·2· · · · ·Q.· · ·That occurs monthly?
·3· · · · ·A.· · ·It's supposed to occur monthly.· We have to
·4· ·do it much less often.· With this change in law it
·5· ·became expedient to do it more often.
·6· · · · ·Q.· · ·All new registrations are entered by the
·7· ·county into their databases, correct?
·8· · · · ·A.· · ·That's right, many changes to registration
·9· ·is entered.
10· · · · ·Q.· · ·Those changes are coming upward to TEAM
11· ·daily?
12· · · · ·A.· · ·That's right.
13· · · · ·Q.· · ·Then new information from HP2512 is going
14· ·from TEAM to the counties monthly?
15· · · · ·A.· · ·Well, we sync the database monthly.· The
16· ·new information from 2512 is obviously an annual thing.
17· · · · ·Q.· · ·I see.· It would be part of that monthly
18· ·sync process?
19· · · · ·A.· · ·It would.
20· · · · ·Q.· · ·Information entered into the texas.gov
21· ·portal that gets pulled over, where does that go first?
22· · · · ·A.· · ·To TEAM.
23· · · · ·Q.· · ·That will to the counties as part of the
24· ·monthly process?
25· · · · ·A.· · ·That's right.




                             OCA-APPX-0219
                                                                                 YVer1f
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 220 of 2308
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·1· · · · ·Q.· · ·If there is any difference in the county
·2· ·and state databases, would those likely be due to a lag
·3· ·in time between basically the monthly process
·4· ·occurring?
·5· · · · ·MS. HUNKER:· Objection, form.
·6· ·BY THE WITNESS:
·7· · · · ·A.· · ·That's right, or they haven't resolved
·8· ·everything that was a difference in the last sync file.
·9· ·BY MR. STEWART:
10· · · · ·Q.· · ·What does it mean to resolve it?
11· · · · ·A.· · ·To choose one or the other.
12· · · · ·Q.· · ·When something comes down from the sync
13· ·file from TEAM to the county, the county needs to
14· ·resolve each of those in their own database?
15· · · · ·A.· · ·That's correct.
16· · · · ·Q.· · ·If there is an import from Texas.gov, those
17· ·cannot be used by the county in the cure process until
18· ·the next sync occurs; is that correct?
19· · · · ·A.· · ·No, they can use TEAM.· They are -- all
20· ·have access to TEAM and we told them to use tell.
21· · · · ·Q.· · ·They wouldn't be reflected in the county,
22· ·but the instruction from the SOS is to also look in the
23· ·TEAM database?
24· · · · ·A.· · ·That's right.
25· · · · ·Q.· · ·Do you know if all counties follow that




                             OCA-APPX-0220
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·1· ·trouble with the residence address.
·2· · · · ·Q.· · ·Any other issues?
·3· · · · ·A.· · ·No.· There were some off-line counties in
·4· ·the primary that said they weren't getting the ballot
·5· ·tracker updates which is why we were sending a separate
·6· ·spreadsheet so they were getting it through the system
·7· ·as well as from the spreadsheet from us.
·8· · · · ·Q.· · ·There were off-line counties that reported
·9· ·that ballot tracker updates were not coming from the
10· ·monthly sync process?
11· · · · ·A.· · ·No.· Nightly batch process.· So if the
12· ·voter uses the ballot tracker to confirm their numbers,
13· ·there should be report of that that shows up on the
14· ·off-line county's dashboard.· They were saying they
15· ·weren't getting them so we sent them manually as well
16· ·through the system.
17· · · · ·Q.· · ·Those were in Excel spreadsheets?
18· · · · ·A.· · ·I don't know.· CSV file, something like
19· ·that.
20· · · · ·Q.· · ·Just something that the county could use to
21· ·manually look up that information outside of the
22· ·database?
23· · · · ·A.· · ·Well, to manually update the voter to
24· ·accept it.
25· · · · ·Q.· · ·So the purpose of that was to update their




                             OCA-APPX-0221
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·1· ·database or just to evaluate the ABBM in front of them?
·2· · · · ·A.· · ·Well, they have evaluated the ABBM.· In
·3· ·this case the carrier envelope found it to be detective
·4· ·because of missing or incorrect number.· The voter has
·5· ·corrected that through the ballot tracker.· We were
·6· ·sending that correction information both through TEAM
·7· ·as well as manually.
·8· · · · ·Q.· · ·So those corrections would not change TEAM,
·9· ·they would only change consideration of ABBM?
10· · · · ·A.· · ·That's correct.
11· · · · ·Q.· · ·Would changing the residence address issue,
12· ·as you have described it, require legislative action?
13· · · · ·A.· · ·Yes.
14· · · · ·Q.· · ·Any other changes or potential changes to
15· ·the ballot tracker that you testified on in the past
16· ·two months?
17· · · · ·A.· · ·No.
18· · · · ·Q.· · ·I'm going to hand you SOS 7.
19· · · · · · · · · · · ·(WHEREUPON, a certain document was
20· · · · · · · · · · · ·marked Deposition Exhibit No. 7,
21· · · · · · · · · · · ·for identification, as of 3/28/23.)
22· ·BY MR. STEWART:
23· · · · ·Q.· · ·Just for the record I will say this is
24· ·document State 118032.
25· · · · ·A.· · ·Okay.




                             OCA-APPX-0222
                                                                                 YVer1f
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 223 of 2308
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·1· ·BY MR. STEWART:
·2· · · · ·Q.· · ·Fair enough.· But you know it's tough to
·3· ·see the way it's printed, but you can see, "Welcome
·4· ·Jason Hole," then whatever information, current
·5· ·address.· This does appear to be the logged in version
·6· ·of the tracker, correct?
·7· · · · ·A.· · ·I agree with that.
·8· · · · ·Q.· · ·If the voter has an active mail ballot,
·9· ·would you expect to see information about that mail
10· ·ballot in the tracker?
11· · · · ·A.· · ·Yes.
12· · · · ·Q.· · ·Who is responsible for entering information
13· ·about the rejected ballot into the tracker?
14· · · · ·A.· · ·Tarrant County in this case.
15· · · · ·Q.· · ·How do they enter information into the
16· ·tracker as in is there a portal on their end through
17· ·TEAM?· How does that information flow into the tracker?
18· · · · ·A.· · ·There is a couple ways they should be able
19· ·to enter the information into their off-line system or
20· ·they should be able to enter it directly into TEAM.
21· · · · ·Q.· · ·Looking at the most recent email on the
22· ·chain.· Those are the ones back on the page that ends
23· ·in 32 on the Bates stamp.· That appears to be a
24· ·response from the Secretary of State's Office, correct?
25· · · · ·A.· · ·Agreed.




                             OCA-APPX-0223
                                                                                 YVer1f
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   Keith Ingram                                                     March 28, 2023
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·1· ·because you have logged in successfully in the tracker,
·2· ·you don't see anything to fix.· So that's Tarrant
·3· ·County's problem.
·4· ·BY MR. STEWART:
·5· · · · ·Q.· · ·So in the instance where let's say tracker
·6· ·information is not appearing or populating for a known
·7· ·mail ballot, the county should be entering that
·8· ·information?
·9· · · · ·A.· · ·Absolutely.
10· · · · ·Q.· · ·A voter with an issue should be contacting
11· ·the county?
12· · · · ·A.· · ·Yes.
13· · · · ·Q.· · ·Are there circumstances where a voter
14· ·should be contacting the Secretary of State for ballot
15· ·tracker issues?
16· · · · ·A.· · ·They will call us if they are having
17· ·trouble accessing it.
18· · · · ·Q.· · ·So is it correct to say then the Secretary
19· ·of State's Office manages the access portion of the
20· ·ballot tracker and the county is manage the individual
21· ·ballot information portion?
22· · · · ·A.· · ·The substance of information --
23· · · · ·MS. HUNKER:· Objection, form.
24· ·BY THE WITNESS:
25· · · · ·A.· · ·-- within the tracker is contributed by the




                             OCA-APPX-0224
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·1· ·counties.
·2· ·BY MR. STEWART:
·3· · · · ·Q.· · ·But the counties don't have any control
·4· ·over the access portion, correct?
·5· · · · ·A.· · ·That's correct.
·6· · · · ·Q.· · ·To your knowledge, did any other voters
·7· ·identify a similar issue such as this where they are
·8· ·able to access the tracker but information wasn't
·9· ·populating in the tracker?
10· · · · ·A.· · ·Not in the general.
11· · · · ·Q.· · ·Not in the general.· Did that happen in the
12· ·primary?
13· · · · ·A.· · ·In the primary, yes.
14· · · · ·Q.· · ·Did you identify the route cause of that
15· ·issue in the primary?
16· · · · ·A.· · ·It's because the VOTEC system wasn't
17· ·mapping to the TEAM system properly.· The general is
18· ·just because the county didn't enter the information.
19· · · · ·Q.· · ·Let's look at SOS 8.
20· · · · · · · · · · · ·(WHEREUPON, a certain document was
21· · · · · · · · · · · ·marked Deposition Exhibit No. 8,
22· · · · · · · · · · · ·for identification, as of 3/28/23.)
23· ·BY MR. STEWART:
24· · · · ·Q.· · ·We're back in Tarrant County.· Would you
25· ·agree this chain appears to reflect a communication




                             OCA-APPX-0225
                                                                                 YVer1f
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·1· ·BY THE WITNESS:
·2· · · · ·A.· · ·I mean we don't know.· I mean some voters
·3· ·can drive it in as easily as they can mail it, but
·4· ·there is a reason why people vote by mail.· Generally
·5· ·it's because they are not as mobile.· So to increase
·6· ·the odds of them curing we need to have a mail back
·7· ·form.
·8· ·BY MS. PERALES:
·9· · · · ·Q.· · ·Texas vote by mail eligibility involves
10· ·being for the most part either over age 65 or
11· ·physically disabled, is that correct -- or disabled in
12· ·some way?
13· · · · ·A.· · ·Agreed.
14· · · · ·Q.· · ·So you had listed basically four things,
15· ·the 2026 effective date provision, and then the three
16· ·things you just talked to me about now.· Have you had
17· ·any discussions with members of the legislator or
18· ·legislative staff about amending any of the provisions
19· ·in SB 1 that are the subject of this lawsuit?
20· · · · ·A.· · ·No.
21· · · · ·Q.· · ·So then I won't have to ask it for each
22· ·individual provision.
23· · · · · · · · Let's look at --
24· · · · ·A.· · ·Oh, we did talk to one senator's office
25· ·about possible changes to poll watchers.




                             OCA-APPX-0226
                                                                                 YVer1f
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·1· · · · · · · · · · · · ·CHANGES AND SIGNATURE
·2· ·KEITH INGRAM
·3· ·March 28, 2023
·4· ·PAGE/LINE· · · · CHANGE· · · · · · · · · · · ·REASON
·5· ·_______________________________________________________
·6· ·_______________________________________________________
·7· ·_______________________________________________________
·8· ·_______________________________________________________
·9· ·_______________________________________________________
10· ·_______________________________________________________
11· ·_______________________________________________________
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15· ·_______________________________________________________
16· ·_______________________________________________________
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24· ·_______________________________________________________
25· ·_______________________________________________________




                             OCA-APPX-0227
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·1· · · · · · · ·I, KEITH INGRAM, have read the foregoing
·2· ·deposition and hereby affix my signature that the same
·3· ·is true and correct, except as noted on the previous
·4· ·page.
·5
·6· · · · · · · · · · ________________________________
·7· · · · · · · · · · · · · · ·KEITH INGRAM
·8· ·THE STATE OF __________)
·9· ·COUNTY OF _____________)
10· · · · Before me, _________________, on this day
11· ·personally appeared KEITH INGRAM, known to me (or
12· ·proved to me under oath or through ______________)
13· ·(description of identity card or other document) to be
14· ·the person whose name is subscribed to the foregoing
15· ·instrument and acknowledged to me that he executed the
16· ·same for the purposes and consideration therein
17· ·expressed.
18· · · · Given under my hand and seal of office this _____
19· ·day of _____________, 20____.
20
21· · · · · · · ·________________________________
22· · · · · · · · · · NOTARY PUBLIC IN AND FOR
23· · · · · · · · · · THE STATE OF ___________________
24· · · · · · · · · · COMMISSION EXPIRES: ____________
25




                               OCA-APPX-0228
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·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION
· · ·LA UNION DEL PUEBLO ENTERO,· · )
·3· ·et al.,· · · · · · · · · · · · )
· · · · · · · · · · · Plaintiffs,· ·)
·4· · · · vs.· · · · · · · · · · · ·)Civil Action No.
· · ·STATE OF TEXAS, et al.,· · · · )5:21-cv-844(XR)
·5· · · · · · · · · · Defendants.· ·)(Consolidated Cases)

·6

·7· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · · · · ORAL DEPOSITION OF
·8· · · · · · · · · · · · ·KEITH INGRAM
· · · · · · · · · · · · · March 28, 2023
·9

10· · · · I, Dana Shapiro, a Certified Shorthand Reporter,

11· ·hereby certify to the following:

12· · · · That the witness, KEITH INGRAM, was duly sworn by

13· ·the officer and that the transcript of the oral

14· ·deposition is a true record of the testimony given by

15· ·the witness;

16· · · · I further certify that pursuant to FRCP Rule

17· ·30(e)(1) that the signature of the deponent:

18· ·was requested by the deponent or a party before the

19· ·completion of the deposition and that the signature is

20· ·to be before any notary public and returned within 30

21· ·days from date of receipt of the transcript.· If

22· ·returned, the attached Changes and Signature Pages

23· ·contain any changes and reasons therefore;

24· · · · I further certify that I am neither counsel for,

25· ·related to, nor employed by any of the parties or




                               OCA-APPX-0229
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·1· ·attorneys in the action in which this proceeding was

·2· ·taken, and further that I am not financially or

·3· ·otherwise interested in the outcome of the action.

·4· · · · Certified to by me this April 10, 2023.

·5

·6· · · · · · · ·_____________________________
· · · · · · · · ·Dana Shapiro
·7· · · · · · · ·Illinois CSR 84-3597
· · · · · · · · ·Expiration: 5/31/23
·8· · · · · · · ·Magna Legal Services
· · · · · · · · ·Firm Registration No. 633
·9· · · · · · · ·1635 Market Street
· · · · · · · · ·8th Floor
10· · · · · · · ·Philadelphia, PA 19103

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                               OCA-APPX-0230
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·1· ·COUNTY OF TRAVIS )

·2· ·STATE OF TEXAS· ·)

·3· · · · I hereby certify that the witness was notified on

·4· ·_______________________, that the witness has 30 days

·5· ·after being notified by the officer that the transcript

·6· ·is available for review by the witness and if there are

·7· ·changes in the form or substance to be made, then the

·8· ·witness shall sign a statement reciting such changes

·9· ·and the reasons given by the witness for making them;

10· · · · That the witness' signature was/was not returned

11· ·as of ________________________.

12· · · · Subscribed and sworn to on this _____ day of

13· ·___________, 20___.

14

15· · · · · · · ·_____________________________
· · · · · · · · ·Dana Shapiro
16· · · · · · · ·Illinois CSR 84-3597
· · · · · · · · ·Expiration: 5/31/23
17· · · · · · · ·Magna Legal Services
· · · · · · · · ·Firm Registration No. 633
18· · · · · · · ·1635 Market Street
· · · · · · · · ·8th Floor
19· · · · · · · ·Philadelphia, PA 19103

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                               OCA-APPX-0231
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                 Exhibit 11




                         OCA-APPX-0232
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 233 of 2308
     Samuel Taylor                                                    March 29, 2023
                                                                                   ·


·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3· · LA UNION DEL PUEBLO· · · · )
· · · ENTERO, ET AL.,· · · · · · )
·4· · · · · · Plaintiffs,· · · · )
· · · · · · · · · · · · · · · · ·)
·5· · VS.· · · · · · · · · · · · ) CIVIL ACTION NO.
· · · · · · · · · · · · · · · · ·) 5:21-CV-844 (XR)
·6· · STATE OF TEXAS, ET AL.,· · )
· · · · · · · Defendants.· · · · )
·7

·8
· · · · · · · ·-----------------------------------
·9
· · · · · · · · · · · ·ORAL DEPOSITION OF
10
· · · · · · · · · · · · · SAMUEL TAYLOR
11
· · · · · · · · · · · · ·MARCH 29, 2023
12
· · · · · · · ·-----------------------------------
13

14

15

16

17· · · · · · · · ·ORAL DEPOSITION OF SAMUEL TAYLOR,

18· produced as a witness at the instance of the Defendants,

19· and duly sworn, was taken in the above-styled and

20· numbered cause on the 29th day of March, 2023, from

21· 12:34 p.m. to 3:01 p.m., before JAZZMEN CANALES, CSR, in

22· and for the State of Texas, reported by machine

23· shorthand at 209 West 14th Street, Austin, Texas 78701,

24· pursuant to the Rules of Civil Procedure and the

25· provisions stated on the record or attached hereto.




                               OCA-APPX-0233
                                                                                   YVer1f
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     Samuel Taylor                                                    March 29, 2023
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·1· · · · · · · · · · A P P E A R A N C E S

·2· FOR THE PLAINTIFFS:

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·7
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                               OCA-APPX-0234
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     Samuel Taylor                                                    March 29, 2023
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·1· particular budget line item.· So, yeah, I couldn't -- I
·2· couldn't break it down because it is all part of the
·3· content development line item of the budget.
·4· · · ·Q.· And so looking at the different forms of
·5· content starting with TV.
·6· · · ·A.· Uh-huh.
·7· · · ·Q.· Were there -- TV, I assume they were
·8· commercials?
·9· · · ·A.· Yes.
10· · · ·Q.· Were there commercials that focused
11· specifically only on the mail ballot ID requirement?
12· · · ·A.· The commercials encompassed both ID
13· requirements, both the in-person and the mail ballot
14· voter ID requirements.
15· · · ·Q.· Were those separate commercials or one
16· commercial that encompassed it?
17· · · ·A.· It would be one commercial.· It was a 30-second
18· TV commercial, one in English and one in Spanish.· And
19· both of those commercials addressed both the in-person
20· voter ID requirement that there were seven forms of ID
21· that you could use and there were alternates --
22· alternative options if you didn't possess and couldn't
23· reasonably obtain one.· And then if you're eligible to
24· vote by mail, that you need to provide a number.· And it
25· gave the four -- essentially four different types of ID




                             OCA-APPX-0236
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·1· numbers, and it showed pictures of them, where you need
·2· to write one of those numbers on your application and
·3· your carrier envelope.
·4· · · · · · · · And those four different types of ID
·5· numbers were your Texas driver's license number, your
·6· state ID number, your election identification
·7· certificate number, or the last four digits of your
·8· Social Security number.· And the -- the commercial
·9· visually showed those four different types of ID numbers
10· so that the voters who were eligible to vote by mail and
11· were considering voting by mail knew that they had to
12· provide a number to identify themselves with voting by
13· mail.
14· · · ·Q.· Were there any specific geographic media
15· markets that were the focus of the TV campaign?
16· · · ·A.· There wasn't any specific geographic markets
17· that were focused on the -- we placed TV advertisements
18· in all Texas markets and as well as radio advertisements
19· as well.· So it's a state-wide campaign.· We can't pick
20· and choose favorites.· We have to -- we have to make
21· sure that all TV markets in the state of Texas were
22· covered.
23· · · ·Q.· Do you know whether the spending was about the
24· same across geographic media markets?
25· · · · · · · · MS. HUNKER:· Objection.· Form.




                             OCA-APPX-0237
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·1· · · ·Q.· So just to be clear, is there any specifically
·2· directed toward counties?
·3· · · ·A.· No.· That 3.5 million is -- is all appropriated
·4· to our office.
·5· · · ·Q.· Did any counties get in touch with you about
·6· their own voter education efforts?
·7· · · ·A.· Did they proactively reach out to me?
·8· · · ·Q.· Right.
·9· · · ·A.· No.· We heard about, you know, through news
10· articles or through media or word of mouth that counties
11· were doing their own versions of education campaigns to
12· varying degrees.· But I didn't really have a knowledge
13· of what counties were doing at the local level,
14· certainly not earlier in the year.· Later, we did make
15· available those -- in those printout pamphlets,
16· educational pamphlets in English and Spanish, we made
17· those available for free for counties so that they -- as
18· part of the collateral, which is part of the budget, of
19· this voter education campaign.
20· · · · · · · · They print out physical materials to send
21· to these community events across the state.· We call it
22· the state-wide Texas grassroots tour.· And it would be
23· at community events, county fairs, senior expos,
24· concerts, cultural events, you know, farmers market,
25· flea markets, all these kinds of different events across




                             OCA-APPX-0238
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·1· the state.· And we needed, you know, physical handouts
·2· to hand out to people, one of which was a front and back
·3· English and Spanish guide on the in-person voter ID
·4· requirements.· And then another one was both an English
·5· and Spanish pamphlet on the vote by mail ID
·6· requirements, including all the information needed to
·7· know about which ID numbers to provide on those -- on
·8· those materials as well as where they can go track their
·9· ballot and drove them to votetexas.gov to -- to get more
10· information.
11· · · · · · · · But as part of that collateral development
12· and actually printing those materials, I made sure and I
13· asked our vendor specifically, please order an extra
14· stock so that if counties would like some additional
15· educational materials for them to give to their voters
16· or to have handy if voters have questions, that we can
17· give those materials, physical materials, to county
18· election offices to the extent that they request them.
19· And we -- I remember sending, or at least asking our
20· elections division, which they did, to send an e-mail
21· out to all county election officials saying, hey, we got
22· these materials available, please let us know if you
23· want any.· And a lot of the counties took us up on this.
24· A lot of the counties ordered those pamphlets for vote
25· by mail in English and Spanish, and we sent them in bulk




                             OCA-APPX-0239
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·1· free copies of those so that they could distribute those
·2· to voters who had questions or just make them available
·3· at any community events or voter registration drives or
·4· other kinds of events that they were doing.
·5· · · · · · · · So that was a way to sort of supplement the
·6· grassroots activities that we were doing on our
·7· campaign.· But making those available to the local
·8· county officials was one way that we worked with them.
·9· But as far as their money that was appropriated for
10· their own appropriations campaigns, I don't know
11· anything about what the counties did.· I just know what
12· we made available to them.
13· · · ·Q.· Besides the printouts and materials that you
14· just described, were there any other materials that the
15· SOS, you know, provided or made available to the
16· counties?
17· · · ·A.· As far as educational materials?
18· · · ·Q.· Educational materials, correct.
19· · · ·A.· I think -- I think those were the only ones
20· that we made available to them.· Of course, the digital
21· materials, we -- we had digital versions of all these
22· pamphlets, and, you know, made those available to them
23· to put on their websites.· Those were the only physical
24· materials that we made available to them.· But, of
25· course, we also -- similar mass e-mail out to counties




                             OCA-APPX-0240
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   Samuel Taylor                                                    March 29, 2023
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·1· · · · · · · · · · CHANGES AND SIGNATURE
·2· PAGE/LINE· · · · · · · ·CHANGE· · · · · · ·REASON
·3· ________________________________________________________
·4· ________________________________________________________
·5· ________________________________________________________
·6· ________________________________________________________
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     Samuel Taylor                                                    March 29, 2023
                                                                            Page 101


·1· · · · · · · · ·I, SAMUEL TAYLOR, have read the foregoing
· · deposition and hereby affix my signature that same is
·2· true and correct, except as noted above.

·3· · · · · · · · · · · · · · · ____________________________
· · · · · · · · · · · · · · · · SAMUEL TAYLOR
·4

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·6

·7· THE STATE OF TEXAS)

·8· COUNTY OF ________)

·9· · · · · · · · ·Before me, __________________________, on
· · this day personally appeared SAMUEL TAYLOR, known to me
10· (or proved to me under oath or through
· · ________________________) (description of identity card
11· or other document) to be the person whose name is
· · subscribed to the foregoing instrument and acknowledged
12· to me that they executed the same for the purposes and
· · consideration therein expressed.
13
· · · · · · · · · ·Given under my hand and seal of office
14· this _______ day of ____________, 2023.

15

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20· · · · · · · · · · · · · ·___________________________
· · · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
21· · · · · · · · · · · · · ·THE STATE OF TEXAS
· · · · · · · · · · · · · · ·MY COMMISSION EXPIRES:
22· · · · · · · · · · · · · ·___________________________

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                               OCA-APPX-0242
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   Samuel Taylor                                                    March 29, 2023
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3· · LA UNION DEL PUEBLO· · · · )
· · · ENTERO, ET AL.,· · · · · · )
·4· · · · · · Plaintiffs,· · · · )
· · · · · · · · · · · · · · · · ·)
·5· · VS.· · · · · · · · · · · · ) CIVIL ACTION NO.
· · · · · · · · · · · · · · · · ·) 5:21-CV-844 (XR)
·6· · STATE OF TEXAS, ET AL.,· · )
· · · · · · · Defendants.· · · · )
·7

·8· · · · · · · · · REPORTER'S CERTIFICATION
· · · · · · · · · · · ·ORAL DEPOSITION OF
·9· · · · · · · · · · · · SAMUEL TAYLOR
· · · · · · · · · · · · ·MARCH 29, 2023
10

11· · · · · · · · ·I, JAZZMEN CANALES, Certified Shorthand
· · Reporter in and for the State of Texas, hereby certify
12· to the following:

13· · · · · · · · ·That the witness, SAMUEL TAYLOR, was duly
· · sworn by the officer and that the transcript of the oral
14· deposition is a true record of the testimony given by
· · the witness;
15
· · · · · · · · · ·I further certify that pursuant to FRCP
16· Rule 30(f)(1) that the signature of the deponent

17· · · ·__X__ was requested by the deponent or a party
· · before the completion of the deposition and returned
18· within 30 days from date of receipt of the transcript.
· · If returned, the attached Changes and Signature Page
19· contains changes and the reasons therefor;

20· · · ·_____ was not requested by the deponent or a party
· · before the completion of the deposition.
21
· · · · · · · · · ·I further certify that I am neither
22· attorney nor counsel for, related to, nor employed by
· · any of the parties to the action in which this testimony
23· was taken.

24· · · · · · · · ·Further, I am not a relative or employee
· · of any attorney of record in this cause, nor do I have a
25· financial interest in the action.




                             OCA-APPX-0243
                                                                                 YVer1f
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 244 of 2308
     Samuel Taylor                                                    March 29, 2023
                                                                            Page 103


·1· · · · · · · · ·Subscribed and sworn to on this _____ day
· · of __________, 2023.
·2

·3

·4

·5

·6

·7· · · · · · · · · · JAZZMEN C. CANALES, Texas CSR 9344
· · · · · · · · · · · Expiration Date: 04/30/2025
·8· · · · · · · · · · MAGNA LEGAL SERVICES
· · · · · · · · · · · Firm Registration No. 633
·9· · · · · · · · · · 1635 Market Street
· · · · · · · · · · · Suite 800
10· · · · · · · · · · Philadelphia, Pennsylvania 19103
· · · · · · · · · · · Telephone:· 866-624-6621
11· · · · · · · · · · Facsimile:· 215-207-9462

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                 Exhibit 12




                         OCA-APPX-0245
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              Transcript of the Testimony of
                        Isabel Longoria


                                Date:
                           April 20, 2022



                                Case:
LA UNION DEL PUEBLO ENTERO V. GREGORY W. ABBOTT




                           OCA-APPX-0246
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 247 of 2308
     Isabel Longoria                                                       April 20, 2022
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·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · · · · WESTERN DISTRICT OF TEXAS
·3· · · · · · · · · · · · ·SAN ANTONIO DIVISION
·4
·5· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
·6· LA UNION DEL PUEBLO ENTERO, et al *
·7· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-844-XR
·8· GREGORY W. ABBOTT, et al· · · · · *
·9· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
10· OCA-GREATER HOUSTON, et al· · · · *
11· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 1:21-cv-780-XR
12· JOHN SCOTT, et al· · · · · · · · ·*
13· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
14· HOUSTON JUSTICE, et al· · · · · · *
15· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-848-XR
16· GREGORY WAYNE ABBOTT, et al· · · ·*
17· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
18· LULAC TEXAS, et al· · · · · · · · *
19· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 1:21-cv-0786-XR
20· JOHN SCOTT, et al· · · · · · · · ·*
21· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
22· MI FAMILIA VOTA, et al· · · · · · *
23· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-0920-XR
24· GREG ABBOTT, et al· · · · · · · · *
25· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

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                                 OCA-APPX-0247
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 248 of 2308
     Isabel Longoria                                                       April 20, 2022
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·1· UNITED STATES OF AMERICA· · · · · *
·2· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-1085-XR
·3· THE STATE OF TEXAS, et al· · · · ·*
·4· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
·5
·6· · · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
·7· · · · · · · · · · · · · ·ISABEL LONGORIA
·8· · · · · · · · · · · · · · APRIL 20, 2022
·9· · · · · · · · · · · · · · VOLUME 1 OF 2
10
11· · · · · · Oral and videotaped deposition of Isabel Longoria,
12· produced as a witness at the instance of the plaintiffs, and duly
13· sworn, was taken in the above-styled and numbered cause on April
14· 20, 2022, from 2:45 p.m. to 4:56 p.m., before Terrie Doyle
15· Escobar, CSR in and for the State of Texas, reported by oral
16· stenography, at the Office of the Texas Attorney General,
17· Consumer Protection Division, Houston Regional Office, 808 Travis
18· Street, Suite 1520, Houston, Texas· 77002, pursuant to Rule 30 of
19· the Federal Rules of Civil Procedure.
20· · · · · · · · · · · · · · *· *· *· *              *
21· APPEARANCES:
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24· · · ·MR. KENNETH E. BROUGHTON
25· · · ·REED SMITH, LLP

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24· FOR DEFENDANT YVONNE RAMON:
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·8· FOR PLAINTIFFS LULAC TEXAS and VOTO LATINO:
·9· · · ·MR. MIKE JONES (Present via Zoom)
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23· ALSO PRESENT:
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                                 OCA-APPX-0250
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19· EXHIBIT LONGORIA 12:· LETTER FROM ISABEL LONGORIA TO TEXAS
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21
22· EXHIBIT LONGORIA 13:· EMAILS FROM CHRISTINA ADKINS
23· AND KEITH INGRAM· . . . . . . . . . . . . . . . . . . . . . .· 33
24
25· EXHIBIT LONGORIA 14:· HOUSTON PUBLIC MEDIA ARTICLE· . . . . .· 56

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                                 OCA-APPX-0251
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   Isabel Longoria                                                       April 20, 2022
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·1· · · · · · · · · · · · P R O C E E D I N G S
·2· · · · · · · · ·THE VIDEOGRAPHER:· Good afternoon.· Today is
·3· Wednesday, April 20, 2022.· We're on the record.· The time is
·4· 2:45.· Would counsel present state appearances, please.
·5· · · · · · · · ·MR. BROUGHTON:· Kenneth Broughton, the firm of
·6· Reed Smith, for the -- all plaintiffs.
·7· · · · · · · · ·MS. BEELER:· Christina Beeler for the Harris
·8· County Attorney's Office for defendant Isabel Longoria.
·9· · · · · · · · ·MR. FOMBONNE:· Jonathan Fombonne, Harris County
10· Attorney's Office, also for Ms. Longoria.
11· · · · · · · · ·MR. THOMSON:· Will Thompson, Texas Attorney
12· General's Office representing the State defendants.
13· · · · · · · · · · · · · ·Isabel Longoria,
14· having been first duly sworn, testified as follows:
15· · · · · · · · · · · · · DIRECT EXAMINATION
16· BY MR. BROUGHTON:
17· · · ·Q.· ·Ms. Longoria, as I've said, my name is Kenneth
18· Broughton, and I represent -- and I'll tell you exactly who:· I'm
19· here on behalf, really, I think of all of the various plaintiffs
20· in these various lawsuits.· My specific clients are Houston
21· Justice, Houston Area Urban League, Delta Sigma Theta Sorority
22· Inc., The Arc of Texas, and Jeffrey Lamar Clements.· Okay?
23· · · · · · So again, you know, anytime anybody needs a break, if
24· you'll just say so.· You've done a great job earlier today about
25· asking for rewording or repeating a question.· So don't hesitate.

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   Isabel Longoria                                                       April 20, 2022
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·1· information is hidden under that flap.· Voters don't see that
·2· there's a space under the flap, don't know to include the
·3· information under the flap, think that because they've included
·4· that information on their application, they don't need to do it
·5· on the carrier envelope, and so you have missing ID numbers for
·6· that purpose.· And then that could be sent -- either sent back to
·7· you if you get a mail ballot back.· Voters have expressed
·8· frustrations at having to correct their mail ballots and having
·9· to go through that process and some have not returned their mail
10· ballots because of that.
11· · · · · · Let's keep moving forward.· So you've gone through all
12· of that process, again, assuming that the information in your
13· voter file is correct and matched up to your card, it requires
14· more time from our early voting ballot board and more resources
15· from our voter registration and mail ballot teams to research
16· someone's voter file to match those numbers; and then for the
17· early vote ballot board, to make those determinations if the
18· numbers match and then if the signatures match; further
19· complicated by the fact that if you are lacking a signature but
20· have an ID number that is correct, you by law can presume that
21· that mail ballot can be accepted, but even then it's a bit
22· ambiguous for the early voting ballot board, as I understand, on
23· when and how that should be applied.
24· · · · · · Then assuming you don't match numbers, you have six
25· days in the cure period to then come in person or return by mail

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   Isabel Longoria                                                       April 20, 2022
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·1· your mail ballot.· But if you can't come in person and if you
·2· can't return it by mail to cure your mail ballot, then you are
·3· effectively kind of out of options to cure your mail ballot even
·4· though you have the correct number, even though you could cure
·5· it.· So ultimately leading to about 20 percent of mail ballots in
·6· Harris County that were rejected by the early voting ballot board
·7· because of lack of ID or ID curing issue.
·8· · · · · · I'm happy to repeat any of that for the reporter.
·9· · · ·Q.· ·(Laughs.)
10· · · ·A.· ·I know that was quite a lengthy --
11· · · ·Q.· ·I have a question back to people being able to go
12· online and cure and things like that.· Has your office
13· experienced very many people who for whatever reason don't have a
14· computer or are not computer literate or that sort of thing?
15· · · ·A.· ·Yes.
16· · · ·Q.· ·Tell us about that.
17· · · ·A.· ·It tends to be older voters or voters without means who
18· more likely than not don't have access to a printer.· So they
19· might have access to the internet on their phone or get access to
20· internet through a community center or other means or may even
21· request that we print and send to them a mail ballot application.
22· But if you don't have a printer, then your option is to, you
23· know, call us or hope that another application has gotten to you
24· in some form.
25· · · · · · And then postage, individuals may not be aware or be

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   Isabel Longoria                                                       April 20, 2022
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·1· able to go out and purchase postage to send back their
·2· applications or mail ballots to our office.· I will say there's a
·3· caveat that any election mail received by our office without
·4· postage must be accepted by the U.S. Postal Service, but not all
·5· voters are aware that they can send election mail in the post and
·6· that it'll get to our office.
·7· · · ·Q.· ·I wouldn't have known that either, just like the
·8· buzzer.· (Laughs.)· Let's see here.
·9· · · ·A.· ·Oh, and I believe -- sorry.· I misspoke earlier.· In
10· the cure process, yeah, I said in person or by mail.· Yeah, those
11· are the items -- options for curing.
12· · · ·Q.· ·How does a voter know if their vote-by-mail application
13· has been accepted?
14· · · ·A.· ·Either, one, you receive a mail ballot -- so you can
15· presume that your mail ballot application has been accepted --
16· you can call our office, mail ballot department, to check on the
17· status of your mail ballot application, you can visit the Harris
18· County website or the Texas Secretary of State website if you're
19· able to access either of those websites to see the status of your
20· application, or you'll receive a letter, phone call, or email
21· from us if there for any reason is a reason -- if your
22· application was not accepted.
23· · · ·Q.· ·What are the reasons a vote-by-mail application might
24· be denied?
25· · · ·A.· ·Oh, boy.· A vote-by-mail application can be denied for

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                               OCA-APPX-0255
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     Isabel Longoria                                                       April 20, 2022
                                                                                  Page 65


·1· · · · · · · · · · · · CHANGES AND SIGNATURE
·2
·3· WITNESS NAME:· Isabel Longoria
·4· DATE OF DEPOSITION:· April 20, 2022 (Volume 1 of 2)
·5· PAGE· ·LINE· ·CHANGE· · · · · · · · · · · · ·REASON
·6· ________________________________________________________________
·7· ________________________________________________________________
·8· ________________________________________________________________
·9· ________________________________________________________________
10· ________________________________________________________________
11· ________________________________________________________________
12· ________________________________________________________________
13· ________________________________________________________________
14· ________________________________________________________________
15· ________________________________________________________________
16· ________________________________________________________________
17· ________________________________________________________________
18· ________________________________________________________________
19· ________________________________________________________________
20· ________________________________________________________________
21· ________________________________________________________________
22· ________________________________________________________________
23· ________________________________________________________________
24· ________________________________________________________________
25· ________________________________________________________________

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     Isabel Longoria                                                       April 20, 2022
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·1· · · · · · I, Isabel Longoria, have read the foregoing deposition
·2· and hereby affix my signature that same is true and correct,
·3· except as noted above.
·4
·5· · · · · · · · · · · · · · · · __________________________________
·6· · · · · · · · · · · · · · · · Isabel Longoria
·7
·8
·9· THE STATE OF TEXAS· · · · · *
10· COUNTY OF ________________           *
11· · · · · · Before me, ______________________________, on this day
12· personally appeared Isabel Longoria, known to me or proved to me
13· under oath of through ___________________________ to be the
14· person whose name is subscribed to the foregoing instrument and
15· acknowledged to me that they executed the same for the purposes
16· and consideration therein expressed.
17· · · · · · Given under my hand and seal of office this ______ day
18· of _______________, 2022.
19
20
21· · · · · · · · · · · · · · · · __________________________________
22· · · · · · · · · · · · · · · · NOTARY PUBLIC IN AND FOR
23· · · · · · · · · · · · · · · · THE STATE OF TEXAS
24
25

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                                 OCA-APPX-0257
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     Isabel Longoria                                                       April 20, 2022
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·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · · · · WESTERN DISTRICT OF TEXAS
·3· · · · · · · · · · · · ·SAN ANTONIO DIVISION
·4
·5· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
·6· LA UNION DEL PUEBLO ENTERO, et al *
·7· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-844-XR
·8· GREGORY W. ABBOTT, et al· · · · · *
·9· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
10· OCA-GREATER HOUSTON, et al· · · · *
11· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 1:21-cv-780-XR
12· JOHN SCOTT, et al· · · · · · · · ·*
13· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
14· HOUSTON JUSTICE, et al· · · · · · *
15· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-848-XR
16· GREGORY WAYNE ABBOTT, et al· · · ·*
17· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
18· LULAC TEXAS, et al· · · · · · · · *
19· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 1:21-cv-0786-XR
20· JOHN SCOTT, et al· · · · · · · · ·*
21· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
22· MI FAMILIA VOTA, et al· · · · · · *
23· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-0920-XR
24· GREG ABBOTT, et al· · · · · · · · *
25· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

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                                 OCA-APPX-0258
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     Isabel Longoria                                                       April 20, 2022
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·1· UNITED STATES OF AMERICA· · · · · *
·2· v.· · · · · · · · · · · · · · · · *· · ·CASE NO. 5:21-cv-1085-XR
·3· THE STATE OF TEXAS, et al· · · · ·*
·4· * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
·5
·6· · · · · · · · · · · ·REPORTER'S CERTIFICATION
·7· · · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
·8· · · · · · · · · ·ISABEL LONGORIA (VOLUME 1 OF 2)
·9· · · · · · · · · · · · · · APRIL 20, 2022
10
11· · · · · · I, Terrie Doyle Escobar, Certified Shorthand Reporter
12· in and for the State of Texas, hereby certify to the following:
13· · · · · · That the witness, Isabel Longoria, was duly sworn by
14· the officer and that the transcript of the oral deposition is a
15· true record of the testimony given by the witness;
16· · · · · · That the deposition transcript was submitted on
17· ________________________, 2022 to the witness or to the attorney
18· for the witness for examination, signature, and return to me by
19· ________________________, 2022;
20· · · · · · That the amount of time used by each party at the
21· deposition is as follows:
22· · · · · · Mr. Kenneth E. Broughton - 1:44 (1 hour, 44 minutes)
23· · · · · · (All other parties used zero minutes.);
24· · · · · · That pursuant to information given to the deposition
25· officer at the time said testimony was taken, the following

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     Isabel Longoria                                                       April 20, 2022
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·1· includes counsel for all parties of record:
·2· · · · · · Mr. Kenneth E. Broughton, Attorney for Plaintiffs; Mr.
·3· Jonathan Fombonne and Ms. Christina Beeler, Attorneys for
·4· Defendant Isabel Longoria; Mr. William T. Thompson, Attorney for
·5· State Defendants; Ms. Josephine Ramirez Solis, Attorney for
·6· Defendant Yvonne Ramon; Mr. Mike Jones, Attorney for Plaintiffs
·7· LULAC Texas and Voto Latino; Mr. L. Brady Bender, Attorney for
·8· Plaintiff United States of America;
·9· · · · · · I further certify that I am neither counsel for,
10· related to, nor employed by any of the parties or attorneys in
11· the action in which this proceeding was taken, and further that I
12· am not financially or otherwise interested in the outcome of the
13· action.
14· · · · · · Further certification requirements pursuant to Rule 203
15· of TRCP will be certified to after they have occurred.
16· · · · · · Certified to by me this 27th day of May, 2022.
17
18
19· · · · · · · · · · · · · ·_______________________________________
20· · · · · · · · · · · · · ·TERRIE DOYLE ESCOBAR, Texas CSR #11099
21· · · · · · · · · · · · · ·Expiration Date: July 31, 2023
22· · · · · · · · · · · · · ·Firm Registration No. 11909
23· · · · · · · · · · · · · ·Steno Agency, Inc.
24· · · · · · · · · · · · · ·315 W. 9th Street, Suite 807
25· · · · · · · · · · · · · ·Los Angeles, California· 90015

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     Isabel Longoria                                                       April 20, 2022
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·1· · · · · · · FURTHER CERTIFICATION UNDER RULE 203 TRCP
·2· · · · · · The original deposition was/was not returned to the
·3· deposition officer on ____________________________;
·4· · · · · · If returned, the attached changes and signature page
·5· contains any changes and the reasons therefore;
·6· · · · · · If returned, the original deposition was delivered to
·7· Mr. Kenneth E. Broughton, custodial attorney;
·8· · · · · · That $_________ is the deposition officer's charges to
·9· the plaintiffs for preparing the original deposition transcript
10· and any copies of exhibits;
11· · · · · · That the deposition was delivered in accordance with
12· Rule 203.3, and that a copy of this certificate was served on all
13· parties shown herein on and filed with the clerk.
14· · · · · · Certified to by me this _____ day of _______________,
15· 2022.
16
17
18· · · · · · · · · · · · · ·______________________________________
19· · · · · · · · · · · · · ·TERRIE DOYLE ESCOBAR, Texas CSR #11099
20· · · · · · · · · · · · · ·Expiration Date: July 31, 2023
21· · · · · · · · · · · · · ·Firm Registration No. 11909
22· · · · · · · · · · · · · ·Steno Agency, Inc.
23· · · · · · · · · · · · · ·315 W. 9th Street, Suite 807
24· · · · · · · · · · · · · ·Los Angeles, California· 90015
25· · · · · · · · · · · · · ·Phone: 888-707-8366

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Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 262 of 2308




                 Exhibit 13




                         OCA-APPX-0262
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 263 of 2308
   Jennifer Colvin                                                  March 21, 2023
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3
· · ·LA UNION DEL PUEBLO· · · ·§
·4· ·ENTERO, et al.,· · · · · ·§
· · · · · Plaintiffs,· · · · · §
·5· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· Case No. 5:21-cv-844-XR
·6· · · · · · · · · · · · · · ·§
· · ·GREGORY W. ABBOTT, et· · ·§
·7· ·al.,· · · · · · · · · · · §
· · · · · Defendants,· · · · · §
·8· · · · · · · · · · · · · · ·§
· · ·_______________________· ·§
·9· · · · · · · · · · · · · · ·§
· · ·OCA-GREATER HOUSTON, et· ·§
10· ·al.,· · · · · · · · · · · §
· · · · · Plaintiffs,· · · · · §
11· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· Case No. 1:21-cv-780-XR
12· · · · · · · · · · · · · · ·§
· · ·JANE NELSON, et. al.,· · ·§
13· · · · Defendants,· · · · · §
· · · · · · · · · · · · · · · ·§
14· ·_______________________· ·§
· · · · · · · · · · · · · · · ·§
15· ·HOUSTON JUSTICE, et· · · ·§
· · ·al.,· · · · · · · · · · · §
16· · · · Plaintiffs,· · · · · §
· · · · · · · · · · · · · · · ·§
17· ·v.· · · · · · · · · · · · §· Case No. 5:21-cv-848-XR
· · · · · · · · · · · · · · · ·§
18· ·GREGORY WAYNE ABBOTT,· · ·§
· · ·et al.,· · · · · · · · · ·§
19· · · · Defendants,· · · · · §
· · · · · · · · · · · · · · · ·§
20· ·_______________________· ·§
· · · · · · · · · · · · · · · ·§
21· ·LULAC Texas, et al.,· · · §
· · · · · Plaintiffs,· · · · · §
22· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· Case No. 1:21-cv-0786-XR
23· · · · · · · · · · · · · · ·§
· · ·JANE NELSON, et al.,· · · §
24· · · · Defendants,· · · · · §
· · · · · · · · · · · · · · · ·§
25· ·_______________________· ·§




                             OCA-APPX-0263
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 264 of 2308
     Jennifer Colvin                                                  March 21, 2023
                                                                              Page 2


·1· ·MI FAMILIA VOTA, et· · · ·§
· · ·al.,· · · · · · · · · · · §
·2· · · · Plaintiffs,· · · · · §
· · · · · · · · · · · · · · · ·§
·3· ·v.· · · · · · · · · · · · §· Case No. 5:21-cv-0920-XR
· · · · · · · · · · · · · · · ·§
·4· ·GREG ABBOTT, et al.,· · · §
· · · · · Defendants.· · · · · §
·5

·6

·7

·8

·9· · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF

10· · · · · · · · · · · · JENNIFER COLVIN

11· · · · · · · · · · · · MARCH 21, 2023

12

13

14

15· · · · ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER COLVIN,

16· ·produced as a witness at the instance of the Defendants

17· ·and duly sworn, was taken in the above styled and

18· ·numbered cause on Tuesday, March 21, 2023, from

19· ·12:20 p.m. to 3:43 p.m., before DONNA QUALLS, Notary

20· ·Public in and for the State of Texas, reported by

21· ·computerized stenotype machine, at the offices of Harris

22· ·County Attorney's Office, 1019 Congress Street, 15th

23· ·Floor, Houston, Texas, pursuant to the Federal Rules of

24· ·Civil Procedure, and any provisions stated on the record

25· ·or attached hereto.




                               OCA-APPX-0264
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 265 of 2308
   Jennifer Colvin                                                  March 21, 2023
                                                                            Page 3


·1· · · · · · · · · · ·A P P E A R A N C E S

·2
· · ·FOR THE HARRIS COUNTY ELECTIONS ADMINISTRATOR:
·3· · · · SAMEER S. BIRRING
· · · · · TIFFANY BINGHAM
·4· · · · OFFICE OF THE HARRIS COUNTY ATTORNEY CHRISTIAN
· · · · · D. MENEFEE
·5· · · · 1019 Congress, 15th Floor
· · · · · Houston, Texas· 77002
·6· · · · (713) 274-5142
· · · · · sameer.birring@harriscountytx.gov
·7

·8· ·FOR THE HOUSTON AREA URBAN LEAGUE (HAUL) PLAINTIFFS:
· · · · · JENNIFER A. HOLMES
·9· · · · NAACP Legal Defense and Educational Fund, Inc.
· · · · · 700 14th Street N.W., Suite 600
10· · · · Washignton, District of Columbia· 20005
· · · · · (347) 573-0197
11· · · · jholmes@naacpldf.org

12
· · ·FOR THE UNITED STATES:
13· · · · DANA PAIKOWSKY
· · · · · U.S. DEPARTMENT OF JUSTICE
14· · · · 950 Pennsylvania Avenue, NW
· · · · · Washington, District of Columbia· 20530
15· · · · (202) 353-5225
· · · · · dana.paikowsky@usdoj.gov
16

17· ·FOR THE STATE DEFENDANTS:
· · · · · KATHLEEN T. HUNKER
18· · · · OFFICE OF THE ATTORNEY GENERAL
· · · · · P.O. BOX 12548 (MC-009)
19· · · · AUSTIN, TEXAS· 78711-2548
· · · · · (512) 463-2100
20· · · · kathleen.hunker@oag.texas.gov

21
· · ·Also Present:
22· · · · STEPHEN KENNY (Via Zoom)
· · · · · BRADLEY PROWANT (Via Zoom)
23· · · · BREANNA WILLIAMS, NAACP (Via Zoom)
· · · · · CARRIE LEBEL (Via Zoom)
24· · · · GERMAINE HABELL (Via Zoom)
· · · · · JOHN GORE, GOP (Via Zoom)
25· · · · JOHN SULLIVAN BAKER, DOJ (Via Zoom)




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      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 266 of 2308
     Jennifer Colvin                                                  March 21, 2023
                                                                              Page 4


·1· ·LEIGH TOGNETTI (Via Zoom)
· · ·LISA CUBRIEL, BEXAR COUNTY (Via Zoom)
·2· ·LUCIA ROMANO (Via Zoom)
· · ·MIKE STEWART, DOJ (Via Zoom)
·3· ·URUJ SHEIKH, LDF (Via Zoom)
· · ·ZACHARY DOLLING, TCRP, OCA (Via Zoom)
·4· ·REGGIE WRIGHT, THE VIDEOGRAPHER

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·1· · · · Q.· (BY MS. HUNKER)· Sure.
·2· · · · A.· -- asking.
·3· · · · Q.· You are an offline county, correct?
·4· · · · A.· Correct.
·5· · · · Q.· And what is the system that y'all use?
·6· · · · A.· VOTEC.
·7· · · · Q.· Okay.· And so when you receive a application
·8· ·for ballot by mail or a ballot, you mentioned that you
·9· ·check to see whether or not the number is in the voter
10· ·record, correct?
11· · · · A.· Correct.
12· · · · Q.· And so you were looking at VOTEC -- what was it
13· ·again?
14· · · · A.· VOTEC.
15· · · · Q.· VOTEC.· You were looking at VOTEC system to
16· ·check the voter record; is that correct?
17· · · · A.· Correct.
18· · · · Q.· When you were making that check like when you
19· ·were looking at the record, were you noticing that fewer
20· ·voters did not have a -- either a driver's license ID
21· ·number or social security number?
22· · · · · · · · ·MS. HOLMES:· Objection --
23· · · · A.· In the voter management system.
24· · · · Q.· (BY MS. HUNKER)· Yes.
25· · · · · · · · ·MS. HOLMES:· Objection to form.




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·1· ·May location election; is that correct?
·2· · · · A.· I can't agree to that one.· I don't know that
·3· ·percentage rate.
·4· · · · Q.· Okay.· And would you agree that Harris County
·5· ·made significant progress in reducing the mail ballot
·6· ·rejection rate between the primary and the November 2022
·7· ·general election?
·8· · · · · · · · ·MS. HOLMES:· Objection; form.
·9· · · · · · · · ·MS. PAIKOWSKY:· Objection; form.
10· · · · · · · · ·MS. HUNKER:· You can --
11· · · · A.· Yes.
12· · · · Q.· (BY MS. HUNKER)· Was that a "yes"?
13· · · · A.· Yes.
14· · · · Q.· And how did Harris County work to reduce that
15· ·number?
16· · · · A.· We inserted -- when we mailed out application
17· ·requests that voters called in -- request that
18· ·application, we sent out a flyer with it making sure
19· ·they knew they needed to include the new law
20· ·requirements for the ID.· We also did the same with the
21· ·ballot.
22· · · · Q.· And did you notice that if your efforts
23· ·resonated with voters?
24· · · · · · · · ·MS. HOLMES:· Objection to form.
25· · · · · · · · ·MS. HUNKER:· Let me rephrase.




                             OCA-APPX-0269
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·1· · · · Q.· (BY MS. HUNKER)· Did you observe whether your
·2· ·efforts at informing voters about the ID requirement
·3· ·clarified any confusion that the voters may have had
·4· ·about the requirement?
·5· · · · · · · · ·MS. PAIKOWSKY:· Objection to form.
·6· · · · A.· I believe it did.
·7· · · · Q.· (BY MS. HUNKER)· And you can put this aside.
·8· ·Going to introduce Exhibit No. 13.
·9· · · · · · · · ·(Exhibit No. 13 was marked.)
10· · · · Q.· (BY MS. HUNKER)· Do you have the exhibit in
11· ·front of you?
12· · · · A.· I do.
13· · · · Q.· And do you recognize this exhibit?
14· · · · A.· I do.
15· · · · Q.· And what is it?
16· · · · A.· It's the insert for the ballot.
17· · · · Q.· Okay.· And just for clarification of the
18· ·record, you'll see at the bottom there are Bates numbers
19· ·that say TATUM_005338.
20· · · · · · · · ·Did I read that correctly?
21· · · · A.· Yes.
22· · · · Q.· And so this is the insert that you put into
23· ·your balloting materials to inform voter of the ID
24· ·requirement; is that correct?
25· · · · A.· Correct.




                             OCA-APPX-0270
                                                                                 YVer1f
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·1· · · · Q.· Is this different than the insert that you
·2· ·included in the either primary elections or the runoff?
·3· · · · A.· It is --
·4· · · · Q.· And --
·5· · · · A.· Similar but different.
·6· · · · Q.· And what differences were made?
·7· · · · A.· We added a visual.· Like the section where
·8· ·the -- this is the actual part of the ballot they have
·9· ·to fill out; so they can reference it to the envelope.
10· · · · Q.· And did you get any feedback from voters about
11· ·the change?
12· · · · A.· No.
13· · · · Q.· And if you turn the page over, you'll notice
14· ·that it is in a different language, correct?
15· · · · A.· Correct.
16· · · · Q.· And I believe you included inserts in -- you
17· ·had inserts for four different languages; is that right?
18· · · · A.· Correct.
19· · · · Q.· And that would have been English, Spanish,
20· ·Vietnamese, and Chinese; is that right?
21· · · · A.· That's correct.
22· · · · Q.· Did you provide inserts in any other language?
23· · · · A.· Other than the four?
24· · · · Q.· Yes.
25· · · · A.· No.




                             OCA-APPX-0271
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·1· · · · Q.· Okay.· Did you...
·2· · · · A.· That's a different department.
·3· · · · Q.· Okay.· Do you know if you were able to -- when
·4· ·you were checking the numbers, was able to access the
·5· ·TEAM's system, if needed?
·6· · · · A.· Yes.
·7· · · · Q.· And so I had asked a couple of questions
·8· ·regarding accommodation for disabilities with the last
·9· ·witness, but she had mentioned she thought you would be
10· ·a better person with respect to the vote by mail.· And
11· ·so I'm going to ask these questions.· If you do not know
12· ·the answer, just state so.
13· · · · · · · · ·You are aware --
14· · · · A.· Oh --
15· · · · Q.· -- voters with disabilities have the option of
16· ·requesting an accommodation or change to normal voting
17· ·procedures, correct?
18· · · · A.· Correct.
19· · · · Q.· To your knowledge, did your office receive any
20· ·requests for accommodation regarding the requirement
21· ·that mail-in voters put their social security number or
22· ·ID number on the application for ballot by mail?
23· · · · A.· We did have some voters that couldn't come into
24· ·the building.· So we would take a clipboard and go out
25· ·to them.




                             OCA-APPX-0272
                                                                                 YVer1f
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·1· ·BY MS. PAIKOWSKY:
·2· · · · Q.· Good afternoon, Ms. Colvin.
·3· · · · A.· Hello.
·4· · · · Q.· My name is Dana Paikowsky.· I am with the
·5· ·Department of Justice, and I'm going to pick up on the
·6· ·thread of asking you some questioning about mail voting
·7· ·during the November 2022 general election.· So to begin,
·8· ·during the last deposition, the person who testified on
·9· ·behalf of the Harris County election officials -- or
10· ·Election Administrator's Office testified that voters
11· ·had difficulty with SB1's mail ballot identification
12· ·requirement.
13· · · · · · · · ·Was that still true during the
14· ·November 2022 general election?
15· · · · · · · · ·MS. HUNKER:· Objection; form.· Lack of
16· ·foundation.
17· · · · A.· Voters still did have issues as far as
18· ·providing the ID.· They would forget to put it on there,
19· ·or they didn't feel comfortable providing it even though
20· ·it was covered.
21· · · · Q.· (BY MS. PAIKOWSKY)· Did any voters -- strike
22· ·that.
23· · · · · · · · ·Were any voters confused -- sorry.· Strike
24· ·that.
25· · · · · · · · ·Do you have any reason to believe that




                             OCA-APPX-0273
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·1· ·voters were confused by SB1's mail ballot identification
·2· ·provision during the November '21 -- November 2002
·3· ·general election period?
·4· · · · A.· Yes.
·5· · · · Q.· And what gave you that impression?
·6· · · · A.· Because they would not realize that they need
·7· ·to put it on there.· They feel like, if they put it on
·8· ·their application, they didn't need to include it on the
·9· ·ballot or vice versa.· They didn't feel like they needed
10· ·to include it on both.
11· · · · Q.· Did any voters have difficulty during the
12· ·November 2022 general election with which ID they needed
13· ·to provide on either their ABBM or carrier envelope?
14· · · · A.· Can you clarify your question?
15· · · · Q.· Yes.· So did any voters have difficulty
16· ·either -- I'm sorry.· Scratch that.· Withdrawn.
17· · · · · · · · ·So during the November 2022 general
18· ·election, did any voters have difficulty complying with
19· ·the identif- -- mail ballot identification requirement
20· ·because they put down the wrong ID number?
21· · · · A.· We did have voters put down the wrong --
22· ·they -- what do you mean by wrong ID?· Let me clarify
23· ·that first.
24· · · · Q.· What do you mean by wrong ID?
25· · · · A.· Okay.· Wrong ID to me means they gave us the




                             OCA-APPX-0274
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·1· ·them by the type of app because we have different
·2· ·campaign apps that come in and the reason that they've
·3· ·voting by mail so they can all be together.
·4· · · · Q.· And what do you do next?
·5· · · · A.· We get them in.· We barcode them.· We sort
·6· ·them.· Then we image them.· And we put them in batches
·7· ·of 25 for the processors to process.
·8· · · · Q.· And so what happens after that?
·9· · · · A.· We look them up in the voter management system
10· ·to see if they qualify.· We compare the IDs.· We make
11· ·sure the person -- if you can with read the signature --
12· ·the signature is the person that actually is on the app.
13· ·And then we enter them to receive a ballot if they're
14· ·good.
15· · · · Q.· And how do you -- so -- so the first step you
16· ·mentioned was you look them up in the...
17· · · · A.· V-Max.
18· · · · Q.· V-Max.· And what is V-Max?
19· · · · A.· It's the voter management system.
20· · · · Q.· The voter management system.· And so how do you
21· ·look up the voter in the voter management system?
22· · · · A.· Depending on the app.· Some apps come with a
23· ·barcode that's directly linked to the voter.· If not, we
24· ·look them up first name, last name, date of birth,
25· ·whatever information that we need to find them in the




                             OCA-APPX-0275
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·1· ·system.
·2· · · · Q.· And after that, you look to see whether the
·3· ·identification numbers match?
·4· · · · A.· Yes, in the voter file.
·5· · · · Q.· Has the process by which your office does this
·6· ·intake changed -- has it changed since the March
·7· ·primary?
·8· · · · A.· No.
·9· · · · Q.· So along the same lines, can you take me
10· ·through how your office -- and this is a question again
11· ·about the mechanical processing.· I know you talked a
12· ·little before about how EVBB's SV --
13· · · · A.· C.
14· · · · Q.· -- Cs process ballots when they come in.· At
15· ·what point in the process do either the SVBs [sic] or
16· ·the EVBBs look up a voter in the system?
17· · · · A.· When they start verifying signatures, they'll
18· ·go into the ballot board module, and they can see the
19· ·voter's profile -- well, on the system itself, it shows
20· ·the voters -- each.· It's a list of 25 -- well, now
21· ·we're up to 100 voters per batch.· But it will list
22· ·their ID and -- any ID that's linked to them in the
23· ·system will be on their profile.
24· · · · Q.· So taking a step back, how do you match a
25· ·ballot to a voter in the system?




                             OCA-APPX-0276
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·1· · · · A.· We image it.· And it's linked through a
·2· ·barcode.
·3· · · · Q.· Through a barcode.· So the barcode identifies
·4· ·which voter the ballot belongs to and pulls up that
·5· ·voter's --
·6· · · · A.· The carrier envelope to be clear.· Not the
·7· ·actual ballot.
·8· · · · Q.· Correct.
·9· · · · A.· Yeah.
10· · · · Q.· Okay.· So there's a barcode that corresponds
11· ·between the carrier envelope and the voter itself, and
12· ·that automatically pulls up the voter's file, and that
13· ·allows you to compares the IDs?
14· · · · A.· Well, that links the image to the voter's file.
15· ·And then when the ballot board goes in to view them,
16· ·that's where they compare the IDs.
17· · · · Q.· Does your office use the driver's license and
18· ·SSN for any purpose beyond determining whether the mail
19· ·ballot can be accepted in light of Senate Bill 1?
20· · · · A.· No.
21· · · · Q.· Does your office use the driver's license or
22· ·social security number for any purpose beyond
23· ·determining whether an absentee ballot by mail request
24· ·form can be accepted in light of Senate Bill 1?
25· · · · A.· As far as ballot by mail, no.




                             OCA-APPX-0277
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·1· ·bring down the rejection rate further?
·2· · · · A.· Possibly.
·3· · · · Q.· And what would those be?
·4· · · · A.· I -- I -- can't speak on that right off the top
·5· ·of my head.· It would have to be something we would
·6· ·implement amongst our team.
·7· · · · Q.· Do you have any plans to take any additional
·8· ·steps beyond those we've already discussed?
·9· · · · A.· Not at this point.
10· · · · Q.· So you mentioned earlier that your office uses
11· ·the form provided by the secretary of state's office as
12· ·the ABBM form that you provide to voters.· Does that
13· ·form ask voters to provide either an ID number or a
14· ·social security for?
15· · · · A.· It asks for them to provide the number, yes.
16· · · · Q.· In the November 2022 general election, were
17· ·there voters who had an issue with their ballot, an ID
18· ·issue with their ballot, who did not provide a phone
19· ·number or an e-mail address?
20· · · · A.· Yes.
21· · · · Q.· How did you contact those voters to let them
22· ·know of the issue?
23· · · · A.· Via mail.
24· · · · Q.· Were there some voters you were not able to get
25· ·in touch with?




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·1· · · · · · · · ·MS. HUNKER:· Objection; form.
·2· · · · A.· Not that I'm aware of.· Everybody received a
·3· ·letter whether they got a phone call or an e-mail.
·4· · · · Q.· (BY MS. PAIKOWSKY)· In the November 2022
·5· ·general election, were there voters who did not pick up
·6· ·the phone when they were called, again, to deliver
·7· ·notice that there was a ballot defect because of an ID
·8· ·issue?
·9· · · · A.· Yes.
10· · · · Q.· In the November 2022 general election, were
11· ·there voters in your county whose mail ballot rejection
12· ·notice could not be mailed until it was too late to cure
13· ·an ID issue?
14· · · · · · · · ·MS. HUNKER:· Objection; form.
15· · · · A.· No.
16· · · · Q.· (BY MS. PAIKOWSKY)· You mentioned earlier that
17· ·there had been delay issues because of USPS during that
18· ·2022 general election.· Did that have any impact on the
19· ·time period that voters have to receive notice and cure
20· ·ABBM and ballot defects?
21· · · · A.· I can answer from my own opinion, but I can't
22· ·speak -- I mean -- the local post office told us it
23· ·could take approximately ten days to deliver a local
24· ·piece of mail.
25· · · · Q.· And what impact would that have on your ability




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·1· · · · A.· Yes.
·2· · · · Q.· Okay.· And that states that the caller was
·3· ·upset due to a -- "due to carrier envelope defect
·4· ·letter.· And she stated she put her TDL and last four of
·5· ·SSN on it and don't understand why it was rejected for a
·6· ·third time.· Transferred to Desiree with VBM department
·7· ·for answers."
·8· · · · · · · · ·Did I read that correctly?
·9· · · · A.· Yes.
10· · · · Q.· Were you aware of any voters who had their
11· ·ballots rejected -- their ballot by mail rejected
12· ·multiple times due to ID issues?
13· · · · A.· I'm aware --
14· · · · · · · · ·MS. HUNKER:· Objection; form.
15· · · · A.· I'm aware of instances where we -- at the -- we
16· ·would mail the ballot back to the voter because they
17· ·didn't include their ID, and they would mail it back
18· ·without the ID again.· And that's when they would be
19· ·switched to an E-7 status which allowed them the six
20· ·days to cure.· But we would call them and e-mail them
21· ·and mail them another letter stating you still didn't
22· ·provide your ID or they provide mixmatch ID.· They
23· ·provided one, and we didn't have it in our system.
24· · · · Q.· (BY MS. HOLMES)· So sometimes the rejection
25· ·would happen more than once and you have to send it back




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·1· ·the November 2022 election and prior elections?
·2· · · · A.· SB1 law changes for the ID requirements.
·3· · · · Q.· In the process of enforcing SB1's ID
·4· ·requirements in the November 2022 election, did your
·5· ·office identify any instances of voter fraud?
·6· · · · A.· No.
·7· · · · · · · · ·MS. HOLMES:· Okay.· I think that is all for
·8· ·me.
·9· · · · · · · · ·MS. PAIKOWSKY:· Do you want to --
10· · · · · · · · ·MS. HOLMES:· Sorry.· I was going to ask to
11· ·go of the record for like two minutes and then I'll
12· ·probably be able to pass the witness.
13· · · · · · · · ·THE VIDEOGRAPHER:· We are going off the
14· ·record at 3:15 p.m.
15· · · · · · · · ·(Recess from 3:15 p.m. to 3:24 p.m.)
16· · · · · · · · ·THE VIDEOGRAPHER:· We're back on the record
17· ·at 3:24 p.m.· Sorry.
18· · · · Q.· (BY MS. HOLMES)· All right.· Ms. Colvin, I just
19· ·have two more questions for you.
20· · · · · · · · ·With respect to voters whose ABB -- ABBMs
21· ·contained missing or mismatched ID numbers, is it
22· ·accurate to say that your office attempted to provide
23· ·every opportunity to cure if possible?
24· · · · A.· Yes.
25· · · · Q.· And with -- with respect to voters whose




                             OCA-APPX-0281
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·1· ·carrier envelopes contained missing or mismatched ID
·2· ·numbers, is it accurate to say that your office
·3· ·attempted to provide every opportunity to cure?
·4· · · · A.· Yes.
·5· · · · · · · · ·MS. HOLMES:· That's it for me.
·6· · · · · · · · ·MS. PAIKOWSKY:· Do we have anybody on the
·7· ·line who wants to ask any additional questions?
·8· · · · · · · · ·Hearing nothing --
·9· · · · · · · · ·MS. HUNKER:· Okay.
10· · · · · · · · ·MS. PAIKOWSKY:· Should we go off the record
11· ·briefly and then back on?
12· · · · · · · · ·MS. HUNKER:· We can to that.
13· · · · · · · · ·MS. PAIKOWSKY:· Yeah.· Can we go off the
14· ·record just for one minute?
15· · · · · · · · ·THE VIDEOGRAPHER:· We are going off the
16· ·record at 3:25 p.m.
17· · · · · · · · ·(Recess from 3:25 p.m. to 3:27 p.m.)
18· · · · · · · · ·THE VIDEOGRAPHER:· We are back on the
19· ·record at 3:27 p.m.
20· · · · · · · · · · · FURTHER EXAMINATION
21· ·BY MS. HUNKER:
22· · · · Q.· All right.· Ms. Colvin, I shouldn't take too
23· ·long, but I wanted to touch base with you on a couple of
24· ·questions the other counsel asked as well as the
25· ·document that was issued during our lunch break.




                             OCA-APPX-0282
                                                                                 YVer1f
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·1· ·you inform the secretary of state's office to update the
·2· ·TEAM's database?
·3· · · · A.· No.
·4· · · · Q.· And do you know if there's -- if there's a
·5· ·policy or procedure that perhaps your tech division has
·6· ·with respect to updating?
·7· · · · A.· I don't know.
·8· · · · Q.· Okay.· If the county database only has one
·9· ·number but the TEAM's database has two numbers and the
10· ·number the voter put is the one that was in the TEAM's
11· ·database but not the one in the county's database, you
12· ·would accept that ballot; is that correct?
13· · · · A.· Correct.
14· · · · Q.· There's an option for voters with disabilities
15· ·as well as voters over 65 to submit an application for
16· ·ballot by mail for the entire year, correct?
17· · · · A.· Correct.· Annual.
18· · · · Q.· And you've already started receiving annual
19· ·applications for the 2023?
20· · · · A.· That's correct.
21· · · · Q.· And did you notice fewer rejections for the
22· ·applications that were submitted this year due to the ID
23· ·mismatch or lack of ID as compared to previous elections
24· ·in 2022?
25· · · · A.· I haven't analyzed that data, but we're




                             OCA-APPX-0283
                                                                                 YVer1f
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·1· · · · · · · · · · · · · ERRATA PAGE
·2· ·WITNESS NAME:· JENNIFER COLVIN· · · DATE:· 03/21/2023
·3· ·PAGE· LINE· CHANGE· · · · · · · ·REASON
·4· ·________________________________________________________
·5· ·________________________________________________________
·6· ·________________________________________________________
·7· ·________________________________________________________
·8· ·________________________________________________________
·9· ·________________________________________________________
10· ·________________________________________________________
11· ·________________________________________________________
12· ·________________________________________________________
13· ·________________________________________________________
14· ·________________________________________________________
15· ·________________________________________________________
16· ·________________________________________________________
17· ·________________________________________________________
18· ·________________________________________________________
19· ·________________________________________________________
20· ·________________________________________________________
21· ·________________________________________________________
22· ·________________________________________________________
23· ·________________________________________________________
24
25· · · · · · ·______________________________________________




                               OCA-APPX-0284
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·1· · · · I, JENNIFER COLVIN, have read the foregoing
· · ·transcript and hereby affix my signature that same is
·2· ·true and correct, except as noted above on the previous
· · ·pages(s), and that I am signing this before a Notary
·3· ·Public

·4
· · · · · · · · · · · · · · · · ·JENNIFER COLVIN
·5

·6· ·THE STATE OF· · · · · ·)
· · ·COUNTY OF· · · · · · · · · ·)
·7

·8
· · · · · Before me,· · · · · · · · · · · ·, on this day
·9· ·personally appeared, JENNIFER COLVIN, known to me or
· · ·proved to me under oath or through
10· ·(description of identity card or other document), to be
· · ·the person whose name is subscribed to the foregoing
11· ·instrument and acknowledged to me that they executed the
· · ·same for the purposes and consideration therein
12· ·expressed.

13· · · · Given under my hand and seal of office on this, the
· · ·_______ day of· · · · · · · · · · · · , 2023.
14

15

16· · · · · · · · · · · · · Notary Public in and for
· · · · · · · · · · · · · · The State of Texas
17· · · · · · · · · · · · · Commission Expires: ___________

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                               OCA-APPX-0285
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                                                                            Page 106


·1· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · · · · ORAL DEPOSITION OF
·2· · · · · · · · · · · · JENNIFER COLVIN
· · · · · · · · · · · ·TAKEN MARCH 21, 2023
·3

·4

·5· · · · · · ·I, DONNA QUALLS, Shorthand Reporter and Notary

·6· ·Public in and for the State of Texas, hereby certify to

·7· ·the following:

·8· · · · · · ·That the witness, JENNIFER COLVIN, was duly

·9· ·sworn by the officer and that the transcript of the oral

10· ·deposition is a true record of the testimony given by

11· ·the witness;

12· · · · · · ·That the original deposition was delivered to

13· ·SAMEER S. BIRRING / KATHLEEN T. HUNKER;

14· · · · · · ·That a copy of this certificate was served on

15· ·all parties and/or the witness shown herein on

16· ·__________________________.

17· · · · · · ·I further certify that pursuant to FRCP No.

18· ·30(f)(i) that the signature of the deponent was

19· ·requested by the deponent or a party before the

20· ·completion of the deposition and that the signature is

21· ·to be returned within 30 days from date of receipt of

22· ·the transcript.· If returned, the attached Changes and

23· ·Signature Page contains any changes and the reasons

24· ·therefor.

25· · · · · · ·I further certify that I am neither counsel




                               OCA-APPX-0286
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·1· ·for, related to, nor employed by any of the parties in

·2· ·the action in which this proceeding was taken, and

·3· ·further that I am not financially or otherwise

·4· ·interested in the outcome of the action.

·5· · · · · · ·Certified to by me this 10th day of

·6· · April, 2023.

·7

·8

·9· · · · · · · · · · ·_____________________________________
· · · · · · · · · · · ·DONNA QUALLS
10· · · · · · · · · · ·Notary Public in and for
· · · · · · · · · · · ·The State of Texas
11· · · · · · · · · · ·My Commission expires 11/06/2026

12· · · · · · · · · · ·Magna Legal Services
· · · · · · · · · · · ·Firm Registration No. 633
13· · · · · · · · · · ·16414 San Pedro, Suite 900
· · · · · · · · · · · ·San Antonio, Texas 78232
14· · · · · · · · · · ·(210)· 697-3400

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                               OCA-APPX-0287
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                 Exhibit 14




                         OCA-APPX-0288
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                                                                                 ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3
· · ·LA UNION DEL PUEBLO· · · ·§
·4· ·ENTERO, et al.,· · · · · ·§
· · · · · Plaintiffs,· · · · · §
·5· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· Case No. 5:21-cv-844-XR
·6· · · · · · · · · · · · · · ·§
· · ·GREGORY W. ABBOTT, et· · ·§
·7· ·al.,· · · · · · · · · · · §
· · · · · Defendants,· · · · · §
·8· · · · · · · · · · · · · · ·§
· · ·_______________________· ·§
·9· · · · · · · · · · · · · · ·§
· · ·OCA-GREATER HOUSTON, et· ·§
10· ·al.,· · · · · · · · · · · §
· · · · · Plaintiffs,· · · · · §
11· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· Case No. 1:21-cv-780-XR
12· · · · · · · · · · · · · · ·§
· · ·JANE NELSON, et. al.,· · ·§
13· · · · Defendants,· · · · · §
· · · · · · · · · · · · · · · ·§
14· ·_______________________· ·§
· · · · · · · · · · · · · · · ·§
15· ·HOUSTON JUSTICE, et· · · ·§
· · ·al.,· · · · · · · · · · · §
16· · · · Plaintiffs,· · · · · §
· · · · · · · · · · · · · · · ·§
17· ·v.· · · · · · · · · · · · §· Case No. 5:21-cv-848-XR
· · · · · · · · · · · · · · · ·§
18· ·GREGORY WAYNE ABBOTT,· · ·§
· · ·et al.,· · · · · · · · · ·§
19· · · · Defendants,· · · · · §
· · · · · · · · · · · · · · · ·§
20· ·_______________________· ·§
· · · · · · · · · · · · · · · ·§
21· ·LULAC Texas, et al.,· · · §
· · · · · Plaintiffs,· · · · · §
22· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· Case No. 1:21-cv-0786-XR
23· · · · · · · · · · · · · · ·§
· · ·JANE NELSON, et al.,· · · §
24· · · · Defendants,· · · · · §
· · · · · · · · · · · · · · · ·§
25· ·_______________________· ·§




                             OCA-APPX-0289
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·1· ·MI FAMILIA VOTA, et· · · ·§
· · ·al.,· · · · · · · · · · · §
·2· · · · Plaintiffs,· · · · · §
· · · · · · · · · · · · · · · ·§
·3· ·v.· · · · · · · · · · · · §· Case No. 5:21-cv-0920-XR
· · · · · · · · · · · · · · · ·§
·4· ·GREG ABBOTT, et al.,· · · §
· · · · · Defendants.· · · · · §
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·9· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

10· · · · · · · · · · · RACHELLE OBAKOZUWA

11· · · · · · · · · · · · MARCH 21, 2023

12

13

14

15· · · · ORAL AND VIDEOTAPED DEPOSITION OF RACHELLE

16· ·OBAKOZUWA, produced as a witness at the instance of the

17· ·Defendants and duly sworn, was taken in the above styled

18· ·and numbered cause on Tuesday, March 21, 2023, from

19· ·3:51 p.m. to 6:44 p.m., before DONNA QUALLS, Notary

20· ·Public in and for the State of Texas, reported by

21· ·computerized stenotype machine, at the offices of Harris

22· ·County Attorney's Office, 1019 Congress Street, 15th

23· ·Floor, Houston, Texas, pursuant to the Federal Rules of

24· ·Civil Procedure, and any provisions stated on the record

25· ·or attached hereto.




                               OCA-APPX-0290
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·1· · · · · · · · · · ·A P P E A R A N C E S

·2
· · ·FOR THE HARRIS COUNTY ELECTIONS ADMINISTRATOR:
·3· · · · SAMEER S. BIRRING
· · · · · TIFFANY BINGHAM
·4· · · · OFFICE OF THE HARRIS COUNTY ATTORNEY CHRISTIAN
· · · · · D. MENEFEE
·5· · · · 1019 Congress, 15th Floor
· · · · · Houston, Texas· 77002
·6· · · · (713) 274-5142
· · · · · sameer.birring@harriscountytx.gov
·7

·8· ·FOR THE HOUSTON AREA URBAN LEAGUE (HAUL) PLAINTIFFS:
· · · · · JENNIFER A. HOLMES
·9· · · · NAACP Legal Defense and Educational Fund, Inc.
· · · · · 700 14th Street N.W., Suite 600
10· · · · Washignton, District of Columbia· 20005
· · · · · (347) 573-0197
11· · · · jholmes@naacpldf.org

12
· · ·FOR THE UNITED STATES:
13· · · · DANA PAIKOWSKY
· · · · · U.S. DEPARTMENT OF JUSTICE
14· · · · 950 Pennsylvania Avenue, NW
· · · · · Washington, District of Columbia· 20530
15· · · · (202) 353-5225
· · · · · dana.paikowsky@usdoj.gov
16

17· ·FOR THE STATE DEFENDANTS:
· · · · · KATHLEEN T. HUNKER
18· · · · OFFICE OF THE ATTORNEY GENERAL
· · · · · P.O. BOX 12548 (MC-009)
19· · · · AUSTIN, TEXAS· 78711-2548
· · · · · (512) 463-2100
20· · · · kathleen.hunker@oag.texas.gov

21
· · ·Also Present:
22· · · · STEPHEN KENNY (Via Zoom)
· · · · · BRADLEY PROWANT (Via Zoom)
23· · · · BREANNA WILLIAMS, NAACP (Via Zoom)
· · · · · CARRIE LEBEL (Via Zoom)
24· · · · GERMAINE HABELL (Via Zoom)
· · · · · JOHN GORE, GOP (Via Zoom)
25· · · · JOHN SULLIVAN BAKER, DOJ (Via Zoom)




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·1· ·LEIGH TOGNETTI (Via Zoom)
· · ·LISA CUBRIEL, BEXAR COUNTY (Via Zoom)
·2· ·LUCIA ROMANO (Via Zoom)
· · ·MIKE STEWART, DOJ (Via Zoom)
·3· ·URUJ SHEIKH, LDF (Via Zoom)
· · ·REGGIE WRIGHT, THE VIDEOGRAPHER
·4

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12· · · · · · · · · · · · ·EXHIBIT INDEX

13
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·1· ·criminal investigations that you're asking.· I mean,
·2· ·you're asking whether we're investigating ballot issues
·3· ·that are subject to potential criminal investigations.
·4· ·So I would just instruct her not to answer.
·5· · · · Q.· (BY MS. HUNKER)· Are you going to take the
·6· ·advice of your counsel?
·7· · · · A.· Yes.
·8· · · · Q.· Okay.· And then the other question, do you know
·9· ·when this segment of this postelection report would be
10· ·updated?· And when I say this section, I mean
11· ·specifically the ballot paper supply issue.
12· · · · A.· No.
13· · · · Q.· Okay.· Then we can put these aside.
14· · · · · · · · ·And so the last thing I want to talk to you
15· ·about is actually going to be in Exhibit 4.· It'll be
16· ·voter education.
17· · · · A.· You said Exhibit 4?
18· · · · Q.· Yeah.· And so based on my reading on Exhibit 4,
19· ·it sounded as if Harris County engaged in a robust
20· ·public -- public awareness campaign for the
21· ·November 2022 general election.· Is that fair to say?
22· · · · A.· Yes.
23· · · · Q.· And as part of your public information
24· ·campaign, did you also communicate the ID requirements
25· ·for ballots by mail?




                             OCA-APPX-0294
                                                                                 YVer1f
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·1· · · · A.· Yes.
·2· · · · Q.· And how did you go about informing voters of
·3· ·these requirements?
·4· · · · A.· We produced videos and publications that were
·5· ·shared through social media, radio, television, and
·6· ·distribution through community groups.
·7· · · · Q.· And did you engage in -- did you -- like
·8· ·engagement events or community engagement events?
·9· · · · A.· Yes.
10· · · · Q.· And were discussions about the ID requirements
11· ·held at these community engagement events?
12· · · · A.· Yes.
13· · · · Q.· And these were held throughout Harris County,
14· ·correct?
15· · · · A.· Correct.
16· · · · Q.· So I see a list of organizations on pages 4, 5,
17· ·and partly 6.· Are these a list of organizations where
18· ·you had community engagement events?
19· · · · A.· Yes.
20· · · · Q.· Is this a complete list or this just a sort of
21· ·sampling?
22· · · · A.· I believe this is complete list.
23· · · · Q.· And did you get any feedback from voters about
24· ·your outreach program?
25· · · · A.· I am not aware.




                             OCA-APPX-0295
                                                                                 YVer1f
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·1· · · · Q.· Okay.· And did you receive any feedback from
·2· ·the organizations about your community engagement
·3· ·events?
·4· · · · A.· Not that I'm aware of.
·5· · · · Q.· Okay.· Did you receive any feedback from other
·6· ·community groups, not necessarily the ones regarding --
·7· ·that you held of -- the community engagement event with?
·8· · · · A.· We attempted to reach multiple community
·9· ·groups, and so we received feedback from some that they
10· ·were not available or not interested.
11· · · · Q.· And do you know if voters -- if your
12· ·outreach -- let me -- let me rephrase the question.
13· · · · · · · · ·Are you aware if voters -- strike that.
14· · · · · · · · ·Based on any feedback you received from
15· ·your public information campaign, did you find that it
16· ·helped voters alleviate their confusion regarding their
17· ·ID requirements?
18· · · · · · · · ·MS. HOLMES:· Objection to form.
19· · · · A.· Some.
20· · · · Q.· (BY MS. HUNKER)· Can you elaborate at all?
21· · · · A.· We still received ballots that are incorrectly
22· ·submitted without sufficient information -- the ballot
23· ·by mail.· So they're either not seeing the campaign or
24· ·the campaign didn't address them specifically in a way
25· ·that was successful.




                             OCA-APPX-0296
                                                                                 YVer1f
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·1· · · · Q.· You described some voter education efforts that
·2· ·your office engaged in around Senate Bill 1's
·3· ·identification provision.· Why did you undertake those
·4· ·efforts?
·5· · · · A.· There were voter questions and confusion about
·6· ·why their ballots weren't being counted -- or why their
·7· ·ballots were being rejected.· I apologize.· And -- and
·8· ·the -- there were changes that SB1 had that we knew
·9· ·would affect every voter who was voting by mail.
10· · · · Q.· And do you anticipate needing to continue to
11· ·do -- maintain these efforts in future elections?
12· · · · A.· Yes.
13· · · · Q.· Earlier you testified that SB1 necessitated an
14· ·increase in temporary and full-time staff.· Why is that?
15· · · · A.· There are a lot of implications for SB1.· With
16· ·the rejection of mail ballots, there has to be more
17· ·communication to voters.· So it takes more bodies to
18· ·create that communication to send items to the voters,
19· ·and there's a higher rate of transaction.· So it
20· ·requires more workers.
21· · · · · · · · ·Additionally, SB1 affected some of our
22· ·staffing for election workers.· And so that was one of
23· ·the reasons recruitment efforts had to increase.· So we
24· ·had to have more staff for that.· And there are more
25· ·procedural-type questions and calls that we get.· So our




                             OCA-APPX-0297
                                                                                 YVer1f
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·1· ·call center and help line had to increase staff as well.
·2· · · · Q.· Were there increased needs in -- for resources
·3· ·dedicated to voter outreach and education related to
·4· ·implementing Senate Bill 1's identification provision?
·5· · · · A.· And are we specifically speaking about the
·6· ·period for November or prior to March?
·7· · · · Q.· Let's talk about just November for the moment.
·8· · · · A.· We increased the quantity of voter outreach
·9· ·persons to go to it -- these community events to
10· ·communicate about these -- the changes to SB1.· Yes, for
11· ·both elections.
12· · · · Q.· And do you believe those increased needs are
13· ·going to continue on in future elections as well?
14· · · · A.· Yes.
15· · · · Q.· Why is that?
16· · · · A.· There's still confusion and there's still --
17· ·there are still issues with person's ballots, mail
18· ·ballots being rejected.
19· · · · Q.· Did you ever have any communications with the
20· ·secretary of state's office about what kind of voter
21· ·education efforts your county should undertake related
22· ·to SB1's identification provision?
23· · · · A.· Our communications team reached out to
24· ·secretary of state's office about how to engage with
25· ·voters without it appearing as soliciting which would be




                             OCA-APPX-0298
                                                                                 YVer1f
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·1· · · · A.· I can't think of any.· For voter education,
·2· ·it's very broad.· So I don't know that the little we've
·3· ·discussed is the whole realm of that.· But if you're
·4· ·looping all voter education in one, then I cannot think
·5· ·of anything else.
·6· · · · Q.· So earlier -- and -- and I know you had spoken
·7· ·to counsel about the range of voter education efforts
·8· ·you had engaged in related to the identification
·9· ·provision which included making videos, doing community
10· ·meetings.· Is there anything else that I'm missing in
11· ·terms of buckets of efforts or -- or -- or types of
12· ·outreach that you engaged in?
13· · · · A.· In the Exhibit 4, there's reference to an
14· ·organization -- I think it's called KGB that we worked
15· ·with to do a lot of outreach for us.· And that was --
16· ·that outreach was very broad.· It touched every type of
17· ·communication method that we know of.· So that would be
18· ·the only thing that I would add that there are many
19· ·things that they did for us to communicate.
20· · · · Q.· Could you provide a list of examples of the
21· ·kinds of communications that they engaged in?· It
22· ·doesn't have to be exhaustive but just anything we
23· ·haven't discussed.
24· · · · A.· I believe I've -- and I believe I've mentioned
25· ·them all, but I know there was radio, television.




                             OCA-APPX-0299
                                                                                 YVer1f
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   Rachelle Obakozuwa                                               March 21, 2023
                                                                           Page 62


·1· ·Billboards, I think was one that I didn't state.· Social
·2· ·media, different platforms there, other online
·3· ·advertising -- not advertising but other online
·4· ·platforms.· And that's really all that I can recall at
·5· ·this time, but I believe the majority of them are listed
·6· ·in Exhibit 4.
·7· · · · Q.· Do you believe that there's anything your
·8· ·office could have done beyond what it did in the 2022
·9· ·general election to bring down rejection rates further?
10· · · · · · · · ·MS. HUNKER:· Objection; form.
11· · · · A.· No.
12· · · · Q.· (BY MS. PAIKOWSKY)· Do you know approximately
13· ·how much the contract with KGB cost?
14· · · · A.· No.· Our office has those figures.· I just
15· ·didn't look.
16· · · · Q.· Thanks very much.· So we have a number of
17· ·questions about the team database.· Is that something
18· ·you work with at all?
19· · · · A.· No.
20· · · · Q.· Okay.· One last question.· Oh, I'm so sorry.
21· ·I'm just drowning in papers here.· I want to pull out
22· ·exhibit -- here we go -- Exhibit 16.
23· · · · · · · · ·Do you have that in front of you?
24· · · · A.· I believe this is it, but it could be a 14.
25· · · · Q.· I think that's right.· So it reads at the top




                             OCA-APPX-0300
                                                                                 YVer1f
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     Rachelle Obakozuwa                                               March 21, 2023
                                                                             Page 98


·1· · · · · · · · · · · · · ERRATA PAGE
·2· ·WITNESS NAME:· RACHELLE OBAKOZUWA· · · DATE:· 03/21/2023
·3· ·PAGE· LINE· CHANGE· · · · · · · ·REASON
·4· ·________________________________________________________
·5· ·________________________________________________________
·6· ·________________________________________________________
·7· ·________________________________________________________
·8· ·________________________________________________________
·9· ·________________________________________________________
10· ·________________________________________________________
11· ·________________________________________________________
12· ·________________________________________________________
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20· ·________________________________________________________
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22· ·________________________________________________________
23· ·________________________________________________________
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25· · · · · · ·______________________________________________




                               OCA-APPX-0301
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·1· · · · I, RACHELLE OBAKOZUWA, have read the foregoing
· · ·transcript and hereby affix my signature that same is
·2· ·true and correct, except as noted above on the previous
· · ·pages(s), and that I am signing this before a Notary
·3· ·Public

·4
· · · · · · · · · · · · · · · · ·RACHELLE OBAKOZUWA
·5

·6· ·THE STATE OF· · · · · ·)
· · ·COUNTY OF· · · · · · · · · ·)
·7

·8
· · · · · Before me,· · · · · · · · · · · ·, on this day
·9· ·personally appeared, RACHELLE OBAKOZUWA, known to me or
· · ·proved to me under oath or through
10· ·(description of identity card or other document), to be
· · ·the person whose name is subscribed to the foregoing
11· ·instrument and acknowledged to me that they executed the
· · ·same for the purposes and consideration therein
12· ·expressed.

13· · · · Given under my hand and seal of office on this, the
· · ·_______ day of· · · · · · · · · · · · , 2023.
14

15

16· · · · · · · · · · · · · Notary Public in and for
· · · · · · · · · · · · · · The State of Texas
17· · · · · · · · · · · · · Commission Expires: ___________

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                               OCA-APPX-0302
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 303 of 2308
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                                                                            Page 100


·1· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · · · · ORAL DEPOSITION OF
·2· · · · · · · · · · · RACHELLE OBAKOZUWA
· · · · · · · · · · · ·TAKEN MARCH 21, 2023
·3

·4

·5· · · · · · ·I, DONNA QUALLS, Shorthand Reporter and Notary

·6· ·Public in and for the State of Texas, hereby certify to

·7· ·the following:

·8· · · · · · ·That the witness, RACHELLE OBAKOZUWA, was duly

·9· ·sworn by the officer and that the transcript of the oral

10· ·deposition is a true record of the testimony given by

11· ·the witness;

12· · · · · · ·That the original deposition was delivered to

13· ·SAMEER S. BIRRING / KATHLEEN T. HUNKER;

14· · · · · · ·That a copy of this certificate was served on

15· ·all parties and/or the witness shown herein on

16· ·__________________________.

17· · · · · · ·I further certify that pursuant to FRCP No.

18· ·30(f)(i) that the signature of the deponent was

19· ·requested by the deponent or a party before the

20· ·completion of the deposition and that the signature is

21· ·to be returned within 30 days from date of receipt of

22· ·the transcript.· If returned, the attached Changes and

23· ·Signature Page contains any changes and the reasons

24· ·therefor.

25· · · · · · ·I further certify that I am neither counsel




                               OCA-APPX-0303
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     Rachelle Obakozuwa                                               March 21, 2023
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·1· ·for, related to, nor employed by any of the parties in

·2· ·the action in which this proceeding was taken, and

·3· ·further that I am not financially or otherwise

·4· ·interested in the outcome of the action.

·5· · · · · · ·Certified to by me this 10th day of

·6· · April, 2023.

·7

·8

·9· · · · · · · · · · ·_____________________________________
· · · · · · · · · · · ·DONNA QUALLS
10· · · · · · · · · · ·Notary Public in and for
· · · · · · · · · · · ·The State of Texas
11· · · · · · · · · · ·My Commission expires 11/06/2026

12· · · · · · · · · · ·Magna Legal Services
· · · · · · · · · · · ·Firm Registration No. 633
13· · · · · · · · · · ·16414 San Pedro, Suite 900
· · · · · · · · · · · ·San Antonio, Texas 78232
14· · · · · · · · · · ·(210)· 697-3400

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                               OCA-APPX-0304
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                 Exhibit 15




                         OCA-APPX-0305
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   BRIDGETTE ESCOBEDO                                            May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                      1

·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · ·SAN ANTONIO DIVISION

·3
· · LA UNIÓN DEL PUEBLO· · · ·§
·4· ENTERO, ET AL.,· · · · · ·§
· · · · ·PLAINTIFFS,· · · · · §
·5· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-844-XR
·6· · · · · · · · · · · · · · §
· · TEXAS, ET AL.,· · · · · · §
·7· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
·8· OCA-GREATER HOUSTON,· · · §
· · ET AL.,· · · · · · · · · ·§
·9· · · ·PLAINTIFFS,· · · · · §
· · · · · · · · · · · · · · · §
10· V.· · · · · · · · · · · · § CASE NO. 1:21-cv-0780-XR
· · · · · · · · · · · · · · · §
11· TEXAS SECRETARY OF STATE §
· · JOHN SCOTT, ET AL,· · · · §
12· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
13· HOUSTON AREA URBAN LEAGUE,§
· · ET AL.,· · · · · · · · · ·§
14· · · ·PLAINTIFFS,· · · · · §
· · · · · · · · · · · · · · · §
15· V.· · · · · · · · · · · · § CASE NO. 5:21-cv-0848-XR
· · · · · · · · · · · · · · · §
16· GREGORY WAYNE ABBOTT,· · ·§
· · ET AL.,· · · · · · · · · ·§
17· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
18· LULAC TEXAS, ET AL.,· · · §
· · · · ·PLAINTIFFS,· · · · · §
19· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 1:21-cv-0786-XR
20· · · · · · · · · · · · · · §
· · JOHN SCOTT, ET AL.,· · · ·§
21· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
22· MI FAMILIA VOTA, ET AL., §
· · · · ·PLAINTIFFS,· · · · · §
23· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-0920-XR
24· · · · · · · · · · · · · · §
· · GREG ABBOTT, ET AL.,· · · §
25· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------


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     BRIDGETTE ESCOBEDO                                            May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                      2

·1· UNITED STATES OF AMERICA, §
· · · · ·PLAINTIFF,· · · · · ·§
·2· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · §
· · THE STATE OF TEXAS,· · · ·§
·4· ET AL.,· · · · · · · · · ·§
· · · · ·DEFENDANTS.· · · · · §
·5· ******************************************************

·6· · · · · · · · ORAL 30(b)(6) DEPOSITION OF

·7· · · · · · TRAVIS COUNTY CLERK REPRESENTATIVE

·8· · · · · · · TESTIMONY OF BRIDGETTE ESCOBEDO

·9· · · · · · · · · · · ·MAY 11, 2022

10· · · · · · · · · · (Reported remotely)

11· ******************************************************

12

13· · · · · · · · ·ORAL DEPOSITION OF BRIDGETTE ESCOBEDO,

14· produced as a witness at the instance of the Plaintiff

15· OCA-Greater Houston, and duly sworn, was taken in the

16· above-styled and numbered cause on the 11th day of

17· May, 2022, from 10:11 a.m. to 4:27 p.m., reported

18· remotely via Zoom, before MICHELLE CARVER, CSR, in and

19· for the State of Texas, reported by oral stenograph in

20· Travis County, Texas, pursuant to the Federal Rules of

21· Civil Procedure, the current Emergency Order regarding

22· the COVID-19 State of Disaster, and the provisions

23· stated on the record or attached hereto.

24

25


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     BRIDGETTE ESCOBEDO                                            May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                      3

·1· · · · · · · · · · · · APPEARANCES

·2· FOR THE PLAINTIFF OCA-GREATER HOUSTON:

·3· · · · · · LIA SIFUENTES DAVIS· (Appeared remotely)
· · · · · · · LISA SNEAD· (Appeared remotely
·4· · · · · · DISABILITY RIGHTS TEXAS
· · · · · · · 2222 West Braker Lane
·5· · · · · · Austin, Texas 78758
· · · · · · · ldavis@drtx.org
·6

·7· FOR THE PLAINTIFF TRAVIS COUNTY:

·8· · · · · · PATRICK POPE· (Appeared remotely)
· · · · · · · TRAVIS COUNTY ATTORNEY'S OFFICE
·9· · · · · · 314 West 11th Street, Suite 500
· · · · · · · Austin, Texas 78701
10· · · · · · patrick.pope@traviscountytx.gov

11· FOR THE PLAINTIFF LULAC TEXAS:

12· · · · · · GRAHAM WHITE· (Appeared remotely)
· · · · · · · ELIAS LAW GROUP LLP
13· · · · · · 10 G Street NE, Suite 600
· · · · · · · Washington, D.C. 20002
14· · · · · · gwhite@elias.law

15· FOR THE STATES DEFENDANTS:

16· · · · · · KATHLEEN T. HUNKER· (Appeared remotely)
· · · · · · · AARON BARNES· (Appeared remotely)
17· · · · · · OFFICE OF THE ATTORNEY GENERAL
· · · · · · · P.O. Box 12548
18· · · · · · Austin, Texas 78711
· · · · · · · kathleen.hunker@oag.texas.gov
19· · · · · · aaron.barnes@oag.texas.gov

20· FOR THE DEFENDANT THE UNITED STATES:

21· · · · · · BRADY BENDER· (Appeared remotely)
· · · · · · · CAMRYN PAK· (Appeared remotely)
22· · · · · · UNITED STATES DEPARTMENT OF JUSTICE
· · · · · · · 950 Pennsylvania Avenue NW
23· · · · · · Washington, D.C. 20530
· · · · · · · laura.bender@usdoj.gov
24

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     BRIDGETTE ESCOBEDO                                            May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                      4

·1· · · · · · · · · ·APPEARANCES CONTINUED
·2· ALSO PRESENT:
·3· · · · · · SHIRA WAKSCHLAG· (Appeared remotely)
·4· · · · · · VICTORIA FILOSO· (Appeared remotely)
·5· · · · · · JOSEPHINE RAMIREZ· (Appeared remotely)
·6· · · · · · LEIGH TOGNETTI· (Appeared remotely)
·7· · · · · · SARAH CHEN· (Appeared remotely)
·8· · · · · · ZACHARY DOLLING· (Appeared remotely)
·9· · · · · · SUSAN MIZNER· (Appeared remotely)
10
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·4· Exhibits ......................................· · · 6
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     BRIDGETTE ESCOBEDO                                            May 11, 2022
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·1· · · · · · · · · · · · ·EXHIBITS

·2· NUMBER· · DESCRIPTION· · · · · · · · · · · · · · ·PAGE

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   BRIDGETTE ESCOBEDO                                            May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     32

·1· · · ·A.· ·We would reject the application.
·2· · · ·Q.· ·Did you let the voter know that the
·3· application had been rejected?
·4· · · ·A.· ·Yes.· We would send them a new -- a new
·5· application, and then we would include the Secretary
·6· of State's form to notify the voter that they had been
·7· rejected.
·8· · · ·Q.· ·Did you provide anything else in that
·9· rejection to assist the voter in filling out the form
10· correctly?
11· · · ·A.· ·No.
12· · · ·Q.· ·What forms of communication did you have
13· with voters regarding the rejection?
14· · · ·A.· ·We sent them something in the mail.· So we
15· communicated by mail and over the phone if we had
16· their contact information on the application.
17· · · ·Q.· ·You would call them on the phone?
18· · · ·A.· ·Yes, if they provided their phone number.
19· · · ·Q.· ·Let's look at page 35, which is Section 503
20· on this page.· Are you familiar with this provision?
21· · · ·A.· ·Yes.
22· · · ·Q.· ·Does this provision have to do with what is
23· required to be on the application form for an early
24· ballot by mail?
25· · · ·A.· ·Yes.


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   BRIDGETTE ESCOBEDO                                            May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     35

·1· information?· I understand other counties testified
·2· that they put a flyer in that rejection.· Did Travis
·3· County include any additional information?
·4· · · ·A.· ·Not initially.· We have now but not
·5· initially.
·6· · · ·Q.· ·At what point did Travis County start
·7· putting in additional information?
·8· · · ·A.· ·Just recently.
·9· · · ·Q.· ·When you say "recently," do you mean --
10· · · ·A.· ·In the last month, I believe, we got
11· approval from the Secretary of State to include an
12· insert.
13· · · ·Q.· ·Was that before the March 2022 primary?
14· · · ·A.· ·No.
15· · · ·Q.· ·It was for the May 7th election?
16· · · ·A.· ·Yes.· It was our understanding we could not
17· include anything additional.
18· · · ·Q.· ·Who was it that advised you you could not
19· include anything additional?
20· · · ·A.· ·It was our understanding through the
21· advisories that the SOS issued.
22· · · ·Q.· ·And what was the process by which you
23· received approval from the Secretary of State to
24· include additional information in the correspondence?
25· · · ·A.· ·We sent -- I sent an -- an e-mail to the


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   BRIDGETTE ESCOBEDO                                            May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     36

·1· director -- the legal director at the SOS and got
·2· approval.
·3· · · ·Q.· ·And did they provide that approval in
·4· writing?
·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·Was that in the form of an e-mail?
·7· · · ·A.· ·Yes.
·8· · · ·Q.· ·In the May 7th election, how many
·9· rejections -- well, you may not be prepared to testify
10· on this; so if this is a question for someone else,
11· let me know.· But in the May 7th election, how many
12· rejections were provided the additional information
13· that was approved by the Secretary of State's Office?
14· · · ·A.· ·For the application or for the ballot?
15· · · ·Q.· ·For the application.
16· · · ·A.· ·Right about 11 -- approximately 11 percent.
17· · · ·Q.· ·And do you know the percentage for the
18· ballots?
19· · · ·A.· ·It's around 3 percent.
20· · · ·Q.· ·How would the voter know that their
21· application to vote by mail was rejected?
22· · · ·A.· ·We would contact the voter via phone or hard
23· copy mail or e-mail if they provided that address.
24· · · ·Q.· ·Let's look at page 38, which I think is the
25· page you're probably already on --


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   BRIDGETTE ESCOBEDO                                            May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     37

·1· · · ·A.· ·Uh-huh.
·2· · · ·Q.· ·-- Section 507.· What is your understanding
·3· of Section 507?
·4· · · ·A.· ·If the information doesn't match, we reject
·5· the application.· If the information that the voter
·6· provides -- either their driver's license or the last
·7· four of their social -- if it doesn't match what's in
·8· the database, we reject the application.
·9· · · ·Q.· ·Did Travis County develop policies on how to
10· implement this section of SB 1?
11· · · ·A.· ·Travis County didn't, but the Secretary of
12· State did.
13· · · ·Q.· ·And Travis County implemented those
14· policies?
15· · · ·A.· ·Yes.
16· · · ·Q.· ·Did Travis County have to implement any new
17· procedures or policies as a result of 5.07?
18· · · ·A.· ·Travis County specifically, yes.
19· · · ·Q.· ·And what were those policies that were
20· implemented?
21· · · ·A.· ·The workflow having to keep track of the
22· rejections -- the rejected applications and the
23· accepted applications and the ballots accepted and
24· rejected as well.
25· · · ·Q.· ·So tell me a little bit about that workflow


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   BRIDGETTE ESCOBEDO                                            May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     38

·1· in terms of what was the process for a ballot that
·2· came in that did not have the matching number?
·3· · · ·A.· ·So if we had contact information for the
·4· voter, we would reach out and contact them via phone
·5· or e-mail.· If they did not, then we would send them a
·6· letter in the mail.
·7· · · ·Q.· ·And do you know how often the voter would
·8· contact you as a result of the letter or phone call?
·9· · · ·A.· ·There were several voters that contacted us.
10· · · ·Q.· ·Is it fair to say that not every voter you
11· communicated with by mail or phone you were able to
12· reach?
13· · · · · · · · ·MS. HUNKER:· Objection.· Form.
14· · · · · · · · ·MR. POPE:· Objection.· Form.
15· · · ·A.· ·That's correct.
16· · · ·Q.· ·For those voters, was the result that they
17· did not vote?
18· · · ·A.· ·Some, yes.
19· · · · · · · · ·MS. HUNKER:· Objection.· Form.
20· · · ·Q.· ·So let's talk about the voters that you did
21· get in touch with.· When you had that contact, what
22· was the next step in terms of the information you
23· provided to the voter?
24· · · ·A.· ·We would tell them -- we would inform them
25· that we did not have the matching number in our


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   BRIDGETTE ESCOBEDO                                            May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     39

·1· database, and we would instruct them on how to go
·2· about and cure or fix the problem.
·3· · · ·Q.· ·Did voters ever have problems curing their
·4· ballots?
·5· · · · · · · · ·MR. POPE:· Objection.· Form.
·6· · · · · · · · ·MS. HUNKER:· Objection.· Form.
·7· · · ·A.· ·Yes.
·8· · · ·Q.· ·What were some of the problems that they had
·9· in curing their ballots?
10· · · ·A.· ·Some of them were not computer -- were not
11· proficient in their computer skills.· Some of them
12· didn't understand the process or what was required of
13· them to -- to do on their end to cure their ballot.
14· · · ·Q.· ·You mentioned that some were not computer
15· literate.· Was there an option for them to cure their
16· ballot in person?
17· · · ·A.· ·They could cancel their application or -- or
18· go into a polling location and vote provisionally.
19· · · ·Q.· ·And that would require them being able to
20· access the polling place, either through
21· transportation or a ride through some other --
22· · · ·A.· ·Yes.
23· · · ·Q.· ·Do you know if there were voters who didn't
24· have access to a computer or transportation to be able
25· to cure their ballot?


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   BRIDGETTE ESCOBEDO                                            May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     40

·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·What happened with those voters?
·3· · · ·A.· ·Some of those voters just didn't vote.
·4· · · ·Q.· ·You also mentioned that there were voters
·5· that didn't understand the process.· Can you explain
·6· to me a little bit more about the difficulties they
·7· had in understanding the process?
·8· · · ·A.· ·They -- they didn't understand why they had
·9· to do it.· We explained to them there was a new law
10· that required this, and they just could not -- or
11· comprehend as to why this was in effect.
12· · · ·Q.· ·Were some of those voters not unable to cure
13· their ballots?
14· · · ·A.· ·Some of them were.
15· · · ·Q.· ·Let's look at Section 508, which is on the
16· next page, page 39.· Can you tell me what this section
17· has to do with?· What does this section do?
18· · · ·A.· ·It says that the carrier envelope has to
19· have a plastic that covers the -- the PII or the
20· personal identification, the driver's license, or the
21· last four of the social.· Then it says that they have
22· to sign that they have not received a number if they
23· haven't gotten one by DPS or Social Security.
24· · · ·Q.· ·Do you know anything about the font size of
25· the information on the carrier envelope?


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   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     42

·1· · · ·A.· ·That the voter has an opportunity to correct
·2· their defect (audio distortion) their ballot.
·3· · · · · · · · ·THE COURT REPORTER:· I'm sorry.· Could
·4· you repeat that?· You cut out a little bit on me.
·5· · · ·A.· ·That the voter has the opportunity to
·6· correct their defect.
·7· · · · · · · · ·THE COURT REPORTER:· Thank you.
·8· · · ·Q.· ·What was the process by which Travis County
·9· implemented the defect correction portion?
10· · · ·A.· ·So we would reach out to the voter and --
11· and make contact with them and give them -- you know,
12· help them along in the process and tell them they had
13· to take this action in order for their ballot to
14· count.
15· · · ·Q.· ·Can you tell me about some of the specific
16· voters that your office spoke with who had issues
17· correcting their ballots?
18· · · · · · · · ·MS. HUNKER:· Objection.· Form.
19· · · ·A.· ·There were some.· I don't -- I was not
20· specifically on the phone with the voters, but it was
21· told to me by my staff that, you know, elderly voters
22· didn't -- did not want to cure or did not understand
23· as to why they had to provide their socials or their
24· driver's licenses.
25· · · ·Q.· ·So is it fair to say that people had


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   BRIDGETTE ESCOBEDO                                            May 11, 2022
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·1· read it out loud:· The early voting clerk is
·2· authorized to remove the secrecy flap on a return
·3· carrier envelope to facilitate the processing and
·4· review of voted mail ballots.
·5· · · · · · Did I read that correctly?
·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·So does your office follow that procedure?
·8· · · ·A.· ·We do.
·9· · · ·Q.· ·And did you follow this procedure for the
10· March 1st primary?
11· · · ·A.· ·Yes.
12· · · ·Q.· ·And did you follow it for the May 7th
13· election?
14· · · ·A.· ·Yes.
15· · · ·Q.· ·And are you intending to follow this
16· procedure for the upcoming election?
17· · · ·A.· ·Yes.
18· · · ·Q.· ·And then do you see where it says:
19· Returning the carrier envelope to the voter?
20· · · ·A.· ·Yes.
21· · · ·Q.· ·The paragraph reads:· If the early voting
22· clerk discovers that the carrier envelope is missing
23· the voter's signature, has an incomplete signature,
24· has missing or incomplete witness or assist
25· information, or has missing or incorrect personal


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·1· identification information, the early voting clerk may
·2· deliver the carrier envelope in person or by mail to
·3· the voter so that the voter may correct the defect.
·4· · · · · · Did I read that correctly?
·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·My question for you is:· How does Travis
·7· County contact the voter?
·8· · · ·A.· ·So if there's contact -- if we have contact
·9· information, we will send them an e-mail or call them
10· on the phone or send them a form in the mail.
11· · · ·Q.· ·Okay.· Now, if you notice it says the early
12· voting clerk may deliver the carrier envelope in
13· person then.· Has Travis County done that?
14· · · ·A.· ·No.
15· · · ·Q.· ·And let's move on to the next paragraph
16· where the sentence begins with "upon receipt."· It's
17· in the middle of the paragraph.
18· · · ·A.· ·Okay.
19· · · ·Q.· ·It says:· Upon the receipt of the carrier
20· envelope, the voter may correct the defect immediately
21· and surrender the carrier envelope to the early voting
22· clerk personnel.
23· · · · · · Did I read that correctly?
24· · · ·A.· ·Yes.
25· · · ·Q.· ·And if I remember -- understand correctly,


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·2· · · · · · · · · ·SAN ANTONIO DIVISION

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· · LA UNIÓN DEL PUEBLO· · · ·§
·4· ENTERO, ET AL.,· · · · · ·§
· · · · ·PLAINTIFFS,· · · · · §
·5· · · · · · · · · · · · · · §
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·6· · · · · · · · · · · · · · §
· · TEXAS, ET AL.,· · · · · · §
·7· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
·8· OCA-GREATER HOUSTON,· · · §
· · ET AL.,· · · · · · · · · ·§
·9· · · ·PLAINTIFFS,· · · · · §
· · · · · · · · · · · · · · · §
10· V.· · · · · · · · · · · · § CASE NO. 1:21-cv-0780-XR
· · · · · · · · · · · · · · · §
11· TEXAS SECRETARY OF STATE §
· · JOHN SCOTT, ET AL,· · · · §
12· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
13· HOUSTON AREA URBAN LEAGUE,§
· · ET AL.,· · · · · · · · · ·§
14· · · ·PLAINTIFFS,· · · · · §
· · · · · · · · · · · · · · · §
15· V.· · · · · · · · · · · · § CASE NO. 5:21-cv-0848-XR
· · · · · · · · · · · · · · · §
16· GREGORY WAYNE ABBOTT,· · ·§
· · ET AL.,· · · · · · · · · ·§
17· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
18· LULAC TEXAS, ET AL.,· · · §
· · · · ·PLAINTIFFS,· · · · · §
19· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 1:21-cv-0786-XR
20· · · · · · · · · · · · · · §
· · JOHN SCOTT, ET AL.,· · · ·§
21· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
22· MI FAMILIA VOTA, ET AL., §
· · · · ·PLAINTIFFS,· · · · · §
23· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-0920-XR
24· · · · · · · · · · · · · · §
· · GREG ABBOTT, ET AL.,· · · §
25· · · ·DEFENDANTS.· · · · · §
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·1· UNITED STATES OF AMERICA, §
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·2· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · §
· · THE STATE OF TEXAS,· · · ·§
·4· ET AL.,· · · · · · · · · ·§
· · · · ·DEFENDANTS.· · · · · §
·5
· · · · · · · · · ·REPORTER'S CERTIFICATION
·6· · · · · · · · ORAL 30(b)(6) DEPOSITION OF
· · · · · · · TRAVIS COUNTY CLERK REPRESENTATIVE
·7· · · · · · · · · · BRIDGETTE ESCOBEDO
· · · · · · · · · · · · ·MAY 11, 2022
·8· · · · · · · · · · (Reported remotely)

·9· · · · · · · · ·I, MICHELLE CARVER, Certified Shorthand
· · Reporter in and for the State of Texas, hereby certify
10· to the following:

11· · · · · · · · ·That the witness, BRIDGETTE ESCOBEDO,
· · were duly sworn by the officer and that the transcript
12· of the oral deposition is a true record of the
· · testimony given by the witnessed;
13
· · · · · · · · · ·I further certify that pursuant to FRCP
14· Rule 30(b)(5) that the signature of the deponent:

15· · · · · · · · ·____ was requested by the deponent or a
· · party before the completion of the deposition and that
16· the signature is to be before any notary public and
· · returned within 30 days from date of receipt of the
17· transcript.· If returned, the attached Changes and
· · Signature Page contains any changes and the reasons
18· therefor;

19· · · · · · · · ·_X__ was not requested by the deponent
· · or a party before the completion of the deposition.
20

21· · · · · · · · ·I further certify that I am neither
· · counsel for, related to, nor employed by any of the
22· parties or attorneys in the action in which this
· · proceeding was taken, and further that I am not
23· financially or otherwise interested in the outcome of
· · the action.
24

25


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     BRIDGETTE ESCOBEDO                                            May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                    223

·1· · · · · · · · ·Sworn to by me this ____________ day of

·2· ______________________, 2021.

·3

·4

·5

·6

·7· · · · · · · · · · · _______________________________
· · · · · · · · · · · · MICHELLE CARVER, TEXAS CSR 11870
·8· · · · · · · · · · · Expiration Date:· 2-28-2023
· · · · · · · · · · · · Esquire Deposition Solutions
·9· · · · · · · · · · · 1700 Pacific Avenue, Suite 1000
· · · · · · · · · · · · Dallas, Texas 75204
10· · · · · · · · · · · Firm Registration No. 286

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·1· ·Reference No.: 8226480

·2

·3· ·Case:· LA UNIÓN DEL PUEBLO ENTERO V. TEXAS

·4
· · · · ·DECLARATION UNDER PENALTY OF PERJURY
·5
· · · · · I declare under penalty of perjury that
·6· ·I have read the entire transcript of my Depo-
· · ·sition taken in the captioned matter or the
·7· ·same has been read to me, and the same is
· · ·true and accurate, save and except for
·8· ·changes and/or corrections, if any, as indi-
· · ·cated by me on the DEPOSITION ERRATA SHEET
·9· ·hereof, with the understanding that I offer
· · ·these changes as if still under oath.
10

11· · · · · ·___________________________

12· · · · · ·Bridgette Escobedo

13

14· · · · · · ·NOTARIZATION OF CHANGES

15· · · · · · · · · (If Required)

16

17· ·Subscribed and sworn to on the ______ day of

18

19· ·__________________________, 20____ before me,

20

21· ·(Notary Sign)________________________________

22

23· ·(Print Name)· · · · · · · · · · Notary Public,

24

25· ·in and for the State of _____________________


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.com
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·3· ·Page No._____Line No._____Change to:______________

·4· ·__________________________________________________

·5· ·Reason for change:________________________________

·6· ·Page No._____Line No._____Change to:______________

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·8· ·Reason for change:________________________________

·9· ·Page No._____Line No._____Change to:______________

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11· ·Reason for change:________________________________

12· ·Page No._____Line No._____Change to:______________

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14· ·Reason for change:________________________________

15· ·Page No._____Line No._____Change to:______________

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17· ·Reason for change:________________________________

18· ·Page No._____Line No._____Change to:______________

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20· ·Reason for change:________________________________

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23· ·Reason for change:________________________________

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· · ·SIGNATURE:_______________________DATE:___________
25· ·Bridgette Escobedo


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·3· ·Page No._____Line No._____Change to:______________

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·5· ·Reason for change:________________________________

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·8· ·Reason for change:________________________________

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11· ·Reason for change:________________________________

12· ·Page No._____Line No._____Change to:______________

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14· ·Reason for change:________________________________

15· ·Page No._____Line No._____Change to:______________

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17· ·Reason for change:________________________________

18· ·Page No._____Line No._____Change to:______________

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20· ·Reason for change:________________________________

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23· ·Reason for change:________________________________

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25· ·Bridgette Escobedo


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                 Exhibit 16




                         OCA-APPX-0328
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                             In the Matter Of:

           LA UNIÓN DEL PUEBLO ENTERO V. TEXAS
                                  5:21-cv-844-XR




                        CHARLTON JOHNSON

                               May 11, 2022




                         OCA-APPX-0329
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·1· · · · · · IN THE UNITED STATES DISTRICT COURT
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·2· · · · · · · · · ·SAN ANTONIO DIVISION

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·4· ENTERO, ET AL.,· · · · · ·§
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·6· · · · · · · · · · · · · · §
· · TEXAS, ET AL.,· · · · · · §
·7· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
·8· OCA-GREATER HOUSTON,· · · §
· · ET AL.,· · · · · · · · · ·§
·9· · · ·PLAINTIFFS,· · · · · §
· · · · · · · · · · · · · · · §
10· V.· · · · · · · · · · · · § CASE NO. 1:21-cv-0780-XR
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11· TEXAS SECRETARY OF STATE §
· · JOHN SCOTT, ET AL,· · · · §
12· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
13· HOUSTON AREA URBAN LEAGUE,§
· · ET AL.,· · · · · · · · · ·§
14· · · ·PLAINTIFFS,· · · · · §
· · · · · · · · · · · · · · · §
15· V.· · · · · · · · · · · · § CASE NO. 5:21-cv-0848-XR
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16· GREGORY WAYNE ABBOTT,· · ·§
· · ET AL.,· · · · · · · · · ·§
17· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
18· LULAC TEXAS, ET AL.,· · · §
· · · · ·PLAINTIFFS,· · · · · §
19· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 1:21-cv-0786-XR
20· · · · · · · · · · · · · · §
· · JOHN SCOTT, ET AL.,· · · ·§
21· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
22· MI FAMILIA VOTA, ET AL., §
· · · · ·PLAINTIFFS,· · · · · §
23· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-0920-XR
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· · GREG ABBOTT, ET AL.,· · · §
25· · · ·DEFENDANTS.· · · · · §
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·1· UNITED STATES OF AMERICA, §
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·2· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · §
· · THE STATE OF TEXAS,· · · ·§
·4· ET AL.,· · · · · · · · · ·§
· · · · ·DEFENDANTS.· · · · · §
·5· ******************************************************

·6· · · · · · · · ORAL 30(b)(6) DEPOSITION OF

·7· · · · · · TRAVIS COUNTY CLERK REPRESENTATIVE

·8· · · · · · · ·TESTIMONY OF CHARLTON JOHNSON

·9· · · · · · · · · · · ·MAY 11, 2022

10· · · · · · · · · · (Reported remotely)

11· ******************************************************

12

13· · · · · · · · ·ORAL DEPOSITION OF CHARLTON JOHNSON,

14· produced as a witness at the instance of the Plaintiff

15· OCA-Greater Houston, and duly sworn, was taken in the

16· above-styled and numbered cause on the 11th day of

17· May, 2022, from 5:51 p.m. to 6:29 p.m., reported

18· remotely via Zoom, before MICHELLE CARVER, CSR, in and

19· for the State of Texas, reported by oral stenograph in

20· Travis County, Texas, pursuant to the Federal Rules of

21· Civil Procedure, the current Emergency Order regarding

22· the COVID-19 State of Disaster, and the provisions

23· stated on the record or attached hereto.

24

25


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     CHARLTON JOHNSON                                              May 11, 2022
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·1· · · · · · · · · · · · APPEARANCES

·2· FOR THE PLAINTIFF OCA-GREATER HOUSTON:

·3· · · · · · LIA SIFUENTES DAVIS· (Appeared remotely)
· · · · · · · LISA SNEAD· (Appeared remotely
·4· · · · · · DISABILITY RIGHTS TEXAS
· · · · · · · 2222 West Braker Lane
·5· · · · · · Austin, Texas 78758
· · · · · · · ldavis@drtx.org
·6

·7· FOR THE PLAINTIFF TRAVIS COUNTY:

·8· · · · · · PATRICK POPE· (Appeared remotely)
· · · · · · · TRAVIS COUNTY ATTORNEY'S OFFICE
·9· · · · · · 314 West 11th Street, Suite 500
· · · · · · · Austin, Texas 78701
10· · · · · · patrick.pope@traviscountytx.gov

11· FOR THE PLAINTIFF LULAC TEXAS:

12· · · · · · GRAHAM WHITE· (Appeared remotely)
· · · · · · · ELIAS LAW GROUP LLP
13· · · · · · 10 G Street NE, Suite 600
· · · · · · · Washington, D.C. 20002
14· · · · · · gwhite@elias.law

15· FOR THE STATES DEFENDANTS:

16· · · · · · KATHLEEN T. HUNKER· (Appeared remotely)
· · · · · · · AARON BARNES· (Appeared remotely)
17· · · · · · OFFICE OF THE ATTORNEY GENERAL
· · · · · · · P.O. Box 12548
18· · · · · · Austin, Texas 78711
· · · · · · · kathleen.hunker@oag.texas.gov
19· · · · · · aaron.barnes@oag.texas.gov

20· FOR THE DEFENDANT THE UNITED STATES:

21· · · · · · BRADY BENDER· (Appeared remotely)
· · · · · · · CAMRYN PAK· (Appeared remotely)
22· · · · · · UNITED STATES DEPARTMENT OF JUSTICE
· · · · · · · 950 Pennsylvania Avenue NW
23· · · · · · Washington, D.C. 20530
· · · · · · · laura.bender@usdoj.gov
24

25


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.com
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      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 333 of 2308

     CHARLTON JOHNSON                                              May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                      4

·1· · · · · · · · · ·APPEARANCES CONTINUED
·2· ALSO PRESENT:
·3· · · · · · SHIRA WAKSCHLAG· (Appeared remotely)
·4· · · · · · VICTORIA FILOSO· (Appeared remotely)
·5· · · · · · JOSEPHINE RAMIREZ· (Appeared remotely)
·6· · · · · · LEIGH TOGNETTI· (Appeared remotely)
·7· · · · · · SARAH CHEN· (Appeared remotely)
·8· · · · · · ZACHARY DOLLING· (Appeared remotely)
·9· · · · · · SUSAN MIZNER· (Appeared remotely)
10
11
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     CHARLTON JOHNSON                                              May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                      5

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·6· · · ·Examination by Ms. Hunker ................· · ·24
·7· Reporter's Certificate ........................· · ·32
·8· Attached to the end of the transcript:· Stipulations
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10· · · · · · · · · · · · ·EXHIBITS
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   CHARLTON JOHNSON                                              May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     12

·1· information that they put on their application.
·2· · · ·Q.· ·And how would you review to make sure that
·3· they are a registered voter?
·4· · · ·A.· ·Using the Travis County voter registration
·5· system.
·6· · · ·Q.· ·And what things would you check using the
·7· Travis County voter registration system?
·8· · · ·A.· ·Check their name and date of birth, locate a
·9· voter ID number, and verify that they were an active
10· voter in Travis County.
11· · · ·Q.· ·And before SB 1, did Travis County have any
12· problems identifying who was requesting a mail-in
13· ballot?
14· · · · · · · · ·MS. HUNKER:· Objection.· Form.
15· · · ·Q.· ·You can answer.
16· · · ·A.· ·Typically, not depending on if the requester
17· filled in enough information in which to determine who
18· the voter was.
19· · · ·Q.· ·And so is it fair to say that if an
20· application to vote by mail had lacked information, it
21· was more likely to be rejected; is that correct?
22· · · ·A.· ·That's correct.
23· · · ·Q.· ·And you said that you would then review that
24· they are a registered voter, and then the next step
25· would be what?


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   CHARLTON JOHNSON                                              May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     32

·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · ·SAN ANTONIO DIVISION

·3
· · LA UNIÓN DEL PUEBLO· · · ·§
·4· ENTERO, ET AL.,· · · · · ·§
· · · · ·PLAINTIFFS,· · · · · §
·5· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-844-XR
·6· · · · · · · · · · · · · · §
· · TEXAS, ET AL.,· · · · · · §
·7· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
·8· OCA-GREATER HOUSTON,· · · §
· · ET AL.,· · · · · · · · · ·§
·9· · · ·PLAINTIFFS,· · · · · §
· · · · · · · · · · · · · · · §
10· V.· · · · · · · · · · · · § CASE NO. 1:21-cv-0780-XR
· · · · · · · · · · · · · · · §
11· TEXAS SECRETARY OF STATE §
· · JOHN SCOTT, ET AL,· · · · §
12· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
13· HOUSTON AREA URBAN LEAGUE,§
· · ET AL.,· · · · · · · · · ·§
14· · · ·PLAINTIFFS,· · · · · §
· · · · · · · · · · · · · · · §
15· V.· · · · · · · · · · · · § CASE NO. 5:21-cv-0848-XR
· · · · · · · · · · · · · · · §
16· GREGORY WAYNE ABBOTT,· · ·§
· · ET AL.,· · · · · · · · · ·§
17· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
18· LULAC TEXAS, ET AL.,· · · §
· · · · ·PLAINTIFFS,· · · · · §
19· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 1:21-cv-0786-XR
20· · · · · · · · · · · · · · §
· · JOHN SCOTT, ET AL.,· · · ·§
21· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------
22· MI FAMILIA VOTA, ET AL., §
· · · · ·PLAINTIFFS,· · · · · §
23· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-0920-XR
24· · · · · · · · · · · · · · §
· · GREG ABBOTT, ET AL.,· · · §
25· · · ·DEFENDANTS.· · · · · §
· · ------------------------------------------------------


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     CHARLTON JOHNSON                                              May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     33

·1· UNITED STATES OF AMERICA, §
· · · · ·PLAINTIFF,· · · · · ·§
·2· · · · · · · · · · · · · · §
· · V.· · · · · · · · · · · · § CASE NO. 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · §
· · THE STATE OF TEXAS,· · · ·§
·4· ET AL.,· · · · · · · · · ·§
· · · · ·DEFENDANTS.· · · · · §
·5
· · · · · · · · · ·REPORTER'S CERTIFICATION
·6· · · · · · · · ORAL 30(b)(6) DEPOSITION OF
· · · · · · · TRAVIS COUNTY CLERK REPRESENTATIVE
·7· · · · · · · · · · ·CHARLTON JOHNSON
· · · · · · · · · · · · ·MAY 11, 2022
·8· · · · · · · · · · (Reported remotely)

·9· · · · · · · · ·I, MICHELLE CARVER, Certified Shorthand
· · Reporter in and for the State of Texas, hereby certify
10· to the following:

11· · · · · · · · ·That the witness, CHARLTON JOHNSON,
· · were duly sworn by the officer and that the transcript
12· of the oral deposition is a true record of the
· · testimony given by the witnessed;
13
· · · · · · · · · ·I further certify that pursuant to FRCP
14· Rule 30(b)(5) that the signature of the deponent:

15· · · · · · · · ·____ was requested by the deponent or a
· · party before the completion of the deposition and that
16· the signature is to be before any notary public and
· · returned within 30 days from date of receipt of the
17· transcript.· If returned, the attached Changes and
· · Signature Page contains any changes and the reasons
18· therefor;

19· · · · · · · · ·_X__ was not requested by the deponent
· · or a party before the completion of the deposition.
20

21· · · · · · · · ·I further certify that I am neither
· · counsel for, related to, nor employed by any of the
22· parties or attorneys in the action in which this
· · proceeding was taken, and further that I am not
23· financially or otherwise interested in the outcome of
· · the action.
24

25


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     CHARLTON JOHNSON                                              May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     34

·1· · · · · · · · ·Sworn to by me this ____________ day of

·2· ______________________, 2022.

·3

·4

·5

·6

·7· · · · · · · · · · · ________________________________
· · · · · · · · · · · · MICHELLE CARVER, TEXAS CSR 11870
·8· · · · · · · · · · · Expiration Date:· 2-28-2023
· · · · · · · · · · · · Esquire Deposition Solutions
·9· · · · · · · · · · · 1700 Pacific Avenue, Suite 1000
· · · · · · · · · · · · Dallas, Texas 75204
10· · · · · · · · · · · Firm Registration No. 286

11

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                                                           EsquireSolutions.com
                               OCA-APPX-0338
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 339 of 2308

     CHARLTON JOHNSON                                              May 11, 2022
     LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     35

·1· ·Reference No.: 8226480

·2

·3· ·Case:· LA UNIÓN DEL PUEBLO ENTERO V. TEXAS

·4
· · · · ·DECLARATION UNDER PENALTY OF PERJURY
·5
· · · · · I declare under penalty of perjury that
·6· ·I have read the entire transcript of my Depo-
· · ·sition taken in the captioned matter or the
·7· ·same has been read to me, and the same is
· · ·true and accurate, save and except for
·8· ·changes and/or corrections, if any, as indi-
· · ·cated by me on the DEPOSITION ERRATA SHEET
·9· ·hereof, with the understanding that I offer
· · ·these changes as if still under oath.
10

11· · · · · ·___________________________

12· · · · · ·Charlton Johnson

13

14· · · · · · ·NOTARIZATION OF CHANGES

15· · · · · · · · · (If Required)

16

17· ·Subscribed and sworn to on the ______ day of

18

19· ·__________________________, 20____ before me,

20

21· ·(Notary Sign)________________________________

22

23· ·(Print Name)· · · · · · · · · · Notary Public,

24

25· ·in and for the State of _____________________


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.com
                               OCA-APPX-0339
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 340 of 2308

   CHARLTON JOHNSON                                              May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     36

·1· ·Reference No.: 8226480
· · ·Case:· LA UNIÓN DEL PUEBLO ENTERO V. TEXAS
·2

·3· ·Page No._____Line No._____Change to:______________

·4· ·__________________________________________________

·5· ·Reason for change:________________________________

·6· ·Page No._____Line No._____Change to:______________

·7· ·__________________________________________________

·8· ·Reason for change:________________________________

·9· ·Page No._____Line No._____Change to:______________

10· ·__________________________________________________

11· ·Reason for change:________________________________

12· ·Page No._____Line No._____Change to:______________

13· ·__________________________________________________

14· ·Reason for change:________________________________

15· ·Page No._____Line No._____Change to:______________

16· ·__________________________________________________

17· ·Reason for change:________________________________

18· ·Page No._____Line No._____Change to:______________

19· ·__________________________________________________

20· ·Reason for change:________________________________

21· ·Page No._____Line No._____Change to:______________

22· ·__________________________________________________

23· ·Reason for change:________________________________

24
· · ·SIGNATURE:_______________________DATE:___________
25· ·Charlton Johnson


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                             OCA-APPX-0340
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 341 of 2308

   CHARLTON JOHNSON                                              May 11, 2022
   LA UNIÓN DEL PUEBLO ENTERO V. TEXAS                                     37

·1· ·Reference No.: 8226480
· · ·Case:· LA UNIÓN DEL PUEBLO ENTERO V. TEXAS
·2

·3· ·Page No._____Line No._____Change to:______________

·4· ·__________________________________________________

·5· ·Reason for change:________________________________

·6· ·Page No._____Line No._____Change to:______________

·7· ·__________________________________________________

·8· ·Reason for change:________________________________

·9· ·Page No._____Line No._____Change to:______________

10· ·__________________________________________________

11· ·Reason for change:________________________________

12· ·Page No._____Line No._____Change to:______________

13· ·__________________________________________________

14· ·Reason for change:________________________________

15· ·Page No._____Line No._____Change to:______________

16· ·__________________________________________________

17· ·Reason for change:________________________________

18· ·Page No._____Line No._____Change to:______________

19· ·__________________________________________________

20· ·Reason for change:________________________________

21· ·Page No._____Line No._____Change to:______________

22· ·__________________________________________________

23· ·Reason for change:________________________________

24
· · ·SIGNATURE:_______________________DATE:___________
25· ·Charlton Johnson


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                                                         EsquireSolutions.com
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                 Exhibit 17




                         OCA-APPX-0342
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 343 of 2308
   Dan Hayes                                                        March 29, 2023
                                                                                 ·


·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO, ET AL.,)(
· · · · ·Plaintiffs,· · · · · · · · · ·)(
·4· · · · · · · · · · · · · · · · · · ·)(· Case No.:
· · V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0844-XR
·5· · · · · · · · · · · · · · · · · · ·)(
· · TEXAS, ET AL.,· · · · · · · · · · ·)(
·6· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
·7
· · OCA-GREATER HOUSTON, ET AL.,· · · ·)(
·8· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(
·9· V.· · · · · · · · · · · · · · · · ·)(· Case No.:
· · · · · · · · · · · · · · · · · · · ·)(· 1:21-cv-0780-XR
10· TEXAS SECRETARY OF STATE· · · · · ·)(
· · JANE NELSON, ET AL.,· · · · · · · ·)(
11· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
12
· · HOUSTON AREA URBAN LEAGUE, ET AL., )(
13· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(· Case No.:
14· V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0848-XR
· · · · · · · · · · · · · · · · · · · ·)(
15· GREGORY WAYNE ABBOTT, ET AL.,· · · )(
· · · · ·Defendants.
16· ______________________________________________________

17· LULAC TEXAS, ET AL.,· · · · · · · ·)(
· · · · ·Plaintiffs,· · · · · · · · · ·)(
18· · · · · · · · · · · · · · · · · · ·)(· Case No.:
· · V.· · · · · · · · · · · · · · · · ·)(· 1:21-cv-0786-XR
19· · · · · · · · · · · · · · · · · · ·)(
· · JANE NELSON, ET AL.,· · · · · · · ·)(
20· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
21
· · MI FAMILIA VOTA, ET AL.,· · · · · ·)(
22· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(· Case No.:
23· V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0920-XR
· · · · · · · · · · · · · · · · · · · ·)(
24· GREG ABBOTT, ET AL.,· · · · · · · ·)(
· · · · ·Defendants.· · · · · · · · · ·)(
25· ______________________________________________________




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                                                                                 YVer1f
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 344 of 2308
     Dan Hayes                                                        March 29, 2023
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·1· THE UNITED STATES OF AMERICA,· · · )(
· · · · ·Plaintiff,· · · · · · · · · · )(
·2· · · · · · · · · · · · · · · · · · ·)(· Case No.
· · V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · · · · · ·)(
· · STATE OF TEXAS, ET AL.,· · · · · · )(
·4· · · ·Defendants.· · · · · · · · · ·)(

·5· ******************************************************

·6· · · · · · · · ORAL 30(b)(6) DEPOSITION OF

·7· · · · · · · ·TRAVIS COUNTY CLERK'S OFFICE

·8· · · · · · · · · TESTIMONY OF DAN HAYES

·9· · · · · · · · · · · March 29, 2023

10· ******************************************************

11

12

13· · · · · · · · · · · ORAL DEPOSITION OF DAN HAYES,

14· produced as a witness at the instance of the

15· Consolidated Plaintiffs, and duly sworn, was taken in

16· the above-styled and numbered cause on the 29th day of

17· March, 2023, from 9:04 a.m. to 10:34 a.m., before

18· STEPHANIE DAVIS, CSR, in and for the State of Texas,

19· reported by oral stenograph, at the Travis County

20· Attorney's Office, 314 West 11th Street, Fifth Floor,

21· Austin, Texas, pursuant to the Federal Rules of Civil

22· Procedure and the provisions stated on the record or

23· attached herein.

24

25




                               OCA-APPX-0344
                                                                                   YVer1f
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 345 of 2308
   Dan Hayes                                                        March 29, 2023
                                                                            Page 3


·1· · · · · · · · · ·A P P E A R A N C E S

·2· FOR TEXAS CIVIL RIGHTS PROJECT:

·3· · · · · · ZACHARY DOLLING
· · · · · · · HANI MIRZA
·4· · · · · · VERONIKAH WARMS
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· · · · · · · zachary@texascivilrightsproject.org
·6· · · · · · hani@texascivilrightsproject.org
· · · · · · · veronikah@texascivilrightsproject.org
·7
· · FOR THE U.S. DEPARTMENT OF JUSTICE CIVIL RIGHTS
·8· DIVISION:
· · · · · · · DANA PAIKOWSKY
·9· · · · · · JOHN SULLIVAN BAKER (Appeared Remotely)
· · · · · · · Robert F. Kennedy Building
10· · · · · · 950 Pennsylvania Avenue, Northwest
· · · · · · · Washington, DC 20530
11· · · · · · dana.paikowsky@usdoj.gov
· · · · · · · john.bakersullivan@usdoj.gov
12
· · FOR OCA-GREATER HOUSTON, ET AL.:
13
· · · · · · · KENNETH BROUGHTON (Appeared Remotely)
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· · · · · · · 811 Main Street, Suite 1700
15· · · · · · Houston, Texas· 77002-6110
· · · · · · · kbroughton@reedsmith.com
16
· · FOR ATTORNEY GENERAL KEN PAXTON:
17
· · · · · · · WILLIAM D. WASSDORF
18· · · · · · AARON BARNES
· · · · · · · ASSISTANT ATTORNEY GENERAL
19· · · · · · PO Box 12548
· · · · · · · Austin, Texas· 78711-2548
20· · · · · · will.wassdorf@oag.texas.gov
· · · · · · · aaron.barnes@aog.texas.gov
21
· · FOR HARRIS COUNTY DISTRICT ATTORNEY'S OFFICE:
22
· · · · · · · ANNE CRISP (Appeared Remotley)
23· · · · · · BUTLER SNOW, LLP
· · · · · · · 1400 Lavaca Street, Suite 1000
24· · · · · · Austin, Texas 78701
· · · · · · · anne.crisp@butlersnow.com
25




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      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 346 of 2308
     Dan Hayes                                                        March 29, 2023
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·1· FOR THE STATE OF TEXAS; GREG ABBOTT, IN HIS OFFICIAL
· · CAPACITY AS GOVERNOR OF TEXAS, JANE NELSON, IN HER
·2· OFFICIAL CAPACITY OF THE TEXAS SECRETARY OF STATE,
· · WARREN K. PAXTON, IN HIS OFFICIAL CAPACITY AS THE
·3· TEXAS ATTORNEY GENERAL:
· · ALSO PRESENT:
·4
· · · · · · · LOUIS J. CAPOZZI (Appeared Remotely)
·5· · · · · · JONES DAY
· · · · · · · 51 Louisiana Avenue, Northwest
·6· · · · · · Washington, DC· 20001
· · · · · · · lcapozzi@jonesday.com
·7
· · FOR DAN HAYES, CHARLIE JOHNSON, AND BRIDGETTE
·8· ESCABEDO, IN THEIR OFFICIAL CAPACITIES AS TRAVIS
· · COUNTY CLERKS AND DISTRICT ATTORNEY, RESPECTIVELY:
·9
· · · · · · · ANTHONY J. NELSON
10· · · · · · PATRICK T. POPE
· · · · · · · TRAVIS COUNTY ASSISTANT COUNTY ATTONEY
11· · · · · · 314 West 11th Street, Fifth Floor
· · · · · · · Austin, Texas· 78767
12· · · · · · tony.nelson@traviscountytx.gov
· · · · · · · patrick.pope@traviscountytx.gov
13

14· FOR HIDALGO COUNTY ELECTIONS ADMINISTRATOR DELIA
· · GARZA:
15
· · · · · · · LEIGH ANN TOGNETTI (Appeared Remotely)
16· · · · · · ASSISTANT DISTRICT ATTORNEY
· · · · · · · 100 East Cano, First Floor
17· · · · · · Hidalgo County Courthouse Annex III
· · · · · · · Edinburg, Texas· 78539
18· · · · · · leigh.tognetti@da.co.hidalgo.tx.us

19· ALSO PRESENT:

20· · · · · · GABE HODGE, paralegal for Mr. Nelson

21

22

23

24

25




                               OCA-APPX-0346
                                                                                   YVer1f
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 347 of 2308
     Dan Hayes                                                        March 29, 2023
                                                                              Page 5


·1· · · · · · · · · · · · ·I N D E X

·2· · · · · · · · · · · · · · · · · · · · · · · · · · PAGE

·3· Appearances ..................................· · · ·3

·4· CHARLIE JOHNSON
· · Examination by Mr. Dolling ...................· · · ·7
·5· Examination by Ms. Paikowsky .................· · · 30
· · Further Examination by Mr. Dolling ...........· · · 40
·6· Examination by Mr. Wassdorf ..................· · · 41
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11· · · · · · · · · · · E X H I B I T S

12· NUMBER· · DESCRIPTION· · · · · · · · · · · · · · ·PAGE

13· · 1· · · ·Second Amended Notice of Rule 30(b)(6)
· · · · · · · Deposition of the Office of the Travis
14· · · · · · County Clerk .......................· · · ·9

15· · 2· · · ·State's Defendants' Cross Notice of
· · · · · · · Intent to Take Oral and Videotaped
16· · · · · · Deposition of the Office of the Travis
· · · · · · · County Clerk, Pursuant to Rule 30(b)(6)· ·47
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                               OCA-APPX-0347
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   Dan Hayes                                                        March 29, 2023
                                                                           Page 30


·1· · · · · · · · · · · · EXAMINATION
·2· BY MS. PAIKOWSKY:
·3· · · ·Q.· ·I'm Dana Paikowsky for the United States
·4· this morning.· Thank you for taking the time to
·5· testify.· I similarly just want to take a couple
·6· minutes to get a sense of whether or not you have
·7· knowledge about some things or whether someone else
·8· would be the right person.· So are you involved in
·9· voter education efforts related to mail voting at all?
10· · · ·A.· ·I am.
11· · · ·Q.· ·Can you describe to me what kinds of voter
12· education efforts your office made during the November
13· 2022 general election?
14· · · ·A.· ·As mentioned before, we did social media
15· posts, we provided notices -- I don't want to say
16· "notices," that's a legal term -- but those
17· high-viz -- neon paint, neon yellow, orange,
18· whatever -- pieces of paper highlighting the
19· requirements for ballot-by-mail.· Also, we do post on
20· where voting locations are, times, things like that.
21· · · ·Q.· ·So I'm specifically interested in voter
22· education around the ID provision in mail voting.
23· · · ·A.· ·Uh-huh.
24· · · ·Q.· ·Were there any efforts that you made to
25· educate voters around that provision specifically?




                             OCA-APPX-0348
                                                                                 YVer1f
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·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·And are those efforts the same as you
·3· previously described?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·In those outreach and education efforts
·6· during the November 2022 general election, did your
·7· office advise voters to provide both an ID number and
·8· an SSN four on their ABBMs or carrier envelopes?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·Why did you advise voters to provide both
11· the -- excuse me.· Withdrawn.
12· · · · · · Why did you advise voters to provide both
13· when the language in the statute and also of the ABBM
14· carrier envelopes directs voters to put one or the
15· other?
16· · · ·A.· ·Would you repeat that?· I had a hard time
17· hearing.
18· · · ·Q.· ·Yeah.
19· · · ·A.· ·Okay.
20· · · ·Q.· ·Why did you advise voters to put both
21· numbers down?
22· · · ·A.· ·Okay.· Under the guidance of the SOS and the
23· recommendation of the SOS so that voters -- it was
24· deemed that it was completely acceptable to have both
25· numbers, because a voter may not know which of those




                             OCA-APPX-0349
                                                                                 YVer1f
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·1· numbers is associated with their voter record; so to
·2· cover all bases, so to speak, we advised our voters
·3· who submitted an ABBM or ballot-by-mail carrier to put
·4· both numbers.
·5· · · ·Q.· ·Do the forms that you use for an ABBM or
·6· carrier envelope also ask voters to provide both
·7· numbers or just one?
·8· · · ·A.· ·Which forms are you referring to?
·9· · · ·Q.· ·The ABBMs and the carrier envelopes.
10· · · ·A.· ·Okay.· No, they do not -- they do not say
11· both, as far as I remember.
12· · · ·Q.· ·As part of your voter education efforts, did
13· your office include an insert with their absentee
14· ballot-by-mail applications explaining the ID
15· requirement and asking for voters to provide both
16· numbers?
17· · · ·A.· ·If I remember correctly, yes.
18· · · ·Q.· ·And has your office produced that insert to
19· us?
20· · · ·A.· ·I do not...
21· · · · · · · · ·MR. NELSON:· Again, I believe so.· But
22· if we haven't, we can supplement that.
23· · · · · · · · ·MS. PAIKOWSKY:· Yeah, I wasn't able to
24· find ballot inserts, but we'll connect with you and
25· check that out on the back end.




                             OCA-APPX-0350
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   Dan Hayes                                                        March 29, 2023
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·1· that we could provide inserts, and they verified that
·2· we could notify voters that they could put both
·3· numbers, and it would be perfectly okay; so that's the
·4· feedback.
·5· · · ·Q.· ·And this also is -- if you don't know this
·6· or if another designee would be better to testify
·7· about it:· To your knowledge, did the Secretary of
·8· State's office recommend you develop these ballot
·9· inserts as a best practice for implementation for
10· Senate Bill 1?
11· · · ·A.· ·I don't remember that specifically.
12· · · ·Q.· ·Based on your experience in the 2022 general
13· election, do you foresee a need to continue to engage
14· in these affirmative voter education efforts related
15· to the ID provision -- the mail ballot ID provision in
16· future elections?
17· · · ·A.· ·Yes.
18· · · ·Q.· ·Why is that?
19· · · ·A.· ·Travis County, it's very important to our
20· office to educate our voters so that their ballots may
21· be accepted -- counted -- as appropriate.· We have --
22· we believe in voter education and helping people vote.
23· · · ·Q.· ·Does your county have any plans to -- I'm
24· sorry, withdrawn.
25· · · · · · Would your ability to continue these efforts




                             OCA-APPX-0351
                                                                                 YVer1f
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   Dan Hayes                                                        March 29, 2023
                                                                           Page 37


·1· depend on your budget in future years?
·2· · · ·A.· ·It does cost money, and money is always a
·3· consideration.· So I -- dependent?· Let's just say
·4· it's a consideration.
·5· · · ·Q.· ·In the November 2022 general election, did
·6· your office hire employees or contractors in order to
·7· facilitate, support, or assist with mail voting or the
·8· implementation of the SB-1's identification
·9· requirements?· And I'm also including voter education
10· efforts in this question.
11· · · ·A.· ·Would you state again the types -- the first
12· part of your question for me?
13· · · ·Q.· ·Yeah.· And I also am cognizant that there's
14· another designee who's testifying.
15· · · ·A.· ·Sure.
16· · · ·Q.· ·The question is:· During the November 2022
17· election, did your office hire employees or
18· contractors to facilitate the mail voting process and
19· specifically implement SB-1'S identification
20· requirements?· And as part of that, I'm asking also
21· about affirmative voter education efforts?
22· · · ·A.· ·Yes --
23· · · · · · · · ·MR. NELSON:· Before you -- well, I was
24· going to say before you answer:· If, again, as was
25· pointed out, if it's a question that's regarding an




                             OCA-APPX-0352
                                                                                 YVer1f
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   Dan Hayes                                                        March 29, 2023
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·1· · · · · · · · · ·CHANGES AND SIGNATURE
·2· PAGE· · · LINE· · · · · · · · CHANGE· · REASON
·3· ______________________________________________________
·4· ______________________________________________________
·5· ______________________________________________________
·6· ______________________________________________________
·7· ______________________________________________________
·8· ______________________________________________________
·9· ______________________________________________________
10· ______________________________________________________
11· ______________________________________________________
12· ______________________________________________________
13· ______________________________________________________
14· ______________________________________________________
15· ______________________________________________________
16· ______________________________________________________
17· ______________________________________________________
18· ______________________________________________________
19· ______________________________________________________
20· ______________________________________________________
21· ______________________________________________________
22· ______________________________________________________
23· ______________________________________________________
24· ______________________________________________________
25· ______________________________________________________




                             OCA-APPX-0353
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     Dan Hayes                                                        March 29, 2023
                                                                             Page 62


·1· · · · · · I, DAN HAYES, have read the foregoing

·2· deposition and hereby affix my signature that same is

·3· true and correct, except as noted above.

·4

·5· · · · · · · · · · · · · ______________________________
· · · · · · · · · · · · · · DAN HAYES
·6

·7· THE STATE OF TEXAS· )

·8· COUNTY OF TRAVIS· · )

·9· · · · · · Before me, ___________________________, on

10· this day personally appeared DAN HAYES, known to me

11· (or proved to me under oath or through

12· _____________________) (description of identity card

13· or other document) to be the person whose name is

14· subscribed to the foregoing instrument and

15· acknowledged to me that they executed the same for the

16· purposes and consideration therein expressed.

17

18· · · · · · Given under my hand and seal of office this

19· _______ day of _______________________, 2023.

20

21

22

23
· · · · · · · ·___________________________________________
24· · · · · · ·Notary Public in and for the State of Texas

25




                               OCA-APPX-0354
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 355 of 2308
   Dan Hayes                                                        March 29, 2023
                                                                           Page 63


·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO, ET AL.,)(
· · · · ·Plaintiffs,· · · · · · · · · ·)(
·4· · · · · · · · · · · · · · · · · · ·)(· Case No.:
· · V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0844-XR
·5· · · · · · · · · · · · · · · · · · ·)(
· · TEXAS, ET AL.,· · · · · · · · · · ·)(
·6· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
·7
· · OCA-GREATER HOUSTON, ET AL.,· · · ·)(
·8· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(
·9· V.· · · · · · · · · · · · · · · · ·)(· Case No.:
· · · · · · · · · · · · · · · · · · · ·)(· 1:21-cv-0780-XR
10· TEXAS SECRETARY OF STATE· · · · · ·)(
· · JANE NELSON, ET AL.,· · · · · · · ·)(
11· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
12
· · HOUSTON AREA URBAN LEAGUE, ET AL., )(
13· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(· Case No.:
14· V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0848-XR
· · · · · · · · · · · · · · · · · · · ·)(
15· GREGORY WAYNE ABBOTT, ET AL.,· · · )(
· · · · ·Defendants.
16· ______________________________________________________

17· LULAC TEXAS, ET AL.,· · · · · · · ·)(
· · · · ·Plaintiffs,· · · · · · · · · ·)(
18· · · · · · · · · · · · · · · · · · ·)(· Case No.:
· · V.· · · · · · · · · · · · · · · · ·)(· 1:21-cv-0786-XR
19· · · · · · · · · · · · · · · · · · ·)(
· · JANE NELSON, ET AL.,· · · · · · · ·)(
20· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
21
· · MI FAMILIA VOTA, ET AL.,· · · · · ·)(
22· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(· Case No.:
23· V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0920-XR
· · · · · · · · · · · · · · · · · · · ·)(
24· GREG ABBOTT, ET AL.,· · · · · · · ·)(
· · · · ·Defendants.· · · · · · · · · ·)(
25· ______________________________________________________




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    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 356 of 2308
   Dan Hayes                                                        March 29, 2023
                                                                           Page 64


·1· THE UNITED STATES OF AMERICA,· · · )(
· · · · ·Plaintiff,· · · · · · · · · · )(
·2· · · · · · · · · · · · · · · · · · ·)(· Case No.
· · V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · · · · · ·)(
· · STATE OF TEXAS, ET AL.,· · · · · · )(
·4· · · ·Defendants.· · · · · · · · · ·)(

·5· · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · ORAL 30(b)(6) DEPOSITION OF
·6· · · · · · · TRAVIS COUNTY CLERK'S OFFICE
· · · · · · · · · · · · · ·DAN HAYES
·7· · · · · · · · · · · March 29, 2023

·8· · · · · · I, STEPHANIE DAVIS, Certified Shorthand

·9· Reporter in and for the State of Texas, hereby certify

10· to the following:

11· · · · · · That the witness, DAN HAYES, was duly sworn

12· by the officer and that the transcript of the oral

13· deposition is a true record of the testimony given by

14· the witness;

15· · · · · · I further certify that pursuant to FRCP Rule

16· 30(f)(1) that the signature of the deponent:

17· · · · · · __X__ was requested by the deponent or a

18· party before the completion of the deposition and that

19· the signature is to be before any notary public and

20· returned within 30 days from the date of receipt of

21· the transcript.· If returned, the attached Changes and

22· Signature Page contains any changes and the reasons

23· therefor;

24· · · · · · ___ was not requested by the deponent or a

25· party before the completion of the deposition.




                             OCA-APPX-0356
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 357 of 2308
     Dan Hayes                                                        March 29, 2023
                                                                             Page 65


·1· · · · · · I further certify that I am neither counsel

·2· for, related to, nor employed by any of the parties or

·3· attorneys in the action in which the proceeding was

·4· taken, and further that I am not financially or

·5· otherwise interested in the outcome of the action.

·6

·7· · · · · · Certified to by me this _________ day of

·8· ___________________, 2023

·9

10

11

12

13
· · · · · · · · · · · · STEPHANIE DAVIS, TEXAS CSR 11355
14· · · · · · · · · · · Expiration Date:· 11-30-2023
· · · · · · · · · · · · MAGNA LEGAL SERVICES
15· · · · · · · · · · · Firm Registration No. 633
· · · · · · · · · · · · 1635 Market Street
16· · · · · · · · · · · Suite 800
· · · · · · · · · · · · Philadelphia, Pennsylvania 19103
17· · · · · · · · · · · Telephone:· 866-624-6621
· · · · · · · · · · · · Facsimile:· 215-207-9462
18

19

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                               OCA-APPX-0357
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 358 of 2308




                 Exhibit 18




                         OCA-APPX-0358
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 359 of 2308
   Charlie Johnson                                                  March 29, 2023
                                                                                 ·


·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO, ET AL.,)(
· · · · ·Plaintiffs,· · · · · · · · · ·)(
·4· · · · · · · · · · · · · · · · · · ·)(· Case No.:
· · V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0844-XR
·5· · · · · · · · · · · · · · · · · · ·)(
· · TEXAS, ET AL.,· · · · · · · · · · ·)(
·6· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
·7
· · OCA-GREATER HOUSTON, ET AL.,· · · ·)(
·8· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(
·9· V.· · · · · · · · · · · · · · · · ·)(· Case No.:
· · · · · · · · · · · · · · · · · · · ·)(· 1:21-cv-0780-XR
10· TEXAS SECRETARY OF STATE· · · · · ·)(
· · JANE NELSON, ET AL.,· · · · · · · ·)(
11· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
12
· · HOUSTON AREA URBAN LEAGUE, ET AL., )(
13· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(· Case No.:
14· V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0848-XR
· · · · · · · · · · · · · · · · · · · ·)(
15· GREGORY WAYNE ABBOTT, ET AL.,· · · )(
· · · · ·Defendants.
16· ______________________________________________________

17· LULAC TEXAS, ET AL.,· · · · · · · ·)(
· · · · ·Plaintiffs,· · · · · · · · · ·)(
18· · · · · · · · · · · · · · · · · · ·)(· Case No.:
· · V.· · · · · · · · · · · · · · · · ·)(· 1:21-cv-0786-XR
19· · · · · · · · · · · · · · · · · · ·)(
· · JANE NELSON, ET AL.,· · · · · · · ·)(
20· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
21
· · MI FAMILIA VOTA, ET AL.,· · · · · ·)(
22· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(· Case No.:
23· V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0920-XR
· · · · · · · · · · · · · · · · · · · ·)(
24· GREG ABBOTT, ET AL.,· · · · · · · ·)(
· · · · ·Defendants.· · · · · · · · · ·)(
25· ______________________________________________________




                             OCA-APPX-0359
                                                                                 YVer1f
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 360 of 2308
     Charlie Johnson                                                  March 29, 2023
                                                                              Page 2


·1· THE UNITED STATES OF AMERICA,· · · )(
· · · · ·Plaintiff,· · · · · · · · · · )(
·2· · · · · · · · · · · · · · · · · · ·)(· Case No.
· · V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · · · · · ·)(
· · STATE OF TEXAS, ET AL.,· · · · · · )(
·4· · · ·Defendants.· · · · · · · · · ·)(

·5· ******************************************************

·6· · · · · · · · ORAL 30(b)(6) DEPOSITION OF

·7· · · · · · · ·TRAVIS COUNTY CLERK'S OFFICE

·8· · · · · · · ·TESTIMONY OF CHARLIE JOHNSON

·9· · · · · · · · · · · March 29, 2023

10· ******************************************************

11

12

13· · · · · · · · · · · ORAL DEPOSITION OF CHARLIE

14· JOHNSON, produced as a witness at the instance of the

15· Consolidated Plaintiffs, and duly sworn, was taken in

16· the above-styled and numbered cause on the 29th day of

17· March, 2023, from 10:38 a.m. to 1:10 p.m., before

18· STEPHANIE DAVIS, CSR, in and for the State of Texas,

19· reported by oral stenograph, at the Travis County

20· Attorney's Office, 314 West 11th Street, Fifth Floor,

21· Austin, Texas, pursuant to the Federal Rules of Civil

22· Procedure and the provisions stated on the record or

23· attached herein.

24

25




                               OCA-APPX-0360
                                                                                   YVer1f
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 361 of 2308
   Charlie Johnson                                                  March 29, 2023
                                                                            Page 3


·1· · · · · · · · · ·A P P E A R A N C E S

·2· FOR TEXAS CIVIL RIGHTS PROJECT:

·3· · · · · · ZACHARY DOLLING
· · · · · · · HANI MIRZA
·4· · · · · · VERONIKAH WARMS
· · · · · · · 1405 Montopolis Drive
·5· · · · · · Austin, Texas· 78741
· · · · · · · zachary@texascivilrightsproject.org
·6· · · · · · hani@texascivilrightsproject.org
· · · · · · · veronikah@texascivilrightsproject.org
·7
· · FOR THE U.S. DEPARTMENT OF JUSTICE CIVIL RIGHTS
·8· DIVISION:
· · · · · · · DANA PAIKOWSKY
·9· · · · · · JOHN SULLIVAN BAKER (Appeared Remotely)
· · · · · · · Robert F. Kennedy Building
10· · · · · · 950 Pennsylvania Avenue, Northwest
· · · · · · · Washington, DC 20530
11· · · · · · dana.paikowsky@usdoj.gov
· · · · · · · john.bakersullivan@usdoj.gov
12
· · FOR OCA-GREATER HOUSTON, ET AL.:
13
· · · · · · · KENNETH BROUGHTON (Appeared Remotely)
14· · · · · · REED SMITH, LLP
· · · · · · · 811 Main Street, Suite 1700
15· · · · · · Houston, Texas· 77002-6110
· · · · · · · kbroughton@reedsmith.com
16
· · FOR ATTORNEY GENERAL KEN PAXTON:
17
· · · · · · · WILLIAM D. WASSDORF
18· · · · · · AARON BARNES
· · · · · · · ASSISTANT ATTORNEY GENERAL
19· · · · · · PO Box 12548
· · · · · · · Austin, Texas· 78711-2548
20· · · · · · will.wassdorf@oag.texas.gov
· · · · · · · aaron.barnes@aog.texas.gov
21
· · FOR HARRIS COUNTY DISTRICT ATTORNEY'S OFFICE:
22
· · · · · · · ANNE CRISP (Appeared Remotley)
23· · · · · · BUTLER SNOW, LLP
· · · · · · · 1400 Lavaca Street, Suite 1000
24· · · · · · Austin, Texas 78701
· · · · · · · anne.crisp@butlersnow.com
25




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·1· FOR THE STATE OF TEXAS, GREG ABBOTT, IN HIS OFFICIAL
· · CAPACITY AS GOVERNOR OF TEXAS; JANE NELSON, IN HER
·2· OFFICIAL CAPACITY OF THE TEXAS SECRETARY OF STATE;
· · WARREN K. PAXTON, IN HIS OFFICIAL CAPACITY AS THE
·3· TEXAS ATTORNEY GENERAL:

·4· · · · · · LOUIS J. CAPOZZI (Appeared Remotely)
· · · · · · · JONES DAY
·5· · · · · · 51 Louisiana Avenue, Northwest
· · · · · · · Washington, DC· 20001
·6· · · · · · lcapozzi@jonesday.com

·7
· · FOR DAN HAYES, CHARLIE JOHNSON, AND BRIDGETTE
·8· ESCABEDO, IN THEIR OFFICIAL CAPACITIES AS TRAVIS
· · COUNTY CLERKS AND DISTRICT ATTORNEY, RESPECTIVELY:
·9
· · · · · · · ANTHONY J. NELSON
10· · · · · · PATRICK T. POPE
· · · · · · · TRAVIS COUNTY ASSISTANT COUNTY ATTONEY
11· · · · · · 314 West 11th Street, Fifth Floor
· · · · · · · Austin, Texas· 78767
12· · · · · · tony.nelson@traviscountytx.gov
· · · · · · · patrick.pope@traviscountytx.gov
13

14· FOR HIDALGO COUNTY ELECTIONS ADMINISTRATOR DELIA
· · GARZA:
15
· · · · · · · LEIGH ANN TOGNETTI (Appeared Remotely)
16· · · · · · ASSISTANT DISTRICT ATTORNEY
· · · · · · · 100 East Cano, First Floor
17· · · · · · Hidalgo County Courthouse Annex III
· · · · · · · Edinburg, Texas· 78539
18· · · · · · leigh.tognetti@da.co.hidalgo.tx.us

19

20· ALSO PRESENT:

21· · · · · · GABE HODGE, paralegal for Mr. Nelson

22

23

24

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·1· I was hoping you could just give me, like, a broad
·2· breakdown of how that works.
·3· · · ·A.· ·Sure.· As ballots come back in, we -- what
·4· our office, as the early voting clerk typically does,
·5· is rip a slip.· If you're familiar with that, there's
·6· a slip that conceals the ID of the voter.· Rip those
·7· and they are sorted by staff between ballots that have
·8· an ID of some sort and those that do not.· Those that
·9· do not are placed into a separate batch for
10· expediency's sake; so when they do go to the signature
11· verification committee, they can be rejected
12· immediately, and we can start that cure process.
13· Others are batched with the assumption that the ID is
14· correct, and those will then be reviewed by the
15· signature verification committee as well.· And they're
16· the ones that actually do the comparison between the
17· ID that's on the ballot envelope and what the voter
18· registration system has on record.· If a ballot
19· envelope or ballot is rejected, we go through our --
20· the typical steps of sending a notice by mail to the
21· voter.· Every voter will get one by mail.· If they
22· provide an email, we will also send a copy of that to
23· that voter.· If they have a -- if they provided a
24· phone number, we will then have staff reach out by
25· phone and attempt to resolve the defect that way,




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·1· either through pointing them through or even walking
·2· them through the state tracker if it's curable with
·3· that method or indicating to them the steps that would
·4· need to be taken in order to cure those defects.· And
·5· any other defects that might be found by the early
·6· voting ballot board, it's the same exact process.
·7· · · ·Q.· ·Okay.· And so you mentioned that you
·8· would -- depending on whether you had the information,
·9· you would mail a notice for everyone, email if
10· possible, and phone if possible; is that right?
11· · · ·A.· ·That's correct.
12· · · ·Q.· ·And just to clarify something you said at
13· the beginning where the EDC is taking the flap and
14· checking to see if there is or is not a number and
15· separating those out for expediency's sake if there is
16· not a number, the EDC would always pass those to the
17· SBC rather than the EDC taking action at that point,
18· is that correct?
19· · · ·A.· ·That is correct, yes.
20· · · ·Q.· ·Okay.
21· · · ·A.· ·We want the signature verification clerk
22· making that determination that those are, in fact,
23· defective.
24· · · ·Q.· ·Okay.
25· · · ·A.· ·And typically that is sent to them first so




                             OCA-APPX-0365
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·1· they can take care of that quickly and we can get
·2· moving on with our reaching out.
·3· · · ·Q.· ·The notices of rejection that you would send
·4· to voters, did you use the Secretary of State's forms
·5· for that?
·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·Okay.· Was there any sort of cutoff in time
·8· after which you no longer attempted to provide notice
·9· and an opportunity to cure?
10· · · ·A.· ·We will provide notice up until the final
11· date that the ballot can't be received.
12· · · ·Q.· ·And so would you agree that Travis County
13· made every reasonable effort to provide notice and an
14· opportunity to cure for voters whose ABBMs were
15· flagged for rejection due to SB-1's ID matching
16· requirements?
17· · · ·A.· ·So you're referring to ABBM as the
18· application.
19· · · ·Q.· ·Yes.
20· · · ·A.· ·So we're moving from the ballot to the
21· application?
22· · · ·Q.· ·I'm sorry.· Let's just stick with the
23· ballots for now.
24· · · ·A.· ·Okay.
25· · · ·Q.· ·Would you agree that Travis County made




                             OCA-APPX-0366
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·1· every reasonable effort to provide notice and an
·2· opportunity to cure for voters whose mail ballots were
·3· flagged for rejection due to SB-1's ID matching
·4· requirements?
·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·And despite these efforts, hundreds of mail
·7· ballots were ultimately rejected due to SB-1's ID
·8· matching requirements?
·9· · · ·A.· ·Over the course of 2022, yes.
10· · · ·Q.· ·In the November '22 general election, sorry.
11· · · ·A.· ·In the November '22 election, I'm sure I
12· provided those numbers.· I don't have them on the top
13· of my head, but if it is in the hundreds, then that
14· sounds correct.
15· · · ·Q.· ·We'll go back over that and confirm that
16· shortly.· I guess, then, can we sort of walk through
17· the same broad overview of the cure efforts for the
18· ABBMs that were flagged for rejection due to the ID
19· matching requirements?
20· · · ·A.· ·The applications, we typically get those and
21· if it is rejected, we will send a rejection notice.
22· We were not making phone calls with respect to the
23· ABBMs, but they do get the state form by mail or
24· email, if email is available.· Typically, we're not
25· calling.· The time frame between the date you can




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·1· apply for a ballot by mail is typically longer, and we
·2· typically also do not have the staff because the
·3· signature verification could be making those phone
·4· calls to cure on the ballot side.· It's not something
·5· we are currently doing for the application side.
·6· · · ·Q.· ·So when the signature verification committee
·7· is meeting, you have a substantially larger number of
·8· people available to make those phone calls, and that's
·9· why you do it then?
10· · · ·A.· ·Yes.
11· · · ·Q.· ·Okay.· That all makes sense.· So switching
12· topics a little bit and going to the -- well, let's
13· start with this:· Travis County -- if I say that
14· Travis County is an offline county, do you know what I
15· mean by that?
16· · · ·A.· ·Yes.
17· · · ·Q.· ·Can you tell me what you understand an
18· offline county to be?
19· · · ·A.· ·An offline county is a county that does not
20· use the state's voter registration system team.· We
21· use our own local program, which does have an
22· interface with Team.· That's not our main program that
23· we use to manage our voter registration and ballots by
24· mail.· Those types of things.
25· · · ·Q.· ·So I'm going to ask you later a few




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·1· can then be approved -- the application can be
·2· approved, the one that was previously filed.
·3· · · ·Q.· ·And so, in that instance, when you first
·4· checked and sent the rejection notice, it didn't have
·5· a number, then you get notification that they followed
·6· through with that, and then you check again and it
·7· does have a number.· You've seen that happen; is that
·8· true?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·Okay.· Do you know if a voter can add an
11· identification number to their voter file through
12· votetexas.gov?
13· · · ·A.· ·Once again, that would be a question posed
14· to voter registration.
15· · · ·Q.· ·Okay.· What about through corrective action
16· forms that are supplied with notices of ballot
17· rejections?
18· · · ·A.· ·The corrective action form that is filed
19· with the early voting clerk does not include a pathway
20· to update a voter registration, if I remember.
21· · · ·Q.· ·And so that form would only successfully
22· cure in the event that there was one -- let's break it
23· down.
24· · · · · · It would only successfully cure first if a
25· voter had mistakenly not included the number in the




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·1· first place; is that correct?
·2· · · ·A.· ·On the ballot?
·3· · · ·Q.· ·On the carrier envelope.
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And could it also cure a defect if there was
·6· an input or typographical error in the way the voter
·7· had input their number on the carrier envelope and
·8· then they could fix that?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·But it would not be able to cure a defect
11· where the voter file had a different number, even if
12· the -- let's just say hypothetically the voter had
13· their driver's license that's current in front of them
14· and they are inputting it perfectly onto the carrier
15· but it doesn't match what's in the database, the
16· correction action form could not fix that?
17· · · ·A.· ·That's correct.
18· · · ·Q.· ·Okay.· And would everything we just said
19· about what the corrective action form can fix be the
20· same for the -- okay.· This will be too confusing.
21· One of the things it says on the rejection form is
22· that you can also take corrective action through
23· rewriting the number on the carrier envelope itself,
24· and/or, I presume, if the carrier envelope did not
25· have the number, you could put it in and then resend




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·1· it back without using the corrective action form.· Is
·2· that accurate to your knowledge?
·3· · · ·A.· ·That is.· In the event that the ballot is
·4· returned to the voter.
·5· · · ·Q.· ·Okay.· And in that case, if the voter were
·6· to do that, it would be able to correct the same
·7· issues as a corrective action form but not change
·8· their number in the voter file; is that correct?
·9· · · ·A.· ·Correct.
10· · · ·Q.· ·Okay.· Thank you.· And do you have any idea
11· if a voter could add a number to their local voter
12· file through the state's online mail ballot tracker?
13· · · ·A.· ·That's a question for voter registration.
14· · · ·Q.· ·Okay.· And then how would Travis County
15· verify the accuracy of an added identification number,
16· like, through some sort of; live check process or
17· anything like that?
18· · · ·A.· ·Certainly a question for voter registration.
19· · · ·Q.· ·And I have all the same questions about
20· changing or updating a number versus adding a number.
21· Would those also be questions for the voter registrar?
22· · · ·A.· ·Yes.
23· · · ·Q.· ·Okay.· But with respect to what you did tell
24· me about the use of the corrective action forms or
25· rewriting the number on the carrier envelope for




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·1· voters to whom the carrier envelope was returned, that
·2· sort of corrective action would, to your knowledge,
·3· not be able to update the voter file in addition to
·4· not being able to add a number; is that correct?
·5· · · ·A.· ·Correct.· You can not alter voter
·6· registration files based off of those documents.
·7· · · ·Q.· ·Okay.· Thank you.· So I'm going to hand you
·8· something that we'll mark as Exhibit Number 3.· So do
·9· you recognize this document?
10· · · ·A.· ·I do.
11· · · ·Q.· ·And you'll see at the bottom right that
12· there is what's called a Bates number that says
13· 064.128584; do you see that?
14· · · ·A.· ·Yes.
15· · · ·Q.· ·And that means that this was a document that
16· was produced by Travis County in this litigation.· Do
17· you understand that?
18· · · ·A.· ·Yes.
19· · · ·Q.· ·Okay.· And so I'm just going to read what's
20· at the top.· It says, "Notice of Rejected Application
21· for Ballot by Mail;" is that correct?
22· · · ·A.· ·Yes.
23· · · ·Q.· ·And then in the upper top left corner, just
24· for the record, this says 6-4 prescribed by the
25· Secretary of State, correct?




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·1· · · ·A.· ·That's correct.
·2· · · ·Q.· ·And this is an example of one of the
·3· rejection forms that Travis County would use when
·4· mailing out a notice of rejection of an ABBM, correct?
·5· · · ·A.· ·Correct.
·6· · · ·Q.· ·And so this particular form is specifically
·7· for where the voter registration record does not have
·8· an identification number associated with it; is that
·9· correct?
10· · · ·A.· ·That's correct.
11· · · ·Q.· ·And so that means that there's no number in
12· the voter's file; is that correct?· Not one of the
13· numbers that is required by SB-1, is not in the
14· voter's file?
15· · · ·A.· ·Correct.
16· · · ·Q.· ·And so there are two forms of cure that are
17· set out on this notice.· One is to submit an updated
18· voter registration application.· That's the first
19· option; is that correct?
20· · · ·A.· ·That's correct.
21· · · ·Q.· ·And the second is to update your voter
22· registration record online at texas.gov; is that
23· correct?
24· · · ·A.· ·That is correct.
25· · · ·Q.· ·And both of these would be for adding a




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·1· number to your voter file; is that correct?
·2· · · ·A.· ·That is correct.
·3· · · ·Q.· ·And at the bottom of the form in the -- I
·4· guess it's the third to last -- no, second to last
·5· paragraph, it says in bold letters, "Note:· You cannot
·6· add the required personal identification numbers to
·7· your voter registration record by submitting a new
·8· application."· Is that correct?
·9· · · ·A.· ·That is correct.
10· · · ·Q.· ·And is that your understanding of the rules
11· in the law?
12· · · ·A.· ·Yes, that is.
13· · · ·Q.· ·Okay.· And so if somebody did submit a
14· new -- a number on their application, but your voter
15· file shows that there was no number associated with
16· them, you would not add that number to their voter
17· file; is that correct?
18· · · ·A.· ·That is correct.
19· · · ·Q.· ·And just as an aside, you would be able to
20· associate the applicant with their voter file in your
21· system even in the absence of one of these numbers; is
22· that correct?
23· · · ·A.· ·That is correct.
24· · · ·Q.· ·Because you would have to look up their file
25· to see if they had a number in the first place; is




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·1· that correct?
·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·Okay.· And so I'm going to hand you
·4· something that's marked as Exhibit Number -- I'm going
·5· to mark as Exhibit Number 4, and I'll just give you a
·6· second to look over that.
·7· · · ·A.· ·Okay.
·8· · · ·Q.· ·And so I'm just going to read this as
·9· Section 84.014, "Action by Early Voting Clerk on
10· Certain Applications;" is that correct?
11· · · ·A.· ·That is correct.
12· · · ·Q.· ·And so this is a section of the Texas
13· Election Code that I have just read out, and I'm just
14· going to read -- it's very short, so I'm just going to
15· read what it says.· "If an applicant provides a date
16· of birth, driver's license number, or social security
17· number on the applicant's application for an early
18· voting ballot to be voted by mail that is different
19· from or in addition to the information maintained by
20· the voter registrar in accordance with Title II of the
21· election code, the early voting clerk shall notify the
22· voter registrar.· The voter registrar shall update the
23· voter's record with the information provided by the
24· applicant."· Was that a correct reading?
25· · · ·A.· ·That's what it says.




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·1· · · ·A.· ·I do not know the specific mechanisms of how
·2· voter registration pulls those numbers in.· All I know
·3· is they pull up a file and those numbers appear on the
·4· voter files for us to then compare against the
·5· application or ballot.
·6· · · ·Q.· ·Okay.· And just to retread what you said
·7· earlier and clarify:· When checking the local database
·8· versus Team, is the procedure always to check the
·9· local database first and if there is a match, you stop
10· there?
11· · · ·A.· ·Correct.
12· · · ·Q.· ·And you only consult Team if needed; is that
13· correct?
14· · · ·A.· ·Correct.
15· · · ·Q.· ·Okay.· And then I've got one more exhibit
16· here.· I will mark this Exhibit Number 5.· So I will
17· just give you a second to look over that.· Have you
18· seen this before?
19· · · ·A.· ·Yes, I have.
20· · · ·Q.· ·And I'll just read the title, "Defendant
21· Dyana Limon-Mercado's Objections and Responses to OCA
22· Plaintiff's First Set of Interrogatories;" is that
23· correct?
24· · · ·A.· ·That is correct.
25· · · ·Q.· ·And so -- let me see here.· I'm just going




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·1· requirement, did any voters indicate confusion with
·2· the process?
·3· · · ·A.· ·We had several phone calls.· People seeking
·4· clarification on how that process would work, yes.
·5· · · ·Q.· ·So I'm going to turn a little bit to the
·6· sort of mechanics of the processing of ABBMs and mail
·7· ballots.· When your office receives an ABBM, how does
·8· your office look up that voter's voter file?
·9· · · ·A.· ·Depends on the information that they give
10· us.· If they provide a VUID, which is the state ID, we
11· typically look it up that way.· If not, then we'll do
12· a name and date of birth match to find the voter that
13· matches the information on the rest of the
14· application.
15· · · ·Q.· ·The same question for carrier envelopes.
16· How does your office pull up a voter's file once
17· you've received a carrier envelope?
18· · · ·A.· ·Well, the carrier envelope includes a unique
19· identification number that is tied specifically to
20· that voter.· So it is a much, much simpler process.
21· Once that is received, it can be scanned and tied
22· immediately to that voter that it has been received
23· before it goes onto signature verification to continue
24· verifying all the information on it.
25· · · ·Q.· ·And that's a bar code that's on the carrier




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·1· envelope that you provide to the voter and to send
·2· back to you?
·3· · · ·A.· ·That's correct.
·4· · · ·Q.· ·Does your office use the driver's license or
·5· social security number for any purpose beyond
·6· determining whether an ABBM or mail ballot can be
·7· accepted in light of Senate Bill 1?
·8· · · ·A.· ·Other than as an additional piece of
·9· information to help research the voter to find out who
10· the application might be for -- but it would be very
11· rare -- no.
12· · · ·Q.· ·Is there ever an instance where --
13· withdrawn.
14· · · · · · Can you think of an instance where you were
15· unable to look up a voter based on name, birth date,
16· and other identification -- other information on their
17· ballot aside from a driver's license or social
18· security number?
19· · · ·A.· ·That does happen occasionally.
20· · · ·Q.· ·Previous to Senate Bill 1, were you ever
21· unable to look up a voter's file with the information
22· provided on an ABBM or carrier envelope?
23· · · ·A.· ·Yes.
24· · · ·Q.· ·Would you be able to look up -- does your
25· county send out notices of final rejection?· This is




                             OCA-APPX-0378
                                                                                 YVer1f
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   Charlie Johnson                                                  March 29, 2023
                                                                           Page 51


·1· workflow.· What is a situation where you have a
·2· voter's full name, date of birth, and address you
·3· would need to use a driver's license or SSN to look
·4· them up?
·5· · · ·A.· ·I wouldn't see a reason to use one of those
·6· to look them up.
·7· · · ·Q.· ·So -- let's actually -- let's make this
·8· Exhibit 7.· And this is the document that says at the
·9· top, "Don't forget your ID numbers."· Do you recognize
10· this document?
11· · · ·A.· ·I do.
12· · · ·Q.· ·And there's two pages if you want to take a
13· moment to review.· So the flyer on the first page,
14· would you mind telling us what that is?
15· · · ·A.· ·On the first page is the insert that we
16· would include and a request for an application for
17· ballot by mail.· It is just included in the envelope
18· along with the application itself as a reminder to
19· include one or the other or both IDs when returning
20· the application back to our office.
21· · · ·Q.· ·And it says at the bottom, "We recommend
22· providing both."· Is that correct?
23· · · ·A.· ·That's correct.
24· · · ·Q.· ·And why is it you recommend providing both?
25· · · ·A.· ·Secretary of State's office has indicated




                             OCA-APPX-0379
                                                                                 YVer1f
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                                                                           Page 52


·1· that is the best practice -- to include both -- just
·2· in case if the voter registration system is missing
·3· one or the other.· We have both in which to verify.
·4· · · ·Q.· ·So the second page says, "Don't forget your
·5· ID numbers," as well.· What is this document?
·6· · · ·A.· ·Very similar.· It is included in the ballot
·7· package that we send out along with all of the other
·8· prescribed documents, including the ballots, to remind
·9· our voters to include their IDs on their carrier
10· envelope.· One or the other or both as we recommend.
11· · · ·Q.· ·And were you involved in the development of
12· these documents?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·Why did your office decide to develop these
15· inserts?
16· · · ·A.· ·We decided in the spring of 2022 we wanted
17· to take an extra measure to educate our voters to
18· include those numbers in an effort to reduce our
19· rejection rate.
20· · · ·Q.· ·Do you feel you were effective in lowering
21· the rejection rate?
22· · · ·A.· ·I do.
23· · · ·Q.· ·What is your basis for that belief?
24· · · ·A.· ·Well, it's speculation based off of gut
25· feeling.· But the rejection rates did decline, to my




                             OCA-APPX-0380
                                                                                 YVer1f
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                                                                           Page 74


·1· together because they sort of are a pair.· Exhibit 8
·2· reads, "Notice of Carrier Defect, Carrier Envelope
·3· Returns to the Voter by mail;" is that right?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And at the top left, it says, "Prescribed by
·6· the Secretary of State," and then, in parenthesis,
·7· 8-23, correct?· And was this the form that Travis
·8· County used to mail notices of rejected mail ballots
·9· when time permitted the return of the carrier envelope
10· to the voter?
11· · · ·A.· ·That would be our form, yes.
12· · · ·Q.· ·Okay.· And Exhibit 8 [sic] is a very similar
13· form.· The title is "Notice of Carrier Defect, Voter
14· Notified of Carrier Envelope Defect by Phone or
15· Email."· In the top left, it says, "Prescribed by
16· Secretary of State," and in parenthesis, 8-24; is that
17· correct?
18· · · ·A.· ·Yes, it's Exhibit 9.
19· · · ·Q.· ·Yes, Exhibit 9.· And in this case, it does
20· have a Bates number in the bottom left, 064.128072,
21· indicating that it was produced in discovery.· I just
22· did not see an equivalent on Exhibit 8.· But these are
23· both the forms that you would use to notify a voter
24· that their mail-in ballot had been rejected for
25· identification number reasons, correct?




                             OCA-APPX-0381
                                                                                 YVer1f
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                                                                           Page 75


·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·And Number 9 would be by phone or email
·3· because, based on best guesses with the speed of the
·4· U.S. Postal Service, you didn't think there was time
·5· to return the carrier envelope and get it back; is
·6· that right?
·7· · · ·A.· ·That is correct.
·8· · · ·Q.· ·Okay.· And so if we look at Exhibit 8 and go
·9· to "Defect Correction Process by Number" in the middle
10· and "Defect Number 4."· If you want to just read that
11· to yourself quickly.
12· · · ·A.· ·Yes.
13· · · ·Q.· ·And then also correcting Defect Number 4
14· using the ballot-by-mail tracker under that.
15· · · ·A.· ·Yes.· Gotcha.
16· · · ·Q.· ·And so these are the ways that a voter is
17· instructed to correct an error with their ID numbers;
18· is that correct?
19· · · ·A.· ·That is correct.
20· · · ·Q.· ·And on this form, Exhibit 8, there are three
21· ways to do that.· You can do that through the mail
22· ballot tracker online, you can do that through the
23· collective action form, and you can do it on the
24· carrier envelope itself because that had been returned
25· to the voter, correct?




                             OCA-APPX-0382
                                                                                 YVer1f
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                                                                           Page 87


·1· not identify the voter?· So setting aside the legal
·2· requirement.
·3· · · · · · · · ·MR. NELSON:· Objection.· Form.
·4· · · ·A.· ·It's not something I really --
·5· · · · · · · · ·MR. NELSON:· I'm going to instruct,
·6· don't speculate.· I mean, if you know or have an
·7· answer, then you can answer.· But don't speculate.
·8· · · ·A.· ·I am not qualified philosophically to answer
·9· that question.
10· · · ·Q.· ·Okay.· So next I want to turn to the voter
11· lookup function for carrier envelopes.· Is an SSN or
12· ID that's provided on the envelope ever necessary to
13· match the voter file to the carrier envelope?
14· · · ·A.· ·Very rarely because of the bar code that I
15· mentioned earlier.· That is typically what we use to
16· link the carrier envelope to the voter profile.
17· · · ·Q.· ·What would be a circumstance where you would
18· need to use an SSN or ID to match a voter file to the
19· carrier envelope?
20· · · ·A.· ·It's a possibility for an FBC voter -- it's
21· a Texas term for the -- you call the voters for the
22· folks that are get their ballot electronically.· They
23· will mail them using their own envelope.· It is
24· possible, assuming that their SSN is available for us
25· to see without having to open it up.· Then we might




                             OCA-APPX-0383
                                                                                 YVer1f
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·1· have to use that because there's no bar code.
·2· Theoretically, that could happen, but that would be
·3· very rare.
·4· · · ·Q.· ·And FBC voter's carrier envelope, do they
·5· also provide their name and...
·6· · · ·A.· ·They do.
·7· · · ·Q.· ·Could you use their name to look up the
·8· voter?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·Would it surprise you to know that an expert
11· witness retained by the United States found that some
12· mail voters in your county had their ballots rejected
13· by no fault of their own, but because of database
14· issues?
15· · · ·A.· ·What kind of database issues?
16· · · ·Q.· ·Issues in Team.
17· · · ·A.· ·It's possible.· I think we spoke earlier
18· about human error, yes, that is certainly possible.                     I
19· would not be surprised.
20· · · ·Q.· ·No further questions from the United States.
21· · · · · · · · · ·FURTHER EXAMINATION
22· BY MR. WASSDORF:
23· · · ·Q.· ·A moment ago, when you were speaking with
24· Mr. Dolling, he made a point of the carrier envelope
25· and the instructions to first provide a driver's




                             OCA-APPX-0384
                                                                                 YVer1f
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   Charlie Johnson                                                  March 29, 2023
                                                                           Page 92


·1· · · · · · · · · ·CHANGES AND SIGNATURE
·2· PAGE· · · LINE· · · · · · · · CHANGE· · REASON
·3· ______________________________________________________
·4· ______________________________________________________
·5· ______________________________________________________
·6· ______________________________________________________
·7· ______________________________________________________
·8· ______________________________________________________
·9· ______________________________________________________
10· ______________________________________________________
11· ______________________________________________________
12· ______________________________________________________
13· ______________________________________________________
14· ______________________________________________________
15· ______________________________________________________
16· ______________________________________________________
17· ______________________________________________________
18· ______________________________________________________
19· ______________________________________________________
20· ______________________________________________________
21· ______________________________________________________
22· ______________________________________________________
23· ______________________________________________________
24· ______________________________________________________
25· ______________________________________________________




                             OCA-APPX-0385
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     Charlie Johnson                                                  March 29, 2023
                                                                             Page 93


·1· · · · · · I, CHARLIE JOHNSON, have read the foregoing

·2· deposition and hereby affix my signature that same is

·3· true and correct, except as noted above.

·4

·5· · · · · · · · · · · · · ______________________________
· · · · · · · · · · · · · · CHARLIE JOHNSON
·6

·7· THE STATE OF TEXAS· )

·8· COUNTY OF TRAVIS· · )

·9· · · · · · Before me, ___________________________, on

10· this day personally appeared CHARLIE JOHNSON, known to

11· me (or proved to me under oath or through

12· _____________________) (description of identity card

13· or other document) to be the person whose name is

14· subscribed to the foregoing instrument and

15· acknowledged to me that they executed the same for the

16· purposes and consideration therein expressed.

17

18· · · · · · Given under my hand and seal of office this

19· _______ day of _______________________, 2023.

20

21

22

23
· · · · · · · ·___________________________________________
24· · · · · · ·Notary Public in and for the State of Texas

25




                               OCA-APPX-0386
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   Charlie Johnson                                                  March 29, 2023
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·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO, ET AL.,)(
· · · · ·Plaintiffs,· · · · · · · · · ·)(
·4· · · · · · · · · · · · · · · · · · ·)(· Case No.:
· · V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0844-XR
·5· · · · · · · · · · · · · · · · · · ·)(
· · TEXAS, ET AL.,· · · · · · · · · · ·)(
·6· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
·7
· · OCA-GREATER HOUSTON, ET AL.,· · · ·)(
·8· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(
·9· V.· · · · · · · · · · · · · · · · ·)(· Case No.:
· · · · · · · · · · · · · · · · · · · ·)(· 1:21-cv-0780-XR
10· TEXAS SECRETARY OF STATE· · · · · ·)(
· · JANE NELSON, ET AL.,· · · · · · · ·)(
11· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
12
· · HOUSTON AREA URBAN LEAGUE, ET AL., )(
13· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(· Case No.:
14· V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0848-XR
· · · · · · · · · · · · · · · · · · · ·)(
15· GREGORY WAYNE ABBOTT, ET AL.,· · · )(
· · · · ·Defendants.
16· ______________________________________________________

17· LULAC TEXAS, ET AL.,· · · · · · · ·)(
· · · · ·Plaintiffs,· · · · · · · · · ·)(
18· · · · · · · · · · · · · · · · · · ·)(· Case No.:
· · V.· · · · · · · · · · · · · · · · ·)(· 1:21-cv-0786-XR
19· · · · · · · · · · · · · · · · · · ·)(
· · JANE NELSON, ET AL.,· · · · · · · ·)(
20· · · ·Defendants.· · · · · · · · · ·)(
· · ______________________________________________________
21
· · MI FAMILIA VOTA, ET AL.,· · · · · ·)(
22· · · ·Plaintiffs,· · · · · · · · · ·)(
· · · · · · · · · · · · · · · · · · · ·)(· Case No.:
23· V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-0920-XR
· · · · · · · · · · · · · · · · · · · ·)(
24· GREG ABBOTT, ET AL.,· · · · · · · ·)(
· · · · ·Defendants.· · · · · · · · · ·)(
25· ______________________________________________________




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   Charlie Johnson                                                  March 29, 2023
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·1· THE UNITED STATES OF AMERICA,· · · )(
· · · · ·Plaintiff,· · · · · · · · · · )(
·2· · · · · · · · · · · · · · · · · · ·)(· Case No.
· · V.· · · · · · · · · · · · · · · · ·)(· 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · · · · · ·)(
· · STATE OF TEXAS, ET AL.,· · · · · · )(
·4· · · ·Defendants.· · · · · · · · · ·)(

·5· · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · ORAL 30(b)(6) DEPOSITION OF
·6· · · · · · · TRAVIS COUNTY CLERK'S OFFICE
· · · · · · · · · · · · CHARLIE JOHNSON
·7· · · · · · · · · · · March 29, 2023

·8· · · · · · I, STEPHANIE DAVIS, Certified Shorthand

·9· Reporter in and for the State of Texas, hereby certify

10· to the following:

11· · · · · · That the witness, CHARLIE JOHNSON, was duly

12· sworn by the officer and that the transcript of the

13· oral deposition is a true record of the testimony

14· given by the witness;

15· · · · · · I further certify that pursuant to FRCP Rule

16· 30(f)(1) that the signature of the deponent:

17· · · · · · __X__ was requested by the deponent or a

18· party before the completion of the deposition and that

19· the signature is to be before any notary public and

20· returned within 30 days from the date of receipt of

21· the transcript.· If returned, the attached Changes and

22· Signature Page contains any changes and the reasons

23· therefor;

24· · · · · · ___ was not requested by the deponent or a

25· party before the completion of the deposition.




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·1· · · · · · I further certify that I am neither counsel

·2· for, related to, nor employed by any of the parties or

·3· attorneys in the action in which the proceeding was

·4· taken, and further that I am not financially or

·5· otherwise interested in the outcome of the action.

·6

·7· · · · · · Certified to by me this _________ day of

·8· ___________________, 2023

·9

10

11

12

13
· · · · · · · · · · · · STEPHANIE DAVIS, TEXAS CSR 11355
14· · · · · · · · · · · Expiration Date:· 11-30-2023
· · · · · · · · · · · · MAGNA LEGAL SERVICES
15· · · · · · · · · · · Firm Registration No. 633
· · · · · · · · · · · · 1635 Market Street
16· · · · · · · · · · · Suite 800
· · · · · · · · · · · · Philadelphia, Pennsylvania 19103
17· · · · · · · · · · · Telephone:· 866-624-6621
· · · · · · · · · · · · Facsimile:· 215-207-9462
18

19

20

21

22

23

24

25




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                 Exhibit 19




                         OCA-APPX-0390
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                            In The Matter Of

                   La Union Del Pueblo Entero, et al.,

                                  Plaintiffs

                                      v

                          State Of Texas, et al.,

                                Defendants


                                   CASE

                                5:21-cv-844

                                    Date

                                 4-28-2022

                                 Witness

                         Brian Keith Ingram, J.D.




                           Certified Copy
                             Transcript


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  1             IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
  2                  SAN ANTONIO DIVISION
  3    LA UNION DEL PUEBLO         §
       ENTERO, ET AL.,         §
  4         Plaintiffs,   § Civil Action No.
                        § 5:21-cv-844 (XR)
  5    VS.                § (Consolidated Cases)
                        §
  6    STATE OF TEXAS, ET AL.     §
            Defendants.      §
  7    **************************************************
  8                  ORAL DEPOSITION OF
                    BRIAN KEITH INGRAM, J.D.
  9              CORPORATE REPRESENTATIVE FOR THE
                 TEXAS SECRETARY OF STATE OFFICE
 10                   APRIL 28, 2022
 11    **************************************************
 12           ORAL DEPOSITION OF BRIAN KEITH INGRAM, J.D.,
 13    CORPORATE REPRESENTATIVE FOR THE TEXAS SECRETARY OF
 14    STATE OFFICE produced as a witness at the instance of
 15    the Plaintiffs and Plaintiff-Intervenors, and duly
 16    sworn, was taken in the above-styled and numbered cause
 17    on the 28th day of April 2022, from 9:03 a.m. to
 18    3:18 p.m., before Caroline Chapman, CSR in and for the
 19    State of Texas, reported by Computerized Stenotype
 20    Machine, Computer-Assisted Transcription, held at the
 21    rice Daniel Sr State Office Building, 209 West 14th
 22    Street, Austin, Texas, and via web-based conference
 23    pursuant to the Federal Rules of Civil Procedure.
 24

 25

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 25        ldavis@drtx.org

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4/28/2022
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  1             A P P E A R A N C E S (CONTINUED)
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  1              A P P E A R A N C E S (CONTINUED)
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 20                Julie Longoria
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  1       A.   I don't know what you're asking. Are you
  2    asking if we had any trouble that people we have got the
  3    wrong number for them, no evidence of that. The problem
  4    we had was people didn't supply numbers.
  5       Q.   Did your office assess, after the fact, whether
  6    voters supplied the numbers that you brought in on
  7    December 20th on ABBM?
  8       A.   No. We haven't compared those, no. But the
  9    problem that voters had was not wrong numbers. The
 10    problem was no number on the carrier envelopes.
 11       Q.   Sitting here today, do you know if the
 12    December 20th process reduced ABBM rejections, did you
 13    assess that at all?
 14       A.   How would we?
 15       Q.   By looking at whether the voters subject to
 16    that match then submitted ABBMs and voted by mail?
 17       A.   We haven't done that, no.
 18       Q.   If we could mark this as Exhibit 7.
 19               (Exhibit No. 7 marked.)
 20       Q.   (By Mr. Freeman) I will represent to you that
 21    this is an excerpt of the Chapter 84 of the Texas
 22    Election Code. I would like to ask you a couple of
 23    questions about Section 84.014. What is the effect of
 24    this provision?
 25       A.   I don't know what you mean.

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  1       Q.   What does this provision require when an
  2    applicant provides a date of birth, driver's license
  3    number or social security number on an application for
  4    an early voting ballot that is different from what it --
  5    or in addition to what is in TEAM?
  6               MS. HUNKER: Objection, form. Calls for a
  7    legal conclusion. Compound.
  8       A.   This is -- it requires the voter's reg --
  9    start-up date, the voter's record with the updated
 10    information that was provided on the ABBM.
 11       Q.   Have you provided any guidance regarding this
 12    provision?
 13       A.   We have.
 14       Q.   Is it in the Early Voting Ballot Board and
 15    Signature Verification Committee Handbook?
 16       A.   Well, I -- you know, probably. The place where
 17    it would be also is in the advisory.
 18       Q.   Which advisory?
 19       A.   The advisory that we have done on this new
 20    process. I think we have got a couple of them.
 21       Q.   Were those issued in 2017, 2018?
 22       A.   No. No. Since SB 1.
 23       Q.   Regarding 84.014?
 24       A.   Sure.
 25       Q.   Okay. How does this provision interact with

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  1    SB 1?
  2       A.   Well, that -- that's something that we had
  3    to -- we had to decide, how does this interact, because
  4    if a voter can just put any number and it becomes the
  5    de facto number of their -- then SB 1 is gone. So we
  6    had to say that, if the first time you have got a number
  7    is on an application for ballot by mail, you can't use
  8    84.014 to update the voter's record by itself. If you
  9    get something else, if you get a copy of the driver's
 10    license with the ABBM, if you get an updated voter
 11    registration application that comes with the ABBM that
 12    also has the number on it, then you can. But you can
 13    just take the number on the ABBM and update the voter's
 14    record and issue one without the ABBM, that would be
 15    comparing A to A and tautology.
 16       Q.   Is that additional requirement of a copy of a
 17    driver's license or something akin to that in the
 18    statute itself?
 19       A.   It is not.
 20               MS. HUNKER: Objection, form.
 21       A.   It is something we had to say, part of our job
 22    in the Secretary of State's Office with regard to
 23    statutes is to harmonize them to make them both make
 24    sense. That's the way we harmonized this one. Because
 25    this, obviously, predates SB 1. SB 1 is the more

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  1    tracker.
  2       Q.   Am I correct that this is the only way to
  3    correct an ABBM online?
  4               MS. HUNKER: Objection, form.
  5       A.   Well --
  6               MS. HUNKER: Misstates testimony.
  7       A.   No.
  8       Q.   How else can a voter correct and --
  9       A.   So if they don't have the number in their voter
 10    registration record --
 11       Q.   Uh-huh.
 12       A.   -- they can fix that by going to Texas.gov
 13    which is not the ballot by mail tracker.
 14       Q.   What fields are required to access the ballot
 15    tracker?
 16       A.   The ones with asterisks by them.
 17       Q.   Does that include social security number and
 18    driver's license number?
 19       A.   It does. Last four of social.
 20       Q.   Is this required by statute or by your policy?
 21       A.   Statute.
 22       Q.   And do these fields need to match what's on
 23    TEAM?
 24       A.   They do.
 25       Q.   And so if a voter doesn't have both, an SSN-4

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  1    and a DPS number on TEAM, are they able to use the
  2    ballot tracker?
  3       A.   Not directly. They have to go to Texas.gov to
  4    supply the missing number first.
  5       Q.   Okay. And if a voter has never been issued a
  6    Texas driver's license number, can the voter use the
  7    ballot tracker to correct online?
  8       A.   If they have a personal ID number, election
  9    identification certificate number, yes.
 10       Q.   If the voter has never been issued a driver's
 11    license number, personal identification number, or an
 12    election identification certificate number can that
 13    voter use the ballot tracker to correct online?
 14       A.   They cannot.
 15       Q.   If a voter's Texas driver's license number or a
 16    partial security number has a typo in TEAM, can the
 17    voter access the ballot tracker without knowing the
 18    erroneous number in TEAM?
 19       A.   They would have to know the erroneous number in
 20    TEAM.
 21       Q.   Are there any other categories of voter who
 22    cannot use the ballot tracker?
 23               MS. HUNKER: Objection, form.
 24       A.   People who don't have a computer or internet
 25    access.

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  1    __________________________________________________
  2    __________________________________________________
  3    __________________________________________________
  4    __________________________________________________
  5    __________________________________________________
  6               I, BRIAN KEITH INGRAM, J.D., have read the
  7    foregoing deposition and hereby affix my signature that
  8    same is true and correct, except as noted above.
  9
                      ____________________________
 10                   BRIAN KEITH INGRAM, J.D.
 11    STATE OF TEXAS        )
 12    COUNTY OF TRAVIS )
 13               Before me,______________________, on this
 14    the day personally appeared BRIAN KEITH INGRAM, J.D.,
 15    known to me to be the person whose name is subscribed to
 16    the foregoing instrument and acknowledge to me that they
 17    executed the same for the purposes and consideration
 18    therein expressed.
 19               Given under my hand and seal of office
 20    this ___ day of _____________________, 2022.
 21

 22

 23                   __________________________
                      NOTARY PUBLIC IN AND FOR
 24                   THE STATE OF______________
 25

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  1             IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
  2                 SAN ANTONIO DIVISION
  3    LA UNION DEL PUEBLO         §
       ENTERO, ET AL.,         §
  4         Plaintiffs,   § Civil Action No.
                        § 5:21-cv-844 (XR)
  5    VS.                § (Consolidated Cases)
                        §
  6    STATE OF TEXAS, ET AL.     §
            Defendants.      §
  7    **************************************************
  8                 REPORTER'S CERTIFICATION
  9                    ORAL DEPOSITION OF
 10                  BRIAN KEITH INGRAM, J.D.
 11                     APRIL 28, 2022
 12    ****************************************************
 13               I, CAROLINE CHAPMAN, Certified Shorthand
 14    Reporter in and for the State of Texas, hereby certify
 15    to the following:
 16               That the witness, BRIAN KEITH INGRAM, J.D.
 17    was duly sworn by the officer and that the transcript of
 18    the oral deposition is a true record of the testimony
 19    given by the witness;
 20               That the deposition transcript was
 21    submitted on May 2, 2022, to the witness or to the
 22    attorney for the witness for examination, signature, and
 23    return to me within 20 days;
 24               That the amount of time used by each party
 25    at the deposition is as follows:

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  1               Mr. Freeman - Two hours and fifty-five
  2    minutes.
  3               Mr. Kanterman - One hour and twenty-two
  4    minutes.
  5               That pursuant to information given to the
  6    deposition officer at the time said testimony was taken,
  7    the appearance page includes all parties of record.
  8               I further certify that I am neither
  9    counsel for, related to, nor employed by any of the
 10    parties or attorneys in the action in which this
 11    proceeding was taken, and further that I am not
 12    financially or otherwise interested in the outcome of
 13    the action.
 14               Certified to by me on May 2, 2022.
 15

 16                   ______________________________
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 17                   Expiration Date: 03/31/2023
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·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION
· · ·LA UNION DEL PUEBLO ENTERO,· · )
·3· ·et al.,· · · · · · · · · · · · )
· · · · · · · · · · · Plaintiffs,· ·)
·4· · · · vs.· · · · · · · · · · · ·)Civil Action No.
· · ·STATE OF TEXAS, et al.,· · · · )5:21-cv-844(XR)
·5· · · · · · · · · · Defendants.· ·)(Consolidated Cases)

·6
· · · · · · · · · · · ------------------------
·7· · · · · · · · · · · · ·ORAL DEPOSITION OF
· · · · · · · · · · · · · ·KEITH INGRAM
·8· · · · · · · · · · · · ·March 28, 2023
· · · · · · · · · · · · · · · ·Volume l
·9· · · · · · · · · · -------------------------

10

11· · · · ORAL 30(b)(1) DEPOSITION OF KEITH INGRAM, Volume

12· ·1, produced as a witness at the instance of the

13· ·Plaintiffs, and duly sworn, was taken in the

14· ·above-styled and numbered cause on March 28, 2023, from

15· ·9:15 a.m. to 4:18 p.m., before Dana Shapiro, CSR, in

16· ·and for the State of Illinois, reported by machine

17· ·shorthand, at 209 W. 14th Street, Austin, Texas 78701,

18· ·pursuant to the Federal Rules of Civil Procedure and

19· ·any provisions stated on the record or attached

20· ·hereto.

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·1· · · · · · · · · · A P P E A R A N C E S

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·1· · · · A P P E A R A N C E S (continued):

·2· ·FOR PLAINTIFFS LA UNION DEL PUEBLO ENTERO SOUTHWEST
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·4· ·MS. JULIA R. LONGORIA(via ZOOM)
· · ·MS. FATIMA L. MENENDEZ(via ZOOM)
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· · · · · -and-
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· · ·Washington, D.C. 20001
17· ·202-968-4490
· · ·mogara@elias.law
18

19· ·FOR THE UNITED STATES:

20· ·MR. JUSTIN BENNETT(via ZOOM)
· · ·MR. RICHARD A. DELLHEIM
21· ·MR. MICHAEL E. STEWART
· · ·U.S. DEPARTMENT OF JUSTICE
22· ·CIVIL RIGHTS DIVISION
· · ·950 Pennsylvania Avenue, NW
23· ·Washington, D.C. 20530
· · ·800-253-3931
24· ·Justin.Bennett@usdoj.gov
· · ·Richard.Dellheim@usdoj.gov
25· ·Michael.Stewart3@usdoj.gov




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·1· · · · · · · ·A P P E A R A N C E S (continued):

·2· · · · · · · ·-and-
· · ·MR. DANIEL J. FREEMAN
·3· ·U.S. DEPARTMENT OF JUSTICE
· · ·CIVIL RIGHTS DIVISION
·4· ·4 Constitution Square (4CON)
· · ·150 M Street, N.E./8.143
·5· ·Washington, D.C. 20530
· · ·202-305-4355
·6· ·Daniel.Freeman@usdoj.gov

·7· ·FOR DEFENDANTS THE STATE OF TEXAS, GREG ABBOTT, IN HIS
· · ·OFFICIAL CAPACITY AS GOVERNOR OF TEXAS, JANE NELSON, IN
·8· ·HER OFFICIAL CAPACITY OF THE TEXAS SECRETARY OF STATE,
· · ·WARREN K. PAXTON, IN HIS OFFICIAL CAPACITY AS THE TEXAS
·9· ·ATTORNEY GENERAL:

10· ·MS. KATHLEEN HUNKER
· · ·MR. ETHAN SZUMANSKI
11· ·OFFICE OF THE ATTORNEY GENERAL
· · ·P.O. Box 12548
12· ·Austin, Texas 78711-2548
· · ·512-463-2100
13· ·kathleen.hunker@oag.texas.gov
· · ·ethan.szumanski@oag.texas.gov
14
· · ·FOR OFFICE OF THE TEXAS SECRETARY OF STATE:
15
· · ·MR. ADAM BITTER
16· ·OFFICE OF THE SECRETARY OF STATE
· · ·Capitol Building, Rm 1E.8
17· ·P.O Box 12697
· · ·Austin, Texas 78711-2697
18· ·512-475-2813
· · ·abitter@sos.texas.gov
19
· · ·FOR DEFENDANT LISA WISE, IN HER OFFICIAL CAPACITY AS
20· ·THE EL PASO COUNTY ELECTIONS ADMINISTRATOR (via ZOOM):

21· ·MR. GERMAINE HABELL
· · ·COOLEY LLP
22· ·Wells Fargo Center, South Tower
· · ·355 South Grand Avenue, Suite 900
23· ·Los Angeles, California 90071-1560
· · ·213-561-3227
24· ·ghabell@cooley.com

25




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·1· · · · · · · ·A P P E A R A N C E S (continued):

·2· ·FOR DEFENDANTS BEXAR COUNTY ELECTIONS ADMINISTRATOR,
· · ·JACQUELYN CALLANEN AND BEXAR COUNTY DISTRICT ATTORNEY
·3· ·JOE D. GONZALES (via ZOOM):

·4· ·MS. LISA V. CUBRIEL
· · ·ASSISTANT DISTRICT ATTORNEY-CIVIL SECTION
·5· ·BEXAR COUNTY DISTRICT ATTORNEY'S OFFICE
· · ·7th Floor Paul Elizondo Tower
·6· ·101 West Nueva
· · ·San Antonio, Texas 78205-3030
·7· ·210-335-2142
· · ·Lisa.Cubriel@bexar.org
·8
· · ·FOR PLAINTIFF MI FAMILIA VOTA (via ZOOM):
·9
· · ·MS. COURTNEY HOSTETLER
10· ·FREE SPEECH FOR PEOPLE
· · ·1320 Centre Street, #405
11· ·Newton, Massachusetts 02459
· · ·617-249-3015
12· ·chostetler@freespeechforpeople.org

13· ·FOR DEFENDANTS CLIFFORD TATUM, IN HIS OFFICIAL CAPACITY
· · ·AS HARRIS COUNTY ELECTIONS ADMINISTRATOR (via ZOOM):
14
· · ·MR. SAMEER S. BIRRING
15· ·SENIOR ASSISTANT COUNTY ATTORNEY
· · ·OFFICE OF THE HARRIS COUNTY ATTORNEY
16· ·1019 Congress Plaza, 15th Floor
· · ·Houston, Texas 77002
17· ·713-274-5101
· · ·Sameer.Birring@harriscountytx.gov
18
· · ·FOR DEFENDANT HIDALGO COUNTY ELECTIONS ADMINISTRATOR
19· ·DELIA GARZA (via ZOOM):

20· ·MS. LEIGH ANN TOGNETTI
· · ·ASSISTANT DISTRICT ATTORNEY
21· ·100 East Cano, First Floor
· · ·Hidalgo County Courthouse Annex III
22· ·Edinburg, Texas 78539
· · ·956-292-7609
23· ·leigh.tognetti@da.co.hidalgo.tx.us

24
· · ·ALSO PRESENT (via ZOOM):
25· ·MS. MORGAN HUMPHREY
· · ·MS. SAMANTHA KOBOR




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·1· · · · ·A.· · ·I did not.
·2· · · · ·Q.· · ·Did you speak with anyone else about your
·3· ·deposition today outside of your immediate family?
·4· · · · ·A.· · ·I did.· I talked to Christina Adkins in our
·5· ·office, I talked to Kristi Hart, and I talked to Donna
·6· ·Davidson at the Republican Party of Texas.
·7· · · · ·Q.· · ·What did you discuss with Ms. Davidson?
·8· · · · ·A.· · ·The same thing that I talked to Christina
·9· ·about.· There was an incident with regard to a poll
10· ·watcher in Northern Hidalgo County.· For the life of me
11· ·I can't remember any details, neither could Christina,
12· ·and neither could Donna.
13· · · · ·Q.· · ·Anything else?
14· · · · ·A.· · ·That's it.
15· · · · ·Q.· · ·Okay.· So since we last spoke in April of
16· ·2022 has your role in the office of the Texas Secretary
17· ·of State changed?
18· · · · ·A.· · ·It has.
19· · · · ·Q.· · ·What's your current title?
20· · · · ·A.· · ·I'm not sure what the title is.· I think
21· ·it's project manager or special projects.· I have been
22· ·designated to work on one project.
23· · · · ·Q.· · ·What's that project?
24· · · · ·A.· · ·The project is potentially replacing the
25· ·ERIC system that we have that we're currently using to




                             OCA-APPX-0415
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·1· ·use to compare voter registrations across state lines.
·2· · · · ·Q.· · ·What was the impetus for your change in
·3· ·role?
·4· · · · ·A.· · ·We had an organizational hearing at the
·5· ·Texas house for the House Elections Committee on March
·6· ·10 or March 9, and then the Secretary was not pleased.
·7· ·She thought that my exchange with Representative
·8· ·Swanson was indicator that maybe it would be good for
·9· ·her and for me to change roles.
10· · · · ·Q.· · ·What was the impetus for the creation of
11· ·the role that you are now in?
12· · · · ·A.· · ·Well, we have been discussing -- there is
13· ·legislation that would require us to leave the ERIC
14· ·system, Electronic Registration Information Center, and
15· ·if any of that passes then we still have a law, legal
16· ·obligation to compare voter roles across state lines.
17· ·So we have a need to figure out what comes next if
18· ·ERIC -- if we have to withdraw from ERIC.
19· · · · ·Q.· · ·In your new role do you report to the
20· ·acting director of the elections division?
21· · · · ·A.· · ·Yes.
22· · · · ·Q.· · ·That's Ms. Adkins?
23· · · · ·A.· · ·It is.
24· · · · ·Q.· · ·In your new role will you have any role in
25· ·the implementation of SB 1's mail voting requirements




                             OCA-APPX-0416
                                                                                 YVer1f
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·1· · · · ·MS. HUNKER:· Objection, form.
·2· ·BY THE WITNESS:
·3· · · · ·A.· · ·Yes, that's true. That's the goal of the
·4· ·form.
·5· ·BY MR. FREEMAN:
·6· · · · ·Q.· · ·Since the May 2022 runoff, did the Office
·7· ·of the Secretary of State make any changes to the
·8· ·absentee ballot by mail application?
·9· · · · ·A.· · ·We changed several forms.· I'm pretty sure
10· ·the application if it's got an oath of assistance on it
11· ·it changed, yes.
12· · · · ·MR. FREEMAN:· Mark this as Exhibit 2.
13· · · · · · · · · · · ·(WHEREUPON, a certain document was
14· · · · · · · · · · · ·marked Deposition Exhibit No. 2,
15· · · · · · · · · · · ·for identification, as of 3/28/23.)
16· ·BY MR. FREEMAN:
17· · · · ·Q.· · ·Mr. Ingram, is this the current absentee
18· ·ballot by mail form?· I will represent to you this
19· ·form, I don't believe the date is on it, but it's the
20· ·form that's currently on your website and it's dated
21· ·December 9, 2021.
22· · · · ·A.· · ·Yes.· I mean it looks like it, yes.
23· · · · ·Q.· · ·Okay.· This form is still in effect, the
24· ·form that's on the website?
25· · · · ·A.· · ·It is.




                             OCA-APPX-0417
                                                                                 YVer1f
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·1· · · · ·Q.· · ·Any current plans to alter the form?
·2· · · · ·A.· · ·No.
·3· · · · ·Q.· · ·Has your office considered altering the
·4· ·form since it was issued?
·5· · · · ·A.· · ·No, not this form.
·6· · · · ·Q.· · ·Why not?
·7· · · · ·A.· · ·There is not a need to.
·8· · · · ·Q.· · ·Is there a statutory reason this form could
·9· ·not inform voters that they may provide both a Texas
10· ·driver's license number and a partial Social Security
11· ·number?
12· · · · ·MS. HUNKER:· Objection, form.
13· ·BY THE WITNESS:
14· · · · ·A.· · ·It's not what the law says.· The form
15· ·outlines the law.
16· ·BY MR. FREEMAN:
17· · · · ·Q.· · ·Okay.· And so if the form outlines the law,
18· ·is it not allowed for the form to inform voters that
19· ·they may provide both numbers?
20· · · · ·A.· · ·Not on the form.· It's not the law.
21· · · · ·Q.· · ·Understood.
22· · · · · · · · Has your office suggested any kind of
23· ·amendments to SB 1 that would permit including that
24· ·information on this form?
25· · · · ·A.· · ·No.· There is plenty of outside channels




                             OCA-APPX-0418
                                                                                 YVer1f
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·1· · · · ·A.· · ·The carrier envelope does.
·2· · · · ·Q.· · ·Is this a reason why this form doesn't have
·3· ·a red box around the SB 1 identification number
·4· ·requirements?
·5· · · · ·A.· · ·It's not needed.
·6· · · · ·Q.· · ·Why is it not needed?
·7· · · · ·A.· · ·Because the application can just be redone
·8· ·any time.· It's a much less formal document.· It's not
·9· ·the vote.
10· · · · ·Q.· · ·Can it be redone if it's rejected -- strike
11· ·that.
12· · · · · · · · Can it be redone if the voter does not
13· ·become aware of the rejection until after the ballot
14· ·application deadline?
15· · · · ·MS. HUNKER:· Objection, form.
16· ·BY THE WITNESS:
17· · · · ·A.· · ·It can't.· But the voter can vote in person
18· ·at that point.· They have still complete ability to
19· ·vote.
20· ·BY MR. FREEMAN:
21· · · · ·Q.· · ·Just to confirm.· During the 2022 general
22· ·election, did your office continue to advise election
23· ·administrators not to apply a hierarchy between DPS
24· ·numbers and Social Security numbers when determining
25· ·whether this form meets SB 1 requirements and identify




                             OCA-APPX-0419
                                                                                 YVer1f
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·1· ·the correct voter?
·2· · · · ·A.· · ·I lost your thread there.
·3· · · · ·Q.· · ·Just confirming.· During the 2022 general,
·4· ·did your office continue to tell local election
·5· ·administrators, county clerks they didn't need to apply
·6· ·a hierarchy between the DPS number and the SSN when
·7· ·they were determining whether an ABBM adequately
·8· ·identifies a voter for SB 1 purposes?
·9· · · · ·A.· · ·Absolutely.
10· · · · ·Q.· · ·From an election administration
11· ·perspective, during the 2022 general election did the
12· ·language on this form directing voters to give their
13· ·SSN for quote, if you do not have a Texas driver's
14· ·license, Texas personal identification number or a
15· ·Texas election identification certificate number, serve
16· ·a purpose?
17· · · · ·MS. HUNKER:· Objection, form.
18· ·BY THE WITNESS:
19· · · · ·A.· · ·It follows the law.
20· ·BY MR. FREEMAN:
21· · · · ·Q.· · ·What is the purpose of the law in stating
22· ·that --
23· · · · ·MS. HUNKER:· Objection, form.
24· ·BY MR. FREEMAN:
25· · · · ·Q.· · ·-- to your knowledge?




                             OCA-APPX-0420
                                                                                 YVer1f
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·1· · · · ·Q.· · ·Is this the up-to-date version of the
·2· ·carrier envelope?
·3· · · · ·A.· · ·It looks like it.
·4· · · · ·Q.· · ·What changes were made during the general
·5· ·election period?
·6· · · · ·A.· · ·We put a red box around the numbers and we
·7· ·changed the oath of office.
·8· · · · ·Q.· · ·Did your staff consider any further changes
·9· ·to the mail ballot carrier envelope during the general
10· ·election period?
11· · · · ·A.· · ·We did not.
12· · · · ·Q.· · ·Why not?
13· · · · ·A.· · ·There wasn't a need.
14· · · · ·Q.· · ·Did your office have any concerns about the
15· ·red box being fully accessible to voters with any kinds
16· ·of disabilities?
17· · · · ·A.· · ·No.
18· · · · ·Q.· · ·Is there an issue with the red type and
19· ·voters with disabilities?
20· · · · ·A.· · ·I understand that to be the case, yes.
21· · · · ·Q.· · ·What's the issue?
22· · · · ·A.· · ·There's some people with some kinds of
23· ·visual impairments don't see it.
24· · · · ·Q.· · ·Would it be helpful to Texas voters if the
25· ·mail ballot carrier envelope itself informed voters




                             OCA-APPX-0421
                                                                                 YVer1f
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·1· ·that they may provide both a Texas driver's number and
·2· ·Social Security number?
·3· · · · ·MS. HUNKER:· Objection, form.
·4· ·BY THE WITNESS:
·5· · · · ·A.· · ·That's not the law.
·6· ·BY MR. FREEMAN:
·7· · · · ·Q.· · ·Would it be helpful if it did?
·8· · · · ·A.· · ·Doesn't matter if it's helpful or not.
·9· · · · ·MS. HUNKER:· Objection.
10· ·BY THE WITNESS:
11· · · · ·A.· · ·It's not the law.· We can't suggest to
12· ·voters that both numbers are required. We can suggest
13· ·to voters that they go ahead and voluntarily use both
14· ·numbers, and that they increase their chances of
15· ·success if they do, and we can hound that message big,
16· ·but we can't make any suggestion on the official form
17· ·that both numbers are required.
18· ·BY MR. FREEMAN:
19· · · · ·Q.· · ·Just so I understand it.· Why can you not
20· ·say it's optional on the form?
21· · · · ·A.· · ·Because that's not the law.
22· · · · ·Q.· · ·Okay.· Are there any current plans to alter
23· ·the carrier envelope?
24· · · · ·A.· · ·If the law changes we will change the
25· ·carrier envelope.




                             OCA-APPX-0422
                                                                                 YVer1f
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·1· ·how they should look up the voter registration status
·2· ·of an applicant?
·3· · · · ·A.· · ·No.
·4· · · · ·Q.· · ·Do you have an understanding of how they
·5· ·typically go about doing that?
·6· · · · ·A.· · ·They either use TEAM or they use their
·7· ·local system.· And some off-line counties use TEAM for
·8· ·this.
·9· · · · ·Q.· · ·What information do they plug in when they
10· ·are trying to pull up the registration status like
11· ·name?
12· · · · ·A.· · ·Well, I mean if you're using TEAM you can
13· ·search by voter name.· That's probably the way they do
14· ·it.· They are limited to their county.
15· · · · ·Q.· · ·If we turn to page 32.· What are the
16· ·matters set out here?
17· · · · ·A.· · ·This talks about the new law.
18· · · · ·Q.· · ·This is talking about looking up
19· ·identification numbers; is that correct?
20· · · · ·A.· · ·That's correct.
21· · · · ·Q.· · ·That is separate from looking up
22· ·registration status?
23· · · · ·A.· · ·It's part of the registration status.
24· · · · ·Q.· · ·But it's --
25· · · · ·A.· · ·That's what it says at the last sentence




                             OCA-APPX-0423
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·1· ·you talk to the voter registrar to confirm the voter
·2· ·registration and status.
·3· · · · ·Q.· · ·But am I correct that the numbers provided
·4· ·here, driver's license, Social Security number, they
·5· ·are not used to look up the voter, they are used to
·6· ·confirm the voter; is that correct?
·7· · · · ·A.· · ·They are used to make sure the voter has
·8· ·properly identified themself on the application, yes.
·9· · · · ·Q.· · ·Those numbers are not used to find the
10· ·voter in TEAM as part of the ABBM processing, correct?
11· · · · ·A.· · ·No, sir.· I mean not usually.· I guess they
12· ·could look it up by DL number if they wanted to.
13· · · · ·Q.· · ·Do you have any understanding as to
14· ·whether -- strike that.
15· · · · · · · · Do you instruct local officials to do that?
16· · · · ·MS. HUNKER:· Objection, form.
17· ·BY THE WITNESS:
18· · · · ·A.· · ·We don't tell them how they use TEAM.· All
19· ·of the fields are available to look up anything they
20· ·want to look up.
21· ·BY MR. FREEMAN:
22· · · · ·Q.· · ·Are you aware of any local officials using
23· ·the Texas driver's license number or Social Security
24· ·number to look up a voter as part of the initial
25· ·determination of their registration status?




                             OCA-APPX-0424
                                                                                 YVer1f
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·1· ·registration record.· I don't know.
·2· ·BY MR. FREEMAN:
·3· · · · ·Q.· · ·Is there any information here about using
·4· ·the number to look up the voter in the first instance
·5· ·as opposed to using the record that has already been
·6· ·pulled up with other information to confirm that the
·7· ·Texas driver's license number and Social Security
·8· ·number line up?
·9· · · · ·A.· · ·Again, how they look up a voter is how they
10· ·look up a voter.· We don't get into that.
11· · · · ·Q.· · ·I have to ask you a few questions about the
12· ·ballot tracker.· When we last met last year we
13· ·discussed the log-in requirements of the mail ballot
14· ·tracker. We talked a little bit about it here today as
15· ·well.· Have there been any changes thus far to the
16· ·log-in requirements for the ballot tracker since we met
17· ·in April of last year?
18· · · · ·A.· · ·There have not.
19· · · · ·Q.· · ·Does The Office of Secretary of State have
20· ·the ability to change these log-in requirements absent
21· ·changes to the election code?
22· · · · ·A.· · ·We do not.
23· · · · ·Q.· · ·Do you know if the ballot tracker log-in
24· ·page provides information as to how to add information
25· ·to a voter TEAM record if the voter doesn't have a TDL




                             OCA-APPX-0425
                                                                                 YVer1f
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·1· ·it was difficult for your office to respond more
·2· ·quickly than by the day the corrective action forms
·3· ·were due?
·4· · · · ·A.· · ·Our response time is within 24 hours.· This
·5· ·is an exception of that.
·6· · · · ·Q.· · ·When do those exceptions occur?
·7· · · · ·A.· · ·I don't know.· When they occur that's what
·8· ·makes it an exception.
·9· · · · ·Q.· · ·I'm just trying to understand, you know, if
10· ·you have a typical practice, but there are exceptions.
11· ·Is there a set of circumstances when you typically view
12· ·or experience those exceptions?
13· · · · ·A.· · ·Our goal, our practice, our policy is to
14· ·respond to email and phone calls within 24 hours.
15· · · · ·Q.· · ·Okay.· Do you know how many exceptions
16· ·occurred in the November 2022 general?
17· · · · ·A.· · ·I do not.
18· · · · ·Q.· · ·Do you know if this voter was
19· ·disenfranchised by SB 1?
20· · · · ·MS. HUNKER:· Objection, form.
21· ·BY THE WITNESS:
22· · · · ·A.· · ·I have no idea.
23· ·BY MR. FREEMAN:
24· · · · ·Q.· · ·We previously discussed a number of ways
25· ·that a voter can update their TEAM record after the




                             OCA-APPX-0426
                                                                                 YVer1f
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 427 of 2308
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·1· ·close of registration so they may successfully submit
·2· ·an ABBM.· Prior to the November 2022 general could a
·3· ·voter submit a new voter registration form after the
·4· ·close of registration?
·5· · · · ·A.· · ·Yes.
·6· · · · ·Q.· · ·Could they submit a copy of their driver's
·7· ·license and their ID card with the ABBM?
·8· · · · ·A.· · ·They could.
·9· · · · ·Q.· · ·Did they visit texas.gov to provide
10· ·information already in DPS databases to TEAM?
11· · · · ·A.· · ·That's correct.
12· · · · ·Q.· · ·Was there anything else?
13· · · · ·A.· · ·Those are the ways, I think.
14· · · · ·Q.· · ·Is there any indication on the Texas voter
15· ·registration form that was in use at the time that it
16· ·can be used to add missing information to a voter
17· ·registration record as opposed to changing an existing
18· ·name or address?
19· · · · ·A.· · ·No, there is not anything special about it.
20· ·It could be used for that purpose.
21· · · · ·Q.· · ·Is there any indication on the form itself
22· ·that it can be used for that purpose?
23· · · · ·A.· · ·There is a form -- form says it could be
24· ·used to change your record, yes.
25· · · · ·Q.· · ·Well, let's mark this --




                             OCA-APPX-0427
                                                                                 YVer1f
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·1· ·than name and address?
·2· · · · ·A.· · ·I don't think so.· I mean by website are
·3· ·you talking about Texas.gov?
·4· · · · ·Q.· · ·Yes.
·5· · · · ·A.· · ·Okay.
·6· · · · ·MR. FREEMAN:· We can mark this as Exhibit 16.
·7· · · · · · · · · · · ·(WHEREUPON, a certain document was
·8· · · · · · · · · · · ·marked Deposition Exhibit No. 16,
·9· · · · · · · · · · · ·for identification, as of 3/28/23.)
10· ·BY MR. FREEMAN:
11· · · · ·Q.· · ·Mr. Ingram, what's this document?
12· · · · ·A.· · ·This is a notice of rejected application
13· ·for ballot by mail for missing or incorrect personal ID
14· ·number.
15· · · · ·Q.· · ·Was this the version of the form that was
16· ·in use in the November general election?
17· · · · ·A.· · ·I believe so, yes.
18· · · · ·Q.· · ·I apologize.· I had intended to provide you
19· ·with form 6-4, which is a different notice of rejected
20· ·application for ballot by mail.· If we hold Exhibit 17
21· ·for that, and I will show that to you on this laptop.
22· · · · · · · · · · · ·(WHEREUPON, a certain document was
23· · · · · · · · · · · ·marked Deposition Exhibit No. 17,
24· · · · · · · · · · · ·for identification, as of 3/28/23.)
25· ·BY MR. FREEMAN:




                             OCA-APPX-0428
                                                                                 YVer1f
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·1· · · · ·Q.· · ·What's form 6-4?
·2· · · · ·A.· · ·It's a notice of rejected application of
·3· ·ballot by the mail that says required ID number is not
·4· ·in your record.
·5· · · · ·Q.· · ·So that's a different notice of rejection
·6· ·application for ballot by mail from form 6-3.· Is it
·7· ·specific for folks who don't have anything on their
·8· ·TEAM record; is that right?
·9· · · · ·A.· · ·Well, whatever they put on their
10· ·application for ballot by mail is not in their record.
11· · · · ·Q.· · ·Okay.· So it's not just folks who have
12· ·nothing, it's also for folks who put something and it
13· ·didn't match; is that right?
14· · · · ·A.· · ·It didn't -- if it didn't match because
15· ·it's incorrect, they get the other form.· If it didn't
16· ·match because there is nothing there, they get this
17· ·form.
18· · · · ·Q.· · ·Okay.· Great.· Was this form in use in
19· ·November 2022?
20· · · · ·A.· · ·It was.
21· · · · ·Q.· · ·Does it state there are only two ways to
22· ·add the required numbers?
23· · · · ·A.· · ·That's correct.
24· · · · ·Q.· · ·Do you have any intention to update this
25· ·form to tell voters they can mail in a copy -- strike




                             OCA-APPX-0429
                                                                                 YVer1f
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·1· ·that.
·2· · · · · · · · Did you ever discuss with your colleagues
·3· ·updating this form to inform voters that they can mail
·4· ·in a copy of their Texas driver's license with their
·5· ·ABBM to update?
·6· · · · ·A.· · ·No.· We got that question as a county who
·7· ·received a copy of DL and what do we do with this, so
·8· ·we answered that question.· It was never going to be us
·9· ·telling a voter that they have to mail in a copy of
10· ·their DL.
11· · · · ·Q.· · ·The form only directs voters to go to
12· ·Texas.gov generally, not to a specific page on that
13· ·website; is that correct?
14· · · · ·MS. HUNKER:· Objection, form.
15· ·BY THE WITNESS:
16· · · · ·A.· · ·It says you can update your voter
17· ·registration record at Texas.gov.
18· ·BY MR. FREEMAN:
19· · · · ·Q.· · ·Not like
20· ·Texas.gov/updateyourvoterregistrationrecord?
21· · · · ·A.· · ·Well, during the election season, Texas had
22· ·change your name and address on your voter registration
23· ·on front and center on the front page on Texas.gov.
24· · · · ·MR. FREEMAN:· If we could mark this as Exhibit
25· ·18.




                             OCA-APPX-0430
                                                                                 YVer1f
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·1· · · · · · · · · · · ·(WHEREUPON, a certain document was
·2· · · · · · · · · · · ·marked Deposition Exhibit No. 18,
·3· · · · · · · · · · · ·for identification, as of 3/28/23.)
·4· ·BY MR. FREEMAN:
·5· · · · ·Q.· · ·Before we do will -- to your knowledge,
·6· ·will Texas.gov continue to have the update your name
·7· ·and address information on the home page during every
·8· ·election season moving forward?
·9· · · · ·MS. HUNKER:· Objection, form.
10· ·BY THE WITNESS:
11· · · · ·A.· · ·So we coordinate with DIR, Department of
12· ·Information Resources, they are the ones who run the
13· ·Texas.gov page, and we coordinate with them about when
14· ·we would like that message to be prominent.
15· ·BY MR. FREEMAN:
16· · · · ·Q.· · ·What's document Exhibit 18?
17· · · · ·A.· · ·Well, it's a page that's on Texas.gov.
18· · · · ·Q.· · ·Is this the page on which voters can update
19· ·their name and address?
20· · · · ·A.· · ·Yes.
21· · · · ·Q.· · ·Is this -- do you know if this is a current
22· ·page that's in use?
23· · · · ·A.· · ·I don't know.· I mean if it is there is
24· ·different information one more page in.
25· · · · ·Q.· · ·Well, I think I have that page as well.




                             OCA-APPX-0431
                                                                                 YVer1f
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·1· ·But on this page is there any indication that this
·2· ·website can be used to update Texas driver's license
·3· ·number or Social Security number information on a voter
·4· ·registration record?
·5· · · · ·MS. HUNKER:· Objection, form.
·6· ·BY THE WITNESS:
·7· · · · ·A.· · ·There is not any indication of that on this
·8· ·page, no.
·9· · · · ·MR. FREEMAN:· Mark this as Exhibit No. 19.
10· · · · · · · · · · · ·(WHEREUPON, a certain document was
11· · · · · · · · · · · ·marked Deposition Exhibit No. 19,
12· · · · · · · · · · · ·for identification, as of 3/28/23.)
13· ·BY MR. FREEMAN:
14· · · · ·Q.· · ·What's Exhibit 19?
15· · · · ·A.· · ·This is the identity management page for
16· ·the Texas.gov.
17· · · · ·Q.· · ·Is this the other page that you were
18· ·thinking of?
19· · · · ·A.· · ·No.
20· · · · ·Q.· · ·Do you know if this is the current page
21· ·that's in use on Texas.gov?
22· · · · ·A.· · ·For identity management, yes.
23· · · · ·Q.· · ·This is the page that's used to update a
24· ·voter's name and address, correct?
25· · · · ·A.· · ·This is for voter registration changes




                             OCA-APPX-0432
                                                                                 YVer1f
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·1· ·through Texas.gov.
·2· · · · ·Q.· · ·Is this the page that voters would use to
·3· ·update their Texas driver's license number or Social
·4· ·Security number on their voter file?
·5· · · · ·A.· · ·If they wanted to add to voter file this
·6· ·was the one that replaces zero, no value with a number.
·7· · · · ·Q.· · ·Is there any indication on this website
·8· ·that this is the page that can be used to update Texas
·9· ·driver's license number or Social Security number on
10· ·voter registration record?
11· · · · ·A.· · ·No.· But if you fill this out, the next
12· ·page in says, "If your purpose is to update your voter
13· ·record with your numbers you have done it so log out.
14· ·You are finished."
15· · · · ·Q.· · ·Okay.· In some are there any instructions
16· ·prior --
17· · · · ·A.· · ·Act of logging in supplies no values.
18· · · · ·Q.· · ·Understood.· In some are there any
19· ·instructions on Texas.gov prior to logging in that this
20· ·site may be used to add a Texas driver's license number
21· ·or Social Security number to voter registration
22· ·records?
23· · · · ·A.· · ·I don't think so.
24· · · · ·Q.· · ·We previously discussed a number of ways
25· ·voters can add or correct identification numbers on a




                             OCA-APPX-0433
                                                                                 YVer1f
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·1· ·BY MR. FREEMAN:
·2· · · · ·Q.· · ·The ballot tracker is only accessible to
·3· ·voters who have both a Texas driver's license number
·4· ·and a Social Security number on their TEAM file,
·5· ·correct?
·6· · · · ·A.· · ·Right.
·7· · · · ·Q.· · ·As of right now?
·8· · · · ·A.· · ·That's correct.· Which is over 96 percent
·9· ·of voters.
10· · · · ·Q.· · ·Mr. Ingram, do you recall when we met back
11· ·in April of 2022 that we discussed whether a single
12· ·voter could be issued more than one DPS number?
13· · · · ·A.· · ·Yes.
14· · · · ·Q.· · ·Do you recall whether you knew at the time
15· ·whether DPS had in fact issued multiple numbers to
16· ·particular individuals over the course of their
17· ·lifetime?
18· · · · ·A.· · ·If I didn't say that's a DPS question I am
19· ·saying it now, it's a DPS question.
20· · · · ·Q.· · ·Do you know whether DPS has done that in
21· ·the past?
22· · · · ·A.· · ·To my knowledge, you get one number.
23· · · · ·Q.· · ·I have some document I'm hoping can clear
24· ·this up.· We can mark this as Exhibit 19.
25· · · · · · · · · · · ·(WHEREUPON, a certain document was




                             OCA-APPX-0434
                                                                                 YVer1f
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·1· ·misunderstand and think that's what they have to
·2· ·submit.· Has your office done anything to address that
·3· ·specific scenario?
·4· · · · ·A.· · ·You would have to talk to Sam about our
·5· ·education campaign.· But, you know, what we tell voters
·6· ·if they call our office is that they need to use
·7· ·whatever is currently in their voter registration, and
·8· ·that's why we encourage them to use both numbers so
·9· ·that if one of them hits they are good.
10· · · · ·Q.· · ·Is a voter able, to your knowledge, to call
11· ·their local clerk or election administrator and ask
12· ·specifically what number is on their registration
13· ·record?
14· · · · ·A.· · ·Of course.
15· · · · ·Q.· · ·So I could call and say what's the driver's
16· ·license on my registration record and then fill that in
17· ·on an ABBM?
18· · · · ·A.· · ·Sure.
19· · · · ·MS. HUNKER:· Objection, form.
20· ·BY THE WITNESS:
21· · · · ·A.· · ·It would go through some questions to
22· ·validate that it's you and not some vote harvester
23· ·trying to steal your vote, but yes.
24· ·BY MR. FREEMAN:
25· · · · ·Q.· · ·What questions would they use?




                             OCA-APPX-0435
                                                                                 YVer1f
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·1· · · · ·A.· · ·I don't know.· Whatever the county uses
·2· ·whenever they validate someone's identity on the phone.
·3· · · · ·Q.· · ·Any information that isn't also on the
·4· ·ABBM?
·5· · · · ·A.· · ·Well, it's information that would be in
·6· ·their voter record.
·7· · · · ·Q.· · ·But it's information that was on the
·8· ·application prior to SB 1, right, name, date of birth,
·9· ·address, things like that, correct?
10· · · · ·A.· · ·That's correct.
11· · · · ·Q.· · ·In theory if a voter -- strike that.
12· · · · · · · · So if an individual wanted to cast an ABBM
13· ·in someone else's name, the only security addition
14· ·created by SB 1 is the driver's license number or a
15· ·Social Security number, correct?
16· · · · ·MS. HUNKER:· Objection, form.
17· ·BY THE WITNESS:
18· · · · ·A.· · ·Well, I mean signature still counts.
19· ·BY MR. FREEMAN:
20· · · · ·Q.· · ·Sure.· That was pre -- signature counted
21· ·pre-SB 1, right?
22· · · · ·A.· · ·Agreed.
23· · · · ·Q.· · ·In fact, it's easier to meet the signature
24· ·requirement after SB 1?
25· · · · ·A.· · ·Agreed.




                             OCA-APPX-0436
                                                                                 YVer1f
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·1· ·discussed to think about the next iteration of TEAM,
·2· ·and whether or not they want to have another field for
·3· ·an ID number.· That decision has not been made yet.
·4· · · · ·Q.· · ·What's the stage of the procurement process
·5· ·for the next iteration of TEAM at this point?
·6· · · · ·A.· · ·We are going through the drafting of the
·7· ·RFP, RFO, whatever we are calling it.
·8· · · · ·Q.· · ·Do you know when that will be complete?
·9· · · · ·A.· · ·Soon.· If I had my way it would have been
10· ·two weeks ago.
11· · · · ·Q.· · ·To be clear, if a voter has been issued
12· ·multiple DPS numbers and provides a DPS ID number
13· ·different from the one listed in TEAM on an ABBM and
14· ·does not also provide a Social Security number, that
15· ·ABBM will be rejected, correct?
16· · · · ·A.· · ·If they don't provide a number that's in
17· ·their voter registration record they will be rejected,
18· ·yes, at least temporarily.
19· · · · ·Q.· · ·Same thing on mail ballot?
20· · · · ·A.· · ·Same thing on mail ballot.
21· · · · ·Q.· · ·Would you agree a duly registered voter
22· ·whose ballot was rejected under these circumstances was
23· ·not at fault?
24· · · · ·MS. HUNKER:· Objection, form.
25· ·BY THE WITNESS:




                             OCA-APPX-0437
                                                                                 YVer1f
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·1· · · · · · · · · · · · ·CHANGES AND SIGNATURE
·2· ·KEITH INGRAM
·3· ·March 28, 2023
·4· ·PAGE/LINE· · · · CHANGE· · · · · · · · · · · ·REASON
·5· ·_______________________________________________________
·6· ·_______________________________________________________
·7· ·_______________________________________________________
·8· ·_______________________________________________________
·9· ·_______________________________________________________
10· ·_______________________________________________________
11· ·_______________________________________________________
12· ·_______________________________________________________
13· ·_______________________________________________________
14· ·_______________________________________________________
15· ·_______________________________________________________
16· ·_______________________________________________________
17· ·_______________________________________________________
18· ·_______________________________________________________
19· ·_______________________________________________________
20· ·_______________________________________________________
21· ·_______________________________________________________
22· ·_______________________________________________________
23· ·_______________________________________________________
24· ·_______________________________________________________
25· ·_______________________________________________________




                             OCA-APPX-0438
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·1· · · · · · · ·I, KEITH INGRAM, have read the foregoing
·2· ·deposition and hereby affix my signature that the same
·3· ·is true and correct, except as noted on the previous
·4· ·page.
·5
·6· · · · · · · · · · ________________________________
·7· · · · · · · · · · · · · · ·KEITH INGRAM
·8· ·THE STATE OF __________)
·9· ·COUNTY OF _____________)
10· · · · Before me, _________________, on this day
11· ·personally appeared KEITH INGRAM, known to me (or
12· ·proved to me under oath or through ______________)
13· ·(description of identity card or other document) to be
14· ·the person whose name is subscribed to the foregoing
15· ·instrument and acknowledged to me that he executed the
16· ·same for the purposes and consideration therein
17· ·expressed.
18· · · · Given under my hand and seal of office this _____
19· ·day of _____________, 20____.
20
21· · · · · · · ·________________________________
22· · · · · · · · · · NOTARY PUBLIC IN AND FOR
23· · · · · · · · · · THE STATE OF ___________________
24· · · · · · · · · · COMMISSION EXPIRES: ____________
25




                               OCA-APPX-0439
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·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION
· · ·LA UNION DEL PUEBLO ENTERO,· · )
·3· ·et al.,· · · · · · · · · · · · )
· · · · · · · · · · · Plaintiffs,· ·)
·4· · · · vs.· · · · · · · · · · · ·)Civil Action No.
· · ·STATE OF TEXAS, et al.,· · · · )5:21-cv-844(XR)
·5· · · · · · · · · · Defendants.· ·)(Consolidated Cases)

·6

·7· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · · · · ORAL DEPOSITION OF
·8· · · · · · · · · · · · ·KEITH INGRAM
· · · · · · · · · · · · · March 28, 2023
·9

10· · · · I, Dana Shapiro, a Certified Shorthand Reporter,

11· ·hereby certify to the following:

12· · · · That the witness, KEITH INGRAM, was duly sworn by

13· ·the officer and that the transcript of the oral

14· ·deposition is a true record of the testimony given by

15· ·the witness;

16· · · · I further certify that pursuant to FRCP Rule

17· ·30(e)(1) that the signature of the deponent:

18· ·was requested by the deponent or a party before the

19· ·completion of the deposition and that the signature is

20· ·to be before any notary public and returned within 30

21· ·days from date of receipt of the transcript.· If

22· ·returned, the attached Changes and Signature Pages

23· ·contain any changes and reasons therefore;

24· · · · I further certify that I am neither counsel for,

25· ·related to, nor employed by any of the parties or




                               OCA-APPX-0440
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·1· ·attorneys in the action in which this proceeding was

·2· ·taken, and further that I am not financially or

·3· ·otherwise interested in the outcome of the action.

·4· · · · Certified to by me this April 10, 2023.

·5

·6· · · · · · · ·_____________________________
· · · · · · · · ·Dana Shapiro
·7· · · · · · · ·Illinois CSR 84-3597
· · · · · · · · ·Expiration: 5/31/23
·8· · · · · · · ·Magna Legal Services
· · · · · · · · ·Firm Registration No. 633
·9· · · · · · · ·1635 Market Street
· · · · · · · · ·8th Floor
10· · · · · · · ·Philadelphia, PA 19103

11

12

13

14

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25




                               OCA-APPX-0441
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·1· ·COUNTY OF TRAVIS )

·2· ·STATE OF TEXAS· ·)

·3· · · · I hereby certify that the witness was notified on

·4· ·_______________________, that the witness has 30 days

·5· ·after being notified by the officer that the transcript

·6· ·is available for review by the witness and if there are

·7· ·changes in the form or substance to be made, then the

·8· ·witness shall sign a statement reciting such changes

·9· ·and the reasons given by the witness for making them;

10· · · · That the witness' signature was/was not returned

11· ·as of ________________________.

12· · · · Subscribed and sworn to on this _____ day of

13· ·___________, 20___.

14

15· · · · · · · ·_____________________________
· · · · · · · · ·Dana Shapiro
16· · · · · · · ·Illinois CSR 84-3597
· · · · · · · · ·Expiration: 5/31/23
17· · · · · · · ·Magna Legal Services
· · · · · · · · ·Firm Registration No. 633
18· · · · · · · ·1635 Market Street
· · · · · · · · ·8th Floor
19· · · · · · · ·Philadelphia, PA 19103

20

21

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23

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25




                               OCA-APPX-0442
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                 Exhibit 21




                         OCA-APPX-0443
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                               Christina Adkins
                                 July 20, 2022

· · · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
· · · · · · · · · · · ·SAN ANTONIO DIVISION

·
· · ·LA UNION DEL PUEBLO ENTERO, ET AL )
· · · · · · · · · · · · · · · · · · · ·)
· · · · PLAINTIFFS,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · ·)
· · ·VS.· · · · · · · · · · · · · · · ·)CIVIL ACTION NO.
· · · · · · · · · · · · · · · · · · · ·)5:21-CV-844 (XR)
· · · · · · · · · · · · · · · · · · · ·)(CONSOLIDATED CASES)
· · ·STATE OF TEXAS, ET AL,· · · · · · )
· · · · · · · · · · · · · · · · · · · ·)
· · · · DEFENDANTS.· · · · · · · · · · )

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· · ·********************************************************

· · · · · · · · · · · · ORAL DEPOSITION OF

· · · · · · · · · · · · ·CHRISTINA ADKINS

· · · · · · · · · · · · · ·JULY 20, 2022

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· · · · · · ORAL DEPOSITION of CHRISTINA ADKINS, produced as

· · ·a witness at the instance of the Plaintiffs, and duly

· · ·sworn, was taken in the above-styled and numbered cause

· · ·on the 20th day of July, 2022, from 9:00 a.m. to 3:06

· · ·p.m., before Gabriela S. Silva, CSR, RPR in and for the

· · ·State of Texas, reported by stenograph, at William P.

· · ·Clements Building, 300 W. 15th Street, Austin, Texas,

· · ·pursuant to the Federal Rules of Civil Procedure and the

· · ·provisions stated on the record or attached hereto.


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·1· · · · · · · · · · ·A P P E A R A N C E S                    ·1
·2                                                              · · · · · · · · · · · ·APPEARANCES (cont'd.)
·3                                                              ·2
·4· ·COUNSEL FOR THE PLAINTIFFS:                                · · ·COUNSEL FOR THE DEFENDANTS:
·5· ·JENNIFER J. YUN                                            ·3
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20· ·(512) 854-4801                                             18
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· · ·JONES DAY                                                  20
22· ·51 Louisiana Ave NW                                        21
· · ·Washington, DC 20001                                       22
23· ·(202) 879-3939                                             23
24                                                              24
25                                                              25


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·1· · · · · · · · · · · EXHIBITS (cont'd.)                      ·1· · · · · · · · · · ·P R O C E E D I N G S
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· · ·Exhibit No. 16                                             ·2· · · · · · · ·(On the record at 9:00 a.m.)
·3· · · · · State 075391..............................· ·147    ·3· · · · · · · · · · · (Witness sworn in.)
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                                                                ·4· · · · · · · · · · · ·CHRISTINA ADKINS,
· · · · · · State 078343..............................· ·160
·5                                                              ·5· ·having first been duly sworn, testified as follows:
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                                                                ·7· ·BY MRS. YUN:
· · · · · · State 001713..............................· ·166    ·8· · · Q.· Good morning, Mrs. Adkins.
·8
                                                                ·9· · · A.· Good morning.
· · ·Exhibit No. 20
·9· · · · · State 075401..............................· ·174    10· · · Q.· My name is Jennifer Yun.· I'm from the Department
10· ·Exhibit No. 21                                             11· ·of Justice.· Thank you for joining us this morning.
· · · · · · State 031879..............................· ·180
11
                                                                12· ·Could you please state your name and spell it for the
· · ·Exhibit No. 22                                             13· ·record?
12· · · · · State 032017..............................· ·180
                                                                14· · · A.· My name is Christina Worrell Adkins.
13· ·Exhibit No. 23
· · · · · · State 076578..............................· ·183    15· ·C-H-R-I-S-T-I-N-A, Worrell, W-O-R-R-E-L-L, Adkins,
14                                                              16· ·A-D-K-I-N-S.
· · ·Exhibit No. 24
15· · · · · State 074958..............................· ·186
                                                                17· · · Q.· Thank you.· Before we do anything else, I want to
16· ·Exhibit No. 25                                             18· ·make sure we are set up for a smooth deposition.· Have
· · · · · · State 075495..............................· ·192
                                                                19· ·you been -- have you ever been deposed before?
17
18                                                              20· · · A.· No.
19                                                              21· · · Q.· Okay.· So here are some ground rules to help us
20
21
                                                                22· ·throughout the deposition.· So first, this works best
22                                                              23· ·for the court reporter if you wait to start your answer
23                                                              24· ·until I finish my question.· Is that okay with you?
24
25                                                              25· · · A.· Sure.

                                                     Page 8                                                          Page 9
·1· · · Q.· Also, the court reporter cannot indicate any head   ·1· ·impaired today?
·2· ·nods or any other gesture so every answer needs to be      ·2· · · A.· No.
·3· ·verbal.· Is that okay with you?                            ·3· · · Q.· Have you consumed any prescription medication,
·4· · · A.· Yes.                                                ·4· ·drugs, alcohol, suffered any condition or injury or
·5· · · Q.· Your attorney may object to a question, but you     ·5· ·otherwise have reason to believe you might be impaired
·6· ·should still answer the question unless they               ·6· ·from testifying truthfully and accurately today?
·7· ·specifically instruct you not to do so.· Is that okay?     ·7· · · A.· No.
·8· · · A.· Yes.                                                ·8· · · Q.· I want to remind you that you're under oath and
·9· · · Q.· Can you agree that if you don't understand a        ·9· ·subject to penalties for giving false or misleading
10· ·question or need -- need any clarification, you'll say     10· ·testimony.· So it's important to answer my questions
11· ·so?                                                        11· ·truthfully, accurately and completely.· Do you
12· · · A.· Yes.                                                12· ·understand?
13· · · Q.· And also, if you can't hear me or -- also, just     13· · · A.· I do.
14· ·let me know.                                               14· · · Q.· And finally, if you need a break, just let me
15· · · A.· Of course.                                          15· ·know and we can take one.· I'll just ask that you answer
16· · · Q.· And on the other hand, if you answer without        16· ·any pending question before we take a break.· Is that
17· ·asking for any clarification, I'll assume that you have    17· ·okay?
18· ·understood my question.· Is that fair?                     18· · · A.· Of course.
19· · · A.· Sure.                                               19· · · Q.· Great.· Do you have any questions?
20· · · Q.· Is there any reason you're aware of that your       20· · · A.· No.
21· ·memory and ability to answer questions would be impaired   21· · · Q.· Okay.· Did you prepare to testify at this
22· ·today?                                                     22· ·deposition?
23· · · A.· No.                                                 23· · · · · · · ·MRS. HUNKER:· Objection, form.
24· · · Q.· Is there any reason you're aware of that your       24· · · A.· Yes.
25· ·ability to effectively communicate your answers would be   25· · · Q.· (By Mrs. Yun) How did you prepare?


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·1· · · A.· Consulted with, you know, my -- the attorneys       ·1· · · A.· Sure.· As Legal Director, I oversee the legal
·2· ·that are here.                                             ·2· ·staff, which consists of attorneys that provide advice
·3· · · Q.· Approximately, how much time did you spend          ·3· ·and assistance to election officials.· And one of our
·4· ·preparing?                                                 ·4· ·newer sections is our election security trainers that
·5· · · A.· In total, maybe about six hours.                    ·5· ·provide training and assistance to Counsel on policies
·6· · · Q.· So other than the folks here in this room, did      ·6· ·and procedure as it relates to elections and security
·7· ·you meet with anyone else?                                 ·7· ·issues related to elections.
·8· · · A.· No.                                                 ·8· · · Q.· And who do you report to?
·9· · · Q.· And when did these meetings take place?             ·9· · · A.· Keith Ingram, the Director of Elections.
10· · · A.· Over the course of the last few weeks.              10· · · Q.· And what kind of decisions require approval or
11· · · Q.· Did you review any documents in the course of       11· ·discussions with Mr. Ingram?
12· ·your preparation?                                          12· · · A.· What do you mean by approval?
13· · · A.· Minimally.                                          13· · · Q.· What do you need to run by Mr. Ingram in order to
14· · · Q.· What did you review?                                14· ·do a task?
15· · · A.· I think I glanced at a couple of the advisories     15· · · · · · · ·MRS. HUNKER:· Objection, form, vague.
16· ·that we issued.                                            16· · · A.· When I work with Mr. Ingram, it's very
17· · · Q.· Did you bring any documents with you?               17· ·collaboratively.· I'm not sure that there's things I
18· · · A.· I did not.                                          18· ·have to run by him in so much as we work together to
19· · · Q.· So I'll start with some background questions.       19· ·come up with like a policy or an answer, you know, that
20· ·Where do you work?                                         20· ·our office is going to give on certain items.
21· · · A.· I work for the Texas Secretary of State.            21· · · Q.· (By Mrs. Yun) How long have you been in your
22· · · Q.· And what is your current job title?                 22· ·current position?
23· · · A.· I am currently the Legal Director for the           23· · · A.· I've been the legal director since December of
24· ·Elections Division.                                        24· ·2017.
25· · · Q.· Could you explain what that position entails?       25· · · Q.· And were you in the Elections Division before you

                                                    Page 12                                                         Page 13
·1· ·became the legal director?                                 ·1· ·regarding the laws around elections in Texas.· We do
·2· · · A.· I was, uh-huh.                                      ·2· ·that in a number of ways.· We talk to people on the
·3· · · Q.· How long were you in the Elections Division?        ·3· ·phone, we respond to e-mail inquiries, we produce
·4· · · A.· I think about six years.· Since June of 2012, I     ·4· ·guidance on different subjects.· We issue election law
·5· ·was an attorney and ran the certification program for      ·5· ·advisories, we have handbooks and resources, we speak at
·6· ·voting systems.                                            ·6· ·conferences.· You know, just general support to the
·7· · · Q.· So between 2012 and 2017, you were doing the        ·7· ·election community in Texas.
·8· ·certification -- you were in charge --                     ·8· · · Q.· And could you briefly describe the
·9· · · A.· Oh, that was part of it, yeah, and an attorney      ·9· ·responsibilities of the elections security trainers?
10· ·that provided assistance and advice to election            10· · · A.· Sure.· It's a new -- a new section that we just
11· ·officials regarding election laws in Texas.                11· ·started.· We brought some folks on board that have very
12· · · Q.· What did you do before you joined the Elections     12· ·practical experience in the election arena.· Almost all
13· ·Division?                                                  13· ·of them are former election officials, so they have the
14· · · A.· I worked for the Texas Workforce Commission.        14· ·practical side to compliment the legal side.· And their
15· · · Q.· And before that?                                    15· ·primary obligation is to provide training to counties on
16· · · A.· A little bit of, like, contract work.· I was        16· ·specific policies and procedures and -- with a general
17· ·right out of law school after that.                        17· ·focus on security issues, yeah.
18· · · Q.· Understood.· Thank you.· So you briefly went over   18· · · Q.· Understood.· You mentioned election advisories.
19· ·some of your team's responsibilities.· Could you explain   19· ·What is your role specifically in terms of drafting or
20· ·what your team does?· And we can start with the team of    20· ·revising or approving election advisories?
21· ·attorneys that you mentioned.· What are their chief        21· · · A.· It depends on the advisory itself.· You know, we
22· ·responsibilities?                                          22· ·have some advisories that we issue that are routine for
23· · · A.· As I indicated before, one of the primary things    23· ·every election.· And generally, for those I will help
24· ·that my team does is we provide advice and assistance to   24· ·assign those out to the attorneys and give them guidance
25· ·election officials, candidates, members of the public      25· ·on what they need to cover or give them instructions on


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·1· ·information in the registration record.· For example, if   ·1· · · A.· I don't know if we've had that specific question
·2· ·they provided the same registration address, if they --    ·2· ·before.· I probably need to know a little bit more
·3· ·if the person opted to put their date of birth and         ·3· ·about, you know, why they wanted to call them, you know,
·4· ·provided their date of birth, you know, if those all       ·4· ·if they couldn't validate that information from the
·5· ·match, then you can be reasonably sure it's the same       ·5· ·application in the record itself.
·6· ·person.                                                    ·6· · · Q.· (By Mrs. Yun) So am I understanding correctly
·7· · · Q.· (By Mrs. Yun) Even though their last name is now    ·7· ·that as long as the EV clerk can identify this voter as
·8· ·different?                                                 ·8· ·a registered voter in the same political subdivision,
·9· · · A.· That's correct.                                     ·9· ·the ABBM is not rejected even though the information on
10· · · Q.· Okay.· So according to your office, is -- do you    10· ·the ABBM does not perfectly match the registration
11· ·provide any guidance as to how an EV clerk might be able   11· ·record.· Is that right?
12· ·to confirm that the individual is a registered voter of    12· · · · · · · ·MRS. HUNKER:· Objection, form, calls for
13· ·that same political subdivision?                           13· ·legal conclusion, vague, ambiguous, misstates witness's
14· · · · · · · ·MRS. HUNKER:· Objection, form, outside         14· ·testimony.
15· ·personal knowledge, vague.· You can answer.                15· · · A.· Again, I would say generally I'd have to have a
16· · · A.· I think that we -- I would tell them exactly what   16· ·little bit more information, you know, to know what the
17· ·I just told you, is that you would look to see the other   17· ·county's looking at when they're process that ABBM or
18· ·items that they listed on the application, whether they    18· ·the election official, but this is one of those examples
19· ·match the voter registration record.                       19· ·that comes up because people change their name.· They
20· · · Q.· (By Mrs. Yun) And if, say, an EV clerk, you know,   20· ·get married, they get divorced, you know, name changes
21· ·called the voter to see if they changed their last name    21· ·happen.· That, in and of itself, is not an eligibility
22· ·or something like that, would that be okay according to    22· ·requirement for voting by mail.
23· ·your office?                                               23· · · Q.· (By Mrs. Yun) Has this guidance changed since
24· · · · · · · ·MRS. HUNKER:· Objection, form, improper        24· ·this webinar was given?
25· ·hypothetical.                                              25· · · A.· No.

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·1· · · Q.· Any plans to change it in the future?               ·1· · · A.· That's correct.· That phrase is there.
·2· · · A.· Not unless there's a law change that tells us to.   ·2· · · Q.· Okay.· So the voter's ID will be checked when the
·3· · · Q.· Got it, thank you.                                  ·3· ·voter is returning the ballot in person.· Is that right?
·4· · · A.· Sure.                                               ·4· · · A.· That's correct.· It's required by law.
·5· · · · · · · · (Exhibit Number 5 was marked.)                ·5· · · Q.· And that hand-delivered ballot could still be
·6· · · Q.· (By Mrs. Yun) I'm going to hand you what's been     ·6· ·rejected if the carrier envelope included an ID number
·7· ·marked as Exhibit 5.· It's Bates 31647.· Do you            ·7· ·that did not match the voter's registration record?
·8· ·recognize this document?                                   ·8· · · A.· That's correct.
·9· · · A.· I do.                                               ·9· · · Q.· Okay.
10· · · Q.· And what is it?                                     10· · · · · · · · (Exhibit Number 6 was marked.)
11· · · A.· It looks like it is a document or an official       11· · · Q.· (By Mrs. Yun) I'm marking -- or I'm handing you
12· ·form that we prescribed for Ballot by Mail materials.      12· ·what's been marked as Exhibit 6.· Do you recognize this
13· ·The title is, Information About Returning Your Carrier     13· ·document?
14· ·Envelope.· We commonly refer to this as the carrier        14· · · A.· It looks like an e-mail that was sent by one of
15· ·insert because it's an insert that goes with your          15· ·our attorneys to Walker County, Texas.
16· ·carrier envelope when you're mailing it to the voter.      16· · · Q.· And you were blind copied.· Is that right?
17· · · Q.· Got it, thank you.· So below, how do I return by    17· · · A.· Yes.
18· ·marked ballot to the Early Voting Clerk, it says you may   18· · · Q.· And this is an e-mail from December 2021?
19· ·hand deliver it on Election Day in person.· Is that        19· · · A.· It appears to be, yes.
20· ·right?                                                     20· · · Q.· Let's turn to Page 2, the bottom of Page 2.· And
21· · · A.· That's correct.                                     21· ·so this is e-mail from Walker County to Elections
22· · · Q.· And it says, When you're hand delivering your own   22· ·Internet.· Actually, what is the Elections Internet
23· ·ballot, it says, and I quote, you will be asked to         23· ·e-mail address?
24· ·present an acceptable form of photo ID, end quote.         24· · · A.· Elections@SOS.texas.gov.
25· ·Correct?                                                   25· · · Q.· And what is the purpose of that e-mail address?


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·1· ·rush needed.                                                ·1· · · · · · · · · · ·CHANGES AND SIGNATURE

·2· · · · · · · ·MR. NELSON:· Yes, Tony Nelson for Travis        ·2· ·WITNESS NAME:________________ DATE OF DEPOSITION:_______

·3· ·County and we would like a copy of the transcript PDF       ·3· ·PAGE· ·LINE· · ·CHANGE· · · · · · · · · · ·REASON

·4· ·copy, the same conditions as the other attorneys just       ·4· ·________________________________________________________

·5· ·indicated.                                                  ·5· ·________________________________________________________

·6· · · · · · · ·MR. FISCHER:· Good afternoon.· This is Mike     ·6· ·________________________________________________________

·7· ·Fischer, Jones Day on behalf of the RNC in the Dallas       ·7· ·________________________________________________________

·8· ·County and Harris County GOP.· We'd also like to request    ·8· ·________________________________________________________

·9· ·a PDF copy of the transcript under same conditions,         ·9· ·________________________________________________________

10· ·please.                                                     10· ·________________________________________________________

11· · · · · · ·(Deposition concluded at 3:06 p.m.)               11· ·________________________________________________________

12· · · · · · · · *-*-*SIGNATURE REQUESTED*-*-*                  12· ·________________________________________________________

13                                                               13· ·________________________________________________________

14                                                               14· ·________________________________________________________

15                                                               15· ·________________________________________________________

16                                                               16· ·________________________________________________________

17                                                               17· ·________________________________________________________

18                                                               18· ·________________________________________________________

19                                                               19· ·________________________________________________________

20                                                               20· ·________________________________________________________

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22                                                               22· ·________________________________________________________

23                                                               23· ·________________________________________________________

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25                                                               25· ·________________________________________________________



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·1· · · · · I, CHRISTINA ADKINS, have read the foregoing         ·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
                                                                 · · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· ·deposition and hereby affix my signature that same is       ·2· · · · · · · · · · ·SAN ANTONIO DIVISION
·3· ·true and correct, except as noted above.                    ·3
                                                                 · · ·LA UNION DEL PUEBLO ENTERO, ET AL )
·4                                                               ·4· · · · · · · · · · · · · · · · · · ·)
                                                                 · · · · PLAINTIFFS,· · · · · · · · · · )
·5                                                               ·5· · · · · · · · · · · · · · · · · · ·)
·6· · · · · · · · · · · · _________________________________      · · ·VS.· · · · · · · · · · · · · · · ·)CIVIL ACTION NO.
                                                                 ·6· · · · · · · · · · · · · · · · · · ·)5:21-CV-844 (XR)
·7· · · · · · · · · · · · CHRISTINA ADKINS                       · · · · · · · · · · · · · · · · · · · ·)(CONSOLIDATED CASES)
                                                                 ·7· ·STATE OF TEXAS, ET AL,· · · · · · )
·8· ·THE STATE OF TEXAS)                                         · · · · · · · · · · · · · · · · · · · ·)
·9· ·COUNTY OF TRAVIS)                                           ·8· · · DEFENDANTS.· · · · · · · · · · )
                                                                 ·9· · · · · · · · · ·REPORTER'S CERTIFICATION
10· · · · · Before me, _____________________________, on this    · · · · · · · · · DEPOSITION OF CHRISTINA ADKINS
                                                                 10· · · · · · · · · · · · ·July 20, 2022
11· ·day personally appeared CHRISTINA ADKINS, known to me       11· · · · · I, Gabriela S. Silva, Certified Shorthand
12· ·(or proved to me under oath or through                      · · ·Reporter in and for the State of Texas, hereby certify
                                                                 12· ·to the following:
13· ·___________________) (description of identity card or       13· · · · · That the witness, CHRISTINA ADKINS, was duly
                                                                 · · ·sworn by the officer and that the transcript of the oral
14· ·other document) to be the person whose name is              14· ·deposition is a true record of the testimony given by
15· ·subscribed to the foregoing instrument and acknowledged     · · ·the witness;
                                                                 15
16· ·to me that they executed the same for the purposes and      · · · · · · I further certify that pursuant to FRCP Rule
                                                                 16· ·30(f)(1) that the signature of the deponent:
17· ·consideration therein expressed.                            17· · · __X__ was requested by the deponent or a party before
18· · · · · Given under my hand and seal of office this          · · ·the completion of the deposition and that the signature
                                                                 18· ·is to be before any notary public and returned within
19· ·______ day of ________________, 2022.                       · · ·30 days from date of receipt of the transcript.· If
                                                                 19· ·returned, the attached Changes and Signature Page
20                                                               · · ·contains any changes and the reasons therefor;
                                                                 20
21· · · · · · · ·___________________________________________
                                                                 · · · · ____ was not requested by the deponent or a party
22· · · · · · · ·Notary Public in and for                        21· ·before the completion of the deposition.
                                                                 22· · · · · I further certify that I am neither counsel for,
23· · · · · · · ·The State of Texas                              · · ·related to, nor employed by any of the parties or
                                                                 23· ·attorney in the action in which this proceeding was
24
                                                                 · · ·taken, and further that I am not financially or
25                                                               24· ·otherwise interested in the outcome of the action.
                                                                 25



                         U.S. Legal Support | www.uslegalsupport.com 198 to 201
                                             OCA-APPX-0449
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                           Christina Adkins
                             July 20, 2022
                                                     Page 202
·1· · · · · Certified to by me this _______ day of
· · ·_____________________, 2022.
·2
·3
·4
· · · · · · · · ·______________________________________
·5· · · · · · · ·Gabriela S. Silva, Texas CSR, RPR, CRR
· · · · · · · · ·Expiration Date:· 01-31-23
·6· · · · · · · ·U.S. Legal Support
· · · · · · · · ·Firm Registration No.:· 342
·7· · · · · · · ·363 North Sam Houston Parkway E, Suite 1200
· · · · · · · · ·Houston, Texas 77069
·8· · · · · · · ·(361)883-1716
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                 Exhibit 22




                         OCA-APPX-0451
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                                                                              ·




 · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
 · · · · · · · · · · · SAN ANTONIO DIVISION



 LA UNION DEL PUEBLO ENTERO,· · ·)
 et al.,· · · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · · )
 · · · · · Plaintiffs,· · · · · ·)
 · · · · · · · · · · · · · · · · )
 V.· · · · · · · · · · · · · · · ) Case No. 5:21-cv-844 (XR)
 · · · · · · · · · · · · · · · · ) (Consolidated Cases)
 STATE OF TEXAS, et al.,· · · · ·)
 · · · · · · · · · · · · · · · · )
 · · · · · Defendants.· · · · · ·)


 · · -----------------------------------------------------------

 · · · · · · · · · · · · ·ORAL DEPOSITION OF:

 · · · · · · · · · · · · · CHRISTINA ADKINS

 · · · · · · · · · · · · · ·April 11, 2023

 · · ·---------------------------------------------------

 · · · · · Oral deposition of CHRISTINA ADKINS, produced as a

 · · ·witness at the instance of the plaintiffs, and duly sworn,

 · · ·was taken in the above-styled and numbered cause on the

 · · ·11th day of April, 2023, before Patrick Stephens,

 · · ·Certified Court Reporter, at 209 W. 14th Street,

 · · ·Austin, Texas 78701.




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 · · · · · · · · · · A P P E A R A N C E S




 ON BEHALF OF THE US DEPARTMENT OF JUSTICE:

 · · · · · JENNIFER K. YUN, ESQ.
 · · · · · U.S. Department of Justice, Civil Rights Division
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 ON BEHALF OF THE STATE DEFENDANTS:

 · · · · · KATHLEEN HUNKER, ESQ.
 · · · · · ADAM BITTER, ESQ.
 · · · · · ETHAN SZUMANSKI, ESQ.
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 · · · · · adam.bitter@sos.texas.gov


 ALSO PRESENT VIA ZOOM:

 · · · · · Victor Genecin, LDF-HAUL Plaintiffs
 · · · · · Louis J. Capozzi, Intervenor Defendants
 · · · · · Germaine Habell, El Paso EA
 · · · · · Josephine Ramirez-Solis, Hidalgo County
 · · · · · Kevin Zhen, LUPE Plaintiffs
 · · · · · Leigh Ann Tognetti, Hidalgo County
 · · · · · Lisa Cubriel, Bexar County
 · · · · · Mike Stewart, DOJ
 · · · · · Nina Perales, LUPE Plaintiffs
 · · · · · Omeed Aleraool, LULAC Plaintiffs
 · · · · · Wendy Olson, MFV Plaintiffs




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·1· · · ·Q· · Okay.· And you said that you met with your attorneys.
·2· ·Which attorneys did you meet with?
·3· · · ·A· · Kathleen Hunker.
·4· · · ·Q· · And no one else?
·5· · · ·A· · And he was there --
·6· · · · · · · · ·THE WITNESS:· I don't remember your name.· I'm
·7· sorry.
·8· · · · · · · · ·MR. SZUMANSKI:· Ethan.
·9· BY MS. YUN (resuming):
10· · · ·Q· · And --
11· · · ·A· · -- and our two other counsel, Adam Bitter.
12· · · ·Q· · Okay.· And no one else was there?
13· · · ·A· · That's correct.
14· · · ·Q· · And when was that?
15· · · ·A· · It was last Wednesday.
16· · · ·Q· · And there was only one session?
17· · · ·A· · Uh-huh, yes.
18· · · ·Q· · Did you review any documents in the course of your
19· preparation?
20· · · ·A· · No.
21· · · ·Q· · Did you bring any documents with you?
22· · · ·A· · No.· I bought the Texas Election Code because I take
23· that everywhere with me.
24· · · ·Q· · Okay.· Great.· So since we last spoke in July 2022,
25· has your role in the Texas secretary of state's office changed?




                             OCA-APPX-0456
                                                                                 YVer1f
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·1· · · ·A· · It has.
·2· · · ·Q· · And what is your current title?
·3· · · ·A· · My current title is acting director of elections.
·4· · · ·Q· · And could you describe what that role currently
·5· entails?
·6· · · ·A· · So for the acting director of elections, I oversee the
·7· entire elections division.
·8· · · ·Q· · And so, previously, you were the legal director;
·9· correct?
10· · · ·A· · That's correct.
11· · · ·Q· · And does someone else have that job now?
12· · · ·A· · No.
13· · · ·Q· · So do you have to do both of those jobs?
14· · · ·A· · To the best of my knowledge, yes --
15· · · ·Q· · Okay.
16· · · ·A· · -- for the time being.
17· · · ·Q· · Okay.· Is someone going to be filling your old
18· position -- or your previous position?
19· · · ·A· · I'm not aware of any other changes that our current
20· secretary is looking to make at this time.· You know, this is an
21· acting position, so it's -- it's temporary.
22· · · ·Q· · Okay.· And what -- so who do you report to in your new
23· role?
24· · · ·A· · I would say my immediate supervisor is the Deputy
25· Secretary of State, Joe Esparza, and then beyond that, the




                             OCA-APPX-0457
                                                                                 YVer1f
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·1· secretary of state's office?
·2· · · · · · · · ·MS. HUNKER:· Objection, form.
·3· BY THE WITNESS (resuming):
·4· · · ·A· · So there are two different types of data groups that
·5· -- that are transferred to us:· Those where the individual
·6· indicates they want to update their registration.· That comes to
·7· us and is passed through to the counties so that they can update
·8· a registration; and then in addition to that, we get some other
·9· data from DPS on a daily basis, other types of updates are sent
10· our way, and as far as, like, the details on what those updates
11· -- all the data that's contained in them, that information I
12· don't have.· That would be a question for Kristi Hart.
13· · · ·Q· · Got it.· Does your office have any plans -- so it is
14· my understanding, and correct me if I'm wrong, that the TEAM
15· layout does not include -- has only one field for state ID
16· number, so it cannot hold multiple ID numbers for a single
17· voter.· Does your office have any plans to update that layout so
18· that a voter registration record can hold multiple ID numbers?
19· · · ·A· · I don't believe so.
20· · · ·Q· · Okay.· And if any new state ID number is not reflected
21· in TEAM, that would not be transferred -- that number -- new
22· number would not be transferred to the counties; is that right?
23· · · · · · · · ·MS. HUNKER:· Objection, form.
24· BY THE WITNESS (resuming):
25· · · ·A· · Can you repeat the question?




                             OCA-APPX-0458
                                                                                 YVer1f
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·1· moment to read through the second E-mail of this document.
·2· · · ·A· · (Reviewing.)
·3· · · ·Q· · Okay.· Could you tell me what this document is?
·4· · · ·A· · This appears to be an E-mail that was sent to our
·5· office regarding a ballot-by-mail application issue and it also
·6· contains a response from our managing attorney.
·7· · · ·Q· · Could you -- so let's go to the first paragraph of
·8· Ms. Catherine Martin's E-mail, which is towards the bottom of
·9· the first page.· Could you describe the problem that
10· Ms. Martin's daughter appears to have experienced during the
11· general election in 2022?
12· · · ·A· · It appears as though Ms. Martin's daughter was
13· applying for a ballot by mail.· On the application form, she
14· listed her driver's license number but did not list her Social
15· Security number, and the county -- Comal County indicated that
16· they did not have her driver's license number, so her
17· application for ballot by mail would be rejected on the grounds
18· it was missing that -- that number -- the personal
19· identification number.
20· · · ·Q· · And it appears that Ms. Martin described the
21· instruction on the ABBM application -- or the ABBM as very
22· misleading.· Do you see that?
23· · · ·A· · I see that.
24· · · ·Q· · Do you agree that it's misleading?
25· · · · · · · · ·MS. HUNKER:· Objection to form.




                             OCA-APPX-0459
                                                                                 YVer1f
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·1· BY THE WITNESS (resuming):
·2· · · ·A· · I think that the instruction on the form state what --
·3· states what the law requires that it state.
·4· · · ·Q· · So do you agree that it's misleading or do you not
·5· agree that it's misleading?
·6· · · ·A· · I think that it states what the law requires.· That's
·7· -- that's all I can put on the form.
·8· · · ·Q· · Did your office consider any changes to these
·9· instructions during the general election period?
10· · · ·A· · No, because there have been no subsequent legislative
11· sessions that would have given us the ability to change the
12· language.
13· · · ·Q· · Understood.· Thank you.· And for the carrier envelope
14· -- well, I'll mark this and make sure it's in English.· Exhibit
15· Number 5 is being handed over here.· Can you tell me what this
16· document is?
17· · · ·A· · This appears to be a printed copy of the text of a
18· ballot-by-mail envelope, what we refer to as the carrier
19· envelope.
20· · · ·Q· · And what version is this as far as you can tell from
21· the first page?
22· · · ·A· · This is the one that was revised and issued in July
23· 2022.
24· · · ·Q· · So what changes were made during that iteration of
25· this form?




                             OCA-APPX-0460
                                                                                 YVer1f
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·1· · · ·A· · During the primary election, yes.· You know, as we
·2· were working with counties for implementation of kind of these
·3· components, you know, there was a lot of discussion on -- on,
·4· again, best practices or recommendations, and so there were a
·5· number of counties that reached out to us with this idea or
·6· having us take a look at some of their sample forms.· I don't
·7· recall a lot of questions like that leading up to the November
·8· election.· At that point, if counties found something that
·9· worked for them or worked for neighboring counties, oftentimes
10· they made those connections on their own.
11· · · ·Q· · Okay.
12· · · ·A· · Texas is very decentralized.· You know, elections are
13· run by the counties, not the state, so...
14· · · ·Q· · And there is an official form from your office that --
15· I'm not sure if you would describe it as an insert, but a piece
16· of paper that is included with mail ballot -- with the mail --
17· with the carrier envelope; is that right?
18· · · ·A· · Yes.· We call it the carrier insert.
19· · · ·Q· · Oh, okay.
20· · · ·A· · Yes.
21· · · ·Q· · So you do call it an insert.
22· · · ·A· · It -- it has a much longer title, but --
23· · · ·Q· · Right.
24· · · ·A· · -- we really refer to it as the carrier insert.
25· · · ·Q· · Yes.· I don't want to mischaracterize, but thank you.




                             OCA-APPX-0461
                                                                                 YVer1f
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·1· Okay.· I will mark that.· One second.· I'm handing you what's
·2· been marked as Exhibit 7.· And is this the carrier insert that
·3· you were referring to just now?
·4· · · ·A· · Yes, this appears to be the carrier insert.
·5· · · ·Q· · Okay.· So it's Form Number 6-17; is that right?
·6· · · ·A· · That's correct.
·7· · · ·Q· · And so based on the date that's up at the top, is this
·8· the most up-to-date version of this document?
·9· · · ·A· · The date on here indicates this was issued in January
10· of 2022.· I can't recall if we did an updated one for any reason
11· in June -- or July when we updated the carrier envelope.
12· · · ·Q· · Okay.· So you do not recall if there was -- if there
13· is another version of this.
14· · · ·A· · I just can't remember at this time.
15· · · ·Q· · Okay.
16· · · ·A· · Yeah.· If we had updated it, it would have been
17· updated around the same time the carrier envelope was updated,
18· but I don't remember if this necessitated any changes.
19· · · ·Q· · Okay.· Do you mind checking during our break whether
20· there is another version of this?
21· · · ·A· · Sure.
22· · · ·Q· · And then we can come back to it.
23· · · ·A· · Sure.
24· · · ·Q· · So this form, if you look at Number 1 under the first
25· paragraph, Required Information Under Section 86.002 of the




                             OCA-APPX-0462
                                                                                 YVer1f
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·1· election code, this form -- that paragraph does not or anywhere
·2· else does not suggest that the voter must -- or sorry.· Scratch
·3· all of that.· So this form does not suggest to voters that they
·4· may or it is recommended that they put down both their driver's
·5· license number and the last four digits of their Social;
·6· correct?
·7· · · ·A· · That's correct.
·8· · · ·Q· · Does the statute prescribe what must be in the carrier
·9· insert?
10· · · ·A· · It does.· Everything that's on this form is required
11· by law.
12· · · ·Q· · And therefore -- well, so I'm going to ask why does it
13· -- why does the form not suggest the recommendation?
14· · · ·A· · The form does not contain that recommendation because
15· the -- the -- all of the items contained on this document are
16· items that are required by statute, and the specific provision
17· dealing with personal identification numbers is very clear on
18· what it's -- on what it's asking the voter for, and so we can't
19· modify or waive or change the requirements of law with respect
20· to those instructions.
21· · · ·Q· · Would your office be allowed to, say, put a red box
22· around Paragraph Number 1 under the election code?
23· · · · · · · · ·MS. HUNKER:· Objection, form.
24· BY THE WITNESS (resuming):
25· · · ·A· · Sure.· I think we can put a box on the form.




                             OCA-APPX-0463
                                                                                 YVer1f
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·1· · · ·Q· · Okay.· But your testimony is that you cannot change
·2· any of the text.
·3· · · ·A· · The language outlines the legal requirements that are
·4· prescribed by law, and we can't modify those legal requirements.
·5· · · ·Q· · Is this form going to -- well, we can circle back to
·6· it if there's another more up-to-date form, but whatever the
·7· up-to-date form that was being used during the November
·8· election, is that form going -- do you have any plans to change
·9· that form?
10· · · ·A· · Any changes to any out of our balloting materials are
11· going to be contingent on the legislative session.
12· · · ·Q· · And absent any legislative changes, you do not have
13· any plans to update it.
14· · · ·A· · At this time, no.
15· · · ·Q· · And I think we can do another small section before we
16· take a break, if that's okay with you.
17· · · ·A· · Of course.
18· · · ·Q· · Okay.· I'm going to hand you what's been marked as
19· Exhibit 8.
20· · · ·A· · (Reviewing.)· Okay.
21· · · ·Q· · What is this document?
22· · · ·A· · This appears to be some E-mail correspondence between
23· myself and two individuals in the Denton County Elections Office
24· regarding potential changes to the carrier envelope, and then it
25· looks like they inquired about some other forms as well.




                             OCA-APPX-0464
                                                                                 YVer1f
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·1· · · ·Q· · So Ms. Brandy Grimes is from Denton County; is that
·2· right?
·3· · · ·A· · That's correct.
·4· · · ·Q· · And do you recall this exchange?
·5· · · ·A· · I do.
·6· · · ·Q· · And I would like to direct your attention to the third
·7· E-mail from the top, starting at the bottom of Page 1.· So what
·8· was Ms. Grimes' proposal for the ABBM rejection notice in that
·9· E-mail -- in that third E-mail?
10· · · ·A· · She was -- so we -- initially, we're talking about the
11· carrier envelope and then we pivoted to a different form, the
12· rejection notice, and we were at that time looking at modifying
13· the rejection notice so that we could identify -- give the voter
14· more details about what the rejection was for with respect to
15· the ID number, and so we were looking at different design
16· options there and she was writing back -- I think giving her
17· suggestion on the form -- on the potential change.
18· · · ·Q· · And she says -- and I'm reading from the bottom of
19· Page 1:· We both know that they can't remember how they filled
20· out the defective application once it's sent.· Do you agree with
21· that comment?
22· · · ·A· · Do I agree with -- that a voter may not remember
23· what's on a defective application form?
24· · · ·Q· · Once it's been sent.
25· · · ·A· · I think that's possible.




                             OCA-APPX-0465
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·1· · · ·Q· · So would you agree that not remembering how -- or
·2· which number they put down once the ABBM has been sent would
·3· make cure difficult?
·4· · · · · · · · ·MS. HUNKER:· Objection, form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · It depends on the reason for rejection, it depends on,
·7· you know, where were we are in the process.· I -- I think
·8· there's a lot of variables there that would impact whether it's
·9· difficult to remedy the situation.
10· · · ·Q· · Okay.· So if the -- if the situation is that they put
11· one number down that is not associated with their voter
12· registration record, not remembering which number and hearing
13· back from the county that, Your number is not associated with
14· the record, but we don't remember which one you put down, that
15· would make the cure difficult; would it not?
16· · · · · · · · ·MS. HUNKER:· Objection, form.
17· BY THE WITNESS (resuming):
18· · · ·A· · I -- again, I think it's possible.· It also depends on
19· the mechanism used for remedying the cure.· If they're logging
20· into the ballot-by-mail tracker to initiate the cure, then it
21· doesn't matter what number they put down originally because
22· they're able to validate both of their identification numbers
23· with the tracker, so I think in that sense it's not very hard.
24· If they're filling out a new application form, it just depends
25· on what information was provided to them by the county and




                             OCA-APPX-0466
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·1· whether or not the voter opted to fill in both boxes.
·2· · · ·Q· · And so as of -- at this time and as of now, these --
·3· the rejection form does not provide any information on which
·4· number was originally sent in; correct?
·5· · · ·A· · That's correct.
·6· · · ·Q· · And it does not recommend that you put both numbers
·7· down; correct?
·8· · · ·A· · That's correct.
·9· · · ·Q· · And what happened to this proposal from Ms. Grimes?
10· · · ·A· · A lot of counties objected to the proposal.· They
11· didn't like it.· They said that they believed it was going to be
12· more confusing to voters, that they might misread the form, and
13· so we didn't move forward with it at that time.
14· · · ·Q· · Do you know if any counties have any practice to let
15· the voter know which number was associated with -- is associated
16· with their registration record?
17· · · ·A· · I have heard that some counties will highlight the
18· missing information on a new -- if we're talking about an
19· application for ballot-by-mail form, they would highlight the
20· missing information on the new form to give the voter the chance
21· to fill in the required boxes or they would put in some
22· additional information indicating what it is they needed.
23· · · ·Q· · So that's a county-by-county practice.
24· · · ·A· · Correct.
25· · · ·Q· · So is the reason for not adopting this revision of




                             OCA-APPX-0467
                                                                                 YVer1f
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·1· processed with that updated information.· So regardless of what
·2· they pick at the top, if they provide a new number in Box 9,
·3· that'll get updated in the system.
·4· · · ·Q· · Okay.· But they must check one -- right? -- because it
·5· says it must be completed before proceeding.
·6· · · ·A· · It says the questions must be completed before
·7· proceeding, but I -- I don't think that you would -- if the
·8· voter doesn't select that but -- but they otherwise complete the
·9· form with all of the substantive information, it going to be
10· processed.
11· · · ·Q· · Okay.· And I'm marking another exhibit, 12.· What is
12· this document?
13· · · ·A· · This appears to be an E-mail that was sent to our
14· office via VoteTexas.gov, which is an SOS website, and a
15· response providing information on how to update -- or -- or
16· check information related to a person's ballot -- voted ballot.
17· · · ·Q· · So it says in the second paragraph of the top E-mail
18· that you must deliver the corrected -- the completed corrective
19· action form in person to the early-voting clerk's office by the
20· end of business today, Monday, November 14th, 2022; correct?
21· · · ·A· · Uh-huh.
22· · · ·Q· · And it was sent at 5:54 p.m. on November 14th.
23· · · ·A· · That's correct.
24· · · ·Q· · So would you agree that for some voters would not be
25· able to cure in time and have their ballots counted due to when




                             OCA-APPX-0468
                                                                                 YVer1f
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·1· they are notified of their ballot defect and/or when they find
·2· out how to cure their ID requirement defect?
·3· · · · · · · · ·MS. HUNKER:· Objection, form.
·4· BY THE WITNESS (resuming):
·5· · · ·A· · Could you repeat the question?
·6· · · ·Q· · Sure.· Would you agree that for some voters that would
·7· not -- whose mail ballot has been rejected because of the ID
·8· requirements under SB1 would not be able to cure in time due to
·9· the timing of when they're notified or when they find out how to
10· cure their ballot?
11· · · · · · · · ·MS. HUNKER:· Objection, form.
12· BY THE WITNESS (resuming):
13· · · ·A· · Sure.
14· · · ·Q· · So we spoke briefly about changing the forms and
15· legislative changes.· I know we keep coming back to it.· So you
16· said that there were things that you could do that the law does
17· allow your office to do without any substantive law changes.· So
18· is it your testimony that your office cannot change the form to
19· reflect the guidance that they are allowed to or recommended to
20· put both ID numbers down in any of the forms that your office
21· promulgates?
22· · · · · · · · ·MS. HUNKER:· Objection, form; compound and calls
23· for a legal conclusion.
24· BY THE WITNESS (resuming):
25· · · ·A· · I think that our office has to be very careful about




                             OCA-APPX-0469
                                                                                 YVer1f
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·1· not doing anything that would be consider waiving, modifying or
·2· suspending state law, and so when it comes to instructions to a
·3· voter, we have to follow the statute to the T.· So we have to be
·4· very careful about that.
·5· · · ·Q· · So informal recommendations given by your office when
·6· someone E-mails them can say, You are allowed to put both
·7· numbers down; is that right?
·8· · · ·A· · Yes.
·9· · · ·Q· · But that same guidance cannot be reflected in any of
10· the forms; is that correct?
11· · · ·A· · I think with our current forms, we're tracking the
12· statute as much as we can with -- with actual text relating to
13· the statute because that's what we have to do, but because the
14· instructions to the early-voting clerk or the ballot board are
15· different than what the instructions are to the voter, I think
16· that we can tell voters, You can add both numbers, since we're
17· talking about ID requirements, because the ballot board
18· instructions on what they do with that information is different.
19· · · ·Q· · So just to bring it all together, absent any
20· substantive legal changes, the forms from your office are not
21· going to in the future reflect the guidance that is recommended
22· or permissible to put both numbers down.· Is that fair?
23· · · · · · · · ·MS. HUNKER:· Objection, form.
24· BY THE WITNESS (resuming):
25· · · ·A· · I would say at this point we're always going to be




                             OCA-APPX-0470
                                                                                 YVer1f
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·1· careful in making sure that the actual forms are based on the
·2· law themselves, but we may always provide some supplemental
·3· instructions as the, you know, instructions are different, you
·4· know, for the ballot board and the early-voting clerk so when
·5· we're communicating with voters about the forms -- and I think
·6· more specifically when the counties are communicating with
·7· voters about those forms, they may provide some context,
·8· additional information.
·9· · · ·Q· · But it is not in your office's plan to change any
10· forms that your office officially authorizes to reflect that
11· guidance; is that right?
12· · · ·A· · At this time --
13· · · · · · · · ·MS. HUNKER:· Objection to form; asked and
14· answered.
15· BY THE WITNESS (resuming):
16· · · ·A· · At this time, no.
17· · · ·Q· · Are you aware of any mail-voting form-related changes
18· being discussed by the legislature at this time -- being
19· considered by the legislature?
20· · · · · · · · ·MS. HUNKER:· Objection, form.
21· BY THE WITNESS (resuming):
22· · · ·A· · There -- I believe there are a couple of those that
23· could potentially modify some of the mail balloting --
24· ballot-by-mail materials.
25· · · ·Q· · Okay.· Could you tell me about those?




                             OCA-APPX-0471
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·1· to the best of your knowledge, it was completed in -- for the
·2· election cycle ending in 2022, which was -- the data was due in
·3· March of 2023; is that right?
·4· · · · · · · · ·MS. HUNKER:· Objection, form.
·5· BY THE WITNESS (resuming):
·6· · · ·A· · I -- I believe we did submit the data for the state.
·7· · · ·Q· · Okay.· And were you already the acting director or
·8· were you not?· If you remember.
·9· · · ·A· · I have no idea.
10· · · ·Q· · Okay.· But you were not personally involved in the
11· certification.
12· · · ·A· · No, ma'am.
13· · · · · · · · ·MS. YUN:· Okay.· I believe we are very close to
14· being done.· I think I'm just going to look over my notes.
15· Actually, this is a good time to take a break, and then I may
16· have a few more questions after the break or I may not, but I
17· believe other folks on Zoom probably do have questions.
18· · · · · · · · ·THE WITNESS:· Okay.
19· · · · · · · · ·MS. YUN:· So we'll take a 10-minute break.
20· · · · · · · · ·(A recess was taken from 11:18 a.m. to
21· 11:34 a.m.)
22· BY MS. YUN (resuming):
23· · · ·Q· · Okay, Ms. Adkins.· So before we -- maybe two breaks
24· ago, I asked you whether the carrier insert form that I showed
25· you that was State 31647, whether that was the most up-to-date




                             OCA-APPX-0472
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·1· version of the form, and you -- did you have a chance to check
·2· whether it was?
·3· · · ·A· · I did check, and it does appear as that -- that that
·4· is the most recent version.
·5· · · · · · · · ·MS. YUN:· Okay.· Great.· Thank you.· I have no
·6· further questions, and I will pass the witness.· And I believe
·7· some folks on the Zoom call would like to ask questions.
·8· · · · · · · · ·MS. HUNKER:· Are there any other attorneys from
·9· the plaintiffs who would like to ask questions of the witness?
10· · · · · · · · ·MS. PERALES:· (Inaudible.)
11· · · · · · · · ·MS. HUNKER:· Nina, you are muted.
12· · · · · · · · ·MS. PERALES:· (Inaudible.)
13· · · · · · · · ·MS. HUNKER:· Your microphone is still not
14· working.
15· · · · · · · · ·THE WITNESS:· Yeah, we're unmuted on this end.
16· · · · · · · · ·MS. HUNKER:· Oh, hold up, hold up.· This might be
17· my fault.· (Adjusts audio.)
18· · · · · · · · ·THE WITNESS:· Oh, there we go.
19· · · · · · · · ·MS. HUNKER:· Sorry.· I had you on -- I had you on
20· mute.
21· · · · · · · · ·MS. PERALES:· Thank you.· I was trying to figure
22· out how to put in the chat that I think you had muted me, and
23· for once at least, it wasn't my fault.· I only wanted to say
24· that this is Ms. Nina Perales or the LUPE plaintiffs, and I have
25· no questions for the witness.




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 · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
 · · · · · · · · · · · SAN ANTONIO DIVISION



 LA UNION DEL PUEBLO ENTERO,· · ·)
 et al.,· · · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · · )
 · · · · · Plaintiffs,· · · · · ·)
 · · · · · · · · · · · · · · · · )
 V.· · · · · · · · · · · · · · · ) Case No. 5:21-cv-844 (XR)
 · · · · · · · · · · · · · · · · ) (Consolidated Cases)
 STATE OF TEXAS, et al.,· · · · ·)
 · · · · · · · · · · · · · · · · )
 Defendants.· · · · · · · · · · ·)

 · · -----------------------------------------------------------

 · · · · · · · · · · ·REPORTER'S CERTIFICATE
 · · · · · · · ·ORAL DEPOSITION OF CHRISTINA ADKINS
 · · · · · · · · · · · · APRIL 11, 2023


 · · ·I, Patrick A. Stephens, Certified National Court Reporter,

 hereby certify to the following:



 · · ·That the witness, CHRISTINA ADKINS, was duly sworn and that

 the transcript of the examination is a true record of the

 testimony given by the witness;



 · · ·That pursuant to information given to the examination

 officer at the time said testimony was taken, the following

 includes all parties of record and the amount of time used by

 each party at the time of the examination:




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 · · ·Ms. Jennifer J. Yun (1 hr 55 mins)

 · · ·Attorney for Department of Justice


 · · ·Ms. Kathleen T. Hunker (0 mins)
 · · ·Attorney for State Defendants




 · · ·I further certify that I am neither counsel for,

 related to, nor employed by any of the parties in the

 action in which this proceeding was taken, and further that

 I am not financially or otherwise interested in the outcome

 of this action.


 · · ·Certified to by me on this 17th day of April, 2023.

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 · · · · · · · · · · · · · · · · · ·PATRICK A. STEPHENS
 · · · · · · · · · · · · · · · · · ·NVRA NO. 5462
 · · · · · · · · · · · · · · · · · ·Expiration: 06/01/2023
 · · · · · · · · · · · · · · · · · ·Magna Legal Services
 · · · · · · · · · · · · · · · · · ·Firm Registration No.633
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                 Exhibit 23




                         OCA-APPX-0476
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO· · · · *
· · ENTERO, et al.· · · · · · ·*
·4· · · · · · · · · · · · · · ·*
· · · · · · · · · · · · · · · ·*
·5· VS.· · · · · · · · · · · · *· Civil Action No.
· · · · · · · · · · · · · · · ·*· 5:51-cv-00844-XR
·6· · · · · · · · · · · · · · ·*
· · GREGORY W. ABBOTT, et al. *
·7

·8· *****************************************************

·9· · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · ROBERTO BENAVIDES
10· · · · · · · · · · · MARCH 30, 2023
· · · · · · · · · · · (Reported Remotely)
11
· · *****************************************************
12

13· · · · · ·ORAL AND VIDEOTAPED DEPOSITION of ROBERTO
· · BENAVIDES, produced as a witness at the instance of the
14· Defendants, and duly sworn, was taken remotely in the
· · above-styled and numbered cause on the 30th day of
15· March, 2023, between the hours of 9:03 a.m. and
· · 11:06 a.m., before TRICIA FOX WILLIAMS, CSR, in and for
16· the State of Texas, reported by machine shorthand, with
· · the witness located in Austin, Texas, in accordance with
17· the Federal Rules of Civil Procedure and the provisions
· · stated on the record or attached hereto.
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·1· · · · · · · · · A P P E A R A N C E S
· · · · · · ·(All appearances via videoconference)
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25




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18· ALSO PRESENT:

19· · ·MS. ROSIE JONES, Videographer

20

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22

23

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·1· the United States.· Are we on the record right now?· Can
·2· we go off the record one second?
·3· · · · · · · ·THE VIDEOGRAPHER:· Yes.· The time is
·4· 9:04 a.m., we're off the record.
·5· · · · · · · ·(Break from 9:04 a.m. to 9:06 a.m.)
·6· · · · · · · ·THE VIDEOGRAPHER:· Time is 9:06 a.m.,
·7· we're on the record.· Will the court reporter please
·8· swear in the witness.
·9· · · · · · · ·THE REPORTER:· My name is Tricia Williams,
10· Texas CSR No. 8273, I am administering the oath and
11· reporting the deposition remotely by stenographic means
12· from my residence in New Braunfels, Texas.· The witness
13· is located in Austin, Texas.· Mr. Benavides, will you
14· raise your right hand?
15· · · · · · · · · · ROBERTO BENAVIDES,
16· having been duly sworn, testified as follows:
17· · · · · · · · · · · · EXAMINATION
18· BY MR. BRYANT:
19· · · Q.· ·Mr. Benavides, my name is David Bryant, I
20· represent the state defendants in this action.· What's
21· your current residence address?
22· · · A.· ·8010 Briarton Drive, Austin, Texas.
23· · · Q.· ·And how long has that been your address?
24· · · A.· ·Since 1997.
25· · · Q.· ·Your name was disclosed in this litigation as




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·1· · · Q.· ·Okay.
·2· · · A.· ·I don't know.
·3· · · Q.· ·And did you have any confusion or questions
·4· when you filled out the mail in ballots?· And when I say
·5· you, I mean you or your wife.
·6· · · A.· ·No, we didn't have any problems.
·7· · · Q.· ·Okay.· And did you -- you promptly mail in
·8· those mail in ballots after you filled them out?
·9· · · A.· ·Yes.
10· · · Q.· ·About how long would that time interval be
11· between when you filled them out and when you mailed
12· them in October of 2022?
13· · · A.· ·Same day or the next day.
14· · · Q.· ·Okay.· And when you prepared your mail in
15· ballot, did you provide some identification information
16· on the ballot and/or the envelope?
17· · · A.· ·Yes, we did.
18· · · Q.· ·And what information did you personally provide
19· related to your mail in ballot in October 2022?
20· · · A.· ·The voter ID number that you get with your
21· registration card, the driver's license number, and the
22· last four numbers of my social security card.
23· · · Q.· ·Okay.· And how long, approximately, had you had
24· that driver's license?
25· · · A.· ·For the last -- we moved here in '93, '94.· So




                             OCA-APPX-0482
                                                                                 YVer1f
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·1· almost going on 30 years.· 29 years.
·2· · · Q.· ·Had you ever had any other Texas driver's
·3· licenses other than the one that you were using and
·4· provided on your ballot or envelope in October 2022?
·5· · · A.· ·No, that's the only license that I've ever had.
·6· · · Q.· ·Prior to casting your mail in ballot, did you
·7· contact, either directly or online, anybody connected
·8· with the election process in Travis County?
·9· · · A.· ·No, I did not.
10· · · Q.· ·When you cast your ballot, at least the first
11· time, did you feel that you understood the requirements
12· and had complied with them?
13· · · A.· ·Yes.
14· · · Q.· ·All right.· What's the next thing that you
15· heard after you and your wife mailed in your ballots
16· relating to those ballots?
17· · · A.· ·I'm not sure how long it was, maybe two weeks
18· later I received a notice in the mail that my ballot was
19· rejected because the driver's license number did not
20· match what they had on file and what my actual license
21· number is did not match.· So I requested a second
22· ballot.
23· · · Q.· ·When you received that notice, did you have or
24· try to have any conversations with anyone at Travis
25· County related to the election process?




                             OCA-APPX-0483
                                                                                 YVer1f
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 484 of 2308
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·1· · · A.· ·No, because I thought at my age and everything,
·2· it would be very simple for me to write maybe a three
·3· instead of an eight or a five.· So I thought I probably
·4· did something wrong, especially kind of stressed out and
·5· stuff.· So I figured I must have wrote the wrong number,
·6· so I'll just try again.
·7· · · Q.· ·Okay.· And how did you request an additional
·8· ballot?
·9· · · A.· ·I'm not sure if I went online again or if I
10· called.· I can't remember.
11· · · Q.· ·This mail notice related to the mail in ballot
12· that you received in October or November of 2022, did
13· that relate only to your ballot, or did your wife also
14· receive a notice related to her ballot?
15· · · A.· ·Only myself.· My wife had no problems at all.
16· · · Q.· ·And after you made a request for a second --
17· strike that.· When you received a notice relating to
18· your initial mail in ballot, did it provide any
19· information to you as to how to cure any problem that
20· might have existed?
21· · · A.· ·Not that I'm aware of.· Just a very simple --
22· just a checkmark that something didn't match, you know,
23· like this didn't match that, so -- according to their
24· records.· So that was pretty simple.
25· · · Q.· ·Okay.· I understand it provided the information




                             OCA-APPX-0484
                                                                                 YVer1f
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·1· counted or cast?
·2· · · A.· ·Yes, when Dana called me at home and she said
·3· that there had been a problem with the ballot.
·4· · · Q.· ·Approximately when was that?
·5· · · A.· ·Two months ago.· Maybe two months ago, three, I
·6· don't know.
·7· · · Q.· ·And what other conversation did you have with
·8· Dana at that time?
·9· · · A.· ·I just told her I was not aware that there had
10· been problems.· I knew that I had voted twice, but I
11· didn't know that, you know, there was other problems.
12· · · Q.· ·Okay.· All right.· You mentioned that you
13· learned something about whether the initial rejection
14· was because of an error in your writing down one of your
15· numbers, or an error in the state database that
16· contained those numbers; is that correct?
17· · · A.· ·That's correct.
18· · · Q.· ·When did you learn of that problem?
19· · · A.· ·About three or four days ago.
20· · · Q.· ·Okay.· And what did you learn at that time?
21· · · A.· ·I called the voter's office, and the lady said
22· that their records show that my driver's license number
23· ends in a five, and my actual driver's license number
24· ends in a four.
25· · · Q.· ·Did you have any conversation with the election




                             OCA-APPX-0485
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·1· · · · · · · ·(Break from 9:43 a.m. to 9:53 a.m.)
·2· · · · · · · ·THE VIDEOGRAPHER:· Time is 9:53 a.m.,
·3· we're on the record.
·4· · · Q.· ·(By Mr. Bryant)· Thank you.· Mr. Benavides,
·5· what was your wife's name?
·6· · · A.· ·Christine Ann, A-N-N, Benavides.
·7· · · Q.· ·And what was the date of her death?
·8· · · A.· ·October 16th, 2022.
·9· · · Q.· ·If I understood your testimony earlier, when
10· you had a conversation with someone with the Travis
11· County election authorities, they verified to you that
12· the social -- your social security numbers were
13· correctly recorded in those records, and they -- the
14· numbers you put on your ballots, your mail in ballots in
15· 2022 match the social security numbers that Travis
16· County had for you.
17· · · A.· ·Yes.
18· · · Q.· ·Did anybody with the Travis County election
19· authorities tell you whether your 2022 general election
20· ballot had been counted or not?
21· · · A.· ·Yes.· It had -- they told me it was not
22· counted, because by the time they received it, which was
23· October the 28th, it was too late, they were only taking
24· in person delivery.
25· · · Q.· ·Is it correct then that your second mail in




                             OCA-APPX-0486
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·1· ballot was not counted only because it arrived past the
·2· date when mail in ballots received by mail could be
·3· counted?
·4· · · A.· ·That's the way I understood it.
·5· · · Q.· ·Okay.· And so is it your understanding that
·6· your mail in ballot for the November 2022 general
·7· election was not rejected or not counted because of the
·8· difference between the driver's license number on your
·9· driver's license and the driver's license number in the
10· election records?
11· · · A.· ·The lady at the voter's office said she's going
12· to mail me a form to make sure that any future
13· elections, the correct number -- the number is correct.
14· But no -- I didn't know that my ballot had not been
15· counted, so I didn't know.
16· · · Q.· ·Okay.· Today you have been told by the attorney
17· for the United States that your ballot has not been
18· counted, or wasn't counted; is that right?
19· · · · · · · ·MS. WARMS:· Objection, privilege.· Don't
20· answer.
21· · · Q.· ·(By Mr. Bryant)· Is -- you referred to her
22· earlier as Dana, who's with us here today.· Is she your
23· attorney?
24· · · · · · · ·THE WITNESS:· Are you?
25· · · · · · · ·MS. PAIKOWSKY:· No.




                             OCA-APPX-0487
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·1· · · Q.· ·Do you have any plans to vote either by mail in
·2· ballot or in person in future elections?
·3· · · · · · · ·MS. WARMS:· Objection, form.· You can
·4· answer.
·5· · · A.· ·I don't know.· It all depends how I -- my
·6· health.· I'm almost 76 years old, so.
·7· · · Q.· ·(By Mr. Bryant)· In connection with the
·8· November 2022 general election -- you may have testified
·9· to this, I just don't remember the answer.· What is
10· the -- what's your best recollection of the date when
11· you mailed the second mail in ballot?
12· · · A.· ·Must have been like the middle of October
13· sometime, but I don't remember the exact date.
14· · · Q.· ·Okay.· How did you mail it?
15· · · A.· ·Just the local neighborhood mailbox.· We have
16· one of those big, you know, cluster boxes, and --
17· · · Q.· ·You put it in that neighborhood mailbox?
18· · · A.· ·Yes.
19· · · Q.· ·So as far as you know, was it properly
20· addressed and stamped?
21· · · A.· ·Yes.
22· · · Q.· ·And can you say that you mailed that second
23· mail in ballot prior to October 20th?
24· · · A.· ·I don't remember.
25· · · Q.· ·Is it possible that you mailed it a little bit




                             OCA-APPX-0488
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·1· · · · · · · · · ·CHANGES AND SIGNATURE
·2· WITNESS NAME: ROBERTO BENAVIDES
·3· DATE OF DEPOSITION: MARCH 30, 2023
·4· PAGE· · LINE· · · · ·CHANGE· · · · · · ·REASON
·5· ________________________________________________________
·6· ________________________________________________________
·7· ________________________________________________________
·8· ________________________________________________________
·9· ________________________________________________________
10· ________________________________________________________
11· ________________________________________________________
12· ________________________________________________________
13· ________________________________________________________
14· ________________________________________________________
15· ________________________________________________________
16· ________________________________________________________
17· ________________________________________________________
18· ________________________________________________________
19· ________________________________________________________
20· ________________________________________________________
21· ________________________________________________________
22· ________________________________________________________
23· ________________________________________________________
24· ________________________________________________________
25· ________________________________________________________




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·1· · · · · ·I, ROBERTO BENAVIDES, have read the foregoing

·2· deposition and hereby affix my signature that same is

·3· true and correct, except as noted above.

·4

·5

·6

·7· · · · · · · · · · · · · · · ·___________________________
· · · · · · · · · · · · · · · · · · · ROBERTO BENAVIDES
·8

·9

10

11

12· THE STATE OF TEXAS:
· · COUNTY OF ____________:
13
· · · · ·Before me, ___________________, on this day
14· personally appeared ROBERTO BENAVIDES, known to me (or
· · proved to me under oath or through ___________________
15· ________) (description of identity card or other
· · document) to be the person whose name is subscribed to
16· the foregoing instrument and acknowledged to me that
· · they executed the same for the purposes and
17· consideration therein expressed.
· · · · ·Given under my hand and seal of office this ______
18· day of __________, 2023.

19

20

21
· · · · · · · · · · · · · · · · · ·_________________________
22· · · · · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
· · · · · · · · · · · · · · · · · · ·THE STATE OF TEXAS
23

24

25




                               OCA-APPX-0490
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     Roberto Benavides                                                March 30, 2023
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·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO· · · · *
· · ENTERO, et al.· · · · · · ·*
·4· · · · · · · · · · · · · · ·*
· · · · · · · · · · · · · · · ·*
·5· VS.· · · · · · · · · · · · *· Civil Action No.
· · · · · · · · · · · · · · · ·*· 5:51-cv-00844-XR
·6· · · · · · · · · · · · · · ·*
· · GREGORY W. ABBOTT, et al. *
·7
· · ********************************************************
·8
· · · · · · · · · ·REPORTER'S CERTIFICATION
·9· · · · · · · DEPOSITION OF ROBERTO BENAVIDES
· · · · · · · · · · · · MARCH 30, 2023
10· · · · · · · · · · (Reported Remotely)

11· ********************************************************

12· · · · ·I, TRICIA FOX WILLIAMS, Certified Shorthand
· · Reporter in and for the State of Texas, hereby certify
13· to the following:

14· · · · · That the witness, ROBERTO BENAVIDES, was duly
· · sworn by the officer and that the transcript of the oral
15· deposition is a true record of the testimony given by
· · the witness;
16
· · · · · · That the deposition transcript was submitted on
17· _____________ to the witness or to the attorney for the
· · witness for examination, signature and return to me by
18· _______________;

19· · · · · ·That the amount of time used by each party at
· · the deposition is as follows:
20
· · · · ·MR. DAVID BRYANT - 01 HOURS:22 MINUTE(S)
21

22

23

24

25




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·1· · · · ·That pursuant to information given to the
· · deposition officer at the time said testimony was taken,
·2· the following includes counsel for all parties of
· · record:
·3
· · · · ·MS. VERONIKAH WARMS, Attorney for Plaintiffs
·4· · · ·MR. ZACHARY DOLLING, Attorney for Plaintiffs
· · · · ·MS. DANA PAIKOWSKY, Attorney for Plaintiffs
·5· · · ·MS. LUCIA ROMANO, Attorney for Plaintiffs
· · · · ·MR. HANI MIRZA, Attorney for Plaintiffs
·6· · · ·MR. PETER HOFER, Attorney for Plaintiffs
· · · · ·MS. LISA CUBRIEL, Attorney for Defendants
·7· · · ·MS. JOSEPHINE RAMIREZ-SOLIS, Attorney for
· · · · · · · · · · · · · · · · · · · Defendants
·8· · · ·MR. STEPHEN KENNY, Attorney for Intervenor
· · · · · · · · · · · · · · Defendants
·9· · · ·MR. DAVID BRYANT, Attorney for Defendants
· · · · ·MR. ZACHARY BERG, Attorney for Defendants
10
· · · · · · ·I further certify that I am neither counsel
11· for, related to, nor employed by any of the parties or
· · attorneys in the action in which this proceeding was
12· taken, and further that I am not financially or
· · otherwise interested in the outcome of the action.
13
· · · · · · ·Further certification requirements pursuant to
14· Rule 203 of TRCP will be certified to after they have
· · occurred.
15
· · · · · · ·Certified to by me this ______ of
16
· · _________________, 2023.
17

18

19· · · · · · · · · · · · · · · · __________________________
· · · · · · · · · · · · · · · · · · TRICIA FOX WILLIAMS
20· · · · · · · · · · · · · · · · Certified Court Reporter

21· Certification Number: 8273
· · Date of Expiration: 10/31/2024
22· Firm Registration Number: 633
· · Business Address:
23· · · Magna Legal Services
· · · · 16414 San Pedro Ave., Suite 900
24· · · San Antonio, Texas 78232
· · · · (866)672-7880
25




                               OCA-APPX-0492
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                 Exhibit 24




                         OCA-APPX-0493
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                                                                              ·




 · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · · · WESTERN DISTRICT OF TEXAS
 · · · · · · · · · · · SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO,· · ·)
 et al.,· · · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · · )
 · · · · · Plaintiffs,· · · · · ·)
 · · · · · · · · · · · · · · · · )
 V.· · · · · · · · · · · · · · · ) Case No. 5:21-cv-844-XR
 · · · · · · · · · · · · · · · · ) (LEAD CASE)
 GREGORY W. ABBOTT, et al.,· · · )
 · · · · · · · · · · · · · · · · )
 · · · · · Defendants.· · · · · ·)

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 OCA-GREATER HOUSTON, et al.,· · )
 · · · · · · · · · · · · · · · · )
 · · · · · Plaintiffs,· · · · · ·)
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 V.· · · · · · · · · · · · · · · ) Case No. 1:21-cv-780-XR
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 JANE NELSON, et al.,· · · · · · )
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 · · · · · Defendants.· · · · · ·)
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 HOUSTON AREA URBAN LEAGUE,· · · )
 et al.,· · · · · · · · · · · · ·)
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 · · · · · Plaintiffs,· · · · · ·)
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 V.· · · · · · · · · · · · · · · ) Case No. 5:21-cv-848-XR
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 GREGORY WAYNE ABBOTT, et al.,· ·)
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 · · · · · Defendants.· · · · · ·)
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 LULAC TEXAS, et al.,· · · · · · )
 · · · · · · · · · · · · · · · · )
 · · · · · Plaintiffs,· · · · · ·)
 · · · · · · · · · · · · · · · · )
 V.· · · · · · · · · · · · · · · ) Case No. 1:21-cv-0786-XR
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 JANE NELSON, et al.,· · · · · · )
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 · · · · · Defendants.· · · · · ·)
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 MI FAMILIA VOTA, et al.,· · · · )
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 · · · · · Plaintiffs,· · · · · ·)
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 V.· · · · · · · · · · · · · · · ) Case No. 5:21-cv-0920-XR
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 GREG ABBOTT, et al.,· · · · · · )
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 · · · · · Defendants.· · · · · ·)
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 UNITED STATES OF AMERICA,· · · ·)
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 · · · · · Plaintiff,· · · · · · )
 · · · · · · · · · · · · · · · · )
 V.· · · · · · · · · · · · · · · ) Case No. 5:21-cv-1085-XR
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 THE STATE OF TEXAS, et al.,· · ·)
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 · · · · · Defendants.· · · · · ·)
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 · · · · · · · · ORAL & VIDEO DEPOSITION OF:



 · · · · · · · · · · BERNADETTE MALONEY



 · · · · · · · · · · · April 20, 2023



 ------------------------------------------------



 · · ·Oral & video deposition of BERNADETTE MALONEY,



 produced as a witness at the instance of the defendants,



 and duly sworn, was taken in the above-styled and numbered



 cause on the 20th day of April, 2023, before



 Patrick Stephens, Certified Court Reporter, conducted



 remotely via Zoom.




                          OCA-APPX-0496
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 · · · · · · · · · · A P P E A R A N C E S
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 · · · · · Telephone:· (512) 463-2100
 · · · · · ethan.szumanski@oag.texas.gov
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 · · · · · Texas Civil Rights Project
 · · · · · PO Box 17757
 · · · · · Austin, Texas 78760
 · · · · · veronikah@texascivilrightsproject.org
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 · · · · · Rachel Miller, Jones Day - rmiller@jonesday.com
 · · · · · Edgar Saldivar, ACLU of TX
 · · · · · Lucia Romano, Disability Rights TX - lromano@drtx.org
 · · · · · John Sullivan Baker, DOJ- john.sullivanbaker@usdoj.gov
 · · · · · Ashley Harris, ACLU of TX
 · · · · · Savannah Kumar, ACLU of TX
 · · · · · Noah Baron, LULAC - nbaron@elias.law
 · · · · · Ryan Walters, TX AG's Office




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·3· NO.· · · ·DESCRIPTION· · · · · · · · · · · · · · · · · · ·PAGE
·4· 1· · · · ·Depo Notice· · · · · · · · · · · · · · · · · · · ·12
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·1· · · ·A· · No.
·2· · · ·Q· · Have you reviewed any documents in this case such as
·3· the filing -- such as the plaintiffs' second-amended complaints?
·4· · · ·A· · No.
·5· · · ·Q· · Have you reviewed Senate Bill 1 prior to this
·6· deposition?
·7· · · ·A· · No.
·8· · · ·Q· · All right.· Now, Ms. Maloney, just kind of some
·9· background information about you.· We're going to switch to that
10· topic.· What is your current home address?
11· · · ·A· · My current home address is 10517 Grand Oak Circle,
12· Austin, Texas 78750.
13· · · ·Q· · What county is that in?
14· · · ·A· · Travis.
15· · · ·Q· · How long have you lived there?
16· · · ·A· · Oh, three years.
17· · · ·Q· · Three years, you said?
18· · · ·A· · Yes.
19· · · ·Q· · Does anybody else live there with you?
20· · · ·A· · Yes.
21· · · ·Q· · Who is that?
22· · · ·A· · Marge (ph) Waley.
23· · · ·Q· · How do you spell that?
24· · · ·A· · W-a-l-e-y.
25· · · ·Q· · And what is your relation to them?




                             OCA-APPX-0500
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·1· · · ·A· · A friend.
·2· · · ·Q· · Friend.· How long has -- it's -- it's Wally; right?
·3· Is that how you say it?
·4· · · ·A· · Waley.
·5· · · ·Q· · Waley.· How long has Waley lived there with you?
·6· · · ·A· · Well, she's lived there longer than me.· She's lived
·7· there, I would say, close to 20 years.
·8· · · ·Q· · Does Waley own the --
·9· · · ·A· · Yes.
10· · · ·Q· · -- residence there?
11· · · ·A· · Yes.
12· · · ·Q· · Miss -- Ms. Maloney, when were you born?
13· · · ·A· · September 22nd, 1957.
14· · · ·Q· · I know they usually tell you don't ever ask a --
15· someone's age, but fortunately in depositions, I'm able to do
16· that, so thank you.· Now, where were you born, Ms. Maloney?
17· · · ·A· · Brooklyn, New York.
18· · · ·Q· · So how long did you live in Brooklyn, New York?
19· · · ·A· · Four years.
20· · · ·Q· · After living in Brooklyn, New York, where did you
21· travel to after that?
22· · · ·A· · Queens, New York.
23· · · ·Q· · And after that?
24· · · ·A· · Mullaghbawn (ph), County Cavan, Ireland.
25· · · ·Q· · Oh, wow.· How long did you live in Ireland?




                             OCA-APPX-0501
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·1· · · ·Q· · Pennsylvania?
·2· · · ·A· · Uh-huh.
·3· · · ·Q· · How long were you in Pennsylvania?
·4· · · ·A· · Six years.
·5· · · ·Q· · Is there any particular reason why you went to
·6· Pennsylvania?
·7· · · ·A· · Well, to work, to go to school.
·8· · · ·Q· · Okay.· After Pennsylvania, where did you move to after
·9· that?
10· · · ·A· · Austin, Texas.
11· · · ·Q· · Austin, Texas.· Have you lived in Austin, Texas, ever
12· since?
13· · · ·A· · Yes.
14· · · ·Q· · So, Ms. Maloney, do you have a Texas driver's license
15· by chance?
16· · · ·A· · I do.
17· · · ·Q· · How long have you had that?
18· · · ·A· · Since -- I got my Texas driver's license in 1985.
19· · · ·Q· · Do you also have a Texas identification card?
20· · · ·A· · No.
21· · · ·Q· · Is there any particular reason why you don't?
22· · · ·A· · Because I have a driver's license.
23· · · ·Q· · Understandable.· Ms. Maloney, are you registered to
24· vote in Texas?
25· · · ·A· · Yes, I am.




                             OCA-APPX-0502
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    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 503 of 2308
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·1· · · ·Q· · I'm assuming you're registered to vote in Travis
·2· County.
·3· · · ·A· · Yes.
·4· · · ·Q· · How long have you been registered to vote there?
·5· · · ·A· · Since 1985.
·6· · · ·Q· · Are you familiar with where your polling location
·7· typically is?
·8· · · · · · · · ·MR. CAMPBELL-HARRIS:· Objection to form.
·9· Dayton Campbell-Harris.
10· BY MR. SZUMANKSI (resuming):
11· · · ·Q· · Ms. Maloney, you can answer.
12· · · ·A· · I -- I really can't recall.
13· · · ·Q· · Okay.· Is there a particular reason?
14· · · ·A· · Why I can't recall it?· Because it's -- it's -- it's
15· been a while since I -- I -- usually when I'm -- usually I do
16· early voting, and I would go from work, so whatever early-voting
17· place was open, I would go.
18· · · ·Q· · Understood.· Thank you, Ms. Maloney.· Ms. Maloney --
19· and since you have a Texas driver's license, just kind of
20· following up on that, I'm assuming you're currently able to
21· drive.
22· · · ·A· · Yes.
23· · · ·Q· · Are you currently employed?
24· · · ·A· · Yes.
25· · · ·Q· · Where do you work?




                             OCA-APPX-0503
                                                                                 YVer1f
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·1· · · ·A· · I work for Carnegie.· It's a continuing-education
·2· company.
·3· · · ·Q· · How long have you worked there?
·4· · · ·A· · Two years.
·5· · · ·Q· · What got you into the continuing-education field?
·6· · · ·A· · I've been a nurse 45 years, and they do continuing
·7· education for doctors and for nurses, social workers,
·8· pharmacists -- you know, a lot of healthcare workers.
·9· · · ·Q· · Ms. Maloney, you mentioned that you're a nurse for 45
10· years, so what type of education and training did you have past
11· high school?
12· · · ·A· · I have an associate's degree in nursing from
13· Queensboro Community College, I have a bachelor's of nursing
14· from Gwynedd-Mercy College and I have a master's in nursing from
15· the University of Texas at Austin.
16· · · ·Q· · And, Ms. Maloney, moving kind of a little bit away
17· from education and employment and that kind of thing, I want to
18· -- I want to little -- learn a little bit more -- excuse me --
19· about your family.· Do you have any family?
20· · · ·A· · I do.· My mother is alive and is going to be 89 years
21· old next month.
22· · · ·Q· · Well, congratulations to your mother.
23· · · ·A· · Yeah.
24· · · ·Q· · Do you take care of any of your family members?
25· · · ·A· · My mom.




                             OCA-APPX-0504
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·1· · · ·Q· · And where does your mom live now?
·2· · · ·A· · She lives in Bayside, Queens.
·3· · · ·Q· · She's still in Queens, New York?
·4· · · ·A· · Yes.
·5· · · ·Q· · How often do you take care of your mom?
·6· · · ·A· · Well, I share it with my sister, so it depends on
·7· who's most available.· Usually it falls on me.· So every once in
·8· a while, my sister gives me a break.
·9· · · ·Q· · So because, as you said, it all falls on you, can you
10· give me kind of a frequency of how many days out of the week or
11· how many weeks out of a month you typically take care of your
12· mom?
13· · · ·A· · I would say it -- it falls on me for probably two to
14· three months at a time and then I get a break, get to go back to
15· Austin, and then my -- my sister has to leave my mom; I come
16· back to New York.
17· · · ·Q· · And when you come back to Austin for those breaks, how
18· long does that break usually last?
19· · · ·A· · Sometimes I've been -- been there for a month, six
20· weeks; sometimes I've been there for two weeks.· It all depends.
21· · · ·Q· · So would it be fair to say that you spend most of your
22· time in New York taking care of your mom?
23· · · · · · · · ·MR. CAMPBELL-HARRIS:· Objection to form.
24· BY THE WITNESS (resuming):
25· · · ·A· · I would say that I would spend probably -- if I looked




                             OCA-APPX-0505
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·1· back since COVID has happened, I would say anywhere from five to
·2· six months total.
·3· · · ·Q· · And so then that means your sister takes care of your
·4· mom during the other five or six months that --
·5· · · ·A· · Right, right, we -- yeah.
·6· · · ·Q· · Understood.
·7· · · ·A· · Yes, yeah.
·8· · · ·Q· · So --
·9· · · ·A· · We try to make it as fair as possible.
10· · · ·Q· · Understood.· Understood.· Ms. Maloney, are you a part
11· of any nonprofit organizations?
12· · · ·A· · No.
13· · · ·Q· · Have you done any type of events or attended any type
14· of events for nonprofit organizations?
15· · · ·A· · No.· I really -- I haven't been attending very many
16· events at all since COVID, so...
17· · · ·Q· · Before COVID, did you attend any events with nonprofit
18· organizations in Texas?
19· · · ·A· · A few.
20· · · ·Q· · What type of events were those?
21· · · ·A· · I've done, like, walks for different nonprofits, you
22· know, to support them.· I did one event for the Texas League of
23· Women Voters for their 100th anniversary.
24· · · ·Q· · Okay.· So in addition to the Texas League of Women
25· Voters nonprofit organization, would you mind telling me the




                             OCA-APPX-0506
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·1· BY MR. SZUMANSKI (resuming):
·2· · · ·Q· · All right, Ms. Maloney.· We just got back from break
·3· and now we're back on the record.· I just kind of wanted to do
·4· some follow-up questions.· We've made a lot of progress, so
·5· hopefully we'll be done here soon and you can go back to your
·6· daily life.· So just a few follow-up questions, though.· I want
·7· to get more of an understanding about kind of some of the
·8· problems you were having with the ballot tracker.· So you said
·9· that the second time you went on the ballot tracker -- and it
10· said that you were not registered to vote; right?
11· · · ·A· · Right.
12· · · ·Q· · Okay.· At any point in time did you receive a notice
13· of defect of your mail-in ballot --
14· · · ·A· · Yes.
15· · · ·Q· · -- for the 2022 general election?· Understood.· When
16· did you receive that?
17· · · ·A· · Late October.
18· · · ·Q· · And did it explain what the defect was in your mail-in
19· ballot?
20· · · ·A· · I can't remember.
21· · · ·Q· · Do you remember if it was because it was late?
22· · · ·A· · No.
23· · · ·Q· · Do you remember if it was because of the ID numbers
24· you put on there?
25· · · ·A· · Can you explain which ID numbers you're talking about?




                             OCA-APPX-0507
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·1· · · ·Q· · Sure.· So you understand that when you submit a
·2· mail-in ballot and carrier envelope, you have to put one of your
·3· ID numbers on the carrier envelope; right?
·4· · · ·A· · Right.
·5· · · ·Q· · Did you put -- what number did you put?· You don't
·6· have to tell me the numbers.· Just -- did you put your Social
·7· Security number or your driver's license number?
·8· · · ·A· · I -- I did not.
·9· · · ·Q· · Did not put which one?
10· · · ·A· · Either.
11· · · ·Q· · Either.· What did -- what number did you put down?
12· · · ·A· · I put my voter's registration number.
13· · · ·Q· · Understood.· Why did you put your voter's registration
14· number instead of your ID number or partial -- partial Social
15· Security number?
16· · · ·A· · I didn't see on the envelope where it required the
17· driver's license number or the Social Security number.
18· · · ·Q· · So I'm assuming because you didn't see it, you did not
19· put it the first time you submitted your mail-in ballot.
20· · · ·A· · Correct.
21· · · ·Q· · Okay.· After you had learned that there was a problem
22· with your mail-in ballot the first time -- I believe you said in
23· October -- did you see it after that or around that time?
24· · · ·A· · Did I see what?
25· · · ·Q· · So did you -- after you learned that there was a




                             OCA-APPX-0508
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·1· defect with your mail-in ballot, did you then become aware at
·2· that time that you had to put an ID number or partial Social
·3· Security number on the carrier envelope?
·4· · · · · · · · ·MR. CAMPBELL-HARRIS:· Object to form.
·5· BY MR. SZUMANSKI (resuming):
·6· · · ·Q· · You may answer, Ms. Maloney.
·7· · · ·A· · Yes.
·8· · · ·Q· · So I'm assuming after you learned of this defect, you
·9· submitted a new -- a second mail-in ballot.
10· · · ·A· · No.
11· · · ·Q· · No.· Any particular reason why?
12· · · ·A· · Because I entered the missing information on the
13· ballot tracker.
14· · · ·Q· · And by missing information, you mean one of those ID
15· numbers; correct?
16· · · ·A· · Correct.
17· · · ·Q· · And then after that, I'm assuming, is when you checked
18· it again the second time and then learned that it said you were
19· -- it said that you were not registered to vote; right?· Is that
20· the timeframe of events?
21· · · ·A· · Yes.
22· · · ·Q· · So after you learned that the ballot tracker had said
23· you were not registered to vote, you then went to check your
24· voter-registration status in Texas; correct?
25· · · ·A· · Yes.




                             OCA-APPX-0509
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·1· · · ·Q· · And what did you learn when you checked back?
·2· · · ·A· · That I was registered to vote.
·3· · · ·Q· · And after you learned that you were registered to
·4· vote, about how long after that did you start seeking help to
·5· fix your mail-in ballot?
·6· · · ·A· · I can't remember --
·7· · · ·Q· · Understood.
·8· · · ·A· · -- exactly.
·9· · · ·Q· · Understood.· Do you know if it was weeks or days?
10· · · ·A· · Days.
11· · · ·Q· · Do you know if it was more than a week or less than a
12· week?
13· · · ·A· · Less than a week.
14· · · ·Q· · When you received that notice of defect in October, do
15· you -- did it come with a voter-registration application?
16· · · ·A· · I don't recall.
17· · · ·Q· · After learning that the ballot tracker had said you
18· were not registered to vote, did you try to submit new
19· voter-registration --
20· · · ·A· · No.
21· · · ·Q· · -- information?· So you didn't update -- or added your
22· voter registration at all?
23· · · ·A· · No, I -- I didn't need to.
24· · · ·Q· · And why do you think you didn't need to?
25· · · ·A· · Because, as I said earlier, I went to the




                             OCA-APPX-0510
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·1· voter-registration site and saw that I was registered to vote.
·2· · · ·Q· · Understood, understood.· So, Ms. Maloney, have you
·3· become -- would you say that you are more aware of the voting
·4· process because of your experience in the 2022 general election
·5· and primary election?
·6· · · · · · · · ·MR. CAMPBELL-HARRIS:· Objection to form.
·7· BY THE WITNESS (resuming):
·8· · · ·A· · Could you rephrase that question, please?
·9· · · ·Q· · Sure.· So now that you've been through the process of
10· voting by mail under SB1, since the Senate Bill 1 was passed,
11· would you agree with me that you have more knowledge about how
12· to vote by mail in future elections in Texas?
13· · · · · · · · ·MR. CAMPBELL-HARRIS:· Objection to form.
14· BY THE WITNESS (resuming):
15· · · ·A· · I don't know how to answer that question.
16· · · ·Q· · Okay.· Why do you not -- well, I want to make sure I'm
17· helping you to -- to make sure we're both on the same page.· So
18· what can I do to help you understand this question -- or is
19· there a particular reason why you don't understand how to answer
20· this question?
21· · · ·A· · It doesn't make sense to me, the question.
22· · · ·Q· · So maybe I can rephrase it a little bit.· We'll go bit
23· by bit maybe a little bit more.· Maybe that will --
24· · · ·A· · Okay.
25· · · ·Q· · -- help you out.· So in the 2022 general election, you




                             OCA-APPX-0511
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·1· · · · · · · · · · · CHANGES AND SIGNATURE
·2· WITNESS NAME:· BERNADETTE MALONEY
·3· DATE OF DEPO:· APRIL 20, 2023
·4· PAGE· · ·LINE· · ·CHANGE· · · · · · · · · · REASON
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                               OCA-APPX-0512
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·1· · · · · · · · ·I, BERNADETTE MALONEY, have read the
·2· foregoing deposition and hereby affix my signature that same is
·3· true and correct, except as noted above.
·4
·5
·6· · · · · · · · · · · · · · ·BERNADETTE MALONEY, Witness
·7· THE STATE OF __________· · · ·)
·8· COUNTY OF· · · · · · · · · · ·)
·9· · · · · · Before me,· · · · · · · · · · , on this day
10· personally appeared BERNADETTE MALONEY, known to me (or proved
11· to me under oath of through· · · · · · · · · · ·) (description
12· of identity card or other document) to be the person whose name
13· is subscribed to the foregoing instrument and acknowledged to
14· me that they executed the same for the purposes and
15· consideration therein expressed.
16· · · · · · Given under my hand and seal of office this
17· day of· · · · · · · · · · · · ·,· · · · · · .
18
19
20
21· · · · · · · · · · · NOTARY PUBLIC IN AND FOR
22· · · · · · · · · · · THE STATE OF
23
24
25




                               OCA-APPX-0513
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 · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · · · WESTERN DISTRICT OF TEXAS
 · · · · · · · · · · · SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO,· · ·)
 et al.,· · · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · · )
 · · · · · Plaintiffs,· · · · · ·)
 · · · · · · · · · · · · · · · · )
 V.· · · · · · · · · · · · · · · ) Case No. 5:21-cv-844-XR
 · · · · · · · · · · · · · · · · ) (LEAD CASE)
 GREGORY W. ABBOTT, et al.,· · · )
 · · · · · · · · · · · · · · · · )
 Defendants.· · · · · · · · · · ·)

 · · -----------------------------------------------------------

 · · · · · · · · · · ·REPORTER'S CERTIFICATE
 · · · · · · ORAL & VIDEO DEPOSITION OF BERNADETTE MALONEY
 · · · · · · · · · · · · ·APRIL 20, 2023


 · · ·I, Patrick A. Stephens, Certified National Court Reporter,

 hereby certify to the following:



 · · ·That the witness, BERNADETTE MALONEY, was duly sworn and

 that the transcript of the examination is a true record of the

 testimony given by the witness;



 · · ·That pursuant to information given to the examination

 officer at the time said testimony was taken, the following

 includes all parties of record and the amount of time used by

 each party at the time of the examination:




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 · · ·Mr. Ethan Szumanski (1 hr 20 mins)

 · · ·Attorney for State Defendants


 · · ·Mr. Dayton Campbell-Harris (3 mins)
 · · ·Attorney for ACLU Voting Rights Project


 · · ·Ms. Veronikah Warms
 · · ·Attorney for Texas Civil Rights Project




 · · ·I further certify that I am neither counsel for,

 related to, nor employed by any of the parties in the

 action in which this proceeding was taken, and further that

 I am not financially or otherwise interested in the outcome

 of this action.


 · · ·Certified to by me on this 30th day of April, 2023.

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 · · · · · · · · · · · · · · · · · ·PATRICK A. STEPHENS
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 · · · · · · · · · · · · · · · · · ·Expiration: 06/01/2023
 · · · · · · · · · · · · · · · · · ·Magna Legal Services
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                 Exhibit 25




                         OCA-APPX-0516
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                   DECLARATION OF BERNADETTE MALONEY
      My name is Bernadette Maloney. I am over the age of 18 and capable of making

this declaration. The facts stated herein are within my personal knowledge:

   1. I am a resident of Austin, Texas, where I am an eligible voter.

   2. I am registered to vote in Travis County, where Austin is located.

   3. I turned 65 on September 22, 2022.

   4. I first registered to vote in Texas in 1985. Since registering, I have voted for both

      Republican and Democratic candidates.

   5. I have voted in nearly every Texas election for which I was eligible.

   6. I have voted by mail consistently since 2020. I vote by mail because I am often

      outside my county, and because I am 65.

   7. In October 2022, I requested a mail-in ballot sent to New York State, where I was

      taking care of my 89-year-old mother. I routinely look after my mother in New

      York for approximately five to six months out of the year.

   8. When I received my mail-in ballot, I filled out all the provisions that I saw. I did

      not see that the carrier envelope required me to put my driver’s license number or

      Social Security number under the flap. I inadvertently did not include that

      information as a result.

   9. I received a notice from the Travis County Clerk on or about October 28, 2022

      informing me that I left the required identification number off the ballot envelope.

      The notice is attached to this declaration as Exhibit A.




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      10. I reached out to my friend Mary Cullinane, who is a member of the League of

          Women Voters of Texas, and I asked her for advice about what to do when my

          ballot was rejected. Mary told me that I could correct the problem with my ballot

          online through the State’s mail-in ballot tracker.

      11. On or about October 29, 2023, I input my driver’s license number into the mail-in

          ballot tracker.

      12. About a week later, I used the mail-in ballot tracker to try to check the status of

          my ballot and the tracker reported that I was not registered to vote. As a result, I

          was unable to check the status of my ballot.

      13. I confirmed through the Texas Secretary of State’s website, 1 that I was registered

          to vote in Travis County. I then called the Secretary of State’s Office to see

          whether I could receive an update on my mail-in ballot’s status. A Secretary of

          State representative told me that their office could not help me and that I had to

          contact Travis County.

      14. When I called the Travis County office, I was informed that my ballot could not be

          counted because I had called two days after the deadline.

      15. My experience with the absentee voting system in Texas left me feeling like I

          cannot successfully vote by mail in the future. The mail-in ballot tracker did not

          cure the problem with my ballot or correctly identify me as a registered voter. I




1
    https://teamrv-mvp.sos.texas.gov/MVP/mvp.do




                                          OCA-APPX-0518
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       worry whether my mail-in ballot will count in future elections. Voting in-person is

       not an option for me while I care for my mother out-of-state.

This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury

that the foregoing is true and correct.

Executed on May 24, 2023.

                                                       _________________________
                                                       Bernadette Maloney




                                     OCA-APPX-0519
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                 Exhibit 26




                         OCA-APPX-0520
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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

                v.                                            Civil Action No. 5:21-cv-844 (XR)
                                                              (consolidated cases)
 GREGORY W. ABBOTT, et al.,

                        Defendants.




                             DECLARATION OF YI LU ZHAO

My name is Yi Lu Zhao. I am over the age of 18 and capable of making this declaration. The

facts stated herein are within my personal knowledge.

           1. I am a resident of Travis County, Texas and eligible to vote in Travis County,

               Texas.

           2. I am 93 years old and have regularly voted since I was 62 years old.

           3. I immigrated to the United States in January 1991.

           4. In 1996 I became a citizen and that same year I registered to vote in Texas.

           5. I am hard of hearing, and I have limited English skills.

           6. I have regularly voted by mail for the last two decades.

           7. I do not have a Texas Driver’s License. I have a Texas ID and a voter registration

               card.




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     8. In early January 2022 I applied by mail for a vote by mail ballot for the March

        2022 primary. I filled in the last four digits of my social security number on the

        application form. I never had to do that before.

     9. For the first time in my life, I received rejection notices in connection with voting

        by mail.

     10. The rejection of my application to vote in the March 2022 primary by mail was

        deeply upsetting. At my age it is not always easy to remember which identification

        numbers I used when I registered to vote over two decades ago.

     11. I submitted my application three times, received three rejections, and was not

        permitted to vote by mail for the March 2022 primary election.

     12. I received the first rejection on February 17, 2022, one day before the end of the

        application deadline on February 18, 2022, and over a month from my application.

        The instructions stated I needed to update my voter registration record with “both

        the Driver’s License or Personal Identification Card number and the last 4 digits

        of your Social Security number.”

     13. On February 17, 2022, the same day that I received my first rejection, I sent

        another application for a vote by mail ballot, by mail, and this time I included both

        my Texas Personal Identification Card number and the last four digits of my social

        security number.

     14. On February 18, my daughter e-mailed a third application for me to make sure that

        the county would receive it on time, and mailed a hard copy post-marked on

        January 18, consistent with the county’s instructions that, “the new Application

        for a Ballot by Mail must be received no later than 2/18/2022. If the new
                                          2



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        application is faxed or emailed on or near the deadline to apply for a Ballot by

        Mail, the original hardcopy must be received by the Early Voting Clerk within

        four business days of the receipt of your fax or email and meet all legally required

        deadlines for receipt of the application.”

     15. I received the second and third rejections after the application deadline, in letters

        from the Travis County Election Division, post-marked Feb 23, 2022.

     20. One notice of rejection stated that I “did not indicate a party preference” and that

        the application “did not contain your Texas Driver’s License Number, Texas

        Personal Identification Card Number, Texas Election Identification Certificate

        Number or the last 4 digits of your Social Security Number or the number provided

        did not match your voter registration record.” The other notice of rejection stated,

        “We have received your application after the 2/18/2022 deadline to apply for an

        absentee ballot in the Primary Election.”

     21. I was very upset that my application was rejected three times. I wanted to vote by

        mail but could not do so even after successfully voting by mail for two decades.

     22. I had not gone outside in public since March 2020 due to fears of contracting

        COVID.

     23. Because I could no longer vote by mail for the 2022 Primary election the only way

        I could vote was to vote in person on election day. I went to the polling place with

        my daughter.

     24. I had to stand in a long line outside in the cold for fifteen minutes. I found it

        difficult to stand up and to walk. I was shaking.

     25. Eventually, a poll worker told me I could wait in the car and do curbside voting.
                                          3



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     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 524 of 2308




            26. I did not vote in person during the 2022 general election. I voted by mail because

                the second and third applications I mailed were sufficient only for the 2022 general

                election, but not the 2022 primary election.

            27. I do not intend to vote in person again because it is too difficult for me at my age.

            28. I intend to try to vote by absentee ballot again in the future, but SB1 requires that

                I must reapply each year. I am very worried that my application to vote by mail

                will be rejected each year. The County took over four weeks from my first

                application to respond. Their rejection arrived the day before the application

                deadline. Once I corrected the errors my application was deemed too late, even

                though I followed their email and hardcopy instructions.

            29. I had my daughter help me navigate this demoralizing process but there are seniors

                who also are limited English speaking like me and who live alone and don’t have

                someone to help them. I believe they wouldn’t be able to apply to vote by mail or

                vote at all without a daughter or son who knows this process and can help them.




This Declaration is made pursuant to 28 U.S.C. § 1746 with the translation assistance of my

daughter, Ming Fei Yi. I declare under penalty of perjury that the foregoing is true and correct.

Executed on May 23, 2023.

                                                                       _______________________

                                                                                        Yi Lu Zhao




                                                 4



                                      OCA-APPX-0524
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I declare under penalty of perjury that the foregoing translations are\ true and correct. Executed

on May 23, 2023.

________________________

Ming Fei Yi




                                                 5



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                 Exhibit 27




                         OCA-APPX-0526
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 527 of 2308




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

                v.                                             Civil Action No. 5:21-cv-844 (XR)
                                                               (consolidated cases)
 GREGORY W. ABBOTT, et al.,

                        Defendants.




                               DECLARATION OF MING FEI YI

My name is Ming Fei Yi. I am over the age of 18 and capable of making this declaration. The

facts stated herein are within my personal knowledge.

           1. I am a resident of Travis County, Texas and eligible to vote in Travis County,

              Texas.

           2. I have regularly voted for 30 years since I was 35 years old.

           3. I am 65 years old.

           4. I immigrated to the United States in January 1981.

           5. I became a citizen in 1990.

           6. I registered to vote in Texas when I became a citizen.

           7. I speak English and Chinese.

           8. I have provided voter assistance to my father who is limited English proficient for

              over 20 years.




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    9. I am also my father’s caretaker, and he lives in my house.

    10. My father is engaged, well-informed, and speaks and reads limited English, but

       the ballot and election process are complicated and too difficult for him to

       understand.

    11. I must explain the voting process to my father in Chinese.

    12. I assist him at home with completing his absentee ballot. I do not tell him who to

       vote for.

    13. The ballot, election information, and mail in ballot application is not translated

       into Chinese in Travis so I must provide an interpretation of the ballot language.

    14. This year for the first time I had to provide assistance with the application for the

       absentee ballot, something they’ve automatically received for decades.

    15. Despite three timely applications to vote by mail, my father’s application was

       rejected, and he was not permitted to vote by mail for the first time in over 20

       years.

    16. I am concerned about senior citizens who don’t have an engaged daughter or son

       to help them. I don’t know how they could have handled the difficult absentee

       ballot application process on their own. I believe they would end up not voting.

    17. My father was determined to vote and had not been outside of the house since

       January of 2020 to avoid being exposed to COVID. At grave risk, he decided to

       go in person to the polling place.

    18. It was very cold outside on election day and there were no seats in the long line at

       the polling place for elderly voters to sit on. I was worried about my father’s

       health.
                                            2



                                OCA-APPX-0528
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           19. I am concerned about SB1’s criminal liability for offering voter assistance with

              mail in ballots.

           20. Before SB1 I provided assistance for seniors, as well as for my father.

           21. Now I only assist my father and I do not offer help to other seniors who need

              assistance on their absentee application or ballot because of SB1’s criminal

              liability.

           22. I am afraid that even my assistance for my father could violate SB1. Who would

              take care of my father if I go to jail?




This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury that

the foregoing is true and correct. Executed on May 23, 2022.



_______________________

Ming Fei Yi




                                                 3



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                 Exhibit 28




                         OCA-APPX-0530
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                 Exhibit 29




                         OCA-APPX-0535
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,

                               Plaintiffs,
                                                            Civil Action No. 5:21-cv-844(XR)
        v.                                                  (Consolidated Case)

TEXAS, et al.,

                      Defendants.
OCA-GREATER HOUSTON, LEAGUE
OF WOMEN VOTERS OF TEXAS,
REVUP–TEXAS, TEXAS
ORGANIZING PROJECT, and                                     1:21-cv-0780-XR
WORKERS DEFENSE ACTION FUND,

                              Plaintiffs,

        v.

TEXAS SECRETARY OF STATE JOHN
SCOTT, in his official capacity, et al.,

                              Defendants.


                             NOTICE OF CONFIDENTIALITY
        Pursuant to the protective order in this lawsuit, OCA-Greater Houston Plaintiffs designate
as confidential the following portions of the attached League of Women Voters of Texas’s
deposition:
   •    159:12–167:13


Dated: May 31, 2022
                                                    /s/Thomas Buser-Clancy
                                                    Texas Bar No. 24078344
                                                    ACLU FOUNDATION OF TEXAS, INC.
                                                    5225 Katy Freeway, Suite 350
                                                    Houston, TX 77007
                                                    Telephone: (713) 942-8146
                                                    tbuser-clancy@aclutx.org




                                       OCA-APPX-0536
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              Transcript of the Testimony of
                        Grace Chimene


                                Date:
                           April 26, 2022



                                Case:
LA UNION DEL PUEBLO ENTERO vs GREGORY W. ABBOTT




                           OCA-APPX-0537
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 538 of 2308
   Grace Chimene                                                         April 26, 2022
                                                                                      ·


·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO· · · · · )
· · ENTERO, et al,· · · · · · · ·)
·4· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Plaintiffs,· ·)
·5· · · · · · · · · · · · · · · ·) CIVIL ACTION
· · VS.· · · · · · · · · · · · · )
·6· · · · · · · · · · · · · · · ·) NO.: 5:21-cv-844-XR
· · GREGORY W. ABBOTT, et al,· · )
·7· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Defendants.· ·)
·8· · · · · · · · · · · · · · · ·)

·9· · · · · · ·-----------------------------------

10· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

11· · · · · · · · · · · · GRACE CHIMENE

12· ·Designated Representative of League of Woman Voters of

13· · · · · · · · · · · · · ·Texas

14· · · · · · · · · · · ·APRIL 26, 2022

15· · · · · · ·-----------------------------------

16· · · ·ORAL AND VIDEOTAPED DEPOSITION OF GRACE CHIMENE,

17· produced as a witness at the instance of the DEFENDANTS,

18· and duly sworn, was taken in the above-styled and

19· numbered cause on April 26, 2022, from 10:14 a.m. to

20· 5:13 p.m. before Miah Parson, CSR in and for the State

21· of Texas, reported by oral stenography, at the

22· Disability Rights Texas offices, 2222 W. Braker Lane,

23· Austin, Texas 78758, pursuant to the Federal Rules of

24· Civil Procedure and the provisions stated on the record

25· or attached hereto.


   Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
   210-697-3400                                                             210-697-3408
                               OCA-APPX-0538
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     Grace Chimene                                                         April 26, 2022
                                                                                   Page 2


·1· · · · · · · · · · A P P E A R A N C E S

·2· FOR THE PLAINTIFFS:

·3· · · ·THOMAS BUSER-CLANCY
· · · · ·ACLU FOUNDATION OF TEXAS, INC.
·4· · · ·5225 Katy Freeway, Suite 350
· · · · ·Houston, Texas 77007
·5· · · ·Phone:· 713-942-8146
· · · · ·Fax:· 915-642-6752
·6· · · ·tbuser-clancy@aclutx.org

·7
· · FOR THE DEFENDANTS GREGORY W. ABBOTT, et al:
·8
· · · · ·WILLIAM T. THOMPSON
·9· · · ·DEPUTY CHIEF, SPECIAL LITIGATION
· · · · ·UNIT
10· · · ·P.O. BOX 12548 (MC-009)
· · · · ·Austin, Texas 78711
11· · · ·Phone:· 512-463-2100
· · · · ·Fax:· 512-457-4410
12· · · ·will.thompson@oag.texas.gov

13· ALSO PRESENT:

14· Lauren Morris-Videographer

15· Savannah Kumar
· · Sarah Chen
16· Ashley Harris

17· VIA ZOOM:

18· Bradley Prowant
· · Kelsey Pormasdoro-DOJ
19

20

21

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23

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     210-697-3400                                                             210-697-3408
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     210-697-3400                                                             210-697-3408
                                 OCA-APPX-0540
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   Grace Chimene                                                         April 26, 2022
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·1· also have this other type of League in Texas it serves a
·2· local community called a League at large and they are
·3· normally smaller leagues or newer leagues and they need
·4· more assistance and they're considered units, right of
·5· the Texas League.· So one of them has their own by laws
·6· and policies and procedures the other one is -- is a
·7· part of the Texas League.· Okay.· Right.
·8· · · ·Q.· And does the National League have its own
·9· bylaws and organizational documents?
10· · · ·A.· It has its own bylaws.· The Texas League has
11· its own bylaws and then local leagues that are
12· independent have their own bylaws.
13· · · ·Q.· Okay.· When I ask you about the League today
14· I'm gonna be asking about the Women Voters of Texas --
15· · · ·A.· Okay.
16· · · ·Q.· -- and anything that's a part of the League of
17· Women Voters of Texas, including those, I think you
18· called them consolidated local leagues?
19· · · ·A.· Leagues at Large.
20· · · ·Q.· The Leagues at Large.
21· · · ·A.· Yes.
22· · · ·Q.· They're --
23· · · ·A.· Yes, but the people who are members of a local
24· League that has their own bylaws and has their own
25· policies and procedures they are under the Texas League

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   210-697-3400                                                             210-697-3408
                               OCA-APPX-0541
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   Grace Chimene                                                         April 26, 2022
                                                                                Page 11


·1· so they have -- they follow our -- they -- they follow
·2· what we say for anything to do with state level
·3· information or state level advocacy.· So they take care
·4· of the needs of the local level.· We take care of the
·5· needs of the Voters at the state level.· So we're all
·6· one organization.· They belong to all the same
·7· organization, but they joined the local level.
·8· · · ·Q.· So I think you said that the state League can
·9· set certain rules that govern the conduct of local
10· leagues; is that right?
11· · · ·A.· Yeah.· But not -- not every conduct.· Some
12· things are -- are open for the local leagues that have
13· their own policies specific to what they're doing at the
14· local level.
15· · · ·Q.· And some activities are undertaken by local
16· leagues -- separate from the state League, right?
17· · · ·A.· At the local level.
18· · · ·Q.· Is that a yes?
19· · · ·A.· It was.· No, it wasn't a yes.· It was at the
20· local level local leagues can take action like if they
21· want to -- when they're doing the voters guide, they're
22· doing the voters guide for local elections, right?
23· · · ·Q.· Sure, I'm not --
24· · · ·A.· When they're going --
25· · · ·Q.· -- trying --

   Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
   210-697-3400                                                             210-697-3408
                               OCA-APPX-0542
                                                                                       YVer1f
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   Grace Chimene                                                         April 26, 2022
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·1· to Interrogatory No.· 3?
·2· · · ·A.· What -- what page is it on?
·3· · · ·Q.· It's on Page 14 of Exhibit 2.· If you look
·4· about half way down the page you will see a sentence
·5· that says, LWVTX has approximately 3,050 members across
·6· Texas.· Do you see that?
·7· · · ·A.· Yes.
·8· · · ·Q.· Does LWVTX mean League of Women Voters of
·9· Texas?
10· · · ·A.· Yes.
11· · · ·Q.· And is 3,050 your best estimate of how many
12· members League has?
13· · · ·A.· It goes up and down right around that number.
14· · · ·Q.· How does one become a member of the League?
15· · · ·A.· Most members can join -- folks, anybody who is
16· 16 and over can join the League of women voters and
17· generally they join at the local level and --· but if
18· there's not a local League in their community then they
19· will join at the state level and occasionally people
20· join at the national level.· Yeah.· They pay a certain
21· amount of money and that's how they join.
22· · · ·Q.· So is there a form one fills out to become a
23· member?
24· · · ·A.· Is there a form one fills out.· Do I fill out a
25· form.· I'm trying to think.· I go online and I click a

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   210-697-3400                                                             210-697-3408
                               OCA-APPX-0543
                                                                                       YVer1f
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   Grace Chimene                                                         April 26, 2022
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·1· could have the opportunity to say I want to run against
·2· so-and-so, but in general we have that nominating
·3· process work so that everybody who really wants to be on
·4· the board gets an opportunity to either be on the board
·5· or to do some other projects at the statewide level.
·6· · · ·Q.· And how are the members of the nominating
·7· committee chosen?
·8· · · ·A.· The members of the nominating committee, that
·9· is in the bylaws and so -- so -- so check the bylaws
10· just to confirm that I'm being accurate.· I'm not 100
11· percent sure off the top of my head, but I believe
12· two -- three members who are not on the board are -- are
13· on the nominating committee and then two members who are
14· on the current board are on the nominating committee.
15· It's something like that so I think it ends up being
16· five people.· So that's something like -- my understand,
17· but I would have to really read the bylaws to make sure
18· I have it right.· And -- and one of them is assigned to
19· be the chair.
20· · · ·Q.· So the League of Women Voters of Texas is
21· governed by a board, right?
22· · · ·A.· Uh-huh, yes.
23· · · ·Q.· And that board is chosen through a convention
24· that votes to approve or not the people nominated by the
25· nominating committee, right?

   Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
   210-697-3400                                                             210-697-3408
                               OCA-APPX-0544
                                                                                       YVer1f
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   Grace Chimene                                                         April 26, 2022
                                                                                Page 29


·1· · · ·A.· Yes.
·2· · · ·Q.· You said the voter convention is done by
·3· delegates, right?
·4· · · ·A.· Yes.
·5· · · ·Q.· And how does one become a delegate?
·6· · · ·A.· Okay.· What's fun is we just had our convention
·7· on April -- in early April.· So this all somewhat fresh
·8· in my mind.· Let's think how we do -- so tell me the
·9· question again.
10· · · ·Q.· How does one become a delegate to the League of
11· Women Voters of Texas convention?
12· · · ·A.· Okay.· So in our bylaws it says the number --
13· something about the number of members in your League or
14· League at large determines the number of delegates that
15· you have and so we use math.· And then to determine the
16· number of delegates and then how are those delegates
17· chosen the local League president gets to say who's on
18· the final list, but pretty much anybody who wants to
19· come to convention and be a delegate, there's plenty of
20· opportunities for them to be there.
21· · · ·Q.· The delegates to the League of Women Voters of
22· Texas convention are chosen by the local League
23· presidents, correct?
24· · · ·A.· By the local League presidents, yes.
25· · · ·Q.· How does one become a president of a local

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·1· looked at except for 2021 instead of 2020?
·2· · · ·A.· Yes.
·3· · · ·Q.· Okay.· Let's just briefly look at the last page
·4· again, which is Bates stamped 2276?
·5· · · ·A.· Uh-huh.
·6· · · ·Q.· Do you see a similar pie chart regarding the
·7· League's income underneath heading, Funding the Mission?
·8· · · ·A.· Yes.
·9· · · · · · · · MR. CLANCY:· Same objection as beyond the
10· scope of the deposition notice.
11· · · ·Q.· (BY MR. THOMPSON)· Does it show the League's
12· income for 20 --
13· · · ·A.· Income, yes the pie chart.
14· · · ·Q.· I'm sorry.· I'm noticing something about the
15· last page.· If you look at the top of the last page, it
16· says 2022 report.· Do you see that?
17· · · ·A.· Yeah.
18· · · ·Q.· But the title on the first page said 2021
19· Impact Report, right?
20· · · ·A.· Yes.· So --
21· · · ·Q.· It is currently April of 2022, right?
22· · · ·A.· 2021, today, yes.
23· · · ·Q.· Do you think that the chart relates to the
24· relevant numbers for 2021 or 2022?
25· · · ·A.· 2021.

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·1· · · ·Q.· I'm sorry.· So the chart on Bates stamp 2276
·2· shows that the League of Women Voters of Texas had an
·3· income in 2021 of $320,308, right?
·4· · · ·A.· Yes.
·5· · · · · · · · MR. CLANCY:· Just a continuing objection
·6· this line of question speak and can you answer.
·7· · · ·Q.· (BY MR. THOMPSON)· And the share of that income
·8· that was attributable to the per member payments from
·9· local leagues was 17 percent, right?
10· · · ·A.· No, wait a second.· Membership says 17 percent
11· yes.
12· · · ·Q.· All right.· Just to make sure we get it clear
13· for the record.· The pie chart shows on the bottom
14· right-hand corner a 17 percent slice of the pie labeled
15· membership, right?
16· · · ·A.· Yes.
17· · · ·Q.· And that means that 17 percent of the League of
18· Women Voters of Texas income in 2021 came from the per
19· member payments made by local leagues, right?
20· · · ·A.· That's my understanding.
21· · · ·Q.· Okay.· Thank you very much.· You can set aside
22· Exhibit 4.· So based on the numbers from 2020 and 2021
23· more than 80 percent of the League's funding comes from
24· sources other than per member payments, right?
25· · · · · · · · MR. CLANCY:· Objection; form.

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·1· voters overall.· LWVTX would not have to conduct this
·2· type of public education in the absence of SB1.· Do you
·3· see all that?
·4· · · ·A.· Yes, that was a very long paragraph.
·5· · · ·Q.· It was indeed?
·6· · · ·A.· Yes.
·7· · · ·Q.· Okay.· So toward the top of that paragraph the
·8· complaint alleges that SB1 would frustrate LWVTX's
·9· mission of empowering voters and defending democracy by
10· expanding voter registration and increasing voter turn
11· out.· How does SB1 frustrate LWVTX's mission?
12· · · ·A.· So our mission of empowering voters and
13· defending democracy we take -- we take to heart and I
14· can barely say the mission without going woo hoo every
15· time because it's so important to us.· The -- so during
16· empowering voters.· So during most elections we're
17· working really hard and especially working on trying to
18· get more people registered to vote in voting Texas
19· elections and -- and we have in the past been
20· concentrating much of our efforts on young voters like
21· we have a high school voter registration program,
22· college age voters also because we know if you could get
23· a voter to -- a young voter to participate in one
24· election then they're more likely to participate in more
25· elections.· And we do that through our high school voter

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·1· registration and education, first vote education project
·2· and the campus vote project that we work on a lot.· The
·3· other area we work with are people who are less likely
·4· to vote and so those would be people who are not
·5· consistent voters, voters in low income areas, we work
·6· with voters who are served by food banks, voters who are
·7· new voters, we have a whole naturalization ceremony and
·8· we have voters who -- who are new to Texas.· And so
·9· those -- those are some of the areas -- some of the
10· areas we work on when we try to empower voters in Texas
11· in trying to get out the vote.· The -- and instead of
12· being able to do that, since -- SB1 we spent a great
13· deal of our time instead educating voters who are
14· normally consistent voters who have been voted -- voting
15· for a very, very, very long time in many cases who are
16· voting by mail, who are 65 years and over or are a voter
17· with a disability.· And so we've been spending much of
18· our time instead of working with those inconsistent
19· voters, but working with normally consistent voters
20· who's been voting for a very long time who are now need
21· a lot of voter education in order to get -- even get
22· through the application or the ballot by mail process.
23· So we -- we turned all of our energy -- I'm sorry, I'm
24· making hand motion we turned our energy from what we had
25· previously been concentrating on to these 65 and over

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·1· voters and voters with disabilities on educating them
·2· about the new SB1 law, especially regarding voter ID.
·3· · · ·Q.· So I understand, Ms. Chimene, that you brought
·4· in some specific examples of what the League does and
·5· how it respond to SB1.· I want to see if I can kind of
·6· put those examples into categories and make sure I
·7· understand each of the applicable categories that they
·8· exist.· So what I think you were just testifying about
·9· was -- that in response to SB1, the League has shifted
10· some of its focus from activities it used to do to other
11· activities in response to SB1, is that accurate?
12· · · ·A.· Yes.
13· · · ·Q.· Is there any way -- I'm sorry, let me try that
14· again.· Is that what the League is referring to when it
15· says that SB1 frustrates the League's mission?
16· · · ·A.· It's one of the aspects of what we mean when we
17· say it frustrates the League's mission.· It's -- is it
18· okay if I keep going?· So for us our mission is really
19· important to our members and -- and supporters.· And
20· that is empowering voters and defending democracy.· And
21· frustrating our mission by making it so that these
22· consistent older voters who are 65 and over and Texas
23· and who are voters with a disability can't get through
24· the process either of applying to vote by mail or the
25· ones that had their ballots rejected in this last

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·1· election or during the primary where they had 25,000
·2· voters who voted by mails ballot rejected.· I would say
·3· yes it frustrates our mission so --
·4· · · ·Q.· So I think you said that the shift and focus is
·5· one aspect of how SB1 allegedly frustrates the League's
·6· mission.· I want a list of all the aspects in which the
·7· League contends that SB1 frustrates the League's
·8· mission.· Can you provide that?
·9· · · ·A.· I can provide you with the ones that I could
10· come up with at this moment, but I'm sure there's going
11· to be more.· So let me start with, frustrates our
12· mission.· So let me start with the fact that we had to
13· pull together all of our volunteer efforts and focus on
14· creating voter education materials and creating a
15· communication plan for this specific bill and that
16· included actually hiring a communications person.
17· Everybody in the League is a volunteer.· I'm a
18· volunteer.· Everybody's a volunteer except we have a
19· staff member who is like -- her title is Executive
20· Director, but she's more like an administrator of the
21· office and -- and we got enough money to be able to hire
22· a communications person because this is taken up so much
23· of the volunteer's times and my time and other peoples
24· times on the board that we're unable to get done the
25· normal activities that we would like to provide or we're

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·1· just working so hard were exhausted.· So -- so it's our
·2· members time, the inability to reach the voters we
·3· normally reach and are concerned about and the cost of
·4· having to pay extra staff as much as we could.· So now
·5· we have communications person that we're paying for and
·6· also -- let me try to think.· So that's volunteer time
·7· --it frustrates our mission because I know these voters
·8· who reached out to me and to us to let us know how
·9· frustrated they were with this process.· There was
10· categories of them.· So some of them were very angry
11· about this bill and why is this happening to them.
12· · · · · · · · And others are embarrassed that they were
13· unable to follow this process.· That they -- that SB1
14· created and others are not talking about it.· They have
15· just hold up and I'm not hearing from them.· So my
16· feeling and concern is that they will quit being a part
17· of our democracy.· And I believe that this is all due to
18· SB1 and these major changes that happen especially with
19· the voter ID and the complicated process for voting by
20· mail.· And -- and -- and so when I say it frustrates our
21· mission, I mean it really frustrates our mission in so
22· many different ways and those are just the three that I
23· was able to name at this moment.
24· · · ·Q.· Okay.· Let me try -- try this again.
25· · · ·A.· Okay.

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·1· get through the application process had their votes not
·2· counted in the primary.· Some of those voters are angry
·3· about it and letting me know that they're angry by
·4· sending -- by contacting me in some way that we've
·5· already shared.· Others are embarrassed and are kind of
·6· turning it on themselves they're -- they seem
·7· embarrassed and others I am not hearing from and my
·8· concern because our mission is empowering voters into
·9· fitting democracy.· My concern is the frustration is
10· we're not meeting those voters needs and we can't meet
11· their voter's needs because there is nothing I can do to
12· make sure that they're able to participate in this
13· process and those voters we are losing in this already
14· low voting state.· We are losing those voters and I'm
15· not sure that we'll ever be able to get them back again
16· and that is because of SB1.
17· · · ·Q.· Okay.· I think I understand the second category
18· you're describing, but I need to make sure that I'm
19· accurately understanding your testimony.· The League has
20· a goal of helping voters to vote, right?· Is that a yes?
21· · · ·A.· Yes.
22· · · ·Q.· Thank you and I'm sorry about that.
23· · · ·A.· Nope, it was my fault.
24· · · ·Q.· The League has a goal of helping voters to
25· vote, right?

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·1· · · ·A.· Yes.
·2· · · ·Q.· And the League contends that its goal is
·3· frustrated by SB1, right?
·4· · · ·A.· Yes.
·5· · · ·Q.· And that's because some voters the League
·6· contends, are not able to effectively vote due to new
·7· provisions in SB1, correct?
·8· · · · · · · · MR. CLANCY:· Objection.· Misstates the
·9· testimony.· Form.
10· · · ·A.· So some voters are -- my concern is that
11· because of the ID requirement and other issues with SB1
12· that we have mentioned -- the lawyers have mentioned,
13· that some voters our -- are unable to overcome the
14· obstacles no matter how much voter education we provide.
15· No matter how much we work with county election
16· officials.· No matter how much we promote this SB1
17· complicates vote by mail and -- and makes it so that
18· we're losing voters who are normally consistent voters.
19· Not only that, but we're unable to meet -- we can't --
20· we can't seem to get them through this and we don't have
21· the resources to do voter education that is -- that is
22· required and so it's frustrating also because we're not
23· going in meeting all the voter's needs.· So we're not
24· meeting the high school voter needs.· We're not meeting
25· the college student needs.· We're not meeting the low

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·1· income voters or the inconsistent voters who we normally
·2· concentrate on and instead we've had to turn our
·3· attention to people who are normally very consistent
·4· voters.· People who normally have been voting
·5· consistently and by mail for some time for many years
·6· and they've been voting by mail for many years and now
·7· those voters are unable to either get through the
·8· application process or they're one of the 25,000 that
·9· had their ballots rejected.· So this is frustrating our
10· mission.
11· · · ·Q.· Let me try to sum it up.· We'll see if I get it
12· right.· The League contends that SB1 frustrates its
13· mission by preventing some people from voting, correct?
14· · · ·A.· Yes.
15· · · ·Q.· In an effort to address that problem the League
16· has tried to educate voters about SB1, right?
17· · · ·A.· That is one of the things we have tried to do,
18· yes.
19· · · ·Q.· And by Spending the resources to educate voters
20· about SB1, the League has necessarily shifted some
21· resources away from activities it otherwise would have
22· done, correct?
23· · · ·A.· Yes.
24· · · ·Q.· Does that capture all the ways that the League
25· contends that SB1 frustrates its mission?

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·1· the League's mission?
·2· · · · · · · · MR. CLANCY:· Objection to form.
·3· · · ·A.· So we have resources, we have voters, we have
·4· our time, and efforts.· So I could say yes for now.· I'm
·5· sorry, I -- I -- I know that I'll go home and remember
·6· all these other reasons.· So I apologize and I know
·7· you're going to try to go over and over and over again,
·8· but maybe after the next break I can come back to you
·9· and tell you some more, but at this particular moment I
10· think that is a lot of resources and a lot of
11· frustration that we have so thank you.
12· · · ·Q.· (BY MR. THOMPSON)· Sitting here today you can't
13· tell me about any other ways that the vote by mail
14· provisions and SB1 frustrates the League's mission, can
15· you.
16· · · ·A.· Tell me, again.· Read it out loud.· Let me try
17· to categorize it.
18· · · ·Q.· Sure.· Maybe -- maybe it would help if I
19· numbered them.
20· · · ·A.· Well, if it was written down I'd probably able
21· to look at it and think more, but go -- yes, say No. 1
22· that might help.
23· · · ·Q.· Okay.· No. 1, the League contends that the vote
24· by mail provisions and SB1 will prevent some voters from
25· participating in elections, right?

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·1· · · ·A.· Yes, so that's voters, yes.
·2· · · ·Q.· No. 2, the League tries to address that problem
·3· by shifting its resources from other activities to
·4· educating voters about SB1, right?
·5· · · ·A.· Right.· Yes.
·6· · · ·Q.· No. 3, despite the League's efforts the vote by
·7· mail provisions and SB1 will according to the League
·8· still prevent some voters from participating in
·9· elections, right?
10· · · ·A.· Yes.
11· · · ·Q.· Now, I think those are the three broad
12· categories of ways that you have testified the vote by
13· mail provisions and SB1 can frustrate the League's
14· mission.
15· · · ·A.· Did one of those include financial resources,
16· not just volunteer time, but also financial resources?
17· Is that included under the resource section?
18· · · ·Q.· Yes, as far as I'm concerned the resources
19· addressed in No. 2 can be any type of resource you want.
20· · · ·A.· Okay.· All right that sounds good.
21· · · ·Q.· Is that -- are those the only three broad
22· categories you can testify about sitting here today.
23· · · ·A.· Sitting here today, yes.· Thank you.
24· · · ·Q.· You can't identify right now any other way in
25· which the vote by mail provisions of SB1 frustrates the

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·1· · · ·A.· At least.· I was -- we were working on 1 or 2
·2· yesterday, sorry.
·3· · · ·Q.· Are there more educational videos that the
·4· League intends to edit or remake going forward based on
·5· SB1 going into effect?
·6· · · · · · · · MR. CLANCY:· Objection; form.
·7· · · ·A.· Yes, there will be more videos.
·8· · · ·Q.· (BY MR. THOMPSON)· When will those be edited or
·9· remade?
10· · · ·A.· It seems as though since December in the middle
11· of -- right during -- during the holidays instead of
12· having a wonderful -- a relaxing vacation we were
13· creating videos about vote by mail.· Many of those
14· videos -- I don't know many, those videos have been
15· edited and then we provide them in different ways.· So
16· when you make a voter educational video you're trying to
17· make it in a way that meets -- you're trying to provide
18· voter education for people who are impacted by the bill
19· and you're trying to make it -- meet all of their needs
20· and so there's many videos and there's many documents
21· and there's graphics and try -- and then working with
22· partners and other government agencies trying to meet
23· the needs of the voters.
24· · · ·Q.· So as I understand your testimony you're saying
25· that the League provides new information, including

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·1· through remade videos about changes caused by SB1,
·2· correct?
·3· · · ·A.· We have created numerous videos about changes
·4· to SB1 and we will continue to create the videos in a
·5· way that we hope will reach more and more voters.· At
·6· the beginning SB1 was confusing for us and hard for us
·7· to consolidate and take that huge bill and try to make
·8· it into legal language that voters could understand, but
·9· our early videos are fairly complicated because it's a
10· complicated process and we're trying to simplify as much
11· as we can.· So it's just -- it's just -- this is been a
12· very difficult time for us.
13· · · ·Q.· So based on Paragraph 167 of the second amended
14· complaint I thought there were particular videos,
15· educational videos that the League wanted to edit or
16· remake; is that right.
17· · · ·A.· About -- about SB1 and vote by mail, in
18· particular especially regarding the voter ID aspects of
19· it.· We will -- those videos were made and they're
20· multiple different types and now we are continuing to
21· edit and remake videos trying to reach as many voters as
22· possible just as possible.
23· · · ·Q.· When does the League anticipate that it will
24· finish editing or remaking those videos?
25· · · · · · · · MR. CLANCY:· Objection; form.

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·1· · · ·A.· I make most of the videos to be honest, so
·2· that's what I did over my vacation.· I think the video's
·3· will be changing because they'll be made by somebody
·4· else after June.· When I am not on the board -- so I
·5· expect those videos will be changing and perhaps being
·6· edited or just remaking them in a different way.                         I
·7· don't know if I answered your question, I'm sorry.
·8· · · ·Q.· My question was, when do you think the process
·9· will be complete?
10· · · · · · · · MR. CLANCY:· Objection; form.
11· · · ·A.· Those -- when will it be complete.· I think the
12· voter education that we provide on SB1 will continue on
13· as we try to find tune our voter education so that more
14· so to see if we could reach more voters and have them be
15· successful voters.· So right now the videos are in
16· English, they need to be made in Spanish, perhaps some
17· other languages, right now the videos were very simply
18· made by me and some other League members.· And I -- and
19· it was a huge start.· I think it will continue on.                           I
20· expect we may have more videos as time goes by trying to
21· reach as many people as possible I know I've said that
22· before.· Okay.
23· · · ·Q.· (BY MR. THOMPSON)· If SB1 were no longer in
24· effect, would the League need to change the videos yet
25· again to take down that change?

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                               OCA-APPX-0560
                                                                                       YVer1f
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   Grace Chimene                                                         April 26, 2022
                                                                               Page 138


·1· · · ·Q.· If you flip to Page 9 and 10 and look at slides
·2· 18 to 19.
·3· · · ·A.· Okay.
·4· · · ·Q.· There the League is providing tips about
·5· assistance for voters in polling place, right?
·6· · · ·A.· Right.
·7· · · ·Q.· So having gone through a few of these slides, I
·8· guess what I want to know is, is this exhibit a
·9· representative example of the types of tips and
10· education that the League provides?
11· · · · · · · · MR. CLANCY:· Objection; form.
12· · · ·A.· This is not -- this is way more specific than
13· we normally get.· Because SB1 is so complicated and was
14· so massive and the changes are overwhelming for many
15· voters this is a lot more than we normally do.· We
16· normally have more perky happy slides about registering
17· to vote or voting early, you know, and this one is like
18· really more detailed, detailed oriented and that is what
19· SB1 has done.· Also this is very early on so over time
20· our education has changed and this is not for voters it
21· is for organizations that work with the voters.· So I
22· wouldn't teach voters all of this necessarily.· I would
23· try to make it more simple, but it's -- I like it.· I --
24· I created it.· I'm not a lawyer.
25· · · ·Q.· Sure.· And I'm surely not trained --

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                               OCA-APPX-0561
                                                                                       YVer1f
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   Grace Chimene                                                         April 26, 2022
                                                                               Page 209


·1· · · · · · · · CHANGES AND SIGNATURE.
·2· WITNESS NAME: GRACE CHIMENE DATE: APRIL 26, 2022
·3· PAGE LINE· · · CHANGE· · · · · · REASON
·4· ________________________________________________________
·5· ________________________________________________________
·6· ________________________________________________________
·7· ________________________________________________________
·8· ________________________________________________________
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11· ________________________________________________________
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     Grace Chimene                                                         April 26, 2022
                                                                                 Page 210


·1· · · · · · I, GRACE CHIMENE, have read the foregoing
· · deposition and hereby affix my signature that same is
·2· true and correct, except as noted above.

·3

·4
· · · · · · · · · · · · · ·_________________________________
·5· · · · · · · · · · · · ·GRACE CHIMENE

·6

·7

·8

·9· THE STATE OF __________)

10· COUNTY OF _____________)

11

12· · · · · · Before me, ___________________________, on

13· this day personally appeared GRACE CHIMENE, known to me

14· (or proved to me under oath or through

15· ___________________________) (description of identity

16· card or other document)) to be the person whose name is

17· subscribed to the foregoing instrument and acknowledged

18· to me that they executed the same for the purposes and

19· consideration therein expressed.

20· · · · · · Given under my hand and seal of office this

21· __________ day of ________________________, __________.

22

23

24· · · · · · · · · · · · ·_________________________________
· · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
25· · · · · · · · · · · · ·THE STATE OF ____________________
· · · · · · · · · · · · · ·COMMISSION EXPIRES: _____________


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                                 OCA-APPX-0563
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO· · · · · )
· · ENTERO, et al,· · · · · · · ·)
·4· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Plaintiffs,· ·)
·5· · · · · · · · · · · · · · · ·) CIVIL ACTION
· · VS.· · · · · · · · · · · · · )
·6· · · · · · · · · · · · · · · ·) NO.: 5:21-cv-844-XR
· · · · · · · · · · · · · · · · ·)
·7· GREGORY W. ABBOTT, et al,· · )
· · · · · · · · · · · · · · · · ·)
·8· · · · · · · · ·Defendants.· ·)
· · · · · · · · · · · · · · · · ·)
·9

10· · · · · · · · · REPORTER'S CERTIFICATION

11· · · ·ORAL AND VIDEOTAPED DEPOSITION OF GRACE CHIMENE

12· · · · · · · · · · · ·APRIL 26, 2022

13

14· · · ·I, Miah Parson, CSR, Certified Shorthand Reporter

15· in and for the State of Texas, hereby certify to the

16· following:

17· · · ·That the witness, GRACE CHIMENE, was duly sworn by

18· the officer and that the transcript of the oral

19· deposition is a true record of the testimony given by

20· the witness;

21· · · ·I further certify that pursuant to FRCP Rule

22· 30(f)(1) that the signature of the deponent:

23· ·_X_ was requested by the deponent or a party before the

24· completion of the deposition and that the signature is

25· to be before any notary public and returned within 30


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                                 OCA-APPX-0564
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     Grace Chimene                                                         April 26, 2022
                                                                                 Page 212


·1· days from the date of receipt of the transcript.· If

·2· returned, the attached Changes and Signature Page

·3· contains any changes and the reasons therefor;

·4· · · ·__ was not requested by the deponent or a party

·5· before the completion of the deposition.

·6· · · ·I further certify that I am neither counsel for,

·7· related to, nor employed by any of the parties or

·8· attorneys in this action in which this proceeding was

·9· taken, and further that I am not financially or

10· otherwise interested in the outcome of the action.

11· · · ·Certified to by me this 17th day of May, 2022.

12

13

14· · · · · · · · · · · · ·_________________________________
· · · · · · · · · · · · · ·Miah Parson, CSR No. 11773
15· · · · · · · · · · · · ·Expiration Date:· 02/28/2023
· · · · · · · · · · · · · ·Firm Registration No. 633
16· · · · · · · · · · · · ·Magna Legal Services
· · · · · · · · · · · · · ·16414 San Pedro, Suite 900
17· · · · · · · · · · · · ·San Antonio, Texas 78232
· · · · · · · · · · · · · ·Phone 210-697-3400
18· · · · · · · · · · · · ·Fax 210-697-3408

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                                 OCA-APPX-0565
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                 Exhibit 30




                         OCA-APPX-0566
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                                        DECLARATION OF JOYCE LEBOMBARD

                     My name is Joyce LeBombard. I am over the age of 18 and capable of making this

            declaration. The facts stated herein are within my personal knowledge:

                 1. I am the President of the League of Women Voters of Texas (“LWVTX”). I have served

                     in this role since June 2022. My current term will end in June of 2024. This is an unpaid,

                     volunteer position to which I devote an average of 40 hours a week. I have been a

                     member of the League since February 2017. I served the Austin Area League as VP of

                     Voters Service, and then as President and Interim Communications & Technology

                     Director. I am retired from a management career in IT, primarily in the financial services

                     industry.

            About the LWVTX:

                 2. The League of Women Voters of Texas is a nonpartisan, grassroots civic organization

                     that encourages informed and active participation in government, works to increase

                     understanding of major public policy issues, and influences public policy through

                     education and advocacy. LWVTX’s mission is to empower voters and defend democracy.

                 3. LWVTX’s main office is in Austin, Texas. LWVTX has approximately 3,000 members

                     and between 33 and 35 local leagues covering 39 counties across Texas. The League also

                     serves voters statewide, even outside of these areas.

                 4. Members of local leagues are also members of the LWVTX, as well as the League of

                     Women Voters of the United States.




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                 5. LWVTX members pay annual dues, a portion of which are paid to LWVTX from local

                     leagues in the form of per member payments. These funds are used to fund a portion of

                     LWVTX’s activities.

                 6. LWVTX’s officers and board members are LWVTX members who are elected by other

                     members. Officer and board elections occur at the biennial LWVTX convention, where

                     members from local leagues vote in the elections.

                 7. LWVTX is a volunteer-based organization. Many of our members participate in

                     LWVTX’s election-related programs, such as registering people to vote, participating in

                     get out the vote (“GOTV”) events, canvassing or “doorknocking,” assisting individual

                     voters, and hosting nonpartisan issue or candidate forums.

                 8. LWVTX and its local leagues fund, create, and distribute non-partisan election guides.

                     These guides help to inform voters about how to vote and what the candidates and

                     propositions on their ballots stand for. These guides are distributed across the state to

                     voters, public entities like libraries, and other organizations—both as physical copies and

                     online. LWVTX sends these voter guides to as many counties as possible, including

                     counties without local leagues.

                 9. LWVTX undertakes a number of activities related to encouraging and facilitating voting

                     by mail, including organizing and running voter registration drives; designing and

                     executing public information campaigns about how to vote by mail; creating social media

                     posts and materials about voter registration and early voting; encouraging eligible voters

                     to use mail-in ballots; and educating voters about how to comply with Texas election

                     laws governing early voting and voting by mail.

            LWVTX Members:


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                 10. Many LWVTX members vote by mail, including because they are over the age of 65 or

                     have a disability.

                 11. I am aware of and know many LWVTX members who have disabilities, and as a result

                     vote by mail and/or use assistants when they vote.

                 12. We also have many members who serve as voting assistants to voters casting mail-in-

                     ballots in their communities. Organizations and others will often ask LWVTX chapters

                     and members to provide assistants.

                 13. Many of the members and voters that LWVTX works with, who are older than 65 or have

                     disabilities, do not have the privilege of voting easily. Many of the voters are unable to

                     drive themselves to a polling location, are unable to walk around and use voting

                     machines by themselves, and have been some of the most vulnerable populations to risk

                     of severe illness from COVID-19.

                 14. LWVTX members are also some of the most devoted voters and committed to pursuing

                     the ideals of American democracy. Many members have been voting since they were first

                     old enough and eligible to vote, and have been voting and encouraging others around

                     them to vote since then. Some of our members have individually been voters and activists

                     for over half a century. LWVTX members are integral to pursuing our mission of

                     empowering voters and defending democracy.

            LWVTX’s Diversion of Resources Due to SB1:

                 15. The provisions of SB1 challenged in this lawsuit have harmed LWVTX’s ability to

                     pursue its mission. The additional requirement to include a Texas ID number or social

                     security number when voting by mail, and new requirements criminalizing assistants for




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                     vote-by-mail ballots, has required LWVTX to devote significant resources to inform

                     members and other voters how to navigate these changes.

                 16. Leading up to and since SB 1 went into effect in December 2021, LWVTX has had to

                     devote significant personnel time and resources to helping members and the public

                     navigate SB 1’s new provisions. LWVTX will have to continue to divert resources in

                     future elections to address the changes under SB 1, as long as its challenged provisions

                     remain in place.

                 17. As the LWVTX’s President, I have had to devote a significant portion of my time to

                     addressing the harmful changes under SB 1. Likewise, my predecessor and other board

                     members and LWVTX paid staff have also devoted significant time to SB 1. We have

                     had to dedicate time to educating LWVTX members and the public about SB 1’s harmful

                     requirements and restrictions.

                 18. In response to requests about SB1 from voters and other organizations, we have hosted

                     and participated in several presentations about the challenged SB1 provisions. Along with

                     other board members and staff, I created PowerPoint presentations explaining SB1 and

                     advising voters how to navigate these changes.

                 19. Much of the information we were using to advise members and voters about the changes

                     under SB1 had to continue to evolve as the implementation of SB1 changed

                     unpredictably. For instance, we initially understood that voters needed to (and were

                     supposed to) include only one identification number when they voted by mail. This later

                     changed to advise voters to include both a Texas ID number and a social security

                     number, in order to increase the likelihood that one of these numbers would match what




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                                                       OCA-APPX-0570
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                     was in their voter file. As a result, LWVTX had to change the advice that we were giving

                     to members and voters, and once again update materials to reflect this.

                 20. LWVTX has also spent a significant amount of time answering questions from local

                     leagues about how to navigate changes under SB1. As discussed above, there has been

                     serious confusion about whether local leagues should advise members and voters to write

                     down only one identification number when voting by mail, or instead include both

                     numbers. Likewise, I have had to answer many questions from local leagues about how to

                     safely serve as voter assistants under the new SB1 requirements.

                 21. The LWVTX President is responsible for responding to media requests for the LWVTX.

                     Since the passage of SB1, leading up to each election we have consistently received

                     requests for information from journalists and media outlets about changes under SB1.

                     Responding to these requests has been important for LWVTX to help publicize the

                     changes under SB1 that harm voters, such as informing voters that they should include

                     two identification numbers on applications and ballots to vote by mail, and that voter

                     assistants have new and additional requirements to follow. Coordinating these interviews,

                     preparing for them, and participating in them has taken a significant amount of personnel

                     time since the passage of SB1.

                 22. Historically, the LWVTX President has handled the organizations’ external

                     communications. Because so much of LWVTX’s time was being occupied by responding

                     to requests and creating materials to respond to requests about SB1, the LWVTX’s board

                     of directors approved about $42,000 to hire a Digital Communications Associate, a

                     position we did not employ before, and $10,000 to pay for their recruitment and




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                     orientation. This new staff member would not have been needed if the LWVTX President

                     had not had to respond to the changes under SB 1.

                 23. Additionally, LWVTX has had to expend financial resources on producing materials

                     reflecting changes in the law related to SB 1, including the voters’ guide. These changes

                     to the voter guide needed to be translated into Spanish, Chinese, and Vietnamese, which

                     costs additional financial resources.

                 24. LWVTX has worked with another organization, the Center for Civic Design to design an

                     alternative Vote by Mail application form for other organizations and voters to use, which

                     attempts to simplify the new identification and assistance requirements introduced by

                     SB1. We have devoted a significant amount of time to creating the design and sharing it

                     with other organizations and voters. We have translated the application into Spanish, but

                     we are still working on translating the application into other languages and sharing it with

                     communities that speak other languages.

                 25. LWVTX has spent time making suggestions to the Secretary of State’s office about how

                     to improve the implementation of SB1’s new requirements. For instance, we have

                     advised the Secretary of State’s office to shift to recommending that voters include both

                     their driver’s license and social security numbers, instead of just one number. We have

                     also offered suggestions about how information and videos on the Secretary of State’s

                     website about voting by mail should be improved.

                 26. As a result of its diversion of resources to respond to SB 1, LWVTX has had to

                     significantly scale back its GOTV efforts leading up to elections. Rather than focusing on

                     designing and disseminating materials on topics to encourage lower-propensity voters,

                     such as supporting college students in voting and helping voters find their polling place,



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                     LWVTX has had to focus on designing and disseminating materials about SB1’s changes

                     to the vote-by-mail process. Additionally, LWVTX has been forced to reduce its outreach

                     to young voters, including encouraging voter registration at high schools, because

                     LWVTX has had to focus on voters more likely to be affected by the challenged

                     provisions of SB 1. As a result, LWVTX has shifted much of its time and resources to

                     talking to people who are usually reliable and devoted voters, but who are now

                     encountering new challenges to voting because of the requirements under SB1.

                 27. Overall, responding to the harmful challenged provisions of SB 1 required a huge

                     diversion of LWVTX’s resources, negatively affecting its usual and planned activities to

                     pursue its mission.

            Harms to LWVTX Members and Other Voters

                 28. Since the passage of SB1, I have regularly received questions from local leagues,

                     members, and other voters about how to navigate SB1’s requirements for identification

                     numbers when voting by mail and using an assistant when voting. LWVTX members are

                     generally reliable and devoted voters who intend to continue to vote in the future, but

                     many are concerned about the difficulties and risks that will occur when they do vote

                     because of SB1. The members and voters that I hear from are scared of what SB1’s

                     requirements mean for them if they make a mistake or misinterpret the new requirements.

                 29. Many of the members and voters that I hear from are frustrated that to vote by mail they

                     have to essentially guess what identification number they used when they registered to

                     vote. I have also heard from people who are apprehensive about writing down their social

                     security number on a form to vote by mail, because they have been advised to be

                     extremely careful sharing their social security numbers.

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                 30. LWVTX members who have been harmed by SB1’s requirements include Pam Gaskin,

                     Janet Eickmeyer, Jeannie Lewis, Patricia Buck, Milan Suarez, and Cynthia Edmondson.

                 31. Leading up to and during the March 1, 2022 primary and November 2022 general

                     election in Texas, LWVTX heard from many members and other voters that they were

                     having serious difficulties voting because of new SB1 requirements. Many longtime

                     voters had their applications or ballots to vote by mail rejected for the first time.

                     Likewise, many voters were unable to vote at all because they were unable to navigate

                     the new identification requirements to vote by mail.

                 32. Although the state has implemented a ballot tracker and cure process for voting by mail,

                     LWVTX has heard from many people that these systems failed them. Many members and

                     other voters were unable to access the ballot tracker because their identification

                     information would not allow them to log on. Likewise, LWVTX heard from many people

                     who were not able to cure their ballots in time to vote before the election. Specifically,

                     close to Election Days, many people were unable to cure their ballots in person because

                     of limitations caused by their age and disabilities—the very reasons that they choose not

                     to vote in person in the first place. Many LWVTX members are outraged about the high

                     percentages of vote-by-mail applications and ballots that were rejected.




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            Conclusion:

                 33. Voter education and voting access were the casualties of the draconian changes under SB

                     1. SB 1 resulted in many Texas voters being silenced, and this will continue to happen as

                     long as the challenged provisions of SB1 are in place.

            This Declaration is made pursuant to 28 U.S.C. § 1745. I declare under penalty of perjury that

            the foregoing is true and correct.

                           5/23/2023
            Executed on __________



                                                                           Joyce LeBombard
                                                                           President LWVTX




                                                             Page 9 of 9

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                 Exhibit 31




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                         OCA-APPX-0577
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                         OCA-APPX-0578
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                 Exhibit 32




                         OCA-APPX-0579
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              Transcript of the Testimony of
                         Pamiel Gaskin


                                Date:
                           June 29, 2022



                                Case:
LA UNION DEL PUEBLO ENTERO vs GREGORY W. ABBOTT




                           OCA-APPX-0580
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 581 of 2308
     Pamiel Gaskin                                                          June 29, 2022
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3

·4· · · · LA UNIÓN DEL PUEBLO· · )
· · · · · ENTERO, et al.,· · · · )
·5· · · · · · · · · · · · · · · ·)· ·Case No.
· · · · · · ·Plaintiffs,· · · · ·)· 5:21-cv-844-XR
·6· · · · · · · · · · · · · · · ·)
· · · · · VS.· · · · · · · · · · )· (Consolidated for
·7· · · · · · · · · · · · · · · ·)· space)
· · · · · GREGORY W. ABBOTT,· · ·)
·8· · · · et al.,· · · · · · · · )
· · · · · · ·Defendants.· · · · ·)
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12· ·_ _ _ _ _ _ _ _ _ _

13· · · · · · · ·DEPOSITION OF PAMIEL J. GASKIN
· · · · · · · · · · ·June 29, 2022, 9:25 a.m.
14
· · · · · · · Location:· U.S. Department of Justice
15· · · · · · · 1000 Louisiana Street, Suite 2300
· · · · · · · · · · · · ·Houston, Texas
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· · · · · · · · · Volume 1 of 1 - Pages 1 - 127
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23· ·Stenographic Reporter:
· · ·DENYCE M. SANDERS, TX CSR, RDR, CRR, CCR (LA)
24· ·dsanderscsr@gmail.com

25· ·JOB NO. 845774


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                                 OCA-APPX-0581
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     Pamiel Gaskin                                                          June 29, 2022
                                                                                   Page 2


·1· · · · · · · · ·A P P E A R A N C E S

·2

·3· ·ON BEHALF OF OCA-GREATER HOUSTON:

·4· · ACLU TEXAS
· · · P.O. Box 8306
·5· · Houston, Texas· 77288
· · · 512.983.0775
·6· · aharris@aclutx.org

·7· · Represented by: Ms. Ashley Harris

·8· ·***
· · ·ON BEHALF OF TEXAS CIVIL RIGHTS PROJECT ON BEHALF OF
·9· ·PAMIEL GASKIN:

10· · TEXAS CIVIL RIGHTS PROJECT
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11· · Austin, Texas· 78741
· · · 512.474.5073
12· · zachary@texascivilrightsproject.org

13· · Represented by: Mr. Zachary Dolling

14· ·***
· · ·ON BEHALF OF STATE DEFENDANTS:
15
· · · OFFICE OF THE ATTORNEY GENERAL
16· · SPECIAL LITIGATION UNIT
· · · P.O. Box 12548, Capitol Station
17· · Austin, Texas· 78711
· · · 512.936.2567
18· · jack.disorbo@oag.state.tx.us

19· · Represented by: Mr. Jack DiSorbo
· · · · · · · · · · · Mr. Zachary Berg
20
· · ·***
21· ·ON BEHALF OF YSABEL RAMON:

22· · HIDALGO COUNTY DISTRICT ATTORNEY'S OFFICE
· · · 100 E. Cano, Courthouse Annex III, 1st Floor
23· · Edinburg, Texas· 78359
· · · 956.292.7609
24· · leigh.tognetti@da.co.hidalgo.tx.us

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·1· ·ON BEHALF OF UNITED STATES OF AMERICA:

·2· · DEPARTMENT OF JUSTICE
· · · Civil Rights Division, Voting Section
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·5· · Represented by: Ms. Dana Paikowsky

·6· ·***

·7· ·ON BEHALF OF HARRIS COUNTY DISTRICT ATTORNEY'S OFFICE:

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·9· · Austin, Texas· 78701
· · · 737.802.1800
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· · ·ON BEHALF OR INTERVENOR DEFENDANTS:
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14· · 51 Louisiana Avenue, NW
· · · Washington, DC· 20001
15· · 202.879.3667
· · · skenny@jonesday.com
16
· · · Represented by:· Stephen Kenny - via Zoom
17

18· ·ALSO PRESENT VIA ZOOM:

19· ·Kenny Buser-Clancy

20· ·Tiffany Bingham - Harris County

21· ·Savannah Kumar

22· ·Barbara Nicholas - Scarpello & Creuzot

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·1· ·were retired?
·2· · · · A.· · ·Well, I retired the first time from
·3· ·AT&T; and I was a sales executive.· I had -- I was a
·4· ·division manager.· I had sales organizations in
·5· ·Texas, Oklahoma, Missouri, Kansas.· They would call
·6· ·them -- and Arkansas -- the MOKA states.
·7· · · · Q.· · ·The MOKA states.
·8· · · · A.· · ·And when I retired from there, I went to
·9· ·work for KPMG, the accounting firm; and I retired
10· ·from there.
11· · · · · · · · · ·And three guys that -- two guys that
12· ·I had been -- that I had worked with back in the
13· ·AT&T days and at KPMG, we all started our own little
14· ·consultancy.· And we -- that was in 2008.· And we
15· ·closed that down in 2019.
16· · · · Q.· · ·So you've been retired since 2019?
17· · · · A.· · ·Yes.
18· · · · Q.· · ·Okay.· Now, you're a member of the
19· ·League of Women Voters Texas; correct?
20· · · · A.· · ·I am.
21· · · · Q.· · ·Okay.· And before that, you were a
22· ·member of the League of Women Voters Houston; right?
23· · · · A.· · ·I still am.
24· · · · Q.· · ·You still are.· Okay.
25· · · · · · · · · ·You can be a member of both?

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·1· · · · A.· · ·Yes.
·2· · · · Q.· · ·Okay.· And those are nonprofit
·3· ·organizations, correct, ma'am?
·4· · · · A.· · ·Yes, they are.
·5· · · · Q.· · ·Okay.· I'll talk a little bit more about
·6· ·those later.
·7· · · · · · · · · ·But before that, are you a member of
·8· ·any other nonprofit organizations?
·9· · · · A.· · ·Well, I'm a member of the Alpha Kappa
10· ·Alpha Sorority, Incorporated.
11· · · · · · · · · ·I'm a member of the National
12· ·Congress of Black Women.
13· · · · · · · · · ·And that would be it.
14· · · · Q.· · ·Okay.· Those two.
15· · · · · · · · · ·Are you a member of any -- or strike
16· ·that.
17· · · · · · · · · ·Are you a member of any other
18· ·professional organizations?
19· · · · A.· · ·I am a member of ISACA, I-S-A-C-A.· I'm
20· ·a certified information systems auditor, and I am a
21· ·member of that organization.
22· · · · · · · · · ·I'm also a member of the National
23· ·Association of Parliamentarians.
24· · · · Q.· · ·Oh, okay.· My apologies for talking over
25· ·you.

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·1· ·during the special session.· Do you understand that,
·2· ·ma'am?
·3· · · · A.· · ·I understand that.
·4· · · · Q.· · ·Okay.· Thank you.
·5· · · · · · · · · ·Now, do you understand that the
·6· ·United States and OCA Greater Houston are plaintiffs
·7· ·in this case?
·8· · · · A.· · ·I don't know what OCA Houston is.
·9· · · · Q.· · ·Okay.· I'll move on.· It's not
10· ·important.
11· · · · · · · · · ·Do you understand that you were
12· ·disclosed as a potential witness in this case?
13· · · · A.· · ·I do understand that.
14· · · · Q.· · ·Do you know why that was done?
15· · · · A.· · ·Because I had some issues with my
16· ·attempts to -- to receive my application for a
17· ·mail-in ballot.
18· · · · Q.· · ·Any other reasons that you're aware of?
19· · · · A.· · ·No.
20· · · · Q.· · ·Okay.· Now, I'm glad that you mentioned
21· ·that, ma'am, because I do want to talk about that a
22· ·little bit.· But I have a few preliminary questions
23· ·first.
24· · · · A.· · ·Okay.
25· · · · Q.· · ·Now, are you registered to vote?

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·1· · · · A.· · ·I am.
·2· · · · Q.· · ·Where?
·3· · · · A.· · ·Fort Bend County.
·4· · · · Q.· · ·Fort Bend County.
·5· · · · · · · · · ·Have you ever always been registered
·6· ·there?
·7· · · · A.· · ·Well, since I lived there in -- since 46
·8· ·years.
·9· · · · Q.· · ·Have you ever been registered anywhere
10· ·else?
11· · · · A.· · ·I was registered in Harris County prior
12· ·to that.
13· · · · Q.· · ·Harris County.
14· · · · A.· · ·And Galveston County prior to that.
15· · · · Q.· · ·And Galveston County.· Okay.
16· · · · · · · · · ·And I think I remember reading some
17· ·great story about the first time that you registered
18· ·to vote in Galveston County.· I think your father
19· ·drove you to get registered there, something like
20· ·that?
21· · · · A.· · ·He did.
22· · · · Q.· · ·Tell me a little bit about that.
23· · · · A.· · ·You had to be 21 to vote at that time.
24· · · · Q.· · ·Okay.
25· · · · A.· · ·My birthday is in March; so I was in

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·1· ·school.· He called me.· He said, "For your birthday,
·2· ·I'm going to come get you.· Give me your schedule,
·3· ·your class schedule, and I'm going to come get you
·4· ·and get you registered to vote."
·5· · · · · · · · · ·So I told him what my class schedule
·6· ·was.· He showed up on a Thursday afternoon, about 1
·7· ·o'clock.· Drove me back to Galveston County.
·8· · · · · · · · · ·That morning -- next morning took me
·9· ·to register to vote, and drove me back to Austin
10· ·that afternoon so I could go to my 1 o'clock class.
11· · · · Q.· · ·That's great.
12· · · · · · · · · ·Do you remember what class it was?
13· · · · A.· · ·No.· No.· No.· I'm 75.· That was -- I
14· ·was 21 then.
15· · · · Q.· · ·Sometimes when you've got great stories
16· ·like that, you remember random details, that sort of
17· ·thing.
18· · · · A.· · ·That's not a detail I remember.
19· · · · Q.· · ·Well, that's a long drive from Austin to
20· ·Galveston.
21· · · · A.· · ·Yeah.
22· · · · Q.· · ·Now, you said that you voted in the
23· ·March 2022 primary; correct?
24· · · · A.· · ·I did.
25· · · · Q.· · ·Okay.· Now, I understand you had some

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·1· ·form from you guys."
·2· · · · · · · · · ·She said, "Well, the Secretary of
·3· ·State didn't send us the right forms in time, and we
·4· ·didn't populate the correct form until around the
·5· ·6th of January."
·6· · · · · · · · · ·I said.· "Okay.· Is the correct form
·7· ·there now?"
·8· · · · · · · · · · ·She said, "Yes."
·9· · · · · · · · · ·So I pulled the correct form down.
10· ·Filled it out.· Mailed it in.· And I had just -- it
11· ·was -- this was on the 13th.
12· · · · · · · · · ·On the 20th, I had just finished a
13· ·League of Women Voters activity, and I was on my way
14· ·home.· And Veronica called me and said, "Don't shoot
15· ·the messenger.· Your application has been rejected."
16· · · · · · · · · ·I said, "For what?"
17· · · · · · · · · ·She said, "You didn't put the
18· ·correct ID on your application."
19· · · · · · · · · ·I said, "Veronica, what do you mean
20· ·I didn't put the right ID?· It asks for my driver's
21· ·license number, and that's what I put on there."
22· · · · · · · · · ·She says, "Well" --
23· · · · · · · · · ·I said, "What was I supposed to put
24· ·on it?"
25· · · · · · · · · ·She said, "Well, I can't tell you,

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·1· ·because if I do, I could go to jail because of the
·2· ·new law."
·3· · · · · · · · · ·And I said, "Well, obviously since
·4· ·you're only asking for two things, it must be my
·5· ·Social Security number."· I said, "What number is
·6· ·it?"
·7· · · · · · · · · ·And she said, "It's the number you
·8· ·use when -- the ID you used when you first
·9· ·registered to vote that's in your voter record
10· ·here."
11· · · · · · · · · ·And I said, "Well, Veronica, I
12· ·registered to vote 46 years ago in this county.
13· ·What" -- so I said, "Okay.· It could only be one of
14· ·two things, since you're only asking for two things.
15· · · · · · · · · ·"So is it my -- if I tell you what
16· ·it is, can you confirm that?"
17· · · · · · · · · ·She said, "Yes, I can do that."
18· · · · · · · · · ·I said, "Okay.· Is it my Social
19· ·Security number?"
20· · · · · · · · · ·She said, "Yes, it is."
21· · · · · · · · · ·I said, "Thank you very much."
22· · · · · · · · · ·I pulled down another form.· And
23· ·this time, leaving nothing to chance, everywhere
24· ·there was a blank, even on the optional information,
25· ·I filled it all in, and mailed it back on the 14th.

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·1· · · · · · · · · ·And on the 28th of January -- no,
·2· ·the 31st of January, I got my ballots in the mail.
·3· ·28 days, three tries.
·4· · · · Q.· · ·And then you submitted those ballots
·5· ·correctly --
·6· · · · A.· · ·I did.
·7· · · · Q.· · ·-- correct?· Yeah.
·8· · · · · · · · · ·And did you track those ballots
·9· ·after you submitted them?
10· · · · A.· · ·I did.
11· · · · Q.· · ·Where did you track them?
12· · · · A.· · ·On ballot tracker.· You go to the County
13· ·site, and it's a little thing you click on that says
14· ·"Track my ballot."
15· · · · Q.· · ·And I guess it lets you know once the
16· ·ballot's been accepted?
17· · · · A.· · ·It tells you.· You can see when it was
18· ·saved; you can see when it was accepted; and you can
19· ·see -- they use a funny term for it being processed.
20· ·And I don't remember what it is.· But you can tell
21· ·when it's being processed.
22· · · · Q.· · ·And your and your husband's votes were
23· ·eventually processed; correct?
24· · · · A.· · ·Yes, they were.
25· · · · Q.· · ·Okay.· Well, thank you for explaining

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·1· · · · Q.· · ·(BY MR. DiSORBO)· Understand.· And I'm
·2· ·not asking if you know every provision that's in
·3· ·SB1.
·4· · · · · · · · · ·I'm just saying, me and you sitting
·5· ·right now, any provisions of SB1 come to mind that
·6· ·you oppose besides the ones we've already talked
·7· ·about?
·8· · · · A.· · ·No.· Good to go, ma'am?
·9· · · · Q.· · ·Okay.
10· · · · A.· · ·I'm good.
11· · · · Q.· · ·All right.· So I want to talk a little
12· ·bit about your membership in the League of Women
13· ·Voters.
14· · · · A.· · ·Okay.
15· · · · Q.· · ·And you had told me that you're a member
16· ·of both the League of Women Voters Texas and Houston
17· ·branches; is that right?
18· · · · A.· · ·Correct.
19· · · · Q.· · ·You were a member of the Houston branch
20· ·first; is that correct?
21· · · · A.· · ·Yes.
22· · · · Q.· · ·And when did you become a member?
23· · · · A.· · ·In probably the '90s.
24· · · · Q.· · ·Okay.· And how did you originally become
25· ·a member?

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·1· · · · A.· · ·Actually, one of my sorority sisters and
·2· ·I were talking about ways that we could become more
·3· ·civically engaged, and the League of Women Voters
·4· ·seemed to offer the things that we were interested
·5· ·in:· voter registration; voter education.· So we
·6· ·joined, she and I.
·7· · · · Q.· · ·And you've held various positions in the
·8· ·Houston chapter over the years; is that right?
·9· · · · A.· · ·Correct.
10· · · · Q.· · ·Which ones, if you can recall?
11· · · · A.· · ·I was the chairman of nonnaturalization
12· ·voter registration, which is everything other than
13· ·naturalization.
14· · · · Q.· · ·As the name implies.
15· · · · A.· · ·I was a board member.
16· · · · · · · · · ·I worked on our voter guide on the
17· ·questions -- question development for candidates.
18· ·And I also worked on the voter guide following up
19· ·with candidates to harass them into sending in their
20· ·responses.
21· · · · Q.· · ·That takes some perseverance, doesn't
22· ·it?
23· · · · A.· · ·Yes, it does.· And thick skin.
24· · · · Q.· · ·Okay.· So you did that.
25· · · · · · · · · ·Any other position -- you were -- so

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·1· ·you were the chair of that.· What other positions
·2· ·did you hold?
·3· · · · A.· · ·That's it.
·4· · · · Q.· · ·That's the main one?
·5· · · · A.· · ·Uh-huh.
·6· · · · Q.· · ·Okay.· And now you're a member of the
·7· ·Texas branch too; is that correct?
·8· · · · A.· · ·That's correct.
·9· · · · Q.· · ·Okay.· And I think you're a director in
10· ·the Texas branch; is that right?
11· · · · A.· · ·That's correct.· Just effective June 1st
12· ·of this year.
13· · · · Q.· · ·Of this year.· Well, congratulations.
14· ·That's --
15· · · · A.· · ·A few weeks ago.
16· · · · Q.· · ·How did that come about?
17· · · · A.· · ·I was elected by the membership at our
18· ·state convention in April.
19· · · · Q.· · ·This April?
20· · · · A.· · ·Uh-huh.
21· · · · Q.· · ·How did you decide to run?
22· · · · A.· · ·I was asked to run.· The nominating
23· ·committee asked me if I would consider running.
24· · · · Q.· · ·Did they --
25· · · · A.· · ·Last year.

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·1· · · · Q.· · ·Last year.
·2· · · · A.· · ·Yes.
·3· · · · Q.· · ·When -- about what time of the year last
·4· ·year?
·5· · · · A.· · ·Probably October/November.
·6· · · · Q.· · ·Of 2021?
·7· · · · A.· · ·Uh-huh.
·8· · · · Q.· · ·Okay.· And why did they want you to run?
·9· · · · A.· · ·Been an active member.· I guess they saw
10· ·something, that they thought I could contribute on a
11· ·state level.
12· · · · Q.· · ·They thought you were a good candidate?
13· · · · A.· · ·Thought I was a good candidate.
14· · · · Q.· · ·Nothing more specific than that, that
15· ·you're aware of?
16· · · · A.· · ·Not that I'm aware of.
17· · · · Q.· · ·Okay.· And I suppose you were
18· ·successful; you were elected?
19· · · · A.· · ·Well, they -- I made their vetting
20· ·process, and they presented the slate to the
21· ·membership.
22· · · · Q.· · ·Okay.· And the membership votes up or
23· ·down on a slate, I suppose; is that right?
24· · · · A.· · ·Yes.
25· · · · Q.· · ·Okay.· Now, what is -- strike that.

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·1· · · · · · · · · REPORTER CERTIFICATION

·2· ·THE STATE OF TEXAS :
· · ·COUNTY· OF· HARRIS :
·3
· · · · · · · I, DENYCE SANDERS, a Certified Shorthand
·4· ·Reporter and Notary Public in and for the State of
· · ·Texas, do hereby certify that the facts as stated by
·5· ·me in the caption hereto are true; that the above and
· · ·foregoing answers of the witness, PAMIEL J. GASKIN, to
·6· ·the interrogatories as indicated were made before me
· · ·by the said witness after being first duly sworn to
·7· ·testify the truth, and same were reduced to
· · ·typewriting under my direction; that the above and
·8· ·foregoing deposition as set forth in typewriting is a
· · ·full, true, and correct transcript of the proceedings
·9· ·had at the time of taking of said deposition.

10· · · · · · I further certify that I am not, in any
· · ·capacity, a regular employee of the party in whose
11· ·behalf this deposition is taken, nor in the regular
· · ·employ of his attorney; and I certify that I am not
12· ·interested in the cause, nor of kin or counsel to
· · ·either of the parties;
13
· · · · · · · That the amount of time used by each party at
14· ·the deposition is as follows:

15
· · · · · · · MR. DiSORBO - 02:45:34
16
· · · · · · · GIVEN UNDER MY HAND AND SEAL OF OFFICE, on
17· · · this, the 1st day of July, 2022.

18

19· · · · · · · · ·________________________________________
· · · · · · · · · ·DENYCE SANDERS, CSR, RDR, CRR, TCRR
20· · · · · · · · ·Notary Public in and for
· · · · · · · · · ·Harris County, T E X A S
21
· · · · My Commission Expires:· 4-14-25
22· · · Certification No.:· 4038
· · · · Expiration Date:· 4-30-24
23· · · Magna Legal Services
· · · · 1635 Market Street, 8th Floor
24· · · Philadelphia, PA 19103
· · · · 215.207.9460
25· · · JOB NO. 845774


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                 Exhibit 33




                         OCA-APPX-0599
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              Transcript of the Testimony of
                       Janet Eickmeyer


                                Date:
                           June 13, 2022



                                Case:
LA UNION DEL PUEBLO ENTERO vs GREGORY W. ABBOTT




                           OCA-APPX-0600
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                                                                                        ·


·1· · · · · · · · · UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· ·LA UNION DEL PUEBLO ENTERO )
· · ·et al.,· · · · · · · · · · )
·4· · · · Plaintiffs,· · · · · ·)
· · · · · · · · · · · · · · · · ) Civil Action No. 5:21-cv-
·5· ·v.· · · · · · · · · · · · ·)· · · ·00844-XR
· · · · · · · · · · · · · · · · )
·6· ·GREGORY W. ABBOTT, et al., )
· · · · · Defendants.· · · · · ·)
·7

·8

·9· · · · · ·----------------------------------------

10· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · · · JANET EICKMEYER
11· · · · · · · · · · · · ·JUNE 13, 2022
· · · · · · · · · · · · · · ·Volume 1
12
· · · · · · · ---------------------------------------
13

14

15· · · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF JANET

16· ·EICKMEYER produced as a witness at the instance of

17· ·Defendants, and duly sworn, was taken in the above-styled

18· ·and numbered cause on the 13th day of June, 2022 from

19· ·10:07 a.m. to 12:28 p.m. before Nancy Newhouse, a

20· ·Certified Shorthand Reporter in and for the State of

21· ·Texas, reported by oral shorthand, located at the law

22· ·offices of Vinson & Elkins, 2001 Ross Avenue, Suite 3900,

23· ·Dallas, Texas 75201, pursuant to the Federal Rules of

24· ·Civil Procedure, and the provisions stated on the record

25· ·or attached hereto.


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·1· · · · · · · · · · ·A P P E A R A N C E S

·2

·3· ·FOR THE PLAINTIFF:

·4· · Ms. Ashley Harris, In Person, OCA-GH
· · · ACLU FOUNDATION OF TEXAS, INC
·5· · 5225 Katy Freeway, Suite 350
· · · Houston, Texas 77007
·6· · Telephone: (713) 942-8146
· · · Fax: (915) 642-6752
·7· · email: aharris@aclutx.org

·8· · Mr. Thomas Buser-Clancy, via Virtual Video, OCA-GH
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· · · Mr. Savannah Kumar, via Virtual Video, OCA-GH
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· · · email: skumar@aclutx.org
15
· · · Mr. Zachary David Dolling, In Person, TCRP
16· · TEXAS CIVIL RIGHTS PROJECT
· · · 1405 Montopolis Drive
17· · Austin, Texas 78741
· · · Telephone: (512) 469-4746
18· · Fax: (512) 474-0726
· · · email: zachary@texascivilrightsproject.com
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· · · Ms. Kaylie Hidalgo, In person TCRP
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25


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·1· · · · · · · · A P P E A R A N C E S Continued

·2

·3· ·FOR THE DEFENDANT:

·4· · Mr. William D. Wassdorf, In Person, OAG
· · · ATTORNEY GENERAL KEN PAXTON OFFICE
·5· · DEPUTY CHIEF, SPECIAL LITIGATION UNIT
· · · 209 W. 14th Street
·6· · Austin, Texas 78701
· · · Telephone: (512) 463-2100
·7· · Fax: (512) 457-4410
· · · email: will.wassdorf@oag.texas.gov
·8
· · · Ms. Lisa Cubriel, via Virtual Video, Bexar County
·9· · ASSISTANT DISTRICT ATTORNEY CIVIL DIVISION
· · · 101 West Nueva Street, 7th Floor
10· · San Antonio, Texas 78205
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· · · Ms. Jacqueline Lysette Villarreal, via Virtual Video,
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16
· · · Ms. Josephine Ramirez Solis, via Virtual Video, Hidalgo
17· · County Elections Administrator, Yvonne Ramón
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21· · Ms. Tiffany Sue Bingham, via Virtual Video, Harris
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24

25


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·1· · · · · · · · A P P E A R A N C E S Continued

·2

·3· · Mr. Anthony J. Nelson, via Virtual Video, Travis County
· · · Rebecca Guerrero and José Garza
·4· · ASSISTANT COUNTY ATTORNEY, TRAVIS COUNTY ATTORNEY'S
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·7
· · · Mr. Michael Stewart, via Virtual Video, DOJ
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·9· · Washington, DC 20530
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11· · Ms. Dana Paikowsky, via Virtual Video, DOJ
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12· · 1101 14th Street, NW, Suite 100
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13
· · · Ms. Barbara Nicholas, via Virtual Video, OAG Scarpello
14· · and Creuzot
· · · DALLAS COUNTY DISTRICT ATTORNEY OFFICE: CIVIL DIVISION
15· · RECORDS BUILDING
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17· · Fax: (214) 653-6134
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· · ·FOR THE INTERVENOR-DEFENDANTS:
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21· · Washington, DC 20001
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22· · email: skenny@jonesday.com

23
· · ·ALSO PRESENT:
24· · Mr. Terry Van DerHeyden, Videographer
· · · Ms. Rachel Appel, Intern
25


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17· ·4· · Plaintiff League of Women Voters of Texas'
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·1· ·mail", did I read that correctly?
·2· · · · A.· ·Yes.
·3· · · · Q.· ·So these are the disclosures which have
·4· ·identified you as someone with knowledge on absentee
·5· ·ballots by mail, do you have any reason to believe that
·6· ·you are here for any other reason?
·7· · · · · · · · · MS. HARRIS:· Objection, form.
·8· · · · Q.· ·(BY MR. WASSDORF)· You can go ahead and
·9· ·answer.
10· · · · A.· ·No.
11· · · · Q.· ·So when I'm referring to SB 1, as we just read
12· ·in there, do you understand that I'm talking about the
13· ·Election Integrity Bill that the legislature passed this
14· ·past session?
15· · · · A.· ·Yes.
16· · · · Q.· ·And as -- as we just read in this document,
17· ·you're being identified on behalf of the League of Women
18· ·Voters of Texas, do you know who the League of Women
19· ·Voters of Texas is?
20· · · · A.· ·Yes.
21· · · · Q.· ·And, you know, if I use the phrase League of
22· ·Women Voters, or the League, will you understand that I
23· ·mean the League of Women Voters of Texas?
24· · · · A.· ·Yes.
25· · · · Q.· ·What county do you live in?

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·1· · · · A.· ·Dallas County.
·2· · · · Q.· ·Roughly, where?
·3· · · · A.· ·Toward -- in Richardson, close to Collin
·4· ·County, a few blocks south of Collin County.
·5· · · · Q.· ·How long have you lived in Dallas?
·6· · · · A.· ·All my life, except when I was in college.                           I
·7· ·mean, my residence was here, but I was away at college.
·8· · · · Q.· ·Okay.· Where did you go to high school?
·9· · · · A.· ·Hillcrest High School.
10· · · · Q.· ·My -- my dad went to Jesuit, the old one down
11· ·on Oak Lawn.
12· · · · · · · · · He -- as I recall, though, he took
13· ·somebody to prom from Hillcrest, he didn't take you to
14· ·prom, did he?
15· · · · A.· ·Pardon?
16· · · · Q.· ·He didn't take you to prom, did he?
17· · · · A.· ·No, he did not.
18· · · · Q.· ·Okay.· So what's your educational background?
19· · · · A.· ·I have a BA from the University of Texas in
20· ·Austin, that's the last -- and some postgraduate work
21· ·but no postgraduate degrees.
22· · · · Q.· ·And what was that degree in?
23· · · · A.· ·It was in American history.
24· · · · Q.· ·Do you have any other education or training?
25· · · · A.· ·I did some postgraduate work.· I was a

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·1· · · · A.· ·No.
·2· · · · Q.· ·Have you ever donated to a political campaign?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·And whose campaign?
·5· · · · A.· ·Again, over the years there probably -- there
·6· ·have been too many to -- to recall.· Whether or not I
·7· ·donated, I don't know, probably to the McGovern
·8· ·campaign, Sissy Farenthold when she ran for governor.                          I
·9· ·-- my little $5 and $10 donations were spread out over
10· ·candidates over a lot of years and a lot of elections.
11· · · · Q.· ·So have you ever donated to a Democrat's
12· ·political campaign?
13· · · · A.· ·Yes.
14· · · · Q.· ·Have you ever donated to Republican's
15· ·political campaign?
16· · · · A.· ·No.
17· · · · Q.· ·Have you ever voted in the Republican primary?
18· · · · A.· ·Once.
19· · · · Q.· ·Do you remember when that was?
20· · · · A.· ·Again, I believe it was in the 70s.· That was
21· ·it, and it was a state election.
22· · · · Q.· ·That's all right.
23· · · · A.· ·I don't recall the precise year.
24· · · · Q.· ·So are you a member of the League of Women
25· ·Voters, Texas?

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·1· · · · A.· ·I'm a member of the League of Women Voters of
·2· ·Dallas, which makes me, entitles me to be a member of
·3· ·the League of Women Voters of Texas, also.
·4· · · · Q.· ·So let's talk about that for a minute, I
·5· ·guess.
·6· · · · · · · · · Is there a National League of Women
·7· ·Voters?
·8· · · · A.· ·Yes, I believe so.
·9· · · · Q.· ·And so then there's a State League of Women
10· ·Voters, the League of Women Voters of Texas --
11· · · · A.· ·Yes.
12· · · · Q.· ·-- right?
13· · · · · · · · · And then I guess there are also local
14· ·chapters, such as the League of Women Voters of Dallas?
15· · · · A.· ·(No verbal response.)
16· · · · Q.· ·And so you are a member of the League of Women
17· ·Voters of Dallas, correct?
18· · · · A.· ·Yes.· And the League of Women -- I just this
19· ·last year joined the League of Women Voters of
20· ·Richardson.
21· · · · Q.· ·Of Richardson?
22· · · · · · · · · So do you pay dues?
23· · · · A.· ·Yes.
24· · · · Q.· ·How much are those dues, do you know?
25· · · · A.· ·I believe Dallas is $75 a year, and as I

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·1· ·recall -- I'm not sure, because it seemed like they just
·2· ·raised their dues -- and I think Richardson was $65, as
·3· ·I recall, not sure.
·4· · · · Q.· ·So just to be clear, you're a member of both
·5· ·the League of Women Voters of Dallas and the League of
·6· ·Women Voters of Richardson, correct?
·7· · · · A.· ·Yes.
·8· · · · Q.· ·And that entitles you to membership in the
·9· ·League of Women Voters of Texas?
10· · · · A.· ·As I -- yes.
11· · · · Q.· ·But you just pay dues to Dallas and
12· ·Richardson, right?
13· · · · A.· ·Yes.
14· · · · Q.· ·Do these local leagues that you're a member
15· ·of,· do they have a leadership structure, or how -- how
16· ·does that work?
17· · · · A.· ·They have boards of directors, so -- and
18· ·committee chairs and --
19· · · · Q.· ·How are those individuals selected, do you
20· ·know?
21· · · · A.· ·There is a nominating committee that meets, I
22· ·guess -- I'm not sure if it's every year or every --
23· ·what the terms are.· I haven't been that involved, so --
24· ·committee chairs, I think it's whoever steps up and
25· ·takes a leadership role.

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·1· · · · Q.· ·And you're currently registered to vote in
·2· ·Dallas County?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·And have you been registered to vote in Dallas
·5· ·County that entire period?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·I hate to ask this, but you identified that
·8· ·time period based on your age, what's your birth date?
·9· · · · A.· ·Year, or?
10· · · · Q.· ·Well, just your birth date in general, I mean
11· ·yeah, including the year, the whole thing?
12· · · · A.· ·February 13, 1950.
13· · · · Q.· ·Same age as my mom.
14· · · · · · · · · So do you vote frequently?
15· · · · A.· ·When I know about the candidates, yes.
16· · · · Q.· ·Have you ever voted in person in Dallas
17· ·County?
18· · · · A.· ·Yes.
19· · · · Q.· ·Have you ever voted by mail in Dallas County?
20· · · · A.· ·Yes.
21· · · · Q.· ·Approximately, how many times do you think
22· ·you've voted by mail?
23· · · · A.· ·I started voting by mail, I think with COVID,
24· ·so for the past, I guess, two and a half years, three
25· ·years, maybe, or -- I'm guessing.

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·1· · · · A.· ·Pardon?
·2· · · · Q.· ·Could -- could you tell us what this is?
·3· · · · A.· ·On the League of Women Voters website they had
·4· ·a, seems like a, among other information about upcoming
·5· ·meetings, and so forth.· They said did you have
·6· ·difficulty voting?· And click on to respond.· And then
·7· ·they had a place where you could respond to that, so I
·8· ·-- after some frustration, I did.
·9· · · · Q.· ·And let me read this here.
10· · · · · · · · · So it says, "Your Election Experience,
11· ·poor; Voting Experience" and it -- you replied, "I voted
12· ·by mail and can't determine whether my ballot was
13· ·counted.· Dallas County is supposed to be calling me
14· ·back, but the SOS website says I'm not even registered",
15· ·and then it has your name and phone number", did I read
16· ·that correctly there?
17· · · · A.· ·Yes.
18· · · · Q.· ·So what -- what made your election experience
19· ·poor?
20· · · · · · · · · MS. HARRIS:· Objection, form.
21· · · · A.· ·Soon after the first of the year, when it was
22· ·possible, I downloaded the application for voting by
23· ·mail from, I guess it's the Dallas County.· I don't even
24· ·know what entity the application was for absentee -- an
25· ·absentee ballot to vote in the primary.· And I filled it

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·1· ·out, I thought completely, and -- or according to
·2· ·instructions and mailed it in.
·3· · · · · · · · · Soon after, a couple of weeks, I don't
·4· ·recall exactly how long after, I received a letter
·5· ·saying that my ballot request was rejected because of --
·6· ·and they had highlighted either, I don't recall the
·7· ·exact wording, an incomplete or incompatible driver's
·8· ·license or social security number.
·9· · · · · · · · · And they included another application,
10· ·which I filled out, and that -- this time completely,
11· ·including -- well, I thought was completely -- and sent
12· ·it right away, and it too was rejected for the same
13· ·reason.· So I -- and another application was included
14· ·with the second rejection.
15· · · · · · · · · Instead of filling that out, I called
16· ·Dallas County.· I went online, and it's -- there was --
17· ·Dallas County has a track your ballot link on their
18· ·voting site, and -- or track your vote by mail, whatever
19· ·it says.· I'm not exactly sure of what the wording is.
20· · · · · · · · · So I went to that, and -- and I called
21· ·the office -- I called the number.· And I guess it was
22· ·at this time, I don't remember -- I guess, I think the
23· ·first time I did talk to somebody.· One time I had to
24· ·leave a message,· and I guess that's what this is
25· ·referring to, about them calling me back.

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                               OCA-APPX-0613
                                                                                       YVer1f
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 614 of 2308
   Janet Eickmeyer                                                        June 13, 2022
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·1· · · · · · · · · But I spoke with somebody, and I said my
·2· ·absentee ballot request has been rejected twice, and I'd
·3· ·like to know why.· I thought it was complete.· What do I
·4· ·need to do in order to get an absentee ballot?· And she
·5· ·said -- she looked it up on her computer, she was very
·6· ·nice and she said something about -- to the effect that
·7· ·the numbers weren't, you know, it didn't -- they didn't
·8· ·go in properly, or something.
·9· · · · · · · · · They didn't -- they weren't -- and she
10· ·looked again on another source.· I don't know if it was
11· ·a different website.· I don't -- I don't know what she
12· ·was doing.· It was all on the computer, I assume.· And I
13· ·heard a voice of a man, who seemed to be in a
14· ·supervisory capacity, saying no, that's okay we'll send
15· ·her a ballot, she -- she's been approved.· And I
16· ·received an absentee ballot soon after that, which I
17· ·filled out and mailed in.
18· · · · Q.· ·(BY MR. WASSDORF)· Okay.· I am now handing you
19· ·what has been marked as Exhibit 3.
20· · · · · · · · · (Defendant's Exhibit No. 3 was marked for
21· ·identification.)
22· · · · A.· ·Thank you
23· · · · Q.· ·(BY MR. WASSDORF)· Now this, likewise, looks
24· ·like a survey response of -- of some kind.
25· · · · · · · · · If you will look at Line 27, you'll see

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                                                                                       YVer1f
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   Janet Eickmeyer                                                        June 13, 2022
                                                                                Page 29


·1· · · · Q.· ·But you don't have any specific recollection
·2· ·of having done this?
·3· · · · A.· ·It's an accurate representation, so I don't --
·4· ·I don't recall, you know, what -- what it was in
·5· ·response to.
·6· · · · Q.· ·When it says that Dallas County shows it was
·7· ·received three times on two dates, do you know what
·8· ·that's referring to?
·9· · · · A.· ·I went to the track your ballot link on the
10· ·Dallas County website, to see if my ballot had been
11· ·received and counted, because there was a lot in the
12· ·press at that time, in newspapers about ballots being
13· ·rejected.· I wanted to make sure that mine had been
14· ·received, and -- and the mails are unreliable, had been
15· ·received in a timely way and had been counted, in fact,
16· ·counted.
17· · · · Q.· ·And so on that website, it showed that your
18· ·ballot had been received three times?
19· · · · A.· ·That's what it shows.
20· · · · Q.· ·It -- it says here, and I think you've
21· ·previously stated, that you called the -- the County
22· ·about your ballot, did you ever hear back from the
23· ·County?
24· · · · A.· ·I don't remem -- recall if I -- they called
25· ·me, or if I called them again.· I think I called -- I

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    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 616 of 2308
   Janet Eickmeyer                                                        June 13, 2022
                                                                                Page 44


·1· · · · Q.· ·(BY MR. WASSDORF)· -- correct?
·2· · · · · · · · · MS. HARRIS:· Objection, form.
·3· · · · A.· ·Yes.· And I know people who did that.
·4· · · · Q.· ·(BY MR. WASSDORF)· Are you aware of any other
·5· ·members of the League of Women Voters who had their
·6· ·applications for ballot by mail rejected for not having,
·7· ·or not matching the number on the driver's license,
·8· ·election certificate, identification certificate or
·9· ·social security number?
10· · · · · · · · · MS. HARRIS:· Objection, form.
11· · · · A.· ·It doesn't ask for your voter registration
12· ·number, I don't -- as I recall.· No.· I don't know of
13· ·any, I -- I'm not -- I haven't been that involved.
14· · · · Q.· ·(BY MR. WASSDORF)· On your application that
15· ·was rejected the first time, you included your driver's
16· ·license number?
17· · · · A.· ·As I recall, I just put the last four digits
18· ·of my social security number, because I knew that
19· ·offhand,· and I wouldn't have had to, you know, dig out
20· ·my driver's license and copy it down.· So I -- I believe
21· ·I just did my soc -- the last four of my social security
22· ·number -- digits of my social security number.
23· · · · Q.· ·And are you confident that you wrote it down
24· ·correctly?
25· · · · A.· ·I -- it was -- I used as a college ID.· I -- I

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                               OCA-APPX-0616
                                                                                       YVer1f
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   Janet Eickmeyer                                                        June 13, 2022
                                                                                Page 45


·1· ·know my social security number.· I -- I could have
·2· ·written it down incorrectly, I guess, but I don't
·3· ·recall.· I don't -- I don't -- I didn't make a copy of
·4· ·it.· I don't know.
·5· · · · Q.· ·And the -- the second time you submitted an
·6· ·application, you included both your driver's license and
·7· ·the last four digits of your social security number?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·And that application was initially rejected as
10· ·well?
11· · · · A.· ·Yes.
12· · · · Q.· ·Are you confident that you wrote down your
13· ·driver's license number and last four digits of your
14· ·social security number on that application?
15· · · · A.· ·Yes.
16· · · · Q.· ·Have you ever been unable to vote by mail
17· ·because of the requirements of Section 5.02 of the Bill
18· ·that we just read?
19· · · · · · · · · MS. HARRIS:· Objection, form, calls for a
20· ·legal conclusion.
21· · · · A.· ·No.
22· · · · Q.· ·(BY MR. WASSDORF)· So let's go to the next
23· ·section, it's Section 5.03.· I think it's two pages
24· ·forward.
25· · · · · · · · · So this section requires that an

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                               OCA-APPX-0617
                                                                                       YVer1f
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   Janet Eickmeyer                                                        June 13, 2022
                                                                                Page 72


·1· · · · · · · · · · ·CHANGES AND SIGNATURE

·2
· · ·WITNESS NAME: JANET EICKMEYER
·3
· · ·DATE OF DEPOSITION: 06/13/2022
·4

·5· ·PAGE· LINE· · CHANGE· · · · · · · · · · REASON

·6· ·_______________________________________________________

·7· ·________________________________________________________

·8· ·________________________________________________________

·9· ·________________________________________________________

10· ·________________________________________________________

11· ·________________________________________________________

12· ·________________________________________________________

13· ·________________________________________________________

14· ·________________________________________________________

15· ·________________________________________________________

16· ·________________________________________________________

17· ·________________________________________________________

18· ·________________________________________________________

19· ·________________________________________________________

20· ·________________________________________________________

21· ·________________________________________________________

22· ·________________________________________________________

23· ·________________________________________________________

24· ·________________________________________________________

25· ·________________________________________________________


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     Janet Eickmeyer                                                        June 13, 2022
                                                                                  Page 73


·1· · · · · · · · · I, JANET EICKMEYER , have read the

·2· ·foregoing deposition and hereby affix my signature that

·3· ·same is true and correct, except as noted above.

·4

·5· · · · · · · · · · · ·____________________________________

·6· · · · · · · · · · · ·JANET EICKMEYER

·7

·8

·9· ·THE STATE OF TEXAS· · · · · · )

10· ·COUNTY OF ___________________ )

11· · · · · · ·Before me, ___________________________, on this

12· ·day personally appeared JANET EICKMEYER , known to me (or

13· ·proved to me under oath or through ____________________)

14· ·(description of identity card or other document) to be

15· ·the person whose name is subscribed to the foregoing

16· ·instrument and acknowledged to me that they executed the

17· ·same for the purposes and consideration therein

18· ·expressed.

19· · · · · · ·Given under my hand and seal of office this

20· ·______day of _______________, __________.

21

22· · · · · · · · · · · ·__________________________________

23· · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
· · · · · · · · · · · · ·THE STATE OF ______________
24

25


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                                 OCA-APPX-0619
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     Janet Eickmeyer                                                        June 13, 2022
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·1· · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· ·LA UNION DEL PUEBLO ENTERO )
· · ·et al.,· · · · · · · · · · )
·4· · · · Plaintiffs,· · · · · ·)
· · · · · · · · · · · · · · · · )
·5· ·v.· · · · · · · · · · · · ·) Civil Action No. 5:21-cv-
· · · · · · · · · · · · · · · · )· · · ·00844-XR
·6· ·GREGORY W. ABBOTT, et al., )
· · · · · Defendants.· · · · · ·)
·7

·8

·9

10· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · DEPOSITION OF JANET EICKMEYER
11· · · · · · · · · · · · JUNE 13, 2022

12

13

14· · · · · · ·I, Nancy Newhouse, Certified Shorthand Reporter

15· ·in and for the State of Texas, hereby certify to the

16· ·following:

17· · · · That the witness, JANET EICKMEYER , was duly sworn

18· ·by the officer and that the transcript of the oral

19· ·deposition is a true record of the testimony given by the

20· ·witness;

21· · · · · · ·That the deposition transcript was submitted on

22· ·_________________ to the witness or to the attorney for

23· ·the witness for examination, signature and return to me

24· ·by ______________.

25


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     Janet Eickmeyer                                                        June 13, 2022
                                                                                  Page 75


·1· · · · · · ·That the amount of time used by each party at

·2· ·the deposition is as follows:

·3· · · · Ms. Ashley Harris· · · · · · · · ·- 00:00
· · · · · Mr. Thomas Buser-Clancy· · · · · ·- 00:00
·4· · · · Mr. Savannah Kumar· · · · · · · · - 00:00
· · · · · Mr. Zachary David Dolling· · · · ·- 00:00
·5· · · · Ms. Kaylie Hidalgo· · · · · · · · - 00:00
· · · · · Mr. William D. Wassdorf· · · · · ·- 02:21
·6· · · · Ms. Lisa Cubriel· · · · · · · · · - 00:00
· · · · · Ms. Jacqueline Lysette Villarreal - 00:00
·7· · · · Ms. Josephine Ramirez Solis· · · ·- 00:00
· · · · · Ms. Tiffany Sue Bingham· · · · · ·- 00:00
·8· · · · Mr. Anthony J. Nelson· · · · · · ·- 00:00
· · · · · Mr. Michael Stewart· · · · · · · ·- 00:00
·9· · · · Ms. Dana Paikowsky· · · · · · · · - 00:00
· · · · · Ms. Barbara Nicholas· · · · · · · - 00:00
10· · · · Mr. Stephen J. Kenny· · · · · · · - 00:00

11· · · · · · · That pursuant to information given to the

12· ·deposition officer at the time said testimony was taken,

13· ·the following includes all parties of record:

14· · Ms. Ashley Harris, Attorney for Plaintiff
· · · ACLU FOUNDATION OF TEXAS, INC
15· · 5225 Katy Freeway, Suite 350
· · · Houston, Texas 77007
16
· · · Mr. Thomas Buser-Clancy, Attorney for Plaintiff OCA-GH
17· · ACLU FOUNDATION OF TEXAS, INC
· · · 5225 Katy Freeway, Suite 350
18· · Houston, Texas 77007

19· · Mr. Savannah Kumar, Attorney for Plaintiff OCA-GH
· · · ACLU FOUNDATION OF TEXAS, INC
20· · 5225 Katy Freeway, Suite 350
· · · Houston, Texas 77007
21
· · · Mr. Zachary David Dolling, Attorney for Plaintiff TCRP
22· · TEXAS CIVIL RIGHTS PROJECT
· · · 1405 Montopolis Drive
23· · Austin, Texas 78741

24

25


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     Janet Eickmeyer                                                        June 13, 2022
                                                                                  Page 76


·1· · · · · · · · ·PARTIES OF RECORD Continued

·2

·3· ·Ms. Kaylie Hidalgo, Attorney for Plaintiff TCRP
· · ·TEXAS CIVIL RIGHTS PROJECT
·4· ·P.O. BOX 17757
· · ·Austin, Texas 78760
·5
· · ·Mr. William D. Wassdorf, Attorney for Defendant OAG
·6· ·ATTORNEY GENERAL KEN PAXTON OFFICE
· · ·DEPUTY CHIEF, SPECIAL LITIGATION UNIT
·7· ·209 W. 14th Street
· · ·Austin, Texas 78701
·8
· · ·Ms. Lisa Cubriel, Attorney for Defendant Bexar County
·9· ·ASSISTANT DISTRICT ATTORNEY CIVIL DIVISION
· · ·101 West Nueva Street, 7th Floor
10· ·San Antonio, Texas 78205

11· ·Ms. Jacqueline Lysette Villarreal, Attorney for
· · ·Defendant Hidalgo County
12· ·District Attorneys Office
· · ·100 East Cano Street
13· ·Edinburg, Texas 78539

14· ·Ms. Josephine Ramirez Solis, Attorney for Defendant,
· · ·Hidalgo County Elections Administrator, Yvonne Ramón
15· ·ASSISTANT CRIMINAL DISTRICT ATTORNEY
· · ·100 East Cano
16· ·Edinburg, Texas 78539

17· ·Ms. Tiffany Sue Bingham, Attorney for Defendant Harris
· · ·County Attorneys Office
18· ·1019 Congress Street, 15th Floor
· · ·Houston, Texas 77002
19· ·Telephone: (713) 274-5132

20· ·Mr. Anthony J. Nelson, Attorney for Defendants Travis
· · ·County Rebecca Guerrero and José Garza
21· ·ASSISTANT COUNTY ATTORNEY, TRAVIS COUNTY ATTORNEY'S
· · ·OFFICE
22· ·314 West 11th Street, Suite 500

23· ·Mr. Michael Stewart, Attorney for Defendant DOJ
· · ·UNITED STATES
24· ·950 Pennsylvania Avenue, Northwest
· · ·Washington, DC 20530
25


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                                 OCA-APPX-0622
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     Janet Eickmeyer                                                        June 13, 2022
                                                                                  Page 77


·1· · · · · · · · ·PARTIES OF RECORD Continued

·2

·3· · Ms. Dana Paikowsky, Attorney for Defendant DOJ
· · · CAMPAIGN LEGAL CENTER
·4· · 1101 14th Street, NW, Suite 100
· · · Washington, DC 20005
·5
· · · Ms. Barbara Nicholas, Attorney for Defendant,· OAG
·6· · Scarpello and Creuzot
· · · DALLAS COUNTY DISTRICT ATTORNEY OFFICE: CIVIL DIVISION
·7· · RECORDS BUILDING
· · · 500 Elm Street, Suite 6300
·8· · Dallas, Texas 75202

·9· ·FOR THE INTERVENOR-DEFENDANTS:

10· · Mr. Stephen J. Kenny, Attorney for Intervenor Defendant
· · · LAW OFFICES OF JONES DAY
11· · 51 Louisiana Avenue, NW
· · · Washington, DC 20001
12

13· · · · · · ·I further certify that I am neither counsel

14· ·for, related to, nor employed by any of the parties or

15· ·attorneys in the action in which this proceeding was

16· ·taken, and further that I am not financially or otherwise

17· ·interested in the outcome of the action.

18

19· · · · · · ·Certified to by me this 30th day of June, 2022.

20

21· · · · · · · · · ______________________________
· · · · · · · · · · NANCY NEWHOUSE, Texas CSR 9000
22· · · · · · · · · Expiration Date:· 08/31/23
· · · · · · · · · · Firm Registration No. 633
23· · · · · · · · · Magna Legal Services
· · · · · · · · · · 16414 San Pedro, Suite 900
24· · · · · · · · · San Antonio, Texas 78232
· · · · · · · · · · (210) 697-4300
25


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                 Exhibit 34




                         OCA-APPX-0624
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   Jeannie Lewis                                                    August 01, 2022
                                                                                  ·


·1· · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· ·LA UNION DEL PUEBLO ENTERO,· )
· · ·et al.,· · · · · · · · · · · )
·4· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·5· ·vs.· · · · · · · · · · · · · ) CASE NO. 5:21-cv-844-XR
· · · · · · · · · · · · · · · · · ) [LEAD CASE]
·6· ·GREGORY W. ABBOTT, et al.,· ·)
· · · · · Defendants.· · · · · · ·)
·7· ·________________________________________________________
· · ·OCA-GREATER HOUSTON, et al., )
·8· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·9· ·vs.· · · · · · · · · · · · · ) CASE NO. 1:21-cv-0780-XR
· · ·JOHN SCOTT, et al.,· · · · · )
10· · · · Defendants.· · · · · · ·)
· · ·_______________________________________________________
11· ·HOUSTON JUSTICE, et al.,· · ·)
· · · · · Plaintiffs,· · · · · · ·)
12· · · · · · · · · · · · · · · · )
· · ·vs.· · · · · · · · · · · · · ) CASE NO. 5:21-cv-0848-XR
13· ·GREGORY WAYNE ABBOTT, et al.,)
· · · · · Defendants.· · · · · · ·)
14· ·_______________________________________________________
· · ·LULAC TEXAS, et al.,· · · · ·)
15· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
16· ·vs.· · · · · · · · · · · · · ) CASE NO. 1:21-cv-0786-XR
· · ·JOHN SCOTT, et al.,· · · · · )
17· · · · Defendants.· · · · · · ·)
· · ·_______________________________________________________
18· ·MI FAMILIA VOTA, et al.,· · ·)
· · · · · Plaintiffs,· · · · · · ·)
19· · · · · · · · · · · · · · · · )
· · ·vs.· · · · · · · · · · · · · ) CASE NO. 5:21-cv-0920-XR
20· ·GREG ABBOTT, et al.,· · · · ·)
· · · · · Defendants.· · · · · · ·)
21· ·______________________________________________________
· · ·UNITED STATES OF AMERICA,· · )
22· · · · Plaintiff,· · · · · · · )
· · · · · · · · · · · · · · · · · )
23· ·vs.· · · · · · · · · · · · · ) CASE NO. 5:21-cv-1085-XR
· · · · · · · · · · · · · · · · · )
24· ·THE STATE OF TEXAS, et al.,· )
· · · · · Defendants.· · · · · · ·)
25· ·_______________________________________________________




                             OCA-APPX-0625
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 626 of 2308
     Jeannie Lewis                                                    August 01, 2022
                                                                               Page 2


·1

·2

·3
· · ·*******************************************************
·4
· · · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
·5
· · · · · · · · · · · · · ·JEANNIE LEWIS
·6
· · · · · · · · · · · · · AUGUST 1, 2022
·7
· · · · · · · · (Taken Via Remote Videoconference)
·8
· · ·********************************************************
·9

10

11

12· · · · ORAL AND VIDEOTAPED DEPOSITION OF JEANNIE LEWIS,

13· ·produced as a witness at the instance of the STATE

14· ·DEFENDANTS, and duly sworn, was taken in the

15· ·above-styled and numbered cause on the 1st of August,

16· ·2022, from 10:02 a.m. to 4:09 p.m., before Mona S.

17· ·Whitmarsh, Certified Shorthand Reporter, in and for the

18· ·State of Texas, reported by machine shorthand via Zoom

19· ·videoconference, pursuant to the Federal Rules of Civil

20· ·Procedure and the provisions stated on the record or

21· ·attached hereto.

22

23

24

25




                               OCA-APPX-0626
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 627 of 2308
     Jeannie Lewis                                                    August 01, 2022
                                                                               Page 3


·1· · · · · · · · · · ·A P P E A R A N C E S

·2· · · · · · · · · ·(ALL APPEARING VIA ZOOM)

·3
· · ·FOR THE PLAINTIFFS, OCA-GREATER HOUSTON, LEAGUE OF WOMEN
·4· ·VOTERS OF TEXAS, REVUP-TEXAS, and WORKERS DEFENSE ACTION
· · ·FUND AND JEANNIE LEWIS:
·5· · · · Ms. Savannah Kumar
· · · · · Ms. Ashley Harris
·6· · · · Mr. Thomas Buser-Clancy
· · · · · ACLU FOUNDATION OF TEXAS, INC.
·7· · · · 5225 Katy Freeway, Suite 350
· · · · · Houston, Texas· 77007
·8· · · · 713-942-8146
· · · · · 915-642-6752 (fax)
·9· · · · skumar@aclutx.org
· · · · · aharris@aclutx.org
10· · · · tbuser-clancy@aclutx.org

11· · · · - and -

12· · · · Mr. Zachary Dolling
· · · · · Mr. Ricardo A. Garza
13· · · · TEXAS CIVIL RIGHTS PROJECT
· · · · · 1405 Montopolis Drive
14· · · · Austin, Texas· 78741
· · · · · 512-474-5073
15· · · · 512-474-0726 (fax)
· · · · · zachary@texascivilrightsproject.org
16

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22· · · · UNITED STATES DEPARTMENT OF JUSTICE

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·1· · · · A· · No.· I have served on juries, but I don't
·2· ·recall ever testifying, no.
·3· · · · Q· · Have you ever testified in another proceeding,
·4· ·like before the legislature?
·5· · · · A· · I have testified before elected bodies like
·6· ·the State Board of Education.· I have testified on
·7· ·school books before them.
·8· · · · Q· · Have you ever been involved in a lawsuit
·9· ·before?
10· · · · A· · No.
11· · · · Q· · Where did you go to school?
12· · · · A· · I went to school from 12 years old until I
13· ·graduated at Butler High School in Huntsville, Alabama.
14· · · · Q· · Did you go to any school after that?
15· · · · A· · Yes.· I went to college in Montevallo,
16· ·Alabama, and was there four years and graduated.· And
17· ·then later I went to TWU, Texas Woman's University for a
18· ·master's degree in education.
19· · · · · · ·And then after that, I went to Texas
20· ·University [sic] to work on my MBA.· And I got tired of
21· ·commuting, because I live in San Marcos here in Hays
22· ·County, and I transferred to Texas State University to
23· ·finish my MBA there.
24· · · · Q· · Wonderful.
25· · · · · · ·Are you married?




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·1· ·then it moved up the ladder to the state president, and
·2· ·I think there was a decision made that what I had to say
·3· ·would be valuable information.
·4· · · · Q· · And did the league put out a request for
·5· ·information about anyone who had troubles with SB 1 or
·6· ·did you seek out members of the league with your -- what
·7· ·happened to you?
·8· · · · · · · · · MS. KUMAR:· Objection, form.
·9· · · · Q· · You can answer.
10· · · · A· · I don't remember that they put out a notice
11· ·about problems with SB 1.· It seems like we were
12· ·talking -- and this was on Zoom -- in some kind of
13· ·meeting and we were sharing experiences we had had with
14· ·voting this voting season.· I think it started out more
15· ·informal.· I am not sure of the -- if we were actually
16· ·asked to come forward.
17· · · · Q· · Okay.· And when you said you talked with local
18· ·members of the league, was that what you were referring
19· ·to?
20· · · · A· · Yes.
21· · · · Q· · Okay.· We will get back to that in just a
22· ·minute.· Let me ask you some questions about the league.
23· ·Is that all right?
24· · · · A· · Sure.
25· · · · Q· · So you testified that you were a member of the




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·1· ·League of Women Voters of Texas, correct?
·2· · · · A· · Yes.· When you are a league member, you are a
·3· ·member of your local organization, which is League of
·4· ·Women Voters of Hays County, but then you are
·5· ·automatically a member of the state league, which is the
·6· ·League of Women Voters of Texas, and you are also a
·7· ·member of the League of Women Voters of the United
·8· ·States.· So it's kind of a triad or triple level.
·9· · · · Q· · Okay.· As a member, do you pay dues?
10· · · · A· · Yes.
11· · · · Q· · Annual dues?
12· · · · A· · Yes.
13· · · · Q· · How much are annual dues, if you remember?
14· · · · A· · I think it's about $65.
15· · · · Q· · And all members pay each year?
16· · · · A· · Yes.· There is a special break for students
17· ·and if you have a family, like both husband and wife
18· ·want to join, there is a discount for the second person.
19· ·And the $65 is just something I am guessing.· I pay dues
20· ·to so many organizations.· I -- I don't specifically
21· ·remember, but it's probably around that amount.
22· · · · Q· · That's fine.
23· · · · · · ·Is it all right if I just say, "the league,"
24· ·instead of "the League of Women Voters of Texas" for
25· ·each question?




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·1· · · · A· · Barbara Nichols -- yeah.
·2· · · · Q· · But you said you don't -- but books is a
·3· ·little bit more of a chore to do with the magnifying
·4· ·glass?
·5· · · · A· · Yeah.· The print isn't as big as those names.
·6· ·When you don't have the video on, your name is printed
·7· ·much bigger than the names below.· The people -- like
·8· ·your name and my name is in much smaller print.
·9· · · · · · · · · MS. KUMAR:· Zachary, we have been going
10· ·for just over an hour.· I don't know if this might be a
11· ·good time for a break or if you want to finish this line
12· ·of questions.
13· · · · · · · · · MR. BERG:· Yeah.· Let's take a break.· 15
14· ·minutes?
15· · · · · · · · · MS. KUMAR:· Sounds good.
16· · · · · · · · · MR. BERG:· Back at 11:25?
17· · · · · · · · · MS. KUMAR:· Sounds great.
18· · · · · · · · · THE VIDEOGRAPHER:· It is 11:10 a.m. and we
19· ·are off the record.
20· · · · · · · · · (RECESS FROM 11:10 A.M. TO 11:26 A.M.)
21· · · · · · · · · THE VIDEOGRAPHER:· Time is 11:26 a.m.· We
22· ·are back on the record.
23· · · · Q· · (BY MR. BERG) Ms. Lewis, right before we went
24· ·off the record, we were talking about challenges that
25· ·you experienced during your life as a result of your




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·1· ·disability; is that correct?
·2· · · · A· · During my life?
·3· · · · Q· · In your life.
·4· · · · A· · Yeah.· At some point in my life.· I was not
·5· ·born or lived, you know, a great deal of my life
·6· ·disabled.
·7· · · · Q· · When did it start?· When did you notice it?
·8· · · · · · · · · MS. KUMAR:· Objection, form.
·9· · · · A· · I think it started with arthritis in my knees,
10· ·and so I had my first knee replacement -- gosh, I don't
11· ·know how many years ago.· Then I had to have my second
12· ·knee replaced, then my hip, and then my other hip.· And
13· ·it has just gradually reduced my mobility.
14· · · · · · ·And then the macular degeneration -- I once
15· ·had 20/20 vision, but it has gradually been compromised.
16· ·My hearing has always been normal until I got older.
17· ·Now I am wearing hearing aids.· And most of the time
18· ·that works okay, but sometimes I have to have people
19· ·repeat things.
20· · · · · · ·I have a heart murmur and I am under a
21· ·cardiologist's care.· I am on blood thinner and I am on
22· ·medication for high blood pressure and medication for
23· ·cholesterol.· And I -- what else do I have?· Did I say I
24· ·have a torn rotator cuff in my shoulder?
25· · · · Q· · No.




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·1· ·supposed to get an exam with the retina specialist every
·2· ·six months.· I put that off because of COVID.· But I
·3· ·did, a few months ago, went ahead and looked up a new
·4· ·retina specialist since mine was no longer coming to
·5· ·San Marcos.
·6· · · · · · ·And I went, you know, with nervous trepidation
·7· ·because they are right in your face and I have got my
·8· ·mask on, but still.· So, you know, it's been one of the
·9· ·biggest problems, I think.
10· · · · · · ·Well, my joints, too.· Just walking, standing.
11· ·Oh, I have spinal stenosis, which causes my back to
12· ·hurt.· If I am just up for a few minutes, my back starts
13· ·hurting until I sit down again.
14· · · · Q· · The macular degeneration, is that progressive?
15· ·Will that get worse?
16· · · · A· · Yes.· Supposedly it does get worse over time.
17· ·I -- like I say, I take this medication that's
18· ·recommended by my eye doctor.· I am supposed to have
19· ·that exam every -- actually, when I went this time, he
20· ·said I could come back in a year, but they check to make
21· ·sure it hasn't turned from dry to wet.
22· · · · · · ·If you have wet macular degeneration, you have
23· ·to get shots in your eyeball, because I have friends
24· ·that have got -- had to get that.· So far I haven't
25· ·developed that.




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·1· ·product because we don't hear about having to sanitize
·2· ·things you buy anymore.
·3· · · · Q· · Perfect.
·4· · · · · · ·So you voted in the 2022 March 1st primary,
·5· ·correct?
·6· · · · A· · Yes.· I tried.
·7· · · · Q· · You were unsuccessful in voting?
·8· · · · A· · Finally I was successful, but I had to go
·9· ·through this horrible ordeal.
10· · · · Q· · What was the -- so you voted absentee --
11· · · · A· · Well, I voted --
12· · · · Q· · -- right?
13· · · · A· · -- mail-in ballot.
14· · · · Q· · Mail -- my apologies.· Mail-in ballot.
15· · · · · · ·So you filed an application for ballot by mail
16· ·at some point?
17· · · · A· · Yes.· And I really want to emphasize the
18· ·previous two years I had no trouble, but I knew that you
19· ·had to apply for a ballot by mail for the whole year and
20· ·then it expired.· So in January, rather -- I really
21· ·didn't like going online to ask for an application for
22· ·mail-in ballot.· I am just so used to dealing with the
23· ·county election administrator's office.
24· · · · · · ·I just called and asked them to send me an
25· ·application for a mail-in ballot and they sent it by




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·1· ·mail and I filled it out very carefully and mailed it in
·2· ·and thought everything was okay.
·3· · · · · · ·And then I get a letter from the county
·4· ·election administrator's office saying my application
·5· ·has been rejected.· And I --
·6· · · · Q· · And -- oh.
·7· · · · A· · -- voted -- I voted two years for mail-in
·8· ·ballot and no problem, but they said my application --
·9· ·and in the same letter was an app- -- a voter
10· ·registration application.
11· · · · · · ·I already had my new voter registration card,
12· ·which was sent out every two years and -- I already had
13· ·my card, but they said they put that -- I had to apply
14· ·for another voter registration card.
15· · · · · · ·And can I tell you, I called -- I called the
16· ·county election administrator's office again, and I
17· ·said, "What's going on?· I have already filled out" --
18· ·"I mean, I have already got my voter registration card.
19· ·I have been registered since 1985.· Why do I have to
20· ·fill out an application for a new voter registration
21· ·card?"
22· · · · · · ·And they said because back in 1985 -- how many
23· ·years ago is that?· I can't even count.· Back in 1985
24· ·when I filled out my voter registration application, the
25· ·identification I put on there was my Social Security




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·1· ·number, not my driver's license.· And the application I
·2· ·filled out in 2022, and probably the previous years,
·3· ·too, I put my driver's license number and not my Social
·4· ·Security number.
·5· · · · · · ·Because since 1985, the Social Security
·6· ·Administration has come out with the advice not to use
·7· ·your Social Security number for identification on things
·8· ·like that.· I mean, you notice now, when you go to the
·9· ·doctor's office, they don't ask for your Social Security
10· ·number.· They ask your birthday.
11· · · · · · ·So I thought it was not wise to put my Social
12· ·Security number on this.· And since I use my Texas
13· ·driver's license -- I have to use it every time I vote
14· ·now -- I thought, you know, they would have that record
15· ·of my Texas driver's license, but no.
16· · · · · · ·So I filled out -- you know, they sent me a
17· ·new application.· No.· I didn't have to fill out a new
18· ·application.· I just had to fill out a new voter
19· ·registration application, so then they had the voter
20· ·registration application with my Social Security number
21· ·on it that could match the application for the ballot by
22· ·mail that I had already sent in.
23· · · · Q· · But you didn't -- they didn't ask you to fill
24· ·out a new application for ballot by mail?
25· · · · A· · No.· They used that one and they just compared




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·1· · · · · · ·And then I began to hear on the news that
·2· ·mail-in ballots were being rejected.· They eventually
·3· ·were rejected by the thousands.· And I began to worry
·4· ·about my ballot that I had mailed in, so I did what I
·5· ·usually do.· I called the Hays County election
·6· ·administrator's office and I said, "I have mailed in my
·7· ·mail-in ballot; I want to make sure that you have it and
·8· ·it's okay."
·9· · · · · · ·And they said, "Yes, we have it, and it's
10· ·okay."· So I was relieved for a few hours.· That same
11· ·day I get in the mail from the county election
12· ·administrator's office that my mail-in ballot had been
13· ·rejected.
14· · · · Q· · Okay.
15· · · · A· · They didn't include a new ballot or anything.
16· ·You know, it was just -- just rejected.· And, obviously,
17· ·it had to be fixed or whatever.· So, again, I called the
18· ·county election administrator's office and I said, you
19· ·know, "I don't understand why my ballot was rejected,
20· ·but, you know, what can I do?"
21· · · · · · ·And the staff person I talked to said, "Well,
22· ·it's getting kind of close to the election."· I think it
23· ·was a week or maybe a little more away.· She said, "mail
24· ·is so slow; if we mail the new ballot to you and then
25· ·you mail it back, it might not get here in time, so you




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·1· ·are going to need to come in person to fix it."
·2· · · · · · ·The whole reason I was doing a mail-in ballot
·3· ·was so I wouldn't have to go in person, but I was so
·4· ·desperate to have my vote counted.· I mean, that's been
·5· ·my life ever since we moved here.· With the League of
·6· ·Women Voters and all the things I do with elections, I
·7· ·was determined to have my vote counted.
·8· · · · · · ·So I go over to the county election
·9· ·administrator's office, which is in our Government
10· ·Center.· And I pull in the parking lot and at the very
11· ·entrance to the parking lot, of course, there were
12· ·people out there with campaign signs.· And the chair of
13· ·the Democratic Party came over to my window and rolled
14· ·down my -- the window -- no.· That was another occasion.
15· ·Never mind.
16· · · · · · ·Anyway, so I drove in the parking lot and it
17· ·was totally full.· And I thought, Hey, this is a pretty
18· ·good sign.· All these people are voting?"· Well, I found
19· ·out later they were having two trials there and so
20· ·that's what it was.
21· · · · · · ·So I -- I drive my car over to the handicapped
22· ·place, and every handicapped spot was taken.· And so I
23· ·pulled over to the side so I could see the handicapped
24· ·spots and know when one pulled out.· Now, a few of those
25· ·were for curbside voting, that people were busy doing




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·1· ·vote, actually, and one of the polling workers was
·2· ·sitting at the door, a man, and he motioned for me to go
·3· ·over to the table.· And I said, "No, I am not here to
·4· ·vote; I'm here because I need to go to the county
·5· ·election administrator's office to fix a ballot."· And I
·6· ·said, "What is the shortest way to get to the county
·7· ·election administrator's office?"
·8· · · · · · ·And he could see I had a cane.· I was probably
·9· ·out of breath.· And he said, "There is no short way.
10· ·You have to go down the hall and then you turn here and
11· ·you turn" -- you know, he was giving me all this.
12· · · · · · ·And I said, "But they said I could come in the
13· ·back door."
14· · · · · · ·And he said, "Well, they should not have told
15· ·you that."
16· · · · · · ·Well, there was a female election worker who
17· ·heard all this and she came over and she said, "I will
18· ·show her."· So we went out of that room.· Directly
19· ·across the hall was an unmarked door, which was the
20· ·county election administrator's office back door, and
21· ·she opened it and took me in.· Thank goodness.
22· · · · · · ·And there were a bunch of people in there all
23· ·working and one of the staff came over and I told her
24· ·what I was there for and she brought me a chair because
25· ·I really needed to sit down by then.· And she went and




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·1· ·looked up my ballot and -- the one that had been
·2· ·rejected -- and she brought it over to me.
·3· · · · · · ·And they had figured out this way to open up a
·4· ·part of the flap on the envelope to show some writing
·5· ·without actually unsealing the ballot itself in some
·6· ·way.· I don't know how it was.· But, anyway, she showed
·7· ·me this writing under the flap of the envelope where you
·8· ·lick and seal it.· It was under the flap, and she showed
·9· ·me this writing and said, "You were supposed to put your
10· ·ID number here."
11· · · · · · ·And I said, "What?"· The print was so small.
12· ·It must have been 5 or 6 size.· I mean, there was no way
13· ·I could read any of that, much less think about looking
14· ·under a flap for it.· But there it was hidden -- hidden
15· ·under the flap.· And I found out later that's the
16· ·problem most people had had with the ballot by mail is
17· ·that those -- those hidden tiny prints.
18· · · · · · ·Well, she showed me this line where I could
19· ·put my Texas driver's license and my Social Security
20· ·card number.· Well, I had learned I better do the Social
21· ·Security.· So I knew that by heart.· I wrote that down
22· ·on the flap.· And then I couldn't read the number on my
23· ·driver's license, so I handed her my driver's license
24· ·and had her read the number to me, and I wrote that
25· ·number down.




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·1· ·THE STATE OF TEXAS:

·2· ·COUNTY OF HARRIS:

·3· · · · I, Mona S. Whitmarsh, a Certified Shorthand

·4· ·Reporter, hereby certify that the foregoing testimony

·5· ·was given before me after the Witness had been first

·6· ·duly sworn.

·7· · · · I further certify that this deposition was

·8· ·transcribed under my direction and is a complete and

·9· ·correct transcript of the proceedings; and that it is

10· ·being filed with the Court in accordance with the

11· ·Stipulation of Counsel contained in this deposition.

12· · · · I further certify that I am neither attorney for,

13· ·related to, nor employed by any of the parties to the

14· ·lawsuit in which this deposition was taken.· Further, I

15· ·am neither related to nor employed by any attorney of

16· ·record in this cause; nor do I have a financial interest

17· ·in the matter.

18· · · · GIVEN UNDER MY HAND AND SEAL OF OFFICE this 15th

19· ·day of August, 2022.

20

21· · · · · · · · · · · · · _______________________________
· · · · · · · · · · · · · · Mona S. Whitmarsh
22· · · · · · · · · · · · · Texas CSR No. 3986
· · · · · · · · · · · · · · Expiration Date:· 04/30/24
23
· · · · · · · · · · · · · · MAGNA LEGAL SERVICES
24· · · · · · · · · · · · · Firm Registration No. 622
· · · · · · · · · · · · · · 866-624-6221
25· · · · · · · · · · · · · www.MagnaLS.com




                               OCA-APPX-0643
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 644 of 2308




                 Exhibit 35




                         OCA-APPX-0644
DocuSign Envelope ID: 545F770D-1146-4D01-B85F-BED512BAB83A
                  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 645 of 2308




                                       DECLARATION OF CYNTHIA EDMONDSON
                 My name is Cynthia Edmondson. I am over the age of 18 and capable of making this

            declaration. The facts stated herein are within my personal knowledge:

                 1. I am a resident of Houston, Texas, and am an eligible voter in the state of Texas.

                 2. I am registered to vote in Harris County, where I reside.

                 3. I am 80 years old.

                 4. I believe I have been registered to vote in Texas since about the time I moved back

                     to Texas in the 1970s. I try to vote in every election.

                 5. I am a member of the League of Women Voters of Texas. I have been a member

                     for several years.

                 6. I have been voting by mail since approximately 2008, when I turned 65 years old.

                 7. I live with multiple sclerosis. My symptoms would make it difficult for me to vote

                     in person. As a result of multiple sclerosis, I have difficulty walking and

                     balancing. I am prone to falling, so I use a walker for assistance and a wheelchair

                     for longer distances. I also get tired easily and use the restroom frequently; it

                     would be difficult for me to stand in a long line to vote in person. Multiple

                     sclerosis also causes my handwriting to be shaky and unclear.

                 8. On or about January 3, 2022, I submitted my application to vote by mail in the

                     March 1, 2022 primary election. On that application, I included my driver’s

                     license number. I did not include my social security number because the

                     application forms said to only do so if I did not have a driver’s license number.



                                                             Page 1 of 3

                                                       OCA-APPX-0645
DocuSign Envelope ID: 545F770D-1146-4D01-B85F-BED512BAB83A
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                 9. A few days later, the Harris County Elections Department called me, and an

                     employee told me that the driver’s license number I included on my application

                     did not match the number that I had used when I registered to vote. The employee

                     I spoke with advised me to include both my driver’s license number and social

                     security number in my application to vote by mail.

                 10. On or about January 7, 2022, the Harris County Elections Department sent me a

                     new application to vote by mail. I once again filled out the application to vote by

                     mail. I followed the advice I had received from the Harris County Elections

                     Department to include my social security number on the application form in

                     addition to my driver’s license number. Doing so made me uncomfortable because

                     the form said to only include a social security number if I did not have a driver’s

                     license number. Because I do have a Texas driver’s license, it felt wrong not

                     following the instructions as written.

                 11. Afterwards, I received my ballot to vote by mail. On my ballot, I included both my

                     driver’s license and social security number. I believe my ballot was counted.

                 12. During my earlier phone call, the Harris County Elections Department had also

                     advised me to update my voter registration to include both my driver’s license

                     number and social security number, but not to do so until after my vote-by-mail

                     application was processed, so as not to disrupt that process. After I returned my

                     ballot, I updated my voter registration.

                 13. I was annoyed and confused throughout my voting experience. The process was

                     cumbersome, and it felt unfair to have to figure out why my application was

                                                             Page 2 of 3

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                     rejected and how to fix it. It felt like the form was intentionally tricky to prevent

                     people from voting.

            This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury

            that the foregoing is true and correct.

            Executed on5/22/2023
                        ________

                                                                           _________________________
                                                                           Cynthia Edmondson




                                                             Page 3 of 3

                                                       OCA-APPX-0647
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                 Exhibit 36




                         OCA-APPX-0648
DocuSign Envelope ID: 7F4EB34E-7B1E-488E-A58D-89D20AC2C228
                  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 649 of 2308




                                           DECLARATION OF PATRICIA BUCK
                My name is Patricia Buck. I am over the age of 18 and capable of making this

            declaration. The facts stated herein are within my personal knowledge:

                1. I am a resident of Houston, Texas, and I am an eligible voter in the state of Texas.

                2. I am registered to vote in Harris County, where I reside.

                3. I was born in 1952.

                4. I have been registered to vote in Texas since approximately 1998. I try to vote in

                     every election.

                5. I am a member of the League of Women Voters of Texas and have been a member

                     for several years.

                6. I have always voted in person in the past, but in 2022 my husband and I planned to

                     begin voting by mail.

                7. My husband and I wanted to vote by mail because we both have health conditions

                     that make it difficult for us to stand in line at a voting location. We both have

                     diabetes, and my husband has congestive heart failure. Sometimes voting locations

                     have chairs to sit in while you are waiting, but often the only option is to stand in

                     line. In order to comfortably and safely vote in person, we often have to make

                     several trips to a voting location until we see the line is short enough for us to

                     vote.

                8. Because of these issues with voting in person, my husband and I started the

                     process of applying to vote by mail in 2022. However, when I received the

                     application, I saw that it asked for our social security numbers. I also learned that
                                                             Page 1 of 2

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                     the mail-in ballot requires voters to include their social security number on the

                     outside of the ballot’s carrier envelope. My husband and I have always been taught

                     that it is crucial not to share our social security numbers with others, and to keep

                     them private. I have similar concerns about sharing my driver’s license number

                     because of potential identity theft issues.

                9. In 2022, I also heard reports about high rates of mail-in applications and ballots

                     being rejected. I was also concerned that if we voted by mail, our votes might not

                     be counted because of these rejection issues.

                10. Even though voting in person is difficult due to our physical issues, my husband

                     and I did not go forward with applying to vote by mail because we were scared by

                     the requirements to list our social security and driver’s license numbers and

                     reports of high rejection rates. Because voting in person is so difficult due to our

                     health, I wish we could vote by mail without these concerns.

                11. Instead, my husband and I voted in person during elections in 2022 and will

                     continue to vote in person because of these concerns.

            This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury

            that the foregoing is true and correct.

                            5/18/2023
            Executed on _______

                                                                           _________________________
                                                                           Patricia Buck




                                                             Page 2 of 2

                                                      OCA-APPX-0650
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                 Exhibit 37




                         OCA-APPX-0651
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                           DECLARATION OF MILAN SUAREZ
      My name is Milán Hortencia Suárez (she/they). I am over the age of 18 and

capable of making this declaration. The facts stated herein are within my personal

knowledge:

   1. I am a resident of Houston, Texas, and I’m an eligible voter in the state of Texas.

   2. I am registered to vote in Harris County, in which Houston is located.

   3. I have been a member of the League of Women Voters of Texas since September

      1, 2021.

   4. I am 21 years old.

   5. I first registered to vote in Texas in 2021 when I was still located in Texas.

   6. I voted for the first time in Texas in 2022.

   7. I am currently located in Seattle, Washington while I am attending college at the

      University of Washington. I currently intend to return to Texas after college.

   8. I voted by mail in the 2022 general elections. I voted by mail because I was away

      from my county of residence while attending college at the University of

      Washington.

   9. On or about October 4, 2022, I printed out an application to vote by mail in the

      November 8, 2022 general election.

   10. That same evening, I filled out my application and then mailed it to the Harris

      County Elections Administrator’s Office the following day on October 5, 2022.

   11. I received a letter from the Harris County Elections Administrator’s Office, dated

      October 13, 2022, at my home residence in Harris County as well as my Seattle



                                   OCA-APPX-0652
 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 653 of 2308




   mailing address, notifying me that my application for a ballot by mail had been

   rejected.

12. The document attached as Exhibit A to this Declaration is a true and correct copy

   of the letter I received from the Harris County Elections Administrator’s Office

   notifying me of my rejected application for ballot by mail.

13. The letter stated that my Personal Identification Number is not associated with my

   voter record and that my application was defective because my voter registration

   record did not have a proper identification number, even though the identification

   numbers I provided on my application were all correct.

14. Specifically, I had provided my Texas driver’s license number, my Social Security

   number, and my Texas Voter Registration number (VUID) on my application for a

   ballot by mail.

15. In the days that followed, I was preparing to update my voter registration record

   and reapply for a ballot to vote by mail. On October 27, 2022, my family received

   a packet at my home residence in Harris County with the mail ballot I had applied

   for from the Harris County Elections Administrator’s Office.

16. My family mailed the Harris County mail ballot packet to me at my Washington

   State address, and I received it on November 1, 2022.

17. Because it appeared to me that the Harris County Elections Administrator’s Office

   had fixed the ID issue on its own and evidently approved my mail ballot

   application, I did not proceed with updating my voter registration record or

   completing the reapplication process for a ballot by mail.



                                OCA-APPX-0653
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18. I was still confused as to why my ID numbers were initially considered incorrect,

   and why my mail ballot was subsequently sent to my Harris County home address

   instead of my Washington State mailing address.

19. Although I only submitted one application to vote by mail, the rejection letter and

   the subsequent mailing of a mail ballot to my Harris County address instead of my

   Washington State address caused me a significant delay in voting.

20. On November 4, 2022, I mailed my ballot to the Harris County Elections

   Administrator’s Office, one month after I had started the process to vote by mail.

21. After mailing in my ballot and through the hours after the election ended, I

   checked the status of my ballot through the Harris County Mail Ballot Activity

   Lookup portal on the Harris Votes website, which indicated that my ballot had not

   been received or counted. To this date, it is not clear to me whether my ballot was

   counted because the portal does not show that my vote was received or counted.

22. It is my belief that my mail ballot was ultimately not counted due to the delays

   incurred by the apparent confusion over the ID numbers on my application or

   voter registration record.

23. My extended family includes many longtime voters who vote in nearly every

   election. I have family members who are also members of the League of Women

   Voters of Texas, and I have been raised to consider voting an important civic duty

   and an inherent right. During high school I worked at a polling place and I have

   helped to register voters because I am a strong supporter of having equal access to

   voting for all persons who are eligible.



                                OCA-APPX-0654
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   24. My experience trying to vote by mail in Texas was extremely stressful and

       confusing and I came close to giving up on the whole process. But because my

       family taught me the importance of voting, I tried my best to proceed with the

       process, with my family’s support, to get my vote in on time.

   25. Because I will still be attending college out of state this year and next year, I

       intend to vote by mail in the future, but I worry that my voting rights will be

       violated if my future mail ballots are not counted again due to issues with the

       current identification requirements for voting by mail in Texas.

   This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of

perjury that the foregoing is true and correct.

Executed on May 18, 2023.



                                                                _________________________
                                                                   Milán Hortencia Suárez




                                    OCA-APPX-0655
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                         OCA-APPX-0660
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                         OCA-APPX-0661
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                 Exhibit 39




                         OCA-APPX-0664
  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 665 of 2308




              Transcript of the Testimony of
                         Deborah Chen


                                Date:
                          March 28, 2022



                                Case:
LA UNION DEL PUEBLO ENTERO vs GREGORY W. ABBOTT




                           OCA-APPX-0665
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   Deborah Chen                                                          March 28, 2022
                                                                                      ·


·1· · · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3
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·4· ENTERO, et al.,· · · · · · §· · 5:21-cv-844-XR
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·5· · · · · · · · · · · · · · ·§
· · v.· · · · · · · · · · · · ·§
·6· · · · · · · · · · · · · · ·§
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·7· al.,· · · · · · · · · · · ·§
· · · · ·Defendants.· · · · · ·§
·8· · · · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
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· · JOHN SCOTT, et al.,· · · · §
13· · · ·Defendants.· · · · · ·§
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· · · · ·Defendants.· · · · · ·§
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· · · · · · · · · · · · · · · ·§
25· · · · · · · · · · · · · · ·§
· · MI FAMILIA VOTA, et al.,· ·§· · Case No.


   Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
   210-697-3400                                                             210-697-3408
                               OCA-APPX-0666
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·3· GREG ABBOTT, et al.,· · · ·§
· · · · ·Defendants.· · · · · ·§
·4· · · · · · · · · · · · · · ·§
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· · · · · · · · · · · · · · · ·§
·8· THE STATE OF TEXAS, et· · ·§
· · al.,· · · · · · · · · · · ·§
·9· · · ·Defendants.

10

11· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · · · DEBORAH CHEN
12· · · · · · · · · · · ·MARCH 28, 2022

13

14

15· · · ·ORAL AND VIDEOTAPED DEPOSITION OF DEBORAH CHEN,

16· produced as a witness at the instance of the Defendants

17· and duly sworn, was taken in the above styled and

18· numbered cause on Monday, March 28, 2022, from

19· 10:31 a.m. to 7:24 p.m., before DONNA QUALLS, Notary

20· Public in and for the State of Texas, reported by

21· computerized stenotype machine, at the offices of the

22· Houston Chinese Community Center, 9800 Town Park Drive,

23· Houston, Texas, pursuant to the Federal Rules of Civil

24· Procedure, and any provisions stated on the record or

25· attached hereto.


     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
                                 OCA-APPX-0667
      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 668 of 2308
     Deborah Chen                                                          March 28, 2022
                                                                                   Page 3


·1· · · · · · · · · · A P P E A R A N C E S

·2
· · FOR THE PLAINTIFF, OCA-GREATER HOUSTON:
·3· · · ·ZACHARY DOLLING
· · · · ·HANI MIRZA
·4· · · ·TEXAS CIVIL RIGHTS PROJECT
· · · · ·1405 Montopolis Drive
·5· · · ·Austin, Texas· 78741
· · · · ·(512) 474-5073
·6· · · ·zachary@texascivilrightsproject.org
· · · · ·hani@texascivilrightsproject.org
·7

·8
· · FOR THE PLAINTIFFS, OCA-GREATER HOUSTON:
·9· · · ·SUSANA LORENZO-GIGUERE
· · · · ·ASIAN AMERICAN LEGAL DEFENSE AND EDUCATION
10· · · ·FUND
· · · · ·99 Hudson Street, 12th Floor
11· · · ·New York, New York· 10013
· · · · ·(212) 966-5932
12· · · ·slorenzo-giguere@aaldef.org

13

14· FOR THE PLAINTIFFS, LULAC TEXAS:
· · · · ·NOAH BARON (Remotely)
15· · · ·ELIAS LAW GROUP
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16· · · ·Washington, District of Columbia· 20002
· · · · ·(202) 968-4556
17· · · ·nbaron@elias.law

18

19· FOR THE DEFENDANT, OFFICE OF THE ATTORNEY GENERAL:
· · · · ·KATHLEEN T. HUNKER
20· · · ·ARISTOTLE HERBERT (Remotely)
· · · · ·OFFICE OF THE ATTORNEY GENERAL
21· · · ·P.O. BOX 12548 (MC-009)
· · · · ·AUSTIN, TEXAS· 78711-2548
22· · · ·(512) 463-2100
· · · · ·kathleen.hunker@oag.texas.gov
23

24

25


     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
                                 OCA-APPX-0668
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·1· FOR THE DEFENDANTS, BEXAR COUNTY DISTRICT ATTORNEY'S
· · OFFICE:
·2· · · ·LISA V. CUBRIEL (Remotely)
· · · · ·BEXAR COUNTY DISTRICT ATTORNEY'S OFFICE
·3· · · ·101 West Nueva Street, 7th Floor
· · · · ·San Antonio, Texas 78205
·4· · · ·(210) 335-2142
· · · · ·lisa.cubriel.bexar.org
·5

·6
· · Also Present (Remotely):
·7· · · ·Georgina Yeomans (LDF)
· · · · ·Jason S. Kanterman
·8· · · ·Jon Bash
· · · · ·Lia Sifuentes Davis
·9· · · ·Leigh Tognetti
· · · · ·Kevin Zhen (FF)
10· · · ·Jennifer Yun (DOJ)
· · · · ·Julia Longoria
11· · · ·Savannah Kumar
· · · · ·Ari Herbert
12· · · ·Wendy Olson
· · · · ·Tiffany Bingham
13· · · ·Jerry Vattamala - AALDEF
· · · · ·Tony Nelson - Travis County
14· · · ·Josephine Ramirez
· · · · ·Ciara Sisco - NAACP LDF
15· · · ·Katelynn Lujan, KTA Videographer
· · · · ·Kamesha Archie, KTA Videographer (In person)
16

17

18

19

20

21

22

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24

25


     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
                                 OCA-APPX-0669
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   Deborah Chen                                                          March 28, 2022
                                                                                Page 55


·1· these chapters in regards to SB 1 or its enforcement or
·2· implementation?
·3· · · ·A.· No.
·4· · · ·Q.· Is OCA-Greater Houston a membership
·5· organization?
·6· · · ·A.· Yes.
·7· · · ·Q.· How many members does OCA-Greater Houston have
·8· approximately?
·9· · · ·A.· Paid, voting members, around 160 or so.
10· · · ·Q.· So 160 paid members -- paid, voting members?
11· · · ·A.· Yes.
12· · · ·Q.· And how many --
13· · · ·A.· Depending on the time of year, it could go as
14· high as 200-something.· But average, I'd say 160.                          I
15· don't know the exact amount right now.
16· · · ·Q.· An approximation is perfectly fine.
17· · · · · · · · And how many, roughly, nonpaid, voting --
18· nonvoting members do you have?
19· · · ·A.· Nonvoting members, we consider to be any person
20· who participates in our programs, is a volunteer.· It
21· could be a client that we have provided services for.
22· So that could be in -- several hundred.
23· · · ·Q.· And where are these members located?
24· · · ·A.· The vast majority are in the Greater Houston
25· area.· Our seniors that we provide assistance to

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   Deborah Chen                                                          March 28, 2022
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·1· generally are around the Asiatown area or in the
·2· surrounding areas, typically from Sugar Land and/or the
·3· Alief/Sharpstown/Gulfton, some as far away as Katy.· Our
·4· student ment- -- I'm sorry -- our student members -- we
·5· do a lot of youth trainings.· Those literally are in the
·6· hundreds, are all around the city, mostly on the west
·7· side of the city.
·8· · · ·Q.· So Harris County-centered?
·9· · · ·A.· Harris County-centered is the bulk of it.· But,
10· you know, we have had students who, you know, come from,
11· you know, Fort Bend County or Brazoria County, from
12· Sugar Land and Pearland.
13· · · ·Q.· So you --
14· · · ·A.· But the bulk of them are in Harris County.
15· · · ·Q.· So you made the distinction between paid,
16· voting members and then the nonvoting members, people
17· who either volunteered or received services; is that
18· correct?
19· · · ·A.· Yes.· Or participate in our programs.
20· · · ·Q.· So would you consider those more clients?
21· · · ·A.· Not really.· Because, you know, for example, a
22· lot of our students, they volunteer at different events.
23· We -- I wouldn't consider them a client so much as
24· they're, you know, just younger members.· They're future
25· leaders.· We --

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·1· · · ·Q.· Part of the community?
·2· · · ·A.· Part of the community.
·3· · · ·Q.· And I think you had mentioned this before, but
·4· do members pay dues?
·5· · · ·A.· Voting members pay dues.
·6· · · ·Q.· And do voting members elect the OCA-Greater
·7· Houston's leadership?
·8· · · ·A.· Correct.
·9· · · ·Q.· Do they elect board members?
10· · · ·A.· Yes.
11· · · ·Q.· And do they elect officers?
12· · · ·A.· Members elect the chapter president.· The board
13· members elect the other officers.
14· · · ·Q.· Is OCA-Greater Houston's leadership made up of
15· members?
16· · · ·A.· Yes.
17· · · ·Q.· And how are the members involved in the
18· organization's activities?
19· · · · · · · · And I'm talking specifically about the
20· voting members.
21· · · ·A.· Typically, they are -- voting members tend to
22· be a little -- they tend to fall into two buckets.
23· They're either much more active, or they're -- simply
24· they're "I just want to support the work that you do.                            I
25· don't have the time to be involved, but I believe in

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·1· what you do."
·2· · · ·Q.· And who manages the day-to-day operations of
·3· OCA-Greater Houston?
·4· · · ·A.· I manage a large portion of it.
·5· · · ·Q.· And the chapter president, I imagine, takes the
·6· rest?
·7· · · ·A.· As well as other board members.
·8· · · ·Q.· Okay.
·9· · · ·A.· They take on different things.
10· · · ·Q.· And how many people are on the board?
11· · · ·A.· Right now, there are 19 or 20 board members.
12· · · ·Q.· And do they all have office -- do they all hold
13· an officer position?
14· · · ·A.· No.· They are all board members, and then there
15· are specific officers of president, vice president,
16· treasurer, secretary.
17· · · ·Q.· And are they in addition to the board members,
18· or are they among the board members?
19· · · ·A.· Among the board members.
20· · · ·Q.· And you already mentioned that the board
21· members are selected by the voting members, and the --
22· · · ·A.· Chapter president is --
23· · · · · · · · (Simultaneously speaking.)
24· · · ·A.· -- is voted on by the membership directly.
25· · · ·Q.· (BY MS. HUNKER)· And the --

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·1· · · ·Q.· Okay.
·2· · · ·A.· Our board member who is, you know, active with
·3· exit surveys are both Rogene -- she has been active with
·4· exit surveys in the past -- as well as Cecil Fong.
·5· · · · · · · · THE REPORTER:· Can you spell that?
·6· · · · · · · · THE WITNESS:· C-E-C-I-L F-O-N-G.
·7· · · ·A.· Other board members who have helped with the
·8· exit surveys are Cecilia Pham.· That's P-H-A-M.· Those
·9· are the two that come right off the top of my head.
10· · · · · · · · Cecil Fong has also been the -- one of the
11· board members who's been very active with -- in the past
12· with helping to take seniors to go vote or being an
13· assister at a voting location.
14· · · ·Q.· What is OCA-Greater Houston's mission?
15· · · ·A.· It's a four-prong mission.· It's actually very
16· broad.· And I -- I should know this right off the top of
17· my head, and I don't know it off the top of my head.
18· But I'm fairly certain we have this typed.
19· · · ·Q.· I'm pretty sure it's in the interrogatories.
20· · · ·A.· Somewhere in here.· I know our taglines, in
21· raising the hopes and --
22· · · ·Q.· If you look at Interrogatory 5.
23· · · ·A.· Okay.
24· · · ·Q.· Interrogatory 5, Response A.
25· · · ·A.· Yes.

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·1· · · ·Q.· Provides four bullet points.
·2· · · · · · · · "To advocate for social justice,
·3· equality" -- "equal opportunity, and fair treatment; to
·4· promote civic participation, education, and leadership;
·5· (3) to advance coalitions and community buildings; and
·6· (4) to foster cultural heritage."
·7· · · · · · · · Would that be an accurate summation?
·8· · · ·A.· Yes.
·9· · · ·Q.· Now, in your second amended complaint, it says,
10· OCA-Greater Houston is a "civil rights organization of
11· community advocates dedicated to advancing the social,
12· political, and economic well-being of Americans of Asian
13· and Pacific Island descent."
14· · · · · · · · That is in paragraph 14.
15· · · ·A.· I'm sorry.· And that is Exhibit...
16· · · ·Q.· 2.
17· · · ·A.· 2.
18· · · ·Q.· My apologies.· I should have specified.
19· · · ·A.· No worries.· Okay.
20· · · ·Q.· Second sentence.
21· · · · · · · · Is that an accurate description as well?
22· · · ·A.· Yes.
23· · · ·Q.· And you'd agree that Asian and Pacific
24· Island-descent Americans are a diverse population?
25· · · ·A.· Yes.

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      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 677 of 2308
     Deborah Chen                                                          March 28, 2022
                                                                                 Page 281


·1· COUNTY OF HARRIS )

·2· STATE· OF· TEXAS )

·3

·4· · · · · · · · · REPORTER'S CERTIFICATION

·5

·6· · · ·I, Donna Qualls, Notary Public in and for the State

·7· of Texas, hereby certify that this transcript is a true

·8· record of the testimony given and that the witness was

·9· duly sworn by the notary.

10· · · ·I further certify that I am neither attorney nor

11· counsel for, related to, nor employed by any of the

12· parties to the action in which this testimony was taken.

13· · · ·Further, I am not a relative or employee of any

14· attorney of record in this cause, nor do I have a

15· financial interest in the action.

16· · · ·Subscribed and sworn to on this the 11th day of

17· April, 2022.

18

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20
· · · · · · · · · · · _____________________________________
21· · · · · · · · · · DONNA QUALLS
· · · · · · · · · · · Notary Public in and for
22· · · · · · · · · · The State of Texas
· · · · · · · · · · · My Commission expires 11/02/2022
23
· · · · · · · · · · · Magna Legal Services
24· · · · · · · · · · Firm Registration No. 633
· · · · · · · · · · · 16414 San Pedro, Suite 900
25· · · · · · · · · · San Antonio, Texas 78232
· · · · · · · · · · · (210)· 697-3400


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                 Exhibit 40




                         OCA-APPX-0678
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                         OCA-APPX-0679
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                         OCA-APPX-0680
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                 Exhibit 41




                         OCA-APPX-0681
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                         OCA-APPX-0682
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                         OCA-APPX-0683
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                 Exhibit 42




                         OCA-APPX-0684
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                                       IN THE UNITED STATES DISTRICT COURT
                                        FOR THE WESTERN DISTRICT OF TEXAS
                                               SAN ANTONIO DIVISION


                 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                                        Plaintiffs,

                               v.                                           Civil Action No. 5:21-cv-844 (XR)
                                                                            (consolidated cases)
                 GREGORY W. ABBOTT, et al.,

                                        Defendants.




                                             DECLARATION OF BOB KAFKA

            My name is Bob Kafka. I am over the age of 21 and fully competent to make this declaration.

            Under penalty of perjury, I declare the following based upon my personal knowledge:

            1.       I am the coordinator of REVUP-Texas (“REVUP”), as well as one of three Board members.

            2.       REVUP stands for Register, Educate, Vote, Use Power.

            3.       REVUP is a statewide, non-partisan, nonprofit grassroots organization that was formed in

            2015.

            4.       REVUP is a member-based organization whose members are primarily individuals with

            disabilities. REVUP currently has about 500 members spread out across Texas. REVUP members

            with disabilities participate in and help guide the direction of REVUP’s efforts.

            5.       REVUP’s members include voters who are eligible to vote by mail.

            6.       Since its inception, REVUP’s mission has been to empower persons with disabilities

            through voter registration and assistance, issue advocacy, mobilization and organizing. REVUP

            typically engages in a variety of advocacy efforts on behalf of its members, which includes



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            supporting certain policies at local and state legislative bodies, as well as outreach to members to

            support these policies. This advocacy involves outreach to its members and others in the disability

            community through in-person events and trainings.

            7.       A primary focus of accomplishing REVUP’s mission is registering persons with

            disabilities, and their allies, to vote. REVUP therefore spends significant time to get as many of

            these individuals registered to vote as it can. A corollary focus is educating REVUP members and

            the broader disability community about issues that impact their lives.

            8.       To further REVUP’s mission to register persons with disabilities, REVUP participates in

            National Voter Registration Day, and National Disability Voter Registration Week, which is

            coordinated nationwide by the American Association of People with Disabilities.

            9.       To further REVUP’s mission to educate its members and the disability community about

            registering to vote and about issues that impact them, REVUP has a dedicated website, a podcast

            series entitled “Use Your Power,” and a presence on social media (e.g., Facebook, Instagram, and

            Twitter).

            10.      REVUP also produces PSAs to educate and inform its members and the broader disability

            community about voter registration and issues that impact their lives.

            11.      SB 1’s passage, however, forced REVUP to shift its focus away from its established voter

            registration and education efforts and instead focus on educating voters about SB 1’s changes to

            the mail-in-voting process, changes that place new barriers on getting a mail-in ballot.

            12.      Prior to SB 1’s enactment, REVUP’s plans were to devote substantial time and resources

            on educating its members and the disability community about issues that affect their lives. Instead,

            much time and resources were diverted to producing and disseminating podcasts and informational

            materials focused on SB 1, including changes and barriers to the new vote-by-mail process.




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            13.      Educating REVUP’s members and others about the risks of improper rejection of a mail-

            in ballot hampers REVUP’s mission of expanding voter registration and increasing voter turnout

            of persons with disabilities.

            14.      REVUP has very limited resources—members do not pay dues—so that time and resources

            spent producing and disseminating informational materials and podcasts, answering calls and

            emails, and updating its website to explain the changes and barriers to mail-in-voting, are resources

            it would otherwise spend elsewhere.

            15.      REVUP’s voter registration and get out the vote efforts, as well as its goal of empowering

            the disability community to become a constituency, are undercut when persons with disabilities

            vote-by-mail but have their ballots or applications rejected due to an immaterial identification

            issue.

            16.      Because of SB 1 and its changes to the mail-in-voting process, REVUP has had to expend

            some of its extremely limited financial resources on getting its website updated and for American

            Sign Language interpreters for its SB 1 podcasts and trainings.

            17.      Unless and until SB 1’s vote-by-mail requirements are changed, REVUP’s voter

            registration and get out the vote efforts and its policy advocacy will continue to suffer because

            REVUP will need to continue to spend time and resources educating and warning its members

            about these onerous and immaterial requirements.



            This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury that the
                                                       May 22, 2023 | 11:25 AM CDT
            foregoing is true and correct. Executed on _____________, at Austin, Texas.



                                                                  Bob Kafka




                                                             3
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                 Exhibit 43




                         OCA-APPX-0688
  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 689 of 2308




              Transcript of the Testimony of
                            Bob Kafka


                                Date:
                           April 07, 2022



                                Case:
LA UNION DEL PUEBLO ENTERO vs GREGORY W. ABBOTT




                           OCA-APPX-0689
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     Bob Kafka                                                             April 07, 2022
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·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO,· ·)
· · et al,· · · · · · · · · · · · )
·4· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·5· v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-844-XR
· · · · · · · · · · · · · · · · · )
·6· GREGORY W. ABBOTT, et al.,· · )
· · · · · Defendants.· · · · · · ·)
·7· ______________________________________________________________
· · OCA-GREATER HOUSTON, et al.,· )
·8· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·9· v.· · · · · · · · · · · · · · )· ·Case No. 1:21-cv-780-XR
· · · · · · · · · · · · · · · · · )
10· JOHN SCOTT, et al.,· · · · · ·)
· · · · · Defendants.· · · · · · ·)
11· ______________________________________________________________
· · HOUSTON JUSTICE, et al.,· · · )
12· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
13· v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-848-XR
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14· GREGORY WAYNE ABBOTT, et al., )
· · · · · Defendants.· · · · · · ·)
15· ______________________________________________________________
· · LULAC TEXAS, et al.,· · · · · )
16· · · · Plaintiffs,· · · · · · ·)
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17· v.· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · )· ·Case No. 1:21-cv-0786-XR
18· · · · · · · · · · · · · · · · )
· · JOHN SCOTT, et al.,· · · · · ·)
19· · · · Defendants.· · · · · · ·)
· · ______________________________________________________________
20· MI FAMILIA VOTA, et al.,· · · )
· · · · · Plaintiffs,· · · · · · ·)
21· · · · · · · · · · · · · · · · )
· · v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-0920-XR
22· · · · · · · · · · · · · · · · )
· · GREG ABBOTT, et al.,· · · · · )
23· · · · Defendants.· · · · · · ·)
· · ______________________________________________________________
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     Bob Kafka                                                             April 07, 2022
                                                                                   Page 2


·1· UNITED STATES OF AMERICA,· · ·)
· · · · · Plaintiff,· · · · · · · )
·2· · · · · · · · · · · · · · · · )
· · v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · · · )
· · THE STATE OF TEXAS, ET AL.,· ·)
·4· · · · Defendants· · · · · · · )
· · ______________________________________________________________
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·9
· · · · · · · · · · ·VIDEOTAPED ORAL DEPOSITION OF
10
· · · · · · · · · · · · · · · ·BOB KAFKA
11
· · · · · · · · · · · · · · ·April 7, 2022
12
· · * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
13

14

15· · · · · · ·VIDEOTAPED ORAL DEPOSITION OF BOB KAFKA, produced as

16· a witness at the instance of the Office of the Attorney

17· General, and duly sworn, was taken in the above-styled and

18· numbered cause on the 7th day of April, 2022, from 10:12 a.m to

19· 4:25 p.m., before Dottie Norman, Certified Shorthand Reporter

20· in and for the State of Texas, reported by machine shorthand,

21· at the Offices of Disability Rights Texas, 2222 W. Braker Lane,

22· Austin, Texas, pursuant to the Federal Rule of Civil Procedure

23· 30(b)(6) and the provisions stated on the record.

24

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   Bob Kafka                                                             April 07, 2022
                                                                                 Page 3


·1· · · · · · · · · · · · A P P E A R A N C E S

·2· FOR DISABILITY RIGHTS TEXAS:

·3· · · · By:· LIA SIFUENTES DAVIS
· · · · · · · · · ·-and-
·4· · · · · · ·LUCIA ROMANO
· · · · · 2222 W. Braker Lane
·5· · · · Austin, Texas· 78758
· · · · · 512.454.4816
·6

·7· FOR ACLU FOUNDATION OF TEXAS, INC.:

·8· · · · By:· THOMAS BUSER-CLANCY
· · · · · · · · · · -and-
·9· · · · · · ·SAVANNAH KUMAR (Present from 1:30 p.m. - 4:25 p.m.)
· · · · · 5225 Katy Freeway, Suite 350
10· · · · Houston, Texas· 77007
· · · · · 713.942.8146
11

12· FOR THE OFFICE OF THE ATTORNEY GENERAL:

13· · · · By:· ERIC A. HUDSON, Senior Special Counsel
· · · · · · · · · ·-and-
14· · · · · · ·KATHLEEN HUNKER (Via Zoom)
· · · · · P.O. Box 12548 (MC-009)
15· · · · Austin, Texas· 78711-2548
· · · · · 512.463.2100
16

17· FOR THE BEXAR COUNTY DISTRICT ATTORNEY'S OFFICE:

18· · · · By:· LISA V. CUBRIEL
· · · · · 101 W. Nueva, 7th Floor
19· · · · San Antonio, Texas· 78205
· · · · · 210.335.2311
20· · · · (Via Zoom)

21· ALSO PRESENT:
· · · · · Manuel Martin, Videographer
22· · · · Michael Stewart:· United States of America (via Zoom)
· · · · · Shira Wakschlag:· HAUL Plaintiffs (via Zoom)
23· · · · Anthony Nelson:· ·Travis County Defendants (via Zoom)
· · · · · Courtney Hostetler:· Mi Familia Vota (via Zoom)
24· · · · Leigh Tognetti (via Zoom)
· · · · · Sam Fishman (via Zoom)
25· · · · Nick Adkins (via Zoom)
· · · · · Julia Longoria (via Zoom)


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·1· header Topics on it --
·2· · · · A.· ·Uh-huh.
·3· · · · Q.· ·-- which I believe is the last complete page.
·4· · · · A.· ·Got it.
·5· · · · Q.· ·So you understand today that you're here to testify
·6· on behalf of REVUP, right?
·7· · · · A.· ·Correct.
·8· · · · Q.· ·First off, can you describe to the Court what REVUP
·9· is?
10· · · · A.· ·REVUP is a statewide nonpartisan, nonprofit created
11· to increase the involvement of people with disabilities and
12· allies in the electoral process.· REVUP is -- stands for
13· Register, Educate, Vote, Use your Power.· The disability vote
14· has not been seen as an entity to have involvement in the
15· electoral process.· So that was why REVUP was created and its
16· mission.
17· · · · Q.· ·So you see there where it says Topics For
18· Examination at the top of the page?
19· · · · A.· ·Right.
20· · · · Q.· ·Okay.· We have Topics 1 through 10 on the first
21· page.· Do you see that?
22· · · · A.· ·Yes, sir.
23· · · · Q.· ·Are you here to testify on behalf of REVUP for
24· Topics 1 through 10?
25· · · · A.· ·Yes, sir.

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·1· · · · · · · · ·And actually the Governor election when Greg
·2· Abbott was running against Wendy Davis, uh, it became apparent
·3· that this was going to be a high-visibility election,
·4· especially with, you know, then Attorney General Abbott being a
·5· person with a disability and then Wendy Davis being very high
·6· visibility as her time in the legislature.· So that we thought
·7· it was time to start to create an entity that would focus on,
·8· in a nonpartisan way, the disability vote and to sort of begin
·9· to make the point that even though people with disabilities do
10· vote, the candidates and policymakers don't really think of it
11· as an entity.· So that really was the motivation for developing
12· REVUP.
13· · · · Q.· ·So what year did the organization REVUP actually
14· form?
15· · · · A.· ·2015.
16· · · · Q.· ·And you mentioned it's nonpartisan.· So, for
17· instance, in the circumstance with Governor Abbott -- now
18· Governor Abbott and then I believe Representative Davis REVUP
19· didn't take a position with regard to any partisan issue?
20· · · · A.· ·No.· We're strictly nonpartisan.· We reach out to
21· both parties equally.
22· · · · Q.· ·When REVUP was formed, can you tell me a little bit
23· about the structure of the organization?
24· · · · A.· ·Yeah.· We have a three-member board that, you know,
25· that -- basically a president, secretary and a director.· And

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·1· they meet on an annual basis.· We have a membership and that --
·2· the membership doesn't elect the board.· The board is
·3· self-electing and basically does all the legal requirements in
·4· terms of financial, signing contracts and such.
·5· · · · Q.· ·When you say the members don't elect the board, how
·6· does REVUP fund board members?
·7· · · · A.· ·Basically, our -- we outreach in terms of people who
·8· are interested.· And the -- since the board elects itself, if
·9· people are interested, that is brought up.· And if there's
10· going to be any turnover, that is how, you know, we would
11· consider a new board member.· And the board can expand.· Up to
12· now we have not expanded past the three board members.
13· · · · Q.· ·With regard to funding, how is REVUP funded?
14· · · · A.· ·It's totally grass roots.· We don't get any federal,
15· state or local funds.· We're a relatively small nonprofit.                   I
16· would like to say that we punch above our weight in terms of
17· influence with very little funding.
18· · · · Q.· ·Let me ask you this.· So I don't usually share
19· personal details about myself in deposition, but I'll share
20· this one because I think it might be relevant to what we're
21· doing here.· So once upon a time I was on the United Way board.
22· And one of the things United Way did was they funded smaller
23· organizations within communities to see that they had funding
24· for whatever services they were providing.
25· · · · · · · · ·So when you say you're grass roots only -- uh,

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·1· the example of the United Way, you don't have organizations
·2· like United Way or any other large organization funding you?
·3· · · · A.· ·No.
·4· · · · Q.· ·How many members does REVUP have?
·5· · · · A.· ·We approximate 500.· And that's because our
·6· membership criteria is being involved, so we have to
·7· approximate.· But what we have said when asked, approximately
·8· 500 that we have an impact around.· They don't have a
·9· membership list per se.
10· · · · Q.· ·Well, if you don't have a membership list, how do
11· you determine how many members roughly that you have?
12· · · · A.· ·We use an interesting concept that we're actually
13· kind of proud of.· The way we have organized and the way we
14· have -- in fact I said -- punch above our weight is that we
15· send out information through organizations, individuals.· And
16· then they disseminate.· And people who get involved in the
17· organization we consider members.· Though it's not the
18· traditional way members are seen, it has really gotten us a way
19· of, in our mission, of educating and disseminating information.
20· And so that is why when we say we have approximately 500 -- it
21· could be much larger than that because of the way we define
22· "member."
23· · · · Q.· ·Do members pay dues?
24· · · · A.· ·No, no dues.
25· · · · Q.· ·Do members donate?

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·1· submit things.· I would hesitate a guess.
·2· · · · Q.· ·Let's talk a little bit about how your organization
·3· is divvied up.· Now, I understood you to say that the goal of
·4· REVUP is to have influence on, in a nonpartisan way, policy
·5· decisions that impact issues around people with disabilities.
·6· · · · A.· ·Uh-huh.
·7· · · · Q.· ·Is that fair?
·8· · · · A.· ·Yeah.
·9· · · · Q.· ·Programmatically, how is REVUP divided?
10· · · · A.· ·Basically, we use the acronym as the way we design
11· what we do both in terms of our advocacy for -- or the
12· involvement.· Obviously register.· So voter registration
13· programs and outreach to try to get as many people with
14· disabilities and allies registered.
15· · · · · · · · ·Then, which is a major piece of our work, is
16· educating the disability community on some of the issues that
17· are impacting their lives.· Even though they know it
18· personally, uh, we talk about how those are being impacted by
19· policymaking.
20· · · · · · · · ·And then the V, the vote, the get out the vote,
21· we have a big push.· So most of our work is focused around
22· those three areas.· And since voting is our prime mission,
23· that's actually how the group got named and -- you know, in its
24· goal and mission.
25· · · · Q.· ·With regard to registration, what activities in the

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·1· last six to seven years has REVUP engaged in?
·2· · · · A.· ·Yeah.· We participate basically with register to
·3· vote.· It's an online attempt to register people.· We have
·4· developed a relationship with that organization.· Especially
·5· because of the pandemic, in-person registration drives have
·6· been difficult.· And so we were trying to think of a way to be
·7· able to continue to outreach during a period of time when there
·8· were not going to be a lot of in-person, especially since
·9· people with disabilities are more vulnerable.· And I say that
10· because -- you know, we have tried to shun the term
11· "vulnerable" for years, but the pandemic has flipped that on
12· its head.· So we had to find ways to register people to get
13· them involved.· And so that area.
14· · · · · · · · ·We also participate in an annual National
15· Disability Voter Registration Week which is coordinated by the
16· American Association of People with Disabilities nationwide.
17· And then we also participate in the National Disability Reg --
18· not Disability.· National Voter Registration Day which is held.
19· So we have tried to target our registration attempts focused on
20· both local and national registration drives.
21· · · · Q.· ·So, if I understand you correctly, you have engaged
22· in online registration efforts?
23· · · · A.· ·Yeah, as much as possible.· Texas doesn't have
24· online voter registration, but there is a way that -- legally
25· to be able to do it so that people can use an app.· Then we

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·1· · · · A.· ·Intermediate Care Facilities.
·2· · · · Q.· ·I'm sorry?
·3· · · · A.· ·Intermediate Care Facility.
·4· · · · Q.· ·Okay.
·5· · · · A.· ·Yeah.
·6· · · · Q.· ·All right.· I wanted to make sure those acronyms got
·7· into the record for the benefit of the Court.
·8· · · · · · · · ·So let me see if I can focus this down.· With
·9· regard to education, can you tell me about what REVUP does with
10· regard to education as it relates to voting?
11· · · · A.· ·Oh, well, we send out inform -- well, first we have
12· our social media.· We have a website.· We have a podcast called
13· Use Your Power, and we have done webinars.· We have on our
14· website some of the things that we have done in the past,
15· specifically on voting.· I apologize because I thought you
16· meant what did we do in terms of education on issues.· So I
17· apologize for the long soliloquy on issues there.· But -- so
18· basically information fliers in terms of that.· And that gets
19· put on all our social media.· We have an Instagram and a
20· YouTube.· We have done quite a bit and I think we have
21· submitted some of the media that we have done to promote voting
22· both -- again, in the three areas, registra -- mostly
23· registration and getting out the vote.
24· · · · Q.· ·With regard to the social media, you mentioned
25· Instagram.· You mentioned YouTube.· Do you have any other

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·1· social media for REVUP?
·2· · · · A.· ·Yeah.· I mean, like I said I don't know -- I'm not
·3· -- we have a Facebook page and we have a website.
·4· · · · Q.· ·In addition to the Facebook page and the website,
·5· any other social media?
·6· · · · A.· ·I don't believe so.
·7· · · · Q.· ·So no Twitter?
·8· · · · A.· ·Oh, actually we do.· I'm showing my age.                 I
·9· apologize.· We don't have TikTok.· That's the one thing I do
10· know.· I really am -- show my age about social media.· But, you
11· know, we have young people that are starting to bring me into
12· the 21st Century I suppose.
13· · · · Q.· ·Yeah, well, don't feel too bad.· I'm graying myself,
14· so --
15· · · · · · · · ·So let's talk a little bit about the social
16· media.· So what kind of information do you put on your social
17· media?
18· · · · A.· ·All relevant to the three -- you know, in the
19· acronym.· Power, just one example.· We have had podcasts on
20· various different issues in terms of -- we have had different
21· groups that have been affected by voting and giving some of the
22· issues.
23· · · · · · · · ·On Facebook we put all our documents and some of
24· our media that we develop, specifically PSAs.· You know, that's
25· the type of information we put on there mostly, again, all

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·1· nonpartisan, all meant to basically get people knowledgeable
·2· about, as best we can, the dates.· And, you know, we hope that
·3· that information is then disseminated through the local
·4· communities.
·5· · · · Q.· ·Do you send out any hard copy documents with regard
·6· to voting?
·7· · · · A.· ·Very -- very little in terms of hard copies.· We do
·8· most of it through -- you know, electronically.
·9· · · · Q.· ·Do you do any trainings on voting?
10· · · · A.· ·We have done -- I think we have done a webinar on --
11· I don't know if you would call it a training per se, but
12· basically on -- mostly informational type webinar.
13· · · · Q.· ·When did that webinar take place?
14· · · · A.· ·I would have to go back and check if I may.
15· · · · Q.· ·Are there any other efforts -- let's see if we can
16· go through.· We have talked about social media.· You use
17· Facebook, Twitter, Instagram, YouTube, right?
18· · · · A.· ·Yeah.
19· · · · Q.· ·You also have a podcast?
20· · · · A.· ·Yeah.
21· · · · Q.· ·Is that available on Apple?
22· · · · A.· ·No, it's just available on our website.· And we
23· disseminate it through just our -- the networks on e-mail and
24· things like that.
25· · · · Q.· ·With regard to YouTube, do you post videos?

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·1· · · · A.· ·Yeah.· Again, I would have to go back and ask the
·2· people, but we also put -- the podcast is -- excuse me.· The
·3· podcast is also -- excuse me -- is also shown on the YouTube
·4· channel.
·5· · · · Q.· ·You said you also do some hard copy documents.· You
·6· have also done a webinar --
·7· · · · A.· ·Yeah.
·8· · · · Q.· ·-- training on voting?
·9· · · · A.· ·Right.
10· · · · Q.· ·Since Senate Bill 1 passed and was signed by the
11· Governor, have you had to amend any of that?
12· · · · A.· ·Well, we have had to move our focus.· You know,
13· again, when I started going through the litany of education
14· issues, a lot of that has taken a back seat since SB 1.                  I
15· think about five or six of our podcasts have related directly
16· to Senate Bill 1 where our original plans was to start doing a
17· much more intensive, you know, education on those issues that I
18· mentioned previously in terms of that.· So Senate Bill 1 has
19· taken, you know, at least on the podcasts and our document
20· development, much more of our time.
21· · · · Q.· ·Let me see if I can ask the question a different way
22· because I think what I'm asking is slightly different than what
23· you're answering.
24· · · · A.· ·Okay.
25· · · · Q.· ·Maybe I can break this out just a little bit.

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·1· · · · · · · · ·REVUP posted on Facebook before Senate Bill 1
·2· passed, right?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·So in the time period between Senate Bill 1 passing
·5· and 2015, REVUP made posts on Facebook?
·6· · · · A.· ·Sure.
·7· · · · Q.· ·Have you made posts on Facebook since Senate Bill 1
·8· passed?
·9· · · · A.· ·Yes.
10· · · · Q.· ·Did you have to go back and change any of the
11· Facebook posts on account of Senate Bill 1 passing?
12· · · · A.· ·No, but it was -- you know, the focus of the posts
13· were different because of Senate Bill 1 because of the need to
14· focus on -- because we were getting quite a bit of calls --
15· phone calls from people, you know, because -- you know, as --
16· you know, the news was so focused on the voting bill, you know,
17· and the -- the special sessions that -- so that -- that really
18· changed our -- you know, how our time and resources were spent.
19· · · · Q.· ·With regard to your website, did you have to change
20· anything related to voting on your website on account of --
21· · · · A.· ·Well --
22· · · · Q.· ·On account of Senate Bill 1?
23· · · · A.· ·Yeah.· I mean, Senate Bill 1 caused us actually to
24· sit down with our webmaster.· And we had to spend -- we're
25· still in the process of spending time developing so that we

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·1· could specifically get more information targeted to what the
·2· new SB 1 because, again, there was such misinformation.· And
·3· the chilling effect that we got just -- just from the multitude
·4· of phone calls that we got from around the state and feedback
·5· that we got from various different organizations about, you
·6· know, so many of the sections of the bill, you know, because
·7· people are not policy wonks.· So that -- that is why we spend
·8· an inordinate amount of time with our webmaster about re --
·9· redesigning so that we could focus on that.
10· · · · Q.· ·What's your webmaster's name?
11· · · · A.· ·His name is (mumbling) Nathan Freeze.
12· · · · Q.· ·Freeze like you freeze an ice cube or Friese as in
13· --
14· · · · A.· ·No, like an ice --
15· · · · Q.· ·-- F-r-i-e-s-e?
16· · · · A.· ·Like an ice cube.
17· · · · Q.· ·Got you.
18· · · · · · · · ·With regard to your Twitter account, I presume
19· REVUP posted on Twitter before Senate Bill 1?
20· · · · A.· ·Yes.
21· · · · Q.· ·Have you had to go back and change any of your
22· tweets on account of Senate Bill 1?
23· · · · A.· ·The only way I can answer that is that just what the
24· -- what the Twitter type things were posted.· And, again, I
25· don't -- one of our volunteers posts that.· But, again, it

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·1· would be posting more of our SB 1 focus than on other areas,
·2· which we would have done had SB 1 not been, you know, enacted.
·3· · · · Q.· ·With regard to Instagram, did REVUP post on
·4· Instagram before Senate Bill 1?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·Have you had to go back and amend anything you've
·7· put on Instagram?
·8· · · · A.· ·Just the same answer basically.· It's what was put
·9· on, you know, since SB 1 rather than -- we continued to do
10· Instagram, but it was the content of what was placed on SB 1.
11· · · · Q.· ·I want to make sure that the record is clear on
12· this.· So the answer is no, you haven't had to go back and
13· change anything that you posted before Senate Bill 1?
14· · · · A.· ·Well, we didn't -- we continued to post.· The
15· content of what we posted changed because it was more focused
16· on SB 1.
17· · · · Q.· ·Right.· My question -- all I'm asking is:· Have you
18· gone back and changed anything that you posted prior to Senate
19· Bill 1 on account of Senate Bill 1?· Let me see if I can put it
20· like this.
21· · · · A.· ·Okay.· If you could explain that.
22· · · · Q.· ·Yeah.· If you posted something about voting in 2020,
23· have you had to go back and change what you posted in 2020 on
24· account of Senate Bill 1?
25· · · · A.· ·Only the -- not changing maybe what we posted in

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·1· 2020, but what we posted post-SB 1 was focused on SB 1.
·2· · · · Q.· ·Got you.· So I think it's fair to say for Facebook,
·3· Twitter, your website, Instagram, YouTube, your podcasts your
·4· position is your focus has been geared towards Senate Bill 1
·5· since it passed.· Is that fair?
·6· · · · A.· ·I think, yeah, predominantly, yes.
·7· · · · Q.· ·But it's also true that you haven't had to go back
·8· and change anything on any of that social media that predated
·9· Senate Bill 1 on account of Senate Bill 1?
10· · · · A.· ·Only where it related to what we had before, the
11· actual language change.· You know, we may not have changed the
12· document per se, but the information was different than it
13· would have been previous to SB 1, slight -- you know, any
14· updating.· I mean, you have pre-bill and then you have post the
15· bill.
16· · · · Q.· ·Okay.· So I can make it clear on the record, I just
17· want to make sure the Court understands this.· So when you're
18· talking about changing things, I understand you to be saying
19· that you're posting new information on your social media that
20· explains the changes that came about on account of Senate Bill
21· 1; is that right?
22· · · · A.· ·Correct.
23· · · · Q.· ·All right.· And so you didn't go back and change
24· anything that predated Senate Bill 1, right?
25· · · · A.· ·No.

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·1· exactly how all that works.· But they are -- you know, we -- we
·2· meet, you know, on an ongoing basis.· So how it actually
·3· technologically works is above my pay grade, so to speak.
·4· · · · Q.· ·No, understood.· I'm just trying to figure out --
·5· you say volunteers are operating the social media accounts,
·6· right?
·7· · · · A.· ·Correct.
·8· · · · Q.· ·So there's no money coming out of REVUP's pocket, so
·9· to speak, to pay for the people who are operating the social
10· media?
11· · · · A.· ·No.· We do -- we do pay one person's expenses.· We
12· give it a stipend of 100 a month to do our podcast.· But that
13· is not -- it's not a salary.· It's basically to offset her
14· expenses, but that's the only.· But the webmaster is paid.
15· · · · Q.· ·Do you take a salary?
16· · · · A.· ·No.
17· · · · Q.· ·I presume the board doesn't either?
18· · · · A.· ·No, nobody on the board.
19· · · · Q.· ·Can you tell me what you contend is any negative
20· impact that you, you being REVUP, have suffered on account of
21· Senate Bill 1?
22· · · · A.· ·You mean me specifically?· No.
23· · · · Q.· ·I don't mean Bob Kafka.
24· · · · A.· ·Right.
25· · · · Q.· ·I mean REVUP.· So with regard to Senate Bill 1, can

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·1· you tell me what impact that's had on REVUP?
·2· · · · A.· ·Well, it has -- like I said, it has sort of
·3· redirected our focus -- short term I hope -- in terms of what
·4· the impact of the requirements, and specifically, you know, the
·5· section in terms of the -- the ID requirements.· And then
·6· specifically also on the assistant area.· Those two focuses
·7· have been -- I would say the most of the questions that we have
·8· gotten and focused on in terms of changing REVUP.· Again,
·9· ironically, our focus was -- since I talked about community
10· integration, was to get people to the polls.· So some of the
11· things in SB 1 plus the pandemic made us focus more on the
12· mail-in ballot area.· So that's why SB 1 itself really sent a
13· shockwave, sort of a chilling message because at the same time
14· that the pandemic -- and people with disabilities are
15· particularly -- and I hate to use the word, but I'll use it
16· again -- more vulnerable because of that.· So it basically
17· focused more on mail-in ballot and then SB 1 just made that
18· process more difficult.
19· · · · Q.· ·What's REVUP's view on whether community integration
20· is better served by in-person versus mail-in voting?
21· · · · A.· ·As a general philosophy, we believe integration into
22· the general public as much as possible whether it's in voting,
23· whether it's in terms of transportation, housing.· There's a
24· long history of people being warehoused, segregated, apart from
25· everything.· I mean, we have come a long way from the

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·1· Legislature and signed by Governor Abbott?
·2· · · · A.· ·Right.
·3· · · · Q.· ·Okay.
·4· · · · A.· ·Yeah.
·5· · · · Q.· ·All right.· So -- and let me just ask so the record
·6· is clear.· You have understood that that's what I have been
·7· referring to when I have been talking about Senate Bill 1?
·8· · · · A.· ·I hope so, otherwise we've been spending a lot of
·9· time --
10· · · · Q.· ·I just want to make sure.· It's -- you know, I have
11· a lot of cases with -- things with Senate Bill -- insert
12· number.
13· · · · A.· ·Right.
14· · · · Q.· ·And, you know, sometimes -- every legislature has a
15· Senate Bill 1.
16· · · · A.· ·Right.
17· · · · Q.· ·So, you know, just want to make sure.
18· · · · A.· ·Yeah.· Yeah, I understand.
19· · · · Q.· ·All right.· So, with that in mind, can you tell me
20· how much time REVUP has spent in changing its focus and trying
21· to reach its target audience about changes from the Senate Bill
22· 1?
23· · · · A.· ·You know, I can't give a percentage exactly, but it
24· feels like almost everything -- I mean, SB 1 has sort of been
25· like hovering over because of its, you know, impact in the

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·1· media, both in print and, you know, all over social media.· And
·2· it also has coincided with the increase of the disability vote
·3· because of some of the work that we had done since our creation
·4· and work that had been done not just by us, but other
·5· organizations.· So, you know, the good part is that the number
·6· of people who were more involved in the voting process is a
·7· positive.· But then SB 1 just caused that to, you know, take up
·8· a predominant amount of our time.· So it seems like it's
·9· omnipresent.
10· · · · Q.· ·So even today?
11· · · · A.· ·Oh, yeah.· I mean, it continued in terms -- you
12· know, we are gearing up now for the -- getting people educated
13· on the runoff and so the debacle in terms of the mail-in ballot
14· in the original primary, 24,000, you know, rejections.· So
15· people are going -- we're going to be spending a lot of time
16· trying to make sure that doesn't occur again.· But, you know, I
17· think that's why we're here.
18· · · · Q.· ·Well, let me ask you this:· You spent time educating
19· voters in advance of the primary, right?
20· · · · A.· ·Uh-huh.
21· · · · Q.· ·And you have been training them on what Senate Bill
22· 1 requires, right?
23· · · · A.· ·Yeah, but it was un -- even for those who had been
24· following that there was a lot of confusion about.· And the
25· Secretary of State did not issue some of the information in a

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·1· · · · A.· ·We are going to try to get them information.· The --
·2· the real issue is in terms of the -- the makeup of the various
·3· groups and the complexity of Senate Bill 1 that has been
·4· difficult.· You know, those of us -- you know, I have a college
·5· education and trying to understand it.· We try to put it in a
·6· format that is understandable.· But, you know, again -- and
·7· this is not stereotypic, but so many of our members are low
·8· income, on Medicaid.· And some of the information is difficult.
·9· And, obviously, we don't hit every person with a disability in
10· terms of the network.· So even though -- you know, we attempt.
11· That's our mission.· You know, the overall population is so
12· large.· You know, I just looked before I came here.· You know,
13· there are about three to five million people with disabilities,
14· according to the Governor's Committee on People with
15· Disabilities that have disabilities, you know, under the age of
16· 65, not even counting those over.· So, again, we would, even
17· with our information, only touch a portion of the potential
18· voting group, so --
19· · · · Q.· ·Okay.· My question is a little bit simpler than the
20· one you just answered.· I'm just asking:· The education that
21· you're trying to do right now for the May primary, is that
22· based on your current understanding of Senate Bill 1?
23· · · · A.· ·Yes.· Sorry to spend all that time for a yes answer.
24· · · · Q.· ·All right.· So as part of this lawsuit, REVUP will
25· have spent at least two elections training voters with

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·1· · · · · · · · · · · · CHANGES AND SIGNATURE
·2· · · · · · · · · BOB KAFKA· · · April 7, 2022
·3· PAGE· LINE· · ·CHANGE· · · · · · · · · · · · · REASON
·4· _______________________________________________________________
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·1· · · · · · ·I, BOB KAFKA, have read the foregoing deposition and

·2· hereby affix my signature that same is true and correct, except

·3· as noted above.

·4· · · · · · · · · · · · · · ·__________________________________

·5
· · STATE OF TEXAS· · · · )
·6
· · COUNTY OF TRAVIS· · · )
·7

·8· · · · · · · · ·Before me ____________________ on this day

·9· personally appeared BOB KAFKA, known to me or proved to me

10· under oath or through ____________________ (description of

11· identity card or other document) to be the person whose name is

12· subscribed to the foregoing instrument and acknowledged to me

13· that they executed the same for the purposes and consideration

14· therein expressed.

15· · · · · · ·Given under my hand and seal of office this ______

16· day of ____________________, 2022.

17

18

19

20· · · · · · · · · · · · · · ·_________________________________
· · · · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
21· · · · · · · · · · · · · · ·THE STATE OF TEXAS

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·1· · · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO,· ·)
· · et al,· · · · · · · · · · · · )
·4· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·5· v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-844-XR
· · · · · · · · · · · · · · · · · )
·6· GREGORY W. ABBOTT, et al.,· · )
· · · · · Defendants.· · · · · · ·)
·7· ______________________________________________________________
· · OCA-GREATER HOUSTON, et al.,· )
·8· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·9· v.· · · · · · · · · · · · · · )· ·Case No. 1:21-cv-780-XR
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10· JOHN SCOTT, et al.,· · · · · ·)
· · · · · Defendants.· · · · · · ·)
11· ______________________________________________________________
· · HOUSTON JUSTICE, et al.,· · · )
12· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
13· v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-848-XR
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14· GREGORY WAYNE ABBOTT, et al., )
· · · · · Defendants.· · · · · · ·)
15· ______________________________________________________________
· · LULAC TEXAS, et al.,· · · · · )
16· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
17· v.· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · )· ·Case No. 1:21-cv-0786-XR
18· · · · · · · · · · · · · · · · )
· · JOHN SCOTT, et al.,· · · · · ·)
19· · · · Defendants.· · · · · · ·)
· · ______________________________________________________________
20· MI FAMILIA VOTA, et al.,· · · )
· · · · · Plaintiffs,· · · · · · ·)
21· · · · · · · · · · · · · · · · )
· · v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-0920-XR
22· · · · · · · · · · · · · · · · )
· · GREG ABBOTT, et al.,· · · · · )
23· · · · Defendants.· · · · · · ·)
· · ______________________________________________________________
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·1· UNITED STATES OF AMERICA,· · ·)
· · · · · Plaintiff,· · · · · · · )
·2· · · · · · · · · · · · · · · · )
· · v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · · · )
· · THE STATE OF TEXAS, ET AL.,· ·)
·4· · · · Defendants· · · · · · · )
· · ______________________________________________________________
·5
· · · · · · · · · · · · REPORTER'S CERTIFICATION
·6· · · · · · · · · ·VIDEOTAPED ORAL DEPOSITION OF
· · · · · · · · · · · · · · · ·BOB KAFKA
·7· · · · · · · · · · · · · ·April 7, 2022

·8· · · · · · · · ·I, DOTTIE NORMAN, Certified Shorthand Reporter

·9· in and for the State of Texas, hereby certify to the following:

10· · · · · · · · ·That the witness, BOB KAFKA, was duly sworn by

11· the officer and that the transcript of the oral deposition is a

12· true record of the testimony given by the witness;

13· · · · · · · · ·I further certify that pursuant to FRCP Rule

14· 30(f)(1) that the signature of the deponent:

15· · · · · · · · ·X· · · ·was requested by the deponent or a party

16· before completion of the deposition and returned within 30 days

17· from date of receipt of the transcript.· If returned, the

18· attached Changes and Signature Page contains any changes and

19· the reasons therefor;

20· · · · · · · · ·_______ was not requested by the deponent or a

21· party before the completion of the deposition.

22· · · · · · · · ·I further certify that I am neither attorney nor

23· counsel for, related to, nor employed by any of the parties to

24· the action in which this testimony was taken.· Further, I am

25· not a relative or employee of any attorney of record in this


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·1· cause, nor am I financially or otherwise interested in the

·2· outcome of the action.

·3· · · · · · · · ·Subscribed and sworn to on this the ________ day

·4· of ______________, 2022.

·5

·6

·7· · · · · · · · · · · · _____________________________
· · · · · · · · · · · · · DOTTIE NORMAN, Texas CSR 2283
·8· · · · · · · · · · · · Expiration Date:· 8/31/2023
· · · · · · · · · · · · · Magna Legal Services
·9· · · · · · · · · · · · Firm Registration No. 633
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                 Exhibit 44




                         OCA-APPX-0719
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                         OCA-APPX-0720
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                         OCA-APPX-0722
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                         OCA-APPX-0724
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                         OCA-APPX-0725
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                         OCA-APPX-0726
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                         OCA-APPX-0727
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                         OCA-APPX-0728
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                         OCA-APPX-0729
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                 Exhibit 45




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                                        IN THE UNITED STATES DISTRICT COURT
                                         FOR THE WESTERN DISTRICT OF TEXAS
                                                SAN ANTONIO DIVISION


               LA UNIÓN DEL PUEBLO ENTERO, et al.,

                                        Plaintiffs,

                                v.                                             Civil Action No. 5:21-cv-844 (XR)
                                                                               (consolidated cases)
               GREGORY W. ABBOTT, et al.,

                                        Defendants.




                                         DECLARATION OF YVONNE IGLESIAS

            My name is Yvonne Iglesias. I am over the age of 21 and fully competent to make this declaration.

            Under penalty of perjury, I declare the following based on my personal knowledge:

                 1. I am an eligible and registered voter in Hidalgo County, Texas.

                 2.   I am a person who is paralyzed, experiences consistent muscle spasms, and is blind in one

                      eye.

                 3. Since at least 2006, I have voted in most elections, both federal and state. I vote for the best

                      candidate for me and my issues, whether they are Republican, Democrat, or other political

                      party candidates. I believe I included my voter registration card identification and other

                      identification as requested when applying and voting by mail. Since 2006, I have voted by

                      mail the same way each year and did not have any problems and my votes counted.

                 4. In the 2022 November elections, after the passage of SB 1, I submitted an application to

                      vote-by-mail.




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                 5.   I completed my application to vote-by-mail and sent it to the election office in Hidalgo

                      County, Texas, just as I have since 2006, when my ballot was accepted and my votes were

                      counted. I followed up on my application by calling the election office in Hidalgo County,

                      Texas, well before the 2022 November election to confirm that my application was

                      received. During this call, I was informed by a Hidalgo County election official that my

                      vote-by-mail application had been rejected for an ID-related reason.

                 6. The election official explained to me what ID number to write on my application, which I

                      did, and then resubmitted my voter application.

                 7. After submitting my second vote-by-mail application, I again reached out to the elections

                      office for Hidalgo County, Texas, several days before the November 2022 election to

                      confirm that my second application was received and accepted. I was again informed by

                      an election official from Hidalgo County, Texas, that my second vote-by-mail application

                      was rejected for an ID-related reason and because it had arrived too late.

                 8. Because I am unable to travel on short notice, as my disabilities require me to engage in

                      significant coordination to arrange appropriate, accessible transportation, I was unable to

                      vote in the November 2022 election.

                 9. Because of my disabilities, voting by mail remains the only form of voting that is accessible

                      to me, but I no longer have confidence that I will be able to vote in the future as a result of

                      the changes brought about by SB 1. Even after revising my ID number per the instructions

                      of a county election official, my application to vote by mail was still rejected despite no

                      issues applying to vote by mail in the previous fifteen years. I still do not understand why

                      both of my applications were rejected.




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                 10. I am a member of The Arc Texas and REVUP Texas. I became a member of these

                     organizations because voting as a person with a disability is important to me. My sister,

                     before she passed away, always stressed to me the importance of voting. I vote now in

                     honor of her memory of this important right.



              This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury that

              the foregoing is true and correct. Executed on this 12th day of May, 2023, at Hidalgo County,

              Texas.



                                                                    Yvonne Iglesias




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                 Exhibit 46




                         OCA-APPX-0735
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                                       IN THE UNITED STATES DISTRICT COURT
                                        FOR THE WESTERN DISTRICT OF TEXAS
                                               SAN ANTONIO DIVISION


              LA UNIÓN DEL PUEBLO ENTERO, et al.,

                                         Plaintiffs,

                               v.                                              Civil Action No. 5:21-cv-844 (XR)
                                                                               (consolidated cases)
              GREGORY W. ABBOTT, et al.,

                                         Defendants.




                                       DECLARATION OF LAURA HALVORSON


            My name is Laura Halvorson. I am over the age of 21 and fully competent to make this

            declaration. Under penalty of perjury, I declare the following based upon my personal knowledge:

                     1.      I am a 39-year-old woman who currently lives in Bexar County, Texas. I registered

                     to vote for the first time after I turned 18 and sometime before the 2004 presidential election

                     in which I voted.

                     2.      Between 2004 and 2014, I was a registered voter in the Dallas metro area where I

                     lived. During this decade, I lived at times in Dallas, Denton, and Collin counties and

                     updated my registration to ensure I could vote each time after I moved.

                     3.      In 2015, I moved out of state and updated my registration to Virginia. When I

                     returned to Texas at the end of 2019, I registered to vote again in Texas, this time in Bexar

                     County. I have been continually registered to vote in Bexar County, Texas since 2019.

                     4.      Voting is important to me. I have voted in every presidential election since 2004

                     and most other local and state elections since then.


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                     5.      I am a member of REVUP Texas (“REVUP”) and The Arc of Texas.

                     6.      From talking to members of REVUP, I learned that Texas has some of the lowest

                     voter turnout in the nation. In 2014, I was Ms. Wheelchair Texas and I made voting part of

                     my platform that year. I have stayed involved with REVUP since then, including

                     participating with the REVUP Virginia chapter while I lived there. When I returned to

                     Texas in 2019, I resumed my membership with REVUP Texas.

                     7.      I was a member of the National Council on Independent Living’s Voting Rights

                     Committee from 2016-2020 and had extensive social media engagement during this time

                     with #CripTheVote to encourage voter turnout amongst people with disabilities.

                     8.      I have several disabilities that substantially limit several major life activities. I have

                     a very progressive form of Muscular Dystrophy that substantially limits my mobility

                     (including walking, standing, lifting, and bending), ability to complete my activities of

                     daily living (ADLs) necessary to care for myself, and my breathing. I am on a BIPAP

                     breathing machine 24 hours a day, require attendant care for 90% of my ADLs, and use a

                     power wheelchair for all mobility. My conditions also cause me severe pain.

                     9.      Because of my Muscular Dystrophy, I require assistance for all gross motor skills

                     like reaching for objects, grasping/holding objects, and pressing buttons. Because of my

                     disabilities, I require what is known as “total care” from caregivers with essentially all

                     activities of daily living including cooking, dressing, and bathing.

                     10.     I also have to have someone with me at all times because my chronic neuromuscular

                     respiratory failure requires use of a BIPAP Ventilator 24 hours a day, 7 days a week, and

                     if it became unplugged or unhooked, I could not survive more than a few minutes. I have

                     been on my BIPAP Ventilator full time since about March 2017.




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                     11.     Because of my chronic neuromuscular respiratory failure, even a mild cough can

                     quickly become serious and possibly fatal. As a result, during the COVID-19 pandemic,

                     my medical providers have advised me to avoid public spaces and crowds, and this is still

                     their advice for me due to my high risk, even as many others have resumed “normal” life

                     without the precautions many took during the height of the pandemic.

                     12.     How I have voted has changed over time as my Muscular Dystrophy has progressed

                     and the pandemic also changed my method of voting. In 2004 – 2014, when I was voting

                     in the Dallas metro area, I typically voted early in person. During one of the last elections,

                     poll workers did adjust the voting screen so that I could reach it and mark my vote.

                     13.     In Virginia, I typically voted curbside during early voting. During the one or two

                     times I went inside a polling place in person, poll workers brought me to the front of the

                     line so I did not have to wait, and I was given a paper ballot which I could mark without

                     assistance. Since that time, my disabilities have progressed and marking a paper ballot

                     without assistance is painful and difficult.

                     14.     Since I returned to Texas, I have voted in Bexar County. I voted in the 2020

                     presidential primaries in person during early voting. I required total assistance from my

                     personal care attendant. They drove me to the polling place, helped me get out of my

                     wheelchair accessible van, and put on a mask to protect me from COVID-19 because I

                     could not lift my hands to do these activities for myself. While I am able to move my

                     powerchair myself, they had to open doors for me to enter the building. I waited in a very

                     short line and when it was my turn, I approached the poll worker. My personal care

                     attendant then had to remove my Texas ID from my wallet and give it to the poll worker

                     who confirmed my voter registration.




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                     15.     The poll worker administered the oath to my personal care attendant. The poll

                     worker then gave my attendant the number to input into the voting machine since I could

                     not lift my hands to take the number. Because I could not lift my hands or press the button

                     on the voting machine, my personal care attendant input my number into the machine and

                     then marked who I told her I wanted to vote for. When the voting machine printed my

                     ballot, I was not able to grasp the ballot myself so my personal care attendant had to take

                     my ballot and cross the room with me to deposit it into the ballot box.

                     16.     By the time of the next election, COVID-19 cases were significantly higher and the

                     lines were very long, even during early voting, so I used curbside vote during the November

                     2020 election in Bexar County. My boyfriend drove me to the polling place because I could

                     not because of my disabilities. When we arrived, I called for curbside voting. After about

                     twenty minutes, a poll worker came outside and my boyfriend got out my ID and gave it

                     to the poll worker since I did not have the motor function to get out my ID or hand it to the

                     worker. They returned with a form for my boyfriend to complete and administered the oath

                     to him so that he could assist me with voting. The poll worker than handed the voting tablet

                     to my boyfriend. I did not have the ability to press the screen so I told my boyfriend who I

                     wanted to vote for and he pressed the screen for me.

                     17.      I curbside voted again in Bexar County during a 2021 local election. My boyfriend

                     drove me again and had to assist me in much the same way—he had to get out my ID and

                     give it to the poll worker and also had to hold the tablet and press buttons for me to

                     designate who I wanted to vote for since I could not do so because of my disabilities.

                     18.     I had applied to vote by mail as a person with a disability after my return to Texas

                     in 2020 because I was not sure what would happen with COVID and with my disabilities,




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                     and I did not know how crowded the polling places would be. Since I was able to vote

                     curbside in the 2020 elections, I had not tried to vote by mail-in ballot until this year.

                     19.     I voted by mail-in ballot during the March 2022 primary elections. My personal

                     care attendants check and bring in my mail for me and one of them brought in my ballot.

                     At the time, the assistor’s oath still limited assistance to reading the ballot, marking the

                     ballot, or directing me to do those things. My personal care attendant was not willing to

                     assist me with opening or marking my ballot—as a green card holder, she was unwilling

                     to take the oath to assist me (in person or by mail) because she was afraid of the threat of

                     criminal prosecution and the impact on her legal status. Because she was not able to help

                     me, I had to open and mark the ballot myself. Because of my disabilities, it took me four

                     different times to mark my ballot—I could only hold the pen for short periods of time

                     without my hand cramping and it also took a lot of energy and time to turn the ballot around

                     on my table to position it so that I could fill in the bubble for who I wanted to vote for.

                     After about ten minutes during which I would mark a few candidates, I would have to rest

                     for about thirty minutes before I could try to hold a pen and mark the ballot again. All in

                     all, it was very difficult for me to vote and the process was ultimately spread across two

                     days.

                     20.     Similarly, it took me a lot of time to complete the information on the envelope and

                     seal the envelope. Because of my gross motor difficulties, my signature changes day-to-

                     day and my handwriting when printing can become difficult to read. Because of this, I was

                     afraid my ballot would be rejected for not having the correct ID number. I also had great

                     difficulty pressing hard enough to sign over the envelope flap.




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                     21.     I submitted my mail-in ballot before the due date and it was shown as received on

                     February 26 on the Secretary of State’s website; however, it was not marked as accepted

                     until well after the election when I looked online at the time. If there had been a problem

                     with my ballot – like if I had transposed numbers in my Texas ID number, my handwriting

                     had been illegible, or I hadn’t been able to press hard enough for the signature on the

                     envelope flap, I would not have been able to correct my ballot and my vote would have

                     been thrown out.

                     22.     Because of how long it took to process my March 2022 primary mail-in ballot, I do

                     not trust voting by mail because if I am unable to mark the ballot hard enough with the pen

                     or transpose two numbers in my ID, I would not be notified with enough time to be able to

                     correct my ballot or early vote in person, which means I would not get to vote at all.

                     23.     Because of my experience in March 2022, I voted in person in November 2022

                     during the general election so that I could be sure my vote counted. Before the November

                     election, I spent several hours over the course of several days researching the voting

                     machines available in Bexar County, including watching instructional videos and emailing

                     elections officials to try to confirm availability of remotes for the voting machines. When

                     I did not get an answer to my email, my father went to my polling place a few days before

                     I did to confirm they had the devices I needed to vote.

                     24.     When I arrived at my polling place, I went to the sign-in table, which was so

                     crowded that there were people hovering over me, not wearing masks. Voting in person

                     put my health at risk—my personal care attendant and I were the only ones wearing masks.

                     This is one of the only public places I have gone since mid-2020 other than a medical office

                     or pharmacy.




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                     25.     I surrendered my mail-in ballot and handed over my ID. After I received my ballot,

                     my personal care attendant accompanied me to the machine. Though it is my understanding

                     that the oath for assistors is no longer so limited, I was still uncomfortable placing my

                     attendant, who is a woman of color, in that position given that there is so much confusion

                     around the law, so I did not ask for her assistance other than for her to monitor my ventilator

                     in case there were any issues with it.

                     26.     The poll worker brought me over to the machine and plugged in the remote so that

                     I could vote. I started to operate the remote and it was not working—the directions were

                     reversed from what the buttons indicated (up was down, left was right, etc.). The poll

                     worker did not know how to operate it and so was unable to help other than to ask if I was

                     “pressing the buttons,” which I was.

                     27.     Once I figured out the remote, which took several minutes, I came to the first name

                     on the screen and discovered the font was so large that it cut off part of the candidate’s

                     name and their party. Most of the names on the ballot had at least part of the name or party

                     designation cut off, making it hard to identify who I wanted to vote for and taking

                     additional time. Later I discovered this was likely because the large font feature had been

                     turned on, even though I did not require a large font to read the ballot.

                     28.     On the summary screen, it was again very difficult to see my choices and confirm

                     I’d voted for the candidates I wanted to vote for. After I had confirmed my choices, it took

                     several additional minutes to figure out how to navigate with the remote to print my ballot.

                     29.     After my ballot printed, I took it across the room and adjusted the height and angle

                     of my power wheelchair so that I could just barely reach the place to put my ballot into the

                     ballot box. This also took several minutes.




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                     30.     From the time I turned over my ID at the sign-in table to the time I submitted my

                     ballot, it took over thirty minutes for me to vote in person.

                     34.     While I would like to vote by mail in the future, or have the option to do so when

                     my health makes going in public more dangerous, I want to know that my ballot will be

                     counted. My experience in March 2022 makes me worry my ballot will not be counted in

                     the future and I will not know of errors until it is too late to fix them or to vote in person.

                     31.     As a person with a disability, I already face significant barriers to vote and SB 1

                     has already made it harder for me to vote in 2022 and will continue to make it harder for

                     me to vote in the future. I am disappointed that the state is working to make elections less

                     accessible for people like me.


            This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury that the
                                                        May 24, 2023 | 10:54 AM EDT
            foregoing is true and correct. Executed on _______________ , at Bexar County, Texas.




                                                                             Laura Halvorson




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                 Exhibit 47




                         OCA-APPX-0744
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                                        IN THE UNITED STATES DISTRICT COURT
                                         FOR THE WESTERN DISTRICT OF TEXAS
                                                SAN ANTONIO DIVISION


               LA UNIÓN DEL PUEBLO ENTERO, et al.,

                                        Plaintiffs,

                               v.                                              Civil Action No. 5:21-cv-844 (XR)
                                                                               (consolidated cases)
               GREGORY W. ABBOTT, et al.,

                                        Defendants.




                                           DECLARATION OF TAYLOR SCOTT

            My name is Taylor Scott. I am over the age of 21 and fully competent to make this declaration.

            Under penalty of perjury, I declare the following based on my personal knowledge:

                 1. I am an eligible and registered voter in Hidalgo County, Texas.

                 2. I am diagnosed with Cerebral Palsy, I am blind in one eye, and use a power wheelchair.

                 3. My mom, Anne Scott, helps me with many things, such as filling out voting applications.

                 4. I have a Texas identification card, but it had expired before the election between Trump

                     and Biden.

                 5. I do have a United States passport.

                 6. In the election between Beto and Abbott, I tried to vote by mail. My mom filled out the

                     application to vote by mail and read it to me before it was sent in. I signed the application.

                 7. We put my passport number on the application to vote by mail.




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                 8. I never received a ballot, so my mom took me to vote in person. It was very difficult for

                     me to vote in person because of my disabilities. I successfully used my passport number

                     to vote in person.

                 9. I am a member of The ARC of Texas and REVUP.



              This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury that
                                                               May 22, 2023 | 10:19 AM EDT
              the foregoing is true and correct. Executed on                      , at Cameron County, Texas.




                                                                   Taylor Scott




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                 Exhibit 48




                         OCA-APPX-0747
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                                        IN THE UNITED STATES DISTRICT COURT
                                         FOR THE WESTERN DISTRICT OF TEXAS
                                                SAN ANTONIO DIVISION


               LA UNIÓN DEL PUEBLO ENTERO, et al.,

                                        Plaintiffs,

                                v.                                           Civil Action No. 5:21-cv-844 (XR)
                                                                             (consolidated cases)
               GREGORY W. ABBOTT, et al.,

                                        Defendants.




                                             DECLARATION OF ANNE SCOTT

             My name is Anne Scott. I am over the age of 21 and fully competent to make this declaration.

             Under penalty of perjury, I declare the following based on my personal knowledge:

                 1. I am an eligible and registered voter in Hidalgo County, Texas.

                 2. I am the mother of Taylor Scott. Taylor is also an eligible and registered voter in Hidalgo

                     County, Texas.

                 3. Taylor is medically fragile. She is diagnosed with Cerebral Palsy, is blind in one eye, and

                     uses a power wheelchair for mobility as she cannot walk independently. Taylor’s

                     disabilities substantially limit several life activities, including walking, speaking,

                     communicating, and caring for herself.

                 4. Taylor’s disabilities also impact her ability to speak and communicate with people who are

                     unfamiliar with her speech patterns. Many people who do not know her may not understand

                     her.

                 5. Due to Taylor’s disabilities, I assist her with many things, including voting.




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                 6. Taylor has a valid U.S. passport. She also has a state-issued identification card, but this ID

                     expired during the COVID-19 pandemic in October 2020. Due to Taylor’s disabilities and

                     medical fragility, we were unable to go in person to have her identification card renewed.

                     Her state-issued identification card is still expired.

                 7. In the November 2022 election, I helped Taylor apply to vote by mail. I thought that we

                     could not use Taylor’s expired state identification card number on the mail-in-ballot

                     application, so we used her U.S. passport number. Taylor did not receive a ballot in return

                     after sending in her application to vote-by-mail in November 2022.

                 8. Because Taylor never received any notification as to whether or why her application to

                     vote by mail was rejected, she never had an opportunity to cure her application.

                 9. When the ballot did not arrive for Taylor, I took her to vote in person. Because of Taylor’s

                     disabilities and medical fragility, we are very cautious about taking her out in public due

                     to COVID, so it was a risk to take her to vote in person. Taylor was able to vote in person

                     using her U.S. passport as identification.

                 10. I never influence my daughter’s voting. My daughter votes independently and she tells me

                     she disagrees with some of the candidates who I support.

                 11. Taylor and I are members of REVUP and The Arc of Texas.

                 12. My daughter and I receive email communications from REVUP and The Arc of Texas.



              This Declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury that
                                                               May 18, 2023 | 3:43 PM PDT
              the foregoing is true and correct. Executed on ___________, at County of Hawaii, Hawaii.



                                                                     Anne Scott




                                                        OCA-APPX-0749
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                 Exhibit 49




                         OCA-APPX-0750
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                             IN THE UNITED STATES DISTRICT
                            COURT FOR THE WESTERN DISTRICT
                             OF TEXAS SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al.,

                  Plaintiffs’,
                                                 Civil Action No. 5:21-CV-844 (XR)
                       v.                        (Consolidated Cases)

STATE OF TEXAS, et al.,

                 Defendants.


      DEFENDANT ISABEL LONGORIA’S OBJECTIONS AND ANSWERS TO
             PLAINTIFFS’ FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendant Isabel

Longoria, in her official capacity as Harris County Elections Administrator, serves her

Objections and Answers to Plaintiffs’ First Set of Interrogatories in the above-captioned actions.

Dated: May 13, 2022.                              Respectfully submitted,


                                                  __/s/ Christina M. Beeler
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                                                  Christina M. Beeler




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                                   Attorneys for Defendant ISABEL
                                   LONGORIA, in her Official Capacity as
                                   Harris County Elections Administrator




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                                   GENERAL OBJECTIONS

1. Defendant Longoria objects to these Interrogatories, including the instructions and definitions,

   to the extent they purport to impose upon Defendant Longoria any obligations different from,

   or greater than, those established or required by the Federal Rules of Civil Procedure.

                             ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1: State the following data regarding ABBMs and mail ballots from
the March 1, 2022 primary election:

                a. Number of ABBMs received by the County;
                b. Number of ABBMs the County flagged for rejection because of an
                   application defect of any kind;
                c. Number of ABBMs that the County ultimately accepted after an applicant
                   cured a recorded defect of any kind;
                d. Number of ABBMs the County flagged for rejection because of an
                   Omission Defect;
                e. Number of ABBMs the County flagged for rejection because of a Mismatch
                   Defect;
                f. Number of ABBMs that the County ultimately accepted after an applicant
                   cured either a Mismatch Defect or Omission Defect;
                g. Number of carrier envelopes the County received and reviewed for defects
                   of any kind;
                h. Number of carrier envelopes the County flagged for rejection because of a
                   defect of any kind;
                i. Number of mail ballots cancelled by voters who voted in person, either
                   using an ordinary or provisional ballot;
                j. Number of mail ballots that the County ultimately accepted and counted
                   after a voter cured a carrier envelope defect of any kind;
                k. Number of carrier envelopes the County flagged for rejection because of an
                   Omission Defect;
                l. Number of carrier envelopes the County flagged for rejection because of a
                   Mismatch Defect; and
                m. Number of ballots that the County ultimately accepted and counted after a
                   voter cured either a Mismatch Defect or Omission Defect.

ANSWER: Defendant objects to sub-parts c, f, k, and l because they are unduly burdensome, as
this data is not kept or recorded in a format that is readily searchable by query or readily accessible
and would require significant attorney and staff resources to compile. Subject to and without
waiver of the foregoing objections: The following data is based on best available information at
the time of these answers, and all numbers are approximate.

               a. 35,904




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               b. 17,049
               c. Defendant Longoria does not track this data.
               d. 3329
               e. 1787
               f. Defendant Longoria does not track this data.
               g. 36,878
               h. 7794
               i. 13
               j. 849
               k. Defendant Longoria does not track this data.
               l. Defendant Longoria does not track this data.
               m. 849

               Although Defendant Longoria objects to sub-parts k and l for the foregoing reasons,
               Defendant Longoria does have access to numbers for sub-parts k and l combined.
               The total number of carrier envelopes flagged for rejection because of either an
               omission defect or a mismatch defect during the March 1, 2022, primary is 7750.

               Please also see        documents     previously    produced     Longoria_005177-
               Longoria_005179.

INTERROGATORY NO. 2: State the following data regarding ABBMs and mail ballots
from the March 3, 2020 primary election:

            a. Number of ABBMs the County received;
            b. Number of ABBMs the County rejected;
            c. Number of carrier envelopes the County received and reviewed in processing
               ballots by mail;
            d. Number of carrier envelopes the County flagged for defects of any kind;
            e. Number of mail ballots cancelled by voters who voted in person, either using an
               ordinary or provisional ballot; and
            f. Number of carrier envelopes with defects of any kind that were cured and
               ultimately counted.

ANSWER: Defendant Longoria objects to sub-part f because it is unduly burdensome, as this data
is not kept or recorded in a format that is readily searchable by query or readily accessible and
would require significant attorney and staff resources to compile. Subject to and without waiver
of the foregoing objections: The following data is based on best available information at the time
of these answers, and all numbers are approximate.

               a. 70,990
               b. 6387
               c. 54,938
               d. 77
               e. 3516



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               f. Defendant Longoria does not track this data.

 INTERROGATORY NO. 3: State the following data regarding ABBMs and mail ballots from
 March 6, 2018 primary election:

            a. Number of ABBMs the County received;
            b. Number of ABBMs the County rejected;
            c. Number of carrier envelopes the County received and reviewed in processing
               ballots by mail;
            d. Number of carrier envelopes the County flagged for defects of any kind;
            e. Number of mail ballots cancelled by voters who voted in person, either using an
               ordinary or provisional ballot; and
            f. Number of carrier envelopes with defects of any kind that were cured and
               ultimately counted.

ANSWER: Defendant Longoria objects to sub-part f because it is unduly burdensome, as this data
is not kept or recorded in a format that is readily searchable by query or readily accessible and
would require significant attorney and staff resources to compile. Subject to and without waiver
of the foregoing objections: The following data is based on best available information at the time
of these answers, and all numbers are approximate.

               a. 64,689
               b. 5598
               c. 48,473
               d. 135
               e. 2425
               f. Defendant Longoria does not track this data.




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                 Exhibit 50




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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al., §
               Plaintiffs,          §
                                    §
v.                                  §                          5:21-CV-0844-XR
                                    §                          (Consolidated Cases)
GREGORY ABBOTT, et al.              §
               Defendants.          §

      DEFENDANT REBECCA GUERRERO’S OBJECTIONS AND RESPONSES TO
                    PLAINTIFFS’ INTERROGATORIES

TO:    Plaintiffs, by and through their attorneys of record.

       Comes now Defendant Rebecca Guerrero in her official capacity as Travis County Clerk

(Defendant), and hereby serves her Objections and Responses to Plaintiffs’ Interrogatories.

                      I.      RESPONSES TO INTERROGATORIES

1. State the following data regarding ABBMs and mail ballots from the March 1, 2022 primary
election:
a. Number of ABBMs received by the County;


RESPONSE:
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log
064.127321 (CONFIDENTIAL) 2022 Application Log (Active Apps from 12-1-21 to 1-14-22)


b. Number of ABBMs the County flagged for rejection because of an application defect of any
kind;


RESPONSE:
064.127321 (CONFIDENTIAL) 2022 Application Log (Active Apps from 12-1-21 to 1-14-
22).xlsx
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx



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064.127323 (CONFIDENTIAL) 2022 P22 App Rejections (FINAL).xlsx
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx
064.127325 (CONFIDENTIAL) 2022 P22 BB Rejections.xlsx
064.127327-064.127364 (ULTRASENSITIVE INFORMATION) 2022 SE22 App
Rejections.pdf


c. Number of ABBMs that the County ultimately accepted after an applicant cured a recorded
defect of any kind;


RESPONSE:
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx


d. Number of ABBMs the County flagged for rejection because of an Omission Defect;


RESPONSE:
064.127321 (CONFIDENTIAL) 2022 Application Log (Active Apps from 12-1-21 to 1-14-
22).xlsx
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx
064.127323 (CONFIDENTIAL) 2022 P22 App Rejections (FINAL).xlsx
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx
064.127325 (CONFIDENTIAL) 2022 P22 BB Rejections.xlsx


e. Number of ABBMs the County flagged for rejection because of a Mismatch Defect;


RESPONSE:
064.127321 (CONFIDENTIAL) 2022 Application Log (Active Apps from 12-1-21 to 1-14-
22).xlsx
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx
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064.127323 (CONFIDENTIAL) 2022 P22 App Rejections (FINAL).xlsx
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx
064.127325 (CONFIDENTIAL) 2022 P22 BB Rejections.xlsx


f. Number of ABBMs that the County ultimately accepted after an applicant cured either a
Mismatch Defect or Omission Defect;


RESPONSE:
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx


g. Number of carrier envelopes the County received and reviewed for defects of any kind;


RESPONSE:
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx


h. Number of carrier envelopes the County flagged for rejection because of a defect of any kind;


RESPONSE:
064.127321 (CONFIDENTIAL) 2022 Application Log (Active Apps from 12-1-21 to 1-14-
22).xlsx
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx
064.127323 (CONFIDENTIAL) 2022 P22 App Rejections (FINAL).xlsx
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx
064.127325 (CONFIDENTIAL) 2022 P22 BB Rejections.xlsx


i. Number of mail ballots cancelled by voters who voted in person, either using an ordinary or
provisional ballot;

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RESPONSE:
064.127961 Applications (CONFIDENTIAL).csv
064.127966 Ballots (CONFIDENTIAL).csv
064.127968 Cancelled or surrendered (CONFIDENTIAL).xlsx


j. Number of mail ballots that the County ultimately accepted and counted after a voter cured a
carrier envelope defect of any kind;


RESPONSE:
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx


k. Number of carrier envelopes the County flagged for rejection because of an Omission Defect;


RESPONSE:
064.127321 (CONFIDENTIAL) 2022 Application Log (Active Apps from 12-1-21 to 1-14-
22).xlsx
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx
064.127323 (CONFIDENTIAL) 2022 P22 App Rejections (FINAL).xlsx
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx
064.127325 (CONFIDENTIAL) 2022 P22 BB Rejections.xlsx


l. Number of carrier envelopes the County flagged for rejection because of a Mismatch Defect;
and


RESPONSE:
064.127321 (CONFIDENTIAL) 2022 Application Log (Active Apps from 12-1-21 to 1-14-
22).xlsx
064.127322 (CONFIDENTIAL) 2022 P22 - Ballot History Log.xlsx
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064.127323 (CONFIDENTIAL) 2022 P22 App Rejections (FINAL).xlsx
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx
064.127325 (CONFIDENTIAL) 2022 P22 BB Rejections.xlsx


m. Number of ballots that the County ultimately accepted and counted after a voter cured either a
Mismatch Defect or Omission Defect.


RESPONSE:
064.127324 (CONFIDENTIAL) 2022 P22 App Rejections (Includes Voters that Cured Rej).xlsx


2. State the following data regarding ABBMs and mail ballots from the March 3, 2020 primary
election:
a. Number of ABBMs the County received;


RESPONSE:
064.119779 2020 (CONFIDENTIAL) P20 BB - Judges 3.11.20.xlsx


b. Number of ABBMs the County rejected;


RESPONSE:
064.118513-064.119776 (CONFIDENTIAL) 2020 P20 App Rejection Notices.pdf
064.119777 (CONFIDENTIAL) 2020 P20 Application Rejections.xlsx
064.119779 2020 (CONFIDENTIAL) P20 BB - Judges 3.11.20.xlsx


c. Number of carrier envelopes the County received and reviewed in processing ballots by mail;


RESPONSE:
064.119779 2020 (CONFIDENTIAL) P20 BB - Judges 3.11.20.xlsx

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d. Number of carrier envelopes the County flagged for defects of any kind;


RESPONSE:
064.118513-064.119776 (CONFIDENTIAL) 2020 P20 App Rejection Notices.pdf
064.119777 (CONFIDENTIAL) 2020 P20 Application Rejections.xlsx
064.119779 2020 (CONFIDENTIAL) P20 BB - Judges 3.11.20.xlsx


e. Number of mail ballots cancelled by voters who voted in person, either using an ordinary or
provisional ballot; and


RESPONSE:
064.119779 2020 (CONFIDENTIAL) P20 BB - Judges 3.11.20.xlsx


f. Number of carrier envelopes with defects of any kind that were cured and ultimately counted.


RESPONSE:
064.119779 2020 (CONFIDENTIAL) P20 BB - Judges 3.11.20.xlsx


3. State the following data regarding ABBMs and mail ballots from the March 6, 2018 primary
election:
a. Number of ABBMs the County received;


RESPONSE:
064.128588 P18 BBM Ballots Sent (CONFIDENTIAL).XLS


b. Number of ABBMs the County rejected;



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RESPONSE:
Travis County Clerk’s Office Elections Division’s database in 2018 did not collect or track data
regarding the number of ABBMs rejected. Accordingly, Defendant Clerk Guerrero has no
information or data responsive to Interrogatory 3. (b.).


c. Number of carrier envelopes the County received and reviewed in processing ballots by mail;


RESPONSE:
064.128587 P18 Ballot Board (CONFIDENTIAL).xlsx


d. Number of carrier envelopes the County flagged for defects of any kind;


RESPONSE:
064.128587 P18 Ballot Board (CONFIDENTIAL).xlsx


e. Number of mail ballots cancelled by voters who voted in person, either using an ordinary or
provisional ballot; and


RESPONSE:
Travis County Clerk’s Office Elections Division’s database in 2018 only collected or tracked
data regarding mail ballots cancelled by voters who voted in person, using a provisional ballot.
See,
064.128589 P18 BBM Provisional Voters (CONFIDENTIAL).xlsx


f. Number of carrier envelopes with defects of any kind that were cured and ultimately counted.


OBJECTION:
Defendant Clerk Guerrero objects to the term “cured” as being undefined, vague and ambiguous.
Subject to and without waiving the forgoing objection[s], Defendant Clerk Guerrero responds as
follows:


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RESPONSE:
In 2018, no process existed to “cure” mail ballots with carrier envelope defects. Accordingly,
Defendant Clerk Guerrero has no information or data responsive to Interrogatory 3. (f.).


                                                       Respectfully submitted,

                                                       DELIA GARZA
                                                       County Attorney, Travis County
                                                       P. O. Box 1748
                                                       Austin, Texas 78767
                                                       Telephone: (512) 854-9513
                                                       Facsimile:    (512) 854-4808

                                              By:      /s/ Anthony J. Nelson
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                                                       State Bar No. 00796472
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                                                       ANTHONY J. NELSON
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                                                       PATRICK T. POPE
                                                       State Bar No. 24079151
                                                       Patrick.Pope@traviscountytx.gov

                                                       ATTORNEYS FOR DEFENDANTSREBECCA
                                                       GUERRERO AND JOSÉ GARZA, IN THEIR
                                                       OFFICIAL CAPACITIES AS TRAVIS
                                                       COUNTY CLERK, AND DISTRICT
                                                       ATTORNEY, RESPECTIVELY.

                                       CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on all parties and counsel of
record via electronic mail, as follows, on the 12th day of September, 2022.

                                                                /s/ Anthony J. Nelson
                                                                ANTHONY J. NELSON
                                                                PATRICK T. POPE
                                                                Assistant County Attorneys



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                 Exhibit 51




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,
                                Plaintiffs,
                                                            5:21-cv-844-XR
         v.


 GREGORY W. ABBOTT, et al.,
                               Defendants.
 OCA-GREATER HOUSTON, et al.,
                                Plaintiffs,
                                                            1:21-CV-0780-XR
         v.


 JANE NELSON, et al.,
                               Defendants.


   DEFENDANT HARRIS COUNTY ELECTIONS ADMINISTRATOR, CLIFFORD
   TATUM’S AMENDED RESPONSES AND OBJECTIONS TO OCA PLAINTIFFS’
                 FIRST SET OF INTERROGATORIES
TO: OCA Plainitffs, by and through their attorneys of record, Zachary Dolling, et al., Texas Civil
     Rights    Project,      1405     Montopolis        Drive,    Austin,      Texas       78741,
     zachary@texascivilrightsproject.org

       Defendant Clifford Tatum, in his official capacity at Harris County Elections

Administrator, pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure serves these

amended responses and objections to Plaintiffs’, OCA- Greater Houston, League of Women Voters

of Texas, REVUP-Texas, and Workers Defense Action Fund, First Set of Interrogatories.




                                                1

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Dated: May 5, 2023                        Respectfully submitted,


                                          /s/ Tiffany S. Bingham
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                                          TIFFANY S. BINGHAM
                                          Managing Counsel
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                                          Tiffany.Bingham@harriscountytx.gov
                                          OFFICE OF THE HARRIS COUNTY ATTORNEY
                                          1019 Congress Plaza, 15th Floor
                                          Houston, Texas 77002
                                          Telephone: (713) 274-5101
                                          Facsimile: (713) 755-8924

                                          Attorneys for Defendant Clifford Tatum, in his
                                          Official Capacity as Harris County Elections
                                          Administrator




                                      2

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 DEFENDANT TATUM’S OBJECTIONS AND RESPONSES TO OCA-PLAINTIFFS’
                FIRST SET OF INTERROGATORIES


INTERROGATORY NO. 1: For the November 2022 general election, and with respect only
to timely received applications for a ballot by mail (“ABBMs”), state:

OBJECTION: Defendant Tatum objects to this interrogatory as it is a compound interrogatory
consisting of discrete subparts. Defendant Tatum will respond as if each discrete subpart is a
separate interrogatory.


          a. The number of ABBMs received by Harris County.
                     RESPONSE: 82,276

          b. The number of ABBMs initially rejected by Harris County:

                  i. Pursuant to SB 1 Section 5.07 because the information required under Texas
                     Election Code Section 84.002(a)(1-a) included on the application did not
                     identify the same voter identified on the applicant’s application for voter
                     registration (i.e., pursuant to Texas Election Code § 86.001(f)).
                             RESPONSE: 1,556

                  ii. Pursuant to any other provision of the Texas Election Code.

                             RESPONSE: 892

          c. The number of ABBMs initially rejected by Harris County pursuant to SB 1 Section
             5.07 (i.e., pursuant to Texas Election Code § 86.001(f)) but later accepted because
             the applicant cured the defect necessitating rejection, whether via an online tool,
             through the mail, or in person. This includes curing through the submission of a
             subsequent ABBM.

                     RESPONSE: 732

          d. The number of ABBMs finally rejected by Harris County:

                  i. Pursuant to SB 1 Section 5.07 because the information required under Texas
                     Election Code Section 84.002(a)(1-a) included on the application did not
                     identify the same voter identified on the applicant’s application for voter
                     registration (i.e., pursuant to Texas Election Code § 86.001(f)).

                             RESPONSE: 677

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                ii. Pursuant to any other provision of the Texas Election Code.

                            RESPONSE: 582

         e. The number of ABBMs finally accepted by Harris County.

                   RESPONSE: 81,075

INTERROGATORY NO. 2: For the November 2022 general election, and with respect only
to timely received ballots by mail, state:
         a. The number of ballots by mail received by Harris County.

                    RESPONSE: 64,175

         b. The number of ballots by mail initially flagged for rejection by Harris County:

                 i. Pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 because the information
                    provided by the voter did not identify the same voter identified on the
                    voter’s application for voter registration (i.e., pursuant to Texas Election
                    Code §§ 87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)).

                                  RESPONSE: 4,751

                ii. Pursuant to any other provision of the Texas Election Code.

                                  RESPONSE: 117

         c. The number of ballots by mail initially flagged for rejection pursuant to SB
         1
            Sections 5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election Code §§
            87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)) but ultimately accepted because
            the voter cured the flagged defect, whether via an online tool, through the mail, or
            in person.

                    RESPONSE: 2,003

         d. The number of ballots by mail initially flagged for rejection pursuant to SB
         1
            Sections 5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election Code §§
            87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)) and then cancelled by the voter.
                    RESPONSE: 0
         e. The number of voters whose ballots by mail were initially flagged for rejection
            pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election
                                              4

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                Code §§ 87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)) who did not cure the
                flagged defect and then voted in person:

                   i. By casting a regular ballot.
                               RESPONSE: 9

                       ii. By casting a provisional ballot.
                               RESPONSE: 117
            f. The number of ballots by mail finally rejected by Harris County:

                    i. Pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 because the information
                       provided by the voter did not identify the same voter identified on the
                       voter’s application for voter registration (i.e., pursuant to Texas Election
                       Code §§ 87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)).

                                RESPONSE: 2,557

                   ii. Pursuant to any other provision of the Texas Election Code.

                              RESPONSE: 110

            g. The number of ballots by mail finally accepted by Harris County.
                              RESPONSE: 61,508

 INTERROGATORY NO. 3: For the November 2022 general election, state Harris County’s
 final rejection rate of timely received ABBMs, expressed as a percentage of all timely received
 ABBMs and rounded to two decimal places.
 RESPONSE:        1.47%

 INTERROGATORY NO. 4: State the difference, and indicate whether it is positive or negative,
 between the percentage set out in response to Interrogatory No. 3 and the final rejection rate of
 timely received ABBMs, expressed as a percentage of all timely received ABBMs and rounded
 to two decimal places, during:


            a. The November 2020 general election
            b. The November 2018 general election

OBJECTION: Defendant Tatum objects to this interrogatory because, at the time these
interrogatories were propounded, the scheduling order in this litigation limited discovery to matters
related to the 2022 general election (Dkt. 437). Thus, these requests were outside the scope of the

                                                     5

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discovery. Without waiving this objection, Defendant may supplement this response with data if it
can be obtained later.


 INTERROGATORY NO. 5: For the November 2022 general election, state Harris County’s
 final rejection rate of timely received ballots by mail, expressed as a percentage of all timely
 received ballots by mail and rounded to two decimal places.

               RESPONSE: 4.16%

 INTERROGATORY NO. 6: State the difference, and indicate whether it is positive or negative,
 between the percentage set out in response to Interrogatory No. 5 and the final rejection rate of
 timely received ballots by mail, expressed as a percentage of all timely received ballots by mail
 and rounded to two decimal places, during:
            a. The November 2020 general election

            b. The November 2018 general election

OBJECTION: Defendant Tatum objects to this interrogatory because, at the time these
interrogatories were propounded, the scheduling order in this litigation limited discovery to matters
related to the 2022 general election (Dkt. 437). Thus, these requests were outside the scope of the
discovery. Without waiving this objection, Defendant may supplement this response with data if it
can be obtained later.




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                 Exhibit 52




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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al., §
               Plaintiffs,          §
                                    §
v.                                  §                                 5:21-CV-0844-XR
                                    §                                 (Consolidated Cases)
GREGORY ABBOTT, et al.              §
               Defendants.          §



  DEFENDANT DYANA LIMON-MERCADO’S OBJECTIONS AND RESPONSES TO
          OCA PLAINTIFFS’ FIRST SET OF INTERROGATORIES

TO:     OCA Plaintiffs, by and through their attorneys of record.

        Comes now Defendant Dyana Limon-Mercado in her official capacity as Travis County

Clerk, and hereby serves their Objections and Responses to OCA Plaintiffs’ First Set of

Interrogatories.

                                                    Respectfully submitted,

                                                    DELIA GARZA
                                                    County Attorney, Travis County
                                                    P. O. Box 1748
                                                    Austin, Texas 78767
                                                    Telephone: (512) 854-9513
                                                    Facsimile:    (512) 854-4808

                                           By:      /s/ Anthony J. Nelson
                                                    LESLIE W. DIPPEL
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                                                    ANTHONY J. NELSON
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                                                    PATRICK T. POPE
                                                    State Bar No. 24079151
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Defendant Limon-Mercado’s Objections and Responses to OCA Plaintiffs’ First Set of Interrogatories


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                                                    ATTORNEYS FOR DEFENDANTS
                                                    DYANA LIMON-MERCADO AND JOSÉ
                                                    GARZA, IN THEIR OFFICIAL CAPACITIES
                                                    AS TRAVIS COUNTY CLERK, AND
                                                    DISTRICT ATTORNEY, RESPECTIVELY.



                                     CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on all parties and counsel of
record via electronic mail, as follows, on the 23rd day of March, 2023.

                                                             /s/ Anthony J. Nelson
                                                             ANTHONY J. NELSON
                                                             PATRICK T. POPE
                                                             Assistant County Attorneys




La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                          383.141 / 1112170.2 Page 2 of 6
Defendant Limon-Mercado’s Objections and Responses to OCA Plaintiffs’ First Set of Interrogatories


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                              I.       OBJECTIONS TO DEFINITIONS

          1.     Defendant Limon-Mercado objects to Plaintiff’s definition of “you” as including

“Travis County, including the Office of the Travis County Clerk, the Travis County Clerk, her

predecessors and successors...” This definition is overly broad and improperly includes prior

County Clerk administrations not included or the subject of this litigation. Additionally, said

definitions could be construed to require the disclosure of information concerning matters made

exempt from discovery under Federal Rule of Civil Procedure 26(b)(1) and the Federal Rules of

Evidence, including, but not limited to attorney work product, litigation privilege, deliberative

process privilege, grand jury proceedings, and ongoing criminal investigations.


    II.        RESPONSES AND OBJECTIONS TO OCA PLAINTIFFS’ FIRST SET OF
                               INTERROGATORIES

Interrogatory No. 1: For the November 2022 general election, and with respect only to timely
received applications for a ballot by mail (“ABBMs”), state:

          a. The number of ABBMs received by Travis County.

Response: 28,516.

          b. The number of ABBMs initially rejected by Travis County:

                 i. Pursuant to SB 1 Section 5.07 because the information required under
                 Texas Election Code Section 84.002(a)(1-a) included on the application
                 did not identify the same voter identified on the applicant’s application for
                 voter registration (i.e., pursuant to Texas Election Code § 86.001(f)).

Response: 761.

                 ii. Pursuant to any other provision of the Texas Election Code.

Response: 1,023.

        c. The number of ABBMs initially rejected by Travis County pursuant to SB 1 Section
5.07 (i.e., pursuant to Texas Election Code § 86.001(f)) but later accepted because the applicant
La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                          383.141 / 1112170.2 Page 3 of 6
Defendant Limon-Mercado’s Objections and Responses to OCA Plaintiffs’ First Set of Interrogatories


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cured the defect necessitating rejection, whether via an online tool, through the mail, or in
person. This includes curing through the submission of a subsequent ABBM.

Response: 190.

        d. The number of ABBMs finally rejected by Travis County:

                 i. Pursuant to SB 1 Section 5.07 because the information required under
                 Texas Election Code Section 84.002(a)(1-a) included on the application
                 did not identify the same voter identified on the applicant’s application for
                 voter registration (i.e., pursuant to Texas Election Code § 86.001(f)).

Response: 571.

                 ii. Pursuant to any other provision of the Texas Election Code.

Response: 815.

        e. The number of ABBMs finally accepted by Travis County.

Response: 26,732.

Interrogatory No. 2: For the November 2022 general election, and with respect only to timely
received ballots by mail, state:

        a. The number of ballots by mail received by Travis County.

Response: 21,443.

        b. The number of ballots by mail initially flagged for rejection by Travis County:

                 i. Pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 because the
                 information provided by the voter did not identify the same voter
                 identified on the voter’s application for voter registration (i.e., pursuant to
                 Texas Election Code §§ 87.0271(a)(4), 87.041(b)(8), and/or
                 87.0411(a)(4)).

Response: 827.

                 ii. Pursuant to any other provision of the Texas Election Code.

Response: 126.

       c. The number of ballots by mail initially flagged for rejection pursuant to SB 1 Sections
5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election Code §§ 87.0271(a)(4), 87.041(b)(8),


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Defendant Limon-Mercado’s Objections and Responses to OCA Plaintiffs’ First Set of Interrogatories


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and/or 87.0411(a)(4)) but ultimately accepted because the voter cured the flagged defect,
whether via an online tool, through the mail, or in person.

Response: 401.

       d. The number of ballots by mail initially flagged for rejection pursuant to SB 1 Sections
5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election Code §§ 87.0271(a)(4), 87.041(b)(8),
and/or 87.0411(a)(4)) and then cancelled by the voter.

Response: 0.

       e. The number of voters whose ballots by mail were initially flagged for rejection
pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 (i.e., pursuant to Texas Election Code §§
87.0271(a)(4), 87.041(b)(8), and/or 87.0411(a)(4)) who did not cure the flagged defect and then
voted in person:

                 iii. By casting a regular ballot.

Response: 0.

                 iv. By casting a provisional ballot.

Response: 27.

        f. The number of ballots by mail finally rejected by Travis County:

                 v. Pursuant to SB 1 Sections 5.12, 5.13, and/or 5.14 because the
                 information provided by the voter did not identify the same voter
                 identified on the voter’s application for voter registration (i.e., pursuant to
                 Texas Election Code §§ 87.0271(a)(4), 87.041(b)(8), and/or
                 87.0411(a)(4)).

Response: 418.

                 vi. Pursuant to any other provision of the Texas Election Code.

Response: 45.

        g. The number of ballots by mail finally accepted by Travis County.

Response: 20,980.

Interrogatory No. 3: For the November 2022 general election, state Travis County’s final
rejection rate of timely received ABBMs, expressed as a percentage of all timely received
ABBMs and rounded to two decimal places.


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Defendant Limon-Mercado’s Objections and Responses to OCA Plaintiffs’ First Set of Interrogatories


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Response: 4.86%.

Interrogatory No. 4: State the difference, and indicate whether it is positive or negative,
between the percentage set out in response to Interrogatory No. 3 and the final rejection rate of
timely received ABBMs, expressed as a percentage of all timely received ABBMs and rounded
to two decimal places, during:

        a. The November 2020 general election

Response: 1.33% of Submitted Applications for Mail Ballots Rejected in November 2020
General Election.

        b. The November 2018 general election

Response: 3.56% of Submitted Applications for Mail Ballots Rejected in November 2018
General Election.

Interrogatory No. 5: For the November 2022 general election, state Travis County’s final
rejection rate of timely received ballots by mail, expressed as a percentage of all timely received
ballots by mail and rounded to two decimal places.

Response: 2.16%.

Interrogatory No. 6: State the difference, and indicate whether it is positive or negative,
between the percentage set out in response to Interrogatory No. 5 and the final rejection rate of
timely received ballots by mail, expressed as a percentage of all timely received ballots by mail
and rounded to two decimal places, during:

        a. The November 2020 general election

Response: 0.42% of Mail Ballots Rejected in November 2020 General Election.

        b. The November 2018 general election

Response: Response: 0.47% of Mail Ballots Rejected in November 2018 General Election.




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Defendant Limon-Mercado’s Objections and Responses to OCA Plaintiffs’ First Set of Interrogatories


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                 Exhibit 53




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                 Exhibit 54




                         OCA-APPX-0784
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                               IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

     LA UNIÓN DEL PUEBLO ENTERO, et al.,                     §
           Plaintiffs,                                       §
                                                             §
     v.                                                      §      Case No. 5:21-cv-844-XR
                                                             §      [Lead Case]
     GREGORY W. ABBOTT, et al.,                              §
          Defendants.                                        §
                                                             §
     UNITED STATES OF AMERICA,                               §
           Plaintiff,                                        §
                                                             §
     v.                                                      §      Case No. 5:21-cv-1085-XR
                                                             §      [Consolidated Case]
     THE STATE OF TEXAS, ET AL.,                             §
           Defendants                                        §



           STATE DEFENDANTS’ SUPPLEMENTAL OBJECTIONS AND RESPONSES
              TO THE UNITED STATES’ SECOND SET OF INTERROGATORIES

    TO:      Plaintiff the United States of America, by and through their attorneys of record, Michael E.
             Stewart, Daniel J. Freeman, Richard Alan Dellheim, Dana Paikowsky, and Jennifer Yun,
             United States Department of Justice Civil Rights Division, 950 Pennsylvania Avenue NW,
             Washington, DC 20530

             Jane Nelson, in her official capacity as the Texas Secretary of State, and the State of Texas

    (collectively “State Defendants”1) hereby serve their Supplemental Objections and Responses to

    the United States’ Second Set of Requests for Interrogatories, pursuant to the Federal Rules of

    Civil Procedure. Because present circumstances prevent State Defendants from signing these

    responses, State Defendants’ counsel will serve properly executed interrogatory answers on the

    requesting party not later than 21 days after serving these unexecuted answers. See W.D. Tex.

    Local Rule CV-33(a).



1
    All previous references to “Defendants” have been changed to “State Defendants” for the sake of clarity.
                                                             1

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Date: January 19, 2023                      Respectfully submitted.

KEN PAXTON                                  WILLIAM T. THOMPSON
Attorney General of Texas                   Acting Chief, Special Litigation Unit
                                            Tex. State Bar No. 24088531
BRENT WEBSTER
First Assistant Attorney General            /s/ Kathleen T. Hunker
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                                            Counsel for State Defendants




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January, 2023, the attached State Defendants’
Supplemental Objections and Responses to the United States’ Second Request of Interrogatories
was served on opposing counsel via electronic mail.

                                                  /s/ Kathleen T. Hunker
                                                  KATHLEEN T. HUNKER
                                                  Special Counsel




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                                    GENERAL OBJECTIONS

       Under Rule 26(b)(1), the proper scope of discovery is limited to “any nonprivileged matter

that is relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R.

Civ. P. 26(b)(1) (2015). Among the considerations that are germane to that inquiry are “the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.” Id. The twin demands for

relevancy and proportionality “are related but distinct requirements.” Samsung Electronics Am.,

Inc. v. Chung, 321 F.R.D. 250, 279 (N.D. Tex. 2017). Thus, if the information sought is irrelevant

to the party’s claims or defenses, “it is not necessary to determine whether it would be proportional

if it were relevant.” Walker v. Pioneer Prod. Servs., Inc., No. CV 15-0645, 2016 WL 1244510, at

*3 (E.D. La. Mar. 30, 2016). Conversely, “relevance alone does not translate into automatic

discoverability” because “[a]n assessment of proportionality is essential.” Motorola Sols., Inc. v.

Hytera Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019). Accordingly, State Defendants

object to these requests to the extent that the information sought is either irrelevant or

disproportionate.

       State Defendants object to the definition of “conviction” or “convicted” as vague,

overbroad, and ambiguous. Specifically, the term “an admission or finding of guilt” is subject to

different interpretations. State Defendants understand the term to include pleas of guilt,

stipulations of guilt, and acknowledgments of the offense. Therefore, State Defendants understand

the terms “conviction” and “convicted” not to pertain to cases in which a defendant or suspect

pleaded nolo contendere or no contest, or to cases in which a defendant otherwise reached an

outcome that—though not a conviction by a judge or jury in a court of law—nonetheless involved

violation of Texas Law.


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       State Defendants also object to the definition of “impermissible in-person voter assistance”

as vague and ambiguous. Specifically, it is defined as “the acts of influencing or coercing a voter

in the presence of their ballot”; yet Interrogatory No. 4 seeks instances of “impermissible in-person

voter assistance” that occurred “by influencing or coercing a voter in the presence of their ballot.”

Therefore, this definition is tautological, and its meaning is not discernible. For this reason, State

Defendants interpret the term “impermissible in-person voter assistance” to mean any in-person

voter assistance that is not permissible.

       Finally, State Defendants object to the definition of “voting by impersonation” as vague

and ambiguous. The definition uses the term “vote harvesting,” which is not defined. Therefore,

State Defendants adopt the meaning of “vote harvesting” that State Defendants have otherwise

used in the course of this litigation. Furthermore, the definition of “voting by impersonation”

includes “improperly returning a ballot on behalf of another,” which is a broad, sweeping, and

undefined category of conduct. For this reason, the term “voting by impersonation” is vague and

ambiguous because it is not limited in scope. Hence, State Defendants interpret the term “voting

by impersonation” as those instances in which someone illegally votes as or on behalf of someone

who is eligible to vote that does not constitute vote harvesting.

       These answers and objections are made without waiving any further objections to, or

admitting the relevancy or materiality of, any of the information requested. All answers are given

without prejudice to State Defendants’ right to introduce or object to the discovery of any

documents, facts, or information discovered after the date hereof. Likewise, these answers and

objections are not intended to be, and shall not be construed as, agreement with the United States’

characterization of any facts, circumstances, or legal obligations. State Defendants reserve the right

to contest any such characterization as inaccurate and object to the Requests insofar as they contain

any express or implied assumptions of fact or law concerning matters at issue in this litigation.
                                                  4

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         State Defendants will provide their answers based on terms as they are commonly

understood and consistent with the Federal Rules of Civil Procedure. State Defendants object to

and will refrain from extending or modifying any words employed in the Requests to comport with

any expanded definitions or instructions. State Defendants will answer the Requests to the extent

required by the Federal Rules of Civil Procedure and the Local Rules of the Western District of

Texas.




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SPECIFIC OBJECTIONS AND RESPONSES TO THE UNITED STATES’ SECOND SET OF
                          INTERROGATORIES

INTERROGATORY NO. 4: State each instance in which a person has been convicted of violating
Texas law for providing or attempting to provide impermissible in-person voter assistance by
influencing or coercing a voter in the presence of their ballot, including but not limited to relevant
violations of Sections 64.012(a)(4), 64.036, 276.013(a)(1), and 276.013(a)(6) of the Texas Election
Code.

OBJECTIONS AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case and unduly burdensome, including for the reason that the United
States does not limit its request to particular date ranges or particular statutory provisions. To that end,
State Defendants object to this interrogatory to the extent that it requires State Defendants to search
and examine all case records without limitation to time or statutory provision. See Fed. R. Civ. P.
26(b)(1). The Office of the Attorney General of Texas began tracking, investigating, and prosecuting
election fraud cases in 2004. Therefore, State Defendants read this interrogatory to seek information
dating from 2004 to the present. Furthermore, the Office of the Attorney General of Texas may not be
aware of other prosecutions that may have been filed by criminal district attorneys.

        Additionally, State Defendants object to this Interrogatory to the extent that it calls for
information that is publicly available or otherwise equally accessible to the United States. In that same
vein, the Office of the Attorney General has already produced charts of pending and completed
prosecutions from the Office of the Attorney General, as well as copies of prosecution-diversion
agreement at bates stamped ranges STATE087312–STATE087395. Those materials represent a
summary of business records held by the Office of the Attorney General, and ascertaining the
information requested in this interrogatory will impose substantially the same burden on OAG as it
would Plaintiffs’ counsel. Fed. R. Civ. P. 33(d).

        Finally, State Defendants object to this interrogatory to the extent that it calls for information
subject to investigative privilege, attorney–client privilege, or attorney work-product privilege.
Because the Office of the Attorney General is actively involved in investigations and prosecutions of
election-related crimes, all three privileges likely apply to on-going investigations and prosecutions.

       Subject to and without waiving these objections, State Defendants answer as follows:

        The following table represents convictions for providing impermissible in-person voter
assistance by influencing or coercing a voter in the presence of his or her ballot but does not include
mere instances of such occurrences without convictions:




                                                    6

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14-CCR-02978-
C/14-CCR-
02998-C/14-
CCR-03000-                                                  Tex. Elec.
C/14-CCR-                                                   Code§§
03001-C/14-                                                 64.036,
CCR-03002-      Vicenta Verino Cameron         8/19/2015    86.010,    Pleaded Guilty
C/14-CCR-                      County                       86.0051,
03004-C/14-                                                 86.006
CCR-03005-
C/14-CCR-
03006-C/14-
CCR-03007-
C/14-CCR-
03008-C
CR-15-08767- E;
CR-15- 08768-E;
CR-15-08769-E;
CR-15-08770- E;
CR-15- 08771-E;
CR-15-08772-E;
CR-15-08773- E;
CR-15- 08774-E;                                             Tex. Elec.
CR-15-08775-E; Guadalupe       Hidalgo                      Code§
CR-15-08776- E; Rivera, Sr.    County          7/11/2016    64.036     Pleaded Guilty
CR-15- 08777-E;
CR-15-08778-E;
CR-15-08779- E;
CR-15- 08780-E;
CR-15-08781-E




                                                            Tex. Elec.
                Christina     Duval/Live                    Code§§
20080,20081     Lichtenberger Oak County 12/14/2010         64.036,    Pleaded Guilty
                                                            86.006

                                                            Tex. Elec.
                Andrea        Duval/Live                    Code§§     Acknowledgment
20082,20083     Campos        Oak County       12/14/2010   64.036,    of Offense
                Bierstedt                                   86.006




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                                                                      Tex. Elec.
 14-CCR-02979-                                                        Code§§
 A/14-CCR-            Bernice Garcia Cameron           4/8/2015       64.036,    Acknowledgment
 03010-A/14-                         County                           86.006,    of Offense
 CCR-03011-A                                                          86.0051

                      Consuelo                                        Tex. Elec.
 CX3772923814         Barrientos       Frio County     6/15/2018      Code§      Stipulation of Guilt
                      Cantu                                           64.036

                      Maria                                           Tex. Elec.
 CX3772923814         Delcarmen        Frio County     6/15/2018      Code§      Stipulation of Guilt
                      Vela                                            64.036

 20084, 20085,                                                        Tex. Elec.
 20086, 20087,        Alicia Pena      Duval/Live                     Code§§
 20088, 20089,        Perez            Oak County      12/14/2010     64.036,    Pleaded Guilty
 20090,20091                                                          86.006



INTERROGATORY NO. 5: State each instance in which a person has been convicted of violating
Texas law by voting or attempting to vote by impersonation using a mail ballot, including but not
limited to violations of Sections 64.012, 64.036, 276.013(a)(2), 276.013(a)(3), or 276.013(a)(7) of the
Texas Election Code.

OBJECTIONS AND RESPONSE:

         State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, and unduly burdensome, including for the reason that the United States does not limit its
request to particular date ranges or particular statutory provisions. To that end, State Defendants object
to this interrogatory to the extent that it requires State Defendants to search and examine all case records
without limitation to time or statutory provision. See Fed. R. Civ. P. 26(b)(l). The Office of the Attorney
General of Texas began tracking, investigating, and prosecuting election fraud cases in 2004.
Therefore, State Defendants read this interrogatory to seek information dating from 2004 to the present.
Furthermore, the Office of the Attorney General of Texas may not be aware of other prosecutions that
may have been filed by criminal district attorneys.

        Additionally, State Defendants object to this interrogatory to the extent that it calls for
information that is publicly available or otherwise equally accessible to the United States. In that same
vein, the Office of the Attorney General has already produced charts of pending and completed
prosecutions from the Office of the Attorney General, as well as copies of prosecution-diversion
agreement at bates stamped ranges STATE087312-STATE087395. Those materials represent a
summary of business records held by the Office of the Attorney General, and ascertaining the
information requested in this interrogatory will impose substantially the same burden on OAG as
it would Plaintiffs' counsel. Fed. R. Civ. P. 33(d).
                                                   9

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State Defendants answer as follows:

        State Defendants do not possess the capability to provide information responsive to this
interrogatory. Aside from the methods specifically excluded in the interrogatory itself, the only “online
portal[]” through which the referenced identifying information could have been updated by a voter is
located on the Texas.gov website. That website is maintained by the Texas Department of Information
Resources, which is not a party to this case. A voter is required to enter his current driver license
number, ID number, voter registration card VUID, and Social Security Number in order to access this
portal for the purpose of updating the voter’s name or address. The identifying information of voters
who submit a change of name or address on Texas.gov is transmitted to the Office of the Texas
Secretary of State (“SOS”) on a nightly basis. If the TEAM database is missing the driver license/ID
number or Social Security number disclosed by the voter in gaining access to Texas.gov, that voter’s
missing information is updated in TEAM.

        There is no individual field or combination of fields in TEAM that would allow State
Defendants to isolate the specific information requested in this interrogatory. The TEAM system
contains an audit log that tracks the history of changes or updates made to a voter’s record, but that
audit log does not differentiate between the types of changes offered through the Texas.gov system.
Because of these limitations that are inherent in the TEAM system, State Defendants are unable to
provide data that is responsive to this interrogatory.

SUPPLEMENTAL RESPONSE:

Subject to State Defendants’ understanding of the meaning and parameters of this interrogatory
as set forth in their original response, State Defendants remain unable to provide data responsive
to this interrogatory.

INTERROGATORY NO. 7: State the number of voters who have cured identification defects in their
Application for a Ballot By Mail using any online portals provided pursuant to SB 1 from December
2, 2021 until the present, disaggregated by portal.

OBJECTIONS AND ORIGINAL RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. Additionally, State Defendants object to this interrogatory to the
extent that it requests information through "the present," which would result in the inclusion of
incomplete and inaccurate information if applied to the May 7, 2022 election, for which early
voting began on April 25, 2022. Subject to and without waiving these objections, State Defendants
answer as follows:

        The only “online portal[]” through which identification defects in a voter’s Application for a
Ballot By Mail (“ABBM”) may be cured is the Ballot by Mail Tracker available at VoteTexas.gov.2 A
voter can use the Tracker to cure an initial failure to provide any of the required personal identification
numbers or if the numbers provided do not match the voter registration record. While SOS can

2
    https://teamrv-mvp.sos.texas.gov/BallotTrackerApp/#/login

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determine the number of voters who used the Tracker to correct a defect in their ABBM and
subsequently had their ABBM accepted, this total does not necessarily provide the exact information
requested in this interrogatory. That is because the TEAM system is a living database that captures
only the current or most recent status associated with any information in a voter’s record. Therefore,
State Defendants can only provide ABBM figures for the March 1, 2022 Primary reflecting the final
status of voters in the TEAM system. With those caveats and limitations in mind, State Defendants can
represent that the total number of ABBMs submitted for the March 1, 2022 Primary was 264,647; the
total number of voters who used the Tracker to correct a defect in their ABBM was 364; and the total
number of those voters who used the Tracker to correct a defect in their ABBM and either had their
ABBM accepted or cancelled their application and instead voted in person was 237.

SUPPLEMENTAL RESPONSE: Subject to State Defendants’ understanding of the meaning
and parameters of this interrogatory as set forth in their original response, State Defendants
supplement their response with the following counts as calculated by the Texas Secretary of State:

       May 7, 2022 Constitutional Amendment Election
       Total number of ABBMs submitted: 288,865.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 48.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 16.

       May 24, 2022 Primary Runoff Election
       Total number of ABBMs submitted: 280,277.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 11.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 7.

       November 8, 2022 General Election
       Total number of ABBMs submitted: 431,571.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 523.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 419.

INTERROGATORY NO. 8: State the number of voters who have cured carrier envelope
identification defects using any online portal provided pursuant to SB 1 from February 9, 2022 to
present, disaggregated by portal.

OBJECTIONS AND ORIGINAL RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. Additionally, State Defendants object to this interrogatory to the
extent that it requests information through "the present," which would result in the inclusion of
incomplete and inaccurate information if applied to the May 7, 2022 election, for which early
voting began on April 25, 2022. Subject to and without waiving these objections, State Defendants
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answer as follows:

        The only “online portal[]” through which a voter may cure carrier envelope identification
defects is again the Ballot by Mail Tracker available at VoteTexas.gov. Using this portal, a voter can
cure the following three defects:

           1. The carrier envelope did not contain the voter’s Texas Driver’s License Number, Texas
              Personal Identification Number, Texas Election Identification Certificate Number, or
              the Last 4 digits of his Social Security Number;
           2. The identification number provided by the voter did not match the number associated
              with his voter registration record; or
           3. The voter was not issued one of the documents with the required number and did not
              indicate this fact on the carrier envelope.

        SOS can determine the number of voters who used the Tracker to correct a defective carrier
envelope and subsequently had their mail-in ballot accepted, but this total does not necessarily provide
the exact information requested in this interrogatory. That is because the TEAM system is a living
database that captures only the current or most recent status associated with any information in a voter’s
record. Therefore, State Defendants can only provide mail ballot figures for the March 1, 2022 Primary
reflecting the final status of voters in the TEAM system. Considering those limitations, State
Defendants can represent that the total number of mail ballots submitted for the March 1, 2022 Primary
was 198,947; the total number of voters who used the Tracker to correct a defective carrier envelope
was 2,628; and the total number of voters who used the Tracker to correct a defective carrier envelope
and either had their mail ballot accepted or cancelled their mail ballot and instead voted in person was
1,788.

SUPPLEMENTAL RESPONSE: Subject to State Defendants’ understanding of the meaning
and parameters of this interrogatory as set forth in their original response, State Defendants
supplement their response with the following counts as calculated by the Texas Secretary of State:

       May 7, 2022 Constitutional Amendment Election
       Total number of mail ballots submitted: 190,469.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope: 1,017.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
       937.

       May 24, 2022 Primary Runoff Election
       Total number of mail ballots submitted: 183,260.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope: 1,071.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
       1,063.

       November 8, 2022 General Election
       Total number of mail ballots submitted: 345,679.
                                                   13

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Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
envelope: 1,531.
Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
1,496.




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                 Exhibit 55




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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,
                Plaintiffs,
 v.                                                             5:21-cv-844-XR

 GREGORY W. ABBOTT, et al.,
              Defendants.


 UNITED STATES OF AMERICA,
                Plaintiff,
 v.                                                            5:21-cv-1085-XR

 THE STATE OF TEXAS, et al.,
               Defendants.




            STATE DEFENDANTS’ OBJECTIONS AND RESPONSES TO THE
                 UNITED STATES’ FOURTH SET OF INTERROGATORIES
 TO:    Plaintiff the United States of America, by and through its attorneys of record, Jennifer Yun,
        Daniel J. Freeman, Dana Paikowsky, and Michael E. Stewart, United States Department of
        Justice Civil Rights Division, 950 Pennsylvania Avenue NW, Washington, DC 20530.

       Defendants Jane Nelson, in her official capacity as the Texas Secretary of State, and the State

of Texas (“State Defendants”) hereby serve their Objections and Responses to the United States’

Fourth Set of Interrogatories pursuant to the Federal Rules of Civil Procedure. Because present

circumstances prevent State Defendants from signing these responses, State Defendants’ counsel will

serve properly executed interrogatory answers on the requesting party not later than 21 days after

serving these unexecuted answers. See W.D. Tex. Local Rule CV-33(a).




                                                  1

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 Date: March 24, 2023                       Respectfully submitted.

 KEN PAXTON                                 CHRISTOPHER D. HILTON
 Attorney General of Texas                  Chief, General Litigation Division
                                            Tex. State Bar No. 24087727
 BRENT WEBSTER
 First Assistant Attorney General           /s/ Kathleen T. Hunker
                                            KATHLEEN T. HUNKER
 GRANT DORFMAN                              Special Counsel
 Deputy First Assistant Attorney General    Tex. State Bar No. 24118415

 SHAWN E. COWLES                            J. AARON BARNES
 Deputy Attorney General for Civil          Special Counsel
 Litigation                                 Tex. State Bar No. 24099014

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                                            Counsel for State Defendants

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of March, 2023, the attached State Defendants’
Objections and Responses to the United States’ Fourth Set of Interrogatories was served on opposing
counsel via electronic mail.

                                            /s/ Kathleen T. Hunker
                                            KATHLEEN T. HUNKER
                                            Special Counsel




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                                    GENERAL OBJECTIONS

         Under Rule 26(b)(1), the proper scope of discovery is limited to “any nonprivileged matter
that is relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R.
Civ. P. 26(b)(1) (2015). Among the considerations that are germane to that inquiry are “the parties’
resources, the importance of the discovery in resolving the issues, and whether the burden or expense
of the proposed discovery outweighs its likely benefit.” Id. The twin demands for relevancy and
proportionality “are related but distinct requirements.” Samsung Electronics Am., Inc. v. Chung, 321
F.R.D. 250, 279 (N.D. Tex. 2017). Thus, if the information sought is irrelevant to the party’s claims
or defenses, “it is not necessary to determine whether it would be proportional if it were relevant.”
Walker v. Pioneer Prod. Servs., Inc., No. CV 15-0645, 2016 WL 1244510, at *3 (E.D. La. Mar. 30,
2016). Conversely, “relevance alone does not translate into automatic discoverability” because “[a]n
assessment of proportionality is essential.” Motorola Sols., Inc. v. Hytera Commc’ns Corp., 365 F.
Supp. 3d 916, 924 (N.D. Ill. 2019). Accordingly, State Defendants object to these interrogatories to
the extent that the information sought is either irrelevant or disproportionate.

         All answers are given without prejudice to State Defendants’ right to introduce or object to
the discovery of any documents, facts, or information discovered after the date hereof. Likewise,
these answers and objections are not intended to be, and shall not be construed as, agreement with
the United States’ characterization of any facts, circumstances, or legal obligations. State Defendants
reserve the right to contest any such characterization as inaccurate and object to these interrogatories
insofar as they contain any express or implied assumptions of fact or law concerning matters at issue
in this litigation. State Defendants will provide their answers based on terms as they are commonly
understood and consistent with the Federal Rules of Civil Procedure. State Defendants object to and
will refrain from extending or modifying any words employed in these interrogatories to comport
with any expanded definitions or instructions. State Defendants will answer the interrogatories to the
extent required by the Federal Rules of Civil Procedure and the Local Rules of the Western District
of Texas.




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                OBJECTIONS AND RESPONSES TO THE UNITED STATES’
                       FOURTH SET OF INTERROGATORIES

INTERROGATORY NO. 10. State the number of voter records in the Texas Election
Administration Management (TEAM) database for which the “Mail In Request Reject Reason” field
is populated with “NT,” or “No TDL/SSN in VR Record,” in relation to any application for an
absentee ballot by mail for the November 8, 2022 general election.

OBJECTION AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. These answers and objections are made without waiving any further
objections to, or admitting the relevancy or materiality of, any of the information requested.

        The Office of the Texas Secretary of State (“SOS”) is capable of determining the number of
voter records in the TEAM system for which, as of the date of SOS’s query, the “Mail In Request
Reject Reason” field is populated with “NT” or “No TDL/SSN in VR Record” for the November 8,
2022 General Election. However, this total does not necessarily provide the exact information
requested in this interrogatory. That is because the TEAM system is a living database that captures
only the current or most recent status associated with any information in a voter’s record, including
the “Mail In Request Reject Reason” field. If an individual’s voter record is updated by a county
election official during the absentee ballot by mail (“ABBM”) process, any intermediate status
associated with that voter is no longer reflected in the TEAM system post-update. Therefore, State
Defendants can only provide ABBM rejection figures for the November 8, 2022 General Election
reflecting the status of voters in the TEAM system on the date that the query was run in TEAM.
Considering those limitations, State Defendants can represent that, as of March 6, 2023, the total
number of voter records in the TEAM system for which the “Mail In Request Reject Reason” field
is populated with “NT” or “No TDL/SSN in VR Record” for the November 8, 2022 General Election
was 163.

INTERROGATORY NO. 11. Identify each county that sought approval to provide supplemental
information, instructions, or guidance concerning SB 1 identification number requirements in the
ballot package for the November 8, 2022 general election, including but not limited to any insert,
letter, or modification of standard materials prescribed by the Office of the Secretary of State.

OBJECTION AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. These answers and objections are made without waiving any further
objections to, or admitting the relevancy or materiality of, any of the information requested.

       Counties need not seek SOS’s approval when providing additional information, instructions,
or guidance—including explanatory inserts or letters—concerning SB 1 identification number


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requirements. When requested to do so by county election officials, SOS’s role in relation to such
materials is to assist and advise those officials with the application, operation, and interpretation of
the Texas Election Code. Under Section 31.002 of the Texas Election Code, SOS prescribes the
design and content of official election forms to ensure consistency with the requirements of the Code.
More specifically, SOS prescribes the required textual material that must be included on the official
ballot envelope pursuant to Section 86.012 of the Texas Election Code. Additionally, Section 86.013
of the Texas Election Code sets forth parameters for the design and content of the official carrier
envelope, and SOS prescribes textual material that must be included on the official carrier envelope
pursuant to Section 86.013(d).

        However, SOS has not established a formal tracking system to account for all requests by
county election officials for assistance and advice relating to mail balloting materials. Nor has SOS
established a formal tracking system for county requests for assistance and advice regarding the
modification of prescribed forms in a manner that still satisfies the requirements set forth in the Texas
Election Code. Considering those limitations, State Defendants have been able to determine after a
diligent search that at least the following counties contacted SOS about modifying prescribed forms
or including supplemental mail balloting materials describing the SB 1 identification number
requirements:
    • Bexar County
    • Harris County
    • Jefferson County
    • Navarro County

INTERROGATORY NO. 12. Identify additional employee or contractor positions (i.e., any
additional headcount) created by the Office of the Secretary of State during the general election
period to facilitate, support, or assist with mail voting or the implementation of SB 1 identification
requirements. In answering this interrogatory, please provide a description of their duties, work
hours, and compensation.

OBJECTION AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. These answers and objections are made without waiving any further
objections to, or admitting the relevancy or materiality of, any of the information requested.

        Elections in Texas are largely decentralized, with counties taking a leading role in the
administration of elections and SOS providing assistance and advice to election officials upon
request. While the SOS hired employees in its Elections Division during the time period in question,
no additional employee or contractor positions were created within SOS in response to SB 1’s
identification requirements. Any assistance or advice provided regarding such requirements fell
within SOS’s existing resources.

INTERROGATORY NO. 13. State the amount of money spent by the Office of the Secretary of
State on voter education specific to SB 1 identification requirements during the general election
period and how that money was allocated.

                                                   5

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OBJECTION AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. These answers and objections are made without waiving any further
objections to, or admitting the relevancy or materiality of, any of the information requested.

         While SOS engaged in substantial voter outreach and education efforts for the 2022 election
cycle, it does not possess the means to determine the precise amount spent on voter education specific
to SB 1 identification requirements during the time period in question given the manner in which the
funds were expended. SOS’s voter education efforts were not itemized by specific provisions of the
Texas Election Code or any particular enacted legislation, including SB 1. Considering those
limitations, State Defendants can represent that SOS dedicated approximately $3.5 million toward
voter education related to voter ID requirements during the 2022 election cycle, which includes the
March 2022 Primary Election, the May 7, 2022 Uniform Election, the May 2022 Primary Runoff
Election, and the November 2022 General Election. This included approximately $1.5 million in paid
media purchases related to voter ID requirements in relation to the General Election. However, these
media purchases addressed ID requirements for both voting in person and voting by mail. As such,
the SOS is unable to identify spending totals that are disaggregated based on voting type.

INTERROGATORY NO. 14. Identify all voter education undertaken by the Office of the Secretary
of State specifically related to SB 1 identification requirements during the general election period,
including but not limited to the timing, format, and distribution of such voter education activities.

OBJECTION AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. These answers and objections are made without waiving any further
objections to, or admitting the relevancy or materiality of, any of the information requested.

        While SOS engaged in substantial voter outreach and education efforts for the 2022 election
cycle, it does not possess the means to identify efforts specific to SB 1 identification requirements
during the time period in question given the manner in which the funds were expended. SOS’s voter
education efforts were not itemized by specific provisions of the Texas Election Code or any
particular enacted legislation, including SB 1. Considering those limitations, State Defendants can
represent that SOS’s voter education efforts addressing voter ID requirements included paid media
purchases, including television and radio ads, local television segments, digital ad banners, print ads
in various languages, billboards, gas pump toppers, window clings, and paid social media ads.
However, these efforts addressed ID requirements for both voting in person and voting by mail as a
whole and were not separated by voting type. Identifying the timing, format, and distribution of each
voter education activity, encompassing voting in person and voting by mail collectively, would be
unduly burdensome and disproportionate to the needs of the case.

INTERROGATORY NO. 15. State the amount of money provided by the Office of the Secretary


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of State to counties in the form of grants or other financial support for the purpose of implementing
SB 1 identification requirements during the general election period and how that money was
allocated, including but not limited to the timing, conditions, and recipients of such payments.

OBJECTION AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. These answers and objections are made without waiving any further
objections to, or admitting the relevancy or materiality of, any of the information requested.

       While SOS has provided counties with grants and similar financial support related to the
administration of elections during the relevant time period, it is unaware of any such grants that were
provided “for the purpose of implementing SB 1 identification requirements.”




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                 Exhibit 56




                         OCA-APPX-0807
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        Court via USB Drive




                         OCA-APPX-0808
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                 Exhibit 57




                         OCA-APPX-0809
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              Under Seal




                         OCA-APPX-0810
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                 Exhibit 58




                         OCA-APPX-0811
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              Under Seal




                         OCA-APPX-0812
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                 Exhibit 59




                         OCA-APPX-0813
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                         OFFICE OF ISABEL LONGORIA
                                  ELECTIONS ADMINISTRATOR
                                                                                        KAY
          Se                 HARRIS COUNTY STATE TEXAS
                                             *      OF
FOR IMMEDIATE RELEASE                                                            CONTACT: Leah Shah
FRIDAY MARCH 11, 2022                                                          Leah.Shah@Vote.hctx.net
                                                                                        (832) 584-1659

             89% of Mail Ballots Flagged Under New Law Rejected
                  19% of all Mail Ballots Received Rejected
(Houston, TX) – Of the 36,878 mail ballots received in time for the 2022 primary, 6,888 mail ballots were
ultimately rejected as a direct result of Senate Bill 1. In comparison, for the 2018 primary only 135 of the
48,473 mail ballots received were rejected.

The primary was the first election under SB 1. The bill requires Texans voting by mail to include their
Texas ID number or Social Security number on their mail-in ballot’s carrier envelope, and that number
has to match with the ID listed in the voter registration database.

Confusion and frustration over the new requirements caused a swell of phone calls to the Election
Administration’s call center. Since January, the call center received 8,000 calls from people asking for
help navigating the voting process This is higher than the monthly call volume in the lead up to the
November 2020 and November 2021 election.

In response, the office doubled the number of staff dedicated to voter outreach, calling or emailing
voters if contact information was on file to help them navigate the new system, followed by a letter of
instruction on how to correct, or ‘cure’, ballots in effort to ensure their ballot would still be counted.

“Since the formation of the Harris County Elections Administration in November 2020, our office
increased the number of registered voters in a non-presidential year, a first in Harris County, as a result
of our new outreach program, an increased turnout of nearly every election we’ve hosted, increased
access to voting by mail, and was one of four in the county to broaden access to voting while in jail.
These restrictive voting laws continue to undermine our efforts to expand voter access and instead
make voting harder,” said Isabel Longoria, Harris County Elections Administrator.

Ultimately, of the 7,750 mail ballots flagged for rejection specifically due to ID issues, 849 were able to
correct their ballots. An additional 13 voters were unable to, or opted out of, voting by mail altogether
and appeared in person to cast their ballot.

Those eligible to vote by mail include senior citizens, those with disabilities, have recently given birth,
are incarcerated, or are out of the county.

For more information on upcoming elections and the latest results from the March 1, 2022 Primaries,
visit www.HarrisVotes.com and follow @HarrisVotes on Twitter, Facebook and Instagram.

                                                     ###




                                          OCA-APPX-0814
                                                                                                        Longoria_005179
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                 Exhibit 60




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                 Exhibit 61




                         OCA-APPX-0817
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                         OCA-APPX-0818
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                 Exhibit 62




                         OCA-APPX-0819
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                         OCA-APPX-0821
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                         OCA-APPX-0822
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                 Exhibit 63




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                 Exhibit 64




                         OCA-APPX-0825
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        Court via USB Drive




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                 Exhibit 65




                         OCA-APPX-0827
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                  Ballots by Mail Ballots by Mail
    County
                    Accepted         Rejected     (~t,, Rejeded
Anderson                       88               2         .,..::...:,L.L
                                                                  ,.,,,o.··
                                                                         /o

Andrews                           3                    0           !lOO'Yu
Angelina                        253                   24           iL66%
Aransas                          91                   19          J7.27l?/Q
Archer                           16                    0           0,00%
Armstrong                         4                    0           !lOO'Yu
Atascosa                        141                    9           6,00%
Austin                           79                    0           !lOO'Yu
Bailey                            6                    0           0,00%
Bandera                          59                   13          J8.0frYu
Bastrop                         466                   46           8,98%
Baylor                            4                    0           O.OO'Yu
Bee                             152                    7           4,40%
Bell                            833                    6           0.72jYu
Bexar                          9757                 2797          22.28%
Blanco                           50                    9          J5.25jYu
Borden                              l                  0           0,00%
Bosque                            42                   6          J2.5ffYu
Bowie                            307                  21           6,40%
Brazoria                         884                  42           4.54jYu
Brazos                           470                  31           6,]9%
Brewster                         101                   1           0.98jYu
Briscoe                           11                   0           0,00%
Brooks                          117                    2           1.6WYu
Brown                            57                    3           5,00%
Burleson                         58                   16          21.62jYu
Burnet                          249                    9           3,49%
Caldwell                        157                   13           7.65l?/Q
Calhoun                          80                    2           2.44%
Callahan                         18                    0           O.OO'Yu
Cameron                        1292                  130           9J4%
Camp                             61                    2           3. tTYu
Carson                            7                    0           0,00%
Cass                            122                    3           2.4ffYu
Castro                           12                    0           0,00%
Chambers                         62                    5           7.4frYu
Cherokee                        109                    9           7,63%
Childress                         2                    0           O.OO'Yu
Clay                             18                    2          t0J)0%
Cochran                           3                    0           O.OO'Yu
Coke                             10                    0           0,00%
Coleman                           7                    0           O.OO'Yu




                                              OCA-APPX-0828
                                                                              STATE115581
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 829 of 2308


Collin                   2027           330     t4,00%
Collingsworth               1             0      (J.00Yo
Colorado                   72            24     25,00%
Comal                     687            96     J2.2frYo
Comanche                   32             l      3J)3%
Concho                     11             0      O.OO'Yo
                                                 8 ,L.L
                                                    ,..,,,o,
Cooke                      67             6               /o

Coryell                   139             2       1.42jYo
Cottle                      4             0       0,00%
Crane                       5             0       O.OO'Yo
Crockett                    4             l     20J)0%
Crosby                     20             0       O.OO'Yo
Culberson                  14             0       0,00%
Dallam                      7             0       O.OO'Yo
Dallas                   7269           557       7,J 2~/;
Dawson                     11             0       O.OO'Yo
Deaf Smith                 27             0       0,00%
Delta                      26             5     J6. LrYo
Denton                   1943           238     to,91%
Dewitt                     23             1      4. tTYo
Dickens                     6             0       0,00%
Dimmit                    116             0       O.OO'Yo
Donley                      3             0       0,00%
Duval                     367             2       0.54jYo
Eastland                   48             0       0,00%
Ector                     210             0       O.OO'Yo
Edwards                     2             0       0,00%
El Paso                  3609           762     J?ArYo
Ellis                     368            58     Lt62%
Erath                      61             5       7.5WYo
Falls                      47             0       0,00%
Fannin                    119             1       O.ftrYo
Fayette                   129             6      4A4%
Fisher                     30             3       9.09jYo
Floyd                       5             2     28,57%
Foard                       1             0       O.OO'Yo
Fort Bend                2822           383     t 1,95%
Franklin                   23             0       O.OO'Yo
Freestone                  40             3       6,98%
Frio                      231            33     J2.5ffYo
Gaines                     14             0       0,00%
Galveston                1270           187     J 2.8~:r?/O
Garza                       5             l     t6,67%
Gillespie                 146             1       0.6WYo




                                   OCA-APPX-0829
                                                                           STATE115582
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Glasscock                   2            0      0.00%
Goliad                     31            3       8.82Yo
Gonzales                   53            3      5.36%
Gray                       39            0      O.OO'Yo
Grayson                   353           46     t L53%
Gregg                     426           63     J2.8WYo
Grimes                     67           29     30.21%
Guadalupe                 548           96     ]4.91
Hale                       46            7     t3.21%
Hall                       13            0      O.OO'Yo
Hamilton                   17            0      0.00%
Hansford                    4            0      O.OO'Yo
Hardeman                   10            0      0.00%
Hardin                    108            6      5.2frYo
Harris                  17784         3814     t?.66%
Harrison                  163           70     30.04jYo
Hartley                     6            0      0.00%
Haskell                    12            0      O.OO'Yo
Hays                     1560          127      7,53~/;
Hemphill                    3            0      O.OO'Yo
Henderson                 251           26      9.39%
Hidalgo                  2001          488     J9.61
Hill                       60            2      3.23%
Hockley                    28            0      O.OO'Yo
Hood                      160           19     to.61%
Hopkins                    98           11     J0.09'Yo
Houston                   102            8      7,27~/;
Howard                     64            6       8.57l?/Q
Hudspeth                    0            0      0.00%
Hunt                      136           16     JOSrYo
Hutchinson                 14            l      6.67%
Irion                       2            0      O.OO'Yo
Jack                       17            0      0.00%
Jackson                    41            1       2.38l?/Q
Jasper                     98            l       LOI%
Jeff Davis                  5            0      O.OO'Yo
Jefferson                1367          152     to.OJ%
Jim Hogg                  206            0      O.OO'Yo
Jim Wells                 163          119     42.20%
Johnson                   305           37     J0.82jYo
Jones                      45            0      0.00%
Karnes                     89           22     J9.82jYo
Kaufu1an                  195           34     t4.85%
Kendall                   154            1      0.65jYo




                                  OCA-APPX-0830
                                                                          STATE115583
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 831 of 2308


Kenedy                     3             2     40,00%
Kent                       0             0
Kerr                     232            20      7
Kimble                     5             0      !lOO'Yu
King                       0             0      0,00%
Kinney                    12             0      !lOO'Yu
Kleberg                  178             4
Knox                       2             0      !lOO'Yu
Lamar                    131             1
Lamb                      32             5
Lampasas                  65             1
Lasalle                  289            21
Lavaca                   102            11      9,
Lee                       60             5      7,69'Yu
Leon                      52             0      0,00%
Liberty                  120             3
Limestone                 70             4
Lipscomb                  13             l      7, t4'Yu
Live Oak                  34             0      0,00%
Llano                    202            18      8, tWYu
Loving                     0             0      0,00%
Lubbock                  618            27         t 9'Yu
Lynn                       6             0      0,00%
Madison                   19             2
Marion                    58            17
Martin                     3             0      !lOO'Yu
Mason                     16             0      0,00%
Matagorda                114            10
Maverick                 145            29
Mcculloch                 33             0      !lOO'Yu
Mclennan                 847            57      631
Mcmullen                   2             0      !lOO'Yu
Medina                   158            23     t;
Menard                    12             0      !lOO'Yu
Midland                  134            35     20,
Milam                     88             0      !lOO'Yu
Mills                      8             0      0,00%
Mitchell                   9             0      !lOO'Yu
Montague                  27             0      0,00%
Montgomery              1553            85      5, t 9'Yu
Moore                     11             0      0,00%
Morris                    42             0      !lOO'Yu
Motley                     4             0      0,00%
Nacogdoches              263             4      j




                                  OCA-APPX-0831
                                                                          STATE115584
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 832 of 2308


Navarro                    82            12     t;
Newton                     38             7
Nolan                      30             2
Nueces                   1955             0         !lOO'Yu
Ochiltree                   4             0         0,00%
Oldham                      3             0         !lOO'Yu
Orange                    288            11
Palo Pinto                 55            12
Panola                     50             1
Parker                    301            59
Parmer                      9             1     t0J)0%
Pecos                      63             7     J!lOO'Yu
Polk                      187            17
Potter                    252            28     J!lOO'Yu
Presidio                   23             0      0,00%
Rains                      24             l         4,00'Yu
Randall                   347            20
Reagan                      0             0         !lOO'Yu
Real                        1             0         0,00%
Red River                  40             0
Reeves                     92             2
Refugio                    46             4
Roberts                     3             0         0,00%
Robertson                  74             8         Q

Rockwall                  186             5
Runnels                    17             0         !lOO'Yu
Rusk                      130            25     t6J
Sabine                     28             0         !lOO'Yu
San Augustine              34             1
San Jacinto                93             3
San Patricio              323            48
San Saba                    7             0         !lOO'Yu
Schleicher                  7             0         0,00%
Scurry                     13             0         !lOO'Yu
Shackelford                 4             0         0,00%
Shelby                     41             7     ]
Sherman                     2             0         0,00%
Smith                     686            68
Somervell                  15             0         0,00%
Starr                      94           204
Stephens                    8             1
Sterling                    0             0         !lOO'Yu
Stonewall                   8             0         0,00%
Sutton                      4             0         !lOO'Yu




                                   OCA-APPX-0832
                                                                           STATE115585
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 833 of 2308


Swisher                    32             l
Tarrant                  4892           856     J4,R9Yu
Taylor                    259             4
Terrell                    15             0         !lOO'Yu
Terry                      20             3
Throckmorton                l             0         !lOO'Yu
Titus                      84             7
Tom Green                 324            50
Travis                   8737           673
Trinity                    31             0         !lOO'Yu
Tyler                      51             0         0,00%
Upshur                    131             0         !lOO'Yu
Upton                       5             0         0,00%
Uvalde                    167            65
Val Verde                 204             0         0,00%
Van Zandt                  83            14     ]
Victoria                  485            59
Walker                    176            19
Waller                    120            39
Ward                       24             0         !lOO'Yu
Washington                 89             l          Ul
Webb                      575            31         :5' t
Wharton                   145            12         7,64%
Wheeler                    11             0         !lOO'Yu
Wichita                   226            54
Wilbarger                  44             l
Willacy                    65             5         7J4%
Williamson               2208           269
Wilson                    251            14
Winkler                     2             0         !lOO'Yu
Wise                      140            11         7
Wood                      119             0         !lOO'Yu
Yoakum                      3             0         0,00%
Young                       0             0         !lOO'Yu
Zapata                     57             9
Zavala                     83             0        !lOO'Yu
Statewide Totals        96464         14281     l::L90%,




                                   OCA-APPX-0833
                                                                           STATE115586
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 834 of 2308


                  Ballots by Mail Ballots by Mail
    County
                    Accepted         Rejected     (~t,, Rejeded
Anderson                       72               0         0,00%
Andrews                        42               0         !lOO'Yu
Angelina                      220              27        to,93%
Aransas                        78              10        J 1.3frYu
Archer                         35               0         0,00%
Armstrong                      29               0         !lOO'Yu
Atascosa                      112               9         7A4%
Austin                        116               0         !lOO'Yu
Bailey                         35               2         5Al%
Bandera                       171              13         7.07l?/Q
Bastrop                       346                31        8 ,L./,
                                                              '"'''0'
                                                                   /0

Baylor                          9                 0        !lOO'Yu
Bee                            70                 4        5Al%
Bell                         1345                11        0)11
Bexar                        4326              1108       2039%
Blanco                         74                14       J5.91
Borden                         12                 0        0,00%
Bosque                         82                16       J6.33jYu
Bowie                         359                23        6J)2%
Brazoria                     1479                93        5.92jYu
Brazos                        740               111       UJ)4%
Brewster                       23                 0        O.OO'Yu
Briscoe                        39                 0        0,00%
Brooks                          3                 1       25.00'Yu
Brown                         365                 7         1,88%
Burleson                      100                37       27.01
Burnet                        689                53        7J4%
Caldwell                       90                 5        5.2frYu
Calhoun                        30                  l       323%
Callahan                      101                31       23.4WYu
Cameron                       260                28        9,72~/;
Camp                           23                 1        4. tTYu
Carson                         31                  l       3J3%
Cass                          242                 5        2.02l?/Q
Castro                         23                 0        0,00%
Chambers                      105                17       J3.93jYu
Cherokee                       85                 9        9,57%
Childress                      25                 0        O.OO'Yu
Clay                           34                 0        0,00%
Cochran                        23                 0        O.OO'Yu
Coke                           72                 2        2,70%
Coleman                        35                 0        O.OO'Yu




                                         OCA-APPX-0834
                                                                             STATE115587
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 835 of 2308


Collin                   3200           449
Collingsworth              15             0
Colorado                   49            16
Comal                    1511           326
Comanche                   77             8
Concho                     35             0         !lOO'Yu
Cooke                     154             3
Coryell                   296             3         1,OO'Yu
Cottle                      5             0         0,00%
Crane                      21             0         !lOO'Yu
Crockett                    9             0         0,00%
Crosby                     26             0         !lOO'Yu
Culberson                   0             0         0,00%
Dallam                     51             0         !lOO'Yu
Dallas                   2768           159
Dawson                     64             2
Deaf Smith                116             2
Delta                      86            10
Denton                   2560           539
Dewitt                     94             0         !lOO'Yu
Dickens                    34             0         0,00%
Dimmit                      2             0         !lOO'Yu
Donley                     14             0         0,00%
Duval                       2             0         !lOO'Yu
Eastland                  162             0         0,00%
Ector                     386            11         ')


Edwards                     5             4
El Paso                   178            35
Ellis                     260            29     WJJ3%
Erath                      96             9
Falls                      67             0         0,00%
Fannin                    154             4
Fayette                   161             2
Fisher                     17             0         O,OO'Yu
Floyd                      32             4     tUJ
Foard                       0             0         O,OO'Yu
Fort Bend                1320           185
Franklin                   56             0      O,OO'Yu
Freestone                  66             4      5,
Frio                        9             2     HUWYu
Gaines                     46             0         0,00%
Galveston                1812           248     ]
Garza                      37             2
Gillespie                 348             9




                                   OCA-APPX-0835
                                                                           STATE115588
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 836 of 2308


Glasscock                 15             l      625%
Goliad                    22             2       8.33l~/Q
Gonzales                  84             6      6,67%
Gray                     228            13      5.39;~·<:i
Grayson                  604            85     t234%
Gregg                    301            19      5.94;~·<:i
Grimes                   169            92     3525%
Guadalupe                526           184     25.92;~·<:i
Hale                      96            10      9A3%
Hall                      19             0      O.OO'Yu
Hamilton                  24             0      0,00%
Hansford                  69             0      O.OO'Yu
Hardeman                    3            0      0,00%
Hardin                    273            5       1.80'Yu
Harris                  12153         3100     2032%
Harrison                   54           14     20.59jYu
Hartley                    44            2      435%
Haskell                    12            0      O.OO'Yu
Hays                      763          164     t?,69%
Hemphill                   56            0      O.OO'Yu
Henderson                 238           11      4A2%
Hidalgo                   179           31     J4.7frYu
Hill                      92             3      3J6%
Hockley                   89             0      O.OO'Yu
Hood                     275            41     t2,97%
Hopkins                   82             9      9.89jYu
Houston                   74             3      3,90%
Howard                   136             9      6.21
Hudspeth                   0             0      0,00%
Hunt                     425            93     J7.95jYu
Hutchinson                90             9      9,09%
Irion                      6             0      O.OO'Yu
Jack                      64             l       1,54%
Jackson                   42             3      6.6TYu
Jasper                    46             0      0,00%
Jeff Davis                14             0      O.OO'Yu
Jefferson                142            18     t 125%
Jim Hogg                   1             0      O.OO'Yu
Jim Wells                  7             2     2222%
Johnson                  771           110     J2.49jYu
Jones                     71             0      0,00%
Karnes                   160            11      6.43jYu
Kaufu1an                 146            50     25S1%
Kendall                  649             9       ] .37l?/Q




                                  OCA-APPX-0836
                                                                          STATE115589
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 837 of 2308


Kenedy                     0             0      0,00%
Kent                       0             0      (J.00Yo
Kerr                     636            76     t0,67%
Kimble                    57             3      5,00'Yo
King                       3             0      0,00%
Kinney                     2             l     33.33l?/Q
Kleberg                   32             0      0,00%
Knox                      12             0      !J.OO'Yo
Lamar                    202             l      OA9%
Lamb                      46            10     J7)}frYo
Lampasas                 174            16      8A2%
Lasalle                    5             0      !J.OO'Yo
Lavaca                   188            87     3L64%
Lee                      118            21     J 5, t 1
Leon                     152             0       0,00%
Liberty                  231             9       3,75jYo
Limestone                102            12     to,53%
Lipscomb                  72             0      !J.OO'Yo
Live Oak                  21             l      4,55%
Llano                    470            77     14,0WYo
Loving                     l             0      0,00%
Lubbock                  685             6      (J.8TYo
Lynn                       2             0      0,00%
Madison                   61             l       1,61
Marion                    12             3     20J)0%
Martin                    14             0      !J.OO'Yo
Mason                     38             0      0,00%
Matagorda                 51             3      55frYo
Maverick                   2             l     33,33~/;
Mcculloch                 60             l      1,64jYo
Mclennan                1137           102      823%
Mcmullen                   4             0      !J.OO'Yo
Medina                   232            36     UA3%
Menard                    32             l      3,03jYo
Midland                  493            70     t2A3%
Milam                    152             l      (J.65jYo
Mills                     39             0      0,00%
Mitchell                  13             5     27,7WYo
Montague                  73             4      5,]9%
Montgomery              3272           232      (i62jYo
Moore                     92             2      2J3%
Morris                    43             0      !J.OO'Yo
Motley                    23             0      0,00%
Nacogdoches              464             7      1A9;Yo




                                  OCA-APPX-0837
                                                                          STATE115590
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 838 of 2308


Navarro                    55             8     t2.70%
Newton                     34             6     15.00Yo
Nolan                      16             4     20.00%
Nueces                    346             0      O.OO'Yo
Ochiltree                  73             l      1.35%
Oldham                     19             0      O.OO'Yo
Orange                    212            10      4.50%
Palo Pinto                201            76     27.44jYo
Panola                    110             4      3,5]~/;
Parker                    619           191     23.SWYo
Parmer                     38             l       2.56%
Pecos                      18             l       5.2frYo
Polk                      332            25       7.00%
Potter                    609           116     J6.00'Yo
Presidio                    2             0       0.00%
Rains                      70             0       O.OO'Yo
Randall                  1454           114       7,27~/;
Reagan                     11             2     J5.3WYo
Real                        2             0       0.00%
Red River                  55             4       6.78jYo
Reeves                      8             0       0.00%
Refugio                    12             0       O.OO'Yo
Roberts                    24             0       0.00%
Robertson                  62             l       1.59jYo
Rockwall                  453            63     t2.21%
Runnels                    31             7     J8.42jYo
Rusk                      203            38     t5.77%
Sabine                     64             0       O.OO'Yo
San Augustine              25             l       3.85%
San Jacinto               178             4       2.20l?/Q
San Patricio              122             7       5.43%
San Saba                   22             0       O.OO'Yo
Schleicher                 13             6     3L58%
Scurry                     61            13     j 7.57l?/Q
Shackelford                46             0       0.00%
Shelby                    141            12       7.fWYo
Sherman                    11             7     38.89%
Smith                     549            77     J2.3ffYo
Somervell                  19             l       5.00%
Starr                      25            12     32.43l?/Q
Stephens                   90             3       3.23%
Sterling                    4             0       O.OO'Yo
Stonewall                  24             0       0.00%
Sutton                     16             0       O.OO'Yo




                                   OCA-APPX-0838
                                                                           STATE115591
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 839 of 2308


Swisher                    56             4
Tarrant                  5446            27
Taylor                    350            14
Terrell                     4             0         !lOO'Yu
Terry                      62             1
Throckmorton               14             0         !lOO'Yu
Titus                      88             9         928%
Tom Green                 433            73
Travis                   1915           260
Trinity                    30             0         !lOO'Yu
Tyler                     196             7
Upshur                    155             0         !lOO'Yu
Upton                       8             0         0,00%
Uvalde                     25             0         !lOO'Yu
Val Verde                  74             0         0,00%
Van Zandt                  79             9     ]
Victoria                 1221           109         820%
Walker                    206            11
Waller                     61            26
Ward                       56             0         !lOO'Yu
Washington                148             8         5J
Webb                       18             0         !lOO'Yu
Wharton                   132             4
Wheeler                    35             0         !lOO'Yu
Wichita                   180            26
Wilbarger                 105             0         !lOO'Yu
Willacy                     2             1
Williamson               1582           264
Wilson                    255             7
Winkler                    11             1
Wise                      358            45
Wood                      224             0         !lOO'Yu
Yoakum                     22             0         0,00%
Young                       4             0         !lOO'Yu
Zapata                      3             0         0,00%
Zavala                      0             0      !lOO'Yu
Statewide Totals        77420         10355     11,80%,




                                   OCA-APPX-0839
                                                                           STATE115592
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 840 of 2308


                  Ballots by Mail Ballots by Mail
    County
                    Accepted         Rejected     (~t,, Rejeded
Anderson                      169                0        0,00%
Andrews                        42                0        !lOO'Yu
Angelina                      397               63      U,70%
Aransas                       188                2       1.05jYu
Archer                         50                0       0,00%
Armstrong                      13                0       O.OO'Yu
Atascosa                      221               11      4,74%
Austin                        217               0        O.OO'Yu
Bailey                         44               0        0,00%
Bandera                       196               3        1.51
Bastrop                       853              19        2J8%
Baylor                         13               0        O.OO'Yu
Bee                          199                4        1,97%
Bell                        1623              340       j ~{ n)..;:..,,
                                                              '"·!0/    /0

Bexar                      18361              231          L24%
Blanco                       167                6         3.4TYu
Borden                         9                1       t0J)0%
Bosque                       152                1        0.65jYu
Bowie                        614               26        4J)6%
Brazoria                    2041               63        2.99jYu
Brazos                      1058               36        329%
Brewster                     127                0        O.OO'Yu
Briscoe                       45                0        0,00%
Brooks                        69                0        O.OO'Yu
Brown                        373                0        0,00%
Burleson                     204                3        j .45;yG
Burnet                       802               15         1,84%
Caldwell                     237                4         1.6frYu
Calhoun                      100                3         2§1%
Callahan                     153                0         O.OO'Yu
Cameron                     1602               31         1,90%
Camp                          84                0         O.OO'Yu
Carson                        39                1         2,50%
Cass                         354                0         O.OO'Yu
Castro                        25                0         0,00%
Chambers                     157                0         O.OO'Yu
Cherokee                     216               19         8,09%
Childress                     23                0         O.OO'Yu
Clay                          56                0         0,00%
Cochran                       50                3         5.6frYu
Coke                          95                0         0,00%
Coleman                       53                0         O.OO'Yu




                                        OCA-APPX-0840
                                                                             STATE115593
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 841 of 2308


Collin                    5148          109
Collingsworth                0            0
Colorado                   185            5
Comal                     2407           77      3, t O'Yu
Comanche                   107            7      6J4%
Concho                      48            0      !lOO'Yu
Cooke                      210            0      0,00%
Coryell                    436            4         1
Cottle                      11            0      0,00%
Crane                       26            0      !lOO'Yu
Crockett                    16            0      0,00%
Crosby                      50            0      !lOO'Yu
Culberson                   11            0      0,00%
Dallam                      57            0      !lOO'Yu
Dallas                   10649          382
Dawson                      99            0      !lOO'Yu
Deaf Smith                 127            0      0,00%
Delta                      101            0      !lOO'Yu
Denton                    4964          155
Dewitt                     135            0      !lOO'Yu
Dickens                     31            0      0,00%
Dimmit                     109            8
Donley                      10            0      0,00%
Duval                      161            1
Eastland                   217            0      0,00%
Ector                      577            0      !lOO'Yu
Edwards                      9            4
El Paso                   3582          490
Ellis                      754           28
Erath                      181           13      (i70'Yu
Falls                       33            0      0,00%
Fannin                     267            0      !lOO'Yu
Fayette                    286            5      L
Fisher                      39            0      !lOO'Yu
Floyd                       29            7     t9A4%
Foard                        0            0      !lOO'Yu
Fort Bend                 4368          101
Franklin                    68            0      !lOO'Yu
Freestone                  112            3
Frio                       167           23
Gaines                      55            1
Galveston                 3177           66
Garza                       39            0      0,00%
Gillespie                  520           10      1)N'Yu




                                   OCA-APPX-0841
                                                                           STATE115594
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 842 of 2308


Glasscock                  2             0      0,00%
Goliad                    46             0      (J.00Yo
Gonzales                 134             0      0,00%
Gray                     234             l      0.43jYo
Grayson                  965            33      331%
Gregg                    711            24      3 ,, ';(l/
                                                , .,;., I /0

Grimes                   349            17      4,64%
Guadalupe               1370            32      2.28l?/Q
Hale                     130             2      1"·'~ c-~,o/
                                                          d1

Hall                      35             0      O.OO'Yo
Hamilton                   0             0      0,00%
Hansford                  58             0      O.OO'Yo
Hardeman                   0             0      0,00%
Hardin                   363             l      0.2TYo
Harris                 31306          3193      926%
Harrison                 267            17      5.99jYo
Hartley                   46             0      0,00%
Haskell                   28             0      O.OO'Yo
Hays                    2460            67      2,65%
Hemphill                  31             0      O.OO'Yo
Henderson                455            28      5,80%
Hidalgo                 2244            91      3.9ffYo
Hill                     169             0      0,00%
Hockley                  103             0      O.OO'Yo
Hood                     384            87     t8A7%
Hopkins                  176             8      4.35l?/Q
Houston                  175             0      0,00%
Howard                   273             4      1.44jYo
Hudspeth                   0             0      0,00%
Hunt                     689            12      1.71
Hutchinson               129             0      0,00%
Irion                      9             0      O.OO'Yo
Jack                      75             0      0,00%
Jackson                   74             0      O.OO'Yo
Jasper                   145             0      0,00%
Jeff Davis                11             0      O.OO'Yo
Jefferson               1477            75      4,83%
Jim Hogg                  90             0      O.OO'Yo
Jim Wells                110            33     23J)8%
Johnson                 1093             5      0.4frYo
Jones                    104             0      0,00%
Karnes                   220             4      1.79'Yo
Kaufu1an                 355            94     20,94%
Kendall                  636            33      4.93jYo




                                  OCA-APPX-0842
                                                                          STATE115595
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Kenedy                     1             0      0,00%
Kent                       0             0
Kerr                     883            49
Kimble                    61             0      !lOO'Yu
King                       0             0      0,00%
Kinney                     0             0      !lOO'Yu
Kleberg                  207             0      0,00%
Knox                      22             0      !lOO'Yu
Lamar                    272            10
Lamb                      56             0      !lOO'Yu
Lampasas                 226             5      2J6%
Lasalle                   71            11
Lavaca                   338             0      0,00%
Lee                      156             5      3, t 1
Leon                     170             0      0,00%
Liberty                  305            10      3, t
Limestone                165             2      120%
Lipscomb                  79             0      !lOO'Yu
Live Oak                  45             1      2J
Llano                    658            54      7
Loving                     0             0      0,00%
Lubbock                 1585            77
Lynn                       2             0      0,00%
Madison                   90             4
Marion                    82             3
Martin                    12             0      !lOO'Yu
Mason                     36             0      0,00%
Matagorda                168             7      4,00'Yu
Maverick                 108             0      0,00%
Mcculloch                 92             0      !lOO'Yu
Mclennan                1817           102
Mcmullen                   6             0      !lOO'Yu
Medina                   422            23      5J
Menard                    42             0      !lOO'Yu
Midland                  634            24
Milam                    231             0      !lOO'Yu
Mills                     49             0      0,00%
Mitchell                  25             0      !lOO'Yu
Montague                  82             0      0,00%
Montgomery              4492            34      0,
Moore                     84             0      0,00%
Morris                    80             0      !lOO'Yu
Motley                    20             0      0,00%
Nacogdoches              594            12      j




                                  OCA-APPX-0843
                                                                          STATE115596
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 844 of 2308


Navarro                   122            22
Newton                     51             8
Nolan                      49             2
Nueces                   2167             2      !l09'Yu
Ochiltree                  64             5      7
Oldham                     18             0      !lOO'Yu
Orange                    566             7
Palo Pinto                358             2
Panola                    138             0      0,00%
Parker                   1023            41
Parmer                     42             0      0,00%
Pecos                      85             0      !lOO'Yu
Polk                      452            16
Potter                    902            29
Presidio                   13             3
Rains                     104             l
Randall                  1674            54      3J
Reagan                     14             0      !lOO'Yu
Real                        0             0      0,00%
Red River                  92             0      !lOO'Yu
Reeves                     98             l
Refugio                    50             3
Roberts                    11             0      0,00%
Robertson                 122             2      1,61
Rockwall                  576            14
Runnels                    42             3
Rusk                      339             2
Sabine                     75             0      !lOO'Yu
San Augustine              32             0      0,00%
San Jacinto               208             7
San Patricio              418            24
San Saba                   28             0      !lOO'Yu
Schleicher                 18             2     t0J)0%
Scurry                     59             l      j
Shackelford                55             0      0,00%
Shelby                    104            29     21 );Q'Yu
Sherman                    21             4     t6J)0%
Smith                    1259            85
Somervell                  32             0      0,00%
Starr                     121            40
Stephens                   98             0      0,00%
Sterling                    6             0      !lOO'Yu
Stonewall                  11             0      0,00%
Sutton                     17             0      !lOO'Yu




                                   OCA-APPX-0844
                                                                           STATE115597
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 845 of 2308


Swisher                    90             0      0,00%
Tarrant                  9106          1583     ]4,81
Taylor                    620             3      OA8%
Terrell                     1             1
Terry                      67             l
Throckmorton               12             0      !lOO'Yu
Titus                     131             0      0,00%
Tom Green                 885            72
Travis                  11158           410
Trinity                    55             1      1,79'Yu
Tyler                     222             5
Upshur                    233             0      O,OO'Yu
Upton                       1             2
Uvalde                    169             0      O,OO'Yu
Val Verde                 209            14
Van Zandt                 187             4
Victoria                 1686            42
Walker                    354            15
Waller                    250             2
Ward                        0             0      O,OO'Yu
Washington                253             6
Webb                      455            13
Wharton                   278             0      0,00%
Wheeler                    40             0      O,OO'Yu
Wichita                   579             0      0,00%
Wilbarger                 159             0      O,OO'Yu
Willacy                    44             0      0,00%
Williamson               4280           122      ')


Wilson                    485            19      3,
Winkler                     0             0      O,OO'Yu
Wise                      520            13
Wood                      369             0      O,OO'Yu
Yoakum                     23             0      0,00%
Young                       0             0      O,OO'Yu
Zapata                     20             5     20J)0%
Zavala                    111             0      O,OO'Yu
Statewide Totals       178054          9420      5JU%,




                                   OCA-APPX-0845
                                                                           STATE115598
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 846 of 2308


                  Ballots by Mail Ballots by Mail
    County                                        ~/, Rejected
                    Accepted         Rejected
Anderson                       82               0        0,00%
Andrews                         3               0        !lOO'Yu
Angelina                      212              18        7
Aransas                        73               0        !lOO'Yu
Archer                         16               0        0,00%
Armstrong                       4               0        !lOO'Yu
Atascosa                     163                 9
Austin                        62                 0        !lOO'Yu
Bailey                         4                 0        0,00%
Bandera                       60                 0        !lOO'Yu
Bastrop                      453                 9
Baylor                         4                 0        !lOO'Yu
Bee                          132                 2
Bell                         624                49        7
Bexar                      11712                80        0,68%
Blanco                        55                 0        !lOO'Yu
Borden                         0                 0        0,00%
Bosque                        50                 0        !lOO'Yu
Bowie                        265                20        7
Brazoria                     749                12
Brazos                       413                 7
Brewster                      98                 0        !lOO'Yu
Briscoe                        0                 0        0,00%
Brooks                        60                 0        !lOO'Yu
Brown                         38                 0        0,00%
Burleson                      70                 0        !lOO'Yu
Burnet                       202                 7
Caldwell                     134                 1
Calhoun                       53                 0        0,00%
Callahan                      21                 0        !lOO'Yu
Cameron                     1323                21
Camp                          59                 0        !lOO'Yu
Carson                         5                 0        0,00%
Cass                         119                 0        !lOO'Yu
Castro                         10                0        0,00%
Chambers                       48                1
Cherokee                      103                9       iU)4%
Childress                       2                0       !lOO'Yu
Clay                           17                0       0,00%
Cochran                         5                0       !lOO'Yu
Coke                            8                2      20J)0%
Coleman                         5                0       !lOO'Yu




                                         OCA-APPX-0846
                                                                             STATE115599
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 847 of 2308


Collin                   1969            20
Collingsworth                0            0
Colorado                   90             0         0,00%
Comal                     672             7         j
Comanche                   28             0         0,00%
Concho                       0            0         !lOO'Yu
Cooke                      59             0         0,00%
Coryell                   1 ]3            l
Cottle                       4            0         0,00%
Crane                        3            0         !lOO'Yu
Crockett                     3            l
Crosby                     16             0         !lOO'Yu
Culberson                   12            0         0,00%
Dallam                       7            0         !lOO'Yu
Dallas                   7274           243
Dawson                      13            l         7, t4'Yu
Deaf Smith                  19            0         0,00%
Delta                      23             0         !lOO'Yu
Denton                   1916            36
Dewitt                      15            0         !lOO'Yu
Dickens                      4            0         0,00%
Dimmit                    191            25     ] j
Donley                      l             0         0,00%
Duval                     435            69     ]
Eastland                   47             0         0,00%
Ector                     149             0         !lOO'Yu
Edwards                     2             0         0,00%
El Paso                  3797           264
Ellis                     357             4         Ul
Erath                       0             0         !lOO'Yu
Falls                      53             0         0,00%
Fannin                     94             4
Fayette                   119             l
Fisher                     29             0         !lOO'Yu
Floyd                       9             0         0,00%
Foard                       0             0         !lOO'Yu
Fort Bend                2719           139
Franklin                   17             0         !lOO'Yu
Freestone                  40             l
Frio                      267            19
Gaines                      9             l     t0J)0%
Galveston                1232            29
Garza                       4             0         0,00%
Gillespie                 159             6




                                   OCA-APPX-0847
                                                                           STATE115600
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 848 of 2308


Glasscock                  1             0      0,00%
Goliad                    ]6             0
Gonzales                  42             0      0,00%
Gray                      26             0      !lOO'Yu
Grayson                  323             7      2J
Gregg                    418             9      2, t 1
Grimes                    77             3      3,
Guadalupe                678             8      Lt
Hale                      23             2      8,00%
Hall                      ]4             0      !lOO'Yu
Hamilton                   0             0      0,00%
Hansford                    l            0      !lOO'Yu
Hardeman                    0            0      0,00%
Hardin                     78            l
Harris                  ]7951         1125
Harrison                  182           19
Hartley                     3            0      0,00%
Haskell                    12            0      !lOO'Yu
Hays                     1448           33
Hemphill                    4            0      !lOO'Yu
Henderson                 221           11
Hidalgo                  1902          117      5,79'Yu
Hill                       49            0      0,00%
Hockley                    19            0      !lOO'Yu
Hood                      134           14      9A6%
Hopkins                    75            2
Houston                    87            3
Howard                     60            0      !lOO'Yu
Hudspeth                    0            0      0,00%
Hunt                      165            2      j
Hutchinson                 18            0      0,00%
Irion                       0            0      !lOO'Yu
Jack                       14            0      0,00%
Jackson                    27            0      !lOO'Yu
Jasper                     74            1
Jeff Davis                  4            0      !lOO'Yu
Jefferson                1425           64      430%
Jim Hogg                  171            0      !lOO'Yu
Jim Wells                 117           30
Johnson                   279            9
Jones                      40            0      0,00%
Karnes                     91            0      !lOO'Yu
Kaufu1an                  170           20
Kendall                   156            6      3,70'Yu




                                  OCA-APPX-0848
                                                                          STATE115601
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 849 of 2308


Kenedy                     6             0      0,00%
Kent                       0             0
Kerr                     209             5
Kimble                     6             0      !lOO'Yu
King                       0             0      0,00%
Kinney                     0             0      !lOO'Yu
Kleberg                  166             0      0,00%
Knox                       4             0      !lOO'Yu
Lamar                    110             4
Lamb                      28             0      !lOO'Yu
Lampasas                  61             0      0,00%
Lasalle                  145            27     J5,70'Yu
Lavaca                    94             l
Lee                       43             2
Leon                      40             0      0,00%
                                                ')
Liberty                  107             3
Limestone                 60             1      1,64%
Lipscomb                  11             0      O,OO'Yu
Live Oak                   0             0      0,00%
Llano                    176             2      Lt
Loving                     0             0      0,00%
Lubbock                  571            19
Lynn                       2             0      0,00%
Madison                   20             0      O,OO'Yu
Marion                    59             1
Martin                     2             0      O,OO'Yu
Mason                      7             0      0,00%
Matagorda                107             1
Maverick                 101             4
Mcculloch                 23             1
Mclennan                 773            34
Mcmullen                   l             0      O,OO'Yu
Medina                   147            14      iL
Menard                     0             0      O,OO'Yu
Midland                  150             I      0,66%
Milam                     76             0      O,OO'Yu
Mills                      7             0      0,00%
Mitchell                   8             I     J Lt 1
Montague                  19             0      0,00%
Montgomery              1306             5
Moore                      5             0      0,00%
Morris                     0             0      O,OO'Yu
Motley                     1             0      0,00%
Nacogdoches              230             3      j




                                  OCA-APPX-0849
                                                                          STATE115602
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 850 of 2308


Navarro                    75             6      7
Newton                      7             2
Nolan                      26             0      0,00%
Nueces                   1628             3      0, t8'Yu
Ochiltree                   1             0      0,00%
Oldham                      0             0      !lOO'Yu
Orange                    247             0      0,00%
Palo Pinto                 52             0      !lOO'Yu
Panola                     48             0      0,00%
Parker                    301             9
Parmer                      8             0      0,00%
Pecos                      46             6     ] j
Polk                      143             l
Potter                    233             7
Presidio                    6             4     40,00%
Rains                      20             0      !lOO'Yu
Randall                   281             6
Reagan                      0             0      !lOO'Yu
Real                        0             0      0,00%
Red River                  37             0      !lOO'Yu
Reeves                     90             0      0,00%
Refugio                    39             0      !lOO'Yu
Roberts                     2             0      0,00%
Robertson                  57             0      !lOO'Yu
Rockwall                  162             1      OJ:il
Runnels                    14             0      !lOO'Yu
Rusk                      126             0      0,00%
Sabine                     23             0      !lOO'Yu
San Augustine              22             0      0,00%
San Jacinto                77             3      3,
San Patricio              286             6
San Saba                    4             0      !lOO'Yu
Schleicher                  4             0      0,00%
Scurry                     11             0      !lOO'Yu
Shackelford                 0             0      0,00%
Shelby                     31             0      !lOO'Yu
Sherman                     1             0      0,00%
Smith                     585            30
Somervell                  14             0      0,00%
Starr                      73            24     2k
Stephens                    9             0      0,00%
Sterling                    0             0      !lOO'Yu
Stonewall                   4             0      0,00%
Sutton                      4             0      !lOO'Yu




                                   OCA-APPX-0850
                                                                           STATE115603
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 851 of 2308


Swisher                    22             0      0,00%
Tarrant                  4664           409
Taylor                    246             l      0,40%
Terrell                     5             0      !lOO'Yu
Terry                      16             0      0,00%
Throckmorton                0             0      !lOO'Yu
Titus                      75             0      0,00%
Tom Green                 318            22
Travis                   7849           193
Trinity                    20             0      !lOO'Yu
Tyler                      19             0      0,00%
Upshur                     99             4
Upton                       0             l    l00,00%
Uvalde                    ]56             9
Val Verde                   l             3
Van Zandt                  69             4
Victoria                  478             4
Walker                    ]53             8
Waller                    137             4
Ward                        0             0      !lOO'Yu
Washington                 69             0      0,00%
Webb                      750            33         1
Wharton                   144             5
Wheeler                     7             0      !lOO'Yu
Wichita                   262             l      038%
Wilbarger                  42             0      !lOO'Yu
Willacy                    40             0      0,00%
Williamson               2100            42      j
Wilson                    246             4      1,60%
Winkler                     0             0      !lOO'Yu
Wise                      117             3
Wood                       93             0      !lOO'Yu
Yoakum                      2             0      0,00%
Young                       0             0      !lOO'Yu
Zapata                      2             0      0,00%
Zavala                    132             1      0,
Statewide Totals        94092          3592      3,68%,




                                   OCA-APPX-0851
                                                                           STATE115604
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 852 of 2308


                  Ballots by Mail Ballots by Mail
    County                                        ~/, Rejected
                    Accepted         Rejected
Anderson                      79                0       0,00%
Andrews                       38                0       !lOO'Yu
Angelina                     190               27
Aransas                       80                5
Archer                        34                0       0,00%
Armstrong                     20                0       !lOO'Yu
Atascosa                     117                0       0,00%
Austin                       136                1       0,
Bailey                        25                0       0,00%
Bandera                      147                2        j
Bastrop                      381                8
Baylor                         9                0       !lOO'Yu
Bee                           54                0       0,00%
Bell                        1092               98
Bexar                       5858               50
Blanco                       112               11
Borden                         3                0       0,00%
Bosque                        99                0       !lOO'Yu
Bowie                        286               15
Brazoria                    1307               50
Brazos                       713               44
Brewster                      35                0       !lOO'Yu
Briscoe                       30                0       0,00%
Brooks                         2                0       !lOO'Yu
Brown                        391                1       026%
Burleson                     129                1
Burnet                       626               19
Caldwell                      90                3
Calhoun                       27                0       0,00%
Callahan                     141                5
Cameron                      290                7
Camp                          29                0       !lOO'Yu
Carson                        33                0       0,00%
Cass                         214                1
Castro                        24                0       0,00%
Chambers                      88                2
Cherokee                      97               10       93:5%
Childress                     20                0       !lOO'Yu
Clay                          45                0       0,00%
Cochran                       33                4      Hl81
Coke                          65                1       1
Coleman                       42                0       !lOO'Yu




                                        OCA-APPX-0852
                                                                             STATE115605
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 853 of 2308


Collin                   3368            49
Collingsworth               0             0
Colorado                   83             7
Comal                    1842            35
Comanche                   88             1
Concho                      1             0      !lOO'Yu
Cooke                     170             0      0,00%
Coryell                   270             0      !lOO'Yu
Cottle                     11             0      0,00%
Crane                      15             0      !lOO'Yu
Crockett                   12             0      0,00%
Crosby                     32             0      !lOO'Yu
Culberson                   0             0      0,00%
Dallam                     48             0      !lOO'Yu
Dallas                   3247           130
Dawson                     76             1
Deaf Smith                102             0      0,00%
Delta                      78             0      !lOO'Yu
Denton                   3030            74
Dewitt                     69             0      !lOO'Yu
Dickens                    32             0      0,00%
Dimmit                      0             0      !lOO'Yu
Donley                     10             0      0,00%
Duval                       1             0      !lOO'Yu
Eastland                  176             0      0,00%
Ector                     396             0      !lOO'Yu
Edwards                     8             0      0,00%
El Paso                   284            23      7
Ellis                     333             4      u
Erath                       2             0      !lOO'Yu
Falls                      68             0      0,00%
Fannin                    131            13
Fayette                   189             1
Fisher                     11             0      !lOO'Yu
Floyd                      32             1
Foard                       0             0      !lOO'Yu
Fort Bend                1481            70
Franklin                   41             0      !lOO'Yu
Freestone                  68             1
Frio                        8             2     2ilOO'Yu
Gaines                     53             2
Galveston                1714            42
Garza                      42             0      0,00%
Gillespie                 348            10      2.79 1?-<~~




                                   OCA-APPX-0853
                                                                           STATE115606
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 854 of 2308


Glasscock                 12             0      0,00%
Goliad                    27             0
Gonzales                  80             0      0,00%
Gray                     174             0      !lOO'Yu
Grayson                  569            10      L
Gregg                    315             6
Grimes                   214             9
Guadalupe                751            24      3, t O'Yu
Hale                     106             2
Hall                      18             0      !lOO'Yu
Hamilton                   0             0      0,00%
Hansford                  57             0      !lOO'Yu
Hardeman                    0            0      0,00%
Hardin                    232            0      !lOO'Yu
Harris                  13879         1169      7,
Harrison                   65            4      5):;Q'Yu
Hartley                    40            0      0,00%
Haskell                    11            0      !lOO'Yu
Hays                      971           42
Hemphill                   48            2      4,00'Yu
Henderson                 229           17
Hidalgo                   180            3
Hill                      106            0      0,00%
Hockley                   77             2
Hood                     275            46
Hopkins                   88             1
Houston                   87             3
Howard                   176             1
Hudspeth                   0             0      0,00%
Hunt                     497            11      2, t
Hutchinson               105             0      0,00%
Irion                      6             0      !lOO'Yu
Jack                      51             2      3,
Jackson                   43             0      !lOO'Yu
Jasper                    48             0      0,00%
Jeff Davis                14             0      !lOO'Yu
Jefferson                162            11      636%
Jim Hogg                   0             0      !lOO'Yu
Jim Wells                  9             0      0,00%
Johnson                  796            14      L
Jones                     68             0      0,00%
Karnes                   161             3      j
Kaufu1an                 156            55
Kendall                  599            20




                                  OCA-APPX-0854
                                                                          STATE115607
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 855 of 2308


Kenedy                     0             0         0,00%
Kent                       0             0
Kerr                     679            26
Kimble                    64             0         !lOO'Yu
King                       0             0         0,00%
Kinney                     0             0         !lOO'Yu
Kleberg                   34             0         0,00%
Knox                      12             0         !lOO'Yu
Lamar                    157             6
Lamb                      38             0         !lOO'Yu
Lampasas                 187             4
Lasalle                    4             0         !lOO'Yu
Lavaca                   237             0         0,00%
Lee                       99             l         1,OO'Yu
Leon                     147             0         0,00%
Liberty                  200             2
Limestone                109             l         0,91
Lipscomb                  60             0         !lOO'Yu
Live Oak                   0             0         0,00%
Llano                    473            29         :5   <




Loving                     0             0         0,00%
Lubbock                  938            40         4,09'Yu
Lynn                       4             0         0,00%
Madison                   73             0         !lOO'Yu
Marion                    16             0         0,00%
Martin                    11             0         !lOO'Yu
Mason                     26             0         0,00%
Matagorda                 52             6     ]
Maverick                   3             0         0,00%
Mcculloch                 69             0         !lOO'Yu
Mclennan                1133            72
Mcmullen                   6             0         !lOO'Yu
Medina                   240            12
Menard                     0             0         !lOO'Yu
Midland                  523            12
Milam                    139             0         !lOO'Yu
Mills                     45             0         0,00%
Mitchell                  22             0         !lOO'Yu
Montague                  72             0         0,00%
Montgomery              3035            39         j
Moore                     56             0         0,00%
Morris                     0             0         !lOO'Yu
Motley                    19             0         0,00%
Nacogdoches              389             9




                                  OCA-APPX-0855
                                                                          STATE115608
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 856 of 2308


Navarro                    69             4
Newton                     23             4
Nolan                      23             0         0,00%
Nueces                    394             2            1
Ochiltree                  42             0         0,00%
Oldham                      0             0         !lOO'Yu
Orange                    254             l         039%
Palo Pinto                307             l
Panola                    102             0         0,00%
Parker                    795            29
Parmer                     30             0         0,00%
Pecos                      22             3     ]
Polk                      268            20
Potter                    609            22
Presidio                    l             0         0,00%
Rains                      77             0         !lOO'Yu
Randall                  1376            17
Reagan                     14             l
Real                        0             0         0,00%
Red River                  44             0         !lOO'Yu
Reeves                      7             0         0,00%
Refugio                     9             0         !lOO'Yu
Roberts                    12             0         0,00%
Robertson                  55             0         !lOO'Yu
Rockwall                  444             6
Runnels                    32             l
Rusk                      240             2
Sabine                     50             0         !lOO'Yu
San Augustine              14             0         0,00%
San Jacinto               147             l
San Patricio              117             0         0,00%
San Saba                   18             0         !lOO'Yu
Schleicher                 18             2     t0J)0%
Scurry                     55             l      1,79'Yu
Shackelford                46             0      0,00%
Shelby                     83             0         !lOO'Yu
Sherman                    16             3     t5,
Smith                     635            51      7
Somervell                  23             l
Starr                       4             0         !lOO'Yu
Stephens                   93             0         0,00%
Sterling                    0             0         !lOO'Yu
Stonewall                   9             0         0,00%
Sutton                     12             0         !lOO'Yu




                                   OCA-APPX-0856
                                                                           STATE115609
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Swisher                    54             0         0,00%
Tarrant                  4873           689     ]

Taylor                    401             2         0,50%
Terrell                    11             0         !lOO'Yu
Terry                      61             0         0,00%
Throckmorton               12             0         !lOO'Yu
Titus                      92             0         0,00%
Tom Green                 566            24
Travis                   2164            90
Trinity                    23             0         !lOO'Yu
Tyler                     184             6         3J6%
Upshur                    142             4         ')


Upton                       0             l    l00,00%
Uvalde                     23             0         !lOO'Yu
Val Verde                   0             1
Van Zandt                  92             5
Victoria                 1152            16
Walker                    222             7
Waller                    110             0         0,00%
Ward                        0             0         !lOO'Yu
Washington                168             0         0,00%
Webb                       17             0         !lOO'Yu
Wharton                   129             0         0,00%
Wheeler                    40             0         !lOO'Yu
Wichita                   201             3
Wilbarger                 101             0         !lOO'Yu
Willacy                     3             0         0,00%
Williamson               1807            63
Wilson                    251             8
Winkler                     1             0         !lOO'Yu
Wise                      340            14
Wood                        0             0         !lOO'Yu
Yoakum                     20             0         0,00%
Young                       0             0         !lOO'Yu
Zapata                      1             0         0,00%
Zavala                      0             0         !lOO'Yu
Statewide Totals        81924          3652         4,27%,




                                   OCA-APPX-0857
                                                                           STATE115610
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                 Ballots by Mail Ballots by Mail
     County
                   Accepted         Rejected     %; Rejected
Anderson                      370              0
Andrews                        62              0
Angelina                      854             35
Aransas                       391             11
Archer                         89              0
Armstrong                      37
Atascosa                      464             10
Austin                        367              4
Bailey                         61                      1.61
Bandera                       368              8
Bastrop                      1363              8
Baylor                         28              0
Bee                           386              4
Bell                         3593            209
Bexar                       30401            361
Blanco                        271              6
Borden                         15
Bosque                        250              2
Bowie                        1097             37
Brazoria                     3802             60
Brazos                       2221             64
Brewster                      219              0
Briscoe                        65              0
Brooks                        144              2
Brmvn                         610              2
Burleson                      299              8
Burnet                       1422             32
Caldwell                      450             17
Calhoun                       213
Callahan                      203             10
Cameron                      3156             43
Camp                          165              0
Carson                         58
Cass                          572              0       o.oos,;,
Castro                         62              0
Chambers                      261              0
Cherokee                      439             20
Childress                      46              0
Clay                          100
Cochran                        55              0
Coke                          128
Coleman                       113              2
Collin                      11943            112
Collingsworth                   1              0
Colorado                      314             14       4_271;,;,




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                                                                            STATE115611
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Comal                        3763           75       1.95'>;,
Comanche                      190            3       1.55'>;,
Concho                         65            3       4.4!'>;,
Cooke                         407            0       0.00'>;,
Coryell                       720            0       0.00'>;,
Cottle                         18            0       0.00'>;,
Crane                          35                    2.78~{.
Crockett                        4            0       0.00'>;,
Crosby                         92            0       0.00'>;,
Culberson                      18            0       0.00'>;,
Dallam                         74            0       0.00'>;,
Dallas                      18714          336       1.76'>;,
Dawson                        150                    0.66'>;,
Deaf Smith                    201            0       0.00'>;,
Delta                         144            0       0.00'>;,
Denton                      10199          172       l .66'>;,
Dewitt                        228            3       l .30'>;,
Dickens                        34            0       0.00'>;,
Dimmit                        203            0       0.00'>;,
Donley                          0                 100. 00'>;,
Duval                         403          101     20.04'>;,
Eastland                      356                    0.28'>;,
Ector                         873           62       6.63'>;,
Edwards                        23                    4.17'>;,
El Paso                      4036          559     l 2.17'};,
Ellis                        1540           69       4.29'>;,
Erath                         370           12       3.]4~{.
Falls                         181            0       0.00'>;,
Fannin                        532           11       2.03'>;,
Fayette                       470            7       1.47'>;,
Fisher                         68            0       0.00'>;,
Floyd                          65            0       0.00'>;,
Foard                           6            0       0.00'>;,
Fort Bend                    9831          524       s.om,;,
Franklin                      113            0       0.00'>;,
Freestone                     192            1       0.52'>;,
Frio                          357            3       0.83'>;,
Gaines                         73            0       0.00'>;,
Galveston                    5270           98       1.83'>;,
Garza                          48            0       0.00'>;,
Gillespie                     802            8       0.99'>;,
Glasscock                      23            0       0.00'>;,
Goliad                         95            6       5.94~{.
Gonzales                      262                    0.38'>;,
Gray                          353                    0.28'>;,
Grayson                      1821           32       1.73'>;,
Gregg                        1519           19       1.24~-"i>




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Grimes                       517            32
Guadalupe                   2502            80
Hale                         210             0
Hall                           0             0
Hamilton                      98             3
Hansford                      21             0
Hardeman                       8             0
Hardin                       580             8
Harris                     59708          2791
Harrison                     539            27
Hartley                       71
Haskell                       62             0
Hays                        4527           196
Hemphill                      70             0
Henderson                   1016            17
Hidalgo                     4920            98
Hill                         331             0
Hockley                      178             0
Hood                        1098            92
Hopkins                      285             5
Houston                      311             0
Howard                       350            12
Hudspeth                       0             0
Hunt                        1164            28
Hutchinson                   211             1      0.47'};,
Crion                         16             0
Jack                         127             0
Jackson                      143            12
Jasper                       309
Jeff Davis                    32
Jefferson                   2841           158
Jim Hogg                     249             0
Jim Wells                    436            83
Johnson                     1920             0
Jones                        223             0
Karnes                       320            10      3.03'>;,
Kaufman                      811            33
Kendall                     1201            32
Kenedy                         8             0
Kent                           4             0
Kerr                        1436            10
Kimble                        97
King                           3             0
Kinney                         0             0
Kleberg                      405             2
Knox                          36             0
Lamar                        554             8      1.42S';,




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                                                                              STATE115613
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Lamb                      160             0
Lampasas                  382            13
Lasalle                   162             2
Lavaca                    507             0
Lee                       245            11
Leon                      294
Liberty                   510            10
Limestone                 300
Lipscomb                  100             2
Live Oak                  129             4
Llano                     191            10
Loving                      0             0
Lubbock                  2656            78
Lynn                                      0
Madison                   152             3
Marion                    165            14
Martin                     29             0
Mason                      73             0
Matagorda                 346            14
Maverick                  222            14
Mcculloch                   0             0
Mclennan                 3760           121
Mcmullen                   12
Medina                    696            28
Menard                     56             0      o.oor>;,
Midland                   407            20
Milam                     372             2
Mills                      74             7
Mitchell                   51             0
Montague                  200             2
Montgomery               8943            43
Moore                     126             0
Morris                    132            10
Motley                     34             0
Nacogdoches               968             9
Navarro                   314            19      5.71'>;,
Newton                    100             9
Nolan                     119             0
Nueces                   6784             2
Ochiltree                  99             0
Oldham                     35
Orange                    910            18
Palo Pinto                487            11
Panola                    247
Parker                   1837            22
Parmer                     58             0
Pecos                     159             5      3,05~-"i>




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                                                                           STATE115614
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Polk                      2643            45
Potter                    1356            54
Presidio                    69             4
Rains                      174             0
Randall                   2559            33
Reagan                      16             0
Real                        54             0
Red River                  157             0
Reeves                     146
Refugio                     95             0
Roberts                     24             0
Robertson                  207             6
Rockwall                  1186            19
Runnels                    120             0
Rusk                       634             3
Sabine                     165
San Augustine               87
San Jacinto                421
San Patricio               842            10
San Saba                    50             0
Schleicher                  69             0
Scurry                     125             4
Shackelford                 92             0
Shelby                     252            14
Sherman                     25             0      o.oor>;,
Smith                     2637            72
Somervell                   69
Starr                      449           157
Stephens                   133             2
Sterling                     7             0
Stonewall                   34             0
Sutton                      33             0
Swisher                    124
Tarrant                  21751           558
Taylor                    1333            35
Terrell                      0             0      O.OfY:>;,
Terry                      108             1
Throckmorton                24
Titus                      243             6
Tom Green                 1653            62
Travis                   19993           473
Trinity                    128             0
Tyler                      319             4
Upshur                     450             5
Upton                       27             0
Uvalde                     395            20
Val Verde                    0             0      o.oos,;,



                                    OCA-APPX-0862
                                                                            STATE115615
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Van Zandt                  448            16
Victoria                  2355            11
Walker                     682             4
Waller                     485
Ward                       121             0
Washington                 488             5
Webb                      1064            23
\Vharton                   501             3
\Vheeler                    77             0
Wichita                    1232           10
Wilbarger                   229            0
Willacy                     127           12
Williamson                 8273          184
Wilson                      840            9
Winkler                      42            0
Wise                        847           20
Wood                        757            0
Yoakum                       35            5
Young                         0            0
Zapata                       81            0
Zavala                      166            2
Statewide Totals         336349         9348      :L7W>h




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                 Exhibit 66




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ELECTION ADMINISTRATION
AND VOTING SURVEY 2020
 COMPREHENSIVE REPORT
           A REPORT FROM THE
 U.S. ELECTION ASSISTANCE COMMISSION
         TO THE 117TH CONGRESS




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Executive Summary
Since 2004, the U.S. Election Assistance Commission (EAC) has conducted the Election
Administration and Voting Survey (EAVS) following each federal general election. The EAVS asks all
50 U.S. states, the District of Columbia, and five U.S. territories—American Samoa, Guam, the
Northern Mariana Islands, Puerto Rico, and the U.S. Virgin Islands—to provide data about the ways
Americans vote and how elections are administered. Since 2008, this project has included a
separate survey, the Election Administration Policy Survey (Policy Survey), that collects information
about state election laws, policies, and practices.

The EAVS provides the most comprehensive source of state and local jurisdiction-level data about
election administration in the United States. These data play a vital role in helping election officials,
policymakers, and other election stakeholders identify trends, anticipate and respond to changing
voter needs, invest resources to improve election administration and the voter experience, and
better secure U.S. elections infrastructure. The EAVS data make it possible to examine the details of
the U.S. election infrastructure and to produce a generalizable understanding of core aspects of the
election process and the management challenges faced by election officials. The survey provides
policymakers and the public with critical information every two years about how federal elections are
conducted, and it helps the EAC fulfill its congressionally mandated reporting requirements. The
EAVS is also invaluable to election officials who use the data to manage election oversight, conduct
issue analysis and strategic planning, and create training and promotional materials. The EAC also
uses EAVS data to create clearinghouse resources to advance the agency’s mission and to better
support election officials and voters as well as to inform lawmakers and national-level stakeholders
about the impact of federal voting laws and the changing landscape of U.S. elections.

The 2020 general election was heavily affected by the COVID-19 pandemic. The pandemic and the
ensuing public health emergency necessitated a variety of changes to existing election practices to
accommodate social distancing and to slow the spread of the virus among voters, poll workers, and
election officials and staff. In response, many states took action to expand the availability of in-
person voting before Election Day and mail voting. Because of its status as the most comprehensive
survey of election administration in the United States, the 2020 EAVS serves as a record of the
extraordinary efforts by the nation’s election officials and poll workers to ensure that the 2020
general election was conducted in a safe and secure manner. To this end, the EAC is pleased to
present to the 117th Congress its report on the 2020 EAVS.

This report describes in detail how the 2020 federal general election was administered and how
voters cast their ballots. Data from the EAVS and the accompanying Election Administration Policy
Survey (Policy Survey) are used to provide an overview of each of the following aspects of the
election process:

   • Turnout, voting methods, polling places, poll workers, and election technology are covered in
     Chapter 1, “Overview of Election Administration and Voting in the 2020 General Election”;



                                                                                   Executive Summary | i
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   • Key laws, rules, policies, and procedures that govern U.S. elections are covered in Chapter 2,
     “Election Law and Procedure: The Policy Survey”;
   • Voter registration and list maintenance are covered in Chapter 3, “Voter Registration: The
     NVRA and Beyond”;
   • Voting by individuals covered under the Uniformed and Overseas Citizens Absentee Voting Act
     (UOCAVA) is described in Chapter 4, “Military and Overseas Voting in 2020: UOCAVA”; and
   • Finally, the methodology of the EAVS and a description of the survey questions are discussed
     in Chapter 5, “Survey Methodology and Procedures.”

Voting and Election Administration Findings
The 2020 EAVS confirms that the 2020 general election saw the highest turnout of any federal
general election recorded by the EAVS to date, with 67.7% of the citizen voting age population (CVAP)
casting ballots that were counted, an increase of 6.7 percentage points from 2016 levels. Nearly
every state saw an increase in turnout compared to the 2016 EAVS. Furthermore, more than 209
million people were active registered voters for the 2020 general election, which represents an all-
time high, and more than 161 million voters cast ballots that were counted for this election.

This election also saw sweeping changes in how voters cast their ballots. In the 2016 EAVS, 54.5%
of voters cast their ballots in person on Election Day, and in the 2018 EAVS, 58.2% of voters did so.
In 2020, only 30.5% of voters cast their ballots in person on Election Day. The percentage of the
electorate that voted a mailed ballot increased to 43.1% of the electorate, nearly a 20-percentage-
point increase from 2016 levels. Jurisdiction-level analysis shows that the largest increases in mail
voting rates occurred in jurisdictions in states that newly instituted all-mail elections in 2020 and in
jurisdictions in states that removed requirements to provide an excuse to request a mailed ballot.
Although the total number of mailed ballots transmitted in 2020 was more than double the number
transmitted in 2016, the percentages of mailed ballots that were returned by voters, that were
counted, and that were rejected did not change significantly at the national level.

States reported a total of 132,556 polling places at which 775,101 poll workers assisted voters with
in-person early and Election Day voting. The data also show a shift in the age distribution of poll
workers, with the percentage of poll workers ages 18 to 25 and 26 to 40 increasing to 6.2% and
15.0%, respectively, and the percentage of poll workers ages 61 to 70 and 71 and older decreasing,
to 27.3% and 20.1%, respectively. Jurisdictions also reported that poll worker recruitment was less
difficult in 2020 than it was in 2016. In survey comments, many jurisdictions cited cross-cutting
effects on their recruitment efforts. Jurisdictions reported that the COVID-19 pandemic made it
difficult to retain long-time, older poll workers and caused last-minute poll worker shortages, but the
efforts of the EAC, state election offices, and other organizations to encourage qualified individuals
to serve as poll workers were cited as helping contribute to an oversupply of poll workers in some
areas.

States reported that the use of electronic poll books (or e-poll books) increased since the 2018
EAVS, and 17 states used e-poll books in all of their jurisdictions. Scanners and ballot marking
devices (BMD) continued to be the most common types of voting equipment used, and the use of



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direct-recording electronic (DRE) machines that were not equipped with a voter-verified paper audit
trail (DRE without VVPAT) also continued to decline. In 2020, only 32 jurisdictions across the country
relied solely on voting machines with no paper backup.

Election Administration Policy Survey Findings
To provide context to the data that states report in the EAVS, the EAC collects information about
states’ election policies. Two-thirds of states reported having top-down registration systems hosted
on a single, central platform or mainframe that is maintained by the state with information supplied
by local jurisdictions; the remaining one-third of states reported having bottom-up or hybrid
databases. To keep their voter registration rolls accurate and up to date, most states reported
sharing information with motor vehicle agencies, government entities that maintain death records,
and agencies that maintain felony or prison records. The percentage of states offering both same-
day registration (51.8%) and online registration (80.4%) increased since the 2018 Policy Survey.

The Policy Survey also recorded an increase in state policies that make it safer for voters to cast a
ballot or to reduce potential lines and crowds at in-person polling places. In 2020, a total of 14
states reported having all-mail elections, in which all registered voters or all active registered voters
were automatically sent a mailed ballot—10 of these states conducted all-mail elections statewide,
whereas four of the states did so only in select jurisdictions. This was an increase from the 2018
Policy Survey, which found that three states administered their elections entirely by mail and four
states had all-mail elections in select local jurisdictions. In addition, 69.6% of states did not require
voters to provide an excuse to be able to vote a mailed ballot (seven states had removed the excuse
requirement since the 2018 Policy Survey), and 51.8% of states reported that there were some
circumstances under which voters could receive ballots electronically. However, the Policy Survey did
not collect information on whether policy changes made for the 2020 general election were
permanent or temporary, or whether the changes were made in direct response to the COVID-19
pandemic.

Nearly all states reported that voting systems must be tested and certified before approval, with the
most common certification requirements being testing by an EAC-accredited voting system test
laboratory (VSTL), certification according to the EAC-adopted Voluntary Voting System Guidelines
(VVSG), and both state and federal certification. In 2020, of the 40 states that reported using e-poll
books, 55% required testing and certification to the state’s specifications before purchasing the
e-poll books.

In the post-election period, 78.6% of states reported that they required a tabulation audit to verify
the voting equipment used to count ballots worked properly. Of these states, about three-quarters
required a traditional tabulation audit (which examines a sample of ballots from a fixed percentage
of randomly selected voting districts or voting machines), whereas about one-fifth of the states
required a risk-limiting tabulation audit (in which statistical methods are used to select the audit
sample size). All states reported having a mechanism for conducting election recounts, although the
circumstances under which a recount would be conducted varied by state.




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The National Voter Registration Act (NVRA) Findings
The 2020 EAVS data show the active voter registration rate for the 2020 general election was 88.2%
of the CVAP, which represents an increase of 3.5 percentage points since the 2016 EAVS. More than
103 million voter registration applications were submitted between the close of registration for the
2018 general election and the close of registration for the 2020 general election, which represents a
33.8% increase in the number of registration applications received in the period leading up to the
2016 general election. Of the registration applications received, the most common outcome was an
update to the voter’s existing registration record that did not involve a cross-jurisdiction change of
address. This type of update accounted for nearly half of the registration applications received. New
and valid registrations that resulted in the creation of a new voter registration record within the
jurisdiction accounted for nearly one-third of the applications received.

As with previous iterations of the EAVS, state motor vehicle departments accounted for the largest
share of these registration applications (39.3%). The second-most common source of these
applications was online registration, which accounted for 28.2% of applications. Online registration
also saw the fastest growth of any registration source tracked by the EAVS.

The 29 states and territories that allow same-day voter registration (SDR) reported receiving more
than 1.6 million SDRs during the voting period for the 2020 general election, approximately double
the number received during the 2018 EAVS. SDR allows individuals to register to vote on the same
day that they cast their ballot for an election. Nationwide, more SDRs were received on Election Day
than were received during early voting.

Pursuant to the NVRA requirements, states reported sending more than 28 million confirmation
notices and removing more than 18 million voter registration records from their voter registration
rolls between the close of registration for the 2018 general election and the close of registration for
the 2020 general election. The most common reasons cited for removing voter registration records
were failure to respond to a confirmation notice and to vote in the two most recent federal general
elections, moving from the jurisdiction in which the voter was registered to vote, and the voter’s
death.

The Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA)
Findings
States reported transmitting more than 1.2 million ballots to UOCAVA voters—a population that
includes members of the uniformed services absent from their voting residence, their eligible family
members, and U.S. citizens living overseas who receive special protections under the federal
UOCAVA law. Of those transmitted ballots, more than 900,000 were returned by voters and nearly
890,000 were counted in the election.

Continuing a trend that began with the 2016 EAVS, in 2020, overseas citizens made up a larger
proportion of the UOCAVA population than did uniformed services members and their eligible family
members. In 2020, overseas citizens accounted for 57.4% of registered UOCAVA voters, and



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uniformed services members accounted for 42.3%. Three states—California, Florida, and
Washington—accounted for slightly more than 40% of all the registered UOCAVA voters reported
nationwide.

Among uniformed services voters, postal mail transmission was the most common method reported
(accounting for nearly half of the ballots transmitted to uniformed services voters), whereas overseas
citizens more commonly received their ballots through email (accounting for 70.9% of ballots
transmitted to overseas citizens).

Nearly 98% of UOCAVA ballots returned by voters were reported as counted, with just over 2% of
returned ballots reported as rejected. Nationwide, more than 33,000 Federal Write-In Absentee
Ballots (FWAB) were reported as received. This form may be submitted by UOCAVA voters as an
emergency backup ballot in case their official ballot is not received by local election officials in time
to be counted. The FWAB allowed nearly 24,000 UOCAVA voters to have their votes counted in the
2020 general election.




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  This report by the U.S. Election Assistance Commission is the result of a contract to collect and
analyze data for the 2020 Election Administration and Voting Survey. The contract was performed by
            Fors Marsh Group LLC, an applied research company based in Arlington, VA.


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                                     Washington, DC 20001
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Chapter 1. Overview of Election
Administration and Voting in the 2020
General Election
Key Findings
The 2020 Election Administration and Voting Survey (EAVS) collected data on ballots cast, voter
registration, overseas and military voting, voting technology, and other important issues related to
voting and election administration. The 2020 general election was especially impacted by the COVID-
19 pandemic, which caused drastic changes to how the election was administered and how voters
cast their ballots. Notable findings from the 2020 EAVS include:

   • More than 209 million people were active registered voters for the 2020 general election, an
     all-time high for the EAVS.
   • Voter turnout for the 2020 general election reached the highest level documented in any EAVS
     thus far, at 67.7% of the citizen voting age population (CVAP). Turnout increased 6.7
     percentage points from 2016 levels, and nearly all states reported an increase in turnout.
     More than 161 million voters cast ballots that were counted for the 2020 election.
   • For the first time, a majority of voters cast their ballots before Election Day. Slightly more than
     43% of voters participated with a mailed ballot, and 30.6% of ballots were cast through in-
     person voting before Election Day. Ballots cast on Election Day at a physical polling place
     comprised 30.5% of the turnout for the 2020 general election.
   • The number of mailed ballots transmitted to voters more than doubled from 2016 to 2020,
     and the percentage of mailed ballots that were returned by voters, that were counted, and that
     were rejected held steady with 2016 levels.
   • The COVID-19 pandemic appears to have been associated with a change in both poll worker
     recruitment and the resulting age distribution of the poll worker workforce. States reported
     that the ages of their poll workers skewed younger during the 2020 general election compared
     to during the 2016 general election. However, states and jurisdictions reported that recruiting
     poll workers for this election was slightly easier due to national and state efforts that
     encouraged voters to serve as poll workers.
   • The most common types of election equipment that were used were paper ballot scanners and
     ballot marking devices (BMD). The use of direct-recording electronic machines that were not
     equipped with a voter-verified paper audit trail (DRE without VVPAT) continued to decline
     among jurisdictions since the 2018 general election, and the use of electronic poll books (e-
     poll books) continued to increase. More than 30% of jurisdictions reported using e-poll books
     (an increase of more than 5 percentage points from 2018), and 17 states reported that all
     jurisdictions used e-poll books.



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Election Administration in the United States
The United States is notable for having a largely decentralized system for administering federal
elections. Local jurisdictions have the primary responsibility of administering state and federal
elections and of tabulating, reporting, and certifying results. The U.S. Constitution and various federal
laws govern specific aspects of federal elections, and a small number of federal agencies—such as
the U.S. Election Assistance Commission (EAC) and the Federal Voting Assistance Program (FVAP)—
play a supportive role in election administration. Broad legal and procedural authority rests with the
states, 1 territories, the District of Columbia, and local jurisdictions. As a result, a wide variation exists
among and within state election policies and practices, and the policies and practices are constantly
evolving. Nevertheless, U.S. elections generally follow a standard process. As shown in Figure 1, the
election process can be viewed as a cycle.

    1. The legal and procedural framework for elections is generally established in advance of a
       general election. This framework includes determining voter eligibility rules; how, when, and
       where voters may cast their ballots; and what technology will be used to support elections.
       Supported by state election offices, most of these policies and procedures are implemented
       by election officials at the local level (e.g., county, township, municipality).

    2. To participate in elections, eligible citizens typically must register to vote, pursuant to the
       eligibility rules established by federal law and by their state. 2 In many states, voters must
       register in advance of a set registration deadline; in others, eligible individuals may register
       and cast a ballot on the same day, whether during an early voting period or on Election Day.
       Depending on state policy, eligible citizens may have multiple avenues for submitting their
       registration applications, including by mail, fax, or email; online registration websites; in
       person at an election office, at a motor vehicle office, at other state government agency
       offices, or at an armed forces recruitment office; or through a registration drive. States are
       also required to periodically examine their voter registration rolls and remove the records of
       voters who are no longer eligible, for instance, because the voter no longer resides in the
       state or jurisdiction in which they are registered, the voter has failed to respond to a notice
       sent to them by mail and has not voted in the two most recent federal general elections, the
       voter is deceased, or the voter has received a criminal conviction that disqualifies them from
       voting. The voter may also directly inform the election office of a change in residency, which
       begins the process of designating a voter as inactive and ultimately removing them from the
       voter registration roll. The process of updating voter registration rolls and removing ineligible
       voters is referred to as list maintenance.

    3. When a federal general election is approaching, voting begins well in advance of Election Day
       for many voters, including eligible military voters and overseas citizens who are absent from
       their voting residence, for whom the right to participate in federal elections is protected
       under the Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA). In addition, all

1 Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 50 U.S. states, the
District of Columbia, and five U.S. territories (American Samoa, Guam, the Northern Mariana Islands, Puerto Rico, and the
U.S. Virgin Islands) that submit Election Administration Policy Survey and EAVS data.
2 North Dakota is the only state that does not require citizens to register before casting a ballot in an election.




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   states provide avenues for voters to cast ballots before Election Day. This may include voting
   a mailed ballot, casting a ballot in person at a dedicated early voting site, or receiving and
   casting a ballot at an election office. Some states allow any eligible voter to cast their ballot
   before Election Day, whereas others restrict early voting and mail voting only to certain
   segments of the population, such as voters who are absent from their home jurisdiction on
   Election Day, voters with illnesses or disabilities, voters over a certain age, or voters who
   provide a statutorily valid excuse. The voting options that are available to voters and the
   timelines for mail voting and in-person early voting vary by state and by local jurisdiction.

                             Figure 1. The U.S. Election Process




4. Voters who do not cast ballots beforehand may vote on Election Day at in-person voting sites
   staffed by poll workers. In most states, individuals whose eligibility cannot be verified at the


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         time of voting may cast a provisional ballot. Election officials then investigate the eligibility of
         individuals who cast provisional ballots to determine whether their ballots should be
         counted, either in full or in part, or rejected.

    5. After the polls close on Election Day, the process of counting ballots to determine the final
       election results begins. This may also be referred to as tabulation or canvassing. State
       policies vary on when counting may begin—some states may begin pre-processing mailed
       ballots (e.g., opening envelopes, verifying the mail voter’s eligibility to cast a ballot, removing
       ballots from secrecy envelopes to prepare them for counting) before Election Day, whereas
       other states require that in-person polls must be closed before any ballots can be counted.
       Depending on state law and on what equipment is used to process the ballots, ballot
       counting may take several days to complete.

    6. Once the unofficial results of the election are known, state and local election officials review
       the results for accuracy and certify them as final. After this is complete, many states conduct
       audits of their election results and voting equipment to ensure that the established election
       procedures were followed and that the equipment functioned correctly. Certain election
       races may also be recounted if the margin of victory is close; if a candidate, party, or other
       authorized group requests a recount; or if a court orders a recount to be conducted.

The election process can be viewed as a cycle in the sense that the experiences from previous
elections are used to inform decision-making for the legal and procedural framework for subsequent
elections. Often, the successful approaches and innovations implemented in one state or local
jurisdiction during an election are adopted by other states or localities in subsequent elections.

The COVID-19 pandemic was declared in March 2020 and impacted nearly all aspects of the 2020
voting process, from dates and deadlines to how voters were able to register to vote, options to cast
a ballot, and how long it took to count the ballots. In some cases, certain state policies, such as
those concerning mail and absentee voting, were expanded temporarily for the 2020 election cycle
to address the COVID-19 restrictions. 3 Throughout the election, state and local election
administrators, staff, and poll workers worked heroically to ensure voters were able to exercise their
right to vote in a safe and secure manner.

The Election Administration and Voting Survey (EAVS)
Since 2004, the EAC has conducted the EAVS following each federal general election. 4 The EAVS
asks all 50 U.S. states, the District of Columbia, and the five U.S. territories—American Samoa,




3 The 2020 Policy Survey and EAVS did not collect information on when a policy change was made, why it was made, or
whether the change was temporary or permanent.
4 The EAVS does not collect data on primary elections, run-off elections, or special elections. The data provided by states
were only for the November 3, 2020, federal general election.



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Guam, the Northern Mariana Islands, Puerto Rico, and the U.S. Virgin Islands 5—to provide data about
the ways in which Americans vote and how elections are administered.

The EAVS provides the most comprehensive source of state and local jurisdiction-level data about
election administration in the United States. These data play a vital role in helping election officials,
policymakers, and other election stakeholders identify trends, anticipate and respond to changing
voter needs, invest resources to improve election administration and the voter experience, and
better secure U.S. elections infrastructure. The EAVS data make it possible to examine the details of
the U.S. elections infrastructure and to produce a generalizable understanding of the core aspects of
the election process and the management challenges faced by election officials. The survey provides
policymakers and the public with critical information every two years about how federal elections are
conducted, and it helps the EAC fulfill its congressionally mandated reporting requirements. The
EAVS is also invaluable to election officials themselves. These officials use the EAVS to manage
election oversight, conduct issue analysis and strategic planning, and create training and
promotional materials.

The EAC also uses the EAVS data to create research and clearinghouse resources to advance the
agency’s mission and to better support election officials and voters as well as to inform lawmakers
and national-level stakeholders about the impact of federal voting laws and the changing landscape
of U.S. elections. The EAVS helps the EAC meet its mandate under the Help America Vote Act (HAVA)
to serve as a national clearinghouse and resource for the compilation of information and to review
procedures with respect to the administration of federal elections. The EAVS sections related to voter
registration and UOCAVA voting allow states to satisfy their data reporting requirements established,
respectively, by the National Voter Registration Act (NVRA) and UOCAVA. The EAVS also helps FVAP
fulfill its obligations under UOCAVA to reduce obstacles to ensure military and overseas voting
success by collecting data about how UOCAVA voters participate in elections.

The EAVS data collection effort consists of two separately administered surveys: the Policy Survey
and the EAVS. The Policy Survey, which is due in advance of each federal general election, collects
data on state election policies and procedures to provide context for the quantitative data included
in each state’s EAVS submission. The EAVS, which is due after each federal general election is
complete, collects data on voter registration, UOCAVA voters, mail voting, in-person voting and polling
operations, provisional ballots, voter participation, and election technology. Complete details about
the methodology of the 2020 Policy Survey and the EAVS, including an outline of the survey
questionnaires, the data collection templates, the data validation process, and technical assistance
provided to respondents, can be found in Chapter 5, “Survey Methodology and Procedures,” of this
report.

Providing EAVS data is frequently a joint task undertaken by state and local jurisdiction election
officials. Although 25 states and territories were able to provide all EAVS data from their centralized
election database, 31 states and territories relied on local jurisdictions to provide responses to some


5 Puerto Rico provides EAVS data only in presidential election years, as it does not hold elections for federal candidates in

midterm election years. American Samoa did not participate in the 2016 EAVS. The Northern Mariana Islands participated
in the EAVS for the first time in 2020.



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or all of the EAVS questions. An analysis of how states provide EAVS data can be found in Chapter 2
of this report.

Chapter 1 of this report covers turnout and modes of voting in the 2020 general election, polling
places and poll workers, and election technology. This chapter also comprises a non-exhaustive
overview of the data provided by states and jurisdictions in the EAVS. State election policies and
practices are featured in Chapter 2, “Election Law and Procedure: The Policy Survey.” Voter
registration is covered in greater detail in Chapter 3, “Voter Registration: The NVRA and Beyond.”
UOCAVA voting is discussed further in Chapter 4, “Military and Overseas Voting in the 2020 General
Election: UOCAVA.”

Overall EAVS Response Rates
The analysis in this report is based on information and data submitted and certified by the 50 U.S.
states, five territories, and the District of Columbia. These 56 entities comprised 6,460 jurisdictions. 6
The state-level response rate was 100% (56 of 56 entities provided data), and the jurisdiction-level
response rate was 100% (6,460 of 6,460 jurisdictions provided data). 7 During the data collection
period, efforts were made to maximize the completeness and accuracy of the data reported. These
efforts are outlined in the methodology of this report (Chapter 5). Instances when a state’s data were
not included in a calculation because of missing data or data quality issues are described in the
footnotes and table notes that accompany the analysis in this report.

Turnout in the 2020 General Election
According to the EAVS data submitted by states, there were 228,004,364 voters who were
registered to vote in the United States as of November 3, 2020. Of this total, 209,441,338 were
considered active voters, which means they had no additional processing requirements to fulfill
before voting, and 18,523,963 were considered inactive voters, which means they required address
verification under the provisions of the NVRA before they would be permitted to vote. 8 As a
percentage of the 2019 CVAP estimate calculated by the U.S. Census Bureau, 88.2% of voting age




6 What constitutes a jurisdiction for EAVS reporting is defined by how each state chose to provide data. For the 2020 EAVS,
most states reported data on the county level (or county equivalent, such as parishes for Louisiana). Illinois, Maryland,
Missouri, and Virginia reported data for independent cities in addition to counties. The territories, the District of Columbia,
and Alaska each reported as a single jurisdiction. Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island,
Vermont, and Wisconsin reported data on the township level. Maine also reported its UOCAVA data in Section B as a
separate jurisdiction, because this information was only collected at the state level. Michigan reported data for the county
level, but most election administration activities take place in the 1,520 local election jurisdictions in the state. Two
jurisdictions in Wisconsin were consolidated or annexed into other jurisdictions partway through 2020. See Appendix A in
Chapter 5 of this report for a breakdown of the number of jurisdictions reported in each state and the response rate by
survey section for each state.
7 Appendix A of Chapter 5 of this report contains an analysis of state-level response rates to each section of the EAVS.
8 The total number of registered voters was collected in item A1a of the EAVS. The total number of active voters was
collected in item A1b. The total number of inactive voters was collected in item A1c. According to the 2020 Policy Survey,
six states (Guam, Idaho, North Dakota, New Hampshire, the U.S. Virgin Islands, and Wyoming) did not distinguish between
active and inactive voters in their registration records. These states were not required to provide data in item A1c of the
EAVS. Casewise deletion at the state level was used in this calculation.



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                                          Calculating Turnout Rates
   When assessing election administration, one primary outcome of interest is voter turnout, which is
   calculated by dividing the number of people who participated in an election by the number of people who
   could have participated. The EAVS provides a measure of the total number of voters who cast a ballot
   that was counted in an election (item F1a) for the numerator in this equation. However, multiple
   denominators can be used:

       • Number of registered voters or active voters. The number of people a state reports as registered
         and eligible to vote (A1a in the EAVS). Some states separately report the number of active voters
         who have no additional processing requirements to fulfill before voting (A1b in the EAVS). This
         number is available for states and sub-state EAVS jurisdictions.
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       • Citizen voting age population (CVAP). The estimate of the total number of U.S. citizens 18 years of
         age or older based on the U.S. Census Bureau’s ACS. This number is available for states and most
         sub-state EAVS jurisdictions but not for U.S. territories, except for Puerto Rico.
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       • Voting Eligible Population (VEP). The measure of the CVAP minus those who are ineligible to vote
         (such as persons with disqualifying felony convictions) and persons who are in the military or
         citizens living overseas. This number is available for states, but not territories or for sub-state
         jurisdictions.
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   Relying on the number of registered or active voters can be problematic for calculating turnout because it
   is often challenging for states to keep voter registration rolls fully up to date (see Chapter 3 of this report
   for a discussion of list maintenance practices). Using VEP as the denominator in turnout calculations
   would somewhat overrepresent voter turnout—since EAVS data explicitly include persons covered by
   UOCAVA—and would restrict the ability to estimate turnout for sub-state jurisdictions. Although each
   denominator has its limitations, the EAC uses CVAP to calculate turnout in this report because of its
   availability for the majority of jurisdictions that report EAVS data and because it provides a more accurate
   picture of the population covered by the EAVS. Appendix D of Chapter 5 of this report contains
   recommendations on how to calculate additional EAVS rates.



citizens were registered as active voters for the 2020 general election. 9 This is an increase of 3.6
percentage points from the 2016 CVAP active voter registration rate of 84.6%. Further details about

9 This report uses the 1-year American Community Survey (ACS) state estimate for 2019 instead of the 5-year estimate to

ensure that the CVAP is as current as possible. The CVAP estimates for 2020 were not available by the time this report was
finalized. The active CVAP registration rate was calculated as the total number of active voters (A1b of the EAVS) divided by
CVAP. American Samoa, Guam, the Northern Mariana Islands, and the U.S. Virgin Islands were not included in this
calculation because the U.S. Census Bureau does not calculate a CVAP for these territories. North Dakota was not included




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voter registration, including how voters registered to vote, the use of same-day voter registration
(SDR), and list maintenance, can be found in Chapter 3 of this report.

States also reported that a total of 161,303,109 voters cast ballots that were counted for the 2020
general election. This represents a CVAP turnout rate of 67.7% nationwide. 10 Turnout for the 2020
general election increased 6.7 percentage points from the 2016 CVAP turnout rate of 61%. 11
Despite many election administration challenges related to the COVID-19 pandemic, the 2020
election had the highest turnout rate of any EAVS to date.

Figure 2 shows that nearly all states experienced higher turnout rates in 2020 than they did for the
2016 general election. Twenty-one states had more than 70% of their CVAP cast a ballot that was
counted for the 2020 general election; only four states had turnout over 70% for the 2016 election.
In addition, three states—Utah, Hawaii, and Texas—had turnout increases of more than 10
percentage points compared to the 2016 general election. The states with the highest turnout
increases tended to be those that made mail voting easy for voters. Hawaii and Utah had both
enacted all-mail elections in 2019, and Nevada, New Jersey, and Vermont did the same as a
temporary measure in response to the COVID-19 pandemic. Arizona, California, Montana, and
Washington had already been conducting their elections predominantly or entirely by mail before
2020. Michigan automatically sent mailed ballot request forms to all registered voters for the 2020
general election. These states, along with Georgia, Tennessee, and Texas, each had turnout
increases of more than 8 percentage points from 2016 to 2020. Only one U.S. territory—Puerto
Rico—reported a decrease in turnout since the 2016 general election.

Another notable finding from the 2020 EAVS was a change in how voters cast their ballots.
Historically, the majority of voters have cast their ballots in person at a physical polling place on
Election Day. This method of voting was used by 54.5% of voters in 2016 and by 58.2% of voters in
2018. However, in 2020, the percentage of these voters fell to 30.5%. 12 For the first time in EAVS
history, a majority of voters did not cast their ballots in person on Election Day; in 2020, Election Day
in-person voting was less commonly used than mail voting or in-person early voting. The nationwide
number of voters who vote in person on Election Day has likewise been steadily decreasing, from
72,393,400 in 2016 to 67,133,886 in 2018 and to 47,148,389 in 2020. This is despite an overall




in this calculation because this state does not have voter registration. Casewise deletion at the state level was used in this
calculation.
10 The total number of voters who cast a ballot that was counted was reported in item F1a of the EAVS. The CVAP turnout
rate was calculated by dividing F1a by CVAP. American Samoa, Guam, the Northern Mariana Islands, and the U.S. Virgin
Islands were not included in this calculation because the U.S. Census Bureau does not calculate CVAP for these territories.
Casewise deletion at the state level was used in this calculation.
11 For the 2020 EAVS, the question about voter participation was reworded. In 2016, this question collected data on ballots
cast (independent of outcome), whereas in 2020, it collected data on ballots cast and counted. Thus, it is likely that the
2016 turnout calculation was higher than it would have been if the 2020 question wording had been used, thus,
underestimating the true turnout change from 2016 to 2020.
12 Election Day in-person turnout was calculated by dividing the total number of Election Day in-person voters who cast a
ballot that was counted (item F1b of the EAVS) by the total number of voters who cast a ballot that was counted (item F1a).
Oregon and Washington did not report any in-person Election Day voters because these states conduct their elections
almost entirely by mail. Casewise deletion at the state level was used in this calculation.



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      Figure 2. Nearly All States Experienced Turnout Increases in the 2020 General Election




Source: The CVAP turnout was calculated as F1a/CVAP x 100 for both 2016 and 2020. American Samoa, Guam, the
Northern Mariana Islands, and the U.S. Virgin Islands were not included, as CVAP is not available for these territories.
Casewise deletion was used at the state level in calculating turnout. Change between 2016 and 2020 is measured in
percentage points.



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increase in 2020 in the number of states with a policy that allows for vote centers (either on a
statewide level or in certain jurisdictions), which allow voters to cast their ballots at any polling
location or vote center within their jurisdiction rather than at an assigned polling location. Twenty-one
states reported allowing vote centers for the 2020 general election compared to 17 states in
2018. 13

The percentage of voters who used a mailed ballot to vote surged, from 24.5% in 2016 and 25.6% in
2018 to 43.1% in 2020. The number of voters who used in-person early voting also increased from
previous years, although the increase was not as large. In 2016, 25.3% of voters cast their ballots
early in person, and 22% did so in 2018, compared to 30.6% for the 2020 general election. The


     Figure 3. Mail Voting Was the Most Common Way for Voters to Cast Their Ballots in 2020




Source: Election Day turnout was calculated as F1b/F1a x 100 for all years. Mail turnout was calculated as (F1d+F1g)/F1a
x 100 for all years. In-person early turnout was calculated as F1f/F1a x 100 for all years. UOCAVA, provisional, and other
turnout was calculated as (F1c+F1e+F1h)/F1a x 100 for all years. Casewise deletion was used at the state level
(percentages for each mode of voting were calculated independently, and only states that reported data for a given mode
were included in the analysis), and because of this, percentages do not sum to 100%.


13 Information on vote center policies was provided in Q13 of the 2018 Policy Survey and Q25 of the 2020 Policy Survey.
Six states that did not offer vote centers in 2018 did so in 2020, and two states that offered vote centers in 2018 did not
in 2020.



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EAVS data confirm that the ways voters cast their ballots changed because of the COVID-19
pandemic. Many states took steps to reduce crowding at in-person polling places on Election Day by
expanding the use of mail and early voting, and the EAVS data also confirm that voters made use of
these options. Figure 3 shows the most commonly used modes of voting for the 2016, 2018, and
2020 general elections.

Voting by Mail
All states and territories and the District of Columbia offer their citizens the opportunity to cast their
ballots by mail in federal general elections, although the number of citizens who cast their ballots
using this method and the circumstances under which citizens can vote a mailed ballot vary widely
among states. Some states use the term “absentee voting” instead of “mail voting.” 14 For purposes
of this report, mail voting refers to the process by which:

    1. An individual receives a ballot in the mail before the election. In some states or jurisdictions,
       election offices automatically send a mailed ballot to all registered voters (often referred to
       as “all-mail elections”), whereas others automatically send mailed ballots only to individuals
       on a permanent mail voting list. In other states, individuals must file an application to
       request a ballot for each election for which they wish to vote a mailed ballot. 15

    2. The individual marks the mailed ballot with their preferences at home instead of at an
       election office or polling location.

    3. The individual returns the voted ballot to election officials, typically by sending the voted
       ballot through the mail, by returning the voted ballot to an in-person voting site or election
       office, or by depositing the voted ballot in a secure designated drop box. 16 The options voters
       have for returning voted mailed ballots are dictated by state policy.

The 2020 Policy Survey results show that many states made changes to their mail voting policies
since the 2018 general election. However, the Policy Survey did not record precisely when these
changes were made, the reason behind the policy changes, or whether the policy changes were
permanent or temporary. In 2020, 39 states did not require an excuse for voters to request a mailed
ballot; six of these states and one territory (Delaware, Massachusetts, Michigan, Missouri, South
Carolina, Virginia, and the U.S. Virgin Islands) required an excuse in 2018 but not in 2020. In
addition, 14 states conducted all-mail elections. Ten states (California, Colorado, the District of
Columbia, Hawaii, New Jersey, Nevada, Oregon, Utah, Vermont, and Washington) conducted all-mail
elections on a statewide basis, and four states did so in select jurisdictions (Idaho, Minnesota,
Montana, and Nebraska). However, states and jurisdictions that conducted their elections by mail



14 In recognition of the fact that many states no longer require a person to be absent from their election jurisdiction in order

to be permitted to cast a ballot by mail, the EAVS uses the term “mail voting.”
15 In some states, applications to vote by mail are valid for multiple elections, such as for the duration of a two-year election

cycle or for all elections within a calendar year. The 2020 EAVS and Policy Survey did not collect data on how long mailed
ballot applications are valid for.
16 The 2020 EAVS did not collect information on which states used drop boxes, how many drop boxes were in use, or how

many ballots were returned via drop boxes.



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typically also offered some form of in-person voting. For a more thorough look at the policies
surrounding mail voting, please see Chapter 2, “Election Law and Procedure: The Policy Survey.”

States reported that 69,486,968 ballots were cast using a mailed ballot and counted for the 2020
general election, more than double the number of ballots cast using a mailed ballot for the 2016
general election (33,140,080). 17 The mailed ballot voting turnout rate increased by nearly 20
percentage points, from 24.5% in 2016 to 43.1% in 2020.


            Table 1. Jurisdictions Saw Large Increases in Mail Turnout From 2018 to 2020
                                                                     2018 Average         2020 Average            Turnout
                      Type of Jurisdiction
                                                                      Mail Turnout         Mail Turnout           Change
 Jurisdiction was in a state that introduced a statewide
                                                                          9.9%                 72.0%               62.1%
 all-mail election in 2020
 Jurisdiction was in a state that required an excuse for
                                                                          5.9%                 30.8%               24.9%
 mail voting in 2018 but did not in 2020
 Jurisdiction was in a state that did not conduct all-mail
                                                                         11.4%                 30.6%               19.2%
 elections in either 2018 or 2020
 Jurisdiction was in a state that did not change its
                                                                         10.2%                 25.8%               15.6%
 excuse policy for mail voting from 2018 to 2020

Source: The mail turnout rate for both 2018 and 2020 was calculated as (F1d+F1g)/F1a x 100. Jurisdictions’
classification on their state’s all-mail election policy was based on their state’s responses to Q9a of the 2018 Policy Survey
and Q18a of the 2020 Policy Survey; jurisdictions in states that had all-vote-by-mail elections in select jurisdictions only
were excluded from the analysis of mail voting policies. Jurisdictions’ policies on whether to require an excuse for mail
voting were based on their state’s responses to Q8 of the 2018 Policy Survey and Q17 of the 2020 Policy Survey;
jurisdictions in states that conduct all-mail elections, either statewide or in select jurisdictions, were excluded from the
analysis of mail voting excuse policies. Casewise deletion was used at the jurisdiction level (only jurisdictions that reported
data in F1d and/or F1g as well as reported data in F1a in both 2018 and 2020 were included in the analysis). All mail
turnout increases from 2018 to 2020 were statistically significant at p < 0.001.



Jurisdiction-level analysis also shows large increases in mail voting from the 2018 to the 2020
general elections across a variety of policy configurations, particularly where mail voting was made
more widely available. These increases are shown in Table 1. The largest increases occurred in
states that did not have all-mail elections in 2018 but implemented this type of voting on a statewide
level in 2020. Jurisdictions in these states had an average mail turnout level of 9.9% in 2018, which
increased to 72% for the 2020 general election—an increase of 62.1 percentage points. The next
largest increase occurred in jurisdictions whose states removed the requirement to provide an
excuse in order to request a mailed ballot in 2020. These jurisdictions had an average mail turnout
rate of 5.9% in 2018 and 30.8% in 2020, an increase of 24.9 percentage points. States that did not
change their policies on all-mail elections or excuse-required mailed ballot voting also saw increases

17 The total number of mail votes was calculated by adding the number of voters who cast a mailed ballot and whose
ballots were counted (item F1d of the EAVS) and the number of voters who cast a mailed ballot in a jurisdiction that
conducts elections entirely by mail and whose ballots were counted (item F1g of EAVS). Mail turnout was calculated by
dividing this figure by the total number of ballots that were cast and counted (item F1a of EAVS). Casewise deletion at the
state level was used in these calculations.



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in their mail voting rates from 2018 to 2020, but these average increases were smaller, at 19.2
percentage points and 15.6 percentage points, respectively.

States reported transmitting a total of 90,687,978 mailed ballots to non-UOCAVA voters for the
November 2020 general election, of which 70,551,227 were returned by voters. This means that
77.8% of the transmitted mailed ballots were returned by voters, and of the returned ballots, 98.8%
were counted and 0.8% were rejected. 18 Although the number of mailed ballots that were
transmitted more than doubled since 2016—when 41,651,526 transmitted mailed ballots were
reported—the mailed ballot return, count, and rejection rates were not significantly different between
the 2016 and 2020 general elections at the national level. 19

Table 2 shows the most common reasons reported for rejecting mailed ballots in the 2020 general
election. In this election, rejections for having a non-matching signature accounted for nearly one-
third (32.8%) of the total rejected mailed ballots. The next most common reason (22.5%) was
“other,” which comprised reasons such as the voter was not eligible to vote in the jurisdiction, the
ballot was missing an important document (such as an affidavit or certification), the document was
incomplete or insufficient, there were identifying marks on the ballot, the ballot was missing a
secrecy envelope or was outside of the secrecy envelope, or a combination of reasons. 20 Other
common reasons for rejection included that the voter had already voted in person (13.5%), the ballot
was received after the state’s deadline for submitting a mailed ballot (12.1%), and there was no
voter signature on the mailed ballot or the mailed ballot envelope (12.1%).

Additional information about mail voting in the 2020 general election, including statistics by state,
can be found in Appendix A of this chapter.




18 The mailed ballot return rate was calculated by dividing the total number of mailed ballots returned by voters (item C1b

of EAVS) by the total number of mailed ballots transmitted (item C1a of EAVS). The mailed ballot count rate was calculated
by dividing the number of counted mailed ballots (item C3a) by the total number of mailed ballots returned by voters (item
C1b). The mailed ballot rejection rate was calculated by dividing the total number of mailed ballots rejected (item C4a) by
the total number of mailed ballots returned by voters (item C1b). A total of 0.4% of the mailed ballots returned by voters
(C1b) were not classified as having been either counted (C3a) or rejected (C4a). Alabama did not provide sufficient data to
calculate the mailed ballot count and rejection rates. Casewise deletion at the state level was used in these calculations.
The EAVS data also show that nationwide, 1.4% of the transmitted mailed ballots were returned as undeliverable
(C1c/C1a); 3.6% were surrendered, spoiled, or replaced (C1d/C1a); 0.5% were surrendered at the polls, so the voter could
cast a provisional ballot (C1e/C1a); 16.8% had an unknown status, which included voters who were transmitted a mailed
ballot but chose not to vote (C1f/C1a); and 1% of mailed ballots reached some other status ([C1g+C1h+C1i]/C1a).
Casewise deletion at the state level was used in these calculations.
19 The comparisons were statistically insignificant at p > 0.05.
20 In the 2020 EAVS, states reported other reasons for rejecting mailed ballots in items C4p_Other, C4q_Other, and

C4t_Other.



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     Table 2. The Most Common Reason for Rejecting Mailed Ballots Was for a Non-Matching
                                         Signature

                                   Reason                                Percentage of Rejected Ballots

           Non-matching signature                                                      32.8%
           Other reason given                                                          22.5%
           Voter already voted in person                                               13.5%
           Ballot not received on time/missed deadline                                 12.1%
           No voter signature                                                          12.1%
           No witness signature                                                         5.6%
           Ballot returned in an unofficial envelope                                    4.2%
           Multiple ballots returned in one envelope                                    2.1%
           First-time voter without proper identification                               2.0%
           Voter deceased                                                               1.6%
           Ballot missing from envelope                                                 1.5%
           Envelope not sealed                                                          0.9%
           No resident address on envelope                                              0.8%
           No ballot application on record                                              0.6%
           No election official’s signature on ballot                                   0.1%

Source: Rejections for non-matching signature was calculated as C4e/C4a x 100. Rejections for other reasons was
calculated as (C4p+C4q+C4r)/C4a x 100. Rejections because the voter already voted in person was calculated as
C4m/C4a x 100. Rejections because the ballot was not received on time was calculated as C4b/C4a x 100. Rejections
because the ballot lacked a voter signature was calculated as C4c/C4a x 100. Rejections because the ballot lacked a
witness signature was calculated as C4d/C4a x 100. Rejections because the ballot was in an unofficial envelope was
calculated as C4g/C4a x 100. Rejections because multiple ballots were returned in a single envelope was calculated as
C4k/C4a x 100. Rejections because the first-time voter did not provide proper identification was calculated as C4n/C4a x
100. Rejections because the ballot was from a deceased voter was calculated as C4l/C4a x 100. Rejections because the
ballot was missing from the envelope was calculated as C4h/C4a x 100. Rejections because the envelope was not sealed
was calculated as C4i/C4a x 100. Rejections because there was no resident address on the envelope was calculated as
C4j/C4a x 100. Rejections because there was no ballot application on record was calculated as C4o/C4a x 100.
Rejections because there was no election official’s signature on the ballot was calculated as C4f/C4a x 100. Casewise
deletion was used at the state level (percentages for each rejection reason were calculated independently and only states
that reported data for a given reason were included in the analysis), and because of this, percentages do not sum to
100%.



In-Person Voting Before Election Day
Most states allow some kind of in-person voting before Election Day. This type of voting generally
falls into two categories:

   • A voter may go to a polling place before Election Day, receive a ballot, vote their ballot while at
     the polling place, and place their completed ballot into a ballot box or tabulator.



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   • A voter may go to an election office to pick up a ballot over the counter. In some states, the
     voter may be able to take their ballot home with them, whereas in other states, the ballot must
     be completed in the office. The ballot is then sealed in an envelope and tabulated along with
     ballots that are returned to the office by mail according to local procedures.

The type of in-person voting that takes place before Election Day and the populations that may use
this method of voting are determined by state law. Different states use the terms “in-person early
voting” and “in-person absentee voting” to describe both of the voting methods described above,
although other terms exist as well (see Chapter 2 of this report). 21 Some states offer both types of
voting activities. For example, voters in Ohio may go to their county’s designated early voting site,
vote in person, and cast their ballot on a direct-recording electronic device or scan their ballot in a
precinct scanner. Voters also have the option of completing a ballot request form, picking up a ballot
from their county’s election office, and returning their ballot in person, by drop box, or by mail at a
later date.

Fifty-five of the states and territories (all but New Jersey) reported offering some form of in-person
voting before Election Day to their population for the 2020 general election. Of these states, 12
required voters to provide an approved excuse to cast an early ballot, and 43 states allowed for no-
excuse early voting. 22 Overall, three more states offered no-excuse early voting for the 2020 general
election compared to the 2018 general election. Further details about state policies on early voting
can be found in Chapter 2 of this report.

For the 2020 general election, states reported that 41,266,229 ballots were cast through in-person
early voting and were counted, a 71.1% increase compared to the number cast by this method for
the 2016 general election (24,124,466). Although the rate of early voting increased from 2016 to
2020, from 25.3% to 30.6%, the rate of increase was not as large as it was for mail voting. 23

It should be noted that some states may have reported mailed ballots returned via drop box with
other early ballots. Currently, the EAVS does not collect data on the number of ballots returned via
drop box, and some states’ data collection practices do not distinguish between early ballots and
ballots returned via a drop box.




21 The EAVS questions use the term “in-person early voting” to refer to all types of in-person voting that take place before

Election Day. The question instructions specify that in-person absentee voting should be reported as in-person early voting
in EAVS data. However, some states’ data management systems do not distinguish in-person absentee voters from mail
voters, so not all states with in-person absentee voting were able to report data on how many of their voters voted in this
way.
22 The terminology a state used to refer to the process of allowing individuals to cast their ballots in person before Election

Day was collected in item Q24 of the 2020 Policy Survey. Data on whether a state required a voter to provide an excuse to
cast a ballot in person before Election Day was collected in item Q24a.
23 The total number of in-person early ballots cast and counted was collected in item F1f of the EAVS. The early voting

turnout rate was calculated by dividing this figure by the total number of ballots that were cast and counted (item F1a of
the EAVS). Alabama, Connecticut, Iowa, Missouri, Mississippi, Montana, New Hampshire, New Jersey, Oregon,
Pennsylvania, and Rhode Island did not report data in F1f, either because they did not offer in-person early voting (in the
case of New Jersey) or because the number of in-person early voters could not be tracked separately from other modes of
participation. Casewise deletion at the state level was used in this calculation.



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Provisional Voting
HAVA introduced provisional voting as a way for a voter to cast a ballot when the voter’s registration
status cannot be verified at the time of voting, when there is some indication the voter may have
already cast another ballot (for instance, by mail), or when the voter’s eligibility to vote is challenged.
Provisional ballots are kept separate from other election ballots and are later fully counted, partially
counted, or rejected depending on whether the provisional voter’s eligibility can be verified in the
days following the election according to the state’s rules for this process. The provisional ballot
process helps ensure each qualified voter casts only one ballot that is counted and allows the voter
additional time to prove their eligibility to vote if necessary. Certain states are exempt from HAVA’s
provisional ballot requirements because they allowed SDR at the time the law was enacted. In
addition, North Dakota is exempt from this provision of HAVA because it does not require citizens to
register to vote.

In the 2020 Policy Survey, 49 states and territories and the District of Columbia reported offering
provisional ballots to voters. Five states and one territory—Idaho, Minnesota, North Dakota, New
Hampshire, Vermont, and Puerto Rico—did not. 24 States reported that the most common reasons for
offering a voter a provisional ballot included that an election official challenged a voter’s eligibility to
vote (46 states), the voter was not on the list of eligible voters (43 states), the voter lacked proper
identification (40 states), the voter did not reside in the precinct in which they were attempting to
vote (40 states), and another person (not an election officer) challenged a voter’s eligibility to vote
(28 states). 25 If a voter cast a provisional ballot in the wrong precinct, four states reported that they
would fully count the entire ballot, 20 states would partially count the ballot (e.g., only count the
items on the ballot for which the voter would have been eligible had they voted in the correct
precinct), and 26 states would reject the entire ballot. 26 For more information on provisional voting
policies, including the deadlines by which provisional ballots needed to be adjudicated, please see
Chapter 2 of this report.

States reported 1,316,945 provisional ballots were cast and counted for the 2020 general election.
This represents a slight decline from previous years: 1,483,708 provisional ballots had been cast in
2018 and 1,897,631 in 2016. Provisional voting as a percentage of turnout has continued its rate of
decline in presidential elections, from 1.7% in 2012 to 1.4% in 2016 to 0.8% in 2020. 27 The rate of
provisional voting declined twice as fast between the 2016 and the 2020 general elections as it did
between the 2012 and the 2016 general elections.



24 Information on states’ use of provisional voting was collected in Q32 of the 2020 Policy Survey.
25 Information on the circumstances under which a state uses provisional ballots was collected in Q32a of the 2020 Policy
Survey.
26 Information on how a state would treat a provisional ballot cast in the wrong precinct was collected in Q32c. Percentages
were calculated using the number of states who reported using provisional voting in Q32.
27 The total number of provisional ballots cast and counted was collected in item F1e of the EAVS. The provisional voting
turnout rate was calculated by dividing this figure by the total number of ballots that were cast and counted (item F1a of
the EAVS). Idaho, Minnesota, North Dakota, New Hampshire, and Vermont did not report data on provisional ballots in the
2020 EAVS because, as confirmed in the Policy Survey, these states do not offer provisional ballots to voters. Puerto Rico
reported in the Policy Survey that it does not offer provisional ballots but reported data on provisional ballots in the EAVS.
Casewise deletion at the state level was used in this calculation.



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Nationally, 78.3% of provisional ballots were counted, 28 either in full or in part, with 21.3% being
rejected. 29 The most common reasons that states reported for rejecting provisional ballots included
that the voter was not registered in the state (accounting for 54.8% of rejections), “other reasons”
(21.2%), the voter attempted to vote in the wrong jurisdiction (12.4%), the voter had already cast a
ballot through another mode of voting (5%), the voter attempted to vote in the wrong precinct (4.8%),
the voter failed to provide sufficient identification (3.4%), the envelope or ballot was incomplete or
illegible (3.3%), and the voter’s signature did not match the signature on record (2.2%). 30
Furthermore, 0.9% of the provisional ballots reached another adjudication aside from being either
counted or rejected: the largest numbers of these ballots came from Ohio, Texas, Missouri, and
Illinois. 31

UOCAVA and Other Modes of Voting
Absentee and mail voting have long been used to provide individuals in the military or U.S. citizens
who live overseas or who are absent from their residence with a way to participate in federal
elections. The distinct needs of members of the uniformed services and overseas citizens remain an
area of critical concern in election administration, and these individuals are given special voting
protections under UOCAVA and its amendments. 32 UOCAVA voters are provided certain rights to fully




28 The total number of counted provisional ballots was calculated by summing the number of provisional ballots fully

counted (item E1b of the EAVS) and the number of provisional ballots partially counted (item E1c). The percentage of
counted provisional ballots was calculated by dividing the sum of E1b and E1c by the sum of all provisional ballot
adjudications (items E1b, E1c, E1d, and E1e). Maine reported in its EAVS survey comments that all provisional ballots are
counted. The data that New Jersey reported in E1e (provisional ballots that reached another adjudication) were included in
this calculation, because the state explained in its survey comments that this item included provisional ballots that were
accepted in part or in full. The data that El Dorado, San Bernardino, and Stanislaus counties in California reported in E1e
were included in this calculation for the same reason. Casewise deletion at the state level was used in these calculations.
29 The total number of rejected provisional ballots was collected in item E1d of the EAVS. The percentage of rejected

provisional ballots was calculated by dividing this figure by the sum of all provisional ballot adjudications (items E1b, E1c,
E1d, and E1e). Casewise deletion at the state level was used in this calculation.
30 The number of provisional ballots rejected because the voter was not registered in the state was collected in item E2b of

the EAVS. The number of provisional ballots rejected because the voter attempted to vote in the wrong jurisdiction was
collected in item E2c. The number of provisional ballots rejected because the voter attempted to vote in the wrong precinct
was collected in item E2d. The number of provisional ballots rejected because the voter did not provide sufficient
identification was collected in item E2e. The number of provisional ballots rejected because the envelope and/or ballot
were incomplete or illegible was collected in item E2f. The number of provisional ballots rejected because the voter’s
signature did not match the signature on record was collected in item E2i. The percentage of provisional ballots rejected for
each of these reasons was calculated by dividing the figure by the total number of provisional ballots rejected (item E2a).
Casewise deletion at the state level was used in these calculations.
31 The total number of provisional ballots that reached an adjudication aside from being counted or rejected was collected

in item E1e of the EAVS. The percentage of other provisional ballots was calculated by dividing this figure by the sum of all
provisional ballot adjudications (items E1b, E1c, E1d, and E1e). As explained in footnote 28, the E1e data for the state of
New Jersey and the counties of El Dorado, San Bernardino, and Stanislaus in California were included in the calculation for
counted provisional ballots. Ohio explained in its survey comments that this data included provisional ballots cast under an
APRI exception but did not provide a definition for this term. Missouri explained in its survey comments that this data
included provisional ballots supplied to voters who were registered but did not have a form of identification. Casewise
deletion at the state level was used in this calculation.
32 The uniformed services are the armed forces—the Army, Navy, Marine Corps, Air Force, and Coast Guard—as well as the

U.S. Public Health Service Commissioned Corps, the National Oceanic and Atmospheric Administration (NOAA)
Commissioned Officer Corps, and the U.S. Merchant Marine. Uniformed services members, their spouses, and their eligible
dependents are, together, referred to as uniformed services voters. Overseas citizens are U.S. citizens living outside of the
United States who are not uniformed services voters and are also protected by UOCAVA.



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participate in federal elections and are given special considerations as to when their ballots are sent,
how their blank ballots can be transmitted, and how and when they may return their voted ballots.

For the 2020 general election, states reported 938,297 UOCAVA ballots that were cast and counted.
This total represents a sizeable increase from 2016 and 2018, when 649,427 and 358,137
UOCAVA ballots were cast, respectively. However, despite the increase in the number of voters who
participated in the 2020 general election, UOCAVA voting as a percentage of the overall electorate
stayed relatively the same in 2020. In 2016, 0.5% of voters were UOCAVA voters, and in 2020,
UOCAVA voters comprised 0.6% of the electorate. 33 Nationwide, 97.6% of the UOCAVA absentee
ballots that were returned by voters were counted, and 2.1% of the returned ballots were rejected. 34

Chapter 4 of this report contains a complete discussion of the EAC’s history of collecting data on
voters covered by UOCAVA; a full analysis of the data collected about these voters and their ballots in
2020, including ballots transmitted, returned, counted, and rejected; and the use of the Federal
Write-In Absentee Ballot (FWAB). Chapter 2 of this report contains a complete discussion of state
policies regarding UOCAVA voting.

In addition to ballots that were cast at a physical polling place on Election Day, by mail, by in-person
early voting, and by provisional voting, states had the opportunity to report data on any other modes
of voting that were offered in the state in 2020. 35 A total of 1,290,577 ballots were reported as cast
and counted that could not be categorized according to one of the modes listed in the EAVS
question. The highest numbers of these votes were reported in California (923,698 ballots), Florida
(184,533 ballots), North Carolina (168,900 ballots), and Wisconsin (7,387 ballots). The most
common reasons for reporting data in this item included mailed ballots that could not be
distinguished as being from UOCAVA or non-UOCAVA voters, conditional voter registration (CVR)
voters in California, curbside absentee voters in North Carolina, and “other,” “unknown,” or “not
categorized” ballots.

Polling Places and Poll Workers
For an election, each voter is assigned to a precinct according to their residential address as listed in
their voter registration record. A precinct is a contiguous, bounded geographic area that is the basis
for determining the contests and issues on which the voters legally residing in that area are eligible
to vote. 36 Precincts are then assigned to a polling place, which is a physical location where in-person
voting takes place. As previously discussed, some states use an early voting or vote center model

33 The total number of UOCAVA ballots that were cast and counted was collected in item F1c of the EAVS. The UOCAVA
turnout rate was calculated by dividing this figure by the total number of ballots that were cast and counted (item F1a of
the EAVS). Rhode Island did not report data in F1c. Their survey comment stated, “According to RI general law, all UOCAVA
mail ballots are consolidated into one mail ballot category.” Casewise deletion at the state level was used in this
calculation.
34 The total number of UOCAVA absentee ballots that were returned by voters was collected in item B9a of the EAVS. The
number of UOCAVA ballots counted was collected in item B14a, and the number of UOCAVA ballots rejected was collected
in item B18a. The UOCAVA ballot count rate was calculated by dividing B14a by B9a, and the rejection rate was calculated
by dividing B18a by B9a. Casewise deletion at the state level was used in this calculation; this calculation also did not
include returned UOCAVA ballots that were not categorized as either counted or rejected.
35 Ballots cast by another mode that were counted were recorded in item F1h of the EAVS.
36 Some states use the terms “ward” or “voting district” to describe their voting precincts.




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that allows voters to vote at any polling location within their jurisdiction rather than at a specifically
assigned polling place.

States reported 176,933 precincts that were used for the 2020 general election. States reported
that 107,457 polling places were used on Election Day and that 25,099 polling places were used
during the early voting period, for a total of 132,556 polling places for the 2020 general election. 37
States also provided information on whether their polling places were located at election offices or at
other sites, such as libraries, schools, or mobile voting locations. There continues to be differences in
where states locate their early voting polling locations, as opposed to their Election Day polling
locations. States reported that nationwide, 42.8% of early voting sites were located at election
offices, and 57.3% were located at other sites. 38 However, for Election Day polling places, only 9.6%
of polling places were located at election offices, and 93.8% were reported as being located at other
sites. 39

Many of the laws, rules, policies, and procedures governing elections are enforced, in practice, by the
poll workers who assist with elections. 40 These poll workers are typically not full-time election
workers or employees of election offices; rather, they are recruited and trained to assist in the voting
process during an election. Typical activities that poll workers assist in include verifying the identities


37 The total number of precincts was collected in item D2a of the EAVS. The total number of Election Day polling places was

collected in item D3a. The total number of early voting polling places was collected in item D4a. Kansas and Washington
did not provide data on the number of Election Day polling places. Connecticut, Iowa, Kansas, Missouri, Mississippi, New
Hampshire, New Jersey, and Oregon did not provide data on the number of early voting polling places; several of these
states noted that early voting opportunities are limited to special circumstances, so the number of early voting sites was
not tracked. Before this report’s finalization, Virginia notified the EAC that the statewide number of early voting polling
places in D4a was 208, not 133. Data users should note that the question numbering in this section changed in 2020;
these questions were numbered differently in the 2016 and 2018 EAVS. However, a year-over-year analysis of polling
places as reported in the EAVS is cautioned against, as these items have been underreported in previous years.
38 The number of early voting polling places located at election offices was collected in item D4c of the EAVS. The number

of early voting polling places located at other sites was collected in item D4b of the EAVS. The percentage of early voting
polling locations located at each type of site was calculated by dividing the EAVS item by the sum of D4b and D4c. This
denominator was used instead of the reported total number of early voting polling locations (item D4a), because some
states provided a total in D4a but not a breakdown in D4b and D4c. Of the states that reported offering in-person early
voting, Connecticut, Iowa, Kansas, Missouri, Mississippi, New Hampshire, Oregon, and Wisconsin did not provide any data
on early voting polling places in D4a, D4b, or D4c. Several of these states noted in their survey comments that early voting
was offered only in very limited circumstances. Georgia and Rhode Island provided data on the total number of early voting
polling places in D4a but did not provide a data breakdown in D4b and D4c. New Jersey did not provide data because it did
not offer in-person early voting. Casewise deletion at the state level was used in these calculations, and because each
category was calculated independently, the percentages do not sum to 100%.
39 The number of Election Day polling places located at election offices was collected in item D3c of the EAVS. The number

of Election Day polling places located at other sites was collected in item D3b of the EAVS. The percentage of Election Day
polling locations located at each type of site was calculated by dividing the EAVS item by the sum of D3b and D3c. This
denominator was used instead of the reported total number of Election Day polling locations (item D3a), because some
states provided a total in D3a but not a breakdown in D3b and D3c. Casewise deletion at the state level was used in these
calculations, and because each category was calculated independently, the percentages do not sum to 100%.
Of the states that reported offering in-person early voting, Kansas and Washington did not provide any data on Election Day
polling places in D3a, D3b, or D3c: Washington noted that data were not provided because the state votes almost entirely
by mail. The District of Columbia, Georgia, Idaho, Massachusetts, Maine, Minnesota, Missouri, the Northern Mariana
Islands, Ohio, Puerto Rico, Tennessee, and the U.S. Virgin Islands provided data on the total number of Election Day polling
places in D3a but did not provide a data breakdown in D3b and D3c.
40 Some states and jurisdictions use other titles for poll workers, such as election judges, booth workers, wardens, or

commissioners. The EAVS instructions stated that observers stationed at polling places, regular office staff who did not
fulfill poll worker functions during the election, or temporary election staff who were not hired specifically to serve voters in
either early or Election Day voting should not be counted as poll workers for purposes of the EAVS.



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of those who come to vote, assisting voters with signing documents required to cast a ballot,
providing ballots and setting up voting equipment, and performing other functions as dictated by the
state or local election authority.

States reported the number of early voting and Election Day poll workers separately, and they also
reported the total number of poll workers who assisted with the 2020 general election. States
reported that a total of 775,101 poll workers assisted with the 2020 general election. This included
690,346 poll workers who assisted with Election Day voting and 135,105 poll workers who assisted
with early voting. 41 Among states that reported data on poll workers for both the 2016 and the 2020
EAVS, there was no statistically significant change in the number of poll workers reported. 42

Thirty-six states also reported information on the ages of their poll workers. 43 Among these states,
the majority of poll workers were over the age of 40 in the 2020 general election, with nearly half of
them over 60 years old. However, Figure 4, which compares the age distribution of poll workers in
the 2016 general election to those in the 2020 general election, shows slight but statistically
significant shifts in the age categories over time. In 2020, the percentage of poll workers who were
ages 18 to 25 and 26 to 40 increased, and the percentage of poll workers who were ages 61 to 70
and 71 or older decreased compared to 2016. 44 Notably, the percentage of poll workers who were
ages 26 to 40 nearly doubled, from 8% in 2016 to 15% in 2020.




41 The total number of poll workers who assisted with the 2020 general election was collected in item D7a of the EAVS. The
total number of poll workers who assisted with Election Day voting was collected in item D5. The total number of poll
workers who assisted with early voting was collected in item D6. D7a does not match the sum of D5 and D6, because in
D7a, each poll worker was to only be counted once even if they assisted with both early voting and Election Day voting.
Oregon, Pennsylvania, Puerto Rico, Vermont, Washington, and Wisconsin were unable to provide poll worker data. Alabama,
Connecticut, Louisiana, Maine, Massachusetts, Missouri, Mississippi, New Jersey, and North Dakota did not provide data
on the number of early voting poll workers. North Dakota did not provide data on the number of Election Day poll workers.
New Hampshire provided data on the minimum number of poll workers required at each polling location by law but noted
that it may not reflect the number of poll workers who actually assisted.
42 T tests conducted on the national number of poll workers in 2016 and 2020 were statistically insignificant at p < 0.05.
43 Poll worker age data were reported in item D7 of the EAVS for 2020, with D7a corresponding to the total number of poll
workers who assisted with the 2020 general election and items D7b–D7g corresponding to age categories. The
denominator used in this calculation was the sum of the age categories in D7b–D7g. Poll worker age data were reported in
items D3 and D4 for 2016, with D3a corresponding to the total number of poll workers and items D4a–D4f corresponding
to age categories. The denominator used in this calculation was the sum of the age categories in D4a–D4f. In 2020, South
Carolina only reported poll workers who were under the age of 18 and did not provide data for any other age categories.
South Carolina was excluded from the calculations of the percentage of poll workers by age. Connecticut, Georgia, Hawaii,
Illinois, Louisiana, Massachusetts, Minnesota, New Hampshire, New Jersey, North Dakota, the Northern Mariana Islands,
Oregon, Pennsylvania, Puerto Rico, Rhode Island, the U.S. Virgin Islands, Vermont, Virginia, Washington, and Wisconsin
were unable to provide data on the ages of their poll workers. Casewise deletion at the state level was used in these
calculations.
44 T tests conducted that compared the percentage of poll workers in the 18 to 25, 26 to 40, 61 to 70, and 71 or older age
categories between 2016 and 2020 were statistically significant at p < 0.05, with most being p < 0.01. Other age groups
did not have a statistically significant change.



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         Figure 4. Poll Worker Age Distribution Was Slightly Younger in 2020 Than in 2016




Source: The percentage of poll workers under age 18 was calculated as D7b/(D7b+D7c+D7d+D7e+D7f+D7g) x 100 for
2020 and D4a/(D4a+D4b+D4c+D4d+D4e+D4f) x 100 for 2016. The percentage of poll workers ages 18–25 was
calculated as D7c/(D7b+D7c+D7d+D7e+D7f+D7g) x 100 for 2020 and D4b/(D4a+D4b+D4c+D4d+D4e+D4f) x 100 for
2016. The percentage of poll workers ages 26–40 was calculated as D7d/(D7b+D7c+D7d+D7e+D7f+D7g) x 100 for
2020 and D4c/(D4a+D4b+D4c+D4d+D4e+D4f) x 100 for 2016. The percentage of poll workers ages 41–60 was
calculated as D7d/(D7b+D7c+D7d+D7e+D7f+D7g) x 100 for 2020 and D4d/(D4a+D4b+D4c+D4d+D4e+D4f) x 100 for
2016. The percentage of poll workers ages 61–70 was calculated as D7e/(D7b+D7c+D7d+D7e+D7f+D7g) x 100 for
2020 and D4e/(D4a+D4b+D4c+D4d+D4e+D4f) x 100 for 2016. The percentage of poll workers ages 71 or older was
calculated as D7g/(D7b+D7c+D7d+D7e+D7f+D7g) x 100 for 2020 and D4f/(D4a+D4b+D4c+D4d+D4e+D4f) x 100 for
2016. Casewise deletion was used at the state level (percentages for each age category were calculated independently
and only states that reported data for a given age category were included in the analysis), and because of this,
percentages do not sum to 100%.



The survey comments many jurisdictions provided indicated that this age shift was partially
attributable to the COVID-19 pandemic. The U.S. Centers for Disease Control and Prevention (CDC)
stated that older adults are at greater risk of severe illness from COVID-19, with adults 65 years or
older in the highest risk category. This risk category overlaps with the group of adults who typically
make up the majority of poll workers in federal general elections. The 2020 EAVS data confirm that a
number of older poll workers did not assist with the 2020 general election and that many younger
adults took their places.



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The COVID-19 pandemic also affected state and local efforts to obtain a sufficient number of poll
workers to assist with the 2020 general election. Although poll worker recruitment remains a
challenge, with 52% of jurisdictions reporting that it was either very difficult or somewhat difficult to
obtain a sufficient number of poll workers, Figure 5 shows that poll worker recruitment has gotten
less difficult since the 2016 general election. 45 In their survey comments, many jurisdictions cited
cross-cutting effects on their recruitment efforts. Some long-time poll workers who had served in
previous elections were unable to do so for the 2020 general election; some were unable to work
because of age-related COVID-19 risks, and in many cases, jurisdictions needed to replace workers
who called out sick close to the election to quarantine after COVID-19 exposure. On the other hand,
many jurisdiction officials praised the efforts of the EAC and state election offices that encouraged


              Figure 5. Poll Worker Recruitment Was Less Difficult in 2020 Than in 2016




Source: Ease of recruiting poll workers was collected in item D8 in the 2020 EAVS and D5 in the 2016 EAVS. For both
years, jurisdictions that responded, “not enough information to answer,” “data not available,” “does not apply,” or left this
item blank were excluded from this analysis.




45 Data on the ease of recruiting poll workers were collected in item D8 of the 2020 EAVS and item D5 of the 2016 EAVS.
In 2020, 3,436 of 6,460 jurisdictions (53.2%) responded “not enough information to answer,” “data not available,” “does
not apply,” or left this item blank. The comparison between 2016 and 2020 data was statistically significant at p < 0.01.



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qualified individuals to sign up as poll workers. Some jurisdictions noted that they had overwhelming
interest from those who view assisting with elections as a way to help their community and recruited
more poll workers than they had available slots to fill.

Notably, ease of poll worker recruiting appears to be highly correlated with the size of the jurisdiction.
Jurisdictions that had 10,000 or fewer registered voters reported having an easier time recruiting
poll workers than did jurisdictions with more than 10,000 registered voters. 46

Election Technology
The use of technology in polling places and vote tally locations varies widely across and within the
states. The EAVS collects data on the type of voting equipment that is used and the type of voting
that the equipment is used for, the specific makes and models of the equipment and how many are
deployed, and whether electronic poll books (or e-poll books) are used to assist at polling places. The
voting equipment landscape continues to evolve with each election.

Voting Equipment
The EAVS collects data on the use of six types of voting equipment that voters can use to cast their
ballots: 47

   • Direct-recording electronic (DRE) voting equipment, not equipped with a voter-verified paper
     audit trail (VVPAT) 48
   • DRE voting equipment, equipped with a VVPAT 49
   • Electronic system that produces a paper record but does not tabulate votes. These are often
     referred to as ballot marking devices (BMD) 50
   • Scanner (optical/digital) that tabulates paper records that voters mark by hand or via a ballot
     marking device 51




46 For this comparison, jurisdictions were classified according to the total number of registered voters as reported in item

A1a of the EAVS. This comparison was statistically significant at p < 0.001.
47 Two jurisdictions in Arkansas and 21 jurisdictions in Kansas did not provide any information about their voting

equipment in the EAVS. Two jurisdictions in Missouri did not provide responses on the use of DREs with VVPAT (F6 in the
EAVS), and an additional jurisdiction in Missouri did not provide responses on the use of ballot marking devices (BMD; F7 in
the EAVS) or scanners (F8 in the EAVS). Five jurisdictions in Texas did not provide responses on the use of DREs without
VVPAT (F5 in the EAVS), DREs with VVPAT, BMDs, or scanners. Twenty-six jurisdictions in Utah responded “data not
available” to questions about BMDs, and one responded “data not available” to questions about scanners (F8 in the EAVS).
In Vermont, 101 jurisdictions responded “does not apply” to questions about scanners, and 145 jurisdictions did not
provide responses to questions about hand counting ballots (F11 in the EAVS). No jurisdictions in Kansas provided
responses to questions about the use of BMDs or hand counting ballots. Two jurisdictions—Maine – UOCAVA and Kalawao
County, Hawaii—responded “does not apply” to all of these questions; however, that is because these jurisdictions report
EAVS data with other jurisdictions in their state (see Chapter 5 for more details).
48 Data on DREs without VVPAT were collected in items F5a, F5b, F5c, and F5d of the EAVS.
49 Data on DREs with VVPAT were collected in items F6a, F6b, F6c, and F6d of the EAVS.
50 Data on BMDs were collected in items F7a, F7b, F7c, and F7d of the EAVS.
51 Data on scanners were collected in items F8a, F8b, F8c, and F8d of the EAVS.




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   • Punch card machines 52
   • Lever machines 53

The EAVS also collects information on whether jurisdictions hand count paper ballots without the use
of an optical or digital scanning system. 54


       Figure 6. Scanners and BMDs Were the Most Commonly Used Voting Methods in 2020




Source: The use of scanners was collected in item F8a of the 2020 EAVS. Use of BMDs was collected in item F7a. Use of
hand counting was collected in item F11a. Use of DRE with VVPAT was collected in item F6a. Use of DRE without VVPAT
was collected in item F5a. States in which at least one EAVS jurisdiction reported using the voting equipment are included
in this graph. Kansas did not respond to F7a or F11a.




52 Data on punch card machines were collected in items F9a, F9b, F9c, and F9d of the EAVS. No jurisdictions have reported
using this equipment since before the 2016 EAVS.
53 Data on lever machines were collected in items F10a, F10b, F10c, and F10d of the EAVS. No jurisdictions have reported
using this equipment since before the 2016 EAVS.
54 Data on hand counting paper ballots were collected in items F11a and F11d of the EAVS.




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Nationally, states reported deploying 369,366 pieces of voting equipment to cast and tabulate votes
for the 2020 general election. 55 Figure 6 shows the number of states that reported using voting
equipment in at least one jurisdiction. Most jurisdictions and states used more than one type of
equipment. The most commonly used types of equipment were scanners (used in 55 states) and
BMDs (used in 45 states). Twenty-one states reported hand counting ballots without using any
equipment to assist, and 20 states used DREs equipped with a VVPAT.

The use of DREs without VVPAT has been a particular concern to some experts, because these
machines do not include a paper record of the votes that are cast, which raises security issues and
can make it difficult to conduct certain types of post-election audits. In the 2018 EAVS, 14 states
reported using DREs without VVPAT in at least one of their jurisdictions. The 2020 EAVS data show
that only nine states now use this equipment in at least one of their jurisdictions: Arkansas, Indiana,
Kansas, Kentucky, Louisiana, Mississippi, New Jersey, Tennessee, and Texas. Of these states,
Louisiana reported using DREs without VVPAT in each of its jurisdictions. Five states that reported
using DREs without VVPAT in 2018 discontinued using those machines by the 2020 general election
(Delaware, Florida, Georgia, Pennsylvania, and South Carolina).


           Table 3. DRE Without VVPAT-Only Jurisdictions Declined Between 2018 and 2020

                                               2018                                               2020
         State
                               Number of               Percentage of              Number of              Percentage of
                              Jurisdictions             Jurisdictions            Jurisdictions            Jurisdictions
 Arkansas                            1                       1.3%                       0                        --
 Indiana                            16                      17.4%                      12                     13.0%
 Kansas                              7                       6.7%                       0                        --
 Kentucky                            5                       4.2%                       0                        --
 Pennsylvania                       50                      74.6%                       0                        --
 Tennessee                           6                       6.3%                       1                      1.1%
 Texas                              32                      12.6%                      19                      7.5%

Source: The number of jurisdictions that reported using only DRE without VVPAT voting machines was based on responses
to items F5a, F6a, F7a, and F8a of the 2018 and 2020 EAVS. The percentage of jurisdictions using only DRE without
VVPAT was calculated by dividing by the total number of jurisdictions in the state. One county in Florida that reported using
a DRE without VVPAT in 2018 was not included in this table, because the county had listed a make and model of a
scanner in item F5b_1 in its 2018 data, which indicates a possible data entry error. None of the counties in Kansas that
did not provide voting equipment information for the 2020 EAVS reported using DREs without VVPAT in the 2018 EAVS.




55 The number of voting machines deployed was reported in items F5c_1, F5c_2, F5c_3, F6c_1, F6c_2, F6c_3, F7c_1,

F7c_2, F7c_3, F8c_1, F8c_2, F8c_3, F9c_1, F9c_2, F9c_3, F10c_1, F10c_2, and F10c_3 of the EAVS. These items were
summed for each jurisdiction to arrive at this total. American Samoa did not report the number of voting machines
deployed, because this territory only uses hand-marked paper ballots that are manually counted. Oregon and Wisconsin
reported that they do not track the number of voting machines deployed. Before this report’s finalization, Virginia notified
the EAC that the statewide number of BMDs in F7c_1, F7c_2, and F7c_3 was 2,533, not “data not available.”



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The number of jurisdictions that reported using only DREs without VVPAT and not using any other
type of voting equipment also declined between 2018 and 2020. Table 3 shows that for the 2020
general election, only three states reported having jurisdictions that used only DREs without VVPAT
as their voting equipment, and in each of those states, the percentage of their jurisdictions that used
only DRE without VVPAT has also decreased since 2018.

Electronic Poll Books
When voters go into polling places, their identity is checked against voter registration information
that is contained in poll books to ensure they are registered to vote and did not already cast a ballot
during in-person early voting or with a mailed ballot. These poll books can be paper based and
printed before the election, or they can be electronic. The use of e-poll books has steadily increased
in recent elections. For the 2016 general election, 1,146 jurisdictions (17.7%) reported using e-poll
books; this number rose to 1,684 (26.1%) in 2018 and to 1,991 (30.8%) in 2020. The number of
jurisdictions that used e-poll books in 2020 represents an 18.2% increase from 2018.

As of the 2020 general election, 38 states reported using e-poll books in at least one of their
jurisdictions, and 16 states and territories (Arizona, Delaware, Georgia, Iowa, Kentucky, Maryland,
Michigan, Nevada, New Mexico, New York, North Carolina, North Dakota, Puerto Rico, Rhode Island,
South Carolina, and the U.S. Virgin Islands) and the District of Columbia reported using e-poll books
in all of their jurisdictions. Of the jurisdictions that reported using e-poll books, the most common
usages were to sign voters in at polling places (98.9%), update voter history (87.8%), and look up
polling places (79.5%), and 20.7% of jurisdictions reported using e-poll books for other uses as
well. 56

The 2020 Policy Survey also collected information on whether states have a testing or certification
process in place for e-poll books. 57 Of the 39 states that provided a response to this question, 12
states (30.8%) indicated that the testing and certification process is required by statute, 10 states
(25.6%) indicated that the testing and certification process is required by a formal administrative
rule or as guidance, and 17 states (43.6%) indicated that testing and certification of e-poll books is
not required. 58 The EAC does not currently provide testing or certification of e-poll books; any testing
that states perform on their equipment is performed to the state’s specifications.




56 Use of e-poll books to sign voters in was reported in item F3a of the EAVS. Use of e-poll books to update voter history was
reported in item F3b. Use of e-poll books to look up polling places was reported in item F3c. Use of e-poll books for other
purposes was reported in item F3d. A jurisdiction was considered to have used e-poll books in 2020 if it responded “yes” to
at least one of these items.
57 Q16 of the 2020 Policy Survey collected information on whether the state, or any jurisdiction in the state, used e-poll
books. Colorado, Hawaii, and Massachusetts reported in the Policy Survey that they used e-poll books but did not report
data on the usage of e-poll books in item F3 of the EAVS; Colorado noted in a comment in the Policy Survey that “CO’s
statewide voter registration system has an application that allows judges at vote centers to look up in-person voters and
see whether they’ve returned a ballot. There is no testing and certification because the application is developed and
maintained by our VR development team in our IT department.” Puerto Rico reported data on the usage of e-poll books in
the EAVS but reported not using e-poll books in the Policy Survey.
58 Q16a of the 2020 Policy Survey collected information on what kind of testing or certification is required for e-poll books.
Illinois did not provide a response to this question.



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Appendix A: Descriptive Tables
Overview Table 1: 2020 EAVS at a Glance

                                         Total Active                               Turnout as %   Turnout
                             Total                                    Total Voter
           State                         Registered     Total CVAP                    of Active    as % of
                         Jurisdictions                                 Turnout
                                           Voters                                   Registration    CVAP

Alabama [1]                   67         3,438,213      3,731,336     2,329,047        67.7         62.4
Alaska                        1           595,647        533,151       361,400         60.7         67.8
American Samoa [2]            1            16,341           --         11,944          73.1          --
Arizona                       15         4,275,729      5,137,474     3,420,481        80.0         66.6
Arkansas                      75         1,408,061      2,235,415     1,209,997        85.9         54.1
California                    58         21,795,538     26,032,160   17,720,746        81.3         68.1
Colorado                      64         3,803,762      4,244,210     3,320,607        87.3         78.2
Connecticut [1]              169         2,335,860      2,619,474     1,863,479        79.8         71.1
Delaware                      3           711,287        725,178       514,656         72.4         71.0
District of Columbia          1           517,890        536,768       346,491         66.9         64.6
Florida                       67         14,517,002     15,507,315   11,137,676        76.7         71.8
Georgia                      159         7,194,889      7,581,837     5,023,812        69.8         66.3
Guam [2]                      1            55,896           --         29,377          52.6          --
Hawaii [3]                    5           759,971       1,014,035      580,098         76.3         57.2
Idaho                         44         1,029,763      1,282,630      878,527         85.3         68.5
Illinois                     108         9,103,542      9,088,036     6,140,545        67.5         67.6
Indiana                       92         4,170,353      4,978,356     3,103,284        74.4         62.3
Iowa [1]                      99         2,094,770      2,348,787     1,700,130        81.2         72.4
Kansas [4]                   105         1,764,949      2,103,748     1,379,623        78.2         65.6
Kentucky                     120         3,319,307      3,367,502     2,149,444        64.8         63.8
Louisiana                     64         2,963,901      3,463,372     2,169,354        73.2         62.6
Maine                        497         1,135,008      1,078,770      822,534         72.5         76.2
Maryland                      24         4,142,347      4,316,921     3,059,603        73.9         70.9
Massachusetts                351         4,400,254      5,057,192     3,658,005        83.1         72.3
Michigan [5]                  83         7,209,300      7,562,464     5,579,317        77.4         73.8
Minnesota                     87         3,731,016      4,157,556     3,290,013        88.2         79.1
Mississippi [1]               82         1,982,632      2,246,323     1,334,155        67.3         59.4
Missouri [1]                 116         3,963,980      4,650,318     3,201,458        80.8         68.8
Montana [1]                   56          675,971        831,760       612,141         90.6         73.6
Nebraska                      93         1,168,708      1,388,950      966,786         82.7         69.6
Nevada                        17         1,835,401      2,111,932     1,407,761        76.7         66.7
New Hampshire [1], [6]       320         1,087,145      1,070,215      814,499         74.9         76.1
New Jersey [7]                21         5,896,836      6,170,130     4,494,659        76.2         72.8
New Mexico                    33         1,255,669      1,522,171      928,230         73.9         61.0
New York                      62         12,362,997     13,810,830    8,701,749        70.4         63.0



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                                           Total Active                               Turnout as %   Turnout
                               Total                                    Total Voter
           State                           Registered     Total CVAP                    of Active    as % of
                           Jurisdictions                                 Turnout
                                             Voters                                   Registration    CVAP

 North Carolina                100          6,607,121      7,729,644     5,543,405       83.9         71.7
 North Dakota [8]               53              --         567,545       364,499           --         64.2
 Northern Mariana
                                1            18,526            --         13,355         72.1          --
 Islands [2]
 Ohio                           88          8,073,829      8,879,469     5,974,121       74.0         67.3
 Oklahoma                       77          2,021,846      2,875,059     1,564,886       77.4         54.4
 Oregon [9]                     36          2,944,588      3,162,204     2,396,123       81.4         75.8
 Pennsylvania [10]              67          8,280,348      9,810,201     6,973,951       84.2         71.1
 Puerto Rico [11]               1           2,355,894      2,579,596     1,296,169       55.0         50.2
 Rhode Island [1]               39          735,195        800,798       519,412         70.6         64.9
 South Carolina                 46          3,535,061      3,892,341     2,523,856       71.4         64.8
 South Dakota                   66          578,683        653,394       427,406         73.9         65.4
 Tennessee                      95          4,226,928      5,129,580     3,074,692       72.7         59.9
 Texas                         254         15,279,870     18,875,542    11,449,044       74.9         60.7
 U.S. Virgin Islands [2]        1            53,341            --         18,064         33.9          --
 Utah                           29          1,713,297      2,134,249     1,542,529       90.0         72.3
 Vermont [12]                  246          440,920        498,705       368,075         83.5         73.8
 Virginia [13]                 133          5,763,187      6,226,623     4,487,338       77.9         72.1
 Washington [14]                39          4,892,871      5,409,035     4,116,055       84.1         76.1
 West Virginia                  55          1,062,685      1,420,289     801,667         75.4         56.4
 Wisconsin [15]               1,851         3,834,164      4,412,888     3,308,331       86.3         75.0
 Wyoming                        23          303,049        434,852       278,503         91.9         64.0
 U.S. Total                   6,460        209,441,338    237,998,330   161,303,109      76.8         67.7




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                         Total In-Person                     Total In-Person
                                           Total Mailed
                          Election Day                        Early Ballots    Total Polling    Total Poll
           State                           Ballots Cast
                          Ballots Cast                          Cast and          Places        Workers
                                           and Counted
                          and Counted                           Counted

Alabama [1]                2,014,242        300,684                --             2,045          16,128
Alaska                      157,220          92,471              82,451            584            3,077
American Samoa [2]          10,310             905                455               42             256
Arizona                     371,565         2,931,175            69,063            928            7,482
Arkansas                    258,836          84,910             830,561          20,889           6,549
California                 1,124,389       14,515,783           966,201           5,655          48,221
Colorado                    89,789          3,092,904           108,856            642            7,185
Connecticut [1]            1,188,283        667,403                --              718            3,590
Delaware                    345,809         161,135              5,236             267            3,157
District of Columbia        29,036          229,459              80,959            127            4,467
Florida                    1,942,102        4,546,896          4,332,912          4,858          44,857
Georgia                     980,627         1,311,361          2,704,002          2,755          27,474
Guam [2]                    16,167             108               12,966             27             465
Hawaii [3]                   4,522          548,636              24,214             16             64
Idaho                       384,319         345,636             145,388            754            5,815
Illinois                   2,049,927        2,037,583          2,005,711         19,684          46,711
Indiana                    1,201,154        535,942            1,354,897          2,137          17,557
Iowa [1]                    698,557         994,300                --             1,329           8,685
Kansas [4]                  505,132         463,909             375,196             --            8,412
Kentucky                    477,612         631,497            1,024,965           879            8,528
Louisiana                  1,182,672        162,692             817,951           2,096          16,980
Maine                       311,560         359,331             151,535           1,040           6,054
Maryland                    439,094         1,502,852           987,373            401           14,033
Massachusetts              1,256,443        1,521,052           852,926           1,611          13,044
Michigan [5]               2,286,764        2,741,668           529,015           4,950          35,825
Minnesota                  1,380,309        1,286,660           607,304           2,581          29,785
Mississippi [1]            1,085,337        234,500                --             1,776          11,358
Missouri [1]               2,288,607        899,695                --             2,326          19,075
Montana [1]                  9,497          597,912                --               43            1,592
Nebraska                    417,349         485,195              51,537           1,015           7,810
Nevada                      128,729         664,461             540,767            307            4,653
New Hampshire [1], [6]      554,315         253,932                --              308              --
New Jersey [7]                987           4,178,875              --             1,549           7,603
New Mexico                  142,470         323,661             456,280            883            4,165
New York                   4,284,263        1,763,448          2,502,161          5,124          118,378
North Carolina              896,818         974,351            3,460,562          3,203          26,608
North Dakota [8]            91,803          183,161              87,882            128            1,607
Northern Mariana
                             3,970           12,321              8,130              11             189
Islands [2]



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                           Total In-Person                   Total In-Person
                                             Total Mailed
                            Election Day                      Early Ballots    Total Polling      Total Poll
           State                             Ballots Cast
                            Ballots Cast                        Cast and          Places          Workers
                                             and Counted
                            and Counted                         Counted

 Ohio                        2,344,886        2,135,600        1,345,715          3,651            47,761
 Oklahoma                    1,114,001        275,017           167,516           2,032             6,552
 Oregon [9]                      --           2,379,544            --               36                   --
 Pennsylvania [10]           4,214,277        2,623,867            --             9,246                  --
 Puerto Rico [11]            1,092,637        145,244           48,724            1,612                  --
 Rhode Island [1]             198,611         318,313              --              500              3,594
 South Carolina              1,182,726        428,704           894,078           2,091            17,135
 South Dakota                 208,396         122,525           93,469             573              2,675
 Tennessee                    766,552         216,074          2,071,168          2,066            17,831
 Texas                       1,707,821        982,362          8,660,809          9,604            49,441
 U.S. Virgin Islands [2]       8,119            1,670            8,173              12              190
 Utah                         81,970          1,386,385         35,048             196              1,619
 Vermont [12]                 90,959          272,318            2,033             521                   --
 Virginia [13]               1,657,228        983,907          1,798,050          2,587            30,403
 Washington [14]                 --           4,050,981           183               66                   --
 West Virginia                396,926         142,191           256,113           1,421             8,324
 Wisconsin [15]              1,337,269        1,298,346         651,791           2,467                  --
 Wyoming                      135,426          85,454           55,903             187              2,137
 U.S. Total                 47,148,389       69,486,966       41,266,229         132,556          775,101



Overview Table 1 Calculation Notes:
    Total Jurisdictions uses a count of Federal Information Processing Standards (FIPS) code by state.
    Total Active Registered Voters uses question A1b.
    Total CVAP uses the 2019 1-year estimate of the CVAP from the U.S. Census Bureau.
    Total Voter Turnout uses question F1a.
    Turnout as % of Active Registration uses question F1a divided by A1b.
    Turnout as % of CVAP uses question F1a divided by the CVAP estimate.
    Total In-Person Election Day Ballots Cast and Counted uses question F1b.
    Total Mailed Ballots Cast and Counted uses the sum of questions F1d and F1g.
    Total In-Person Early Ballots Cast and Counted uses question F1f.
    Total Polling Places uses the sum of questions D3a and D4a.
    Total Poll Workers uses question D7a.

Overview Table 1 Data Notes:
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
            calculations at the national level (U.S. Total) only used data from those states that provided data
            for the numerator and denominator of the calculation. For example, since there was no CVAP
            estimate for most U.S. territories, their turnout data (F1a) were not used for the calculation of
            “Turnout as % of CVAP” at the national level.



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    •   The CVAP is an estimate of the number of U.S. citizens 18 years of age or older in the state. This
        report used the 1-year American Community Survey (ACS) state estimate for 2019 instead of the
        5-year estimate to ensure that the CVAP was as current as possible. The estimate for the year
        2020 was not available by the time this report was finalized. The 2019 1-year CVAP does not
        include data that were collected as part of the decennial Census conducted in 2020. Some states
        may have reported more active registered voters than CVAP because the 2019 CVAP is being
        compared to 2020 data.
    •   The Total Voter Turnout column includes voters who cast a ballot that was counted. The Total
        Mailed Ballots Cast and Counted column does not include UOCAVA voters.

[1] Alabama, Connecticut, Iowa, Missouri, Mississippi, Montana, New Hampshire, and Rhode Island did not
report data in F1f, because the number of in-person early voters could not be tracked separately from
other modes of participation.
[2] American Samoa, Guam, the Northern Mariana Islands, and the U.S. Virgin Islands did not have a CVAP
available to use for the turnout as a percentage of CVAP calculation.
[3] For Hawaii, the numbers reported for the City and County of Honolulu include all mailed ballot
envelopes received and validated by the county. Certified turnout results were determined through
subsequent ballot envelope processing and counting by the State of Hawaii, pursuant to Hawaii State Law.
[4] Kansas did not provide data on polling places.
[5] Michigan noted in its survey comments that “walk-in absentee voting prior to Election Day is considered
early voting in [Michigan]. These absentee ballots are not tabulated until Election Day.” Data on these
walk-in absentee voters was reported in F1f.
[6] New Hampshire provided information on the minimum number of early voting and Election Day poll
workers required by law but noted that it may not reflect the number of poll workers actually deployed.
[7] New Jersey did not report data in F1f, because the state did not offer in-person early voting.
[8] North Dakota does not have voter registration.
[9] Oregon is a vote-by-mail state and does not have traditional early voting or traditional polling places.
[10] Pennsylvania reported that the state cannot systematically track data on poll workers.
[11] Puerto Rico reported that data on poll workers are not available and that poll workers were
volunteers, not PR-SEC employees (the abbreviation was not defined by the state).
[12] Vermont did not provide data on the number of poll workers. Prior to this report being finalized,
Vermont provided updated statewide totals for most items in F1 but was unable to provide jurisdiction-
level data that could be incorporated into the EAVS. The statewide vote totals are:
     • Total number of voters who cast a ballot that was counted (F1a): 371,452
     • Voters who cast a ballot at a physical polling place on Election Day and whose ballots were
         counted (F1b): 91,079
     • UOCAVA voters who cast a ballot via an absentee ballot or FWAB and whose ballots were counted
         (F1c): 2,719
     • Voters who cast a mailed ballot and whose ballots were counted (F1d): 225,621
     • Voters who cast a ballot at an in-person early voting location and whose ballots were counted
         (F1f): 2,033
[13] Before this report’s finalization, Virginia notified the EAC that the statewide number of early voting
polling places in D4a was 208, not 133.
[14] Washington is a vote-by-mail state. Voters can register and vote on or before Election Day. The total in
F1g (voters who cast a mailed ballot in a jurisdiction that conducts elections entirely by mail and whose
ballots were counted) includes in-person voters that were issued a mailed ballot packet at a voting center




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    that they could deposit into a ballot drop box or mail. Totals in F1f (voters who cast a ballot at an in-person
    early voting location and whose ballots were counted) include voters who used a disability access unit.
    [15] The number of jurisdictions in Wisconsin changed several times over the two-year period covered by
    the 2020 EAVS due to incorporations, mergers, and similar mechanisms. Wisconsin canvass data tracks
    individual contests, and therefore, the total ballots cast in any election is highly unlikely to match the total
    votes cast in any one contest. Wisconsin voters are not required to vote in each contest on the ballot and
    undervotes are the likely cause of total ballots cast data being higher than the number of votes in a
    contest.




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Overview Table 2: Voter Turnout by Mail

                                                   Total Mailed   Total Mailed     % Mailed
                       Total Mail   % Turnout by
        State                                        Ballots        Ballots         Ballots
                         Voters         Mail
                                                   Transmitted     Returned        Returned

Alabama [1]              300,684       12.9          170,616        158,321          92.8
Alaska                    92,471       25.6          121,223         97,344          80.3
American Samoa             905          7.6            911            911           100.0
Arizona                 2,931,175      85.7         3,529,586      2,938,896         83.3
Arkansas                  84,910        7.0          120,369        117,555          97.7
California             14,515,783      81.9        23,228,899     15,398,923         66.3
Colorado                3,092,904      93.1         3,904,381      3,122,440         80.0
Connecticut              667,403       35.8          832,542        673,899          80.9
Delaware                 161,135       31.3          187,360        163,234          87.1
District of Columbia     229,459       66.2          416,660        235,486          56.5
Florida                 4,546,896      40.8         6,065,500      4,750,645         78.3
Georgia [2]             1,311,361      26.1         1,759,036      1,316,165         74.8
Guam                       108          0.4            193            129            66.8
Hawaii                   548,636       94.6          748,944        551,383          73.6
Idaho [3]                345,636       39.3          407,323        344,893          84.7
Illinois                2,037,583      33.2         2,233,578      2,013,990         90.2
Indiana                  535,942       17.3          547,602        538,860          98.4
Iowa                     994,300       58.5         1,050,593       997,652          95.0
Kansas [4]               463,909       33.6          362,948        295,021          81.3
Kentucky                 631,497       29.4          666,472        634,595          95.2
Louisiana                162,692        7.5          218,057        163,656          75.1
Maine                    359,331       43.7          373,478        362,594          97.1
Maryland                1,502,852      49.1         1,699,070      1,505,791         88.6
Massachusetts           1,521,052      41.6         1,679,267      1,531,001         91.2
Michigan                2,741,668      49.1         3,009,891      2,762,148         91.8
Minnesota               1,286,660      39.1         1,545,345      1,295,908         83.9
Mississippi              234,500       17.6          247,855        239,488          96.6
Missouri                 899,695       28.1          935,659        905,132          96.7
Montana                  597,912       97.7          704,040        599,505          85.2
Nebraska                 485,195       50.2          508,049        486,844          95.8
Nevada                   664,461       47.2         1,833,795       670,091          36.5
New Hampshire            253,932       31.2          263,447        255,935          97.1
New Jersey              4,178,875      93.0         6,053,283      4,228,687         69.9
New Mexico               323,661       34.9          373,548        339,906          91.0
New York                1,763,448      20.3         2,366,172      1,832,724         77.5
North Carolina           974,351       17.6         1,350,883       981,816          72.7
North Dakota             183,161       50.3          214,506        183,544          85.6



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                                                        Total Mailed   Total Mailed   % Mailed
                           Total Mail    % Turnout by
          State                                           Ballots        Ballots       Ballots
                             Voters          Mail
                                                        Transmitted     Returned      Returned
 Northern Mariana
                            12,321           92.3          1,670          1,670        100.0
 Islands [5]
 Ohio                     2,135,600          35.7       2,314,198      2,144,504        92.7
 Oklahoma                  275,017           17.6        344,600        280,106         81.3
 Oregon                   2,379,544          99.3       2,924,063      2,397,091        82.0
 Pennsylvania             2,623,867          37.6       3,120,999      2,653,688        85.0
 Puerto Rico [6]           145,244           11.2        22,403         22,402         100.0
 Rhode Island              318,313           61.3        318,313        318,426        100.0
 South Carolina            428,704           17.0        447,697        430,229        96.1
 South Dakota              122,525           28.7        132,529        123,406         93.1
 Tennessee                 216,074            7.0        229,768        218,149        94.9
 Texas                     982,362            8.6       1,208,665       988,364         81.8
 U.S. Virgin Islands        1,670             9.2         1,846          1,682          91.1
 Utah                     1,386,385          89.9       1,752,928      1,396,681        79.7
 Vermont                   272,318           74.0        313,193        273,784         87.4
 Virginia                  983,907           21.9       1,099,502       990,198         90.1
 Washington               4,050,981          98.4       5,042,956      4,082,581        81.0
 West Virginia             142,191           17.7        150,202        142,445         94.8
 Wisconsin [7]            1,298,346          39.2       1,441,825      1,305,082        90.5
 Wyoming                    85,454           30.7         89,540         85,627         95.6
 U.S. Total               69,486,966         43.1       90,687,978     70,551,227       77.8




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                          Mailed Ballots Counted                Mailed Ballots Rejected
         State
                         Total         % of Returned           Total           % of Returned

Alabama [1]                  --               --                  --                 --
Alaska                    96,701            99.3                643                 0.7
American Samoa             905              99.3                 6                  0.7
Arizona                 2,931,164           99.7               7,732                0.3
Arkansas                  84,232            71.7               7,561                6.4
California             15,305,243           99.4              92,924                0.6
Colorado                3,092,904           99.1              29,536                0.9
Connecticut              667,403            99.0               6,496                1.0
Delaware                 161,135            98.7               2,099                1.3
District of Columbia     234,758            99.7                728                 0.3
Florida                 4,740,149           99.8              13,919                0.3
Georgia [2]             1,311,361           99.6               4,804                0.4
Guam                       108              83.7                 21                16.3
Hawaii                   548,636            99.5               2,747                0.5
Idaho [3]                352,641           102.2               3,613                1.0
Illinois                1,986,445           98.6              33,853                1.7
Indiana                  535,942            99.5               2,918                0.5
Iowa                     994,300            99.7               2,592                0.3
Kansas [4]                24,924             8.4               1,361                0.5
Kentucky                 631,497            99.5               3,101                0.5
Louisiana                161,292            98.6               2,364                1.4
Maine                    359,331            99.1               1,326                0.4
Maryland                1,502,852           99.8               2,939                0.2
Massachusetts           1,521,052           99.4               9,949                0.6
Michigan                2,741,668           99.3              20,480                0.7
Minnesota               1,286,660           99.3               9,248                0.7
Mississippi              233,925            97.7               5,563                2.3
Missouri                 899,695            99.4               5,437                0.6
Montana                  597,912            99.7               1,593                0.3
Nebraska                 485,195            99.7               1,649                0.3
Nevada                   664,461            99.2               5,630                0.8
New Hampshire            253,932            99.2               2,003                0.8
New Jersey              4,178,875           98.8              49,812                1.2
New Mexico               328,631            96.7              17,008                5.0
New York                1,763,448           96.2              66,746                3.6
North Carolina           974,351            99.2               7,465                0.8
North Dakota             183,152            99.8                392                 0.2
Northern Mariana
                         1,193              71.4                144                 8.6
Islands [5]



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                                   Mailed Ballots Counted                    Mailed Ballots Rejected
          State
                                  Total            % of Returned             Total           % of Returned

 Ohio                          2,135,600                99.6                8,904                  0.4
 Oklahoma                       275,017                 98.2                5,089                  1.8
 Oregon                        2,379,544                99.3               17,547                  0.7
 Pennsylvania                  2,619,517                98.7               34,171                  1.3
 Puerto Rico [6]                 22,402                100.0                   --                   --
 Rhode Island                   318,313                100.0                 113                   0.0
 South Carolina                 425,701                 98.9                4,528                  1.1
 South Dakota                   122,525                 99.3                 789                   0.6
 Tennessee                      216,074                 99.0                2,090                  1.0
 Texas                          982,362                 99.4                8,304                  0.8
 U.S. Virgin Islands              1,670                 99.3                  12                   0.7
 Utah                          1,386,385                99.3               10,296                  0.7
 Vermont                        272,318                 99.5                1,465                  0.5
 Virginia                       983,907                 99.4                6,291                  0.6
 Washington                    4,051,164                99.2               31,417                  0.8
 West Virginia                  142,191                 99.8                 254                   0.2
 Wisconsin [7]                 1,302,101                99.8                2,981                  0.2
 Wyoming                         85,454                 99.8                 173                   0.2
 U.S. Total                    69,560,318               98.8               560,826                 0.8


Overview Table 2 Calculation Notes:
    Total Mail Voters uses the sum of questions F1d and F1g.
    % Turnout by Mail uses the sum of questions F1d and F1g divided by question F1a.
    Total Mailed Ballots Transmitted uses question C1a.
    Total Mailed Ballots Returned uses question C1b.
    % Mailed Ballots Returned uses question C1b divided by question C1a.
    Mailed Ballots Counted, Total uses question C3a.
    Mailed Ballots Counted, % of Returned uses question C3a divided by question C1b.
    Mailed Ballots Rejected, Total uses question C4a.
    Mailed Ballots Rejected, % of Returned uses question C4a divided by question C1b.

Overview Table 2 Data Notes:
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
            calculations at the national level (U.S. Total) only used data from those states that provided data
            for the numerator and denominator of the calculation.
        • Because each percentage was calculated independently, the percentages of mailed ballots
            counted and rejected may not sum to 100% for some states or at the national level.
        • The Total Mail Voters column reflects the number of voters who cast a ballot by mail that was
            counted. It does not include voters who cast a UOCAVA ballot or FWAB.




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    •   The Total Mailed Ballots Transmitted column captures the total number of mailed ballots that
        states reported transmitting, regardless of whether the ballot was returned or not. The number of
        ballots transmitted typically exceeds the number of ballots returned because some voters who
        transmitted a mailed ballot choose to vote by another mode or to not vote at all. Total Mailed
        Ballots Returned typically exceeds Total Mail Voters because some returned mailed ballots are
        rejected for not meeting state requirements. Mailed Ballots Counted may not match Total Mail
        Voters because states may have different methodologies for calculating these numbers.
    •   The Total Mailed Ballots Returned column includes both counted and rejected ballots that were
        returned to election offices.


[1] Alabama reported mail and early in-person voting data together as the Total Mail Voters (300,684).
Both are considered absentee voting; thus, the data for transmission method are commingled and cannot
be reported separately.
[2] Data on rejected mailed ballots for Georgia include rejected ballots entered by counties into the state
voter registration system as of February 2021, which does not necessarily include all ballots rejected by
counties.
[3] Butte County and Valley County in Idaho responded “Data not available” to the number of mailed
ballots received (C1b) but reported data for the number of mailed ballots counted (C3a). Madison County
and Valley County in Idaho reported more mailed ballots counted than mailed ballots received. Because of
these responses, the total number of mailed ballots counted exceeds the number of mailed ballots
received at the state level for Idaho, and the percentage of returned ballots that were counted exceeds
100%.
[4] Kansas did not provide any survey comments to explain why the data reported in the Total Mail Voters
column exceeds that of the Total Mailed Ballots Transmitted column, nor why the percentage of mailed
ballots counted and rejected does not sum to 100%. Some jurisdictions that reported data on Total Mail
Voters did not provide data for Total Mailed Ballots Transmitted.
[5] The Northern Mariana Islands did not provide any survey comments to explain why the data reported in
the Total Mail Voters column exceeds that of the Total Mailed Ballots Transmitted column, nor why the
percentages of mailed ballots counted and rejected does not sum to 100%.
[6] Puerto Rico reported “data not available” in question C4. In addition, this territory noted in a survey
comment that the Total Mail Voters column may include ballots for non-federal elections and that its
response in the Total Mail Voters and % Turnout by Mail columns includes “voters who [cast] their vote
early but in their home, not in a polling location.”
[7] Local election officials in Wisconsin were still recording voter participation method at the time data was
provided for this report; therefore, the Total Mail Voters data were incomplete. These data are currently
available from the state.




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Overview Table 3: In-Person Voting and Other Modes of Voting
                           In-Person Election Day
                                                      In-Person Early Voters   Provisional Voters
         State                     Voters
                              Total            %         Total         %         Total         %
 Alabama [1]               2,014,242         86.5          --          --        8,840        0.4
 Alaska [2]                 157,220          43.5       82,451       22.8       11,509        3.2
 American Samoa              10,310          86.3        455          3.8         12          0.1
 Arizona                    371,565          10.9       69,063        2.0       30,151        0.9
 Arkansas [3]               258,836          21.4      830,561       68.6        5,082        0.4
 California [4]            1,124,389          6.3      966,201        5.5      216,781        1.2
 Colorado                    89,789           2.7      108,856        3.3         150         0.0
 Connecticut [1]           1,188,283         63.8          --          --         104         0.0
 Delaware                   345,809          67.2       5,236         1.0         107         0.0
 District of Columbia        29,036           8.4       80,959       23.4        1,738        0.5
 Florida [5]               1,942,102         17.4     4,332,912      38.9        7,169        0.1
 Georgia                    980,627          19.5     2,704,002      53.8        9,347        0.2
 Guam                        16,167          55.0       12,966       44.1          71         0.2
 Hawaii                       4,522           0.8       24,214        4.2          6          0.0
 Idaho [6]                  384,319          43.7      145,388       16.5          0          0.0
 Illinois                  2,049,927         33.4     2,005,711      32.7       42,003        0.7
 Indiana                   1,201,154         38.7     1,354,897      43.7        1,348        0.0
 Iowa [1]                   698,557          41.1          --          --        1,293        0.1
 Kansas                     505,132          36.6      375,196       27.2       36,107        2.6
 Kentucky                   477,612          22.2     1,024,965      47.7          77         0.0
 Louisiana                 1,182,672         54.5      817,951       37.7         658         0.0
 Maine                      311,560          37.9      151,535       18.4         108         0.0
 Maryland                   439,094          14.4      987,373       32.3      108,478        3.5
 Massachusetts [7]         1,256,443         34.3      852,926       23.3        1,724        0.0
 Michigan [8]              2,286,764         41.0      529,015        9.5          77         0.0
 Minnesota [6]             1,380,309         42.0      607,304       18.5           --         --
 Mississippi [1]           1,085,337         81.4          --          --       11,358        0.9
 Missouri [1]              2,288,607         71.5          --          --        2,139        0.1
 Montana [1]                  9,497           1.6          --          --         364         0.1
 Nebraska                   417,349          43.2       51,537        5.3        9,998        1.0
 Nevada                     128,729           9.1      540,767       38.4       66,359        4.7
 New Hampshire [1],
                            554,315          68.1         --           --         --           --
 [6]
 New Jersey [9]               987             0.0          --         --       293,894        6.5
 New Mexico [10]            142,470          15.3      456,280       49.2        687          0.1
 New York                  4,284,263         49.2     2,502,161      28.8       84,884        1.0
 North Carolina [11]        896,818          16.2     3,460,562      62.4       16,388        0.3
 North Dakota [6]            91,803          25.2       87,882       24.1          --          --



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                         In-Person Election Day
                                                   In-Person Early Voters      Provisional Voters
         State                   Voters
                           Total           %          Total         %          Total          %
Northern Mariana
                           3,970          29.7       8,130         60.9          24           0.2
Islands
Ohio                     2,344,886        39.3     1,345,715       22.5       126,066         2.1
Oklahoma                 1,114,001        71.2      167,516        10.7         1,986         0.1
Oregon [12]                   --            --          --           --           45          0.0
Pennsylvania [13]        4,214,277        60.4          --           --       106,951         1.5
Puerto Rico              1,092,637        84.3       48,724         3.8         8,977         0.7
Rhode Island [1], [14]    198,611         38.2          --           --         2,488         0.5
South Carolina           1,182,726        46.9      894,078        35.4         5,442         0.2
South Dakota              208,396         48.8       93,469        21.9           65          0.0
Tennessee                 766,552         24.9     2,071,168       67.4         6,222         0.2
Texas                    1,707,821        14.9     8,660,809       75.6        37,760         0.3
U.S. Virgin Islands         8,119         44.9       8,173         45.2           94          0.5
Utah                       81,970          5.3       35,048         2.3        31,652         2.1
Vermont [6]                90,959         24.7       2,033          0.6            --          --
Virginia                 1,657,228        36.9     1,798,050       40.1        15,825         0.4
Washington [15]               --            --        183           0.0           43          0.0
West Virginia             396,926         49.5      256,113        31.9         4,222         0.5
Wisconsin [16]           1,337,269        40.4      651,791        19.7           57          0.0
Wyoming                   135,426         48.6       55,903        20.1           15          0.0
U.S. Total               47,148,389       30.5     41,266,229      30.6      1,316,945        0.8




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                                     UOCAVA Voters                  Other Voters
         State
                               Total                   %     Total                  %
 Alabama [1]                   5,281                  0.2      --                   --
 Alaska [2]                   13,519                  3.7    4,230                 1.2
 American Samoa                 214                   1.8      --                   --
 Arizona                      18,527                  0.5      --                   --
 Arkansas [3]                 30,512                  2.5     174                  0.0
 California [4]               93,452                  0.5   923,698                5.2
 Colorado                     28,908                  0.9      --                   --
 Connecticut [1]               7,689                  0.4      --                   --
 Delaware                      2,369                  0.5      --                   --
 District of Columbia          5,299                  1.5      --                   --
 Florida [5]                  116,364                 1.0   184,533                1.7
 Georgia                      18,475                  0.4      --                   --
 Guam                            65                   0.2      --                   --
 Hawaii                        2,720                  0.5      --                   --
 Idaho [6]                     3,184                  0.4      --                   --
 Illinois                     24,297                  0.4      --                   --
 Indiana                       9,943                  0.3      --                   --
 Iowa [1]                      5,980                  0.4      --                   --
 Kansas                        5,434                  0.4      --                   --
 Kentucky                      4,664                  0.2      --                   --
 Louisiana                     5,919                  0.3      --                   --
 Maine                         5,771                  0.7      --                   --
 Maryland                     21,806                  0.7      --                   --
 Massachusetts [7]            25,331                  0.7     529                  0.0
 Michigan [8]                 21,793                  0.4      --                   --
 Minnesota [6]                15,740                  0.5      --                   --
 Mississippi [1]               2,960                  0.2      --                   --
 Missouri [1]                 11,017                  0.3      --                   --
 Montana [1]                   4,368                  0.7      --                   --
 Nebraska                      2,707                  0.3      --                   --
 Nevada                        7,445                  0.5      --                   --
 New Hampshire [1],
                               6,252                  0.8      --                  --
 [6]
 New Jersey [9]               20,903                  0.5      --                   --
 New Mexico [10]              5,132                   0.6     284                  0.0
 New York                     66,993                  0.8      --                   --
 North Carolina [11]          26,386                  0.5   168,900                3.0
 North Dakota [6]             1,653                   0.5      --                   --
 Northern Mariana
                                 0                    0.0      --                  --
 Islands


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                                       UOCAVA Voters                                Other Voters
          State
                                 Total                   %                  Total                   %
 Ohio                           21,854                  0.4                   --                    --
 Oklahoma                       6,366                   0.4                   --                    --
 Oregon [12]                    16,534                  0.7                   --                    --
 Pennsylvania [13]              28,014                  0.4                  842                   0.0
 Puerto Rico                     587                    0.0                   --                    --
 Rhode Island [1], [14]            --                    --                   --                    --
 South Carolina                 12,906                  0.5                   --                    --
 South Dakota                   2,951                   0.7                   --                    --
 Tennessee                      14,676                  0.5                   --                    --
 Texas                          60,292                  0.5                   --                    --
 U.S. Virgin Islands               8                    0.0                   --                    --
 Utah                           7,474                   0.5                   --                    --
 Vermont [6]                    2,986                   0.8                   --                    --
 Virginia                       32,328                  0.7                   --                    --
 Washington [15]                64,848                  1.6                   --                    --
 West Virginia                  2,215                   0.3                   --                    --
 Wisconsin [16]                 13,481                  0.4                 7,387                  0.2
 Wyoming                        1,705                   0.6                   --                    --
 U.S. Total                    938,297                  0.6              1,290,577                 2.5


Overview Table 3 Calculation Notes:
    In-Person Election Day Voters, Total uses question F1b.
    In-Person Election Day Voters, % uses question F1b divided by question F1a.
    In-Person Early Voters, Total uses question F1f.
    In-Person Early Voters, % uses question F1f divided by question F1a.
    Provisional Voters, Total uses question F1e.
    Provisional Voters, % uses question F1e divided by question F1a.
    UOCAVA Voters, Total uses question F1c.
    UOCAVA Voters, % uses question F1c divided by question F1a.
    Other Voters, Total uses question F1h.
    Other Voters, % uses question F1h divided by question F1a.

Overview Table 3 Data Notes:
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
            calculations at the national level (U.S. Total) only used data from those states that provided data
            for the numerator and denominator of the calculation.
        • Question F1f includes all voters who participated in the election in person prior to Election Day.
            This includes in-person early voting, in-person absentee voting, and any other terminology the
            state used to refer to in-person early voting (as reported in question Q24 of the 2020 Policy
            Survey).



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        •   Question F1h was not mandatory. States only reported data in this item if they offered another
            mode of voting aside from those listed in questions F1b–F1g or if there were counted ballots that
            could not be categorized in questions F1b–F1g.
        •   Because each percentage was calculated independently, the percentages of turnout by mode in
            this table and the previous table may not sum to 100% for some states or at the national level.


    [1] Alabama, Connecticut, Iowa, Mississippi, Missouri, Montana, New Hampshire, and Rhode Island did not
    report data in F1f, because the number of in-person early voters could not be tracked separately from
    other modes of participation.
    [2] Alaska’s F1h data included ballots transmitted by electronic transmission (online or fax) delivery.
    [3] Arkansas’s F1h data included nursing home patients who refused their ballots and votes by bearer,
    “admin,” or delivered by another person.
    [4] California’s F1h data included conditional voter registration (CVR) voters, SDR voters, manual voter
    history updates, “confidentials,” mailed ballots from domestic and UOCAVA voters that could not be
    separated by mode, and other counted ballots not reported in other F1 items.
    [5] Two counties in Florida—Duval and Indian River counties—combined their reported number of UOCAVA
    and domestic mailed ballots in F1h in lieu of reporting them separately within F1c and F1d, respectively.
    [6] Idaho, Minnesota, New Hampshire, and Vermont are exempt from the NVRA requirement to offer
    provisional ballots. North Dakota is exempt from offering provisional ballots because it does not require
    voter registration.
    [7] Massachusetts’s F1h data included “non-UOCAVA AV [absentee voting] ballots not returned by mail.”
    [8] Michigan’s data in the In-Person Early Voters columns reflect those who voted absentee at the local
    clerk’s office prior to Election Day.
    [9] New Jersey did not report data in F1f because the state did not offer in-person early voting.
    [10] New Mexico’s F1h data included ballots cast because of “emergency (medical reasons).”
    [11] North Carolina’s F1h data included curbside absentee voters.
    [12] Oregon is a vote-by-mail state and traditional early voting does not exist.
    [13] Pennsylvania reported that the state cannot systematically track data on poll workers. Pennsylvania’s
    F1h data included ballots for which “vote method not identified in the system.”
    [14] Rhode Island reported that data for question F1c is unavailable.
    [15] Washington is a vote-by-mail state. Voters can register and vote on or before Election Day. Totals in
    F1f (voters who cast a ballot at an in-person early voting location and whose ballots were counted) include
    voters who used a disability access unit.
    [16] Wisconsin reported that state statute does not require the state to track data on poll workers.
    Wisconsin’s F1h data included ballots for which voter method data was not yet available.




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Overview Table 4: Polling Places and Poll Workers
                                       Total Polling Places              Total Poll Workers
                         Total
        State
                       Precincts
                                   Election Day    Early Voting    Election Day     Early Voting

Alabama [1]             2,111         1,976             69            16,028             --
Alaska [2]               441           420             164             2,817           260
American Samoa            41            41               1               0             256
Arizona                 1,494          767             161             7,409          1,091
Arkansas                2,519        11,055           9,834            6,440          2,379
California              20,497        3,704           1,951           46,762          25,680
Colorado [3]            3,215          341             301             7,185          7,185
Connecticut [1], [4]     718           718               --            3,590             --
Delaware                 439           264               3             3,157             3
District of Columbia     144            95              32             2,407          2,549
Florida                 6,128         4,433            425            42,247          11,173
Georgia [2]             2,648         2,419            336            22,401          5,073
Guam                      67            22               5              485             48
Hawaii [2], [5]          250            8                8               64             64
Idaho                    948           722              32             5,532           303
Illinois [2]            10,075       17,169           2,515           43,299          3,412
Indiana                 5,169         1,835            302            15,313          2,211
Iowa [1]                1,681         1,329              --            8,632          1,003
Kansas [6]              2,601            --              --            5,789          1,120
Kentucky                3,692          682             197             7,947          4,658
Louisiana [2], [7]      3,934         1,991            105            16,980             --
Maine [8]                551           520             520             6,054             --
Maryland [9]            1,991          320              81            12,469          8,210
Massachusetts [2],
                        2,173         1,220            391            13,044             --
[10]
Michigan [11]           4,751         3,367           1,583           35,825             0
Minnesota [2]           4,110         2,344            237            28,646           1,139
Mississippi [1]         1,776         1,776              --           11,358             --
Missouri [1]            4,373         2,326              --           19,075             --
Montana                  663           21               22             1,592           1,427
Nebraska                1,379          922              93             7,695            115
Nevada                  1,990          217              90             2,692           2,200
New Hampshire [1],
                         340           308              --            3,576              --
[2]
New Jersey [2], [12]    6,346         1,549             --            7,603              --
New Mexico              1,949          664             219             3,631           953
New York                15,551        4,838            286            73,198          15,065
North Carolina [13]     2,663         2,752            451            24,742          12,310



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                                               Total Polling Places            Total Poll Workers
                             Total
         State
                           Precincts
                                          Election Day     Early Voting   Election Day    Early Voting

 North Dakota [2], [14]      422              110               18             --              --
 Northern Mariana
                               7               7                4             135             54
 Islands [2]
 Ohio [15]                   8,933           3,563              88          47,761             0
 Oklahoma                    1,950           1,950              82           5,993           559
 Oregon [16]                 1,328             36                --            --              --
 Pennsylvania [2], [17]      9,158           9,155              91             --              --
 Puerto Rico [2], [18]       1,365           1,259             353             --              --
 Rhode Island [2]             461             461               39           3,516            78
 South Carolina [19]         2,262           1,975             116          16,618           517
 South Dakota                 715             506               67           2,562           177
 Tennessee                   1,961           1,852             214          16,641          2,757
 Texas                       9,949           6,580            3,024         41,092          17,740
 U.S. Virgin Islands [2]       12              9                 3            150             40
 Utah                        2,943            123               73           2,015           521
 Vermont [2], [20]            275             275              246             --              --
 Virginia [21]               2,454           2,454             133          27,984          2,419
 Washington [22]             7,436              --              66             --              --
 West Virginia               1,706           1,361              60           8,143           271
 Wisconsin [23]              3,698           2,467               --            --              --
 Wyoming                      480             179                8           2,052            85
 U.S. Total                176,933          107,457          25,099        690,346          135,105




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                                              Poll Workers’ Ages
        State
                                     % Age   % Age         % Age        % Age
                         % Age <18                                                  % Age 71+
                                     18–25   26–40         41–60        61–70
Alabama [1]                 2.5       2.9      7.9          25.7         31.4          29.6
Alaska [2]                   --        --       --           --            --            --
American Samoa              0.0      20.7     25.4          42.6         11.3           0.0
Arizona                     1.1       4.4     12.3          27.7         30.3          24.1
Arkansas                    0.7       4.3      6.8          21.8         36.3          30.0
California                 12.7       9.5     22.8          30.4         16.3           8.3
Colorado [3]                6.8       3.6      8.9          24.5         32.7          23.5
Connecticut [1], [4]         --        --       --           --            --            --
Delaware                    3.6       6.7     11.7          32.1         29.9          15.9
District of Columbia        1.8       8.8     49.6          24.6         11.4           3.7
Florida                     0.9       4.3     10.8          30.5         29.9          23.6
Georgia [2]                  --        --       --           --            --            --
Guam                        0.0      24.5     25.8          32.3          9.0           8.4
Hawaii [2], [5]              --        --       --           --            --            --
Idaho                       5.3       4.4      8.6          21.4         39.3          21.0
Illinois [2]                 --        --       --           --            --            --
Indiana                     4.3       7.0     17.4          31.7         24.1          15.4
Iowa [1]                    0.3       3.9     10.9          25.8         34.1          24.9
Kansas [6]                  4.0       3.9     12.9          24.4         29.6          25.1
Kentucky                    0.2       6.2     13.2          37.4         26.5          16.4
Louisiana [2], [7]           --        --       --           --            --            --
Maine [8]                   0.6       4.4     11.4          33.0         31.8          18.7
Maryland [9]                2.8       6.6     13.8          41.3         25.0          10.5
Massachusetts [2],
                             --        --       --            --           --           --
[10]
Michigan [11]               3.9      3.8      6.6           22.9         33.6          29.1
Minnesota [2]                --        --      --             --          --            --
Mississippi [1]             0.0      0.0      0.0            5.0         50.2          44.8
Missouri [1]                5.4       6.1     10.1          24.2         30.5          23.8
Montana                     0.0      2.0      7.5           27.8         35.7          27.0
Nebraska                    1.1       4.1     17.0          31.1         26.3          20.4
Nevada                      4.1      10.0     14.0          27.5         25.1          19.3
New Hampshire [1], [2]       --        --      --             --          --            --
New Jersey [2], [12]         --        --      --             --          --            --
New Mexico                  2.8       6.7     11.6          27.9         30.1          20.9
New York                    0.4       8.5     22.2          29.7         22.1          17.1
North Carolina [13]         2.9       4.6     11.7          30.3         31.3          19.2
North Dakota [2], [14]       --        --      --             --          --            --




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                                                          Poll Workers’ Ages
          State
                                           % Age          % Age         % Age         % Age
                           % Age <18                                                              % Age 71+
                                           18–25          26–40         41–60         61–70
 Northern Mariana
                                --            --             --            --            --            --
 Islands [2]
 Ohio [15]                     2.1           5.4           14.1          32.1          28.6          17.8
 Oklahoma                      0.0           2.1            6.3          18.5          31.6          41.4
 Oregon [16]                    --            --             --           --            --             --
 Pennsylvania [2], [17]         --            --             --           --            --             --
 Puerto Rico [2], [18]          --            --             --           --            --             --
 Rhode Island [2]               --            --             --           --            --             --
 South Carolina [19]            --            --             --           --            --             --
 South Dakota                  0.0           1.3            7.6          21.2          38.4          31.6
 Tennessee                     3.6           4.4            9.2          23.8          32.7          26.3
 Texas                         6.7           9.5           14.4          27.9          26.0          15.5
 U.S. Virgin Islands [2]        --            --             --           --            --             --
 Utah                          1.2          11.7           25.3          40.9          15.8           5.2
 Vermont [2], [20]              --            --             --           --            --             --
 Virginia [21]                  --            --             --           --            --             --
 Washington [22]                --            --             --           --            --             --
 West Virginia                 0.0           5.3           13.1          30.1          28.6          22.8
 Wisconsin [23]                 --            --             --           --            --             --
 Wyoming                       1.3           3.0            9.7          24.5          38.2          23.3
 U.S. Total                    3.2           6.2           15.0          28.4          27.3          20.1


Overview Table 4 Calculation Notes:
    Total Precincts uses question D2a.
    Total Polling Places, Election Day uses question D3a.
    Total Polling Places, Early Voting uses question D4a.
    Total Poll Workers, Election Day uses question D5.
    Total Poll Workers, Early Voting uses question D6.
    Poll Workers % Age <18 uses question D7b divided by the sum of questions D7b–D7g.
    Poll Workers % Age 18–25 uses question D7c divided by the sum of questions D7b–D7g.
    Poll Workers % Age 26–40 uses question D7d divided by the sum of questions D7b–D7g.
    Poll Workers % Age 41–60 uses question D7e divided by the sum of questions D7b–D7g.
    Poll Workers % Age 61–70 uses question D7f divided by the sum of questions D7b–D7g.
    Poll Workers % Age 71+ uses question D7g divided by the sum of questions D7b–D7g.

Overview Table 4 Data Notes
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
            calculations at the national level (U.S. Total) only used data from those states that provided data
            for the numerator and denominator of the calculation.




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    •   Because percentages for each age category were calculated independently, the percentages for
        each age category may not sum to 100% for some states or at the national level.
    •   In calculating percentages for poll worker age categories, the sum of questions D7b–D7g was
        used instead of D7a because some states did not report data in all age categories.


[1] Alabama, Connecticut, Iowa, Mississippi, Missouri, and New Hampshire did not report complete data on
early voting because some of this data could not be tracked separately from Election Day voting data.
[2] Alaska, Georgia, Hawaii, Illinois, Louisiana, Massachusetts, Minnesota, New Hampshire, New Jersey,
North Dakota, the Northern Mariana Islands, Pennsylvania, Puerto Rico, Rhode Island, the U.S. Virgin
Islands, and Vermont do not track data on the ages of their poll workers.
[3] Colorado did not distinguish between early voting and Election Day voting in collecting information on
poll workers. Because Colorado counties automatically mail ballots to every active voter and most voters
choose to vote the mail ballot, a large number of poll workers are needed to process the mail ballots. That
work begins in the early voting period and continues through Election Day and the eight-day post-election
period when military and overseas voters can return their ballot and voters with signature or ID issues can
cure their ballots.
[4] Connecticut provided data on the total number of poll workers in question D7a but was unable to
provide the age breakdown in questions D7b–D7g.
[5] In Hawaii, in-person voting locations are called Voter Service Centers and provide accessible in-person
voting, SDR, and collection of voted ballots.
[6] Kansas did not report data on the number of polling places in questions D3 and D4.
[7] Louisiana reported both its early voting and Election Day poll workers in question D5.
[8] Maine reported that data on the number of early voting poll workers in question D6 was not available.
[9] The number of Election Day voting locations in Maryland for the 2020 general election was greatly
reduced due to the COVID-19 pandemic and the lack of poll workers. The 320 Election Day voting locations
reported in D3a all served as county-wide vote centers. In a typical election, the number of Election Day
polling places generally corresponds to the numbers of precincts, and each polling place only serves the
precinct(s) assigned to it.
[10] Massachusetts reported that “Those who worked early voting were not called ‘poll workers’ and varied
each day of early voting.”
[11] Michigan reported data in D4 and noted that “early voting takes place at a clerk’s office or their
satellite offices for in-person absentee voting only.” All Michigan jurisdictions reported zero for the number
of early voting poll workers in D6; regular office staff operated clerk’s offices and satellite locations.
[12] New Jersey did not report data in questions D4a nor D6 because the state did not offer in-person
early voting.
[13] Precinct, polling place, and early voting site counts are based on data that election officials entered
into North Carolina’s Statewide Election Information Management System (SEIMS) and may be marginally
different than the number of sites that were actually open during early voting and Election Day voting.
[14] North Dakota provided data on the total number of poll workers in question D7a but was unable to
provide the totals for Election Day and early voting poll workers in questions D5 and D6 or the age
breakdown in questions D7b–D7g.
[15] Ohio reported zero early voting poll workers with a comment that regular office staff operated the
early voting sites.
[16] Oregon is a vote-by-mail state and does not have or track traditional poll workers for in-person voting.
[17] Pennsylvania provides in-person absentee and mail-in voting at county election offices and satellite
county election offices. Absentee and mail-in ballots cast in person are secured until Election Day to be
tabulated by the county board of elections. Pennsylvania reported that the state cannot systematically
track data on poll workers.


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    [18] Puerto Rico reported that data on poll workers are not available and that poll workers were
    volunteers, not PR-SEC employees.
    [19] South Carolina only reported poll workers who were under the age of 18 and did not provide data for
    any other age categories. South Carolina’s data on poll worker ages has been excluded from this table.
    [20] Vermont did not provide data on the number of poll workers.
    [21] Virginia does not capture or track information on the age of poll workers. Before this report’s
    finalization, Virginia notified the EAC that the statewide number of early voting polling places in D4a was
    208, not 133.
    [22] Washington is a vote-by-mail state and does not have traditional polling places. Washington has
    voting centers that are open for the entire voting period, not just a single day. Each county is required to
    have two certified election administrators and can hire election workers to assist with processing returned
    ballots.
    [23] Wisconsin state statute does not require the state to track data on early voting physical polling
    locations and poll workers. Partial data are available through the state.




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Overview Table 5: Election Technology and Voting Methods

                       Total Number of   DRE without VVPAT             DRE with VVPAT
        State          Voting Machines
                           Deployed      Total           %           Total            %
Alabama                    4,864            --           --             --            --
Alaska                      758             --           --           152           20.1
American Samoa [1]            --            --           --             --            --
Arizona                    1,539            --           --            19            1.2
Arkansas                   4,480           76           1.7            92            2.1
California                 33,163           --           --            23            0.1
Colorado                   1,851            --           --             --            --
Connecticut                2,154            --           --             --            --
Delaware                   1,057            --           --          1,050          99.3
District of Columbia        694             --           --             --            --
Florida                    14,015           --           --            67            0.5
Georgia                    30,824           --           --             --            --
Guam                         11             --           --             --            --
Hawaii                      292             --           --           276           94.5
Idaho                      1,506            --           --            72            4.8
Illinois                   20,043           --           --          2,215          11.1
Indiana                    14,868        5,775         38.8           956            6.4
Iowa                       2,874            --           --             --            --
Kansas [2]                 5,871           43           0.7          4,700          80.1
Kentucky                   4,246          528          12.4           570           13.4
Louisiana                  9,828         9,747         99.2             --            --
Maine [3]                  1,088            --           --             --            --
Maryland                   3,651            --           --             --            --
Massachusetts              4,386            --           --             --            --
Michigan                   8,118            --           --             --            --
Minnesota                  5,710            --           --             --            --
Mississippi                7,048         5,820         82.6            20            0.3
Missouri                   5,346            --           --           330            6.2
Montana                     248             --           --             --            --
Nebraska                   1,422            --           --             --            --
Nevada                     5,765            --           --          5,646          97.9
New Hampshire               652             --           --             --            --
New Jersey                 2,207         1,495         67.7           632           28.6
New Mexico                 1,461            --           --             --            --
New York                   18,792           --           --             --            --
North Carolina             9,468            --           --             --            --
North Dakota                524             --           --             --            --



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                          Total Number of         DRE without VVPAT     DRE with VVPAT
          State           Voting Machines
                              Deployed            Total         %     Total          %
 Northern Mariana
                                  4                   --        --      --           --
 Islands [4]
 Ohio                          25,164               --          --    7,028        27.9
 Oklahoma                      2,263                --          --      --           --
 Oregon [5]                       --                --          --      --           --
 Pennsylvania                  24,413               --          --      --           --
 Puerto Rico                   6,075                --          --      --           --
 Rhode Island                   612                 --          --      --           --
 South Carolina                16,873               --          --      --           --
 South Dakota                   630                 --          --      --           --
 Tennessee                     9,199             5,483         59.6     --           --
 Texas                         42,151            20,978        49.8   2,211         5.2
 U.S. Virgin Islands             80                 --          --      --           --
 Utah                            41                 --          --      --           --
 Vermont [6]                    530                 --          --      --           --
 Virginia [7]                  4,057                --          --      --           --
 Washington                     186                 --          --      --           --
 West Virginia                 5,401                --          --    1,887        34.9
 Wisconsin [8]                    --                --          --      --           --
 Wyoming                        863                 --          --      --           --
 U.S. Total                   369,366            49,945        13.5   27,946        7.6




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                       Ballot Marking Devices              Scanners              Hand Counting
        State                                                                         (Total
                         Total           %           Total               %        Jurisdictions)
Alabama                 2,044          42.0         2,820              58.0            0
Alaska                   289           38.1          317               41.8            1
American Samoa [1]         --            --            --                --            1
Arizona                 1,093          71.0          427               27.7            1
Arkansas                3,373          75.3          939               21.0            5
California              31,770         95.8         1,370               4.1            0
Colorado                1,668          90.1          183                9.9            1
Connecticut                --            --         2,154             100.0            0
Delaware                   --            --            7                0.7            3
District of Columbia     562           81.0          132               19.0            0
Florida                 4,723          33.7         9,225              65.8            0
Georgia                 27,078         87.8         3,746              12.2            0
Guam                       8           72.7            3               27.3            0
Hawaii                     --            --           16                5.5            0
Idaho                    881           58.5          553               36.7            12
Illinois                9,313          46.5         8,515              42.5            0
Indiana                 4,807          32.3         3,330              22.4            0
Iowa                    1,402          48.8         1,472              51.2            0
Kansas [2]                 --            --         1,128              19.2             --
Kentucky                 564           13.3         2,584              60.9            3
Louisiana                  --            --           81                0.8            0
Maine [3]                496           45.6          592               54.4           187
Maryland                1,729          47.4         1,922              52.6            0
Massachusetts           2,173          49.5         2,213              50.5            58
Michigan                3,367          41.5         4,751              58.5            0
Minnesota               2,794          48.9         2,916              51.1            2
Mississippi              507            7.2          701                9.9            0
Missouri                2,402          44.9         2,614              48.9            1
Montana                  136           54.8          112               45.2            10
Nebraska                1,265          89.0          157               11.0            0
Nevada                    80            1.4           39                0.7            0
New Hampshire            310           47.5          342               52.5           123
New Jersey                 --            --           80                3.6            0
New Mexico                 --            --         1,461             100.0            33
New York                7,768          41.3         11,024             58.7            62
North Carolina          6,001          63.4         3,467              36.6            0
North Dakota             260           49.6          264               50.4            0
Northern Mariana
                          --             --            4              100.0            0
Islands [4]



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                           Ballot Marking Devices                Scanners               Hand Counting
          State                                                                              (Total
                             Total            %             Total              %         Jurisdictions)
 Ohio                       12,510           49.7          5,626             22.4             0
 Oklahoma                      --             --           2,263            100.0             0
 Oregon [5]                    --             --              --               --             0
 Pennsylvania               10,860           44.5          13,553            55.5             0
 Puerto Rico                   --             --           6,075            100.0             1
 Rhode Island                 78             12.7           534              87.3             0
 South Carolina             14,129           83.7          2,744             16.3             0
 South Dakota                533             84.6            97              15.4             0
 Tennessee                  2,205            24.0          1,511             16.4             11
 Texas                      15,250           36.2          3,712              8.8             15
 U.S. Virgin Islands          50             62.5            30              37.5             0
 Utah                         29             70.7            12              29.3             0
 Vermont [6]                 312             58.9           218              41.1            101
 Virginia [7]                  --             --           4,057            100.0             0
 Washington                  108             58.1            78              41.9             0
 West Virginia              2,743            50.8           771              14.3             0
 Wisconsin [8]                 --             --              --               --            705
 Wyoming                     496             57.5           367              42.5             0
 U.S. Total                 178,166          48.2         113,309           30.7            1,336


Overview Table 5 Calculation Notes:
    Total Number of Voting Machines Deployed uses the sum of questions F5c_1, F5c_2, F5c_3, F6c_1,
    F6c_2, F6c_3, F7c_1, F7c_2, F7c_3, F8c_1, F8c_2, F8c_3, F9c_1, F9c_2, F9c_3, F10c_1, F10c_2, and
    F10c_3.
    DRE without VVPAT, Total uses the sum of questions F5c_1, F5c_2, and F5c_3.
    DRE without VVPAT, % uses the sum of questions F5c_1, F5c_2, and F5c_3 divided by the total number of
    voting machines deployed (Column 1).
    DRE with VVPAT, Total uses the sum of questions F6c_1, F6c_2, and F6c_3.
    DRE with VVPAT, % uses the sum of questions F6c_1, F6c_2, and F6c_3 divided by the total number of
    voting machines deployed (Column 1).
    Ballot Marking Devices, Total uses the sum of questions F7c_1, F7c_2, and F7c_3.
    Ballot Marking Devices, % uses the sum of questions F7c_1, F7c_2, and F7c_3 divided by the total
    number of voting machines deployed (Column 1).
    Scanner, Total uses the sum of questions F8c_1, F8c_2, and F8c_3.
    Scanner, % uses the sum of questions F8c_1, F8c_2, and F8c_3 divided by the total number of voting
    machines deployed (Column 1).
    Hand Counting (Total Jurisdictions) uses a count of the number of jurisdictions in each state that
    responded “yes” to question F11a.




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Overview Table 5 Data Notes:
    General Notes:
        • Although other descriptive tables in this chapter used casewise deletion at the state level in
            calculating percentages, this table did not. When a state reported not using a type of equipment,
            the number of devices of that type was filled with zero to better capture at the national level the
            quantity and percentage that each voting technology accounted for in the 2020 general election.


    [1] American Samoa reported only hand counting ballots in the 2020 general election.
    [2] Kansas did not respond to question F7a on the use of BMDs or question F11a on the use of hand
    counting.
    [3] The data depicted in this table for Maine underreported the number of BMDs (accessible voting
    solution) deployed by the state’s jurisdictions. Each voting place was provided with at least one BMD, and
    some larger jurisdictions used multiple devices. In the data previously provided to the EAC, Maine reported
    that each jurisdiction used only one device. The actual number of devices deployed statewide was 527.
    [4] The Northern Mariana Islands reported using BMDs in question F7a and provided a description of
    “pencils.”
    [5] Oregon reported in question F8a that each of its jurisdictions used scanners, but for the purposes of
    this report, data on the number of scanners deployed was not tracked.
    [6] Vermont provided a response of “valid skip” for all jurisdictions in question F6a and provided a
    response of “does not apply” for 41.1% of its jurisdictions in question F8a.
    [7] Virginia reported using BMDs in all 133 of its jurisdictions, but initially did not report jurisdiction-level
    data on the number of BMDs deployed. Before this report’s finalization, Virginia notified the EAC that the
    statewide number of BMDs in F7c_1, F7c_2, and F7c_3 was 2,533.
    [8] Wisconsin does not permit the use of DREs without a VVPAT. Wisconsin also does not permit the use of
    punch card machines or lever machines. The state tracks the machine types employed in each jurisdiction
    and not the number of machines deployed in each jurisdiction.




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Chapter 2. Election Law and
Procedure: The Policy Survey
Key Findings
The 2020 Election Administration Policy Survey (Policy Survey) asked states to identify the election
laws and procedures that govern voter registration, election technology, voter eligibility, modes of
voting, and election audits in their state. Notable findings from this survey include:

   • In 2020, more states reported providing Election Administration and Voting Survey (EAVS)
     responses at the state level for every EAVS section compared to 2018.
   • Fourteen states reported conducting all-mail elections for the 2020 general election, either
     statewide or in certain jurisdictions. This is double the number of states from the 2018 Policy
     Survey, but in some cases, all-mail voting was implemented in response to the COVID-19
     pandemic, and it was not a permanent change.
   • More states reported having an online voter registration system in the 2020 Policy Survey (45
     states) compared to in the 2018 Policy Survey (40 states). In the majority of cases, individuals
     can use this system to register to vote and to update their registration.
   • About half of the states reported allowing non-military voters residing in the United States to
     receive their ballots through an electronic format, such as email, fax, through an online voter
     registration portal, or through a mobile phone app, under certain circumstances.
   • Roughly half of the states reported allowing permanent absentee status when a Uniformed
     and Overseas Citizens Absentee Voting Act (UOCAVA) voter registration is submitted via a
     Federal Post Card Application (FPCA), a decrease from 2018.
   • Forty-four states reported requiring a post-election tabulation audit that verifies that voting
     equipment used during an election properly counts a sample of voted ballots after an election.

Introduction
Although quantitative data from state 1 and local election officials provide an important window into
how the 2020 general election was run, these data must be understood in the context of state laws
and policies. In 2008, the U.S. Election Assistance Commission (EAC) introduced a component of the
EAVS that collects information on state election laws. Since 2018, this data has been collected
through the Policy Survey, which uses closed-ended questions to capture states’ broad policies. It is
important to remember that state election laws are nuanced, and this report simplifies them for the
purpose of providing an overview of election policies that offers important context to understanding
the EAVS data. This report provides an overview and summary of the Policy Survey’s findings.

1 Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 50 U.S. states, the

District of Columbia, and five U.S. territories (American Samoa, Guam, the Northern Mariana Islands, Puerto Rico, and the
U.S. Virgin Islands) that submit Policy Survey and EAVS data.



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Additional information about state responses is available in Appendix A of this chapter. The 2020
Policy Survey included updates to some of the 2018 items to better capture state policy nuances.

The 2020 Policy Survey collected data on states’ election laws, policies, and practices that would be
in place for the November 2020 general election. Most states submitted this information before the
election. The Policy Survey was also used to validate 2020 EAVS data prior to states certifying their
data as final. The goal of the 2020 Policy Survey was to create comparisons between states across
broad policy categories and to provide context in understanding the EAVS data submitted by states.
Because of the nature of the closed-ended survey questions, some of the nuances in state election
policies could not be accounted for. States were encouraged to forward additional information and
context behind their Policy Survey responses to allow their data to be interpreted as accurately as
possible.

For further information about how the Policy Survey data were collected and used to validate EAVS
data, please see Chapter 5 of this report.

Responding to the 2020 EAVS
The 2020 Policy Survey asked states to describe who provides the data to respond to the questions
in each section of the EAVS: the state election office, local election offices, or both the state and
local offices. Some states indicated that all sections are completed by the state election office, and
some gather data for all sections from their local jurisdictions. 2 Many states answered certain
sections at the state level and other sections at the jurisdiction level.

With the exception of sections A and F of the EAVS, roughly half of the states provided responses at
the state level, whereas about one-fifth of states reported that responses are provided by local
officials. For sections A and F, about 60% of states reported providing responses at the state level,
and slightly less than 15% of states reported providing responses at the local level. 3 Roughly one-
quarter to one-third of the responses for each section were provided by both state and local officials.
In 2020, more states reported providing EAVS responses at the state level for every EAVS section
compared to in 2018 (see Table 1).

The findings from this question illustrate the complexities that state and local election officials
experience when answering the EAVS. Many states with a large number of jurisdictions reported



2 What constitutes a jurisdiction for EAVS reporting is defined by how each state chose to provide data. For the 2020 EAVS,

most states reported data on the county level (or county equivalent, such as parishes for Louisiana). Illinois, Maryland,
Missouri, and Virginia reported data for independent cities in addition to counties. The territories, the District of Columbia,
and Alaska each reported as a single jurisdiction. Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island,
Vermont, and Wisconsin reported data on the township level. Maine also reported its UOCAVA data in Section B as a
separate jurisdiction, because this information was only collected at the state level. Michigan reported data for the county
level, but most election administration activities take place in the 1,520 local election jurisdictions in the state.
3 Information on how states answer Section A of the EAVS was collected in item Q3_1 of the Policy Survey. Information on

how states answer Section B of the EAVS was collected in Q3_2. Information on how states answer Section C of the EAVS
was collected in Q3_3. Information on how states answer Section D of the EAVS was collected in Q3_4. Information on how
states answer Section E of the EAVS was collected in Q3_5. Information on how states answer the Section F of EAVS was
collected in Q3_6.



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providing EAVS data entirely at the local level. Furthermore, some states reported providing EAVS
data for some sections at the state level while relying on local officials for other sections.


                 Table 1. More States Are Providing EAVS Responses at the State Level
                         Number of States Providing EAVS Responses at the State Level
                   EAVS Section           Number of States in 2018           Number of States in 2020
                      Section A                        31                                 34
                      Section B                        27                                 28
                      Section C                        27                                 29
                      Section D                        23                                 26
                     Section E 4                       25                                 28
                      Section F                        26                                 33

Source: Information on answering the EAVS was collected in Q3 of the Policy Survey.



In almost all states, the chief state election official is responsible for certifying the state’s EAVS data
submission and/or receiving and certifying the spending of Help America Vote Act (HAVA) funds on
behalf of the state. In 2020, 75% of states reported that the chief election official selects the state
representative for and supervises local election officials’ selection as representatives to the EAC
Standards Board. The Standards Board consists of 55 state and 55 local election officials who assist
the EAC in carrying out its mandates. 5

Policies on Voter Registration and List Maintenance
The primary federal law governing voter registration in the United States is the National Voter
Registration Act (NVRA), which became effective after the 1994 general election. 6 The NVRA
expands voter registration opportunities for voters by creating more standardized registration
processes and by designating more places as voter registration agencies. It also requires that states
conduct a uniform and nondiscriminatory general program to remove from their lists the records of
individuals who are no longer eligible to vote.

Congress also passed HAVA in 2002, requiring states to adopt a computerized statewide voter
registration list. 7 States use these registration lists to determine who is eligible to participate in
elections. States also face the challenge of keeping these lists up to date, as voters commonly move

4 Minnesota did not provide a response to Section E of this item for the 2020 Policy Survey.
5 Information on the EAC-related duties of chief state election officials was collected in item Q1a of the Policy Survey.

Eleven states provided additional information for cases in which another official performs these functions. The District of
Columbia noted that it does not have any local election officials.
6 Several states are not covered by the NVRA. North Dakota is exempt because it does not have voter registration. U.S.

territories are also not subject to the NVRA, and the states of Idaho, Minnesota, New Hampshire, Wisconsin, and Wyoming
are exempt because they had same-day registration (SDR) in 1994 and have continued to make this option available
uninterrupted since that time.
7 52 U.S.C. § 21083.




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to different jurisdictions or states, die, or become otherwise ineligible to vote. North Dakota is the
only state that does not require voter registration.

Between 2018 and 2020, some states passed laws allowing individuals to register to vote online,
register in person on Election Day, or register through an automated process. In 2020, states
reported receiving a record number of registration applications. Further information on state
registration data is included in Chapter 3 of this report.

Database Systems
States responded to the HAVA voter registration requirements in different ways. Some states
adopted a single, central platform at the state level that connects to terminals in local jurisdictions.
This type of system is typically referred to as a “top-down” voter registration system. Other states
implemented a state voter registration database that gathers and aggregates information from their
local jurisdictions’ voter registration databases. This type of system is typically referred to as a
“bottom- up” system. 8 If a system has a mix of top-down and bottom-up characteristics, then it is
referred to as a “hybrid” system. The specific characteristics of hybrid systems vary state by state.

The Policy Survey asks states to report the type of voter registration database they have and how
often information is shared between states and local jurisdictions. 9 Figure 1 shows that a majority of
states (67.9%) reported having voter registration databases that function in a top-down manner.

About 20% of states reported having a bottom-up registration system that uploads jurisdiction-level
information at regular intervals to form the statewide voter registration list, and only 10.7% of states
reported having a hybrid system that combines elements of both. 10 In practice, these state
registration system categories can be fluid. Some top-down registration systems may implement
processes of the bottom-up registration system and vice versa.

States that reported having either a bottom-up or hybrid system were asked to report how often their
jurisdictions transmit voter registration information to the statewide database. 11 For these two
systems, real-time data transmissions were most common (reported in 58.8% of the states with
bottom-up or hybrid systems), whereas 23.5% of the states reported that voter registration
information is transmitted daily. 12 Texas reported that information is transmitted both ways:
transmissions from “online” counties happen in real time, whereas in “offline” counties, it happens




8 For a bottom-up voter registration system to be considered a statewide system, the state database, the data, and the

data flow must be defined, maintained, and administered by the state. U.S. Election Assistance Commission. (2005, July).
Voluntary Guidance on Implementation of Statewide Voter Registration Lists. https://www.eac.gov/sites/default/files/eac
_assets/1/1/Implementing%20Statewide%20Voter%20Registration%20Lists.pdf.
9 One state did not provide a response to this item.
10 Information on the type of voter registration system states have was collected in item Q4 of the Policy Survey.
11 Minnesota did not provide a response to this item.
12 Information on how often local jurisdictions transmit information to the state voter registration database was collected in

item Q4a of the Policy Survey.



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            Figure 1. Over Two-Thirds of States Have Top-Down Voter Registration Systems




Source: Information on voter registration database system type was collected in Q4 of the Policy Survey. This graph shows
the number of states that reported having each type of voter registration database.



daily. 13 Similarly, in Illinois, if the jurisdiction vendor has web services, the information is uploaded in
real time, whereas a batch is sent daily from those jurisdictions without web services. The Northern
Mariana Islands reported that information is retrieved upon request.

Data Linkages
Election officials must accomplish two primary activities related to voter registration: adding
individuals to the database who are eligible to vote and maintaining the accuracy of the database. 14
A state accomplishes these goals by accessing or “linking” to other databases to verify the voter

13 The 2016 Statutory Overview found that several Texas jurisdictions use the Texas statewide voter registration database

to directly manage registration data, and other Texas jurisdictions manage their own voter registration data using a third-
party vendor. Texas refers to these as “online” and “offline” jurisdictions. Although online counties transmit information in
real time through an online voter registration system, offline jurisdictions transmit information in batches through a web
browser application.
14 National Research Council. 2010. Improving State Voter Registration Databases: Final Report. Washington, DC: The

National Academies Press. https://www.eac.gov/documents/2010/5/14/improving-state-voter-registration-databases-
final-report.



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registration information in its database. The NVRA also outlines steps that states are required to
take to keep voter registration information current and to remove ineligible voters and duplicate
registrations from the voter lists. This task requires comparing voter lists to records in other
databases to prevent duplicate registration records and to avoid adding individuals who are ineligible
to register. 15

As the National Academy of Sciences (NAS) notes, HAVA requires the chief election official in each
state to attempt to verify the information for first-time voter registration applications against driver’s
license numbers in that state’s motor vehicle licensing agency’s database or against the Social
Security Administration’s database of social security numbers. If no match is found, election officials
in most states attempt to contact the applicant for additional information, but they manage this
process in various ways. HAVA requires that applicants who cannot be matched against one of these
databases be allowed to vote on Election Day provided they present appropriate identification. 16

The Policy Survey asks states how they share information electronically with other state and federal
government entities. 17 These linkages are illustrated in Figure 2. Most states reported that they link
their voter registration data with the agency that handles their state’s driver’s licenses (85.7%) and
with entities that maintain the death records (80.4%). The other most commonly reported linkages
were with entities that maintain felony or prison records, such as state courts and parole agencies
(62.5%). States that reported linking with the agency that handles driver’s licenses most often
reported transferring voter registration data daily (63.3%), followed by in real time (18.4%) and by
some other measure of time that is neither weekly nor monthly (10.2%). Of the states that reported
linking with entities that maintain death records, the most common type of data transfer was
monthly (58.7%), followed by weekly (21.7%). States that reported linking registration data with
entities that maintain felony records most often reported transferring data monthly (58.3%). 18

Less commonly reported linkages included entities that maintain records of individuals who are
declared mentally incompetent, state public assistance agencies, agencies for people with
disabilities, other state agencies that are not required by the NVRA (e.g., public libraries or local
government offices), federal agencies, and military recruiting offices.




15 Ibid.
16 52 U.S.C. § 21083.
17 Although North Dakota does not have voter registration, the state does share information electronically with other

government entities and is included in these analyses.
18 Information on which entities states link their voter registration databases with and how often data transfers occur was

collected in item Q5 of the Policy Survey.



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 Figure 2. States Most Commonly Link Voter Registration Databases With Government Agencies
                       That Maintain Driver’s Licenses and Death Records




Source: Information on the entities that are linked to state voter registration databases was collected in Q5 of the Policy
Survey. This graph shows the number of states that reported linking their voter registration databases with the specified
government agency.



Automatic and Automated Voter Registration
In 2020, 42.9% of states reported that voters may be registered to vote via an automated process,
whether online or in person, during a transaction with a state government agency. 19 Examples of
these automated processes included those that force a choice, such as when an individual cannot
proceed with a transaction without selecting whether or not they wish to be registered to vote, or
processes that register a person to vote as a default, after which the individual may choose to opt
out. In the event that an individual wishes to decline to register, the vast majority of states reported
that they allow the declination to occur at the point of service. About one-third of states reported that
they allow declinations via a mailer sent to the individual after the transaction. 20




19 Information on automatic and automated voter registration was collected in item Q6 of the Policy Survey.
20 Information on when an individual can decline to register to vote was collected in item Q6b of the Policy Survey.




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States that have some kind of automatic or automated voter registration process linked to a state
agency transaction all reported that their state motor vehicle agency participates in this program,
and about one-quarter of the states indicated that public assistance agencies also participate. Less
common program participants included agencies for people with disabilities and other designated
state agencies. Florida also reported linking their voter registration process with tax collector offices
and any office that issues state ID cards. Colorado reported linking with the state’s Department of
Health Care Policy and Financing, and Alaska reported linking with the state’s Permanent Fund
Dividend Division. Maryland noted the state agencies that participate in the automatic or automated
voter registration program are designated by the Maryland General Assembly. 21

Preregistration
In the 2020 Policy Survey, most states (87.5%) reported allowing individuals under the age of 18 to
preregister to vote and become automatically registered once they turn 18 years old. Over half of
states that had a preregistration program reported that they allow individuals to preregister at age
17 (51%), whereas fewer states reported allowing individuals to preregister at age 16 (38.8%). Five
states (10.2%) indicated that they allow individuals to preregister at age 17 and a half. 22

Online Voter Registration
Arizona became the first state to adopt online voter registration in 2002, and by 2016, the number
of states that offered online voter registration jumped to 32. 23 Online voter registration generally
mirrors the process of registering to vote using a paper form, but the information that is necessary to
process the registration application is completed and submitted electronically, without the need of a
paper form to be submitted or created.

Forty-five states (80.4%, an increase from 72.7% in 2018) reported having an online voter
registration portal in which individuals can register on their own, fully online, and without having to
submit a paper form. In almost all of those states, individuals can both register to vote and update
their registration via the system. Two states reported that individuals can only update their
registration online and cannot use the online system to submit a new registration application. A
majority of states with an online voter registration system (82.2%) reported that only individuals with
a valid driver’s license or state-issued ID card can use it. 24 Figure 3 shows the prevalence of online
voter registration across states.




21 Information on which state agencies participate in automatic voter registration was collected in item Q6a of the Policy

Survey.
22 Information on preregistration was collected in item Q10 of the Policy Survey.
23 ”EAVS Deep Dive: Registering to Vote“, https://www.eac.gov/documents/2017/09/20/eavs-deep-dive-registering-to-

vote/ U.S. Election Assistance Commission. (2017, September 20). EAVS Deep Dive: Registering to Vote:
https://www.eac.gov/documents/2017/09/20/eavs-deep-dive-registering-to-vote/.
24 Information on states’ online voter registration policies was collected in item Q7 of the Policy Survey. Information on

whether a driver’s license or state-issued ID card is needed to register to vote online was collected in item Q7a of the Policy
Survey.



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                 Figure 3. More Than Three-Quarters of States Offer Online Registration




Source: Information on online registration policy was collected in items Q7 and Q7a of the Policy Survey.



States were also asked to describe the technological and user experience features of their online,
web-based voter registration system and how voters use it. The most common feature was the use of
a motor vehicle agency signature to register to vote (84.4%), followed by mobile phone optimization
(75.6%) and sending a confirmation email to each registrant (60%). Slightly less than half of all
states reported having custom web page URLs to track where the voter came from to enter the
online registration process (e.g., a state agency or third-party organization), providing a confirmation
number to each registrant, and supporting languages other than English. About one-quarter of states
also reported the use of a third-party application programming interface (API), which allows different
software components to communicate with each other. 25

Same-Day Registration
Instead of requiring voters to register in advance of an election, some states reported allowing
individuals to register to vote and to cast a ballot on the same day. Roughly half of the states
reported having same-day registration (SDR) or a period of overlap between in-person early voting
and the close of voter registration in which a person can register to vote and cast a ballot on the


25 Information on the features of state online, web-based voter registration systems was collected in item Q7b of the Policy

Survey.



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same day (see Figure 4). 26 Among states with SDR, it was most common to have SDR on Election
Day (72.4%). Additionally, the majority of states indicated that they allow SDR during in-person early
voting (69%). 27

Twelve states reported having SDR during an overlap between the start of early voting and the close
of voter registration. Some states noted that SDR only occurs in special cases, such as Alaska and
Rhode Island for presidential elections. New residents who move to Nebraska after the close of voter
registration can register to vote and can vote only for president in the general election; former
residents who move to another state after the close of registration can also vote only for president in
the general election. In North Carolina, citizens who have become eligible to vote between the “close
of books” and Election Day may register on the same day as they vote. 28


             Figure 4. Half of the States Offer Some Form of Same-Day Voter Registration




Source: Information on SDR policy was collected in items Q9 and Q9a of the Policy Survey. “ED” stands for “Election Day.”
“Other Cases” includes instances in which states may allow for SDR during in-person early voting only, during an overlap
between the start of early voting and the close of voter registration, and other specific cases.




26 The timeline does not include an overlap between the mail balloting period and the close of voter registration.
27 Information on state SDR policies was collected in item Q9 of the Policy Survey. Information on the circumstances of SDR

was collected in item Q9a of the Policy Survey.
28 North Carolina did not provide clarification on what was meant by “close of books.”




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State Election Office Website
The 2020 Policy Survey also asked states about which voter information search tools and other tools
are available on each state’s election office website. Almost all of the states indicated that voters
can check their registration status and check their polling site location on the state election office
website. Most states reported having tools that track ballot status, including UOCAVA ballots (87.5%),
mailed ballots (82.1%), and provisional ballots (51.8%), and that check voter-specific ballot
information (76.8%). Additionally, most states reported that their website allows voters to request to
receive a mail or absentee ballot (67.9%). 29

List Maintenance
The NVRA establishes a process for states to keep their voter registration lists accurate. Under this
law, a registrant can be removed from a state’s list for the following reasons:

   •   The registrant requests to be removed;
   •   The registrant dies;
   •   The registrant is declared mentally incapacitated, if a state law requires it;
   •   The registrant is convicted of a specified crime, if state law requires it; or
   •   The registrant changes residences outside of the jurisdiction, in which case the removal
       process must be conducted in accordance with procedures set forth in the NVRA. 30

Under the process established by the NVRA, when a registrant appears to have moved outside of
their jurisdiction due to returned or undeliverable mail, the state must follow a specific process to
verify that the individual is no longer eligible to vote. An address confirmation procedure must be
followed before removing the voter from the registration list.

The 2020 Policy Survey asked states whether they differentiate between active and inactive voters in
their voter registration records. Active voters are individuals who require no additional processing
before they can vote, whereas inactive voters will require address verification before being permitted
to vote. Forty-six states, three territories, and the District of Columbia indicated that they differentiate
between the two types of voters, although according to state comments, the definitions for an active
and inactive voter vary widely. 31 Guam, Idaho, North Dakota, New Hampshire, the U.S. Virgin Islands,
and Wyoming reported not distinguishing between active and inactive voters. Some states indicated
using specific terminology: Nebraska uses “in NVRA” to refer to inactive voters, Texas uses the term
“suspense voters,” and American Samoa uses the term “purged voter.” West Virginia indicated that
inactive voters are those “flagged as moving and receiv[ing] a confirmation notice.” According to the


29 Information on state election office website lookup tools was collected in item Q8 of the Policy Survey.
30 52 U.S.C. § 20507
31 Information on whether states differentiate between active and inactive voters was collected in item Q11 of the Policy

Survey. Minnesota is NVRA exempt and does not define inactive voters as “voters who remain eligible to vote but require
address verification under the provisions of the National Voter Registration Act,” as defined in the EAVS item A1c;
therefore, the EAVS item A1c does not apply to the state. Additionally, North Dakota does not have voter registration but
does define inactive voters in the state voter file. Inactive voters are defined as those who have never voted before or have
not voted in the last two federal elections. Although Wyoming does not keep an inactive list of eligible voters, the statewide
voter registration system keeps a historical record of previously registered voters.



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NVRA, voters marked as inactive are still able to vote in elections unless they have not voted for two
consecutive federal elections and have not updated their information.

Almost three-quarters (70%) of states that reported differentiating between active and inactive
voters also reported that they will move an active voter to the inactive voter list if mail that is sent by
an election office to the voter’s residence is returned as undeliverable, whereas 62% of states
reported that they will move an active voter to the inactive voter list if the voter fails to return a
confirmation notice. Fifteen states commented with several additional actions, including change in
address, not voting in a certain number of elections, determining a person is a felon, determining a
person is deceased, and the existence of duplicate voter records. 32


   Figure 5. States That Differentiate Active and Inactive Voters Will Most Often Reactivate an
                     Inactive Voter if the Voter Initiates a Registration Update




Source: Information on policy regarding reactivating inactive voters was collected in Q11b of the Policy Survey.



On the other hand, certain actions can result in moving an inactive voter to the active voter list.
Figure 5 shows the reasons states report for reactivating inactive voters, if the state differentiates
between active and inactive voters. Most states that distinguish between active and inactive voters

32 Information on moving an active voter to the inactive list was collected in item Q11a of the Policy Survey.




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reported that they will move an inactive voter to the active voter list if an individual initiates an
update to their registration record (96%), returns a confirmation notice (88%), votes in a federal
election (78% for general and 76% for primary), votes in a state or local primary or general election
(both 76% respectively), and/or requests a mail or UOCAVA ballot (68%). Furthermore, roughly half of
the states reported that they will move an inactive voter to the active voter list if there is an online
confirmation of the voter’s registration record. Less common reasons for moving an inactive voter to
the active voter list included if a voter signs a petition or completes a certificate of candidacy.
Thirteen states indicated some other reason, including providing documentation (e.g., appropriate
identification or a signed affidavit) at a polling place, submitting a new registration, and receiving an
address change through the state motor vehicle agency. 33

Thirty-five states indicated that only local officials are responsible for modifying or removing voter
registration records, and 12 states reported that modifying voter registration records is done by both
state and local officials. 34 Alaska, American Samoa, Delaware, the District of Columbia, Guam, South
Carolina, and the U.S. Virgin Islands all indicated that they only modify records at the state level. 35
Table 2 illustrates data sources used to identify potentially ineligible voters. Across states, the most
common data sources were the state vital statistics office, reports from other states indicating a
former resident registered to vote, a voter request for removal, entities that maintain prison records,
and any mail (not including ballots) sent from an election office that was returned as undeliverable. 36

Most states reported sending confirmation notices to voters to help identify individuals who may be
ineligible to vote, but the reasons for sending confirmation notices differ by state. Of the states that
send confirmation notices, 41 (85.4%) reported sending confirmation notices pursuant to Section 8
(d) (1) (B) and Section 8 (d) (2) of the NVRA, 31 states (64.6%) reported sending confirmation
notices pursuant to a state statute, and seven states (14.6%) reported sending confirmation notices
pursuant to a formal administrative rule or guidance. Eight states reported that they do not send
confirmation notices. 37

States most commonly reported sending confirmation notices to voters whose mail from an election
office was returned as undeliverable (81.3%), to voters whose addresses may have changed
(72.9%), to voters who have not voted in two consecutive general elections (41.7%), to voters who
have been convicted of a disqualifying felony (35.4%), and to voters who requested removal from the
voter registration list (29.2%). Less than one-third of states reported sending confirmation notices to
voters who have been declared mentally incompetent, voters who have obtained a driver’s license in
a new state, and voters who have not made contact with their state for a specified length of time.



33 Information on moving an inactive voter to the active list was collected in item Q11b of the Policy Survey.
34 The District of Columbia and American Samoa noted that they do not have local election officials; Puerto Rico noted that

state and local officials have the same roles and responsibilities.
35 Information on who is responsible for modifying or removing voter registration records was collected in item Q12 of the

Policy Survey. Nevada did not provide a response, and North Dakota indicated that this question does not apply because
the state does not have voter registration.
36 Information on the data sources used to identify potentially ineligible voters was collected in item Q14 of the Policy

Survey.
37 Information on whether and how states send confirmation notices to help identify ineligible voters was collected in item

Q13 of the Policy Survey.



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  Table 2. States Most Often Use State Vital Statistics Office and Reports From Other States to
                                    Identify Ineligible Voters
                                                                             Percentage of States That Report Using
          Source of Data on Potentially Ineligible Voters
                                                                                  Data From the Data Source
 State vital statistics office death records                                                    92.9%
 Reports/notices from other states that a former resident has
                                                                                                89.3%
 registered to vote
 Requests from voters for removal                                                               85.7%
 Entities that maintain felony/prison records                                                   82.1%
 Other mail from the election office (not ballots) that was
                                                                                                69.6%
 returned as undeliverable
 Newspaper death notices/obituaries                                                             66.1%
 National Change of Address (NCOA) reports                                                      58.9%
 Data from an interstate data-sharing compact                                                   57.1%
 Social Security Administration death records                                                   57.1%
 Mailed ballots returned as undeliverable                                                       55.4%
 Motor vehicle agencies                                                                         46.4%
 Entities that maintain records of individuals declared mentally
                                                                                                42.9%
 incompetent
 Applications for mailed ballots                                                                26.8%
 Jury questionnaires                                                                            26.8%
 Returned jury summons                                                                          16.1%
 State public assistance agencies                                                               16.1%
 State agencies that serve persons with disabilities                                            12.5%
 Canvassing                                                                                      8.9%
 Other                                                                                           8.9%

 State agencies that are not specified in the NVRA                                               7.1%

 State tax filings                                                                               1.8%

Source: Information on the data sources used to identify ineligible voters was collected in Q14 of the Policy Survey. This
question also collected information on whether states use commercial data sources, but no state selected that option.



Five states (10.4%) reported that all registered voters routinely receive a non-forwardable notice
during a specified increment of time; this time frame ranges from one to four years. Just under 30%
of states reported sending confirmation notices for some other reason. 38 For example, some states
or certain jurisdictions within states indicated that they routinely send confirmation notices as part of
their list maintenance procedures. States that are members of the Electronic Information
Registration Center (ERIC) send confirmation notices to individuals who are eligible to vote but are

38 Information on which voters states send confirmation notices to was collected in item Q13a of the Policy Survey.




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unregistered. Other states indicated that notices are sent when there may be a change other than
address (e.g., name). Washington, a state in which nearly all voters cast their ballots by mail,
reported that the mailing information provided by a returned or forwarded ballot serves as the start
of the confirmation process.

Criminal Convictions and Voting
The NVRA allows states to remove voters from their registration lists if the voter receives a
disqualifying criminal conviction or is incarcerated. The Policy Survey asks three questions about
removing voters from registration lists due to disqualifying felony convictions and about the
restoration of voting rights:

   • Which populations have their voting eligibility suspended due to a criminal conviction?
   • For how long does a person with a felony conviction lose their right to vote?
   • How can a person with a felony conviction become an eligible voter again?

The District of Columbia, Guam, Maine, Puerto Rico, and Vermont reported that they do not limit a
person’s right to vote based on a criminal conviction. Conversely, 42 states reported that the
conviction of any felony will limit a person’s right to vote. About one-fifth of states reported that they
limit the voting rights of individuals convicted only of certain felonies, and nine states reported that
they limit the voting rights of individuals who are convicted of other crimes that are not felonies (e.g.,
election-related crimes). 39

There is variation in the disqualification time periods and in the processes for restoring voting rights.
Of the states that have some form of felon disenfranchisement, most reported revoking the right to
vote during the period of incarceration (90.4%) and/or any period of probation and parole (61.5%).
Some states also reported revoking voting rights during an additional length of time (19.2%), such as
a statutorily mandated waiting period and/or until the payment of outstanding fines, restitution, or
penalties (25%). 40

The Policy Survey also asks states to indicate how disenfranchised individuals go about restoring
their eligibility to vote. 41 Minnesota, Missouri, and the U.S. Virgin Islands reported automatically
restoring the previous voter registration of persons with felony convictions once the period of
disenfranchisement has passed, requiring no further action by the voter. 42 Of the 49 states that
indicated requiring some type of action, 79.6% reported that a person is immediately eligible to vote
and must reregister through the same process as the general public. Some states reported having
other conditions, such as presenting documentation during the registration process that shows that
the person has completed the voter registration requirements (12.2%) and having voting rights

39 Information on state policies for suspending or revoking voting rights due to criminal convictions was collected in item

Q37 of the Policy Survey. This item does not distinguish a felony conviction from the subsequent period of incarceration.
40 Information on the length of time a disqualifying felony conviction will restrict voting rights was collected in item Q37a of

the Policy Survey.
41 Due to North Dakota not having voter registration, a person who is no longer incarcerated is automatically eligible to vote

without any further action needed. In Delaware, felony convictions result in permanent disqualification from voting.
42 Guam law prohibits incarcerated persons from voting. However, once the period of incarceration has ended, voting rights

are restored. A non-incarcerated felon is able to vote, and the individual is not removed from the voter registration roll.



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restored through a formal administrative process (16.3%). Thirteen states provided survey
comments that further explained their policies. 43 In Louisiana, for example, if a person is under an
order of imprisonment for a felony conviction but “has not been incarcerated pursuant to the order
within the last five years,” then that person is eligible to register. Florida and Iowa reported that the
type of felony conviction determines the restoration of voting rights. Arizona indicated that for a first
felony conviction, civil rights are automatically restored upon the completion of the sentence, parole,
probation period, and payment of restitution; otherwise, voting rights must be restored through a
formal process.

Voting by Mail
All states and territories and the District of Columbia offer their citizens the opportunity to cast their
ballots by mail in federal general elections. 44 Some states use the term “absentee voting” to refer to
mail voting. The 2020 Policy Survey demonstrates that there were wide variations among the states
in which voters are eligible to vote by mail, what documentation voters must provide in order to
receive a mailed ballot, how mailed ballots may be returned to election officials, and the deadlines
for mailed ballots to be postmarked and received by election offices for the 2020 general election.
The COVID-19 restrictions pushed many states to expand their mail voting policies, and states
reported more than double the number of mailed ballots cast in the 2020 general election compared
to the 2016 general election. 45

In 2020, 39 states reported that they do not require voters to provide a reason for why they are
requesting a mailed ballot and for why they cannot vote in person on Election Day; seven of those
states reported requiring an excuse in 2018 but not in 2020. Conversely, one-third of states
reported requiring voters to provide an excuse, a decrease from 40% in the 2018 Policy Survey
responses. 46 Twenty-six states reported that voters can request to be on a permanent absentee list
from which they will automatically receive ballots for all future elections. Either any registrant can
request to be a permanent absentee voter (21.4% of states) or only individuals who meet specific
criteria can request to be a permanent absentee voter (25% of states). 47

States have special criteria for individuals who make the request to be granted permanent absentee
status. 48 The most common requirement was that the requester must have a disability (78.6% of
states that have permanent absentee voting); Delaware, 49 Massachusetts, New York, Tennessee,
and Wisconsin reported that they will also grant permanent absentee status to those who are infirm,



43 Information on state policies for restoring voting rights to persons with disqualifying felony convictions was collected in

item Q37b of the Policy Survey.
44 Some states use the term “in-person absentee voting” to refer to the process by which a voter visits an election office to

request a mailed ballot, completes the ballot, and returns the ballot in one trip. However, EAVS considers this to be a form
of in-person early voting and asks states to report their data as such.
45 For more information, see Chapter 1 of this report.
46 Information on whether states require an excuse for mail voting was collected in item Q17 of the Policy Survey.
47 Information on whether states have permanent absentee voting was collected in item Q19 of the Policy Survey.
48 Information on who can become a permanent absentee voter was collected in item Q19a of the Policy Survey.
49 Delaware also includes federal or state public service workers and their spouses or dependents, members of the

uniformed services, and voters who are temporary residents.



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 Figure 6. Number of States Offering Entirely Vote-By-Mail Elections Doubled From 2018 to 2020




Source: Information on the policy of all-mail elections was collected in items Q9 and Q9a of the 2018 Policy Survey and in
items Q18 and Q18a of the 2020 Policy Survey.




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have a permanent illness, or can provide a note from a medical professional. West Virginia indicated
allowing address confidentiality program participants to be permanent absentee voters, and
Louisiana indicated requiring individuals to be over a specified age. Despite conducting all-mail
elections, Oregon uses the term “absentee voter” for individuals who may be away from their
residences when ballots are transmitted.

With 2020’s overall shift toward mail voting, the number of states that conducted all-mail elections,
in which all registered voters or all active registered voters are automatically sent a mailed ballot,
doubled since the 2018 Policy Survey. Figure 6 shows the 14 states that have some type of vote-by-
mail system. Four states reported having some vote-by-mail jurisdictions. Ten states reported having
statewide vote-by-mail systems, a significant increase from three states in 2018. 50 The Policy Survey
did not record whether the states that altered their all-mail voting policy between the 2018 and the
2020 general elections did so temporarily or permanently or whether the change was made in direct
response to the COVID-19 pandemic. It should be noted that although these states mailed registered
voters a ballot, most states also provided in-person voting options during early voting and/or on
Election Day.

The Policy Survey also collected data on the circumstances under which voters could receive ballots
through electronic means. This question applied specifically to non-military voters residing in the
United States, as voters who are members of the uniformed services or who are overseas citizens
who wish to receive ballots electronically are covered under UOCAVA. Twenty-nine states reported
that they allow non-military voters residing in the United States to receive their ballots through an
electronic format, such as email, fax, through an online voter registration portal, or through a mobile
phone app. Alaska, Guam, Kentucky, Maryland, Oregon, and Washington reported that voters may
receive a ballot electronically for any circumstance. 51 Other states reported having special
circumstances. 52 For example, 19 states indicated allowing voters with disabilities to receive ballots
electronically, including seven states where voters must have specific disabilities and 12 states
where voters may have any disability status. 53 Massachusetts specified that the voter must have a
disability that prevents them from marking a paper ballot independently and privately, and Maine
noted that the voter must self-identify as having a print disability.

Hawaii, Nevada, and the U.S. Virgin Islands reported that they allow electronic ballot transmission
when a replacement ballot is need, and seven states reported that they allow electronic ballot
transmission during emergency situations that hinder in-person voting, such as a natural disaster. 54

50 Information on which states have an all-vote-by-mail system was collected in item Q18 of the Policy Survey. Information

on whether the state’s all-vote-by-mail system is used only in certain jurisdictions or is statewide was collected in item
Q18a of the Policy Survey. California and Utah reported conducting all-mail elections statewide in 2020. In 2018, both
states reported that only certain jurisdictions had all-mail elections.
51 California did not report that voters may receive a ballot electronically under any circumstance but commented that any

voter may cast a ballot using a certified, remote-accessible vote-by-mail system regardless of disability status or whether
they are an overseas or uniformed services voter.
52 Information on the circumstances under which voters may receive their ballots electronically was collected in item Q23

of the Policy Survey.
53 The U.S. Virgin Islands chose both of these response options. Delaware noted that disability status includes those who

are ill or temporarily physically disabled. In Pennsylvania, voters may have any disability as defined by the Americans with
Disabilities Act (ADA).
54 Hawaii noted that a replacement ballot must be requested within five days of an election.




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New York and Mississippi extended their requirements to emergency responders, and in Mississippi,
according to the state UOCAVA statute, emergency responders qualify for an electronic ballot if they
are deployed outside of their county of residence during an emergency.

Mailed Ballot Tracking and Deadlines
The 2020 Policy Survey asked states to report on their deadlines for mailed ballots from non-military
voters residing in the United States. Ballot deadlines for voters covered by UOCAVA were reported in
separate questions, as UOCAVA ballot deadlines are typically different from those for other mailed
ballots. The postmark deadline is Election Day for just under half (46.4%) of states; however,
Alabama, Iowa, North Dakota, Ohio, and Utah reported having a postmark deadline one day before
Election Day. 55 In 55.4% of states, mailed ballots must be received by Election Day, and in 42.9% of
states, mailed ballots must be received by a specified number of days after Election Day, with
responses ranging from one to 20 days after Election Day. 56 Louisiana reported that mailed ballots
must be received by one day before Election Day. 57

States also reported how long mailed ballots that arrive past the above deadlines are tracked for
reporting in Section C of the EAVS. 58 These mailed ballots are tracked indefinitely in 42.9% of states,
or until canvassing is complete in 44.6% of states. Five states have a specific length of time for
mailed ballot tracking; four of these states reported a date between November 17, 2020, and
February 1, 2021. 59

States vary in what satisfies postmark requirements for mailed ballots. 60 In states that require
postmarks, the most commonly reported required feature was a physical postmark (76.7%), 61
followed by hand cancellation or a private express delivery service date stamp (both 44.2%
respectively) and postal processing markings (41.9%). Less commonly required features were
intelligent barcodes (23.3%) and a date on a voter affidavit (14%). 62 Some states specified other
ways of satisfying postmark requirements. 63 Additionally, Ohio indicated accepting an ID tag date,
and Kansas indicated accepting any other indicia from the U.S. Postal Service. In California, if the
postmark is missing or damaged and no additional information is provided by the U.S. Postal Service
or other mail delivery service, the ballot identification envelope will be date stamped upon receipt by
an election official on or before Election Day. The District of Columbia Board of Elections reported




55 Twenty-two states indicated that the item asking for a postmark deadline for voters does not apply to them.
56 States that reported having a ballot receipt deadline after Election Day require ballots to be postmarked by Election Day.
57 Information on deadlines for returning mailed ballots was collected in item Q20 of the Policy Survey.
58 Two states did not provide a response to this item.
59 Information on the length of time that ballots are tracked for reporting in EAVS Section C was collected in item Q21 of the

Policy Survey. Maine reported tracking until November 3, 2022.
60 Thirteen states reported not requiring a postmark for mailed ballots; six states did not provide a response to this item.

South Dakota explained that they do not honor postmarks for ballots; Minnesota also commented that they do not use
postmarks.
61 Florida specified that physical postmarks are only required for 10-day overseas ballots. See https://dos.myflorida.com/

elections/for-voters/voting/military-and-overseas-citizens-voting/ for more detail on these ballots.
62 In Washington, the postmark requirement may be met by a date on a voter affidavit for UOCAVA ballots that lack a

postmark.
63 Information on mailed ballot postmark requirements was collected in item Q22 of the Policy Survey.




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that they make ballot drop boxes available to voters through Election Day, which satisfies postmark
requirements.

UOCAVA Voting
UOCAVA requires that all states offer uniformed services members, their eligible family members,
and overseas citizens the ability to vote absentee in all federal elections. UOCAVA-protected citizens
have the option of using the FPCA, which serves as both a registration and ballot request application
and is accepted in all U.S. states and territories. All states accept FPCAs submitted by postal mail. In
addition, the Military and Overseas Voter Empowerment (MOVE) Act amended UOCAVA, requiring that
all states offer an electronic means for FPCA submission. UOCAVA voters may submit their FPCA by
fax, online (either by email or through the state’s online voter registration portal), or by other modes,
as allowed by state law.

All states are required to accept FPCAs by postal mail. In 2020, the most common additional
methods for accepting FPCAs were email and fax; both modes were allowed in over 90% of states.
Twenty-four states (42.9%, an increase from 36.4% in 2018) reported accepting FPCAs submitted
through the state’s online voter registration portal. 64 Some states reported that FPCAs can be
submitted by some other method; South Carolina and Colorado indicated allowing in-person returns,
and Louisiana indicated allowing returns by commercial carrier. Oklahoma reported allowing UOCAVA
voters to email their ballot materials to FVAP’s electronic transmission service, after which the email
is converted to fax and sent to the appropriate county election board. Maine specified allowing
UOCAVA voters to request an absentee ballot through the state’s online absentee ballot request
service. A voter registration submitted via FPCA is considered permanent in 53.6% of states (a
decrease from 72.7% in 2018) and temporary in 46.4% of states (an increase from 25.5% in
2018). 65

States differ in the length of time an FPCA absentee ballot request remains valid; that is, the period
of time or number of elections for which a voter can retain their UOCAVA status and have an
absentee ballot transmitted to them. 66 Almost half (46.4%) of states reported that the length of time
the FPCA will serve as a ballot request mechanism is a specified number of calendar years; in most
of those states, the length of time is one year, although in North Dakota, Utah, and Virginia, it is two
years. In other states, the length of time is measured by the number of general election cycles
(12.5%); most of those states specified a length of one general election cycle, although Minnesota
and Oklahoma specified two general election cycles. Some states (8.9%) reported that they will use
the FPCA as a ballot request mechanism until the voter moves from their residence. 67



64 Maryland reported allowing the three listed options if the voter is already registered and is using the FPCA to request an

absentee ballot. If the FPCA is used to register, it must be submitted by mail or through Maryland’s online voter registration
portal. In Wisconsin, non-military UOCAVA voters cannot submit registrations, including the FPCA, by email or fax.
65 Information on the methods by which UOCAVA voters can submit an FPCA, other than by postal mail, was collected in

item Q26 of the Policy Survey. Information on whether a voter registration submitted through an FPCA is permanent or
temporary was collected in item Q27 of the Policy Survey.
66 Information on how long UOCAVA voters remain eligible to receive absentee ballots was collected in item Q28 of the

Policy Survey.
67 This information is provided by the U.S. Postal Service or the voter.




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About one-third (32.1%) of states provided a description of another length of time that was unlisted
in the Policy Survey question, with some states making distinctions between general and primary
elections and others reporting a time linked with either a specific election timeline or a length of time
tied to the submission of the FPCA. Nevada reported that voters retain their status until the end of
the following calendar year, and Maine reported that the status remains eligible for 18 months.
American Samoa, Oregon, and Washington specified a timeline based on changes to a voter’s
registration record. California, New Jersey, and North Carolina reported that eligibility remains
permanent. Voters also continue to remain eligible in Pennsylvania, as long as they are registered to
vote and they reapply for an absentee ballot each election cycle. The Northern Mariana Islands also
reported that they require all registered voters to request their absentee ballots each election year.

UOCAVA Voting Deadlines
In addition to reporting deadlines for mailed ballots from non-UOCAVA voters, the 2020 Policy Survey
asked states to report deadlines for ballots submitted by both uniformed services voters residing in
the United States and overseas UOCAVA voters. States provided information on both postmark
deadlines and ballot receipt deadlines, as applicable. In 2020, the postmark deadline was Election
Day in about half of the states (48.2%) for domestic uniformed services voters; however, in Iowa,
North Dakota, and Pennsylvania, the postmark deadline was one day before Election Day. 68 Just
under half of the states (41.1%) reported that ballots had to have been received by Election Day, and
58.9% of the states indicated that the ballots must have been received by a specified number of
days after Election Day, with responses ranging from two to 20 days after Election Day. 69

For overseas UOCAVA voters, Election Day was the postmark deadline in half of the states. The three
states mentioned above also reported having a postmark deadline one day before Election Day for
these voters. 70 Ballots in 39.3% of the states were required to be received by Election Day; in the
remaining 60.7% of states ballots could arrive after Election Day and still remain eligible to be
counted, with the deadlines ranging from two to 20 days after Election Day. The majority of states
(83.7%) reported that they have the same postmark requirements for UOCAVA ballots and mailed
ballots from non-UOCAVA voters. 71 Eight states indicated that the requirements are different. 72

For more information about how UOCAVA voters participated in the 2020 general election, including
ballots transmitted, returned, counted, and rejected, and the use of the Federal Write-In Absentee
Ballot (FWAB), see Chapter 4 of this report.




68 Twenty-three states indicated that the item asking for a postmark deadline for domestic military UOCAVA voters does not

apply to them.
69 Information on deadlines for ballots submitted by uniformed services voters residing in the United States was collected

in item Q29 of the Policy Survey.
70 Twenty-two states indicated that the item asking for a postmark deadline for overseas UOCAVA voters does not apply to

them.
71 Seven states did not provide a response to this item. West Virginia does not require postmarks.
72 Information on deadlines for ballots submitted by overseas UOCAVA voters was collected in item Q30 in the Policy

Survey. Information on the differences between postmark requirements for UOCAVA and non-UOCAVA voters was collected
in item Q31 in the Policy Survey.



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In-Person Voting
The traditional image of voting in America involves voters physically traveling to a polling location and
casting their ballots in person. In some cases, however, an individual may vote in person without
having to go to a polling place on Election Day.

In-Person Voting Before Election Day
Most states reported that they allow individuals to cast their ballots in person before Election Day
(not including the hand delivery of mailed ballots). 73 This type of voting generally falls into two
categories:

   • A voter may go to a polling place before Election Day, receive a ballot, vote their ballot while at
     the polling place, and place their completed ballot into a ballot box or tabulator.
   • A voter may go to an election office to pick up a ballot over the counter. In some states, the
     voter may be able to take their ballot home with them, whereas in other states, the ballot must
     be completed in the office. The ballot is then sealed in an envelope and tabulated along with
     ballots that are returned to the office by mail according to local procedures.

Different states use the terms “in-person early voting” and “in-person absentee voting” to describe
both of the voting methods above, although other terms exist as well. Some states offer both types of
voting activities.


                     Table 3. Examples of Unique Descriptions of In-Person Early Voting
                     State                            Description of In-Person Early Voting
            American Samoa            Local absentee voting
                                      Can request an absentee ballot, vote on the spot, and not return
            Connecticut
                                      it by mail
            Georgia                   Advance voting
            Hawaii                    In-person voting
            Kansas                    In-person advance voting
            North Carolina            One-stop and early voting
                                      Some populations can go to county elections office and receive a
            Oregon
                                      ballot, which they can then use to vote
                                      Mailed ballots can be completed over the counter at an election
            Pennsylvania
                                      office
            Puerto Rico               Voting in their houses via USPS mail
            Washington                In-person voting

Source: Information on the descriptions of in-person early voting was collected in Q24 of the Policy Survey.

73 New Jersey does not have in-person voting before Election Day.




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Twenty-nine states (51.8%) reported having in-person early voting, and 27 states (48.2%) reported
having in-person absentee voting. 74 Ten states specified unique descriptions for early voting, as seen
in Table 3. Twelve states (21.4%) reported requiring an excuse to vote in person before Election Day,
a decrease from the 15 states that reported this policy in 2018. 75

Vote Centers
The EAC describes vote centers as centralized, consolidated polling sites that serve as alternatives to
traditional polling places. 76 Jurisdictions that use vote centers allow voters to cast their Election Day
ballots at any vote center in their jurisdiction, rather than needing to vote at a specifically assigned
polling place. The 2020 Policy Survey asked whether any of the state’s jurisdictions allow voters to
cast ballots at any polling place or vote center in their jurisdiction and to describe how vote centers
operate.

Over one-third of states (37.5%) reported having vote centers or allowing voters to cast ballots at any
polling place in the voter’s jurisdiction. Eight of those states (38.1%) indicated that they require the
use of vote centers statewide. Another eight reported having vote centers, but jurisdictions have the
option not to implement them. Alabama, Arkansas, Missouri, Tennessee, and Texas (comprising
23.8% of the states) reported having vote centers, but only in jurisdictions that meet specific
requirements. 77

Voter Identification
Under HAVA, Congress established minimum identification standards that an individual must meet in
order to register to vote:

   • Individuals who register to vote at their state’s motor vehicle agency, another government
     agency, or using an online registration portal are typically authenticated by presenting
     appropriate documentation to the government agency and by the state matching the person’s
     driver’s license number or last four digits of their social security number to an existing state
     record.
   • Individuals who register by mail and who have not voted before for federal office in their state
     of residence are required to present, at some point before voting, either a current and valid
     photo identification or a copy of a utility bill, bank statement, government check, paycheck, or
     other government document that shows the person’s name and address.




74 Information on the terminology used to describe the process of voting in person before Election Day was collected in item

Q24 of the Policy Survey. States were able to select multiple response options.
75 Information on whether an excuse is required to vote in person before Election Day was collected in item Q24a of the

Policy Survey.
76 U.S. Election Assistance Commission. (2017, November 11). EAVS Deep Dive: Poll Workers and Polling Places: U.S.

Election Assistance Commission. https://www.eac.gov/documents/2017/11/15/eavs-deep-dive-poll-workers-and-polling-
places.
77 Information on whether any jurisdictions within a state will allow voters to cast ballots at any polling location or vote

center in their jurisdiction was collected in item Q25 of the Policy Survey. Information on how vote centers operate was
collected in item Q25a of the Policy Survey.



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   • Individuals who are entitled to vote by absentee ballot under UOCAVA or entitled to vote other
     than in person under the Voting Accessibility for the Elderly and Handicapped Act or other
     federal law are exempt from HAVA’s identification requirements.

The definition of voter identification varies by state. In some states it can mean a government-issued
document with a photograph, whereas in other states, it can mean a voter-executed affidavit
affirming identity. For in-person, non-first-time voting whether before or on Election Day, most states
(53.6%) reported that they require voters to present a government-issued photo identification as
proof of their identity. 78 Twenty states (35.7%) reported allowing voters to present a government-
issued, non-photo identification, and 24 states (42.9%) reported allowing non-government-issued,
non-photo identification. Some states reported allowing a proof of residence (32.1%), a signed
affidavit affirming identity with no further action required (37.5%) or with the requirement of
presenting proper identification before a provisional ballot is counted (23.2%), or in some cases,
voters may have a person registered to vote within that jurisdiction vouch for their identity (12.5%).
Five states (8.9%) reported that they do not have identification requirements for in-person voting. 79

Provisional Voting
The EAC has provided best practices on the development of provisional voting procedures and notice
to voters to ensure provisional voting procedures are fair, transparent, effective, and consistently
applied to all voters in the state. The EAC states in its Best Practices on Provisional Voting report:

         Section 302 of the Help America Vote Act (HAVA) creates the right for potential voters to cast
         provisional ballots in the event their names do not appear on the registration list or the
         voters’ eligibility is challenged by an election official. The issuance of a provisional ballot is
         best described as a safety net or fail safe for the voter, in that:

       • It maintains the person’s intent to vote and selections until election officials determine that
         the person does or does not have the right to cast a ballot in the election.
       • It allows the determination of the voter’s eligibility to be made at a time when more perfect
         or complete information is available either from the voter or from the election jurisdiction. 80

HAVA specifies minimum requirements for notice to voters and provides opportunities for voters to
resolve eligibility issues. Within the federal framework, states have different methods of complying
with the provisional notification to voter requirements, using different technology and different
timetables. State and local election officials ultimately apply their policies, procedures, and state
legal requirements when making a determination as to whether or not to count a provisional ballot.
For example, a state that has a stricter standard for the identification of voters than is contained in
HAVA would apply its standard to determine if a given provisional ballot meets the state’s ID
standard.


78 Two states did not provide a response to the item asking about identification requirements.
79 Information on establishing a voter’s identity during in-person voting was collected in item Q36 of the Policy Survey.
80 U.S. Election Assistance Commission. (2017, February 27). Best Practices on Provisional Voting.

https://www.eac.gov/documents/2017/02/27/eac-best-practices-on-provisional-voting/.



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 Table 4. States That Use Provisional Ballots Most Often Do So When an Election Official Asserts
                              That an Individual Is Ineligible to Vote
                                                                                Percentage of States That Use
          Reason for Offering Voters a Provisional Ballot                   Provisional Voting and Offer Provisional
                                                                                 Ballots for the Listed Reason
 An election official asserts that an individual is not eligible to
                                                                                                92%
 vote
 A voter’s name does not appear on the list of eligible voters                                  86%
 A voter does not have proper identification                                                    80%
 A voter is not a resident of the precinct in which they are
                                                                                                80%
 attempting to vote
 Another person (not an election official) challenges a voter’s
 qualifications, and the poll worker is not able to resolve the                                 56%
 challenge
 A voter was issued a mailed ballot, but chooses to vote in
 person on Election Day and does not have the mailed ballot to                                  54%
 surrender to poll workers
 A voter has changed their name or address but has not
                                                                                                52%
 updated their voter registration
 A federal or state judge extends polling place hours in a federal
                                                                                                48%
 election
 Other                                                                                          26%

Source: Information on the circumstances for the use of provisional ballots was collected in Q32a of the Policy Survey.



Fifty states reported using provisional ballots for different reasons. The most common reason was an
election official has asserted an individual is not eligible to vote. 81 Table 4 provides a full list of
reasons the states use provisional ballots.

If a voter casts a provisional ballot as a result of not having acceptable identification during voting,
the deadline by which they must present appropriate identification to election officials to verify their
identity and to have their provisional ballot accepted was most commonly reported as a specified
number of days after Election Day. The 11 states that have this policy reported a range of one to
nine days after Election Day. However, in Massachusetts and Wisconsin, the deadline for
adjudicating provisional ballots for the 2020 general election was a specified date: November 6,
2020. 82




81 Information on whether states use provisional ballots was collected in item Q32 of the Policy Survey. Information on the

circumstances under which a state will use provisional ballots was collected in item Q32a of the Policy Survey.
82 Information on deadlines for presenting appropriate identification to have a provisional ballot counted was collected in

item Q36a of the Policy Survey.



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After the election, many states have a limited amount of time in which to adjudicate provisional
ballots and decide whether the ballots will be counted (either in full or in part) or rejected. 83 Twenty-
six percent of the states that use provisional ballots reported that the deadline is by a specified date;
for the November 3, 2020, general election, these dates ranged from November 3, 2020, to
November 24, 2020. Most states (70%) indicated that this deadline is specified as a number of days
after Election Day, with responses ranging between one day and 28 days. 84

Eight percent of the states that use provisional ballots reported provisional ballots cast in the wrong
precinct would be fully counted, and 40% of the states reported that they would be partially
counted. 85 Slightly more than half of the states (52%) reported that these ballots would be
rejected. 86

Election Technology
Voting system testing and certification are required in the majority of states (83.9%) by statute, and a
few states (10.7%) indicated that they require testing and certification through a formal
administrative rule or guidance. American Samoa, Mississippi, and Oklahoma reported that voting
system testing and certification before the system’s approval for purchase is not required. The 2020
Policy Survey then asked states to describe their policies regarding the role of the EAC and federal
testing and certification. States most commonly reported requiring testing by an EAC-accredited
Voting System Test Laboratory (VSTL; 45.3%), certification to the EAC-adopted Voluntary Voting
System Guidelines (VVSG; 43.4%), and/or state and federal certification (41.5%; see Figure 7). 87

Some states provided clarifying comments: The District of Columbia reported that it requires that
voting systems must meet or exceed HAVA standards and/or be federally certified. Similarly, Oregon
reported that the system must be EAC certified or examined by a federally accredited VSTL. New York
indicated that a secondary source code review is performed by an independent security expert.

Alaska reported that it may approve a voting system upon consideration by an election
administrator, 88 and Guam indicated having an independent entity that conducts testing to
determine the integrity of voting machines as deemed appropriate by election commissioners.
Wisconsin reported having the statutory authority to certify systems without federal certification, but
in practice, state testing typically does not start until federal certification is acquired.

Although there is no testing or certification of electronic poll books, sometimes called e-poll books,
on the federal level, many states have their own process for testing or certifying these machines




83 One state did not provide a response to this item. In Maine, provisional ballots are automatically counted unless a

recount results in a contested election and the number of challenged ballots can affect the outcome.
84 Information on the deadlines for adjudicating provisional ballots is collected in Policy Survey item Q32b.
85 For example, a state might only count items on the ballot for which the voter would have been eligible had they voted in

the correct precinct.
86 Information on what happens to provisional ballots cast in the wrong precinct is collected in Policy Survey item Q32c.
87 Information on voting system testing and certification policies was collected in items Q15 and Q15a of the Policy Survey.
88 AK Stat § 15.20.910 (2016)




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  Figure 7. States That Require Voting System Testing Most Commonly Require Testing From an
                                      EAC-Accredited VSTL




Source: Information on voting equipment testing and certification policy was collected in Q15a of the Policy Survey.



before approving them for purchase. Of the 40 states (71.4%) that reported using e-poll books either
statewide or only in certain jurisdictions, 42.5% indicated that they do not require testing or
certification before the e-poll books’ approval for purchase. 89 In about one-third of the states that
reported having e-poll book requirements, the testing and certification are required by statute,
whereas in one-fourth of the states, testing and certification are required by formal administrative
rule or guidance. 90

The 2020 Policy Survey asked whether any jurisdictions in the state use e-poll books and whether
testing and certification are required before e-poll books’ “approval for purchase.” The Policy Survey
and EAVS did not collect data on other procedures a jurisdiction may require before authorizing the



89 Colorado, Hawaii, and Massachusetts reported in the Policy Survey that they use e-poll books but did not report data on

the usage of e-poll books in item F3 of the EAVS. Puerto Rico reported data on the usage of e-poll books in the EAVS but
reported not using e-poll books in the Policy Survey.
90 Information on poll books was collected in items Q16 and Q16a of the Policy Survey. Illinois did not provide a response

to this item.



80 | Election Law and Procedure
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use of e-poll books, including but not limited to pre-election testing, secure physical storage,
contingency planning, chain-of-custody practices, and poll worker training.

Recounts, Audits, and Election Certification
Before local election officials certify the results of an election, they take steps to verify that all
established election procedures were followed and that all voting equipment functioned properly.
Many states require additional post-election verification that the counting process was accurate.
These additional verifications may take the form of a partial recount (in which ballots in randomly
selected precincts are counted a second time to ensure that the initial tabulation of votes was
accurate) or a more detailed audit (in which the entire voting process is reviewed and key steps are
verified).

Recounts
An election recount is a repeat tabulation of all votes cast in an election, and it is used to determine
the accuracy of an initial count. The EAVS Policy Survey did not ask if the reasons for a recount were
automatic, mandatory, or triggered. The information collected in these questions quantifies what is
generally allowed by law in a specified state. Figure 8 displays the reasons why states may have
conducted an election recount for the 2020 general election. States reported that the most common
reason a recount may be conducted is at the request of an affected candidate or party (55.4%). Less
common reasons were if the results of a contest are within a specified margin (37.5%), another
person or group requests a recount (30.4%), 91 or if the results of a contest are within a specified
margin and it is requested by an affected candidate or party (28.6%). Arizona, Mississippi, New
Jersey, New York, the Northern Mariana Islands, and Tennessee reported that recounts are only
authorized if a court orders it. 92




91 Based on state comments, this reason can include voters or groups of voters, a county board of canvassers, a county

election commission, a political party chair, or a person opposing a state or local measure. Washington specified that a
group of five or more voters may request a recount for an issue, and Nevada specified that any person or group could
request a recount of a ballot measure by November 18, 2020.
92 Information on state policies regarding election recounts was collected in item Q34 of the Policy Survey.




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  Figure 8. Post-Election Recounts Most Often May Be Conducted at the Request of an Affected
                                      Candidate or Party




Source: Information on post-election recount policy was collected in Q34 of the Policy Survey.



Post-Election Tabulation Audits
A post-election tabulation audit verifies that the voting equipment used to count ballots during an
election properly counts a sample of voted ballots after an election. The majority of states (78.6%)
indicated requiring some form of post-election tabulation audit, with some variation. 93 States most
commonly indicated that a post-election audit is conducted as a statutory requirement, but Missouri
and Nebraska stated that they conduct an audit as required by a formal administrative rule or
guidance. Tennessee indicated only requiring a post-election tabulation audit for jurisdictions using
optical scan voting systems. In Oklahoma, the secretary of the state election board can direct the
secretary of a county election board to conduct post-election audits to ensure that voting devices
and software correctly tabulated votes. Louisiana reported that it does not statutorily require
tabulation audits, but audits are conducted in all parishes. The Policy Survey did not collect



93 Information on whether a state requires a post-election tabulation audit was collected in item Q35 of the Policy Survey.

Louisiana is not included in this calculation because it reported that “Our state does not statutorily require audits, but they
are conducted in every parish.”



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information on whether these audits were mandatory, triggered, or conducted only in certain
circumstances.

The 2020 Policy Survey asked states to report which of the following post-election tabulation audits
would be required for the 2020 general election. States could select multiple options as applicable:

   • A traditional tabulation audit that comes from a fixed percentage of randomly selected voting
     districts or voting machines and is compared to the results produced by the voting system;
   • A risk-limiting tabulation audit that is a protocol designed to limit the risk of certifying an
     incorrect election outcome by using statistical methods to select the audit sample size; or
   • Another type of audit.

Roughly three-quarters of the states reported requiring a traditional tabulation audit, and about one-
fifth of the states reported requiring a risk-limiting tabulation audit. 94 Thirteen states (28.9%)
provided comments detailing alternative procedures. 95 For example, California stated that a
jurisdiction may choose to conduct a risk-limiting audit instead of a traditional tabulation audit, and
Nevada noted that after an initial pilot tabulation audit conducted after the 2020 general election,
the state will require risk-limiting tabulation audits starting after the 2022 primary election.
Pennsylvania also reported that it piloted a risk-limiting tabulation audit after the 2020 general
election in addition to their statutory requirement.

Some states reported having additional steps in their tabulation audit processes. For example,
Maryland stated that it conducts a traditional manual audit as well as a completely automated
tabulation audit using ballot images. Louisiana noted that its tabulation audit includes a comparison
between the number of times a machine was used for voting, the number of voters that signed a
precinct register, the names written in the precinct poll books, and the voters who were given credit
for voting in the statewide database. Washington reported that local election officials can choose
among three methods to meet the state post-election tabulation audit requirement, including the
option for a risk-limiting audit.

Election Certification
Although some local jurisdictions might have earlier deadlines for finalizing election results, elections
are not officially certified until the state provides a final result. The 2020 Policy Survey asked states
to provide their election certification deadlines for the 2020 general election. 96 The range was
broad, 97 with 41 states reporting a date between November 10, 2020, and November 30, 2020. 98

94 Information on the type of post-election tabulation audit that states require was collected in item Q35a of the Policy

Survey. States were able to make multiple selections in this item’s response options.
95 In Louisiana, post-election tabulation audits were conducted by comparing all voting machine results to the number of

voters that signed the precinct register, the names written in the precinct poll books, and the voters given credit for voting
in the statewide database. However, Louisiana specified that post-election tabulation audits were not statutorily required
for the 2020 general election.
96 Hawaii does not have an election certification deadline; results are certified within 20 days of the election unless the

Supreme Court has contested an election.
97 The range was as early as November 4, 2020, in Puerto Rico and as late as December 11, 2020, in California.
98 Information on deadlines for certifying the November 2020 general election results was collected in item Q33 of the

Policy Survey.



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States provided clarifying comments on their specific policies regarding their certification deadline.
For example, Puerto Rico, Hawaii, Pennsylvania, Tennessee, and Rhode Island reported not having a
specific state certification deadline, 99 and the District of Columbia and Guam noted that their
reported dates were tentative deadlines. Additionally, Alaska commented that their reported date
was a target deadline, and North Carolina noted their reported deadline was barring recounts or
protests in individual races.




99 Tennessee and Pennsylvania noted that their reported deadlines apply to county officials, not state officials.




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Appendix A: Descriptive Tables
Policy Survey Table 1: Voter Registration Database Type
                                                                  If bottom up or hybrid:
                                                                 How often do jurisdictions
           State         Top down      Bottom up    Hybrid
                                                                   transmit registration
                                                                       information?
 Alabama                    ✓              --         --                    --
 Alaska                     ✓              --         --                    --
 American Samoa             ✓              --         --                    --
 Arizona                    --             --         ✓                  Real time
 Arkansas                   --            ✓           --                   Daily
 California                 --            ✓           --                 Real time
 Colorado                   ✓             --          --                    --
 Connecticut                --            ✓           --                 Real time
 Delaware                   ✓             --          --                    --
 District of Columbia       ✓             --          --                    --
 Florida                    ✓             --          --                    --
 Georgia                    ✓             --          --                    --
 Guam                       ✓             --          --                    --
 Hawaii                     --            --          ✓                  Real time
 Idaho                      ✓             --          --                    --
 Illinois [1]               --            ✓           --                  Other
 Indiana                    ✓             --          --                    --
 Iowa                       ✓             --          --                    --
 Kansas                     ✓             --          --                    --
 Kentucky                   ✓             --          --                    --
 Louisiana                  ✓             --          --                    --
 Maine                      --            --          ✓                  Real time
 Maryland                   ✓             --          --                    --
 Massachusetts              ✓             --          --                    --
 Michigan                   ✓             --          --                    --
 Minnesota [2]              --            --          --                    --
 Mississippi                --            ✓           --                 Real time
 Missouri                   ✓             --          --                    --
 Montana                    ✓             --          --                    --
 Nebraska                   ✓             --          --                    --
 Nevada                     --            ✓           --                   Daily
 New Hampshire              ✓             --          --                    --
 New Jersey                 ✓             --          --                    --
 New Mexico                 ✓             --          --                    --
 New York                   --            ✓           --                 Real time
 North Carolina             ✓             --          --                    --



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                                                                                       If bottom up or hybrid:
                                                                                      How often do jurisdictions
            State                 Top down         Bottom up           Hybrid
                                                                                        transmit registration
                                                                                            information?
 North Dakota                          ✓                --                --                       --
 Northern Mariana Islands
                                       --               --                ✓                      Other
 [3]
 Ohio                                  --               ✓                 --                   Real time
 Oklahoma                              ✓                --                --                      --
 Oregon                                ✓                --                --                      --
 Pennsylvania                          ✓                --                --                      --
 Puerto Rico                           --               ✓                 --                   Real time
 Rhode Island                          --               --                ✓                    Real time
 South Carolina                        ✓                --                --                      --
 South Dakota                          ✓                --                --                      --
 Tennessee                             --               ✓                 --                     Daily
 Texas [4]                             --               --                ✓                     Other
 U.S. Virgin Islands                   ✓                --                --                      --
 Utah                                  --               ✓                 --                     Daily
 Vermont                               ✓                --                --                      --
 Virginia                              ✓                --                --                      --
 Washington                            ✓                --                --                      --
 West Virginia                         ✓                --                --                      --
 Wisconsin                             ✓                --                --                      --
 Wyoming                               ✓                --                --                      --

Policy Survey Table 1 Calculation Notes:
     Top down, Bottom up, and Hybrid uses question Q4.
     How often do jurisdictions transmit registration information uses question Q4a.

Policy Survey Table 1 Data Notes:
     General Notes:
         • States were only able to select single responses to both Q4 and Q4a.


    [1] Illinois reported that “If the jurisdiction[’]s vendor has web services, the information is uploaded in real
    time. However, those without web [servers] send a batch every night.”
    [2] Minnesota did not provide a response to these items.
    [3] In the Northern Mariana Islands, “Information [is] retrieved upon request.”
    [4] Texas reported that the approximately 215 counties categorized as “online” counties transmit
    registration information in real time, whereas the 39 counties categorized as “offline” counties transmit
    registration information daily.




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Policy Survey Table 2: Electronic Information Sharing With Government Entities


                             Motor       Agencies for    State public
                                                                           Other state      Federal
           State            vehicles     people with     assistance
                                                                            agencies       agencies
                            agencies      disabilities    agencies


 Alabama                      Daily           --              --               --              --
 Alaska [1]                   Daily           --              --             Other             --
 American Samoa                --             --              --               --              --
 Arizona                    Real time         --              --               --              --
 Arkansas                     Daily           --              --               --              --
 California                 Real time         --              --               --              --
 Colorado                     Daily           --              --               --              --
 Connecticut [2]            Real time         --              --               --              --
 Delaware [3]               Real time         --            Other              --              --
 District of Columbia [4]   Real time         --              --               --              --
 Florida                      Daily           --              --               --              --
 Georgia                      Daily           --              --               --              --
 Guam                          --             --              --               --              --
 Hawaii [5]                  Other            --              --               --              --
 Idaho                         --             --              --               --              --
 Illinois                     Daily          Daily          Daily           Real time          --
 Indiana                      Daily           --              --               --              --
 Iowa                         Daily           --              --               --              --
 Kansas                       Daily           --              --               --              --
 Kentucky [6]               Real time        Daily          Daily              --              --
 Louisiana                    Daily           --              --               --              --
 Maine                         --             --              --               --              --
 Maryland [7]                 Daily          Daily          Daily             Daily            --
 Massachusetts                Daily           --            Daily              --              --
 Michigan                     Daily           --              --               --              --
 Minnesota                    Daily           --              --               --              --
 Mississippi                  Daily           --              --               --              --
 Missouri                      --             --              --               --              --
 Montana                     Weekly           --              --               --              --
 Nebraska [8]                Other            --              --               --              --
 Nevada                       Daily           --              --               --              --
 New Hampshire [9]           Other            --              --               --            Other
 New Jersey                   Daily           --              --               --              --
 New Mexico                   Daily           --              --               --              --
 New York                     Daily           --              --               --              --
 North Carolina               Daily           --              --               --              --



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                             Motor       Agencies for    State public
                                                                        Other state    Federal
           State            vehicles     people with     assistance
                                                                         agencies     agencies
                            agencies      disabilities    agencies


 North Dakota                 Daily           --              --            --           --
 Northern Mariana
                                  --          --              --            --           --
 Islands [10]
 Ohio                         Daily          --              --             --          --
 Oklahoma [11]                Other          --              --             --          --
 Oregon [12]                  Other          --              --             --          --
 Pennsylvania                 Daily       Real time       Real time         --          --
 Puerto Rico                    --           --              --             --          --
 Rhode Island               Real time        --              --             --          --
 South Carolina              Weekly        Weekly          Weekly           --          --
 South Dakota                 Daily          --              --             --          --
 Tennessee                   Monthly         --              --             --          --
 Texas                        Daily          --              --             --          --
 U.S. Virgin Islands [13]       --           --              --           Other         --
 Utah [14]                    Daily        Weekly          Weekly         Weekly      Weekly
 Vermont                      Daily          --              --             --          --
 Virginia                   Real time        --              --             --          --
 Washington                 Real time     Real time       Real time      Real time      --
 West Virginia                Daily          --              --             --          --
 Wisconsin [15]               Daily          --              --             --          --
 Wyoming                      Daily          --              --             --          --




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                                                                                    Entities that
                                                                                   maintain records
                                                 Entities that    Entities that
                                Military                                            of individuals
          State                                 maintain death   maintain felony
                           recruiting offices                                          declared
                                                   records          records
                                                                                       mentally
                                                                                    incompetent

Alabama                            --               Daily            Daily                --
Alaska [1]                         --                 --              --                  --
American Samoa                     --              Monthly          Monthly               --
Arizona                            --                 --              --                  --
Arkansas                           --              Monthly          Monthly               --
California                         --              Weekly           Monthly            Monthly
Colorado                           --              Monthly          Weekly                --
Connecticut [2]                    --              Monthly          Monthly             Other
Delaware [3]                       --              Monthly            --                  --
District of Columbia [4]           --               Other             --                  --
Florida                            --               Daily            Daily                --
Georgia                            --              Weekly           Monthly            Monthly
Guam                               --                 --              --                  --
Hawaii [5]                         --              Monthly            --                  --
Idaho                              --              Monthly          Monthly               --
Illinois                           --              Monthly          Monthly               --
Indiana                            --              Monthly          Monthly               --
Iowa                               --              Monthly            --                  --
Kansas                             --              Weekly           Weekly                --
Kentucky [6]                     Other             Weekly           Weekly              Daily
Louisiana                          --              Monthly          Monthly               --
Maine                              --              Monthly            --                  --
Maryland [7]                       --              Monthly          Monthly             Other
Massachusetts                      --                 --              --                  --
Michigan                           --              Weekly            Daily                --
Minnesota                          --              Monthly          Monthly            Monthly
Mississippi                        --              Monthly           Daily                --
Missouri                           --              Monthly          Monthly               --
Montana                            --              Monthly          Weekly                --
Nebraska [8]                       --              Weekly           Monthly               --
Nevada                             --               Daily             --                  --
New Hampshire [9]                  --               Other             --                  --
New Jersey                         --              Weekly           Weekly                --
New Mexico                         --                 --              --                  --
New York                           --              Monthly          Monthly            Monthly
North Carolina                     --              Monthly           Daily                --
North Dakota                       --                 --              --                  --




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                                                                                           Entities that
                                                                                          maintain records
                                                   Entities that        Entities that
                                  Military                                                 of individuals
           State                                  maintain death       maintain felony
                             recruiting offices                                               declared
                                                     records              records
                                                                                              mentally
                                                                                           incompetent

 Northern Mariana
                                     --                  --                   --                   --
 Islands [10]
 Ohio                              --                 Monthly                --                   --
 Oklahoma [11]                     --                 Monthly              Monthly                --
 Oregon [12]                       --                    --                  --                   --
 Pennsylvania                      --                 Weekly                 --                   --
 Puerto Rico                       --                Real time               --                   --
 Rhode Island                      --                    --                  --                   --
 South Carolina                    --                 Monthly              Monthly                --
 South Dakota                      --                  Daily                Daily                 --
 Tennessee                         --                 Monthly              Monthly                --
 Texas                             --                 Weekly               Weekly                 --
 U.S. Virgin Islands [13]          --                    --                  --                   --
 Utah [14]                       Monthly               Other               Monthly              Other
 Vermont                           --                    --                  --                   --
 Virginia                          --                 Monthly              Monthly             Monthly
 Washington                        --                 Monthly              Monthly             Monthly
 West Virginia                     --                 Monthly              Monthly                --
 Wisconsin [15]                    --                 Monthly               Daily                 --
 Wyoming                           --                 Weekly               Weekly                 --

Policy Survey Table 2 Calculation Notes:
     Motor vehicles agency uses questions Q5a_1 and Q5a_2.
     Agencies for people with disabilities uses questions Q5b_1 and Q5b_2.
     State public assistance agencies uses questions Q5c_1 and Q5c_2.
     Other state agencies uses questions Q5d_1 and Q5d_2.
     Federal agencies uses questions Q5e_1 and Q5e_2.
     Military recruiting offices uses questions Q5f_1 and Q5f_2.
     Entities that maintain death records uses questions Q5g_1 and Q5g_2.
     Entities that maintain felony records uses questions Q5h_1 and Q5h_2.
     Entities that maintain records of individuals declared mentally incompetent uses questions Q5i_1 and
     Q5i_2.

Policy Survey Table 2 Data Notes:
     General Notes:
         • States were only able to select a single response to Q5a_2–Q5i_2.


    [1] Alaska reported that electronic information sharing with other, non-NVRA-required state agencies
    occurs after the March 31 deadline to apply for the Permanent Fund Dividend has passed. This typically
    involves one data file transfer.


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[2] Connecticut reported sharing electronic information with entities that maintain records of individuals
declared mentally incompetent on an as-needed basis.
[3] Delaware reported that information is transmitted to state public assistance agencies at the moment
the information is submitted to the voter portal by a client.
[4] The District of Columbia reported that information is shared with entities that maintain death records
on a quarterly basis.
[5] Hawaii reported that voter information is shared with its motor vehicle agency upon request.
[6] Kentucky reported that it shares voter information with military recruiting offices as requests occur.
[7] Maryland reported that it is notified as needed by the Maryland Judiciary when a person is declared
mentally incompetent by order of the courts.
[8] Nebraska conducts real-time checks of driver’s license, state identifications, and SSN information on
file with the motor vehicles agency. Daily transfers are conducted with the motor vehicle agency for voter
registrations that occur at the agency, surrendered IDs, changed IDs, or SSNs needing verification from the
Social Security Administration.
[9] New Hampshire reported that it shares voter information with the motor vehicles agency, federal
agencies, and entities that maintain felony records in a one-way exchange from the agencies to the
election office.
[10] The Northern Mariana Islands did not provide a response to these items.
[11] Oklahoma reported that offices that have converted to the Department of Public Safety’s (DPS) new
system share data daily. Offices that have not yet converted to the new system can only send address
change data, and that data is sent weekly. Information regarding Oklahoma driver’s licenses surrendered
in another state is received monthly.
[12] Oregon reported that information is exchanged with the motor vehicles agency Monday through
Friday.
[13] The U.S. Virgin Islands reported that information is exchanged with other state agencies at the
request of the court.
[14] Utah reported that information is exchanged with entities that maintain death records on a bimonthly
basis and entities that maintain records of individuals declared mentally incompetent as needed.
[15] Wisconsin receives competency data electronically from the courts.




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Policy Survey Table 3: Online Voter Registration Policies
                        Individuals can register
                                                    Individuals can update        State-issued driver's
                        to vote and update their
         State                                     their registration via the   license or ID is required
                           registration via the
                                                            system                 to use this system
                                 system
 Alabama                            ✓                          --                         Yes
 Alaska                             ✓                          --                         Yes
 American Samoa                      --                        --                          --
 Arizona                           ✓                           --                         Yes
 Arkansas                          --                          --                          --
 California                        ✓                           --                         No
 Colorado                          ✓                           --                         Yes
 Connecticut                       ✓                           --                         Yes
 Delaware                          ✓                           --                         Yes
 District of Columbia              ✓                           --                         No
 Florida                           ✓                           --                         Yes
 Georgia                           ✓                           --                         Yes
 Guam                              ✓                           --                         Yes
 Hawaii                            ✓                           --                         Yes
 Idaho                             ✓                           --                         Yes
 Illinois                          ✓                           --                         Yes
 Indiana                           ✓                           --                         Yes
 Iowa                              ✓                           --                         Yes
 Kansas                            ✓                           --                         Yes
 Kentucky                          ✓                           --                         No
 Louisiana                         ✓                           --                         Yes
 Maine                             --                          --                          --
 Maryland                          ✓                           --                         Yes
 Massachusetts                     ✓                           --                         Yes
 Michigan                          ✓                           --                         Yes
 Minnesota                         ✓                           --                         No
 Mississippi                       --                          ✓                          Yes
 Missouri                          ✓                           --                         No
 Montana                           --                          --                          --
 Nebraska                          ✓                           --                         Yes
 Nevada                            ✓                           --                         Yes
 New Hampshire                     --                          --                          --
 New Jersey                        ✓                           --                         Yes
 New Mexico                        ✓                           --                         Yes
 New York                          ✓                           --                         Yes
 North Carolina                    ✓                           --                         Yes
 North Dakota [1]                  --                          --                          --
 Northern Mariana
                                   --                          --                          --
 Islands



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                           Individuals can register
                                                          Individuals can update        State-issued driver's
                           to vote and update their
         State                                           their registration via the   license or ID is required
                              registration via the
                                                                  system                 to use this system
                                    system
 Ohio                                  ✓                             --                          Yes
 Oklahoma                              ✓                             --                          No
 Oregon                                ✓                             --                          Yes
 Pennsylvania                          ✓                             --                          No
 Puerto Rico                            --                           --                           --
 Rhode Island                         ✓                              --                          Yes
 South Carolina                       ✓                              --                          Yes
 South Dakota                         --                             --                           --
 Tennessee                            ✓                              --                          Yes
 Texas                                --                             ✓                           Yes
 U.S. Virgin Islands                  --                             --                           --
 Utah                                 ✓                              --                          Yes
 Vermont                              ✓                              --                          No
 Virginia                             ✓                              --                          Yes
 Washington                           ✓                              --                          Yes
 West Virginia                        ✓                              --                          Yes
 Wisconsin                            ✓                              --                          Yes
 Wyoming                              --                             --                           --

Policy Survey Table 3 Calculation Notes:
     Individuals can register to vote and update their registration via the system uses question Q7.
     Individuals can update their registration via the system uses question Q7.
     A driver’s license or state-issued ID is required to use this system uses question Q7a.

Policy Survey Table 3 Data Notes:
     General Notes:
         • States were only able to select a single response to both Q7 and Q7a.


    [1] North Dakota does not have voter registration.




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Policy Survey Table 4: State Voting by Mail Election Policies
                      Excuse       State or jurisdiction     Permanent
                                                                                 Who can be a permanent
         State      required for    conducts all-mail      absentee voting
                                                                                     absentee voter
                    mail voting          election             allowed
                                                            Yes, individuals
 Alabama                 ✓                  --             who meet specific     Persons with disabilities
                                                                 criteria
 Alaska                  --                 --                       --                     --
 American Samoa          ✓                  --                       --                     --
 Arizona                 --                 --             Yes, any registrant              --
 Arkansas                ✓                  --                       --                     --
 California              --             Statewide          Yes, any registrant              --
 Colorado                --             Statewide                    --                     --
                                                            Yes, individuals
 Connecticut             ✓                  --             who meet specific     Persons with disabilities
                                                                 criteria
                                                                                 Federal or state workers
                                                                                    and their spouses or
                                                                                 dependents, members of
                                                                                  the uniformed services,
                                                            Yes, individuals       voters who are sick or
 Delaware                --                 --             who meet specific      disabled (temporarily or
                                                                criteria            permanently), voters
                                                                                    temporarily residing
                                                                                 outside the United States
                                                                                    and their spouses or
                                                                                        dependents
 District of
                         --             Statewide          Yes, any registrant              --
 Columbia
 Florida                 ✓                   --                    --                       --
 Georgia                 --                  --                    --                       --
 Guam                    ✓                   --                    --                       --
 Hawaii                  --             Statewide                  --                       --
                                       Only certain
 Idaho                   --                                        --                       --
                                       jurisdictions
 Illinois                --                  --                     --                      --
 Indiana                 ✓                   --                     --                      --
 Iowa                    --                  --                     --                      --
                                                            Yes, individuals
 Kansas                  --                 --             who meet specific     Persons with disabilities
                                                                criteria
 Kentucky                ✓                  --                      --                      --
                                                            Yes, individuals        Individuals over a
 Louisiana               ✓                  --             who meet specific      specified age, persons
                                                                criteria             with disabilities
 Maine                   --                 --                     --                       --
 Maryland                --                 --                     --                       --




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                     Excuse       State or jurisdiction      Permanent
                                                                                Who can be a permanent
      State        required for    conducts all-mail       absentee voting
                                                                                    absentee voter
                   mail voting          election               allowed
                                                           Yes, individuals      Persons who provide a
Massachusetts           --                 --             who meet specific       note from a medical
                                                                criteria              professional
Michigan                --                  --            Yes, any registrant              --
                                      Only certain
Minnesota               --                                Yes, any registrant                --
                                      jurisdictions
                                                           Yes, individuals
Mississippi             ✓                  --             who meet specific      Persons with disabilities
                                                               criteria
                                                           Yes, individuals
Missouri                --                 --             who meet specific      Persons with disabilities
                                                               criteria
                                      Only certain
Montana                 --                                Yes, any registrant                --
                                      jurisdictions
                                      Only certain
Nebraska                --                                        --                         --
                                      jurisdictions
Nevada                  --             Statewide          Yes, any registrant               --
New Hampshire           ✓                   --                      --                      --
New Jersey              --             Statewide          Yes, any registrant               --
New Mexico              --                  --                      --                      --
                                                           Yes, individuals     Persons with disabilities,
New York                ✓                  --             who meet specific         voters who claim
                                                                criteria           permanent illness
North Carolina          --                 --                       --                      --
North Dakota            --                 --                       --                      --
Northern
                        --                 --                     --                         --
Mariana Islands
Ohio                    --                 --                     --                         --
Oklahoma                --                 --                     --                         --
                                                                                   Persons registered as
                                                           Yes, individuals     Oregon voters but who are
Oregon [1]              --             Statewide          who meet specific       away from their Oregon
                                                               criteria          residences when ballots
                                                                                       are available
Pennsylvania [2]        ✓                  --             Yes, any registrant                --
Puerto Rico             ✓                  --                       --                       --
                                                           Yes, individuals
Rhode Island            --                 --             who meet specific      Persons with disabilities
                                                                criteria
South Carolina          --                 --                       --                        --
South Dakota            --                 --                       --                        --
                                                                                 Persons with disabilities,
                                                           Yes, individuals
                                                                                   persons who have a
Tennessee               ✓                  --             who meet specific
                                                                                doctor certify that they are
                                                               criteria
                                                                                 unable to go to the polls
Texas                   ✓                  --                     --                          --
U.S. Virgin
                        --                 --                     --                         --
Islands



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                        Excuse         State or jurisdiction      Permanent
                                                                                     Who can be a permanent
       State          required for      conducts all-mail       absentee voting
                                                                                         absentee voter
                      mail voting            election              allowed
 Utah                       --              Statewide          Yes, any registrant                 --
 Vermont                    --              Statewide                   --                         --
 Virginia                   --                  --             Yes, any registrant                 --
 Washington                 --              Statewide          Yes, any registrant                 --
                                                                                     Persons with disabilities,
                                                                Yes, individuals
                                                                                     participants in the West
 West Virginia              ✓                    --            who meet specific
                                                                                           Virginia Address
                                                                    criteria
                                                                                      Confidentiality Program
                                                                                     Persons with disabilities;
                                                                                     persons who certify that
                                                                Yes, individuals
                                                                                       they are indefinitely
 Wisconsin                  --                   --            who meet specific
                                                                                       confined due to age,
                                                                    criteria
                                                                                        illness, infirmity, or
                                                                                               disability
 Wyoming                    --                   --                     --                         --

Policy Survey Table 4 Calculation Notes:
     Excuse required for mail voting uses question Q17.
     State or jurisdiction conducts all-mail election uses questions Q18 and Q18a.
     Permanent absentee voting allowed uses question Q19.
     Who can be a permanent absentee voter uses questions Q19a_1, Q19a_2, and Q19a_3.

Policy Survey Table 4 Data Notes:
     General Notes:
         • States were only able to select a single response to Q17–Q19. Multiple responses were accepted
             for the Q19a items.
         • The Policy Survey did not collect information on whether changes in states’ laws regarding all-vote-
             by-mail elections for 2020 were permanent or temporary or whether the changes were made in
             direct response to the COVID-19 pandemic.


    [1] Although Oregon is a vote-by-mail state, there are still individuals who are considered absentee voters.
    Anyone who is registered as an Oregon voter but is away from their Oregon residence when ballots are
    available can request to be a permanent absentee voter if Oregon remains their primary residence.
    [2] Pennsylvania provides both absentee and mail voting options. Voters who apply for an absentee ballot
    must give a reason for voting absentee. Voters who apply for a mailed ballot are not required to give a
    reason.




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Policy Survey Table 5: Mail Voting Deadlines for UOCAVA and Non-UOCAVA Voters
                                                        Domestic military
                            Mail voters                                            Overseas UOCAVA voters
                                                         UOCAVA voters
         State
                  Postmarked                       Postmarked                     Postmarked
                                   Received by                    Received by                    Received by
                      by                               by                             by
                  1 day before                                    7 days after                   7 days after
 Alabama                           Election Day    Election Day                   Election Day
                  Election Day                                    Election Day                   Election Day
                                   10 days after                  10 days after                  15 days after
 Alaska           Election Day                     Election Day                   Election Day
                                   Election Day                   Election Day                   Election Day
 American Samoa   Election Day     Election Day    Election Day   Election Day    Election Day   Election Day
 Arizona               --          Election Day         --        Election Day         --        Election Day
                                                                  10 days after                  10 days after
 Arkansas [1]          --          Election Day         --                             --
                                                                  Election Day                   Election Day
                                   17 days after                  17 days after                  17 days after
 California [2]   Election Day                     Election Day                   Election Day
                                   Election Day                   Election Day                   Election Day
                                                                  8 days after                   8 days after
 Colorado              --          Election Day         --                             --
                                                                  Election Day                   Election Day
 Connecticut      Election Day     Election Day    Election Day   Election Day    Election Day   Election Day
 Delaware              --          Election Day         --        Election Day         --        Election Day
 District of                       10 days after                  10 days after                  10 days after
                  Election Day                     Election Day                   Election Day
 Columbia                          Election Day                   Election Day                   Election Day
                                                                                                 10 days after
 Florida [3]           --          Election Day         --        Election Day         --
                                                                                                 Election Day
                                                                  3 days after                   3 days after
 Georgia               --          Election Day    Election Day                   Election Day
                                                                  Election Day                   Election Day
                                   10 days after                  10 days after                  10 days after
 Guam [4]         Election Day                     Election Day                   Election Day
                                   Election Day                   Election Day                   Election Day
 Hawaii [5]            --          Election Day         --        Election Day         --        Election Day
 Idaho                 --          Election Day         --        Election Day         --        Election Day
                                   14 days after                  14 days after                  14 days after
 Illinois         Election Day                     Election Day                   Election Day
                                   Election Day                   Election Day                   Election Day
                                                                  10 days after                  10 days after
 Indiana [6]           --          Election Day    Election Day                   Election Day
                                                                  Election Day                   Election Day
                  1 day before     6 days after    1 day before   6 days after    1 day before   6 days after
 Iowa [7]
                  Election Day     Election Day    Election Day   Election Day    Election Day   Election Day
                                   3 days after
 Kansas           Election Day                     Election Day   Election Day    Election Day   Election Day
                                   Election Day
                                                                  3 days after                   3 days after
 Kentucky [8]     Election Day     Election Day    Election Day                   Election Day
                                                                  Election Day                   Election Day
                                   1 day before
 Louisiana             --                               --        Election Day         --        Election Day
                                   Election Day
 Maine [9]             --          Election Day         --        Election Day         --        Election Day
                                   10 days after                  10 days after                  10 days after
 Maryland         Election Day                     Election Day                   Election Day
                                   Election Day                   Election Day                   Election Day
                                   3 days after                   3 days after                   10 days after
 Massachusetts    Election Day                     Election Day                   Election Day
                                   Election Day                   Election Day                   Election Day




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                                                           Domestic military
                              Mail voters                                            Overseas UOCAVA voters
                                                            UOCAVA voters
        State
                    Postmarked                       Postmarked                     Postmarked
                                     Received by                     Received by                   Received by
                         by                               by                             by
 Michigan           Election Day     Election Day    Election Day    Election Day   Election Day   Election Day
 Minnesota [10]          --          Election Day         --         Election Day        --        Election Day
                                     5 days after                    5 days after                  5 days after
 Mississippi [11]   Election Day                     Election Day                   Election Day
                                     Election Day                    Election Day                  Election Day
                                                                     3 days after                  3 days after
 Missouri                --          Election Day    Election Day                   Election Day
                                                                     Election Day                  Election Day
 Montana            Election Day     Election Day    Election Day    Election Day   Election Day   Election Day
 Nebraska [12]           --          Election Day         --         Election Day        --        Election Day
                                     7 days after                    7 days after                  7 days after
 Nevada             Election Day                     Election Day                   Election Day
                                     Election Day                    Election Day                  Election Day
 New Hampshire
                         --          Election Day         --         Election Day        --        Election Day
 [13]
                                     7 days after                    7 days after                  7 days after
 New Jersey [14]    Election Day                     Election Day                   Election Day
                                     Election Day                    Election Day                  Election Day
 New Mexico [15]         --          Election Day         --         Election Day        --        Election Day
                                     7 days after                   13 days after                  13 days after
 New York           Election Day                     Election Day                   Election Day
                                     Election Day                   Election Day                   Election Day
 North Carolina                      9 days after                    9 days after                  9 days after
                    Election Day                          --                             --
 [16]                                Election Day                    Election Day                  Election Day
                    1 day before     6 days after    1 day before    6 days after   1 day before   6 days after
 North Dakota
                    Election Day     Election Day    Election Day    Election Day   Election Day   Election Day
 Northern                            14 days after                  14 days after                  14 days after
                    Election Day                     Election Day                   Election Day
 Mariana Islands                     Election Day                   Election Day                   Election Day
                    1 day before     10 days after                  10 days after                  10 days after
 Ohio                                                     --                             --
                    Election Day     Election Day                   Election Day                   Election Day
 Oklahoma [17]           --          Election Day         --         Election Day        --        Election Day
 Oregon [18]             --          Election Day         --         Election Day        --        Election Day
 Pennsylvania                                        1 day before    7 days after   1 day before   7 days after
                         --          Election Day
 [19]                                                Election Day    Election Day   Election Day   Election Day
                                     14 days after                  14 days after                  14 days after
 Puerto Rico [20]   Election Day                     Election Day                   Election Day
                                     Election Day                   Election Day                   Election Day
                                                                     7 days after                  7 days after
 Rhode Island            --          Election Day         --                             --
                                                                     Election Day                  Election Day
                                                                     2 days after                  2 days after
 South Carolina          --          Election Day         --                             --
                                                                     Election Day                  Election Day
 South Dakota
                         --          Election Day         --         Election Day        --        Election Day
 [21]
 Tennessee [22]          --          Election Day         --         Election Day        --        Election Day
                                      1 day after                    6 days after                  5 days after
 Texas [23]         Election Day                          --                        Election Day
                                     Election Day                    Election Day                  Election Day
 U.S. Virgin                         10 days after                  10 days after                  10 days after
                    Election Day                     Election Day                   Election Day
 Islands [24]                        Election Day                   Election Day                   Election Day
                    1 day before     13 days after                  13 days after                  13 days after
 Utah [25]                                           Election Day                   Election Day
                    Election Day     Election Day                   Election Day                   Election Day



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                                                           Domestic military
                               Mail voters                                             Overseas UOCAVA voters
                                                              UOCAVA voters
       State
                    Postmarked                        Postmarked                     Postmarked
                                      Received by                     Received by                    Received by
                        by                                by                             by
 Vermont                 --           Election Day         --         Election Day        --         Election Day
                                      3 days after                    3 days after                   3 days after
 Virginia [26]      Election Day                      Election Day                   Election Day
                                      Election Day                    Election Day                   Election Day
                                      20 days after                  20 days after                  20 days after
 Washington [27]    Election Day                           --                             --
                                      Election Day                   Election Day                   Election Day
 West Virginia                        5 days after                    5 days after                   5 days after
                    Election Day                           --                             --
 [28]                                 Election Day                    Election Day                   Election Day
 Wisconsin [29]     Election Day      Election Day    Election Day    Election Day   Election Day    Election Day
 Wyoming                  --          Election Day         --         Election Day        --         Election Day

Policy Survey Table 5 Calculation Notes:
     Mail voters, Postmarked by uses questions Q20_1_1, Q20_1_1OE, Q20_1_2, and Q20_1_3.
     Mail voters, Received by uses questions Q20_2_1, Q20_2_1OE, Q20_2_2, Q20_2_3, Q20_2_3OE, and
     Q20_2_4.
     Domestic military UOCAVA voters, Postmarked by uses questions Q29_1_1, Q29_1_1OE, Q29_1_2, and
     Q29_1_3.
     Domestic military UOCAVA voters, Received by uses questions Q29_2_1, Q29_2_1OE, Q29_2_2,
     Q29_2_3, Q29_2_3OE, and Q29_2_4.
     Overseas UOCAVA voters, Postmarked by uses questions Q30_1_1, Q30_1_1OE, Q30_1_2, and Q30_1_3.
     Overseas UOCAVA voters, Received by uses questions Q30_2_1, Q30_2_1OE, Q30_2_2, Q30_2_3,
     Q30_2_3OE, and Q30_2_4.

Policy Survey Table 5 Data Notes:
     General Notes:
         • States were able to select multiple responses to each set of postmark and receipt deadline items
             through Q20, Q29, and Q30, although none of the states did so.


    [1] Arkansas noted in a survey comment that mailed ballots must be received by 7:30 p.m. (close of polls).
    [2] California noted in a survey comment that “For the November 3, 2020, general election, the deadline
    for a [mailed] ballot to be received by county elections officials is extended from 3 to 17 days after Election
    Day.”
    [3] Florida noted in a survey comment that the deadline for mailed ballots is “7 pm local time deadline for
    domestic ballots 10 day extension for overseas voters.”
    [4] Guam noted in a survey comment that “[B]allots must be received 10 business days after the election.”
    [5] Hawaii noted in a survey comment that “Regardless of postmark date, ballots must be received by the
    County Elections Division by 7:00 p.m. on Election Day.”
    [6] Indiana noted in a survey comment that the deadline for mailed ballots is “Noon, local prevailing time.”
    [7] Iowa noted in a survey comment that “[mailed] ballots must be postmarked or the ImB [Intelligent Mail
    barcode] tracking bar code must show that the ballot was entered into the mail stream before election
    day. Ballots must be received by 12:00 noon on the Monday after the election.”
    [8] Kentucky noted in a survey comment that “If a [mailed] ballot is postmarked on or before 11/3 it must
    be received by 11/6. If a ballot is placed in a drop-box or delivered to a Clerk’s office, it must be delivered
    by 6PM local time, 11/3.”




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   [9] Maine noted in a survey comment that “[Mailed] ballot[s] must be received by 8:00 pm on Election
   Day.”
   [10] Minnesota noted in a survey comment that for mailed ballots in the 2020 general election, “consent
   decree changes this to postmarked on or before election day and received by 11/10.”
   [11] In Mississippi, ballots returned by mail must be postmarked by Election Day and received by the end
   of five business days after Election Day. Mail ballots returned by email or fax must be returned by 7:00
   p.m. on the date of the election.
   [12] Nebraska noted in a survey comment that “[Mailed ballots] must be received by close of polls on
   election day.”
   [13] New Hampshire noted in a survey comment that “Absentee ballots, including all UOCAVA voters
   absentee ballots, must be received no later than 5 p.m. on Election Day.”
   [14] New Jersey noted in a survey comment that the deadline for UOCAVA ballots is “Email and fax 8:00
   pm election day.”
   [15] New Mexico noted in a survey comment that “ballots must be received by 7pm on election day.”
   [16] North Carolina noted in a survey comment that the “change from 3 days to 9 days approved by
   consent judgment in settlement between NCSBE [North Carolina State Board of Elections] and plaintiffs in
   the NC Alliance case which included extension of the civilian ballot mail return deadline for 2020. For
   remaining elections in 2020, a ballot shall be considered postmarked by Election Day if it has a postmark
   affixed to it or if there is information in BallotTrax, or another tracking service offered by the USPS or a
   commercial carrier, indicating that the ballot was in the custody of USPS or the commercial carrier on or
   before Election Day.”
   [17] Oklahoma noted in a survey comment that “State law requires that a returned absentee ballot be
   received in the hands of the County Election Board Secretary by 7 p.m. (CST) on election day for it to be
   processed and counted.”
   [18] Oregon noted that all ballots, including UOCAVA ballots, must be received by 8:00 p.m.
   [19] Pennsylvania noted that, by law, civilian ballots must be received by 8:00 p.m. on Election Day to be
   eligible for canvassing.
   [20] Puerto Rico noted in a survey comment that the “PR Electoral Code haven’t established a certain date
   to finish the General Election Scrutiny (canvass). Electoral Code establish that the ballot must be
   receive[d] before the General [Election] Scrutiny finished. Refer to Article 10.7 of Act 58 of 2020. Generally
   it took around 30 days after the election date. We established 14 days because it[’]s one of the options
   given by the system.”
   [21] South Dakota noted in a survey comment that “The voted [mailed] ballot MUST be received by your
   County Election Official on Election Day in enough time to deliver your ballot to your voting precinct before
   the polls close.”
   [22] Tennessee noted in a survey comment that mailed ballots must be received by “close of polls.”
   [23] Texas noted in a survey comment that “For [mailed] ballots arriving by 5 p.m. the day after election
   day, they must be post marked no later than election day.”
   [24] The U.S. Virgin Islands noted in a survey comment that “The [mailed] ballot must be placed in the mail
   by Election Day (postmark not required) and the ballot has ten (10) days to arrive to our office.”
   [25] Utah noted in a survey comment that “20a-3a-401(5)(d)(ii) = if the election officer receives the
   affidavit no later than 5 p.m. the day before the canvass, count the individual’s [mailed] ballot.”
   [26] Virginia noted in a survey comment that “Further extensions apply if the [mailed] ballot was requested
   prior to the 45-day deadline and not sent by that date.”
   [27] Washington noted in a survey comment that “The ballot must be received by the day before the
   County Canvassing Board certifies the county’s election results. In November 2020, that certification date
   is November 24, so ballots must be received by November 23. This gives voters a 20-day window for the




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November General Election.” For “overseas voters and service voters,” the date on the declaration to
which the voter has attested determines the validity of the time of voting for that ballot.
[28] West Virginia noted that ballots must be received by the fifth day after the election that is not a
Saturday, Sunday, or legal holiday.
[29] Wisconsin state statutes do not contain a postmark requirement. Absentee ballots may be delivered
to the local clerk so long as they are received before polls close.




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Policy Survey Table 6: Electronic Ballot Transmission for Voters

                     Voters cannot                   When a       Voters
                                        During                                Voters with
                        receive                    replacement     with                          Any
            State                     emergency                                   any                      Other
                        ballots                      ballot is   specific                   circumstance
                                      situations                               disability
                     electronically                  needed      disability

 Alabama                   ✓              --            --           --           --             --         --
 Alaska                    --             --            --           --           --             ✓          --
 American Samoa            ✓              --            --           --           --             --         --
 Arizona                   ✓              --            --           --           --             --         --
 Arkansas                  ✓              --            --           --           --             --         --
 California [1]            --             --            --           --           ✓              --         ✓
 Colorado                  --             ✓             --           --           ✓              --         --
 Connecticut               ✓              --            --           --           --             --         --
 Delaware [2]              --             --            --           --           ✓              --         ✓
 District of
 Columbia
                           --             --            --           --           ✓              --         --
 Florida                   ✓              --            --           --           --             --         --
 Georgia                   ✓              --            --           --           --             --         --
 Guam                      --             --            --           --           --             ✓          --
 Hawaii [3]                --             --            --           --           ✓              --         ✓
 Idaho                     ✓              --            --           --           --             --         --
 Illinois                  ✓              --            --           --           --             --         --
 Indiana                   ✓              --            --           --           --             --         --
 Iowa                      ✓              --            --           --           --             --         --
 Kansas                    ✓              --            --           --           --             --         --
 Kentucky                  --             --            --           --           --             ✓          --
 Louisiana                 --             --            --           --           ✓              --         --
 Maine [4]                 --             ✓             --           --           --             --         ✓
 Maryland                  --             --           --            --           --             ✓          --
 Massachusetts [5]         --             --            --           --           --             --         ✓
 Michigan                  ✓              --            --           --           --             --         --
 Minnesota                 --             --            --           --           ✓              --         --
 Mississippi [6]           --             --            --           --           --             --         ✓
 Missouri                  --             ✓             --           --           --             --         --
 Montana                   --             --            --           ✓            --             --         --
 Nebraska                  ✓              --            --           --           --             --         --
 Nevada                    --             ✓            ✓             --           ✓              --         --
 New Hampshire             --             --            --           ✓            --             --         --
 New Jersey                ✓              --            --           --           --             --         --
 New Mexico                --             --            --           ✓            --             --         --
 New York [7]              --             --            --           --           ✓              --         ✓
 North Carolina            --             --            --           ✓            --             --         --
 North Dakota              ✓              --            --           --           --             --         --




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                       Voters cannot                   When a       Voters
                                          During                                Voters with
                          receive                    replacement     with                          Any
         State                          emergency                                   any                      Other
                          ballots                      ballot is   specific                   circumstance
                                        situations                               disability
                       electronically                  needed      disability

 Northern Mariana
 Islands                     ✓              --            --           --           --             --         --
 Ohio                        --             --           --            --           ✓              --         --
 Oklahoma                    ✓              --            --           --           --             --         --
 Oregon                      --             --            --           --           --             ✓          --
 Pennsylvania [8]            --             --            --           --           --             --         ✓
 Puerto Rico                 ✓              --            --           --           --             --         --
 Rhode Island                ✓              --            --           --           --             --         --
 South Carolina              ✓              --            --           --           --             --         --
 South Dakota                ✓              --            --           --           --             --         --
 Tennessee                   ✓              --            --           --           --             --         --
 Texas                       ✓              --            --           --           --             --         --
 U.S. Virgin Islands         --             ✓            ✓             ✓            ✓              --         --
 Utah                        --             ✓             --           --           ✓              --         --
 Vermont                     ✓              --            --           --           --             --         --
 Virginia                    --             ✓             --           ✓            --             --         --
 Washington                  --             --            --           --           --             ✓          --
 West Virginia               --             --            --           ✓            --             --         --
 Wisconsin                   ✓              --            --           --           --             --         --
 Wyoming                     ✓              --            --           --           --             --         --


Policy Survey Table 6 Calculation Notes:
     Voters cannot receive ballots electronically uses question Q23_1.
     During emergency situations uses question Q23_2.
     When a replacement ballot is needed uses question Q23_3.
     Voters with specific disability uses question Q23_4.
     Voters with any disability uses question Q23_5.
     Voters may receive a ballot electronically for any circumstance uses question Q23_6.
     Other uses question Q23_7.

Policy Survey Table 6 Data Notes:
     General Notes:
         • States were able to select multiple responses to Q23 items; however, selecting Q23_1 excluded
             all other response choices.
         • Q23 collected information on electronic ballot transmission for non-UOCAVA voters only. Voters
             covered by UOCAVA may receive ballots electronically under the MOVE Act.


    [1] In the November 3, 2020, general election, California county election officials permitted any voter to
    cast a ballot using a certified remote accessible vote-by-mail system.
    [2] Delaware specified that voters who are sick or physically disabled, whether temporarily or permanently,
    can receive ballots electronically.




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   [3] Hawaii reported allowing voters to receive ballots electronically when a replacement ballot is needed
   and is requested within five days of the election.
   [4] Maine reported allowing voters who self-identify as having a print disability to receive ballots
   electronically.
   [5] Massachusetts specified that voters with a disability that prevents them from privately and
   independently marking a paper ballot can receive ballots electronically.
   [6] Mississippi’s UOCAVA state statute allows emergency responders to qualify for electronic ballots if they
   are deployed outside their county of residence during a state of emergency.
   [7] New York reported allowing emergency responders to receive ballots electronically.
   [8] Pennsylvania specified that voters with any disability as defined by the Americans with Disabilities Act
   can receive a ballot electronically.




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Policy Survey Table 7: In-Person Voting Before Election Day
                                                                              Excuse required for
                         Terminology used to describe casting a ballot in
               State                                                           in-person voting
                                  person before Election Day
                                                                              before Election Day
 Alabama                             In-person absentee voting                         ✓
 Alaska                   In-person early voting, in-person absentee voting            --
 American Samoa                        Local absentee voting                          ✓
 Arizona                               In-person early voting                         --
 Arkansas                              In-person early voting                          --
 California                            In-person early voting                          --
 Colorado                              In-person early voting                          --
 Connecticut [1]                               Other                                  ✓
 Delaware                            In-person absentee voting                        ✓
 District of Columbia                  In-person early voting                         --
 Florida                               In-person early voting                          --
 Georgia                                  Advance voting                               --
 Guam                                In-person absentee voting                         --
 Hawaii                                   In-person voting                             --
 Idaho                    In-person early voting, in-person absentee voting            --
 Illinois                              In-person early voting                          --
 Indiana                             In-person absentee voting                         --
 Iowa                                In-person absentee voting                         --
 Kansas                              In-person advance voting                          --
 Kentucky                              In-person early voting                          --
 Louisiana                             In-person early voting                          --
 Maine                               In-person absentee voting                         --
 Maryland                              In-person early voting                          --
 Massachusetts [2]        In-person early voting, in-person absentee voting           ✓
 Michigan                            In-person absentee voting                        --
 Minnesota                           In-person absentee voting                         --
 Mississippi                         In-person absentee voting                        ✓
 Missouri                            In-person absentee voting                        ✓
 Montana                             In-person absentee voting                        --
 Nebraska                              In-person early voting                          --
 Nevada                                In-person early voting                          --
 New Hampshire                       In-person absentee voting                        ✓
 New Jersey                                      --                                   --
 New Mexico               In-person early voting, in-person absentee voting            --
 New York                               In-person early voting                         --
                         In-person early voting, in-person absentee voting,
 North Carolina                                                                        --
                                    one stop voting, early voting
 North Dakota             In-person early voting, in-person absentee voting            --



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                                                                                          Excuse required for
                                  Terminology used to describe casting a ballot in
              State                                                                        in-person voting
                                           person before Election Day
                                                                                          before Election Day
 Northern Mariana Islands                       In-person early voting                             ✓
 Ohio                             In-person early voting, in-person absentee voting                --
 Oklahoma                                     In-person absentee voting                             --
 Oregon [3]                                             Other                                       ✓
 Pennsylvania [4]                                       Other                                       ✓
 Puerto Rico [5]                             In-person early voting, other                          ✓
 Rhode Island                                 In-person absentee voting                             --
 South Carolina [6]                           In-person absentee voting                             --
 South Dakota                                 In-person absentee voting                             --
 Tennessee                                      In-person early voting                              --
 Texas                                          In-person early voting                              --
 U.S. Virgin Islands              In-person early voting, in-person absentee voting                 --
 Utah                                           In-person early voting                              --
 Vermont                          In-person early voting, in-person absentee voting                 --
 Virginia                                       In-person early voting                              --
 Washington [7]                                    In-person voting                                 --
 West Virginia                                  In-person early voting                              --
 Wisconsin                                    In-person absentee voting                             --
 Wyoming                                      In-person absentee voting                             --

Policy Survey Table 7 Calculation Notes:
     Terminology used to describe casting a ballot in person before Election Day uses questions Q24_1,
     Q24_2, and Q24_3.
     Excuse required for in-person voting before Election Day uses question Q24a.

Policy Survey Table 7 Data Notes:
     General Notes:
         • States were able to select multiple responses to Q24 items; however, selecting Q24_4 excluded
             all other response items and is not depicted in the table. States were only able to select a single
             response to Q24a.


    [1] Connecticut reported that a person can request an absentee ballot and cast it on the spot and not
    return it by mail.
    [2] In Massachusetts, in-person absentee voting before Election Day requires an excuse but early voting
    does not.
    [3] Oregon reported that members of specific populations (e.g., those who will not be in Oregon or have
    access to a regular mailing address when ballots are available) can receive and return a ballot at their
    county election office. They may choose to cast their vote then and there or take it with them and return
    via mail or drop box.
    [4] Pennsylvania’s 2019 election reforms allow for absentee and mail-in ballots to be completed over the
    counter at an election office.




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[5] Puerto Rico reported that in addition to in-person early voting, voters may cast their ballot from their
residence via mail.
[6] South Carolina requires an excuse for in-person absentee voting; however, this requirement was
temporarily suspended for elections held in 2020.
[7] Washington is a vote-by-mail state. In-person voters were issued a vote-by-mail ballot packet at a voting
center that they could deposit into a ballot drop box or mail. Alternatively, voters could use a disability
access unit to vote in person before Election Day.




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Policy Survey Table 8: Election Certification, Recounts, and Audits
                                   Reasons why a jurisdiction in the state may conduct a post-
                                                  election recount of ballots
                                                             Results
                                                           are within
                    General                                 a certain
                                                                                                 Post-election
                    election       Results       By          margin       Request
        State                                                                                      tabulation
                  certification   are within candidate        and a       by other   By court
                                                                                                  audit policy
                    deadline      a certain   or party     candidate person or order only
                                   margin     request        or party      group
                                                               has
                                                           requested
                                                            a recount
 Alabama          11/25/2020          --          ✓              --           --         --      Not required
                                                                                                 Required by
 Alaska [1]       11/25/2020          ✓           ✓            --          ✓            --
                                                                                                   statute
 American Samoa   11/10/2020          --          ✓            ✓            --          --       Not required
                                                                                                 Required by
 Arizona          11/30/2020          --          --           --           --          ✓
                                                                                                   statute
                                                                                                 Required by
 Arkansas [2]     11/18/2020          --          ✓            --          ✓            --
                                                                                                   statute
                                                                                                 Required by
 California [3]   12/11/2020          ✓           ✓            ✓           ✓            --
                                                                                                   statute
                                                                                                 Required by
 Colorado         11/25/2020          ✓           ✓            --           --          --
                                                                                                   statute
                                                                                                 Required by
 Connecticut      11/25/2020          ✓           --           --           --          --
                                                                                                   statute
                                                                                                 Required by
 Delaware [4]     11/5/2020           ✓           --           --           --          --
                                                                                                   statute
 District of                                                                                     Required by
                  11/24/2020          ✓           ✓            --           --          --
 Columbia [5]                                                                                      statute
                                                                                                 Required by
 Florida [6]      11/17/2020          ✓           --           --           --          --
                                                                                                   statute
                                                                                                 Required by
 Georgia [7]      11/20/2020          --          --           ✓           ✓            --
                                                                                                   statute
 Guam [8]         11/19/2020          ✓           --           --           --          --       Not required
                                                                                                 Required by
 Hawaii [9]            --             ✓           --           --           --          --
                                                                                                   statute
 Idaho [10]       11/13/2020          --          ✓            --          ✓            --       Not required
                                                                                                 Required by
 Illinois         12/4/2020           --          --           ✓            --          --
                                                                                                   statute
                                                                                                 Required by
 Indiana [11]     11/16/2020          --          ✓            --          ✓            --
                                                                                                   statute
                                                                                                 Required by
 Iowa             11/30/2020          --          ✓            --           --          --
                                                                                                   statute
                                                                                                 Required by
 Kansas [12]      12/1/2020           --          ✓            --          ✓            --
                                                                                                   statute
 Kentucky         11/23/2020          --          ✓            --           --          --       Not required
 Louisiana [13]   11/19/2020          --          --           ✓           ✓            --          Other
 Maine [14]       11/23/2020          --          ✓            --           --          --       Not required
                                                                                                 Required by
 Maryland         12/8/2020           --          ✓            --           --          --
                                                                                                   statute
 Massachusetts                                                                                   Required by
                  11/18/2020          --          ✓            --          ✓            --
 [15]                                                                                              statute
                                                                                                 Required by
 Michigan [16]    11/23/2020          ✓           ✓            --          ✓            --
                                                                                                   statute




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                                       Reasons why a jurisdiction in the state may conduct a post-
                                                      election recount of ballots
                                                                 Results
                                                               are within
                        General                                 a certain
                                                                                                     Post-election
                        election       Results       By          margin       Request
       State                                                                                           tabulation
                      certification   are within candidate        and a       by other   By court
                                                                                                      audit policy
                        deadline      a certain   or party     candidate person or order only
                                       margin     request        or party      group
                                                                   has
                                                               requested
                                                                a recount
                                                                                                     Required by
Minnesota [17]        11/24/2020          ✓           ✓            --          ✓            --
                                                                                                       statute
Mississippi           11/13/2020          --          --           --           --          ✓        Not required
                                                                                                     Required by
Missouri              12/8/2020           --          --           ✓            --          --
                                                                                                     formal rule
                                                                                                     Required by
Montana               11/30/2020          --          --           ✓            --          --
                                                                                                       statute
                                                                                                     Required by
Nebraska [18]         11/30/2020          ✓           ✓            --           --          --
                                                                                                     formal rule
                                                                                                     Required by
Nevada [19]           11/16/2020          --          ✓            --          ✓            --
                                                                                                       statute
New Hampshire
                      11/12/2020          --          ✓            --           --          --       Not required
[20]
                                                                                                     Required by
New Jersey            12/8/2020           --          --           --           --          ✓          statute
                                                                                                     Required by
New Mexico            11/24/2020          ✓           ✓            --           --          --
                                                                                                       statute
                                                                                                     Required by
New York              12/7/2020           --          --           --           --          ✓          statute
North Carolina                                                                                       Required by
                      11/24/2020          --          --           ✓            --          --
[21]                                                                                                   statute
North Dakota                                                                                         Required by
                      11/13/2020          ✓           ✓            ✓           ✓            --
[22]                                                                                                   statute
Northern Mariana                                                                                     Required by
                      11/17/2020          --          --           --           --          ✓
Islands                                                                                                statute
                                                                                                     Required by
Ohio [23]             11/24/2020          ✓           ✓            --          ✓            --
                                                                                                       statute
Oklahoma [24]         11/10/2020          --          ✓            --           --          --          Other
                                                                                                     Required by
Oregon [25]           12/3/2020           ✓           ✓            --          ✓            --
                                                                                                       statute
                                                                                                     Required by
Pennsylvania [26]     11/23/2020          ✓           --           --          ✓            --
                                                                                                       statute
Puerto Rico [27]      11/4/2020           ✓           --           --           --          --       Not required
                                                                                                     Required by
Rhode Island [28]     11/20/2020          --          --           ✓            --          --
                                                                                                       statute
South Carolina
                      11/13/2020          ✓           --           --           --          --          Other
[29]
South Dakota          11/10/2020          --          --           ✓            --          --       Not required
Tennessee [30]        11/23/2020          --          --           --           --          ✓           Other
                                                                                                     Required by
Texas [31]            12/7/2020           --          ✓            --           --          --
                                                                                                       statute
U.S. Virgin Islands   11/13/2020          --          ✓            --           --          --       Not required
                                                                                                     Required by
Utah                  11/17/2020          --          ✓            ✓            --          --
                                                                                                       statute
                                                                                                     Required by
Vermont               11/10/2020          --          --           ✓            --          --
                                                                                                       statute



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                                     Reasons why a jurisdiction in the state may conduct a post-
                                                    election recount of ballots
                                                               Results
                                                             are within
                      General                                 a certain
                                                                                                   Post-election
                      election       Results       By          margin       Request
       State                                                                                         tabulation
                    certification   are within candidate        and a       by other   By court
                                                                                                    audit policy
                      deadline      a certain   or party     candidate person or order only
                                     margin     request        or party      group
                                                                 has
                                                             requested
                                                              a recount
                                                                                                    Required by
 Virginia [32]      11/16/2020          --          --           ✓            --          --
                                                                                                      statute
                                                                                                    Required by
 Washington [33]     12/3/2020          ✓           ✓            ✓           ✓            --
                                                                                                      statute
                                                                                                    Required by
 West Virginia       12/3/2020          --          ✓            --           --          --
                                                                                                      statute
                                                                                                    Required by
 Wisconsin [34]      12/1/2020          --          --           ✓            --          --
                                                                                                      statute
 Wyoming [35]       11/11/2020          ✓           ✓            --           --          --           Other

Policy Survey Table 8 Calculation Notes:
     General election certification deadline uses question Q33.
     Recount reason, Results are within a certain margin uses question Q34_1.
     Recount reason, By candidate or party request uses question Q34_2.
     Recount reason, Results are within a certain margin and a candidate or party has requested a recount
     uses question Q34_3.
     Recount reason, Request by other person or group uses question Q34_4.
     Recount reason, By court order only uses question Q34_5.
     Post-election tabulation audit policy uses question Q35.

Policy Survey Table 8 Data Notes:
     General Notes:
         • States were able to specify a calendar date for item Q33, select multiple responses to item Q34,
             and only a single response to item Q35. Selecting Q34_5 excluded all other responses to Q34.


    [1] Alaska reported that the certification deadline is the target date for the Alaska Division of Elections to
    certify the election. According to Alaska statute, a defeated candidate or 10 qualified voters who believe
    there has been a mistake in counting votes in an election may file an application for a recount of votes for
    any precinct or house district and for any office, proposition, or question. This application must be filed
    within five days after the completion of state review. However, the application may only be filed within
    three days after the completion of the state review after the general election for a recount of votes cast for
    the offices of governor and lieutenant governor. A recount is required if a contest is tied.
    [2] Arkansas reported that the County Election Commission may also come to a decision to recount an
    election.
    [3] California reported that anybody who is allowed by state law can request a recount.
    [4] The Delaware Boards of Canvass convene at 10:00 a.m. on the Thursday immediately following the
    federal general election.
    [5] The District of Colombia included the November 24 date in a public calendar as a tentative date for
    certifying results rather than a set deadline.




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[6] Florida specified that the state Elections Canvassing Commission meets at 9:00 a.m. on the ninth day
after a primary election and at 9:00 a.m. on the 14th day after a general election to certify the election. For
the November 3, 2020, federal general election, the deadline for jurisdictions to certify their results to the
state fell on November 15, 2020.
[7] Georgia reported that “In Georgia precincts where paper or scanning ballots have been used, the
superintendent may, either of their own motion or upon petition of any candidate or political party, order a
recount of ballots for a particular precinct for one or more offices in which it appears an error has been
made. In precincts where voting machines were used, if there appears to be a discrepancy or error in the
returns recorded for any voting machine, the superintendent may, either of their own motion or upon
sworn petition of three electors of any precinct, order a recanvass of the votes shown on that particular
machine or machines. This recanvass may be conducted at any time prior to the certification of the
consolidated returns by the superintendent.”
[8] Guam reported that the certification deadline was a tentative date. The Guam Election Commission
(GEC) cannot certify a general election until all administrative complaints received within 15 days after the
election have been addressed.
[9] Hawaii explained that there is no set deadline for certifying election results. If there are no election
contests filed with the Supreme Court within 20 days of the election, the results will be certified.
[10] Idaho reported that the county board of canvassers must certify results within 10 days of the general
election, prior to the state board of canvassers meeting within 15 days of the general election. Idaho
reported that a person supporting or opposing a state, jurisdiction, or city measure may request an
election recount.
[11] The Indiana Election Division (IED) tabulates final results for all federal, statewide, state legislative,
and judicial offices and completes that tabulation no later than the last Tuesday of November (i.e.,
November 24, 2020). The Secretary of State certifies results immediately after receiving IED’s tabulation.
For presidential electors, the Secretary of State’s part of the 2020 Indiana Election Commission would be
signed by that date. Since the governor is required to issue commissions to each presidential elector by
noon on the first Tuesday of December (i.e., December 1, 2020), and in order to issue those commissions
the governor must certify his part of the 2020 Indiana Election Commission certificate of ascertainment,
the certification of the presidential election results and Indiana electors also occurs on the first Tuesday of
December. Indiana reported that a candidate’s political party chair (state chair for federal and statewide
candidates or county chair for a state legislative candidate from any jurisdiction where the legislative
district is located) may file a recount if the candidate does not file the recount by the candidate recount
filing deadline.
[12] Kansas county board of canvassers can request a recount within their jurisdictions of any race if there
are manifest errors.
[13] Louisiana reported that election results are final after compilation and promulgation by the Secretary
of State. Louisiana voters that voted in the proposition election may request a recount if the number of
absentee and early ballots would make a difference in the outcome of the proposition election. Louisiana
does not statutorily require audits, but they are conducted in every parish.
[14] Maine reported that the Secretary of State must submit the official tabulation to the governor by the
20th day after the election.
[15] Massachusetts local election officials must certify their election results and transmit to the Secretary
of the Commonwealth within 15 days after the election. Thereafter, the Secretary of the Commonwealth
tabulates the totals and presents them to the governor and the council for certification. Any registered
Massachusetts voter can petition for a recount of ballot questions.
[16] Michigan specified that recounts are conducted automatically if the statewide vote margin is less than
2,000 votes. Candidates can request a recount regardless of the margin. Groups may request a recount of
ballot proposals. The voted ballots in at least one statewide contest must be reviewed as part of an audit



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   (MCL 168.31a[2]). Separate audit procedures are used to complete both a traditional tabulation audit and
   a risk-limiting audit. Precincts are randomly selected for audit and all ballots for one statewide race were
   hand counted and compared to the tabulator totals to complete a traditional tabulation audit. Additionally,
   ballots for a statewide race are randomly selected from ballot containers statewide using a risk-limiting
   audit formula, and ballots were reviewed and compared to statewide totals.
   [17] Minnesota did not specify the other person or group who may request a recount of votes.
   [18] Nebraska specified that if there is a state-level recount, it would be conducted on December 2, 2020,
   at 9:00 a.m.
   [19] In Nevada, any person or group was able to request a recount of a ballot question by November 18,
   2020.
   [20] New Hampshire specified that its certification dates vary depending on the office. For presidential
   electors, United States senators, representatives in Congress, state senators, and state representatives,
   the deadline was December 2, 2020. For governor, executive council, and county officers, the deadline
   was January 6, 2021.
   [21] North Carolina specified that their reported date is barring recounts and/or protests in individual
   races.
   [22] North Dakota specified that a defeated candidate or 10 qualified electors may contest the nomination
   or election of any person or the approval or rejection of any question or proposition submitted to a vote of
   the electorate, pursuant to chapters 16.1-04, 16.1-05, 16.1-06, 16.1-07, 16.1-08.1, 16.1-09, 16.1-10,
   and 16.1-11.
   [23] Ohio specified that issue groups may request an election recount.
   [24] The Oklahoma County Election Boards certify final election results in their jurisdictions at 5:00 p.m. on
   the Friday following the general election. In 2020, that was 5:00 p.m. on November 6. The State Election
   Board certifies final statewide results at 5:00 p.m. on the Tuesday following the general election. In 2020,
   that was 5:00 p.m. on November 10. The secretary of the state election board shall have the authority to
   direct the secretary of a county election board to conduct a post-election audit of election results, for the
   purpose of maintaining the security of the election system by ensuring that voting devices and software
   used in a particular election correctly tabulated votes.
   [25] Oregon reported that any voter can request a recount on a measure. The county clerk may also
   request a recount of a candidate contest or measure.
   [26] Pennsylvania reported that the November 23, 2020, certification deadline was imposed on
   jurisdiction officials and not on the Secretary of the Commonwealth. Pennsylvania reported that a group of
   voters may request a recount of specific precincts.
   [27] The Puerto Rico Electoral Code does not establish a certain date for certification. However, it does
   establish partial result certification for the next day. If an election does not require a recount, the winner
   can be certified by the Puerto Rico State Election Commission.
   [28] Rhode Island does not have a specified certification deadline but certified all elections, with the
   exception of three local races that were awaiting write-in ballots to be tallied on November 20, 2020.
   [29] South Carolina reported that post-election hand count audits are required by State Election
   Commission mandate.
   [30] Tennessee’s reported deadline applies to the certification of election results by county election
   commissions. There is no specified deadline for the state to certify results.
   [31] The Texas governor’s canvass must be performed between 18 and 33 days after the election.
   [32] The Virginia State Board of Elections meets on the third Monday in November as required by state
   law.
   [33] In Washington, in addition to the mandatory recounts, if a contest is within a specified margin, a
   group of five or more voters may request a recount for an issue or question.




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[34] Wisconsin law permits a recount within specified margins and by a qualified party who makes a
request, or when ordered by a court of law.
[35] The Wyoming State Canvassing Board meeting was set at 10:00 a.m. on November 10, 2020.
Wyoming reported that the post-election tabulation uses the same sample ballots used for the logic and
accuracy testing before the election. The county clerk conducts a random audit of ballots by processing the
pre-audited group of test ballots on 5% of the automated tabulating equipment for that jurisdiction, but on
not less than one machine, within 30 days of any election in which the tabulating equipment was used.




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Chapter 3. Voter Registration: The
NVRA and Beyond
Key Findings
The Election Administration and Voting Survey (EAVS) collected data on voter registration between
the 2018 and the 2020 general elections in Section A of the survey. Election officials were asked a
variety of questions relating to registration and list maintenance, including the number of persons
registered and eligible to vote in the 2020 general election, the number of registration forms
processed, the number of confirmation notices sent pursuant to the National Voter Registration Act
(NVRA) and for other purposes, and the number of records removed from the voter registration rolls.
Notable findings from Section A of the 2020 EAVS include:

   • The number of registrations received between the 2018 and the 2020 general elections
     reached 103,701,513, a 33.8% increase in registrations received compared to the period
     leading to the 2016 general election.
   • The states’ departments of motor vehicles (DMV) were once again the most commonly used
     registration source and accounted for 39.3% of the total registrations received between the
     2018 and the 2020 general elections.
   • Online registration continued to be the second-most used registration method, accounting for
     28.2% of the total registrations received, and it was the registration method with the largest
     growth in the two-year period leading to the 2020 general election.
   • The total number of reported active registrants reached 209,441,338 nationwide. The total
     number of active registrations for the 2020 general election increased 8.3% compared to the
     2016 general election.
   • States reported removing 18,781,054 voter records from voter registration rolls between the
     2018 and the 2020 general elections. More than half of these removals occurred because a
     registrant failed to return a confirmation notice and did not vote in the following two general
     elections, or because the registrant moved out of the voting jurisdiction.

Introduction
Voter registration is required in 49 states, 1 all of the U.S. territories, and the District of Columbia,
making registration the first step toward election participation for most voters. 2 Registration serves
multiple purposes: It allows election officials to confirm if a person is eligible to vote; permits officials
to efficiently allocate resources such as ballots, poll workers, and voting equipment, depending on


1 Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 50 U.S. states, the

District of Columbia, and five U.S. territories (American Samoa, Guam, the Northern Mariana Islands, Puerto Rico, and the
U.S. Virgin Islands) that submit Election Administration Policy Survey and EAVS data.
2 North Dakota is the only state that does not require voter registration.




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the number of registrants per precinct and jurisdiction; 3 and allows the tracking of voter
participation.

Congress passed the NVRA in 1993 to “establish procedures that will increase the number of eligible
citizens who register to vote in elections for federal office.” 4 This act, commonly known as the “Motor
Voter Law,” requires that states offer the opportunity to register to vote at their motor vehicle
licensing offices (known as the DMV in many states). The law also requires states to offer voter
registration at offices that provide public assistance or state-funded programs that primarily engage
in providing services to persons with disabilities, and at armed services recruitment offices. The
NVRA also provides guidelines on registration list maintenance and sets limits on how voters can be
removed from the rolls. 5

The Help America Vote Act (HAVA) of 2002 charged the U.S. Election Assistance Commission (EAC)
with collecting data on voter registration and list maintenance procedures. The EAC meets its
statutory requirement to report to Congress on the impact of the NVRA via Section A of the EAVS. 6
This chapter of the EAVS report not only fulfills this requirement, but also provides insight about the
changes in the registration behaviors of Americans in federal general elections and about the
changes in the state policies affecting the registration process.

Federal Laws Regulating Voter Registration
The National Voter Registration Act of 1993
The NVRA is the primary federal law governing voter registration in the United States. In this law,
Congress provides a clear statement regarding the importance of voter registration:

         (1) the right of citizens of the United States to vote is a fundamental right;

         (2) it is the duty of the Federal, State, and local governments to promote the exercise of that
         right; and




3 What constitutes a jurisdiction for EAVS reporting is defined by how each state chose to provide data. For the 2020 EAVS,

most states reported data on the county level (or county equivalent, such as parishes for Louisiana). Illinois, Maryland,
Missouri, and Virginia reported data for independent cities in addition to counties. The territories, the District of Columbia,
and Alaska each reported as a single jurisdiction. Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island,
Vermont, and Wisconsin reported data on the township level. Maine also reported its UOCAVA data in Section B as a
separate jurisdiction, because this information was only collected at the state level. Michigan reported data for the county
level, but most election administration activities take place in the 1,520 local election jurisdictions in the state.
4 52 U.S.C. § 20501.
5 This report generally uses the term “voter registration rolls” to refer to the computerized databases of registered voters

that are maintained by states and localities. Other common terms for these databases include “voter registration lists” and
“voter registration records.”
6 Before 2016, the EAC administered a separate survey called the NVRA Survey, which collected similar information. This

survey was consolidated with the EAVS for the 2016 general election. Before the creation of the EAC, the NVRA Survey was
administered by the Federal Election Commission.



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         (3) discriminatory and unfair registration laws and procedures can have a direct and
         damaging effect on voter participation in elections for Federal office and disproportionately
         harm voter participation by various groups, including racial minorities. 7

The primary purposes of the NVRA are:

         (1) to establish procedures that will increase the number of eligible citizens who register to
         vote in elections for Federal office;

         (2) to make it possible for Federal, State, and local governments to implement this Act
         [NVRA] in a manner that enhances the participation of eligible citizens as voters in elections
         for Federal office;

         (3) to protect the integrity of the electoral process; and

         (4) to ensure that accurate and current voter registration rolls are maintained. 8

The NVRA’s first purpose is to expand opportunities for voters to register by creating more uniform
processes for voter registration and designating more places and methods to register to vote. The
NVRA requires that states allow multiple methods and places to register to vote, including (1) motor
vehicle departments when a person obtains, renews, or updates the address on their driver’s
license; (2) through the mail, using a standard registration form; 9 (3) at all state offices providing
public assistance (e.g., the Supplemental Nutrition Assistance Program [SNAP]); (4) at all offices that
provide state-funded programs focused on services to people with disabilities; (5) at armed forces
recruitment offices; and (6) at other state designated offices such as public libraries and local
government offices. All these offices are mandated under the NVRA to provide their users with
information on voter registration and assistance in the registration process when required.


   The NVRA was fully implemented after the 1994 general election. Several states are not covered by the
   NVRA. North Dakota is exempt because it does not have voter registration. The U.S. territories are also
   not subject to the NVRA, and the states of Idaho, Minnesota, New Hampshire, Wisconsin, and Wyoming
   are exempt because they had same-day registration (SDR) in 1994 and have continued to make this
   option available uninterrupted since that time.



The NVRA also sets some fundamental guidelines that states must follow. For example, states may
set their own deadline for citizens to register to vote in a general election for federal offices, but that
deadline can never be more than 30 days before the date of the election. The NVRA also sets the




7 52 U.S.C. § 20501
8 52 U.S.C. § 20507
9 States can make available the standard National Mail Voter Registration Form provided by the EAC

(https://www.eac.gov/voters/national-mail-voter-registration-form) or their own version of a mail registration form following
the NVRA’s requirements.



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process that states need to follow to maintain their voter registration rolls and to conduct removal
processes.

Help America Vote Act of 2002 (HAVA)
HAVA was enacted with the goal of updating the voting administration system in the United States
and creating a commission to assist in the administration of federal elections. In addition to
legislating the update of the administration process for federal elections in the United States, HAVA
mandates that states create and maintain a “computerized statewide voter registration list” that
serves as “the official voter registration list for the conduct of all elections for Federal office in the
State.” 10 The computerized registration list must be centralized and “defined, maintained and
administered at the State level.” 11 However, although the registration list is administered at the state
level, local election officials must be able to access the registration list and are required to enter any
updated voter registration information in the computerized system. HAVA also specifies that the
maintenance of the implemented computerized registration list will be carried out according to the
NVRA’s mandates and that duplicate names or registrations will be removed from the state’s
registration list.

State Voter Registration Policies
States have wide latitude on how to conduct their voter registration activities, as long as the state
policies do not interfere with federal laws such as the NVRA and HAVA. This flexibility allows states to
adapt their laws as they see appropriate to better serve the interests of their citizens. During the
period between the 2018 and the 2020 general elections, a number of states changed their laws
regarding voter registration, such as implementing online voter registration, allowing voters to
register at the polls on Election Day, or implementing automatic registration. 12

These types of laws usually take years between when they are first proposed and when they are fully
implemented. However, states can make short-term changes to their registration policies with the
aim of addressing unforeseen circumstances. For example, the state of Massachusetts changed its
registration deadline to allow its citizens an additional 10 days to register given the extraordinary
circumstances caused by the COVID-19 pandemic. 13 Additionally, some states briefly extended their
registration deadlines due to issues with their online registration sites that made it impossible to
register to vote in the hours before the end of the registration period—these issues were in some
cases caused by an unprecedented volume of attempted visits. 14


10 52 U.S.C. § 21083
11 Ibid.
12 These registration policies will be covered in more detail in the following section of this chapter. More information on

state’s voting and registration policies can be found in Chapter 2 of this report.
13 Elections Division of the Secretary of the Commonwealth of Massachusetts. (2020, September 23). Important Elections

Updates. https://www.sec.state.ma.us/ele/covid-19/covid-19.htm.
14 For example, Florida extended the deadline from October 5 to October 6, 2020, for a web malfunction before the

deadline (https://dos.myflorida.com/communications/press-releases/2020/public-notice-secretary-of-state-laurel-m-lee-
provides-update-about-voter-registration-in-florida/), and a federal court extended Virginia’s registration deadline from
October 13 to October 15, 2020, because of an accidentally severed fiber optic cable that disabled the Department of
Elections’ website hours before the registration deadline (https://www.elections.virginia.gov/news-releases/virginia-voter-
registration-deadline-extended-by-federal-court.html).



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The Registration Process
The typical voter registration process is depicted in Figure 1. Citizens in the United States can
register to vote using different methods, some of them mandated by federal law and others offered
at the discretion of the state. Once a registration form is completed and submitted, the state or local
election office must confirm the eligibility of the applicant. Eligible applicants are added to the voter
registration rolls and are notified of their registration status, whereas applicants who submitted
ineligible or incomplete applications are contacted for further information to complete their
applications.


                                    Figure 1. The Voter Registration Process




Note: Figure 1 does not represent automatic registration, in which the voter does not submit a registration application.




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Voter registration also serves to assign each voter to a precinct—a bounded geographic area to which
voters are assigned according to their residential address as listed in their voter registration record—
so that voters receive the correct ballot. The voter registration system tracks each voter’s electoral
participation so that an individual can be given credit for voting in an election, which helps ensure
each person casts only one ballot per election.

Every person with a valid registration is considered an active, registered voter. However, at times, a
question arises as to whether a person still resides at the address at which they are registered. The
election official may receive notification via the U.S. Postal Service national change of address from
the voter of a new resident address. In these situations, the state or local election office may send
the registrant a confirmation of address notice. In many states, if the person fails to return the form
or the form is returned to the election office as undeliverable, the person is placed on a list of
inactive voters. Inactive voters are still part of the voter registration rolls and are included in the
registration totals in most jurisdictions. 15 However, before they can vote, inactive voters are typically
required to show approved documentation of their eligibility (most commonly, proof of living at an
address within the voting jurisdiction). In some cases, inactive voters may be required to cast a
provisional ballot when their eligibility cannot be established at the polls.

The NVRA also requires states to maintain their voter registration rolls by removing registrants who
are no longer eligible to vote. For example, the NVRA provides that if a registrant fails to return a
confirmation notice and does not vote in two subsequent federal general elections, the registrant
can be removed from the voter registration roll of the jurisdiction that sent the confirmation notice. In
addition, a registrant can be removed for other reasons such as death, upon the registrant’s request,
or due to a disqualifying criminal conviction or mental incompetence, as provided by a state’s laws.
This process is referred to as “list maintenance.” When an individual is removed from the voter
registration roll because of a change in residence of the voter under the NVRA process, this is called
“address list maintenance.” Election offices may share data with other state agencies or entities that
maintain death records or felony and prison records for the purposes of identifying potentially
ineligible voters. 16

How Americans Registered to Vote for the 2020 General Election
Between the close of registration for the 2018 general election and the close of registration for the
2020 general election, states and territories reported receiving a record 103,701,513 registration
applications—26,184,917 more applications than were received in the same period leading up to the
2016 general election. 17 The most used method of registration was the motor vehicle departments,
which accounted for 39.3% of the total registrations received (39,705,812 registration



15 According to the 2020 Policy Survey, six states (Guam, Idaho, North Dakota, New Hampshire, the U.S. Virgin Islands, and

Wyoming) reported that they do not distinguish between active and inactive voters in their registration records. In the
survey comments in the EAVS, Oregon reported, “Do not track number of inactive voters,” and Minnesota stated,
“Minnesota is NVRA exempt. Minnesota does not classify voters as inactive per NVRA.”
16 More information about state policies on voter registration database linkages is found in Chapter 2 of this report.
17 The total number of registration applications received during the two-year period leading to a federal general election

was reported in item A3a in the 2020 EAVS and item A5a in the 2016 EAVS.



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applications). 18 Registration by mail accounted for 12.9%, in-person registration accounted for 8.3%,
and online registration accounted for 28.2% of the total registration applications. 19 The rest of the
registration applications that were received during this period were from sources such as registration
drives (2.2%), public assistance offices (1.6%), and armed forces recruiting offices (0.1%) among
other sources. 20

The primary sources of registration have remained fairly consistent throughout multiple elections.
For instance, motor vehicle departments have been the most common source of voter registration
for over a decade, accounting for more than 30% of the received registrations since at least 2006. 21
Figure 2 shows that other sources for filing registration applications, such as in person at election
offices, by mail/fax/email, and other means (e.g., public assistance offices, registration drives), were
used at very similar rates as for the 2018 general election.

Online registration has been the second-most popular registration mode since 2016 and accounted
for a proportionately larger share of registration applications for the 2020 general election. In 2020,
online applications increased 12.1 percentage points compared to the registration period leading to




18 The percentage of registrations received by the motor vehicle department was calculated by dividing the number of

registration applications received at motor vehicle departments (item A4d of the EAVS) by the total number of registration
applications received (item A3a of the EAVS). American Samoa, Idaho, New Hampshire, North Dakota, the Northern
Mariana Islands, Puerto Rico, Rhode Island, the U.S. Virgin Islands, Wisconsin, and Wyoming were not included in the
calculation because they did not report data on item A4d. Casewise deletion at the state level was used in this calculation.
19 The percentage of registrations received by mail, in person, and online used items A4a, A4b, and A4c of the EAVS

respectively, and were divided by the total number of registration applications received (item A3a of the EAVS). Guam,
North Dakota, Puerto Rico, Rhode Island, and the U.S. Virgin Islands were not included in the calculation of the percentage
of registrations received by mail because they did not report data on item A4a. North Dakota and Rhode Island were not
included in the calculation of the percentage of registrations received in person because they did not report data on item
A4b. American Samoa, Arkansas, Maine, Mississippi, Montana, New Hampshire, New York, North Dakota, the Northern
Mariana Islands, Puerto Rico, Rhode Island, South Dakota, the U.S. Virgin Islands, and Wyoming were not included in the
calculation of the percentage of registrations received online because they did not report data on item A4c. Casewise
deletion at the state level was used in these calculations.
20 The percentage of registrations received from registration drives, public assistance offices, and armed forces recruiting

offices used items A4i, A4e, and A4g of the EAVS respectively, and were divided by the total number of registration
applications received (item A3a of the EAVS). American Samoa, Georgia, Guam, Louisiana, Maryland, Massachusetts,
Mississippi, Missouri, Nebraska, New Hampshire, New Jersey, North Dakota, the Northern Mariana Islands, Oklahoma,
Oregon, Puerto Rico, Rhode Island, South Carolina, Tennessee, the U.S. Virgin Islands, West Virginia, and Wyoming were not
included in the calculation of the percentage of registrations received from registration drives because they did not report
data on item A4i. American Samoa, Guam, Idaho, Maine, Minnesota, New Hampshire, North Dakota, the Northern Mariana
Islands, Puerto Rico, Rhode Island, the U.S. Virgin Islands, Vermont, West Virginia, Wisconsin, and Wyoming were not
included in the calculation of the percentage of registrations received at public assistance offices because they did not
report data on item A4e. American Samoa, Guam, Hawaii, Idaho, Maine, Massachusetts, Minnesota, Mississippi, New
Hampshire, New York, North Dakota, the Northern Mariana Islands, Oregon, Puerto Rico, Rhode Island, the U.S. Virgin
Islands, Vermont, West Virginia, Wisconsin, and Wyoming were not included in the calculation of the percentage of
registrations received at armed forces recruiting offices because they did not report data on item A4g. Casewise deletion at
the state level was used in these calculations. The instructions for this question noted that registration applications should
be classified according to the mode used to submit it. For example, if the voter submits a registration form online using the
state’s online voter registration portal, this is considered an online voter registration. If the voter accessed the online voter
registration system at a state public assistance office or at the office of an agency that primarily serves individuals with
disabilities, this would also be considered an online registration.
21 The EAC’s National Voter Registration Act Studies, which contain information on voter registration activities prior to 2016

when this information began being included in the EAVS Comprehensive Report, can be found at https://www.eac.gov/
voters/national-voter-registration-act-studies.



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 Figure 2. Motor Vehicle Departments Are the Most Common Source of Registration Applications




Source: The percentage of registrations received at motor vehicle departments was calculated as A4d/A3a x 100 for the
2018 and the 2020 EAVS and A6d/A5a x 100 for the 2016 EAVS. The percentage of registrations received online was
calculated as A4c/A3a x 100 for the 2018 and the 2020 EAVS and A6c/A5a x 100 for the 2016 EAVS. The percentage of
registrations received by mail/fax/email was calculated as A4a/A3a x 100 for the 2018 and the 2020 EAVS and A6a/A5a
x 100 for the 2016 EAVS. The percentage of registrations received in person was calculated as A4b/A3a x 100 for the
2018 and the 2020 EAVS and A6b/A5a x 100 for the 2016 EAVS. The percentage of registrations received by other
means was calculated as (A4e+A4f+A4g+A4h+A4i+A4j+A4k+A4l)/A3a x 100 for the 2018 and the 2020 EAVS and
(A6e+A6f+A6g+A6h+A6i+A6j+A6k+A6l+A6m+A6n+A6o)/A5a x 100 for the 2016 EAVS. Casewise deletion was used at
the state level in these calculations.



the 2018 general election and was the registration source with the largest growth. Some of this
growth in online registration applications could have been because of the effects of the COVID-19
pandemic, as many of the typical in-person modes of registration were restricted starting in March
2020. The percentages of registrations received at motor vehicle departments and in person at
election offices saw small decreases from 2018 to 2020.




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Another explanation for the growth in the use of online registration between 2018 and 2020 is that
three states (Minnesota, New Jersey, and Oklahoma) began to offer online registration. 22 This
resulted in a total of 43 states that allowed voters to submit new registration applications online for
the 2020 general election. 23 These registrations are typically reviewed electronically, and data from
other state databases are used to verify a person’s identity, address, and eligibility. Most of the
states (81.4%) using online registration reported that applicants must have a driver’s license issued
by the state to register online. 24 Two more states (Mississippi and Texas) reported that they allow
voters to update their registration records online, but voters may not submit new registration
applications online.

States reported receiving 27,681,700 online registrations during the 2018–2020 registration
period. 25 Nineteen states reported receiving more than 30% of their registrations online in 2020 (see
Table 2 of the Appendix). Among states that reported receiving online registrations in 2018 and
2020, only Iowa and Connecticut reported a decrease in the percentage of their registrations
received online (a 5.2- and 3.6-percentage-point decrease, respectively), and 26 states reported an
increase of 10 percentage points or more. 26 As in 2018, Massachusetts (67.4%) was the state with
the highest percentage of online registrations. 27 The first state to implement online registration,
Arizona, also remained among the states with the highest levels of registrations received online
(45.2%).

Same-Day Voter Registration
Same-day registration (SDR) allows voters to register to vote and cast their ballot on the same day.
SDR can be offered on Election Day, in which case it may be referred to as Election Day registration,
or it can be offered during in-person early voting. 28 SDR depends on local laws and, thus, is only
allowed in some states and territories. Some states reported allowing SDR in narrow circumstances,
such as only for particular elections (e.g., Alaska and Rhode Island reported only allowing SDR for
voting for the U.S. President and Vice President) or particular cases (e.g., North Carolina reported

22 Information was collected from responses to items Q7 in the 2020 Policy Survey and Q6 in the 2018 Policy Survey. The

states of Minnesota, New Jersey, and Oklahoma reported using online registration for the 2020 general election, but not in
2018. Mississippi and Texas reported offering an online option only to update registrations and did not report any online
registration in item A4c of the EAVS.
23 More information about state policies on online registration is found in Chapter 2 of this report.
24 The percentage of states requiring a driver’s license or other ID issued by the state to register to vote used item Q7a in

the 2020 Policy Survey and was calculated by dividing the number of states that require a state-issued ID by the total
number of states that reported allowing individuals to register to vote online in Q7 of the 2020 Policy Survey.
25 The total number of online registration applications received during the two-year period leading to a federal general

election was reported in item A4c in the 2020 EAVS.
26 The percentage of registrations received online in 2020 used item A4c of the 2020 EAVS divided by the total number of

registration applications received (item A3a of the 2020 EAVS). The calculation of online registrations received in 2018
used the same item number from the 2018 EAVS data set. The comparison subtracted the percentage of registrations
received online in 2020 from the percentage of registrations received online in 2018 to obtain the percentage point
difference. Texas was not included among the states that received online registrations in 2018 and 2020, because they
reported zero as the response for A4c in all of the counties.
27 Illinois reported 96.4% of online registrations but was omitted here, because it reported more than twice as many

registrations in the categories’ breakdown than were reported in the item reporting total registrations received (A3a).
28 Some states may have an overlap between their mail voting period and the close of their voter registration, during which

it is possible for a person to register on the same day that they cast a mailed ballot; however, this is not considered SDR for
purposes of the EAVS, and many states have noted in the past that it is not possible to track the number of mail voters who
register to vote on the same day that they cast their mailed ballot.



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allowing SDR to citizens who became eligible to vote due to naturalization or who had their voting
rights restored after a conviction or felony and only if they became eligible between the close of
books and Election Day).

In 2020, 29 states reported allowing some form of SDR. Twenty-one states reported allowing voters
to register to vote on Election Day. Twelve states reported allowing SDR during an overlap between
the start of early voting and the close of voter registration, 20 states reported allowing for SDR
during in-person early voting, and four states reported allowing for SDR in very specific cases. 29 The
states that indicated allowing SDR were mostly the same as in 2018, with the exception of South
Carolina, which allowed SDR for the 2018 general election but not in 2020, and American Samoa,
Massachusetts, Michigan, and Nevada, which did not allow for SDR in 2018 but did for the 2020
general election. 30

The total number of SDRs recorded in 2020 was 1,634,346 and accounted for 3.5% of the total
registrations received among states allowing for SDR. 31 For the first time, the 2020 EAVS asked
states to break down SDRs between those that were received before and on Election Day. Election
Day SDRs added up to 934,238, and early voting SDRs summed to 665,108 registrations. 32 There
was a wide variability in how the two types of SDRs were distributed among states that reported
both, with Election Day SDRs accounting for between 5.9% and 100% of the total SDRs that states
reported. 33

The use of SDR varied considerably, and similar to previous elections, the five NVRA-exempt states—
which gained NVRA exemption for allowing SDR continuously since 1994 34—were among the states
where SDR accounted for the largest percentages of registration applications. In Wyoming, 55.6% of
the registration applications were SDR, followed by Idaho with 40.7% and Wisconsin with 30.4%. 35
The NVRA states where SDR accounted for the largest portions of their registration applications
received were Vermont (24.4%) and Maine (24%). However, for most of the NVRA states, SDR
accounted for less than 5% of registration applications.




29 These results were obtained from item Q9a of the 2020 Policy Survey. More information about state policies on SDR is

found in Chapter 2 of this report.
30 These results were obtained from item Q9 of the 2020 Policy Survey and item Q7 of the 2018 Policy Survey.
31 The total number of SDR applications received during the two-year period leading to a federal general election was

reported in item A2a in the 2020 EAVS. The percentage of registrations received that were SDRs was calculated by dividing
the number of SDRs received (item A2a of the EAVS) by the total number of registration applications received (item A3a of
the EAVS). The total and percentage correspond to the 26 states that reported allowing SDR and reported data for it. Guam
and Massachusetts, which allow for some form of SDR, reported “Data not available” for this field. American Samoa
reported zero total SDRs. Casewise deletion at the state level was used in this calculation.
32 The total number of Election Day SDRs was reported in item A2b in the 2020 EAVS, and the total number of early voting

SDRs was reported in item A2c in the 2020 EAVS. The sum of Election Day SDRs and early voting SDRs does not add up to
the total SDRs reported because some states either did not break down SDR by type (Alaska) or their submissions in A2b
and A2c did not sum to A2a (California, Illinois, and Utah).
33 The percentage of SDRs that were Election Day SDRs was calculated by dividing the number of Election Day SDR

applications received (item A2b of the EAVS) by the total number of SDR applications received (item A2a of the EAVS).
34 North Dakota is also NVRA exempt because it does not require voter registration, and the U.S. territories are also NVRA

exempt.
35 The percentage of registration applications that were SDRs was calculated by dividing the number of SDR applications

received (item A2a of the EAVS) by the total number of registration applications received (item A3a of EAVS).



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Automatic Voter Registration
Beginning in 2016, states started implementing laws allowing for automatic voter registration (AVR).
These laws allow for non-registered persons to be added to the voter registration rolls during or after
an interaction with a designated state agency, such as the motor vehicle department, unless the
person specifically declines to be registered. The most common differences between the types of
AVR policies were the point at which the individual must decline or “opt out” of being registered—
either at the point of service or at a later time through a mailer sent to the individual—and which
state agencies participate in the AVR program.

In 2016, Oregon was the first state to implement AVR at the state level. Since then, 23 states have
also started using some form of AVR. 36 For the most part, states reported that individuals must opt
out of AVR at the point of service. A very common example is that a person is provided the
opportunity to register to vote while completing a transaction at their local motor vehicle department
and is asked to provide a response of “yes” or “no” to be able to continue with the voter registration
transaction. Only the states of Colorado and Oregon reported not asking individuals during their
transactions and later requiring that they actively respond to a mailer if they do not want to be
included in the voter registration rolls. 37 All states that reported allowing AVR did so at least through
the state’s motor vehicle department, with nine states reporting additional agencies (e.g., agencies
for people with disabilities, public assistance offices) participating in the AVR program in their
state. 38

The EAVS does not include any questions about the number of AVRs processed by states. However,
the EAVS data show an increase in registrations submitted through motor vehicle departments
(which data from the 2020 Policy Survey show is the most common state agency that processes
AVRs) between 2016 and 2020. Although the increase of 14.3 million voter registrations processed
through the motor vehicle department in this time span is likely the result of multiple factors, AVR
may be one of them. 39 When comparing the change in motor vehicle department registrations
recorded between 2016 and 2020 among states with and without AVR, states with AVR reported an
increase of 80% in the number of registrations received at the motor vehicle department, whereas
states without AVR reported a 10.1% increase. 40 These increases may be, in part, driven by the fact
that there was a 33.8% increase in the total number of registrations received between 2016 and



36 The number of states with AVR was obtained through item Q6 in the Policy Survey. More information about states with

AVR is found in Chapter 2 of this report.
37 Information on the point at which the individual has the opportunity to opt out of AVR was obtained through item Q6b in

the Policy Survey.
38 Information on state agencies participating in the AVR program for each state was obtained through item Q6a in the

Policy Survey.
39 Total registrations received at motor vehicle departments was obtained through items A4d in the 2020 EAVS and A6d in

the 2016 EAVS.
40 The percentage change in total number of registrations received at the motor vehicle department between 2016 and

2020 was calculated by dividing the number of registration applications received at the motor vehicle department in 2020
(item A4d of the 2020 EAVS) by the number of registration applications received at the motor vehicle department in 2016
(item A6d of the 2016 EAVS) for states that did and did not allow for AVR as reported in item Q6 of the Policy Survey.
Classification of states as having AVR and not having AVR used item Q6 of the 2020 Policy Survey. Casewise deletion at the
state level was used in this calculation.



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2020. 41 However, the trend of AVR states having an increase in motor vehicle department
registration holds when comparing the percentage of registration applications received through
motor vehicle departments in states with and without AVR for the 2016 and 2020 elections. Figure 3
shows that among states without AVR, motor vehicle department registrations accounted for a
similar portion of the total registrations in 2016 and 2020. There has been a notable increase
among the states that have implemented AVR in recent years.


     Figure 3. Motor Vehicle Department Registrations Accounted for a Larger Portion of Total
                              Registrations Received in AVR States




Source: The percentage of registrations received at motor vehicle departments was calculated as A4d/A3a x 100 for the
2020 EAVS and A6d/A5a x 100 for the 2016 EAVS. Classification of states as having AVR and not having AVR used item
Q6 of the 2020 Policy Survey. Casewise deletion at the state level was used in this calculation.



Alaska is the only state that reported AVRs as a separate category in its EAVS data, as this state
processes most of its AVRs through the Permanent Fund Dividend program. Alaska reported in its

41 The percentage change in the total number of registrations received between 2016 and 2020 was calculated by dividing

the number of registration applications received in 2020 (item A3a of the 2020 EAVS) by the number of registration
applications received in 2016 (item A5a of the 2016 EAVS). North Dakota was not included in this calculation because it
does not have voter registration. American Samoa and the Northern Mariana Islands were not included in this calculation
because they did not complete the 2016 EAVS. Casewise deletion at the state level was used in this calculation.



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survey comments that in 2016, the state approved a ballot initiative requiring AVR through the
Permanent Fund Dividend. Since the implementation of the initiative, the total number of registration
applications that the state reported receiving increased from 259,227 in 2016 to 1,079,008 in
2020. 42 AVRs through the Permanent Fund Dividend program accounted for 68.1% of Alaska’s total
registrations in 2020 and 59.8% in 2018. 43

Other Modes of Registration
In addition to in-person, online, mail/fax/email, and motor vehicle department registrations, states
reported data on registration applications received from other sources, which in 2020 accounted for
12.9% of the applications received at the national level. 44 Some of these modes of registration are
NVRA mandated, such as registrations through armed forces recruitment offices, public assistance
offices, and state-funded agencies serving persons with disabilities. These NVRA-mandated modes
of registration accounted for 1.8% of the national registrations in 2020. 45 States also reported
registrations completed through other modes that are not required by the NVRA and that are
authorized at the discretion of the state, such as at registration drives (2.2%) and other agencies
required by the state (3%). 46

Voter Registration Rates for the 2020 General Election
The NVRA requires each state to report its total number of registered and eligible, active, and
inactive registrants for each federal general election. 47 Most states reported the total “registered
and eligible” voters as the sum of active and inactive registrants. However, data on registered and
eligible voters as reported in the EAVS should be used with caution, as these totals can include
registrants who were no longer eligible to vote in that state but who had not been removed from the
voter registration rolls because the removal process from the inactive list laid out by the NVRA can
take up to two election cycles to be completed. 48 In addition, preliminary data from the 2020 U.S.

42 The number of total registrations received was obtained from item A3a in the 2020 EAVS and from item A5a in the 2016

EAVS.
43 Alaska reported data on the number of registrations received through the Permanent Fund Dividend program in item A4j

of the 2020 and 2018 EAVS. The percentage of the total registrations that were processed through the Permanent Fund
Dividend program was calculated by dividing the number of the program registration applications (item A4j for Alaska in the
2020 and the 2018 EAVS) by Alaska’s total registrations received (item A3a in the 2020 and the 2018 EAVS).
44 The percentage of registrations received by other sources different than in person, online, mail/fax/email, and the motor

vehicle department was calculated as (A4e+A4f+A4g+A4h+A4i+A4j+A4k+A4l)/A3a x 100 for the 2020 EAVS. Casewise
deletion was used at the state level in these calculations.
45 The percentage of registrations received from NVRA-mandated sources different than in person, mail/fax/email, and the

motor vehicle department was calculated as (A4e+A4f+A4g)/A3a x 100 for the 2020 EAVS. Casewise deletion was used at
the state level in these calculations.
46 The percentage of registrations received from registration drives and from state agencies not mandated by the NVRA

used items A4i and A4h of the 2020 EAVS, respectively, and were divided by the total number of registration applications
received (item A3a of the EAVS). Casewise deletion at the state level was used in these calculations.
47 Twelve states (American Samoa, Guam, Idaho, Minnesota, New Hampshire, the Northern Mariana Islands, Ohio, Oregon,

Puerto Rico, the U.S. Virgin Islands, Wisconsin, and Wyoming) reported only active registrants. North Dakota does not have
voter registration and, thus, did not have any data to report.
48 California, Florida, Kansas, and New York reported more “registered and eligible” voters in their state than the sum of

the active and inactive registrants, resulting in 13,704; 13,384; 11,199; and 776 uncategorized registrants, respectively.
New Hampshire reported zero registrations in 18 of its 320 jurisdictions. Two jurisdictions in Wisconsin reported zero
registrations because they changed their status from town to village and/or merged with other jurisdictions where they
reported the corresponding registration data. Kalawao County in Hawaii reported zero registrations because Maui County
administers Kalawao County’s elections.



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Census show that the U.S. population increased by more than 20 million people since the 2010
Census, resulting in a change of apportionment for congressional seats in 13 states; 49 this
population increase and mobility may be a contributing factor to the increase of records that states
reported having on their voter registration rolls for the 2020 general election.

For the 2020 general election, states reported that 228,004,364 citizens were registered to vote,
either as active or inactive voters. 50 This represents a 6.5% increase compared to the number of
people who were registered to vote for the 2016 general election. 51 Nationally, 91.9% of all
registrants were designated as active, and 9.1% of registrants were designated as inactive. 52 In
2020, the total number of active registrants exceeded the 200 million mark for the first time in EAVS
history and accounted for 88.2% of the 2019 citizen voting age population (CVAP). 53 The number of
active registrants in 2020 increased 8.3% compared to what states reported for the 2016 EAVS. In
2020, the majority of states reported active registration rates of 80% or more of their 2019 CVAP
(see Table 1 in Appendix A of this chapter). 54 Compared to the active registration rates in 2016, 82%
of the states reported a higher active registration rate in 2020. 55




49 U.S. Census Bureau. (2021, April 26). First 2020 Census Data Release Shows U.S. Resident Population of 331,449,281.

https://www.census.gov/library/stories/2021/04/2020-census-data-release.html.
50 The total number of registered voters was obtained from item A1a in the 2020 EAVS.
51 The percentage change in the total number of registered voters between 2016 and 2020 was calculated by dividing the

total number of registered voters in 2020 (item A1a of the 2020 EAVS) by the total number of registered voters in 2016
(item A1a of the 2016 EAVS).
52 The percentage of active and inactive registrants used items A1b and A1c, respectively, of the 2020 EAVS and divided

these items by the total number of registered voters (item A1a of the EAVS). North Dakota was not included in these
calculations because it does not have voter registration. Guam, Idaho, Minnesota, New Hampshire, the Northern Mariana
Islands, Ohio, Oregon, Puerto Rico, the U.S. Virgin Islands, Wisconsin, and Wyoming were not included in the percentage of
inactive voters because they did not provide data about inactive voters in item A1c of the 2020 EAVS. Casewise deletion at
the state level was used in these calculations. The percentages of active and inactive registrants do not add to 100
because of the use of state casewise deletion to calculate percentages at the national level, as discussed in Chapter 5.
53 The total number of active registrants was obtained from item A1b in the 2020 EAVS. The active CVAP voter registration

rate was calculated by dividing the number of active registrants (item A1b in the 2020 EAVS) by the estimated CVAP
provided by the U.S. Census Bureau. North Dakota was not included in the calculation because it does not have voter
registration. American Samoa, Guam, the Northern Mariana Islands, and the U.S. Virgin Islands were not included in the
calculation because there is no CVAP information from the Census Bureau for these territories. Casewise deletion at the
state level was used in these calculations. This report uses the 1-year American Community Survey (ACS) state CVAP
estimate for 2019 instead of the 5-year estimate to ensure that the CVAP is as current as possible. The CVAP estimates for
2020 were not available by the time this report was finalized. In calculating the percentage change in the total number of
active registrants from the 2016 EAVS to the 2020 EAVS, casewise deletion has been used at the state level.
54 The percentage of active CVAP voter registration was calculated by dividing the total active registrants (item A1b in the

2020 EAVS) by the total CVAP.
55 The percentage of active CVAP voter registration change was calculated as the 2020 percentage of active CVAP voter

registration ([A1b/CVAP] x 100) for the 2020 EAVS divided by the 2016 percentage of active CVAP voter registration
([A3a/CVAP] x 100) for the 2016 EAVS. One unit was subtracted from the result of the division, and the result was
multiplied by 100 to obtain the percentage change. North Dakota was not included because it does not have voter
registration. Pennsylvania was not included because it did not report total active registrants in 2016, as the state
commented that it could not “differentiate between active and inactive from our point in time snapshot of the voter
registration numbers.” The U.S. territories of American Samoa, Guam, the Northern Mariana Islands, and the U.S. Virgin
Islands were not included because the U.S. Census Bureau does not provide an estimate for their CVAP.



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                                  Calculating Registration Rates
   Estimating the percentage of the population that is registered to vote for an election can be approached
   in different ways using a variety of metrics. There are multiple potential numerators and denominators
   that can be used.

   Registration Rate Numerator:

       • Total Registrants. The number of people that states reported as being registered and eligible to
         vote (A1a in the EAVS). This total includes active and inactive registrants. This metric
         overrepresents of the actual number of registrants within a state, since some of the people
         included (particularly inactive registrants) may not be eligible to vote in that jurisdiction.
       • Active Registrants. The number of people that states reported as being eligible to cast a ballot
         without the need to provide additional eligibility evidence at the polls (A1b in the EAVS). This total
         excludes inactive registrants.

   Registration Rate Denominator:

       • Voting Age Population (VAP). The estimate of the number of persons ages 18 or older provided by
         the Census Bureau.
       • Citizen Voting Age Population (CVAP). The estimate of the number of American citizens ages 18 or
         older provided by the Census Bureau. This estimate is more accurate than the VAP in that it
         restricts the inclusion criteria to being a U.S. citizen, which is mandatory to vote.
       • Voting Eligible Population (VEP). The estimate created by subtracting from the CVAP the citizens
         that are ineligible to vote (e.g., persons with disqualifying felony convictions) and persons who are
         in the military or citizens living overseas. This estimate is provided by the U.S. Elections Project and
         is available at the state level but not at the jurisdiction level like the VAP and the CVAP estimates.

   The combination of active registrants and the CVAP to calculate the registration rate in the EAVS provides
   a higher level of accuracy than using the total registrations and/or the VAP to calculate the rate at the
   jurisdiction level when needed, as opposed to the use of the VEP. This calculation, however, has some
   limitations, such as the potential overrepresentation of total registrants in the active registrant list due to
   the challenges for states to keep voter registration rolls fully up to date. When analyzing EAVS data, the
   EAC recommends using the following method to calculate voter registration rates:

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   See Chapter 2 of this report for a discussion of state policies on voter registration list maintenance.



There was a 3.6-percentage-point increase in the active registration rates at the national level (from
84.6% in 2016 to 88.2% in 2020). 56 At the state level, Georgia and Texas reported the largest

56 The percentage of active CVAP voter registration for 2020 was calculated as the total active voters (A1b in the 2020

EAVS) divided by the 2019 CVAP. The percentage of active CVAP voter registration for 2016 was calculated as the total
active voters (A3a in the 2016 EAVS) divided by the 2015 CVAP. The percentage point change between the 2016 and 2020
active CVAP voter registration rates was calculated by subtracting the 2015 active CVAP voter registration percentage from
the 2019 active CVAP voter registration percentage.



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increases in active registration rates between 2016 and 2020 (24.5% and 18.8%, respectively), and
New York and Puerto Rico reported the largest drops in active registration rates (24.3% and 14.4%,
respectively). 57 Figure 4 shows the change in the active CVAP voter registration rate among states
from the 2016 general election to the 2020 general election.


          Figure 4. Most States Had an Increase in the Active CVAP Voter Registration Rate
                                         From 2016 to 2020




Source: The percentage of active CVAP voter registration change was calculated as the 2020 percentage of active CVAP
voter registration ([A1b/CVAP] x 100) for the 2020 EAVS divided by the 2016 percentage of active CVAP voter registration
([A3a/CVAP] x 100) for the 2016 EAVS. One unit was subtracted from the result of the division, and the result was
multiplied by 100 to obtain the percentage change. North Dakota does not have a change rate because it does not have
voter registration. Pennsylvania does not have a change rate, because it did not report total active registrants in 2016, as
the state commented that they could not “differentiate between active and inactive from our point in time snapshot of the
voter registration numbers.” The U.S. territories of American Samoa, Guam, the Northern Mariana Islands, and the U.S.
Virgin Islands do not have a change rate because the U.S. Census Bureau does not provide an estimate for their CVAP.
Cutoff points in the graph were selected to reflect states that decreased, that slightly increased, and that notably increased
in terms of the active CVAP registration rate from 2016 to 2020.




57 New York reported an uncharacteristically high number of active and total registrations in the 2016 EAVS compared to

the registrations reported in the general elections of 2014, 2018, and 2020, which led to the drop in active registrants
noted in the 2020 EAVS. The percentage of active CVAP voter registration was calculated by dividing the total active
registrants (item A1b in the 2020 EAVS) by the total CVAP.



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Types of Registrations Received for the 2020 General Election
When a person submits a registration form, it is processed by the state and can reach one of several
outcomes. Valid applications from persons who are eligible and not already registered are
considered new applications and are added to the voter registration rolls. Applications submitted by
persons already registered to vote at the same address with the same name and personal
information are considered duplicates. Applications from already-registered persons wishing to
change their name, party affiliation, or address are processed as updates to existing registrations.
Applications that do not meet the requirements of eligibility are considered invalid or rejected. When
allowed by state law, applications submitted by persons under 18 years old are processed as
preregistrations so that they will be registered when they become of voting age.

All registration forms received are processed and scrutinized by election officials to ensure that the
information is correct, that only eligible voters are added to the registration rolls, and that duplicate
registration records are not created. After the application’s review by election officials and following
the NVRA’s guidelines, states must notify the applicant with the result of their application. For
example, a successful application may be notified in the form of a registration card mailed to the
applicant or a notice of rejection may be mailed to unsuccessful applicants.

Valid Registrations
Table 1 displays information on the result of the registration applications that were received by
states. Of the more than 100 million registration applications received between the 2018 and the
2020 federal general elections, the most common type of registration was an update to an existing
record that did not involve a cross-jurisdiction change of address. 58 These updates usually involve a
change of name (such as after a marriage or divorce), party affiliation, or within-jurisdiction change
of address; these updates accounted for 49.4% of the registrations processed at the national level. 59
New valid registrations—a registration application received from an eligible person in a jurisdiction
where they were not previously registered and that resulted in a new registration record being added
to the voter registration roll—made up 32.2% of the registrations received. 60

Other types of valid registrations reported in the EAVS included a change of address that crossed
local jurisdiction borders but was still within the state, which accounted for 9.5% of the total
registration applications filed. 61 Some states reported allowing for underage citizens to preregister to
vote so that they are automatically added to the voter registration rolls when they turn 18 years old.

58 The number of total registration applications was reported in item A3a of the EAVS. The number of registration

applications that were a change of name, party, or within-jurisdiction change of address was reported in item A3f of the
EAVS.
59 The percentage of registration applications that were a change of name, party, or within-jurisdiction change of address

received was calculated by dividing the number of such registration applications received (item A3f of the EAVS) by the total
number of registration applications received (item A3a of the EAVS). Casewise deletion at the state level was used in this
calculation.
60 The percentage of registration applications that were a new registration was calculated by dividing the number of such

registration applications received (item A3b of the EAVS) by the total number of registration applications received (item A3a
of the EAVS). Casewise deletion at the state level was used in this calculation.
61 The percentage of registration applications that were a cross-jurisdiction change of address was calculated by dividing

the number of such registration applications received (item A3g of the EAVS) by the total number of registration
applications received (item A3a of the EAVS). Casewise deletion at the state level was used in this calculation.



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These preregistrations accounted for 1.2% of the total registrations among states that allowed
them. 62 Finally, 14.7% of the registrations were labelled as “Other.” This category in the EAVS is used
by states to report registrations that were not covered among the standard categories, or in most
cases, to report registrations that could not be broken down into the categories provided, such as a
change to existing records that some jurisdictions could not determine whether it involved a within or
cross-jurisdictional change of address. 63


 Table 1. Most Registration Applications Were New Applications or Within-Jurisdiction Changes
                                                                                    Percentage of Total
                     Type of Registration Form Received
                                                                                Registration Forms Received
         Change of name, party, or address (within jurisdiction)                             49.4%
         New valid registrations                                                             32.2%
         Other                                                                               14.7%
         Duplicate registrations                                                              9.7%
         Cross-jurisdiction change of address                                                 9.5%
         Invalid or rejected                                                                  2.9%
         Preregistrations from persons under 18 years of age                                  1.2%

Source: The percentage of registrations received that were a change of name, party, or within-jurisdiction change of
address received was calculated as (A3f/A3a) x 100. The percentage of registrations received that were a new valid
registration was calculated as (A3b/A3a) x 100. The percentage of registrations received that were a duplicate registration
was calculated as (A3d/A3a) x 100. The percentage of registrations received that were a cross-jurisdiction change of
address was calculated as (A3g/A3a) x 100. The percentage of registrations received that were labelled as “Other”
registrations was calculated as ((A3h+A3i+A3j) /A3a) x 100. The percentage of registrations received that were invalid or a
rejected registration was calculated as (A3e/A3a) x 100. The percentage of registrations received that were a
preregistration of persons under 18 years of age was calculated as (A3c/A3a) x 100. Casewise deletion was used at the
state level in these calculations (percentages for each type of registration were calculated independently and only states
that reported data for a given type were included in the analysis), and because of this, percentages do not sum to 100%.



Rejected and Duplicate Registrations
Some of the registration forms received by states do not result in the creation or the update of a
registration record. The two types of invalid registration applications that the EAVS collects data on
are rejected applications and duplicate applications. The first group includes applications that
contain incorrect information, information that cannot be validated against existing state records, or
applications from persons who do not meet eligibility requirements. In the period between the close


62 The percentage of registration applications that were a preregistration of persons under 18 years of age was calculated

by dividing the number of such registration applications received (item A3c of the EAVS) by the total number of registration
applications received (item A3a of the EAVS). Casewise deletion at the state level was used in this calculation.
63 The percentage of registration applications that were categorized as “other” was calculated by dividing the total number

of such registration applications received (sum of items A3h, A3i, and A3j of the EAVS) by the total number of registration
applications received (item A3a of the EAVS). Casewise deletion at the state level was used in this calculation. Not all the
applications accounted for in the “other” category may be valid; however, they were included in this section because they
cannot be fully identified as rejected or duplicate either.



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of registration for the 2018 general election and the close of registration for the 2020 general
election, states reported rejecting 2,840,590 applications, accounting for 2.9% of the total
registration applications received. This percentage is comparable to the percentage of registrations
that were rejected in 2018 (3.4%) and 2016 (3.2%). 64

Duplicate registrations include applications that are exact matches to existing registration records;
these can be applications submitted by persons who did not realize they were already registered to
vote or who submitted multiple applications through different modes (e.g., submitted an application
with the exact same information through the mail and online). States reported receiving 8,827,089
duplicate applications between the 2018 and the 2020 federal general elections, which accounted
for 9.7% of the total registrations received. 65 As with rejected applications, the percentage of
duplicate registrations registered in 2020 was comparable to those in 2018 (10.2%) and 2016
(7.9%). 66

A majority of states provided a breakdown of the total, rejected, and duplicate registrations they
received and the source of those registrations (e.g., mail, in person). 67 As expected, most registration
sources had rejection and duplicate percentages that were similar to the national averages;
however, there were a few outliers. For duplicate registrations, the overall percentage at the national
level was 9.7%, and most sources reported duplicate percentages similar to the national level,
ranging from 5.3% to 13.3%. 68 However, there were exceptions, such as state-designated offices not
mandated by the NVRA, that reported lower levels of duplicate registrations (3%). At the other side of
the spectrum, registrations received by mail, fax, or email had notably higher levels of duplicate
registrations received (19.1%) compared to the national average. 69 Invalid or rejected applications

64 The number of total registration application rejections was obtained from item A3e of the EAVS. The percentage of

registrations received that were invalid or rejected registrations in 2020 was calculated as the total applications rejected in
2020 (item A3e in the 2020 EAVS) divided by the total registration applications received (item A3a in the 2020 EAVS). The
percentage of registrations received that were invalid or rejected registrations in 2018 was calculated as the total
applications rejected in 2018 (item A3e in the 2018 EAVS) divided by the total registration applications received (item A3a
in the 2018 EAVS). The percentage of registrations received that were invalid or rejected registrations in 2016 was
calculated as the total applications rejected in 2016 (item A5e in the 2016 EAVS) divided by the total registration
applications received (item A5a in the 2016 EAVS). Casewise deletion at the state level was used in this calculation.
65 The number of total duplicate registration applications was obtained from item A3d of the EAVS. The percentage of

registrations received that were duplicate registrations in 2020 was calculated as the total duplicate applications in 2020
(item A3d in the 2020 EAVS) divided by the total registration applications received (item A3a in the 2020 EAVS). Casewise
deletion at the state level was used in this calculation.
66 The percentage of registrations received that were duplicate registrations in 2020 was calculated as the total duplicate

applications in 2018 (item A3d in the 2018 EAVS) divided by the total registration applications received (item A3a in the
2018 EAVS). The percentage of registrations received that were duplicate registrations in 2016 was calculated as the total
duplicate applications in 2016 (item A5d in the 2016 EAVS) divided by the total registration applications received (item A5a
in the 2016 EAVS). Casewise deletion at the state level was used in this calculation.
67 Thirteen states did not provide the application source breakdown for duplicate registrations, and 14 states did not

provide the application source breakdown for rejected registrations. Data from these states were not included in the
ensuing calculations in the paragraph.
68 The percentage of registration applications received from a source and categorized as duplicate was calculated as

follows for each registration source included in the range: in person = (A6b/A4b) x 100; online = (A6c/A4c) x 100; motor
vehicle department = (A6d/A4d) x 100; public assistance offices = (A6e/A4e) x 100; state-funded agencies serving
persons with disabilities = (A6f/A4f) x 100; armed forces recruitment offices = (A6g/A4g) x 100; registration drives =
(A6i/A4i) x 100; Other = ((A6j+A6k+A6l)/(A4j+A4k+A4l)) x 100. Casewise deletion at the state level was used in this
calculation.
69 The percentage of registration applications that were duplicates was calculated as follows for each registration source

mentioned: state-designated offices not mandated by the NVRA = (A6h/A4h) x 100; mail/fax/email = (A6a/A4a) x 100.
Casewise deletion at the state level was used in this calculation.



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represented 2.9% of registrations at the national level, and most sources reported a rejection
percentage close to that, ranging from 1.7% to 4.2% of registrations rejected, 70 except for
registration drives (10.1%), and NVRA-mandated public assistance offices (9.1%) that had notably
higher levels of applications classified as rejected or invalid. 71

Registration List Maintenance
The NVRA requires states to maintain an “accurate and current voter registration roll” to “protect the
integrity of the electoral process.” 72 To facilitate this maintenance, the NVRA requires that any
change of address submitted to a motor vehicle department must serve as notification of a change
of address for voter registration, unless the individual indicates that the change is not for voter
registration purposes. The law also requires states and territories to conduct a uniform and
nondiscriminatory general program to remove the records of ineligible voters. States and territories
have considerable freedom to choose when, where, and how these functions are performed, but
must follow the guidelines listed in the NVRA, which describe the need to use confirmation notices
and to complete (with few exceptions) systematic removal programs “not later than 90 days prior to
the date of a primary or general election for Federal office,” 73 as well as to keep a detailed list of
instances in which it is appropriate to remove a record from the voter registration rolls.

Confirmation Notices
One tool that states may use to keep their voter registration rolls up to date are confirmation notices.
These are postage pre-paid and pre-addressed return cards that are sent to registrants who a state
suspects are no longer eligible to vote in the jurisdiction in which they are registered. If the registrant
does not return the confirmation notice, they can be added to the inactive registrant list and would
be asked to provide proof of residence before voting. If the registrant fails to return the confirmation
notice and does not participate in the subsequent two consecutive federal elections, then the NVRA
grants the state the ability to remove the registrant from the voter registration roll. If the registrant
has not moved out of the voting jurisdiction, they must complete and return the confirmation notice
no later than the registration deadline of the next election to remain on the list of active registrants.




70 The percentage of registration applications received from a source and categorized as invalid or rejected was calculated

as follows for each registration source included in the range: mail/fax/email = (A7a/A4a) x 100; in person = (A7b/A4b) x
100; online = (A7c/A4c) x 100; motor vehicle department = (A7d/A4d) x 100; state-funded agencies serving persons with
disabilities = (A7f/A4f) x 100; armed forces recruitment offices = (A7g/A4g) x 100; state-designated offices not mandated
by the NVRA = (A7h/A4h) x 100; and Other = ((A7j+A7k+A7l)/(A4j+A4k+A4l) x 100. Casewise deletion at the state level was
used in this calculation.
71 The percentage of registration applications received from a source and categorized as invalid or rejected was calculated

as follows for each registration source mentioned: registration drives = (A7i/A4i) x 100; public assistance offices =
(A7e/A4e) x 100. Casewise deletion at the state level was used in this calculation.
72 52 U.S.C. § 20501
73 52 U.S.C. § 20507




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   Figure 5. Almost Two-Thirds of Confirmation Notices That Were Sent Had an Unknown Status




Source: Status unknown (A8e) refers to any notice that was sent to a voter but was not received back confirming
registration, confirming invalidation, or returned as undeliverable. This percentage was calculated as (A8e/A8a) x 100. The
percentage of confirmation notices sent and returned confirming valid registration was calculated as (A8b/A8a) x 100. The
percentage of confirmation notices sent and returned undeliverable was calculated as (A8d/A8a) x 100. The percentage of
confirmation notices sent and returned confirming registration should be invalidated was calculated as (A8c/A8a) x 100.
The percentage of confirmation notices sent and not categorized was calculated as (1 – ((A8b+A8c+A8d+A8e+A8f+A8g+
A8h)/A8a)) x 100. The percentage of confirmation notices sent and labeled as other was calculated as
((A8f+A8g+A8h)/A8a) x 100. Casewise deletion was used at the state level (percentages for each category were
calculated independently and only states that reported data for a given category were included in the analysis), and
because of this, percentages do not sum to 100%.



Nationally, 28,010,094 confirmation notices were sent between the 2018 general election and the
month before the 2020 general election, accounting for 14.3% of the active voters reported by
states in 2020. 74 This percentage is slightly higher than what was reported by states in 2018

74 The total number of confirmation notices sent was reported in item A8a of the EAVS. The number of confirmation notices

sent as a percentage of the active registrants was calculated using total confirmation notices sent (item A8a of the EAVS)
divided by total active registrants (A1b of the EAVS). Casewise deletion at the state level was used in this calculation. In
2020, 49 states and territories reported the number of confirmation notices sent during the period of registration for the
2020 general election. North Dakota does not require citizens to register to vote and, thus, does not use confirmation
notices. Minnesota, Puerto Rico, the U.S. Virgin Islands, and Wyoming are NVRA exempt. Alabama reported that they did
“not have a report that has the total number of confirmation notices sent.” Indiana did not provide this information




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(11.6%) and in 2016 (10.9%). 75 Figure 5 shows that confirmation notices with an unknown status
accounted for 65.8% of the total. The unknown status notices generally included confirmation
notices that were sent and never returned to the jurisdiction—allowing states to move the
addressees of these notices to the inactive registration list if the state uses that designation. States
reported 12.1% of confirmation notices were returned confirming the voter’s continued eligibility,
and 8.1% were returned confirming the voter was no longer eligible to vote in the jurisdiction or no
longer wanted to be registered to vote.

Removing Voters From Voter Registration Rolls
The NVRA mandates that registrants may only be removed from the voter registration rolls in these
circumstances:

   • Upon the death of the registrant;
   • Upon the registrant’s written confirmation that their address has changed to a location outside
     the registrar’s jurisdiction;
   • On the request of the registrant;
   • For mental incapacity of the registrant, as provided in state law;
   • On criminal conviction of the registrant, as provided in state law; or
   • On the registrant’s failure to respond to certain confirmation mailings along with failure to
     appear to vote in two consecutive federal general elections subsequent to the mailing.

Because some of the states’ processes to remove a registrant from the voter registration rolls can
take up to two federal general election cycles to complete, it is inevitable that voter registration rolls
will contain some number of voter records for individuals who are no longer eligible to vote.

Between the close of registration for the 2018 general election and the close of registration for the
2020 general election, states reported removing 18,781,054 records from their voter registration
rolls. 76 This was equal to 8.2% of the total number of voters who were registered in the United States
as of the close of registration for the 2020 general election. 77 Almost two-thirds of the states and
territories reported removing a number of registrants that added up to between 3% and 10% of their
total registered voters. There were some exceptions to this trend: Connecticut’s removals accounted



because it “does not send the removal notices referenced by the EAC survey.” Forty-four states reported the status of the
confirmation notices sent. In addition to the states that did not report on confirmation notices, Delaware, Kentucky,
Louisiana, Massachusetts, and Rhode Island did not break down the number of confirmation notices sent by status.
75 The number of confirmation notices sent as a percentage of the active registrants in 2018 was calculated using total

confirmation notices sent (item A8a of the 2018 EAVS) divided by total active registrants (A1b of the 2018 EAVS). The
number of confirmation notices sent as a percentage of the active registrants in 2016 was calculated using total
confirmation notices sent (item A10a of the 2016 EAVS) divided by total active registrants (A3a of the 2016 EAVS).
Casewise deletion at the state level was used in this calculation.
76 The total number of registrants removed from the voter registration rolls was reported in item A9a of the EAVS. All states

and territories reported data for the items related to voter removal, except for North Dakota, which does not require citizens
to register to vote.
77 The number of registrants removed as a percentage of total registrants was calculated using total registrants removed

from the voter registration rolls (item A9a of the EAVS) divided by total registrants (A1a of the EAVS). Casewise deletion at
the state level was used in this calculation.



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for the lowest percentage of total registrants at 2.1%, and Puerto Rico reported the highest
percentage of removals at 32.3% (see Table 5 of Appendix A in this chapter).

States also reported the reasons for removing records from their voter registration rolls. These
reasons for removal are shown in Figure 6. The most common reason was failure to both respond to
a confirmation notice and to vote in two consecutive federal general elections, which accounted for
32.1% of removals. Cross-jurisdiction change of address and death of the registrant were the other
two major reasons for states’ removal of registrants from their rolls (28.5% and 21.4%, respectively).


Figure 6. Almost One-Third of Removed Registration Records Were a Result of Failure to Respond
                                   to a Confirmation Notice




Source: The percentage of registrations removed because of no response to confirmation notices (and not voting in the
following two general elections) was calculated as (A9e/A9a) x 100. The percentage of registrations removed because of a
cross-jurisdiction change of address was calculated as (A9b/A9a) x 100. The percentage of registrations removed because
of death was calculated as (A9c/A9a) x 100. The percentage of registrations removed because the voter was declared
mentally incompetent or because of other reasons was calculated as ((A9f+A9h+A9i+A9j)/A9a) x 100. The percentage of
registrations removed because the voter requested to be removed was calculated as (A9g/A9a) x 100. The percentage of
registrations removed because of disqualifying felony conviction was calculated as (A9d/A9a) x 100. Casewise deletion
was used at the state level (percentages for each category were calculated independently and only states that reported
data for a given category were included in the analysis), and because of this, percentages do not sum to 100%.




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The majority of states reported that a registrant could be removed from the voter registration rolls if
the registrant received a disqualifying criminal conviction and/or was incarcerated, 78 but only 1.6%
of the removals were the result of a disqualifying felony conviction. 79 Two states, however, reported
that more than 10% of their registration removals happened due to criminal convictions or
incarceration. Georgia reported that 10.8% of registrants were removed for this reason, and
Kentucky (13.3%) reported the largest percentage of this type of removal. Kentucky also reported
criminal conviction as a common reason for registration removal in the 2018 EAVS. 80




78 Maine, Vermont, Puerto Rico, Guam, and the District of Columbia reported criminal conviction and/or incarceration was

not a reason for voter removal in item Q37 of the 2020 Policy Survey.
79 The percentage of registrations removed because of a disqualifying felony conviction was calculated as (A9d/A9a) x 100.

Casewise deletion was used at the state level.
80 The percentage of registrations removed because of a disqualifying felony conviction in 2018 was calculated as the total

registrants removed from the voter registration rolls for this reason (item A9d of the 2018 EAVS) divided by total registrants
removed from the rolls (item A9a in 2018).



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Appendix A: Descriptive Tables
Voter Registration Table 1: Registration History
                                                                      Active   Active                   Inactive
                                        Reported         Active       Regs.    Regs.      Inactive       Regs.
       State      Year   CVAP Total
                                      Registrations   Registrations    (% of    (% of   Registrations     (% of
                                                                      CVAP)    Total)                    Total)

                  2020   3,731,336     3,717,798       3,438,213      92.1     92.5       279,585         7.5
 Alabama          2018   3,688,249     3,465,352       3,164,301      85.8     91.3       301,051         8.7

                  2016   3,653,381     3,333,946       3,049,655      83.5     91.5       139,638         4.2
                  2020    533,151       646,093         595,647       111.7    92.2       50,446          7.8
 Alaska           2018    531,653       624,467         571,851       107.6    91.6       52,616          8.4
                  2016    528,248       587,303         528,671       100.1    90.0       58,632         10.0
                  2020       --         16,341          16,341          --     100.0         0            0.0
 American Samoa
                  2018       --         15,527           8,462          --     54.5        7,065         45.5
 [1], [2], [3]
                  2016       --            --              --           --       --          --            --
                  2020   5,137,474     4,728,109       4,275,729      83.2     90.4       452,380         9.6
 Arizona          2018   4,895,706     4,276,891       3,715,624      75.9     86.9       561,267        13.1
                  2016   4,710,448     4,080,680       3,589,084      76.2     88.0       491,596        12.0
                  2020   2,235,415     1,831,414       1,408,061      63.0     76.9       423,353        23.1
 Arkansas         2018   2,207,894     1,786,840       1,456,887      66.0     81.5       329,953        18.5

                  2016   2,185,724     1,765,513       1,422,393      65.1     80.6       343,120        19.4
                  2020   26,032,160   26,157,616      21,795,538      83.7     83.3      4,348,374       16.6

 California [4]   2018   25,650,455   25,103,559      19,724,297      76.9     78.6      5,379,262       21.4

                  2016   25,002,812   24,486,638      19,435,856      77.7     79.4      5,065,746       20.7
                  2020   4,244,210     4,211,528       3,803,762      89.6     90.3       407,766         9.7
 Colorado         2018   4,057,437     3,953,613       3,426,499      84.4     86.7       527,114        13.3
                  2016   3,896,986     3,840,303       3,336,663      85.6     86.9       503,640        13.1
                  2020   2,619,474     2,524,717       2,335,860      89.2     92.5       188,857         7.5
 Connecticut      2018   2,611,667     2,369,335       2,193,586      84.0     92.6       175,749         7.4
                  2016   2,584,884     2,331,684       2,162,797      83.7     92.8       168,887         7.2
                  2020    725,178       739,672         711,287       98.1     96.2       28,385          3.8
 Delaware         2018    709,999       695,014         672,632       94.7     96.8       22,382          3.2
                  2016    697,148       675,663         642,334       92.1     95.1       33,329          4.9
                  2020    536,768       625,683         517,890       96.5     82.8       107,793        17.2
 District of
                  2018    510,514       617,046         511,633       100.2    82.9       105,413        17.1
 Columbia
                  2016    504,242       493,287         493,287       97.8     100.0         --            --
                  2020   15,507,315   15,231,808      14,517,002      93.6     95.3       701,422         4.6
 Florida          2018   15,014,950   14,126,722      13,278,070      88.4     94.0       848,652         6.0
                  2016   14,441,877   13,505,571      12,853,866      89.0     95.2       651,705         4.8




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                                                                    Active   Active                   Inactive
                                      Reported         Active       Regs.    Regs.      Inactive       Regs.
       State    Year   CVAP Total
                                    Registrations   Registrations    (% of    (% of   Registrations     (% of
                                                                    CVAP)    Total)                    Total)

                2020   7,581,837     7,618,436       7,194,889      94.9     94.4       423,547         5.6
Georgia         2018   7,362,615     6,944,851       6,437,524      87.4     92.7       507,327         7.3
                2016   7,168,068     6,657,621       5,463,014      76.2     82.1      1,194,607       17.9
                2020       --         55,896          55,896          --     100.0         --            --
Guam [1], [2]   2018       --         55,941          55,941          --     100.0         --            --
                2016       --         51,720          51,720          --     100.0         --            --
                2020   1,014,035      832,466         759,971       74.9     91.3       72,495          8.7
Hawaii          2018   1,025,548      756,751         712,765       69.5     94.2       43,986          5.8
                2016   1,022,704      751,483         666,573       65.2     88.7       84,910         11.3
                2020   1,282,630     1,029,763       1,029,763      80.3     100.0         --            --
Idaho [2]       2018   1,219,481      917,609         917,609       75.2     100.0         --            --
                2016   1,168,843      936,529         936,529       80.1     100.0         --            --
                2020   9,088,036     9,789,893       9,103,542      100.2    93.0       686,351         7.0
Illinois        2018   9,055,927     8,751,060       8,091,045      89.3     92.5       660,015         7.5
                2016   9,017,653     8,843,038       8,055,096      89.3     91.1       787,942         8.9
                2020   4,978,356     4,692,091       4,170,353      83.8     88.9       521,738        11.1
Indiana         2018   4,899,251     4,500,196       4,168,374      85.1     92.6       331,822         7.4
                2016   4,856,797     4,839,038       4,149,560      85.4     85.8       689,478        14.2
                2020   2,348,787     2,243,758       2,094,770      89.2     93.4       148,988         6.6
Iowa            2018   2,325,355     2,193,813       2,037,516      87.6     92.9       156,297         7.1
                2016   2,310,467     2,222,380       2,047,368      88.6     92.1       175,012         7.9
                2020   2,103,748     1,924,772       1,764,949      83.9     91.7       148,624         7.7
Kansas          2018   2,091,261     1,835,473       1,670,217      79.9     91.0       165,256         9.0
                2016   2,074,102     1,785,834       1,601,818      77.2     89.7       184,016        10.3
                2020   3,367,502     3,565,428       3,319,307      98.6     93.1       246,121         6.9
Kentucky [5]    2018   3,350,956     3,402,905       3,402,905      101.6    100.0         0            0.0
                2016   3,329,835     3,306,120       3,306,120      99.3     100.0         --            --
                2020   3,463,372     3,093,004       2,963,901      85.6     95.8       129,103         4.2
Louisiana       2018   3,469,016     2,992,170       2,856,722      82.3     95.5       135,448         4.5
                2016   3,454,978     3,058,741       2,891,902      83.7     94.5       131,339         4.3
                2020   1,078,770     1,138,576       1,135,008      105.2    99.7        3,568          0.3
Maine           2018   1,064,497     1,057,967       1,054,068      99.0     99.6        3,899          0.4
                2016   1,056,410     1,065,100       1,059,270      100.3    99.5        5,830          0.5
                2020   4,316,921     4,298,942       4,142,347      96.0     96.4       156,595         3.6
Maryland [6]    2018   4,310,864     3,954,027       3,954,027      91.7     100.0         --            --
                2016   4,239,987     3,900,090       3,900,090      92.0     100.0         --            --




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                                                                       Active   Active                   Inactive
                                         Reported         Active       Regs.    Regs.      Inactive       Regs.
      State        Year   CVAP Total
                                       Registrations   Registrations    (% of    (% of   Registrations     (% of
                                                                       CVAP)    Total)                    Total)

                   2020   5,057,192     4,812,909       4,400,254      87.0     91.4       412,655         8.6

 Massachusetts     2018   4,993,001     4,574,967       3,947,897      79.1     86.3       627,070        13.7

                   2016   4,924,459     4,534,974       3,994,635      81.1     88.1       540,339        11.9

                   2020   7,562,464     8,105,524       7,209,300      95.3     88.9       896,224        11.1

 Michigan [7]      2018   7,481,928     7,471,088       6,488,823      86.7     86.9       982,265        13.1

                   2016   7,436,478     7,514,055       6,748,385      90.7     89.8       765,670        10.2

                   2020   4,157,556     3,731,016       3,731,016      89.7     100.0         --            --
 Minnesota [2],
                   2018   4,079,652     3,422,515       3,422,515      83.9     100.0         --            --
 [8]
                   2016   4,007,159     3,473,972       3,473,972      86.7     100.0         --            --

                   2020   2,246,323     2,143,149       1,982,632      88.3     92.5       160,517         7.5

 Mississippi       2018   2,234,722     2,079,732       1,880,197      84.1     90.4       199,535         9.6

                   2016   2,220,616     2,072,395       1,888,433      85.0     91.1       183,962         8.9

                   2020   4,650,318     4,338,133       3,963,980      85.2     91.4       374,153         8.6

 Missouri          2018   4,606,843     4,127,333       3,803,881      82.6     92.2       323,452         7.8

                   2016   4,567,771     4,215,860       3,812,576      83.5     90.4       403,284         9.6

                   2020    831,760       747,439         675,971       81.3     90.4       71,468          9.6

 Montana [9]       2018    810,760       706,173         616,642       76.1     87.3       89,531         12.7

                   2016    797,198       694,370         574,334       72.0     82.7       120,036        17.3

                   2020   1,388,950     1,266,730       1,168,708      84.1     92.3       98,022          7.7

 Nebraska [10]     2018   1,368,000     1,219,276       1,096,862      80.2     90.0       122,414        10.0

                   2016   1,352,947     1,211,101       1,091,951      80.7     90.2       119,150         9.8

                   2020   2,111,932     2,039,162       1,835,401      86.9     90.0       203,761        10.0

 Nevada            2018   2,031,213     1,773,566       1,563,750      77.0     88.2       209,816        11.8

                   2016   1,942,764     1,678,883       1,468,559      75.6     87.5       210,324        12.5

                   2020   1,070,215     1,087,145       1,087,145      101.6    100.0         --            --
 New Hampshire
                   2018   1,048,883      988,148         988,148       94.2     100.0         --            --
 [2], [11]
                   2016   1,035,684      988,398         988,398       95.4     100.0         0            0.0

                   2020   6,170,130     6,310,564       5,896,836      95.6     93.4       413,728         6.6

 New Jersey        2018   6,199,409     5,869,078       5,456,506      88.0     93.0       412,572         7.0

                   2016   6,154,126     5,751,090       5,321,542      86.5     92.5       429,548         7.5

                   2020   1,522,171     1,360,871       1,255,669      82.5     92.3       105,202         7.7

 New Mexico [12]   2018   1,493,318     1,261,639        698,172       46.8     55.3       563,467        44.7

                   2016   1,470,045     1,289,420       1,136,059      77.3     88.1       152,277        11.8

                   2020   13,810,830   13,555,618      12,362,997      89.5     91.2      1,191,845        8.8

 New York [13]     2018   13,866,648   12,695,763      11,676,266      84.2     92.0      1,019,497        8.0

                   2016   13,704,991   16,200,892      16,200,892      118.2    100.0         --            --




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                                                                       Active   Active                   Inactive
                                         Reported         Active       Regs.    Regs.      Inactive       Regs.
      State        Year   CVAP Total
                                       Registrations   Registrations    (% of    (% of   Registrations     (% of
                                                                       CVAP)    Total)                    Total)

                   2020   7,729,644     7,372,608       6,607,121      85.5     89.6       765,487        10.4
North Carolina     2018   7,509,879     7,095,209       5,898,244      78.5     83.1      1,196,965       16.9
                   2016   7,296,335     6,924,469       5,930,252      81.3     85.6       994,217        14.4
                   2020    567,545          --              --           --       --          --            --
North Dakota
                   2018    564,475          --              --           --       --          --            --
[14]
                   2016    571,119          --              --           --       --          --            --
                   2020       --         18,526           18,526         --     100.0         --            --
Northern
Mariana Islands    2018       --            --              --           --       --          --            --
[1], [2], [15]
                   2016       --            --              --           --       --          --            --
                   2020   8,879,469     8,073,829       8,073,829      90.9     100.0         --            --
Ohio [2], [16]     2018   8,830,185     8,070,917       8,070,917      91.4     100.0         --            --
                   2016   8,765,154     7,861,025       7,861,025      89.7     100.0         --            --
                   2020   2,875,059     2,259,107       2,021,846      70.3     89.5       237,261        10.5
Oklahoma           2018   2,835,451     2,120,843       1,857,700      65.5     87.6       263,143        12.4
                   2016   2,807,548     2,157,450       1,817,461      64.7     84.2       339,989        15.8
                   2020   3,162,204     2,944,588       2,944,588      93.1     100.0         --            --
Oregon [17]        2018   3,060,328     2,748,232       2,748,232      89.8     100.0         --            --
                   2016   2,956,232     2,553,810       2,553,810      86.4     100.0         --            --
                   2020   9,810,201     9,035,061       8,280,348      84.4     91.6       754,713         8.4
Pennsylvania
                   2018   9,764,119     8,607,748       7,738,989      79.3     89.9       868,759        10.1
[18]
                   2016   9,752,322     8,722,975           --           --       --          --            --
                   2020   2,579,596     2,355,894       2,355,894      91.3     100.0         --            --
Puerto Rico [2],
                   2018   2,636,949         --              --           --       --          --            --
[19]
                   2016   2,686,177     2,867,558       2,867,558      106.8    100.0         --            --
                   2020    800,798       809,117         735,195       91.8     90.9       73,922          9.1
Rhode Island       2018    792,337       781,478         737,419       93.1     94.4       44,059          5.6
                   2016    784,997       754,065         721,211       91.9     95.6       32,246          4.3
                   2020   3,892,341     3,854,209       3,535,061      90.8     91.7       319,148         8.3
South Carolina     2018   3,799,298     3,538,580       3,538,580      93.1     100.0      396,653        11.2
                   2016   3,677,799     3,157,027       3,157,027      85.8     100.0      275,292         8.7
                   2020    653,394       635,256         578,683       88.6     91.1       56,573          8.9
South Dakota       2018    641,666       594,453         539,788       84.1     90.8       54,665          9.2
                   2016    634,140       595,322         544,930       85.9     91.5       50,392          8.5
                   2020   5,129,580     4,436,727       4,226,928      82.4     95.3       209,799         4.7
Tennessee          2018   5,016,103     4,163,359       3,764,513      75.0     90.4       398,846         9.6
                   2016   4,919,574     4,110,318       3,534,800      71.9     86.0       575,518        14.0




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                                                                         Active   Active                   Inactive
                                           Reported         Active       Regs.    Regs.      Inactive       Regs.
         State      Year   CVAP Total
                                         Registrations   Registrations    (% of    (% of   Registrations     (% of
                                                                         CVAP)    Total)                    Total)

                    2020   18,875,542    16,955,519      15,279,870      81.0     90.1      1,675,649        9.9
 Texas              2018   18,174,345    15,615,925      13,790,247      75.9     88.3      1,653,986       10.6
                    2016   17,523,904    14,382,387      11,942,651      68.2     83.0      1,288,225        9.0
                    2020        --         53,341          53,341          --     100.0         --            --
 U.S. Virgin
                    2018        --         51,095          51,095          --     100.0         --            --
 Islands [1], [2]
                    2016        --         46,076          46,076          --     100.0         --            --
                    2020    2,134,249     1,861,977       1,713,297      80.3     92.0       148,680         8.0
 Utah               2018    2,028,176     1,658,457       1,433,917      70.7     86.5       224,540        13.5
                    2016    1,945,001     1,577,069       1,414,758      72.7     89.7       162,311        10.3
                    2020    498,705        489,277         440,920       88.4     90.1       48,357          9.9
 Vermont            2018    494,550        489,385         447,709       90.5     91.5       41,676          8.5
                    2016    494,717        472,289         440,347       89.0     93.2       31,942          6.8
                    2020    6,226,623     5,975,561       5,763,187      92.6     96.4       212,374         3.6
 Virginia           2018    6,145,893     5,666,627       5,272,602      85.8     93.0       394,025         7.0
                    2016    6,062,304     5,604,106       5,066,666      83.6     90.4       537,440         9.6
                    2020    5,409,035     5,255,466       4,892,871      90.5     93.1       362,595         6.9
 Washington         2018    5,259,892     4,841,431       4,362,480      82.9     90.1       478,951         9.9
                    2016    5,081,800     4,872,385       4,277,499      84.2     87.8       594,886        12.2
                    2020    1,420,289     1,269,024       1,062,685      74.8     83.7       206,339        16.3
 West Virginia      2018    1,428,859     1,245,827        961,894       67.3     77.2       283,933        22.8
                    2016    1,451,557     1,254,768       1,142,180      78.7     91.0       112,588         9.0
                    2020    4,412,888     3,834,164       3,834,164      86.9     100.0         --            --
 Wisconsin [2],
                    2018    4,375,063     3,442,004       3,442,004      78.7     100.0         --            --
 [20]
                    2016    4,340,567     3,768,373       3,768,373      86.8     100.0         --            --
                    2020    434,852        303,049         303,049       69.7     100.0         --            --
 Wyoming [2]        2018    428,379        283,941         283,941       66.3     100.0         --            --
                    2016    434,584        284,203         284,203       65.4     100.0         --            --
                    2020   237,998,330   228,004,364     209,441,338     88.2     91.9     18,523,963        9.1
 U.S. Total         2018   234,053,619   211,601,918     190,662,485     82.5     90.1     21,164,394       11.3
                    2016   229,705,663   214,109,367     185,714,229     84.6     90.4     18,629,063       11.7


Voter Registration Table 1 Calculation Notes:
    CVAP Total uses the 1-year ACS CVAP estimate. The 2020 data uses the 2019 CVAP, the 2018 data uses
    the 2017 CVAP, and the 2016 data uses the 2015 CVAP.
    Reported Registrations uses question A1a for 2020, 2018, and 2016.
    Active Registrations uses question A1b for 2020 and 2018 and question A3a for 2016.
    Active Registrations (% of CVAP) uses question A1b divided by CVAP for 2020 and 2018 and question A3a
    divided by CVAP for 2016.



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    Active Registrations (% of Total) uses question A1b divided by A1a for 2020 and 2018 and question A3a
    divided by A1a for 2016.
    Inactive Registrations uses question A1c for 2020 and 2018 and question A3b for 2016.
    Inactive Registrations (% of Total) uses question A1c divided by question A1a for 2020 and 2018 and
    question A3b divided by question A1a for 2016.

Voter Registration Table 1 Data Notes:
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
             calculations at the national level (U.S. Total) only used data from those states that provided data
             for the numerator and denominator of the calculation.
        • Because each percentage was calculated independently, the active registration (% of total) and
             inactive registration (% of total) rates may not sum to 100% for some states or at the national
             level.
        • The citizen voting age population (CVAP) is an estimate of the number of U.S. citizens ages 18
             years or older in the state. This report uses the 1-year American Community Survey (ACS) state
             estimate for 2019 instead of the 5-year estimate to ensure that the CVAP was as current as
             possible. The estimate for the year 2020 was not available by the time this report was finalized.
             The 2019 1-year CVAP does not include data that were collected as part of the decennial Census
             conducted in 2020. For consistency, the CVAP for the 2018 and 2016 general elections was the
             1-year ACS state estimate for 2017 and 2015, respectively.
        • Some states may report an active CVAP registration rate of 100% or more. This is because the
             2019 CVAP was used to calculate the 2020 registration rate and because due to federal law,
             some ineligible voters may take up to two full election cycles to be removed from the voter
             registration rolls.
        • The Reported Registrations column includes both active and inactive voters (if the state uses such
             a distinction).


    [1] The U.S. Census Bureau does not calculate a CVAP for the territories of American Samoa, Guam, the
    Northern Mariana Islands, and the U.S. Virgin Islands.
    [2] American Samoa, Guam, Idaho, Minnesota, New Hampshire, the Northern Mariana Islands, Ohio,
    Oregon, Puerto Rico, the U.S. Virgin Islands, Wisconsin, and Wyoming reported having only active
    registered voters.
    [3] American Samoa did not provide data for the 2016 EAVS.
    [4] California adjusted their number of total registrations (A1a) in 2018 after the data were initially
    released, so the total in this table does not match the total reported in the 2018 EAVS Comprehensive
    Report. California reported 63,659 fewer registrants in Riverside County in their correction of the 2018
    EAVS data.
    [5] Kentucky reported having only active voters in the 2016 EAVS and reported having zero inactive voters
    in the 2018 EAVS.
    [6] Maryland reported having only active voters in the 2016 and the 2018 EAVS.
    [7] Michigan noted in a survey comment that “Voters reported in A1 are eligible to vote. Those defined as
    ‘inactive’ need only to confirm their address before receiving a ballot. Participation in past elections is not
    a factor in defining eligibility.”
    [8] Minnesota noted in a survey comment that “Minnesota is NVRA exempt. Minnesota does not classify
    voters as inactive per NVRA.”




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   [9] Montana noted in a survey comment that in A1a, the “total registered/eligible voters consists of active
   and inactive. Montana reports total registered/eligible voters of 752,538. The difference is provisional,
   late registration and pending.”
   [10] Nebraska noted in a survey comment that the state “does not have ‘inactive’ voters. The numbers in
   line [A1c] reflect the number of voters who were sent a section 8(d)(2) notice and have not responded.”
   [11] New Hampshire began a rigorous 10-year verification of the checklist beginning April 1, 2021.
   [12] New Mexico’s 2018 EAVS data on the number of active registrations contained an error; the correct
   number is 1,261,532.
   [13] New York reported having only active voters in the 2016 EAVS. This state also reported an
   uncharacteristically high number of active and total registrations in the 2016 EAVS compared to the
   registrations reported in the general elections of 2014, 2018, and 2020.
   [14] North Dakota does not have voter registration and does not provide data in Section A of the EAVS.
   [15] The Northern Mariana Islands did not participate in the 2016 or the 2018 EAVS. For 2020, the
   Northern Mariana Islands reported in a comment in A1 that “Voter[s] are taken out of the roster once
   inactive as per our Election Statute.”
   [16] Ohio reported “Data not available” for the number of inactive registrations in item A1c in 2020. The
   state did not report inactive registrations in 2018 and 2016.
   [17] Oregon noted in a survey comment that they “do not track number of inactive voters.”
   [18] Pennsylvania reported in the 2016 EAVS that the state could not “differentiate between active and
   inactive from our point in time snapshot of the voter registration numbers.”
   [19] Puerto Rico did not participate in the 2018 EAVS because the territory did not hold federal elections
   in that year.
   [20] Wisconsin is exempt from the NVRA and does not classify inactive voters per NVRA definitions.




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Voter Registration Table 2: Application Sources – Total Forms Received
                                                              Registration Application Source


                    Total                               In Person at                                        Motor Vehicle
       State                     Mail, Email, Fax                                         Online
                 Applications                          Election Office                                       Department


                                  Total         %      Total             %         Total            %       Total           %
Alabama [1]      1,439,361       38,936        2.7   121,744            8.5       391,331          27.2   802,149      55.7
Alaska           1,079,008       78,115        7.2    53,787            5.0       127,471          11.8    75,917       7.0
American Samoa      4,741          48          1.0    4,693            99.0          --             --        --            --
Arizona          2,943,553      280,196        9.5    29,111            1.0      1,329,327         45.2   1,022,403    34.7
Arkansas          556,911       114,258       20.5   106,480           19.1          --             --    265,023      47.6
California       13,498,938     666,363        4.9   450,494            3.3      5,975,098         44.3   2,997,325    22.2
Colorado         3,195,131      449,231       14.1    70,691            2.2       873,530          27.3   1,587,291    49.7
Connecticut      1,247,433      129,295       10.4    98,004            7.9       287,480          23.0   395,285      31.7
Delaware          707,749       255,305       36.1    46,356            6.5       151,652          21.4   252,208      35.6
District of
                  123,147        8,710         7.1    2,345             1.9       36,437           29.6    53,671      43.6
Columbia
Florida          9,511,345      1,171,574     12.3   1,114,491         11.7      1,974,596         20.8   3,798,746    39.9
Georgia [2]      4,931,889      381,107        7.7   111,983            2.3       857,096          17.4   3,290,439    66.7
Guam               16,376           --          --    3,223            19.7        1,016           6.2     10,644      65.0
Hawaii            359,832        55,541       15.4     809              0.2       115,116          32.0    94,350      26.2
Idaho [3]         231,491        73,880       31.9    54,736           23.6       98,290           42.5       --            --
Illinois         1,240,995      410,720       33.1   184,666           14.9      1,196,195         96.4   647,798      52.2
Indiana [4]      2,667,738      451,272       16.9    40,514            1.5       537,526          20.1   842,829      31.6
Iowa              738,352        15,131        2.0    29,148            3.9        4,920           0.7     91,701      12.4
Kansas            817,434       148,506       18.2    65,901            8.1       257,786          31.5   257,918      31.6
Kentucky [5]     1,678,038       36,056        2.1   197,837           11.8       335,156          20.0   1,002,181    59.7
Louisiana [6]     998,149       148,232       14.9   157,764           15.8       474,312          47.5   171,370      17.2
Maine             337,136        45,861       13.6   244,664           72.6          --             --     16,686       4.9
Maryland         3,511,883       99,604        2.8    77,617            2.2      1,258,781         35.8   1,983,252    56.5
Massachusetts    2,476,295      135,422        5.5    60,842            2.5      1,669,789         67.4   575,093      23.2
Michigan [7]     2,857,335      174,902        6.1   198,642            7.0       630,628          22.1   1,826,846    63.9
Minnesota        1,566,807       84,277        5.4   433,328           27.7       374,280          23.9   266,120      17.0
Mississippi       453,531       112,267       24.8   138,026           30.4          --             --    164,594      36.3
Missouri          690,757        94,340       13.7    58,855            8.5       262,479          38.0   242,077      35.0
Montana [8]       359,986       138,645       38.5    86,235           24.0          --             --     86,123      23.9
Nebraska [9]      726,896       142,050       19.5    31,768            4.4       226,227          31.1   321,496      44.2
Nevada           1,069,550      111,299       10.4    21,209            2.0       439,355          41.1   255,919      23.9
New Hampshire
                  810,583        5,783         0.7   804,800           99.3          --             --        --            --
[10]
New Jersey       2,959,834       6,710         0.2     162              0.0       284,928          9.6    1,731,406    58.5
New Mexico        570,254       135,472       23.8    54,294            9.5       206,141          36.1   161,184      28.3
New York [11]    2,299,890      586,547       25.5   129,014            5.6          --             --    1,159,254    50.4
North Carolina   5,164,009      1,850,941     35.8   739,381           14.3       444,602          8.6    1,602,654    31.0
North Dakota
                      --            --          --       --              --          --             --        --            --
[12]




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                                                                 Registration Application Source


                      Total                                In Person at                                         Motor Vehicle
        State                       Mail, Email, Fax                                         Online
                   Applications                           Election Office                                        Department


                                    Total          %      Total             %         Total            %       Total            %
 Northern
                      1,291          36           2.8    1,291           100.0          --             --        --             --
 Mariana Islands
 Ohio               2,995,502      449,093       15.0   350,575           11.7      1,140,233         38.1    696,384      23.2
 Oklahoma           666,094        149,584       22.5    84,209           12.6       86,268           13.0    297,675      44.7
 Oregon             1,955,345      135,106        6.9    56,931            2.9       579,602          29.6    783,103      40.0
 Pennsylvania       3,814,150      355,683        9.3    40,358            1.1      1,237,715         32.5   1,717,266     45.0
 Puerto Rico        121,352           --           --   121,352          100.0          --             --        --             --
 Rhode Island
                    425,389           --           --       --              --          --             --        --             --
 [13]
 South Carolina     2,119,337      416,765       19.7   390,876           18.4       358,852          16.9    901,668      42.5
 South Dakota       163,450        40,568        24.8    37,949           23.2          --             --     75,140       46.0
 Tennessee [14]     1,595,329      213,506       13.4   164,989           10.3       680,172          42.6    446,003      28.0
 Texas              5,147,221     2,074,130      40.3   577,120           11.2          0             0.0    2,042,699     39.7
 U.S. Virgin
                      1,878           --           --    1,692            90.1          --             --        --             --
 Islands
 Utah               2,280,767      55,629         2.4   218,318            9.6       526,018          23.1    366,842      16.1
 Vermont             98,866         2,005         2.0    14,715           14.9       34,109           34.5    39,105       39.6
 Virginia           3,880,532      176,330        4.5   114,381            2.9       713,010          18.4   2,728,717     70.3
 Washington         3,068,727      449,717       14.7   137,107            4.5       769,418          25.1   1,402,506     45.7
 West Virginia      517,145        24,332         4.7    21,822            4.2       174,240          33.7    156,752      30.3
 Wisconsin [15]     920,760        70,386         7.6   166,419           18.1       560,518          60.9       --             --
 Wyoming             86,021         4,035         4.7    81,819           95.1          --             --        --             --
 U.S. Total        103,701,513    13,253,501     12.9   8,605,537          8.3     27,681,700         28.2   39,705,812    39.3




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                                                          Registration Application Source


                                                                                Armed Forces
       State      Public Assistance Offices   Disability Services Offices                           Other State Agencies
                                                                              Recruitment Offices


                    Total           %            Total            %           Total          %       Total          %
Alabama [1]        39,093           2.7         6,477            0.4           292          0.0     16,445         1.1
Alaska              6,090           0.6           59             0.0          3,001         0.3       95           0.0
American Samoa        --             --            --             --            --           --        --           --
Arizona             8,059           0.3          296             0.0          7,754         0.3       13           0.0
Arkansas           18,507           3.3          466             0.1           67           0.0      5,406         1.0
California        177,354           1.3         10,931           0.1          6,669         0.0     116,545        0.9
Colorado           38,028           1.2         2,108            0.1           37           0.0        --           --
Connecticut         5,060           0.4          146             0.0           731          0.1      805           0.1
Delaware            1,006           0.1          773             0.1            0           0.0       0            0.0
District of
                     197            0.2           54             0.0           207          0.2      1,059         0.9
Columbia
Florida            31,752           0.3         3,414            0.0          1,298         0.0     776,330        8.2
Georgia [2]        16,419           0.3         33,856           0.7           103          0.0        --           --
Guam                  --             --            --             --            --           --      1,493         9.1
Hawaii               533            0.1            --             --            --           --       15           0.0
Idaho [3]             --             --            --             --            --           --        --           --
Illinois          145,211          11.7         4,819            0.4         10,642         0.9     98,720         8.0
Indiana [4]        20,059           0.8          624             0.0            0           0.0       74           0.0
Iowa                1,745           0.2           36             0.0           16           0.0       97           0.0
Kansas              2,348           0.3          109             0.0           79           0.0      2,135         0.3
Kentucky [5]       94,657           5.6         1,848            0.1          1,966         0.1        --           --
Louisiana [6]      32,529           3.3         4,042            0.4          2,915         0.3      6,985         0.7
Maine                 --             --            --             --            --           --        --           --
Maryland           15,961           0.5          462             0.0           96           0.0        --           --
Massachusetts      30,202           1.2         2,248            0.1            --           --      2,699         0.1
Michigan [7]        4,579           0.2          493             0.0           66           0.0        --           --
Minnesota             --             --            --             --            --           --        --           --
Mississippi        13,407           3.0          786             0.2            --           --        --           --
Missouri           28,750           4.2          405             0.1           132          0.0      107           0.0
Montana [8]         2,889           0.8            2             0.0           132          0.0       0            0.0
Nebraska [9]         723            0.1          628             0.1           16           0.0        --           --
Nevada             38,576           3.6          850             0.1           320          0.0      512           0.0
New Hampshire
                      --             --            --             --            --           --        --           --
[10]
New Jersey          5,650           0.2         37,322           1.3          4,639         0.2     753,056       25.4
New Mexico         12,437           2.2            0             0.0            0           0.0       0            0.0
New York [11]     117,552           5.1            --             --            --           --     74,983         3.3
North Carolina     56,882           1.1         2,070            0.0            9           0.0      4,218         0.1
North Dakota
                      --             --            --             --            --           --        --           --
[12]
Northern
                      --             --            --             --            --           --        --           --
Mariana Islands
Ohio              214,770           7.2         4,693            0.2           397          0.0     50,967         1.7




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                                                          Registration Application Source


                                                                                Armed Forces
       State      Public Assistance Offices   Disability Services Offices                            Other State Agencies
                                                                              Recruitment Offices


                    Total           %            Total            %           Total          %        Total          %
 Oklahoma          16,688           2.5          572             0.1           18           0.0        45           0.0
 Oregon             7,069           0.4         2,968            0.2            --           --      7,252          0.4
 Pennsylvania      76,897           2.0            --             --           12           0.0         --           --
 Puerto Rico          --             --            --             --            --           --         --           --
 Rhode Island
                      --             --            --             --            --           --         --           --
 [13]
 South Carolina    42,870           2.0          480             0.0          433           0.0         --           --
 South Dakota       3,406           2.1           51             0.0            4           0.0      1,413          0.9
 Tennessee [14]    25,085           1.6           71             0.0         4,496          0.3      10,521         0.7
 Texas            152,724           3.0         2,731            0.1          383           0.0     297,434         5.8
 U.S. Virgin
                      --             --            --             --            --           --         --           --
 Islands
 Utah                36             0.0           49             0.0           36           0.0        0            0.0
 Vermont              --             --            --             --            --           --       327           0.3
 Virginia           6,677           0.2          510             0.0           26           0.0      21,345         0.6
 Washington        36,187           1.2         1,737            0.1         20,907         0.7      13,028         0.4
 West Virginia        --             --            --             --            --           --         --           --
 Wisconsin [15]       --             --            --             --            --           --         --           --
 Wyoming              --             --            --             --            --           --         --           --
 U.S. Total       1,548,664         1.6        129,186           0.1         67,899         0.1     2,264,124       3.0




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                                                  Registration Application Source



           State       Registration Drives                  Other Sources                    Not Categorized



                     Total               %           Total                   %        Total                    %
Alabama [1]         20,402              1.4          2,492                  0.2         0                  0.0
Alaska                0                 0.0         734,473                 68.1        0                  0.0
American Samoa         --                --            --                    --         0                  0.0
Arizona             141,550             4.8         124,844                 4.2         0                  0.0
Arkansas             9,576              1.7         37,128                  6.7         0                  0.0
California          83,435              0.6         927,582                 6.9     2,087,142              15.5
Colorado            86,182              2.7         88,033                  2.8         0                  0.0
Connecticut           17                0.0         330,610                 26.5        0                  0.0
Delaware             449                0.1            --                    --         0                  0.0
District of
                     615                0.5         19,852                  16.1        0                  0.0
Columbia
Florida             689,415             7.2         23,199                  0.2      -73,470               -0.8
Georgia [2]            --                --         240,886                 4.9         0                  0.0
Guam                   --                --            --                    --         0                  0.0
Hawaii                9                 0.0         54,611                  15.2     38,848                10.8
Idaho [3]             30                0.0            11                   0.0       4,544                2.0
Illinois             7,459              0.6            --                    --     -1,465,235            -118.1
Indiana [4]          2,879              0.1         771,710                 28.9       251                 0.0
Iowa                  7                 0.0         595,551                 80.7        0                  0.0
Kansas              23,351              2.9         85,601                  10.5     -26,300               -3.2
Kentucky [5]         8,337              0.5            --                    --         0                  0.0
Louisiana [6]          --                --            --                    --         0                  0.0
Maine               10,497              3.1         19,428                  5.8         0                  0.0
Maryland               --                --         76,110                  2.2         0                  0.0
Massachusetts          --                --            --                    --         0                  0.0
Michigan [7]         9,521              0.3         11,658                  0.4         0                  0.0
Minnesota           14,768              0.9         394,034                 25.1        0                  0.0
Mississippi            --                --         24,451                  5.4         0                  0.0
Missouri               --                --          3,612                  0.5         0                  0.0
Montana [8]         20,155              5.6         25,805                  7.2         0                  0.0
Nebraska [9]           --                --          3,988                  0.5         0                  0.0
Nevada              135,528            12.7         65,982                  6.2         0                  0.0
New Hampshire
                       --                --            --                    --         0                  0.0
[10]
New Jersey             --                --         135,961                 4.6         0                  0.0
New Mexico            0                 0.0           726                   0.1         0                  0.0
New York [11]       14,048              0.6            --                    --      218,492               9.5
North Carolina      172,695             3.3         291,692                 5.6       -1,135               0.0
North Dakota [12]      --                --            --                    --         --                     --
Northern Mariana
                       --                --            --                    --        -36                 -2.8
Islands
Ohio                88,390              3.0            --                    --         0                  0.0




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                                                      Registration Application Source



         State             Registration Drives                  Other Sources                  Not Categorized



                         Total               %           Total                   %        Total                  %
 Oklahoma                  --                --         31,035                  4.7        0                 0.0
 Oregon                    --                --         383,314                 19.6       0                 0.0
 Pennsylvania           78,724              2.1         307,495                 8.1        0                 0.0
 Puerto Rico               --                --            --                    --        0                 0.0
 Rhode Island [13]         --                --            --                    --     425,389             100.0
 South Carolina            --                --          7,393                  0.3        0                 0.0
 South Dakota           4,290               2.6           629                   0.4        0                 0.0
 Tennessee [14]            --                --         50,486                  3.2        0                 0.0
 Texas                    0                 0.0            --                    --        0                 0.0
 U.S. Virgin Islands       --                --           186                   9.9        0                 0.0
 Utah                   3,254               0.1        1,110,585                48.7       0                 0.0
 Vermont                8,605               8.7            --                    --        0                 0.0
 Virginia               70,524              1.8         49,012                  1.3        0                 0.0
 Washington             31,136              1.0         206,984                 6.7        0                 0.0
 West Virginia             --                --         139,999                 27.1       0                 0.0
 Wisconsin [15]         4,623               0.5         118,814                 12.9       0                 0.0
 Wyoming                   --                --           167                   0.2        0                 0.0
 U.S. Total            1,740,471            2.2        7,496,129                8.9     1,208,490            1.2


Voter Registration Table 2 Calculation Notes:
    Total Registration Applications Received uses question A3a.
    Mail, Email, Fax, Total uses question A4a.
    Mail, Email, Fax, % uses question A4a divided by question A3a.
    In Person at Election Office, Total uses question A4b.
    In Person at Election Office, % uses question A4b divided by question A3a.
    Online, Total uses question A4c.
    Online, % uses question A4c divided by question A3a.
    Motor Vehicle Department, Total uses question A4d.
    Motor Vehicle Department, % uses question A4d divided by question A3a.
    Public Assistance Offices, Total uses question A4e.
    Public Assistance Offices, % uses question A4e divided by question A3a.
    Disability Services Offices, Total uses question A4f.
    Disability Services Offices, % uses question A4f divided by question A3a.
    Armed Forces Recruitment Offices, Total uses question A4g.
    Armed Forces Recruitment Offices, % uses question A4g divided by question A3a.
    Other State Agencies, Total uses question A4h.
    Other State Agencies, % uses question A4h divided by question A3a.
    Registration Drives, Total uses question A4i.
    Registration Drives, % uses question A4i divided by question A3a.
    Other Sources, Total uses questions A4j, A4k, and A4l.
    Other Sources, % uses the sum of questions A4j, A4k, and A4l divided by question A3a.



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    Not Categorized, Total uses question A3a minus the sum of questions A4a to A4l.
    Not Categorized, % uses question A3a minus the sum of questions A4a to A4l, all divided by A3a.

Voter Registration Table 2 Data Notes:
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
             calculations at the national level (U.S. Total) only used data from those states that provided data
             for the numerator and denominator of the calculation.
        • States have latitude in which registration application sources are offered to their citizens, so long
             as they do not conflict with federal law. Not all states offer each of the application sources that
             the EAVS collects data for.
        • Questions A4j, A4k, and A4l were not mandatory. States and jurisdictions only reported data in
             these items if they offered another application source aside from those listed in questions A4a–
             A4i or if there were registration applications that could not be categorized in questions A4a–A4i.
        • Negative numbers in the Not Categorized application source indicate that the sum of registrations
             received for each source account for more than the total number of registrations reported
             received by the state.
        • Because each percentage was calculated independently, the percentage of applications received
             through each source may not sum to 100% for some states or at the national level.


    [1] Alabama noted in a survey comment that the state’s A3a data come from an Election Systems &
    Software (ES&S) election survey. In addition, unknown applications sources were not identified.
    [2] Georgia noted in a survey comment that “Election Day registrations listed in A4j, A5j, A6j, and A7j
    represent applications submitted to poll workers on Election Day. Georgia law does not allow ’same day‘
    registration. Changes made through applications turned in on Election Day are effective for future
    elections.”
    [3] Idaho noted in survey comments for multiple counties that the state switched to a new voter
    registration system between the 2018 and the 2020 elections, which made it difficult to track some data
    for these questions.
    [4] Indiana noted in survey comments that “The data reported in A4a–l consists of data from county
    surveys (A4a–b, A4i) and SVRS [statewide voter registration system] (A4c–h, A4j, A4k, A4l). Counties do
    not always manually track the information requested in A4a–b and A4i and therefore aren’t included in the
    sums that should match up to A3a.”
    [5] Kentucky noted in a survey comment that “[D]rives by advocacy groups or political parties’ is used for
    high school registrations.”
    [6] Louisiana noted in a survey comment that “[V]oters submit registration applications for new
    registrations as well as for updates or changes to existing registrations. A4 totals reflect both new
    registrations and changes to registrations.”
    [7] Michigan noted in a survey comment that “2020 is the first EAVS since Michigan implemented
    automatic voter registration and online voter registration, and became a member state of ERC [sic, likely
    referring to the Electronic Registration Information Center].”
    [8] Montana noted in a survey comment that in A4k, online preregistration indicated that a voter still
    needed to sign and submit a registration form to the county elections office.
    [9] Nebraska noted in survey comments that “[O]nline registrations via DMV website are currently in the
    DMV section; unable to split. Registrations received from drives by advocacy groups or political parties A4i
    are not separately categorized and are included in A4a.”




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   [10] New Hampshire noted in survey comments that it is not subject to the NVRA and does not have online
   voter registration.
   [11] New York noted in survey comments that “NYS DMV [New York State Department of Motor Vehicles]
   does allow voters to submit their registration data online, however it does not automatically register voters.
   After submittal to the DMV, the information is forwarded to the appropriate county board of elections to
   approve or deny the voter registration data. NYS BOE [New York State Board of Elections] used the term
   ‘does not apply’ instead of ‘data not available’ since online voter registration has been passed as law, but
   the statewide system was not available for the 2020 election year.”
   [12] North Dakota does not have voter registration and does not provide data in Section A of EAVS.
   [13] Rhode Island reported “data not available” for all modes of registration. The state noted in a survey
   comment that “[D]ata for this section is unavailable. We rolled out a new voter registration system in
   December, 2019 so half of the voter registration records were processed in the old system and half in the
   new system.”
   [14] Tennessee noted in survey comments that, for most of its counties, “[D]ata for agencies serving
   persons with disabilities in [A4]f is included with data for public assistance offices in [A4]e.”
   [15] Wisconsin is exempt from the NVRA and does not classify inactive voters per NVRA definitions, receive
   registrations from NVRA agencies, or collect data on rejected registrations.




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Voter Registration Table 3: Registration Applications Processed
                                                                   Registration Category


                     Total                              Change of Name, Party,                             Preregistrations
      State                          New Valid                                     Change of Address
                  Applications                            or Address (within                              (under 18 years of
                                    Registrations                                  (cross-jurisdiction)
                                                             jurisdiction)                                       age)

                                   Total            %      Total          %          Total         %        Total        %
Alabama [1]       1,439,361      611,844        42.5    1,231,402        85.6          --          --         --         --
Alaska            1,079,008       69,208        6.4      993,700         92.1          --          --         --         --
American
                     4,741        2,263         47.7       133            2.8        160          3.4         0         0.0
Samoa
Arizona           2,943,553      1,114,852      37.9    1,649,653        56.0        8,988        0.3       1,987       0.1
Arkansas           556,911       237,172        42.6     304,333         54.6        2,547        0.5         0         0.0
California        13,498,938     5,130,351      38.0    2,796,476        20.7      375,969        2.8     101,619       0.8
Colorado [2]      3,195,131      1,486,922      46.5    1,398,963        43.8      217,464        6.8      56,126       1.8
Connecticut [3]   1,247,433      426,102        34.2     609,363         48.8      211,754        17.0       214        0.0
Delaware           707,749       251,286        35.5     248,329         35.1      137,846        19.5     19,045       2.7
District of
                   123,147        78,557        63.8      22,754         18.5          0          0.0         0         0.0
Columbia [4]
Florida           9,511,345      1,757,847      18.5    6,382,594        67.1     1,036,119       10.9    154,986       1.6
Georgia           4,931,889      896,843        18.2    2,840,383        57.6      771,590        15.6     53,882       1.1
Guam                16,376        7,898         48.2      2,288          14.0        2,735        16.7       262        1.6
Hawaii             359,832       115,831        32.2      55,982         15.6        2,260        0.6       4,049       1.1
Idaho [5]          231,491       143,814        62.1      80,981         35.0         14          0.0         4         0.0
Illinois          1,240,995      903,388        72.8         --            --          --          --         --         --
Indiana           2,667,738      795,777        29.8    1,353,935        50.8          --          --      47,781       1.8
Iowa [6]           738,352       110,513        15.0         --            --          --          --      11,640       1.6
Kansas             817,434       282,686        34.6     769,790         94.2          --          --         --         --
Kentucky          1,678,038      265,594        15.8     828,745         49.4      177,953        10.6        --         --
Louisiana [7]      998,149       358,864        36.0     389,116         39.0          --          --      15,662       1.6
Maine              337,136       101,929        30.2     116,732         34.6       95,611        28.4      2,734       0.8
Maryland [8]      3,511,883      387,280        11.0    2,874,580        81.9      192,962        5.5         --         --
Massachusetts     2,476,295      438,236        17.7    1,076,032        43.5      511,823        20.7     49,525       2.0
Michigan          2,857,335      1,390,433      48.7    1,267,324        44.4          --          --      41,248       1.4
Minnesota         1,566,807      541,563        34.6     478,932         30.6      300,457        19.2     11,773       0.8
Mississippi [9]    453,531       443,582        97.8         --            --          --          --       8,949       2.0
Missouri [10]      690,757       690,757       100.0    1,939,231       280.7          --          --         --         --
Montana            359,986        60,304        16.8     150,667         41.9      136,272        37.9      1,536       0.4
Nebraska [11]      726,896       192,426        26.5     412,286         56.7       55,859        7.7         --         --
Nevada            1,069,550      279,912        26.2     728,944         68.2          --          --      10,152       0.9
New Hampshire
                   810,583       125,916        15.5     575,516         71.0      103,537        12.8       32         0.0
[12]
New Jersey        2,959,834      878,539        29.7         --            --          --          --         --         --
New Mexico
                   570,254       161,546        28.3     387,804         68.0        7,580        1.3      11,648       2.0
[13]




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                                                                    Registration Category


                     Total                               Change of Name, Party,                             Preregistrations
        State                        New Valid                                      Change of Address
                  Applications                             or Address (within                              (under 18 years of
                                    Registrations                                   (cross-jurisdiction)
                                                              jurisdiction)                                       age)

                                   Total            %       Total          %          Total         %        Total        %
 New York          2,299,890      968,849       42.1     1,300,077        56.5      235,248        10.2    214,037       9.3
 North Carolina    5,164,009     1,563,573      30.3     1,486,375        28.8          --          --         0         0.0
 North Dakota
                       --            --             --        --            --          --          --         --         --
 [14]
 Northern
 Mariana             1,291         1,210        93.7         47            3.6         17          1.3        50         3.9
 Islands
 Ohio              2,995,502     1,316,156      43.9     1,078,627        36.0          --          --      14,703       0.5
 Oklahoma          666,094        314,835       47.3      329,996         49.5          --          --       3,774       0.6
 Oregon [15]       1,955,345      354,524       18.1     1,561,949        79.9          --          --      37,726       1.9
 Pennsylvania      3,814,150      925,690       24.3     1,587,384        41.6      580,754        15.2        0         0.0
 Puerto Rico       121,352        121,144       99.8          --            --          --          --         --         --
 Rhode Island      425,389        52,401        12.3      296,828         69.8       67,104        15.8      9,028       2.1
 South Carolina
                   2,119,337      190,219       9.0      1,929,118        91.0          --          --         --         --
 [16]
 South Dakota      163,450        64,295        39.3       73,069         44.7       24,733        15.1      1,068       0.7
 Tennessee         1,595,329      728,882       45.7      487,345         30.5          --          --         --         --
 Texas             5,147,221     2,820,912      54.8     2,257,372        43.9          --          --         --         --
 U.S. Virgin
                     1,878         1,084        57.7        769           40.9         25          1.3         --         --
 Islands [17]
 Utah              2,280,767      875,194       38.4      987,599         43.3       88,789        3.9      24,463       1.1
 Vermont            98,866        91,710        92.8         0             0.0          --          --         0         0.0
 Virginia          3,880,532      604,701       15.6     1,268,274        32.7      484,416        12.5     46,266       1.2
 Washington
                   3,068,727      807,358       26.3     1,489,191        48.5      325,384        10.6      9,242       0.3
 [18]
 West Virginia
                   517,145        144,808       28.0      323,187         62.5       37,444        7.2         --         --
 [19]
 Wisconsin [20]    920,760        703,492       76.4       12,721          1.4      115,376        12.5       11         0.0
 Wyoming [21]       86,021        45,933        53.4       39,921         46.4          --          --         --         --
 U.S. Total       103,701,513    33,437,005     32.2     48,476,817       49.4     6,308,790       9.5     965,222       1.2




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                                                             Registration Category


      State                 Duplicate           Invalid or Rejected                  Other              Not Categorized


                    Total                %      Total           %            Total            %       Total          %
Alabama [1]          16                 0.0     7,499          0.5             --             --    -411,400        -28.6
Alaska             6,749                0.6     9,351          0.9             --             --        0           0.0
American
                   1,409                29.7    776           16.4             --             --        0           0.0
Samoa
Arizona           112,693               3.8    53,770          1.8          1,610            0.1        0           0.0
Arkansas           12,764               2.3      95            0.0             --             --        0           0.0
California        1,205,489             8.9    659,648         4.9         3,195,931         23.7    33,455         0.2
Colorado [2]       20,952               0.7    14,704          0.5             --             --        0           0.0
Connecticut [3]       --                 --       --            --             --             --        0           0.0
Delaware           28,664               4.1    22,579          3.2             --             --        0           0.0
District of
                   19,579               15.9    2,257          1.8             --             --        0           0.0
Columbia [4]
Florida            14,071               0.1    196,141         2.1          4,378            0.0     -34,791        -0.4
Georgia           363,649               7.4     5,542          0.1             --             --        0           0.0
Guam               2,635                16.1    558            3.4             --             --        0           0.0
Hawaii                --                 --    14,508          4.0         108,714           30.2    58,488         16.3
Idaho [5]          2,751                1.2     257            0.1           574             0.2      3,096         1.3
Illinois          178,728               14.4   56,399          4.5             --             --     102,480        8.3
Indiana           227,505               8.5    31,277          1.2         211,463           7.9        0           0.0
Iowa [6]           44,505               6.0     744            0.1         570,950           77.3       0           0.0
Kansas             30,203               3.7       --            --             --             --    -265,245        -32.4
Kentucky              --                 --    405,746        24.2             --             --        0           0.0
Louisiana [7]      14,458               1.4    11,893          1.2         208,156           20.9       0           0.0
Maine              5,492                1.6     466            0.1          14,172           4.2        0           0.0
Maryland [8]       56,487               1.6     574            0.0             --             --        0           0.0
Massachusetts     380,759               15.4   19,920          0.8             --             --        0           0.0
Michigan          156,839               5.5     1,492          0.1             --             --        -1          0.0
Minnesota         233,861               14.9    221            0.0             --             --        0           0.0
Mississippi [9]       --                 --     1,000          0.2             --             --        0           0.0
Missouri [10]         --                 --      25            0.0             --             --    -1,939,256     -280.7
Montana            10,873               3.0     334            0.1             --             --        0           0.0
Nebraska [11]      65,909               9.1     416            0.1             --             --        0           0.0
Nevada             22,676               2.1    27,866          2.6             --             --        0           0.0
New Hampshire
                   5,582                0.7      0             0.0             --             --        0           0.0
[12]
New Jersey        293,851               9.9    28,687          1.0         1,758,757         59.4       0           0.0
New Mexico
                      --                 --     1,676          0.3             --             --        0           0.0
[13]
New York          406,776               17.7   87,046          3.8             --             --    -912,143        -39.7
North Carolina    1,953,012             37.8   161,049         3.1             --             --        0           0.0




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                                                              Registration Category


        State               Duplicate            Invalid or Rejected                  Other              Not Categorized


                    Total                %       Total           %           Total             %       Total          %
 North Dakota
                      --                 --        --            --            --              --        --           --
 [14]
 Northern
 Mariana              --                 --       17            1.3            --              --       -50          -3.9
 Islands
 Ohio             424,893               14.2   161,123          5.4            --              --        0           0.0
 Oklahoma          1,257                0.2     16,232          2.4            --              --        0           0.0
 Oregon [15]       1,146                0.1        --            --            --              --        0           0.0
 Pennsylvania     354,136               9.3    314,328          8.2         51,858            1.4        0           0.0
 Puerto Rico        208                 0.2        --            --            --              --        0           0.0
 Rhode Island         --                 --       28            0.0            --              --        0           0.0
 South Carolina
                      --                 --        --            --            --              --        0           0.0
 [16]
 South Dakota       160                 0.1       18            0.0          154              0.1       -47          0.0
 Tennessee        294,536               18.5    84,566          5.3            --              --        0           0.0
 Texas                --                 --     68,937          1.3            --              --        0           0.0
 U.S. Virgin
                      --                 --        --            --            --              --        0           0.0
 Islands [17]
 Utah               962                 0.0    303,760         13.3            --              --        0           0.0
 Vermont           5,037                5.1     2,119           2.1            --              --        0           0.0
 Virginia         1,413,248             36.4    63,627          1.6            --              --        0           0.0
 Washington
                  430,440               14.0     866            0.0         6,246             0.2        0           0.0
 [18]
 West Virginia
                   11,420               2.2      286            0.1            --              --        0           0.0
 [19]
 Wisconsin [20]    10,709               1.2        --            --         78,451            8.5        0           0.0
 Wyoming [21]         --                 --      167            0.2            --              --        0           0.0
 U.S. Total       8,827,089             9.7    2,840,590        2.9       6,211,414           14.7   -3,365,414      -3.2


Voter Registration Table 3 Calculation Notes:
    Total Registration Applications Received uses question A3a.
    New Valid Registrations, Total uses question A3b.
    New Valid Registrations, % uses question A3b divided by A3a.
    Change of Name, Party, or Address (within jurisdiction), Total uses question A3f.
    Change of Name, Party, or Address (within jurisdiction), % uses question A3f divided by question A3a.
    Change of Address (cross-jurisdiction), Total uses question A3g.
    Change of Address (cross-jurisdiction), % uses question A3g divided by question A3a.
    Preregistrations (under 18 years of age), Total uses question A3c.
    Preregistrations (under 18 years of age), % uses question A3c divided by question A3a.
    Duplicate Registrations, Total uses question A3d.
    Duplicate Registrations, % uses question A3d divided by question A3a.
    Invalid or Rejected Registrations, Total uses question A3e.
    Invalid or Rejected Registrations, % uses question A3e divided by question A3a.
    Other Registrations, Total uses the sum of questions A3h, A3i, and A3j.



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    Other Registrations, % uses the sum of questions A3h, A3i, and A3j, all divided by question A3a.
    Not Categorized Registrations, Total uses question A3a minus the sum of questions A3b to A3j.
    Not Categorized Registrations, % uses question A3a minus the sum of questions A3b to A3j, all divided by
    question A3a.

Voter Registration Table 3 Data Notes:
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
             calculations at the national level (U.S. Total) only used data from those states that provided data
             for the numerator and denominator of the calculation.
        • Questions A3h, A3i, and A3j were not mandatory. States and jurisdictions only reported data in
             these items if there was another registration category aside from those listed in questions A3b–
             A3g or if there were registration applications that could not be categorized in questions A3b–A3g.
        • Negative numbers in the Not Categorized registration category indicate that the sum of
             registrations received for each category account for more than the total number of registrations
             reported received by the state.
        • Because each percentage was calculated independently, the percentage of applications in each
             category may not sum to 100% for some states or at the national level.
        • Not all states track data to be able to provide responses for each registration category.


    [1] Alabama noted in a survey comment that “Totals are from ES&S [Election Systems & Software] election
    survey. A3c: we do not have pre-registration. A3f: due to the way we track data for changes to records, the
    number of changes resulting directly from registration forms could not be separated from the total number
    of changes made to voter’s records.”
    [2] Colorado noted in a survey comment that “[T]he increase in registrations is attributable to multiple
    factors. Colorado has seen a significant increase in population since 2016. The state conducted three
    elections in 2020, including the first presidential primary in 20 years. In addition, record turnout for the
    November 2020 general election contributed to the increased number of registrations. Another factor
    adding to the increase is the implementation of automatic voter registration in May 2020 in partnership
    with the Colorado Department of Revenue (CDOR). Automatic update to voter registration through CDOR
    was also implemented in 2019. This may also contribute to a somewhat inflated number as the addition of
    a ZIP+4 is counted as an update. Finally, with changes in personnel and as different perspectives are
    applied to data, queries tend to shift in an effort to obtain more accurate and inclusive data for reporting
    purposes.”
    [3] Connecticut noted in a survey comment that the data necessary to respond to question A3 “is not
    retained in the system.”
    [4] The District of Columbia noted in a survey comment that “A3b and A3c ([preregistrations] under 18,
    who turned 18) are total new registrations.”
    [5] Idaho noted in survey comments for multiple counties that the state switched to a new voter
    registration system between the 2018 and the 2020 elections, which made it difficult to track some data
    for these questions.
    [6] Iowa noted in a survey comment that “[A]ll other sources category is due to limitation on system to
    report transaction source of update if it is not a change from previous listed source.”
    [7] Louisiana noted in a survey comment that “[A]ddress changes across jurisdictions are counted as new
    registrations. 16- and 17-year-old citizens can apply to register to vote, but cannot vote until they are 18.”
    [8] Maryland noted in a survey comment that “[T]he total of A3a is the sum of A3b, A3[c], A3d, and A3e.
    Maryland does not consider the registration changes listed in A3f and A3g as registrations, and therefore,



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   the source of these changes is not recorded. For A3c, individuals can register to vote starting at age 16,
   however they are not considered ‘pre-registered.’ 16- and 17-year-olds are considered registered voters,
   they just cannot vote until their 18th birthday.”
   [9] Mississippi noted in survey comments that duplicate and rejected registrations are not tracked.
   [10] Missouri noted in a survey comment that “[C]hanges of names and address report as separate
   transactions. In addition to that anytime the LEA [local election administrator] does an address library
   cleanup process or any change to the voting record it will record as an address change but may not be
   indicated by the voter. Therefore, we are not including the registration forms for change of name and
   address is [sic] the total for this section.”
   [11] Nebraska noted in a survey comment that “Nebraska law does not allow for pre-registrations for
   people not of voting age.”
   [12] New Hampshire noted in survey comments that “NH uses voter registration forms for name, party,
   and address changes.”
   [13] New Mexico noted that the data for these items are not consistently captured across counties at this
   time. The Secretary of State’s office is exploring options to capture and include this information in future
   reports.
   [14] North Dakota does not have voter registration and does not provide data in Section A of the EAVS.
   [15] In Oregon, the number of cross-jurisdiction address changes is included in the number of overall
   changes to registrations. The state does not track the number of invalid/rejected registrations.
   [16] South Carolina noted in survey comments that for the state’s A3d and A3e responses, “SC has no
   process to collect data on duplicate registrations or rejected registrations.”
   [17] The U.S. Virgin Islands noted in survey comments that “A3c: the data was not tracked. A3d: before
   any individual is registered to vote, the individual[’s] information is checked in the system to ensure the
   individual was not previously registered. A3e: a voter will not be registered to vote unless the individual
   provides the required information (birth paper, U.S. passport, etc.). Before the process begins, the
   prospective voter is informed what document and information is required to begin the process.”
   [18] Washington noted in survey comments that the data reported in this question covered the period
   “between 2018-10-08 and 2020-11-03.”
   [19] West Virginia noted in survey comments that “[D]uplicate registrations are based on DMV and online
   registrations.”
   [20] Wisconsin is exempt from the NVRA and does not classify inactive voters per NVRA definitions.
   [21] Wyoming noted in survey comments that “[M]ultiple changes may have occurred on the same form.
   A3a includes a total, but the total could be less. For example, a voter could have submitted one form to
   change their party and address. The data currently reflects that change as 2 forms. A3g. Counties do not
   receive forms for out-of-county address changes. Those numbers are reflected in new jurisdictions as new
   registrations.”




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Voter Registration Table 4: Voter List Maintenance – Confirmation Notices
                                                                    Result of Confirmation Notice
                    Confirmation Notices                                                              Confirmation
                                                Received Confirmation From Voter
                           Sent                                                                        Returned as
            State                                   Valid                       Invalid               Undeliverable
                                    %
                      Total       Active     Total           %           Total             %         Total        %
                                  Voters
 Alabama [1]            --          --       1,826            --        25,755             --          3          --
 Alaska              91,667       15.4       1,108           1.2           --              --       30,692       33.5
 American Samoa       4,741       29.0       4,741          100.0          0              0.0          0         0.0
 Arizona            2,480,620     58.0      75,275           3.0        422,319           17.0      328,161      13.2
 Arkansas            432,798      30.7      89,906          20.8        33,312            7.7       45,003       10.4
 California [2]     6,682,336     30.7      609,638          9.1        557,041           8.3       477,436      7.1
 Colorado            705,625      18.6      13,885           2.0        14,104            2.0          --         --
 Connecticut         178,993       7.7      55,787          31.2        92,022            51.4      25,292       14.1
 Delaware [3]        89,271       12.6         --             --           --              --          --         --
 District of
                     571,363      110.3     26,306           4.6        15,582            2.7       72,114       12.6
 Columbia [4]
 Florida            1,295,491      8.9      121,655          9.4        142,275           11.0      219,736      17.0
 Georgia            1,060,235     14.7      72,979           6.9         4,018            0.4       186,456      17.6
 Guam                 5,874       10.5         --             --           --              --        1,153       19.6
 Hawaii [5]          101,013      13.3      14,576          14.4         4,271            4.2          --         --
 Idaho               36,438        3.5       2,912           8.0           --              --        315         0.9
 Illinois           5,106,813     56.1      333,135          6.5        181,526           3.6       457,373      9.0
 Indiana [6]            --          --         --             --           --              --          --         --
 Iowa [7]            123,320       5.9         --             --           --              --          --         --
 Kansas              227,808      12.9       9,203           4.0        43,892            19.3      16,588       7.3
 Kentucky [8]        366,101      11.0         --             --           --              --          --         --
 Louisiana [9]       325,975      11.0         --             --           --              --          --         --
 Maine [10]           2,147        0.2        0              0.0          733             34.1         --         --
 Maryland [11]       238,027       5.7       3,587           1.5          436             0.2          --         --
 Massachusetts
                     608,691      13.8         --             --           --              --          --         --
 [12]
 Michigan            207,229       2.9       1,143           0.6        27,214            13.1      20,030       9.7
 Minnesota [13]         --          --         --             --           --              --          --         --
 Mississippi         82,826        4.2         --             --           --              --          --         --
 Missouri [14]       381,716       9.6      149,017         39.0        39,299            10.3      78,034       20.4
 Montana             107,111      15.8       8,491           7.9         2,344            2.2       26,537       24.8
 Nebraska            160,117      13.7      27,030          16.9        24,931            15.6      21,046       13.1
 Nevada [15]         361,871      19.7      158,854         43.9        26,222            7.2       153,156      42.3
 New Hampshire
                     15,180        1.4       112             0.7           --              --        4,834       31.8
 [16]
 New Jersey [17]     311,385       5.3         --             --           --              --          --         --
 New Mexico [18]     136,426      10.9        0              0.0           3              0.0        9,348       6.9



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                                                                       Result of Confirmation Notice
                       Confirmation Notices                                                              Confirmation
                                                    Received Confirmation From Voter
                              Sent                                                                        Returned as
        State                                           Valid                      Invalid               Undeliverable
                                       %
                         Total       Active      Total           %          Total             %         Total        %
                                     Voters
 New York               159,462       1.3       23,345          14.6       31,315            19.6      19,065       12.0
 North Carolina         873,911      13.2          --            --           --              --       263,271      30.1
 North Dakota [19]         --          --          --            --           --              --          --         --
 Northern Mariana
                         4,907       26.5          --            --           --              --         50         1.0
 Islands
 Ohio                   712,068       8.8      109,453          15.4       34,224            4.8       48,535       6.8
 Oklahoma               181,034       9.0       18,688          10.3        2,954            1.6       27,775       15.3
 Oregon                 329,443      11.2          --            --           --              --          --         --
 Pennsylvania           753,942       9.1       74,955          9.9        41,087            5.4       111,594      14.8
 Puerto Rico [20]          --          --          --            --           --              --          --         --
 Rhode Island           83,980       11.4          --            --           --              --          --         --
 South Carolina         75,796        2.1       17,001          22.4         487             0.6        1,829       2.4
 South Dakota           17,795        3.1        216            1.2          179             1.0       12,298       69.1
 Tennessee              137,130       3.2       19,496          14.2        1,724            1.3       23,078       16.8
 Texas                 1,068,037      7.0      758,850          71.1       111,387           10.4         --         --
 U.S. Virgin Islands
                           --          --          --            --           --              --          --         --
 [21]
 Utah                   20,225        1.2         42            0.2         2,306            11.4      17,877       88.4
 Vermont                66,126       15.0       21,774          32.9       44,352            67.1         0         0.0
 Virginia [22]          189,162       3.3       11,379          6.0           --              --        4,981       2.6
 Washington             481,684       9.8      150,796          31.3       44,754            9.3        6,407       1.3
 West Virginia [23]     10,291        1.0         68            0.7          227             2.2        434         4.2
 Wisconsin [24]         345,893       9.0       21,241          6.1           --              --       93,419       27.0
 Wyoming [25]              --          --          --            --           --              --          --         --
 U.S. Total            28,010,094    14.3      3,008,470        12.1      1,972,295          8.1    2,803,920       11.9




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                                             Result of Confirmation Notice


                        Status Unknown                   Other                   Not Categorized
           State


                     Total           %          Total             %           Total            %

Alabama [1]            --            --           --               --           --             --
Alaska              59,867          65.3          --               --           0             0.0
American Samoa        0             0.0           --               --           0             0.0
Arizona            1,650,963        66.6        3,902             0.2           0             0.0
Arkansas           264,968          61.2        3,276             0.8         -3,667          -0.8
California [2]     4,508,305        67.5       510,244            7.6        19,672           0.3
Colorado           677,636          96.0          --               --           0             0.0
Connecticut         5,911           3.3           --               --          -19            0.0
Delaware [3]           --            --           --               --        89,271          100.0
District of
                   457,361          80.0          --               --           0             0.0
Columbia [4]
Florida            590,070          45.5        7,030             0.5        214,725          16.6
Georgia            796,782          75.2          --               --           0             0.0
Guam                4,721           80.4          --               --           0             0.0
Hawaii [5]             --            --        42,370            41.9        39,796           39.4
Idaho               33,211          91.1          --               --           0             0.0
Illinois           4,134,779        81.0          --               --           0             0.0
Indiana [6]            --            --           --               --           --             --
Iowa [7]            65,857          53.4          --               --        57,463           46.6
Kansas              7,715           3.4           --               --        150,410          66.0
Kentucky [8]           --            --           --               --        366,101         100.0
Louisiana [9]          --            --           --               --        325,975         100.0
Maine [10]          1,414           65.9          --               --           0             0.0
Maryland [11]      234,004          98.3          --               --           0             0.0
Massachusetts
                       --            --           --               --        608,691         100.0
[12]
Michigan           158,842          76.7          --               --           0             0.0
Minnesota [13]         --            --           --               --           --             --
Mississippi         82,826         100.0          --               --           0             0.0
Missouri [14]          --            --           --               --        115,366          30.2
Montana             69,633          65.0         106              0.1           0             0.0
Nebraska            87,110          54.4          --               --           0             0.0
Nevada [15]         23,639          6.5           --               --           0             0.0
New Hampshire
                    10,234          67.4          --               --           0             0.0
[16]
New Jersey [17]    311,385         100.0          --               --           0             0.0
New Mexico [18]    127,075          93.1          --               --           0             0.0
New York            83,889          52.6          --               --         1,848           1.2



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                                                    Result of Confirmation Notice


                            Status Unknown                       Other                   Not Categorized
        State


                         Total            %            Total              %           Total            %

 North Carolina         563,120         64.4          47,520              5.4          0              0.0
 North Dakota [19]         --             --             --                --           --             --
 Northern Mariana
                           --             --             --                --        4,857            99.0
 Islands
 Ohio                   519,856         73.0             --                --          0              0.0
 Oklahoma               131,617         72.7             --                --          0              0.0
 Oregon                    --             --          329,443            100.0         0              0.0
 Pennsylvania           206,085         27.3          320,221            42.5          0              0.0
 Puerto Rico [20]          --             --             --                --           --             --
 Rhode Island              --             --             --                --        83,980          100.0
 South Carolina         52,132          68.8           4,347              5.7          0              0.0
 South Dakota            5,102          28.7             --                --          0              0.0
 Tennessee              92,832          67.7             --                --          0              0.0
 Texas                  197,800         18.5             --                --          0              0.0
 U.S. Virgin Islands
                           --             --             --                --           --             --
 [21]
 Utah                      --             --             --                --          0              0.0
 Vermont                   0             0.0             --                --          0              0.0
 Virginia [22]          172,802         91.4             --                --          0              0.0
 Washington             279,727         58.1             --                --          0              0.0
 West Virginia [23]      9,408          91.4            154               1.5          0              0.0
 Wisconsin [24]         231,233         66.9             --                --          0              0.0
 Wyoming [25]              --             --             --                --           --             --
 U.S. Total            16,909,911       65.8         1,268,613            9.7       2,074,469         7.4


Voter Registration Table 4 Calculation Notes:
    Confirmation Notices Sent, Total uses question A8a.
    Confirmation Notices Sent as % of Active Voters uses question A8a divided by question A1b.
    Confirmation Notices Received - Valid, Total uses question A8b.
    Confirmation Notices Received - Valid, % uses question A8b divided by question A8a.
    Confirmation Notices Received - Invalid, Total uses question A8c.
    Confirmation Notices Received - Invalid, % uses question A8c divided by question A8a.
    Confirmation Notice Returned Undeliverable, Total uses question A8d.
    Confirmation Notice Returned Undeliverable, % uses question A8d divided by question A8a.
    Status Unknown, Total uses question A8e.
    Status Unknown, % uses question A8e divided by question A8a.
    Other Confirmation Notices, Total uses the sum of questions A8f, A8g, and A8h.
    Other Confirmation Notices, % uses the sum of questions A8f, A8g, and A8h, all divided by question A8a.
    Not Categorized Confirmation Notices, Total uses question A8a minus the sum of questions A8b to A8h.



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    Not Categorized Confirmation Notices, % uses question A8a minus the sum of questions A8b to A8h, all
    divided by question A8a.

Voter Registration Table 4 Data Notes:
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
             calculations at the national level (U.S. Total) only used data from those states that provided data
             for the numerator and denominator of the calculation.
        • Questions A8f, A8g, and A8h were not mandatory. States and jurisdictions only reported data in
             these items if there was another confirmation notice status aside from those listed in questions
             A8b–A8e or if there were registration applications that could not be categorized in questions A8b–
             A8e.
        • Negative numbers in the Not Categorized confirmation notices category indicate that the sum of
             confirmation notices for each category account for more than the total number of confirmation
             notices reported by the state.
        • Because each percentage was calculated independently, the percentage of confirmation notices
             in each category may not sum to 100% for some states or at the national level.
        • Not all states track data to be able to provide responses for each confirmation notice category.
        • States that are exempt from the NVRA are not required to send confirmation notices pursuant to
             the NVRA, although they may send confirmation notices (or other similar notices) pursuant to
             state law or practice. States that do not use confirmation notices typically use other sources of
             data to identify potentially ineligible voters.


    [1] Alabama noted in a survey comment that “[W]e do not have a report that has the total number of
    confirmation notices sent.” Because Alabama does not report the total number of confirmation notices
    sent, the number of ‘Not Categorized’ confirmation notices cannot be calculated. For the same reason,
    their responses were not included when calculating the total ‘Not Categorized’ confirmation notices at the
    national level.
    [2] California has increased list maintenance training statewide to all county elections officials, including
    training regarding when to send confirmation notices per the NVRA and updated California state law.
    [3] Delaware noted in a survey comment that “In 2019, the state of DE changed voter registration vendors-
    from an in-house mainframe system to a cloud based provider. The data request is unavailable due to the
    differences in the 2 systems. The information requested was not tracked and/or converted to the new
    system.”
    [4] The District of Columbia notes that the data reported in EAVS under A8a (Confirmation Notices Sent) do
    not comprise list maintenance activities. This has caused confusion when receiving a Freedom of
    Information Act (FOIA) request for D2 notices, and this number does not match the figure in A8a.
    [5] Hawaii noted in survey comments that three of its four counties that submit EAVS data do not “have
    counts of confirmed, invalidated, undeliverable, or unknown.”
    [6] Indiana noted in a survey comment that “Indiana’s understanding is this aligns with voter list
    maintenance activities. Indiana does not send the removal notices referenced by the EAC survey, Indiana
    provided the number of voter records cancelled due to being in inactive status for more than 2 federal
    general elections for question A9e.”
    [7] Iowa noted in a survey comment that the state’s “system does not track follow up status information.”
    [8] Kentucky noted in a survey comment that “[O]ur system tracks all undeliverable mail to qualify for the
    8(d)2 notifications. Two separate batches have been sent during this time period. We have not yet finished
    scanning and categorizing the returns. Therefore, the only data available is the number sent.”



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   [9] Louisiana noted in a survey comment that “[C]onfirmation notices are sent pursuant to 52 USC
   §20507(d)(2). The Department of State only collects the total number of sent confirmation notices.”
   [10] Maine noted in a survey comment that “A8d: see A8e, voters made inactive if CACC [Change of
   Address Confirmation Card] undeliverable.”
   [11] Maryland noted in a survey comment that “A8d data is included in A8e.”
   [12] Massachusetts noted in a survey comment that the state “cannot provide data on result of
   [confirmation] notices.”
   [13] Minnesota is NVRA exempt and responded “Does not apply” to all items regarding confirmation
   notices (A8).
   [14] Missouri noted in a survey comment that “A8a does not total [because] we do not track all
   information requested.”
   [15] Nevada reported in survey comments that two of its counties did not track confirmation notices.
   [16] New Hampshire noted in a survey comment that “NH does not send confirmation notices, but does
   send 30-day letters.”
   [17] New Jersey does not track confirmation notices returned by the voter or returned undeliverable.
   [18] New Mexico noted that the data for these items are not consistently captured across counties at this
   time. The Secretary of State’s office is exploring options to capture and include this information on future
   reports.
   [19] North Dakota does not have voter registration and does not provide data in Section A of the EAVS.
   [20] Puerto Rico is NVRA exempt and responded “Does not apply” to all items regarding confirmation
   notices (A8).
   [21] The U.S. Virgin Islands are NVRA exempt and responded “Data not available” to all items regarding
   confirmation notices (A8).
   [22] Virginia does not currently track returned confirmation notices.
   [23] West Virginia reported in a survey comment that “[S]ome counties tracked undeliverables as ‘no
   response,’ so they are included in status unknown totals.”
   [24] Wisconsin is exempt from NVRA; however, the state sent notices to voters who have not voted in a
   four-year period, as well as Electronic Registration Information Center (ERIC) mover mailings. Notices are
   sent to voters who register to vote or whose voter information may be out of date.
   [25] Wyoming is NVRA exempt and responded “Does not apply” to all items regarding confirmation notices
   (A8).




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Voter Registration Table 5: Voter List Maintenance – Removal Actions
                  Voters Removed                                  Reason for Removal
                                                                             Failure to Return
                                       Moved Out of
       State                  % of                            Death            Confirmation      Voter’s Request
                                       Jurisdiction
                   Total      Reg.                                                Notice
                             Voters
                                       Total      %      Total         %       Total       %      Total       %

Alabama          136,557      3.7      9,069     6.6    94,396        69.1     266        0.2     230        0.2
Alaska            53,132      8.2      3,691     6.9     8,485        16.0    30,358      57.1    8,729     16.4
American
                  2,124      13.0       0        0.0     336          15.8    1,788       84.2     0         0.0
Samoa
Arizona          350,841      7.4     82,095     23.4   71,706        20.4   121,011      34.5   28,516      8.1
Arkansas         175,336      9.6     12,448     7.1    37,185        21.2   116,787      66.6    560        0.3
California [1]   1,635,987    6.3     496,397    30.3   355,332       21.7   351,301      21.5   60,293      3.7
Colorado         416,819      9.9     104,155    25.0   62,005        14.9   210,941      50.6   32,908      7.9
Connecticut       53,652      2.1     19,812     36.9   18,986        35.4    3,443       6.4    10,438     19.5
Delaware          39,772      5.4      8,254     20.8    6,210        15.6    24,900      62.6    108        0.3
District of
                  67,400     10.8     25,864     38.4    7,979        11.8    33,124      49.1      --        --
Columbia
Florida          1,009,246    6.6     210,587    20.9   334,033       33.1   320,706      31.8   124,558    12.3
Georgia [2]      505,728      6.6      6,700     1.3    137,645       27.2   257,010      50.8    3,100      0.6
Guam              9,722      17.4       44       0.5     717          7.4     8,961       92.2      --        --
Hawaii            47,670      5.7      4,309     9.0    15,152        31.8    23,620      49.5    4,516      9.5
Idaho             24,639      2.4      739       3.0     431          1.7     9,082       36.9     0         0.0
Illinois         643,336      6.6     305,984    47.6   161,055       25.0   171,920      26.7      --        --
Indiana [3]      1,023,732   21.8      8,716     0.9      4           0.0     94,837      9.3       --        --
Iowa             126,968      5.7     22,424     17.7   52,262        41.2    48,771      38.4    817        0.6
Kansas           134,771      7.0     18,601     13.8   40,484        30.0    65,020      48.2    588        0.4
Kentucky         100,181      2.8      7,534     7.5    77,442        77.3      0         0.0     874        0.9
Louisiana [4]    296,761      9.6     125,794    42.4   72,493        24.4    44,947      15.1   12,479      4.2
Maine            153,846     13.5     122,310    79.5   23,713        15.4    1,942       1.3     709        0.5
Maryland         260,666      6.1     58,583     22.5   73,564        28.2   122,649      47.1    863        0.3
Massachusetts    804,445     16.7     523,079    65.0   89,088        11.1   131,641      16.4    9,136      1.1
Michigan [5]     239,780      3.0     46,047     19.2   187,608       78.2      0         0.0     6,125      2.6
Minnesota [6]    206,475      5.5     72,296     35.0   61,389        29.7    72,090      34.9      --        --
Mississippi       89,640      4.2     17,485     19.5   50,463        56.3    18,500      20.6    1,109      1.2
Missouri         411,661      9.5     119,044    28.9   119,144       28.9   150,562      36.6    2,369      0.6
Montana [7]       73,718      9.9      8,231     11.2   14,758        20.0    38,110      51.7    3,000      4.1
Nebraska          94,352      7.4     18,252     19.3   27,308        28.9    20,697      21.9   23,706     25.1
Nevada           157,592      7.7     41,145     26.1   27,699        17.6    65,045      41.3   22,303     14.2
New
                 140,979     13.0     129,428    91.8    6,255        4.4       --          --      --        --
Hampshire
New Jersey       264,136      4.2     58,588     22.2   114,301       43.3    84,871      32.1    474        0.2
New Mexico        79,636      5.9      4,268     5.4    27,582        34.6    31,919      40.1   10,897     13.7
New York         580,170      4.3     248,905    42.9   158,216       27.3   100,411      17.3   10,439      1.8




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                    Voters Removed                                     Reason for Removal
                                                                                   Failure to Return
                                          Moved Out of
        State                   % of                                Death            Confirmation      Voter’s Request
                                          Jurisdiction
                    Total       Reg.                                                    Notice
                               Voters
                                          Total      %       Total           %       Total       %      Total       %

 North Carolina   1,283,363    17.4     506,445     39.5   130,915          10.2   589,764      46.0    3,692      0.3
 North Dakota
                      --         --         --       --        --            --        --         --      --        --
 [8]
 Northern
 Mariana            5,049      27.3         --       --      108            2.1     4,907       97.2      --        --
 Islands
 Ohio              984,190     12.2     267,042     27.1   170,651          17.3   441,576      44.9   94,541      9.6
 Oklahoma          234,034     10.4      91,344     39.0    43,757          18.7    88,285      37.7    959        0.4
 Oregon [9]        106,692      3.6      20,197     18.9    58,802          55.1    9,766       9.2    17,457     16.4
 Pennsylvania
                   883,947      9.8     416,884     47.2   196,386          22.2   263,009      29.8    6,376      0.7
 [10]
 Puerto Rico       761,087     32.3       266       0.0    136,822          18.0   623,275      81.9     0         0.0
 Rhode Island      49,304       6.1      9,927      20.1    12,366          25.1    21,369      43.3    1,434      2.9
 South Carolina
                   140,077      3.6      33,796     24.1    81,939          58.5    14,749      10.5    570        0.4
 [11]
 South Dakota      24,151       3.8      1,105      4.6     9,994           41.4    10,854      44.9    567        2.3
 Tennessee         508,768     11.5     194,624     38.3    83,756          16.5   218,348      42.9    3,499      0.7
 Texas            1,751,446    10.3     144,214     8.2    272,826          15.6   505,668      28.9   11,010      0.6
 U.S. Virgin
                    1,931       3.6       275       14.2    1,614           83.6       --         --     42        2.2
 Islands [12]
 Utah              67,468       3.6      12,488     18.5    20,810          30.8    33,956      50.3    185        0.3
 Vermont           44,352       9.1        0        0.0     9,605           21.7    18,876      42.6    5,286     11.9
 Virginia          879,921     14.7     569,837     64.8    93,716          10.7   188,774      21.5   13,886      1.6
 Washington        305,845      5.8      84,754     27.7    61,104          20.0    4,192       1.4    41,969     13.7
 West Virginia     94,032       7.4      9,767      10.4    27,536          29.3    53,729      57.1    333        0.4
 Wisconsin [13]    198,061      5.2      37,490     18.9    68,968          34.8    75,624      38.2    676        0.3
 Wyoming           45,866      15.1      1,176      2.6     3,495           7.6     40,973      89.3     26        0.1
 U.S. Total       18,781,054    8.2     5,342,509   28.5   4,020,596        21.4   5,984,924    32.1   582,352     3.5




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                                                      Reason for Removal


       State     Felony or Conviction   Mental Incompetence              Other             Not Categorized


                 Total           %       Total        %          Total            %      Total          %

Alabama          5,573          4.1       127        0.1        26,896           19.7     0             0.0
Alaska           1,869          3.5        0         0.0           --             --      0             0.0
American
                   0            0.0        0         0.0           --             --      0             0.0
Samoa
Arizona          13,476         3.8       418        0.1        33,619           9.6      0             0.0
Arkansas         4,317          2.5       57         0.0         4,419           2.5     -437          -0.2
California [1]   19,069         1.2       672        0.0        352,014          21.5    909            0.1
Colorado         5,183          1.2        --         --         1,627           0.4      0             0.0
Connecticut       973           1.8        --         --           --             --      0             0.0
Delaware          300           0.8        --         --           --             --      0             0.0
District of
                  433           0.6        --         --           --             --      0             0.0
Columbia
Florida          15,903         1.6      1,993       0.2         2,756           0.3    -1,290         -0.1
Georgia [2]      54,730         10.8      312        0.1        46,231           9.1      0             0.0
Guam               --            --        --         --           --             --      0             0.0
Hawaii            73            0.2        0         0.0           --             --      0             0.0
Idaho             21            0.1        0         0.0         6,016           24.4    8,350         33.9
Illinois         4,377          0.7        --         --           --             --      0             0.0
Indiana [3]        1            0.0        --         --         5,318           0.5    914,856        89.4
Iowa             2,645          2.1       49         0.0           --             --      0             0.0
Kansas           3,377          2.5       20         0.0         7,351           5.5     -670          -0.5
Kentucky         13,358         13.3      973        1.0           --             --      0             0.0
Louisiana [4]    14,817         5.0       115        0.0        26,116           8.8      0             0.0
Maine              --            --        --         --         5,172           3.4      0             0.0
Maryland         3,910          1.5       44         0.0         1,053           0.4      0             0.0
Massachusetts     747           0.1        --         --        50,754           6.3      0             0.0
Michigan [5]       --            --        --         --           --             --      0             0.0
Minnesota [6]      --            --        --         --         700             0.3      0             0.0
Mississippi      1,240          1.4       33         0.0         810             0.9      0             0.0
Missouri         12,371         3.0      1,566       0.4         6,605           1.6      0             0.0
Montana [7]       69            0.1        4         0.0         9,546           12.9     0             0.0
Nebraska         3,395          3.6        0         0.0         994             1.1      0             0.0
Nevada           1,337          0.8       63         0.0           --             --      0             0.0
New
                  26            0.0        --         --         5,270           3.7      0             0.0
Hampshire
New Jersey       5,902          2.2        0         0.0           --             --      0             0.0
New Mexico       4,970          6.2        --         --           --             --      0             0.0
New York         4,439          0.8       98         0.0           --             --    57,662          9.9
North Carolina   16,788         1.3        0         0.0        35,759           2.8      0             0.0




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                                                       Reason for Removal


        State     Felony or Conviction   Mental Incompetence             Other              Not Categorized


                   Total          %       Total        %         Total            %       Total          %
 North Dakota
                     --           --        --         --          --             --       --             --
 [8]
 Northern
 Mariana            34           0.7        --         --          --             --       0             0.0
 Islands
 Ohio             10,361         1.1       19         0.0          --             --       0             0.0
 Oklahoma          3,335         1.4       150        0.1        6,204           2.7       0             0.0
 Oregon [9]          --           --        --         --        470             0.4       0             0.0
 Pennsylvania
                    6            0.0       194        0.0        1,092           0.1       0             0.0
 [10]
 Puerto Rico         --           --       697        0.1         27             0.0       0             0.0
 Rhode Island      810           1.6        2         0.0        3,396           6.9       0             0.0
 South Carolina
                   7,078         5.1        --         --        1,945           1.4       0             0.0
 [11]
 South Dakota      1,613         6.7        2         0.0         16             0.1       0             0.0
 Tennessee         7,354         1.4        --         --        1,187           0.2       0             0.0
 Texas             4,697         0.3       730        0.0      812,301           46.4      0             0.0
 U.S. Virgin
                     --           --        0         0.0          --             --       0             0.0
 Islands [12]
 Utah               29           0.0        --         --          --             --       0             0.0
 Vermont             --           --        --         --       10,585           23.9      0             0.0
 Virginia         10,480         1.2      1,020       0.1        2,208           0.3       0             0.0
 Washington        2,767         0.9       170        0.1      110,889           36.3      0             0.0
 West Virginia     1,285         1.4        2         0.0        1,380           1.5       0             0.0
 Wisconsin [13]    3,855         1.9       112        0.1       11,336           5.7       0             0.0
 Wyoming            46           0.1        1         0.0        149             0.3       0             0.0
 U.S. Total       269,439        1.6      9,643       0.1      1,592,211         10.4   979,380          5.2


Voter Registration Table 5 Calculation Notes:
    Voters Removed, Total uses question A9a.
    Voters Removed, % Registered Voters uses question A9a divided by question A1a.
    Moved Out of Jurisdiction, Total uses question A9b.
    Moved Out of Jurisdiction, % uses question A9b divided by question A9a.
    Death, Total uses question A9c.
    Death, % uses question A9c divided by question A9a.
    Failure to Return Confirmation Notice, Total uses question A9e.
    Failure to Return Confirmation Notice, % uses question A9e divided by question A9a.
    Voter’s Request, Total uses question A9g.
    Voter’s Request, % uses question A9g divided by question A9a.
    Felony or Conviction, Total uses question A9d.
    Felony or Conviction, % uses question A9d divided by question A9a.
    Mental Incompetence, Total uses question A9f.
    Mental Incompetence, % uses question A9f divided by question A9a.
    Other, Total uses the sum of questions A9h, A9i, and A9j.



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    Other, % uses the sum of questions A9h, A9i, and A9j, all divided by question A9a.
    Not Categorized, Total uses question A9a minus the sum of questions A9b to A9j.
    Not Categorized, % uses question A9a minus the sum of questions A9b to A9j, all divided by question A9a.

Voter Registration Table 5 Data Notes:
    General Notes:
        • Casewise deletion at the state level was used in calculating national percentages. The percentage
             calculations at the national level (U.S. Total) only used data from those states that provided data
             for the numerator and denominator of the calculation.
        • Questions A9h, A9i, and A9g were not mandatory. States and jurisdictions only reported data in
             these items if there was another reason for registration removals aside from those listed in
             questions A9b–A9g or if there were registration removals that could not be categorized in
             questions A9b–A9e.
        • Negative numbers in the Not Categorized registration removals category indicate that the sum of
             registration removals for each category account for more than the total number of registration
             removals reported received by the state.
        • Because each percentage was calculated independently, the percentage of confirmation notices
             in each category may not sum to 100% for some states or at the national level.
        • Not all states track data to be able to provide responses for each registration removal category. In
             addition, not all states may remove registrations for the listed reason.


    [1] California has increased list maintenance training statewide to all county elections officials, including
    training regarding removal actions per the NVRA and updated California state law.
    [2] Georgia noted in a survey comment that “A9b represents voters who moved out of the state.”
    [3] Indiana noted in a survey comment that “[T]he data reported in A9b–j consists of data from the ad hoc
    report (A9b–d, A9g–j) and SVRS [statewide voter registration system] (A9e). Indiana provided the number
    of voter records cancelled due to being in inactive status for more than 2 federal general elections for
    question A9e. These statistics represent the majority of cancellations for this reason, based on the county
    user selecting the option to run this process in batch. However, county users have the option to also
    cancel voters one-by-one for this reason, but those statistics are not included in the counts for question
    A9e.”
    [4] Louisiana noted in a survey comment that “[I]rregularities include voters that were cancelled by the
    registrar of voters because the registrant provided insufficient or incorrect data, or user processing error.
    Challenge 21 includes voters who were registered in another state or not a United States citizen, or were
    otherwise not qualified to be registered for reasons other than change of residence.”
    [5] Michigan noted in a survey comment that “A9d: in MI, registered voters cannot cast a ballot while they
    are incarcerated serving sentence; however, their registration is never cancelled. Felony convictions alone
    do not disqualify voters from casting a ballot.”
    [6] Minnesota noted in a survey comment that “A9d and A9f: voter is not removed but status changes to
    ‘challenged.’ A9e: did not vote or update registration in prior four years. A9g: voter request not tracked
    separately, is included in A9h.”
    [7] Montana noted in a survey comment that “A9d: felony cancellations as reported in voter registration
    database.”
    [8] North Dakota does not have voter registration and does not provide data in Section A of the EAVS.
    [9] Oregon reported in a survey comment that “[I]ncarcerated voters are inactivated not removed.”
    [10] Pennsylvania reported in a survey comment that “PA won’t be reporting declared mentally
    incompetent in future surveys. The cancellation option is no longer available to county officials.”



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   [11] South Carolina reported in a survey comment that “A9f: it is rare for voters to be removed for this
   reason and would be included under ‘other’ (A9h).”
   [12] The U.S. Virgin Islands reported in a survey comment that the territory “no longer purges voters who
   did not vote in the past two general election. A voter can only be removed off the voting roll due to their
   death, request to be removed or move out of territory, or convicted of a felony. The voter will be reinstated
   once they serve their sentence. ESVI [Election System of the Virgin Islands] is planning to do more
   outreach to voters including notifying voters of voting centers, their respective voting centers, voter
   registration status to name a few.”
   [13] Wisconsin is exempt from the NVRA and does not classify inactive voters per NVRA definitions. Only
   active voters are registered and eligible to vote in Wisconsin. Wisconsin’s registered voters count for this
   report includes military voters, even though they are not required to “register” in Wisconsin. Wisconsin
   requires voters to re-register each time their address changes. For the purposes of this report, voters are
   only counted as being “removed” from the voter rolls if they did not re-register at a new address. Even
   voters who move within the same jurisdiction must re-register in Wisconsin; therefore, Wisconsin does not
   track these voters separately.




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Chapter 4. Military and Overseas
Voting in 2020: UOCAVA
Key Findings
The Election Administration and Voting Survey (EAVS) Section B collected data from states and
municipalities on individuals covered by the Uniformed and Overseas Citizens Absentee Voting Act
(UOCAVA) during the 2020 federal general election. Election officials were asked a variety of
questions relating to UOCAVA voting practices, including the total number of registered UOCAVA
voters, the use of the Federal Post Card Application (FPCA), the quantity and method of ballots
transmitted to and returned by UOCAVA voters, and the use of the Federal Write-In Absentee Ballot
(FWAB). 1 Among the results of this section, notable findings include:

   • Just over 40% of registered UOCAVA voters held legal voting residence in three states:
     California, Florida, and Washington.
   • Continuing a trend that began with the 2016 EAVS, overseas citizens made up a larger
     percentage of registered UOCAVA voters than did members of the uniformed services.
   • More than 1.2 million ballots were transmitted to UOCAVA voters by election offices. More than
     900,000 of these ballots were returned by UOCAVA voters and were submitted for counting.
   • UOCAVA voters increasingly used electronic methods to receive and return their absentee
     ballots, but rates differed by UOCAVA voter type, with more overseas citizens using electronic
     options than uniformed services members, who continue to rely primarily on postal mail.
   • The most common reason for UOCAVA ballot rejection was that the ballot was received after a
     state’s UOCAVA absentee ballot receipt deadline.
   • FWAB usage continued to increase in 2020, with more UOCAVA voters using this backup ballot
     to cast their vote than in previous election cycles.

Introduction
The U.S. Election Assistance Commission (EAC) is required by the Help America Vote Act of 2002
(HAVA) to collect data from states 2 and to report on absentee voting by uniformed services members
and overseas citizens. 3 Since 2014, the EAC has fulfilled this reporting mandate in partnership with
the Federal Voting Assistance Program (FVAP), the agency designated to administer UOCAVA on

1 The response rate among local jurisdictions for EAVS Section B was 99.9%; five counties in Arkansas did not provide

Section B data. In addition, the response rate for individual items varied. Results reported in this chapter include only
states for which data are available for a given question. State and national totals include all available jurisdiction-level
data. National-level percentages reported in this chapter used casewise deletion.
2 Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 50 U.S. states, the

District of Columbia and five U.S. territories (American Samoa, Guam, the Northern Mariana Islands, Puerto Rico, and the
U.S. Virgin Islands) that submit Election Administration Policy Survey and EAVS data.
3 The Help America Vote Act of 2002 (HAVA), 52 U.S.C. § 20901. The EAC works with FVAP to collect comprehensive data

from the states on all of the ballots sent and received by voters covered under UOCAVA (52 U.S.C. § 20301(b)(11)).



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behalf of the U.S. Department of Defense (DOD). Through a memorandum of understanding between
the EAC and FVAP, Section B of the EAVS is administered on behalf of both agencies. This agreement
allows both the EAC and FVAP to fulfill congressionally mandated requirements to study UOCAVA
voting while reducing the data collection and reporting burden on state and local election officials.
States are required to report certain election data to the EAC after each federal election. 4

This chapter examines UOCAVA data from the 2020 EAVS, including use of the FPCA by UOCAVA
voters, ballots transmitted to UOCAVA voters by states, ballots returned by UOCAVA voters, UOCAVA
ballots counted, UOCAVA ballots rejected, and usage of the FWAB by UOCAVA voters. Where
appropriate, information about state laws and procedures related to UOCAVA voting, collected as
part of the EAC’s 2020 Election Administration Policy Survey (Policy Survey), is presented to provide
context for the EAVS results.

Federal Laws Regulating Military and Overseas Voting
The Uniformed and Overseas Citizens Absentee Voting Act of 1986 (UOCAVA)
UOCAVA protects the voting rights of members of the uniformed services who are stationed away
from their voting residence, the spouses and other eligible family of uniformed services members,
and U.S. citizens residing outside of the United States. It requires all states, territories, and the
District of Columbia to allow these citizens to register to vote and to cast an absentee ballot for all
federal elections. 5 For the estimated 1.4 million uniformed services members and approximately
600,000 military spouses and voting age dependents stationed away from their legal voting
residence 6 as well as the estimated 2.9 million voting age U.S. citizens who live, study, or work
overseas, 7 the absentee voting process is different from and can be more challenging than the
voting process for non-military voters residing in the United States.


   Citizens protected by UOCAVA include:

       • Members of the uniformed services (Army, Navy, Marine Corps, Air Force, Coast Guard, United
         States Public Health Service Commissioned Corps, and National Oceanic and Atmospheric
         Administration [NOAA] Commissioned Officer Corps) who are stationed away from their legal voting
         residence;
       • Members of the U.S. Merchant Marine;
       • Eligible family members of the above; and
       • U.S. citizens residing outside the United States.




4 Section 703(a) HAVA amended section 102 of UOCAVA.
5 Throughout this report, the term “uniformed services voter” refers to U.S. citizens who are active members of the

uniformed services or a spouse or dependent family member thereof. “Overseas citizen” refers to non-military U.S. citizens
who reside overseas.
6 Information was provided by FVAP to Fors Marsh Group via email on May 10, 2021, and was current as of March 31,

2021.
7 Federal Voting Assistance Program, “2018 Overseas Citizen Population Analysis,” at https://www.fvap.gov/info/reports-

surveys/overseas-citizen-population-analysis. The results of the 2020 Overseas Citizen Population Analysis were not
available at the time of this report’s publication.



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Among the challenges UOCAVA sought to address was the wide variability in rules and procedures
governing registration and voting across states, which made it difficult for uniformed services
members and overseas citizens to navigate the voting process. 8 UOCAVA established the FPCA,
which serves as a combination registration and ballot request application that is accepted in all U.S.
states and territories. In addition, the FWAB functions as a backup ballot that can be cast by UOCAVA
voters who make a timely request for, but do not receive, a regular absentee ballot. 9 Although states
and localities still maintain and administer elections according to their own laws and procedures for
registration and absentee voting among uniformed services members and overseas citizens, the
provisions of UOCAVA established some uniformity in the absentee voting process for these voters.

The Military and Overseas Voter Empowerment Act of 2009 (MOVE)
Historically, UOCAVA ballots were transmitted from election offices to voters primarily through the
mail. Given long mailing times and high mobility rates for this population of voters, this practice
meant that many UOCAVA voters were unable to receive and return their absentee ballot before state
ballot return deadlines. The MOVE Act amended UOCAVA to establish additional requirements to
protect military and overseas citizens’ voting rights. 10 These new rules required that all states and
territories provide UOCAVA voters with an option to request and receive registration and absentee
ballot request materials electronically, directed states to establish an electronic means of
transmitting blank ballots to UOCAVA voters, and required states to provide free access to a system
whereby voters can verify the status of their ballot. Additionally, absentee ballots must be
transmitted no less than 45 days before a federal election to all UOCAVA voters who submit an
absentee ballot request before this deadline. These additional provisions aimed to ensure uniformed
services members and overseas citizens not only have the right to vote, but that they have sufficient
time to receive and return their absentee ballots ahead of state deadlines.

The UOCAVA Voting Process
Although the specific path may differ depending on the policies and procedures in one’s state of
voting residence and on a voter’s particular situation and preferences, in general, the UOCAVA voting
process can be summarized in six basic steps, as illustrated in Figure 1. 11

    1. Register and request an absentee ballot: UOCAVA-eligible citizens can do this either by
       completing a state application form or an FPCA, the federal form that functions as both a
       registration and absentee ballot request and is accepted in all states and U.S. territories.

    2. Submit the registration and ballot request: Completed applications must be submitted to the
       appropriate state or local election office by mail or by an electronic means permitted by the


8 The United States Department of Justice. (2020, February 18). The Uniformed and Overseas Citizens Absentee Voting Act.

https://www.justice.gov/crt/uniformed-and-overseas-citizens-absentee-voting-act.
9 Section 103 of UOCAVA provides a mechanism for uniformed services members and overseas citizen voters to cast a

FWAB (see 52 U.S.C.§ 20303).
10 Military and Overseas Voter Empowerment (MOVE) Act of 2008 statutory language can be found at

https://www.fvap.gov/uploads/FVAP/Policies/moveact.pdf.
11 Adapted from an FVAP infographic. For more detailed information about state policies related to UOCAVA voting, see

Chapter 2 of this report.



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                               Figure 1. The UOCAVA Voting Process




       state. All states accept FPCAs by mail; states may also accept FPCAs via email, fax, the
       state’s online voter registration portal, or by another mode.
   3. Application processing: Once received, registration and absentee ballot request applications
      are processed by the election office. If an application fails to meet any state requirements
      (e.g., the form is not completed correctly, is submitted after the registration deadline, or the
      applicant is deemed ineligible), then it may be rejected. If an application meets all
      requirements and is accepted, it remains valid as a registration and ballot request, meaning
      that the voter will retain UOCAVA status and have an absentee ballot transmitted to them for
      the duration specified by state policy.

   4. Ballot transmission: Election officials transmit absentee ballots to registered UOCAVA voters
      no later than 45 days before a federal election (ballots may be transmitted later if the ballot
      request is submitted by the state deadline but less than 45 days before an election). Ballots



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         may be transmitted to a voter by mail or through some other state-approved electronic
         means of transmission, as requested by the voter.

    5. Complete and return absentee ballot: UOCAVA voters complete and return their absentee
       ballot to the appropriate election office for processing. Ballots may be returned and
       submitted for processing either by mail or through some other means allowed by a state. The
       FWAB may be used as a backup ballot by UOCAVA voters who do not receive a regular
       absentee ballot, or if the ballot does not arrive in time to be completed and returned ahead
       of state deadlines.

    6. Ballot processing and counting: Completed absentee ballots that are returned and submitted
       for counting to an election office must be received by state deadlines and meet other state
       requirements. State policies on when completed ballots must be postmarked and when they
       must be returned to an election office in order to be eligible to be counted vary widely.

UOCAVA Registration and Ballot Requests
The 2016 general election was the first time that registered overseas citizens outnumbered
registered uniformed services members covered by UOCAVA. This trend continued in 2020, with
uniformed services members or eligible family members accounting for 42.3% of registered UOCAVA
voters and overseas citizens accounting for 57.4% of this population. 12

Registered UOCAVA voters’ legal voting residences 13 are disproportionately concentrated in just a
few U.S. states. In 2020, the states with the largest numbers of registered UOCAVA voters were
Florida (191,628), California (187,213), and Washington (127,976). 14 Together, these three states
represented 40.4% of all registered UOCAVA voters reported in the 2020 EAVS. Twenty-two local
jurisdictions 15 reported having 10,000 or more registered UOCAVA voters, and seven reported more


12 The total number of registered and eligible UOCAVA voters was collected in item B1a of the 2020 EAVS. The number of

registered and eligible uniformed services UOCAVA voters was collected in item B1b; the percentage of uniformed services
UOCAVA voters was calculated by dividing B1b by B1a. The number of registered and eligible overseas citizen UOCAVA
voters was collected in item B1c; the percentage of overseas citizen UOCAVA voters was calculated by dividing B1c by B1a.
Casewise deletion at the state level was used in calculating the national percentage. In total, 870 jurisdictions in 10 states
did not report data in B1; this count excludes jurisdictions in Maine, which reported UOCAVA data at the state level and not
the jurisdiction level. A total of 8,167 registered and eligible voters reported in B1a were not classified as either uniformed
services or overseas citizens. These percentages exclude the seven states that did not report the number of registered
UOCAVA voters as well as the state and territory that did not subdivide this number by UOCAVA voter type.
13 According to FVAP’s guidance for service members, “Your voting residence is within your state of legal residence or

domicile. It is the address that you consider your permanent home and where you had a physical presence. Your state of
legal residence is used for state income tax purposes, determines eligibility to vote for federal and state elections, and
qualification for in-state tuition rates.” For more information, see https://www.fvap.gov/military-voter/voting-residence.
14 The total number of registered and eligible UOCAVA voters in a state was calculated by summing B1a across all

jurisdictions for each state.
15 What constitutes a jurisdiction for EAVS reporting is defined by how each state chose to provide data. For the 2020

EAVS, most states reported data on the county level (or county equivalent, such as parishes for Louisiana). Illinois,
Maryland, Missouri, and Virginia reported data for independent cities in addition to counties. The territories, the District of
Columbia, and Alaska each reported as a single jurisdiction. Connecticut, Maine, Massachusetts, New Hampshire, Rhode
Island, Vermont, and Wisconsin reported data on the township level. Maine also reported its UOCAVA data in Section B as a
separate jurisdiction, because this information was only collected at the state level. Michigan reported data for the county
level, but most election administration activities take place in the 1,520 local election jurisdictions in the state.



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than 15,000 registered and eligible UOCAVA voters. These seven jurisdictions accounted for 15.3%
of all registered UOCAVA voters (see Table 1).


          Table 1. Seven Jurisdictions Accounted for 15% of All Registered UOCAVA Voters

                               Jurisdictions With More Than 15,000 UOCAVA Voters

                                                                   Number of Registered and
                                  Jurisdiction
                                                                Eligible UOCAVA Voters in 2020
                     Los Angeles County, CA                                   67,392
                     King County, WA                                          31,766
                     Pierce County, WA                                        27,023
                     Miami-Dade County, FL                                    17,495
                     New York County, NY                                      17,008
                     San Diego County, CA                                     16,074
                     Broward County, FL                                       15,154

Source: Information on the number of registered and eligible UOCAVA voters was item B1a of the 2020 EAVS. Alaska
reported 16,194 total registered UOCAVA voters and reported as a single jurisdiction in the EAVS; however, it was not
included in the table because the table focuses on localities rather than complete states.



              Figure 2. Most Jurisdictions Had Fewer Than 50 Registered UOCAVA Voters




Source: Information for the number of registered and eligible UOCAVA voters was collected in item B1a of the 2020 EAVS.



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Conversely, of the 5,094 local jurisdictions for which the number of registered UOCAVA voters was
available, 80.9% reported fewer than 100 registered UOCAVA voters, including 371 jurisdictions that
reported having zero UOCAVA voters in 2020. Figure 2 shows the number of registered UOCAVA
voters by jurisdiction.

Election offices reported receiving 764,691 FPCAs ahead of the 2020 general election, which was
almost double the 420,861 FPCAs that states reported receiving ahead of the 2016 general
election. Overall, 30.3% of these registration and absentee ballot requests came from uniformed
services members, and 66.9% were submitted by overseas citizens. 16 States reported rejecting 2.7%
of the FPCAs received, of which 15.2% were rejected because the election office received the form
after their state’s absentee ballot request deadline. 17 The FPCA rejection rate among uniformed
services members was slightly higher than among overseas citizens, with 3.3% of military FPCAs
rejected compared to 2.3% of FPCAs submitted by overseas citizens. 18

UOCAVA Ballots Transmitted
In 2020, election offices in the 50 states, five U.S. territories, and the District of Columbia reported
transmitting 1,249,601 ballots to UOCAVA voters. 19 Figure 3 shows the number of ballots sent out
from election offices or transmitted for each state. The states colored in dark blue represent the
states that distributed the most ballots to UOCAVA voters. The states colored in light blue are the
states that distributed the fewest ballots to UOCAVA voters.




16 Data on the total number of FPCAs submitted was collected in item B2a of the 2020 EAVS. In 2016, this data was

collected in item B20a. For 2020, the percentage of FPCAs received from uniformed services members was calculated as
B2b/B2a. The percentage of FPCAs received from overseas citizen voters was calculated as B2c/B2a. Casewise deletion
was used at the state level in calculating these percentages.
17 The total number of FPCAs rejected was collected in item B3a in the 2020 EAVS; the percentage of FPCAs rejected was

calculated as B3a/B2a. The percentage of FPCAs rejected because they were received late was calculated as B4a/B3a.
Casewise deletion was used at the state level in calculating these percentages.
18 The percentage of rejected FPCAs from uniformed services voters was calculated as B3b/B2b. The percentage of

rejected FPCAs from overseas citizen voters was calculated as B3c/B2c. Overall, 6.9% of rejected FPCAs were not
categorized by UOCAVA voter type. Casewise deletion was used at the state level in calculating these percentages.
19 The number of transmitted UOCAVA ballots was collected in item B5a of the 2020 EAVS. The number of ballots

transmitted to UOCAVA voters was reported by all but 36 jurisdictions. Rhode Island did not report data on the number of
ballots transmitted.



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    Figure 3. Ballot Transmissions Were the Highest in States With Large UOCAVA Populations




Source: Information on the number of transmitted UOCAVA ballots was collected in item B5a of the 2020 EAVS. State-level
data were aggregated from jurisdiction data. Cutoff points in the graph were selected to reflect states that had the lowest
and highest number of UOCAVA ballots transmitted and to differentiate among the states in between the lowest and
highest UOCAVA ballot transmission numbers.



Of the UOCAVA ballots transmitted, 39.4% were sent to uniformed services members, and 60.1%
were transmitted to overseas citizen voters. 20 Figure 4 shows that the percentage of ballots
transmitted to overseas citizens has continued to rise steadily over the last several election cycles,
increasing by 15.4 percentage points since the 2012 general election.

Although the nationwide percentage of ballots sent to overseas citizens was greater than the
percentage sent to uniformed services members, the proportion of ballots sent to overseas citizens
or uniformed services members varied by state. Kentucky and Louisiana, for example, reported that
UOCAVA ballots were split about evenly between uniformed services members and overseas citizen
voters; however, the District of Columbia and Massachusetts reported that the vast majority of
UOCAVA ballots were transmitted to overseas citizens (97.1% and 94.2%, respectively). In Alaska,
American Samoa, New Mexico, the Northern Mariana Islands, and the U.S. Virgin Islands, more than

20 The percentage of UOCAVA ballots transmitted to uniformed services voters was calculated as B5b/B5a. The percentage

of UOCAVA ballots transmitted to overseas citizen voters was calculated as B5c/B5a. Casewise deletion was used at the
state level when calculating these percentages. An additional 1% of the transmitted ballots could not be classified by voter
type.



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three-quarters of UOCAVA ballots were transmitted to uniformed services members. Figure 5 shows
the percentage of ballots transmitted to uniformed services voters versus overseas citizen voters.



Figure 4. Steady Increase in the Percentage of UOCAVA Ballots Transmitted to Overseas Citizens
                            Relative to Uniformed Services Members




Source: The percentage of UOCAVA ballots transmitted to uniformed services voters was calculated as B1b/B1a x 100 for
the 2012, 2014, and 2016 EAVS and B5b/B5a x 100 for the 2018 and the 2020 EAVS. The percentage of UOCAVA ballots
transmitted to overseas citizens was calculated as B1c/B1a x 100 for the 2012, 2014, and 2016 EAVS, and B5c/B5a x
100 for the 2018 and the 2020 EAVS. Casewise deletion was used at the state level in calculating these percentages;
percentages may not sum to 100%. Ballots that were not classified as being from either overseas citizens or uniformed
services voters were not included in this analysis.




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Figure 5. Twenty-Four States Transmitted More UOCAVA Ballots to Uniformed Services Members
                                  Than to Overseas Citizens




Source: The percentage of UOCAVA ballots transmitted to overseas citizens was calculated as B5c/B5a x 100 for the 2020
EAVS. The percentage of UOCAVA ballots transmitted to uniformed services voters was calculated as B5b/B5a x 100 for
the 2020 EAVS. The percentage of uncategorized ballots was calculated as (B5a-B5b-B5c)/B5a x 100 for the 2020 EAVS.
Casewise deletion was used at the state level in calculating these percentages; percentages may not sum to 100%. Rhode
Island did not report data on the number of ballots transmitted.



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Modes of UOCAVA Ballot Transmission
Over the last several election cycles, the modes by which absentee ballots have been transmitted to
voters have changed substantially. Since the passage of the MOVE Act, transmission of ballots to
UOCAVA voters has increasingly occurred electronically. Email was the most popular method of ballot
transmission for the 2020 general election, with 62.3% of absentee ballots transmitted to UOCAVA
voters via email, 32% transmitted via postal mail, and 7.9% sent to voters through some other mode
of transmission (e.g., fax or online systems). 21 By comparison, during the previous presidential
election cycle in 2016, among states that provided data on transmission by mode, 59.8% of ballots
were transmitted via email, and in 2018, email represented 56.6% of UOCAVA ballots that were
transmitted. 22 Figure 6 displays the percentage of ballots transmitted by mail, email, or other modes
for the 2020 general election.

Modes of ballot transmission differed based on UOCAVA voter type. The transmission mode among
uniformed services members was almost evenly split between mail transmission (47.8%) and email
transmission (46.7%). For ballots transmitted to overseas citizens, most ballots were transmitted by
email (70.9%) while ballots transmitted by mail accounted for 22.2% of ballots transmitted. For both
groups, between 7% and 7.9% of ballots were transmitted by other modes, including fax and online
ballot delivery portals.

Overall, 1% of all ballots transmitted to UOCAVA voters were returned as undeliverable, including
mailed ballots returned to sender, emailed ballots that bounced back, and ballots that were
undeliverable by other modes, such as an incorrect fax number. 23




21 The percentage of ballots transmitted by email was calculated as B7a/B5a for the 2020 EAVS. The percentage of ballots

transmitted by postal mail was calculated as B6a/B5a. The percentage of ballots transmitted by other modes of
transmission was calculated as B8a/B5a. Casewise deletion was used at the state level in these calculations. All but three
states reported ballots transmitted by mode in 2020. Two additional states did not report the number of ballots transmitted
by email. These states were excluded from calculations of the percentage of ballots transmitted by a given mode. However,
the percentages by mode did not change substantively when transmitted ballots from these states were included in
analysis.
22 Until 2018, questions about mode of ballot receipt and return were asked in relation to the 45-day MOVE Act

transmission deadline. Specifically, “How many UOCAVA absentee ballots did your jurisdiction transmit to UOCAVA voters
using the following modes of transmission, before and after the 45-day deadline?” Starting in 2018, the survey was
updated so that mode questions did not include this distinction. The percentage of ballots transmitted by email was
calculated as B7a/B5a for the 2018 EAVS. The percentage of ballots transmitted by email was calculated as B24Total/B1a
for the 2016 EAVS. Casewise deletion was used at the state level in these calculations. In 2016, 27 of the 55 states that
answered the EAVS provided information on transmission by mode.
23 The percentage of ballots returned as undeliverable was calculated as B13a/B5a. Casewise deletion was used at the

state level in calculating this percentage. States and jurisdictions vary in the extent to which they are able to capture and
report undeliverable ballots, overall and by mode of transmission.



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    Figure 6. Modes of Ballot Transmission Differ for Overseas Citizens and Uniformed Services
                                            Members




Source: The percentages of UOCAVA ballots transmitted overall were calculated as B7a/B5a x 100 for email, B6a/B5a x
100 for postal mail, and B8a/B5a x 100 for other modes. The percentages of UOCAVA ballots transmitted to uniformed
services voters were calculated as B7b/B5b x 100 for email, B6b/B5b x 100 for postal mail, and B8b/B5b x 100 for other
modes. The percentages of UOCAVA ballots transmitted for overseas citizens were calculated as B7c/B5c x 100 for email,
B6c/B5c x 100 for postal mail, and B8c/B5c x 100 for other modes. Casewise deletion was used at the state level in
calculating these percentages; percentages may not sum to 100%.



UOCAVA Ballots Returned and Submitted for Counting
States reported 911,614 regular absentee ballots: 73% of those transmitted to voters (through any
mode) were returned and submitted for counting by UOCAVA voters for the 2020 general election. 24
This is a 39% increase over 2016, when 655,844 regular absentee ballots were returned by UOCAVA
voters. 25 Figure 7 shows the UOCAVA ballot return totals by state in 2020. The states colored in dark

24 The total number of returned UOCAVA ballots was collected in item B9a in the 2020 EAVS. The percentage of transmitted

UOCAVA ballots that were returned was calculated as B9a/B5a. Casewise deletion at the state level was used in calculating
this percentage. More than 82% of jurisdictions reported the number of ballots returned and submitted for counting.
FWABs were reported separately from regular UOCAVA absentee ballots and were not included in these figures. Because
more than one ballot may be transmitted to an individual voter (e.g., because the original was returned undeliverable or
was spoiled and replaced), this rate likely underestimates the rate of ballot return by UOCAVA voters.
25 The total number of returned UOCAVA ballots was collected in item B2a in the 2016 EAVS.




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blue represent the states that had the highest ballot return totals. The states colored in light blue
were the states that had the lowest ballot return totals.


       Figure 7. UOCAVA Ballot Return Rates Were the Highest in the Northeast and Midwest




Source: The percentage of transmitted UOCAVA ballots that were returned by voters was calculated as B9a/B5a x 100.
Casewise deletion was used at the state level in calculating the percentages shown in this map. States are grouped by
quartiles rounded to the nearest integer.



Of the ballots returned to election offices, 36.3% were returned by uniformed services members, and
62.9% were returned by overseas citizens. 26 Overall, 63.8% of absentee ballots returned and
submitted for counting by UOCAVA voters were returned to the election office via postal mail, 37.7%
were returned by email, and 16.5% were returned through some other mode (e.g., fax or an online
system). 27 Twenty-three states indicated that they do not allow or did not report email ballot return.

26 The percentage of UOCAVA ballots returned by uniformed services members was calculated as B9b/B9a. The percentage

of UOCAVA ballots returned by overseas citizen voters was calculated as B9c/B9a. Casewise deletion was used at the state
level in calculating these percentages.
27 The percentage of UOCAVA ballots returned by postal mail was calculated as B10a/B9a. The percentage of UOCAVA

ballots returned by email was calculated as B11a/B9a. The percentage of UOCAVA ballots returned by some other mode
was calculated as B12a/B9a. Casewise deletion was used at the state level in calculating these percentages. Four states
did not report the number of ballots returned by mode and were excluded from all mode analysis. In addition, 23 states did
not report ballots returned via email, and 28 did not report ballots returned by some other mode. If all states are included
in the analysis, 61.8% of ballots were returned via mail, 23.1% via email, 11.7% by some other mode, and 3.3% of returned
ballots were not categorized by mode.



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Among the states that reported UOCAVA ballots returned by email, 42.5% of ballots were returned
through email, and 45.2% were returned via mail. 28


Figure 8. Although Many UOCAVA Voters, Especially Overseas Citizens, Use Email to Return Their
          Completed Absentee Ballot, Postal Mail Is the Primary Mode of Ballot Return




Source: The percentages of UOCAVA ballots returned by mode overall were calculated as B10a/B9a x 100 for postal mail
and B11a/B9a x 100 for email. The percentages of UOCAVA ballots returned by mode for uniformed services members
were calculated as B10b/B9b x 100 for postal mail and B11b/B9b x 100 for email. The percentages of UOCAVA ballots
returned by mode for overseas citizens were calculated as B10c/B9c x 100 for postal mail and B11c/B9c x 100 for email.
Casewise deletion was used at the state level in calculating these percentages, and because percentages for each type of
voter and each mode of return were calculated independently and only states that reported data for a given mode of return
were included in the analysis, the percentages do not sum to 100%. Other modes of ballot return are not shown here.



Although postal mail was the most common mode of ballot return for both uniformed services and
overseas citizen voters, uniformed services members used email return far less than overseas


28 Thirty-three states reported at least one email ballot returned (item B11a in the 2020 EAVS). The percentage of ballots

returned by email was calculated as B11a/B9a among states reporting at least one email ballot returned (item B11a in the
2020 EAVS). The percentage of ballots returned by mail was calculated as B10a/B9a among states reporting at least one
email ballot returned (item B11a in 2020 EAVS). Casewise deletion was used at the state level in calculating these
percentages.



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citizens, with just 18.2% using email to return an absentee ballot versus 51% of overseas citizens. 29
Figure 8 displays the method of ballot return for UOCAVA voters by type.

Overall, 889,837 regular absentee ballots returned by UOCAVA voters were counted in the 2020
general election. Of these votes, 63.1% were cast by overseas citizens and 36.5% by uniformed
services voters. 30 The overall rejection rate for regular absentee ballots returned by UOCAVA voters
was 2.1%, less than half the overall rejection rate of 5.7% reported in 2018. 31 The overall rejection
rate did not differ significantly across UOCAVA voter types. 32

Figure 9 shows the number of rejected UOCAVA ballots returned and submitted by voters for
counting in each state. The states that are colored in dark blue represent the states that reported
the highest number of rejected ballots, and the states that are colored in light blue reported the
lowest number of rejected ballots.

Rejected ballots were divided into three reasons for rejection: missed deadline, problem with voter
signature, and lacked postmark. 33 By far the most common reason for rejection was that a ballot
was received after a state’s deadline for UOCAVA absentee ballot receipt. Of the 19,060returned
UOCAVA ballots rejected, 8,188 were rejected because they were received after the state deadline,
which was 43.5% of all UOCAVA ballot rejections. 34 Voter signature problems were responsible for
19.6% of all UOCAVA ballot rejections, 3.3% of ballot rejections were the result of postmark issues,
and 47.3% of rejections were caused by some other issue. 35


29 The percentage of UOCAVA ballots returned by email by uniformed services members was calculated as B11b/B9b. The

percentage of UOCAVA ballots returned by email by overseas citizens was calculated as B11c/B9c. Of note, two of the
states with the largest numbers of UOCAVA voters—California and Florida—do not allow email return of absentee ballots.
30 The total number of UOCAVA ballots that were returned by voters and counted was collected in item B14a of the 2020

EAVS. The percentage of ballots that were returned by uniformed services members was calculated as B14b/B14a. The
percentage of ballots that were returned by overseas citizen voters was calculated as B14c/B14a. Casewise deletion was
used at the state level in calculating these percentages. An additional 12,919 (1.5%) UOCAVA absentee ballots counted
were not classified by voter type.
31 Before survey revisions were made in the 2018 EAVS, UOCAVA ballot rejection data included both regular absentee

ballots and FWABs, making direct comparisons with years before 2018 complicated. The 2016 ballot rejection rate was
calculated as (B16a+B16b+B16c)/B26b and produced an overall rejection rate of 2.4%.
32 The rejection rate for UOCAVA ballots was calculated as B18a/B9a for the 2018 and 2020 EAVS. The percentage of

ballots rejected from uniformed services voters was calculated as B18b/B9b. The percentage of ballots rejected from
overseas citizen voters was calculated as B18c/B9c. Casewise deletion was used at the state level in calculating these
percentages. The rejection rate for returned ballots was 2% for uniformed services members, 2.1% for overseas citizens,
and 6.3% among rejected ballots not classified by voter type.
33 Two states (Mississippi and Rhode Island) and four U.S. territories (American Samoa, the Northern Mariana Islands,

Puerto Rico, and U.S. Virgin Islands) did not report the number of ballots rejected. The number of ballots rejected was
reported for 81.7% of jurisdictions nationwide. Most of these jurisdictions also subdivided rejected ballots by reason for
rejection. New Jersey was not able to separate regular UOCAVA ballots from FWABs; information on all of the UOCAVA
ballots rejected in New Jersey in the 2018 election is available in the survey comments.
34 The total number of UOCAVA ballots rejected for being received after the state deadline was item B19a of the 2020

EAVS. The percentage of UOCAVA ballots rejected for being received late was calculated as B19a/B18a. Casewise deletion
was used at the state level in calculating this percentage.
35 The percentage of UOCAVA ballots rejected because of signature issues was calculated as B20a/B18a. The percentage

of UOCAVA ballots rejected because of postmark issues was calculated as B21a/B18a. The percentage of UOCAVA ballots
rejected for other reasons was calculated as B22a/B18a. Casewise deletion was used at the state level in calculating
these percentages. The increase in “other” reasons for rejection may reflect a large increase in the use of this category by
certain states, in particular New York with 2,098 (71.5% of their rejections) and Virginia 2,531 (217.3% of their rejections).
These two states accounted for more than half of the total “other” rejections.



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               Figure 9. UOCAVA Ballot Rejection Rates Vary Significantly Across States




Source: The percentage of returned UOCAVA ballots that were rejected includes regular UOCAVA absentee ballots that
were rejected (item B18a in the 2020 EAVS), divided by the total number of regular UOCAVA absentee ballots received
(item B9a in the 2020 EAVS). Casewise deletion was used at the state level in calculating the percentages shown in this
map. Cutoff points in the graph were selected to reflect states that had the lowest and highest percentage of UOCAVA
ballot rejection rates and to differentiate among the states in between the lowest and highest UOCAVA ballot rejection
rates.



Uniformed services members and overseas citizen UOCAVA ballots were rejected for similar reasons.
Missing the deadline was the most common reason for rejection among both populations—44.7% for
uniformed services members and 41.3% for overseas citizens. Signature issues were the cause of
27.3% of ballot rejections for ballots returned by uniformed services members, almost twice the
percentage of overseas citizen ballots rejected for this reason (13.7%). 36




36 The percentage of ballots rejected for missing the deadline was calculated as B19b/B18b for uniformed services voters

and B19c/B18c for overseas citizens. The percentage of ballots rejected because of signature issues was calculated as
B20b/B18b for uniformed services voters and B20c/B18c for overseas citizens. Casewise deletion was used at the state
level in calculating these percentages.



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Federal Write-In Absentee Ballots
If a regular absentee ballot does not arrive in time for an individual to vote, the FWAB functions as a
backup ballot that can be used to vote for all federal offices and, in some states, state and local
offices as well.


                      The Federal Write-In Absentee Ballot (FWAB)
   The FWAB is a special type of UOCAVA ballot that may be used as a backup in the event that a voter’s
   regular absentee ballot does not arrive in time to vote. In most states, a UOCAVA voter must have
   registered and requested an absentee ballot in order to use the FWAB.



Although the 33,027 FWABs submitted in 2020 made up a relatively small proportion (3.8%) of all
the UOCAVA ballots returned, there was a 41.1% increase in the volume of FWABs reported
compared to the 2016 presidential election. 37 Despite the increase from previous elections, FWAB
usage remains a relatively small proportion of the UOCAVA methods of voting among both uniformed
services members and overseas citizen voters. However, the FWAB resulted in 23,897 additional
UOCAVA voters’ ballots counted in the 2020 general election, with 24.2% of these additional
voters from uniformed services members and 73.2% from overseas citizens. 38 Thirteen states and
territories reported that they received no FWABs during the 2020 presidential election. 39

Roughly one in four (8,438 or 25.6%) of the 33,027 FWABs submitted in the 2020 general election
were not counted. Of these, 3,965 FWABs—47.1% of the rejected FWABs—were replaced by a regular
absentee ballot, making the backup ballot unnecessary. 40 The rate of uncounted FWABs returned by
uniformed services members was similar to the rate of uncounted FWABs returned by overseas
citizens—27.6% and 21.5%, respectively. 41 The other major reason FWABs went uncounted (and the



37 The percentage of all ballots returned that were FWABs was calculated using the total number of FWABs received (B23a)

divided by the total number of UOCAVA ballots received (the sum of B9a and B23a). Casewise deletion was used at the
state level in calculating this percentage. The total number of FWABs received was collected in item B23a in the 2020
EAVS and the sum of B31a, B31b, B31c, and B31d in the 2016 EAVS. In 2016, states reported receiving 23,412 FWABs.
For 2020, The total number of FWABs returned was based on 82.1% of jurisdictions for which this information was
available.
38 The total number of FWABs received and counted was item B24a of the 2020 EAVS. The number of FWABs counted from

uniformed services members was item B24b, and the number of FWABs counted from overseas citizens was item B24c.
The percentage of counted FWABs returned by uniformed services members was calculated as B24b/B24a. The
percentage of counted FWABs returned by overseas citizens was calculated as B24c/B24a. Casewise deletion was used at
the state level in calculating this percentage.
39 American Samoa, Guam, and Puerto Rico reported receiving zero FWABs. Georgia, Iowa, Oregon, and South Carolina

reported FWABs with regular UOCAVA ballots because they could not separate the two types.
40 The number of FWABs rejected because the voter’s regular absentee ballot was received and counted was item B26a of

the 2020 EAVS. The percentage of rejected FWABs that were rejected for this reason was calculated as
B26a/(B25a+B26a+B27a). Casewise deletion at the state level was used in calculating the percentage.
41 The total percentage of FWABs rejected was calculated as (B25a+B26a+B27a)/B23a. The percentage of FWABs

rejected from uniformed services members was calculated as (B25b+B26b+B27b)/B23b. The percentage of FWABs
rejected from overseas citizen voters was calculated as (B25c+B26c+B27c)/B23c. Casewise deletion was used at the
state level in calculating these percentages.



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only other reason states reported via the EAVS) was because they were received after the ballot
receipt deadline (13.1% of rejected FWABs). 42




42 The percentage of rejected FWABs that were rejected because they were received after the deadline was calculated as

B25a/(B25a+B26a+B27a). Casewise deletion at the state level was used in this calculation.



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Appendix A: Descriptive Tables
UOCAVA Table 1: Registered and Eligible UOCAVA Voters
                                             Registered UOCAVA Voters

                                Uniformed Services                            Not Categorized by
      State        All UOCAVA                          Overseas Citizens
                                     Members                                      Voter Type
                      Voters
                                 Total        %        Total        %          Total        %
 Alabama [1]           --          --         --         --         --          --          --
 Alaska             16,194      12,285       75.9      3,909       24.1         0          0.0
 American
                      214        183         85.5       31         14.5         0          0.0
 Samoa
 Arizona             21,661      8,187       37.8      13,474      62.2         0          0.0
 Arkansas            3,347       1,671       49.9      1,291       38.6        385         11.5
 California         187,213     42,249       22.6     144,779      77.3        185         0.1
 Colorado           42,291      15,114       35.7     27,177       64.3         0          0.0
 Connecticut [2]        --         --         --          --        --          --          --
 Delaware            2,899        640        22.1      2,259       77.9         0          0.0
 District of
                     6,003       186         3.1       5,817       96.9         0          0.0
 Columbia
 Florida            191,628     120,241      62.7     71,387       37.3         0          0.0
 Georgia             27,252      14,223      52.2     13,029       47.8          0         0.0
 Guam                 120          76        63.3       44         36.7         0          0.0
 Hawaii              4,835        1,212      25.1     3,262        67.5        361         7.5
 Idaho               3,886        1,959      50.4     1,925        49.5          2         0.1
 Illinois            30,274       7,585      25.1     22,626       74.7         63         0.2
 Indiana             23,188      11,376      49.1     11,812       50.9          0         0.0
 Iowa                6,772        2,182      32.2     4,580        67.6         10         0.1
 Kansas [3]             --          --         --        --         --           --         --
 Kentucky            6,887        3,402      49.4     3,485        50.6          0         0.0
 Louisiana           8,950        4,701      52.5     4,249        47.5          0         0.0
 Maine               6,527        1,369      21.0     5,158        79.0          0         0.0
 Maryland            27,454       9,228      33.6     18,226       66.4          0         0.0
 Massachusetts       29,184       1,719       5.9     27,465       94.1          0         0.0
 Michigan            26,866       6,833      25.4     20,033       74.6          0         0.0
 Minnesota           19,243       5,230      27.2     14,013       72.8          0         0.0
 Mississippi         3,721        2,446      65.7     1,275        34.3          0         0.0
 Missouri [1]           --          --         --        --         --           --         --
 Montana             5,110        2,549      49.9     2,561        50.1          0         0.0
 Nebraska            3,059        1,206      39.4     1,853        60.6          0         0.0
 Nevada              8,847        3,515      39.7     5,332        60.3          0         0.0
 New Hampshire       7,165        2,506      35.0     4,659        65.0          0         0.0
 New Jersey          26,959       2,654       9.8     24,305       90.2          0         0.0



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                                                Registered UOCAVA Voters

                                  Uniformed Services                               Not Categorized by
      State         All UOCAVA                              Overseas Citizens
                                       Members                                         Voter Type
                       Voters
                                   Total         %          Total        %          Total         %
 New Mexico          6,365         4,813        75.6       1,552        24.4          0          0.0
 New York            67,931        6,913        10.2       61,018       89.8          0          0.0
 North Carolina      33,413       14,886        44.6       18,527       55.4          0          0.0
 North Dakota
                        --           --           --          --          --          --          --
 [4]
 Northern
                       25            25        100.0          0          0.0          0          0.0
 Mariana Islands
 Ohio [5]               --           --          --           --         --           --          --
 Oklahoma            8,647         5,768        66.7       2,879        33.3          0          0.0
 Oregon              20,477        6,370        31.1       14,107       68.9          0          0.0
 Pennsylvania        35,597       11,515        32.3       24,082       67.7          0          0.0
 Puerto Rico [6]      587            --          --           --         --          587        100.0
 Rhode Island [7]    3,084           --          --           --         --         3,084       100.0
 South Carolina      15,062        8,147        54.1       6,915        45.9          0          0.0
 South Dakota        3,583         2,214        61.8       1,369        38.2          0          0.0
 Tennessee           17,927       11,017        61.5       6,910        38.5          0          0.0
 Texas               85,972       46,908        54.6       35,574       41.4        3,490        4.1
 U.S. Virgin
                       13            13        100.0          0          0.0          0          0.0
 Islands
 Utah                 7,707        3,150        40.9       4,557        59.1          0          0.0
 Vermont [8]             --          --          --           --         --           --          --
 Virginia             41,063      14,841        36.1       26,222       63.9          0          0.0
 Washington          127,976      84,227        65.8       43,749       34.2          0          0.0
 West Virginia        2,531        1,459        57.6       1,072        42.4          0          0.0
 Wisconsin           25,956       18,240        70.3       7,716        29.7          0          0.0
 Wyoming              1,964        1,095        55.8        869         44.2          0          0.0
 U.S. Total         1,253,629     528,328       42.3      717,134       57.4        8,167        0.7

UOCAVA Table 1 Calculation Notes:
   Registered Voters – All UOCAVA Voters, Total uses question B1a.
   Registered Voters – Uniformed Services Members, Total uses question B1b.
   Registered Voters – Uniformed Services Members, % uses question B1b divided by question B1a.
   Registered Voters – Overseas Citizens, Total uses question B1c.
   Registered Voters – Overseas Citizens, % uses question B1c divided by question B1a.
   Registered Voters – Not Categorized by Voter Type, Total uses question B1a minus the sum of questions
   B1b and B1c.
   Registered Voters – Not Categorized by Voter Type, % uses question B1a minus the sum of questions B1b
   and B1c, all divided by question B1a.




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UOCAVA Table 1 Data Notes:
   General Notes:
       • Casewise deletion at the state level was used in calculating national percentages. The percentage
           calculations at the national level (U.S. Total) only used data from those states that provided data
           for the numerator and denominator of the calculation.


    [1] Alabama and Missouri reported that data on the number of registered UOCAVA voters were not
    available.
    [2] Connecticut reported that data on the number of registered UOCAVA voters were “not collected due to
    COVID.”
    [3] Kansas did not provide any response to item B1.
    [4] North Dakota does not have voter registration.
    [5] Ohio noted in a survey comment that “As Ohio permits UOCAVA voters to register by several means
    other than a FPCA or FWAP [sic], we cannot accurately provide the actual number of UOCAVA voters in our
    state.”
    [6] Puerto Rico noted in a survey comment that “At this moment, PR SEC doesn’t have the data break
    down by categories.” This abbreviation was not defined by the state.
    [7] Rhode Island noted in a survey comment that “[A]ccording to RI general law all UOCAVA mail ballots are
    consolidated into one mail ballot category.”
    [8] Vermont reported that item B1 did not apply to the state.




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UOCAVA Table 2: Federal Post Card Applications (FPCA)
                                                              FPCAs Received

                                 Uniformed Services Members         Overseas Citizens           Not Categorized
      State        Total FPCAs
                    Received                     % of Total                     % of Total                % of Total
                                    Total         FPCAs           Total          FPCAs       Total         FPCAs
                                                 Received                       Received                  Received

 Alabama             3,578         2,320           64.8          1,258            35.2         0             0.0
 Alaska              3,001         2,049           68.3           952             31.7         0             0.0
 American
                       12            8             66.7            4              33.3         0             0.0
 Samoa
 Arizona             21,889        6,375           29.1          10,242           46.8       5,272           24.1
 Arkansas             956           421            44.0           547             57.2        -12            -1.3
 California         117,618        22,131          18.8          85,296           72.5       10,191          8.7
 Colorado [1]        11,584        2,288           19.8          9,296            80.2         0             0.0
 Connecticut
                       --             --             --            --               --         --             --
 [2]
 Delaware            2,918          644            22.1          2,274            77.9         0             0.0
 District of
                     2,353          186             7.9          2,167            92.1         0             0.0
 Columbia
 Florida             39,113        17,839          45.6          21,274           54.4         0             0.0
 Georgia             3,945         1,175           29.8          2,770            70.2         0             0.0
 Guam                  55            35            63.6            20             36.4         0             0.0
 Hawaii              4,534         1,106           24.4          2,938            64.8        490            10.8
 Idaho               3,285         1,515           46.1          1,770            53.9         0             0.0
 Illinois            25,678        5,838           22.7          19,777           77.0        63             0.2
 Indiana             7,991         2,359           29.5          5,632            70.5         0             0.0
 Iowa [3]            6,772            --             --            --               --       6,772          100.0
 Kansas              5,611         2,691           48.0          3,705            66.0        -785           -14.0
 Kentucky            7,667         3,738           48.8          3,929            51.2         0             0.0
 Louisiana [4]       1,552            --             --            --               --       1,552          100.0
 Maine [5]             --             --             --            --               --         --             --
 Maryland            27,492        9,239           33.6          18,253           66.4         0             0.0
 Massachusetts       25,487        1,295            5.1          24,192           94.9         0             0.0
 Michigan [6]        20,945        4,879           23.3          16,066           76.7         0             0.0
 Minnesota           19,154        5,217           27.2          13,937           72.8         0             0.0
 Mississippi [7]     3,717            --             --            --               --       3,717          100.0
 Missouri [8]        1,803            --             --            --               --       1,803          100.0
 Montana [9]         3,976         1,989           50.0          1,987            50.0         0             0.0
 Nebraska            2,853         1,097           38.5          1,756            61.5         0             0.0
 Nevada              8,738         3,448           39.5          5,290            60.5         0             0.0
 New
                     7,165         2,506           35.0          4,659            65.0         0             0.0
 Hampshire
 New Jersey          25,152        2,557           10.2          22,595           89.8         0             0.0
 New Mexico          2,159          687            31.8          1,472            68.2         0             0.0




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                                                            FPCAs Received

                               Uniformed Services Members         Overseas Citizens             Not Categorized
       State     Total FPCAs
                  Received                     % of Total                     % of Total                  % of Total
                                  Total         FPCAs           Total          FPCAs         Total         FPCAs
                                               Received                       Received                    Received
New York           67,931        6,913           10.2          61,018           89.8          0              0.0
North Carolina     25,573        10,088          39.4          15,485           60.6          0              0.0
North Dakota        339           189            55.8           150             44.2          0              0.0
Northern
Mariana              25            25           100.0            0               0.0          0              0.0
Islands [10]
Ohio [11]          25,719        9,311           36.2          16,408           63.8          0              0.0
Oklahoma           8,311         5,582           67.2          2,729            32.8          0              0.0
Oregon [12]        2,683            --             --            --               --         2,683          100.0
Pennsylvania       32,027        9,330           29.1          22,697           70.9          0              0.0
Puerto Rico
                     --             --             --            --               --           --             --
[13]
Rhode Island
                     --             --             --            --               --           --             --
[14]
South Carolina
                     --             --             --            --               --           --             --
[6], [15]
South Dakota         74            59            79.7            15             20.3          0              0.0
Tennessee          16,713        10,266          61.4          6,447            38.6          0              0.0
Texas              87,645        45,751          52.2          35,526           40.5         6,368           7.3
U.S. Virgin
                     6             6            100.0            0               0.0          0              0.0
Islands
Utah               4,299         1,208           28.1          3,091            71.9          0              0.0
Vermont [15]         --             --             --            --               --           --             --
Virginia [6]       40,408        14,524          35.9          25,884           64.1          0              0.0
Washington         27,524        5,206           18.9          22,318           81.1          0              0.0
West Virginia      1,632          823            50.4           809             49.6          0              0.0
Wisconsin [16]     3,886          759            19.5          3,127            80.5          0              0.0
Wyoming            1,143          669            58.5           474             41.5          0              0.0
U.S. Total        764,691       226,341          30.3         500,236           66.9        38,114           5.0




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                                                        FPCAs Rejected

                                         Uniformed Services
                                                                   Overseas Citizens      Not Categorized
                                              Members
      State          Total      % of
                    FPCAs      FPCAs                  % of                      % of
                   Rejected   Received             Received                   Received             % of Total
                                         Total       from         Total         from     Total      FPCAs
                                                   Uniformed                  Overseas             Rejected
                                                    Services                  Citizens
 Alabama             43         1.2       34           1.5          6           0.5       3           7.0
 Alaska              57         1.9       45           2.2         12           1.3       0           0.0
 American
                      0         0.0       0            0.0          0           0.0       0            --
 Samoa
 Arizona             42         0.2       18           0.3         20           0.2       4           9.5
 Arkansas             7         0.7       6            1.4          7           1.3       -6         -85.7
 California         9,602       8.2      2,830        12.8        6,644         7.8      128          1.3
 Colorado [1]         0         0.0       0            0.0          0           0.0       0            --
 Connecticut
                      --         --        --           --          --            --      --           --
 [2]
 Delaware            11         0.4       2            0.3          9           0.4       0           0.0
 District of
                     73         3.1       0            0.0         73           3.4       0           0.0
 Columbia
 Florida             896        2.3      360           2.0         530          2.5       6           0.7
 Georgia             244        6.2       73           6.2         171          6.2       0           0.0
 Guam                26         47.3      15          42.9         11           55.0      0           0.0
 Hawaii              13         0.3       0            0.0          0           0.0       13         100.0
 Idaho               37         1.1       15           1.0         19           1.1       3           8.1
 Illinois            364        1.4       72           1.2         290          1.5       2           0.5
 Indiana             74         0.9       15           0.6         59           1.0       0           0.0
 Iowa [3]             --         --        --           --          --            --      --           --
 Kansas              39         0.7       17           0.6         22           0.6       0           0.0
 Kentucky           1,415       18.5     740          19.8         675          17.2      0           0.0
 Louisiana [4]        2         0.1        --           --          --            --      2          100.0
 Maine [5]            --         --        --           --          --            --      --           --
 Maryland            50         0.2       15           0.2         35           0.2       0           0.0
 Massachusett
                     156        0.6       37           2.9         119          0.5       0           0.0
 s
 Michigan [6]         --         --        --           --          --            --      --           --
 Minnesota           220        1.1       86           1.6         134          1.0       0           0.0
 Mississippi [7]      1         0.0       0             --          1             --      0           0.0
 Missouri [8]         --         --        --           --          --            --      --           --
 Montana [9]          5         0.1       3            0.2          2           0.1       0           0.0
 Nebraska            13         0.5       7            0.6          6           0.3       0           0.0
 Nevada              36         0.4       14           0.4         22           0.4       0           0.0
 New
                      4         0.1       0            0.0          4           0.1       0           0.0
 Hampshire
 New Jersey          14         0.1       1            0.0         13           0.1       0           0.0
 New Mexico          442        20.5     214          31.1         228          15.5      0           0.0
 New York             0         0.0       0            0.0          0           0.0       0            --




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                                                       FPCAs Rejected

                                        Uniformed Services
                                                                  Overseas Citizens      Not Categorized
                                             Members
        State       Total      % of
                   FPCAs      FPCAs                  % of                      % of
                  Rejected   Received             Received                   Received             % of Total
                                        Total       from         Total         from     Total      FPCAs
                                                  Uniformed                  Overseas             Rejected
                                                   Services                  Citizens
 North Carolina     318        1.2      109           1.1         209          1.3       0           0.0
 North Dakota       140        41.3      79          41.8         61           40.7      0           0.0
 Northern
 Mariana             0         0.0       0            0.0          0             --      0            --
 Islands [10]
 Ohio [11]          860        3.3      272           2.9         405          2.5      183          21.3
 Oklahoma            0         0.0       0            0.0          0           0.0       0            --
 Oregon [12]         --         --        --           --          --            --       --          --
 Pennsylvania       69         0.2       17           0.2         52           0.2       0           0.0
 Puerto Rico
                     --         --        --           --          --            --       --          --
 [13]
 Rhode Island
                     --         --        --           --          --            --       --          --
 [14]
 South Carolina
                     --         --        --           --          --            --       --          --
 [6], [15]
 South Dakota        2         2.7       1            1.7          1           6.7       0           0.0
 Tennessee          562        3.4      494           4.8         68           1.1       0           0.0
 Texas             3,894       4.4      1,617         3.5        1,258         3.5      1,019        26.2
 U.S. Virgin
                     0         0.0       0            0.0          0             --      0            --
 Islands
 Utah                8         0.2       6            0.5          2           0.1       0           0.0
 Vermont [15]        --         --        --           --          --            --       --          --
 Virginia [6]       121        0.3       52           0.4         69           0.3       0           0.0
 Washington          0         0.0       0            0.0          0           0.0       0            --
 West Virginia       7         0.4       5            0.6          2           0.2       0           0.0
 Wisconsin [16]      0         0.0       0            0.0          0           0.0       0            --
 Wyoming             7         0.6       4            0.6          3           0.6       0           0.0
 U.S. Total       19,874       2.7      7,275         3.3       11,242         2.3      1,357        6.8


UOCAVA Table 2 Calculation Notes:
   Total FPCAs received uses question B2a.
   FPCAs received – Uniformed Services Members, Total uses question B2b.
   FPCAs received – Uniformed Services Members, Pct of Total FPCAs Received uses question B2b divided by
   question B2a.
   FPCAs received – Overseas Citizens, Total uses question B2c.
   FPCAs received – Overseas Citizens, Pct of Total FPCAs Received uses question B2c divided by question
   B2a.
   FPCAs received – Not Categorized by Voter Type, Total uses question B2a minus the sum of questions B2b
   and B2c.
   FPCAs received – Not Categorized by Voter Type, Pct of Total FPCAs Received uses question B2a minus the
   sum of questions B2b and B2c, all divided by question B2a.
   Total FPCAs rejected uses question B3a.



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    Percent of FPCAs received that were rejected uses question B3a divided by question B2a.
    FPCAs rejected – Uniformed Services Members, Total uses question B3b.
    FPCAs rejected – Uniformed Services Members, % uses question B3b divided by question B2b.
    FPCAs rejected – Overseas Citizens, Total uses question B3c.
    FPCAs rejected – Overseas Citizens, % uses question B3c divided by question B2c.
    FPCAs rejected – Not Categorized by Voter Type, Total uses question B3a minus the sum of questions B3b
    and B3c.
    FPCAs rejected – Not Categorized by Voter Type, % uses question B3a minus the sum of questions B3b
    and B3c, all divided by question B3a.

UOCAVA Table 2 Data Notes:
   General Notes:
       • Casewise deletion at the state level was used in calculating national percentages. The percentage
           calculations at the national level (U.S. Total) only used data from the states that provided data for
           the numerator and denominator of the calculation.
       • Negative numbers in the Not Categorized FPCAs received or rejected categories indicate that the
           sum of FPCAs for uniformed services members and overseas citizens in that category account for
           more than the total number of FPCAs reported by the state in the corresponding category.


    [1] Connecticut reported that data on FPCAs were not available and that “[N]o distinction [was] made for
    these voters.”
    [2] Colorado noted in a survey comment that “FPCAs are not rejected; if not completed by the voter, the
    voter is incomplete or pending.”
    [3] Iowa reported data on the total number of FPCAs received but not on how many were received by voter
    type or how many FPCAs were rejected. This state noted in a survey comment that “[S]ystem does not
    allow me to show breakdown between these two types of UOCAVA voters.” The state also noted that
    “FPCAs can be accepted up to and including Election Day.”
    [4] Louisiana reported data on the total number of FPCAs received and rejected and noted in a survey
    comment that “[T]he Department of State only collects data for the totals.”
    [5] Maine reported that the EAVS items related to FPCAs did not apply to the state.
    [6] Michigan, South Carolina, and Virginia reported that data on rejected FPCAs were not available.
    [7] Mississippi reported in a survey comment that “FPCA by military or out of county not clearly defined in
    SEMS [Statewide Elections Management System].”
    [8] Missouri reported data on the total number of FPCAs received but not on how many were received by
    voter type or how many FPCAs were rejected.
    [9] Montana noted in survey comments that the state “accepts absentee registrations up until 8PM on
    Election Day.”
    [10] The Northern Mariana Islands reported in survey comments that “[O]ur office did not receive any FPCA
    applicants.”
    [11] Ohio noted for multiple counties that “[T]otal in B3a includes B4a; however, source information [for
    [military/overseas voters] for B4a is not tracked. [B]ecause of this, B3b + B3c will not always equal B3a.”
    [12] Oregon reported in survey comments that the state is “unable to separate uniformed services from
    non-military overseas” and that data on rejected FPCAs is not tracked.
    [13] Puerto Rico reported that data on FPCAs was not available, with a survey comment that “all the
    requests were made by email.”
    [14] Rhode Island noted in a survey comment that “[A]ccording to RI general law all UOCAVA mail ballots
    are consolidated into one mail ballot category.”
    [15] South Carolina and Vermont reported that data on FPCAs were not available.


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[16] Wisconsin state statute does not require rejected registrations or FPCAs to be tracked.




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UOCAVA Table 3: UOCAVA Ballots Transmitted, Returned, Counted and Rejected
                    UOCAVA      UOCAVA        UOCAVA Ballots Counted      UOCAVA Ballots Rejected
       State        Ballots      Ballots
                  Transmitted   Returned       Total      % of Returned    Total      % of Returned
 Alabama            6,682         5,144        5,091          99.0          53             1.0
 Alaska             16,152       13,598       13,422          98.7          176            1.3
 American
                     214           214         214           100.0           0             0.0
 Samoa
 Arizona            21,679       18,483       18,435          99.7          48             0.3
 Arkansas           3,042         2,206        2,104          95.4          465            21.1
 California        162,295       97,301       95,872          98.5         1,419           1.5
 Colorado           45,558       29,631       28,762          97.1          869            2.9
 Connecticut        9,950         7,874        7,689          97.7          185            2.3
 Delaware           2,899         2,429        2,305          94.9          124            5.1
 District of
                    6,003         4,990        4,990         100.0           9             0.2
 Columbia
 Florida           144,678       117,965      115,975         98.3         2,127           1.8
 Georgia [1]        28,454       18,867       18,475          97.9          392            2.1
 Guam                120           69           65            94.2           4             5.8
 Hawaii             4,623         3,624        3,503          96.7          36             1.0
 Idaho [2]          4,449         3,230        3,442         106.6          90             2.8
 Illinois           29,614       24,358       23,302          95.7          462            1.9
 Indiana            10,325        8,814        8,773          99.5          34             0.4
 Iowa [1]           6,776         6,000        5,980          99.7          29             0.5
 Kansas             5,551         4,990        4,980          99.8          23             0.5
 Kentucky           6,252         4,669        4,664          99.9           5             0.1
 Louisiana [3]      9,131         6,132        5,872          95.8          260            4.2
 Maine              6,421         5,701        5,674          99.5          21             0.4
 Maryland           29,060       21,593       21,315          98.7          278            1.3
 Massachusetts      28,533       24,890       24,685          99.2          140            0.6
 Michigan           27,026       22,492       21,464          95.4         1,028           4.6
 Minnesota          19,383       15,943       15,407          96.6          536            3.4
 Mississippi        3,717         2,967        2,965          99.9           0             0.0
 Missouri           13,458       10,821       10,716          99.0          105            1.0
 Montana [4]        4,944         4,323        4,312          99.7          11             0.3
 Nebraska           2,978         2,643        2,627          99.4          16             0.6
 Nevada             8,850         7,258        7,224          99.5          34             0.5
 New Hampshire      7,165         6,327        6,167          97.5          160            2.5
 New Jersey         26,959       11,732       11,634          99.2          81             0.7
 New Mexico         6,292         6,292        5,261          83.6          71             1.1
 New York [5]       58,393       69,585       66,706          95.9         2,936           4.2
 North Carolina     58,993       26,802       26,386          98.4          416            1.6
 North Dakota       1,900         1,633        1,624          99.4          18             1.1



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                     UOCAVA        UOCAVA          UOCAVA Ballots Counted         UOCAVA Ballots Rejected
      State          Ballots        Ballots
                   Transmitted     Returned         Total       % of Returned       Total       % of Returned
 Northern
 Mariana               25             25              25            100.0             --              --
 Islands [6]
 Ohio                25,742         21,601         21,388           99.0             213             1.0
 Oklahoma            8,687           6,355          6,204           97.6             151             2.4
 Oregon [1]          20,477         16,751         16,534           98.7             217             1.3
 Pennsylvania        33,772         26,952         25,589           94.9            1,363            5.1
 Puerto Rico [7]      587            587             587            100.0             --              --
 Rhode Island
                        --             --             --              --              --              --
 [8]
 South Carolina
                     14,874         12,963         12,906           99.6             57              0.4
 [1], [9]
 South Dakota        3,159           3,059          2,939           96.1             122             4.0
 Tennessee           17,927         14,884         14,444           97.0             440             3.0
 Texas               85,972         62,651         59,380           94.8            1,399            2.2
 U.S. Virgin
                       13              8              8             100.0             --              --
 Islands [10]
 Utah                9,087           5,820          5,798           99.6             22              0.4
 Vermont             2,753           2,753          2,723           98.9             30              1.1
 Virginia            41,063         33,045         31,880           96.5            1,165            3.5
 Washington         134,777         64,632         63,954           99.0             678             1.0
 West Virginia       2,549           2,167          2,162           99.8              5              0.2
 Wisconsin [11]      17,642         14,057         13,530           96.3             527             3.7
 Wyoming             1,976           1,714          1,704           99.4             10              0.6
 U.S. Total        1,249,601       911,614         889,837          97.6           19,060            2.1


UOCAVA Table 3 Calculation Notes:
   UOCAVA Ballots Transmitted uses question B5a.
   UOCAVA Ballots Returned uses question B9a.
   UOCAVA Ballots Counted, Total uses question B14a.
   UOCAVA Ballots Counted, % of Returned uses question B14a divided by B9a.
   UOCAVA Ballots Rejected, Total uses question B18a.
   UOCAVA Ballots Rejected, % of Returned uses question B18a divided by B9a.

UOCAVA Table 3 Data Notes:
   General Notes:
       • Casewise deletion at the state level was used in calculating national percentages. The percentage
           calculations at the national level (U.S. Total) only used data from those states that provided data
           for the numerator and denominator of the calculation.


    [1] Georgia, Iowa, Oregon, and South Carolina reported that data on FWABs were included in the EAVS
    items related to UOCAVA absentee ballots because FWABs cannot be distinguished from regular UOCAVA
    absentee ballots.




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   [2] Kootenai County in Idaho responded “Data not available” to the number of UOCAVA ballots returned
   (B9a) and reported 317 UOCAVA ballots counted (B14a). Because of these responses, the total number of
   UOCAVA ballots received at the state level was lower than the total number of UOCAVA ballots counted,
   and the percentage of counted ballots exceeded 100% in Idaho.
   [3] Louisiana noted in a survey comment that “[T]he registrar sometimes transmits multiple ballots to voter
   (i.e. the voter did not [receive] the original ballot or the original ballot is returned as undeliverable).”
   [4] Montana noted in a survey comment that “[B]allots issued may exceed voter registration due to
   replacement ballot issued.”
   [5] New York noted in a survey comment that “While the UOCAVA data reflects information provided by the
   counties, it does not address the variable that voters may return more than one ballot. The following
   further addresses this variable:
      (1) If voters have electronic access to their ballot, they could potentially download and print the
          documents more than once and subsequently return them to the county boards.
      (2) Some county boards mail a ballot to every UOCAVA voter, regardless of their transmission preference.
          Due to this, voters who already received their ballot electronically, completed and returned it, may
          subsequently receive a physical ballot in the mail. This may result in such voters returning this
          additional ballot.
      (3) Additional data collected by NYS BOE [New York State Board of Elections] has shown that more than
          1700 UOCAVA voters returned multiple ballots, although the data does not report how many ballots
          each of these voters returned.”
   [6] The Northern Mariana Islands and the U.S. Virgin Islands reported that items related to rejected
   UOCAVA absentee ballots did not apply.
   [7] Puerto Rico reported that data in items related to rejected UOCAVA absentee ballots did not apply.
   [8] Rhode Island noted in a survey comment that “[A]ccording to RI general law all UOCAVA mail ballots are
   consolidated into one mail ballot category.”
   [9] South Carolina noted in a survey comment that “UOCAVA ballots counted equals UOCAVA ballots
   returned before deadline. No data available on UOCAVA ballots that may have been challenged.”
   [10] The U.S. Virgin Islands reported that items related to rejected UOCAVA absentee ballots did not apply,
   with a survey comment that “[T]he five voters did not return their ballots that were sent to them.”
   [11] In Wisconsin, other methods of transmitting UOCAVA ballots include online ballot delivery, fax, or
   email. There were some UOCAVA voters who voted at the polls on Election Day, rather than by UOCAVA
   absentee ballot; these voters are not included in Section B but are included in the numbers for Section D.
   Wisconsin does not have a postmark requirement for absentee ballots; absentee ballots must be received
   by the local clerk before polls close on Election Day. Many Wisconsin jurisdictions track the return of
   ballots received after Election Day, but they are not required to do so. Counts reported for “Ballot not
   received on time/missed deadline” represent the ballots that have been tracked in this way. In Wisconsin,
   ballots missing a postmark are counted if they otherwise qualify; therefore, there are no ballots rejected
   for this reason.




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UOCAVA Table 4: Federal Write-In Absentee Ballots (FWAB)

                    Total     FWABs Counted         FWABs Rejected            FWABs Not Categorized
       State       FWABs
                  Received            % of Total                 % of Total               % of Total
                             Total                 Total                       Total
                                      Received                   Received                 Received
 Alabama            254      190        74.8        64             25.2          0           0.0
 Alaska             155       97        62.6        58             37.4          0           0.0
 American
                     0        0           --        0                --          0            --
 Samoa
 Arizona            236      186        78.8        50             21.2          0           0.0
 Arkansas           45        43        95.6        2               4.4          0           0.0
 California [1]    3,474     1,723      49.6       1,575           45.3         176          5.1
 Colorado           150      146        97.3        4               2.7          0           0.0
 Connecticut
                     --        --         --         --              --          --           --
 [2]
 Delaware           87        64        73.6        23             26.4          0           0.0
 District of
                    380      309        81.3        71             18.7          0           0.0
 Columbia
 Florida           1,726     833        48.3       883             51.2         10           0.6
 Georgia [3]         --        --         --         --              --          --           --
 Guam                0        0           --        0                --          0            --
 Hawaii             12        12       100.0        0               0.0          0           0.0
 Idaho              30        12        40.0        23             76.7          -5         -16.7
 Illinois          1,156     916        79.2       240             20.8          0           0.0
 Indiana           1,534     1,170      76.3        40              2.6         324         21.1
 Iowa [3]            --        --         --         --              --          --           --
 Kansas             169      141        83.4        27             16.0          1           0.6
 Kentucky [4]       106        --         --         --              --         106         100.0
 Louisiana          30        28        93.3        2               6.7          0           0.0
 Maine              106       97        91.5        9               8.5          0           0.0
 Maryland           943      491        52.1       452             47.9          0           0.0
 Massachusetts      647      646        99.8        1               0.2          0           0.0
 Michigan [5]       949      329        34.7       620             65.3          0           0.0
 Minnesota          506      333        65.8       173             34.2          0           0.0
 Mississippi         3        3        100.0        1              33.3          -1         -33.3
 Missouri           301      301       100.0        0               0.0          0           0.0
 Montana            61        56        91.8        5               8.2          0           0.0
 Nebraska           81        80        98.8        1               1.2          0           0.0
 Nevada             222      221        99.5        1               0.5          0           0.0
 New
                    86        85        98.8        1               1.2          0           0.0
 Hampshire
 New Jersey        9,333     9,269      99.3        55              0.6          9           0.1
 New Mexico
                    131       83        63.4        48             36.6          0           0.0
 [6]
 New York          3,088     1,637      53.0       1,424           46.1         27           0.9




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                    Total        FWABs Counted             FWABs Rejected        FWABs Not Categorized
      State        FWABs
                  Received                   % of Total             % of Total               % of Total
                               Total                      Total                   Total
                                             Received               Received                 Received
 North Carolina     921         910            98.8        11          1.2          0           0.0
 North Dakota       29          29            100.0        0           0.0          0           0.0
 Northern
 Mariana             --          --              --         --          --          --           --
 Islands [7]
 Ohio [8]           789         466            59.1       313         39.7         10           1.3
 Oklahoma           207         162            78.3        45         21.7          0           0.0
 Oregon [3]          --          --              --         --          --          --           --
 Pennsylvania       242         235            97.1        7           2.9          0           0.0
 Puerto Rico         0           0               --        0            --          0            --
 Rhode Island
                     --          --              --         --          --          --           --
 [9]
 South Carolina
                     --          --              --         --          --          --           --
 [3]
 South Dakota       14          12             85.7        2          14.3          0           0.0
 Tennessee          456         232            50.9       224         49.1          0           0.0
 Texas             2,839        912            32.1       1,925       67.8          2           0.1
 U.S. Virgin
                     --          --              --         --          --          --           --
 Islands [10]
 Utah [2]            --          --              --         --          --          --           --
 Vermont [11]        --          --              --         --          --          --           --
 Virginia [12]      448         448           100.0        0           0.0          0           0.0
 Washington         898         894            99.6        4           0.4          0           0.0
 West Virginia      45          39             86.7        6          13.3          0           0.0
 Wisconsin [13]     137         56             40.9        48         35.0         33          24.1
 Wyoming             1           1            100.0        0           0.0          0           0.0
 U.S. Total       33,027      23,897           72.6       8,438       25.6         692          2.1


UOCAVA Table 4 Calculation Notes:
   Total FWABs Received uses question B23a.
   FWABs Counted, Total uses question B24a.
   FWABs Counted, % uses question B24a divided by question B23a.
   FWABs Rejected, Total uses the sum of questions B25a, B26a, and B27a.
   FWABs Rejected, % uses the sum of questions B25a, B26a, and B27a, all divided by B23a.
   FWABs Not Categorized, Total uses question B23a minus the sum of questions B24a, B25a,B26a, and
   B27a.
   FWABs Not Categorized, % uses question B23a minus the sum of questions B24a, B25a, B26a, and B27a,
   all divided by question B23a.




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UOCAVA Table 4 Data Notes:
   General Notes:
       • Casewise deletion at the state level was used in calculating national percentages. The percentage
           calculations at the national level (U.S. Total) only used data from those states that provided data
           for the numerator and denominator of the calculation.
       • Negative numbers in the Not Categorized FWABs category indicate that the sum of counted and
           rejected FWABs account for more than the total number of FWABs received as reported by the
           state.
       • The EAVS tracks data on FWABs that were rejected because they were received after the ballot
           receipt deadline (B25), because the voter’s regular absentee ballot was received and counted
           (B26), and for other reasons (B27).


    [1] In California, a large number of FWAB rejections occurred because regular vote-by-mail ballots were
    already returned and counted for the same voter, and because of missing signatures, incomplete
    information, or receipt after deadline.
    [2] Connecticut and Utah reported that data on items related to FWABs were not available.
    [3] Georgia, Iowa, Oregon, and South Carolina reported that data on items related to FWABs were not
    available because FWABs cannot be distinguished from regular UOCAVA absentee ballots.
    [4] Kentucky reported that data on items related to counted and rejected FWABs were not available. This
    state also noted in a survey comment that “[R]eject reason not tracked.”
    [5] Michigan noted in a survey comment that “[A]ll FWABs received were either counted, received a regular
    ballot that was counted, or arrived late.”
    [6] In New Mexico, the reason for rejection is not tracked by counties at this time.
    [7] The Northern Mariana Islands reported that data on items related to FWABs were not available, with a
    survey comment that “[T]he election statute does not allow for Federal Write-in Absentee Ballot.”
    [8] Ohio noted for multiple counties that the “[T]otal in B23a does include B26a. Source information [for
    military/overseas voters] for B26a is not tracked. Because of this, B23b + B23c will not always equal
    B23a.”
    [9] Rhode Island noted in a survey comment that “[A]ccording to RI general law all UOCAVA mail ballots are
    consolidated into one mail ballot category.”
    [10] The U.S. Virgin Islands reported that data on items related to FWABs were not available.
    [11] Vermont reported that data on FWABs were not available.
    [12] Local election officials in Virginia do not enter information relating to rejected FWABs into the state’s
    central system and only enter information on FWABs that are accepted and counted.
    [13] In Wisconsin, many jurisdictions track the return of ballots received after Election Day but are not
    required to do so. The counts reported in “Total number of FWABs rejected because it was received after
    the ballot receipt deadline” [B25a] are limited to ballots in jurisdictions that recorded these in the
    statewide database.




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Chapter 5. Survey Methodology and
Procedures
Since 2004, the U.S. Election Assistance Commission (EAC) has conducted the Election
Administration and Voting Survey (EAVS) following each federal general election. The project collects
data on election policies, voter registration, voting by individuals covered by the Uniformed and
Overseas Citizens Absentee Voting Act (UOCAVA), mail voting, in-person voting, poll workers and
polling places, provisional voting, election technology, and turnout. All U.S. states, U.S. territories,
and the District of Columbia are included in the EAVS. 1 The EAVS helps the EAC meet its mandate
under the Help America Vote Act (HAVA) to serve as a national clearinghouse and resource for the
compilation of information and the review of procedures with respect to the administration of federal
elections.

The EAVS collectively consists of two surveys administered separately: The Election Administration
Policy Survey (Policy Survey), which collects data on state election policies and procedures, was
administered from August to December 2020. The information collected through the Policy Survey
helps provide context to the data reported through the EAVS. The EAVS, which collects data about
registrations, voters, and ballots in the 2020 general election, was administered from December
2020 to July 2021. The data collected through the EAVS allow states to satisfy their data reporting
requirements established by the National Voter Registration Act (NVRA) and UOCAVA and provide a
detailed snapshot of how general elections are administered in the United States every two years.

This report relies on EAVS data submitted and certified by 50 states, the District of Columbia, and
five U.S. territories. Data for each state were collected at the jurisdiction level, with 6,460 of the
6,460 jurisdictions nationwide (100%) submitting at least partial data in 2020. 2 Appendix A of this
chapter shows the number of jurisdictions and the response rate by state (overall and for each
section of the EAVS).



1 Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 50 U.S. states, the

District of Columbia and five U.S. territories (American Samoa, Guam, the Northern Mariana Islands, Puerto Rico, and the
U.S. Virgin Islands) that submit Election Administration Policy Survey and EAVS data. Puerto Rico provides EAVS data only in
presidential election years, as it does not hold elections for federal candidates in midterm election years. American Samoa
did not participate in the 2016 EAVS. The Northern Mariana Islands participated in the EAVS for the first time in 2020.
2 What constitutes a jurisdiction for EAVS reporting is defined by how each state chose to provide data. For the 2020 EAVS,

most states reported data on the county level (or county equivalent, such as parishes for Louisiana). Illinois, Maryland,
Missouri, and Virginia reported data for independent cities in addition to counties. The territories, the District of Columbia,
and Alaska each reported as a single jurisdiction. Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island,
Vermont, and Wisconsin reported data on the township level. Maine also reported its UOCAVA data in Section B as a
separate jurisdiction, because this information was only collected at the state level. Michigan reported data for the county
level, but most election administration activities take place in the 1,520 local election jurisdictions in the state. See
Appendix A in this chapter for a breakdown of the number of jurisdictions reported in each state. Elections for Kalawao
County in Hawaii are administered by Maui County; although Kalawao is included as a jurisdiction in the EAVS data,
Kalawao’s data are included with Maui’s data.



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Survey Questions
The 2020 Policy Survey consisted of 80 questions (41 required questions, 23 follow-up questions
based on a state’s responses to the required questions, and 16 optional comments boxes). Of these,
58 were single-select or multiselect questions, 20 were open-ended with a text response, and two
were hybrid single-select and text questions.

The 2020 EAVS consisted of 407 questions (217 required, 79 follow-up questions based on a
jurisdiction’s responses to the required questions, 77 optional questions based on whether a
jurisdiction had additional data to provide, and 34 optional comments boxes). Of these questions,
253 were fill in the blank with a numerical response, 37 were item descriptions, 65 were single-
select questions, and 52 were open-ended with a text response.

The content of the questions in the EAVS has largely been unchanged since the 2008 survey,
although questions are periodically removed, updated, or reordered. The Policy Survey was
significantly reorganized in 2018 and was converted to a set of closed-ended questions. The 2020
Policy Survey was significantly revised and expanded from the 2018 survey. The full set of EAVS and
Policy Survey questions can be found at https://www.eac.gov/research-and-data/datasets-
codebooks-and-surveys.

The following sections detail the data collected by these surveys and the changes that were made to
the questions from the 2018 versions. In 2020, the primary changes to the survey questions
involved:

   • Adding Policy Survey questions that could be used to validate EAVS items.
   • Removing a redundant EAVS question, adding one new EAVS question, and adding two sub-
     questions to an existing EAVS question.
   • Clarifying instructions to make completion easier for election officials and to improve data
     quality.

Policy Survey
Since 2008, the EAVS has been accompanied by a survey that collects information on states’
election policies and practices to provide greater context for the jurisdiction-level data collected
through the EAVS. This originally took the form of the Statutory Overview, which consisted of open-
ended questions on statutory requirements for various parts of the election process, asking states to
report information on their election laws and policies. However, the open-ended format made it
difficult to interpret states’ statutory language, identify patterns in election practices, and draw
meaningful comparisons between states.

Beginning with the 2018 EAVS, the Statutory Overview was significantly redesigned and renamed the
Policy Survey. The survey now uses closed-ended questions and is intended to capture states’ broad
policies rather than to represent a comprehensive overview of state statutory language. This allows
for greater ease in interpreting the results, creating comparisons across states, and providing




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context in understanding the EAVS data. The Policy Survey questions are designed to map onto the
EAVS data questions so that the two surveys can be used in concert.

The 2020 Policy Survey collected information on election infrastructure; how the state answers the
EAVS; voter registration and list maintenance; election technology; mail voting; in-person voting
before Election Day; vote centers; UOCAVA voting; provisional voting; election certification, recounts,
and audits; voter identification; and how criminal convictions affect voting. The 2020 Policy Survey
was significantly revised and expanded compared to the 2018 survey. New additions to the Policy
Survey included:

 New Question for
                                                            Description
      2020
                     Information on a state’s election infrastructure, including the name, title, and duties
                     of the chief state election official; the names and EAVS responsibilities of state
                     election offices; the names and EAVS responsibilities of local election offices; whether
 Q1, Q1a, Q2, Q2a,
                     any jurisdictions had been added or consolidated since the 2018 EAVS; and contact
 Q2b, and Q2c
                     information (including the office name, physical address, mailing address, phone
                     number, website, and email address) for all state and local election offices within the
                     state.
                     Information on how a state implements its automatic or automated voter registration
 Q6a and Q6b
                     process, including how individuals could decline to be registered.
 Q7b                 Features incorporated into a state’s online registration system.
 Q8                  Online voting information search tools available on the state’s election website.
 Q10                 Preregistration of voters before they turn 18 years of age.
                     Whether the state designates certain voters as inactive, and if so, what actions would
 Q11, Q11a, Q11b     result in an active voter being designated as inactive and what actions would result in
                     an inactive voter being designated as active.
                     Whether state officials, local officials, or both are responsible for modifying or
 Q12
                     removing voter registration records.
                     Whether the state sends confirmation notices, whether the confirmation notices are
 Q13, Q13a           sent pursuant to the NVRA, pursuant to state statute, or formal administrative rule or
                     guidance, and which types of voters are sent confirmation notices.
                     What data sources a state uses to identify potentially ineligible voters on their voter
 Q14
                     registration rolls.
                     Policy on voting system testing and certification and what type of testing and
 Q15, Q15a
                     certification is required.
                     Whether electronic poll books are used in the state and whether testing and
 Q16, Q16a
                     certification for those electronic poll books is required.
 Q21                 How long a state tracks mailed ballots for inclusion in its EAVS Section C data.
 Q22                 What types of markings satisfy the state’s postmark requirement for mailed ballots.
 Q23                 Which voters may receive ballots electronically.
                     The deadline for overseas UOCAVA voters to return their ballots. This question was
 Q30                 designed to match a question on domestic military UOCAVA voters that had been in
                     the 2018 Policy Survey but was renumbered and redesigned for 2020 (Q29).




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 New Question for
                                                           Description
      2020
 Q31                Whether UOCAVA ballots have different postmark requirements for mailed ballots.
                    Whether the state uses provisional ballots, and if so, what circumstances warrant a
 Q32, Q32a, Q32b    voter being provided a provisional ballot and the deadline for adjudicating provisional
                    ballots.
 Q33                State’s election certification deadline.
 Q35a               What type(s) of audits a state conducts.
                    Deadline for a voter to present valid identification if they do not have identification at
 Q36a
                    the polls and must take further action to prove their identity.



Questions that were significantly revised from the 2018 Policy Survey included:

   Significantly
   Revised from                                            Description
      2018
                    Government entities that transmit data to the centralized state database. This question
                    had been Q3 and Q4 in 2018. For 2020, this question was collapsed from three to two
 Q5                 subcategories, including a binary yes/no question on whether the government entity
                    transfers data and a single-select, follow-up question with how frequently the data
                    transmission occurs.
                    Whether the state registers individuals to vote automatically or via an automated
                    process. This question had previously been Q5 in 2018. The 2020 question clarified
 Q6
                    the definition of “automatically” and “automated process,” provided examples of
                    automated processes, and included a space for comments.
                    Which state agencies participate in automatic or automated voter registration. This
 Q6a                question had previously been Q5a in 2018. In 2020, this was changed to a multiselect
                    question with additional answer options that better align with state practices.
                    Whether the state has online registration. This question had previously been Q6 in
                    2018. The 2020 question clarified the definition of online registration and added an
 Q7
                    answer option for states that could only process registration updates through online
                    registration.
                    Whether a registrant needed a state-issued form of identification in order to register
                    online. This question had previously been Q6a in 2018. The 2020 question clarified
 Q7a
                    that any state-issued identification, not just driver’s licenses, would apply to this
                    question.
                    Whether a state has same-day voter registration (SDR). This question had previously
                    been Q7 in 2018. The 2020 question included a clarification that an overlap between
 Q9
                    the availability between the mail balloting period and the close of voter registration
                    should not be considered SDR.
                    The type of SDR offered by the state. This question had previously been Q7 in 2018.
 Q9a                The 2020 question was changed from a single-select question to a multiselect
                    question.




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   Significantly
   Revised from                                          Description
      2018
                   Deadlines for mail voters to return their ballots. This question had previously been Q11
                   in 2018. The 2020 question restructured the answer options to provide greater clarity,
 Q20
                   eliminated the answer option for mailed ballots postmarked after Election Day, and
                   included a comments section.
                   Types of in-person early voting permitted in a state. This question had previously been
                   Q12 in 2018. The 2020 question asked for what terminology a state used to describe
 Q24
                   in-person early voting and clarified that hand delivery of mailed ballots by voters should
                   not be considered early voting.
                   Whether an excuse was required for early voting. This question had previously been
 Q24a
                   Q12a in 2018. The 2020 question was updated to match the wording of Q24.
                   Whether a state used vote centers. This question had previously been Q13 in 2018.
 Q25               The 2020 question clarified that polling locations that function as a vote center, even if
                   the terminology is not the same, should be included in this question.
                   Which Federal Post Card Application (FPCA) submission methods are permitted in the
                   state. This question had previously been Q14 in 2018. The 2020 question clarified
 Q26
                   that postal mail does not need to be specified, as this mode of submission is required
                   in all states.
                   Whether FPCA registration is permanent or temporary. This question had previously
 Q27               been Q15 in 2018. The 2020 question included updated wording to clarify that it
                   applies to how long an FPCA registers a person as a UOCAVA voter.
                   How long a voter remains eligible to receive a UOCAVA ballot after registering with an
 Q28               FPCA. This question had previously been Q15 in 2018. The 2020 question provided
                   more extensive answer options.
                   Deadline for domestic military UOCAVA voters to return their ballots. This question had
                   previously been Q17 in 2018. The 2020 question was revised to match the format of
 Q29               Q20, which collects data on the deadline for voters to return mailed ballots, and the
                   instructions were updated to specify that the question applies to domestic military
                   UOCAVA voters rather than all UOCAVA voters.
                   How a state would handle a provisional ballot cast in the wrong precinct. This question
 Q32c              had previously been Q18 in 2018. The 2020 question included an instruction about
                   the definition of a partially counted provisional ballot.
                   Reasons for conducting post-election recounts of ballots. This question had previously
 Q34               been Q19 in 2018. The 2020 question added a definition of “election recount” and
                   included updated answer options.
                   Statutory requirements for audits. This question had previously been Q20 in 2018. The
 Q35               2020 question included revised terminology, a definition of “audit,” and the addition of
                   an answer option for other types of post-election tabulation audits.
                   Voter identification requirements for non-first-time voters. This question had previously
                   been Q21 in 2018. The 2020 question included additional answer options and
 Q36
                   clarified that non-government, non-photo identification options could include proof of
                   residence.
                   Which populations become ineligible to vote because of disqualifying criminal
 Q37               convictions. This question had previously been Q22 in 2018. The 2020 question
                   included revised question wording and was changed to a multiselect question.




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   Significantly
   Revised from                                               Description
      2018
                        How long people with disqualifying felony convictions lose their ability to vote. This
                        question had previously been Q23 in 2018. The 2020 question was changed to a
 Q37a
                        multiselect question, added an answer option for payment of outstanding fines, and
                        the answer options were reworded to be mutually exclusive.
                        How people with disqualifying felony convictions can have their voting rights restored.
                        This question had previously been Q24 in 2018. The 2020 question was changed to a
 Q37b
                        multiselect question, the wording of the answer options was clarified, and a comment
                        section was added.



The following questions had no change except for renumbering and, for some, the addition of a
comment section:

   2020        2018
                                                                  Description
 Numbering   Numbering
     Q3            Q1         How the state answers the EAVS.
     Q4            Q2         Whether the state has a top-down, bottom-up, or hybrid voter registration
                              database.
                              How often bottom-up or hybrid databases transmit information to the state voter
    Q4a            Q2a
                              registration database.
    Q17            Q8         Whether an excuse is required for mail voting.
                              Whether the state, or any jurisdiction within the state, conducted an all-vote-by-
    Q18            Q9
                              mail election for the November 2020 general election.
   Q18a            Q9a        Whether the all-vote-by-mail system was used statewide or only in certain
                              jurisdictions for the 2020 general election.
    Q19            Q10        Whether permanent mail voting is permitted.
   Q19a            Q10a       Which voters are permitted to register as permanent mail voters.
   Q25a            Q13a       How vote centers operate within the state.



The 2018 Policy Survey questions on audits of polling place procedures, audits of voting machines,
and types of ballots audited were removed for 2020.

Section A: Voter Registration
Section A of the EAVS collects data on voter registration. This includes the number of persons
registered and eligible to vote in the November 2020 general election, active and inactive voters,
voters who used SDR, registration forms processed between the close of registration for the 2018
general election and the close of registration for the 2020 general election, confirmation notices
sent pursuant to the NVRA, and voters removed from the voter registration rolls.




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In 2020, changes to this section included the addition of sub-questions on the number of SDRs
received on Election Day (A2b) and before Election Day (A2c), in addition to the total provided in A2a.
The instructions in this question were also revised to clarify that all SDRs received for the 2020
general election should be reported. In addition, the instructions for A4–A7 were revised to clarify
that online voter registrations reported in A4c, A5c, A6c, and A7c should only include registration
forms that were completed and submitted through a web-based online registration form system and
that SDRs should be categorized according to the mode used to submit the registration application.
The instructions for A8 were revised to include a more accurate definition of the term “confirmation
notice” and to clarify that notices sent between the close of registration for the November 2018
general election and the close of registration for the November 2020 general election should be
reported in this question.

Section B: UOCAVA
Section B of the EAVS collects data on voters covered by UOCAVA. This includes the number of
registered UOCAVA voters; FPCAs received and rejected; UOCAVA ballots transmitted, returned,
counted, and rejected; and Federal Write-In Absentee Ballots (FWAB) received, counted, and
rejected. Most questions in Section B were divided by type of voter (uniformed services members
and overseas citizens) and by method of ballot transmission and return (postal mail, email, and
other).

In 2014, the UOCAVA section of the EAVS was expanded to include questions from the Federal
Voting Assistance Program’s (FVAP) Post-Election Quantitative Survey. The goal of combining surveys
was to reduce the burden on election officials by asking them to answer a single set of questions
about UOCAVA voting rather than answering two surveys that captured many of the same data
points. The current format of Section B is the result of a memorandum of understanding between the
EAC and FVAP that allows both agencies to collect, share, and evaluate data on the voting
experiences of citizens covered under UOCAVA and to fulfill their congressionally mandated
requirements to study UOCAVA voters.

In 2020, changes to this section included the addition of question B27. Previously, the questions in
the EAVS relating to FWABs only asked for data on FWABs rejected from being received after the
ballot receipt deadline or because the voter’s regular absentee ballot was received and counted. The
addition of B27 allows states to report data on FWABs rejected for other reasons, in total (B27a), for
uniformed services voters (B27b), and for overseas citizen voters (B27c). A space was also provided
to collect a description of the reasons the FWABs reported in B27 were rejected. In addition, the
instructions for question B8 were updated to clarify that ballots transmitted by “other mode” could
include fax and online ballot delivery portals.

Section C: Mail Voting
Section C of the EAVS collects data on mail voting. This includes the number of mailed ballots
transmitted, returned, counted, and rejected, as well as the number of ballots sent to permanent
mail voters.




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In 2020, changes to this section included a clarification to the instructions of C1 that all mailed
ballots transmitted for the November 2020 general election should be included in this question, and
a clarification to the instructions of C2 that ballots transmitted in an all-vote-by-mail state or
jurisdiction should not be included in the count of mailed ballots transmitted to permanent absentee
voters.

Section D: In-Person Voting and Polling Operations
Section D of the EAVS collects data on in-person voting. This includes the number of ballots cast
through in-person voting before and on Election Day, the number of precincts and polling places, and
the number of poll workers and the level of difficulty involved in recruiting poll workers. This section
was previously called “Total Votes Cast and In-Person Voting” and was renamed in 2020 to reflect
the removal of a redundant question about the total votes cast and to better align with the section’s
focus on in-person voting and the polling operations to support in-person voting.

The removal of the 2018 question on total votes cast caused the questions in Section D to be
renumbered. The removed question on total votes cast was redundant with question F1a on the
number of votes cast and counted. In addition, the instructions in questions D5–D7 were updated to
clarify the definition of a poll worker and to specify how poll workers should be counted. The
instructions for D6 were updated to specify that each early voting poll worker should be counted
once regardless of how many early voting shifts they worked, and the instructions for D7 were
updated to specify that each poll worker should be counted only once, regardless of how many shifts
they worked.

Section E: Provisional Ballots
Section E of the EAVS collects data on provisional voting, including provisional ballots submitted,
provisional ballot adjudication, and reasons for rejection.

In 2020, changes to this section included a clarification of the instructions in E1b–d that the number
of provisional ballots submitted should be recorded. A definition of provisional ballots counted in part
was added to the instructions of E1c.

Section F: Voter Participation and Election Technologies
Section F of the EAVS collects data on voter participation and election technologies. This includes
total participation in the 2020 general election, how many ballots were cast and counted by mode of
participation, the source of participation data, use of electronic and paper poll books, voting
equipment used, and the location where votes are tallied. Respondents were also provided the
opportunity to share general comments regarding their state’s or jurisdiction’s Election Day
experiences, noteworthy successes, and challenges they overcame when administering the
November 2020 general election.

In 2020, changes to this section included a clarification of how participation should be counted in
question F1. The 2018 question collected data on the number of voters who participated; this
instruction was updated for 2020 to clarify that voters who cast a ballot that was counted should be



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reported in this question. In addition, question F1e removed the instruction that provisional voters
who were given credit in their vote history should be included in this question. The instructions for
question F8 were updated to include a more complete description of scanners.

Data Collection Procedures
In compliance with the Paperwork Reduction Act of 1995, the EAC submitted the questions for the
2020 Policy Survey and the EAVS for review by the Office of Management and Budget (OMB) and for
public comment. Public comments were collected from October 8, 2019, to December 6, 2019, and
from February 11, 2020, to March 12, 2020. The questions were approved under OMB Control No.
3265-0006, expiration date March 31, 2023. The survey questions were made available publicly on
the EAC’s website on July 8, 2020. Targeted communications with state points of contact (POC)
responsible for completing the surveys began on July 7, 2020, and continued regularly throughout
the data collection period. These targeted communications aimed to keep states aware of data
collection deadlines and resources available to assist them with completing the survey.

The following sections describe each aspect of the EAVS data collection process in more detail.

Needs Assessment
To better understand how state-level officials respond to the EAVS and where they need support, the
EAC undertook a systematic assessment of the needs of EAVS POCs in October and November 2019.
The goal of these interviews was to better understand each state’s EAVS reporting process (including
how data is collected, which templates are used, the state’s use of technical assistance resources,
and data quality) and how improvements could be made to the 2020 EAVS. All state POCs that
completed the 2018 EAVS were invited to participate and interviews with 34 states were completed.
The EAC created semi-structured interview guides for each participant that also left room for the
moderator to probe further.

The information collected through these needs assessment conversations helped the EAC’s outreach
plan design, shaped the training opportunities provided to each state, and identified states that
needed specialized support to complete the EAVS. Based on these conversations, the EAC made
improvements to the design and usability of the data collection templates, added supplementary
instructions to clarify how respondents were to use the missing data codes in the survey, and
released the EAVS data collection templates earlier than in previous years to afford POCs more time
to compile their data submissions. During these needs assessment calls, the EAC also encouraged
state POCs to review and provide comments on the draft 2020 survey questions, which at the time
were available on the Federal Register.

Policy Survey
Invitations to complete the 2020 Policy Survey were sent to all 56 states, territories, and districts on
August 3, 2020. The Policy Survey data are collected in advance of EAVS data collection to reduce
respondent burden and to allow the EAC to create data validation rules for the EAVS data. The Policy
Survey was completed through an online survey; this survey had undergone usability testing with
POCs from nine states and territories in June and July 2020, and edits to the survey based on the


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results of this testing were completed in advance of the survey’s launch. 3 Periodic reminders were
issued to POCs during the data collection period. All 56 states, territories, and districts submitted
their Policy Survey data by December 15, 2020. When the answer options within a question did not
fully capture a state’s policy, POCs were encouraged to provide comments with further explanation.

The 2020 Policy Survey had a series of questions about the contact information of state and local
election offices. The EAC collected this contact information from state election websites and official
registers in May and June 2020. This information was pre-populated into the online Policy Survey
data collection tool and was provided to POCs to review and correct as they completed the Policy
Survey. Because this data contains personally identifiable information (PII), it is not part of the public
data release.

Once received, each Policy Survey submission was reviewed for completeness. Through these
reviews and through further reviews conducted once each state’s EAVS submission was received,
the EAC made Policy Survey corrections for 37 states before the end of the EAVS data collection
period.

For the first time, the EAC incorporated a state’s Policy Survey submission directly into the EAVS data
collection template validations in 2020. This means that a state’s 2020 EAVS data collection
templates could not be released until the state’s Policy Survey submission was finalized.

EAVS
The EAVS data collection period was opened to 46 states on November 9, 2020. The data collection
was opened to the 10 remaining states once their Policy Survey submissions were received and their
templates were finalized; all data collection templates were released to states by December 18,
2020. The EAVS data collection period ended in July 2021. Data submissions from all 56 states
were received by that date, with a response rate of 100% of states. After providing final data, states’
chief election officials certified their Policy Survey and EAVS as complete and correct to the best of
their knowledge.

To build on the needs assessment conversations that were completed in October and November
2019, the EAC completed pre-survey outreach calls with officials from states that had new
designated POCs for the 2020 EAVS or that had requested further follow-up after the needs
assessment calls. Fifteen states were invited to participate in the outreach calls, and 10 states
completed calls in August of 2020. During these interviews, the EAC provided an overview of the
project timeline and the types of data collected in the Policy Survey and the EAVS, notified the POCs
of the help desk support and other resources that would be provided as part of the 2020 EAVS,
probed POCs on data issues from the 2018 EAVS, and whether the ongoing COVID-19 pandemic was
impacting the state’s election policies or could affect its ability to submit EAVS data in a timely




3 Fifty-three states completed the Policy Survey via the online survey. Three states completed the survey via a paper

instrument; for these states, the Policy Survey technical assistants entered the data from the paper instrument into the
online survey and asked the state to review for accuracy and submit the data.



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manner. These conversations helped ensure that the EAC was prepared to provide adequate support
to states as they completed their EAVS data collection.

Data Collection Templates
Given the diversity in how states respond to the EAVS, creating data templates that accommodate
the needs of all states and all local jurisdictions is especially challenging. The 2020 EAVS data were
collected using two data collection templates:

   • The Excel template was a flat data format that allowed POCs to copy and paste large amounts
     of data, such as from a report generated from the state’s centralized election database. Each
     EAVS item was listed in a column in the Excel template and each EAVS jurisdiction within the
     state was listed in a row. States with multiple jurisdictions were required to submit their data
     through the Excel template.
   • The online template was an item-by-item survey hosted online that guided respondents
     through entering their responses. This template was primarily intended to be used by
     jurisdictions that entered EAVS data, although some states entered data into the online
     template on behalf of some or all of their jurisdictions. The data from the online template was
     exported to an Excel file that matched the format of the Excel data collection template.

Usability testing of the draft online template was completed with nine local election officials between
July and August 2020, and edits to the survey based on the results of this testing were completed in
advance of the online template’s launch.

The EAC pre-populated data into the online template for four states and into the Excel template for
one state. Pre-fill data was provided by state POCs via the Excel template or via an email or phone
request that provided detail on which items were to be populated.

Both data collection templates employed a variety of error-checking data validations to reduce
response burden and to increase data quality.

Data Validation
One of the key issues associated with any data collection project is ensuring that the data collected
are as accurate as possible. Given the number of survey questions, their complexity and granularity,
and the variety of approaches in how state and local jurisdictions provide responses, it can be easy
to make data entry mistakes or report data in an incorrect survey item. All 2020 EAVS data collection
templates included built-in internal and external validation checks that flagged specific types of
potential errors within a data submission.

The validation checks were designed to flag common data issues so that respondents were aware of
them before submitting their data to the EAC. In response to these validations, states and
jurisdictions were encouraged to review their data, correct it if needed, and use the comments fields
to explain any peculiarities and give context to the data that were being reported.




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In addition, once a state submitted data for review by the EAC, additional data reviews were
conducted by trained data analysts. These reviews checked for missing data, internal math and logic
issues, conflicts with Policy Survey responses, and significant changes compared to 2016 EAVS
data. 4 The results of this review were provided to state POCs in a written memo, along with a file that
had sample rates and percentages calculated using their draft submission. These sample rates and
percentages were provided to assist POCs with identifying results that did not align with their
expectations, so they could be corrected in the final submission.

A complete list of all validation checks that were built into the data collection templates and
additional data validations that were conducted for draft submissions can be found in Appendices B
and C of this chapter. In general, there were five types of data validations.

Math Validations
Many items in the EAVS asked respondents to report a total and then divide that total into
subcategories. The math validations within the templates checked that the sum of the subcategories
equaled the reported total of the overall category. For example, if the total number of voters who cast
a ballot that was counted in the 2020 general election did not match the sum of the number of
voters who used different modes of voting, then the respondent was asked to review the numbers
reported in these items. 5

Logic Validations
Logic validations identified when a value in the survey was incompatible with a response provided in
another related question in the survey. For example, if the number of mailed ballots counted by a
jurisdiction exceeded the number of mailed ballots that had been returned by voters, then the
respondent was asked to review these items. 6

Policy Survey Validations
These validations identified instances in which an EAVS item conflicted with the Policy Survey data
that had been submitted by the state. For example, if a state reported having an online voter
registration system through which an individual could submit a voter registration application, but
reported “does not apply” to EAVS items relating to the number of voter registration forms submitted
through online sources, then the validations would highlight that a conflict existed between the
respondent’s EAVS and Policy Survey data and would ask the respondent to review the EAVS items
and contact the EAC if the Policy Survey response needed to be updated. 7




4 The 2016 EAVS was used as a point of comparison in the data reviews, because it was the most recent presidential

election.
5 The total number of voters participating in the 2020 general election was reported in item F1a in the 2020 EAVS. The

number of voters who participated using different modes of voting were items F1b through F1h.
6 The number of mailed ballots counted by a jurisdiction was reported in item C3a in the 2020 EAVS. The number of mailed

ballots returned by voters was reported in item C1b.
7 Data on states’ policies regarding online voter registration were reported in item Q7 in the Policy Survey. The number of

total, new, duplicate, and rejected registrations received through online registration systems were reported in items A4c,
A5c, A6c, and A7c, respectively, of EAVS.



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Missing Items
With the exception of comment boxes and “other” subcategories for reporting data beyond what was
specified in a question, all items in the EAVS required a response. An alert appeared if a response to
a required item was not provided. For example, if a respondent reported the total number of
registered voters in their jurisdiction but not the number of active and inactive registered voters, the
latter items would be flagged with a request that the respondent should report “does not apply” (if
their state does not have an applicable law or policy), “data not available” (if the data for an item is
not tracked), or zero (if no instance of an item occurred) rather than leave the item blank. 8

Valid Skips
For the first time, in 2020, the EAC introduced a valid skip code to the EAVS data. This code was
automatically filled in by the template validations when an item did not require an answer because of
a response to a previous item in the survey. The use of the valid skip code is distinct from the use of
the “does not apply” code (for when a jurisdiction does not have a law or policy in place that allows
for the type of election participation in the question) and the “data not available” code (for when the
data for a type of election participation is not tracked). For instance, if a jurisdiction indicated in
EAVS question F5a that it did not use direct-recording electronic (DRE) voting machines without a
voter-verified paper audit trail (VVPAT), then items F5b through F5d, relating to the make and model
of equipment, the number deployed, and the usage of the equipment, were filled as “valid skip” by
the template validations.

Technical Assistance
Technical assistance was provided through the duration of the Policy Survey and the EAVS data
collection periods. Help desk support was provided for 20 hours each week from August 3, 2020, to
December 31, 2020, and for 50 hours each week from January 4, 2021, to March 30, 2021. State
and local EAVS respondents could request assistance via email or phone. A team of trained technical
assistants provided support on all aspects of the survey data collection processes. A total of 812
support tickets were received from all 56 states, territories, and districts. The most common
inquiries were related to accessing the data collection templates, re-opening online templates that
had been submitted prematurely, how data transferred between the online template and the Excel
template, and questions about survey definitions (including SDR, how to classify registration forms in
questions A3–A7, and what types of voting should be counted as in-person early voting for purposes
of EAVS).

After the first round of EAVS data was collected in March 2021, a group of subject matter experts
(SME) from the EAC conducted an extra quality control review via video conference. All states and
territories were invited to participate and 51 out of 56 participated. The extra quality check was
necessary due to the new voting options throughout the country for the 2020 general election and
due to challenges caused by the COVID-19 pandemic. Thirty-eight of the states and territories that
were interviewed requested data changes or added/amended footnotes to this report.


8 The total number of registered voters for the 2020 general election was reported in item A1a in the EAVS. The number of

active registered voters was item A1b. The number of inactive registered voters was item A1c.



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Resources for EAVS Respondents
In addition to providing direct, customized technical assistance, the EAC made a wide variety of
written and video training resources available to survey respondents on demand. A website was
established to house these resources and to provide a secure place for state EAVS POCs to upload
data submissions and other documents for the EAC to review.

The resources on this website included PDF copies of the Policy Survey and EAVS questions; a link to
the online template; six videos that outlined the questions and instructions in the six sections of the
EAVS; three video webinars that provided guidance on the overall EAVS process, on collecting data
from local jurisdictions, and for state POCs new to EAVS data collection; eleven newsletters that were
released between August 2020 and March 2021; an extensive user guide that provided step-by-step
instructions for both data collection templates; a policy guide approved by the EAC Commissioners
that provided information to election officials responsible for completing EAVS; and an Excel
crosswalk that documented survey changes from 2018 to 2020.

The website also contained a section that was restricted to state POCs. This section had copies of
the state’s 2016 and 2018 EAVS and the state’s Statutory Overview or Policy Survey data available
for download, a table that tracked the online template progress for each jurisdiction within the state,
and the capacity for POCs to upload files for the EAC to review.

Data Reporting and Calculations
In 2020, most EAVS data were reported at the local jurisdiction level. For the purposes of this report,
for states that have multiple jurisdictions, state totals were calculated by summing the data from all
jurisdictions within a state. National totals were calculated by summing the state-level totals.

Whenever possible, this report uses percentages and rates rather than raw numbers to make
comparisons across states and across election years. For these calculations, items were combined
as necessary to create the numerator and denominator and to produce a percentage or rate. For
example, the following formula was used to calculate the percentage of transmitted mailed ballots
that were returned by voters for the 2020 general election:

                     𝑇𝑇𝑜𝑜𝑅𝑅𝑎𝑎𝑇𝑇 𝑅𝑅𝑇𝑇𝑛𝑛𝑏𝑏𝑅𝑅𝑜𝑜 𝑜𝑜𝑜𝑜 𝑛𝑛𝑎𝑎𝑅𝑅𝑇𝑇𝑅𝑅𝑚𝑚 𝑏𝑏𝑎𝑎𝑇𝑇𝑇𝑇𝑜𝑜𝑅𝑅𝑅𝑅 𝑜𝑜𝑅𝑅𝑅𝑅𝑇𝑇𝑜𝑜𝑅𝑅𝑅𝑅𝑚𝑚 𝑏𝑏𝑏𝑏 𝐴𝐴𝑜𝑜𝑅𝑅𝑅𝑅𝑜𝑜𝑅𝑅 (𝐶𝐶1𝑏𝑏)
                                                                                                                                      × 100
         𝑇𝑇𝑜𝑜𝑅𝑅𝑎𝑎𝑇𝑇 𝑅𝑅𝑇𝑇𝑛𝑛𝑏𝑏𝑅𝑅𝑜𝑜 𝑜𝑜𝑜𝑜 𝑛𝑛𝑎𝑎𝑅𝑅𝑇𝑇𝑅𝑅𝑚𝑚 𝑏𝑏𝑎𝑎𝑇𝑇𝑇𝑇𝑜𝑜𝑅𝑅𝑅𝑅 𝑅𝑅𝑜𝑜𝑎𝑎𝑅𝑅𝑅𝑅𝑛𝑛𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑚𝑚 𝑏𝑏𝑏𝑏 𝑅𝑅𝑇𝑇𝑅𝑅𝐴𝐴𝑅𝑅𝑅𝑅𝑜𝑜𝑅𝑅 𝑜𝑜𝑜𝑜𝑜𝑜𝑅𝑅𝐴𝐴𝑅𝑅𝑅𝑅 (𝐶𝐶1𝑎𝑎)

Percentages at the national level were calculated using casewise missing data deletion at the state
level. Only states that had data for both the numerator and denominator for a calculation were
included when reporting percentages at the national level. Responses of “does not apply,” “data not
available,” and “valid skip” were considered missing for purposes of creating these calculations.
Casewise deletion was used in the analysis for this report to avoid overinflating the denominator of
the calculations. This is especially applicable when states do not track data for a particular item, or
when election policy differences mean that not all states can provide data for an item. For example,
online registration is not available in every state, so the calculation of the nationwide percentage of
registrations that were received online will only use data from states that reported at least one online



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registration. Otherwise, the national percentage would include in the denominator (in this case, the
total number of registrations received) data from states that do not have online registration, thus
underestimating the percentage of online registrations that were received. 9

This decision rule means that there were instances in which the percentages reported at the national
level for a given calculation in this report did not use data from every state. Because each category
was calculated independently of others and only states that reported data in both the numerator and
the denominator were included in the analysis, casewise deletion also created instances in which
percentages do not sum to 100%. Those cases in which data were not available for every state to
calculate the percentage at the national level are noted in the footnotes throughout this report.

Recommendations for Analyzing and Interpreting the EAVS Data
The most up-to-date version of the 2020 EAVS and Policy Survey data can always be found on the
EAC’s website (https://www.eac.gov/research-and-data/datasets-codebooks-and-surveys). If the EAC
is notified by a state of an error or omission in the state’s data, the agency will issue the updated
EAVS and Policy Survey data sets on its website with an errata note of changes that have been made
to the newly issued data sets. Updated data sets will be issued on a quarterly basis.

There are four types of data missingness codes used in the 2020 Policy Survey and EAVS data:

   • Valid skip (-77): This code indicates that no response is expected based on a previous survey
     response. For instance, in the Policy Survey, if a state answered “no” to Q7 to indicate that it
     does not provide an option for voters to register to vote online, then items Q7a and Q7b, which
     collect further information on the specifics of a state’s online registration system, would be
     marked as -77. In the EAVS, if a state indicates in item A4c, the total number of registration
     forms submitted online, that this question does not apply, then items A5c, A6c, and A7c, which
     collect data on new, duplicate, and rejected registrations submitted online, would be marked
     as -77.
   • Does not apply (-88): This code indicates that a question does not apply to a state, because
     the state does not have an applicable policy in place. For instance, a response of -88 in item
     A4c of the EAVS indicates that the state does not have online registration.
   • Data not available (-99): This code indicates that the data for an item cannot be tracked. For
     instance, a response of -99 in item A4c of the EAVS indicates that the state accepts online
     voter registrations but cannot track the number of these registrations that were submitted by
     voters.
   • Refused (-100): This code indicates that a response was expected but was not provided. This
     code is only used in the Policy Survey data.



9 The total number of registration applications received between the close of registration for the 2018 general election and

the close of registration for the 2020 general election was collected in item A3a. The total number of registration
applications received online between the close of registration for the 2018 general election and the close of registration for
the 2020 general election was collected in item A4c. The application of casewise deletion means that only states that
reported at least one registration in both of these items on a statewide level were included in the calculation of the
percentage of registration applications received through online sources.



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When summing the EAVS data, either on a state or a national level, analysts should take care to treat
these missingness codes as missing items and not as negative numbers.

Users of the EAVS data are also encouraged to refer to the comments that accompany all of the
EAVS items and many of the Policy Survey items. During data collection, the EAC encouraged all
respondents to use these comments to provide context to their responses. In many cases, these
comments contain valuable information about how state and jurisdiction respondents formulated
their responses, why some responses do not align with the data validations outlined in this chapter,
or context about how the 2020 general election was conducted in a state or jurisdiction. If data
users have further questions about the data that have been submitted, they are encouraged to
contact states or jurisdictions directly with further questions.

The EAC also encourages data users to take care when calculating percentages to ensure that the
correct EAVS items are used. Appendix D of this chapter contains recommendations for how to
calculate EAVS rates using the 2020 data. These recommendations align with how rates were
calculated throughout this report.

This report used the 1-year American Community Survey (ACS) state estimates for the 2019 citizen
voting age population (CVAP) instead of the 5-year estimate to ensure that the CVAP was as current
as possible. The CVAP estimates for 2020 were not available by the time this report was finalized.
Once they are released by the U.S. Census Bureau, the 2020 CVAP estimates can be found at
https://data.census.gov/. Data analysts should import both the state- and county-level geographies
and merge them into the EAVS data using the Federal Information Processing Standards (FIPS) code.
For states that have subcounty jurisdictions, these jurisdictions will need to be aggregated at the
county level in order to merge in the CVAP data. 10 For this report, the state-level CVAP was used for
Alaska and Puerto Rico, as both reported as a single EAVS jurisdiction. Finally, the Census Bureau
does not provide CVAP estimates for the U.S. territories (with the exception of Puerto Rico), so no
CVAP estimate was available for American Samoa, Guam, the Northern Mariana Islands, and the U.S.
Virgin Islands.




10 These are the states of Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island, Vermont, and Wisconsin.

Additionally, the state of Illinois reported six cities independently of their corresponding counties (i.e., Bloomington,
Chicago, Danville, East St. Louis, Galesburg, and Rockford), and Missouri reported Kansas City independently of its
corresponding county.



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Methodology Appendix A: Survey Response Rates
                    EAVS     Section A    Section B   Section C   Section D   Section E   Section F
        State     Response   Response     Response    Response    Response    Response    Response
                    Rate       Rate         Rate        Rate        Rate        Rate        Rate
 Alabama           100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Alaska            100.0      100.0        100.0       100.0       100.0       100.0       100.0
 American
                    98.4      100.0        100.0       100.0       100.0       100.0        94.4
 Samoa
 Arizona           100.0      100.0         99.9       100.0       100.0       100.0       100.0
 Arkansas           90.2       99.5         77.4        83.5        88.1        82.5        97.3
 California         99.2      100.0         98.2        99.9        99.8        99.9        98.9
 Colorado          100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Connecticut       100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Delaware          100.0      100.0        100.0       100.0       100.0       100.0       100.0
 District of
                    99.7      100.0        100.0       100.0        94.7       100.0       100.0
 Columbia
 Florida            99.4      100.0         98.7        99.9        99.2        96.4        99.8
 Georgia           100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Guam               98.1       93.9        100.0       100.0       100.0       100.0        98.9
 Hawaii [1]         99.1      100.0         99.5       100.0       100.0       100.0        97.1
 Idaho              99.4       98.8         99.0       100.0       100.0       100.0       100.0
 Illinois           99.1       99.6         99.7        99.8        99.7        98.6        97.9
 Indiana           100.0      100.0        100.0       100.0        99.9       100.0       100.0
 Iowa              100.0      100.0        100.0       100.0       100.0       100.0        99.9
 Kansas             69.0       67.4         86.8        77.3        62.3        95.9        48.0
 Kentucky          100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Louisiana         100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Maine [2]         100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Maryland          100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Massachusetts     100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Michigan          100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Minnesota         100.0      100.0        100.0       100.0        99.9       100.0       100.0
 Mississippi       100.0      100.0        100.0       100.0       100.0       100.0        99.9
 Missouri           99.8      100.0        100.0       100.0       100.0       100.0        99.4
 Montana            99.6      100.0         98.5       100.0       100.0       100.0       100.0
 Nebraska          100.0      100.0        100.0       100.0       100.0       100.0       100.0
 Nevada             99.8      100.0         99.2       100.0       100.0       100.0       100.0
 New Hampshire      99.5      100.0        100.0       100.0       100.0       100.0        98.3
 New Jersey        100.0      100.0        100.0       100.0       100.0       100.0       100.0
 New Mexico        100.0      100.0        100.0       100.0        99.7       100.0       100.0
 New York           97.5      100.0        100.0        99.9        99.7       100.0        91.1
 North Carolina     99.9      100.0        100.0       100.0       100.0       100.0        99.7



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                      EAVS        Section A    Section B    Section C     Section D    Section E     Section F
      State         Response      Response     Response     Response      Response     Response      Response
                      Rate          Rate         Rate         Rate          Rate         Rate          Rate
 North Dakota         100.0         100.0        100.0        100.0         100.0        100.0         100.0
 Northern
                       96.2         100.0         90.0        100.0          94.7        100.0         96.7
 Mariana Islands
 Ohio                 100.0         100.0        100.0        100.0         100.0        100.0         100.0
 Oklahoma             100.0         100.0        100.0        100.0         100.0        100.0         100.0
 Oregon               100.0         100.0        100.0        100.0         100.0        100.0         100.0
 Pennsylvania         100.0         100.0        100.0        100.0         100.0        100.0         99.9
 Puerto Rico          100.0         100.0        100.0        100.0         100.0        100.0         100.0
 Rhode Island         100.0         100.0        100.0        100.0         100.0        100.0         100.0
 South Carolina       100.0         100.0        100.0        100.0         100.0        100.0         100.0
 South Dakota          99.9         100.0         99.8         99.9          98.8         99.8         100.0
 Tennessee            100.0         100.0        100.0        100.0         100.0        100.0         100.0
 Texas                 99.4         100.0         99.6        100.0         100.0        100.0         98.2
 U.S. Virgin
                      100.0         100.0        100.0        100.0         100.0        100.0         100.0
 Islands
 Utah                 100.0         100.0        100.0        100.0         100.0        100.0         99.8
 Vermont               98.0         100.0        100.0        100.0         100.0        100.0         93.0
 Virginia             100.0         100.0        100.0        100.0         100.0        100.0         100.0
 Washington           100.0         100.0        100.0        100.0         100.0        100.0         100.0
 West Virginia         99.7         100.0         98.8        100.0          99.9        100.0         100.0
 Wisconsin             99.7         100.0        100.0        100.0         100.0        100.0         98.9
 Wyoming               99.9         100.0         99.6        100.0          99.8        100.0         100.0
 U.S. Total            99.1         99.4          99.4         99.4          99.2         99.7         98.2

Survey Response Rate Calculation Notes:
    EAVS Response Rate uses responses to all items listed below.
    Section A Response Rate uses responses to questions A1a, A1b, A1c, A2a, A2b, A2c, A3a, A3b, A3c, A3d,
    A3e, A3f, A3g, A3h, A3i, A3j, A4a, A4b, A4c, A4d, A4e, A4f, A4g, A4h, A4i, A4j, A4k, A4l, A5a, A5b, A5c, A5d,
    A5e, A5f, A5g, A5h, A5i, A5j, A5k, A5l, A6a, A6b, A6c, A6d, A6e, A6f, A6g, A6h, A6i, A6j, A6k, A6l, A7a, A7b,
    A7c, A7d, A7e, A7f, A7g, A7h, A7i, A7j, A7k, A7l, A8a, A8b, A8c, A8d, A8e, A8f, A8g, A8h, A9a, A9b, A9c,
    A9d, A9e, A9f, A9g, A9h, A9i, and A9j.
    Section B Response Rate uses responses to questions B1a, B1b, B1c, B2a, B2b, B2c, B3a, B3b, B3c, B4a,
    B5a, B5b, B5c, B6a, B6b, B6c, B7a, B7b, B7c, B8a, B8b, B8c, B9a, B9b, B9c, B10a, B10b, B10c, B11a,
    B11b, B11c, B12a, B12b, B12c, B13a, B13b, B13c, B13d, B14a, B14b, B14c, B15a, B15b, B15c, B16a,
    B16b, B16c, B17a, B17b, B17c, B18a, B18b, B18c, B19a, B19b, B19c, B20a, B20b, B20c, B21a, B21b,
    B21c, B22a, B22b, B22c, B23a, B23b, B23c, B24a, B24b, B24c, B25a, B25b, B25c, B26a, B26b, B26c,
    B27a, B27b, and B27c..
    Section C Response Rate uses responses to questions C1a, C1b, C1c, C1d, C1e, C1f, C1g, C1h, C1i, C2a,
    C3a, C4a, C4b, C4c, C4d, C4e, C4f, C4g, C4h, C4i, C4j, C4k, C4l, C4m, C4n, C4o, C4p, C4q, and C4r.
    Section D Response Rate uses responses to questions D1a, D1b, D2a, D3a, D3b, D3c, D4a, D4b, D4c,
    D5, D6, D7a, D7b, D7c, D7d, D7e, D7f, D7g, and D8.




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    Section E Response Rate uses responses to questions E1a, E1b, E1c, E1d, E1e, E2a, E2b, E2c, E2d, E2e,
    E2f, E2g, E2h, E2i, E2j, E2k, E2l, and E2m.
    Section F Response Rate uses responses to questions F1a, F1b, F1c, F1d, F1e, F1f, F1g, F1h, F2, F3a,
    F3b, F3c, F3d, F4a, F4b, F4c, F4d, F5a, F5b_1, F5c_1, F5b_2, F5c_2, F5b_3, F5c_3, F5d_1, F5d_2,
    F5d_3, F5d_4, F6a, F6b_1, F6c_1, F6b_2, F6c_2, F6b_3, F6c_3, F6d_1, F6d_2, F6d_3, F6d_4, F7a,
    F7b_1, F7c_1, F7b_2, F7c_2, F7b_3, F7c_3, F7d_1, F7d_2, F7d_3, F7d_4, F7d_5, F8a, F8b_1, F8c_1,
    F8b_2, F8c_2, F8b_3, F8c_3, F8d_1, F8d_2, F8d_3, F8d_4, F8d_5, F9a, F9c_1, F9c_2, F9c_3, F9d_1,
    F9d_2, F9d_3, F9d_4, F9d_5, F10a, F10c_1, F10c_2, F10c_3, F10d_1, F10d_2, F10d_4, F11a, F11d_1,
    F11d_2, F11d_3, F11d_4, F11d_5, F12a, F12b, F12c, F12d, and F12e.

Survey Response Rate Data Notes:
    General Notes:
        • Response rates are calculated as the percentage of jurisdictional responses within a state that
            were not left blank (i.e., had a numerical response of zero or greater or a response of “data not
            available,” “does not apply,” or “valid skip”).
        • Item descriptions and optional survey comments were not included in the response rate
            calculation.


    [1] Information for Kalawao County, Hawaii was reported with Maui County.
    [2] Maine reported its UOCAVA data on a statewide level, not a jurisdiction level.




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Methodology Appendix B: Data Collection Template Validation Rules
Table 1: Math Validation Rules
     Validation Rule                                            Error Text
The sum of A1b + A1c         The sum of active (A1b) and inactive (A1c) registered voters should be equal to
should equal A1a             the total number of registered voters (A1a).
The sum of A2b + A2c         The sum of SDRs received on Election Day (A2b) and SDRs received prior to
should equal A2a             Election Day (A2c) should be equal to the total number of SDRs received (A2a).

The sum of A3b–j should      The sum of the numbers you report in A3b–j should equal the total number of
equal A3a                    registration forms you report in A3a.

The sum of A4a–l should      The sum of the numbers you report in A4a–l should equal the total number of
equal A3a                    registration forms you reported in A3a.


The sum of A5a–l should      The sum of the numbers you report in A5a–l should equal the total number of
equal A3b                    registration forms you reported in A3b.

The sum of A6a–l should      The sum of the numbers you report in A6a–l should equal the total number of
equal A3d                    registration forms you reported in A3d.

The sum of A7a–l should      The sum of the numbers you report in A7a–l should equal the total number of
equal A3e                    registration forms you reported in A3e.

The sum of A5a + A6a +       The amounts you report in A5a, A6a, and A7a should not exceed the total
A7a should not exceed A4a    number of registration forms received by mail, fax, or email you reported in
                             A4a. Please correct your responses or use the comments section to explain why
                             these subitems do not add up.
                             The amounts you report in A5b, A6b, and A7b should not exceed the total
The sum of A5b + A6b +       number of registrations in person at the election/registrar’s office you reported
A7b should not exceed A4b    in A4b. Please correct your responses or use the comments section to explain
                             why these subitems do not add up.
The sum of A5c + A6c +       The amounts you report in A5c, A6c, and A7c should not exceed the total
A7c should not exceed A4c    number of registration forms submitted online you reported in A4c. Please
                             correct your responses or use the comments section to explain why these
                             subitems do not add up.
                             The amounts you report in A5d, A6d, and A7d should not exceed the total
The sum of A5d + A6d +       number of registration forms received from motor vehicle offices you reported
A7d should not exceed A4d    in A4d. Please correct your responses or use the comments section to explain
                             why these subitems do not add up.
The sum of A5e + A6e +       The amounts you report in A5e, A6e, and A7e should not exceed the total
A7e should not exceed A4e    number of registration forms received from public assistance offices you
                             reported in A4e. Please correct your responses or use the comments section to
                             explain why these subitems do not add up.
                             The amounts you report in A5f, A6f, and A7f should not exceed the total
The sum of A5f + A6f + A7f   number of registration forms received from state-funded agencies you reported
should not exceed A4f        in A4f. Please correct your responses or use the comments section to explain
                             why these subitems do not add up.



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      Validation Rule                                            Error Text
 The sum of A5g + A6g +       The amounts you report in A5g, A6g, and A7g should not exceed the total
 A7g should not exceed A4g    number of registration forms received from armed forces recruitment offices
                              you reported in A4g. Please correct your responses or use the comments
                              section to explain why these subitems do not add up.
                              The amounts you report in A5h, A6h, and A7h should not exceed the total
                              number of registration forms received from other agencies designated by the
 The sum of A5h + A6h +
                              state but not mandated by the NVRA you reported in A4h. Please correct your
 A7h should not exceed A4h
                              responses or use the comments section to explain why these subitems do not
                              add up.
 The sum of A5i + A6i + A7i   The amounts you report in A5i, A6i, and A7i should not exceed the total number
 should not exceed A4i        of forms received from registration drives from advocacy groups or political
                              parties you reported in A4i. Please correct your responses or use the comments
                              section to explain why these subitems do not add up.
                              The amounts you report in A5j, A6j, and A7j should not exceed the total number
 The sum of A5j + A6j + A7j   of forms received from “Other” sources you reported in A4j. Please correct your
 should not exceed A4j        responses or use the comments section to explain why these subitems do not
                              add up.
 The sum of A5k + A6k +       The amounts you report in A5k, A6k, and A7k should not exceed the total
 A7k should not exceed A4k    number of forms received from “Other” sources you reported in A4k. Please
                              correct your responses or use the comments section to explain why these
                              subitems do not add up.
                              The amounts you report in A5l, A6l, and A7l should not exceed the total number
 The sum of A5l + A6l + A7l   of forms received from “Other” sources you reported in A4l. Please correct your
 should not exceed A4l        responses or use the comments section to explain why these subitems do not
                              add up.
 The sum of A8b–h should      The amounts you report in A8b–h should equal the total number of
 equal A8a                    confirmation notices sent to registered voters you reported in A8a. Please
                              correct your responses or use the comments section to explain why these
                              subitems do not add up.
                              The amounts you report in A9b–j should equal the total number of voters
 The sum of A9b–j should
                              removed you reported in A9a. Please correct your responses or use the
 equal A9a
                              comments section to explain why these subitems do not add up.
 The sum of B1b–c should      The amounts you report in B1b–c should equal the total number of registered
 equal B1a                    and eligible UOCAVA voters you reported in B1a. Please correct your responses
                              or use the comments section to explain why these subitems do not add up.
                              The amounts you report in B2b–c should equal the total number of FCPAs
 The sum of B2b–c should      received from UOCAVA voters you reported in B2a. Please correct your
 equal B2a                    responses or use the comments section to explain why these subitems do not
                              add up.
 The sum of B3b–c should      The amounts you report in B3b–c should equal the total number of rejected
 equal B3a                    FPCAs from UOCAVA voters you reported in B3a. Please correct your responses
                              or use the comments section to explain why these subitems do not add up.
                              The amounts you report in B5b–c should equal the total number of absentee
 The sum of B5b–c should      ballots transmitted to UOCAVA voters you reported in B5a. Please correct your
 equal B5a                    responses or use the comments section to explain why these subitems do not
                              add up.




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     Validation Rule                                         Error Text
The sum of B6b–c should    The amounts you report in B6b–c should equal the total number of absentee
equal B6a                  ballots transmitted to UOCAVA voters by postal mail you reported in B6a. Please
                           correct your responses or use the comments section to explain why these
                           subitems do not add up.
                           The amounts you report in B7b–c should equal the total number of absentee
The sum of B7b–c should    ballots transmitted to UOCAVA voters by email you reported in B7a. Please
equal B7a                  correct your responses or use the comments section to explain why these
                           subitems do not add up.
The sum of B8b–c should    The amounts you report in B8b–c should equal the total number of absentee
equal B8a                  ballots transmitted to UOCAVA voters by other methods you reported in B8a.
                           Please correct your responses or use the comments section to explain why
                           these subitems do not add up.
                           The amounts you report in B6a, B7a, and B8a should equal the total number of
The sum of B6a, B7a, and   ballots transmitted to all UOCAVA voters you reported in B5a. Please correct
B8a should equal B5a       your responses or use the comments section to explain why these subitems do
                           not add up.
The sum of B6b, B7b, and   The amounts you report in B6b, B7b, and B8b should equal the total number of
B8b should equal B5b       ballots transmitted to all uniformed services voters you reported in in B5b.
                           Please correct your responses or use the comments section to explain why
                           these subitems do not add up.
                           The amounts you report in B6c, B7c, and B8c should equal the total number of
The sum of B6c, B7c, and   ballots transmitted to all overseas citizen voters you reported in B5c. Please
B8c should equal B5c       correct your responses or use the comments section to explain why these
                           subitems do not add up.
The sum of B9b–c should    The amounts you report in B9b–c should equal the total number of UOCAVA
equal B9a                  ballots returned to your office you reported in B9a. Please correct your
                           responses or use the comments section to explain why these subitems do not
                           add up.
                           The amounts you report in B10b–c should equal the total number of UOCAVA
The sum of B10b–c should   ballots returned to your office by postal mail you reported in B10a. Please
equal B10a                 correct your responses or use the comments section to explain why these
                           subitems do not add up.
The sum of B11b–c should   The amounts you report in B11b–c should equal the total number of UOCAVA
equal B11a                 ballots returned to your office by email you reported in B11a. Please correct
                           your responses or use the comments section to explain why these subitems do
                           not add up.
                           The amounts you report in B12b–c should equal the total number of UOCAVA
The sum of B12b–c should   ballots returned to your office by other methods you reported in B12a. Please
equal B12a                 correct your responses or use the comments section to explain why these
                           subitems do not add up.
The sum of B10a, B11a,     The amounts you report in B10a, B11a, and B12a should equal the total
and B12a should equal      number of UOCAVA ballots returned to your office you reported in B9a. Please
B9a                        correct your responses or use the comments section to explain why these
                           subitems do not add up.
                           The amounts you report in B10b, B11b, and B12b should equal the total
The sum of B10b, B11b,
                           number of transmitted ballots returned by all uniformed services voters you
and B12b should equal
                           reported in B9b. Please correct your responses or use the comments section to
B9b
                           explain why these subitems do not add up.



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      Validation Rule                                         Error Text
 The sum of B10c, B11c,     The amounts you report in B10, B11c, and B12c should equal the total number
 and B12c should equal      of transmitted ballots returned by all overseas citizen voters you reported in
 B9c                        B9c. Please correct your responses or use the comments section to explain why
                            these subitems do not add up.
                            The amounts you report in B13b–d should equal the total number of ballots
 The sum of B13b–d should
                            returned undeliverable you reported in B13a. Please correct your responses or
 equal B13a
                            use the comments section to explain why these subitems do not add up.
 The sum of B14b–c should   The amounts you report in B14b–c should equal the total number of UOCAVA
 equal B14a                 ballots counted by your office you reported in B14a. Please correct your
                            responses or use the comments section to explain why these subitems do not
                            add up.
                            The amounts you report in B15b–c should equal the total number of counted
 The sum of B15b–c should   UOCAVA ballots returned by postal mail you reported in B15a. Please correct
 equal B15a                 your responses or use the comments section to explain why these subitems do
                            not add up.
 The sum of B16b–c should   The amounts you report in B16b–c should equal the total number of counted
 equal B16a                 UOCAVA ballots returned by email you reported in B16a. Please correct your
                            responses or use the comments section to explain why these subitems do not
                            add up.
                            The amounts you report in B17b–c should equal the total number of counted
 The sum of B17b–c should   UOCAVA ballots returned by other methods you reported in B17a. Please
 equal B17a                 correct your responses or use the comments section to explain why these
                            subitems do not add up.
 The sum of B15a, B16a,     The amounts you report in B15a, B16a, and B17a should equal the total
 and B17a should equal      number of UOCAVA ballots counted by your office you reported in B14a. Please
 B14a                       correct your responses or use the comments section to explain why these
                            subitems do not add up.
                            The amounts you report in B15b, B16b, and B17b should equal the total
 The sum of B15b, B16b,
                            number of uniformed services voters’ ballots counted by your office you
 and B17b should equal
                            reported in B14b. Please correct your responses or use the comments section
 B14b
                            to explain why these subitems do not add up.
 The sum of B15c, B16c,     The amounts you report in B15c, B16c, and B17c should equal the total
 and B17c should equal      number of overseas citizen voters’ ballots counted by your office you reported
 B14c                       in B14c. Please correct your responses or use the comments section to explain
                            why these subitems do not add up.
                            The amounts you report in B18b–c should equal the total number of rejected
 The sum of B18b–c should
                            UOCAVA ballots you reported in B18a. Please correct your responses or use the
 equal B18a
                            comments section to explain why these subitems do not add up.
 The sum of B19b–c should   The amounts you report in B19b–c should equal the total number of UOCAVA
 equal B19a                 ballots rejected because they were received after the deadline you reported in
                            B19a. Please correct your responses or use the comments section to explain
                            why these subitems do not add up.
                            The amounts you report in B20b–c should equal the total number of UOCAVA
 The sum of B20b–c should   ballots rejected because of a problem with the voter signature you reported in
 equal B20a                 B20a. Please correct your responses or use the comments section to explain
                            why these subitems do not add up.




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     Validation Rule                                         Error Text
The sum of B21b–c should   The amounts you report in B21b–c should equal the total number of UOCAVA
equal B21a                 ballots rejected for lack of a postmark you reported in B21a. Please correct
                           your responses or use the comments section to explain why these subitems do
                           not add up.
                           The amounts you report in B22b–c should equal the total number of UOCAVA
The sum of B22b–c should   ballots rejected for other reasons reported in B22a. Please correct your
equal B22a                 responses or use the comments section to explain why these items do not sum
                           as expected.
The sum of B14a and        The sum of B14a and B18a should equal the total number of UOCAVA ballots
B18a should equal B9a      returned by voters that you reported in B9a. Please correct your responses or
                           use the comments section to explain why these items do not sum as expected.
                           The sum of B14b and B18b should equal the total number of UOCAVA ballots
The sum of B14b and        returned by uniformed services voters that you reported in B9b. Please correct
B18b should equal B9b      your responses or use the comments section to explain why these items do not
                           sum as expected.
The sum of B14c and        The sum of B14c and B18c should equal the total number of UOCAVA ballots
B18c should equal B9c      returned by overseas citizen voters that you reported in B9c. Please correct
                           your responses or use the comments section to explain why these items do not
                           sum as expected.
                           The amounts you report in B19a, B20a, B21a, and B22a should equal the total
The sum of B19a, B20a,
                           number of rejected UOCAVA ballots you reported in B18a. Please correct your
B21a, and B22a should
                           responses or use the comments section to explain why these subitems do not
equal B18a
                           add up.
The sum of B19b, B20b,     The amounts you report in B19b, B20b, B21b, and B22b should equal the total
B21b, and B22b should      number of rejected ballots from uniformed services voters you reported in
equal B18b                 B18b. Please correct your responses or use the comments section to explain
                           why these subitems do not add up.
                           The sum of the amounts you report in B19c, B20c, B21c, and B22c should
The sum of B19c, B20c,
                           equal the total number of rejected ballots from overseas citizen voters you
B21c, and B22c should
                           reported in B18c. Please correct your responses or use the comments section
equal B18c
                           to explain why these subitems do not add up.
The sum of B23b–c should   The amounts you report in B23b–c should equal the total number of FWABs
equal B23a                 returned by UOCAVA voters you reported in B23a. Please correct your
                           responses or use the comments section to explain why these subitems do not
                           add up.
                           The amounts you report in B24b–c should equal the total number of FWABs
The sum of B24b–c should
                           counted you reported in B24a. Please correct your responses or use the
equal B24a
                           comments section to explain why these subitems do not add up.
The sum of B25b–c should   The amounts you report in B25b–c should equal the total number of FWABs
equal B25a                 rejected because they were received after the deadline you reported in B25a.
                           Please correct your responses or use the comments section to explain why
                           these subitems do not add up.
                           The amounts you report in B26b–c should equal the total number of FWABs
The sum of B26b–c should   rejected because the voter’s regular absentee ballot was received and counted
equal B26a                 you reported in B26a. Please correct your responses or use the comments
                           section to explain why these subitems do not add up.




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      Validation Rule                                            Error Text
 The sum of B27b–c should   The amounts you report in B27b–c should equal the total number of FWABs
 equal B27a                 rejected for other reasons you reported in B27a. Please correct your responses
                            or use the comments section to explain why these subitems do not add up.

                            The amounts you report in B24a, B25a, B26a, and B27a should equal the total
 The sum of B24a, B25a,
                            number of FWABs returned by UOCAVA voters you reported in B23a. Please
 B26a, and B27a should
                            correct your responses or use the comments section to explain why these
 equal B23a
                            subitems do not add up.
 The sum of B24b, B25b,     The sum of the amounts you report in B24b, B25b, B26b, and B27b should
 B26b, and B27b should      equal the total number of FWABs returned by uniformed services voters you
 equal B23b                 reported in B23b. Please correct your responses or use the comments section
                            to explain why these subitems do not add up.
                            The sum of the amounts you report in B24c, B25c, B26c, and B27c should
 The sum of B24c, B25c,
                            equal the total number of FWABs returned by overseas citizen voters you
 B26c, and B27c should
                            reported in B23c. Please correct your responses or use the comments section
 equal B23c
                            to explain why these subitems do not add up.
 The sum of C1b–i should    The amounts you report in C1b–i should equal the number of total mailed
 equal C1a                  ballots transmitted you reported in C1a. Please correct your responses or use
                            the comments section to explain why these subitems do not add up.
                            The amounts you report in C4b–r should equal the total number of mailed
 The sum of C4b–r should
                            ballots rejected you reported in C4a. Please correct your responses or use the
 equal C4a
                            comments section to explain why these subitems do not add up.
 The sum of D3b–c cannot    The sum of the amounts you report in D3b–c cannot exceed the total number
 exceed D3a                 of physical polling places for Election Day in your jurisdiction you reported in
                            D3a. Please correct your responses or use the comments section to explain
                            why these subitems do not add up.
                            The sum of the amounts you report in D4b–c cannot exceed the total number
 The sum of D4b–c cannot    of physical polling places for early voting in your jurisdiction you report in D4a.
 exceed D4a                 Please correct your responses or use the comments section to explain why
                            these subitems do not add up.
 The sum of D7b–g should    The numbers you report in D7b–g should equal the total number of poll
 equal D7a                  workers in your jurisdiction you reported in D7a. Please correct your responses
                            or use the comments section to explain why these subitems do not add up.
                            The amounts you report in E1b–e should equal the total number of voters who
 The sum of E1b–e should    submitted provisional ballots you reported in E1a. Please correct your
 equal E1a                  responses or use the comments section to explain why these subitems do not
                            add up.
 The sum of E2b–m should    The amounts you report in E2b–m should equal the total number of rejected
 equal E2a                  provisional ballots you reported in E2a. Please correct your responses or use
                            the comments section to explain why these subitems do not add up.
                            The amount you report in E1d should equal the total number of rejected
 E1d should be equal to
                            provisional ballots you reported in E2a. Please correct your responses or use
 E2a
                            the comments section to explain why these subitems do not add up.
 The sum of F1b–h should    The sum of the amounts you report in F1b–h should equal the total number of
 equal F1a                  voters who cast a ballot that was counted you reported in F1a. Please correct
                            your responses or use the comments section to explain why these subitems do
                            not add up.




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Table 2: Logic Validation Rules
     Validation Rule                                         Error Text
                           Because your state does not differentiate between active (A1b) and inactive
If A1c = Does Not Apply,
                           voters (A1c), then A1a should equal A1b. Please correct your responses or use
then A1a = A1b
                           the comments section to explain why those two items differ.
                           The amount of SDRs you report in A2a cannot exceed the total number of
A2a cannot exceed A1a      registered voters you report in A1a. Please review your responses or use the
                           comments section to explain why the value in A2a exceeds the value in A1a.
                           The number of rejected FPCAs you report in B3a should not exceed the total
                           number of FPCAs received you reported in B2a. Please review your responses
B3a cannot exceed B2a
                           or use the comments section to explain why the value in B3a exceeds the
                           value in B2a.
                           The number of FPCAs rejected because they were late you report in B4a
                           should not exceed the total number of FPCAs rejected you reported in B3a.
B4a cannot exceed B3a
                           Please review your responses or use the comments section to explain why the
                           value in B4a exceeds the value in B3a.
                           The number of ballots returned you report in B9a should not exceed the
                           number of ballots transmitted to UOCAVA voters you reported in B5a. Please
B9a cannot exceed B5a
                           review your responses or use the comments section to explain why the value
                           in B9a exceeds the value in B5a.
                           The number of ballots returned from uniformed services members you report
                           in B9b should not exceed the number of ballots transmitted to uniformed
B9b cannot exceed B5b      services members you reported in B5b. Please review your responses or use
                           the comments section to explain why the value in B9b exceeds the value in
                           B5b.
                           The number of ballots returned from overseas citizen voters you report in B9c
                           should not exceed the number of ballots transmitted to overseas citizen voters
B9c cannot exceed B5c
                           you reported in B5c. Please review your responses or use the comments
                           section to explain why the value in B9c exceeds the value in B5c.
                           The number of ballots returned as undeliverable you report in B13a should not
                           exceed the number of ballots transmitted to UOCAVA voters you reported in
B13a cannot exceed B5a
                           B5a. Please review your responses or use the comments section to explain
                           why the value in B13a exceeds the value in B5a.
                           The total number of ballots counted you report in B14a should not exceed the
                           total number of ballots returned by UOCAVA voters you reported in B9a. Please
B14a cannot exceed B9a
                           review your responses or use the comments section to explain why the value
                           in B14a exceeds the value in B9a.
                           The total number of ballots counted you report in B14b should not exceed the
                           total number of ballots returned by uniformed services members you reported
B14b cannot exceed B9b
                           in B9b. Please review your responses or use the comments section to explain
                           why the value in B14b exceeds the value in B9b.
                           The total number of ballots counted you report in B14c should not exceed the
                           total number of ballots returned by overseas citizen voters you reported in
B14c cannot exceed B9c
                           B9c. Please review your responses or use the comments section to explain
                           why the value in B14c exceeds the value in B9c.




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      Validation Rule                                        Error Text
                           The number of ballots counted you report in B15a should not exceed the total
                           number of ballots returned by postal mail by UOCAVA voters you reported in
 B15a cannot exceed B10a
                           B10a. Please review your responses or use the comments section to explain
                           why the value in B15a exceeds the value in B10a.
                           The number of ballots counted you report in B15b should not exceed the total
                           number of ballots returned by postal mail by uniformed services members you
 B15b cannot exceed B10b
                           reported in B10b. Please review your responses or use the comments section
                           to explain why the value in B15b exceeds the value in B10b.
                           The number of ballots counted you report in B15c should not exceed the total
                           number of ballots returned by postal mail by overseas citizen voters you
 B15c cannot exceed B10c
                           reported in B10c. Please review your responses or use the comments section
                           to explain why the value in B15c exceeds the value in B10c.
                           The number of ballots counted you report in B16a should not exceed the total
                           number of ballots returned by email by UOCAVA voters you reported in B11a.
 B16a cannot exceed B11a
                           Please review your responses or use the comments section to explain why the
                           value in B16a exceeds the value in B11a.
                           The number of ballots counted you report in B16b should not exceed the total
                           number of ballots returned by email by uniformed services members you
 B16b cannot exceed B11b
                           reported in B11b. Please review your responses or use the comments section
                           to explain why the value in B16b exceeds the value in B11b.
                           The number of ballots counted you report in B16c should not exceed the total
                           number of ballots returned by email by overseas citizen voters you reported in
 B16c cannot exceed B11c
                           B11c. Please review your responses or use the comments section to explain
                           why the value in B16c exceeds the value in B11c.
                           The number of ballots counted you report in B17a should not exceed the total
                           number of ballots returned by other modes by UOCAVA voters you reported in
 B17a cannot exceed B12a
                           B12a. Please review your responses or use the comments section to explain
                           why the value in B17a exceeds the value in B12a.
                           The number of ballots counted you report in B17b should not exceed the total
                           number of ballots returned by other modes by uniformed services members
 B17b cannot exceed B12b
                           you reported in B12b. Please review your responses or use the comments
                           section to explain why the value in B17b exceeds the value in B12b.
                           The number of ballots counted you report in B17c should not exceed the total
                           number of ballots returned by other modes by overseas citizen voters you
 B17c cannot exceed B12c
                           reported in B12c. Please review your responses or use the comments section
                           to explain why the value in B17c exceeds the value in B12c.
                           The number of mailed ballots transmitted to permanent absentee voters you
                           report in C2a cannot exceed the total number of mailed ballots transmitted in
 C2a cannot exceed C1a
                           C1a. Please review your responses or use the comments section to explain
                           why the value in C2a exceeds the value in C1a.
                           The sum of the amounts you report in C3a and C4a should equal the number
 The sum of C3a and C4a    of absentee returned by voters you report in C1b. Please review your
 should equal C1b          responses or use the comments section to explain why the sum of C3a and
                           C4a do not match the value in C1b.
                           Because you reported in-person Election Day voting at a physical polling place
 If D1a > 0, then D3a ≠
                           in D1a, you should also report the number of Election Day polling places in
 Does Not Apply
                           D3a. Please review your responses and add comments as necessary.




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     Validation Rule                                            Error Text
                              Because you reported in-person Election Day voting in D1a, you should also
If D1a > 0, then F1b > 0      report the number of these ballots that were counted in F1b. Please review
                              your responses and add comments as necessary.
                              Because you reported in-person early voting at a physical polling place in D1b,
If D1b > 0, then D4a ≠
                              you should also report the number of early voting polling places in D4a. Please
Does Not Apply
                              review your responses and add comments as necessary.
                              Because you reported in-person early voting in D1b, you should also report the
If D1b > 0, then F1f > 0      numbers of these ballots that were counted in F1f. Please review your
                              responses and add comments as necessary.
                              Because you reported using poll workers in D5a and/or D6a, you should
If D5a > 0 or D6a > 0, then
                              provide the total number of poll workers used in the jurisdiction in D7a. Please
D7a > 0
                              review your responses and add comments as necessary.
                              The sum of counted absentee UOCAVA ballots reported in B14a and counted
                              FWABs reported in B24a should equal the total number of counted UOCAVA
The sum of B14a and
                              votes reported in F1c. Please review your responses or use the comments
B24a should equal F1c
                              section to explain why the sum of B14a and B24a do not match the value in
                              F1c.
                              The number of counted absentee ballots reported in C3a should equal the
                              total number of counted mail votes reported in F1d. Please review your
C3a should equal F1d
                              responses or use the comments section to explain why the C3a does not
                              match the value in F1d.
                              Because you reported a number of provisional ballots counted or partially
If E1b > 0 or E1c > 0, then   counted in E1b and/or E1c, you should provide data on the number of voters
F1e > 0                       who cast a provisional ballot that was counted in F1e. Please review your
                              responses and add comments as necessary.
                              The total number of voters who cast a ballot that was counted, as reported in
F1a cannot exceed A1a         F1a, cannot exceed the total number of registered voters as reported in A1a.
                              Please review your responses and add comments as necessary.
                              The number of voters who voted in-person on Election Day and whose votes
                              were counted, as reported in F1b, cannot exceed the total number of in-
F1b cannot exceed D1a
                              person ballots cast in Election Day, as reported in D1a. Please review your
                              responses and add comments as necessary.
                              The number of voters who cast a mailed ballot that was counted, as reported
                              in F1d, cannot exceed the total number of mailed ballots transmitted, as
F1d cannot exceed C1a
                              reported in C1a. Please review your responses and add comments as
                              necessary.
                              The number of voters who cast a provisional ballot that was counted, as
                              reported in F1e, cannot exceed the total number of provisional ballots cast, as
F1e cannot exceed E1a
                              reported in E1a. Please review your responses and add comments as
                              necessary.
                              The number of voters who cast a ballot during in-person early voting that was
                              counted, as reported in F1f, cannot exceed the total number of ballots cast
F1f cannot exceed D1b
                              during in-person early voting, as reported in D1b. Please review your
                              responses and add comments as necessary.
If F5a = Yes, then F5b_1 ≠    Because you reported using DREs without VVPAT in F5a, you should report
0 or Does Not Apply           data on the make(s) and model(s) of this equipment in F5b.




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      Validation Rule                                           Error Text
 If F5a = Yes, then F5c_1 ≠   Because you reported using DREs without VVPAT in F5a, you should report
 0 or Does Not Apply          data on the number of machines deployed in F5c.
 If F6a = Yes, then F6b_1 ≠   Because you reported using DREs with VVPAT in F6a, you should report data
 0 or Does Not Apply          on the make(s) and model(s) of this equipment in F6b.
 If F6a = Yes, then F6c_1 ≠   Because you reported using DREs with VVPAT in F6a, you should report data
 0 or Does Not Apply          on the number of machines deployed in F6c.
 If F7a = Yes, then F7b_1 ≠   Because you reported using ballot marking devices in F7a, you should report
 0 or Does Not Apply          data on the make(s) and model(s) of this equipment in F7b.
 If F7a = Yes, then F7c_1 ≠   Because you reported using ballot marking devices in F7a, you should report
 0 or Does Not Apply          data on the number of machines deployed in F7c.
 If F8a = Yes, then F8b_1 ≠   Because you reported using scanners in F8a, you should report data on the
 0 or Does Not Apply          make(s) and model(s) of this equipment in F8b.
 If F8a = Yes, then F8c_1 ≠   Because you reported using scanners in F8a, you should report data on the
 0 or Does Not Apply          number of machines deployed in F8c.
 If F9a = Yes, then
                              Because you reported using punch card machines in F9a, you should report
 F9b_1other ≠ 0 or Does
                              data on the make(s) and model(s) of this equipment in F9b.
 Not Apply
 If F9a = Yes, then F9c_1 ≠   Because you reported using punch card machines in F9a, you should report
 0 or Does Not Apply          data on the number of machines deployed in F9c.
 If F10a = Yes, then
                              Because you reported using lever machines in F10a, you should report data
 F10b_1other ≠ 0 or Does
                              on the make(s) and model(s) of this equipment in F10b.
 Not Apply
 If F10a = Yes, then F10c_1   Because you reported using lever machines in F10a, you should report data
 ≠ 0 or Does Not Apply        on the number of machines deployed in F10c.
                              Please respond to item [insert item number here]. If you do not have the
 If F11a = Yes, then
                              information to respond, please enter “Data Not Available.” If you collect the
 F11d_1, F11d_2, F11d_3,
                              information but no response fits in this category, please enter “0.” If this
 F11d_4 and F11d_5
                              question does not apply to you, please enter “Does Not Apply” and explain in
 cannot be blank
                              the comments section.




Table 3: Policy Survey Validation Rules
  Policy Survey Question      If Selected in Policy Survey             Expected Response in EAVS
                                                                 A4c, A5c, A6c and A7c ≠ Does Not Apply
 Q7: Does your state have     Q7 = Yes (any of the two
 online registration?         “yes” options)                  *Items A4c, A5c, A6c, and A7c report data on
                                                              online registration.
 Q9: Does your state have                                                    A2a ≠ Does Not Apply
 same-day registration        Q9 = Yes
 (SDR)?                                                       *Item A2a reports data on SDRs.




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  Policy Survey Question        If Selected in Policy Survey             Expected Response in EAVS
                                                                             A2b ≠ Does Not Apply
                                Q9a_1= Selected (On
                                Election Day)                    *Item A2b reports data on SDRs received on
Q9a: Under which                                                 Election Day.
circumstances can a voter
in your state register on       Q9a_2= Selected OR
                                                                             A2c ≠ Does Not Apply
the same day that they          Q9a_3= Selected
cast a ballot?                  (During in-person early voting
                                OR during an overlap
                                                                 *Item A2c reports data on SDRs received
                                between early voting and
                                                                 before Election Day.
                                close of voter registration)
                                                                             A3c ≠ Does Not Apply
Q10: Does your state allow
persons to preregister to
                                Q10 = Yes
vote before they are 18
                                                                 *Item A3c reports data on new
years of age?
                                                                 preregistrations of persons under age 18.
Q11: Does your state                                                         A1c ≠ Does Not Apply
differentiate between
active and inactive voters      Q11= Yes
in your voter registration
records?                                                         *Item A1c reports data on inactive registrants.
                                Q13_1 = Selected OR Q13_2                    A8a ≠ Does Not Apply
Q13: Does your state send       = Selected OR Q13_3 =
confirmation notices?           Selected (any of the three          *Item A8a reports data on confirmation
                                “yes” options)                                    notices.
                                                                             F1g ≠ Does Not Apply
Q18a: Does your whole
state use an all-by-mail        Q18a = Statewide
                                                                  *Item F1g reports data on ballots cast in all-
system?
                                                                             by-mail jurisdictions.
                                                                              C2a≠ Does Not Apply
Q19: Will your state allow
some or all registered
                                Q19 = Yes (any of the two
voters to request to be a
                                “yes” options)
permanent absentee                                                  *Item C2a reports data on mailed ballots
voter?                                                             transmitted to voters on a permanent mail
                                                                                registration list.
                                                                 D1b, D4a, D4b, D4c, D6a, and F1f = Does Not
Q24: What terminology
                                                                                   Apply
does your state use to
                                Q24_4 = Selected (No in-
describe the process of
                                person voting is allowed prior
allowing individuals to cast
                                to Election Day)                 *Items D1b, D4a-c, D6a, and F1f report data
their ballots in person prior
                                                                  on in-person early/absentee voting before
to Election Day?
                                                                                Election Day.
                                                                 E1a, E1b, E1c, E1d, E1e, E2a, and F1e ≠ Does
                                                                                  Not Apply
Q32: Does your state use
                                Q32 = Yes
provisional ballots?
                                                                     *Items E1, E2, and F1e report data on
                                                                              provisional ballots.




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  Policy Survey Question        If Selected in Policy Survey               Expected Response in EAVS
                                                                               A9d ≠ Does Not Apply
 Q37: Do convicted or           Q37_4 = Selected (No one;
 incarcerated individuals       criminal convictions do not
                                                                   *Item A9d reports data on voters removed
 lose eligibility to vote?      limit a person’s right to vote)
                                                                      from voter registration rolls due to a
                                                                         disqualifying felony conviction.




Table 4: Special Conditions
          If                                           Expected EAVS Response

 F5a = No                                     Rest of items in F5 filled as Valid Skip (-77)

 F5a = Yes              At least: F5b_1; F5c_1; F5d_1; F5d_2; F5d_3; F5d_4; F5d_5 should have a response

                                              Rest of items in F6 filled as Valid Skip (-77)
 F6a = No

 F6a = Yes              At least: F6b_1; F6c_1; F6d_1; F6d_2; F6d_3; F6d_4; F6d_5 should have a response

 F7a = No                                     Rest of items in F7 filled as Valid Skip (-77)

 F7a = Yes              At least: F7b_1; F7c_1; F7d_1; F7d_2; F7d_3; F7d_4; F7d_5 should have a response

 F8a = No                                     Rest of items in F8 filled as Valid Skip (-77)

 F8a = Yes              At least: F8b_1; F8c_1; F8d_1; F8d_2; F8d_3; F8d_4; F8d_5 should have a response

 F9a = No                                     Rest of items in F9 filled as Valid Skip (-77)

 F9a = Yes              At least: F9b_1; F9c_1; F9d_1; F9d_2; F9d_3; F9d_4; F9d_5 should have a response

 F10a = No                                   Rest of items in F10 filled as Valid Skip (-77)

 F10a = Yes             At least: F10b_1; F10c_1; F10d_1; F10d_2; F10d_3; F10d_4; F10d_5 should have a
                                                            response

 F11a = No                                   Rest of items in F11 filled as Valid Skip (-77)

 F11a = Yes                  At least: F11d_1; F11d_2; F11d_3; F11d_4; F11d_5 should have a response




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Methodology Appendix C: Post-Submission Validations and Sample
Rates
Table 1: Sample Rates and Outlier Thresholds
                                                                                 Threshold for Flagging
               EAVS Rate                              Calculation
                                                                                Result for Further Review
                                                       𝐴𝐴                                <50%
Percent of total registrants by CVAP
                                                                                         >130%
Percent of registrations that were new                 𝐴𝐴                                <5%
and valid                                                                                >95%
Percent of registrations that were                     𝐴𝐴                                 <1%
duplicates                                                                               >99%
Percent of registrations that were                     𝐴𝐴                                <1%
rejected                                                                                 >99%

Percent of registrations that were                     𝐴𝐴                                 <5%
within-jurisdiction changes                                                              >95%
                                                       𝐴𝐴                                <1%
Percent of registrations received by mail
                                                                                         >99%
Percent of registrations received in-                  𝐴𝐴                                <1%
person                                                                                   >99%
                                                       𝐴𝐴                                <1%
Percent of registrations received online
                                                                                         >99%
Percent of registrations received at                   𝐴𝐴                                <1%
motor vehicle agencies                                                                   >99%

Percent of registrations removed as                    𝐴𝐴                                <1%
percent of total registrants                                                             >99%

                                                       𝐵𝐵3𝑎𝑎                             <0.5%
Percent of FPCAs that were rejected                          × 100
                                                       𝐵𝐵2𝑎𝑎                             >99%

                                                       𝐵𝐵9𝑎𝑎                             <5%
Percent of UOCAVA ballots returned                           × 100
                                                       𝐵𝐵5𝑎𝑎                             >95%
Percent of UOCAVA ballots returned that               𝐵𝐵14𝑎𝑎                             <10%
were counted                                                 × 100                       >100%
                                                       𝐵𝐵9𝑎𝑎
Percent of UOCAVA ballots returned that               𝐵𝐵18𝑎𝑎                             <0.5%
were rejected                                                × 100                       >90%
                                                       𝐵𝐵9𝑎𝑎
                                                      𝐵𝐵24𝑎𝑎                             <10%
Percent of FWABs counted                                     × 100
                                                      𝐵𝐵23𝑎𝑎                             >100%

                                             (𝐵𝐵25𝑎𝑎 + 𝐵𝐵26𝑎𝑎 + 𝐵𝐵27𝑎𝑎)                  <0.5%
Percent of FWABs rejected                                               × 100
                                                       𝐵𝐵23𝑎𝑎                            >90%

                                                       𝐶𝐶1𝑏𝑏                             <5%
Percent of mailed ballots returned                           × 100
                                                       𝐶𝐶1𝑎𝑎                             >95%



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                                                                                    Threshold for Flagging
                EAVS Rate                              Calculation
                                                                                   Result for Further Review
                                                       𝐶𝐶3𝑎𝑎                                <10%
 Percent of mailed ballots counted                           × 100
                                                       𝐶𝐶1𝑏𝑏                                >100%
                                                        𝐶𝐶4𝑎𝑎                               <0.5%
 Percent of mailed ballots rejected                           × 100
                                                        𝐶𝐶1𝑏𝑏                               >90%
                                                        𝐸𝐸1𝑚𝑚                               <0.5%
 Percent of provisional ballots rejected                                   × 100
                                           (𝐸𝐸1𝑏𝑏 + 𝐸𝐸1𝐴𝐴 + 𝐸𝐸1𝑚𝑚 + 𝐸𝐸1𝑅𝑅)                  >95%

                                                       𝐹𝐹1𝑎𝑎                                <35%
 Percent of turnout by CVAP                                    × 100
                                                      𝐶𝐶𝐸𝐸𝐸𝐸𝐶𝐶                              >95%

 Percent ballots cast in-person on                     𝐹𝐹1𝑏𝑏                                <10%
 Election Day                                                × 100                          >90%
                                                       𝐹𝐹1𝑎𝑎
                                                  (𝐹𝐹1𝑚𝑚 + 𝐹𝐹1𝑅𝑅)                            <5%
 Percent ballots cast by mail                                     × 100
                                                       𝐹𝐹1𝑎𝑎                                >95%
                                                       𝐹𝐹1𝑜𝑜                                <1%
 Percent ballots cast in-person early                        × 100
                                                       𝐹𝐹1𝑎𝑎                                >95%
                                                       𝐹𝐹1𝐴𝐴                                <0.1%
 Percent ballots cast by UOCAVA voters                       × 100
                                                       𝐹𝐹1𝑎𝑎                                >50%

 Percent ballots cast that were                        𝐹𝐹1𝑅𝑅                               <0.01%
 provisional                                                 × 100                          >25%
                                                       𝐹𝐹1𝑎𝑎




Table 2: Comparisons to the 2016 EAVS Data
                                                                                    Threshold for Flagging
                EAVS Rate                              Calculation
                                                                                   Result for Further Review
 2020 total registrations as percentage            𝐴𝐴                                       <50%
 of 2016’s registrations                                                                    >150%
 2020 registrations received as                    𝐴𝐴                                       <25%
 percentage of 2016’s                                                                       >200%
 2020 registrations removed as                     𝐴𝐴                                       <10%
 percentage of 2016’s                                                                       >200%
 2020 UOCAVA registrants as                        𝐵𝐵1𝑎𝑎 [2020]                             <10%
                                                                × 100
 percentage of 2016’s                             𝐵𝐵19𝑎𝑎 [2016]                             >200%
 2020 UOCAVA ballots transmitted as                𝐵𝐵5𝑎𝑎 [2020]                             <10%
                                                                × 100
 percentage of 2016’s                              𝐵𝐵1𝑎𝑎 [2016]                             >200%
 2020 UOCAVA ballots returned as                   𝐵𝐵9𝑎𝑎 [2020]                             <10%
 percentage of 2016’s                                           × 100                       >200%
                                                   𝐵𝐵2𝑎𝑎 [2016]




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                                                                      Threshold for Flagging
              EAVS Rate                      Calculation
                                                                     Result for Further Review
2020 UOCAVA ballots counted as            𝐵𝐵14𝑎𝑎 [2020]                       <10%
                                                        × 100
percentage of 2016’s                       𝐵𝐵8𝑎𝑎 [2016]                       >200%
2020 mailed ballots transmitted as        𝐶𝐶1𝑎𝑎 [2020]                        <10%
percentage of 2016’s                                   × 100                  >500%
                                          𝐶𝐶1𝑎𝑎 [2016]
2020 mailed ballots returned as           𝐶𝐶1𝑏𝑏 [2020]                        <10%
                                                       × 100
percentage of 2016’s                      𝐶𝐶1𝑏𝑏 [2016]                        >500%
2020 mailed ballots counted as            𝐶𝐶3𝑎𝑎 [2020]                        <10%
percentage of 2016’s                                   × 100                  >500%
                                          𝐶𝐶4𝑎𝑎 [2016]
2020 provisional ballots cast as          𝐸𝐸1𝑎𝑎 [2020]                        <10%
                                                       × 100
percentage of 2016’s                      𝐸𝐸1𝑎𝑎 [2016]                        >500%
2020 total turnout as percentage of       𝐹𝐹1𝑎𝑎 [2020]                        <50%
2016’s                                                 × 100                  >150%
                                          𝐹𝐹1𝑎𝑎 [2016]




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Methodology Appendix D: How to Calculate Selected EAVS Rates
The EAVS item numbers in this table correspond to the question numbering for the 2020 EAVS. To
determine item numbering for previous EAVS surveys, please refer to the survey instrument and data
codebook for each year.

                            EAVS Rate                                    Calculation
                                                                         𝐴𝐴
 Total CVAP registration rate

                                                                         𝐴𝐴
 Active CVAP registration rate

                                                                         𝐴𝐴
 Percentage of registrations that were new and valid

                                                                         𝐴𝐴
 Percentage of registrations that were duplicates

                                                                         𝐴𝐴
 Percentage of registrations that were rejected

                                                                         𝐴𝐴
 Percentage of registrations that were within-jurisdiction changes

                                                                         𝐴𝐴
 Percentage of total registration forms that were received by mail

 Percentage of total registration forms that were received in            𝐴𝐴
 person at election or registrar offices

 Percentage of total registration forms that were submitted by           𝐴𝐴
 individual voters through web-based online registration systems

 Percentage of total registration forms that were received               𝐴𝐴
 through motor vehicle agencies

 Voter registration removal rate as a percentage of total                𝐴𝐴
 registrants
                                                                          𝐵𝐵3𝑎𝑎
 Percentage of FPCAs that were rejected                                         × 100
                                                                          𝐵𝐵2𝑎𝑎
 Percentage of total transmitted UOCAVA ballots that were                 𝐵𝐵9𝑎𝑎
 returned by voters                                                             × 100
                                                                          𝐵𝐵5𝑎𝑎
 Percentage of total transmitted UOCAVA ballots that were                𝐵𝐵14𝑎𝑎
 returned by voters and counted                                                 × 100
                                                                          𝐵𝐵9𝑎𝑎
 Percentage of total transmitted UOCAVA ballots that were                𝐵𝐵18𝑎𝑎
 returned by voters and rejected                                                × 100
                                                                          𝐵𝐵9𝑎𝑎
 Percentage of FWABs returned by UOCAVA voters that were                 𝐵𝐵24𝑎𝑎
 counted                                                                        × 100
                                                                         𝐵𝐵23𝑎𝑎




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                             EAVS Rate                                                 Calculation
Percentage of FWABs returned by UOCAVA voters that were                     (𝐵𝐵25𝑎𝑎 + 𝐵𝐵26𝑎𝑎 + 𝐵𝐵27𝑎𝑎)
rejected                                                                                               × 100
                                                                                      𝐵𝐵23𝑎𝑎
Percentage of transmitted mailed ballots that were returned by                         𝐶𝐶1𝑏𝑏
voters                                                                                       × 100
                                                                                       𝐶𝐶1𝑎𝑎
Percentage of transmitted mailed ballots that were returned and                        𝐶𝐶3𝑎𝑎
counted                                                                                      × 100
                                                                                       𝐶𝐶1𝑏𝑏
Percentage of transmitted mailed ballots that were returned and                        𝐶𝐶4𝑎𝑎
rejected                                                                                     × 100
                                                                                       𝐶𝐶1𝑏𝑏
Percentage of provisional ballots that were counted, either in full                (𝐸𝐸1𝑏𝑏 + 𝐸𝐸1𝐴𝐴)
                                                                                                           × 100
or in part                                                                 (𝐸𝐸1𝑏𝑏 + 𝐸𝐸1𝐴𝐴 + 𝐸𝐸1𝑚𝑚 + 𝐸𝐸1𝑅𝑅)
                                                                                        𝐸𝐸1𝑚𝑚
Percentage of provisional ballots that were rejected                                                       × 100
                                                                           (𝐸𝐸1𝑏𝑏 + 𝐸𝐸1𝐴𝐴 + 𝐸𝐸1𝑚𝑚 + 𝐸𝐸1𝑅𝑅)
                                                                                       𝐹𝐹1𝑎𝑎
Voter turnout rate by CVAP                                                                     × 100
                                                                                      𝐶𝐶𝐸𝐸𝐸𝐸𝐶𝐶
Percentage of ballots that were cast at a physical polling place                       𝐹𝐹1𝑏𝑏
on Election Day                                                                              × 100
                                                                                       𝐹𝐹1𝑎𝑎
                                                                                  (𝐹𝐹1𝑚𝑚 + 𝐹𝐹1𝑅𝑅)
Percentage of ballots that were cast as mailed ballots                                            × 100
                                                                                       𝐹𝐹1𝑎𝑎
Percentage of ballots that were cast at an in-person early voting                      𝐹𝐹1𝑜𝑜
location                                                                                     × 100
                                                                                       𝐹𝐹1𝑎𝑎
                                                                                       𝐹𝐹1𝐴𝐴
Percentage of ballots that were cast by UOCAVA voters                                        × 100
                                                                                       𝐹𝐹1𝑎𝑎
                                                                                       𝐹𝐹1𝑅𝑅
Percentage of ballots that were cast by provisional voters                                   × 100
                                                                                       𝐹𝐹1𝑎𝑎




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                          OCA-APPX-1114
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                          OCA-APPX-1115
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                                        OCA-APPX-1116
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                  Exhibit 67




                          OCA-APPX-1117
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                          OCA-APPX-1118
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                          OCA-APPX-1119
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                  Exhibit 68




                          OCA-APPX-1120
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                          OCA-APPX-1121
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                          OCA-APPX-1122
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1123 of 2308




                  Exhibit 69




                          OCA-APPX-1123
AW5-16a          Case 5:21-cv-00844-XR               Document 611-1 Filed 05/26/23 Page 1124 of 2308
Sections 84.033(c), 86.006(h), Texas Election Code
Prescribed by Secretary of State
9/15


                                               NOTICE OF IMPROPER DELIVERY


Name of Voter ________________________________________ VUID Number ____________________
Precinct Number________________

This is to serve as notice that your ballot for the _______________________ Election was received by the early
voting clerk. It has been determined that your ballot was returned in violation of the Election Code, and your
ballot voted by mail will not be counted.

Check Reason:

1. _____           Your ballot was not returned in the official carrier envelope.

2. _____           Your ballot was returned in the official carrier envelope but in another envelope containing more
                   than one carrier envelope. If another envelope is used to return the carrier envelope, all persons
                   who enclosed their carrier envelope in the same larger envelope, must be registered to vote at the
                   same address. There was one or more carrier envelopes returned with your carrier envelope from
                   persons not registered to vote at your address.

3. _____           It has been determined that your carrier envelope originated from the location indicated below.
                   A carrier envelope may not be delivered by a common or contract carrier if the delivery
                   originates from the address of one of the following:

                   _____ a)           headquarters of a political party or candidate in the election

                   _____ b)           candidate in the election unless that is your address

                   _____ c)           specific or general purpose political committee involved in the election

                   _____ d)           an entity that requested the election

4. _____           The common or contract carrier who delivered your carrier envelope did not provide a receipt for
                   delivery or the receipt provided did not meet with requirements prescribed by state law.

5. _____           Your ballot was hand-delivered by someone other than you, the voter. Note that carrier
                   envelopes may only be returned by mail, common or contract carrier, or by hand-delivery by the
                   voter who voted the ballot.

You may vote during the remainder of the early voting period or at your regular election day polling place by
presenting and surrendering this Notice to the presiding election officer at the early voting polling place or at
your election day polling place.

If you have any questions regarding this matter, please call my office at _________________________.




Signature of Early Voting Clerk



Date

Note to Polling Place Election Official: If a voter presents this Notice and offers to vote, the voter must
surrender the Notice before being accepted for voting. If otherwise qualified, the voter may then vote a regular
ballot at the polling place. You should write the word “Cancelled” on this Notice and return it in envelope #2
with other election records.




                                                        OCA-APPX-1124
AW5-16a            Case 5:21-cv-00844-XR               Document 611-1 Filed 05/26/23 Page 1125 of 2308
Código Electoral de Texas Secs. 84.033(c), 86.006(h)
Prescrito por la Secretaría de Estado
9/15


                                                  AVISO DE ENTREGA DEFECTUOSA


Nombre del Votante ____________________________________.
Número único de identificación de votante (VUID, por sus siglas en Ingles)._______________.
Numero de Precinto Electoral ___________________.

Por medio de éste se le informa que el Secretario/a de Votación Temprana recibió su boleta para las elecciones de
_______________. Después de recibirla, se determinó que la entrega de su boleta electoral no cumple con las leyes
establecidas por el Código Electoral de Texas y por dicha razón no se incluirá en el conteo final.

Marque la falta cometida:

1. _____            Su boleta electoral no fue devuelta dentro del sobre de entrega oficial requerido.

2. _____            Aunque su boleta llegó dentro del sobre de entrega oficial, éste llegó dentro de un sobre que contenía
                    otros sobres de entrega oficiales. Para poder enviar más de un sobre oficial dentro de un mismo sobre,
                    todas las personas quienes enviaron su sobre oficial dentro de un mismo sobre más grande deben estar
                    registradas para votar bajo la misma dirección residencial. El sobre en que llegó su sobre oficial contenía
                    por lo menos un sobre de entrega enviado por alguien cuyo domicilio es distinto al suyo.

3. _____            Se ha determinado que su sobre oficial fue enviado desde uno de los siguientes lugares. Está prohibido
                    que un transportista público o comercial entregue un sobre oficial si el lugar de donde la entrega se
                    origino es:

                    _____a)             La sede de uno de los partidos políticos o candidatos participando en dichas elecciones

                    _____b)             El domicilio de uno de los candidatos participando en las elecciones a menos que éste sea
                                        su domicilio.

                    _____c)             La sede de un comité político de interés general o específico que está participando en las
                                        elecciones.

                    _____d)             La sede de la entidad que solicitó la celebración de estas elecciones.

4. _____            El transportista público o comercial que entregó su sobre oficial no proporcionó un acuso de recibo o el
                    recibo que el transportista proporciono no cumplió con los requerimientos de ley estatal.

5. _____            Su boleta electoral fue entregada a mano por alguien que no es usted, el votante. Por favor tome en cuenta
                    que el sobre oficial solamente puede ser entregado por correo postal, transportista público o comercial, o
                    en persona, a mano, por el votante quien voto con esa boleta.

Usted puede votar durante el período de votación temprana o en su sitio electoral en el Día de la Elección si usted presenta
y proporciona este aviso al oficial electoral en el sitio de votación temprana o en su sitio electoral en el Día de la Elección.



Si tiene preguntas, por favor comuníquese con mi oficina marcando el ____________________.



Firma del Secretario/a de Votación Temprana


Fecha


Nota al oficial electoral: Si un votante desea votar y presenta este aviso, exíjale que le entregue el aviso antes de votar. Si
el votante está calificado para votar, el votante puede utilizar una boleta regular para votar en el sitio electoral. Escriba la
palabra “Cancelled” en este Aviso y envíenos el Aviso con los otros documentos electorales en el sobre # 2.




                                                          OCA-APPX-1125
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                  Exhibit 70




                          OCA-APPX-1126
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                          OCA-APPX-1127
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                          OCA-APPX-1131
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                          OCA-APPX-1135
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                          OCA-APPX-1136
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                          OCA-APPX-1137
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                          OCA-APPX-1138
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                          OCA-APPX-1139
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                          OCA-APPX-1141
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                                   The State of Texas

Elections Division                                                                  Phone: 512-463-5650
P.O. Box 12060                                                                        Fax: 512-475-2811
Austin, Texas78711-2060                                                     Dial 7-1-1 For Relay Services
www.sos.state.tx.us                                                              (800) 252-VOTE (8683)
                                         JohnB. Scott
                                       Secretary of State

                                    ELECTION ADVISORY
                                        NO. 2022-08


TO:          Election Officials

FROM:        Keith Ingram, Director, Elections Division

DATE:       January 28, 2022

RE:          NEW LAW: Senate Bill 1 - Opportunity to Correct Defects on Application for a
             Ballot by Mail and Carrier Envelope


Senate Bill 1 (87th Leg., 2nd C.S., 2021) added new identification requirements related to the
ballot by mail process. SB 1 took effect on December 2, 2021. Any elections ordered on or
after December 2, 2021, must adhere to the changes in law made by SB 1 and the procedures
outlined in this advisory.

This advisory details the new requirements on the Application for Ballot by Mail (ABBM) form
and the carrier envelope, and it outlines the new process that allows voters to correct certain
defects on their ABBM or carrier envelope. As authorized by the Legislature, the Secretary of
State is prescribing these procedures to implement the corrective action process mandated in
SB 1. (Secs. 87.0271 (f), 87.0411(f), Texas Election Code).

All statutory references in this advisory are to the Texas Election Code ("the Code"), unless
otherwise indicated.

New Requirements for Application for Ballot by Mail {ABBM)
As amended by SB 1, Section 84.002 of the Election Code provides that a voter who seeks to
vote by mail must include one of the following on their ABBM:
    • The number of the applicant's driver's license, election identification certificate (E IC), or
       personal identification card issued by the Department of Public Safety (DPS);
    • The last four digits of the applicant's social security number, if the applicant has not been
       issued a DPS number; or
    • A statement that the applicant has not been issued one of these numbers. (Sec.
       84.002(a)(1-a)).

A person may use the number of a DPS-issued driver's license, EiC, or personal identification
card that has expired for the purpose of fulfilling the identity requirements in Section
84.002(a)(1-a) if the license or identification is otherwise valid. (Sec. 84.002(b-1 )).




                                      OCA-APPX-1144
                                                                                               STATE060480
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The official ABBM form has been revised to include a space for the required identification
information. (Sec. 84.011 ). If a voter requests an ABBM form, the county must send the new
form that includes a space for the identification information. If a voter uses an old version of the
ABBM form, the early voting clerk must follow the procedures outlined below in rejecting the
application. Please be advised that there are other changes to the ABBM form that will be
addressed in a separate advisory.

Requirements for Processing Applications for Ballot by Mail
It is the early voting clerk's responsibility to review applications for ballot by mail, determine
whether the applicant is entitled to vote by mail, and provide ballot materials to the voter. (Secs.
86.001, 86.002).

Section 86.001 outlines the process that an early voting clerk must follow when reviewing a
voter's submitted ABBM. Among other things, the early voting clerk must verify that the personal
identification information provided by the voter on the application-Le., a DPS-issued driver's
license, EiC, or personal identification card number, the lastfour digits of the applicant's social
security number, or a statement that the applicant has not been issued any of these numbers-
identifies the same voter identified on the applicant's voter registration record. (Sec. 86.001(f)).

If the voter fails to provide any of the required identification information on the ABBM or the
information provided by the voter on the ABBM does not match the information on the voter's
voter registration record, the early voting clerk shall reject the ABBM and provide notice of the
rejection (Form 6-3, Notice of Rejected Application for Ballot by Mail - Missing or Incorrect
Personal Identification Number). Similarly, if the voter provides one or both of the required
identification numbers but the voter's voter registration record does not contain either number,
the early voting clerk must reject the ABBM and promptly notify the voter of the rejection (Form
6-4, Notice of Rejected Application for Ballot by Mail - Required Personal Identification Number
Not Associated with Voter Record).

These SOS-prescribed notices include instructions on how the voter can correct the app Ii cable
defect online, as required by Section 86.001(f-1 ). If the rejection occurs on or before the 18th
day before election day, the early voting clerk must also send the voter a new ABBM along with
the rejection notice. (Sec. 86.008). Section 86.008(d) further provides that the early voting clerk
may deliver a second ABBM to a voter in person if the defective original ABBM is timely and the
clerk may receive, before the deadline, the corrected ABBM in person from the voter, as long as
the clerk applies these procedures uniformly to all ABBMs covered by the subsection.

Below, we discuss several scenarios that early voting clerks may encounter in reviewing
ABBMs, and we outline the opportunities provided to voters to cure certain ABBM defects,
including additional information regarding the forms that the SOS has prescribed for early voting
clerks to send voters when notifying them that their ABBMs have been rejected.

Possible Scenarios:

    •   Scenario 1: Voter provides a DPS-issued driver's license number on the ABBM. The
        early voting clerk validates that this number matches the driver's license number in the
        voter's voter registration record. If the voter is otherwise eligible to vote by mail, the
        early voting clerk must accept the ABBM and send a ballot to the voter.



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•   Scenario 2: Voter provides a DPS-issued driver's license number on the ABBM. The
    early voting clerk is unable to validate this number, as the voter registration record
    contains the voter's social security number but not a driver's license number. The early
    voting clerk must reject the ABBM and provide notice of the rejection, which must
    include information explaining how to correct or add information to cure the defect. (Sec.
    86.001 (f-1 )). See Notice of Rejected Application for Ballot by Mail - Missing or Incorrect
    Personal Identification Number.
        o NOTE: If a voter has not provided the required personal identification information
           by the 11th day before election day, the ABBM will be finally rejected, but the
           voter may still vote in person if otherwise eligible. (Sec. 84.00?(c)).

•   Scenario 3: Voter provides the last four digits of their social security number on the
    ABBM. The voter registration record contains a driver's license number and social
    security number. The early voting clerk is able to validate that the partial social security
    number on the ABBM matches the number in the voter's registration record. The early
    voting clerk must accept the ABBM and send a ballot to the voter.
        o NOTE: As a reminder, the early voting clerk's obligation in reviewing the
            identification information on an ABBM is to determine if the information provided
            by the voter on the ABBM identifies the same voter identified on the a pp Ii cant's
            voter registration record. (Sec. 86.001 (f)).

•   Scenario 4: Voter indicates on their ABBM that they have not been issued any of the
    required personal identification numbers, but the voter registration record contains one
    or both numbers. The early voting clerk must reject the ABBM and provide notice of the
    rejection, which must include information explaining how to correct or add information to
    cure the defect. (Sec. 86.001(f-1 )). See Notice of Rejected Application for Ballot by Mail
    - Missing or Incorrect Personal Identification Number.
        o NOTE: If a voter has not provided the required personal identification information
            by the 11th day before election day, the ABBM will be finally rejected, but the
            voter may still vote in person if otherwise eligible. (Sec. 84.00?(c)).

•   See nario 5: Voter provides one of the required personal identification numbers on their
    ABBM, but the voter's voter registration record does not contain either number. The
    early voting clerk must reject this ABBM and provide notice of the rejection, which must
    include instructions on how the voter can update their voter registration record to include
    the personal identification numbers. (Sec. 86.001 (f)). See Notice of Rejected
    Application for Ballot by Mail - Required Personal Identification Number Not Associated
    with Voter Record.
        o NOTE: A voter cannot vote by mail unless at least one of the required numbers is
            added to the voter's registration record. If the ABBM is otherwise valid, the voter
            must be given the opportunity to update their voter registration record in order to
           finish processing the ABBM. The early voting clerk will need to re-check ABB Ms
            in this category to determine if the voter updated their voter registration record
           with one or more required personal identification numbers. If a voter has not
            updated their voter registration record by the 11th day before election day, the
           ABBM will be finally rejected, but the voter may still vote in person if otherwise
            eligible. (Sec. 84.00?(c)).

•   Scenario 6: Voter provides both types of personal identification numbers (ex: driver's
    license number and last four digits of social security number) on their ABBM. The voter
    registration record contains both types of personal identification numbers; one number
    on the ABBM matches the record, but the other does not match. Because the early

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       voting clerk is able to validate one of the numbers to the voter's voter registration record
       (and thus verify the identity of the voter), the clerk must accept the ABBM and send a
       ballot to the voter.

   •   Scenario 7: Voter provides both types of personal identification numbers (ex: driver's
       license number and last four digits of social security number) on their ABBM. The voter
       registration record only contains the social security number, which matches with the
       partial number on the ABBM. The early voting clerk must accept the ABBM and send a
       ballot to the voter.

   •   Scenario 8: Voter indicates on the ABBM that they have not been issued any of the
       required personal identification numbers. If the voter's voter registration record does not
       contain any of these numbers, the early voting clerk must accept the ABBM and send a
       ballot to the voter.

   •   See nario 9: The voter uses an old ABBM form that does not contain any of the re qui red
       identification information or leaves the personal identification information section b Ian k
       and does not indicate that they have not been issued any of the required numbers. The
       early voting clerk must reject the ABBM and provide notice of the rejection, which must
       include information explaining how to correct or add information to cure the defect. (Sec.
       86.001 (f-1 )). See Notice of Rejected Application for Ballot by Mail - Missing or Incorrect
       Personal Identification Number.
           o NOTE: If a voter has not provided the required personal identification information
                by the 11th day before election day, the ABBM will be finally rejected, but the
                voter may still vote in person if otherwise eligible. (Sec. 84.00?(c)).

Opportunity to Correct Rejection of ABBM
As described above, if the early voting clerk rejects an ABBM because the voter failed to
provide any of the required identification information or the information included on the ABBM
does not match the voter's voter registration record, the early voting clerk must provide the voter
with notice of the rejection in accordance with Section 86.001 (c). (Sec. 86.001 (f-1)). The notice
must include information explaining how to correct the defect by using the online Ballot by Mail
Tracker, available at VV\iV\N.votetexas.gov. (Sec. 86.001 (f-1)). The SOS has prescribed Notice of
Rejected Application for Ballot by Mail - Missing or Incorrect Personal Identification Number
(Form 6-3) for this rejection notice. If the applicant corrects the missing or incorrect number by
validating the required information through the Ballot by Mail Tracker, and this information
subsequently identifies the same voter identified on the applicant's voter registration record, the
early voting clerk shall provide a ballot to the applicant. (Sec. 86.001 (f-2)).
        NOTE: The early voting clerk should retain the documentation from TEAM that shows
        the voter validated their personal identification number(s). This documentation should
        be retained with the voter's original ABBM and provided to the early voting ballot board
        so that the board is notified that the defect has been cured.

If the early voting clerk rejects an ABBM because the voter's voter registration record does not
contain any of the personal identification information provided on the ABBM, the clerk must offer
the voter an opportunity to correct this defect. The notice must include instructions on how the
voter can update their voter registration record to include one or more of the required
identification numbers by submitting a new voter registration application to the registrar or by
validating their personal identification numbers on texas.gov. The SOS has prescribed Notice of
Rejected Application for Ballot by Mail - Required Personal Identification Number Not
Associated with Voter Record (Form 6-4) for this rejection notice.

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Missing or incorrect personal identification information on the ABBM or the voter registration
record is the only defect that can be corrected on an ABBM. If the application is rejected on any
other grounds, a voter must submit a new ABBM if they still wish to vote by mail instead of
voting in person. (Secs. 86.001 (c), (f), (f-1 ), 86.008).

Any written notice of an ABBM rejection must state the reason for the rejection and be delivered
to the voter at both the voter's residence address and the mailing address on the ABBM, if
different. Additionally, if the voter provided an email address on the ABBM, the early voting
clerk may also send notification by email of the reason for rejection. (Sec. 86.001(c)).

Please see pages 18-20 of this advisory for additional information regarding forms that SOS has
prescribed for use in notifying voters of rejected ABBMs.

Deadline to Correct Defects in Application for Ballot by Mail
If a voter receives a Notice of Rejected Application for a Ballot by Mail or the voter logs into the
Ballot by Mail Tracker and sees that there is missing or incorrect personal identification
information, the voter must either (1) complete the required validation on the Ballot by Mail
Tracker no later than the 11th day before election day, or (2) complete a new ABBM that must
be received by the early voting clerk no later than the 11th day before election day. (Secs.
84.00?(c), 86.015).

The early voting clerk must review all pending ABBMs that were initially rejected due to missing
or incorrect personal identification information. If the applicant did not subsequently provide the
missing or corrected identification information, the early voting clerk should send a final rejection
notice. The early voting clerk can use the standard Notice of Rejected Application for Bal lot by
Mail form (Form 6-2) and mark reason 16 on the form.

If a voter corrects a defective ABBM after early voting by personal appearance has begun, the
early voting clerk should confirm that the voter did not vote in person before sending balloting
materials to the voter.

Please review the Secretary of State's election law calendar for additional details about ballot by
mail deadlines.

New Requirements for Carrier Envelope
As amended by SB 1, Section 86.002 requires that the carrier envelope include a space that is
hidden from view when the envelope is sealed for the voter to enter one of the following: ( 1) the
number of the voter's driver's license, EiC, or personal identification card issued by DPS; (2) the
last four digits of the voter's social security number, if the voter has not been issued a DPS
number; or (3) a statement that the applicant has not been issued one of these numbers. (Sec.
86.002(g)).

The carrier envelope has been updated to include a place for the voter to add an email address
and/or telephone number so that the early voting ballot board or signature verification committee
can contact the voter to notify them of a defect in their carrier envelope. Please note that there
are other changes to the carrier envelope that will be addressed in a separate advisory.




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New Comparison Requirements for Early Voting Ballot Board
{EVBB) and Signature Verification Committee {SVC)
Section 87.041 directs the early voting ballot board to determine whether to accept a voted
ballot by mail and provides that a ballot can be accepted only if it meets several specified
requirements. Based on changes to this provision made by SB 1, the EVBB must now review
additional information when qualifying a voted ballot by mail. The EVBB shall only accept a
voted ballot by mail if, among other things, the personal identification information provided by
the voter on the carrier envelope identifies the same voter identified on the voter's voter
registration record. (Sec. 87.041 (b )(8)). In performing its assigned duties, the signature
verification committee, if established, may also review the personal identification information on
the voter's carrier envelope. (Secs. 87.027, 87.0271 ). If the voter includes an identification
number on the carrier envelope, the number on the carrier envelope does not have to match the
type of number on the voter's ABBM as long as they are both associated with the voter's
registration record.

Re buttable Presumption

Under Section 87.041, if the voter provides personal identification information on the carrier
envelope that matches the voter's registration record, the signatures on the ABBM and the
carrier envelope shall be rebuttably presumed to be the signatures of the voter. (Sec. 87 .041 (d-
1 )). Thus, the only way to reject a mail ballot due to a signature mismatch is for a member of
the SVC or EVBB to rebut this presumption. The presumption may be rebutted by presenting
other past signatures on file with the early voting clerk or voter registrar that would support a
finding that the signatures on the carrier envelope and ABBM are not those of the same voter.

Any findings by the SVC that the signatures are not those of the same voter can be overridden
by the EVBB. (Sec. 87.027(j)). This decision can be overridden even in circumstances when
the voter has been provided an opportunity to correct a signature mismatch (notified by phone
or email of the defect and subsequent corrective action process), but the voter did not complete
the corrective action process. (Sec. 87.027(j)).

Possible Scenarios:

   •   See nario 1: Voter provides a personal identification number on the carrier envelope that
       matches the number in the voter's voter registration record. The SVC or EVBB has
       completed the verification of personal identification information and should perform its
       remaining duties in the ballot review process. If the SVC or EVBB does not identify any
       other ground for rejection, the ballot would be accepted.

   •   See nario 2: Voter provides a personal identification number on the carrier envelope that
       matches the number in the voter's voter registration record, but it is a different type of
       number than what the voter listed on the ABBM. (Example: Voter provided last four
       digits of social security number on ABBM and a driver's license number on carrier
       envelope.) Because the voter's voter registration record contains both personal
       identification numbers, the SVC or EVBB is able to verify the voter's identity. The SVC
       or EVBB should perform its remaining duties in the ballot review process. If the SVC or
       EVBB does not identify any other ground for rejection, the ballot would be accepted.




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    •   Scenario 3: Voter provides the last four digits of their social security number on the
        carrier envelope. The voter registration record contains a driver's license number and
        social security number. The SVC or EVBB is able to validate that the partial social
        security number on the carrier envelope matches the number in the voter's voter
        registration record. The SVC or EVBB should perform its remaining duties in the ballot
        review process. If the SVC or EVBB does not identify any other ground for rejection, the
        ballot would be accepted.
            o NOTE: As explained above with respect to the early voting clerk's acceptance of
                ABBMs, the obligation of the SVC or EVBB in reviewing the identification
                information on a carrier envelope is to determine if the information provided by
                the voter on the envelope identifies the same voter identified on the voter's voter
                registration record. (Secs. 87.027, 87.0271, 87.041(b)(8), 87.0411).

    •   Scenario 4: Voter indicates on the carrier envelope that they have not been issued any
        of the required personal identification numbers, and the voter's voter registration record
        does not contain any of these numbers. The SVC or EVBB has completed the
        verification of personal identification information, and it must rely on the signature
        comparison process for this part of the review. The SVC or EVBB should perform its
        remaining duties in the ballot review process. If the SVC or EVBB does not identify any
        other ground for rejection, the ballot would be accepted.

    •   Scenario 5: Voter provided one of the required personal identification numbers on the
        ABBM that matched the voter's voter registration record, but the voter does not in cl u de
        an identification number on the carrier envelope. The SVC or EVBB must notify the
        voter of their ability to correct this defect in the carrier envelope, as described in more
        detail below. If the voter timely corrects the defect, and there are no other grounds for
        rejection, the ballot would be accepted.

    •   Scenario 6: Voter provided one of the required personal identification numbers on the
        ABBM that matched the voter's voter registration record, but the voter indicates on the
        carrier envelope that they have not been issued one of the applicable identification
        numbers. The SVC or EVBB must notify the voter of their ability to correct this defect in
        the carrier envelope. If the voter timely corrects the defect, and there are no other
        grounds for rejection, the ballot would be accepted.

Signature Verification Committee Corrective Action Process
SB 1 added Section 87.0271 of the Code to provide a process by which the signature
verification committee, if established, shall offer voters the opportunity to correct certain defects
in the required paperwork associated with a voted mail ballot. The signature verification
committee is created by the early voting clerk and can be appointed for any election. (Sec.
87.027(a)). The signature verification committee may begin meeting as early as 20 days before
election day. (Sec. 87.027(f)).

Because the early voting ballot board in counties with a population of under 100,000 are not
permitted to meet to qualify mail ballots until the end of the period for early voting by personal
appearance, the Secretary of State's office strongly recommends that all entities create a
signature verification committee so that voters will be timely notified of defects in their
carrier envelopes. See Section 87 .027 for more details on the creation and administration of a
signature verification committee.



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The following defects are eligible for correction when identified by the signature verification
committee (Sec. 87.0271 (a)):
   • The voter did not sign the carrier envelope certificate.
   • The SVC cannot determine whether the signature on the carrier envelope is that of the
       voter.
   • The personal identification information required under Section 84.002(a)(1-a) (ABBM) or
       Section 86.002 ( carrier envelope) was missing or contained incorrect information.
   • If a voter used a witness for completion of the carrier envelope, the witness information
       was incomplete.
           NOTE: Incomplete information about an assistant cannot be corrected and will result
           in a rejected mail ballot, but the voter may still vote in person if otherwise eligible.

Only the early voting ballot board has the authority to open a carrier envelope for those voters
who submitted their request using an ABBM. (Sec. 87.041 (a)). As the SVC does not have the
authority to open a carrier envelope, the SVC is unable to determine whether a carrier envelope
contains a completed statement of residence (SOR). Because the authority to open a carrier
envelope to determine whether a voter submitted a completed SOR lies solely with the early
voting ballot board, the SVC cannot notify voters of defects related to a missing SOR.

The signature verification committee can open a sealed carrier envelope, or envelope used for
mailing the voted ballot and balloting materials, for voters who submitted their request to vote by
mail using an FPCA, as signature sheets are expressly authorized for this process.

Early Voting Ballot Board Corrective Action Process
SB 1 also added Section 87.0411 of the Code to provide a process by which the early voting
ballot board shall offer voters the opportunity to correct certain defects on their carrier envelope
or in the required paperwork associated with the voted mail ballot. The first day that an EVBB
can convene to qualify mail ballots depends on the size of the county, and for local political
subdivisions (city, school, water district, etc.) contracting with a county. As noted above, the
early voting ballot board in counties with a population of under 100,000, and in local entities that
are not contracting with a county, are not permitted to meet to qualify mail ballots until the end of
early voting by personal appearance. (Secs. 87.022, 87.0222).

The following defects are eligible for correction when identified by the early voting ballot board
(Sec. 87.0411(a)):
   • The voter did not sign the carrier envelope certificate.
   • The EVBB cannot determine whether the signature on the carrier envelope is that of the
        voter.
   • The voter did not include the required statement of residence.
   • The personal identification information required under Section 84.002(a)(1-a) (ABBM) or
        Section 86.002 (carrier envelope) was missing or contained incorrect information.
   • If a voter used a witness for completion of the carrier envelope, the witness information
        was incomplete.
            NOTE: Incomplete information about an assistant cannot be corrected and will result
            in a rejected mail ballot, but the voter may still vote in person if otherwise eligible.

Corrective Action Process Timelines
The SVC or EVBB has two methods by which they can notify a voter of their ability to correct
one or more of the defects outlined above.

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Returning the Carrier Envelope by Mail: If the SVC or EVBB determines that it would be
possible for the voter to correctthe defect and return the carrier envelope before the time the
polls are required to close on election day, the SVC or EVBB must mail the original defective
carrier envelope to the voter. This determination must be made not later than the second
business day after the SVC or EVBB discovers a defect, and before the SVC or EVBB decides
whether to accept or reject a timely delivered mail ballot. (Secs. 87 .0271 (b ), 87 .0411 (b) ).

Notifying the Voter by Phone or Email: If the SVC or EVBB determines that it would not be
possible for the voter to correct the defect and return the carrier envelope before the ti me the
polls are required to close on election day, the SVC or EVBB may notify the voter of the defect
by telephone or email and inform the voter that the voter may come to the early voting clerk's
office in person not later than the sixth day after election day to correct the defect. (Secs.
87.0271 (c), 87.0411 (c)).

If the SVC or EVBB takes one of the actions described above, the committee or board must
take that action with respect to each ballot in the election to which these options apply. (Secs.
87.0271 (d), 87.0411 (d)).

Recommended Timelines/Plan for the SVC and EVBB
The SOS recommends that before qualifying mail ballots, the early voting clerk meet with the
SVC or EVBB to determine dates to convene and to establish timelines for the corrective action
process. (Secs. 87.0411, 87.0271).

Establishing Timelines and Guidelines for the Corrective Action Process

   •   The SVC or EVBB must set a uniform policy for when carrier envelopes will be mailed to
       the voter versus when voters will be notified of the defect by phone or email. See
       recommendations below regarding establishing a specific deadline for transitioning to
       phone/email notification.
   •   The SVC or EVBB should determine whether it will notify voters of a defect by both
       phone and email, if both are available.
   •   The SVC or EVBB should establish a policy for making multiple attempts to reach a
       voter if it is unsuccessful in reaching a voter by phone or email on the first attempt.

Recommended Timelines for Notification Process

When the SVC or EVBB is determining whether there is adequate time to return a defective
carrier envelope to the voter by mail, we strongly recommend that it takes into account postal
delivery time frames. According to the United States Postal Service (USPS), first-class delivery
can take up to five business days. Because a defective carrier envelope needs to be returned
to the voter, and then mailed back to the early voting clerk, the SOS recommends that the SVC
or EVBB implement a policy to provide notification of a defect by phone or email to all voters
whose ballots are reviewed by the SVC or EVBB on or after the 14th day before election day
(approximately 10 business days). Although early voting ballot boards in counties with a
population of 100,000 or greater cannot begin meeting until 12 days before election day, the
SVC is authorized to return a defective carrier envelope by mail during this time.




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Rolling Review of Carrier Envelopes

To ensure that voters are given the maximum amount of time to correct a defective carrier
envelope, the SOS recommends that the SVC or EVBB meet on the first possible day allowed
under the Texas Election Code to qualify all mail ballots received up until that point (as identified
in the chart below). The SOS recommends the SVC or EVBB continue their qualification of
ballots on a rolling basis throughout the authorized meeting period to ensure that voters who are
eligible to correct defects are notified as quickly as possible of the defect and their correction
options. Notice of all SVC or EVBB meeting times should be posted timely to ensure that poll
watchers are aware of when the SVC or EVBB meetings will occur.

                                    First Day Mail Ballots can           Texas Election Code
                                           be Reviewed                         Section




Methods of Correcting Defects in Carrier Envelope
Correcting Defect by Returning Carrier Envelope by Mail
If the SVC or EVBB determines that it would be possible for the voter to correct the defect and
return the carrier envelope before the time the polls are required to close on election day, the
SVC or EVBB shall return the original carrier envelope containing the voter's marked ballot to
the voter by mail to allow the voter to correct the defect. (Secs. 87.0271 (b), 87.0411(b)).

When the carrier envelope is sent to the voter for corrective action, the voter MUST return the
carrier envelope by 7:00 p.m. on election day. If the voter is hand-delivering the carrier envelope
to the early voting clerk's office on election day, it must be received by the early voting clerk no
later than 7:00 p.m. Only the voter may hand-deliver their carrier envelope, and the voter mu st
present a valid form of voter ID (either a List A ID or a List 8 ID with reasonable impediment
declaration) at the time of delivery.

Procedures

The SOS recommends that when preparing to return the voter's carrier envelope containing the
voter's marked ballot, the SVC or EVBB take several actions, including the following:

    1. Stamp or mark the voter's carrier envelope with the words "Corrective Action Required."
    2. Note the appropriate defect on the Notice of Carrier Defect- Carrier Envelope Returned
       to the Voter by Mail.


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   3. Mail the voter's defective carrier envelope along with the Notice of Carrier Defect -
      Carrier Envelope Returned to the Voter by Mail. The early voting clerk should include an
      envelope for the voter to return the corrected carrier envelope to the early voting clerk.
      This envelope should contain the Official Election Mail logo prescribed by the USPS.
      The voter must be notified if the return envelope needs additional postage.
   4. Enter the voter's information on the Roster of Voters with Defective Carrier Envelopes -
      Returned to the Voter by Mail.

Correcting Defect by Appearing in Person at Early Voting Clerk's
Office
If the SVC or EVBB determines that it would not be possible for the voter to correct the defect
and return the carrier envelope before the time the polls are required to close on election day,
the SVC or EVBB may notify the voter of the defect by telephone or email and inform the voter
that the voter may come to the early voting clerk's office in person not laterthan the sixth day
after election day to correct the defect. The SVC or EVBB must also inform the voter that he or
she may request to have their application for ballot by mail cancelled in a manner described by
Section 84.032. (Secs. 87.0271 (c), 87.0411(c)).

Upon appearing at the early voting clerk's office, the voter will be asked to submit the Corrective
Action Form for Defective Carrier Envelope. This form allows the voter to provide the
information necessary to address the defects in their carrier envelope.

Procedures

The SOS recommends that when notifying the voter of a defect, the SVC or EVBB take certain
actions, including the following:

   •   If notifying by email:
           1. Send the voter the Notice of Carrier Defect- Voter Notified of Carrier Envelope
               Defect by Phone or Email via email.
           2. The voter's name should be entered on the Roster of Voters with Defective
               Carrier Envelopes - Notified by Phone or Email, and the action taken by the
               voter should be noted on the roster.
           3. Parameters for Email Notification: The SOS recommends that the early voting
               clerk set up an email address for corrective action notifications. The early voting
               clerk and the SVC or EVBB should establish rules and procedures for utilizing
               this email address. Any emails sent or received through the corrective action
               process are considered election records under the Election Code, are subject to
               the Public Information Act, and should be retained by the general custodian of
               election records. The general custodian should consult with their attorney
               regarding any requests for such emails, as certain information may be exempt
               from disclosure under the Public Information Act.
   •   If notifying by phone:
           1. Contact the voter using any known phone number on file with the early voting
               clerk or in the possession of the SVC or EVBB.
                   NOTE: As a reminder, the voter registrar may not transcribe, copy or
                   otherwise record a telephone number furnished on a voter registration
                   application. (Sec. 13.004). The SVC or EVBB may be able to review a voter
                   registration application at the voter registrar's office to obtain a phone



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                    number. The registrar may also read a phone number from a voter
                    registration application to a member of the SVC or EVBB, if necessary.
            2. The SVC or EVBB should create a phone script that explains to the voter that the
               voter's mail ballot was received by the early voting clerk's office and has been
               reviewed by the SVC or EVBB, whichever is applicable.
            3. The SOS recommends that the SVC or EVBB confirm the voter's identity using
               publicly available information.
                    ■   Example: Ask the voter to confirm their voter registration address and
                        whether they requested a mail ballot for the given election.
            4. The voter should be told that upon review of the carrier envelope, the SVC or
               EVBB discovered a defect in the carrier envelope. The specific defect should be
               explained.
            5. The SVC or EVBB should explain the process for the voter to correct the defect
               in the carrier envelope as well as the process to cancel their mail ballot and vote
               in person during early voting or on election day.
            6. The SVC or EVBB should provide a return phone number that the voter may use
               to confirm that they were contacted by the SVC or EVBB. The number provided
               should be the number of the early voting clerk's office so the voter can verify this
               information and obtain details about the corrective action process during times
               that the SVC or EVBB are not meeting.
            7. The voter's name should be entered on the Roster of Voters with Defective
               Carrier Envelopes- Notified by Phone or Email, and the action taken by the SVC
               or EVBB should be noted on the roster.
   •   If the SVC or EVBB is unable to contact the voter:
            1. The SVC or EVBB should leave a detailed message explaining that the SVC or
               EVBB determined there was a defect in the voter's carrier envelope and explain
               the process for correcting the defect.
            2. The SVC or EVBB should NOT provide any details related to a voter's personally
               identifiable information on a voice mail or with a person who is not the voter.
            3. The SVC or EVBB should leave a return number that the voter may use to
               validate the information provided by phone.
            4. The SVC or EVBB should mail the voter a Notice of Carrier Defect - Voter
               Notified of Carrier Envelope Defect by Phone or Email to inform the voter of their
               ability to correct the defect by appearing at the early voting clerk's office or by
               cancelling their mail ballot and voting in person during early voting or on election
               day.
            5. The voter's name should be entered on the Roster of Voters with Defective
               Carrier Envelopes - Notified by Phone or Email, and the action taken by the SVC
               or EVBB should be noted on the roster.
   •   If the SVC or EVBB does not have a phone number or email to notify the voter: The
       SVC or EVBB should mail a Notice of Carrier Defect - Voter Notified of Carrier Envelope
       Defect by Phone or Email to inform the voter of their ability to correct the defect by
       appearing at the early voting clerk's office or by cancelling their mail ballot and voting in
       person during early voting or on election day.

If a voter's carrier envelope has a defect that may be corrected, the SVC or EVBB must provide
this status information to the county early voting clerk, who submits the information via TEAM to
update the Ballot by Mail Tracker.

Any actions taken by the SVC or EVBB shall be uniformly applied to every ballot in the election
to which this procedure applies. (Secs. 87.0271 (d), 87.0411 (d)). A poll watcher is entitled to
observe any action taken by the SVC or EVBB related to the corrective action process. (Secs.


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87.0271 (e), 87.0411 (e)). Poll watchers may not transcribe or make notes of any voter's
personally identifiable information while observing the activities of the SVC or EVBB.

Correcting Certain Defects Through Ballot by Mail Tracker
If the SVC or EVBB determines that the identification information required under Section
84.002(a)(1-a) (ABBM) or Section 86.002 (carrier envelope) was missing or contained incorrect
information, the voter may cure this defect through the SOS's Ballot by Mail Tracker. However, if
the SVC or EVBB has returned the voter's carrier envelope by mail for correction, the voter also
MUST return the carrier envelope to the early voting clerk no later than 7:00 p.m. on election
day for the ballot to be processed and counted. (Secs. 87.0271 (b ), 87.0411 (b)). The Notice of
Carrier Defect form provides information on how to utilize the tracker. Information validated
through the Ballot by Mail Tracker should be provided to the EVBB for their fin a I review of the
ballot before determining acceptance or rejection.

If a voter's carrier envelope has a defect that may be corrected, the SVC or EVBB must give this
information to the early voting clerk, who submits it via TEAM to update the tracker.

Correcting Defect by Cance nation
If the voter received a defective carrier envelope in the mail or was notified by telephone or
email about a defect, the voter may request to have their ABBM/marked ballot cancelled in
accordance with Section 84.032. If the voter has possession of the defective carrier envelope, it
may be surrendered at an early voting or election day polling place in order to vote a regular
ballot in person. The voter may also surrender the ballot at the early voting clerk's office and be
given a Notice of Surrendered Ballot by Mail to take to the polling place and vote a regular
ballot.

Cancellation Options

After receiving a Notice of Carrier Defect by mail or receiving notification via email or phone, the
voter may opt to cancel their ballot by mail and vote a regular ballot in person. All cancellations
must be completed in accordance with Section 84.032. If the voter is an Annual ABBM voter, a
cancellation request submitted for these purposes applies only to the current election unless the
voter specifically requests to cancel their Annual ABBM. (Sec. 84.038).

    •   Cancellation by Surrendering Mail Ballot at Polling Place During Early Voting or
        on Election Day: If a voter has possession of their mail ballot, they may surrender that
        ballot at any early voting or election day polling place. Upon surrendering the ballot and
        completing the Application to Cancel a Ballot by Mail for Use in the Polling Place form,
        the voter will be given a regular ballot for voting. (Sec. 84.032(c), (d)).
    •   Cancellation at Polling Place Without Surrendering Mail Ballot: If a voter appears at
        a polling place during early voting or on election day after receiving a Notice of Carrier
        Defect, but does not have the defective carrier envelope to surrender, the voter may
        complete the Application to Cancel a Ballot by Mail for Use in the Polling Place form.
        The voter should vote provisionally and the election judge should check reason #4 on
        the Affidavit of Provisional Voter Envelope. (Secs. 84.032(c), 84.035(b)).
    •   Cancellation at EarlyVoting Clerk's Office
            o If the voter appears at the early voting clerk's office and submits a cancellation
                request in writing and surrenders the mail ballot, the voter will be permitted to
                vote a regular ballot in person. The voter will be issued a Notice of Surrendered


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               Ballot by Mail. This notice will be taken to the polling place and presented to the
               presiding judge. The presiding judge must issue the voter a regular ballot for
               voting. (Secs. 84.032(a), (c), (d), 84.035(b)).
           o If the voter appears at the early voting clerk's office and submits a cancellation
               request in writing but does NOT surrender their mail ballot, the voter will be
               permitted to vote, but they must be issued a provisional ballot. The voter must
               complete a proper affidavit on cancellation form. The voter should be sent to their
               applicable polling location to vote provisionally. (Secs. 84.032(a), (c), 84.035(b)).
                   ■   NOTE: The early voting clerk's office may not always contain the main
                       early voting polling place. If a voter appears during early voting, the voter
                       should be directed to the nearest early voting location to vote.
    •   Cancellation by Voter who was Notified of the Defect by Phone or Email: If a voter
        was notified of the defect in their carrier envelope by phone or email, the voter may
        cancel their mail ballot application and vote in person.
           o If the voter appears at the early voting clerk's office and submits a cancellation
               request in writing and the early voting clerk can verify that ballot is in the
               possession of the EVBB, the early voting clerk can issue a Notice of Surrendered
               Ballot by Mail. This notice will be taken to the polling place and presented to the
               presiding judge. The presiding judge must issue the voter a regular ballot for
               voting. (Secs. 84.032(a), (c), (d), 84.035(b)).
           o If the voter appears at the polling place and completes a written cancellation
               request, the voter may be given a provisional ballot. The presiding judge should
               mark reason number 4 on the provisional ballot affidavit envelope. The presiding
               judge may also want to add a notation that the voter was notified of a defect on
               their carrier envelope by phone or email. (Sec. 84.032(b ), (c) ).

There is no process under Texas law by which a voter can cancel a mail ballot application by
phone. All cancellations must be in writing and completed in accordance with Section 84.032 of
the Code. A written, signed, and scanned copy of a cancellation request may be submitted by
email or fax. The request must contain an original, wet ink signature; an electronic or digital
signature is not permissible. If a voter has possession of their mail ballot, they must still
surrender their mail ballot at the polling place or early voting clerk's office in order to vote a
regular ballot in person even if they submit a cancellation request.

Provisional Voting

If the voter does not have possession of the carrier envelope, Notice of Improper Delivery, or
Notice of Surrendered Ballot by Mail, but would like to cancel their mail ballot, the voter can go
to an early voting or election day polling place and vote a provisional ballot.

Correcting in the Early Voting Clerk's Office when Voter is Notified of
Defect by Phone or Email
If a voter has been notified of a defect by phone or email and the voter has not been sent their
defective carrier envelope, the voter may appear in person at the early voting clerk's office not
later than the sixth day after election day to take certain corrective actions. (Secs. 87. 0 2 71 (c),
87.0411 (c)).

Upon appearing at the early voting clerk's office and informing the early voting clerk that they
have been notified that their carrier envelope had a defect, the early voting clerk should review
the appropriate Roster of Voters with Defective Carrier Envelopes (or other applicable records)


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provided to the early voting clerk from the SVC or EVBB to determine what corrective action is
necessary.

If the voter has a completed Corrective Action Form for Defective Carrier Envelope, the early
voting clerk will take the form and make a notation on the appropriate roster that the form was
received.

If the voter does not have a completed Corrective Action Form for Defective Carrier Envelope,
the early voting clerk shall provide the form to the voter and have the voter complete the
paperwork. After completion of paperwork, the early voting clerk will take the corrective action
form and make a notation on the appropriate roster that the form was received.

The early voting clerk must review the documentation provided by the voter to ensure that the
voter has completed the necessary corrective actions. The early voting clerk or deputy early
voting clerk will then complete the remaining notations on the roster. The Corrective Action
Form for Defective Carrier Envelope must be securely retained until the records are transferred
back to the SVC or EVBB.

The early voting clerk should make arrangements with the SVC chair and/or the EVBB presiding
judge to receive an updated copy of the Roster of Vote rs with Defective Carrier Envelopes after
each meeting of the SVC or EVBB in which the committee or board qualifies voted ballots for
signature comparison or makes a determination to accept or reject voted ballots. Additionally,
the early voting clerk shall provide any Corrective Action Form for Defective Carrier Envelope
received along with an updated copy of the roster to the EVBB for the board's final review of
ballots. The SOS recommends that this information be provided to the EVBB prior to any
meeting of the EVBB. On election day, if the EVBB is meeting prior to the closing of the polls, it
should be provided with any Corrective Action Form for Defective Carrier Envelope received
before its meeting and any forms received up until the polls close on election day.

The early voting clerk should provide instructions about how to process voters who appear in
person to correct defects in their carrier envelopes to all deputy early voting clerks who may be
assisting with the corrective action process or answering phone or email inquiries.

Required Actions by Early Voting Ballot Board for all Ballots
Subject to Corrective Action Process
Upon receiving any defective carrier envelopes that have been corrected and returned by ma i I,
any Corrective Action Form for Defective Carrier Envelope that voters provided in person, or a
notification from the early voting clerk that a voter provided missing or incorrect personal
identification information through the Ballot by Mail Tracker, the EVBB must review the carrier
envelope and associated paperwork to make a determination whether to accept or reject the
ballot. (Sec. 87.0411 (g)).

If a voter has been notified of a defect by phone or email, the voter has until the sixth day after
election day to correct the defect. (Secs. 87.0271 (c), 87.0411(c)). The voter's ballot may not be
finally rejected for the reason provided in the Notice of Carrier Defect before the seventh day
after election day. (Secs. 87.0271 (g), 87.0411 (g)). If a voter was mailed their defective carrier
envelope, the revised carrier envelope containing the voted ballot MUST be returned to the
early voting clerk by the time the polls close on election day. (Secs. 87.0271(b), 87.0411 (b )).




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Impacts on Federal Post Card Application {FPCA) Voters
The new requirements that an ABBM contain a voter's personal identification information apply
to Federal Post Card Application voters. The FPCA form already includes a place for a voter to
provide this information, as the form is also used for voter registration purposes. If a voter fails
to include their personal identification number on the FPCA, the voter may correct this defect by
submitting a new FPCA or by validating their identification number in the Ballot by Mail Tracker.

Likewise, the new identification requirements for carrier envelopes apply to mail ballots for
FPCA voters. Our FPCA materials have been revised to reflect this change. Many FPCA
voters receive their balloting materials by email, and an FPCA voter cannot construct the carrier
envelope with a sufficient secrecy flap. Additionally, all FPCA ballots must be carried by the
USPS free of postage. To facilitate the mailing of FPCA balloting materials, early voting clerks
may use any type of mailing envelope that contains the Official Election Mail logo and the
required postage-paid information as long as the early voting clerk includes a required signature
sheet for the voter to complete.

All FPCA voters must be provided with an Official Election Signature Sheet for an FPCA Voter if
their balloting materials were sent by email. If the balloting materials were sent by physical mail,
but the early voting clerk is using one of the FVAP envelopes that does not contain all of the
requirements for the carrier envelope, the voter MUST be provided with an Official Election
Signature Sheet for an FPCA Voter to return with their marked ballot.

The SOS has prescribed a version of the carrier envelope that contains the required postage-
paid information to be used only for FPCA voters. The personal identification number
requirements have been added to the FPCA signature sheet.

Actions by Signature Verification Committee or Early Voting Ballot Board Regarding
FPCA Voters

The SVC or EVBB, whichever is applicable, must review an FPCA voter's returned carrier
envelope or signature sheet just as they would for a regular ABBM voter. However, as many
FPCA voters will be utilizing a signature sheet that is contained within a sealed envelope, the
SVC may have to open the sealed envelope to determine if the voter included a required
signature sheet. The SVC may ONLY open FPCA carrier envelopes containing these voted
ballots to ensure that the signature sheet has been included and that it contains the necessary
information required for validation of personal identification numbers and/or signatures.

Correction of Defects byFPCAVoters

If the FPCA voter provides missing or incorrect identification information on their carrier
envelope or signature sheet, or did not include the Official Election Signature Sheet for an
FPCA Voter, the voter must be notified of the defect in the same manner as a regular ABBM
voter. Because the signature sheet is separate from the voted ballot and is authorized under
state and federal law, FPCA voters who have a defect in their signature sheet have additional
methods for returning this corrected or missing required documentation. Specifically, an F PCA
voter may submit a corrected signature sheet by email, fax, personal delivery, or mail. The SVC
or EVBB should make an appropriate notation on their roster to indicate how FPCA voters were
notified of a defect and how the FPCA voter provided the corrected signature sheet to the SVC
or EVBB. (Secs. 1.007, 31.003, 31.004, 87.0271(f), 87.0411(f),101.007, 101.109).




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Validating Voter Registration Information When an Entity or
Political Subdivision Does Not Contract with County Election
Officer
The requirements to verify voters' personal identification information with their voter registration
records apply to all elections regardless of whether a political subdivision contracts with the
county election officer to conduct the election on its behalf. For those entities that are running
their own elections, the following verification process must be completed.

Verifying Personal Identification Information on ABBM/FPCA

   •    For Annual ABBM/FPCA voters who file applications with the county: When the county
        election office forwards the list of ABBM/FPCA voters along with copies of their mail
        ballot applications, the county shall only forward those applications for which the
        personal identification information provided on the ABBM/FPCA matches the information
        in the voter's voter registration record. The county election officer should prepare a
        certification, included with the forwarded list, confirming that the information provided on
        each forwarded application matches the voter's voter registration record. If the early
        voting clerk does not want to rely on the county's certification, the clerk must coordinate
        with the county election officer to determine a date and time to go to the county's office
        to validate the information on the ABBM/FPCA with the voter's voter registration record.

    •   If a local entity receives an ABBM or FPCA directly from a voter, the early voting clerk
        must make arrangements with the county election officer to verify that the information
        provided on the application matches the voter's voter registration record. This verification
        may be made over the telephone or in person before the early voting clerk sends the
        voter's balloting materials. Verification of personal identification information should be
        confirmed on a separate document or directly on the ABBM (as long as the notation
        does not obscure any of the applicant's markings). The notation should indicate that the
        verification occurred and include the date of verification.
             NOTE: If a local entity receives an Annual ABBM/FPCA, the entity must forward the
             application to the county as soon as possible for the county's use. (Sec. 86.001 S(d)).

Verifying Personal Identification Information on Carrier Envelope

   •    Because the early voting clerk already validated the personal identification info rma ti on
        on the voter's ABBM, if the information submitted on the carrier envelope matches the
        information on the ABBM, the EVBB may accept the information and proceed to
        signature verification.

    •   If the information submitted on the carrier envelope does NOT match the information on
        the voter's ABBM, the SVC or EVBB must verify that the information on the carrier
        envelope matches the voter's voter registration record. The SVC or EVBB must verify
        this information with the voter registrar or county election officer. The verification may be
        performed over the telephone or in person at the voter registrar's or county election
        officer's office, or a member of the voter registrar's or county election officer's staff may
        be on site at the SVC or EVBB meeting to look up the voter registration records.
        Verification of personal identification information should be confirmed on a separate
        document or directly on the ABBM (provided that the notation does not obscure any of
        the applicant's markings). The notation should indicate that the verification occurred and


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       include the date of verification. The verification, method used for verification, and the
       individuals involved in the verification must all be documented by the SVC or EVBB, and
       these records should be maintained for the applicable preservation period.

Forms Related to Corrective Action Process
The SOS has prescribed several forms pertaining to the procedures identified in this advisory.

Notice of Rejected Application for Ballot by Mail - Missing or Incorrect Personal
Identification Number (Form 6-3)

The SOS has prescribed a specific form for early voting clerks to use when notifying a voter that
their ABBM is subject to rejection because the voter failed to provide any of the required
personal identification information on the ABBM or the information provided by the voter on the
ABBM does not match the voter's voter registration record. This new form provides detailed
information on how the voter can correct this defect by utilizing the SOS's Ballot by Mail Tracker
to validate their personal identification numbers, as required by Section 86.001 (f-1 ). If the
missing or incorrect identification information is the only basis for rejecting the ABBM, we
recommend that early voting clerks use Form 6-3 as it explains the correction process.

The SOS has also added language regarding missing or incorrect personal identification
information to the standard Notice of Rejected Application for Ballot by Mail form (Form 6-2). If
there are multiple defects with an ABBM (including missing or incorrect identification
information), we recommend that the early voting clerk send the standard Form 6-2 because the
voter must submit a new ABBM to resolve the other defects even if the voter utilizes the Ballot
by Mail Tracker to correct the missing or incorrect information.

Notice of Rejected Application for Ballot by Mail - Required                           Personal
Identification Number Not Ac;sociated with Voter Record (Form 6-4)

The SOS has prescribed a specific form for early voting clerks to use when notifying a voter that
their ABBM is subject to rejection because the voter's voter registration record does not contain
one or more of the required personal identification numbers. This notice provides instructions
on how a voter can add their personal identification number(s) to their voter registration record
through texas.gov or by submitting a new voter registration application to the voter registrar. A
postage-paid voter registration application must accompany this notice so that the voter may
add the numbers to his or her voter registration record if the voter does not have on line access.

Notice of Carrier Defect (Forms 8-23, 8-24)

The SOS has prescribed two different Notice of Carrier Defect forms to notify voters of defects
in their carrier envelope and the available corrective actions. For voter con ven i e nee, we have
included a copy of the Corrective Action Form for Defective Carrier on the reverse side of each
Notice of Carrier Defect.

   •   The Notice of Carrier Defect - Carrier Envelope Returned to the Voter by Mail is to be
       used for those voters who are mailed back their carrier envelope for correction.

   •   The Notice of Carrier Defect - Voter Notified of Carrier Envelope Defect by Phone or
       Email is to be used for those voters who are notified of their carrier envelope defect by
       phone or email.


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The notice must be completed by members of the SVC or EVBB. Any phone call or email
notifying a voter of a defect in their carrier envelope should be made or sent during the time the
SVC or EVBB is convened. The SVC or EVBB may utilize employees of the early voting clerk
to assist with this process if all activities are completed while the SVC or EVBB is officially
convened so that poll watchers may be present to observe the activities.

Roster of Voters with Defective Carrier Envelopes (Forms 8-20, 8-21, 8-22)

The SVC or EVBB should create a Roster of Voters with Defective Carrier Envelopes -
Returned to the Voter by Mail and a Roster of Voters with Defective Carrier Envelopes -
Notified by Phone or Email to record and detail the voters whose carrier envelopes have been
mailed to a voter or are pending review by the SVC or EVBB. The roster should include the
following information:
    •   Voter's NameNUID;
    •   Type of defect on the carrier envelope;
    •   Date the SVC or EVBB provided notice of defect, if applicable;
    •   How notice was provided (returned carrier, phone call, email); and
    •   Who on the SVC or EVBB provided the notice.

A copy of the roster should be provided to the early voting clerk on a regular basis so th at they
are aware of voters who may appear at the early voting clerk's office to complete any corrective
actions associated with their carrier envelope or cancel their mail ballot application.

The SOS has prescribed three different sample rosters that may be used for these purposes.
The SVC or EVBB may choose to complete the roster or track this information electronically, as
long as the SVC or EVBB is able to generate a report with the required information that can be
provided to the early voting clerk to assist with the corrective action process.

Voters' names entered on this roster are not eligible for public inspection until after the voter has
returned the corrected carrier envelope, canceled their mail ballot, or appeared in person to
correct any necessary defects. (Sec. 87 .121 ).

Corrective Action Form for Defective Carrier Envelope (Form 6-14)

The SOS has prescribed a specific form that voters should use when appearing in person at the
early voting clerk's office to correct certain defects in their carrier envelope. This form allows
the voter to provide the missing or incorrect information from their carrier envelope. When
completed, the early voting clerk must provide this form to the EVBB so that the board can
make a final determination on acceptance or rejection of a voted mail ballot.

The Corrective Action Form for Defective Carrier Envelope also contains the elements of a
statement of residence. Voters may want to consider completing all portions of the corrective
action form; if the EVBB subsequently discovers a different defect in the carrier envelope (such
as a missing SOR form), and the voter provided all the required information in the corrective
action form, this form can be used to correct the newly found defects.

The SOS has prescribed a standalone Corrective Action Form for Defective Carrier, but has
also included this form on the reverse side of the Notice of Carrier Defect form for voter
convenience.



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Notice of Surrendered Ballot by Mail (Form 6-13)

The SOS has prescribed a Notice of Surrendered Ballot by Mail to use when a voter surrenders
their mail ballot to the early voting clerk and is eligible to vote a regular ballot in person. Upon
surrendering their mail ballot, the voter will be issued the Notice of Surrendered Ballot by Mail.
The voter will take this form to their early voting or election day polling place and present the
form to the election judge, entitling the voter to vote a regular ballot in person.

Address Confidentiality Program
When reviewing the Confidential Voter Registration Form and Early Voting Ballot Application of
a voter in the Attorney General's address confidentiality program, the early voting clerk will not
compare the personal identification information on the application form to a voter registration
record as these voters are not registered voters in the statewide voter registration system.

After the voter returns their carrier envelope, the early voting clerk or applicable design ee mu st
confirm that the personal identification information on the carrier envelope matches the
information on the Confidential Voter Registration Form and Application for Ballot by Mail. If the
information does not match, the early voting clerk or designee must generate a Notice of Carrier
Defect. The voter's name is not entered on the Roster of Voters with Defective Carrier
Envelopes. Instead, a notation of the defect is made on the Roster for Early Voting by Mai I for
Address Confidential Applicants.

As these individuals are not registered voters in the statewide registration system, the Ballot by
Mail Tracker will not contain information regarding their ballot application or carrier envelope.
Voters wishing to verify the receipt of their carrier envelope must contact the early voting clerk.

Early Voting Clerk Notification to Voter of Defects in Carrier
Envelope
Under Section 86.011 (d) of the Code, if an early voting clerk receives a timely carrier envelope
that does not comply with the applicable requirements of the Code, the early voting clerk may
deliver the carrier envelope in person or by mail to the voter so that the voter may correct the
defect. Additionally, the early voting clerk may notify the voter of the defect by phone and
advise the voter that they may come to the early voting clerk's office to correct the defect or
cancel their ABBM and vote in person. The early voting clerk may utilize this provision for
defects such as a missing signature by the voter, a partially completed witness or assistant box
(if applicable), or a ballot that is not returned in a carrier envelope.

If an early voting clerk chooses to notify voters of defects in their carrier envelope under Section
86.011 (d), the clerk must apply these procedures uniformly to all voters in similar
circumstances. Additionally, the SOS recommends keeping a log to track the ballots mailed to
voters and the ballots in the possession of the early voting clerk before ballots are delivered to
the SVC or EVBB. If the early voting clerk notifies a voter of a defect in their carrier envelope by
mail, the clerk should include a letter explaining the actions that the voter needs to take to
correct and return the carrier envelope.

Please be advised that the early voting clerk can only notify voters of certain defects under
Section 86.011 (d). If the early voting clerk receives a mail ballot with an obvious defect, but it is
within the time frame that the SVC or EVBB can meet, the early voting clerk should
expeditiously deliver these ballots to the SVC or EVBB so that they may complete their full

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    review and the voter can be notified of all defects in a timely fashion. The SVC or EVBB shou Id
    review the ballots with obvious defects first to ensure that those voters are timely notified of their
    options to correct or cancel their mail ballot.

    Types of Defects and Corrective Action Options
        Type of Defect               Carrier Envelope Returned by           Voter Notified of Defect by Phone
                                                Mail to Voter                              or Email
Voter did not sign the carrier     Voter should sign original carrier       Voter can complete Corrective
envelope certificate.              envelope and return the carrier          Action Form for Defective Carrier
                                   envelope to the early voting clerk       Envelope and return the form in
                                   by mail by 7:00 p.m. on election         person to the early voting clerk's
                                   day, or, if on election day, the voter   office by the 6th day after election
                                   may hand-deliver their signed            day.
                                   carrier envelope to the early voting
                                   clerk's office. Voter can make           OR
                                   corrections directly on the returned
                                   carrier envelope. They do not need       Voter can cancel their mail ballot
                                   a Corrective Action for Carrier          application and vote in person.
                                   Envelope form.                             • If voter cancels at the early
                                                                                  voting clerk's office and is
                                   OR                                             given a Notice of Surrendered
                                                                                  Ballot by Mail, the voter votes a
                                   Voter can cancel their mail ballot             regular ballot.
                                   application and vote in person. If         • If voter surrenders ballot at the
                                   voter surrenders their mail ballot,            polling place, voter may fill out
                                   they should be given a regular                 cancellation form and vote a
                                   ballot. If the voter does not                  regular ballot.
                                   surrender their mail ballot, they          • If voter appears at the polling
                                   must vote provisionally.                       place without a Notice of
                                                                                  Surrendered Ballot by Mail and
                                                                                  no ballot, the voter may fill out
                                                                                  cancellation form and be given
                                                                                  a provisional ballot.
The EVBB/SVC cannot                Voter can complete Corrective            Voter can complete Corrective
determine whether the              Action Form for Defective Carrier        Action Form for Defective Carrier
signature on the carrier           Envelope form and return the form        Envelope and return the form in
envelope is that of the voter.     AND the original carrier envelope        person to the early voting clerk's
                                   to the early voting clerk's office.      office by the 6th day after election
                                   Carrier envelope and Corrective          day.
                                   Action for Carrier Envelope form
                                   must be received by the early            OR
                                   voting clerk by 7:00 p.m. on
                                   election day.                            Voter can cancel their mail ballot
                                                                            application and vote in person.
                                   OR                                        • If voter cancels at the early
                                                                                 voting clerk's office and is
                                   Voter can cancel their mail ballot            given a Notice of Surrendered
                                   application and vote in person. If             Ballot by Mail, the voter votes a
                                   voter surrenders their mail ballot,            regular ballot.
                                   they should be given a regular            • If voter surrenders ballot at the

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        Type of Defect              Carrier Envelope Returned by          Voter Notified of Defect by Phone
                                                Mail to Voter                            or Email
                                   ballot. If the voter does not                polling place, voter may fill out
                                   surrender their mail ballot, they            cancellation form and vote a
                                   must vote provisionally.                     regular ballot.
                                                                            • If voter appears at the polling
                                                                                place without a Notice of
                                                                                Surrendered Ballot by Mail and
                                                                                no ballot, the voter may fill out
                                                                                cancellation form and be given
                                                                                a provisional ballot.
Voter did not include the          Voter can complete Corrective          Voter can complete Corrective
required Statement of              Action Form for Defective Carrier      Action Form for Defective Carrier
Residence form.                    Envelope and Statement of              Envelope and Statement of
                                   Residence form and return the          Residence form and return the form
                                   forms AND the original carrier         in person to the early voting clerk's
                                   envelope to the early voting clerk's   office by the 6th day after election
                                   office. Carrier envelope, SOR form,    day.
                                   and Corrective Action Form for
                                   Defective Carrier Envelope must be     OR
                                   received by the early voting clerk
                                   by 7:00 p.m. on election day.          Voter can cancel their mail ballot
                                                                          application and vote in person.
                                   OR                                       • If voter cancels at the early
                                                                                voting clerk's office and is
                                   Voter can cancel their mail ballot           given a Notice of Surrendered
                                   application and vote in person. If           Ballot by Mail, the voter votes a
                                   voter surrenders their mail ballot,          regular ballot.
                                   they should be given a regular           • If voter surrenders ballot at the
                                   ballot. If the voter does not                polling place, voter may fill out
                                   surrender their mail ballot, they            cancellation form and vote a
                                   must vote provisionally. Voter may           regular ballot.
                                   be required to complete a SOR            • If voter appears at the polling
                                   when appearing to vote in person.            place without a Notice of
                                                                                Surrendered Ballot by Mail and
                                                                                no ballot, the voter may fill out
                                                                                cancellation form and be given
                                                                                a provisional ballot.
                                                                            •   Voter  may be required to
                                                                                complete a SOR when
                                                                                appearing to vote in person.
The personal identification        Voter can complete Corrective          Voter can complete Corrective
information required under         Action Form for Defective Carrier      Action Form for Defective Carrier
Section 84.002(a)(1-a) (ABBM)      Envelope and return the form AND       Envelope and return the form in
or Section 86.002 ( carrier        the original carrier envelope to the   person to the early voting clerk's
envelope) was missing or           early voting clerk's office. Carrier   office by the 6th day after election
contained incorrect information.   envelope and Corrective Action         day.
                                   Form for Defective Carrier
                                   Envelope must be received by the       OR
                                   early voting clerk by 7:00 p.m. on
                                   election day.                          Voter can log into the Ballot by Mail
                                                                          Tracker on www. votetexas.qov to

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        Type of Defect           Carrier Envelope Returned by          Voter Notified of Defect by Phone
                                         Mail to Voter                                 or Email
                                OR                                     complete the verification of the
                                                                       missing or incorrect personal
                                Voter can enter the missing            identification information.
                                information on the original carrier
                                envelope that was returned to the      OR
                                voter and return the carrier
                                envelope to the early voting clerk.    Voter can cancel their mail ballot
                                                                       application and vote in person.
                                OR                                       • If voter cancels at the early
                                                                             voting clerk's office and is
                                Voter can cancel their mail ballot           given a Notice of Surrendered
                                application and vote in person. If           Ballot by Mail, the voter votes a
                                voter surrenders their mail ballot,          regular ballot.
                                they should be given a regular           • If voter surrenders ballot at the
                                ballot. If the voter does not                polling place, voter may fill out
                                surrender their mail ballot, they            cancellation form and vote a
                                must vote provisionally.                     regular ballot.
                                                                         • If voter appears at the polling
                                                                             place without a Notice of
                                                                             Surrendered Ballot by Mail and
                                                                             no ballot, the voter may fill out
                                                                             cancellation form and be given
                                                                             a provisional ballot.
If a voter used a witness for   Voter can complete, or have a          Voter can have the witness
completion of the carrier       witness help complete, the             complete the Corrective Action Form
envelope, the witness           Corrective Action Form for             for Defective Carrier Envelope, and
information was incomplete.     Defective Carrier Envelope and         voter can return the form in person
                                return the form AND the original       to the early voting clerk's office by
                                carrier envelope to the early voting   the 6th day after election day.
                                clerk's office. Carrier envelope and
                                Corrective Action Form for             OR
                                Defective Carrier Envelope must be
                                received by the early voting clerk     Voter can appear in person at the
                                by 7:00 p.m. on election day.          early voting clerk's office by the 6th
                                                                       day after election day and the early
                                OR                                     voting clerk/deputy early voting clerk
                                                                       can serve as a witness for the voter
                                Voter/witness can enter the missing    on the corrective action form.
                                information on the original carrier
                                envelope or Corrective Action Form     OR
                                for Defective Carrier Envelope and
                                return the carrier envelope to the     Voter can cancel their mail ballot
                                early voting clerk.                    application and vote in person.
                                                                        • If voter cancels at the early
                                OR                                          voting clerk's office and is
                                                                            given a Notice of Surrendered
                                Voter can cancel their mail ballot           Ballot by Mail, the voter votes a
                                application and vote in person. If           regular ballot.
                                voter surrenders their mail ballot,     • If voter surrenders ballot at the
                                they should be given a regular               polling place, voter may fill out

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 Type of Defect            Carrier Envelope Returned by          Voter Notified of Defect by Phone
                                       Mail to Voter                          or Email
                          ballot. If the voter does not              cancellation form and vote a
                          surrender their mail ballot, they          regular ballot.
                          must vote provisionally.                • If voter appears at the polling
                                                                     place without a Notice of
                                                                     Surrendered Ballot by Mail and
                                                                     no ballot, the voter may fill out
                                                                     cancellation form and be given
                                                                     a provisional ballot.



Questions and Answers
  1. What if a voter does not use the newABBM form or otherwise does not include
     any of the required personal identification information?
        A The early voting clerk must reject the voter's ABBM and provide notice of the
           rejection. If the missing identification information is the only defect in the ABBM,
           the early voting clerk should send the voter a Notice of Rejected Application for
           Ballot by Mail - Missing or Incorrect Personal Identification Number. The voter
           may correct this defect by submitting a new ABBM or by validating their persona I
           identification information through the Ballot by Mail Tracker on votetexas.gov.
  2. What information does a voter need to access the Ballot by Mail Tracker?
        A To access the Ballot by Mail Tracker on votetexas.gov, the voter must enter their
           DPS-issued number, the last four digits of their social security number, and their
           residence address as listed in their voter registration record.

  3. A voter can't access the Ballot by Mail Tracker because their voter registration
     record does not contain a required personal identification number. What should
     the voter do?

        A If a voter is unable to enter the Ballot by Mail Tracker because they do not have
           an identification number associated with their voter registration record, the voter
           needs to update their voter registration record. They can do so by submitting a
           new voter registration application to the registrar or by validating their personal
           identification numbers on texas.gov if the voter has a DPS-issued driver's license
           or personal identification card. The process for updating the voter registration
           record is explained to the voter in Notice of Rejected Application for Ballot by
           Mail - Required Personal Identification Number Not Associated with Voter
           Record (Form 6-4).

  4. If the personal identification information on the carrier envelope matches the
     voter's voter registration record, should the SVC or EVBB still review the
     signatures on the ABBM and carrier envelope?
        A Yes, but there is a rebuttable presumption that the signatures on the ABBM and
           carrier envelope are those of the voter. The only way to reject a ballot due to a
           signature mismatch is for a member of the SVC or EVBB to rebut the
           presumption. The presumption may be rebutted by presenting other past


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         signatures on file with the early voting clerk or voter registrar that would support a
         finding that the signatures on the carrier envelope and ABBM are not those of the
         same voter.
5. What if a voter includes an incomplete or unsigned Statement of Residence form?

      A A voter should be notified of an incomplete SOR and provided an opportunity to
         correct this defect, similar to the process for a missing SOR.

6. Can someone other than the voter return a voter's corrected carrier envelope or
   corrective action form in person?
      A No. Only the voter can hand-deliver their corrected carrier envelope on election
         day, or complete the Corrective Action Form for Defective Carrier Envelope, in
         person at the early voting clerk's office. If necessary, the voter may have
         someone accompany the voter to serve as a witness.
7. If the SVC or EVBB attempts to call a voter and is unable to reach the voter by
   phone, should they leave a message? Can the SVC or EVBB call multiple times?
      A The SVC or EVBB can leave a message for the voter, but they should avoid
         providing any personally identifiable information on the voicemail so as not to
         compromise the privacy of the voter. Additionally, the SVC or EVBB can make
         multiple attempts to reach a voter by phone. The SOS recommends that the
         SVC or EVBB set a policy on the number of attempts allowed and what
         information will be provided in a voicemail message. Any actions that the
         EVBB/SVC takes for one voter must be uniformly applied to all voters in similar
         circumstances for that election.
8. If the SVC or EVBB is unable to reach the voter by phone, what number should the
   SVC or EVBB provide as a return number in a voicemail message?
      A The SOS recommends that the SVC or EVBB provide a telephone number that
         will be routinely staffed by members of the SVC or EVBB, or by deputy early
         voting clerks, so that voters can receive information about the corrective action
         process in a timely fashion. As a best practice, the SVC or EVBB should identify
         the days and hours that someone will be available to answer calls. In addition, if
         a voicemail is set up with the return phone number, this voicemail should be
         routinely checked and any voicemails should be logged and tracked to ensure
         that voters are being provided uniform information in a timely fashion. The SVC
         or EVBB does not need a separate phone line. They can use the early voting
         clerk's main number, but the SVC or EVBB must work with the early voting clerk
         to develop a procedure for tracking calls about the correction process.

9. Can the SVC or EVBB contact voters both by email and phone?

      A Yes. As long as the SVC or EVBB apply the same procedures uniformly to all
         voters in similar circumstances, they can contact a voter by phone and email to
         notify them of the defect. The SVC or EVBB should set a policy regarding the
         number and/or methods of attempts to contact a voter. In addition, all attempts
         to contact a voter should be documented on the applicable roster.



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10.A voter has contacted our office and indicated that the personal identification
   number in their voter registration record is wrong; what can the voter do?
      A The voter can correct their personal identification number by submitting a new
          voter registration application to the voter registrar.

11. If the voter lists a personal identification number on an ABBM that is not
    contained in their voter registration record, can the early voting clerk update the
    voter registration record?
      A No. The voter should be notified that their voter registration record does not
          contain the identification number listed on the ABBM. The voter can update their
          voter registration record by submitting a new voter registration application to the
          registrar or by validating their personal identification numbers on texas.gov.

12. If a voter validates their DPS-issued driver's license number or social security
    numberthroughtexas.govto update their voter registration record, how long
    does it take for this change to be effective?
      A This is an immediate update. It does not take 30 days for the update to become
          effective.
13. If a voter hand-delivers their ABBM to the early voting clerk, can the clerk review
    whether the personal identification information on the ABBM matches the voter's
    voter registration record before the voter submits their application?

      A Upon receipt of the ABBM, the early voting clerk can review the application even
          if the voter remains in the clerk's presence. However, any such actions taken as
          to one voter should be uniformly applied to all voters in similar circumstances.
          Thus, if the early voting clerk intends to review hand-delivered ABBMs for
          completeness or accuracy in the voter's presence, the clerk should follow the
          same process for all voters who hand-deliver their ABBMs.
14. Can a poll watcher challenge the acceptance of a signature by the EVBB?

      A No. A poll watcher has no authority to challenge the acceptance of a signature or
          any actions taken by the SVC or EVBB during the course of their regular
          meetings. The poll watcher can point out an election irregularity to the EVBB
          presiding judge or the SVC chair, after which the poll watcher has no further
          authority to take any actions with respect to their observations.

15. What email address should the SVC or EVBB use when notifying voters of a
    defect by email?

      A The SOS recommends that the early voting clerk set up an email address for
          these notifications. The early voting clerk and the SVC or EVBB should establish
          rules and procedures for utilizing the email address. Any emails sent or received
          through the corrective action process are considered election records under the
          Election Code, are subject to the Public Information Act, and should be retained
          by the general custodian of election records. The general custodian should
          consult with their attorney regarding any requests for such emails, as certain
          information may be exempt from disclosure under the Public Information Act.



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16. What if a voter comes to the early voting clerk's office to correct a defect in their
    carrier envelope and the reason for voting by mail is absence from the county?

       A If a voter appears in person to correct a defect with their carrier envelope, the
          voter must be provided an opportunity to correct the defect, and the early voting
          clerk must send any completed corrective action form to the early voting ballot
          board. The EVBB should not reject a correction merely because the voter
          applied to vote by mail due to expected absence from their county of residence.
17. If a county election officer is forwarding applicable annual ABBMsand FPCAs to a
    local entity, how should that information be transmitted to the entity?

       A The county election officer should transmit copies of the applicable ABB Ms and
          FPCAs through a secure method. This may include hand-delivering the copies,
          arranging for the local entity to pick up the copies, or utilizing an encrypted email
          or file transfer protocol.
18. If a voter is mailed their carrier envelope to correct a defect, is the voter's name
    removed from the roster of voters who voted by mail under Section 87.121?
       A No.   The voter's name will stay on the early voting roster as the voter has
          properly and timely submitted their mail ballot.        The voter's name will
          subsequently be entered on the Roster of Voters with Defective Carrier
          Envelopes - Returned to the Voter by Mail to track the status of the ballot in the
          correction process.

19. Can a voter call and ask what personal identification number the voter registrar
    has on file for that voter?
       A Yes. A voter can ask to confirm the number listed, but the number should be
          provided by the voter and the early voting clerk can confirm whether that number
          is accurate. The early voting clerk should not provide any personal identification
          number from the voter registration record to a person over the phone. If the voter
          provides an incorrect number, the voter registrar can tell the voter that the
          number is incorrect, but the voter registrar should not read the number to the
          voter over the phone. The voter registrar can also confirm the type of number
          listed on file (driver's license or social security number).

20. What if an entity has a mailed a corrected ballot and the voter returns both ballots,
    but the second, corrected ballot has a defect in the carrier envelope {ex: missing
    personal identification information)? Can the SVC or EVBB review the orig in al
    carrier envelope to obtain the missing information?

       A No, the original ballot may not be reviewed or counted. The initial carrier
          envelope is never sent to the SVC or EVBB if the corrected ballot has been
          returned. If there is a defect in the corrected ballot, the SVC or EVBB must notify
          the voter of the defect and allow the voter an opportunity to correct the defect.
          Even if the voter does not resolve the defect in the corrected ballot, the SVC or
          EVBB may not review the original ballot, as the corrected ballot is now the timely
          returned ballot.




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   21. If the SVC or EVBB is unable to locate a voter's email or phone number ton otify
       the voter of a defect in their carrier envelope, what should the SVC or EVBB do?
           A The SVC or EVBB should mail a Notice of Carrier Defect to inform the voter of
               their ability to correct the defect by appearing at the early voting clerk's office or
               by cancelling their mail ballot and voting in person during early voting or on
               election day.
   22.Can the earlyvotingclerkretain thevoter'sABBM and a copy of the Notice of
      Rejected Application for Ballot by Mail electronically?

           A Yes. There is no prohibition on an early voting clerk scanning these documents
               for storage and retention. However, the original document must be kept for the
               retention period associated with precinct election records.
If you have any questions regarding this advisory, please contact the Elections Division toll-free
at 1-800-252-VOTE(8683).
Kl:CA




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                  Exhibit 71




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                                   The State of Texas

Elections Division                                                                  Phone: 512-463-5650
P.O. Box 12060                                                                        Fax: 512-475-2811
Austin, Texas78711-2060                                                     Dial 7-1-1 For Relay Services
www.sos.state.tx.us                                                              (800) 252-VOTE (8683)
                                         JohnB. Scott
                                       Secretary of State

                                    ELECTION ADVISORY
                                        NO. 2022-12


TO:          Election Officials

FROM:        Keith Ingram, Director, Elections Division

DATE:        February 11, 2022

RE:         Additional Procedures Regarding Correction of Defects on Application for
            Ballot by Mail or Carrier Envelope


In our continued efforts to provide advice and assistance on the changes in law made by Senate
Bill 1 (87th Leg., 2nd C.S., 2021 ), the Secretary of State is issuing additional guidance regarding
the process for voters to correct certain defects in an application for ballot by mail (ABBM) or
carrier envelope. This advisory is intended to be read in conjunction with Election Advisory No.
2022-08, issued on January 28, 2022.

All statutory references in this advisory are to the Texas Election Code ("the Code"), unless
otherwise indicated.

Processing Applications for Ballot by Mail
In Election Advisory No. 2022-08, we identified several scenarios that early voting clerks may
encounter in reviewing ABBMs. We also outlined the actions that early voting clerks should take
in each scenario. Based on feedback that we received from early voting clerks following the
issuance of Election Advisory No. 2022-08, we are providing further guidance regarding one of
the scenarios (Scenario 2).

In Scenario 2, a voter provides a DPS-issued driver's license numberon their ABBM but the early
voting clerk is unable to validate this number because the voter registration record only contains
the voter's social security number. As we indicated in our prior advisory, the early voting clerk
must reject the ABBM and provide notice of the rejection, which must include information
explaining how to correct or add information to cure the defect. (Sec. 86.001(f-1 )).

In this scenario, if the voter's voter registration record contains only one personal identification
number, the voter can also update their record-by submitting a newvoter registration application
to the registrar or by validating their information on texas.gov-to add the missing number in
addition to or in lieu of submitting a new ABBM. Accordingly, the early voting clerk should provide
a voter in Scenario 2 with the Notice of Rejected Application for Ballot by Mail - Missing or
Incorrect Personal Identification Number (Form 6-3) or the Notice of Rejected Application for



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Ballot by Mail - Required Personal Identification Number Not Associated with Voter Record (Form
6-4 ). The early voting clerk should also consider sending both a blank ABBM and a blank voter
registration application to the voter so that they can include the additional personal identification
number on the ABBM or submit a new voter registration application to update their record with
both numbers. Updating the voter registration record will also reduce the likelihood that any future
ABBMs or carrier envelopes submitted by the voter will contain identification information that does
not match the voter's record.
     NOTE: As we stated in Election Advisory No. 2022-08, if a voter in Scenario 2 has not provided
    the required personal identification information by the 11th day before election day, theABBM
    will be finally rejected, but the voter may still vote in person if otherwise eligible. (Sec.
    84.007(c)).

EVBB/SVC Mailing of Defective Carrier Envelope to Voter
In Election Advisory No. 2022-08, we outlined detailed procedures regarding the methods of
correcting defects in a carrier envelope, including the process for the SVC or EVBB to return a
carrier envelope to the voter by mail. As a reminder, if the SVC or EVBB determines that it would
be possible for the voter to correct the defect and return the carrier envelope before the time the
polls are required to close on election day, the SVC or EVBB must mail the original defective
carrier envelope to the voter. This determination must be made not later than the second business
day after the SVC or EVBB discovers a defect, and before the SVC or EVBB decides whether to
accept or reject a timely delivered mail ballot. (Secs. 87.0271 (b), 87.0411 (b )).

In addition to the procedures identified in our earlier advisory, if the EVBB/SVC mails a defective
carrier envelope to the voter, the EVBB/SVC can also call or email a voter to notify them that the
carrier envelope has been returned to the voter. If the EVBB/SVC opts to provide this additional
notice by phone or email, the EVBB/SVC must apply these procedures uniformly to all voters in
similar circumstances. (Secs. 87.0271 (d), 87.0411 (d)).

Missing or Incorrect Personal Identification Information on
Carrier Envelope - Updating Voter Registration Record
If an SVC/EVBB discovers that a voter's personal identification information is missing or incorrect
on the carrier envelope, and the SVC/EVBB determines there is not enough time to return the
carrier envelope to the voter, the SVC/EVBB may notify the voter of the defect by phone or email.
(Secs. 87.0271 (c), 87.0411 (c)). If the voter's voter registration record only contains one of the
required identification numbers, the SVC/EVBB may also notify the voter that they can add the
missing number to their record by submitting a new voter registration application or by updating
their registration at texas.gov. Updating the voter registration record to include the missing
personal identification number may provide the SVC/EVBB with the information needed to accept
the carrier envelope. Additionally, once the voter updates their record, the voter will be able to
access the SOS's Ballot by Mail Tracker in any future election for which they apply to vote by
mail.

Early Voting Clerk Notification to Voter of Defects in Carrier
Envelope
As we explained in Election Advisory No. 2022-08, if an early voting clerk receives a timely carrier
envelope that does not comply with the applicable requirements of the Code, Section 86.011(d)
of the Code authorizes the clerk to deliver the carrier envelope in person or by mail to the voter

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so that the voter may correct the defect. The early voting clerk also may notify the voter of the
defect by phone and advise the voter that they may come to the early voting clerk's office to
correct the defect or cancel their ABBM and vote in person. Section 86.011(d) directs the SOS
to prescribe any procedures necessary to implement this subsection.

Removing the Secrecy Flap on Carrier Envelope

The early voting clerk is authorized to remove the secrecy flap on a returned carrier envelope to
facilitate the processing and review of voted mail ballots. If, in removing the secrecy flap, the
early voting clerk discovers that the voter did not fully seal the carrier envelope, the clerk may
take actions such as taping or sealing the flap to ensure that the envelope containing the ballot is
not separated from the carrier envelope.

Returning the Carrier Envelope to Voter

If the early voting clerk discovers that the carrier envelope is missing the voter's signature, has
an incomplete signature, has missing or incomplete witness or assistant information, or has
missing or incorrect personal identification information, the early voting cl erk may deliver the
carrier envelope in person or by mail to the voter so that the voter may correct the defect. If the
early voting clerk sends the carrier envelope to the voter by mail, the clerk should include a notice
explaining the defect and provide instructions on how the voter can correct and return the carrier
envelope or cancel their ABBM and vote in person. The early voting clerk may provide their ow,
letter to the voter explaining these defects.

If an early voting clerk delivers the carrier envelope to the voter in person, the clerk should
document this delivery. This hand-delivery option must be applied uniformly to all voters in similar
circumstances. In addition, poll watchers are entitled to follow the early voting worker when
making the delivery and observe the correction process. Upon receipt of the carrier envelope,
the voter may correct the defect immediately and surrenderthe carrier envelope to the early voting
clerk personnel, who would return to the clerk's office with the corrected carrier envelope.
Alternatively, the early voting worker could leave the carrier envelope in the voter's possession
and allow the voter to either make the correction on their own and mail the ballot to the early
voting clerk or cancel their mail ballot and vote in person.

The early voting clerk may return defective carrier envelopes by mail under Section 86.011 (d) up
until the point when SVC/EVBB begins notifying voters of defects by phone or email. The early
voting clerk should determine this cutoff date in coordination with the SVC/EVBB. At that point,
the early voting clerk should not provide these notifications, as the SVC/EVBB has additional
options to contact voters of defective carrier envelopes-and voters notified of such defects by
the SVC/EVBB have until the 6th day after election day to correct the defect in person at the early
voting clerk's office.

Deadline to Return Carrier Envelope to the Early Voting Clerk

As the carrier envelope was returned to the voter prior to review by the early voting ballot board,
the regular delivery deadlines for carrier envelopes apply. These deadlines are listed in the
Secretary of State's election law calendars. Any carrier envelopes returned to the early voting
clerk after the regular return deadlines will not be sent to the EVBB for review, as they were not
timely returned. (Sec. 86.011(c)).




                                                 3



                                       OCA-APPX-1176
                                                                                             STATE136914
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Tracking Mail Ballots Returned to Voter by Early Voting Clerk

If an early voting clerk opts to return a defective carrier envelope to the voter, the early voting
clerk should leave this ballot in the "Ballot Sent" status for the SOS's Ballot by Mail Tracker. These
ballots should be entered as "Ballot Received" until the ballot has been returned by the voter.

Notifying Voter of Defective Carrier Envelope by Phone

Alternatively, if the early voting clerk discovers that the carrier envelope is missing the voter's
signature, has an incomplete signature, has missing or incomplete witness or assistant
information, or has missing or incorrect personal identification information, the early voting clerk
may notify the voter by phone of this defect and inform the voter that the voter may appear at the
early voting clerk's office in person to correct the defect or cancel their ABBM and vote in person.
The early voting clerk is not permitted to notify voters of a defective carrier envelope by email.
However, if the voter requests additional information regarding the correction process, the early
voting clerk may email instructions to the voter on how to correct defects-as long as the clerk
takes the same action for all voters who request additional information by email.

The early voting clerk may notify voters of defective carrier envelopes by phone until the
SVC/EVBB begins notifying voters of defects by phone or email. At that point, the early voting
clerk should refrain from providing these notifications and should deliver the defective carrier
envelopes expeditiously to the SVC/EVBB. The SVC or EVBB should review the ballots with
obvious defects first to ensure that those voters are timely notified of their options to correct or
cancel their mail ballot.

Deadline to Appear in Person at Early Voting Clerk's Office to Correct Defects

A voter who is notified of a defective carrier envelope by the early voting clerk under Section
86.011 (d) must act on the defect(s) by 7:00 p.m. on election day. If the voter does not take such
corrective action by 7:00 p.m. on election day, the early voting clerk shall deliver the defective
carrier envelope to the EVBB for review. The EVBB will then make their own determination as to
whether there are any defects in the carrier envelope and may also inform a voter of their ability
to correct the defect( s ). A voter who is notified of a defective carrier envelope by the SVC/EVBB
has until the 6th day after election day to correct the defect(s) in person at the early voting clerk's
office.

Uniform Treatment of Voters

If an early voting clerk chooses to notify voters of defects in their carrier envelope under Section
86.011 (d), the clerk must apply these procedures uniformly to all voters in similar circumstances.
The SOS recommends keeping a log to track the ballots mailed to voters and the ballots in the
possession of the early voting clerk before ballots are delivered to the SVC or EVBB.

Poll Watchers May be Present for Early Voting Clerk Notifications

Poll watchers are entitled to observe the procedures described under Section 86.011 (d). Poll
watchers are not authorized to remain in the early voting clerk's office at all times to wait for a
potential notification to a voter. However, if a poll watcher is present in the office when an early
voting clerk is notifying voters of defects by phone or a voter appears to correct a defect in person,
the poll watcher may observe this process. There is no specific posting requirement for this
notification.


                                                  4



                                       OCA-APPX-1177
                                                                                               STATE136915
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Missing Statement of Residence
If an EVBB discovers that a voter did not include a completed statement of residence, the
EVBB/SVC can mail the carrier envelope back to the voter so that the voter may provide a
statement of residence.

If the EVBB discovers that a voter did not include a completed statement of residence, but there
is not enough time to mail the carrier envelope to the voter and have the voter return the carrier
envelope by election day, the early voting clerk can notify the voter of this defect by phone or
email. The voter may submit the completed statement of residence with their carrier envelope (if
mailed back), or the voter can appear in person at the early voting clerk's office to turn in or
complete the statement of residence. In addition, if a voter is notified of a missing or incomplete
statement of residence by phone or email, the voter can update their voter registration record
through texas.gov. The early voting clerk should notify the EVBB of an update completed via
texas.gov and provide a copy of the new record for the EVBB's review process.

If you have any questions regarding this advisory, please contact the Elections Division toll-free
at 1-800-252-VOTE(8683).

Kl:CA




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                                                                                           STATE136916
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       PROVIDE THE                                                                             TEXAS DRIVER



       NUMBER FROM                                                                             1. ==•
       ONE OF THESE IDs                                                                         Texas Driver                             Texas Election
       TO COMPLETE YOUR                                                                           License·                              ID Certificate•t

       BALLOT BY MAIL                                                                             TXPfRSONAL ID



       APPLICATION AND                                                                             I. =                                 II XXX-XX-XXXX II
       YOUR CARRIER
       ENVELOPE.                                                                              Texas Personal                            Social Security
                                                                                                 ID Card*                                    Card

       You must provide anumber from one of these approved IDs on your ballot
       by mail application (ABBM) and your carrier envelope. If you have not been
       issued any of these IDs, you must indicate so by checking the appropriate
       box on the application for a ballot by mail and your carrier envelope.



                                            Find out more about voting in Texas at
                                         VOTETEXAS.GOV
                                         POWEREO BY THE TEXAS SECRETARY OF STATE
                                                 or call 1-800-252-VOTE (8683)
"For voters eged 18-69 years, photo ID can be expired for up to four years. For voters aged 70 and older, photo ID can be expired for any length of time if otherwise valid.
'The Texas Election ID Certificate is afree photo ID issued by DPS for voting purposes.The number on this ID is NDT your Voter Unique Identifier [VUID] on the voter
registration card you receive in the mail. Your VUID is NOT required information on either your ABBM or mail ballot carrier envelope.




                                                         ~ Track Your Ballot!
                                                           Scan this QR code to track your application
                                                           for ballot by mail, check the status of your
                                                           mail-in ballot and certify your ID information,
                                                           if necessary.

                                                                                                                                                              OCA-APPX-1271
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YOU ARE ELIGIBLE TO VOTE BY MAIL
IF YOU MEET ANY OF THE
FOLLOWING REQUIREMENTS:


6& 0•                                            •     Expected to       Civilly committed under



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                                     Sick or           give birth        Chapter 841 of the Texas
                                     disabled          within 3weeks     Health and Safety Code
years or older                                         of Election Day




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                 Out of the county on
                 Election Day and during
                 the period for early voting
                 by personal appearance
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                                                                               TEXAS
                                                                             Health and Human
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                                                                                                                                                           TO CHECK THE STATUS OF YOUR MAIL BALLOT, VISIT
                                                                                                                                                         (PARA VERIFICAR EL ESTAOO OE SU BOLETA POR CORREO, VISITE)




      Completing the Carrier Envelope.                                                                                                                         VOTETEXAS.GOV


      When you're ready to mail your ballot, make sure you have completely filled
      out your carrier envelope before sealing and signing it. Underneath the
      privacy flap, which allows for the security of your personal information, you
      must provide either: (1) your Texas Driver License, Personal ID or Election
      Identification Certificate Number; OR (2) the last 4 digits of your Social
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Nonstandard Document Submitted to the
        Court via USB Drive




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             Harris County Elections Recommendations for Ballot by Mail Applications
                             Tips to avoid delays due to new State law

As a result of voting laws passed by Senate Bill 1, new mail ballot requirements have led to an increased
number of mail ballot applications flagged for rejection.

The new state law requires voters to provide their Texas driver’s license number, Texas ID number, or the
last four digits of their social security number.

Failure to provide an exact match on the application to what is on your voter record could result in a
rejection of the application, meaning voters will need to return a corrected mail ballot application before
the mail ballot application deadline. The deadline to apply to vote by mail in the March Primary Election is
February 18, 2022.

Below are some helpful voter tips to avoid delays in successfully processing a voter’s application in time
for the March Primary. Additionally, here is an instructional video available for download.

    •   Call Harris County Elections at 713-755-6965. The voter services team is dedicated to
        walking voters through the process of filling out applications. There are operators who are fluent
        in English, Spanish, Vietnamese, and Chinese.
    •   Provide both forms of ID. Even though the form only asks for one, the best way to ensure an
        application isn’t rejected is to provide both a Texas ID and the last four digits of your Social
        Security number.
    •   Provide a contact email or phone number on your application so our team can immediately
        reach out and address any issues with the application to minimize potential delays.

In addition to filling out the new identification requirements, voters are required to select a political party in
order to vote in the March Primary Election and Runoff Election. If they select “Annual Application: Send
me a ballot for all elections in this voting year”, voters also must select either “March 1st Democratic
Primary and Runoff” or “March 1st Republican Primary and Runoff” in the options to the right.

For more information, including sample ballots and polling locations, visit HarrisVotes.com in the coming
weeks and follow @HarrisVotes on Twitter, Facebook, and Instagram. Call Harris County Elections at
713-755-6965.




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                  Exhibit 81




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This Post Election Report includes an overview of the Election Administrator Office’s (EAO) planning and
execution of the November 8, 2022, General Election including Early Voting and Election Day operations,
media and community outreach activities, Election Day operations, election night tabulation, and a post-
election day analysis from election judges, election workers, and senior EAO staff. The Report is organized
into the following areas: (1) Election Data Highlights; (2) Election Planning and Outreach; (3) Election
Preparation; (4) Early Voting Operations; (5) Election Day Operations and Performance; (6) Election Night
Tabulation and Post-Election Activities; and (7) Proposed EAO Actions. The Report will assist the EAO to
improve processes and procedures for future elections, related to Communication systems, Voting system
operations, Personnel resources for the EAO, and Vote Center deployment.

Methodology of Election Day Evaluation

The post-election review began with EAO staff conducting post assessment discussions with each of its
seven election vendors who provided technical support during Early Voting and on Election Day. EAO staff
also spoke with 774 Presiding Judges (PJs) and 727 Alternate Judges (AJs) that served on Election Day.
The EAO staff was unable to gather information from all PJs and AJs because several judges advised EAO
staff that they were instructed not to talk with the EAO staff about Election Day operations, including ballot
paper due to the District Attorney’s announced criminal investigation, litigation brought by the Harris
County Republican Party, and pending election contests.

The EAO normally submits an election survey to all judges and clerks seeking feedback on the election
process, and potential training and curriculum topics for future elections. However, in the interest of
confirming and better understanding certain events and problems reported in the media on Election Day,
and after, (including paper ballot issues and opening and closing problems) the EAO recruitment staff
expedited its post-election assessment.


EAO staff reviewed election operations and discussed, internally, what worked well and what needed to be
improved and reviewed election data pertaining to the General Election. Through an expedited evaluation
process, the EAO has created this preliminary report of successes and challenges for review and
implementation for the next election cycle. Standard practice would require the EAO to take approximately
90-120 days to compile a final report of this magnitude; however, given the level of stakeholder interest and
inquiry, the EAO believed it important to provide its preliminary observations as quickly as possible without
jeopardizing the integrity of the data and the process. As we know in the elections profession, speed does
not always equate to accuracy. The EAO will update this report as more information is gained from its
continued effort to improve the processes. Based on the EAO’s preliminary analysis, we provide the
following assessment beginning with election data and proceeding according to the report organization
listed above.




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I. Election Data Highlights

(1) The total number of votes cast, presented by ballot type (including Limited Ballots1 ):

    Early Voting Ballots counted including 636 limited ballots                    692,748

    Election Day Ballots counted                                                  349,045
    Mail Ballots counted                                                          61,264

    Provisional Ballots counted                                                   4,333

    Total Ballots counted                                                         1,107,390


Mail Ballot Data
    Mail Ballots sent                      81,064
    Mail Ballots returned by voter         64,259
    Mail Ballots surrendered               5,786
    Mail Ballots not returned              7,843
    Mail Ballots not countable             3,176

Provisional Ballot Data
 Type                                Accepted                            Rejected
 Early Voting Provisionals           1,809                               226
 Election Day Provisionals           525                                 1,261
 #5 Provisionals*                    2,2042                              277
 Totals                              4,538                               1,764
*# 5 Provisionals are Provisional Ballots cast during extended voting hours. The #5 totals did not change
any election contest results from a winning candidate to a losing candidate.

(2) The number of voters registered as of December 14, 2022 = 2,583,642

          (A) more than 30 days preceding the election; as of October 3, 2022 = 2,558,844

          (B) Statement of Residency (SORs) during Early Voting (EV); Total EV SOR’s = 20,791

          (C) SORs on Election Day (ED); Total ED SOR’s = 23,035


1
  Limited Ballots are ballots that are cast by eligible voters who moved into Harris County from another Texas Count, but are
only able to vote on certain contests because they did not get registered in Harris County prior to the registration cutoff
deadline.
2
  205 of the #5 Provisional Ballot envelopes did not contain ballots.
                                                               2
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(3) The number of election workers by Vote Center; See Attachment 1 “EV Allocations 1122” and
Attachment 2 “ED Allocations 1122”.

(4) The list of Early Vote Centers; See Attachment 3 “List of Early Vote Centers 1122”.

(5) The list of Election Day Vote Centers; See Attachment 4 “List of Election Day Vote Centers 1122.

(6) Allocation of Voting Machines per Vote Center for Early Voting and Election Day; See Attachment 1
and 2.

(7) EV and ED Vote Center locations for November 8 General Election. Final approval by the
Commissioners’ Court occurred on 10/11

EV Locations (99)

              CC1 @ 29 Locations
              CC2 @ 25 Locations
              CC3 @ 24 Locations
              CC4 @ 21 Locations

ED Locations (782)

              CC1 @ 227 Locations
              CC2 @ 204 Locations
              CC3 @ 190 Locations
              CC4 @ 161 Locations

II.    Election Planning and Outreach

A. Public Awareness. On July 1, immediately following the two June elections, the EAO outreach and
communications began organic efforts to raise public awareness about the November 8 General Election.
Every potential voter touchpoint, from the website to the call center to voter registration drives and
community meetings, was used as an opportunity to prominently remind voters of upcoming dates and
important information surrounding voting in Harris County. The EAO developed messaging and strategies
based on voting trends observed from previous elections and created additional messaging based on real-
time information gathered from the EAO ballot building team and call center (i.e. two-page long ballots,
postage requirements).
B. Public Outreach. The EAO deployed the following resources in support of voter engagement and
communication directly and through media efforts:
Professional Firm – KGB Texas Communications, a media and communications firm assisted the EAO
communications team in driving awareness among Harris County residents on key dates associated with the
November 2022 election, and educating the public on election-related information (i.e. mail ballots, new
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voting machines, polling locations). The media and communication efforts ran from October 12, 2022
through November 8, 2022.

Overall, the media efforts delivered 77 million impressions across broadcast television and radio, digital
media, print, and outdoor media. Radio garnered the highest amount of impressions at 26 million, followed
by television and digital outlets with 21 million and 20 million respectively. Election Ads were run in
English, Spanish, Vietnamese and Chinese, and a budget was allocated to minority publications and stations.
Originally, KGB Communications planned 70,482,120 impressions for this campaign. At the end of the
cycle, 77,036,058 impressions were delivered.

Social Media- Social media posts were developed to highlight and inform voters of important dates and
materials such as ID requirements, EVC and VC locations, “frequently asked questions”, postage
requirements for mail ballot envelopes, identification numbers needed on mail ballots, and the importance
of preparing a sample ballot to expedite the in-person voting process.

With paid Ad campaigns on Facebook and Instagram, the office achieved 68,000 clicks and sustained a
2.27% click through rate in the 13-days that Ads were running.

C. Community Engagement Events- From the start of July through the voter registration deadline (October
11), the voter outreach team collected 8,889 voter registration forms at 703 events across the county. The
following is a breakdown of these events based on where they were held:

      Faith-based centers- 64
      High schools- 134
      Colleges- 172
      Community- 268
      Festivals- 65

At each of these events, team members also provided flyers with important information about the November
8 election, answered voters’ questions, and showed them how to navigate the website for information.

From July 1 through October 31, four members of the communications team hosted 30 stakeholder meetings
in English, Spanish, Vietnamese, and Chinese, where important deadlines and resources for the upcoming
election were discussed, voting machines programmed with a sample election were brought in for hands-
on learning, and attendees were encouraged to ask their elections questions. In addition, organizations were
able to request machine demonstrations in any of the four languages offered. Five team members
participated in approximately 140 information sessions, where voters could ask questions and get hands-on
interaction with the voting machines.

Organizations that requested information sessions and machine demonstrations include:
    African American Health Coalition
    AHEPA 29-III Apartments
    Alpha Kappa Alpha
    Anointed Faith Baptist Church
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   Asian American Voting Alliance
   Avenue CDC
   Barrett Station Civic League
   Bay Area Association of Democratic Women
   Belfort Church of Christ
   Boat People SOS
   Bonding Against Adversity
   Brazos Towers Senior Living
   Chinese Civic Center
   Chinese Community Center
   Congregation Emanuel
   Culture Center of Taipei
   Crestmont Park Civic Park Alliance
   Cypress-Fairbanks ISD
   EMGAGE
   Equality Texas
   Grace International Church
   Harris County Attorney’s Office
   Harris County Clerk’s Office
   Harris County Public Library
   Harris County Transit
   HOPE Clinic
   Houston 80-20 Asian-American Political Action Committee
   Houston Association of Realtors
   Houston Association of Retired Teachers
   Houston Area Urban League
   Houston Community College
   Houston Heights Women’s Club
   Houston Hong Kongers
   Houston In Action
   Houston ISD
   Houston LGBTQ+ Political Caucus
   Houston White Cane Safety Day
   Korean Senior Center
   La Vang Catholic Church
   League of Women Voters
   Memorial Hermann Southwest Hospital
   Mi Familia Vota
   Montrose Center
   Northwest Vietnamese Church
   OCA- Asian Pacific American Advocates Greater Houston Chapter
   Our Lady of Lourdes Catholic Church
   Point/Counterpoint Senior Group
   Precinct 1
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      Precinct 2
      Pure Justice
      Resurrection Metropolitan Community Church
      Sunnyside Park Civic Center
      Taiwanese Community Center
      Texas Southern University
      The Metropolitan Organization of Houston
      Trinity United Methodist Church
      Turkish Raindrop Foundation
      Unity Church
      United Trinity Methodist Church
      University of Houston
      University of Houston Downtown
      Vietnamese Martyr Church
      VN Day Care Center
      West Houston Democrats
      West U Democrats
      Wheeler Avenue Baptist Church
Note: Some groups requested multiple sessions to accommodate different languages or locations (i.e.
AHEPA 29-III Apartments requested presentations in English, Spanish, Vietnamese and Chinese; multiple
high schools in Cypress-Fairbanks had machine demonstrations).

D. Media Relations - The EAO communications team developed digital toolkits and media pages, which
included important dates, FAQs, as well as B-roll (Media clips), videos and photography produced in house
by the EAO team. These toolkits were shared with Advocacy groups, media outlets and the political parties.
(Digital toolkit: https://www.dropbox.com/sh/tfdoc891df3mo6i/AACiFkmG4zpDkl9omr5cxe4pa?dl=0)

Additionally, on October 13, the EAO hosted an Open House for all members of the media, as well as key
stakeholder groups and Harris County officials. The purpose of the Open House was to provide critical
transparency into the election night process, specifically detailing how ballots are processed and the security
measures in place. This was the first time the EAO had offered an inside look and detailed explanation of
its process. (Overview of Open House talking points: https://www.harrisvotes.com/Voter/Ballot-
Processing)

On October 21, the EAO also hosted a Media Town Hall event for reporters specifically assigned to cover
the November 8 election. This was an opportunity to revisit information shared during the Open House, as
well as answer logistical questions regarding media access, points of contact, and visibility during election
night.

E. Website - This year, the EAO rebranded the website (HarrisVotes.com) to provide more transparency
and improved user experience ahead of the November 8 Election. The website experienced the following
traffic:
     45-days before Election Day (September 24): 8,297 page views with 1,922 users averaging 3.58
         pages/session in 2,318 sessions
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      Combined 12-Days of Early Voting: 2,611,384 page views with 554,614 users averaging 3.07
       pages/session in 849,792 sessions
      Election Day (day after included to account for Election Results viewing): 1,728,179 page views
       with 349,106 users averaging 3.36 pages/session in 514,215 sessions

F. Improvements to the Planning Process

The EAO will take the following actions to improve its Election Day Planning Operations for future
elections:

      Establish working advisory groups to provide feedback regarding General Election operations
      Evaluate election data gathered during the General Election to strengthen training and develop future
       voter education activities
      Implement new quality control systems with additional checks and balances to ensure external
       communications and publications are timely and accurate

III. Election Preparations

For Election Day planning, staffing and resource allocations, EAO staff estimated voter turnout to be
approximately 65% of registered voters. These projections were based on data and actual voter turnout
statistics from prior General Elections (dating back to 2014), comparing like contests, recent voting trends,
changing demographics, and precinct realignments. EAO staff used the projected turnout numbers as a
baseline for deploying Vote Center locations, voting equipment, supplies, ballot paper, ePollbooks, and
election workers for Early Voting Centers (EVCs) and Election Day Vote Centers (VCs). EAO staff
projected voter turnout to be approximately 1.2 million voters with 75% of that turnout during Early Voting
and the remaining turnout on Election Day.

The EAO deployed the following equipment to both the EVCs and VCs:

      Hart InterCivic Controller – Device used to create a ballot access code that allows the voter to start
       the voting session of the Duo Ballot Marking Device (defined below)
      Duo– Ballot Marking Device that displays the election contest and questions on a touch screen that
       allows each voter to select a candidate in each contest or vote for or against a ballot measure in the
       election. This marking device prints a record of the votes cast to be deposited into the Scan (defined
       below) for counting
      Duo-Go– A mobile apparatus that allows election workers the ability to take a Duo to a curbside
       voter, thus allowing a voter to cast a ballot from their automobile
      Scan – A ballot tabulation device that images each ballot and collects the votes cast on each ballot
       for tabulation purposes
      Content Active ePollbook – Electronic Pollbook that allows election workers to check-in a voter at
       the EVC or VC, which assist the election worker in providing the voter with the correct ballot style
       based on the address where they are registered to vote


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A. Early Voting and Election Day Supplies & Signage

EAO staff revised many VC signs and forms for Early Voting and Election Day to improve visibility and
legibility as well as to streamline the election reporting for election workers to complete election night
reporting3.

The EAO staff introduced a barcode labeling system to pack supply boxes for each VC. This barcoding
system was used to track supply boxes and materials delivered to each VC. The barcoding system assisted
the EAO staff to confirm and validate that each EVC and VC received the correct equipment and the correct
supplies.

As supply boxes were packed at the warehouse, a verification system confirmed that all requested/scheduled
supplies were included in each supply bin. The barcoding system and verification system were effective in
helping ensure that supply inventories were accurate and EVCs and VCs received all scheduled items.

B. Facilities

The EAO strives to ensure every EVC and VC used in the county meets the following criteria:

          accessible
          adequate space for voting equipment and election workers on Election Day
          adequate parking
          proper electrical capabilities
          availability for election workers to set up on the Monday before Election Day
          available on Election Day from 6:00am until at least 10:00pm
          availability for the equipment to remain securely onsite until pickup

Location Selection

In most cases, the EAO selected locations utilized in previous elections. For this election, several locations
were relocated because of unavailability or because of ADA accessibility issues. When a facility is
unavailable, EAO staff relocates the VC to another facility only after an ADA assessment is conducted to
ensure the new location is compliant and can support the election activities. EAO staff collaborated with
Commissioner Court staff, political party representatives, and Precinct Chairs to identify and secure
adequate locations that would support and accommodate the projected voter turnout.

The overall location selection process involves the following:

       1. Identify the quantity of locations needed for the election
       2. Review the most current list of locations used from last like elections4


3
    All signage and forms used at VCs are approved by the Texas Secretary of State.
4
    Locations were used from 2021 and 2020 as a result of the implementation of county wide voting.
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    3. Place locations onto a map to view general coverage
    4. Layer onto map the voting location areas identified by the nonpartisan Center for Inclusive
        Democracy to identify areas of greatest need.5 This tool evaluates data such as citizen age, registered
        voters, in-person voters, by mail voters, voter turnout, voter demographic, population with vehicle
        access and population density, including total registered voters to determine areas that have greatest
        needs for voting locations.
    5. Identify the following items necessary to have a location useable in an election
            a. Availability
            b. ADA status (Compliant, Non-Compliant Remediable, Non-Compliant Non-Remediable)
            c. Cost
            d. Other accessibility (i.e. electricity, parking, restroom access)
    6. Define locations on the map by their availability and ADA status
            a. Where locations were unavailable, identify a nearby location that could serve the area.
            b. Where locations and nearby locations were both unavailable to serve the area, those locations
                were shared with stakeholders6 to assist with asking locations to become available.
    7. Identify locations within .5 miles of each other to determine if both locations were needed for the
        area. This is done when there is a surplus of possible locations that could be used to get to the target
        number of locations identified by EAO as would be needed for the election.
    8. When location list reached the target number, shared list with stakeholders to review and incorporate
        feedback to favor historical facilities7, ADA-compliant facilities (based on status) and facilities
        requested by multiple stakeholders.
    9. After review by stakeholders and considering all stakeholder feedback, locations list was submitted
        to Department of Justice (DOJ) for review and submitted to Commissioners Court for approval.
    10. Periodic changes occurred based on new information such as stakeholder requests that could be
        accommodated, location availability, updated ADA inspections or DOJ comments.
Facility Check List ADA Compliance

As a result of a DOJ settlement agreement regarding accessibility of locations the EAO staff works with
DOJ coordinators, subject matter experts and ADA survey coordinators to assess and diagram accessibility
remediation for all locations. The diagrams depict entrances and exits, room dimensions, electrical outlets,
the proposed positioning of voting equipment, and suggested election worker stations that facilitate traffic
flow and privacy. The ADA survey coordinators conducted a site survey8 for each of the 782 VCs and
deployed remediation where necessary.




5
  https://tx.cidsitingtool.org/county.html?county=201.
6
  Commissioner Court staff and Political Party representatives
7
  Long standing neighborhood facilities.
8
  The ADA surveys are too voluminous to attach but can be made available upon request.

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C. Election Worker Recruitment, Training and Staffing

Staffing Goals. EAO staff estimated that approximately 6,500 workers would be required for the General
Election. The table below provides a breakdown of election worker positions per VC, the total number of
workers assigned, and a brief job description for each position.

 Position                    Per VC      Total         Job Description
 Presiding Judge (PJ)        1           782           Oversees all voting procedures at the VC; they are
                                                       responsible for ensuring Election Law is followed,
                                                       the voting process is safe and secure, and peace is
                                                       kept in the VC.
 Alternate Judge (AJ)        1           782           Can serve in the same capacity as the PJ; takes
                                                       over full responsibility of the VC in the absence of
                                                       the PJ; serves as Clerk when PJ is present; works
                                                       closely with the PJ for accountability on reporting
                                                       and countersigns election documents.
 Qualifying Clerk            1 or more   782           Clerk assigned to the Qualifying Table (Voter
                                                       Check-in). They operate the ePollBook and
                                                       Controller. They process voters accurately and
                                                       efficiently.
 Ballot Clerk                1 or more   782           The critical role of the Ballot Box Clerk is to
                                                       ensure voters do not leave the VC before casting
                                                       their ballot in the Scan. If they leave without doing
                                                       so, their vote will not be counted.
 Greeter                     1 or more   782           The first election worker a voter will encounter.
                                                       They are friendly, welcoming individuals who
                                                       monitor those waiting in line to vote, ensures the
                                                       100-ft line is secure, and monitors the parking lot
                                                       for curbside voters.
 Curbside Clerk              1 or more   782           Clerk designated by the PJ to conduct Curbside
                                                       Voting when required. This includes: qualifying
                                                       voter, preparing the Duo-Go with either the PJ or
                                                       AJ, then returning to the voter with an “I Voted”
                                                       sticker and letting them know their ballot was
                                                       successfully cast.
 Additional Clerks      to               806
 Help as Needed
 Total                       6-8         5,498




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Staffing Process. The Texas Election Code (TEC) prescribes the process for appointing Election Day
judges. Election Day PJs and AJs are nominated by Party Chairs and appointed by the Commissioners
Court.9. The Parties submit a list of names of persons in order of preference for each precinct who are
eligible to serve as a PJ. The EAO places judges appointed by Commissioners Court into VCs. The EAO
staff considers the following criteria when assigning PJs to VCs: (1) where they have previous work history,
(2) whether the Precinct Chair of the precinct in which the VC is located is willing to work at the location,
and (3) if historical or precinct chair judges are available or unavailable. The EAO consulted with the Parties
to coordinate where the Parties’ respective PJs would serve in relation to party designated precincts. The
EAO encouraged the Parties to submit more names than they initially submitted because, nominated Judges
were unable or not willing to work on Election Day. Once the EAO exhausted the names of the Party
nominees, EAO staff began placing judges on a first available basis to ensure all locations were staffed with
a PJ and AJ. Staffing numbers for clerks vary per VC based on projected voter turnout and averaged between
5-7 clerks for each VC.

Election Worker Training. All election workers, including PJs, AJs and clerks are required to attend a four
(4) hour training session in order to work the election.

A new Training Manager revamped the training program and brought on adult educators who were trained
as effective elections instructors. The EAO employed over 33 temporary instructors to assist two full-time
team instructors to improve materials, recreate a training manual, and conduct training events. The EAO
training team revamped the training curriculum to increase the hands-on training aspects to ensure workers
could set up and operate the voting machines. The curriculum also provided for more hands-on training
with the forms and processes.

New Training Manual

The new Training Manual included a revised color-coded format that identified the sections of the manual
for each task to be completed. The manual was provided in a bound format and given to every election
worker. A copy of the manual was also made available on the EAO website and can be accessed at the
following link:
https://files.harrisvotes.com/harrisvotes/prd/docs/Training/Official Manual 2022 to 2023.pdf

New Class Structure

The EAO training staff deployed a new class format that allowed for greater training efficiencies for the
election workers. The trainers addressed broad talking points with the whole group and then separated the
election workers into small breakout groups for approximately three hours, where election workers were
provided hands-on instruction on equipment, set-up and forms. This structure allowed for a more engaged
learning environment.

Training classes began on September 26 and ended on November 7. EAO trainers conducted a total of 74
classes. The following facilities were utilized for training:

9
    TEC Sec. 85.009.
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Barbara Jordan Community Center
Bay Area Community Center
Bayland Community Center
Big Stone Lodge
Bridgestone MUD
Chinese Community Center
Clear Lake Islamic Center
Deussen Park Community Center
East Harris County Activity Center
El Franco Lee Community Center
Felix Baldree Community Center
Houston Marriott North
Julia C Hester House Community Center
Lone Star College (CyFair)
Lone Star College (Kingwood)
Lone Star College (Tomball)
Mangum Howell Community Center
Northeast Community Center
San Jacinto College Central
San Jacinto Community Center
Steve Radack Community Center
Third Ward MultiService Center
Tom Bass Senior Center
Tomball Event Center
Tracy Gee Community Center
Trini Mendenhall Community Center
Weekley Community Center




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Training classes were held Sunday through Saturday and scheduled morning, afternoon, and evening to
accommodate workers’ schedules. EAO trainers also conducted reminder training at supply pick-up the
Saturday and Sunday before Election Day, where judges could ask last-minute questions and get one-on-
one time with EAO instructors. Supplemental hands-on training was provided through EAO instructor
support hours at four locations around Harris County.

The training included troubleshooting scenarios and situations that election workers were likely to encounter
on Election Day and focused primarily on set-up and processing voters. All PJs, AJs and clerks were also
provided hands-on training on the election forms.




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The EAO training team received multiple complimentary communications from election workers. From this
correspondence emerged three main themes:

   a. The new manual demonstrates informed changes based on feedback and research:

              “Several of my friends are also PJs and the other day we talked about the manual over coffee.
              We are all very impressed. Your hard work is definitely paying off, it seems as though we
              are closer to a smoother election process. Thank you.”

              “This is the best training class I have ever attended. The new election manual is amazing! I
              cannot brag on the improvements enough.”

   b. The training team is effective and professional:

              “They were professional, informative and responsive to all of our questions, input and
              concerns. I can clearly say this was the best election training class I have ever taken with
              Harris County.”

   c. The training program has become more engaging and interactive:

              “Much better with delivery focused on key aspects of the process – including hands-on with
              the set-up, operation and tear-down of the voting equipment. Great to have witnessed the
              improvements to the equipment and process that address some of the feedback some of us
              provided over the past few elections. Good to know HC EA staff were listening and took
              corrective action.”

              “I have to admit, I hate change. I didn't know what to expect from the new Election Admin.
              So far, I am impressed.”

       Proposed Improvements to Training Curriculum

To continue improvements to the training process, the EAO will develop and deploy the following activities
for future elections:

      Establish working advisory groups to provide feedback regarding training operations
      Evaluate Election Data gathered during the General Election to strengthen training and develop
       future voter education activities
      Implement an Election Worker Evaluation system. In order to increase election worker efficiencies,
       the training staff will implement a training and evaluation process to evaluate each prospective
       election worker’s capability to perform the required activities for any given election

This performance evaluation will include: (1) attending a training class specific to the worker’s assigned
tasks, (2) pass a written test to demonstrate sufficient knowledge to meet the standards for executing a

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smooth election, and (3) successfully complete Election Day simulation exercises, demonstrating the ability
to complete the tasks required for the position. If a prospective election worker is unable to meet the three
requirements, he/she could be disqualified and not recommended for serving during Early Voting or
Election Day.

The PJs will be required to demonstrate the ability to operate all voting equipment, including opening and
closing on Election Day and the ability to complete critical election VC documents.

IV. Early Voting Operations

Early Voting operations includes Ballot by Mail and In-person voting at EVCs. The EAO located its Early
Voting operations to NRG Arena on September 1, 2022. NRG served as and EVC and as Central Count for
the General Election. The EAO deployed 99 EVCs from October 24 through November 4. The 99 EVCs
were strategically placed throughout the four Commissioner Court precincts to accommodate county-wide
voting. As projected, a higher percentage of voters, by almost double the amount, voted early during Early
Voting than on Election Day.

A. Ballot by Mail Voting

All Mail Ballots returned by voters were delivered to the NRG Arena and were reviewed and processed by
the Signature Verification Committee10 (SVC) that convened on October 19. The SVC reviewed each
returned ballot envelope (carrier envelope) to ensure the signature and voter ID provided by the voter on
the carrier envelope matched the voter’s profile. Once signatures were approved and ID numbers validated,
the SVC authorized the carrier envelopes to be prepared for opening and the ballots were prepared for
counting.
The Early Voting Ballot Board11 (EVBB) convened on October 26 to open ballots and prepare for counting.
If any ballots were placed under review status by the SVC because they could not validate a signature or
the voter did not provide a matching ID number, the EVBB either accepted or rejected the ballot. If the
voter provided the correct information, the EVBB would approve the ballot for counting.
As part of the process, if a voter did not provide the correct voter ID on the carrier envelope, the carrier
envelope was returned to the voter for correction as required by Senate Bill 1. (These Mail Ballots are
referred to as E3s.) If the Mail Ballot was received too late to return to the voter, the voter was contacted
and given an opportunity to cure the Mail Ballot by coming to the Central Count location to provide the
information or curing by providing their information via the Texas Secretary of State website. (These types
of Mail Ballots are referred to as E7s.) If the voter did not return the carrier envelope with the correct




10
     Each Party appointed 25 members to the SVC.
11
     Members of the SVC served on the EVBB.

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information or did not cure the Mail Ballot with the necessary information the E3s and E7s were ultimately
rejected by the EVBB.
The Central Count Ballot Board12 (Ballot Board) convened on Saturday, November 5, the day after Early
Voting ended. Once the Ballot Board convened, the EAO began processing Early Voting results for
reporting on Election Night.
The EAO processed over 80,000 Mail Ballot applications as reflected in the table below.

 Applications         Accepted       Rejected
 Domestic             78,051         2,778
 UOCAVA13             3,015          237
 Total                81,066         3,015

The EAO processed over 80,000 Mail Ballots as reflected in the table below.

 Ballot            Ballots       Mail        Voted                 Voted        Ballots
 Type              Mailed/emailedBallots     Ballots               Ballots      Counted
                                 Received Accepted                 Rejected
 Domestic     78049              62394       59759                 2635         59544
 UOCAVA 3015                     1780        1750                  30           1720
 Totals       81064              64259*      61509                 2665**       61264
*Includes 85 Late Ballots received but not counted.
**Includes E3 and E7 Rejects (E3-411, E7-2,118)

               1. Mail Ballot Problems Encountered

The EAO contracted with Runbeck Services to mail ballots to over 80,000 voters. Based on ballot size and
number of pages, Runbeck determined that it could not process the ballot insertion for the 4-page 11x17
ballot. As a result of this discovery, Runbeck and the EAO agreed to subcontract the mail ballot work out
to a second vendor (K&H) to prepare and mail the ballots.

During the mail ballot period, the EAO received reports that voters were not receiving Mail Ballots and that
voters were being charged extra postage because of the size of the carrier envelope. The EAO was able to
utilize K&H’s mail ballot tracking system to see ballots moving through the United States Postal Service
(USPS) system. The EAO staff was able to provide USPS with zip code data to evaluate delivery patterns
within Harris County and to identify where Mail Ballots may not have been moving through the USPS
system. The EAO spoke with USPS staff on a weekly basis about Mail Ballot delivery, return scanning, and
postage cost.


12
     Each Political Party appointed 25 Members to the Ballot Board.
13
     The Uniformed and Overseas Citizens Absentee Voting Act (Military and Overseas Voters)

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               2. Process Improvement Actions:

          The EAO will continue conversations with the USPS to identify postal system practices that might
           have caused delivery problems with Mail Ballots
          The EAO will be able to forecast the ballot size specifications for future elections
          The EAO will continue Agilis and Vote-Tec system reviews to streamline carrier imaging and
           processing to allow for more efficient processing by the SVC

B. In-Person Early Voting Operations

As part of Early Voting, the EAO delivers voting equipment and materials to each EVC during the week
and weekend before Early Voting begins. Early Voting set-up proceeded according to plan. Ninety-Eight
EVCs were set up and prepared to operate the Sunday before Early Voting began on Monday, October 24.
The final location completed setting up early on Monday morning in time for the start of Early Voting.

       1. Early Voting Center Equipment. Each EVC was supplied with an allocation of voting equipment
          based on population density and projected turnout in each Commissioner Precinct. Each location
          received an allotment of (1) ePollbooks (2) Controllers, (3) Duo Ballot Marking Devices (4)
          Scanners and (5) Duo Go.

       2. Early Voting Center Staffing. EVCs were staffed with a PJ and an AJ (consisting of alternate party
          affiliation) and clerks were assigned in two shifts of temporary election workers. See Early Voting
          Staffing 1122 Attachment that identifies the number of workers assigned to each location. 1,591
          EVC workers were trained and deployed to work during Early Voting. Approximately 30% of these
          individuals also worked on Election Day.

       3. Early Voting Turnout.

                                                                   2018             2022
                          Early Voting Total Votes Cast            767,162          693,122
                          Total Registered Voters                  2,307,654        2,543,162

       4. Wait Time Reporter. Election workers were instructed to submit wait times to the online wait time
          application. The wait times listed on the interactive map on HarrisVotes.com is intended to provide
          real-time wait times for each EVC.

       5. Early Voting Equipment Operations.

During Early Voting, EVCs experienced common problems associated with staffing, technical support,
equipment operations and wait time updates.14 The technical problems were related to Controller Not Found
issues, which had a direct impact on Duos. EAO technicians were dispatched throughout the Early Voting
period to address technical issues encountered and to ensure voting continued throughout the Early Voting
14
     These are common issues experienced in every jurisdiction throughout Texas and nationwide.
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                                                                                                   Tatum_005225
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period. The EVCs also experienced paper ballot jams when the voter was feeding the blank paper into the
Duo. On certain occasions, a voter’s ballot would jam at the Duo and would have to be spoiled and reprinted.
On certain occasions, the ballot would not scan into the scan. To resolve these types of problems, the PJs
were instructed to spoil the ballot15 and reprint the ballot if the voter had not left the Duo. If the voter had
left the Duo and the ballot would not read because it was illegible, the PJ was instructed to reissue a ballot
to the voter to allow the voter to cast their ballot at the VC. A voter could also deposit the unreadable ballot
into the emergency slot16, which meant the ballot would be transported to the Ballot Board to be duplicated
by the Ballot Board and counted, if possible. If the ballot is re-voted by the Voter and read through the scan,
then the voter is assured that the ballot was counted; if the ballot was inserted into the emergency slot in an
unreadable status, the voter is not assured that the ballot will be counted.

V. Election Day Operations and Performance

Overall, Election Day was a success with 782 VCs assigned, set-up and operational. Over 1 million voters
turning out to vote for the entire election. The EAO projected 1.2 million voters. The EAO identified and
deployed voting machines, VCs and election staff/election workers to support that projection.

                1. Election Day Vote Center Equipment. Each VC was supplied with an allocation of voting
                   equipment based on population density and projected turnout in each Commissioner
                   Precinct. Each location received an allotment of (1) ePollbooks (2) Controllers (3) Duo
                   Ballot Marking Devices (4) Scan and (5) Duo Go.

                2. Election Day Vote Center Staffing. The EAO’s office successfully trained and assigned a
                   PJ and AJ to all 782 Election Day VCs. The nomination and appointment process is similar
                   to the process described in early voting staffing, except that Election Day assignments are
                   governed by TEC Section 32.002. The PJs and AJs are nominated by the Political Party
                   Chairs and submitted to the Commissioners’ Court for approval/appointment. The PJs and
                   AJs were assigned according to Party designations until an emergency appointment period,
                   which then allowed the EAO to assign PJs on a first available basis to cover any gaps in
                   appointment. Despite the emergency appointment period, the EAO staff continued to
                   coordinate with the parties to indicate where the parties would like their PJs to serve within
                   a VC. The EAO encouraged the Parties to submit more names than they initially submitted
                   because, nominated Judges were unable or not willing to work on Election Day. Once the
                   EAO exhausted the names of the Party nominees, EAO staff began placing judges on a first
                   available basis to ensure all locations were staffed.

                     Overall, the EAO trained over 6,024 judges and clerks and deployed 5,498 – that is 91.3%
                     who showed up to work.



15
     A ballot is spoiled when it is damaged by the printer, re-voted by the voter or unreadable by the Scan because of illegibility.
16
     A depository for unreadable ballots.
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           3. Election Day Voter Turnout.

                                                         2018           2022
                    Election Day Total Votes Cast        354,000        349,045
                    Total Registered Voters              2,307,654      2,543,162

           4. Wait Time Reporter. During Election Day, students are dispatched to each VC as Electronic
              Support Specialists (ESS). Their primary function is to monitor the wait times and provide
              periodic updates of the quantity of people in line. This process provides real time wait times
              for each VC.

A. Facilities and Vote Center Opening

As part of the Election Day set up process for Election Day delivery, the EAO delivers voting equipment
and materials to each VC the week and weekend before Election Day. The November 8, Monday setup for
Election Day voting did not proceed according to plan for 170 VCs because of the celebratory World Series
Parade. Several ISD’s gave their staff the Monday off to participate in the parade. As a result, the PJs at
those locations had to reschedule set up for Monday evening/night as opposed to Monday morning and for
some locations set up occurred on Tuesday morning. This resulted in reports from several election judges
that they were delayed in opening at 7:00am due to limited time to setup on Election Day.

B. Election Day Support

   1. Election Help Desk. The EAO operates a 50 person Help Desk “Call Center” to receive calls from
      election workers regarding any manner of support. The Help Desk contacts tech rovers and area
      representatives when an issue could not be resolved over the phone. The Help Desk included
      members of the election worker training team, temporary election workers, technical experts and
      other EAO staff.
As in past elections, the EAO contracted with a vendor to provide technical support to all Election Day
VCs.

   2. Technical Support. The EAO deployed 160 election technicians (Tier 1) to support PJs on Election
      Day. This created an average of 1 technician to every 5 Vote Center locations. The 5 locations were
      mapped within a minimal (5-10 mile radius) geographical region to maximize travel time from one
      VC to the next. The technicians were directed to travel from one VC to the next on a scheduled
      basis to check-in with the PJ to ensure everything was working properly and to provide the VC with
      whatever support was needed, including paper supplies.

If a technician encountered a voting system issue that they could not resolve, the issue was escalated to a
Tier 2 technician with a greater skill level to resolve the most complex problems. If a component could not
be repaired, it would be replaced by the Tier 2 technician.

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The EAO Help Desk received over 1,600 logged calls for VC support related to staffing, equipment support,
procedural questions, supplies, and paper ballots.

Of the 1,600 calls, 368 calls, (23%) related to ePollbooks, the Duos, Duo-Gos, Controllers and Scans. 128
calls (8%) related to supplies and ballot paper, and 143 (9%) related to election worker procedural questions.

The EAO staff takes all support ticket calls very seriously regardless of the nature of the call and endeavors
to remedy the situation either by telephone support or dispatching a technician to support on site. During
the election and after the election we review all support logs from the VCs and look for trends. Once we
identify an issue that is occurring at multiple locations or across the County, we discuss with the vendor and
identify ways to resolve or correct an issue in real time, if possible or to identify if the matter requires a
long-term solution.

   3. Election Day Challenges. The Common problems reported and encountered on Election Day
      included VCs not opening on time, technical problems associated with the Controller Not Found,
      Duo paper ballot jams, ePollbook wait time updates, paper ballot supply at several locations and
      staffing.

EAO technicians were dispatched throughout Election Day to respond to the support tickets which included
assisting PJs in opening VCs, replacing voting equipment, rebooting Controllers, resetting Duo voting
equipment, resetting ePollbooks, delivering ballot paper and other supplies.

           a. VC delayed in Opening. There were several VCs that did not open on time due various
              reasons: (1) PJs Captains Box not delivered which contained the keys to the voting
              equipment (2 hr. delay), (2) PJ closed the election on the Controller before voting began (1
              hr. delay), (3) Election workers quitting or not showing up to work, (4) PJs not able to access
              the facility at 6:00am (30 min delay).

           b. Ballot Paper Supply. The EAO received reports that several VCs needed ballot paper
              delivery during the day. An initial media report indicated that at least 20 VCs ran out of
              paper.

           c. ePollbook wait time updates. During the early part of Election Day, the ePollbook AWS
              server lost replication which prevented the wait time tool from updating the website,
              prevented the supply team from seeing real-time check in and disabled the sample ballot look
              up feature. This had a direct impact on the ability to see how many voters were being
              checked-in and what the wait times were at any VC. The vendor was able to reestablish
              replication, which brought the wait time tool and sample ballot back on line and allowed
              supply to reengage communications at the VCs.

During the post-election assessment, EAO staff reviewed call logs and support tickets to gain an
understanding of what occurred on Election Day. The EAO’s recruiting and training staff conducted a
calling assessment to all PJs and AJs. Although EOA staff was able to speak to most of the PJs and AJs,
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many of them provided confusing answers and some declined to speak after reportedly being advised not
to do so by the Harris County Republican Party.
The EAO’s call logs reflect that the Help Desk received calls from 46 VCs (5.9%) requesting additional
paper on Election Day. This does not indicate that these VCs ran out of paper and had turn voters away as
a result - only that they required additional paper at some point on Election Day.
The EAO’s analysis from the PJ and AJ calls is largely inconclusive due to the fact that several of the PJs
and AJs from the same VCs gave conflicting reports on whether the VC actually ran out of paper, and that
many responses did not explain whether the VCs had to turn voters away. According to PJ calls, several
VCs (68) reported running out of their initial allotment of paper, although most of them (61) received
additional deliveries, according to their respective PJs. In addition, 22 AJs for these 68 VCs gave conflicting
reports, stating that they did not run out of paper at all. 64 AJs reported that they ran out of their initial
allotment of paper, and 58 of those judges reported receiving paper deliveries. Again, 20 of the PJs for the
same VCs reported that they did not run out of paper at all.
Our investigation has not yet revealed how many of these VCs had to turn voters away due to a paper
shortage. Media reports claimed that a total of 24 VCs (3.1%) ran out of paper and had to turn voters away.
However, the judges at the VCs indicated that they did receive supplemental paper deliveries, and two of
these PJs from these VCs reported they did not run out of paper at all.
Other supplies such as SORs, signs, and provisional ballot envelopes were also delivered throughout the
day.
Overall, while the initial media reports suggested a problem more extensive than what the EAO has
been able to confirm, the EAO will continue reviewing the processes and will implement systems to
ensure this type of challenge is never encountered in the future.


Poll Closing Analysis

       Extended Polling Hours

At 6:00pm on Election Night, the Central Count Tabulation Supervisor was preparing to release Early
Voting and Ballot by Mail tabulation results at 7:00pm when a Court Order was entered that required all
polling locations to extend operating hours until 8:00pm. Shortly after the Order, EAO staff contacted all
locations through the following methods:
      The messaging Console via the ePollbook console – The EAO advised every VC about the Order to
       stay open one additional hour;
      The EAO emailed every PJ and AJ with the details of the Order and instructed all judges that they
       would need to vote every voter who arrived after 7:00pm with a Provisional Ballot;
      The EAO staff called as many judges as they could reach within the limited time, for a total of 445
       calls made; and
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      The EAO dispatched staff to deliver provisional balloting materials, SORs and additional ballot
       paper.
This extension heavily burdened the PJs, AJs, clerks, and EAO staff. As a result of the Order, all voters
who entered the line after 7:00pm were required to vote a Provisional Ballot. These Provisional Ballots are
referred to as “extended hours” provisional ballots or “#5s”. The Order extending hours was later suspended
by the Texas Supreme Court, although that Texas Supreme Court Order came after 8:00pm and thus only
prevented voters who were in line at that time, but had not yet voted from casting a ballot.
The #5 Provisional Ballots were segregated from the regular Provisional Ballots and per order of the Texas
Supreme Court were counted in a segregated manner and their totals were added in during the final Canvas.
The Canvas includes a separate report of “extended hours” Provisional Ballots that were cast and counted
as a result of the extended voting hours as ordered by the Texas Supreme Court.
Election Night Vote Center Election Returns

The EAO deployed its election returns County driver program for the General Election. As part of the
program, the EA advised all PJs that it was their responsibility to deliver the VC election returns to Central
Count. The EAO offered a County driver to any PJ that did not want to drive their election returns into
Central Count. The PJs were not required to accept a driver, however, they had to notify the EAO staff prior
to Election Day, so that staff could ensure the election returns would be timely received at Central Count.
The Harris County Republican Party advised that all of their PJs would not participate in the County driver
program and would deliver their respective election returns to Central Count, although several of their PJs
requested and received a driver.

The EAO staff recruited law enforcement, county employees, PJs, AJs and clerks to deliver election returns
to Central Count on Election night. As a result of planning and recruiting, 430 judges delivered their election
returns to NRG, and the remainder were transported by the County driving program.

Central Count received the first Election Day returns from the VCs at 8:45pm on election night. The last
election returns were received at 3:30am. Eighty-one VCs did not return all the items, i.e., the hard-shell
ballot boxes (all ballot bags were returned) and a few different election forms. The EAO deployed Hotshot
drivers out the next day to retrieve the items that were left in the equipment cart at the various VCs or in the
room with the equipment cart.

VI. Election Night Tabulation and Post-Election Activities

The EAO’s goals on election night was to count votes accurately and quickly, and to publish the unofficial
preliminary election results in a clear, accurate, and timely manner throughout the tabulation process.

The EAO established the following processes for communicating with the public and the media: (1) it
operated a media observation section to allow all reporters to observe the election night tabulation process
(2) it provided hard copies of each summary report to the media and any Poll watcher waiting to see the
results (3) it displayed the election results on the website using an election night reporting tool and (4) its
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Public Information Officer and the Administrator interacted with the media throughout the tabulation
process.

Preliminary Reconciliation Form

At the completion of tabulating Election Day returns, the Ballot Board and the EAO published the 1st
Preliminary Election Reconciliation – Unofficial Totals form (dated 11/10/22), which provides a snap-shot
of election records at the end of election night. This is an early unofficial report of the number of voters and
the number of ballots tallied for the November 8, election. However, this report is not an accurate reflection
of voter turnout and ballots counted because it does not include information related to the number of ballots
the Board is still processing related to emergency slot ballots, timely received Mail Ballots in the possession
of the Ballot Board, Mail Ballots that are still in the USPS system that are postmarked on Election Day and
that can arrive by 5:00pm the next day.17 Additionally, the Preliminary Election Reconciliation form does
not take into account the number of Limited Ballot Voters, a complete reconciliation of the voters who
checked in on the ePollbook system, the list of omitted voters, and a complete reconciliation of Mail Ballots
received, accepted and rejected.

The day after election night, EAO staff and the Central Count Ballot Board continued processing election
returns, including Provisional Ballots, Mail Ballots18 and emergency slot ballots that were received on
Election Day. At the end of the 24-hour tabulation period, the EAO sought an extension of the 24-hour
tabulation period in order to process the remaining Mail Ballots that were received on Election Day. The
District Court issued an Order to extend the 24-hour period for a day. The Ballot Board completed
processing the mail ballots the next day.

Election Reconciliation – Official Totals Form

The Ballot Board and Voter Registrar continued processing Provisional Ballots until November 1819, after
which the Ballot Board and the EAO published the second reconciliation form dated November 18, 2022 -
Election Reconciliation Form - Official Totals. Again, this is a snapshot in time of the reconciliation process;
the complete Canvass is required to be submit to the Secretary of State no later than November 22, 202220.
Section 6 of the November 18 Reconciliation Form included miscalculations between the number of Mail
Ballots mailed out compared to the number of ballots counted in Section 3, Box K.

After the Ballot Board completed its activities on November 18, 2022, the EAO recognized the error, but
did not try to reconvene the Ballot Board because the complete canvass would be submitted to the Secretary
of State by November 22, 2022.

The EAO has communicated Election results to the Secretary of State in the Harris County Canvass
Reconciliation Comparison Report. The EAO does not believe the Reconciliation Form as designed

17
   TEC Sec. 86.007
18
   TEC Sec 86.007
19
   TEC 65.051
20
   TEC Sec. 67.001
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provides an accurate accounting of voters, ballots and vote tallies because it is not designed to account for
all the various counting processes that occur during the Canvass. As an example, the ballot totals do not
include Orphan ballots. (An Orphan Ballot is a Mail Ballot that is returned in a voter’s Mail Ballot envelope
that is missing the 1st page.) In some instances, spouses or voters in the same household mix up their ballot
pages, thus creating orphan pages that are counted separately. The Ballot Board counts the votes, but these
ballot pages are not reflected in the ballot counted column. Additionally, voters who mail their Mail Ballot
carrier envelope back without a ballot inside get credit for voting, but there is no ballot to count, thus the
voter to ballot count does not match. In other instances, voters leave the EVC and VC with their ballot in
their possession, thus there is a voter history for the voter on the ePollbook or on the Omissions list, but no
ballot to count, and voters check in at the Vote Center with no intention of casting a ballot, but simply want
credit for voting.

These type of voting patterns are not captured on the Reconciliation Form, so the form very seldom
reconciles to an accurate voter to ballot ratio.

After completing the Canvass, the EAO staff immediately turned to the Partial Manual Count.

Partial Manual Count

After each election, the EAO is required to conduct a Partial Manual Count21 (“PMC”), which is a hand
count of designated precincts and ballot contests from the Secretary of State. The EAO must begin the PMC
no later than 72 hours after Election Day and must complete the count within 21 days of its beginning. Due
to Harris County’s size and volume of ballots, multiple departments are required to assist in completion of
the PMC.

For county wide elections, a minimum of 70 staff members are required on site. These staff members worked
on multiple ballot bags in order to complete the PMC in time before the 21-day deadline. The EAO staff
was unable to begin the process until Nov 14 due to Veterans Day Holiday and SOS technical difficulties.
Over 80 EAO staff participated in the PMC from Nov 14- Dec 1, for 12-hrs per day, totaling approximately
168 hours each (not including the Thanksgiving holiday). The PMC was conducted over the course of 20
days. These employees spent an estimated cumulative total of 8,400 man-hours conducting the PMC.

VII. Proposed EAO Actions

Early assessments suggest that operational systems are in immediate need of upgrades or replacements.
Initial discussions are focusing on:
          Communications to and from Vote Centers – there is no real time visibility within any call and
           response situation from the VC to EAO and no real time visibility to determine whether any solution
           was provided. A real time ticket and resolution system is needed to close the gap on any requests
           from a EVC or VC;

21
     TEC Sec. 127.201

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      Voting system set-up and operation must be scrutinized with an eye toward simplifying the set-up
       and operational processes to ensure early morning set-up and opening can be accomplished;
      Additional full-time personnel to manage the many moving parts of this operation is critical. One
       time funding is not the answer to this situation; sustained and dedicated administrative funding is
       imperative;
      Resources to adequately cover 782 VCs throughout 1,700 square miles of the county by temporary
       technical support without the tools to properly manage them is critical;
      Deploy systems and tools to improve the allocation of resources across VCs;
      Deploy voting system software upgrade that eliminates the Controller not found issue experienced
       by all 782 VCs;
      Review operational solutions with vendor to address paper jams on the Duo and with the Scan;
      Review AWS system solutions with ePollbook vendor to assure redundant systems to prevent
       system degradation on Election Day;
      Deploy tracking and communications solution to allow for VC visibility on technical issues and
       supplies distribution with responses to the technical tickets including those created at VCs.
As additional information becomes available, the EAC will continue to make process improvements and
recommendations.




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                                                                                                Tatum_005233
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                                                                                         Attachment 1
                                                                            Early Voting Equipment Allocations ‐ 1122


                                                                                                                                    ED Scans (For           Initial Ballot   Adjusted Ballot    ED Clerk
ED Poll Code EV Identifier EV CC                             Location                                   Duos Controllers EV Scans                   DuoGo
                                                                                                                                    EV Locations)           Paper Packet      Paper Packets    Allocation

  11033       SRD138M    EV   3     Holiday Inn Express & Suites Houston Memorial ‐ City Centre          28       4         2            1            1           37              74              7
  11037       SRD139A    EV   1                  Acres Homes Multi Service Center                        28       4         2            1            2           82              165             8
  11045       SRD148F    EV   3          Fairfield Inn and Suites Houston NW Willowbrook                 24       3         2            1            1           30              61              7
  11061       SRD141C    EV   1                   Northeast Multi‐Service Center                         20       3         2            1            4           37              74              7
  11067       SRD148H    EV   4                      The Grand Tuscany Hotel                             24       3         2            1            1           32              65              8
  11091       SRD148B    EV   4                Sheraton Houston Brookhollow Hotel                        24       3         2            1            1           28              56              8
  11107       SRD132K    EV   4              Katy Branch Harris County Public Library                    24       3         2            1            1           37              74              8
  11122       SRD130C    EV   3                  Juergens Hall Community Center                          34       5         2            2            3           37              74              6
  11123       SRD146T    EV   1                             NRG Arena                                    20       3         2            1            1           37              74              7
  11137       SRD132C    EV   4                     Hockley Community Center                             26       4         2            1            1           19              38              7
  11145       SRD139V    EV   1                  Lone Star College Victory Center                        20       3         2            1            1           62              124             8
  11168        SRD138J   EV   3                   John Knox Presbyterian Church                          28       4         2            1            1           37              74              8
  21013       SRD130M    EV   3             Samuel Matthews Park Community Center                        28       4         2            1            1           37              74              7
  21028       SRD126M    EV   3                           Masjid AlSalam                                 28       4         2            1            1           37              74              7
  21071       SRD127V    EV   2                          Victory Houston                                 20       3         2            1            1           37              74              7
  21074       SRD140B    EV   2                  BakerRipley East Aldine Campus                          24       3         2            1            1           17              33              8
  21085        SRD140    EV   2                 Hardy Street Senior Citizens Center                      20       3         2            1            1           28              56              8
  21102       SRD141G    EV   1                 Green House International Church                         20       3         2            1            1           14              27              7
  21113       SRD141L    EV   1                   Lone Star College North Harris                         20       3         2            1            1           22              44              10
  21131       SRD145N    EV   2               Houston Community College Northline                        20       3         2            1            1           5               10              7
  21151       SRD140N    EV   2                   North East Community Center                            20       3         2            1            1           37              74              7
  31022       SRD143R    EV   2           Neighborhood Centers Inc Ripley House Campus                   20       3         2            1            1           37              74              6
  31024       SRD139H    EV   1                     HCC North Forest Campus                              20       3         2            1            1           30              60              8
  31030       SRD142C    EV   1                     C. E. King 9th Grade Center                          20       3         2            1            1           37              74              8
  31066       SRD128Z    EV   3                       Crosby Branch Library                              24       3         2            1            1           37              74              7
  31072       SRD142G    EV   1                San Jacinto College Generation Park                       20       3         2            1            1           37              75              7
  31082       SRD141U    EV   3                        Humble Civic Center                               34       5         2            2            1           37              74              7
  31084       SRD128V    EV   3               Vera Brummet May Community Center                          28       4         2            1            1           37              74              7
  41001        SRD144J   EV   2                      John Phelps Courthouse                              20       3         2            1            1           31              63              7
  41005       SRD142W    EV   1                    North Channel Branch Library                          20       3         2            1            1           37              74              7
  41016       SRD143C    EV   2                     Milton Lusk Activity Center                          20       3         2            1            1           37              74              7
  41018       SRD143A    EV   2                 Alvin D Baggett Community Center                         20       3         2            1            1           17              34              7
  41030       SRD128D    EV   2                   J D Walker Community Center                            24       3         2            1            2           27              53              7
  41033       SRD142Z    EV   2                Martin Flukinger Community Center                         20       3         2            1            1           12              23              7
  41041        SRD128J   EV   3                   San Jacinto Community Center                           28       4         2            1            1           37              74              7
  41046       SRD142A    EV   3                 Riley Chambers Community Center                          26       4         2            1            1           37              74              8
  51013       SRD144R    EV   2               Cleveland Ripley Neighborhood Center                       20       3         2            1            1           37              74              8
  51028       SRD129U    EV   2                      Freeman Branch Library                              32       5         2            2            2           37              74              7
  51038       SRD129D    EV   2                  University of Houston Clear Lake                        24       3         2            1            2           37              74              7
  51051       SRD129X    EV   2              Forest Bend Homeowners Association Inc                      20       3         2            1            1           37              74              9
  51060       SRD128F    EV   2                    Evelyn Kennedy Civic Center                           20       3         2            1            1           35              70              7
  51061       SRD143B    EV   2                    Baytown Community Center                              24       3         2            1            2           79              159             7
  61001       SRD129W    EV   2                        Webster Civic Center                              24       3         2            1            2           37              74              8
  61011       SRD129S    EV   2                   Harris County Scarsdale Annex                          20       3         2            1            1           87              174             7
  61012       SRD129E    EV   1                  El Franco Lee Community Center                          20       3         2            1            1           38              75              7
  61031       SRD146C    EV   1                  Saint Philip Neri Catholic Church                       20       3         2            1            1           25              50              7
  61033       SRD145H    EV   2               City of South Houston Municipal Court                      20       3         2            1            1           10              20              7
  61045       SRD131C    EV   1                  The Collective‐The Power Center                         20       3         2            1            1           37              74              7
  61050        SRD131    EV   1                  Hiram Clarke Multi Service Center                       24       3         2            1            2           37              74              7
  61055       SRD131T    EV   1           Tom Bass Park Community Center Section Three                   20       3         2            1            1           37              74              8
  61059       SRD146S    EV   1                   Sunnyside Multi Service Center                         20       3         2            1            1           37              74              7
  71011       SRD149H    EV   4                          HCC Alief Center                                26       4         2            1            1           22              43              7
  71013       SRD149X    EV   4                    Mission Bend Islamic Center                           26       4         2            1            1           9               18              7
  71022       SRD131R    EV   4                      Raindrop Turkish House                              26       4         2            1            1           37              74              8
  71072       SRD149B    EV   4                  Alief ISD Administration Building                       30       4         2            1            1           66              131             7
  71074       SRD131P    EV   1                       Fountain of Life Center                            20       3         2            1            1           37              74              8
  72079       SRD137E    EV   4                        Chinese Civic Center                              26       4         2            1            1           37              74              8
  81024        SRD133    EV   4                     Nottingham Park Building                             26       4         2            2            1           37              74              7
  81042       SRD132F    EV   4               Hampton Inn and Suites Houston Katy                        26       4         2            1            2           37              74              7
  81063       SRD149L    EV   4              Alief ISD Center for Talent Development                     24       3         2            1            1           37              74              8
  91001       SRD001C    EV   2                  University of Houston‐Downtown                          24       3         2            1            1           37              74              7
  91009       SRD147T    EV   1                     Texas Southern University                            26       4         2            1            2           10              20              7
  91010       SRD147U    EV   1                University of Houston Student Center                      20       3         2            1            1           37              74              8
  91011       SRD147S    EV   1                  Wheeler Avenue Baptist Church                           20       3         2            1            1           4                8              8
  91032       SRD142K    EV   1                   Kashmere MultiService Center                           20       3         2            1            1           44              87              7
  91043       SRD145C    EV   2                  HCC Southeast College Building D                        20       3         2            1            1           47              95              8
  91052       SRD145M    EV   2                   Moody Park Community Center                            24       3         2            1            2           51              102             7
  91064        SRD134I   EV   4               Hampton Inn and Suites Katy Freeway                        26       4         2            1            1           37              74              8
  91073       SRD143K    EV   2                 Denver Harbor Community Center                           20       3         2            1            1           37              74              6
  91093       SRD134S    EV   1          John P McGovern Texas Medical Center Commons                    20       3         2            1            1           31              61              8
  91101       SRD147Z    EV   1       Shrine of the Black Madonna Cultural and Event Center              24       3         2            1            1           37              74              9
  91122       SRD147E    EV   1                   West End Multi Service Center                          20       3         2            1            1           20              39              7
  91127       SRD134B    EV   4                  Girl Scouts of San Jacinto Council                      26       4         2            1            1           37              74              7
  91134       SRD134G    EV   4      La Quinta Inn & Suites by Wyndham Houston Galleria Area             26       4         2            1            1           37              74              7
  11003       SRD135S    EV   4                  Steve Radack Community Center                           28       4         2            2            2          108              217             7
  11072       SRD138C    EV   3          City Jersey Village Municipal Government Center                 36       5         3            2            1          132              264             7
  11112       SRD130L    EV   3               Saint John Lutheran Church and School                      26       4         2            2            1           37              74              8
  11125       SRD132P    EV   4         John Paul Landing Environmental Education Center                 24       3         2            2            1           37              74              8
  11134       SRD135W    EV   4            Richard and Meg Weekley Community Center                      60       6         3            2            2          157              313             6
  11158       SRD138S    EV   3                Trini Mendenhall Community Center                         60       6         3            2            3          186              372             8
  11167       SRD126P    EV   3               Prairie View A&M University Northwest                      28       4         2            2            1          141              282             7
  21009       SRD130T    EV   3                   Tomball Public Works Building                          60       6         3            2            1           37              74              7
  21010       SRD150L    EV   3                     Lone Star College Creekside                          28       4         2            2            1           75              151             7
  21021       SRD150X    EV   1                     Hosanna Lutheran Church                              20       3         2            2            1           37              74              7
  21030       SRD150K    EV   3                     Klein Multipurpose Center                            36       5         3            2            2          102              205             7
  21038       SRD126C    EV   3                     HCPL Barbara Bush Branch                             26       4         2            2            2           37              74              8
  21042       SRD150C    EV   3                   Above and Beyond Fellowship                            30       4         2            2            1           86              173             7
  21088       SRD139F    EV   1                          Fallbrook Church                                28       4         2            2            2           90              180             7
  21119       SRD150B    EV   3                          Big Stone Lodge                                 30       4         2            2            1           75              151             7
  31059       SRD127Y    EV   3                    Kingwood Community Center                             60       6         3            2            3           37              216             6

                                                                                                                                                                              Tatum_005234
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                                                                                                                                          ED Scans (For           Initial Ballot   Adjusted Ballot    ED Clerk
ED Poll Code EV Identifier EV CC                                  Location                                    Duos Controllers EV Scans                   DuoGo
                                                                                                                                          EV Locations)           Paper Packet      Paper Packets    Allocation

  31080       SRD127E    EV   3    Holiday Inn Express & Suites Atascocita ‐ Humble ‐ Kingwood an IHG Hotel    26       4         2            2            1           37              74               8
  51017       SRD128P    EV   2                       East Harris County Activity Center                       30       4         2            2            2          161              321              8
  71060       SRD137B    EV   4                        Bayland Park Community Center                           36       5         3            2            1          122              244              7
  71066       SRD134W    EV   1                             HCC West Loop South                                20       3         2            2            1           37              74               7
  81008       SRD137T    EV   4                         Tracy Gee Community Center                             30       4         2            2            2           37              74               7
  81046       SRD132D    EV   4                    HCPL Maud Smith Marks Branch Library                        26       4         2            2            1           37              74               7
  81054       SRD133Z    EV   3                          First Congregational Church                           26       4         2            2            1           37              74               6
  91065       SRD134M    EV   1                       Metropolitan MultiService Center                         60       7         3            2            3          252              504              7
  91109        SRD145J   EV   1                              SPJST Lodge Num 88                                28       4         2            2            2           37              74               7




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                                                                        Attachment 2
                                                           Election Day Equipment Allocations ‐ 1122

                                                                                                                Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                          Location                         Duos Controllers ED Scans DuoGo
                                                                                                               Paper Packets      Paper Packets    Allocation     Projection
  12001     ED   4                    Iglesia Bautista Redencion              12      2         1       1            3                 6               6            600
  12002     ED   4                     Lieder Elementary School               12      2         1       1            3                 6               6            600
  12003     ED   1                        Glorious Way Church                 10      2         1       1            3                 6               6            600
  12004     ED   4              ISGH Bear Creek Community Center              12      2         1       1            3                 6               6            600
  12005     ED   4      To Be Determined (Autumn Creek Baptist Church)        10      2         1       1            3                 6               6            600
  12006     ED   4                   Ronnie Truitt Middle School              12      2         1       1            3                 6               6            600
  12007     ED   4                  Katherine Tyra Branch Library             12      2         1       1            3                 6               6            600
  12009     ED   4     To Be Determined (Mayde Creek Junior High School)      13      2         1       1            3                 6               6            600
  12010     ED   4      New Westlake Volunteer Fire Department Station        12      2         1       1            3                 6               6            600
  12011     ED   4                     Mayde Creek High School                12      2         1       1            3                 6               6            600
  12012     ED   4       Korean Central Presbyterian Church of Houston        12      2         1       1            3                 6               6            600
  12013     ED   4                      True Grace Bible Church               12      2         1       1            3                 6               6            600
  12014     ED   4                    Metcalf Elementary School               12      2         1       1            3                 6               6            600
  12015     ED   4                     Tipps Elementary School                10      2         1       1            3                 6               6            600
  12016     ED   4                   Julia W Kahla Middle School              12      2         1       1            3                 6               6            600
  12018     ED   3                  West Houston Church of Christ             16      2         1       1            8                 17              6            1667
  12019     ED   3                        Labay Middle School                 14      2         1       1            3                 6               6            600
  12020     ED   4                   Holmsley Elementary School               12      2         1       1            3                 6               6            600
  12021     ED   3                      Christ Covenant Church                16      2         1       1            3                 6               6            600
  12022     ED   3                         Copperfield Church                 13      2         1       1            3                 6               6            600
  12023     ED   3                    Owens Elementary School                 14      2         1       1            3                 6               6            600
  12024     ED   3                     Birkes Elementary School               12      2         1       1            3                 6               6            600
  12027     ED   3                Northpointe Intermediate School             14      2         1       1            3                 6               6            600
  12028     ED   3                  Wildwood Elementary School                12      2         1       1            3                 6               6            600
  12029     ED   4                    Rosehill Elementary School              12      2         1       1            3                 6               6            600
  12031     ED   4                Canyon Pointe Elementary School             10      2         1       1            3                 6               6            600
  12032     ED   4            To Be Determined (Encourager Church)            10      2         1       1            3                 6               6            600
  12034     ED   3                Shadow Oaks Elementary School               12      2         1       1            3                 6               6            600
  12035     ED   1          Independence Heights Community Center             10      2         1       1            3                 6               6            600
  12036     ED   1               John F Kennedy Elementary School             10      2         1       1            3                 6               6            600
  12037     ED   1                    HCC Acres Homes Campus                  10      2         1       1            3                 6               6            600
  12038     ED   1                      Josie Ruth Smith School               10      2         1       1            3                 6               6            600
  12039     ED   1                    Wesley Elementary School                10      2         1       1            3                 6               6            600
  12040     ED   1                Highland Park Recreation Center             10      2         1       1            3                 6               6            600
  12041     ED   1             Saint Pauls Missionary Baptist Church          10      2         1       1            3                 6               6            600
  12042     ED   1                        Houston Liederkranz                 10      2         1       1            3                 6               6            600
  12043     ED   2                   High School Ahead Academy                10      2         1       1            3                 6               6            600
  12044     ED   3                      Campbell Middle School                10      2         1       1            3                 6               6            600
  12046     ED   3                       Iglesia Trinidad Church              14      2         1       1            3                 6               6            600
  12047     ED   3                    Gleason Elementary School               14      2         1       1            3                 6               6            600
  12048     ED   3                  Charles B Cook Middle School              10      2         1       1            3                 6               6            600
  12049     ED   3                Ramona Bang Elementary School               14      2         1       1            3                 6               6            600
  12050     ED   1                 Frazier Elementary School CFISD            10      2         1       1            3                 6               6            600
  12051     ED   3       To Be Determined (Willbern Elementary School)        12      2         1       1            3                 6               6            600
  12052     ED   3              SpringHill Suites Northwest‐Cypress           12      2         1       1            3                 6               6            600
  12053     ED   3                      Kirk Elementary School                12      2         1       1            3                 6               6            600
  12054     ED   3                 Cypress Fairbanks Funeral Home             12      2         1       1            3                 6               6            600
  12055     ED   3                   Wortham Village Clubhouse                12      2         1       1            3                 6               6            600
  12056     ED   3              Barwood Home Owners Clubhouse                 13      2         1       1            3                 6               6            600
  12057     ED   3             Thomas M Danish Elementary School              16      2         1       1            3                 6               6            600
  12058     ED   3                    Emmott Elementary School                12      2         1       1            3                 6               6            600
  12059     ED   3               Homewood Suites by Hilton CyFair             14      2         1       1            3                 6               6            600
  12060     ED   3                    Matzke Elementary School                14      2         1       1            3                 6               6            600
  12062     ED   3                  Lakewood Elementary School                14      2         1       1            3                 6               6            600
  12064     ED   3                       Norchester Clubhouse                 14      2         1       1            3                 6               6            600
  12065     ED   3                         Bleyl Middle School                12      2         1       1            3                 6               6            600
  12068     ED   1     To be Determined (Windfern Forest Utility Building)    10      2         1       1            3                 6               6            600
  12069     ED   1                          Rolling Fork Club                 10      2         1       1            3                 6               7            600
  12070     ED   1                 Saint Matthews Catholic Church             10      2         1       1            3                 6               6            600
  12071     ED   1                Willie B Ermel Elementary School            10      2         1       1            3                 6               6            600
  12073     ED   3               Greater Macedonia Baptist Church             14      2         1       1            3                 6               6            600
  12075     ED   3            Lafaye Johnson Lee Elementary School            14      2         1       1            3                 6               6            600
  12076     ED   3              Carverdale Park Community Center              13      2         1       1            3                 6               7            600
  12077     ED   3              Korean Christian Church of Houston            14      2         1       1            3                 6               6            600
  12079     ED   4                     Clay Road Baptist Church               13      2         1       1            3                 6               6            600
  12080     ED   4                  Hollibrook Elementary School              12      2         1       1            3                 6               6            600
  12081     ED   3                    Northbrook Middle School                14      2         1       1            3                 6               6            600
  12082     ED   4                Buffalo Creek Elementary School              9      2         1       1            3                 6               6            600
  12083     ED   3                  Northbrook Senior High School             14      2         1       1            3                 6               6            600
  12084     ED   3        To Be Determined (Spring Woods High School)         10      2         1       1            3                 6               6            600
  12085     ED   3                   Spring Woods Middle School               16      2         1       1            3                 6               6            600
  12086     ED   3                Spring Branch Elementary School             12      2         1       1            3                 6               6            600
  12087     ED   4                           Oyo Townhouse                    12      2         1       1            3                 6               6            600


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                                                                                                               Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                         Location                         Duos Controllers ED Scans DuoGo
                                                                                                              Paper Packets      Paper Packets    Allocation     Projection
  12088     ED   1                    Northwest Church of Christ             10      2         1       1             3                6               6            600
  12089     ED   1                        Clifton Middle School               9      2         1       1             3                6               6            600
  12090     ED   1                 Wainwright Elementary School              10      2         1       1             3                6               6            600
  12092     ED   2                       Hill Elementary School              10      2         1       1             3                6               6            600
  12093     ED   2           Armandina Farias Early Childhood Center         10      2         1       1             3                6               6            600
  12094     ED   4                Lone Star College Cypress Center           12      2         1       1             3                6               6            600
  12095     ED   4            To Be Determined (Cardiff Junior High)         13      2         1       1             3                6               6            600
  12096     ED   4                        First Christian Church             12      2         1       1             3                6               6            600
  12097     ED   4                    Hyatt Place Houston/Katy               12      2         1       1             3                6               6            600
  12099     ED   4                      Thornton Middle School               10      2         1       1             3                6               6            600
  12100     ED   4                      Harris County Annex 57               12      2         1       1             3                6               6            600
  12101     ED   4     To Be Determined (T H McDonald Junior High School)    13      2         1       1            12                24              6            2400
  12102     ED   4                     Jowell Elementary School              12      2         1       1             3                6               6            600
  12103     ED   4                    McFee Elementary School                12      2         1       1             3                6               6            600
  12104     ED   4                    Morton Ranch High School               12      2         1       1             3                6               6            600
  12105     ED   4           Sandra Bales Walker Elementary School           12      2         1       1             3                6               6            600
  12106     ED   4                            Legacy Stadium                 12      2         1       1             3                6               6            600
  12108     ED   4         To Be Determined (Katy Junior High School)        13      2         1       1             3                6               6            600
  12109     ED   4                           Katy Civic Center               12      2         1       1             3                6               6            600
  12113     ED   3                       Spillane Middle School              12      2         1       1             3                6               6            600
  12114     ED   3                 Royce Black Elementary School             14      2         1       1             3                6               7            600
  12115     ED   3                  Saint Marys Episcopal Church             14      2         1       1             3                6               6            600
  12117     ED   3                      Hamilton Middle School               14      2         1       1             3                6               6            600
  12118     ED   3                Cypress Fairbanks Exhibit Center           16      2         1       1             3                6               6            600
  12119     ED   3                      HCPL Northwest Library               14      2         1       1             3                6               6            600
  12120     ED   3                      Goodson Middle School                14      2         1       1             3                6               6            600
  12121     ED   3                   Sampson Elementary School               12      2         1       1             3                6               6            600
  12123     ED   3                Cypress Crossing Christian Center          12      2         1       1             3                6               6            600
  12124     ED   3                      Fairfield Baptist Church             12      2         1       1             3                6               6            600
  12126     ED   3           Woodie Coker Andre Elementary School            12      2         1       1             3                6               6            600
  12127     ED   3                      Lakeland Activity Center             14      2         1       1             3                6               6            600
  12128     ED   4              Berry Center of Northwest Houston            10      2         1       1             3                6               6            600
  12129     ED   3               Cy Fair College Library at Lone Star        12      2         1       1             3                6               6            600
  12130     ED   4                    Postma Elementary School               12      2         1       1             3                6               6            600
  12131     ED   3                       Salyards Middle School              18      2         1       1             3                6               6            600
  12132     ED   3                       Hopper Middle School                14      2         1       1             3                6               6            600
  12133     ED   3                      Pope Elementary School               14      2         1       1             3                6               6            600
  12135     ED   3                   Woodard Elementary School               12      2         1       1             3                6               6            600
  12136     ED   3                      Ault Elementary School               12      2         1       1             3                6               6            600
  12138     ED   1                    Harper Alternative School              10      2         1       1             3                6               6            600
  12139     ED   1              Candlelight Park Community Center             9      2         1       1             3                6               6            600
  12140     ED   1                  Oak Forest Elementary School             10      2         1       1             3                6               6            600
  12142     ED   1                         Waltrip High School               10      2         1       1             3                6               6            600
  12143     ED   1                   B T Washington High School               9      2         1       1             3                6               6            600
  12144     ED   1                 Lincoln Park Community Center             10      2         1       1             3                6               6            600
  12146     ED   1                   First New Hope Bible Church             10      2         1       1             3                6               6            600
  12148     ED   1                     Nitsch Elementary School              10      2         1       1             3                6               6            600
  12149     ED   1                 Eisenhower Senior High School             10      2         1       1             3                6               6            600
  12150     ED   1            Walter and Inez Stovall EC/PK/K School         10      2         1       1             3                6               6            600
  12152     ED   1            G W Carver Contemporary High School            10      2         1       1             3                6               6            600
  12153     ED   1                      A B Anderson Academy                 10      2         1       1             3                6               6            600
  12154     ED   3                  Woodview Elementary School               12      2         1       1             3                6               6            600
  12155     ED   4                      Landrum Middle School                12      2         1       1             3                6               6            600
  12156     ED   4               Treasure Forest Elementary School           12      2         1       1             3                6               6            600
  12157     ED   4                   Housman Elementary School               12      2         1       1             3                6               6            600
  12159     ED   4                        Freed Park Clubhouse               12      2         1       1             3                6               6            600
  12160     ED   3                 Valley Oaks Elementary School             12      2         1       1             3                6               6            600
  12161     ED   3                   City of Spring Valley City Hall         16      2         1       1             3                6               6            600
  12162     ED   3                World Changers Church Houston              12      2         1       1             3                6               6            600
  12166     ED   3              Quality Suites Cy‐Fair at Jones Road         14      2         1       1             3                6               6            600
  12169     ED   3                             Image Church                  14      2         1       1             3                6               6            600
  12170     ED   3                       Cypress VFW Post 8905               12      2         1       1             3                6               6            600
  12171     ED   3                   Francone Elementary School              12      2         1       1             3                6               6            600
  12172     ED   3                 Chimney Hill Community Center             10      2         1       1             3                6               6            600
  12173     ED   3             Fairwood Recreation Center and Pool           12      2         1       1             3                6               6            600
  12174     ED   4               Deerfield Village Recreation Center         12      2         1       1             3                6               6            600
  12175     ED   3              Lakewood United Methodist Church             14      2         1       1             3                6               6            600
  12176     ED   3                           The MET Church                  12      2         1       1             3                6               8            600
  12177     ED   3                    Millsap Elementary School              12      2         1       1             3                6               6            600
  12178     ED   4                     Graceview Baptist Church              12      2         1       1             3                6               6            600
  12179     ED   4      To Be Determined (Patricia E. Paetow High School)    12      2         1       1             3                6               6            600
  12180     ED   4                Roberts Road Elementary School             12      2         1       1             3                6               6            600
  12181     ED   4              Wayne C. Schultz Junior High School          12      2         1       1             3                6               6            600


                                                                                                                                                          Tatum_005237
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                                                                                                                  Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                           Location                          Duos Controllers ED Scans DuoGo
                                                                                                                 Paper Packets      Paper Packets    Allocation     Projection
  22001     ED   1                      Calvary Hills Funeral Home               9      2         1       1            3                 6               6            600
  22002     ED   3                       Ogden Elementary School                12      2         1       1            3                 6               6            600
  22003     ED   3                  Cypresswood Elementary School               16      2         1       1            3                 6               6            600
  22004     ED   3                          Arnold Middle School                12      2         1       1            3                 6               6            600
  22005     ED   1                                Ramada Inn                    10      2         1       1            3                 6               6            600
  22006     ED   3                  Humble ISD Collaboration Center             14      2         1       1            6                 12              6            1200
  22007     ED   1        Holiday Inn Houston Intercontinental Airport Hotel    10      2         1       1            3                 6               6            600
  22008     ED   3                    Tomball Intermediate School               12      2         1       1            3                 6               6            600
  22011     ED   3                 Creekside Park Junior High School            12      2         1       1            3                 6               6            600
  22012     ED   3                   First Baptist Church of Tomball            12      2         1       1            3                 6               6            600
  22014     ED   3                  Bernshausen Elementary School               15      2         1       1            9                 18              6            1762
  22015     ED   3                     Kohrville Elementary School              14      2         1       1            3                 6               6            600
  22016     ED   3                       Zwink Elementary School                12      2         1       1            3                 6               6            600
  22017     ED   3                       French Elementary School               12      2         1       1            3                 6               6            600
  22018     ED   3                        Londonderry Clubhouse                 14      2         1       1            8                 16              6            1600
  22019     ED   3              Northampton MUD Community Center                14      2         1       1            3                 6               7            600
  22020     ED   3                          Klein Oak High School               14      2         1       1            3                 6               6            600
  22022     ED   3                   The R.E.A.L. Church of Houston             12      2         1       1            3                 6               7            600
  22023     ED   1          The Abiding Word Lutheran Church and School         10      2         1       1            3                 6               6            600
  22024     ED   1                   Helen Major Elementary School              10      2         1       1            3                 6               6            600
  22025     ED   1                    Eickenroht Elementary School              10      2         1       1            3                 6               6            600
  22026     ED   3     Bridgestone MUD Operations & Water Education Center      12      2         1       1            3                 6               6            600
  22027     ED   3                     Ehrhardt Elementary School               16      2         1       1            3                 6               7            600
  22029     ED   3              To Be Determined (Kleb or Mittelstadt)          12      2         1       1            3                 6               7            600
  22031     ED   3                      Hassler Elementary School               14      2         1       1            8                 16              7            1600
  22034     ED   3                       Theiss Elementary School               12      2         1       1            3                 6               6            600
  22035     ED   3                     Doerre Intermediate School               12      2         1       1            3                 6               6            600
  22036     ED   3                         Brill Elementary School              15      2         1       1            3                 6               6            600
  22039     ED   3                      Strack Intermediate School              12      2         1       1            3                 6               6            600
  22040     ED   3                        Frank Elementary School               12      2         1       1            3                 6               6            600
  22041     ED   3                      Kuehnle Elementary School               14      2         1       1            3                 6               6            600
  22042     ED   3                           Spring First Church                12      2         1       1            3                 6               8            600
  22043     ED   3       To Be Determined (Dove Meadows HOA Clubhouse)          10      2         1       1            3                 6               6            600
  22044     ED   3                              Spring Chateau                  12      2         1       1            3                 6               6            600
  22045     ED   3                        Roth Elementary School                14      2         1       1            3                 6               6            600
  22046     ED   3                       Haude Elementary School                14      2         1       1            3                 6               7            600
  22047     ED   3                         Cypressdale Clubhouse                12      2         1       1            3                 6               6            600
  22048     ED   3                       Lemm Elementary School                 14      2         1       1            3                 6               6            600
  22049     ED   3          Cypresswood Community Association Building          16      2         1       1            3                 6               6            600
  22050     ED   2                         Burbank Middle School                10      2         1       1            3                 6               6            600
  22051     ED   2        Independence Hall Apartments Community Room           10      2         1       1            3                 6               6            600
  22052     ED   2                      Herrera Elementary School               10      2         1       1            3                 6               6            600
  22053     ED   2             Harris County Department of Education            10      2         1       1            3                 6               6            600
  22054     ED   2                     Janowski Elementary School               10      2         1       1            3                 6               6            600
  22055     ED   2                           Sendero de la Cruz                 10      2         1       1            3                 6               6            600
  22056     ED   2                    Worsham Elementary School                 10      2         1       1            3                 6               6            600
  22057     ED   2                 Westfield Volunteer Fire Station 2           10      2         1       1            3                 6               6            600
  22058     ED   2                Shady Lane Park Community Center              10      2         1       1            3                 6               6            600
  22059     ED   2                        Berry Elementary School               13      2         1       1            3                 6               6            600
  22060     ED   2                      Roderick Paige Elementary               10      2         1       1            3                 6               6            600
  22061     ED   3                   Saint Timothy Lutheran Church              14      2         1       1            3                 6               6            600
  22062     ED   3       Charterwood MUD Administration Activity Building       13      2         1       1            3                 6               6            600
  22063     ED   3                      Ulrich Intermediate School              12      2         1       1            3                 6               6            600
  22064     ED   1                      Calvert Elementary School                9      2         1       1            3                 6               6            600
  22066     ED   2                          Aldine Middle School                10      2         1       1            3                 6               6            600
  22067     ED   2                Little York Volunteer Fire Station 81         10      2         1       1            3                 6               6            600
  22070     ED   2                        Blanson CTE High School                9      2         1       1            3                 6               6            600
  22072     ED   2               Gloria B Sammons Elementary School             10      2         1       1            3                 6               6            600
  22073     ED   2                          Iglesia Bautista Libre              10      2         1       1            3                 6               6            600
  22075     ED   2                 1st Baptist Church North Houston             10      2         1       1            8                 16              6            1600
  22076     ED   2                      Oleson Elementary School                10      2         1       1            3                 6               6            600
  22077     ED   2             Mary Walke Stephens Elementary School            10      2         1       1            3                 6               6            600
  22078     ED   2                        Black Elementary School               10      2         1       1            3                 6               6            600
  22079     ED   2               Evelyn Thompson Elementary School              10      2         1       1            3                 6               6            600
  22080     ED   2               Pep Mueller County Park Clubhouse              10      2         1       1            3                 6               6            600
  22084     ED   2                  Melrose Park Community Center               10      2         1       1            3                 6               6            600
  22086     ED   2                    American Legion Post No 586               10      2         1       1            3                 6               6            600
  22087     ED   2                    Clark Park Community Center               13      2         1       1            3                 6               6            600
  22090     ED   1          Spring ISD Child Nutrition and Training Center      10      2         1       1            3                 6               6            600
  22091     ED   1                    Thompson Elementary School                10      2         1       1            3                 6               6            600
  22092     ED   1                      Beneke Elementary School                10      2         1       1            3                 6               6            600
  22093     ED   1                          Clark Primary School                10      2         1       1            3                 6               6            600
  22094     ED   1                       Kinsmen Lutheran Church                10      2         1       1            3                 6               6            600


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                                                                                                                        Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                             Location                              Duos Controllers ED Scans DuoGo
                                                                                                                       Paper Packets      Paper Packets    Allocation     Projection
  22095     ED   3        Memorial Chase Home Owners Association Clubhouse            14      2         1       1            3                 6               6            600
  22098     ED   1                          Klenk Elementary School                   10      2         1       1            3                 6               6            600
  22099     ED   1                Northcliffe Manor Community Center                  10      2         1       1            3                 6               6            600
  22100     ED   1               New Destiny Praise and Worship Center                10      2         1       1            3                 6               6            600
  22101     ED   1                         Conley Elementary School                    9      2         1       1            3                 6               6            600
  22103     ED   1                        New Light Christian Center                  10      2         1       1            3                 6               6            600
  22104     ED   1                           Link Elementary School                   10      2         1       1            3                 6               6            600
  22106     ED   1             Richard and Kitty Spence Elementary School             10      2         1       1            3                 6               6            600
  22107     ED   1                          Lewis Elementary School                   10      2         1       1            3                 6               6            600
  22108     ED   3                      Church of Christ in Champions                 13      2         1       1            3                 6               8            600
  22109     ED   3          Huntwick Forest Clubhouse Recreational Facility           14      2         1       1            6                 12              6            1200
  22110     ED   3             Saint Dunstans Episcopal Church Parish Hall            14      2         1       1            3                 6               6            600
  22111     ED   1                      McDougle Elementary School                    10      2         1       1            3                 6               6            600
  22112     ED   1                           Shotwell Middle School                   10      2         1       1            3                 6               6            600
  22114     ED   1                            Dekaney High School                     10      2         1       1            3                 6               6            600
  22116     ED   1                             Nimitz High School                     10      2         1       1            3                 6               6            600
  22117     ED   1                        Cooper Elementary School                    10      2         1       1            3                 6               6            600
  22118     ED   3                   Ginger McNabb Elementary School                  12      2         1       1            3                 6               6            600
  22120     ED   3     To Be Determined (Northgate Crossing Elementary School)        10      2         1       1            3                 6               6            600
  22121     ED   3                        Winship Elementary School                   12      2         1       1            3                 6               6            600
  22122     ED   3                        Twin Creeks Middle School                   12      2         1       1            3                 6               6            600
  22123     ED   3       To Be Determined (Mildred Jenkins Elementary School)         10      2         1       1            3                 6               6            600
  22124     ED   3                       Anderson Elementary School                   12      2         1       1            3                 6               6            600
  22127     ED   3                  Wells Middle School Auxiliary Gym                 12      2         1       1            3                 6               6            600
  22128     ED   1              Comfort Inn & Suites FM1960‐Champions                  9      2         1       1            3                 6               6            600
  22129     ED   3                    Carl Wunsche Senior High School                 10      2         1       1            3                 6               6            600
  22130     ED   2                 Iglesia Bautista Caminando con Jesus               10      2         1       1            3                 6               6            600
  22132     ED   3                         Yeager Elementary School                   12      2         1       1            3                 6               6            600
  22134     ED   1                         Eiland Elementary School                   10      2         1       1            3                 6               6            600
  22148     ED   2                     De Chaumes Elementary School                   10      2         1       1            3                 6               6            600
  22149     ED   2                        Moreno Elementary School                    10      2         1       1            3                 6               6            600
  22150     ED   1                          Plummer Middle School                     10      2         1       1            3                 6               6            600
  22152     ED   1                     Champions Community Church                     13      2         1       1            3                 6               6            600
  22153     ED   1                    Spring ISD Transportation Center                10      2         1       1            3                 6               6            600
  22154     ED   3                     Timber Lane Community Center                   12      2         1       1            3                 6               6            600
  22155     ED   2                              ULH Event Center                      10      2         1       1            3                 6               6            600
  22156     ED   1                      Thompson Elementary School                    10      2         1       1            3                 6               6            600
  22157     ED   1                         Adel Road Islamic Center                    9      2         1       1            3                 6               6            600
  32003     ED   3            To Be Determined (Atascocita Branch Library)            12      2         1       1            3                 6               7            600
  32004     ED   3                          Oaks Elementary School                    14      2         1       1            3                 6               6            600
  32005     ED   3                      Pine Forest Elementary School                 14      2         1       1            3                 6               6            600
  32006     ED   3              Oak Forest Elementary School Humble ISD               14      2         1       1            3                 6               6            600
  32007     ED   3                      Lake Houston Church of Christ                 12      2         1       1            3                 6               6            600
  32008     ED   3                Lake Houston Church of the Nazarene                 14      2         1       1            3                 6               8            600
  32009     ED   3                 Whispering Pines Elementary School                 12      2         1       1            3                 6               6            600
  32010     ED   3                           Humble Middle School                     14      2         1       1            6                 12              6            1200
  32011     ED   3                     Eagle Spring Elementary School                 12      2         1       1            3                 6               6            600
  32012     ED   3                         Atascocita Middle School                   12      2         1       1            3                 6               6            600
  32013     ED   3                        Timbers Elementary School                   12      2         1       1            3                 6               6            600
  32014     ED   2              New Beulah E Johnson Elementary School                10      2         1       1            3                 6               6            600
  32015     ED   1                            Journey of Faith UMC                    10      2         1       1            3                 6               6            600
  32016     ED   1                      Park Lakes Elementary School                  10      2         1       1            3                 6               8            600
  32017     ED   1             The Light of the World Christian Fellowship            10      2         1       1            3                 6               6            600
  32018     ED   3                      River Pines Elementary School                 14      2         1       1            3                 6               6            600
  32019     ED   1                       Fall Creek Elementary School                 10      2         1       1            3                 6               6            600
  32020     ED   1                       Sierra Meadows Apartments                    10      2         1       1            3                 6               6            600
  32021     ED   1                        Grace Church International                  10      2         1       1            3                 6               6            600
  32025     ED   1          Beebe Tabernacle Christian Methodist Episcopal            13      2         1       1            9                 18              6            1757
  32026     ED   1            Greater New Hope Missionary Baptist Church              10      2         1       1            3                 6               6            600
  32027     ED   1                      Shadydale Elementary School                   10      2         1       1            3                 6               6            600
  32028     ED   1                   New Mount Carmel Baptist Church                  10      2         1       1            3                 6               6            600
  32029     ED   1                  Felix Cook Junior Elementary School               10      2         1       1            3                 6               6            600
  32031     ED   3                      Lakeshore Elementary School                   14      2         1       1            3                 6               6            600
  32032     ED   1                        Woodcreek Middle School                     10      2         1       1            3                 6               6            600
  32033     ED   1   Sheldon ISD Administration Building Network Operations Center    10      2         1       1            3                 6               6            600
  32034     ED   1                        Deussen Park Senior Center                  10      2         1       1            3                 6               6            600
  32035     ED   1                        Sheldon Elementary School                   10      2         1       1            3                 6               6            600
  32036     ED   2                      Royalwood Elementary School                   10      2         1       1            3                 6               7            600
  32037     ED   1        Greater New Grove Christian Worship Center Church           10      2         1       1            3                 6               6            600
  32038     ED   1             Tabernacle of Praise Family Worship Center             10      2         1       1            3                 6               6            600
  32039     ED   1                       Fonwood Elementary School                    10      2         1       1            3                 6               6            600
  32040     ED   1                         North Forest High School                   10      2         1       1            3                 6               6            600
  32041     ED   2                Knights of Columbus Hall Council 5077               10      2         1       1            3                 6               6            600


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                                                                                                                   Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                           Location                           Duos Controllers ED Scans DuoGo
                                                                                                                  Paper Packets      Paper Packets    Allocation     Projection
  32042     ED   1            Greater Emmanuel Family Worship Center             10      2         1       1            3                 6               6            600
  32043     ED   1                            Key Middle School                  10      2         1       1            3                 6               6            600
  32044     ED   1                          Kashmere High School                 10      2         1       1            3                 6               6            600
  32046     ED   1                 Lakewood Park Community Center                10      2         1       1            3                 6               6            600
  32047     ED   1              Bethany Baptist Church Fellowship Hall            9      2         1       1            3                 6               6            600
  32048     ED   1               Little Union Missionary Baptist Church          10      2         1       1            3                 6               6            600
  32049     ED   1               Hobart Taylor Park Community Center             10      2         1       1            3                 6               6            600
  32051     ED   3                        Foster Elementary School               12      2         1       1            3                 6               8            600
  32052     ED   3            To Be Determined (Kingwood High School)            10      2         1       1            3                 6               6            600
  32054     ED   3        Kingwood Park High School Performing Arts Center       14      2         1       1            3                 6               6            600
  32055     ED   3                  Good Shepherd Episcopal Church               14      2         1       1            3                 6               6            600
  32056     ED   3                 HC Public Library Kingwood Branch             14      2         1       1            3                 6               6            600
  32057     ED   3                        Creekwood Middle School                16      2         1       1            3                 6               8            600
  32058     ED   3                  Hidden Hollow Elementary School              14      2         1       1            3                 6               6            600
  32060     ED   3                     Deerwood Elementary School                12      2         1       1            3                 6               8            600
  32061     ED   3          Willow Creek Elementary School in Humble ISD         12      2         1       1            3                 6               7            600
  32062     ED   3                        Riverwood Middle School                14      2         1       1            3                 6               7            600
  32063     ED   3                  Shadow Forest Elementary School              12      2         1       1            3                 6               6            600
  32065     ED   3                       Crosby Kindergarten Center              12      2         1       1            3                 6               6            600
  32067     ED   3                      Newport Elementary School                14      2         1       1            3                 6               6            600
  32069     ED   3    To Be Determined (Lake Houston United Methodist Church)    10      2         1       1            3                 6               6            600
  32070     ED   3            First Baptist Church Huffman Youth Center          12      2         1       1            3                 6               6            600
  32071     ED   3                            West Campus Gym                    12      2         1       1            3                 6               7            600
  32077     ED   1                Fellowship of Enlightenment Church             10      2         1       1            3                 6               6            600
  32079     ED   3                            Crosby Church Afob                 12      2         1       1            3                 6               6            600
  32081     ED   3                         Kingwood Middle School                14      2         1       1            3                 6               6            600
  32083     ED   2                              Furr High School                 10      2         1       1            3                 6               6            600
  42003     ED   2                    Purple Sage Elementary School              10      2         1       1            3                 6               6            600
  42004     ED   2                  Kenneth J Tice Elementary School             10      2         1       1            3                 6               6            600
  42006     ED   2            Judson Robinson Junior Elementary School           10      2         1       1            3                 6               6            600
  42007     ED   2                       North Shore Middle School               10      2         1       1            8                 16              6            1600
  42008     ED   2                    North Shore Elementary School              10      2         1       1            3                 6               6            600
  42009     ED   2                   Green Valley Elementary School              10      2         1       1            3                 6               6            600
  42010     ED   2            San Jacinto College Central Campus Library         10      2         1       1            3                 6               6            600
  42011     ED   2                          Felix L Baldree Building             10      2         1       1            3                 6               6            600
  42012     ED   2                 Cimarron Elementary School GPISD              10      2         1       1            3                 6               6            600
  42013     ED   2                       Northshore Friends Church               10      2         1       1            3                 6               6            600
  42014     ED   2                 Woodland Acres Elementary School              10      2         1       1            3                 6               6            600
  42015     ED   1                    Clinton Park Community Center               9      2         1       1            3                 6               6            600
  42017     ED   2                  First Baptist Church of Jacinto City         10      2         1       1            3                 6               6            600
  42019     ED   2                           Baytown Junior High                 10      2         1       1            3                 6               6            600
  42020     ED   2                        Sterling Municipal Library             10      2         1       1            3                 6               6            600
  42022     ED   2                    Stuart Career Tech High School             10      2         1       1            3                 6               6            600
  42023     ED   2                      William B. Travis Elementary             10      2         1       1            3                 6               6            600
  42024     ED   2                   James Bowie Elementary School               10      2         1       1            3                 6               6            600
  42025     ED   2                       Cedar Bayou Junior School               10      2         1       1            3                 6               6            600
  42026     ED   2                   Ashbel Smith Elementary School              10      2         1       1            3                 6               6            600
  42027     ED   2                      De Zavala Elementary School              10      2         1       1            3                 6               6            600
  42028     ED   3                 Goose Creek Memorial High School              14      2         1       1            3                 6               6            600
  42029     ED   2                          Navarre Funeral Home                 10      2         1       1            3                 6               6            600
  42031     ED   2                 George H Gentry Junior High School            10      2         1       1            3                 6               6            600
  42035     ED   2                     Viola Cobb Elementary School              10      2         1       1            3                 6               6            600
  42036     ED   2                   Alice Johnson Junior High School            10      2         1       1            3                 6               6            600
  42037     ED   3                      L W Kolarik Education Center             14      2         1       1            3                 6               6            600
  42039     ED   3                  Charles R Drew Elementary School             15      2         1       1            3                 6               6            600
  42040     ED   2                Highlands Elementary School GCCISD             10      2         1       1            3                 6               6            600
  42044     ED   3                               Comfort Suites                  12      2         1       1            3                 6               6            600
  42047     ED   3                    Mt Rose COGIC, City of Refuge              14      2         1       1            3                 6               7            600
  42048     ED   2                         Trinity Episcopal Church              10      2         1       1            3                 6               6            600
  52001     ED   2                       Bobby Shaw Middle School                10      2         1       1            3                 6               6            600
  52002     ED   2                       Williams Elementary School              10      2         1       1            3                 6               6            600
  52003     ED   2                   Sunset United Methodist Church              10      2         1       1            3                 6               6            600
  52004     ED   2                        Sam Rayburn High School                10      2         1       1            3                 6               6            600
  52005     ED   2                        Bailey Elementary School               10      2         1       1            3                 6               6            600
  52006     ED   2                    Park View Intermediate School              10      2         1       1            3                 6               6            600
  52007     ED   2                       Korean First Baptist Church             10      2         1       1            3                 6               6            600
  52008     ED   2                           Keller Middle School                10      2         1       1            3                 6               6            600
  52009     ED   2                     Deepwater Junior High School              10      2         1       1            3                 6               6            600
  52010     ED   2                    McMasters Elementary School                10      2         1       1            3                 6               6            600
  52011     ED   2                   Golden Acres Elementary School              10      2         1       1            3                 6               6            600
  52012     ED   2                        Jensen Elementary School               10      2         1       1            3                 6               6            600
  52014     ED   2                     First United Methodist Church             10      2         1       1            3                 6               6            600
  52016     ED   2                   Carol Teague Elementary School              10      2         1       1            3                 6               6            600


                                                                                                                                                              Tatum_005240
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                                                                                                                      Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                            Location                             Duos Controllers ED Scans DuoGo
                                                                                                                     Paper Packets      Paper Packets    Allocation     Projection
  52018     ED   2                     Parkgate Community Church                    10      2         1       1            3                 6               6            600
  52019     ED   2                 Harvey Turner Elementary School                  10      2         1       1            9                 18              6            1770
  52020     ED   2         To Be Determined (Fairmont Elementary School)            10      2         1       1            3                 6               6            600
  52023     ED   2                      Gardens Elementary School                   10      2         1       1            3                 6               6            600
  52024     ED   2                         Pasadena High School                     10      2         1       1            3                 6               6            600
  52025     ED   2                     Red Bluff Elementary School                  10      2         1       1            3                 6               6            600
  52026     ED   2                     Pomeroy Elementary School                    10      2         1       1            3                 6               6            600
  52029     ED   2                City of Nassau Bay Council Chamber                10      2         1       1            3                 6               6            600
  52030     ED   2                 Space Center Intermediate School                 10      2         1       1            3                 6               6            600
  52031     ED   2                  North Pointe Elementary School                  10      2         1       1            3                 6               6            600
  52032     ED   2                   Brookwood Elementary School                     9      2         1       1            3                 6               6            600
  52033     ED   2                 Armand Bayou Elementary School                   13      2         1       1            3                 6               8            600
  52034     ED   2                       University Baptist Church                  10      2         1       1            3                 6               6            600
  52035     ED   2                    CCISD Learner Support Center                  10      2         1       1            3                 6               6            600
  52036     ED   2                 Clear Lake City Elementary School                10      2         1       1            3                 6               6            600
  52037     ED   2        To Be Determined (Whitcomb Elementary School)             10      2         1       1            3                 6               6            600
  52039     ED   2                     J F Ward Elementary School                   10      2         1       1            3                 6               8            600
  52040     ED   2                  Hope Christian Reformed Church                  10      2         1       1            3                 6               6            600
  52041     ED   2                   Clear Lake Intermediate School                 10      2         1       1            3                 6               6            600
  52043     ED   2                     Bay Area Community Center                    10      2         1       1            3                 6               7            600
  52044     ED   2                 G W Robinson Elementary School                   10      2         1       1            3                 6               6            600
  52045     ED   2                   Seabrook Intermediate School                   10      2         1       1            3                 6               6            600
  52046     ED   2             Captain Inn and Suites Seabrook Kemah                10      2         1       1            3                 6               6            600
  52047     ED   2                        City of El Lago City Hall                 12      2         1       1            3                 6               6            600
  52048     ED   2                 Clear Lake Church of the Nazarene                10      2         1       1            3                 6               6            600
  52052     ED   2                  College Park Elementary School                  10      2         1       1            3                 6               8            600
  52053     ED   2                     Deer Park Junior High School                 10      2         1       1            3                 6               6            600
  52054     ED   2             Deer Park ISD Education Support Center               10      2         1       1            8                 16              6            1600
  52055     ED   2                    Deer Park Community Center                    10      2         1       1            3                 6               6            600
  52056     ED   2                    Jimmy Burke Activity Building                 10      2         1       1            3                 6               6            600
  52057     ED   2              Holiday Inn Express & Suites Deer Park              10      2         1       1            3                 6               6            600
  52058     ED   2                     Heritage Elementary School                   10      2         1       1            3                 6               6            600
  52059     ED   2                     Kingsdale Recreation Center                  10      2         1       1            3                 6               6            600
  52061     ED   2                   The Academy of Viola De Walt                   10      2         1       1            3                 6               6            600
  52062     ED   2                       Lomax Junior High School                   10      2         1       1            3                 6               6            600
  52063     ED   2                      Rizzuto Elementary School                   10      2         1       1            3                 6               6            600
  52064     ED   2                   Jennie Reid Elementary School                  10      2         1       1            3                 6               6            600
  52065     ED   2                       Bayshore Baptist Church                    10      2         1       1            3                 6               6            600
  52067     ED   2                     Bayshore Elementary School                   10      2         1       1            3                 6               6            600
  52069     ED   2                  Charlton Park Recreation Center                 10      2         1       1            3                 6               6            600
  52070     ED   2                      Forest Oaks Baptist Church                  10      2         1       1            3                 6               6            600
  52071     ED   2    Raul Yzaguirre School for Success Tejano Center Building B    10      2         1       1            3                  6              6             600
  52072     ED   2                  Pearl Rucker Elementary School                  10      2         1       1            3                  6              6             600
  52073     ED   2                    W I Stevenson Middle School                   10      2         1       1            3                 6               6            600
  52074     ED   2                        Milstead Middle School                    10      2         1       1            3                 6               6            600
  52075     ED   2                   Freeway Manor Baptist Church                   10      2         1       1            3                 6               6            600
  52076     ED   2                     Freeman Elementary School                    10      2         1       1            3                 6               6            600
  52077     ED   2                      Garfield Elementary School                  10      2         1       1            3                 6               6            600
  52078     ED   2                 Genoa Staff Development Center                   10      2         1       1            3                 6               6            600
  52080     ED   2                South Houston Intermediate School                 10      2         1       1            3                 6               6            600
  52081     ED   2                     Pearl Hall Elementary School                 10      2         1       1            3                 6               6            600
  52082     ED   2                       Lone Star Flight Museum                    10      2         1       1            3                 6               6            600
  52083     ED   2                    Nelda Sullivan Middle School                  10      2         1       1            3                 6               6            600
  52084     ED   2                         Brookdale Clear Lake                     10      2         1       1            3                 6               6            600
  52085     ED   2                       Clear Lake Islamic Center                  12      2         1       1            3                 6               6            600
  52086     ED   2                            Majid Abu Bakr                         9      2         1       1            3                 6               6            600
  62002     ED   2                  Westbrook Intermediate School                   10      2         1       1            3                 6               6            600
  62003     ED   2                        Clear Brook High School                   10      2         1       1            3                 6               6            600
  62004     ED   2                     Heritage Park Baptist Church                 10      2         1       1            3                 6               6            600
  62005     ED   2              Courtyard by Marriott Houston Hobby                 10      2         1       1            3                 6               6            600
  62006     ED   2                  Beverly Hills Community Center                  10      2         1       1            3                 6               6            600
  62007     ED   2                    Rick Schneider Middle School                  10      2         1       1            3                 6               6            600
  62008     ED   2                 James DeAnda Elementary School                   10      2         1       1            3                 6               6            600
  62009     ED   2               Laura Welch Bush Elementary School                 10      2         1       1            3                 6               6            600
  62010     ED   2                      Weber Elementary School                     10      2         1       1            3                 6               6            600
  62015     ED   2                 Beverly Hills Intermediate School                10      2         1       1            3                 6               6            600
  62016     ED   2                   Frazier Elementary School PISD                 10      2         1       1            3                 6               8            600
  62017     ED   2                    Stuchbery Elementary School                   10      2         1       1            3                 6               6            600
  62018     ED   2                    South Belt Elementary School                  10      2         1       1            3                 6               6            600
  62019     ED   2          SJC South Campus Fine Arts Center Building 15           10      2         1       1            3                 6               7            600
  62020     ED   2                      Burnett Elementary School                   10      2         1       1            3                 6               6            600
  62021     ED   1                  Greater New Testament Church                    10      2         1       1            3                 6               6            600
  62022     ED   1        Greater Saint Matthew Church Southeast Campus             10      2         1       1            3                 6               6            600


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                                                                                                                       Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                             Location                             Duos Controllers ED Scans DuoGo
                                                                                                                      Paper Packets      Paper Packets    Allocation     Projection
  62024     ED   1              Reagan Webb Mading Elementary School                 10      2         1       1            3                 6               6            600
  62025     ED   1                        Kelso Elementary School                    10      2         1       1            3                 6               6            600
  62026     ED   1                 Edgewood Park Community Center                    10      2         1       1            3                 6               6            600
  62027     ED   1               Norris Chapel United Methodist Church               10      2         1       1            3                 6               6            600
  62029     ED   1                      Bastian Elementary School                    13      2         1       1            8                 16              6            1600
  62030     ED   1                      Codwell Elementary School                     9      2         1       1            3                 6               6            600
  62032     ED   1                  Robert L Frost Elementary School                 10      2         1       1            3                 6               6            600
  62034     ED   2                Garden Villa Park Community Center                 10      2         1       1            3                 6               6            600
  62035     ED   2                      Daniel Ortiz Middle School                   10      2         1       1            3                 6               6            600
  62036     ED   2                Glenbrook United Methodist Church                  10      2         1       1            3                 6               6            600
  62037     ED   2                     Golfcrest Elementary School                   10      2         1       1            3                 6               6            600
  62038     ED   2                       Seguin Elementary School                    10      2         1       1            3                 6               6            600
  62039     ED   2                        Bellfort Church of Christ                  10      2         1       1            3                 6               6            600
  62040     ED   1               Jean Hines Caldwell Elementary School               10      2         1       1            3                 6               6            600
  62043     ED   1                 Windsor Village Community Center                  10      2         1       1            3                 6               6            600
  62044     ED   1                     James Madison High School                     10      2         1       1            3                 6               6            600
  62046     ED   1                       Hobby Elementary School                     10      2         1       1            3                 6               6            600
  62047     ED   1                  The Crossing Community Church                    10      2         1       1            3                 6               7            600
  62048     ED   1                  Audrey H Lawson Middle School                    13      2         1       1            3                 6               6            600
  62051     ED   1                     Woodson Elementary School                     10      2         1       1            3                 6               6            600
  62052     ED   1                      Living Faith Baptist Church                  10      2         1       1            3                 6               6            600
  62053     ED   1         Cloverland Park Bessie Swindle Community Center            9      2         1       1            3                 6               6            600
  62054     ED   1                   James H Law Elementary School                   10      2         1       1            3                 6               7            600
  62056     ED   1               Abiding Faith United Methodist Church                9      2         1       1            3                 6               6            600
  62057     ED   1                         Worthing High School                      10      2         1       1            3                 6               6            600
  62058     ED   1                   South Early College High School                 10      2         1       1            3                 6               6            600
  62060     ED   1                 Sunnyside Park Community Center                   10      2         1       1            3                 6               6            600
  62062     ED   1                     Reynolds Elementary School                    10      2         1       1            3                 6               6            600
  62063     ED   1              Mount Moriah Missionary Baptist Church               10      2         1       1            3                 6               6            600
  72001     ED   4                        Elsik Senior High school                   12      2         1       1            3                 6               6            600
  72003     ED   4                           Alief Middle School                     13      2         1       1            3                 6               6            600
  72005     ED   4                    Chancellor Elementary School                   12      2         1       1            3                 6               6            600
  72006     ED   4                      Martin Elementary School                     12      2         1       1            3                 6               6            600
  72007     ED   4               Notre Dame Catholic Church Parish Hall              12      2         1       1            3                 6               6            600
  72008     ED   4                    Alexander Elementary School                    13      2         1       1            3                 6               6            600
  72009     ED   4              Mildred Rickard Landis Elementary School             12      2         1       1            3                 6               6            600
  72010     ED   4                        Hicks Elementary School                    12      2         1       1            3                 6               6            600
  72012     ED   4               Southwest Community Christian Center                10      2         1       1            3                 6               6            600
  72015     ED   4                     Mahanay Elementary School                     12      2         1       1            3                 6               6            600
  72017     ED   4                     Liestman Elementary School                    12      2         1       1            3                 6               6            600
  72018     ED   4                        Horn Elementary School                     12      2         1       1            3                 6               6            600
  72019     ED   4                           Mata Intermediate                       12      2         1       1            3                 6               6            600
  72020     ED   4                  Douglas Smith Elementary School                  12      2         1       1            3                 6               6            600
  72021     ED   4                    Cummings Elementary School                     12      2         1       1            3                 6               6            600
  72023     ED   1                               India House                         10      2         1       1            3                 6               6            600
  72024     ED   4                     Kate Bell Elementary School                   12      2         1       1            3                 6               6            600
  72025     ED   1                     Westbury Senior High School                   10      2         1       1            3                 6               7            600
  72026     ED   1         Greater Saint Matthew Church Southwest Campus             10      2         1       1            3                 6               6            600
  72027     ED   4                       Platou Community Center                     12      2         1       1            3                 6               6            600
  72028     ED   1                  Willow Meadows Baptist Church                    10      2         1       1            3                 6               6            600
  72029     ED   1                         Red Elementary School                     10      2         1       1            3                 6               6            600
  72030     ED   1                 Andy Anderson Elementary School                   13      2         1       1            3                 6               6            600
  72031     ED   1                     Foerster Elementary School                    10      2         1       1            3                 6               6            600
  72032     ED   1          Bethels Place Community Empowerment Center               10      2         1       1            3                 6               6            600
  72033     ED   1                       Gross Elementary School                     10      2         1       1            3                 6               6            600
  72034     ED   1                   Valley West Elementary School                   10      2         1       1            3                 6               6            600
  72035     ED   1                   Marian Park Community Center                    10      2         1       1            3                 6               6            600
  72036     ED   1                          Welch Middle School                      10      2         1       1            3                 6               6            600
  72037     ED   1                       Milne Elementary School                     10      2         1       1            3                 6               7            600
  72038     ED   1    Riceville Mount Olive Baptist Church Multi Purpose Building    10      2         1       1            3                 6               6            600
  72039     ED   1                 Fondren Park Community Building                   10      2         1       1            3                 6               6            600
  72040     ED   1                     Fondren Elementary School                     10      2         1       1            3                 6               6            600
  72041     ED   4                  Godwin Park Community Center                     12      2         1       1            3                 6               6            600
  72043     ED   4                       Herod Elementary School                     12      2         1       1            3                 6               6            600
  72044     ED   1                       Lovett Elementary School                    10      2         1       1            3                 6               6            600
  72045     ED   4                        Elrod Elementary School                    12      2         1       1            3                 6               6            600
  72046     ED   4                       Westbury Baptist Church                     12      2         1       1            3                 6               6            600
  72047     ED   4                       Parker Elementary School                    12      2         1       1            3                 6               6            600
  72049     ED   1                      Shearn Elementary School                     10      2         1       1            3                 6               6            600
  72050     ED   1                           Bellaire Civic Center                    9      2         1       1            3                 6               6            600
  72051     ED   3                      AW Jones EC/PK/K School                      13      2         1       1            3                 6               6            600
  72053     ED   4                Sharpstown Park Community Center                   12      2         1       1            3                 6               6            600
  72054     ED   4                   Vietnamese Community Center                     12      2         1       1            3                 6               6            600


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                                                                                                                    Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                           Location                            Duos Controllers ED Scans DuoGo
                                                                                                                   Paper Packets      Paper Packets    Allocation     Projection
  72055     ED   4                     Judy Bush Elementary School                12      2         1       1            3                 6               6            600
  72056     ED   4                      Ed White Elementary School                12      2         1       1            3                 6               6            600
  72057     ED   4                  Sharpstown International School               12      2         1       1            3                 6               6            600
  72058     ED   4                  Lansdale Park Community Center                12      2         1       1            3                 6               6            600
  72059     ED   4               Betty Roberts Best Elementary School             13      2         1       1            3                 6               6            600
  72062     ED   4                             Winford Funerals                   12      2         1       1            3                 6               8            600
  72063     ED   4                      Bonham Elementary School                  13      2         1       1            3                 6               6            600
  72064     ED   4                 Jane Long Academy Middle School                12      2         1       1            3                 6               6            600
  72065     ED   4                 William S Sutton Elementary School             12      2         1       1            3                 6               6            600
  72067     ED   4                   Cunningham Elementary School                 12      2         1       1            3                 6               6            600
  72068     ED   4                       Al Noor Society of Houston               10      2         1       1            3                 6               6            600
  72070     ED   4               Sylvan Rodriguez Jr Elementary School            10      2         1       1            3                 6               6            600
  72071     ED   4                 Burnett Bayland Community Center               13      2         1       1            3                 6               6            600
  72073     ED   4                      Chinese Community Center                  12      2         1       1            3                 6               6            600
  72075     ED   4              BakerRipley Gulfton Sharpstown Campus             12      2         1       1            3                 6               6            600
  72076     ED   4                      San Mateo Episcopal Church                12      2         1       1            3                 6               6            600
  72077     ED   4                         Albright Middle School                 12      2         1       1            3                 6               6            600
  82001     ED   4                           Church on the Rock                   10      2         1       1            3                 6               6            600
  82002     ED   4               Mission Bend United Methodist Church             12      2         1       1            3                 6               6            600
  82003     ED   4                    Budewig Intermediate School                 15      2         1       1            3                 6               6            600
  82004     ED   4                         Rees Elementary School                 12      2         1       1            3                 6               6            600
  82005     ED   4                    Holmquist Elementary School                 12      2         1       1            3                 6               6            600
  82006     ED   4                        Heflin Elementary School                12      2         1       1            3                 6               6            600
  82007     ED   4                     Houston Marriott Westchase                 12      2         1       1            3                 6               6            600
  82010     ED   4                       Paul Revere Middle School                12      2         1       1            3                 6               6            600
  82011     ED   4                 Christ the Servant Lutheran Church             13      2         1       1            3                 6               7            600
  82013     ED   4                 HCC Alief Hayes Campus Building C              12      2         1       1            3                 6               6            600
  82014     ED   4              Sunset Shadows Apartments Clubhouse               10      2         1       1            3                 6               6            600
  82015     ED   4                        Sneed Elementary School                 10      2         1       1            3                 6               6            600
  82016     ED   4                        West Briar Middle School                12      2         1       1            3                 6               6            600
  82017     ED   4                    Ray K Daily Elementary School               12      2         1       1            3                 6               6            600
  82018     ED   4                  Ashford United Methodist Church               13      2         1       1            3                 6               6            600
  82020     ED   4                              Parkway Place                     12      2         1       1            3                 6               6            600
  82021     ED   4                       Country Village Clubhouse                13      2         1       1            3                 6               6            600
  82022     ED   4                       Ashford Elementary School                15      2         1       1            3                 6               6            600
  82023     ED   4                   Shadowbriar Elementary School                12      2         1       1            3                 6               6            600
  82025     ED   4             To Be Determined (Westchester Academy)             13      2         1       1            3                 6               6            600
  82026     ED   4                  Econolodge West Energy Corridor               12      2         1       1            3                 6               6            600
  82027     ED   4                  Rummel Creek Elementary School                12      2         1       1            3                 6               6            600
  82030     ED   3           To Be Determined (Bethel Church of Houston)          12      2         1       1            3                 6               6            600
  82031     ED   4                             Unity of Houston                   12      2         1       1            3                 6               6            600
  82032     ED   3                            T H Rogers School                   12      2         1       1            3                 6               6            600
  82033     ED   4                    Briargrove Elementary School                15      2         1       1            3                 6               6            600
  82034     ED   4                             Pilgrim Academy                    12      2         1       1            3                 6               6            600
  82035     ED   4                        Briarmeadow Clubhouse                   15      2         1       1            3                 6               6            600
  82037     ED   4                 Waldo Emerson Elementary School                12      2         1       1            3                 6               6            600
  82038     ED   4                    Piney Point Elementary School               12      2         1       1            3                 6               6            600
  82039     ED   4                              World Theater                     12      2         1       1            3                 6               6            600
  82040     ED   4                  Cornerstone Presbyterian Church               13      2         1       1            3                 6               6            600
  82041     ED   4                        Kingsland Baptist Church                12      2         1       1            3                 6               6            600
  82044     ED   4                       James E Taylor High School               12      2         1       1            3                 6               6            600
  82047     ED   4     To Be Determined (Memorial Parkway Junior High School)     13      2         1       1            3                 6               8            600
  82048     ED   4                        Westland Baptist Church                 12      2         1       1            3                 6               6            600
  82049     ED   3                Spring Branch Memorial Library‐HCPL             16      2         1       1            3                 6               6            600
  82050     ED   3                   Eighth Church of Christ Scientist            16      2         1       1            3                 6               6            600
  82052     ED   3                    Crowne Plaza Houston Galleria               12      2         1       1            3                 6               6            600
  82053     ED   3                     Spring Branch Middle School                12      2         1       1            3                 6               6            600
  82055     ED   3                        Memorial Middle School                  14      2         1       1            3                 6               6            600
  82056     ED   3         To Be Determined (Bunker Hill Elementary School)       13      2         1       1            3                 6               6            600
  82057     ED   3         To Be Determined (Frostwood Elementary School)         13      2         1       1            3                 6               7            600
  82058     ED   3                 Memorial Drive Elementary School               14      2         1       1            3                 6               6            600
  82059     ED   3              To Be Determined (Omni Houston Hotel)             10      2         1       1            3                 6               7            600
  82060     ED   4                       Tanglewood Middle School                 10      2         1       1            3                 6               6            600
  82061     ED   4                Mandarin Immersion Magnet School                12      2         1       1            3                 6               2            600
  82066     ED   4            Houston Marriott West Loop by The Galleria          12      2         1       1            3                 6               6            600
  82067     ED   4               MAS Katy Center (Masjid Ar‐Rahman)               12      2         1       1            3                 6               7            600
  82068     ED   3                  Hunters Creek Elementary School               14      2         1       1            6                 12              6            1200
  82069     ED   4   Residence Inn by Marriott Houston Westchase on Westheimer    12      2         1       1            3                 6               6            600
  82070     ED   4                          Element Houston Katy                  12      2         1       1            3                 6               6            600
  82071     ED                               Wisdom High School                                                          3                 6               6            600
  82072     ED   4                  Youngblood Intermediate School                12      2         1       1            3                 6               6            600
  92003     ED   2                     Harris County Sheriff's Office             10      2         1       1            3                 6               6            600
  92004     ED   1                        First Methodist Houston                 10      2         1       1            3                 6               6            600


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                                                                                                                    Initial Ballot   Adjusted Ballot    ED Clerk    Rough Turnout
ED Poll Code ED CC                           Location                            Duos Controllers ED Scans DuoGo
                                                                                                                   Paper Packets      Paper Packets    Allocation     Projection
  92006     ED   2                 Settegast Park Community Center                10      2         1       1            3                 6               6            600
  92007     ED   1    Baylor College of Medicine Academy at Ryan Middle School     9      2         1       1            3                 6               6            600
  92008     ED   1                    Christian Hope Baptist Church               13      2         1       1            3                 6               6            600
  92012     ED   1                            Emancipation Park                    9      2         1       1            3                 6               6            600
  92013     ED   1                        Trinity Episcopal Church                10      2         1       1            3                 6               6            600
  92014     ED   1                  Cuney Homes Community Center                  10      2         1       1            3                 6               6            600
  92015     ED   1            Saint Luke the Evangelist Episcopal Church          10      2         1       1            3                 6               6            600
  92016     ED   1                    MacGregor Elementary School                 10      2         1       1            3                 6               6            600
  92017     ED   1                      Saint Marys Catholic Church               10      2         1       1            3                 6               6            600
  92018     ED   1                     Saint James Episcopal Church               10      2         1       1            3                 6               6            600
  92019     ED   1            Judson Robinson Junior Community Center             10      2         1       1            3                 6               6            600
  92020     ED   2                         Raul C Martinez Annex                  10      2         1       1            3                 6               6            600
  92021     ED   2                           MultiCultural Center                 10      2         1       1            3                 6               6            600
  92022     ED   2                          Edison Middle School                  10      2         1       1            3                 6               6            600
  92023     ED   2                 Eastwood Park Community Center                 10      2         1       1            3                 6               6            600
  92024     ED   2                       Tijerina Elementary School               10      2         1       1            3                 6               6            600
  92025     ED   2              Eastwood Academy Charter High School              10      2         1       1            3                 6               7            600
  92026     ED   2                    Mason Park Community Center                 10      2         1       1            3                 6               6            600
  92027     ED   2                              EB Cape Center                    10      2         1       1            3                 6               6            600
  92028     ED   2                  J P Henderson Elementary School               10      2         1       1            3                 6               6            600
  92030     ED   1                       Dogan Elementary School                  10      2         1       1            3                 6               6            600
  92031     ED   1                    Tuffly Park Community Center                10      2         1       1            3                 6               6            600
  92033     ED   1                        Ross Elementary School                  10      2         1       1            3                 6               6            600
  92034     ED   1                      Harris County Annex No 36                 10      2         1       1            3                 6               6            600
  92036     ED   1                New Pleasant Grove Baptist Church               10      2         1       1            3                 6               6            600
  92039     ED   1                   Pleasantville Elementary School              10      2         1       1            3                 6               6            600
  92040     ED   2                  DeZavala Park Community Center                10      2         1       1            3                 6               6            600
  92041     ED   2                   John R Harris Elementary School              10      2         1       1            3                 6               6            600
  92042     ED   2                  Ingrando Park Recreation Center               10      2         1       1            3                 6               6            600
  92044     ED   2                     Brookline Elementary School                10      2         1       1            3                 6               6            600
  92045     ED   4                                   IPSP                         12      2         1       1            3                 6               6            600
  92046     ED   1           Mount Sinai Baptist Church Family Life Center        10      2         1       1            3                 6               6            600
  92047     ED   4                     Memorial Elementary School                 12      2         1       1            3                 6               6            600
  92049     ED   1                      Crockett Elementary School                10      2         1       1            3                 6               6            600
  92050     ED   4               Saint Lukes Missionary Baptist Church            12      2         1       1            3                 6               6            600
  92051     ED   2                       CDA Internacional Church                 10      2         1       1            3                 6               6            600
  92053     ED   2              Saint Anne de Beaupre Catholic Church             10      2         1       1            3                 6               6            600
  92054     ED   2                     Saint Patrick Catholic Church              10      2         1       1            3                 6               6            600
  92055     ED   2               Montie Beach Park Community Center               10      2         1       1            3                 6               6            600
  92056     ED   2                      Looscan Elementary School                 10      2         1       1            3                 6               6            600
  92057     ED   1               Proctor Plaza Park Community Center              10      2         1       1            3                 6               6            600
  92058     ED   1                           Hogg Middle School                   10      2         1       1            3                 6               6            600
  92059     ED   1                    Travis Elementary School HISD               10      2         1       1            3                 6               6            600
  92060     ED   2                Leonel J Castillo Community Center              10      2         1       1            3                 6               6            600
  92061     ED   2                     John Marshall Middle School                10      2         1       1            3                 6               6            600
  92063     ED   4               First Cumberland Presbyterian Church             12      2         1       1            3                 6               6            600
  92064     ED   1                    H O A P V Community Building                10      2         1       1            3                 6               6            600
  92066     ED   1                        African American Library                10      2         1       1            3                 6               6            600
  92067     ED   4                    River Oaks Elementary School                12      2         1       1            8                 17              6            1700
  92068     ED   1    Mickey Leland College Preparatory Academy for Young Men     10      2         1       1            3                 6               6            600
  92069     ED   1                           Julia C Hester House                 10      2         1       1            3                 6               6            600
  92070     ED   2                   Charles Eliot Elementary School              10      2         1       1            3                 6               6            600
  92071     ED   2                     Scroggins Elementary School                10      2         1       1            3                 6               6            600
  92072     ED   1                        Bruce Elementary School                  9      2         1       1            3                 6               6            600
  92074     ED   1                     Wheatley Senior High School                10      2         1       1            3                 6               6            600
  92076     ED   1               Courtyard by Marriott West University            10      2         1       1            3                 6               6            600
  92077     ED   1                   Rice University‐Welcome Center               10      2         1       1            3                 6               6            600
  92078     ED   1                                 Emanu El                       10      2         1       1            3                 6               6            600
  92080     ED   1      West University Community Building and Senior Center      10      2         1       1            3                 6               7            600
  92081     ED   1                     West University Scout House                10      2         1       1            3                 6               6            600
  92082     ED   1                   Southside Place Park Clubhouse               10      2         1       1            3                 6               6            600
  92083     ED   1                         Pershing Middle School                 10      2         1       1            3                 6               6            600
  92084     ED   1                              The Rice School                   10      2         1       1            3                 6               6            600
  92085     ED   1                Sheltering Arms Community Center                10      2         1       1            3                 6               6            600
  92087     ED   1                 Linkwood Park Community Center                 10      2         1       1            3                 6               6            600
  92088     ED   4               To Be Determined (Lamar High School)             10      2         1       1            3                 6               6            600
  92090     ED   4                     River Oaks Recreation Center               12      2         1       1            3                 6               6            600
  92091     ED   1      Michael E DeBakey High School for Health Professions      10      2         1       1            3                 6               6            600
  92092     ED   1                      Roberts Elementary School                 10      2         1       1            3                 6               6            600
  92094     ED   1                    Residence Garage Underwood                  10      2         1       1            3                 6               6            600
  92096     ED   1                         Poe Elementary School                  10      2         1       1            3                 6               7            600
  92097     ED   1                          Pin Oak Middle School                 10      2         1       1            3                 6               6            600
  92098     ED   1                   Faith American Lutheran Church               10      2         1       1            3                 6               6            600


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                                                         Election Day Equipment Allocations ‐ 1122


                                                                                                              Initial Ballot    Adjusted Ballot     ED Clerk    Rough Turnout
ED Poll Code ED CC                         Location                        Duos Controllers ED Scans DuoGo
                                                                                                             Paper Packets       Paper Packets     Allocation     Projection
  92099     ED   1        South Union Missionary Baptist Church Annex       10      2         1       1             3                  6               6            600
  92100     ED   1               Lora B Peck Elementary School              10      2         1       1             3                  6               6            600
  92103     ED   1                 Mount Olive Baptist Church               10      2         1       1             3                  6               7            600
  92105     ED   1                Hartsfield Elementary School              10      2         1       1             3                  6               6            600
  92106     ED   1                M E Foster Elementary School              10      2         1       1             3                  6               6            600
  92108     ED   4                  Sinclair Elementary School              12      2         1       1             3                  6               6            600
  92110     ED   1             Helms Community Learning Center              10      2         1       1             3                  6               6            600
  92111     ED   1                   Field Elementary School                10      2         1       1             3                  6               7            600
  92113     ED   4        Resurrection Metropolitan Community Church        12      2         1       1             3                  6               6            600
  92114     ED   1                Love Park Community Center                10      2         1       1             3                  6               6            600
  92115     ED   1                      Heights High School                 10      2         1       1             3                  6               6            600
  92116     ED   1                            BUDDY'S                       13      2         1       1             3                  6               7            600
  92118     ED   1                   Baker Montessori School                 9      2         1       1             3                  6               8            600
  92119     ED   1              Bering United Methodist Church              13      2         1       1             3                  6               6            600
  92120     ED   1          Montrose Branch Houston Public Library          10      2         1       1             3                  6               6            600
  92121     ED   1             Trinity Lutheran Church Downtown             10      2         1       1             3                  6               6            600
  92126     ED   1             One Delta Plaza Educational Center           10      2         1       1             3                  6               6            600
  92130     ED   1                          PNC Stadium                     10      2         1       1            11                  21              6            2108
  92133     ED   1                     Lanier Middle School                 10      2         1       1             3                  6               6            600
  92135     ED   1             Saint Andrews Presbyterian Church            10      2         1       1             3                  6               6            600
  92136     ED   4                 Saint Anne Catholic Church               12      2         1       1             3                  6               6            600
  92138     ED   1      Norton Memorial Temple Church of God In Christ      10      2         1       1             3                  6               6            600
  92140     ED   1                         Toyota Center                    10      2         1       1             3                  6               6            600
  92141     ED   2                  Briscoe Elementary School               10      2         1       1             3                  6               6            600
  92142     ED   2     To Be Determined (Houston Federation of Teachers)    10      2         1       1             3                  6               6            600
  92143     ED   1         Courtyard by Marriott Houston Heights/I‐10        9      2         1       1             3                  6               6            600
                                                                                                                               Projected Voters:                   427163




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                                                                                                             Attachment 3
                                                                                                    Election Day Vote Centers ‐ 1122
Poll Codes PCT EV EVIdentifier                             1122 Location                                             Address                                                 Voting Room            City         Zip    CC
      21042 0482 EV SRD150C    Above and Beyond Fellowship                                   20498 Rhodes Road                                    Foyer                                      Spring                77388 3
      11037 0327 EV SRD139A    Acres Homes Multi Service Center                              6719 West Montgomery Road                            Auditorium                                 Houston               77091 1
      71072 0487 EV SRD149B    Alief ISD Administration Building                             4250 Cook Road                                       Room 750                                   Houston               77072 4
      81063 0711 EV SRD149L    Alief ISD Center for Talent Development                       14411 Westheimer Road                                Room 200B                                  Houston               77082 4
      41018 0081 EV SRD143A    Alvin D Baggett Community Center                              1302 Keene Street                                    Conference Room                            Galena Park           77547 2
      21074 0411 EV SRD140B    BakerRipley East Aldine Campus                                3000 Aldine Mail Route Road                          Reunion Hall                               Houston               77039 2
      71060 0256 EV SRD137B    Bayland Park Community Center                                 6400 Bissonnet Street                                Auditorium                                 Houston               77074 4
      51061 0102 EV SRD143B    Baytown Community Center                                      2407 Market Street                                   Tejas Room                                 Baytown               77520 2
      21119 0897 EV SRD150B    Big Stone Lodge                                               709 Riley Fuzzel Road                                Community Center                           Spring                77373 3
      31030 0528 EV SRD142C    C. E. King 9th Grade Center                                   8530 C E King Parkway                                Room 307                                   Houston               77044 1
      72079 0507 EV SRD137E    Chinese Civic Center                                          5905 Sovereign Drive                                 Foyer                                      Houston               77036 4
      11072 0074 EV SRD138C    City Jersey Village Municipal Government Center               16327 Lakeview Drive                                 Civic Center in Municipal Meeting Room     Houston         77040‐2029 3
      61033 0029 EV SRD145H    City of South Houston Municipal Court                         1019 Dallas Street                                   Court Room                                 South Houston         77587 2
      51013 0793 EV SRD144R    Cleveland Ripley Neighborhood Center                          720 Fairmont Parkway                                 Gym                                        Pasadena              77504 2
      31066 0502 EV SRD128Z    Crosby Branch Library                                         135 Hare Road                                        Meeting Room                               Crosby                77532 3
      91122 0053 EV SRD147E    Damascus Missionary Baptist Church                            3122 Center Street                                   Fellowship Hall                            Houston         77007       1
      91064 0809 EV SRD134I    Delmar Tusa Sports Complex                                    2020 Mangum Road Enter West 18th Street Entrance 2                                              Houston               77092 4
      91073 0062 EV SRD143K    Denver Harbor Community Center                                6402 Market Street                                   Atrium Area                                Houston         77020‐6840 2
      51017 0352 EV SRD128P    East Harris County Activity Center                            7340 Spencer Highway                                 Big Room                                   Pasadena              77505 2
      61012 0774 EV SRD129E    El Franco Lee Community Center                                9500 Hall Road                                       Auditorium                                 Houston               77089 1
      51060 0561 EV SRD128F    Evelyn Kennedy Civic Center                                   618 San Jacinto Street                               Scout Room                                 La Porte              77571 2
      11045 0597 EV SRD148F    Fairfield Inn and Suites Houston NW Willowbrook               10825 North Gessner                                  Fairfield Ranch Meeting room               Houston               77064 3
      21088 0660 EV SRD139F    Fallbrook Church                                              12512 Walters Road                                   Brooks Sports Gym                          Houston               77014 1
      81054 0213 EV SRD133Z    First Congregational Church                                   10840 Beinhorn Road                                  Assembly Room                              Houston         77024‐3098 3
      51051 0378 EV SRD129X    Forest Bend Homeowners Association Inc                        4300 Laura Leigh Drive                               Meeting Room                               Friendswood           77546 2
      71074 0337 EV SRD131P    Fountain of Life Center                                       14083 South Main Street                              Assembly Room                              Houston               77035 1
      51028 0941 EV SRD129U    Freeman Branch Library                                        16616 Diana Lane                                     Meeting Room                               Houston               77062 2
      91127 0937 EV SRD134B    Girl Scouts of San Jacinto Council                            3000 Southwest Freeway                               Program Place for Girls Performance Area   Houston               77098 4
      21102 0358 EV SRD141G    Green House International Church                              200 West Greens Road                                 Community Room                             Houston               77067 1
      81042 1112 EV SRD132F    Hampton Inn and Suites Houston Katy                           22055 Katy Freeway                                   Empire Room                                Katy                  77450 4
      21085 0321 EV SRD140     Hardy Street Senior Citizens Center                           11901 West Hardy Road                                Auditorium                                 Houston         77076‐1220 2
      61011 0996 EV SRD129S    Harris County Scarsdale Annex                                 10851 Scarsdale Boulevard                            Room D‐110                                 Houston               77089 2
      71011 1037 EV SRD149H    HCC Alief Center                                              13803 Bissonnet Street                               Auditorium Room 157                        Houston               77083 4
      31024 0454 EV SRD139H    HCC North Forest Campus                                       6010 Little York Road                                Community Room                             Houston               77016 1
      91043 0154 EV SRD145C    HCC Southeast College Building D                              6815 Rustic Street                                   Room 108                                   Houston               77087 2
      71066 0570 EV SRD134W    HCC West Loop South                                           5601 West Loop South                                 C108 A & B                                 Houston               77081 1
      21038 0631 EV SRD126C    HCPL Barbara Bush Branch                                      6817 Cypresswood Drive                               Elliot Room                                Spring          77379‐7705 3
      81046 0619 EV SRD132D    HCPL Maud Smith Marks Branch Library                          1815 Westgreen Boulevard                             Meeting Room                               Katy            77450‐5370 4
      61050 0319 EV SRD131     Hiram Clarke Multi Service Center                             3810 West Fuqua Street                               Auditorium                                 Houston         77045‐6402 1
      11137 0121 EV SRD132C    Hockley Community Center                                      28515 Old Washington Road                            Room ABC                                   Hockley               77447 4
      31080 0674 EV SRD127E    Holiday Inn Express & Suites Atascocita                       5619 FM 1960 East                                    Meeting Room                               Humble                77346 3
      11033 0056 EV SRD138M    Holiday Inn Express & Suites Houston Memorial ‐ City Centre   10500 Katy Freeway                                   City Centre Room                           Houston               77043 3
      21021 1061 EV SRD150X    Hosanna Lutheran Church                                       16526 Ella Boulevard                                 Fellowship Hall                            Houston               77090 1
      21131 0153 EV SRD145N    Houston Community College Northline                           8001 Fulton Street                                   Room 115                                   Houston               77022 2
      31082 0108 EV SRD141U    Humble Civic Center                                           8233 Will Clayton Parkway                            Meeting Rooms 1 ‐ 4                        Humble                77338 3
      41030 0250 EV SRD128D    J D Walker Community Center                                   7613 Wade Road                                       Large MultiPurpose Room                    Baytown         77521‐8338 2
      11168 0407 EV SRD138J    John Knox Presbyterian Church                                 2525 Gessner Road                                    Fellowship Hall                            Houston               77080 3
      91093 0540 EV SRD134S    John P McGovern Texas Medical Center Commons                  6550 Bertner Avenue                                  1st Floor                                  Houston               77030 1
      11125 0624 EV SRD132P    John Paul Landing Environmental Education Center              9950 Katy Hockley Road                               Great Room #101                            Cypress               77433 4
      41001 0527 EV SRD144J    John Phelps Courthouse                                        101 South Richey Street                              Training Room                              Pasadena              77506 2
      11122 0734 EV SRD130C    Juergens Hall Community Center                                26026 Hempstead Highway                              Dance Hall                                 Cypress         77429‐7321 3
      91032 0042 EV SRD142K    Kashmere MultiService Center                                  4802 Lockwood Drive                                  Conference Room                            Houston         77026‐2941 1
      11107 1086 EV SRD132K    Katy Branch Harris County Public Library                      5414 Franz Road                                      Meeting Room                               Katy            77493‐1717 4
      31059 0459 EV SRD127Y    Kingwood Community Center                                     4102 Rustic Woods Drive                              Auditorium B                               Kingwood        77345‐1350 3
      21030 0876 EV SRD150K    Klein Multipurpose Center                                     7500 FM 2920                                         Rooms 402                                  Spring          77379‐2204 3
      91134 0434 EV SRD134G    La Quinta Inn & Suites by Wyndham Houston Galleria Area       1625 West Loop South                                 Large Meeting Room                         Houston               77027 4

                                                                                                                                                                                                         Tatum_005246
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Poll Codes PCT EV EVIdentifier                             1122 Location                                        Address                                     Voting Room                              City        Zip    CC
      21010 1145 EV SRD150L    Lone Star College Creekside                             8747 West New Harmony Trail               Room 116                                                     Tomball              77375 3
      21113 0657 EV SRD141L    Lone Star College North Harris                          2700 WW Thorne Drive                      Career and Skilled Trades Technology Center, Rooms 101/103   Houston              77073 1
      11145 0848 EV SRD139V    Lone Star College Victory Center                        4141 Victory Drive                        Room 102                                                     Houston              77088 1
      41033 0141 EV SRD142Z    Martin Flukinger Community Center                       16003 Lorenzo Street                      Large Assembly Room                                          Channelview          77530 2
      21028 0082 EV SRD126M    Masjid AlSalam                                          16700 Old Louetta Road                    Gym                                                          Spring               77379 3
      91065 0200 EV SRD134M    Metropolitan MultiService Center                        1475 West Gray Street                     Gym                                                          Houston        77019‐4926 1
      41016 0229 EV SRD143C    Milton Lusk Activity Center                             1022 Mercury Drive                        Meeting Room                                                 Houston              77029 2
      71013 0647 EV SRD149X    Mission Bend Islamic Center                             6233 Tres Lagunas                         Meeting Room                                                 Houston              77083 4
      91052 0206 EV SRD145M    Moody Park Community Center                             3725 Fulton Street                        Main MultiPurpose Room                                       Houston              77009 2
      31022 0010 EV SRD143R    Neighborhood Centers Inc Ripley House Campus            4410 Navigation Boulevard                 Gym                                                          Houston        77011‐1036 2
      41005 0460 EV SRD142W    North Channel Branch Library                            15741 Wallisville Road                    Meeting Room                                                 Houston        77049‐4607 1
      21151 1070 EV SRD140N    North East Community Center                             10918 Bently Street                       Meeting Room                                                 Houston              77093 2
      11061 0611 EV SRD141C    Northeast Multi‐Service Center                          9720 Spaulding Street                     Auditorium                                                   Houston              77016 1
      81024 0483 EV SRD133     Nottingham Park Building                                926 Country Place Drive                   Meeting Room                                                 Houston              77079 4
      11123 0223 EV SRD146T    NRG Arena                                               1 NRG Parkway                             Hall D Gate 9                                                Houston        77054       1
      11167 1097 EV SRD126P    Prairie View A&M University Northwest                   9449 Grant Road                           Room 107                                                     Houston              77070 3
      71022 0462 EV SRD131R    Raindrop Turkish House                                  9301 West Bellfort Boulevard              Turkistan Room                                               Houston              77031 4
      11134 0790 EV SRD135W    Richard and Meg Weekley Community Center                8440 Greenhouse Road                      Room 200                                                     Cypress        77433‐5135 4
      41046 0251 EV SRD142A    Riley Chambers Community Center                         808 1/2 Magnolia Avenue                   Large Assembly Room                                          Crosby               77532 3
      11112 300 EV SRD130L     Saint John Lutheran Church and School                   15235 Spring Cypress Road                 Chapel                                                       Cypress              77429 3
      61031 0132 EV SRD146C    Saint Philip Neri Catholic Church                       10960 Martin Luther King Boulevard        Hospitality Room                                             Houston        77048‐1896 1
      21013 0529 EV SRD130M    Samuel Matthews Park Community Center                   1728 Hufsmith Road                        Room A                                                       Tomball        77375‐4918 3
      31072 0096 EV SRD142G    San Jacinto College Generation Park                     13455 Lockwood Road                       Room G‐2.125                                                 Houston              77044 1
      41041 0063 EV SRD128J    San Jacinto Community Center                            604 Highland Woods Drive                  Art Room and Small Assembly Room                             Highlands      77562‐4546 3
      11091 0323 EV SRD148B    Sheraton Houston Brookhollow Hotel                      3000 North Loop West Freeway              Jasmine I & II                                               Houston        77092‐8810 4
      91101 0235 EV SRD147Z    Shrine of the Black Madonna Cultural and Event Center   5309 Martin Luther King Boulevard         The Red Room                                                 Houston              77021 1
      91109 0054 EV SRD145J    SPJST Lodge Num 88                                      1435 Beall Street                         Annex in back of main building                               Houston        77008‐3441 1
      11003 0804 EV SRD135S    Steve Radack Community Center                           18650 Clay Road                           Conference Room                                              Houston              77084 4
      61059 0158 EV SRD146S    Sunnyside Multi Service Center                          9314 Cullen Boulevard                     Classroom 186                                                Houston              77051 1
      91009 0085 EV SRD147T    Texas Southern University Terry Library                 3100 Cleburne Street                      Terry Library                                                Houston              77004 1
      61045 0458 EV SRD131C    The Collective‐The Power Center                         12401 South Post Oak Road                 Green Room                                                   Houston        77045‐2020 1
      11067 0966 EV SRD148H    The Grand Tuscany Hotel                                 12801 Northwest Freeway                   The Plaza                                                    Houston              77040 4
      61055 0630 EV SRD131T    Tom Bass Park Community Center Section Three            15108 Cullen Boulevard                    Auditorium                                                   Houston        77047‐6714 1
      21009 0127 EV SRD130T    Tomball Public Works Building                           501B James Street                         Training Room                                                Tomball              77375 3
      81008 0566 EV SRD137T    Tracy Gee Community Center                              3599 Westcenter Drive                     Art Rooms 1 & 2                                              Houston              77042 4
      11158 0707 EV SRD138S    Trini Mendenhall Community Center                       1414 Wirt Road                            Auditorium                                                   Houston        77055‐4917 3
      51038 0391 EV SRD129D    University of Houston Clear Lake                        2700 Bay Area Boulevard                   UH Clear Lake Bayou Building                                 Houston              77058 2
      91010 0389 EV SRD147U    University of Houston Student Center                    4455 University Drive                     Room 214 Space City                                          Houston              77004 1
      91001 0369 EV SRD001C    University of Houston‐Downtown                          201 Girard Street                         GSB 307, Milam & Travis Rooms                                Houston              77002 2
      31084 0700 EV SRD128V    Vera Brummet May Community Center                       2100 Wolf Road                            Room 118                                                     Huffman              77336 3
      21071 0595 EV SRD127V    Victory Houston                                         809 West Road                             Event Center                                                 Houston              77038 2
      61001 0750 EV SRD129W    Webster Civic Center                                    311 Pennsylvania Avenue                   Civic Center                                                 Webster        77598‐5230 2
      91011 0390 EV SRD147S    Wheeler Avenue Baptist Church                           3826 Wheeler Avenue Building D            Fellowship Hall                                              Houston        77004‐2604 1




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                                                                                          Election Day Vote Centers ‐ 1122
Poll Codes PCT EV Party                                1122 Location                                         Address                                     Voting Room          City        Zip    CC
      22075 0792    D   1st Baptist Church North Houston                           4422 Lauder Road                          Gym                                       Houston        77039‐3599 2
      12153 0169    D   A B Anderson Academy                                       7401 Wheatley Street                      Hallway                                   Houston        77088‐7845 1
      12005 0898    D   A Soirée Event Venue                                       18174 River Sage Drive                    Ballroom                                  Houston        77084       4
      62056 0867    D   Abiding Faith United Methodist Church                      14300 Almeda School Road                  Fellowship Hall                           Houston        77047‐7102 1
      21042 0482 EV R   Above and Beyond Fellowship                                20498 Rhodes Road                         Foyer                                     Spring         77388       3
      11037 0327 EV D   Acres Homes MultiService Center                            6719 West Montgomery Road                 Auditorium                                Houston        77091       1
      92066 0030    D   African American Library                                   1300 Victor Street                        Exhibit Hall                              Houston        77019‐5534 1
      72068 0431    D   Al Noor Society of Houston                                 6443 Prestwood Drive                      Prayer Room/Classroom                     Houston        77081       4
      72077 0646    D   Albright Middle School                                     6315 Winkleman Road                       Gym II                                    Houston        77083       4
      22066 0936    D   Aldine Middle School                                       14908 Aldine Westfield Road               Auditorium                                Houston        77032‐3097 2
      72008 0338    D   Alexander Elementary School                                8500 Brookwulf Drive                      Gym                                       Houston        77072‐3837 4
      42036 0381    D   Alice Johnson Junior High School                           15500 Proctor Street                      Boys Gym                                  Channelview    77530‐2697 2
      71072 0487 EV D   Alief ISD Administration Building                          4250 Cook Road                            Room 750                                  Houston        77072       4
      81063 0711 EV D   Alief ISD Center for Talent Development                    14411 Westheimer Road                     Room 200B                                 Houston              77082 4
      72003 0487    D   Alief Middle School                                        4415 Cook Road                            Cafeteria                                 Houston        77072‐1104 4
      41018 0081 EV D   Alvin D Baggett Community Center                           1302 Keene Street                         Conference Room                           Galena Park    77547       2
      22086 0261    D   American Legion Post No 586                                708 East Parker Road                      Stage                                     Houston        77076‐3413 2
      22124 0586    R   Anderson Elementary School                                 6218 Lynngate Drive                       Gym                                       Spring         77373‐7356 3
      72030 0293    D   Andy Anderson Elementary School                            5727 Ludington Drive                      Annex                                     Houston        77035‐4305 1
      52033 0092    R   Armand Bayou Elementary School                             16000 Hickory Knoll Drive                 Gym                                       Houston        77059‐5299 2
      12093 0787    D   Armandina Farias Early Childhood Center                    515 East Rittenhouse Street               Cafeteria                                 Houston        77076       2
      22004 0481    R   Arnold Middle School                                       11111 Telge Road                          Cafeteria                                 Cypress        77429       3
      52020 1095    R   Asbury United Methodist Church                             5354 Space Center Boulevard               Sanctuary                                 Pasadena       77505       2
      42026 0100    D   Ashbel Smith Elementary School                             403 East James Street                     Cafeteria                                 Baytown        77520‐5065 2
      82022 0395    R   Ashford Elementary School                                  1815 Shannon Valley Drive                 Gym                                       Houston        77077‐4901 4
      82018 0625    R   Ashford United Methodist Church                            2201 South Dairy Ashford Road             Sanctuary                                 Houston        77077       4
      32003 1016    R   Atascocita Lutheran Church                                 7927 FM 1960                              Fellowship Hall                           Humble         77346       3
      32012 0885    R   Atascocita Middle School                                   18810 West Lake Houston Parkway           Cafeteria                                 Humble         77346‐3186 3
      62048 0292    D   Audrey H Lawson Middle School                              14000 Stancliff Street                    Auditorium                                Houston        77045‐5328 1
      12136 0124    R   Ault Elementary School                                     21010 Maple Village Drive                 D148                                      Cypress        77433‐5722 3
      72051 0756    D   AW Jones EC/PK/K School                                    8003 Forest Point Drive                   Gym                                       Humble         77338‐1894 3
      12143 0192    D   B T Washington High School                                 4204 Yale Street                          Auditorium                                Houston        77018‐6545 1
      52005 0242    D   Bailey Elementary School                                   2707 Lafferty Road                        Cafeteria                                 Pasadena       77502‐5194 2
      92118 0038    D   Baker Montessori School                                    2100 Yupon Street                         Gym                                       Houston        77006‐1830 1
      21074 0411 EV D   BakerRipley East Aldine Campus                             3000 Aldine Mail Route Road               Reunion Hall                              Houston        77039       2
      72075 0430    D   BakerRipley Gulfton Sharpstown Campus                      6500 Rookin Street                        Reunion Hall                              Houston        77074       4
      12056 0480    R   Barwood Home Owners Clubhouse                              13003 Aste Lane                           Clubroom                                  Houston        77065‐2226 3
      62029 0573    D   Bastian Elementary School                                  5051 Bellfort Street                      Multipurpose Room                         Houston        77033‐3826 1
      52043 0415    R   Bay Area Community Center                                  5002 East NASA Parkway                    Grand Assembly Room                       Seabrook       77586       2
      71060 0256 EV D   Bayland Park Community Center                              6400 Bissonnet Street                     Auditorium                                Houston        77074       4
      92007 0198    D   Baylor College of Medicine Academy at Ryan Middle School   2610 Elgin Street                         Girls Gym                                 Houston        77004       1
      12087 0117    D   Baymont By Wyndham Houston Brookhollow                     12439 Northwest Freeway                   Meeting Room                              Houston        77092       4
      52065 0682    R   Bayshore Baptist Church                                    11315 Spencer Highway                     Gym                                       LaPorte        77571‐4409 2
      52067 0088    R   Bayshore Elementary School                                 800 McCabe Road                           Music Room                                La Porte       77571‐6717 2
      51061 0102 EV D   Baytown Community Center                                   2407 Market Street                        Tejas Room                                Baytown        77520       2
      42019 0013    R   Baytown Junior High                                        7707 Bayway Drive                         Cafeteria                                 Baytown        77520       2
      32025 0454    D   Beebe Tabernacle Christian Methodist Episcopal             7210 Langley Road                         Fellowship Hall West Wing                 Houston        77016‐2724 1
      72050 0128    R   Bellaire Civic Center                                      7008 South Rice Avenue                    Civic Center                              Bellaire       77401       1
      62039 0379    D   Bellfort Church of Christ                                  6606 Bellfort Street                      Fellowship Hall                           Houston        77087‐6410 2
      22092 0614    D   Beneke Elementary School                                   3840 Briarchase Drive                     Gym                                       Houston        77014‐2755 1
      92119 0039    D   Bering United Methodist Church                             1440 Harold Street                        Community Room #108A                      Houston        77006‐3730 1
      22014 0916    R   Bernshausen Elementary School                              11116 Mahaffey Road                       Cafeteria                                 Tomball        77375‐6908 3
      12128 0875    R   Berry Center of Northwest Houston                          8877 Barker Cypress Road                  Cypress Room                              Cypress        77433       4
      22059 0107    D   Berry Elementary School                                    2310 Berry Road                           Library                                   Houston        77093‐7418 2
      32047 0581    D   Bethany Baptist Church Fellowship Hall                     7304 Homestead Road                       Fellowship Hall                           Houston        77028‐3027 1
      72032 0754    D   Bethels Place Community Empowerment Center                 12660 Sandpiper Drive                     Auditorium                                Houston        77035‐5382 1

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Poll Codes PCT EV Party                                1122 Location                                    Address                                    Voting Room          City        Zip    CC
      72059 0359    D   Betty Roberts Best Elementary School                  10000 Centre Parkway                      Gym                                      Houston        77036‐8200 4
      62006 0418    D   Beverly Hills Community Center                        10201 Kingspoint Road                     Main MultiPurpose Room                   Houston        77075       2
      62015 0076    R   Beverly Hills Intermediate School                     11111 Beamer Road                         Cafeteria/Foyer                          Houston        77089‐2305 2
      21119 0897 EV D   Big Stone Lodge                                       709 Riley Fuzzel Road                     Community Center                         Spring         77373       3
      12024 0983    R   Birkes Elementary School                              8500 Queenston Boulevard                  Library                                  Houston        77095‐4784 3
      22078 0423    D   Black Elementary School                               160 Mill Stream Lane                      Front Foyer                              Houston        77060‐4199 2
      22070 0595    D   Blanson CTE High School                               311 West Road                             Gym                                      Houston        77038       2
      12065 0125    R   Bleyl Middle School                                   10800 Mills Road                          Library                                  Houston        77070‐4499 3
      52001 0277    D   Bobby Shaw Middle School                              1201 Houston Avenue                       Gym                                      Pasadena       77502       2
      72063 0284    D   Bonham Elementary School                              8302 Braes River Drive                    Main Entrance Foyer                      Houston        77074‐4212 4
      82033 0129    R   Briargrove Elementary School                          6145 San Felipe Street                    Library                                  Houston        77057‐2801 4
      82035 0282    R   Briarmeadow Clubhouse                                 3203 Freshmeadows Drive                   Clubhouse                                Houston        77063‐6231 4
      22026 0482    R   Bridgestone MUD Operations & Water Education Center   19720 Kuykendahl Road                     Assembly Room                            Spring         77379       3
      22036 0515    R   Brill Elementary School                               9102 Herts Road                           Gym                                      Spring         77379‐6772 3
      92141 0064    D   Briscoe Elementary School                             321 Forest Hill Boulevard                 Room 12‐13 ‐ Building B                  Houston        77011       2
      52084 1033    D   Brookdale Clear Lake                                  780 West Bay Area Boulevard               Community Room                           Webster        77598       2
      92044 0067    D   Brookline Elementary School                           6301 South Loop 610 East                  Library                                  Houston        77087‐1012 2
      52032 0174    R   Brookwood Elementary School                           16850 Middlebrook Drive                   Great Hall                               Houston        77059‐4700 2
      92072 0159    D   Bruce Elementary School                               510 Jensen Drive                          Library                                  Houston        77020‐5834 1
      92116 0034    D   BUDDY'S                                               2409 Grant Street Suite A                 STE D                                    Houston        77006       1
      82003 0706    D   Budewig Intermediate School                           12570 Richmond Avenue                     Cafeteria                                Houston        77082‐2486 4
      12082 0330    D   Buffalo Creek Elementary School                       2801 Blalock Road                         Cafeteria                                Houston        77080‐2822 4
      22050 0341    D   Burbank Middle School                                 315 Berry Road                            Auditorium                               Houston        77022       2
      72071 0431    D   Burnett Bayland Community Center                      6000 Chimney Rock Drive                   Main MultiPurpose Room                   Houston        77081‐4001 4
      62020 0842    D   Burnett Elementary School                             11825 Teaneck Drive                       Gym                                      Houston        77089‐6120 2
      31030 0528 EV D   C. E. King 9th Grade Center                           8530 C E King Parkway                     Room 307                                 Houston        77044       1
      22001 0399    D   Calvary Hills Funeral Home                            21723 Aldine Westfield Road               Chapel                                   Humble         77338       1
      22064 0342    D   Calvert Elementary School                             1925 Marvell Drive                        Library                                  Houston        77032‐2085 1
      12044 0548    D   Campbell Middle School                                11415 Bobcat Road                         Main entry hallway                       Houston        77064       3
      12139 0578    R   Candlelight Park Community Center                     1520 Candlelight Lane                     Main MultiPurpose Room                   Houston        77018‐1852 1
      12031 0903    R   Canyon Pointe Elementary School                       13002 Northpointe Boulevard               Gym                                      Tomball        77377‐5868 4
      52046 0692    R   Captain Inn and Suites Seabrook Kemah                 2901 Nasa Parkway                         Meeting Room                             Seabrook       77586‐3216 2
      12095 0521    D   Cardiff Junior High                                   3900 Dayflower Drive                      Gym Lobby                                Katy           77449       4
      22129 0041    D   Carl Wunsche Senior High School                       900 Wunsche Loop                          Conference Center                        Houston        77373       3
      52016 1095    R   Carol Teague Elementary School                        4200 Crenshaw Road                        Library                                  Pasadena       77504‐3614 2
      12076 0383    D   Carverdale Park Community Center                      9920 Porto Rico Road                      Main MultiPurpose Room                   Houston        77041‐7536 3
      52035 0306    R   CCISD Learner Support Center                          2903 Falcon Pass                          Computer Lab 1043                        Houston        77062       2
      92051 0078    D   CDA Internacional Church                              5203 Fulton Street                        Fellowship Hall                          Houston        77009       2
      42025 1031    R   Cedar Bayou Junior School                             2610 Elvinta Street                       Hallway Leading Into Auditrium           Baytown        77520‐3826 2
      22152 0113    R   Champions Community Church                            13111 Bammel North Houston Road           Growth Track                             Houston        77066       1
      72005 0508    D   Chancellor Elementary School                          4350 Boone Road                           Room 157                                 Houston        77072‐1999 4
      12048 0687    R   Charles B Cook Middle School                          9111 Wheatland Drive                      Rehersal Room 530                        Houston        77064‐7044 3
      92070 0079    D   Charles Eliot Elementary School                       6411 Laredo Street                        Room 40                                  Houston        77020‐4930 2
      42039 0251    D   Charles R Drew Elementary School                      223 Red Oak Avenue                        Gym                                      Crosby         77532‐8660 3
      52069 0211    D   Charlton Park Recreation Center                       8200 Park Place Boulevard                 Main MultiPurpose Room                   Houston        77017       2
      22062 0668    R   Charterwood MUD Administration Activity Building      16444 Cutten Road                         Big Room                                 Houston        77070       3
      12172 0512    R   Chimney Hill Community Center                         13720 Smokey Trail Drive                  Main Room                                Houston        77041       3
      72079 0507 EV D   Chinese Civic Center                                  5905 Sovereign Drive                      Foyer                                    Houston              77036 4
      72073 0507    D   Chinese Community Center                              9800 Town Park Drive                      Rec Center                               Houston        77036       4
      82011 0626    R   Christ the Servant Lutheran Church                    2400 Wilcrest Drive                       Fellowship Hall                          Houston        77042‐2736 4
      92008 0025    D   Christian Hope Baptist Church                         3418 Anita Street                         Rosa Room/Fellowship Hall                Houston        77004       1
      52037 0745    R   Christ's Church                                       1401 Bay Area Boulevard                   The Commoms                              Houston        77058       2
      22108 0669    R   Church of Christ in Champions                         13902 Cutten Road                         Family Center                            Houston        77069‐2299 3
      82001 1029    R   Church on the Rock                                    433 Barker Cypress Road                   Principal Hallway                        Houston        77094       4
      42012 0266    D   Cimarron Elementary School GPISD                      816 Cimarron Street                       Multipurpose Room                        Houston        77015‐4308 2
      11072 0074 EV R   City Jersey Village Municipal Government Center       16327 Lakeview Drive                      Civic Center in Municipal Meeting Room   Houston        77040‐2029 3

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      52047 0090    R   City of El Lago City Hall                             411 Tallowood Drive                       Events Room                              El Lago         77586‐6060 2
      52029 0307    R   City of Nassau Bay Council Chamber                    1800 Space Park Drive No 200              Council Chambers                         Nassau Bay      77058‐3508 2
      61033 0029 EV D   City of South Houston Municipal Court                 1019 Dallas Street                        Court Room                               South Houston   77587       2
      12161 0116    R   City of Spring Valley City Hall                       1025 Campbell Road                        Council Chambers                         Houston         77055‐7495 3
      22093 0678    D   Clark Elementary School                               1825 Rushworth Drive                      Gymnasium                                Houston         77014‐3642 1
      22087 0105    D   Clark Park Community Center                           9718 Clark Road                           Main MultiPurpose Room                   Houston         77076‐5031 2
      12079 0264    D   Clay Road Baptist Church                              9151 Clay Road                            Auditorium                               Houston         77080‐1695 4
      62003 0474    R   Clear Brook High School                               4607 FM 2351                              Gym 3/Annex                              Friendswood     77546‐2823 2
      52048 0393    D   Clear Lake Church of the Nazarene                     14310 Galveston Road                      Activity Center                          Webster         77598       2
      52036 0745    R   Clear Lake City Elementary School                     1707 Fairwind                             Room 210                                 Houston         77062       2
      52041 0744    R   Clear Lake Intermediate School                        15545 El Camino Real                      Gym                                      Houston         77062‐5794 2
      52085 0748    D   Clear Lake Islamic Center                             17511 El Camino Real                      Community Hall                           Houston         77058       2
      51013 0793 EV R   Cleveland Ripley Neighborhood Center                  720 Fairmont Parkway                      Gym                                      Pasadena        77504       2
      12089 0270    R   Clifton Middle School                                 6001 Golden Forest Drive                  Multipurpose Room                        Houston         77092‐2359 1
      42015 0164    D   Clinton Park Community Center                         200 Mississippi Street                    Main MultiPurpose Room                   Houston         77029       1
      62053 0271    D   Cloverland Park Bessie Swindle Community Center       11800 Scott Street                        Main MultiPurpose Room                   Houston         77047‐1508 1
      62030 0422    D   Codwell Elementary School                             5225 Tavenor Lane                         Cafeteria                                Houston         77048‐1739 1
      52052 0665    R   College Park Elementary School                        4315 Luella Avenue                        Foyer between Gym & Cafeteria            Deer Park       77536       2
      22128 1114    D   Comfort Inn & Suites FM1960‐Champions                 3555 Farm to Market 1960 Road             Meeting Room                             Houston         77068       1
      42044 0820    R   Comfort Suites                                        7209 Garth Road                           Meeting room                             Baytown         77521‐8706 3
      22101 0698    D   Conley Elementary School                              3345 West Greens Road                     LMC Room                                 Houston         77066‐4920 1
      22117 0956    D   Cooper Elementary School                              18655 Imperial Valley Drive               Cafeteria                                Houston         77073‐4608 1
      12022 0789    R   Copperfield Church                                    8350 Highway 6 North                      Room 300                                 Houston         77095‐2002 3
      82040 1054    R   Cornerstone Presbyterian Church                       1351 Mason Road                           Gym                                      Katy            77450       4
      12059 0713    D   Country Inn & Suites by Radisson, Houston Northwest   12915 Farm to Market 1960 Road West       Meeting Room                             Houston         77065       3
      82021 0504    R   Country Village Clubhouse                             12042 Riverview Drive                     Main Club House room                     Houston         77077‐3036 4
      62005 0308    D   Courtyard by Marriott Houston Hobby                   9190 Gulf Freeway                         Pasadena Room                            Houston         77017       2
      82057 0479    R   Courtyard by Marriott Houston Northwest               11050 Louetta Road                        Cypress Meeting Room                     Houston         77070       3
      92076 0360    D   Courtyard by Marriott West University                 2929 Westpark Drive                       Meeting Room                             Houston         77005       1
      92094 0472    D   Courtyard Houston Medical Center/NRG Park             7702 Main Street                          Meeting Room                             Houston         77030       1
      22011 1145    R   Creekside Park Junior High School                     8711 Creekside Green Drive                LGI Room                                 The Woodlands   77375‐1418 3
      32057 0612    R   Creekwood Middle School                               3603 West Lake Houston Parkway            Commons                                  Kingwood        77339‐5216 3
      92049 0002    D   Crockett Elementary School                            2112 Crockett Street                      Library in front of school               Houston         77007‐3923 1
      31066 0502 EV R   Crosby Branch Library                                 135 Hare Road                             Meeting Room                             Crosby                77532 3
      32079 1085    R   Crosby Church Afob                                    30673 Huffman Cleveland Road              Sanctuary                                Huffman         77336       3
      32065 0502    R   Crosby Kindergarten Center                            805 Runneburg Road                        Science Lab/Room 102                     Crosby          77532       3
      82052 0730    R   Crowne Plaza Houston Galleria                         7611 Katy Freeway                         Sycamore A                               Houston         77024‐2001 3
      72021 0556    D   Cummings Elementary School                            10455 South Kirkwood Road                 Entrance Foyer                           Houston         77099‐5018 4
      92014 0247    D   Cuney Homes Community Center                          3260 Truxillo Street                      Community Room                           Houston         77004‐4649 1
      72067 0345    D   Cunningham Elementary School                          5100 Gulfton Street                       Cafeteria                                Houston         77081       4
      12129 0143    R   Cy Fair College Library at Lone Star                  9191 Barker Cypress Road                  Room 131 in Library                      Cypress         77433‐1383 3
      12123 0806    R   Cypress Crossing Christian Center                     15751 Cypress Rosehill Road               Sanctuary and Lobby                      Cypress         77429‐7812 3
      12118 0481    R   Cypress Fairbanks Exhibit Center                      11206 Telge Road                          Classroom                                Cypress         77429‐3398 3
      12054 0671    R   Cypress Fairbanks Funeral Home                        9926 Jones Road                           Library                                  Houston         77065       3
      12170 0640    R   Cypress VFW Post 8905                                 21902 Northwest Freeway                   Main Hall                                Cypress         77429       3
     22047 0464     R   Cypressdale Clubhouse                                 4815 Elmbrook Drive                       Clubhouse                                Spring          77388‐4935 3
      22049 0874    R   Cypresswood Community Association Building            3705 Cypresswood Drive                    Main Room                                Spring          77388‐5700 3
      22003 0587    D   Cypresswood Elementary School                         6901 Cypresswood Point Avenue             Music Room                               Humble          77338‐1389 3
      91122 0053 EV D   Damascus Missionary Baptist Church                    3122 Center Street                        Fellowship Hall                          Houston         77007       1
      62035 0036    D   Daniel Ortiz Middle School                            6767 Telephone Road                       Auditorium                               Houston         77061‐2056 2
      42027 0249    R   De Zavala Elementary School                           305 Tri City Beach Road                   Kinder Pod                               Baytown         77520‐7313 2
     52009 0302     R   Deepwater Junior High School                          501 Glenmore Drive                        Gym                                      Pasadena        77503‐1830 2
     52055 0420     R   Deer Park Community Center                            610 East San Augustine Street             Room 12                                  Deer Park       77536‐0700 2
      52054 0673    R   Deer Park ISD Education Support Center                2800 Texas Avenue                         Monarch A & B Rooms                      Deer Park       77536       2
      52053 0084    R   Deer Park Junior High School                          410 East 9th Street                       Gym                                      Deer Park       77536       2
      12174 0650    R   Deerfield Village Recreation Center                   4045 Deerfield Village Drive              Clubhouse                                Houston         77084‐3204 4

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      32060 0670    R   Deerwood Elementary School                        2920 Forest Garden Drive                             Cafeteria                                Kingwood         77345‐1409 3
      22114 1139    D   Dekaney High School                               22351 Imperial Valley Drive                          Cafeteria                                Houston          77073      1
      91064 0809 EV R   Delmar Tusa Sports Complex                        2020 Mangum Road Enter West 18th Street Entrance 2   Side Entrance Hallway                    Houston          77092      4
      91073 0062 EV D   Denver Harbor Community Center                    6402 Market Street                                   Gym                                      Houston          77020‐6840 2
      32034 1025    R   Deussen Park Senior Center                        12303 Sonnier Street                                 Auditorium                               Houston          77044‐7208 1
      92040 0065    D   DeZavala Park Community Center                    907 76th Street                                      Main MultiPurpose Room                   Houston          77012‐1199 2
      22035 0601    R   Doerre Intermediate School                        18218 Theiss Mail Route Road                         Front Foyer                              Spring           77379‐6239 3
      92030 0201    D   Dogan Elementary School                           4202 Liberty Road                                    Library                                  Houston          77026      1
      72020 0627    D   Douglas Smith Elementary School                   11300 Stancliff Road                                 Main Entrance Foyer                      Houston          77099‐4298 4
      32011 1038    R   Eagle Spring Elementary School                    12500 Will Clayton Parkway                           Cafeteria                                Humble           77346‐3006 3
      51017 0352 EV R   East Harris County Activity Center                7340 Spencer Highway                                 Big Room                                 Pasadena         77505      2
      92025 0027    D   Eastwood Academy Charter High School              1315 Dumble Street                                   Community Room 120                       Houston          77023‐1902 2
      92023 0011    D   Eastwood Park Community Center                    5020 Harrisburg Boulevard                            Main MultiPurpose Room                   Houston          77011‐4135 2
      92027 0026    D   EB Cape Center                                    4501 Leeland Street                                  Room 131                                 Houston          77023‐3010 2
      82026 0095    R   Econolodge West Energy Corridor                   715 Highway 6 South                                  Conference Room                          Houston          77079‐4003 4
      72056 0311    D   Ed White Elementary School                        9001 Triola Lane                                     Foyer                                    Houston          77036‐6147 4
      62026 0239    D   Edgewood Park Community Center                    5803 Bellfort Street                                 Main MultiPurpose Room                   Houston          77033‐2143 1
      92022 0069    D   Edison Middle School                              6901 Avenue I                                        Gym                                      Houston          77011‐2629 2
      22027 0477    R   Ehrhardt Elementary School                        6603 Rosebrook Lane                                  Gym                                      Spring           77379      3
      22025 1060    D   Eickenroht Elementary School                      15252 Grand Point Road                               Stage                                    Houston          77090‐6329 1
      82050 0440    R   Eighth Church of Christ Scientist                 11976 Memorial Drive                                 Sunday School Room and lobby             Houston          77024      3
      22134 0723    D   Eiland Elementary School                          6700 North Klein Circle Drive                        Room 112/PCL                             Houston          77088‐1500 1
      12149 0594    D   Eisenhower Senior High School                     7922 Antoine Drive                                   Library                                  Houston          77088‐4398 1
      61012 0774 EV D   El Franco Lee Community Center                    9500 Hall Road                                       Auditorium                               Houston          77089      1
      82070 1111    R   Element Houston Katy                              23653 Grande Centre Drive                            Meeting Room A/B                         Katy             77494      4
      32054 0635    R   Elm Grove Elementary School                       2815 Clear Ridge Drive                               Cafeteria                                Kingwood         77339      3
      72045 0315    R   Elrod Elementary School                           6230 Dumfries Drive                                  Cafeteria                                Houston          77096‐4603 4
      72001 0487    D   Elsik Senior High school                          12601 High Star Drive                                N4 Hall                                  Houston          77072      4
      92012 0198    D   Emancipation Park                                 3018 Emancipation Avenue                             Cultural Center                          Houston          77004‐3159 1
      92078 0896    D   Emanu El                                          1500 Sunset Boulevard                                Feld Hall                                Houston          77005      1
      12009 0804    D   Emmanuel Episcopal Church                         3785 Barker Cypress Road                             Fellowship Hall                          Houston          77084      4
      12058 0518    R   Emmott Elementary School                          11750 Steepleway Boulevard                           Gym                                      Houston          77065‐4366 3
      51060 0561 EV R   Evelyn Kennedy Civic Center                       618 San Jacinto Street                               Scout Room                               La Porte         77571      2
      22079 0423    D   Evelyn Thompson Elementary School                 220 Casa Grande Drive                                Room 143                                 Houston          77060‐4899 2
      12124 0111    R   Fairfield Baptist Church                          27240 US 290                                         Worship Center Building ‐ Lobby          Cypress          77433      3
      11045 0597 EV D   Fairfield Inn and Suites Houston NW Willowbrook   10825 North Gessner                                  Fairfield Ranch Meeting room             Houston          77064      3
      12173 0768    R   Fairwood Recreation Center and Pool               14701 Spring Cypress Road                            Clubhouse                                Cypress          77429      3
      92098 0215    R   Faith American Lutheran Church                    4600 Bellaire Boulevard                              Faith Center Gym                         Bellaire         77401‐4296 1
      32019 0118    D   Fall Creek Elementary School                      14435 Mesa Drive                                     Cafeteria                                Humble           77396‐4457 1
      21088 0660 EV D   Fallbrook Church                                  12512 Walters Road                                   Brooks Sports Gym                        Houston          77014      1
      32029 0168    D   Felix Cook Junior Elementary School               7115 Lockwood Drive                                  Computer Lab                             Houston          77016‐7027 1
      42011 0375    D   Felix L Baldree Building                          13828 Corpus Christi Street                          Large Assembly Room                      Houston          77015‐3912 2
      32077 0401    D   Fellowship of Enlightenment Church                9005 Wayside Drive                                   Kennedy Hall                             Houston          77028      1
      92111 0059    D   Field Elementary School                           703 East 17th Street                                 Library                                  Houston          77008‐4414 1
      32070 0700    R   First Baptist Church Huffman Youth Center         25259 F M 2100 Road                                  Youth Center                             Huffman          77336‐4103 3
      42017 0163    D   First Baptist Church of Jacinto City              10701 WIggins Street                                 Gym                                      Jacinto City     77029‐2515 2
      22012 0529    R   First Baptist Church of Tomball                   401 Oxford Street                                    Gym                                      Tomball          77375‐4461 3
      12096 0603    R   First Christian Church                            22101 Morton Ranch Road                              Fellowship Hall                          Katy             77449      4
      81054 0213 EV R   First Congregational Church                       10840 Beinhorn Road                                  Assembly Room                            Houston          77024‐3098 3
      92063 0217    R   First Cumberland Presbyterian Church              2119 Avalon Place                                    Fellowship Hall                          Houston          77019      4
      12146 0467    D   First New Hope Bible Church                       5400 West Mount Houston Road                         Fellowship Hall                          Houston          77088‐1271 1
      72031 0022    D   Foerster Elementary School                        14200 Fonmeadow Drive                                Cafeteria                                Houston          77035‐5218 1
      72040 0337    D   Fondren Elementary School                         12405 Carlsbad Street                                Cafeteria                                Houston          77085‐1224 1
      72039 0506    D   Fondren Park Community Building                   11802 Mclain Boulevard                               Meeting Room                             Missouri City    77071‐3334 1
      32039 0205    D   Fonwood Elementary School                         9709 Mesa Drive                                      Cafeteria                                Houston          77078      1
      51051 0378 EV R   Forest Bend Homeowners Association Inc            4300 Laura Leigh Drive                               Meeting Room                             Friendswood      77546      2

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Poll Codes PCT EV Party                                1122 Location                                  Address                                          Voting Room           City        Zip   CC
      52070 0221    D   Forest Oaks Baptist Church                          1845 Forest Oaks Drive                         Assembly Room/Fellowship Room              Houston        77017      2
      32051 0469    R   Foster Elementary School                            1800 Trailwood Village Drive                   Library Enter Door #2                      Kingwood       77339      3
      71074 0337 EV D   Fountain of Life Center                             14083 South Main Street                        Assembly Room                              Houston        77035      1
      22043 0539    R   Fox Elementary School                               4800 Port Aegean Drive                         Cafeteria                                  Spring         77388      3
      12171 0548    D   Francone Elementary School                          11250 Perry Road                               Physical Education ‐ Room 5                Houston        77064      3
      22040 0880    R   Frank Elementary School                             9225 Crescent Clover Drive                     Gym                                        Spring         77379‐8590 3
      12050 0496    D   Frazier Elementary School CFISD                     8300 Little River Road                         PE room/Gym                                Houston        77064‐7904 1
      62016 0476    D   Frazier Elementary School PISD                      10503 Hughes Road                              Foyer                                      Houston        77089‐4530 2
      12159 0179    D   Freed Park Clubhouse                                6818 Shadyvilla Lane                           Meeting Room                               Houston        77055‐5200 4
      51028 0941 EV D   Freeman Branch Library                              16616 Diana Lane                               Meeting Room                               Houston        77062      2
      52076 0280    D   Freeman Elementary School                           2323 Theta Street                              Gym                                        Houston        77034‐1250 2
      52075 0280    D   Freeway Manor Baptist Church                        2300 Rodney Street                             Fellowship Hall                            Houston        77034‐1149 2
      22017 0503    R   French Elementary School                            5802 West Rayford Road                         PLC Room                                   Spring         77389‐2981 3
      32083 0080    D   Furr High School                                    500 Mercury Drive                              Auditorium                                 Houston        77013      2
      12152 0109    D   G W Carver Contemporary High School                 2100 South Victory Drive                       Room 109                                   Houston        77088‐7699 1
      52044 0415    R   G W Robinson Elementary School                      451 Kirby Road                                 Gym                                        El Lago        77586      2
      12138 0073    D   Garden Oaks Montessori                              901 Sue Barnett Drive                          Gym                                        Houston        77018      1
      62034 0798    D   Garden Villa Park Community Center                  6720 South Haywood Drive                       Main MultiPurpose Room                     Houston        77061‐1514 2
      52077 0289    D   Garfield Elementary School                          10301 Hartsook Street                          Front Hall/Main Hallway                    Houston        77034‐3596 2
      52078 0755    D   Genoa Staff Development Center                      12900 Almeda Genoa Road                        Main Room                                  Houston        77034‐4636 2
      42031 0386    R   George H Gentry Junior High School                  1919 East Archer Road                          Auditorium                                 Baytown        77521‐9310 2
      22118 0110    R   Ginger McNabb Elementary School                     743 East Cypresswood Drive                     Gym                                        Spring         77373      3
      91127 0937 EV D   Girl Scouts of San Jacinto Council                  3000 Southwest Freeway                         Program Place for Girls Performance Area   Houston        77098      4
      12047 0687    R   Gleason Elementary School                           9203 Willowbridge Park Boulevard               Art Room                                   Houston        77064‐6304 3
      62036 0275    D   Glenbrook United Methodist Church                   8635 Glen Valley Drive                         Fellowship Hall                            Houston        77061‐2339 2
      22072 0366    D   Gloria B Sammons Elementary School                  2301 Frick Road                                Hallway near Common Area                   Houston        77038‐1701 2
      12003 0516    D   Glorious Way Church                                 11611 Champion Forest Drive                    Main Lobby                                 Houston        77066‐2740 1
      72041 0281    D   Godwin Park Community Center                        5101 Rutherglenn Drive                         Main MultiPurpose Room                     Houston        77096      4
      52011 0696    R   Golden Acres Elementary School                      5232 Sycamore Avenue                           Gym                                        Pasadena       77503‐3950 2
      62037 0231    D   Golfcrest Elementary School                         7414 Fairway Drive                             Library                                    Houston        77087‐3623 2
      32055 0340    R   Good Shepherd Episcopal Church                      2929 Woodland Hills Drive                      Great Hall                                 Humble         77339‐1496 3
      12120 1022    R   Goodson Middle School                               17333 Huffmeister Road                         Auxiliary gym                              Cypress        77429‐6403 3
      42028 0103    D   Goose Creek Memorial High School                    6001 East Wallisville Road                     Cafeteria                                  Baytown        77521      3
      32021 0104    D   Grace Church International                          5775 Little York Road                          Fellowship Hall                            Houston        77016      1
      12178 0903    R   Graceview Baptist Church                            21206 Telge Road                               Multipurpose Room                          Tomball        77377      4
      32042 0606    D   Greater Emmanuel Family Worship Center              3915 Kelley Street                             The Hall                                   Houston        77026‐1411 1
      12073 0689    R   Greater Macedonia Baptist Church                    5510 West Sam Houston Parkway North            Multipurpose Room                          Houston        77041      3
      32037 0832    D   Greater New Grove Christian Worship Center Church   7518 East Mount Houston Road                   Sacntuary                                  Houston        77050      1
      32026 0252    D   Greater New Hope Missionary Baptist Church          10505 Bainbridge Street                        Sanctuary                                  Houston        77016‐3007 1
      62021 0573    D   Greater New Testament Church                        7409 Calhoun Road                              Class Room                                 Houston        77033      1
      62022 0573    D   Greater Saint Matthew Church Southeast Campus       7701 Jutland Road                              Gym                                        Houston        77033      1
      72026 0337    D   Greater Saint Matthew Church Southwest Campus       14919 South Main                               Fellowship Hall                            Houston        77035      1
      21102 0358 EV D   Green House International Church                    200 West Greens Road                           Community Room                             Houston        77067      1
      42009 0375    D   Green Valley Elementary School                      13350 Woodforest Boulevard                     Cafeteria                                  Houston        77015‐2825 2
      72033 0372    D   Gross Elementary School                             12583 South Gessner Road                       Cafeteria                                  Houston        77071      1
      92064 0030    D   H O A P V Community Building                        1810 Bluebonnet Place Circle                   Community Center                           Houston        77019‐2999 1
      12117 0828    R   Hamilton Middle School                              12330 Kluge Road                               Perfomance Gym                             Cypress        77429      3
      81042 1112 EV R   Hampton Inn and Suites Houston Katy                 22055 Katy Freeway                             Empire Room                                Katy           77450      4
      21085 0321 EV D   Hardy Street Senior Citizens Center                 11901 West Hardy Road                          Auditorium                                 Houston        77076‐1220 2
      12100 1103    D   Harris County Annex 57                              19818 Franz Road Enter East side of Building   East side of Building                      Katy           77449      4
      92034 0144    D   Harris County Annex No 36                           3815 Cavalcade Street                          Meeting Room                               Houston        77026‐3403 1
      22053 0078    D   Harris County Department of Education               6300 Irvington Boulevard                       100C                                       Houston        77022‐5618 2
      61011 0996 EV R   Harris County Scarsdale Annex                       10851 Scarsdale Boulevard                      Room D‐110                                 Houston        77089      2
      92003 0369    D   Harris County Sheriff's Office                      701 North San Jacinto Street                   Lobby & Secured Room                       Houston        77002      2
      92105 0235    D   Hartsfield Elementary School                        5001 Perry Street                              STEM Lab                                   Houston        77021‐3515 1
      52019 1095    R   Harvey Turner Elementary School                     4333 Lily Street                               Teachers’ Lounge                           Pasadena       77505‐3735 2

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      22031 0551    R   Hassler Elementary School                                     9325 Lochlea Ridge Drive                  Cafeteria                                Spring         77379‐3647 3
      22046 0633    R   Haude Elementary School                                       3111 Louetta Road                         Gym                                      Spring         77388‐4610 3
      32056 0563    R   HC Public Library Kingwood Branch                             4400 Bens View Lane                       Meeting Room                             Kingwood       77339‐3774 3
      12037 0197    D   HCC Acres Homes Campus                                        630 West Little York Road                 Electronic Resource Center/Room 138      Houston        77091       1
      71011 1037 EV D   HCC Alief Center                                              13803 Bissonnet Street                    Auditorium Room 157                      Houston        77083       4
      82013 0559    D   HCC Alief Hayes Campus Building C                             2811 Hayes Road                           West Houston Institute                   Houston        77042‐3340 4
      31024 0454 EV D   HCC North Forest Campus                                       6010 Little York Road                     Community Room                           Houston        77016       1
      91043 0154 EV D   HCC Southeast College Building D                              6815 Rustic Street                        Room 108                                 Houston        77087       2
      71066 0570 EV D   HCC West Loop South                                           5601 West Loop South                      Auditorium                               Houston        77081       1
      21038 0631 EV R   HCPL Barbara Bush Branch                                      6817 Cypresswood Drive                    Elliot Room                              Spring         77379‐7705 3
      81046 0619 EV R   HCPL Maud Smith Marks Branch Library                          1815 Westgreen Boulevard                  Meeting Room                             Katy           77450‐5370 4
      12119 0519    R   HCPL Northwest Library                                        11355 Regency Green Drive                 Meeting Room                             Cypress        77429‐4799 3
      82006 1118    D   Heflin Elementary School                                      3303 Synott Road                          Gym                                      Houston        77082‐4926 4
      92115 0057    D   Heights High School                                           560 East 14th Street                      Bulldog Practice Gym                     Houston        77008‐7021 1
      22024 0894    D   Helen Major Elementary School                                 16855 Sugar Pine Drive                    Gym                                      Houston        77090‐3626 1
      92110 0736    D   Helms Community Learning Center                               503 West 21st Street                      Cafeteria                                Houston        77008‐3641 1
      52058 0665    R   Heritage Elementary School                                    4301 East Boulevard                       Gymnasium                                Deer Park      77536‐5646 2
      62004 0349    R   Heritage Park Baptist Church                                  2732 FM 528 Road                          Fellowship Hall and Chapel               Webster        77598‐4703 2
      72043 0304    R   Herod Elementary School                                       5627 Jason Street                         Library                                  Houston        77096‐2110 4
      22052 0543    D   Herrera Elementary School                                     525 Bennington Street                     Gym                                      Houston        77022‐4911 2
      72010 1037    D   Hicks Elementary School                                       8520 Hemlock Hill Drive                   Cafeteria                                Houston        77083       4
      32058 0357    R   Hidden Hollow Elementary School                               4104 Appalachian Trail                    Cafeteria                                Kingwood       77345‐1099 3
      12043 0325    D   High School Ahead Academy                                     5320 Yale Street                          Library Front Entrance                   Houston        77091‐5730 2
      12040 0157    D   Highland Park Recreation Center                               3316 De Soto Street                       Main MultiPurpose Room                   Houston        77091‐3716 1
      42040 0387    R   Highlands Elementary School GCCISD                            200 East Wallisville Road                 Gym                                      Highlands      77562‐3896 2
      12092 0494    D   Hill Elementary School                                        2625 West Mount Houston Road              Music Room                               Houston        77038‐3434 2
      82025 0483    R   Hilton Garden Inn Houston Energy Corridor                     12245 Katy Freeway                        Energy 3 Room                            Houston        77079       4
      61050 0319 EV D   Hiram Clarke Multi Service Center                             3810 West Fuqua Street                    Auditorium                               Houston        77045‐6402 1
      32049 0582    D   Hobart Taylor Park Community Center                           8100 Kenton Street                        Main MultiPurpose Room                   Houston        77028‐4632 1
      62046 0318    D   Hobby Elementary School                                       4021 Woodmont Drive                       Cafeteria                                Houston        77045‐3515 1
      11137 0121 EV R   Hockley Community Center                                      28515 Old Washington Road                 Room ABC                                 Hockley        77447       4
      92058 0003    D   Hogg Middle School                                            1100 Merrill Street                       Gym                                      Houston        77009‐6009 1
      31080 0674 EV R   Holiday Inn Express & Suites Atascocita                       5619 FM 1960 East                         Meeting Room                             Humble         77346       3
      52057 0673    R   Holiday Inn Express & Suites Deer Park                        201 West X Street                         San Jacinto Room                         Deer Park      77536       2
      11033 0056 EV R   Holiday Inn Express & Suites Houston Memorial ‐ City Centre   10500 Katy Freeway                        City Centre Room                         Houston              77043 3
      92004 0016    D   Holiday Inn Houston Downtown                                  1616 Main Street                          Savoy Meeting Room                       Houston        77002       1
      22007 0738    D   Holiday Inn Houston Intercontinental Airport Hotel            15222 John F Kennedy Boulevard            Trinity Ballroom 3                       Houston        77032‐2306 1
      12080 0610    D   Hollibrook Elementary School                                  3602 Hollister Street                     Library                                  Houston        77080‐1899 4
      82005 0814    D   Holmquist Elementary School                                   15040 Westpark Drive                      Cafeteria                                Houston        77082‐3900 4
      12020 0651    R   Holmsley Elementary School                                    7315 Hudson Oaks Drive                    PE room                                  Houston        77095‐1149 4
      52040 0744    R   Hope Christian Reformed Church                                770 Pineloch Drive                        Gym                                      Houston        77062‐2548 2
      12132 0901    R   Hopper Middle School                                          7811 Fry Road                             Performance gym                          Cypress        77433‐3284 3
      72018 0429    D   Horn Elementary School                                        10734 Bissonnet Street                    Gym                                      Houston        77099       4
      21021 1061 EV D   Hosanna Lutheran Church                                       16526 Ella Boulevard                      Fellowship Hall                          Houston        77090       1
      12157 0179    D   Housman Elementary School                                     6705 Housman Street                       Gymnasium                                Houston        77055‐2221 4
      21131 0153 EV D   Houston Community College Northline                           8001 Fulton Street                        Room 115                                 Houston        77022       2
      12042 0324    R   Houston Liederkranz                                           5100 Ella Bloulevard                      Main Ballroom                            Houston        77018       1
      82066 1069    D   Houston Marriott West Loop by The Galleria                    1750 West Loop South                      Diamond Room                             Houston        77027       4
      82007 0559    R   Houston Marriott Westchase                                    2900 Briarpark Drive                      Grand Foyer                              Houston        77042       4
      32069 0700    R   Huffman ISD Administrative Offices                            24302 FM 2100                             Board Room 101                           Huffman        77336       3
      31082 0108 EV R   Humble Civic Center                                           8233 Will Clayton Parkway                 Meeting Rooms 1 ‐ 4                      Humble         77338       3
      22006 0599    D   Humble ISD Collaboration Center                               10203 Birchridge Drive                    Rooms 101                                Humble         77346       3
      32010 0388    D   Humble Middle School                                          11207 Will Clayton Parkway                Cafeteria                                Humble         77346‐3005 3
      82068 0213    R   Hunters Creek Elementary School                               10650 Beinhorn Road                       Multipurpose Room                        Houston        77024       3
      22109 0513    R   Huntwick Forest Clubhouse Recreational Facility               5300 Coral Gables Drive                   INFORMAL ROOM                            Houston        77069‐3306 3
      12097 0618    D   Hyatt Place Houston/Katy                                      1401 North Westgreen Boulevard            Meeting Room 1                           Katy           77449       4

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      92045 0071    D   IPSP                                               5525 Kansas Street                        Fellowship Hall                           Houston       77007‐1110 4
      22130 0757    D   Iglesia Bautista Caminando con Jesus               6515 Eddie Drive                          Fellowship Hall                           Humble        77396      2
      22073 1012    D   Iglesia Bautista Libre                             10331 Veterans Memorial Drive             Small Chapel                              Houston       77038‐1727 2
      12001 0523    R   Iglesia Bautista Redencion                         16155 Aspenglenn Drive                    Main Hall/Fellowship Hall                 Houston       77084‐3545 4
      12032 0120    R   Iglesia de Jesucristo Palabra Miel                 1431 Brittmoore Road                      Agape Fellowship Hall                     Houston       77043      4
      12046 0597    D   Iglesia Trinidad Church                            11602 Bobcat Road                         Chapel                                    Houston       77064‐3100 3
      12169 0852    R   Image Church                                       20402 Chappell Knoll Drive                Sanctuary Room                            Cypress       77433      3
      22051 0184    D   Independence Hall Apartments Community Room        6 Burress Street                          Activities Room                           Houston       77022‐1944 2
      12035 0195    D   Independence Heights Community Center              603 East 35th Street                      Main MultiPurpose Room                    Houston       77022      1
      72023 0555    D   India House                                        8888 West Bellfort Street                 Room 122                                  Houston       77031‐2406 1
      92042 0226    D   Ingrando Park Recreation Center                    7302 Keller Street                        Main MultiPurpose                         Houston       77012‐3518 2
      12004 1138    D   ISGH Bear Creek Community Center                   17250 Coventry Park Drive                 Community Center                          Houston       77084      4
      41030 0250 EV D   J D Walker Community Center                        7613 Wade Road                            Large MultiPurpose Room                   Baytown       77521‐8338 2
      52039 0568    R   J F Ward Elementary School                         1440 Bouldercrest Drive                   Great Hall                                Houston       77062‐2247 2
      92028 0218    D   J P Henderson Elementary School                    1800 Dismuke Street                       Main Hall                                 Houston       77023‐4753 2
      52023 0786    D   Jackson Intermediate School                        1020 Thomas Avenue                        Gym                                       Pasadena      77506      2
      42024 0532    R   James Bowie Elementary School                      2200 Clayton Drive                        Auditorium                                Baytown       77520‐3643 2
      62008 0801    D   James DeAnda Elementary School                     7980 Almeda Genoa Road                    Music Room 111                            Houston       77075‐2006 2
      82044 0522    R   James E Taylor High School                         20700 Kingsland Boulevard                 PAC Lobby                                 Katy          77450‐2705 4
      62054 0355    D   James H Law Elementary School                      12401 South Coast Drive                   Cafeteria                                 Houston       77047‐2736 1
      62044 0355    D   James Madison High School                          13719 White Heather Drive                 Auditorium                                Houston       77045      1
      12021 0616    R   Jan Hansen Aragon Middle School                    16823 West Road                           Library                                   Houston       77095‐5503 3
      72064 0430    D   Jane Long Academy Middle School                    6501 Bellaire Boulevard                   Auditorium                                Houston       77074‐6428 4
      22054 0153    D   Janowski Elementary School                         7500 Bauman Road                          Annex building                            Houston       77022‐6125 2
      62040 0332    D   Jean Hines Caldwell Elementary School              5515 West Orem Drive                      Community Room                            Houston       77085      1
      52064 0716    R   Jennie Reid Elementary School                      10001 West Fairmont Parkway               Cafeteria                                 LaPorte       77571‐2904 2
      52012 0348    R   Jensen Elementary School                           3514 Tulip Street                         Gym                                       Pasadena      77504      2
      52056 0673    R   Jimmy Burke Activity Building                      500 West 13th Street                      Activity Center                           Deer Park     77536‐3172 2
      12036 0122    D   John F Kennedy Elementary School                   400 Victoria Drive                        Multipurpose                              Houston       77022‐2422 1
      11168 0407 EV R   John Knox Presbyterian Church                      2525 Gessner Road                         Fellowship Hall                           Houston       77080      3
      92061 0046    D   John Marshall Middle School                        1115 Noble Street                         Library                                   Houston       77009‐8437 2
      91093 0540 EV D   John P McGovern Texas Medical Center Commons       6550 Bertner Avenue                       1st Floor                                 Houston       77030      1
      11125 0624 EV R   John Paul Landing Environmental Education Center   9950 Katy Hockley Road                    Great Room #101                           Cypress       77433      4
      41001 0527 EV D   John Phelps Courthouse                             101 South Richey Street                   Training Room                             Pasadena      77506      2
      92041 0066    D   John R Harris Elementary School                    801 Broadway Street                       Cafeteria                                 Houston       77012‐2124 2
      62027 0237    D   Jones Future Academy                               7414 Saint Lo Road                        Auditorium                                Houston       77033‐2731 1
      12038 0450    D   Josie Ruth Smith School                            5815 West Little York Road                Library                                   Houston       77091‐1199 1
      32015 0847    D   Journey of Faith UMC                               130 Atascocita Road                       Journey Room                              Humble        77396      1
      12102 0617    D   Jowell Elementary School                           6355 Greenhouse Road                      Gym                                       Katy          77449‐4382 4
      92019 0540    D   Judson Robinson Junior Community Center            2020 Hermann Drive                        Gym                                       Houston       77004‐7322 1
      42006 0080    D   Judson Robinson Junior Elementary School           12425 Woodforest Boulevard                Multipurpose Room 118                     Houston       77013      2
      72055 0311    D   Judy Bush Elementary School                        9730 Stroud Drive                         Cafeteria                                 Houston       77036‐5105 4
      11122 0734 EV R   Juergens Hall Community Center                     26026 Hempstead Highway                   Dance Hall                                Cypress       77429‐7321 3
      92069 0161    D   Julia C Hester House                               2020 Solo Street                          Auditorium                                Houston       77020‐4224 1
      12016 0553    D   Julia W Kahla Middle School                        16212 West Little York Road               Performance Gym                           Houston       77084‐6509 4
      32044 0580    D   Kashmere High School                               6900 Wileyvale Road                       Multi‐Purpose Room                        Houston       77028      1
      91032 0042 EV D   Kashmere MultiService Center                       4802 Lockwood Drive                       Conference Room                           Houston       77026‐2941 1
      72024 0462    D   Kate Bell Elementary School                        12323 Shaftsbury Drive                    PE Room                                   Houston       77031‐3123 4
      12007 1059    R   Katherine Tyra Branch Library                      16719 Clay Road                           Meeting Room                              Houston       77084      4
      11107 1086 EV R   Katy Branch Harris County Public Library           5414 Franz Road                           Meeting Room                              Katy          77493‐1717 4
      12109 0639    R   Katy Civic Center                                  910 Avenue C                              Civic Center                              Katy          77493‐2403 4
      52008 0404    D   Keller Middle School                               1711 Magnolia Street                      Front Lobby                               Pasadena      77503      2
      62025 0238    D   Kelso Elementary School                            5800 Southmund Street                     Cafeteria                                 Houston       77033‐1832 1
      42004 0354    D   Kenneth J Tice Elementary School                   14120 Wallisville Road                    Cafeteria                                 Houston       77049‐4031 2
      32043 0606    D   Key Middle School                                  4000 Kelley Street                        Auditorium                                Houston       77026‐1534 1
      52059 0695    R   Kingsdale Recreation Center                        2218 Kingsdale Street                     Main Room                                 Deer Park     77536‐5828 2

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      82041 0522    R   Kingsland Baptist Church                                  20555 Kingsland Boulevard                 Chapel                                                       Katy           77450      4
      31059 0459 EV R   Kingwood Community Center                                 4102 Rustic Woods Drive                   Auditorium B                                                 Kingwood       77345‐1350 3
      32081 0590    R   Kingwood Middle School                                    2407 Pine Terrace Drive                   Cafeteria                                                    Kingwood       77339      3
      22094 0113    R   Kinsmen Lutheran Church                                   12100 Champion Forest Drive               Gym                                                          Houston        77066      1
      12053 0155    R   Kirk Elementary School                                    12421 Tanner Road                         Cafeteria                                                    Houston        77041      3
      22029 0648    R   Kleb Intermediate School                                  7425 Louetta Road                         Cafeteria                                                    Spring         77379      3
      21030 0876 EV R   Klein Multipurpose Center                                 7500 FM 2920                              Rooms 402                                                    Spring         77379‐2204 3
      22020 0672    R   Klein Oak High School                                     22603 Northcrest Drive                    Auditorium Lobby                                             Spring         77389‐4451 3
      22098 0493    D   Klenk Elementary School                                   6111 Bourgeois Road                       Cafeteria                                                    Houston        77066‐3903 1
      32041 0374    D   Knights of Columbus Hall Council 5077                     5309 Oates Road                           Ballroom                                                     Houston        77013‐2850 2
      22015 0245    R   Kohrville Elementary School                               11600 Woodland Shore Drive                Gym                                                          Tomball        77375‐8098 3
      12012 0621    D   Korean Central Presbyterian Church of Houston             14311 Park Row Drive                      Cafeteria                                                    Houston        77084‐5695 4
      12077 0689    D   Korean Christian Church of Houston                        10410 Clay Road                           Social Room                                                  Houston        77041‐8752 3
      52007 0908    D   Korean First Baptist Church                               4209 Red Bluff Road                       Fellowship Hall                                              Pasadena       77503      2
      22041 0853    R   Kuehnle Elementary School                                 5510 Winding Ridge Drive                  Gym                                                          Spring         77379‐8899 3
      42037 0220    R   L W Kolarik Education Center                              1120 Sheldon Road                         Library                                                      Channelview    77530‐3518 3
      91134 0434 EV R   La Quinta Inn & Suites by Wyndham Houston Galleria Area   1625 West Loop South                      Large Meeting Room                                           Houston        77027      4
      12019 0800    R   Labay Middle School                                       15435 Willow River Drive                  Main Hallway                                                 Houston        77095      3
      12075 0260    D   Lafaye Johnson Lee Elementary School                      12900 West Little York Road               Gym Rear Entrance                                            Houston        77041‐4212 3
      32007 1016    R   Lake Houston Church of Christ                             8003 Farmingham Road                      FELLOWSHIP HALL                                              Humble         77346‐2249 3
      32008 0776    R   Lake Houston Church of the Nazarene                       5616 FM 1960 Road East                    Kids Worship Room                                            Humble         77346      3
      32031 0964    R   Lakeshore Elementary School                               13333 Breakwater Path Drive               Cafeteria/Gym                                                Houston        77044‐1377 3
      12062 0486    R   Lakewood Elementary School                                15614 Gettysburg Drive                    Cafeteria                                                    Tomball        77377      3
      32046 0401    D   Lakewood Park Community Center                            8811 Feland Street                        Multi‐purpose Room                                           Houston        77028‐2016 1
      12155 0043    D   Landrum Middle School                                     2200 Ridgecrest Drive                     Auditorium                                                   Houston        77055‐1212 4
      92133 0060    D   Lanier Middle School                                      2600 Woodhead Street                      Weight Room                                                  Houston        77098‐1615 1
      72058 0296    R   Lansdale Park Community Center                            8201 Roos Road                            Main MultiPurpose Room                                       Houston        77036‐6313 4
      62009 1063    D   Laura Welch Bush Elementary School                        9100 Blackhawk Boulevard                  Front Hall/Foyer                                             Houston        77075‐2250 2
      12106 0639    R   Legacy Stadium                                            1830 Katyland Drive                       Community Rooms                                              Katy           77493      4
      22048 0500    R   Lemm Elementary School                                    19034 Joan Leigh Drive                    Cafeteria                                                    Spring         77388‐5255 3
      92060 0044    D   Leonel J Castillo Community Center                        2101 South Street                         Rooms 135 and 136                                            Houston        77009‐8039 2
      22107 0660    D   Lewis Elementary School                                   3230 Spears Road                          Cafeteria                                                    Houston        77067‐5214 1
      12002 0517    D   Lieder Elementary School                                  17003 Kieth Harrow Boulevard              PE room                                                      Houston        77084      4
      72017 1068    D   Liestman Elementary School                                7610 Synott Road                          Gym                                                          Houston        77083‐5199 4
      12144 0197    D   Lincoln Park Community Center                             979 Grenshaw Street                       Gym                                                          Houston        77088      1
      22104 0549    D   Link Elementary School                                    2815 Ridge Hollow Drive                   Gym                                                          Houston        77067‐1939 1
      92087 0018    D   Linkwood Park Community Center                            3699 Norris Drive                         Main MultiPurpose Room                                       Houston        77025‐3600 1
      32048 0253    D   Little Union Missionary Baptist Church                    6609 Letcher Drive                        Education Room                                               Houston        77028‐4029 1
      22067 0780    D   Little York Volunteer Fire Station 81                     10410 Airline Drive                       Training Room                                                Houston        77037‐1304 2
      62052 0392    D   Living Faith Baptist Church                               4310 Holloway Drive                       Living Faith Fellowship Hall                                 Houston        77047‐1119 1
      52062 0471    R   Lomax Junior High School                                  9801 North Avenue L                       Gymnasium                                                    La Porte       77571      2
      22018 0690    R   Londonderry Clubhouse                                     8331 London Way Drive                     Main Area                                                    Spring         77389‐3363 3
      21010 1145 EV R   Lone Star College Creekside                               8747 West New Harmony Trail               Room 116                                                     Tomball        77375      3
      12094 0305    D   Lone Star College Cypress Center                          19710 Clay Road                           CY 106 and 107                                               Katy           77449      4
      21113 0657 EV R   Lone Star College North Harris                            2700 WW Thorne Drive                      Career and Skilled Trades Technology Center, Rooms 101/103   Houston        77073      1
      11145 0848 EV D   Lone Star College Victory Center                          4141 Victory Drive                        Room 102                                                     Houston        77088      1
      52082 0715    D   Lone Star Flight Museum                                   11551 Aerospace Avenue                    Event Center Room156                                         Houston        77034      2
      92056 0339    D   Looscan Elementary School                                 3800 Robertson Street                     Hallway                                                      Houston        77009‐4959 2
      92100 0235    D   Lora B Peck Elementary School                             5001 Martin Luther King Boulevard         Cafeteria                                                    Houston        77021‐2711 1
      92114 0736    D   Love Park Community Center                                1000 West 12th Street                     Gymnasium/Main Multipurpose Room                             Houston        77008‐6619 1
      72044 0176    R   Lovett Elementary School                                  8814 South Rice Avenue                    Data Room 317                                                Houston        77096‐2622 1
      92106 0180    D   M E Foster Elementary School                              3919 Ward Street                          Multi purpose rm                                             Houston        77021‐4861 1
      92016 0194    D   MacGregor Elementary School                               4801 LaBranch Street                      Cafeteria                                                    Houston        77004‐5650 1
      72015 1068    D   Mahanay Elementary School                                 13215 High Star Drive                     Room 417‐Gym                                                 Houston        77083‐1905 4
      82061 0569    D   Mandarin Immersion Magnet School                          5445 West Alabama Street                  Library                                                      Houston        77056      4
      72035 0525    D   Marian Park Community Center                              11101 South Gessner Road                  Main MultiPurpose Room                                       Houston        77071      1

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Poll Codes PCT EV Party                               1122 Location                                          Address                                       Voting Room          City        Zip   CC
      72006 0781    D   Martin Elementary School                                     11718 Hendon Lane                         Room 164                                  Houston        77072‐3416 4
      41033 0141 EV R   Martin Flukinger Community Center                            16003 Lorenzo Street                      Large Assembly Room                       Channelview    77530      2
      22077 0411    D   Mary Walke Stephens Elementary School                        2402 Aldine Mail Route Road               Hallway                                   Houston        77039‐5510 2
      82067 0772    R   MAS Katy Center (Masjid Ar‐Rahman)                           1800 Baker Road                           Gymnasium/multipurpose room               Houston        77094      4
      21028 0082 EV R   Masjid AlSalam                                               16700 Old Louetta Road                    MPH Foyer                                 Spring         77379      3
      22157 0958    D   Masjid Bilal                                                 11815 Adel Road                           Gymnasium                                 Houston        77067      1
      92026 0072    D   Mason Park Community Center                                  541 South 75th Street                     Mason Clubhouse                           Houston        77023‐2701 2
      72019 0984    D   Mata Intermediate                                            9225 South Dairy Ashford Street           Cafeteria                                 Houston        77099      4
      12060 0694    D   Matzke Elementary School                                     10002 Mills Road                          Music room                                Houston        77070      3
      12011 1123    D   Mayde Creek High School                                      19202 Groeschke Road                      Performing Arts Center (Lobby)            Houston        77084‐5600 4
      22111 0884    D   McDougle Elementary School                                   10410 Kansack Lane                        Gym                                       Houston        77086      1
      12103 1136    D   McFee Elementary School                                      19315 Plantation Cove Lane                PE Room                                   Katy           77449‐4842 4
      52010 0170    D   McMasters Elementary School                                  1011 Bennett Drive                        Library                                   Pasadena       77503‐2205 2
      22084 0321    D   Melrose Park Community Center                                1001 Canino Road                          Gym/Main Multipurpose Room                Houston        77076‐1218 2
      22095 0082    R   Memorial Chase Home Owners Association Clubhouse             9411 Landry Boulevard                     Club House                                Spring         77379‐3857 3
      82058 0273    R   Memorial Drive Elementary School                             11202 Smithdale Road                      Library                                   Houston        77024‐6799 3
      92047 0070    R   Memorial Elementary School                                   6401 Arnot Street                         Room 103                                  Houston        77007‐2007 4
      82055 0439    R   Memorial Middle School                                       12550 Vindon Drive                        New Gymnasium                             Houston        77024‐4130 3
      12014 1138    D   Metcalf Elementary School                                    6100 Queenston Boulevard                  Gym                                       Houston        77084‐6400 4
      91065 0200 EV D   Metropolitan MultiService Center                             1475 West Gray Street                     Gym                                       Houston        77019‐4926 1
      92091 0472    D   Michael E DeBakey High School for Health Professions         2545 Pressler Street                      Room 148                                  Houston        77030      1
      92068 0160    D   Mickey Leland College Preparatory Academy for Young Men      1700 Gregg Street                         Lecture Hall                              Houston        77020      1
      22123 0596    D   Mildred Jenkins Elementary School                            4615 Reynaldo Drive                       Gym                                       Spring         77373‐6821 3
      72009 0429    D   Mildred Rickard Landis Elementary School                     10255 Spice Lane                          Gym Rm 302                                Houston        77072‐5035 4
      12177 0481    R   Millsap Elementary School                                    12424 Huffmeister Road                    PE Room                                   Cypress        77429      3
      72037 0525    D   Milne Elementary School                                      7800 Portal Drive                         Gymnasium                                 Houston        77071‐1700 1
      52074 0328    D   Milstead Middle School                                       338 Gilpin Street                         Gym                                       Houston        77034      2
      41016 0229 EV D   Milton Lusk Activity Center                                  1022 Mercury Drive                        Meeting Room                              Houston        77029      2
      71013 0647 EV D   Mission Bend Islamic Center                                  6233 Tres Lagunas                         Meeting Room                              Houston        77083      4
      82002 1126    D   Mission Bend United Methodist Church                         3710 South Texas 6                        Sanctuary                                 Houston        77082      4
      92055 0206    D   Montie Beach Park Community Center                           915 Northwood Street                      Main MultiPurpose Room                    Houston        77009‐3703 2
      92120 0123    D   Montrose Branch Houston Public Library                       4100 Montrose Boulevard                   Meeting Room                              Houston        77006‐4938 1
      91052 0206 EV D   Moody Park Community Center                                  3725 Fulton Street                        Main MultiPurpose Room                    Houston        77009      2
      22149 0321    D   Moreno Elementary School                                     620 East Canino Road                      Foyer                                     Houston        77037      2
      92088 0139    D   Morning Star Assisted Living and Memory Care at River Oaks   2315 Richmond Avenue                      Theater                                   Houston        77098      4
      12104 0618    D   Morton Ranch High School                                     21000 Franz Road                          PAC Lobby                                 Katy           77449‐5729 4
      62063 0722    D   Mount Moriah Missionary Baptist Church                       15500 Vandalia Way                        Fellowship Hall                           Houston        77053‐2128 1
      92103 0219    D   Mount Olive Baptist Church                                   3515 Yellowstone Boulevard                Fellowship Hall                           Houston        77021‐2407 1
      92046 0501    D   Mount Sinai Baptist Church Family Life Center                902 West 8th Street                       Gym                                       Houston        77007‐1408 1
      42047 0251    D   Mt Rose COGIC, City of Refuge                                13000 Crosby Lynchburg Road               Gym                                       Crosby         77532      3
      92021 0715    D   MultiCultural Center                                         951 Tristar Drive                         Right Lobby                               Webster        77598      2
      42029 0028    R   Navarre Funeral Home                                         2444 Rollingbrook Drive                   Foyer                                     Baytown        77521      2
      91022 0010 EV D   Neighborhood Centers Inc Ripley House Campus                 4410 Navigation Boulevard                 Gym                                       Houston        77011‐1036 2
      52083 0278    D   Nelda Sullivan Middle School                                 1112 Queens Road                          Cafeteria                                 Pasadena       77502      2
      32014 0733    D   New Beulah E Johnson Elementary School                       13901 Homestead Road                      Room 733                                  Humble         77396      2
      22100 0613    D   New Destiny Praise and Worship Center                        4170 West Greens Road                     Main Room Worship                         Houston        77066‐4850 1
      22103 0358    D   New Light Christian Center                                   1535 Greensmark Drive                     Sanctuary                                 Houston        77067      1
      32028 0230    D   New Mount Carmel Baptist Church                              4301 Weaver Road                          Fellowship Hall first Floor               Houston        77016‐5634 1
      92036 0138    D   New Pleasant Grove Baptist Church                            3221 Bain Street                          Fellowship Hall                           Houston        77026‐4405 1
      12010 0589    D   New Westlake Volunteer Fire Department Station               19636 Saums Road                          Meeting Room                              Houston        77084‐4732 4
      32067 0097    R   Newport Elementary School                                    430 North Diamondhead Boulevard           Gym                                       Crosby         77532‐4103 3
      22116 0657    D   Nimitz High School                                           2005 W W Thorne Boulevard                 Auditorium                                Houston        77073‐3301 1
      12148 0467    R   Nitsch Elementary School                                     4702 West Mount Houston Road              Parent Room 100                           Houston        77088‐3053 1
      12064 0484    R   Norchester Clubhouse                                         13439 Jones Road                          General Meeting Room                      Houston        77070‐3917 3
      41005 0460 EV D   North Channel Branch Library                                 15741 Wallisville Road                    Meeting Room                              Houston        77049‐4607 1
      21151 1070 EV D   North East Community Center                                  10918 Bently Street                       Meeting Room                              Houston        77093      2

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Poll Codes PCT EV Party                                 1122 Location                             Address                                    Voting Room          City         Zip   CC
      32040 0585    D   North Forest High School                         10726 Mesa Drive                          Gym                                     Houston         77078‐1401 1
      52031 0718    R   North Pointe Elementary School                   3200 Almond Creek Drive                   Gym                                     Houston         77059‐2812 2
      42008 0413    D   North Shore Elementary School                    14310 Duncannon Drive                     1502L                                   Houston         77015‐2514 2
      42007 0725    D   North Shore Middle School                        120 Castlegory Road                       Multipurpose Room                       Houston         77015‐1669 2
      22019 0552    R   Northampton MUD Community Center                 6012 Root Road                            Main Room                               Spring          77389‐3779 3
      12081 0310    R   Northbrook Middle School                         3030 Rosefield Drive                      Theater                                 Houston         77080‐2610 3
      12083 0444    R   Northbrook Senior High School                    1 Raider Circle South                     Auditorium                              Houston         77080‐3995 3
      22099 0468    D   Northcliffe Manor Community Center               12026 West Marsham Circle                 Community Center                        Houston         77066‐4439 1
      31061 0611 EV D   Northeast Multi‐Service Center                   9720 Spaulding Street                     Auditorium                              Houston         77016      1
      22120 0897    D   Northgate Crossing Elementary School             23437 Northgate Crossing Boulevard        Gym                                     Spring          77373‐5687 3
      12027 0485    R   Northpointe Intermediate School                  11855 Northpointe Boulevard               Cafeteria                               Tomball         77377      3
      42013 0821    D   Northshore Friends Church                        1013 Maxey Road                           Sanctuary                               Houston         77015‐4809 2
      12088 0498    D   Northwest Church of Christ                       6720 West Tidwell Road                    Fellowship Center                       Houston         77092‐1436 1
      92138 0562    D   Norton Memorial Temple Church of God In Christ   5008 Lucille Street                       Fellowship Hall                         Houston         77026      1
      72007 0781    D   Notre Dame Catholic Church Parish Hall           7720 Boone Road                           Parish Hall                             Houston         77072‐3595 4
      81024 0483 EV D   Nottingham Park Building                         926 Country Place Drive                   Meeting Room                            Houston         77079      4
      11123 0223 EV D   NRG Arena                                        1 NRG Parkway                             Hall D Gate 9                           Houston         77054      1
      12140 0189    R   Oak Forest Elementary School                     1401 West 43rd Street                     Multipurpose Room                       Houston         77018‐4106 1
      32006 0674    R   Oak Forest Elementary School Humble ISD          6400 Kingwood Glen Drive                  Cafeteria                               Humble          77346‐2039 3
      32004 0658    R   Oaks Elementary School                           5858 Upper Lake Drive                     Gym                                     Humble          77346‐1966 3
      92142 0905    D   Oates Elementary School                          10044 Wallisville Road                    Library                                 Houston         77013      2
      22002 0587    D   Ogden Elementary School                          21919 Rayford Road                        Music Room                              Humble          77338      3
      22076 0664    D   Oleson Elementary School                         12345 Vickery Street                      Library                                 Houston         77039‐3699 2
      92126 0140    D   One Delta Plaza Educational Center               3333 Old Spanish Trail                    Hall of Fame #1                         Houston         77021      1
      12023 0642    R   Owens Elementary School                          7939 Jackrabbit Road                      PE room                                 Houston         77095‐2901 3
      32016 0847    D   Park Lakes Elementary School                     4400 Wilson Road                          Cafeteria                               Humble          77396‐2497 1
      52006 0419    R   Park View Intermediate School                    3003 Dabney Drive                         Choir Room                              Pasadena        77502‐5530 2
      72047 0014    D   Parker Elementary School                         10626 Atwell Drive                        Auditorium                              Houston         77096‐4925 4
      52018 0534    R   Parkgate Community Church                        3715 Preston Avenue                       Kix Building                            Pasadena        77505‐2012 2
      82020 0461    R   Parkway Place                                    1321 Park Bayou Drive                     Auditorium/Chapel                       Houston         77077‐1507 4
      52024 0190    D   Pasadena High School                             206 South Shaver Street                   Front Office Foyer                      Pasadena        77506‐2016 2
      12179 1120    D   Patricia E. Paetow High School                   23111 Stockdick School Road               Performing Arts Center Lobby            Katy            77493      4
      82010 0492    R   Paul Revere Middle School                        10502 Briar Forest Drive                  Hallway/Auditorium                      Houston         77042‐2338 4
      52081 0328    D   Pearl Hall Elementary School                     1504 9th Street                           Library                                 South Houston   77587‐5000 2
      52072 0181    D   Pearl Rucker Elementary School                   5201 Vinett Street                        Gym                                     Houston         77017‐4958 2
      22080 0409    D   Pep Mueller County Park Clubhouse                14750 Henry Road                          Meeting Room                            Houston         77060‐5625 2
      92083 0232    R   Pershing Middle School                           3838 Blue Bonnet Boulevard                Skyline Hallway                         Houston         77025‐1230 1
      82034 0432    D   Pilgrim Academy                                  6302 Skyline Drive                        Library                                 Houston         77057‐6902 4
      92097 0215    R   Pin Oak Middle School                            4601 Glenmont Drive                       Library                                 Bellaire        77401‐2328 1
      32005 1016    R   Pine Forest Elementary School                    19702 West Lake Houston Parkway           Cafeteria                               Humble          77346‐2000 3
      82056 0439    R   Pines Presbyterian Church                        12751 Kimberley Lane                      Fellowship Hall                         Houston         77024      3
      82038 0433    D   Piney Point Elementary School                    8921 Pagewood Lane                        Gym                                     Houston         77063‐5543 4
      52086 0416    D   Pipers Meadow Community Center                   15920 Pipers View Drive                   Community Center                        Webster         77598‐2550 2
      72027 0146    D   Platou Community Center                          11655 Chimney Rock Road                   Main MultiPurpose Room                  Houston         77035‐2807 4
      92039 0259    D   Pleasantville Elementary School                  1431 Gellhorn Drive                       Cafeteria                               Houston         77029‐3343 1
      22150 0958    D   Plummer Middle School                            11429 Spears Road                         Mini Gym/Practice Gym                   Houston         77067      1
      92130 0019    D   PNC Stadium                                      2200 Texas Street                         Concourse                               Houston         77003      1
      92096 0895    D   Poe Elementary School                            5100 Hazard Street                        Front Hallway                           Houston         77098‐5330 1
      52026 0191    D   Pomeroy Elementary School                        920 Burke Road                            Gym                                     Pasadena        77506‐5242 2
      22022 0465    D   Ponderosa Elementary School                      17202 Butte Creek Road                    Library                                 Houston         77090‐2332 3
      12133 0923    R   Pope Elementary School                           19019 North Bridgeland Lake Parkway       Music room                              Cypress         77433‐3468 3
      12130 0875    D   Postma Elementary School                         18425 West Road                           Gym                                     Cypress         77433‐2375 4
      11167 1097 EV D   Prairie View A&M University Northwest            9449 Grant Road                           Room 107                                Houston         77070      3
      92057 0005    D   Proctor Plaza Park Community Center              803 West Temple Street                    Main MultiPurpose Room                  Houston         77009‐5257 1
      42003 0353    D   Purple Sage Elementary School                    6500 Purple Sage Road                     Main Entry                              Houston         77049‐3800 2
      12166 0225    D   Quality Suites Cy‐Fair at Jones Road             17550 Northwest Freeway                   Meeting Room                            Houston         77065      3

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      71022 0462 EV D   Raindrop Turkish House                                        9301 West Bellfort Boulevard              Turkistan Room and Selcuk Room                    Houston        77031       4
      22005 0334    D   Ramada Inn                                                    6115 Will Clayton Parkway                 Lilly and Lilac Room                              Humble         77338‐8127 1
      12049 0495    R   Ramona Bang Elementary School                                 8900 Rio Grande Drive                     GYM                                               Houston        77064‐7137 3
      92020 0069    D   Raul C Martinez Annex                                         1001 SSGT Macario Garcia Drive            Room 204                                          Houston        77011       2
      52071 0526    D   Raul Yzaguirre School for Success Tejano Center Building B    2950 Broadway Boulevard                   Tejano Center for Community Concerns Board Room   Houston        77017‐1794 2
      82017 0510    D   Ray K Daily Elementary School                                 12909 Briar Forest Drive                  Gym                                               Houston        77077       4
      62024 0288    D   Reagan Webb Mading Elementary School                          8511 Crestmont Street                     Cafeteria                                         Houston        77033       1
      52025 0301    D   Red Bluff Elementary School                                   416 Bearle Street                         Cafeteria                                         Pasadena       77506‐3098 2
      72029 0255    D   Red Elementary School                                         4520 Tonawanda Drive                      Cafeteria                                         Houston        77035‐3716 1
      82004 0600    D   Rees Elementary School                                        16305 Kensley Drive                       Gym                                               Houston        77082‐2847 4
      82069 0807    D   Residence Inn by Marriott Houston Westchase on Westheimer     9965 Westheimer                           Conference Room                                   Houston        77042       4
      92113 0902    R   Resurrection Metropolitan Community Church                    2025 West 11th Street                     Activities Building                               Houston        77008‐6320 4
      62062 0158    D   Reynolds Elementary School                                    9601 Rosehaven Drive                      Multi Purpose                                     Houston        77051‐3132 1
      92077 0361    D   Rice University‐Welcome Center                                6100 Main Street                          Sewall Hall/Welcome Center                        Houston        77005       1
      72038 0525    D   Riceville Mount Olive Baptist Church Multi Purpose Building   11231 South Gessner Road                  Multi Purpose                                     Houston        77071‐2209 1
      22106 0958    D   Richard and Kitty Spence Elementary School                    1300 Gears Road                           Library                                           Houston        77067‐4204 1
      11134 0790 EV D   Richard and Meg Weekley Community Center                      8440 Greenhouse Road                      Room 300                                          Cypress        77433‐5135 4
      62007 0308    D   Rick Schneider Middle School                                  8420 Easthaven Boulevard                  Foyer                                             Houston        77075‐1106 2
      41046 0251 EV D   Riley Chambers Community Center                               808 1/2 Magnolia Avenue                   Large Assembly Room                               Crosby         77532       3
      92067 0227    R   River Oaks Elementary School                                  2008 Kirby Drive                          Music Room                                        Houston        77019‐6016 4
      92090 0217    R   River Oaks Recreation Center                                  3600 Locke Lane                           Main MultiPurpose Room                            Houston        77027‐4003 4
      32018 0888    D   River Pines Elementary School                                 2400 Cold River Drive                     Cafeteria                                         Humble         77396‐4290 3
      32062 0546    R   Riverwood Middle School                                       2910 High Valley Drive                    Commons                                           Kingwood       77345‐1852 3
      52063 1096    R   Rizzuto Elementary School                                     3201 Farrington Street                    Cafeteria                                         La Porte       77571       2
      62032 0402    D   Robert L Frost Elementary School                              5002 Almeda Genoa Road                    Cafeteria                                         Houston        77048‐4725 1
      92092 0148    D   Roberts Elementary School                                     6000 Greenbriar Drive                     101c                                              Houston        77030       1
      12180 0049    R   Roberts Road Elementary School                                24920 Zube Road                           Gym                                               Hockley              77447 4
      22060 0171    D   Roderick Paige Elementary                                     7501 Curry Road                           Parent Conference Room                            Houston        77093       2
      12069 0609    R   Rolling Fork Club                                             9110 Rodney Ray Boulevard                 Clubhouse                                         Houston        77040‐1525 1
      12006 0622    R   Ronnie Truitt Middle School                                   6600 Addicks Satsuma Road                 Auxiliary 530                                     Houston        77084‐1520 4
      12029 0126    R   Rosehill Elementary School                                    17950 Waller Tomball Road                 Gym Hallway                                       Tomball        77377‐2622 4
      92033 0544    D   Ross Elementary School                                        2819 Bay Street                           T‐Building 32 Room T‐2                            Houston        77026‐3203 1
      22045 0482    R   Roth Elementary School                                        21623 Castlemont Lane                     Gym                                               Spring         77388‐3860 3
      32036 0376    D   Royalwood Elementary School                                   7715 Royalwood Drive                      Auditorium                                        Houston        77049‐2314 2
      12114 0691    R   Royce Black Elementary School                                 14155 Grant Road                          Gym                                               Cypress        77429‐1398 3
      82027 0258    R   Rummel Creek Elementary School                                625 Brittmoore Road                       Library Kiva                                      Houston        77079‐6101 4
      92135 0015    R   Saint Andrews Presbyterian Church                             5308 Buffalo Speedway                     Warren Family Center                              Houston        77005‐2122 1
      92136 0217    R   Saint Anne Catholic Church                                    2140 Westheimer Road                      Saint Basil Hall                                  Houston        77098       4
      92053 0166    D   Saint Anne de Beaupre Catholic Church                         2810 Link Road                            The Big Hall (Building 1)                         Houston        77009       2
      22110 0623    R   Saint Dunstans Episcopal Church Parish Hall                   14301 Stuebner Airline Road               Room 304/305                                      Houston        77069‐3529 3
      92018 0136    D   Saint James Episcopal Church                                  3129 Southmore Boulevard                  Parish Hall Building C                            Houston        77004‐6214 1
      11112 0300 EV R   Saint John Lutheran Church and School                         15235 Spring Cypress Road                 Chapel                                            Cypress              77429 3
      92015 0085    D   Saint Luke the Evangelist Episcopal Church                    3530 Wheeler Avenue                       Parish Hall                                       Houston        77004‐5527 1
      92050 0710    R   Saint Lukes Missionary Baptist Church                         714 Detering Street                       Fellowship Hall                                   Houston        77007‐5195 4
      82030 0234    R   Saint Martin's Episcopal Church                               717 Sage Road                             Scout Center                                      Houston        77056       3
      92017 0210    D   Saint Marys Catholic Church                                   3006 Rosedale Street                      Gym                                               Houston        77004‐6199 1
      12115 0442    R   Saint Marys Episcopal Church                                  15415 North Eldridge Parkway              Room 106                                          Cypress        77429‐2005 3
      12070 0593    D   Saint Matthews Catholic Church                                9915 Hollister Drive                      Auditorium                                        Houston        77040‐1702 1
      92054 0637    D   Saint Patrick Catholic Church                                 4918 Cochran Street                       Parish Hall                                       Houston        77009       2
      12041 0576    D   Saint Pauls Missionary Baptist Church                         2516 Paul Quinn Street                    Fellowship Hall                                   Houston        77091‐4712 1
      61031 0132 EV D   Saint Philip Neri Catholic Church                             10960 Martin Luther King Boulevard        Hospitality Room                                  Houston        77048‐1896 1
      22061 0478    R   Saint Timothy Lutheran Church                                 14225 Hargrave Road                       Adult Education Building                          Houston        77070       3
      12131 0405    R   Salyards Middle School                                        21757 Fairfield Place Drive               Library                                           Cypress        77433‐3196 3
      52004 0267    D   Sam Rayburn High School                                       2121 Cherrybrook Lane                     Gym 1                                             Pasadena       77502‐4101 2
      12121 0300    R   Sampson Elementary School                                     16002 Coles Crossing Drive North          PE Room                                           Cypress        77429‐6981 3
      21013 529 EV R    Samuel Matthews Park Community Center                         1728 Hufsmith Road                        Room A                                            Tomball        77375‐4918 3

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Poll Codes PCT EV Party                                1122 Location                                               Address                                   Voting Room          City         Zip   CC
      42010 0352    R   San Jacinto College Central Campus Library                      8060 Spencer Highway                      C‐21.101 Library Grand Hall              Pasadena        77505‐5999 2
      31072 0096 EV D   San Jacinto College Generation Park                             13455 Lockwood Road                       Room G‐2.125                             Houston         77044      1
      41041 0063 EV R   San Jacinto Community Center                                    604 Highland Woods Drive                  Art Room and Small Assembly Room         Highlands       77562‐4546 3
      72076 0335    D   San Mateo Episcopal Church                                      6635 Alder Drive #2                       Parish Hall                              Houston         77081      4
      12105 0712    D   Sandra Bales Walker Elementary School                           6424 Settlers Village Drive               Gym                                      Katy            77449‐6503 4
      92071 0079    D   Scroggins Elementary School                                     400 Boyles Street                         Library                                  Houston         77020‐5242 2
      52045 0333    R   Seabrook Intermediate School                                    2401 North Meyer Road                     Practice Gym                             Seabrook        77586‐2964 2
      62038 0766    D   Seguin Elementary School                                        5905 Waltrip Street                       Multipurpose Room                        Houston         77087      2
      22055 0579    D   Sendero de la Cruz                                              513 West Rittenhouse Road                 Sanctuary                                Houston         77091‐2404 2
      92006 0009    D   Settegast Park Community Center                                 3000 Garrow Street                        Main MultiPurpose Room                   Houston         77003‐2326 2
      32063 0758    R   Shadow Forest Elementary School                                 2300 Mills Branch Drive                   Cafeteria                                Kingwood        77345‐2100 3
      12034 0056    R   Shadow Oaks Elementary School                                   1335 Shadowdale Drive                     Flex Room 214                            Houston         77043‐4208 3
      82023 0625    R   Shadowbriar Elementary School                                   2650 Shadowbriar Drive                    Multipurpose Room                        Houston         77077‐6000 4
      22058 0152    D   Shady Lane Park Community Center                                10220 Shady Lane                          Main MulitPurpose Room                   Houston         77093‐4604 2
      32027 0611    D   Shadydale Elementary School                                     5905 Tidwell Road                         Front foyer                              Houston         77016‐4745 1
      72057 0426    R   Sharpstown International School                                 8330 Triola Lane                          Library                                  Houston         77036‐6310 4
      72053 0297    D   Sharpstown Park Community Center                                6600 Harbor Town Drive                    MultiPurpose Room 2                      Houston         77036‐4052 4
      72049 0017    D   Shearn Elementary School                                        9802 Stella Link Road                     Library                                  Houston         77025‐4605 1
      32035 0976    D   Sheldon Elementary School                                       17203 Hall Shepperd Road                  Library                                  Houston         77049‐1049 1
      32033 0096    D   Sheldon ISD Administration Building Network Operations Center   11411B CE King Parkway                    Rooms 150 and 151                        Houston         77044‐7192 1
      92085 0175    D   Sheltering Arms Community Center                                3838 Aberdeen Way                         Education Room                           Houston         77025‐2416 1
      11091 0323 EV D   Sheraton Houston Brookhollow Hotel                              3000 North Loop West Freeway              Jasmine I & II                           Houston         77092‐8810 4
      22112 0697    D   Shotwell Middle School                                          6515 Trail Valley Way                     Mini Gym                                 Houston         77086‐2024 1
      91101 0235 EV D   Shrine of the Black Madonna Cultural and Event Center           5309 Martin Luther King Boulevard         The Red Room                             Houston         77021      1
      32020 0960    D   Sierra Meadows Apartments                                       9835 North Sam Houston Parkway East       Clubhouse Leasing/Community Room         Humble          77396‐4637 1
      92108 0902    D   Sinclair Elementary School                                      6410 Grovewood Lane                       Library                                  Houston         77008      4
      62019 0475    D   SJC South Campus Fine Arts Center Building 15                   13735 Beamer Road Entrance B              Auditorium                               Houston         77089      2
      82015 0566    D   Sneed Elementary School                                         9855 Pagewood Lane                        Room 305                                 Houston         77042‐5523 4
      62018 1116    D   South Belt Elementary School                                    1801 Riverstone Ranch Road                Front Area                               Houston         77089‐5724 2
      62058 1006    D   South Early College High School                                 1930 Airport Boulevard                    Multi Purpose Room                       Houston         77051      1
      52080 0029    D   South Houston Intermediate School                               900 College Avenue                        Front Foyer                              South Houston   77587‐4261 2
      92099 0031    D   South Union Missionary Baptist Church Annex                     3569 Lydia Street                         Annex                                    Houston         77021      1
      92082 0089    R   Southside Place Park Clubhouse                                  3743 Garnet Street                        Clubhouse/The Big Room                   Houston         77005‐3715 1
      72012 0646    D   Southwest Community Christian Center                            14880 Bellaire Boulevard                  Gymnasium                                Houston         77083      4
      52030 0748    D   Space Center Intermediate School                                17400 Saturn Lane                         Large Gym/Competition Gym                Houston         77058‐4400 2
      12113 1022    R   Spillane Middle School                                          13403 Woods‐Spillane Boulevard            Performance gym                          Cypress         77429      3
      91109 0054 EV D   SPJST Lodge Num 88                                              1435 Beall Street                         Annex in back of main building           Houston         77008‐3441 1
      12086 0973    R   Spring Branch Elementary School                                 1700 Campbell Road                        Gymnasium                                Houston         77080‐7404 3
      82049 0441    R   Spring Branch Memorial Library                                  930 Corbindale Road                       Meeting Room                             Houston         77024      3
      82053 0441    R   Spring Branch Middle School                                     1000 Piney Point Road                     Auditorium                               Houston         77024‐2796 3
      22044 0482    D   Spring Chateau                                                  4010 FM 2920                              Madison Square Room                      Spring          77388‐3229 3
      22042 0500    R   Spring First Church                                             1851 Spring Cypress Road                  Youth Center ‐ Sanctuary Hall            Spring          77388      3
      22090 0894    D   Spring ISD Child Nutrition and Training Center                  15330 Kuykendahl Road                     Training Theater                         Houston         77014      1
      22153 0883    D   Spring ISD Transportation Center                                341 East Richey Road                      Training Room A&B                        Houston         77073      1
      12084 0445    R   Spring Woods Baptist Church                                     10131 Emnora Lane                         Gym                                      Houston         77080      3
      12085 0444    R   Spring Woods Middle School                                      9810 Neuens Road Enter 9700 Hammerly      ISS Room 930                             Houston         77080‐6498 3
      12175 0479    R   SpringHill Suites by Marriott Houston Northwest                 20303 Chasewood Park Drive                Discovery C Room                         Houston         77070      3
      12052 0713    D   SpringHill Suites Northwest‐Cypress                             20350 Northwest Freeway                   Salvador II                              Houston         77065      3
      42020 0099    D   Sterling Municipal Library                                      1 Mary Elizabeth Wilbanks Avenue          Wilhite Meeting Room                     Baytown         77520      2
      11003 0804 EV D   Steve Radack Community Center                                   18650 Clay Road                           Auditorium                               Houston         77084      4
      22039 0514    R   Strack Intermediate School                                      18027 South Kuykendahl Road               Gym                                      Spring          77379‐8199 3
      42022 0456    R   Stuart Career Tech High School                                  300 YMCA Drive                            East Building Commoms                    Baytown         77520      2
      62017 0417    D   Stuchbery Elementary School                                     11210 Hughes Road                         Gym                                      Houston         77089‐4636 2
      72062 0938    D   Sugar Grove Academy                                             8405 Bonhomme Road                        Gymnasium                                Houston         77074      4
      61059 0158 EV D   Sunnyside Multi Service Center                                  9314 Cullen Boulevard                     Classroom 186                            Houston         77051      1
      62060 0068    D   Sunnyside Park Community Center                                 3502 Bellfort Street                      Main MultiPurpose Room                   Houston         77051‐1402 1

                                                                                                                                                                                       Tatum_005259
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                                                                                               Election Day Vote Centers ‐ 1122


Poll Codes PCT EV Party                                1122 Location                                             Address                                     Voting Room          City        Zip    CC
      82014 0807    D   Sunset Shadows Apartments Clubhouse                             9850 Meadowglen Lane                      Business Center                          Houston        77042‐4303 4
      52003 0278    D   Sunset United Methodist Church                                  709 Allendale Road                        Gym                                      Pasadena       77502‐3501 2
      72070 0345    D   Sylvan Rodriguez Jr Elementary School                           5858 Chimney Rock Road                    Community Center Room 907                Houston        77081‐2715 4
      82032 0435    R   T H Rogers School                                               5840 San Felipe Street                    Orchestra Room                           Houston        77057       3
      32038 0371    D   Tabernacle of Praise Family Worship Center                      8814 Tidwell Road                         Main Sanctuary                           Houston        77078       1
      82060 0436    R   Tanglewood Middle School                                        5215 San Felipe Street                    Gym                                      Houston        77056       4
      91009 0085 EV D   Texas Southern University Terry Library                         3100 Cleburne Street                      Terry Library                            Houston        77004       1
      22023 0550    D   The Abiding Word Lutheran Church and School                     17123 Red Oak Drive                       Narthex                                  Houston        77090‐2600 1
      52061 0561    R   The Academy of Viola De Walt                                    401 North 2nd Street                      Gymnasium                                La Porte       77571       2
      61045 0458 EV D   The Collective‐The Power Center                                 12401 South Post Oak Road                 South East South Wing                    Houston        77045‐2020 1
      62047 0216    D   The Crossing Community Church                                   3225 West Orem Drive                      Crossing Life Center                     Houston        77045‐4603 1
      82059 0730    R   The Forum at Memorial Woods                                     777 North Post Oak Road                   Multipurpose Room                        Houston        77024       3
      11067 0966 EV D   The Grand Tuscany Hotel                                         12801 Northwest Freeway                   The Plaza                                Houston        77040       4
      32017 0840    D   The Light of the World Christian Fellowship                     16161 Old Humble Road                     Auditorium                               Humble         77396‐3851 1
      12176 0519    R   The MET Church Student Ministry                                 12903 Jones Road                          Studen Ministry Building‐Foyer Area      Houston        77020       3
      92084 0350    D   The Rice School                                                 7550 Seuss Drive                          Hallway/Auditorium                       Houston        77025‐2271 1
      22148 0326    D   The Victory International Church Houston                        170 Rittenhouse Street                    Gym                                      Houston        77076       2
      22034 0648    R   Theiss Elementary School                                        17510 Theiss Mail Route Road              Gym                                      Klein          77379‐4615 3
      12057 0641    R   Thomas M Danish Elementary School                               11850 Fallbrook Drive                     Music room                               Houston        77065‐3508 3
      22091 0140    D   Thompson Elementary School                                      6121 Tierwester Street                    Gymnasium                                Houston        77021‐1311 1
      22156 0660    D   Thompson Elementary School                                      12470 Walters Road                        Gym                                      Houston        77014‐2422 1
      12099 0951    D   Thornton Middle School                                          19802 Kieth Harrow Boulevard              Performance Gym                          Katy           77449‐4885 4
      92024 0069    D   Tijerina Elementary School                                      6501 Sherman Street                       Cafeteria                                Houston        77011       2
      22154 0006    D   Timber Lane Community Center                                    1904 Naplechase Crest Drive               Meeting Room A/B                         Spring         77373       3
      32013 0117    R   Timbers Elementary School                                       6910 Lonesome Woods Trail                 Cafeteria                                Humble         77346‐5016 3
      12015 0643    D   Tipps Elementary School                                         5611 Queenston Boulevard                  Gym                                      Houston        77084‐6431 4
      62061 0295    D   To Be Determined (Greater Lighthouse Church of God in Christ)   4514 Knoxville Street                     Fellowship Hall                          Houston        77051‐2662 1
      82028 0437    R   To Be Determined (Nottingham Elementary School)                 570 Nottingham Oaks Trail                 Gymnasium                                Houston        77079‐6399 4
      82009 0356    R   To Be Determined (Walnut Bend Elementary School)                10620 Briar Forest Drive                  Multipurpose Gym                         Houston        77042‐2320 4
      61055 0630 EV D   Tom Bass Park Community Center Section Three                    15108 Cullen Boulevard                    Auditorium                               Houston        77047‐6714 1
      22008 0127    R   Tomball Intermediate School                                     723 West Main Street                      Auditorium                               Tomball        77375       3
      21009 0127 EV R   Tomball Public Works Building                                   501B James Street                         Training Room                            Tomball        77375       3
      12068 1092    D   TownePlace Suites by Marriott Houston Northwest/Beltway 8       8845 West Road                            Meeting Room                             Houston        77064       1
      92140 0016    D   Toyota Center                                                   1510 Polk Street                          VIP A and B                              Houston        77002       1
      81008 0566 EV D   Tracy Gee Community Center                                      3599 Westcenter Drive                     Art Rooms 1 & 2                          Houston        77042       4
      92059 0004    D   Travis Elementary School HISD                                   3311 Beauchamp Street                     Library                                  Houston        77009‐6613 1
      12156 0299    D   Treasure Forest Elementary School                               7635 Amelia Road                          Cafeteria                                Houston        77055‐1737 4
      12101 0331    D   Tri‐County Baptist Church                                       5715 Peek Road                            Fellowship Hall                          Katy           77449       4
      11158 0707 EV R   Trini Mendenhall Community Center                               1414 Wirt Road                            Auditorium                               Houston        77055‐4917 3
      42048 0456    R   Trinity Episcopal Church                                        5010 North Main Street                    Fellowship Hall                          Baytown        77521       2
      92013 0020    D   Trinity Episcopal Church                                        1015 Holman Street                        Fellowship Hall                          Houston        77004‐3810 1
      92121 0918    D   Trinity Lutheran Church Downtown                                800 Houston Avenue                        Gym                                      Houston        77007       1
      12013 0676    D   True Grace Bible Church                                         17370 West Little York Road               Sanctuary                                Houston        77084‐6301 4
      92031 0854    D   Tuffly Park Community Center                                    3200 Russell Street                       Multi‐purpose Room                       Houston        77026       1
      22122 0634    R   Twin Creeks Middle School                                       27100 Cypresswood Drive                   Gym                                      Spring         77373‐6300 3
      22155 0970    D   ULH Event Center                                                331 United Leuva Circle                   Ballroom                                 Houston        77060       2
      22063 0684    R   Ulrich Intermediate School                                      10103 Spring Cypress Road                 Library                                  Houston        77070‐6417 3
      82031 0272    D   Unity of Houston                                                2929 Unity Drive                          Santuary                                 Houston        77057       4
      52034 0174    R   University Baptist Church                                       16106 Middlebrook Drive                   Chapel                                   Houston        77059‐6034 2
      51038 0391 EV R   University of Houston Clear Lake                                2700 Bay Area Boulevard                   UH Clear Lake Bayou Building             Houston        77058       2
      91010 0389 EV D   University of Houston Student Center                            4455 University Drive                     Room 214 Space City                      Houston        77004       1
      91001 0369 EV D   University of Houston‐Downtown                                  201 Girard Street                         GSB 307, Milam & Travis Rooms            Houston              77002 2
      12160 0577    R   Valley Oaks Elementary School                                   8390 Westview Drive                       Library                                  Houston        77055‐6738 3
      72034 0525    D   Valley West Elementary School                                   10707 South Gessner Road                  Cafeteria                                Houston        77071       1
      12108 1102    R   Venture Christian Church                                        25133 Lakecrest Manor Drive               Lobby Room                               Katy           77493       4
      31084 700 EV R    Vera Brummet May Community Center                               2100 Wolf Road                            Room 118                                 Huffman              77336 3

                                                                                                                                                                                         Tatum_005260
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                                                                                                     Election Day Vote Centers ‐ 1122


Poll Codes PCT EV Party                                1122 Location                                                    Address                                   Voting Room          City        Zip   CC
      21071 0595 EV D   Victory Houston                                                       809 West Road                             Event Center                            Houston        77038      2
      72054 0567    D   Vietnamese Community Center                                           7100 Clarewood Drive                      Main Hall                               Houston        77036‐4402 4
      52014 0347    R   Vincent Miller Intermediate School                                    1002 Fairmont Parkway                     Gym                                     Pasadena       77054      2
      42035 0719    R   Viola Cobb Elementary School                                          915 Dell Dale Street                      Cafeteria                               Channelview    77530      2
      82047 0119    R   Voss Project Center at Gerald D. Young Agricultural Sciences Center   5801 Katy Hockley Cut Off Road            Voss Project Center                     Katy           77493      4
      52073 0329    D   W I Stevenson Middle School                                           9595 Winkler Drive                        Library                                 Houston        77017‐5921 2
      12090 0505    D   Wainwright Elementary School                                          5330 Milwee Street                        Cafeteria                               Houston        77092‐6655 1
      82037 0298    R   Waldo Emerson Elementary School                                       9533 Skyline Drive                        Dance Room                              Houston        77063‐5215 4
      12150 0147    D   Walter and Inez Stovall EC/PK/K School                                3025 Ellington Street                     Library                                 Houston        77088‐4599 1
      12142 0927    D   Waltrip High School                                                   1900 West 34th Street                     ISS Room                                Houston        77018‐6186 1
      12127 0511    R   Warner Elementary School                                              10400 Warner Smith Boulevard              505 Art Room                            Cypress        77433      3
      12181 0675    R   Wayne C. Schultz Junior High School                                   20950 Field Store Road                    Auditorium Lobby                        Waller         77484      4
      62010 1064    R   Weber Elementary School                                               11955 Blackhawk Boulevard                 Gym                                     Houston        77089      2
      61001 0750 EV R   Webster Civic Center                                                  311 Pennsylvania Avenue                   Civic Center                            Webster        77598‐5230 2
      72036 0652    D   Welch Middle School                                                   11544 South Gessner Road                  Auditorium                              Houston        77071      1
      22127 0615    R   Wells Middle School Auxiliary Gym                                     4033 Gladeridge Drive                     Gym                                     Houston        77068      3
      12039 0327    D   Wesley Elementary School                                              800 Dillard Street                        Cafeteria                               Houston        77091‐2301 1
      82016 0461    R   West Briar Middle School                                              13733 Brimhurst Drive                     Auditorium Hallway                      Houston        77077      4
      32071 0098    R   West Campus Gym                                                       24403 East Lake Houston Parkway           Gym                                     Huffman        77336‐4447 3
      12018 0709    D   West Houston Church of Christ                                         17100 West Road                           Gym                                     Houston        77095      3
      92080 0183    R   West University Community Building and Senior Center                  6104 Auden Street                         Auditorium                              Houston        77005‐2814 1
      92081 0087    R   West University Scout House                                           6108 Edloe Street                         Clubhouse                               Houston        77005‐2899 1
      62002 0845    R   Westbrook Intermediate School                                         302 West El Dorado Boulevard              Library                                 Friendswood    77546‐1724 2
      72046 0403    R   Westbury Baptist Church                                               10425 Hillcroft Street                    Game Room in Family Life Center         Houston        77096‐4798 4
      72025 1040    D   Westbury Senior High School                                           11911 Chimney Rock Road                   Library                                 Houston        77035      1
      22057 0591    D   Westfield Volunteer Fire Station 2                                    11255 Bentley Street                      Bay 1                                   Houston        77093‐2752 2
      82048 0362    R   Westland Baptist Church                                               1407 West Grand Parkway South             Gym                                     Katy           77494      4
      92074 0202    D   Wheatley Senior High School                                           4801 Providence Street                    Auditorium                              Houston        77020‐7235 1
      91011 0390 EV D   Wheeler Avenue Baptist Church                                         3826 Wheeler Avenue Building D            Fellowship Hall                         Houston        77004‐2604 1
      32009 0363    D   Whispering Pines Elementary School                                    17321 Woodland Hills Drive                Cafeteria                               Humble         77346‐3001 3
      12028 1151    R   Wildwood Elementary School                                            13802 Northpointe Boulevard               Cafeteria                               Tomball        77377‐2442 3
      12051 0244    D   Willbern Elementary School                                            10811 Goodspring Drive                    PE Room                                 Houston        77064‐9419 3
      42023 0013    R   William B. Travis Elementary                                          100 Robin Road                            Main Hallway                            Baytown        77520      2
      72065 0256    D   William S Sutton Elementary School                                    7402 Albacore Drive                       Parent room R12                         Houston        77074‐6512 4
      52002 0188    D   Williams Elementary School                                            1522 Scarborough Lane                     Gym                                     Pasadena       77502‐1674 2
      12071 0628    D   Willie B Ermel Elementary School                                      7103 Woodsman Trail                       Library                                 Houston        77040‐1839 1
      32061 0760    R   Willow Creek Elementary School in Humble ISD                          2002 Willow Terrace Drive                 Cafeteria                               Humble         77345‐1785 3
      72028 0287    D   Willow Meadows Baptist Church                                         4300 West Bellfort Street                 Gym                                     Houston        77035‐3602 1
      62043 0286    D   Windsor Village Community Center                                      14441 Croquet Lane                        Main MultiPurpose Room                  Houston        77085‐3352 1
      22121 0558    R   Winship Elementary School                                             2175 Spring Creek Drive                   Cafeteria                               Spring         77373‐6199 3
      82071 0432    R   Wisdom High School                                                    6529 Beverly Hill Street                  Event Lobby                             Houston        77057      4
      12135 1055    R   Woodard Elementary School                                             17501 Cypress North Houston               Music Room                              Cypress        77433‐5246 3
      32032 0421    D   Woodcreek Middle School                                               14600 Woodson Park Drive                  University Way                          Houston        77044‐4492 1
      12126 0901    R   Woodie Coker Andre Elementary School                                  8111 Fry Road                             PE Room                                 Cypress        77433      3
      42014 0162    D   Woodland Acres Elementary School                                      12936 Sarahs Lane                         Room 103                                Houston        77015‐6396 2
      32052 0340    R   Woodland Hills Elementary                                             2222 Tree Lane                            Cafeteria                               Kingwood       77339      3
      92143 0044    D   Woodland Park Community Center                                        212 Parkview Street                       Gym                                     Houston        77009      2
      62051 0271    D   Woodson Elementary School                                             10720 Southview                           Cafeteria                               Houston        77047      1
      12154 0262    R   Woodview Elementary School                                            9749 Cedardale Drive                      Cafeteria                               Houston        77055      3
      12162 0789    R   World Changers Church Houston                                         7934 Highway 6 North                      Fellowship Hall Building                Houston        77095      3
      82039 0547    R   World Theater                                                         1012 South Mason Road                     Community Hall                          Katy           77450      4
      22056 0591    D   Worsham Elementary School                                             3007 Hartwick Road                        Library                                 Houston        77093      2
      12055 0980    R   Wortham Village Clubhouse                                             10911 Wortham Boulevard                   Clubhouse                               Houston        77065      3
      62057 0158    D   Worthing High School                                                  9215 Scott Street                         Gymnasium                               Houston        77051      1
      22132 0451    R   Yeager Elementary School                                              13615 Champion Forest Drive               PE Room                                 Houston        77069      3
      82072 1001    D   Youngblood Intermediate School                                        8410 Dairy View Lane                      Cafeteria                               Houston        77072      4

                                                                                                                                                                                              Tatum_005261
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                                                                             Election Day Vote Centers ‐ 1122


Poll Codes PCT EV Party                           1122 Location                                  Address              Voting Room            City        Zip   CC
      22016 0452  R     Zwink Elementary School                       22200 Frassati Way Drive                  Gym                 Spring           77389‐1417 3




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                  Exhibit 82




                          OCA-APPX-1332
Don't Forget Your ID Numbers!
  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1333 of 2308




                                In Box 1 of the Application for Ballot by
                                Mail, you must provide at least one of the
                                required ID numbers.

                                We recommend providing both.



Don't Forget Your ID Numbers!
                                In Box 1 of the Application for Ballot by
                                Mail, you must provide at least one of the
                                required ID numbers.

                                We recommend providing both.



Don't Forget Your ID Numbers!
                                In Box 1 of the Application for Ballot by
                                Mail, you must provide at least one of the
                                required ID numbers.

                                We recommend providing both.



Don't Forget Your ID Numbers!
                                In Box 1 of the Application for Ballot by
                                Mail, you must provide at least one of the
                                required ID numbers.

                                We recommend providing064.134766
                                                       both.
                            OCA-APPX-1333
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1334 of 2308
No Olvides Tu Número de Identificación!
                                 En el Cuadro 1 de la Solicitud de Boleta
                                 por Correo, debe usted proveer al menos
                                 uno de los números de ID requeridos.

                                 Nosotros recomendamos que escriba
                                 los dos.



No Olvides Tu Número de Identificación!
                                 En el Cuadro 1 de la Solicitud de Boleta
                                 por Correo, debe usted proveer al menos
                                 uno de los números de ID requeridos.

                                 Nosotros recomendamos que escriba
                                 los dos.



No Olvides Tu Número de Identificación!
                                 En el Cuadro 1 de la Solicitud de Boleta
                                 por Correo, debe usted proveer al menos
                                 uno de los números de ID requeridos.

                                 Nosotros recomendamos que escriba
                                 los dos.



No Olvides Tu Número de Identificación!
                                 En el Cuadro 1 de la Solicitud de Boleta
                                 por Correo, debe usted proveer al menos
                                 uno de los números de ID requeridos.

                                Nosotros recomendamos que escriba
                                los dos.
                              OCA-APPX-1334           064.134767
 Don't Forget Your ID Numbers!
       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1335 of 2308




 Under the flap on your purple and white carrier envelope, where it says
 "Required Information", you must provide at least one of the required ID
 numbers. We recommend providing both.



  Don't Forget Your ID Numbers!

 Under the flap on your purple and white carrier envelope, where it says
 "Required Information", you must provide at least one of the required ID
 numbers. We recommend providing both.


 Don't Forget Your ID Numbers!

Under the flap on your purple and white carrier envelope, where it says
"Required Information", you must provide at least one of the required ID
numbers. We recommend providing both.


 Don't Forget Your ID Numbers!

Under the flap on your purple and white carrier envelope, where it says
"Required Information", you must provide at least one of the required ID
                              OCA-APPX-1335
numbers. We recommend providing       both.                    064.134768
       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1336 of 2308
No Olvides Tu Número de Identificación!


Bajo la solapa del sobre de envío color morado y blanco, en donde dice
"Información Requerida", debe usted proveer al menos uno de los números
de ID requeridos. Nosotros recomendamos que escriba los dos.


No Olvides Tu Número de Identificación!


Bajo la solapa del sobre de envío color morado y blanco, en donde dice
"Información Requerida", debe usted proveer al menos uno de los números
de ID requeridos. Nosotros recomendamos que escriba los dos.


No Olvides Tu Número de Identificación!


Bajo la solapa del sobre de envío color morado y blanco, en donde dice
"Información Requerida", debe usted proveer al menos uno de los números
de ID requeridos. Nosotros recomendamos que escriba los dos.


No Olvides Tu Número de Identificación!


Bajo la solapa del sobre de envío color morado y blanco, en donde dice
"Información Requerida", debe usted proveer al menos uno de los números
                              OCA-APPX-1336 que escriba los064.134769
de ID requeridos. Nosotros recomendamos                       dos.
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1337 of 2308




                  Exhibit 83




                          OCA-APPX-1337
                                Harris縣選務辦公室訊息
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                     選民必須盡快寄回郵遞選票，以確保他們的選票被計算在內。
                             選民有三種選擇交回選票


1. 郵寄方式
我們建議您在選舉日前至少 7 天郵寄您的選票。 寄回已標記選票所需的郵費：1 頁需要 1 個forever郵票，2-4 頁需要 2
個forever郵票。

2. 親自交回選務辦公室
在選舉日選民可以在上午 7 點至晚上 7 點親自交回選票到 NRG Arena, Hall D, One NRG Parkway, Houston TX 77054
。 請注意，只有選民本人方可以親自交回郵遞選票，並且必須出示可接受附有照片的身份證明。

3. 經一般或合約郵件送遞員
郵遞選票若由一般或合約送件員郵寄或交回，但沒有郵戳或交付收據必須在選舉日晚上 7:00 前送回提前投票辦公室。 如
果承運人提供的收據標記証明接收時間在選舉日晚上 7:00 之前，郵遞選票必須在選舉日後的第一個工作日下午 5:00 前
送抵辦公室。

欲了解更多資訉，請訪問 HarrisVotes.com/Voter/Vote-by-Mail

把信封密封前                                                                                                                              TOP GLUE
須填妥於信封蓋底紅框格中所要求的
身份証明號碼。                     REQUIRED INFORMATION:
                            所需資料
                                                          YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION
                                                          你必須提供以下其中一個號碼，此號碼必須是你曾經使用作選民登記的號碼。
                             Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
您提供的號碼必須與已登記的號碼相             Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
                             Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
符。如果您不記得您曾用那種身份証
                                                                                                          OR (O)




                                                                                                                                                                                                 OR (O)
                             由德州公共安全部門發出的德州駕照號碼或德州個人身分證號碼或                                                         如你沒有德州駕照或個人身份證號碼或德州選舉正號碼，請提供你                                                          本人沒有獲發德州駕照或德州個人份證或德州選
                             選舉證號碼（並非你的選民登記VUID號碼）                                                                 的社會安全保障號碼的最後四個數字                                                                       舉証號碼或社會安全保障號碼
明註冊，請填寫兩個號碼。                                                                                                                        XXX - XX - _____ _____ _____ _____
                                                   _____ _____ _____ _____ _____ _____ _____ _____

密封信封後，在封蓋上方的空間簽             CONTACT INFORMATION: Phone: ____________________________                                                               Email: ___________________________________________________
                            聯絡資料: 電話： ____________________________                                                                                 電郵： ___________________________________________________
名。
                                                                                                                               BOTTOM GLUE




                                Harris縣選務辦公室訊息
                     選民必須盡快寄回郵遞選票，以確保他們的選票被計算在內。
                             選民有三種選擇交回選票


1. 郵寄方式
我們建議您在選舉日前至少 7 天郵寄您的選票。 寄回已標記選票所需的郵費：1 頁需要 1 個forever郵票，2-4 頁需要 2
個forever郵票。

2. 親自交回選務辦公室
在選舉日選民可以在上午 7 點至晚上 7 點親自交回選票到 NRG Arena, Hall D, One NRG Parkway, Houston TX 77054
。 請注意，只有選民本人方可以親自交回郵遞選票，並且必須出示可接受附有照片的身份證明。

3. 經一般或合約郵件送遞員
郵遞選票若由一般或合約送件員郵寄或交回，但沒有郵戳或交付收據必須在選舉日晚上 7:00 前送回提前投票辦公室。 如
果承運人提供的收據標記証明接收時間在選舉日晚上 7:00 之前，郵遞選票必須在選舉日後的第一個工作日下午 5:00 前
送抵辦公室。

欲了解更多資訉，請訪問 HarrisVotes.com/Voter/Vote-by-Mail

把信封密封前                                                                                                                              TOP GLUE
須填妥於信封蓋底紅框格中所要求的
身份証明號碼。                     REQUIRED INFORMATION:
                            所需資料
                                                          YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION
                                                          你必須提供以下其中一個號碼，此號碼必須是你曾經使用作選民登記的號碼。
                             Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
您提供的號碼必須與已登記的號碼相             Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
                             Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
符。如果您不記得您曾用那種身份証
                                                                                                          OR (O)




                                                                                                                                                                                                 OR (O)




                             由德州公共安全部門發出的德州駕照號碼或德州個人身分證號碼或                                                         如你沒有德州駕照或個人身份證號碼或德州選舉正號碼，請提供你                                                          本人沒有獲發德州駕照或德州個人份證或德州選
                             選舉證號碼（並非你的選民登記VUID號碼）                                                                 的社會安全保障號碼的最後四個數字                                                                       舉証號碼或社會安全保障號碼
明註冊，請填寫兩個號碼。                                                                                                                        XXX - XX - _____ _____ _____ _____
                                                   _____ _____ _____ _____ _____ _____ _____ _____

密封信封後，在封蓋上方的空間簽             CONTACT INFORMATION: Phone: ____________________________                                                               Email: ___________________________________________________
                            聯絡資料: 電話： ____________________________                                                                                 電郵： ___________________________________________________
名。
                                                       OCA-APPX-1338                                                           BOTTOM GLUE
                                                                                                                                                                                                          TATUM_005335
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1339 of 2308
                          MESSAGE FROM HARRIS COUNTY ELECTIONS
                      It is important for voters to return their mail ballot as soon as possible to ensure that
                               their vote is counted. Voters have three options to return their ballot:


1. RETURN BY MAIL
We recommend mailing your ballot at least 7 days prior to Election Day.
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3. BY COMMON CONTRACT OR CARRIER
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received by the early voting clerk by 7:00 p.m. on Election Day. If the carrier provides a receipt mark indicating a time before
7:00 p.m. on Election Day, it must be received by 5:00 p.m. on the first business day after Election Day.
For more information please visit HarrisVotes.com/Voter/Vote-by-Mail

BEFORE SEALING YOUR ENVELOPE                                                                                                                       TOP GLUE
Fill out the required ID information
outlined in red under the envelope flap.   REQUIRED INFORMATION:         YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION

                                            Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
The number you provide MUST match           Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
                                            Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
what is on file. If you can’t remember
                                                                                                                         OR (O)




                                                                                                                                                                                                                OR (O)
which number you registered with, fill                                                                                                             XXX - XX - _____ _____ _____ _____
                                                                  _____ _____ _____ _____ _____ _____ _____ _____
both out.                                  CONTACT INFORMATION: Phone: ____________________________                                                               Email: ___________________________________________________

After you seal the envelope, sign in the
space over the flap.                                                                                                                          BOTTOM GLUE




                          MESSAGE FROM HARRIS COUNTY ELECTIONS
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BEFORE SEALING YOUR ENVELOPE                                                                                                                       TOP GLUE
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                                            Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
The number you provide MUST match           Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
                                            Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
what is on file. If you can’t remember
                                                                                                                         OR (O)




                                                                                                                                                                                                                OR (O)




which number you registered with, fill                                                                                                             XXX - XX - _____ _____ _____ _____
                                                                  _____ _____ _____ _____ _____ _____ _____ _____
both out.                                  CONTACT INFORMATION: Phone: ____________________________                                                               Email: ___________________________________________________

After you seal the envelope, sign in the
space over the flap.
                                                                      OCA-APPX-1339                                                           BOTTOM GLUE
                                                                                                                                                                                                                         TATUM_005336
                Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1340 of 2308
                     MENSAJE POR PARTE DE LAS ELECCIONES DEL CONDADO DE HARRIS
                      Es importante que los votantes devuelvan su boleta de voto por correo lo antes posible para
                   asegurarse de que su voto sea contado. Los votantes tienen tres opciones para devolver su boleta:


1. DEVOLVER POR CORREO
Le recomendamos enviar su boleta por correo al menos 7 días antes del Día de las Elecciones. Estampillas requeridas para devolver su
boleta marcada: 1 página requiere 1 estampilla forever, y 2-4 páginas requieren 2 estampillas forever.
2. DEVOLVER EN PERSONA A LA OFICINA DE ELECCIONES
Los votantes pueden devolver su boleta en persona de 7 a.m. a 7 p.m. el día de las elecciones. Las boletas deben ser entregadas en NRG
Arena, Hall D, One NRG Parkway, Houston TX 77054. Por favor, tenga en cuenta que sólo el votante puede entregar su propia boleta
por correo y debe tener una forma aceptable de identificación con fotografía.
3. POR CONTRATO O TRANSPORTISTA COMÚN
Una boleta que sea enviada por correo o entregada por un transportista común o contratado, pero que no tenga un matasellos o recibo
de entrega, debe ser recibida por el secretario de votación temprana antes de las 7:00 p.m. del día de las elecciones. Si el transportista
proporciona una marca que indica una hora antes de las 7:00 p.m. del día de las elecciones, debe ser recibida antes de las 5:00 p.m. del
primer día hábil después del día de las elecciones.
Para más información, visite HarrisVotes.com/Voter/Vote-by-Mail
ANTES DE SELLAR SU SOBRE                                                                                                                                 TOP GLUE
Llene la información de identificación
requerida delineada en rojo debajo de la         REQUIRED INFORMATION:  YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION
                                                 INFORMACIÓN REQUERIDA: DEBE PROPORCIONAR UNO DE LOS SIGUIENTES NÚMEROS Y DEBE ESTAR ASOCIADO CON SU REGISTRO DE VOTANTE
ceja del sobre.                                   Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
                                                  Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
El número que proporcione DEBE coincidir con      Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number




                                                                                                                               OR (O)




                                                                                                                                                                                                                      OR (O)
                                                  Licencia de conducir de Texas o tarjeta de identificación personal de                 Si no tiene una licencia de conducir de Texas o número de identificación
                                                                                                                                                                                                                               No se me ha expedido una licencia de conducir de
el que tenemos registrado en la oficina. Si no    Texas o número de certificado de identificación electoral emitido por el
                                                  Departamento de Seguridad Pública de Texas (NO su #de registro de
                                                                                                                                        personal de Texas, proporcione los últimos 4 dígitos de su número de
                                                                                                                                        Seguro Social X X X - X X - _____ _____ _____ _____
                                                                                                                                                                                                                               Texas/Número de Identificación Personal o Número
                                                                                                                                                                                                                               de seguro social.
puede recordar con qué número se registró, le     votante (VUID))         _____ _____ _____ _____ _____ _____ _____ _____

sugerimos que llene ambos campos.                CONTACT INFORMATION: Phone: ____________________________
                                                 INFORMACIÓN DE CONTACTO: Teléfono: ____________________________
                                                                                                                                                                        Email: ___________________________________________________
                                                                                                                                                                        Correo electrónico: ___________________________________________________

Después de sellar el sobre, firme en el                                                                                                             BOTTOM GLUE
espacio sobre la ceja.




                      MENSAJE POR PARTE DE LAS ELECCIONES DEL CONDADO DE HARRIS
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ANTES DE SELLAR SU SOBRE                                                                                                                                 TOP GLUE
Llene la información de identificación
requerida delineada en rojo debajo de la         REQUIRED INFORMATION:  YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION
                                                 INFORMACIÓN REQUERIDA: DEBE PROPORCIONAR UNO DE LOS SIGUIENTES NÚMEROS Y DEBE ESTAR ASOCIADO CON SU REGISTRO DE VOTANTE
ceja del sobre.                                   Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
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El número que proporcione DEBE coincidir con      Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
                                                                                                                               OR (O)




                                                                                                                                                                                                                      OR (O)




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                                                                                                                                                                                                                               No se me ha expedido una licencia de conducir de
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                                                  Departamento de Seguridad Pública de Texas (NO su #de registro de
                                                                                                                                        personal de Texas, proporcione los últimos 4 dígitos de su número de
                                                                                                                                        Seguro Social X X X - X X - _____ _____ _____ _____
                                                                                                                                                                                                                               Texas/Número de Identificación Personal o Número
                                                                                                                                                                                                                               de seguro social.
puede recordar con qué número se registró, le     votante (VUID))         _____ _____ _____ _____ _____ _____ _____ _____

sugerimos que llene ambos campos.                CONTACT INFORMATION: Phone: ____________________________
                                                 INFORMACIÓN DE CONTACTO: Teléfono: ____________________________
                                                                                                                                                                         Email: ___________________________________________________
                                                                                                                                                                         Correo electrónico: ___________________________________________________

Después de sellar el sobre, firme en el                                     OCA-APPX-1340                                                           BOTTOM GLUE
espacio sobre la ceja.                                                                                                                                                                                                         TATUM_005337
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1341 of 2308
                          MESSAGE FROM HARRIS COUNTY ELECTIONS
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BEFORE SEALING YOUR ENVELOPE                                                                                                                       TOP GLUE
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                                            Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
what is on file. If you can’t remember
                                                                                                                         OR (O)




                                                                                                                                                                                                                OR (O)
which number you registered with, fill                                                                                                             XXX - XX - _____ _____ _____ _____
                                                                  _____ _____ _____ _____ _____ _____ _____ _____
both out.                                  CONTACT INFORMATION: Phone: ____________________________                                                               Email: ___________________________________________________

After you seal the envelope, sign in the
space over the flap.                                                                                                                          BOTTOM GLUE




                          MESSAGE FROM HARRIS COUNTY ELECTIONS
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BEFORE SEALING YOUR ENVELOPE                                                                                                                       TOP GLUE
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                                                                                                                         OR (O)




                                                                                                                                                                                                                OR (O)




which number you registered with, fill                                                                                                             XXX - XX - _____ _____ _____ _____
                                                                  _____ _____ _____ _____ _____ _____ _____ _____
both out.                                  CONTACT INFORMATION: Phone: ____________________________                                                               Email: ___________________________________________________

After you seal the envelope, sign in the
space over the flap.
                                                                      OCA-APPX-1341                                                           BOTTOM GLUE
                                                                                                                                                                                                                         TATUM_005338
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1342 of 2308
                      LỜI NHẮN NHỦ TỪ TY BẦU CỬ QUẬN HẠT HARRIS
                    Điều quan trọng đối với các cử tri là phải gửi lại lá phiếu bầu bằng thư càng sớm càng tốt để
                   bảo đảm rằng lá phiếu của quý vị được tính. Các cử tri có ba cách để gửi lại phiếu bầu của họ:


1. GỬI LẠI BẰNG ĐƯỜNG BƯU ĐIỆN
Chúng tôi khuyến khích quý vị nên gửi phiếu bầu của quý vị ít nhất 7 ngày trước Ngày Bầu Cử. Bưu phí cần thiết để gửi lại lá phiếu đã
đánh dấu của quý vị: 1-trang yêu cầu 1 forever stamp, và 2-4 trang yêu cầu 2 forever stamps.
2. ĐÍCH THÂN NỘP LẠI TẠI VĂN PHÒNG BẦU CỬ
Các cử tri có thể đích thân nộp lại lá phiếu của họ từ 7 giờ sáng - 7 giờ tối vào Ngày Bầu Cử. Các phiếu bầu phải đươc chuyển đến NRG
Arena, Sảnh D, One NRG Parkway, Houston TX 77054. Xin lưu ý rằng chỉ có cử tri mới có thể giao lại phiếu bầu bằng thư của chính họ và
phải có giấy căn cước có hình được chấp nhận.
3. HÃNG ĐƯA THƯ THÔNG THƯỜNG HOẶC HÃNG ĐƯA THƯ THEO HỢP ĐỒNG
Một phiếu bầu được gửi qua đường bưu điện hoặc được gửi bởi một hãng đưa thư thông thường hoặc theo hợp đồng, nhưng không có
dấu bưu điện hoặc biên nhận giao thư phải được nhận bởi nhân viên bầu cử sớm trước 7 giờ tối vào Ngày Bầu Cử. Nếu hãng đưa thư
cung cấp một biên lai cho biết thời gian trước 7 giờ tối vào Ngày Bầu Cử, lá phiếu phải được nhận trước 5 giờ chiều vào ngày làm việc
đầu tiên sau Ngày Bầu Cử.
Để biết thêm thông tin xin vui lòng truy cập HarrisVotes.com/Voter/Vote-by-Mail
TRƯỚC KHI DÁN NẮP PHONG BÌ CỦA QUÝ VỊ                                                                                                              TOP GLUE
Điền đầy đủ thông tin Căn Cước yêu cầu
bên trong đường viền màu đỏ dưới nắp       REQUIRED INFORMATION:
                                           THÔN TIN CẦN THIẾT:
                                                                         YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION
                                                                         QUÝ VỊ PHẢI CUNG CẤP MỘT TRONG CÁC SỐ SAU ĐÂY VÀ SỐ ĐÓ PHẢI ĐƯỢC LIÊN KẾT VỚI VIỆC GHI DANH CỬ TRI CỦA QUÝ VỊ
phong bì.                                   Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
                                            Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
Số quý vị cung cấp PHẢI phù hợp với         Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number




                                                                                                                         OR (O)




                                                                                                                                                                                                                OR (O)
                                            Bằng Lái Xe Texas hoặc Thẻ Căn Cước Cá Nhân Texas hoặc Số                             Nếu quý vị không sở hữu một Bằng Lái Xe Texas hoặc Thẻ Căn                             Tôi chưa được cấp bằng lái xe Texas hoặc Thẻ
những gì văn phòng có trong hồ sơ. Nếu      Chứng Nhận Căn Cước Bầu Cử cấp bởi Sở An Toàn Công Cộng
                                            Texas (KHÔNG PHẢI số Ghi Danh Cử Tri VUID của quý vị)
                                                                                                                                  Cước Cá Nhân hoặc Số Chứng Nhận Căn Cước Bầu Cử, hãy cung
                                                                                                                                  cấp 4 số cuối của Số An Sinh Xã Hội của quý vị
                                                                                                                                                                                                                         Căn Cước Cá Nhân Texas hoặc Giấy Chứng
                                                                                                                                                                                                                         Nhận Căn Cước Bầu Cử hoặc Số An Sinh Xã Hội
quý vị không nhớ được là đã ghi danh                                _____ _____ _____ _____ _____ _____ _____ _____                                 XXX - XX - _____ _____ _____ _____
                                           CONTACT INFORMATION: Phone: ____________________________
bằng số nào, nên điền cả hai.              THÔNG TIN LIÊN LẠC: Số Điện Thoại:
                                                                         ________________________
                                                                                                                                                                  Email: ___________________________________________________
                                                                                                                                                                  Email： ___________________________________________________

Sau khi quý vị dán nắp phong bì, hãy ký                                                                                                       BOTTOM GLUE
tên vào khoảng trống bên trên nắp.



                      LỜI NHẮN NHỦ TỪ TY BẦU CỬ QUẬN HẠT HARRIS
                    Điều quan trọng đối với các cử tri là phải gửi lại lá phiếu bầu bằng thư càng sớm càng tốt để
                   bảo đảm rằng lá phiếu của quý vị được tính. Các cử tri có ba cách để gửi lại phiếu bầu của họ:


1. GỬI LẠI BẰNG ĐƯỜNG BƯU ĐIỆN
Chúng tôi khuyến khích quý vị nên gửi phiếu bầu của quý vị ít nhất 7 ngày trước Ngày Bầu Cử. Bưu phí cần thiết để gửi lại lá phiếu đã
đánh dấu của quý vị: 1-trang yêu cầu 1 forever stamp, và 2-4 trang yêu cầu 2 forever stamps.
2. ĐÍCH THÂN NỘP LẠI TẠI VĂN PHÒNG BẦU CỬ
Các cử tri có thể đích thân nộp lại lá phiếu của họ từ 7 giờ sáng - 7 giờ tối vào Ngày Bầu Cử. Các phiếu bầu phải đươc chuyển đến NRG
Arena, Sảnh D, One NRG Parkway, Houston TX 77054. Xin lưu ý rằng chỉ có cử tri mới có thể giao lại phiếu bầu bằng thư của chính họ và
phải có giấy căn cước có hình được chấp nhận.
3. HÃNG ĐƯA THƯ THÔNG THƯỜNG HOẶC HÃNG ĐƯA THƯ THEO HỢP ĐỒNG
Một phiếu bầu được gửi qua đường bưu điện hoặc được gửi bởi một hãng đưa thư thông thường hoặc theo hợp đồng, nhưng không có
dấu bưu điện hoặc biên nhận giao thư phải được nhận bởi nhân viên bầu cử sớm trước 7 giờ tối vào Ngày Bầu Cử. Nếu hãng đưa thư
cung cấp một biên lai cho biết thời gian trước 7 giờ tối vào Ngày Bầu Cử, lá phiếu phải được nhận trước 5 giờ chiều vào ngày làm việc
đầu tiên sau Ngày Bầu Cử.
Để biết thêm thông tin xin vui lòng truy cập HarrisVotes.com/Voter/Vote-by-Mail
TRƯỚC KHI DÁN NẮP PHONG BÌ CỦA QUÝ VỊ                                                                                                              TOP GLUE
Điền đầy đủ thông tin Căn Cước yêu cầu
bên trong đường viền màu đỏ dưới nắp       REQUIRED INFORMATION:
                                           THÔN TIN CẦN THIẾT:
                                                                         YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION
                                                                         QUÝ VỊ PHẢI CUNG CẤP MỘT TRONG CÁC SỐ SAU ĐÂY VÀ SỐ ĐÓ PHẢI ĐƯỢC LIÊN KẾT VỚI VIỆC GHI DANH CỬ TRI CỦA QUÝ VỊ
phong bì.                                   Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
                                            Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
Số quý vị cung cấp PHẢI phù hợp với         Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
                                                                                                                         OR (O)




                                                                                                                                                                                                                OR (O)




                                            Bằng Lái Xe Texas hoặc Thẻ Căn Cước Cá Nhân Texas hoặc Số                             Nếu quý vị không sở hữu một Bằng Lái Xe Texas hoặc Thẻ Căn                             Tôi chưa được cấp bằng lái xe Texas hoặc Thẻ
những gì văn phòng có trong hồ sơ. Nếu      Chứng Nhận Căn Cước Bầu Cử cấp bởi Sở An Toàn Công Cộng
                                            Texas (KHÔNG PHẢI số Ghi Danh Cử Tri VUID của quý vị)
                                                                                                                                  Cước Cá Nhân hoặc Số Chứng Nhận Căn Cước Bầu Cử, hãy cung
                                                                                                                                  cấp 4 số cuối của Số An Sinh Xã Hội của quý vị
                                                                                                                                                                                                                         Căn Cước Cá Nhân Texas hoặc Giấy Chứng
                                                                                                                                                                                                                         Nhận Căn Cước Bầu Cử hoặc Số An Sinh Xã Hội
quý vị không nhớ được là đã ghi danh                                _____ _____ _____ _____ _____ _____ _____ _____                                 XXX - XX - _____ _____ _____ _____
                                           CONTACT INFORMATION: Phone: ____________________________
bằng số nào, nên điền cả hai.              THÔNG TIN LIÊN LẠC: Số Điện Thoại:
                                                                         ________________________
                                                                                                                                                                  Email: ___________________________________________________
                                                                                                                                                                  Email： ___________________________________________________

Sau khi quý vị dán nắp phong bì, hãy ký                               OCA-APPX-1342                                                           BOTTOM GLUE
tên vào khoảng trống bên trên nắp.                                                                                                                                                                                       TATUM_005339
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1343 of 2308
                          MESSAGE FROM HARRIS COUNTY ELECTIONS
                      It is important for voters to return their mail ballot as soon as possible to ensure that
                               their vote is counted. Voters have three options to return their ballot:


1. RETURN BY MAIL
We recommend mailing your ballot at least 7 days prior to Election Day.
Postage required to return your marked ballot: 1-page requires 1 forever stamp, and 2-4 pages require 2 forever stamps.
2. RETURN IN PERSON TO ELECTIONS OFFICE
Voters can return their ballot in person from 7 a.m. - 7 p.m. on Election Day. Ballots must be delivered to NRG Arena, Hall D,
One NRG Parkway, Houston TX 77054. Please note that only the voter may hand deliver their own mail ballot and must have
an acceptable form of photo identification.
3. BY COMMON CONTRACT OR CARRIER
A ballot that is mailed or delivered by a common or contract carrier, but does not have a postmark or delivery receipt must be
received by the early voting clerk by 7:00 p.m. on Election Day. If the carrier provides a receipt mark indicating a time before
7:00 p.m. on Election Day, it must be received by 5:00 p.m. on the first business day after Election Day.
For more information please visit HarrisVotes.com/Voter/Vote-by-Mail

BEFORE SEALING YOUR ENVELOPE                                                                                                                       TOP GLUE
Fill out the required ID information
outlined in red under the envelope flap.   REQUIRED INFORMATION:         YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION

                                            Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
The number you provide MUST match           Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
                                            Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
what is on file. If you can’t remember
                                                                                                                         OR (O)




                                                                                                                                                                                                                OR (O)
which number you registered with, fill                                                                                                             XXX - XX - _____ _____ _____ _____
                                                                  _____ _____ _____ _____ _____ _____ _____ _____
both out.                                  CONTACT INFORMATION: Phone: ____________________________                                                               Email: ___________________________________________________

After you seal the envelope, sign in the
space over the flap.                                                                                                                          BOTTOM GLUE




                          MESSAGE FROM HARRIS COUNTY ELECTIONS
                      It is important for voters to return their mail ballot as soon as possible to ensure that
                               their vote is counted. Voters have three options to return their ballot:


1. RETURN BY MAIL
We recommend mailing your ballot at least 7 days prior to Election Day.
Postage required to return your marked ballot: 1-page requires 1 forever stamp, and 2-4 pages require 2 forever stamps.
2. RETURN IN PERSON TO ELECTIONS OFFICE
Voters can return their ballot in person from 7 a.m. - 7 p.m. on Election Day. Ballots must be delivered to NRG Arena, Hall D,
One NRG Parkway, Houston TX 77054. Please note that only the voter may hand deliver their own mail ballot and must have
an acceptable form of photo identification.
3. BY COMMON CONTRACT OR CARRIER
A ballot that is mailed or delivered by a common or contract carrier, but does not have a postmark or delivery receipt must be
received by the early voting clerk by 7:00 p.m. on Election Day. If the carrier provides a receipt mark indicating a time before
7:00 p.m. on Election Day, it must be received by 5:00 p.m. on the first business day after Election Day.
For more information please visit HarrisVotes.com/Voter/Vote-by-Mail

BEFORE SEALING YOUR ENVELOPE                                                                                                                       TOP GLUE
Fill out the required ID information
outlined in red under the envelope flap.   REQUIRED INFORMATION:         YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION

                                            Texas Driver’s License or Texas Personal Identification Card or Election              If you do not have a Texas Driver’s License or Personal Identification                      I have not been issued a Texas Driver’s License or
The number you provide MUST match           Identification Certificate Number issued by the Texas Department of Public            Card or a Texas Election Identification Certificate Number, give the last 4            Texas Personal Identification Card or Texas Election
                                            Safety (NOT your Voter Registration VUID #)                                           digits of your Social Security Number                                                  Identification Certificate or Social Security Number
what is on file. If you can’t remember
                                                                                                                         OR (O)




                                                                                                                                                                                                                OR (O)




which number you registered with, fill                                                                                                             XXX - XX - _____ _____ _____ _____
                                                                  _____ _____ _____ _____ _____ _____ _____ _____
both out.                                  CONTACT INFORMATION: Phone: ____________________________                                                               Email: ___________________________________________________

After you seal the envelope, sign in the
space over the flap.
                                                                      OCA-APPX-1343                                                           BOTTOM GLUE
                                                                                                                                                                                                                         TATUM_005340
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1344 of 2308




                  Exhibit 84




                          OCA-APPX-1344
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1345 of 2308




                          OCA-APPX-1345
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1346 of 2308




                          OCA-APPX-1346
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1347 of 2308




                  Exhibit 85




                          OCA-APPX-1347
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1348 of 2308



                                                                                 Place
                                                                                 Stamp
                                                                                  Here




                   CARRIER ENVELOPE FOR EARLY VOTING BALLOT
              (SOBRE DE ENVfO PARA LA BOLETA DE VOTACION ADELANTADA)




                                         (Early Voting Clerk
                        should preprint return address or affix address label)




                                                                           STATE137682
                          OCA-APPX-1348
                                                       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1349 of 2308

 Instructions to the Voter:
   • This envelope must be sealed and signed by the voter before it leaves the voter's hands. Do not sign this envelope unless the ballot has been marked by you or at your direction. (lnstrucciones al Votante: Este
     sabre debe ser sellado y firmado par el votante antes de que salga de sus ma nos. No firrne este sabre a menos de que la boleta haya sido llenada por usted o bajo su direcci6n.)
   •This Carrier Envelope may not be used to return more than one voter's ballot. (Este sob re de envio no debe ser utilizado para entregar la boleta de mas de un solo votante.)
   • For instructions on the methods and deadlines to deliver this Carrier Envelope, see the "Information About Returning Your Carrier Envelope," included with the materials sent to you with your ballot. (Para
     obtener instrucciones sobre los metodos y plazas para entregar este sabre de envfo, vea la "informacion Sobre La Devolucion de su Sobre de Envio," incluido con los materiales enviados a usted con su boleta.j

 Instructions to Assistant (if applicable):
   • A voter may only be assisted with reading or marking the ballot if the voter has a physical disability that renders the voter unable to write or see, or has an inability to read the language in which the ballot is
      written. If you are assisting the voter, you must read the oath and complete the section below, before assisting the voter. (lnstrucciones al Asistente (si es aplicablej): Un votante solo puede recibir ayuda para
      leer o ma rear la boleta si el votante tiene una discapacidad fisica la cual le impide escribir over, o si no tiene la habilidad de leer el idiorna en el cual la boleta esta escrita. Si usted asiste al votante, debe leer el
      juramento y completar la siguiente secci6n abajo, antes de asistir al votante.)
 Instructions to Person Depositing Carrier Envelope in Mail or to Common or Contract Carrier:
   • If you are assisting a voter by depositing the Carrier Envelope in the mail or with a common or contract carrier, you must complete the assistant section below. (lnstrucciones para la Persona Que Deposita el
      Sobre de Env10 en el Correo o al Transportista Comun o Contratado: Si asiste a un votante depositando el sabre de envfo en el correo o con un transportista com1Jn o contratado, debe completar la secci6n
      de asistente que aparece a continuaci6n.)
 I certify that the enclosed ballot expresses my wishes independent of any dictation or undue persuasion by any person. (Certifico que la boleta adjunta expresa mis deseos independientemente de ningun
 dictado o persuasion indebida por parte de cualquier persona.)

             SEAL ENVELOPE AND SIGN OVER SEiU.ED FLAP
             (SELLE EL SOBRE Y FmME SOBRE LA SOLAPA SHLADA)

Oath of Po,son Assiotin,g Voto. "I swear (or affirrn) under penalty of perjury that the voter l arn assisting represented to me they                   SIGNATURE OR MARK OF VOTER (FIRMA O MARCA DH VOTANTE)
are e!igible to receive assistance; i wi!! not suggest, by word, sign, or gesture, hmiVthe voter should vote; I w:!! prepare the voter's
ballot as the voter directs; ! did not pressure or coerce the voter into choosing me to provide assist,ance; I am not the voter's
emp!oyer, an agent of the voter's emp!oyer, or an officer or agent of a !abor union to i,..vhich the voter be!ongs; I wi!! not
communicate information about how the voter has voted to another person; and I understand that if assistance is
provided to a voter who is not e!!gib!e for assistance, the voter;s ba!!ot may not be counted.'' Juramento de la Persona                   Name of Election (Nombre de Eleccion): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Asistiendo al Votante: "Yo juro (o afirmo) bajo pena de perjurfo que ei votante ai que estoy asist!endo me represent6
que es e!egible para redbir asistenc!a; no sugerire, con palabra, sef\al, o gesto, como debe votar el votante; preparare !a                Name of Voter {Nombre del votante): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
bo!eta del votante segCm !o !ndique e! votante; no presione n[ coacdone a! votante para que rne eligiera corno asistente; no soy
e! ernpleador de! votante, un agente del ernpleador de! votante, o un ofrc!al o agente de un sindicato al cual e! votante                  Date of Election (Fed,a de Elecdon): ____ / ____ / _ _ _ _ __
pertenece; no comunicare inforrnaci6n sobre c6mo e! votante ha votado a otra persona; v entiendo que si se proporciona
asistencia a un votante que no es e!egible para redbir asistencia, la boleta del votante podrfa no ser contada""
                                                                                                                                           lnotri:ictioM to Witnc,ss: You are serving as a ·witness for _ _ _ _ _ _ _ _ _ _ _ _ _ (name
                                                                                                                                           of voter}" You must comp!ete the section below if you ·witness the mark of the voter, or if the voter
                                                   {Si usted es un asistente proporclone !a slguiente infurmaci6n}:                        cannot make a mark. if the voter cannot make a mark, check here ____.
    Did you ..,...;,,., compensation or other benefit from • oandidm, <aml"'ign or political committee in exchange for providing           (lnstrucciones al Testigo: Usted esta sirviendo como testigo para _ _ _ _ _ _ _ _ _ _ __
    o..iotonoo? Circle one: Yes No                                                                                                         (nornbre del votante). Debe cornp!etar la secci6n a continuaci6n si es testigo de la rnarca del votante,
    t.Recibi6 compensaci6n u otro benaficio de un candidato, campafia o comite politico a cambio da brindar asistencia?                    o si e! votante no puede hacer una marca. Si el votante no puede hacer una rnarca, marque aquf
    Marque con un Clrculo: SI No                                                                                                           __        .)



 Printed Name (Nombre en !etra de mo!de}                                Signature (Firrna}                                                 Signature (Firma)                                      Printed Name (Nombre en letra de molde)



 Relationship to Voter (Relac!6n al votante)                            Street Address (Dornicilio res[dencia!}                            Street Address (Domici!io res!denC!al)



                                                                                                                                                                                                               STATE137683
                                                                                                             OCA-APPX-1349
                                    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1350 of 2308




  1789L£ 1-3.lY.1S



                                                                             TO CHECK THE STATUS OF YOUR MAIL BALLOT, VISIT
                                                                           (PARA VERIFICAR El ESTADO DE SU BOLETA POR CORREO, VISITE}




                                                                                      VOTETEXAS.GOV




                                                                                                    If you do not have a Texas Driver's License or Personal Identification Card                 D    I have not been issued a Texas Driver's License or
 Identification Certificate Number issued by the Texas Department of                                or a Texas Election Identification Certificate Number, give the last 4 digits              Texas Personal Identification Card or Texas Election
 PublicSafety ( NOTyourVoter Registration VUI D#) ( I~ (i mer ode Lice ncia de                      ol your Sodal Security Number (Si no tiene una Ucencia de Condudr de                       Identification Certificate or a Social Security Number
 Conducirde Texaso Nurnero de Tarjeta de ldentiticacion Personal de Texas                           Texas o una Tarjeta de ldentificacion Personal de Texas o Certificado de                   (No se me ha expedido una Licencia de Conducir de
 o Certificado de ldentificacion Electoral expedida por el Departarnento                            ldentificadon Electoral de Texas, proporcione los 4 ultirnos digitos de su                 Texas o Tarjeta de ldentificadon Personal de Texas o un
 de Seguridad Publica de Texas) (NO ES el nurnero de su Registro                                    nL1111ero de Segura Social}                                                                Certiticado de ldentificacion Electoral de Texas ni un
 Electoral VUI DI/}                                                                                                                                                                            nUmero de Segura SodaL)
                                                                                                                        XXX-XX- _ _ _ _
CONTACT INFORMATION {INFORMACION DE CONTACTO): Phone {Telefono):                                                                                    Email (Correo Electronico):
                                                                                                  ~~~~=~~~~~~=
                                                                                                                                                                                    ~======================~
             SEAL ENVELOPE AND SIGN OVER SEALED FLAP
             (SELLE El SOBRE Y FHME SOBRE LA SOLAPA SELLADA)

Oath ~f P~l'JIQI\ A$$hl1~g v«e ,,.! swear (or affirm) under penalty of perjury that the voter I am assisting represented to me they
                                                                                                                                                      X _ _ _ _ _ _ _ __
are eligible to receive assistance; ! will not suggest, by word, sign, or gesture, how the voter shouid vote; ! will prepare the voter's
                                                                                                                                                                 SIGNATURE OR MARK OF VOTER {FIRMA O MARCA DH VOTANTE)
bailot as the voter directs; i did not pressure or coerce the voter into choosing me to provide assistance, ! arn not the voter's
employer, an agent of the voter's employer, or an officer or agent of a labor union to which the voter belongs; ! \,viii not                         Completed 1w EagyVimng Clerk (C6mplmido imral Siitretario d11VotiiiilinAfflilaotadal;
communicate information about how the voter has voted to another person; and ! understand that if assistance is
provided to a voter who is not eligible for assistance, the voter's ballot may not be counted." Juramento de !a Persona                              Name of Election {Nombre de Eleccion): ===============-
Aslstiendo al Votante: "Yo juro (o afirmo} bajo pena de perjurio que el votante al que estoy asistiendo me represent6
que es elegible para recfbir asistencia; no sugerire, con palabra, seilal, o gesto, como debe votar el votante; preparare la                         Name of Voter {Nombre del votante): ================-
boleta del votante seg(m lo indique el votante_: no presione ni coaccfone al votante para que me eifgfera come asfstente; no soy
el empleador del votante, un agente de! empleador del votante, o un oficial o agente de un sfndicato al cual el votante                              Date of Election (Fedia de Elecdon): _ _ _ _ / _ _ _ _ / = - - - - -
pertenece; no cornun!care informad6n sobre c6mo el votante ha votado a otra persona; y entiendo que si se propordona
asistenda a un votante que no es elegibie para recibir as!stencia, ia boleta del votante podrfa no ser contada."
                                                                                                                                                     lnst,udions to Witness: You are serving as a witness for _ _ _ _ _ _ _ _ _ _ _ _ (name
                                                                                                                                                     of voter}. You must complete the section below if you witness the mark of the voter, or if the voter
lf¥9u ""' an assistant, pfDllidii information below, (Si usted es un as1stenteotestigo, marque !a casilla correcta y proporcione su informaciOn):    cannot make a mark. if the voter cannot make a mark, check here·----

    Did you ,..,.,;v,i compensati<,n o,r othQ,, bQn!!fit fmm a a111didm, campaig,n err pollltiOlll oommlttff l,n 4'X<hang11 fur pmviding             (!nstrucdones al Testigo: Usted esta sirviendo corno testigo para _ _ _ _ _ _ _ _ _ __
    assistance? Circle om~: Ye~s No                                                                                                                  {nornbre del votante). Debe cornpietar la secci6n a continuaci6n si es testigo de ia marca del votante,
    £Racibi6 com[Pansaci611'11 u otro banefida de u:ra candidata, c:ampaiia o comitia [POiitico a m1mbia de briindar asist&ndia'i'                   o si ei votante no puede hacer una marca. Si el votante no puede hacer una marca, marque aquf
    Marque con un Cfrculo: sr No                                                                                                                     __        .)



 Printed Name (Nombre en ietra de rnolde}                                   Signature (Firma)                                                        Signature (Firma}                                      Printed Name (Nombre en letra de molde)



 Relationship to Voter (Relaci6n al votante)                               Street Address {Dornicilio res!denciai)                                   Street Address (Domiciiio residencial)




                                                                                                             OCA-APPX-1350
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1351 of 2308




                  Exhibit 86




                          OCA-APPX-1351
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1352 of 2308




                          OCA-APPX-1352
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1353 of 2308




                          OCA-APPX-1353
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1354 of 2308




                          OCA-APPX-1354
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                          OCA-APPX-1355
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1356 of 2308




                          OCA-APPX-1356
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1357 of 2308
6-4
Prescribed by Secretary of State
Section 84.002, 86.001, 86.0015, 86.008(b), Texas Election Code
1/2022

                    NOTICE OF REJECTED APPLICATION FOR BALLOT BY MAil
       Required Personal Identification Number is Not Associated with Your Voter Record

Your Application for a Ballot by Mail has been received and reviewed, but is defective for the
reason stated below. New Texas Law requires that a voter must give his or her Texas Driver's
License number, Texas Personal Identification Card number, Texas Election Identification
Certificate number or the last 4 digits of his or her Social Security number on an Application for
Ballot by Mail. The number provided must be a part of the voter's registration record in order
for the voter to vote by mail.

                   Your voter registration record does not have a Texas Driver's License Number,
                   Texas Personal Identification Card Number, Election Identification Certificate
                   Number or Last 4 digits of a Social Security Number associated with it.

There are Two Ways to Add the Required Numbers to Your Voter Registration Record

Submit an Updated Voter Registration Application - Enclosed is a Postage Paid Voter
Registration Application. Complete the application accordi ngto its instructions. Adding both the
Driver's License or Personal Identification Card number AND the last 4 digits of your Social
Security numberto your voter registration record is very helpful to the EarlyVoti ng Clerk and will
make applying for a Ballot by Mail easier in future elections.

OR
Update Your Information Online - You may update your voter registration record online at
www,Texas.gov

To access the voter registration portal via Texas.gov, you must have:

               •    Your Texas Driver's License or Texas Personal Identification Card
               •    The audit number located on your Texas Driver's License or Texas Personal
                    Identification Card
               •    Your Social Security Number
               •    Your Voter Registration Number (VUID#).

If you do not have a personal identification number associated with your voter registration
record, you must add it before you wi II be al lowed to vote by mai I. Adding the missing
numbers to your voter registration record takes effect immediately, but if you change your
address it will take 30 days for the update to take effect from the day the voter registrar
receives your new application.

If you have any questions or concerns about making an update to your voter registration record
for a missing personal identification number, please contactthe Early Voting Clerk's Office at:




Phone Number                                                      Signature of Early Voting Clerk




                                                       OCA-APPX-1357
                                                                                                    STATE031645
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1358 of 2308
6-4
Prescribed by Secretary of State
Section 84.002, 86.001, 86.0015, 86.008(b), Texas Election Code
1/2022

                NOTIFICACION DE SOLICITUD DE BOLETA POSTAL RECHAZADA
El Numero de ldentificaci6n Personal Requerido No Esta Asociado Con Su Registro de Votante

Su Solicitud de Boleta Postal ha sido recibida y revisada, pero es defectuosa par la raz6n que se
indica a continuaci6n. La nueva leyde Texas exige que el votante de su Numero de Licencia de
Conducir de Texas, el Numero de su Tarjeta de ldentificaci6n Personal de Texas, el Numero de su
Certificado de ldentificaci6n Electoral de Texas o las ultimas 4 dfgitos de su Numero de Segura
Social en la Solicitud de Boleta Postal. El numero proporcionado debe ser parte del registro del
votante para que el votante pueda votar par correo.

                   Su registro de votante no tiene un Numero de Licencia de Conducir de Texas, un
                   Numero de Tarjeta de ldentificaci6n Personal de Texas, Certificado de ldentificaci6n
                   Electoral de Texas o las ultimas 4 dfgitos de su Numero de Segura Social asociado
                   con el.

    Hay Dos Maneras de Afiadir los Numeros Regueridos a Su Registro de Registro de Votante

Presentar una Solicitud de Registro de Votantes Actualizada - Se adjunta una Solicitud de
Registro de Votantes con franqueo pagado. Complete la solicitud de acuerdo con sus
instrucciones. Af\adirtantoel Numerode la Licencia de Conduciro de laTarjeta de ldentificaci6n
Personal coma las ultimas 4 dfgitos de su Numero de Segura Social a su registro de votante es
muy util para el Secretario de Votaci6n Adelantada y facilitara la solicitud de una Boleta Postal
en eleccionesfuturas.
0
Actualice su lnformaci6n en Linea - Puede actualizar su registro de votantes en lfnea en
www.Texas.gov
Para acceder al portal de registro de votantes a traves de Texas.gov, debe tener:

               •    Su Licencia de Conducir de Texas o su Tarjeta de ldentificaci6n Personal de Texas
               •    El numero de auditorfa que se encuentra en su Licencia de Conduci r de Texas o
                    Tarjeta de ldentificaci6n Personal de Texas
               •    Su Numero de Segura Social
               •    Su Numero de Registro de Votante (VUID#).

Si no tiene un numero de identificaci6n personal asociado con su registro de votante, debe
af\adirlo antes de que se le permita votar par correo. La adici6n de las numeros que faltan a su
registro de votante surte efecto inmediatamente, pero si cambia su direcci6n, la actualizaci6n
tardara 30 dfas en surtir efecto a partir del dfa en que el registradorde votantes reciba su nueva
solicitud.

Si tiene alguna pregunta o duda sabre coma actualizar su registro de votante par un numero de
identificaci6n personal faltante, pongase en contacto con la Ofici na de Votaci6n Adelantada al:




Numero de Telefono                                                Firma del Secretario de Votaci6n Adelantada




                                                       OCA-APPX-1358
                                                                                                      STATE031646
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                          OCA-APPX-1370
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                  Exhibit 89




                          OCA-APPX-1384
5/18/23, 11:31 AM                                 Case 5:21-cv-00844-XR Document 611-1 BallotTracker
                                                                                       Filed 05/26/23 Page 1385 of 2308




          arrow_back Back to My Voter Portal                                                                                                           English    En Español




                                                                           Ballot by Mail Tracker
            To track the status of your ballot by mail application or ballot, please enter your voter information below. Fields marked with an * are statutorily required.




              perm_identity Voter Information
                    First Name*                                                                      Last Name*



                    Suffix                                                                           Date of Birth (mm/dd/yyyy)



                    Last 4 digits of SSN*                                           visibility_off   Driver's License # / DPS PIN*                                  visibility_off




              home Residential Address
                    County*                                                                          Address Number*



                    Pre Direction                                                                    Street Name*



                    Post Direction                                                                   Street Type



                    Street Line 2



                    City*                                                                            Zip Code*




           If you are having issues accessing this tracker, please visit Am I Registered to view the information as listed in your voter registration record or contact your
                                                                                 county voter registrar.


                                                                                 Reset               Submit




                                                                                  Copyright © 2021 Civix




https://teamrv-mvp.sos.texas.gov/BallotTrackerApp/#/login
                                                                                OCA-APPX-1385                                                                                        1/1
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                          OCA-APPX-1386
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                          OCA-APPX-1390
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                          OCA-APPX-1392
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                          OCA-APPX-1393
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                          OCA-APPX-1395
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                  Exhibit 95




                          OCA-APPX-1400
5/18/23, 1:24 PM                       Welcome
                    Case 5:21-cv-00844-XR      | Official Texas
                                            Document            Voter Registration
                                                              611-1                Name & Address
                                                                         Filed 05/26/23           Change
                                                                                                Page     | Texas.gov
                                                                                                       1401    of 2308

    Texas Office of the Secretary of State
    Voter Name and Address Changes
    Welcome

    This free service is offered to registered Texas voters who need to submit Name and/or Address changes.

    You may use this service to update your Texas voter registration information. Allowable updates include changes to your current residential address and/or your
    changes to your name.




        NOTE:
        If you update your county of residence to a new county, your voter registration in your current county will be cancelled. Your voter
        registration information will be updated to the corresponding county of your new residential address.



    You will receive a new Voter Certificate in the mail within 30 days of submitting a change through this service. If you submit changes less than 30 days prior to
    an election, you must vote at your current polling location.


    To use this service, you need your:
       Current Driver License or ID Card
       Social Security Number
       Voter Registration Card VUID (Voter Unique Identifier) Number may be obtained from your County Voter Registrar         .




        This service does not change your address or name on your Driver License. Please visit the
        Driver License and ID Card Online Services website to update your address.



  For technical assistance with this application, please call 1-877-452-9060 or send an email to Texas.gov Help.
  For questions regarding voter registration you may contact your local County Voter Registrar .




                                                                                                                                                            Privacy - Terms



https://txapps.texas.gov/tolapp/sos/SOSACManager
                                                                      OCA-APPX-1401                                                                                      1/1
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                  Exhibit 96




                          OCA-APPX-1402
5/18/23, 1:36 PM   Case 5:21-cv-00844-XR Document
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     a texas.gov
                                                                                                             •




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https://www.texas.gov                                                                                              1/7
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            Accessibility in Texas
            Texas has a long history of advocating for the rights and needs
            of people with disabilities. Our state has established a range of
            programs and services to help support the community.



           B' Learn about accessibilitY. in Texas




                                                      OCA-APPX-1404
https://www.texas.gov                                                                                              2/7
5/18/23, 1:36 PM   Case 5:21-cv-00844-XR Document
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            Explore Texas




            See Texas outdoors, recreation, and
            culture
            Enjoy the Lone Star State's parks, historical landmarks, campgrounds, fishing,
            hunting, exhibits, fairs, and culture. We'll connect you with what you need-and
            want to do.




            EXP-lore Texas




           Im
            Business




            Make your business boom
            Find business resources that help you run and grow your company-from job
            seeking and recruitment, to economic development programs and help with




                                                      OCA-APPX-1405
https://www.texas.gov                                                                                              3/7
5/18/23, 1:36 PM   Case 5:21-cv-00844-XR Document
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            business taxes.




            Resident




            Stay Healthy
            Texas offers a variety of resources to help you and your loved ones live your life
            as healthy as possible.




            Learn about Texas health services




           *Government




            Government that works for you
            Texas government agencies offer a range of resident and business services for




                                                      OCA-APPX-1406
https://www.texas.gov                                                                                              4/7
5/18/23, 1:36 PM   Case 5:21-cv-00844-XR Document
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            Texans. Find the service and agency that can help you.




            Access Government Services DirectorY.




             Tweets from @texasgov                                                            Follow on Twitter


                    t'l Texas.gov - State of Texas Official Website Retweeted
                         Texas Department of Information Resources @TexasDIR · 3h
                         In celebration of Global Accessibility Awareness Day, DIR and @texasgov launch a
                         new page for Texans with disabilities to include resources ranging from
                         employment to recreation, with more resources to come! texas.gov/living-in-texa ...
                         #a11y #TexasA 11y #DIRislT #DigitalA 11y #GAAD




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                                                     View more on Twitter




                                                      OCA-APPX-1407
https://www.texas.gov                                                                                                   5/7
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           [Al Texas.gov
            ~                  Follow Page              26K followers



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                          Accessibility Resources
                                                       -     -      _.,_    . ..   •




                                                                                           I
                           ....,.,. ,.~_..,,.....,.,n•-••_....,.-




              0         Texas.gov
                        2 hours ago


              The Texas Department of Information Resources is proud
              to announce that Texas.gov has a new page serving
              Texans with disabilities in celebration of Global
              Accessibility Awareness Day (#GAAD). The new page,
              offered in English and Spanish, provides links to
              resources for Texans ranging from housing and
              employment to education and recreation with more
              resources being added over time. Check it out at                             ...




     About Us

     About Texas.gov

     Site Policies

     PrivacY. PolicY..

     SitemaP-.



     Services


                                                                           OCA-APPX-1408
https://www.texas.gov                                                                                              6/7
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                                                                      Website              Page
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     AP-P-JY./Renew Vehicle Registration

     Renew/ReP-lace Driver License

     Reguest Driver Records

     Order Vital Records

     All Services



     Related Sites

     Texas Veterans Portal

     Texas OP-en Data Portal

     Texas Records and Information Locator (TRAIL}.



     Support

     HelP- & SUP-P-Ort

     FreguentlY. Asked Questions

     Provide Feedback



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     D




                                                      OCA-APPX-1409
https://www.texas.gov                                                                                              7/7
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                          OCA-APPX-1412
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                Exhibit 104




                          OCA-APPX-1431
                 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1432 of 2308
  Message
  From:             /O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                    (FYDIBOHF23SPDL T)/CN=RECIPIENTS/CN=1FBSBA11EA034BB18440CF DBD54FD9 14-ATMONTGOMER
                    1/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                    (FYDIBOHF23SPDLT)/CN=RECIPI ENTS/CN=1FBSBA11EA034BB18440CFDBD54FD914-ATMONTGOMER]
  Sent:             1/26/2022 8:46:43 PM
  To:
  CC:                Elections Internet [Elections@sos.texas.gov]
  BCC:               Christina Adkins [CAdkins@sos.texas.gov]
  Subject:           RE: Mail in Ballots Registration


  Good afternoon,

  There have been some changes to the law regar ding applications for ballot by mail (ABB Ms). Section 84.002 of the
  Election Code now requires that voters provide either the number from their driver's license, election identification
  certificat e, or personal ident ification card issued by Texas Department of Public Safety or to provide the last four digits
  of their social securit y number on the applicat ion. If the voter has not been issued either of these numbers, the voter
  may include a statement on t he ABBM that they have not been issued eit her number.

  If a voter is completing an ABBM and does not remember which number the voter used to register to vote, that voter
  may contact t he county voter registrar to confirm the number that was used to register. The count y voter registrar
  should be able to inform t he voter of the type of number that was used by the voter at the time of registration.
  Additionally, if the voter does not remember which num ber was used to register, the voter can provide both numbers
  on the ABBM. As long as one of the numbers is confirmed, the ABBM should be accepted.

  We hope this information will be helpful to you.

  Elections Division Staff
  Offi ce of t he Texas Secretary of State
  1019 Brazos Street I Rudder Building, 2nd Floor I Austin, Texas 78701
  1.800.252.VOTE (8683)
  elections@sos.texas.gov I www.sos.texas.gov
  For Voter Related Information, please visit:




   The information contained m this email is intended to provide ao'vice and assistance in e/ec/1011 matters per §31.004 ol lhe Texas E.fe€--tion Code. ii is not
  intended to serve as a legal opinion for any matter. Please review the law yourself. and consult with an attorney when your /~al rights are involved.


  -----Original Message-----
  From:
  Sent : Thursday, January 20, 2022 11:17 AM
  To: Secretary <Secrnt ary@)sos.texas.gov>
  Cc:
  Subject: Mail in Ballots Registration

  CAUTION: This emai l originated from OUTSIDE of t he SOS organizat ion. Do not click on li nks or open attachment s unless
  you are expecting the email and know that the content is safe. If you believe this to be a malicious or phishing email,
  please send this email as an attachment to !nformationsecurity@sos.texas,gov .

  So I was reading that in Texas there is a restriction t hat allows t he county to bounce votes, if you don't use the same ID
  you used to register. For example, if you registered using your driver's license, but you requested o r sent in your mail-in


                                                                  OCA-APPX-1432
CONFIDENTIAL                                                                                                                               STATE031546
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1433 of 2308
  ballot using your social security last four digits, the ballot gets rejected. That is insane. Who remembers which one they
  used when they registered to vote 20+ years ago (or yesterday for that matter).



 ...
  Is this above statement truthful and do I have to worry about the county bouncing my vote out?
  Thanks for your attention and answer in advance .




  Sent from my iPhone




                                                   OCA-APPX-1433
CONFIDENTIAL                                                                                                 STATE031547
                   Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1434 of 2308
  Message
  From:                BCEO-M cCoy, Pat [Pat.McCoy@txkusa.org]
  Sent:                2/14/2022 7:31:22 PM
  To:                  Sam Taylor [SMTaylor@sos.texas.gov]
  Subject:             RE: Ballot Tracker Does Not Work


                                                                               ;

   CAO'llO'N: tfnls email originated from OUl'SIDE of tliie S©S org~nizatlon, Do not elide on links or ~en attadirnents i:.mless ;you
   are expecting the email and know tnat ffie content is safe, If ~ou believe lnis to he a malicious or phish!ng email, please send
                                                                               i
  thlseman a:s an a t t a f i : n m e n t t o : _ ,
  Understood. Just be prepared for more complaints on this. W e have fielded 6-8 call a day on this issue alone,
  not to mention the ABBM and Carrier envelop. Just not enough words .. ...

  From: Sam Ta ylo r <SM Taylor@so s.t exas.gov>
  Sent: Monday, February 14, 2022 1:11 PM
  To : BCEO-McCoy, Pat <Pat .M cCoy@txku sa.org>
  Subject: RE: Ballot Tracker Does Not W o rk

  CAUT(ON: This email originated frotn outside o (.Jr emaU syst em. Do not dick links or open attachmehts unless you
  recognize t he sender and know the co ntent is safe.


  Understood - thank you for the update. The requirements to log into the ballot tracker are set by statute, not our office
  - per Sec. 86.015, it requires the following information for the voter to access the tracker:

        •    Name
        •    Regi st ration address
        •    Last four digits of social security number
        •    DL number OR Personal ID card num ber issued by DPS

  Since this is set out explicitly in law, our office doesn't h ave any leeway to alt er these requirements, it would t ake a
  legislative change:


              Sec . 86 . 015 .     ELECTRON I C TRl,CKING OE' )\PPLICATION FOR BA LLOT VOTE D BY t,t~IL OR BALLOT VOTED BY

  MAIL.      (a)      The secretary of state shal l develop or otherw i se p r ovide an on l ine tool to each early vot i ng c l er k

  th.at enables a person wt10 submi ts an application for a balJ.ot to be voted b y ma.il to track the l ocati on and

  s t atus of t he per.son ' s a ppl i ca tio n an d bal l ot on t he secretary ' s In ternet website a nd on th."' county ' s In ternet

  webs ite if the ea r l y voting clerk is t he county c l erlc of a county that main ta i ns an I n t ernet websi te .



  before perro.:ittin!ll me voter to acces1i i.nf.ormation d~scrib~d by tl:lat subser,;.t.Lon;
                           (1 l   tlle voteer 1:v:name and regi,sb:ation addr~s-s, oand tire last four 4igi'.t.s .of tile V J:lter 1'6: soesial




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               (c l    An o n l .ine tool used und er t h.is sect.ion must. :

                           (1)    for each e l ectio n , record ;

                                     (A)   each a pplicati o n fo r a b allot to be voted by mail rece i ved by the c l erk; ancl




                                                                 OCA-APPX-1434
CONFIDENTIAL                                                                                                                          STATE105512
                  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1435 of 2308

                                 (B)   each carri er envelope sent to a voter by t he c l erk;
                        (2)   for each carri er envelope, record or assign a serially nwnberect and sequentially i ssued
  barcode or tracking number t hat i s unique to each envel ope ;
                        (3)   update the applicable In ternet website as soon as pract i cable after each oft.he following
  events o ccurs:

                                 (A)   recei pt by t he early voting- c l erk of the person ' s a ppli cation for a ballot to be
  voted by mai l ;

                                 (B)   accepta nce or rej ection by t he earl y voting clerk o f the person ' s app l ication for a
  ballot to be voted by mail ;
                                 (C)   placement in the mail by tl:e early voting clerk of t he person ' s offi c i al ballot;
                                 (D)   rece i pt by t he early voting c l e rk of t he person's marked bal lot ; and
                                 (E)   acceptance or rejection by the earl y voting ballot board of a person's marked
  ballot ; a nd

                        (4)   a l low a voter to add or correct in formation requi red under Section (•4 . (;O;>_ (a) (1- a) or
  Section BC . 002 (g).

              (d)    The secretary of state shal l adopt rules and prescribe procedures as necessary to i mplement t hi s
  section .

              (e )   The informat i on containe d in Subsecti on (c ) is not publ ic informati on for purposes of Chapter '-'.32{,
  Government Code , until after e l ection day .


  Added by Acts 2021 , 87th Leg . , R. S ., Ch . 317 (H.B . .1..3..f•?l, Sec . 1, eff. September 1 , 202 1.
  Amended by :
              Acts 2021, 87th Leg., 2nd C. S . , Ch. 1 (S . B. L_), Sec . 5 . 1.0 , eff. December 2, 202 1.




  Sam Taylor
  Assistant Secretary of State for Communications
  Office of the Texas Secretary of State
  smtaylor@sos.texas.gov
  Office: 512-463-6116
  Cell: 51 2-538-5293




  From: BCEO-McCoy, Pat <Pat.McCoy(illtxkusa.org>
  Sent: Monday, February 14, 2022 1:01 PM
  To: Sam Taylor <SMTav!or@sos.texas.gov>
  Subject: RE: Ballot Tracker Does Not Work



                                                         OCA-APPX-1435
CONFIDENTIAL                                                                                                           STATE105513
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1436 of 2308




  Mr. Taylor,

  It is not that it does not work, it is that is complicated and the age of people who are generally tracking
  a mail in ballot can't readily utilize the site. The tracking site ask for ID of Drivers license or last four
  of SSN. If the voter does not know which one of those numbers we have in our system it will kick out
  the inquiry. (This is the same problem with the new ABBMs and the Carrier Envelopes).

  We have been in contact with these two individuals and their ballots have been "received" in our
  office.

  Until the state makes the ballot tracker more user friendly then you and us will continue to have
  voter's comment that the site does not work.

  Pat McCoy
  Election Administrator
  Bowie County



  From: Sam Taylor <SMTaylor(wsos.t:exas.gov>
  Sent: Monday, February 14, 2022 12:51 PM
  To:
  Cc: BCEO-McCoy, Pat <PatMcCov@txkusa.org>
  Subject: RE: Ballot Tracker Does Not Work

  CAUTtON; This email origin_ated frorn outside o ur e01<1il :iystem. Do not click links or 9pe11 ~tt achments unless yo4
  recognize the sender and know the content is safe.


  Hi -

  The ballot tracker does work. Please try again but you do not have to p rovide anything in 'Street line 2' - t hat is an
  optional field. That could be why the ballot tracker is turning up the message "no voter could be found for the det ails
  you entered."



            --
          BOWIE




          - -
  I just tested this with rny own add ress and registration to troubleshoot and confirm it works properly. Please let us know
  if you and those you mentioned are still experiencing issues.

  Best,


                                                    OCA-APPX-1436
CONFIDENTIAL                                                                                                   STATE105514
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1437 of 2308


  Sam Taylor
  Assistant Secretary of State for Communications
  Office of the Texas Secretary of State
  smtavJor@sos,texas..gov
  Office: 512-463-6116
  Cell: 512-538-5293




  From:
  Sent: Monday, February 14, 2022 12:36 PM
  To: Sam Taylor <SMTaylor@sos.texas.gov>
  Cc: Bowie - Pat McCoy <pat.mccoy@txkusa .o rg>
  Subject: Ballot Tracker Does Not Work


   CAUTION: l'his email originated trum tllJTSJOE of the SOS org~nization. IJo not click on link& or open attachments unless MOU
   are eiqiecting the email and knew tl-iat tile content is safe, If ~ou believe this: to oe a malicious or pnisning email, please send
  Ithis email as an attachment to                                     i   •
  Sam Taylor, Assistant Secretary of State for Communications

  Your Ballot Tracker does not work. Inserted below are screenshots showing
  1.                 is registered to vote in Bowie County
  2. Ballot Tracker does not work
  3.                             is registered to vote in Bowie Count
  4. Ballot Tracker does not work                     has confirmed with the county elections office that her mail
  balitlot was received.)

  I believe the state law has not changed in that it is required for the county elections office to post daily the mail
  ballots it has received. Instead of putting a file on its website everyday, Bowie County just puts a link to state
  "Ballot Tracker."

  This needs to be fixed immediately. If you have any questions, feel free to call me. I have had several people try
  using Ballot Tracker, so it is not just the two examples I have provided that are having trouble.

  Please have someone reply to this message so I know that it was received. Thank you.




                                                        OCA-APPX-1437
CONFIDENTIAL                                                                                                          STATE105515
                                   Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1438 of 2308




                    Gender: -
                    VaJid From:
                    Effective Date of R,egistration:
                    Voter Status:_
                    County:-
                    Precinct: ■
                    VUIO·:




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CONFIDENTIAL                                                                                                                                                                                                             STATE105516
                          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1439 of 2308




            Gender:-
            Valid From:
            Effective Date of Registration:
            Voter Status:-
            County: -
            Precinct ■
            vu,o:



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CONFIDENTIAL                                                                                                                      STATE105517
                 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1440 of 2308
  Message
  From:              Andre Montgomery [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                     (FYDIBOHF23SPDL T)/ CN=RECIPIENTS/CN=1FBSBA11EA034BB18440CF DBD54FD9 14-ATMONTGOMER]
  Sent:              11/2/2022 6: 12:02 PM
  To:
  CC:                Elections Internet [Elections@sos.texas.gov]
  Subject:           RE: Vote Texas Contact Message (El Response)


  Good afternoon.

  Section 86.00l (f) (copied below) provides that an application for ballot by mail must include t he same identifying
  numbers as the voter's registration information. Either the last four digits of the SSN or all the digits in a Texas
  identification card/driver's license are required to register to vote (or the applicant must indicate that they have not
  been issued either of these numbers). Although both numbers are not required, the number provided on t he application
  for ballot by mai l must match the number in the voter's registration record. This means that if t he voter registered to
  vote using only the SSN, for example, the last four digits of that SSN must be provided on the application for ballot by
  mail. If t he voter provided their Texas driver's license number instead, and that driver's license number is not associated
  with the voter's registration record, the application for ballot by mail would be rejected. Voters can add either number
  to their registration record by subm itting a voter registration form and including the number on t hat application and
  marking the application as an update to their existing voter registration record. Additionally, either number can be
  added to the registration record by using the Texas.gov website.

  On the Application for Ballot by Mail prescribed by the Office of the Secretary of State, instructions are included on the
  application which state the following: "If you have been issued one of the required numbers, but it is not associated w ith
  your voter regist ration record, please contact your local registrar to inquire about how to add one of those required
  numbers to your voter registration record." Therefore, we recommend that if a voter is unsure which number is
  associated with their voter registration record, the voter contract their county of registration to confirm which number
  is a part of their voter registration record and provide t hat number. It is also permissible for a voter to put both numbers
  on the application although only one number is required.

  We hope this information will be helpful to you .

  Elections Division Staff
  Office of the Texas Secretary of State
  1019 Brazos Street I Rudder Building, 2nd Floor I Austin, Texas 78701
  1.800.252.VOTE (8683)
  elections@)sos.texas.gov I www.sos.texas.gov
  For Voter Related Information, please visit:




  The information contained in this email is mtended to provide ad',Ace and assistance in election matters per §,.'i 1. 004 of the Texas Election Code. ft is not
  intended to serve as a legaf opinion for any matter. Pfease review the law yourself, and consult with an attomey when your legal rights are involved.



              Sec . 8 4.0 02 .              CONT ENTS OF APPLI CATI ON .                            (a )     An ear l y voting ballot
  application must i nclud e :
                         (1 )       the app l i ca nt 's n ame a n d t he addre ss a t which t he a pplican t
  i s r egi s te red t o vo t e ;
                         ( 1- a )      toe . ;fol.l owing "1.n..to r,mati o n :


                                                                  OCA-APPX-1440
CONFIDENTIAL                                                                                                                               STATE118514
         Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1441 of 2308

                      (A)   the number of the applicant's driver's license,
  election identification certificate, or personal identification card
  issued by the Department of Public Safety;
                      (B)   if the applicant has not been issued a number
  described by Paragraph (A), the last four digits of the applicant's social
  security number; or
                      (C)   a statement by the applicant that the applicant has
  not been issued a number described by Paragraph (A) or (B);
                (2)   for an application for a ballot to be voted by mail on the
  ground of absence from the county of residence, the address outside the
  applicant's county of residence to which the ballot is to be mailed;
                (3)   for an application for a ballot to be voted by mail on the
  ground of age or disability, the address of the hospital, nursing home or
  other long-term care facility,      or retirement center, or of a person
  related to the applicant within the second degree by affinity or the third
  degree by consanguinity, as determined under Chapter 573, Government Code,
  if the applicant is living at that address and that address is different
  from the address at which the applicant is registered to vote;
                (4)   for an application for a ballot to be voted by mail on the
  ground of confinement in jail, the address of the jail or of a person
  related to the applicant within the degree described by Subdivision (3);
                (5)   for an application for a ballot to be voted by mail on any
  ground, an indication of each election for which the applicant is applying
  for a ballot;
                (6)   an indication of the ground of eligibility for early
  voting; and
                (7)   for an application for a ballot to be voted by mail on the
  ground of involuntary civil commitment, the address of the facility
  operated by or under contract with the Texas Civil Commitment Office or of
  a person related to the applicant within the degree of consanguinity
  described by Subdivision (3).
        (b)     An application for a ballot to be voted by mail on the ground of
  absence from the county of residence must indicate that the applicant
  satisfies the requirements prescribed by Section 82.001.
        (b-1)     A person may use the number of a driver's license, election
  identification certificate, or personal identification card that has
  expired for the purpose of fulfilling the requirement under Subsection
  (a) (1-a) if the license or identification is otherwise valid.
        (c)     An application for a ballot to be voted by mail on the ground of
  disability must require the applicant to affirmatively indicate that the

                                     OCA-APPX-1441
CONFIDENTIAL                                                               STATE118515
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1442 of 2308

  applicant agrees with the statement, "I have a sickness or physical
  condition that prevents me from appearing at the polling place on election
  day without a likelihood of needing personal assistance or injuring my
  health," as prescribed by Section 22.CC2(a).

         Sec. 86.001.     REVIEWING APPLICATION AND PROVIDING BALLOT.       (a)       The
  early voting clerk shall review each application for a ballot to be voted
  by mail.
         (b)     If the applicant is entitled to vote an early voting ballot by
  mail, the clerk shall provide an official ballot to the applicant as
  provided by this chapter.
         (c)     Except as provided by Section 86.008, if the applicant is not
  entitled to vote by mail, the clerk shall reject the application, enter on
  the application "rejected" and the reason for and date of rejection, and
  deliver written notice of the reason for the rejection to the applicant at
  both the residence address and mailing address on the application.              A
  ballot may not be provided to an applicant whose application is rejected.
         (d)     If the application does not include the applicant's correct
  voter registration number or county election precinct of residence, the
  clerk shall enter the appropriate information on the application before
  providing a ballot to the applicant.
         (e)     If the applicant does not have an effective voter registration
  for the election, the clerk shall reject the application unless the clerk
  can determine from the voter registrar that the applicant has submitted a
  voter registration application and the registration will be effective on
  election day.
         (f)     If the information required under Section 84.002(a) (1-a)
  included on the application does not identify the same voter identified on
  the applicant's application for voter registration under Section
  13.002(c) (8), the clerk shall reject the application.
         (f-1)     If an application is rejected under Subsection (f), the clerk
  shall provide notice of the rejection in accordance with Subsection
  (c).   The notice must include information regarding the ability to correct
  or add information required under Section 84.002(a) (1-a) through the
  online tool described by Section 86.015(c).
         (f-2)     If an applicant corrects an application for a ballot to be
  voted by mail online and that application subsequently identifies the same
  voter identified on the applicant's application for voter registration,
  the clerk shall provide a ballot to the applicant as provided by this
  chapter.


                                    OCA-APPX-1442
CONFIDENTIAL                                                                STATE118516
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1443 of 2308

             (g)     If a b all ot is p r ovided to t h e applicant , the c l e r k shal l
  indicate beside the applicant's name on t he li st o f regi stered voters t h a t
  a ba llo t to be voted by ma i l was provi ded to the app l i ca nt and the dat e o f
  provi ding the ballot unless t he form of t h e list makes it impracticabl e to
  d o so .



  From:
  Sent: Monday, October 31, 2022 10:08 AM
  To: Elections Intern et <Uections@sos.texas.gov>
  Cc:
  Subject: Vote Texas Contact Message
                                                                   ;

  CAUTION: l:hls email originated fr.om QUISJD£ of the 'S(l)S or!{~niiation. ~o net dick on l1nks or Oi;ieJ1 attachments unl~ss you
  are expeetiog the email aod know tbat ihe content Is safe. lf:1,pu lilelieve tl'lii to he a malicious or p:hisning email, pleaie send
  Ithli cema!I a$ an attachment to                                 ;    .


  From :

  When filling out my mothers VOTE BY MAIL form the county refused to send her a ballot due to not using a prior number
  "the last four numbers of her social security ID" instead using the STATE OF TEXAS Drivers License number. Since both
  were an option on the application Either Texas Drivers license or Last four of social security number I feel that this is an
  error in the APPLICATION For a Ballot by Mail. Ector County refuses to send her a ballot because she used her legal ID
  form of her Texas Drivers License.




                                                       OCA-APPX-1443
CONFIDENTIAL                                                                                                          STATE118517
                 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1444 of 2308
  Message
  From:             Elections Internet [Elections@sos.texas.gov]
  Sent:             2/28/2022 3:14:59 PM
  To:
  Subject:          RE: Problem with voting by mail (E l Response)


  Thank you for contacting the Elections Division of t he Office of the Texas Secretary of State.

  If your application for a ballot by mail was rejected because the required personal identification information on the
  application does not match the numbers in your voter registration record then the county must provide notice to you of
  the rejection and explain hnw to correct the defect by using the online Ballot by Mail Tracker, available at
  www.votetexas.gov. If you need to update your voter registration record to add or required information numbers you
  can do so by submitting a new voter registration application to the registrar or by validating their personal identification
  numbers on texas.gov.

  We appreciate your detailed feedback on the issues you encountered. We are always looking for ways to improve the
  process and the experience, and detailed feedback from the voters is helpful in addressing those issues. Our office does
  not have the power to change the laws in effect in this state. If you wish to bring a legislative idea to the attention of
  the Legislature, you can find contact information for your state legislative representatives
  here: https://wrm .capitol.texas.gov/home

  Again, thank you for contacting our office. If you have any additional questions or if we can be of further assistance,
  please contact our office at 1.800.252.8683 or email us at E!ections@sos.texas.gov.


  Elections Division Staff
  Office of the Texas Secretary of State
  1019 Brazos Street I Rudder Building, 2nd Floor I Austin, Texas 78701
  1.800.252.VOTE (8683)

  elections(@sos.texas.gov I www.sos.state.tx.us
  or Voter Related Information, please visit:




  The information containc•d in this emeif is intended to provide advice end assistance in election matters per §31.004 of the Texas Efoiction Code. It is not
  intended to serve as a legal opinion for tiny matte,: Please review the law yourself, arid consuit witti an atlomey when your legal rights arc1 involved.




  -----Origi nal Message-----
  From:
  Sent: Thursday, February 17, 2022 3:51 PM
  To: Elections Intern et <ElecHons@sos.tel«-1s.ru>v>
  Subject: Problem with voting by mail

  CAUTION: This emai l ori ginated from OUTSIDE of t he SOS organization. Do not click o n li nks or open attachm ents unless
  you are expecting the email and know t hat the content is safe. If you believe this to be a malicious o r phishing email,
  please send t his email as an attachment to !nformationsecurity@sos.texas.ggy.

  I have been a regist ered vot er at my address since 1980. The last few year s I have voted by mail because of disability
  and age. My current application for voting by mail has been rejected. The problem is my last 4 digits of my social



                                                                OCA-APPX-1444
CONFIDENTIAL                                                                                                                             STATE122242
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1445 of 2308
  security number were enter ed into the voting registration data base incorr ectly in 1980 by whomever entered the
  data. The Tarrant County Election office said the numbers were transposed. W hen I asked if I could take a picture of my
  Texas driver's license and social security card and email it to their office I was told I had to come into t heir office to
  correct the error. If I was able to go to their office I could vote in person.

  Texas voting laws are penalizing people for m istakes made by the election staff members that entered the voting
  registration data. It is ridiculous that the technology that allows me to update my information to the IRS and the Social
  Security Administration electronically is not allowed by the state of Texas in regards to voting by mail. As a constituent I
  am being denied my right to vote by mail simply because ofTexas' antiquated procedures. It is time for Texas to
  embrace technology and stop blocking voters.



 -Sincerely,



  Sent from my iPhone




                                                    OCA-APPX-1445
CONFIDENTIAL                                                                                                  STATE122243
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1446 of 2308
  Message
  From:
  Sent:          3/29/2022 10:16:01 PM
  To:             Melanie Best [MBest@sos.texas.gov]
  CC:             Melanie Best [MBest@sos.texas.gov]; Christina Adkins [CAdkins@sos.texas.gov]; Elections Internet
                  [Elections@sos.texas.gov]
  Subject:        Re: Vote Texas Contact Message - (El Response)


                                                                   ;

   CAO'l'lO'N: tfnls email originated from OUl'SIDE of tliie S©S org~nizatlon, Do not elide on links or ~en attadirnents i:.mless ;you
   are expecting the email and know tnat ffie content is safe, If ~ou believe lnis to he a malicious or phish!ng email, please send
                                                                   i
  thlseman a:s an a t t a f i : n m e n t t o : _ ,
  I will make that suggestion to the DPS though my state senator and representative . I will also help my
  friend correct her voter registration.

  I am also aware of the curbside voting since I have worked the elections for more than 20 years . This
  year we had problems with our machine and sent voters that required this to another polling place.
  We filed our complaint about this to the county . We had lots of problems in Harris county, but you
  know that.

  Apparently your email contact works but it told me twice that it failed. Th is is what I got back:


  postmaster@sos4avwapps1 .txsos.sos.state.tx. ux

  Mon, Mar 28 at 2:32 PM
  This is an automatically generated Delivery Status Notification.

  Delivery to the following recipients failed.




  Thanks, _

  On Tuesday, March 29, 2022, 05:07:53 PM CDT, Melanie Best <mbest@sos.texas.gov> wrote:




  Thank you for your inquiry.




  We are sorry your friend experienced difficulties. We respectfully note that our office cannot direct DPS procedures. You
  would need to direct the request to DPS.




  In the meantime, in terms of election procedures, we can advise you that the voter can associate a new number with the
  voter registration record to help facilitate ballot by mail. One of the ways to do this is to send in a voter registration
  application with updated information.




                                                       OCA-APPX-1446
CONFIDENTIAL                                                                                                         STATE122468
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1447 of 2308


  If the voter is not sure whether her driver license number or social security number are associated with the voter
  registration record, she may put both on a future application for ballot by mail.




  Additionally, many voters who vote by mail like knowing about an alternative called curbside voting. A voter with a
  disability can vote curbside; the balloting materials are brought out to the car. We recommend calling ahead if the voter
  wishes to curbside vote. For example, during eariy voting, curbside voting is legally available at any branch. However, as
  a practical matter, some locations are better suited than others (roomier driveways and so on).




  https://www.vote texas.gov/voters-with-specia I-needs/




  We hope this will be helpful to you.




  Sincerely,




  Elections Division Staff

  Texas Secretary of State

  1-800-252-8683

  Elections@sos.texas.gov




  From:
  Sent: Monday, March 28, 2022 2:32 PM
  To: Elections Internet <Elections@sos.texas.gov>
  Cc
  Subject: Vote Texas Contact Message




  £Jttl11fa()l's'i ;J;his email originatoo from 011.T'WSIEJE o£t1n:. Sllit~' organb..,ation, Ila nol click on li1'iks or opyn attachments unless
  you are e~cotmg tlie email and 1.1101v ffiat llie content is safe. Jf1you believe this to hen malicious or ph.ishiug email, please
  senotnis email as mi attad1nnmtto                                        ·         .




  From:



                                                           OCA-APPX-1447
CONFIDENTIAL                                                                                                                  STATE122469
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1448 of 2308
  a friend who is now handicapped and cannot drive got her photo ID at DPS. They did not give her her old drivers license
  number. They gave her a new number. This caused problems when she requested a mail in ballot. Please tell DPS to
  continue using the original drivers license number 011 the photo ID to avoid this problem. Thank you.




                                                  OCA-APPX-1448
CONFIDENTIAL                                                                                               STATE122470
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1449 of 2308
  Message
  From:
  Sent:          5/12/2022 5:23:10 PM
  To:            Elections Internet [Elections@sos.texas.gov]
  Subject:       MAIL IN BALOT TRACKER

                                                                   ;

   CAO'l'lO'N: tfnls email originated from OUl'SIDE of tliie S©S org~nizatlon, Do not elide on links or ~en attadirnents i:.mless ;you
   are expecting the email and know tnat ffie content is safe, If ~ou believe lnis to he a malicious or phish!ng email, please send
                                                                   i
  thlseman a:s an a t t a f i : n m e n t t o : _ ,
  Dear Friends,
  I sent in a Mail-in Ballot for my sister,                         for the May 7, 2022 election and was notified
  by the Tarrant County Board of Elections that I failed to include her SS# on the envelope and therefore, the
  ballot would be void unless I corrected it. After numerous attempt to find a way to correct it, election day came
  and went. My sister is bedridden and unable to go to the Tarrant Board in person. Today, I talked again with
  the Tarrant Board and they keep recommending I use the state webpage for Track Your Ballot. This does not
  work. 11111111 does not have a Driver's License nor a DPS number which is one of the sections you must fill in.

                                does have a valid Voter Registration Card good through - · Her address
  1s:
  Her
  Birth:
  Voter Registration Certificate No. -

  It is very important that we clear this matter up as she desires to vote in the upcoming elections.

  Sincerely,
                                       Sister to




                                                       OCA-APPX-1449
CONFIDENTIAL                                                                                                         STATE123165
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1450 of 2308
Message
From:
Sent:          3/4/2022 4:59:41 PM
To:            Elections Internet [Elections@sos.texas.gov]
Subject:       Mail-In Ballot issues




HI. I would like to address issues with the mail-in ballot. It was VERY frustrating. First, the ballot would not fit into t he
carrier envelope. I had to get a ruler out to refold it and I was finally able to get it in . Second, after getting t he carrier
envelope into the mailing envelope my Drivers License information could be seen if you hold the envelope
correctly. This is not at all secure and I was not very comfortable mailing t his in. I am a republican t hat is disabled. This
stupid system is making it more difficult for voters that t he state WANTS to vote. Thirdly, I then get an email t hat the
outside envelope was not signed. After all the frustration with trying to get the ballot into the inside envelope I guess I
forgot this. Now I am told I have to figure out how to get to McKinney to sign to make my vot e valid. There needs to be
an electronic means to correct things like this. I got t he email to tell me about t he problem - why not allow the
problem to be corrected through email? Since I have to go to McKinney to sign that means my vote will not be
counted. This STINKS!




-




                                                    OCA-APPX-1450
                                                                                                               STATE123933
                        Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1451 of 2308
  Message
  From:                      Elections Int ernet [Elections@sos.texas.gov]
  Sent:                      10/9/2022 5:08:22 AM
  To:
  CC:                        Elections Internet [Elections@sos.texas.gov]
  Subject:                   RE: Vote Texas Contact Message


  Thank you for contacting the Elections Division of the Office of the Texas Secretary of State.

  The Early Voting Clerk in you r home Texas County is the one responsible for mailing all ba lloting materia ls to
  you. Please check w ith your county Early Voting Clerk as to the status of your bal lot by mail.

  Contact information for t he Early Voting Clerk in your Texas County is available here:
  .b.t.!.P..J.J/www.sos .state.tx. us/ e lections/voterI county .shtrn I


  Again, thank you for contacting our office.



  Elections Division
  Office of the Secretary of State
  800-252-VOTE(8683)
  'Nww.sos.state.tx.us/eiections/lndex.shtm!
  For Voter Related Information, please Vl$lt:

   YOTETEXA.S~!>
   ~f$'f!~ttx.Kt3f.tAf1J$.t' ~t,tH~f



  for any mattar. P}1N.1sa rm,.k:w the Jaw your:.aif,, ond consult with .:m t1ttorney wJum vour fog-.1! rights ctrt? invo)ved.




  From:
  Sent: Saturday, October 8, 2022 6:28 PM
  To: Elections Internet <Elections@sos.texas.gov>
  Cc:
  Subject: Vote Texas Contact Message


   CAl!fllON: This email originated from CH.ITSIOE o'fthe SOS org6nfaation. Do not dii:R on links or open attad'iments unless you
                                                                   i
   ate expetting tne :email and know tnat tne content is safe. If &ou Believe this to be a ma!lciou$ or phisning email, p[:ease send
   this email as an attaehment to                                  i .

  From :

  I am voting by mail. Last election we had to put the identifying info we used when we originally registered to vote. I dont
  remember which ID I used so I put both Drivers license and last 3 digits of my social. Now the instructions say One form
  of ID. Do we still have to use what we originally registered with? Will we be penalized if we put more than one type of ID?
  Thank you




                                                                                      OCA-APPX-1451
CONFIDENTIAL                                                                                                                     STATE128049
                     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1452 of 2308
  Message
  From:                  /O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                         (FYDIBOHF23SPDL T)/CN=RECIPIENTS/CN=B3FBA6E4A38E41SF84C198A226931A4A-HMARTINEZ
                         1/0=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                         (FYDIBOHF23SPDLT)/CN=RECIPI ENTS/CN=B3FBA6E4A38E41SF84C198A226931A4A-HMARTINEZ]
  Sent:                  10/27/2022 6:08:57 PM
  To:
  CC:                    Elections Internet [Elections@sos.texas.gov ]
  BCC:                   Christina Adkins [CAdkins@sos.texas.gov]
  Subject:               Vote seems to be suppressed (El Response)


  As an initial matter, thank you for your concern and for taking the time to send in the inq ui ry.

  In order to best assist your daughter, please have her contact our office directly and as soon as possible. We
  are happy to assist her with her ballot by mail issue(s) .

  Heidi Martinez
  Managing Attorney - Elections Division
  Office of the Texas Secretary of State
  1019 Brazos Street I Rudder Building, 2nd Floor I Austin, Texas 78701
  1.800 .252.VOTE (8683)
  elections@sos.texas.gov I w1N\-v.sos.state.tx.us/ elections




  'i'ht! h1forma(ion r:onh1 fr:ed in this imlaii is intended to provide advice a ntl assi:;t·a1u:e in election nw:t{:1-s J>er- §3t.004 of the 'fe.y_as J£leit:Non Code. Lt is not intended to serve as
  a fegai opinion for any m<iUer . Plet.u:e r eview tht? law your!'; t?{f ~o.nd co,wul.i with m-1 attorney when your legal rights t1i't? im.,.'l>lverl.




  From:
  Sent: Tuesday, October 25, 2022 7:16 PM
  To: Elections Internet <Elect ions@sos.texas.gov>
  Subject: Vot e seems to be suppressed




  My daughter is a registered voter and is a student that now lives out of slate. She sent her mail-in ballot application at the beginning of
  October. The application asked for "EITHER" DL number "OR" SSN, so she put in the DL number. Her application was then
  rejected. We called Comal County and they said "her reg istration has her SSN , so she needs to put that". First of all, if that were the
  case then the application should have said so to begin with! That's very misleading. The rejection letter also said that in order to fix that
  information on her ballot, she could simply log in to the ballot tracker. However, the ballot tracker REQUIRES you to enter BOTH your
  SSN and DL number, so it denied her access because her voter reg istration apparently doesn't include SSN yet. So there was no way
  to fix it.
  After contacting numerous people, we were then instructed to go to txapps.texas.qov and use the ·voter name and address changes"
  form that is located there. We successfully got into that site and were able to add her SSN and DL number to her voter
  registration. The following day, she was finally able to get into the ballot tracker yet there was no ballot or mail in application associated
  with her name. So once again, we called the county. They said that they could see that she added her SSN and DL number and they



                                                                                 OCA-APPX-1452
CONFIDENTIAL                                                                                                                                                               STATE133481
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1453 of 2308
  would" take care of it". The gal on the phone said as soon as she "rejects the ballot again", it will then show up on the ballot tracker and
  my daughter can then correct her information there and consequently, her original mail in application will then be accepted. This
  elaborate and confusing process made zero sense to me , but I said "ok". Now, my daughter can no longer log into the ballot tracker. It
  is again saying that she doesn't exist. This is beyond frustrating and completely unnecessary. My daughter is a registered voter and
  has already voted in several elections. Now, as a student attending college, you're telling her she cannot vote! She cannot simply
  resend a new mail-in application because this long and drawn out process wasted too much time and it takes too long for mail to get
  back and forth from Maine. This is a case of complete incompetence on someone's part and deception on the part of both the rejection
  letter we received and the State of Texas Secretary of State website. Please let me know if there is anything else we can possibly do to
  allow my daughter to use her Constitutional right to vote, since she has done everything correctly up to this point but Texas insists on
  suppressing her vote with its idiotic and deceptive process!
  Sincerely,


  Comal County




                                                          OCA-APPX-1453
CONFIDENTIAL                                                                                                               STATE133482
                 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1454 of 2308
  Message
  From:                     Elections Int ernet [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                            (FYDIBOHF23SPDL T)/CN=RECIPIENTS/CN=C7880AABC96640A49B3 16BEE342F5292-ELECTIONS I]
  Sent:                     8/24/2022 3:01:33 AM
  To:
  BCC:                       Elections Int ernet [Elections@sos.texas.gov]; Christina Adkins [CAdkins@sos.texas.gov]
  Subject:                   RE: Vote by Mail instructions (El Response)


  Thank you for contacting the Elections Division of the Office of the Texas Secretary of State,

  Senate Bill 1 amended Section 86.002 to require that the carrier envelope include a space that is hidden from view when
  the envelope is sealed for the voter to enter one of the following: (1) t he number of the voter's driver's license, EiC, or
  per sonal identification card issued by DPS; (2) the last four digits of the voter's social security number, if the voter has
  not been issued a DPS number; or (3) a statement that the applicant has not been issued one of these nt1mbers. ( Sec.
  86.002(g) ).

  The carrier envelope has been updated to include a space for the required identification information. A photo of the
  new carrier is provided below. More information is available on votetexas.gov on "Completing and Mailing your Car rier
  Envelope."




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             Sec . 86 . 002 .                                    ADDITIONAL BALLOTING MATERIALS .                   ( a)   The e arl y vot ing cle r k
  sha l l provi de an offi c ial ballot enve l ope and c arr ie r enve lop e with each b al lot
  provided to a voter .                                                 If the voter ' s name app ears on t he lis t of reg i stered
  vo ters wi th the nota t io n "S ", o r a s i mi l a r notation , o r the resi dence ad dress on


                                                                                            OCA-APPX-1454
CONFIDENTIAL                                                                                                                              STATE137455
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1455 of 2308

  the voter's early voting ballot application is not the same as the voter's
  residence address on the list of registered voters, the clerk shall provide a
  form for a statement of residence to the voter.
         (b)    Before providing the balloting materials to the voter, the clerk shall
  enter on the carrier envelope the identity and date of the election.
         (c)    The clerk shall enter on a carrier envelope the voter's name in
  printed form, a notation that a statement of residence is enclosed, if
  applicable, and any other information the clerk determines necessary for proper
  processing of the ballot.
         (d)    The secretary of state shall prescribe instructions to be printed on
  the balloting materials for the execution and return of a statement of
  residence.     The instructions must include an explanation of the circumstances
  under which the ballot must be rejected with respect to the statement.
         (e)    If the clerk determines that the carrier envelope and other balloting
  materials will weigh more than one ounce when returned by mail to the clerk, the
  clerk shall include with the balloting materials a notice of the amount of first
  class postage that will be required for the return by mail of the carrier
  envelope and enclosed materials.
         (f)    The clerk shall include with the balloting materials:
                 (1)   a notice of the clerk's physical address for purposes of return
  by common or contract carrier or personal delivery in accordance with Section
  86.006(a-1); and
                 (2)   the list of declared write-in candidates for the election, if
  applicable.
         (g)    The carrier envelope must include a space that is hidden from view
  when the envelope is sealed for the voter to enter the following information:
                 (1)   the number of the voter's driver's license, election
  identification certificate, or personal identification card issued by the
  Department of Public Safety;
                 (2)   if the voter has not been issued a number described by
  Subdivision (1), the last four digits of the voter's social security number; or
                 (3)   a statement by the applicant that the applicant has not been
  issued a number described by Subdivision (1) or (2).
         (h)    A person may use the number of a driver's license, election
  identification certificate, or personal identification card that has expired for
  purposes of Subsection (g) if the license or identification is otherwise valid.
         (i)    No record associating an individual voter with a ballot may be
  created.




                                       OCA-APPX-1455
CONFIDENTIAL                                                                    STATE137456
                 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1456 of 2308
  Again, t hank you for cont act ing our office. If yoll have any additional questions or if we can be of furt her assistance,
  please conta<:t our office at 1.800.252.8683 or ernail us at E!ections@sos. texas.gov.



  Elect ions Division Staff
  Office of the Texas Secretary of State
  1019 Brazos St reet I Rudder Building, 2nd Floor I Austin, Texas 78701
  1.800.252.VOTE (8683)

  eler.tions(@sos.te:xas.gov I www.sos.st.:ite.tx.us
  or Voter Related Information, please visit:




  The information contained in this email i.,; intended to provide advice and assistance in election matters per §31.004 of the Texas Election Code. It is not
  intended to serve as a legal opinion for aoy matter. Please review the law yourself, and consult with an attomey when your legal rights are involved.




  From:
  Sent: Wednesday, August 17, 2022 10:12 AM
  To: Elections Internet <Elect ions@sos.texas.gov>
  Subject: Vote by Mail instructions




  I am writing you concerning how the new voting law impacts voters who vote by mail. I am asking you to highlight the
  change in t he law that requires that voters who vote by mail indicate on the carrier envelope, before sealing it:
  •       The number of your driver license, election identification certificate, or personal identification card issued by t he
  Texas Department of Public Safety (DPS);
  •       The last four digits of your social security num ber, if you have not been issued any of the abovementioned
  numbers by DPS; OR
  •       A statement that you have not been issued a number described by (1) or (2) above.

  This change should be communicated separately to all voters who request a vote by mail ballot. It should be in bold on
  all instructions sent with the ballot. Voters should be reminded before the carrier envelope is sealed that they need to
  provide this information before the seal the envelope.

  Your website clearly indicates this change and provides excellent instructions on what is required. I'm concerned that
  not enough voters will see this information before voting by mail.

  I voted in an election earlier this year and my ballot was rejected. I found this out two weeks after the polls closed. The
  reason my ballot was rejected was because I didn't write my driver's license number underneath the flap that seals the
  carrier envelope.




                                                                OCA-APPX-1456
CONFIDENTIAL                                                                                                                             STATE137457
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1457 of 2308
  I have voted by mail numerous times in Texas. When I received my ballot earlier this year, I looked through the
  instructions provided. I was not aware that t here had been a change in the information required on the carrier
  envelope, under the flap. After I sealed the carrier envelope, I signed my name where indicated and looked at it one last
  time before I mai led it .

  I feel like I am an engaged and educated voter yet my ballot was rejected. I'm concerned t hat many other vote by mail
  ballots will also be rejected because vot ers are not aware of this change. I feel it is imperative that all of us do
  everything we can to educate voters of this change so that everyone' s vote is counted. Please help to bring awareness
  to this change.




 -Sincerely,



  Sent from Mail for Windows




                                                  OCA-APPX-1457
CONFIDENTIAL                                                                                               STATE137458
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1458 of 2308
  Message
  From:
  Sent:           2/28/2022 10:52:48 PM
  To:             Kristi Hart [KHart@sos.texas.gov]
  Subject:        RE: unable to verify my info


  Handled


  From: Kristi Hart
  Sent: Friday, February 25, 2022 5:06 PM
  To: VRTeam <VRTeam@sos.texas.gov>
  Subject: FW: unable to verify my info

  Can someone call this gentleman? I was able to access his record on my first attempt on the ballot tracker.


  From: Elections Internet <E!ections@sos.texas.gov>
  Sent: Friday, February 25, 2022 4 :54 PM
  To: VRTeam <VRTeam(&sos.texas,gov>
  Subject: FW: unable to verify m y info




  From:
  Sent: Friday, February 25, 2022 4 :23 PM
  To: Elections Internet <Uections@)sos.texas,goy_>
  Subject: unable to verify my info


  CAUT10N: Tnls emaif originated from 0t.!1JISIOE ohl'ie SOS org~nitatlo:n. Do not dld'i on links or ocpeo attacl'imer1ts 1.mless. you
                                                                ;
  are expecting tne ,email and know that the content is ~te. If Moo believe this to be a malicious or phisbing email, please send
  this email as an attanbment to                                ; .
  I mailed my vote by mail ballot and I got a corrective action paper saying I had not put my drivers license number on the outside
  envelope That's ,vrong because both me and my wife checked our entire inside and outside ballot three times making sure we
  followed all the new rules. I tried to correct this online as it suggested but was told I didn't exist when I filled out the fonn and it
  dismissed me. I checked my registration and that is correct . I called my local office in Georgetown and they said half of the people
  are unable to get through this website with the same problem I j ust stated. That's curious. I have just finished cancer treatment and
  am nervous about going to the Wilco office to turn in the paper How else can I verify wi th you my numbers so my ballot counts?




                                                         OCA-APPX-1458
CONFIDENTIAL                                                                                                              STATE 134948
                    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1459 of 2308
  Message
  From:              Julia Montes [JMontes@sos.texas.gov]
  Sent:              11/4/2022 6:01:19 PM
  To:                Elections Internet [Elections@sos.texas.gov]
  CC:                Kristi Hart [KHart@sos.texas.gov]
  Subject:           RE: Online t racker on TXSOS website for ABBM has a flaw that is preventing look-up


  Please respond to voter letting them know the required information for the ballot tracker. They do have the option to
  contact the county if they are missing one of the items below or have issues.

  To track your mail -in ballot, you must enter the following information:

        •    First Name
        •    Last Name
        •    Date of Birth
        •    The last 4 digits of your Social Security Number
        •    Your Driver's License or Department of Public Safety Personal ID number
        •    Your residential address (must appear exactly as listed on your voter registration record. To look up the address
             listed on your voter registration record, use the 'Am I Registered?' tool)
        •    City
        •    ZIP code

  If you are having issues accessing the ballot tracker, please contact your county election officer. While our office hosts
  the website, the county is the one responsible for inputting information into the tracker. Contact information for your
  county can be found here: https://www.sos.st ate.tx.us/elections/voter/county.shtml



  From: Elections Internet <Elections@sos.texas.gov>
  Sent: Friday, November 4, 202212 :32 PM
  To: Julia Montes <JMontes@sos.texas.gov>
  Cc: Kristi Hart <KHart@sos.t exas.gov>
  Subject: FW: Online tracker on TXSOS website for ABBM has a flaw that is preventing look-up
  Importance: High




  From
  Sent: Friday, November 4, 2022 12:02 PM
  To: elections@traviscountytx.gov; Elections Internet <Elections@sos.texas.gov>
  Subject: Online t racker on TXSOS website for ABBM has a flaw that is preventing look-up
  Importance: High




  https://teamrv-n,yp,.sos.texas.gov/BallotTrackerApp/#llogin REQUIRES A TXDL # OR DPS PIN BUT THESE ARE
  NOJ..REQUlRED IF YOU USE THE LAST 4 DIG1TS OF YOUR SOCIAL SECURITY NUMBER TO REGISTER TO VOTE.


                                                          OCA-APPX-1459
CONFIDENTIAL                                                                                                  STATE141331
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1460 of 2308
  THE TXSOS WEBSITE LOOK-UP FEATURE HAS A FLAW. THE LOOK-UP FEATURE SHOULD REQUIRE LAST 4 DIGITS
  OF YOUR SOCIAL SECURITY NUMBER OR TXDL # OR DPS PIN. THE LOOK-UP FEATURE SHOULD NOT REQUIRE
  BOTH. YOU HAVE A PROGRAMMING ERROR.

  My mother-in-law has mailed back her ABBM. When I went to the ballot tracker at https://teamrv-
  mvp.sos.texas.gov/BallotTrackerApp/#/login, the online form gives me the following error message:

  "You must enter your Texas driver's license# or DPS PIN"


  My mother-in-law is registered using the last 4 digits of her social security number (which I entered into the
  online tracker form); however, the tracker form is requiring that I also enter a TXDL # or DPS PIN. She does
  not have a TXDL # or DPS PIN. She uses her passport when a photo ID is required.



  Please advise.



  Thanks!




                                               OCA-APPX-1460
CONFIDENTIAL                                                                                        STATE141332
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1461 of 2308




                Exhibit 105




                          OCA-APPX-1461
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1462 of 2308




                          OCA-APPX-1462
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1463 of 2308




                          OCA-APPX-1463
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1464 of 2308




                          OCA-APPX-1464
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1465 of 2308




                          OCA-APPX-1465
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1466 of 2308




                          OCA-APPX-1466
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1467 of 2308




                          OCA-APPX-1467
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1468 of 2308




                Exhibit 106




                          OCA-APPX-1468
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1469 of 2308




                          OCA-APPX-1469
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1470 of 2308




                          OCA-APPX-1470
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                          OCA-APPX-1857
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                          OCA-APPX-1858
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1859 of 2308




                          OCA-APPX-1859
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1860 of 2308




                          OCA-APPX-1860
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1861 of 2308




                          OCA-APPX-1861
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1862 of 2308




                          OCA-APPX-1862
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1863 of 2308




                          OCA-APPX-1863
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1864 of 2308




                          OCA-APPX-1864
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1865 of 2308




                          OCA-APPX-1865
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1866 of 2308




                          OCA-APPX-1866
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1867 of 2308




                Exhibit 122




                          OCA-APPX-1867
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1868 of 2308




                          OCA-APPX-1868
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1869 of 2308




                          OCA-APPX-1869
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1870 of 2308




                Exhibit 123




                          OCA-APPX-1870
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1871 of 2308




                          OCA-APPX-1871
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1872 of 2308




                          OCA-APPX-1872
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1873 of 2308




                Exhibit 124




                          OCA-APPX-1873
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1874 of 2308




                          OCA-APPX-1874
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1875 of 2308




                          OCA-APPX-1875
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                          OCA-APPX-1876
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                Exhibit 125




                          OCA-APPX-1877
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1878 of 2308




                          OCA-APPX-1878
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1879 of 2308




                          OCA-APPX-1879
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1880 of 2308




                          OCA-APPX-1880
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1881 of 2308




                          OCA-APPX-1881
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1882 of 2308




                          OCA-APPX-1882
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1883 of 2308




                          OCA-APPX-1883
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1884 of 2308




                          OCA-APPX-1884
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1885 of 2308




                          OCA-APPX-1885
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1886 of 2308




                          OCA-APPX-1886
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1887 of 2308




                Exhibit 126




                          OCA-APPX-1887
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1888 of 2308




                          OCA-APPX-1888
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1889 of 2308




                          OCA-APPX-1889
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1890 of 2308




                          OCA-APPX-1890
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1891 of 2308




                          OCA-APPX-1891
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1892 of 2308




                          OCA-APPX-1892
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1893 of 2308




                          OCA-APPX-1893
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1894 of 2308




                          OCA-APPX-1894
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1895 of 2308




                          OCA-APPX-1895
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1896 of 2308




                          OCA-APPX-1896
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1897 of 2308




                          OCA-APPX-1897
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1898 of 2308




                          OCA-APPX-1898
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1899 of 2308




                          OCA-APPX-1899
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1900 of 2308




                          OCA-APPX-1900
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1901 of 2308




                          OCA-APPX-1901
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1902 of 2308




                          OCA-APPX-1902
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1903 of 2308




                          OCA-APPX-1903
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1904 of 2308




                          OCA-APPX-1904
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1905 of 2308




                          OCA-APPX-1905
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1906 of 2308




                          OCA-APPX-1906
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1907 of 2308




                          OCA-APPX-1907
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1908 of 2308




                Exhibit 127




                          OCA-APPX-1908
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1909 of 2308




                          OCA-APPX-1909
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1910 of 2308




                          OCA-APPX-1910
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1911 of 2308




                          OCA-APPX-1911
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1912 of 2308




                          OCA-APPX-1912
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1913 of 2308




                          OCA-APPX-1913
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1914 of 2308




                          OCA-APPX-1914
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1915 of 2308




                          OCA-APPX-1915
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1916 of 2308




                          OCA-APPX-1916
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1917 of 2308




                          OCA-APPX-1917
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1918 of 2308




                          OCA-APPX-1918
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1919 of 2308




                          OCA-APPX-1919
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1920 of 2308




                          OCA-APPX-1920
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1921 of 2308




                          OCA-APPX-1921
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1922 of 2308




                          OCA-APPX-1922
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1923 of 2308




                          OCA-APPX-1923
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1924 of 2308




                          OCA-APPX-1924
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1925 of 2308




                          OCA-APPX-1925
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1926 of 2308




                          OCA-APPX-1926
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1927 of 2308




                          OCA-APPX-1927
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1928 of 2308




                          OCA-APPX-1928
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1929 of 2308




                          OCA-APPX-1929
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1930 of 2308




                          OCA-APPX-1930
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1931 of 2308




                Exhibit 128




                          OCA-APPX-1931
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1932 of 2308


                                                                                  Feb. 3. 22

Empowering Voters. Defending Democracy




Tips for Voters
New Election Laws 2022
                                                                                               `




TSEU (Texas State Employee Union)




                                                                    Grace Chimene President
                                                          LEAGUE OF WOMEN VOTERS OF TEXAS

                                    OCA-APPX-1932
 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1933 of 2308




                                                                         `




VOTE411.org                          LWVTexas.org


                           OCA-APPX-1933
NEW!
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1934 of 2308



Vote by Mail (VBM)
Who else qualifies?



Voters expecting to give
birth within three weeks
before or after election
day

   Sec 82.02 (HB 3920)




                                                      photo credit canva.com
                                      OCA-APPX-1934
    NEW! Soliciting Vote by Mail
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1935 of 2308




“Public officials/election officials” Can NOT:
•    Solicit or distribute a VBM app from a person who did not request an
     application
•    Complete any portion of a VBM app and distribute the application to
     an applicant.
•    Authorize or approve the expenditure of public funds to facilitate third-
     party distribution of a VBM app to a person who did not request the
     application
•    example: Counties can not provide applications to organizations.
Sec. 84.001(SB1)



       LWV TIP: Organizations can order from the Secretary
       of State’s office or print VBM applications to share
       with voters.

                                       OCA-APPX-1935
NEW! Soliciting Vote by Mail
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1936 of 2308




“Public officials/election officials” Can

•   Provide the application on a website;
•   Complete portions of a VBM app for a voter if they are “lawfully
    assisting” the voter
•   Provide general information about VBM, the VBM process, or
    the timelines associated w/voting
•   Engage in the above prohibited conduct while “acting in the
    official's capacity as a candidate for a public elective office”


    Sec. 84.001(SB1)




                                    OCA-APPX-1936
       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1937 of 2308




NEW! Finding an Application

• Each voter must request a VBM application from
  your county election office
• Print an application from your county website,
  VoteTexas.gov, LWVTexas.org VOTE411.org or
  other
• Find applications at libraries, post offices, etc ?
  Sec. 84.001(SB1)

 LWV Tip: Candidates and parties may send voters a
 partially filled out application


                                 OCA-APPX-1937
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1938 of 2308


NEW! Provide Your Voter ID on the Application
  ● The Voter ID number used
    on your VBM application,
    and VBM carrier envelope.
    must be associated with
    your voter registration
    application!

  ● Voter ID numbers (TXDL,
    Personal ID, EIC Number
    AND the last four digits of
    SSN) on your VBM                            Application for a Ballot by Mail
    application and VBM ballot
    carrier envelope
    84.002 (SB1)
     Sec. 84.002 (SB1)

            LWV Tip: You can use an expired ID card if it is “otherwise
            valid”
            LWV Tip: Provide both your ID AND the last four digits of your
                                 OCA-APPX-1938
            social security number.
 NEW!      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1939 of 2308


 Vote by Mail Cure Process
LWV TIP: Provide contact information on your ballot by mail application
and ballot Carrier Envelope so the county may contact you if you need to
fix an error.
LWV Tip: Don’t wait! Turn in your application and ballot in early!!

                                                                              Application for Ballot
                                                                              by Mail




                      Carrier Envelope for Ballot by Mail




                                     OCA-APPX-1939
NEW!        Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1940 of 2308


Vote by Mail
Ballot by Mail Tracker
Track your VBM application and VBM ballot throughout the election process at
VoteTexas.gov. Allows voters to fix some issues with voter ID numbers.




          LWV Tip: Not working in all counties.
                            OCA-APPX-1940
          LWV Tip: Issues with inputting your address.
                                         “I 611-1
                                            swearFiled
                                                  (or 05/26/23
                                                       affirm) under  penalty
                                                                         of 2308of perjury that the
NEW!
             Case 5:21-cv-00844-XR Document                    Page 1941
                                        voter I am assisting represented to me they are
Assisting Voters                        eligible to receive assistance;

● Persons who assist voters
                                        I will not suggest, by word, sign, or gesture, how the
  with a VBM application,               voter should vote;
  VBM ballot, or in-person
  ballot must provide their
  relationship to the voter and         I will confine my assistance to reading the ballot to
  address, and for the VBM              the voter, directing the voter to read the ballot,
  ballot sign an oath, and              marking the voter’s ballot, or directing the voter to
  mark that they didn’t receive         mark the ballot;
  compensation.
  Sec. 84.011(SB1                       I will prepare the voter’s ballot as the voter directs;

● Persons who drive 7 or more
  voters who qualify for                I did not pressure or coerce the voter into choosing
  curbside voting must sign a           me to provide assistance;
  form
   Sec.64.009 (SB1)
                                        I am not the voter’s employer, an agent of the voter’s
                                        employer, or an officer or agent of a labor union to
                                        which the voter belongs;
                                      OCA-APPX-1941
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1942 of 2308




NEW! Assistors Oath & Compensation




                                        ●Sec.86.0105 (SB1)

                               OCA-APPX-1942
NEW!      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1943 of 2308


Poll Watchers

• Required to take                          "I swear (or
  training                                  affirm) that I will
                                            not disrupt the
• Sign an oath
                                            voting process or
• Have fewer                                harass voters in
  restrictions on                           the discharge of my
  movement and                              duties."
  observation.
Sec. 33.051 (SB1)




                                    OCA-APPX-1943
How You Can Help!
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1944 of 2308




Share trusted resources
 ●   Print - Vote by Mail handout 2022
 ●   Video - Susan SharesTips for Filling out the application to Vote by Mail
 ●   Video - Susan SharesTips for Voting by Mail
 ●   Video - How to Vote by Mail Texas Style
 ●   Video - How to Track your Ballot by Mail
 ●   Video - How to Submit Your Ballot by Mail.
Volunteer for Election Protection.
 • NAACP LDF is providing training for folks who live in East Texas
  https://secure.everyaction.com/urmz7w_ZYUyrhRyZOe1Ruw2
 • Common Cause is offering training for Texas Election protection
    volunteers https://www.mobilize.us/protect-the-
    vote/event/436853/?utm_source=lwvtx

                                      OCA-APPX-1944
                 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1945 of 2308



   Websites
● LWVTexas.org
  VOTE411.org,

● Election Protection
   https://866ourvote.org
   866-687-8683

● Texas Secretary of State
  VoteTexas.gov (800) 252-
  VOTE




                                           OCA-APPX-1945                                 14
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1946 of 2308




                          OCA-APPX-1946
NEW!     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1947 of 2308



Update your Voter Registration Online
 If you moved or changed your name, update your
 voter registration online at texas.gov or
 votetexas.gov
Sec.15.021(SB1)




                                   OCA-APPX-1947
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1948 of 2308



https://www.texas.gov/living-in-texas/texas-voter-registration/#update-voter-name-or-address




                                        OCA-APPX-1948
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1949 of 2308



Drivers License Number




                               OCA-APPX-1949
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1950 of 2308



https://www.texas.gov/living-in-texas/texas-voter-registration/#update-voter-name-or-address




                                        OCA-APPX-1950
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1951 of 2308




DPS Audit Number




                              OCA-APPX-1951
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1952 of 2308




Voter Unique Identifier (VUID)




                               OCA-APPX-1952
        Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1953 of 2308




Voter Unique Identifier (VUID)
Find your VUID number on your voter registration card
at, “Am I registered?” at votetexas.gov, or call your
county voter registrar.




                                  OCA-APPX-1953
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1954 of 2308




Empowering Voters. Defending Democracy




Tips for Voters
New Election Laws 2022                                                                       `




Health and Justice Advocacy Network
Voting Challenge Meeting
                        August 23, 2022

                                                                Joyce LeBombard, President
                                                          LEAGUE OF WOMEN VOTERS OF TEXAS

                                    OCA-APPX-1954
 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1955 of 2308




                                                                         `




VOTE411.org                          LWVTexas.org


                           OCA-APPX-1955
        Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1956 of 2308



NEW!
Update your Voter Registration Online
 • If you moved or changed your name, update your
   voter registration online at texas.gov or
   votetexas.gov




                                  OCA-APPX-1956
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1957 of 2308



https://www.texas.gov/living-in-texas/texas-voter-registration/#update-voter-name-or-address




                                        OCA-APPX-1957
       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1958 of 2308



Drivers License Number & DPS Audit Number




                                 OCA-APPX-1958
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1959 of 2308




Voter Unique Identifier (VUID)




                               OCA-APPX-1959
       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1960 of 2308


Voter Unique Identifier (VUID)
Find your VUID number:
• on your voter registration card
• “Am I registered?” at votetexas.gov, or
• call your county voter registrar.




                                 OCA-APPX-1960
   NEW!       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1961 of 2308


   Student Voters
College student voters
living on campus may
now use P.O. Box
making it easier to
register and vote at
your college residence
address.


Sec. 1015 (SB1111)




                                        OCA-APPX-1961
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1962 of 2308
NEW!
For Voters Without
a Residence

• In the space on the
  registration form for
  residence address, it’s
  safest to put the street
  address of an agency
  where you receive aid.
• In the space for mailing
  address, if you have one,
  put the P.O. Box where
  you receive your mail.
                                                 Sec. 15.051 - 15.054 (SB1111)


                                      OCA-APPX-1962
NEW!       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1963 of 2308



Early Voting
Small counties can now
provide longer hours for
early voting when a written
request submitted by at
least 15 registered voters
of the county.


85.005 (SB1)




                                     OCA-APPX-1963
NEW!
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1964 of 2308



Vote by Mail
Who qualifies:
● 65 years or older.
● Sick or disabled.
● Out of the county during early
  voting and on Election Day.
● In jail, but otherwise eligible to
  vote.

Who else now qualifies?
•   Voters expecting to give birth
    within three weeks before or
    after election day

    Sec 82.02 (HB 3920)

                                                         photo credit canva.com
                                         OCA-APPX-1964
NEW!           Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1965 of 2308



Vote by Mail
Organizations & Leagues
 •  Counties can only provide the
    applications to the individuals.
 • Counties may not provide
    applications to organizations.
    But organizations can order
    from the Secretary of State’s
    office or print VBM applications
    to share with voters to give out
    to anyone.
Sec. 84.001(SB1)

Print VBM applications at
LWVTexas.org/votebymail



                                         OCA-APPX-1965
    NEW!        Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1966 of 2308
                                              How to Apply and Vote By Mail
    Vote by Mail
Voters
 ● Request a VBM application
    from your county election
    office or print from
    LWVTexas.org/votebymail
Sec. 84.001(SB1)
 ● Provide Voter ID number
    (TXDL, Personal ID, EIC
    Number or, if not available,
    the last four digits of SSN) on
    your VBM application and
                                               Pocket Guide
    VBM ballot carrier envelope
84.002 (SB1)
 ● Use the same Voter ID
    number on your voter
    registration application, VBM
    application, and VBM carrier
    envelope.
Sec. 84.002 (SB1)
                                          OCA-APPX-1966
NEW!           Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1967 of 2308


Vote by Mail
Voters
                                                For the Cure process
Use the same Voter ID number
on your                                         Provide contact information on your VBM
 • Voter registration application               carrier ballot so the county may contact
 • VBM application                              you if you need to fix an error with your
 • VBM carrier envelope.                        application or ballot.

Recommend to always use both
driver’s license AND Social
Security number.




                                                 VBM Carrier Envelope



                                         OCA-APPX-1967
    NEW!       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1968 of 2308


    Vote by Mail
                                                        Sec. 86.015 (HB
VBM tracker                                             1382)
•   Track your VBM application
    and VBM ballot throughout
    the election process

Cure process
•   Provide contact information
    on your VBM application so
    the county may contact you
    if you need to fix an error
    with your application or
    ballot.

•   Turn your VBM ballot in early                           Provide your contact information
    so your county may contact                              on your application to VBM and the
                                                            VBM ballot carrier envelope
    you if there is an error with
    the application.

                                         OCA-APPX-1968
 NEW!                                       “I 611-1
                Case 5:21-cv-00844-XR Document swearFiled
                                                     (or 05/26/23
                                                          affirm) under  penalty
                                                                  Page 1969 of 2308of perjury that the
                                           voter I am assisting represented to me they are
 Assisting Voters                          eligible to receive assistance;

 ● Persons who assist voters
                                           I will not suggest, by word, sign, or gesture, how the
    with a VBM application,                voter should vote;
    VBM ballot, or in-person
    ballot must provide their
    relationship to the voter and          I will confine my assistance to reading the ballot to
    address.                               the voter, directing the voter to read the ballot,
 ● For the VBM ballot sign an              marking the voter’s ballot, or directing the voter to
    oath, and mark that they               mark the ballot;
    didn’t receive compensation.
Sec. 84.011(SB1                            I will prepare the voter’s ballot as the voter directs;

 ● Persons who drive 7 or more
   voters who qualify for                  I did not pressure or coerce the voter into choosing
   curbside voting must sign a             me to provide assistance;
   form which is shared with
   the Secretary of State and
   the Attorney General’s                  I am not the voter’s employer, an agent of the voter’s
                                           employer, or an officer or agent of a labor union to
   office. Sec.64.009 (SB1)
                                           which the voter belongs;
                                         OCA-APPX-1969
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1970 of 2308




Oath & Compensation




                                       ●Sec.86.0105 (SB1)

                              OCA-APPX-1970
NEW!
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1971 of 2308



Poll Watchers
• Required to take
  training and Sign an                          "I swear (or
  oath.                                         affirm) that I will
• Have fewer restrictions                       not disrupt the
  on movement and                               voting process or
  observation.                                  harass voters in
• If poll worker(s)                             the discharge of my
  providing assistance                          duties."
  then poll watcher can
  “inspect” ballot but not
  if personal assistant.
Sec. 33.051 (SB1)


                                        OCA-APPX-1971
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1972 of 2308


     How you can help
Share trusted resources
 ● LWVTexas.org/votebymail
    ○ Print - Application to Vote by Mail
    ○ Print - How to Apply and Vote by Mail
    ○ Print - Pocket Guide - How to Vote by Mail
    ○ Print - Bookmarks - Vote by Mail
    ○ Print - Door Hangers - Vote by Mail
    ○ Video - Susan SharesTips for Filling out the application to Vote by Mail
    ○ Video - Susan SharesTips for Voting by Mail
    ○ Video - How to Vote by Mail Texas Style
Become a poll worker
 •   Your county’s Elections Office or PowerThePolls.org
Volunteer for Election Protection.
 • 866OurVote.org

                                       OCA-APPX-1972
                  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1973 of 2308



   Resources
● LWVTexas.org
  VOTE411.org,

● Election Protection
   https://866ourvote.org/state/texas/

   866-687-8683

● Texas Secretary of State
  VoteTexas.gov
  (800) 252-VOTE




                                            OCA-APPX-1973                                 20
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1974 of 2308




                          OCA-APPX-1974
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1975 of 2308




                Exhibit 129




                          OCA-APPX-1975
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1976 of 2308




                          OCA-APPX-1976
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1977 of 2308




                          OCA-APPX-1977
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                          OCA-APPX-1978
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                Exhibit 130




                          OCA-APPX-1979
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1980 of 2308




                          OCA-APPX-1980
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1981 of 2308




                          OCA-APPX-1981
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1982 of 2308




                          OCA-APPX-1982
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                Exhibit 131




                          OCA-APPX-1983
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1984 of 2308




                          OCA-APPX-1984
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1985 of 2308




                          OCA-APPX-1985
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1986 of 2308




                          OCA-APPX-1986
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1987 of 2308




                          OCA-APPX-1987
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1988 of 2308




                          OCA-APPX-1988
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1989 of 2308




                          OCA-APPX-1989
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1990 of 2308




                          OCA-APPX-1990
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1991 of 2308




                          OCA-APPX-1991
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                          OCA-APPX-1992
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                          OCA-APPX-1993
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                          OCA-APPX-1994
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                          OCA-APPX-1995
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1996 of 2308




                          OCA-APPX-1996
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1997 of 2308




                          OCA-APPX-1997
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1998 of 2308




                          OCA-APPX-1998
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 1999 of 2308




                          OCA-APPX-1999
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2000 of 2308




                          OCA-APPX-2000
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2001 of 2308




                          OCA-APPX-2001
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2002 of 2308




                Exhibit 132




                          OCA-APPX-2002
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2003 of 2308




                          OCA-APPX-2003
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2004 of 2308




                          OCA-APPX-2004
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2005 of 2308




                Exhibit 133




                          OCA-APPX-2005
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2006 of 2308




                          OCA-APPX-2006
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2007 of 2308




                          OCA-APPX-2007
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2008 of 2308




                          OCA-APPX-2008
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                          OCA-APPX-2009
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                Exhibit 134




                          OCA-APPX-2010
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2011 of 2308




                          OCA-APPX-2011
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2012 of 2308




                          OCA-APPX-2012
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                          OCA-APPX-2013
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2014 of 2308




                          OCA-APPX-2014
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2015 of 2308




                          OCA-APPX-2015
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2016 of 2308




                          OCA-APPX-2016
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2017 of 2308




                          OCA-APPX-2017
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                Exhibit 135




                          OCA-APPX-2018
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2019 of 2308




                          OCA-APPX-2019
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2020 of 2308




                          OCA-APPX-2020
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2021 of 2308




                Exhibit 136




                          OCA-APPX-2021
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2022 of 2308


                                                                         December 10, 2021

Empowering Voters. Defending Democracy




Tips for Voters
New Election Laws 2022
                                                                                              `




                                                                    Grace Chimene President
                                                          LEAGUE OF WOMEN VOTERS OF TEXAS

                                    OCA-APPX-2022
 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2023 of 2308




                                                                         `




VOTE411.org                          LWVTexas.org


                           OCA-APPX-2023
NEW!     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2024 of 2308



Update your Voter Registration Online
• If you moved or changed your name, update your
 voter registration online at texas.gov or
 votetexas.gov
Sec.15.021(SB1)




                                   OCA-APPX-2024
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2025 of 2308



https://www.texas.gov/living-in-texas/texas-voter-registration/#update-voter-name-or-address




                                        OCA-APPX-2025
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2026 of 2308



Drivers License Number




                               OCA-APPX-2026
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2027 of 2308



https://www.texas.gov/living-in-texas/texas-voter-registration/#update-voter-name-or-address




                                        OCA-APPX-2027
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2028 of 2308




DPS Audit Number




                              OCA-APPX-2028
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2029 of 2308




Voter Unique Identifier (VUID)




                               OCA-APPX-2029
        Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2030 of 2308




Voter Unique Identifier (VUID)
Find your VUID number on your voter registration card
at, “Am I registered?” at votetexas.gov, or call your
county voter registrar.




                                  OCA-APPX-2030
    NEW!       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2031 of 2308


    Student Voters
For college student
voters living away from
home, it is safest and
easiest to register and
vote at your college
residence address.

Sec. 1015 (SB1111)




                                         OCA-APPX-2031
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2032 of 2308


NEW!
For Voters Without
a Residence
• In the space on the
  registration form for
  residence address, it’s
  safest to put the street
  address of an agency
  where you receive aid.
• In the space for mailing
  address, if you have one,
  put the P.O. Box where
  you receive your mail.                         Sec. 15.051 - 15.054 (SB1111)


                                      OCA-APPX-2032
NEW!       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2033 of 2308



Early Voting
Small counties now
provide longer hours for
early voting.

85.005 (SB1)




                                     OCA-APPX-2033
    NEW!
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2034 of 2308



    Vote by Mail
Who else qualifies?
•   Voters expecting to give
    birth within three weeks
    before or after election day
     Sec 82.02 (HB 3920)

Organizations &
Leagues
•   Counties may not provide
    applications to
    organizations. But Leagues
    can order from the Secretary
    of State’s office or print
    VBM applications to share
    with voters.
    Sec. 84.001(SB1)
                                                         photo credit canva.com
                                         OCA-APPX-2034
   NEW!      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2035 of 2308


   Vote by Mail
Voters
 ● Request a VBM application
    from your county election
    office
Sec. 84.001(SB1)

 ● Provide Voter ID number
    (TXDL, Personal ID, EIC
    Number or, if not available,
    the last four digits of SSN)
    on your VBM application and
    VBM ballot carrier envelope
84.002 (SB1)

 ● Use the same Voter ID
   number on your voter
   registration application, VBM
   application, and VBM carrier                VBM Application
   envelope.
 ● Sec. 84.002 (SB1)
                                       OCA-APPX-2035
   NEW!      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2036 of 2308


   Vote by Mail
Voters                                        For the Cure process
Use the same Voter ID number                  Provide contact information on your VBM
on your                                       carrier ballot so the county may contact
 • Voter registration application             you if you need to fix an error with your
 • VBM application                            application or ballot.
 • VBM carrier envelope.




                                               VBM Carrier Envelope



                                       OCA-APPX-2036
    NEW!       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2037 of 2308


    Vote by Mail
                                                        Sec. 86.015 (HB
VBM tracker                                             1382)
•   Track your VBM application
    and VBM ballot throughout
    the election process

Cure process
•   Provide contact information
    on your VBM application so
    the county may contact you
    if you need to fix an error
    with your application or
    ballot.

•   Turn your VBM ballot in early
    so your county may contact                           Provide your contact information
    you if there is an error with                        on your application to VBM and the
                                                         VBM ballot carrier envelope
    the application.

                                         OCA-APPX-2037
NEW!      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2038 of 2308


Poll Watchers

• Required to take                          "I swear (or
  training                                  affirm) that I will
                                            not disrupt the
• Sign an oath
                                            voting process or
• Have fewer                                harass voters in
  restrictions on                           the discharge of my
  movement and                              duties."
  observation.
Sec. 33.051 (SB1)




                                    OCA-APPX-2038
                                          “I 611-1
                                             swearFiled
                                                   (or 05/26/23
                                                        affirm) under  penalty
                                                                          of 2308of perjury that the
 NEW!
              Case 5:21-cv-00844-XR Document                    Page 2039
                                         voter I am assisting represented to me they are
 Assisting Voters                        eligible to receive assistance;

 ● Persons who assist voters
                                         I will not suggest, by word, sign, or gesture, how the
    with a VBM application,              voter should vote;
    VBM ballot, or in-person
    ballot must provide their
    relationship to the voter and        I will confine my assistance to reading the ballot to
    address, and for the VBM             the voter, directing the voter to read the ballot,
    ballot sign an oath, and             marking the voter’s ballot, or directing the voter to
    mark that they didn’t receive        mark the ballot;
    compensation.
Sec. 84.011(SB1                          I will prepare the voter’s ballot as the voter directs;

 ● Persons who drive 7 or more
   voters who qualify for                I did not pressure or coerce the voter into choosing
   curbside voting must sign a           me to provide assistance;
   form which is shared with
   the Secretary of State and
   the Attorney General’s                I am not the voter’s employer, an agent of the voter’s
                                         employer, or an officer or agent of a labor union to
   office. Sec.64.009 (SB1)
                                         which the voter belongs;
                                       OCA-APPX-2039
    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2040 of 2308




Oath & Compensation




                                       ●Sec.86.0105 (SB1)

                              OCA-APPX-2040
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2041 of 2308

How you can help

Share trusted resources
 ●   Print - Vote by Mail handout 2022
 ●   Video - Susan SharesTips for Filling out the application to Vote by Mail
 ●   Video - Susan SharesTips for Voting by Mail
 ●   Video - How to Vote by Mail Texas Style
Volunteer for Election Protection.
 • NAACP LDF is providing training for folks who live in East Texas
  https://secure.everyaction.com/urmz7w_ZYUyrhRyZOe1Ruw2
 • Common Cause is offering training for Texas Election protection
    volunteers https://www.mobilize.us/protect-the-
    vote/event/436853/?utm_source=lwvtx




                                      OCA-APPX-2041
                  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2042 of 2308



   Resources
● LWVTexas.org
  VOTE411.org,

● Election Protection
   https://866ourvote.org/state/texas/

   866-687-8683

● Texas Secretary of State
  VoteTexas.gov (800) 252-
  VOTE




                                            OCA-APPX-2042                                 21
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                          OCA-APPX-2043
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                Exhibit 137




                          OCA-APPX-2044
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                          OCA-APPX-2045
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                          OCA-APPX-2046
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2047 of 2308




                          OCA-APPX-2047
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                          OCA-APPX-2048
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2049 of 2308




                          OCA-APPX-2049
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                Exhibit 138




                          OCA-APPX-2050
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                          OCA-APPX-2051
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                Exhibit 139




                          OCA-APPX-2052
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2053 of 2308




                          OCA-APPX-2053
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                          OCA-APPX-2054
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                Exhibit 140




                          OCA-APPX-2055
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                          OCA-APPX-2056
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                Exhibit 141




                          OCA-APPX-2057
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                          OCA-APPX-2058
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2059 of 2308




                          OCA-APPX-2059
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2060 of 2308




                          OCA-APPX-2060
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                Exhibit 142




                          OCA-APPX-2061
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                          OCA-APPX-2062
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2063 of 2308




                          OCA-APPX-2063
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2064 of 2308




                          OCA-APPX-2064
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                          OCA-APPX-2065
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2066 of 2308




                Exhibit 143




                          OCA-APPX-2066
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                          OCA-APPX-2067
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                          OCA-APPX-2068
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                          OCA-APPX-2069
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                Exhibit 144




                          OCA-APPX-2070
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                          OCA-APPX-2071
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                Exhibit 145




                          OCA-APPX-2072
                  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2073 of 2308

   From:            Joleen E. Smith [jsmith@lwvtexas.org]
   on behalf of     Joleen E. Smith <jsmith@lwvtexas.org> [jsmith@lwvtexas.org]
   Sent:            5/16/2022 1:14:08 PM
   To:              Aileen McMurrer [amcmurrer@lwvtexas.org]; Grace Chimene [gchimene@lwvtexas.org]; Joyce LeBombard
                    [jlebombard@lwvtexas.org]; Dorothy Marchand [dmarchand@lwvtexas.org]
   Subject:         Fwd: TEST - VOTE411 is Ready to Help Voters!



   Hi, everyone! Here's the draft email to go out to members and friends/advocates/partners. Please let me know if
   you see anything that needs to be changed. Thanks!

   ---------- Forwarded message ---------
   From: Grace Chimene <lwvtexas@lwvtexas.org>
   Date: Mon, May 16, 2022 at 1:01 PM
   Subject: TEST- VOTE411 is Ready to Help Voters!
   To: <jsmith@lwvtexas.org>




                                                     OCA-APPX-2073
CONFIDENTIAL - Subject to Protective Order                                                                   OCAGH_00016285
In Docket No. 21-cv-00844 (WD Tex.)
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2074 of 2308




       Dear ~~first_name~~,

       Early Voting for the 2022 Primary Runoff Election starts TODAY!!! Below you will find our recent
       press release about the 2022 Primary Runoff Election. Please share this information with your
       members and networks, and as always, continue to spread awareness about our Voters Guides and
       VOTE411.org, as well as voting dates, locations, and access to voting for everyone.

       Thank you for your dedication to empowering voters and defending democracy! Together, we are
       stronger!




       Grace Chimene
       President, League of Women Voters of Texas




                              League of Women Voters of Texas
                    Another Election and VOTE411 Is Ready to Help Voters!


       Austin, TX - There is only one week of early voting for the 2022 Primary Runoff Election and it
       begins Monday, May 16th! Election Day is Tuesday, May 24th, which is also the last day for Vote by
       Mail ballots to be received at election offices.

       The League of Women Voters makes it easy for voters to compare candidates and find other voting
       information with their nonpartisan election resource VOTE411.org. Voters enter their address to see
       how runoff candidates for statewide offices from both parties responded to unbiased questions posed
       by the League. If there is a local League in the community, voters can also find information on local



                                               OCA-APPX-2074
CONFIDENTIAL - Subject to Protective Order                                                          OCAGH_00016286
In Docket No. 21-cv-00844 (WD Tex.)
                Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2075 of 2308
       races.

       "We understand that voters may be feeling a little 'election burnout,' this being the third statewide
       election in 2022, and it's not even summer yet! But VOTE4 l l .org really helps you choose who you
       believe are the best candidates in the primary runoff election. We strongly encourage you to vote in
       this runoff election, and to take advantage of this trusted online election resource for all Texas voters."
       said Grace Chimene, president of the League of Women Voters of Texas.

       During the Primary Election in March, the Vote by Mail process confused many Texas voters. The
       Secretary of State reported almost 25,000 ballots being rejected, and that number doesn't even
       consider those who tried, but didn't get through the application process. If a voter is eligible and
       chooses to vote by mail, it is important to remember:
       •       After completing the Vote by Mail ballot, the voter puts it in the ballot envelope, then places
       the ballot envelope in the carrier envelope.
       o              UNDER THE FLAP of the carrier envelope - voters should include the required ID
       information and their contact information! To be more certain that the ballot will be accepted, include
       both the ID information AND the last four digits of their Social Security number.
       0                OVER THE FLAP of the carrier envelope - voters must sign their name!


       •      Ballots must be received at the county election office by 7pm on Election Day. If the ballot is
       postmarked by 7pm on Election Day, it must be received by 5pm the day after Election Day. Voters
       can mail their ballot by US Postal Service, Fed Ex, UPS, or DHL.
       •         Voters can now track their ballots at teamrv-mvp.sos.texas.gov/BallotTrackerApp.
       "Regardless of the challenges voters face caused by last year's changes to election laws, the League is
       determined to provide tools for Texas voters so they have the knowledge and confidence to vote. As a
       nonpartisan organization, the League does not support parties or candidates, but with VOTE4 l l .org,
       we provide unbiased, understandable information about candidates and races." said Grace Chimene,
       President of the League of Women Voters of Texas.

       In addition to VOTE4 l l .org, a printable PDF version of the 2022 Primary Election Voters Guide is at
       LWVTexas.org. Please share VOTE411.org and the League's website with friends and family so that
       ALL Texas voters can be INFORMED voters!




                                                 OCA-APPX-2075
CONFIDENTIAL - Subject to Protective Order                                                              OCAGH_00016287
In Docket No. 21-cv-00844 (WD Tex.)
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2076 of 2308




                                             OCA-APPX-2076
CONFIDENTIAL - Subject to Protective Order                                     OCAGH_00016288
In Docket No. 21-cv-00844 (WD Tex.)
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2077 of 2308




       The League of Women Voters is one of America's oldest and most trusted civic nonprofit organizations. Formed in
       1919, the Texas League represents more than 13,500 grassroots advocates and 34 local Leagues across the state. The
       League never supports or opposes candidates for office or political parties. The League encourages the informed and
       active participation of citizens in government. The League also seeks to influence public policy through education
       and advocacy. Membership is open to people 16 years and older.




                                                    OCA-APPX-2077
CONFIDENTIAL - Subject to Protective Order                                                                      OCAGH_00016289
In Docket No. 21-cv-00844 (WD Tex.)
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2078 of 2308




                                       League of Women Voters of Texas
                                           1212 Guadalupe St. #107
                                             Austin Texas, 78701
                                                (512)-472-1100
                                           lwvtexas@lwvtexas.org
                                                 lwvtexas.org




   Take care,
   Joleen Smith
   Digital Communications Associate

   IWV
   L~
           ~ EAGUE OF WOMEN VOTERS"
              OFTEXAS

   Empowering Voters. Defending Democracy.
   1212 Guadalupe Street, Suite 107



                                             OCA-APPX-2078
CONFIDENTIAL - Subject to Protective Order                                     OCAGH_00016290
In Docket No. 21-cv-00844 (WD Tex.)
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2079 of 2308

   Austin, Texas 78701
   512.472.1100
   For more information: LWVTexas.org




                                             OCA-APPX-2079
CONFIDENTIAL - Subject to Protective Order                                     OCAGH_00016291
In Docket No. 21-cv-00844 (WD Tex.)
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2080 of 2308




                Exhibit 146




                          OCA-APPX-2080
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2081 of 2308




                          OCA-APPX-2081
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2082 of 2308




                Exhibit 147




                          OCA-APPX-2082
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2083 of 2308




                          OCA-APPX-2083
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2084 of 2308




                          OCA-APPX-2084
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2085 of 2308




                          OCA-APPX-2085
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2086 of 2308




                          OCA-APPX-2086
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2087 of 2308




                          OCA-APPX-2087
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2088 of 2308




                Exhibit 148




                          OCA-APPX-2088
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2089 of 2308




                          OCA-APPX-2089
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                          OCA-APPX-2090
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                          OCA-APPX-2093
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                          OCA-APPX-2094
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                          OCA-APPX-2097
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                          OCA-APPX-2098
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                          OCA-APPX-2099
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2100 of 2308




                          OCA-APPX-2100
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2101 of 2308




                          OCA-APPX-2101
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2102 of 2308




                Exhibit 149




                          OCA-APPX-2102
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2103 of 2308




  Submitted to the Court via USB Drive
               Under Seal




                          OCA-APPX-2103
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2104 of 2308




                Exhibit 150




                          OCA-APPX-2104
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2105 of 2308




                          OCA-APPX-2105
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2106 of 2308




                          OCA-APPX-2106
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2107 of 2308




                          OCA-APPX-2107
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2108 of 2308




                Exhibit 151




                          OCA-APPX-2108
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2109 of 2308




                          OCA-APPX-2109
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2110 of 2308




                          OCA-APPX-2110
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2111 of 2308




                Exhibit 152




                          OCA-APPX-2111
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2112 of 2308




  Submitted to the Court via USB Drive
               Under Seal




                          OCA-APPX-2112
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2113 of 2308




                Exhibit 153




                          OCA-APPX-2113
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2114 of 2308




                          OCA-APPX-2114
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2115 of 2308




                          OCA-APPX-2115
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2116 of 2308




                          OCA-APPX-2116
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                          OCA-APPX-2117
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2118 of 2308




                Exhibit 154




                          OCA-APPX-2118
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2119 of 2308




                          OCA-APPX-2119
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2120 of 2308




                          OCA-APPX-2120
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2121 of 2308




                          OCA-APPX-2121
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2122 of 2308




                Exhibit 155




                          OCA-APPX-2122
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2123 of 2308




                          OCA-APPX-2123
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2124 of 2308




                          OCA-APPX-2124
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2125 of 2308




                          OCA-APPX-2125
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2126 of 2308




                          OCA-APPX-2126
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2127 of 2308




                Exhibit 156




                          OCA-APPX-2127
  Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2128 of 2308




Texas’ New Voting Law
                                       Julie Espinoza
                                     Assistant Director
                                      REACH of Plano

              Left – photo of Justin Dart – “Vote as If your life
                    depends upon it – because it does!”
                            OCA-APPX-2128                             OCAGH_00000284_001_Native
           Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2129 of 2308




A little about REV UP Texas

    • History of
    • Purpose
    • Involvement in new Texas voting law




                                     OCA-APPX-2129                             OCAGH_00000284_002_Native
               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2130 of 2308




   Mail in Ballot Changes

• New Law requires a wet signature (ink on paper)
  without allowing for a reasonable accommodation –
  this creates problems for some with disabilities
• Current law allows a witness to signature for a voter
  unable to sign because of a disability– but relying on a
  witness removes a voter’s ability to vote
  independently.
                                         OCA-APPX-2130                             OCAGH_00000284_003_Native
                      Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2131 of 2308




    Mail in Ballot Changes
• New law requires a voter to include the last 4 digits
  of Texas ID or Social Security number on both the
  application for a maiol ballot and the ballot itself
• Must enter these same numbers to match when
  voting. If numbers on application and ballot do not
  match, ballot will not be counted
•   Problem – some voters do not know they must include these numbers or
    due to disability (like being in an institution) do not have access to the
    numbers so cannot provide this.   OCA-APPX-2131           OCAGH_00000284_004_Native
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2132 of 2308




                          OCA-APPX-2132                             OCAGH_00000284_005_Native
             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2133 of 2308




 Online Portal
• Texas will establish an online portal for voters to
  track where their mail in ballot is.
• New law says that if voter’s ballot is rejected due to
  signature not matching or numbers not matching –
  they can fix the problem.
• If not enough time to fix by mail or email –the
  county may provide an opportunity to go to
  elections office and cast.           OCA-APPX-2133                             OCAGH_00000284_006_Native
                    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2134 of 2308




   Receiving assistance at the polls
• Attendant or person supporting a voter must provide
  their name, address, Relationship to and if they are
  being compensated.
• Assistor must also take an oath under penalty of
  perjury and jail time to only provide assistance
  allowed by State law (reading the ballot, directing the voter to read
   the ballot, marking the ballot or directing the voter to mark the ballot ) even
   though this limits the type of assistance available under Federal law.
                                              OCA-APPX-2134                             OCAGH_00000284_007_Native
           Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2135 of 2308




Receiving assistance at the polls
    • Amendment to where now attendants and
      caregivers can assist at polls.




                                     OCA-APPX-2135                             OCAGH_00000284_008_Native
           Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2136 of 2308




Poll watchers at the polls
    • Poll watchers were given authority to observe
      assistance given
    • But, law makes clear that poll watcher cannot
      observe when the voter casts their ballot




                                     OCA-APPX-2136                             OCAGH_00000284_009_Native
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2137 of 2308




Election Officials at the polls
    • A provision in the new law provides that No
      local official can alter or change the Texas
      election law even when necessary to grant a
      voter a reasonable accommodation because
      of their disability
    • An amendment was added that makes clear
      that qualified voters with a disability are still
      entitled to reasonable accommodations
                                      OCA-APPX-2137                             OCAGH_00000284_010_Native
                             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2138 of 2308




 Summary of old and new

None of this will take effect until December 6, 2021.

Voting By Mail

Applications: Article 5. Section 5.01. Section 84.001 (b)

•          Wet Signature      Instead of a photocopied or electronic signature, all applications must now have a ‘wet
ink’ signature. This means that an actual, handwritten signature or signature stamp must be on the application.

•          Voter ID Eligibility for vote by mail is the same but additional information is now included on the
application. Voters must now include the identification number found on their Texas Driver’s License (DL), Texas
Identification Card (ID), or Texas Election Identification Card (EIC). If a voter has not been issued a Texas DL, ID, or EIC,
then they are allowed to use the last four digits of their social security number (SSN).

                                                       OCA-APPX-2138                             OCAGH_00000284_011_Native
                            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2139 of 2308




    Summary of old and new


•         If a voter does not have a Texas DL, ID, EIC, or SSN, the voter can sign a statement to that effect.

•          If the information on the vote by mail application has not been filled out properly (i.e., does not match
voter’s registration information) and has the potential to be rejected by the election clerk, the clerk must provide
notice of rejection to the voter. The notice must include information about the ability to correct or add required
information through an online tool provided by the election clerk.

•         On Line Tool                   An online tool will be created that will record when each ballot-by-mail
application is received by the county clerk/election official and if that application was accepted or rejected.

•         If a voter requests a ballot by mail and then chooses to cancel the ballot and vote in person, but fails to
return the mail ballot, the individual must vote a provisional ballot.

                                                      OCA-APPX-2139                             OCAGH_00000284_012_Native
                             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2140 of 2308




 Summary of old and new


Ballots: Article 5. Section 86.002

•           Number Matching                On the exterior side of a sealed carrier envelope, voters must list the Texas
driver’s license, identification card, election identification card identification number (or the last four digits of their
social security number) that was used on their ballot-by-mail application. There should be a designated space for this
information to be entered because it will need to be hidden from public view.

•         Opportunity to Cure                    If the Signature Verification Committee (SVC) or the Early Voting
Ballot Board (EVBB) discover a defect in the way a mail ballot was completed by the voter (i.e., missing residential
address, missing or concerning signature), the SVC or EVBB must return the ballot to the voter by mail if the
committee determines there is time to cure the defect before polls close on election day.

o
                                                       OCA-APPX-2140                             OCAGH_00000284_013_Native
                            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2141 of 2308




 Summary of old and new

             If the Committee or Board discover a defect but determine there is not time to return the ballot to the
voter by mail before election day, the board may, but is not required to, notify the voter of the defect by phone or e-
mail and allow the voter to cancel their mail ballot or come to the clerk’s office in person to correct the defect.
o         An online tool will be created which records when the ballot/carrier envelope is sent to the voter, received
by the voting clerk, and if that ballot was accepted or rejected. Each envelope will have an assigned serial number and
bar code or tracking number.

Voter Assistance
In-person voting: Article 6. Section 6. Section 64.009 & Section 64.031

•         Limit on type of assistance               Voters may now also be eligible for assistance if they need help with
reading the ballot due to an inability to read the language provided on the ballot.

•         People who assist voters must now provide additional information on the assistant form and oath. People
will need to provide their name, address, relationship to the voter, and if the assister received
                                                   OCA-APPX-2141
                                                                                                  any kind of
                                                                                         OCAGH_00000284_014_Native
compensation or other benefit for helping the voter.
                             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2142 of 2308




 Summary of old and new

         The assistant oath now includes swearing under penalty of perjury and limits the type of assistance that can
be provided to a voter.

•         Curbside I         f a person is transporting seven or more non-family members to early vote at the same
time*, that person must complete a form giving their name and address and stating whether they provided any help
casting ballots. (assisting)

Mail-in ballots:
Article 6. Section 6.05. Section 86.010-86.015

•         Assistants must fill in the following information on the carrier envelope:
Their signature, printed name, residential address, relationship to the voter, whether or not they received any kind of
compensation or other benefit from helping.

•          It is now a criminal offence if a person receives or accepts compensation forOCAGH_00000284_015_Native
                                                      OCA-APPX-2142
                                                                                           assisting voters. If the person
assisting the voter is also the voter’s caregiver or assistant, the prohibition does not apply.
                             Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2143 of 2308




 Summary of old and new

          Increase in penalties
     Assistor oath or illegal assistance
     False statement
Poll watchers:

Observing activity: Article 4. Section 4.07. Section 33.056-33.057

•   Poll watchers are now able to sit or stand near enough to see and hear election activity occurring with the voters
and/or election officers. However, poll watchers are not allowed to be present at the voting station when a voter is
preparing the voter's ballot or is being assisted by a person of the voter's choice.




                                                       OCA-APPX-2143                             OCAGH_00000284_016_Native
                               Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2144 of 2308




 Summary of old and new

           Reasonable accommodation or modification

Voter request for accommodation: Article 1. Section 1.022

No Changes            New provision in law that prohibits election official from altering, changing or suspending any policy practice or
procedure in law.

An amendment was added that specifically provides that nothing in election code prohibits or limits Voters with disabilities from
making a request for a reasonable accommodation or modification to election laws or procedures.

Study of implementation of educational programs, including instructional videos to help vwd to understand accessibility features of
voting machines




                                                         OCA-APPX-2144                             OCAGH_00000284_017_Native
     Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2145 of 2308




Access Barriers & Issues Related to
     Texas’ New Voting Law
                                              Chamane Barrow
                                               REV Up Texas




                               OCA-APPX-2145                             OCAGH_00000605_001_Native
        Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2146 of 2308




A Little About REV UP Texas

 Register! Educate! Vote! Use
 (your) Power!

 Our Mission


                                  OCA-APPX-2146                             OCAGH_00000605_002_Native
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2147 of 2308




Significant Barriers to Voting Already Exist

• Physically inaccessible polling sites,
• Election workers refusing to provide
  accommodations,
• Mail-in ballots that cannot be used by people who
  are blind,
• And many more.


                                      OCA-APPX-2147                             OCAGH_00000605_003_Native
            Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2148 of 2308




Texas SB 1 Voting Law

 Creates even more unnecessary barriers
and silences the voices of Texans with
disabilities and others, by placing illegal
restrictions on our access to voting.



                                      OCA-APPX-2148                             OCAGH_00000605_004_Native
          Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2149 of 2308




Mail in Ballot Changes

New Law requires a wet signature (ink on
paper) without allowing for a reasonable
accommodation – this creates problems for
some with disabilities.



                                    OCA-APPX-2149                             OCAGH_00000605_005_Native
                   Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2150 of 2308




    Mail in Ballot Changes
•   New law requires a voter to include the last 4 digits of Texas
    ID/DL or Social Security number on both the application for a
    mail ballot and the ballot itself.

•   Must enter these same numbers to match when voting. If
    numbers on application and ballot do not match, ballot will not
    be counted and will be rejected.

    o Problem – some voters do not know they must include these
      numbers or due to disability (like being in an institution) do
      not have access to the numbers so cannot provide this.
                                             OCA-APPX-2150                             OCAGH_00000605_006_Native
              Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2151 of 2308




Receiving assistance at the polls
•   Another access issue is the restricting any assistance
    by personal attendants or other assistors outside of
    reading & marking of the ballot.
    o Must also take an oath under penalty of perjury
      & jail time to only provide assistance allowed by
      State law.
    o Must now also provide their name, address,
      relationship to & if they are being compensated.

                                        OCA-APPX-2151                             OCAGH_00000605_007_Native
                    Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2152 of 2308




Receiving assistance at the polls
These restrictions also cause access issues for:

   Deaf individuals using ASL Interpreter to access the voting process
    at the polls when untrained poll persons thinks that the interpreter
    is providing too much assistance to Deaf individual.

   There have been other issues in which an untrained poll person
    does not allow a person with hidden disability such as TBI, to be
    provided a requested accommodation from their support person
    because they do not believe the individual is a qualified voter with a
    disability entitled to a reasonable accommodation.
                                              OCA-APPX-2152                             OCAGH_00000605_008_Native
                   Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2153 of 2308




    Other Access Issues

Some of the other access issues that have occurred as a result of SB 1
have included:

   Limitations on early voting hours and a ban on 24-hour voting.
   The elimination of drive-thru voting centers.
   The prohibition of mail-in ballot drop-boxes.
   Limitations on the distribution of mail-in ballot applications.
   And the needless creation of barriers for individuals with disabilities
    and others who have limited English proficiency, to exercise their
    right to vote, which goes against the principle of equitability.
                                             OCA-APPX-2153                             OCAGH_00000605_009_Native
                 Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2154 of 2308


Involvement of REV UP in new Texas voting law

This law violates the Americans with Disabilities Act and Section 504
of the Rehabilitation Act of 1973 and Section 208 of the Voting Rights
Act by imposing voting barriers that discriminate against voters with
disabilities and deny people with disabilities full and equal
opportunities to participate in our state’s voting and elections.

As such, a lawsuit was filed by many organizations including Rev Up
Texas focused on overturning the suppression of the DISABILITY
VOTE! in SB1.

Learn more! Get involved and fight voter suppression!
                                           OCA-APPX-2154                             OCAGH_00000605_010_Native
                       Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2155 of 2308




                   Texans with disabilities CAN influence the outcome
                   of the Presidential Primaries and General Election

‘More than any time in memory:

Elected leaders and political candidates are recognizing the MILLIONS of Americans with
disabilities—from birth to advanced age—as a powerful, important constituency
Issues important to people with disabilities, including voter suppression, voting access issues
and barriers, must be part of the platform for any candidate running for public office.

Join thousands of Americans with disabilities in this important and historic effort!

                 Don’t Mourn…Organize, Register, and VOTE!
                     Make the DISABILITY VOTE Count!
                                                 OCA-APPX-2155                             OCAGH_00000605_011_Native
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2156 of 2308




         “Vote as if your life depends
                       on it
              — because it does!”
          Justin Dart, Jr., Texan, patriot,
                 father of the ADA
                  Left – photo of Justin Dart –“VOTE as if your life
                         DEPENDS on it –because it DOES!”




                                 Thank you!
                          OCA-APPX-2156                             OCAGH_00000605_012_Native
           Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2157 of 2308




Acknowledgment

• REV Up Texas
• CBFL Consumers
• Texas’ New Voting Law by Julie Espinoza,
  Assistance Director, REACH of Plano




                                     OCA-APPX-2157                             OCAGH_00000605_013_Native
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2158 of 2308




     REV UP TEXAS!
               The After-effect of Senate Bill 1
                 Presented by Julie Espinoza
                     Assistant Director
                       REACH of Plano
                      March 10, 2022




                          OCA-APPX-2158                             OCAGH_00017883_001_Native
           Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2159 of 2308




   Presenter Julie Espinoza
                         Assistant Director
                          REACH of Plano
Serving on the REV UP Board of Directors under the Texas Disability
                             Project &
     Board of Directors of the Texas League of Women Voters



                                     OCA-APPX-2159                             OCAGH_00017883_002_Native
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2160 of 2308




  Confusion
  Senate Bill 1 was a major voter suppression act in Texas last
  summer.
  Had a “chilling” effect on minorities and especially voters
  with Disabilities.

  Raised concerns about accommodations for physical
  assistance at the polls, access to certified sign language
  interpreters, assistance for voters with vison loss or
  blindness.

  Mail in Ballot mayhem
                          OCA-APPX-2160                             OCAGH_00017883_003_Native
Case 5:21-cv-00844-XR Document 611-1 Filed 05/26/23 Page 2161 of 2308




  So What Happened with all these Concerns with the recent
  Voting?

  High rejection rates of mail in ballots

  Reasons given hotly disputed

  Increased fear of voting in person at the polls

  Lower Turn out of Voters with Disabilities????

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  REV UP’s Response

  REV UP USE YOUR POWER SHOW!
  Biweekly podcast on voting and the power of the Disability
  vote!
  https://www.youtube.com/channel/UCy2Kx9gghKqEf_yOCT
  2rfiw

  Complaints gathered on voting issues:
  Disability Rights of Texas
  Texas Civil Rights Project
  Election Protection
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  Key Points to Revving Up!

  Register to Vote! Run off is May 24th. If not registered you can
  register before April 25th and vote in Runoff.

  Texas Disabilities Issues Forum is Sept 19th hybrid in
  person in Austin and Statewide Watch parties!!! Goal is to build a
  historic turnout of the Disability Vote at the Nov 8th General Election.
  North Texas can be key to that turnout. REV UP wants to work with
  the community to make that happen

  How: REGISTER folks in North Texas,
  EDUCATE on issues, Turnout of the DISABILITY VOTE

  Get excited to be part of the HISTORIC DISABILITY VOTE


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What You Can do NEXT
• Join the REV UP Texas contact list so you can increase the power of
  the disability Vote!!
• https://www.revuptexas.org/

• Join the REV UP Flash mob filming on March 26th at the state Capitol.
  See link above for more info




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                          OCA-APPX-2244
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From:          revuptx [revuptx@gmail.com]
Sent:          9/30/2022 5:29:54 PM
To:            REVUPTX [revuptx@gmail.com]
Subject:       FW: TDIF: Power the Disability Vote!
Attachments:   TDIF _PressRelease_FINAL.docx; TribuneArticle2022_FINAL.docx




-------- Original message --------
From: linda litowsky <lindalitowsky@gmail.com>
Date: 9/16/22 4:34 PM (GMT-06:00)
To: generalnews.central@thomsonreuters.com
Cc: revuptx <revuptx@gmail.com>
Subject: TDIF: Power the Disability Vote!

Here is the press release and an article about the power of the disability vote.




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                                             Texas Disability Issues Forum
                                             September 19, 2022
                                             Austin, Texas + virtual
                                             TDIF.REVUPTexas.org

                                     PRESS RELEASE
                        Yes, there is Power in the Disability Vote
          AND WE ARE HOLDING A FORUM TO SHINE A LIGHT ON THE ISSUES
REV UP Texas and the Coalition of Texans with Disabilities, along with more than 50 Texas
organizations, have joined forces to host the third Texas Disability Issues Forum, (TDIF). Both Democrat
and Republican candidates for the offices of Governor, Lt. Governor, Attorney General, and Agriculture
Commissioner are invited, though only the four Democratic candidates have accepted. The Forum will
continue to invite participation from all the invitees.

                                                 TDIF is a non-partisan, one-day event, where
                                                 candidates for elected statewide office are asked to
                                                 specifically address the concerns of Texans with
                                                 disabilities. This forum is not a debate and will be
                                                 moderated by independent journalists and streamed
live by our media partner, the Texas Tribune. Each candidate will be interviewed individually by an
independent journalist from the Tribune. The Texas Tribune will also serve as TDIF's media sponsor and
the live stream will be hosted on their website.
Now more than ever, it is critical that the Texas disability community get out the vote. Because the issues
like affordable health care that covers pre-existing conditions and protects mental health parity, as well
as Medicaid funding for in-home services must be addressed by our politicians and decision makers. It
is critical that people with disabilities are supported so they can stay out of nursing homes and other
institutions; and, barriers like long waiting lists, ridiculously low wages for Community Attendants, and
cutbacks in funding for already chronically underfunded affordable, accessible integrated housing are
resolved in Texas.
Even the access to vote itself has been attacked here in Texas. These are just some of the reasons why
the Texas disability community is becoming more active in electoral politics. We need to educate
candidates about disability issues and disabled people and our allies about the candidates' stand on
these issues.

The 2022 Forum will be held on Monday, September 19. Registration begins at 9:00 am, welcome at
10:00 am, candidate interviews begin at 10:15 am and the event ends at 2:00 pm. Major TDIF sponsors
include Amerigroup, Superior Healthplan, Molina Healthcare, United Healthcare and Secure Democracy.

TDIF will take place at the AT&T Conference Center on the UT campus, 1900 University Drive in the
Zlotnik Ballroom. To schedule an interview, receive a press pass, get parking directions and more, visit:

                                        TDIF.revuptexas.org
MEDIA Bob Kafka at 512-431-4085 or revuptx@gmail.com
CONTACTS: Dennis Borel at 512-478-3366 x302 or dborel@txdisabilities.org
                                                   ###



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                                Yes, There is Power in the Disability Vote
             AND WE ARE HOLDING A FORUM TO SHINE A LIGHT ON THE ISSUES


\Vith little fanfare from the public and the media, the Texas disability community is quietly growing a
movement to become more engaged in electoral politics at the national, state and local levels, especially
here in Texas.

One part of this movement is the building of a di verse, statewide disability voting coalition that is a non-
partisan partnership laser focused on registering and educating the disability community on important
disability rights and services concerns; while engaging candidates and the media on these issues. Our most
immediate goal is to get out the Texas disability vote on Election Day, November 8th.

It's been 32 years since the first disability civil rights legislation, the Americans with Disabilities Act
(ADA), was signed into law by President George H. \V. Bush, a Texan of course. It is unconscionable that
the disability community remains confronted with many of the challenges from :32 years ago; not only to
the ADA itself, but to the foundation that the ADA was built on: the integration of people with disabilities of
all ages into every aspect of community living.
Now more than ever, it is critical that the Texas disability community get out the vote. Issues like
affordable health care that covers pre-existing conditions and protects mental health parity; l\!Iedicaid
funding for in-home services so folks can stay out of nursing homes and other institutions; barriers like
long waiting lists and ridiculously low wages for Community Attendants that further strangle the system;
and, cutbacks in funding for already chronically underfunded affordable, accessible integrated housing
mean growing numbers of the disabled face homelessness. Even access to vote has been attacked here in
Texas.

These are just some of the reasons why the Texas disability community is becoming active in electoral
politics. We need to educate candidates about disability issues, and disabled people and our allies about the
candidates' stand on these issues.

To learn what major party candidates have to say on the most pressing problems from healthcare to
elections to education and more, REV UP Texas and the Coalition of Texans with Disabilities, along with
more than 50 organizations, have joined forces to host the third Texas Disability Issues Forum, (TDIF).
This is a non-partisan, one day event, where candidates for elected statewide office are asked to specifically
address the concerns of Texans with disabilities. Democrat and Republican candidates for the offices of
Governor, Lt. Governor, Attorney General and Agriculture Commissioner are invited. This forum is not a
debate and will be moderated by independent journalists and livestreamed through our media sponsor and
partner, the Texas Tribune.
Political education is a two-way street. l\!Iany politicians are simply unaware or unwilling to recognize this
constituency and its issues for what they are. If you do not see or acknowledge something, it is unlikely you
will address it. Many people with disabilities are unaware of a candidate's position and record of voting on
our issues and so do not give it much weight when they step into the voting booth.

In 2014, the Texas Governor's race was very interesting to the disability community, because then
Attorney General, Greg Abbott, who is a person with a disability and who had attacked disability issues as
the AG, was running against a former State Senator, Democrat Wendy Davis, who did not have a disability
but had supported disability issues. This race received national attention, but no attention on disability
policy.
Because of this race, a coalition of Texas advocates led by the Coalition of Texans with Disabilities (CTD)
and the newly formed REV UP Texas organized the first ever Texas Disability Issues Forum (TDIF). It




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attracted over 400 Texans in person and even more via the statewide livestream. The interest in this
Forum was the catalyst for organizing an ongoing, non-partisan state voting coalition.

The second TDIF in 2018 followed the same format but added the candidates for the U.S. Senate. This
Forum was attended by more than 400 participants and livestreamed across the state to \Vatch parties in
every region, organized by disability advocates. This too was a success.

The 2022 Texas Disability Issues Forum will be held on Monday, September 19, from 9:00am to 2:00pm at
the AT&T Hotel and Conference Center on the UT campus. To attend in person, to host a watch party or
for more information, visit TDIF.revuptexas.org

November 8th will be a test to see if our multi-year organizing can increase the number of people with
disabilities and our allies who go to the polls and elect candidates that support disability rights and
services.

Now, and on September 19 is the time for candidates to speak to the disability community. \Ve'll be
listening.



Dennis Borel is the Executive Director of the Coalition of Texans with Disabilities, a statewide cross-
disability advocacy organization. Since 2000, Dennis is freq uemly called upon for research, policy analysis,
and recommendations to the Texas Legislature and state agencies on issues surrounding disabilities.

A Dlsabillty Rights Activist f<.,r over forty years, Bob Kafka is Co-Director of the [nstitnte ft,r Disability
Access, and an organizer fi.,r ADAPT and State Coordinator of REV UP Texas (Register• Educate• Vote -
Use your Power). He has been the host and producer of the pockast Hitrrier Free FuLun:s since October
2018.




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                Exhibit 167




                          OCA-APPX-2255
How the Texas voting bill would affect voters with disabilities          https ://www.caller.com/story/news/local/texas/state-bureau/2021/0 8/14/...
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                                                     II                         s
         TEXAS BUREAU


         Texans with disabilities fear voting bill
         will add more barriers to the ballot box
         Limits on mail-in and curbside voting would be especially onerous to people in
         wheelchairs or those with sight and hearing impairments, advocates say.
                    John C. Moritz
                    Corpus Christi Caller Times
         Published 7:30 a.m. CT Aug. 14, 2021


         AUSTIN - Chase Bearden and Bob Kafka say they already face too many barriers to the
         ballot box, and they worry that the sweeping legislation that passed the Texas Senate on
         Thursday would erect even more.

         Bearden and Kafka were among several people with disabilities who testified earlier in the
         week in opposition to the measure known as Senate Bill 1. They said proposed new
         standards in the bill for signature verification and restrictions on mail-in and curbside
         voting would make it harder, and in some cases impossible, for people like them to safely
         and conveniently cast their ballots.

         "We're trying to get them, if they're going to pass a bill, to actually make it to where the
         disability community is on an equal playing field with being able to vote," Bearden, who
         broke his neck as teenage gymnast 28 years ago, said in an interview after his formal
         testimony before the Senate State Affairs Committee.

         Texas issues arrest warrants: Texas Supreme Court temporarily blocks order
         protecting House Democrats from civil arrest

         Much of the attention on the elections bill - which sparked Democrats in the House to
         first break a quorum late in the regular legislative session and then to leave Texas for
         Washington, D.C., when Gov. Greg Abbott called the first special session - has been on
         whether it would discourage turnout of minority voters.

         That attention was front and center during the floor debate that began Wednesday

                                                                  OCA-APPX-2256
1 of 4                                                                                                                       4/5/2023, 5:48 PM
                                                                                                                         OCAGH_00018504
How the Texas voting bill would affect voters with disabilities          https ://www.caller.com/story/news/local/texas/state-bureau/2021/0 8/14/...
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         afternoon and ended the next morning after a 15-hour filibuster by Democratic Sen. Carol
         Alvarado of Houston. Soon after Alvarado ended her talkathon, the full Senate passed the
         measure on a party-line vote.

         Backers of SB 1, which Abbott, Lt. Gov. Dan Patrick and virtually all of the Republican
         members in both legislative chambers support, have said the measure is need to root out
         and prevent election fraud and other political mischief.

         The bill remains stalled, however, because most of the Democrats in the House have not
         returned for the second special session and the 150-member chamber so far has been a
         handful of members short of the two-thirds needed to conduct business.

         More: Texas Democrat's filibuster of GOP voting bill ends after 15 hours; SB 1 passes

         Kafka, a longtime disabilities rights activist whose neck was broken in a car wreck after he
         returned from his Army tour in Vietnam, said people in wheelchairs or who are blind or
         hearing-impaired often must rely on mail-in or curbside-cast ballots or on personal
         assistants at voting locations. Because the bill would curtail such options in the interest of
         cracking down on elections fraud, Kafka said, it puts the onus on people with disabilities to
         prove they are honest citizens.

         "What's so outrageous is that without any credible proof of fraud, people with disabilities,
         veterans who may have disabilities - any person - has to jump through hoops," said
         Kafka, noting that the disabilities community includes people from every demographic
         group in the country.

         "There are many people with disabilities who are people of color, African American,
         Latino, other gay, youth - we run the gamut," he told the committee. "So I just want you to
         keep that in perspective."

         People with disabilities are emerging as a political force and will push back at any effort to
         roll back their growing clout, Kafka said. A study released last month by Rutgers
         University in New Jersey and the U.S. Election Assistance Commission shows that nearly
         18 million Americans with disabilities cast ballots in the 2020 elections. That's up from
         about 16 million four years earlier, the study showed.

         Ugly: One word to describe the partisan-charged special session of the Texas Legislature

         The study also found that innovative voting options made necessary by the coronavirus


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2 of4                                                                                                                        4/5/2023, 5:48 PM
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How the Texas voting bill would affect voters with disabilities          https ://www.caller.com/story/news/local/texas/state-bureau/2021/0 8/14/...
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         pandemic, which in some parts of Texas included 24-hour early voting, drive-though
         voting and enhanced curbside and mail-in voting, contributed to the spike in turnout
         among people with disabilities. Some backers of Senate Bill i have said election officials in
         several counties went to far with such innovations.

         "Turnout increases when people with disabilities have more voting options. It's not 'one
         size fits all,"' said Rutgers political science professor Lisa Schur, who is a co-director of the
         university's Program for Disability Research. "Many states made it easier to vote during
         the pandemic, which particularly helped voters with disabilities."

         State Sen. Bryan Hughes, the East Texas Republican who authored Senate Billi, said he
         plans to work with advocates for people with disabilities to alleviate as many of their
         concerns as possible. During the floor debate, Hughes agreed to several suggestions from
         witnesses who testified in committee, including one that would establish on online portal
         to correct errors on mail-in ballot applications rather than simply rejecting applications
         that might have mistakes.

         Bearden, who is the deputy executive director of the Coalition of Texans with Disabilities,
         applauded such changes but said more are needed. One that would be especially helpful,
         he said, would allow people with disabilities to use a stamp if they have muscle mobility
         difficulties that prevent a consistent signature. That would preclude the need for an
         attendant in some cases, which would give those voters another layer of privacy when
         casting their ballots, he said.

         "Most of the people who I do know that use them for their day-to-day life, it's in their
         backpack on their chair," Bearden said. "It's just like your ATM card, you're not going to
         just leave it laying around."

         He also said that even though he opposes the bill in its present form, he still wants to work
         with Hughes and others in order to keep a seat at the table.

         "We've all come to the conclusion they are eventually going to pass a bill, and we're
         looking to make sure that in the end it benefits the disability community and hopefully
         lessens barriers that are there," Bearden said. "I don't know if we'll succeed. We may end
         up with new barriers but if hopefully we can also then reduce others that have been there
         for a while."

         John C. Moritz covers Texas government and politics for the USA Today Network in

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         Austin. Contact him atjmoritz@gannett.com andfollow him on Twitter @JohnnieMo.




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